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GENOVESE, SEBASTIAN                     GENOVEVA TORRES                           GENSLER
15 TUMBLEBROOK RD *PELTONS              12452 GARDEN GROVE BLVD.                  2500 S BROADWAY     STE 300
ROCKY HILL CT 06067-1139                GARDEN GROVE CA 92843                     SANTA MONICA CA 90403




GENSLER                                 GENTILE, CARMEN                           GENTILE, JESSICA
4541 COLLECTIONS CENTER DR              5838 COLLINS AVE NO.4D                    200 MAYFLOWER AVE
CHICAGO IL 60693                        MIAMI BEACH FL 33140                      NEW ROCHELLE NY 10801




GENTILE, ROBIN                          GENTILE, TOM                              GENTILE, TOM
34 HILLCREST COURT                      9322 HUDSON DR                            CIRCULATION SOURCE
BRISTOL CT 06010-7017                   HUNTINGTON BEACH CA 92646                 13111 SENECA DRIVE
                                                                                  WESTMINSTER CA 92683



GENTILVISO, CHRISTOPHER                 GENTRY MILLER                             GENTRY SLEETS
477 FDR DR    APT 2105                  12037 SOUTH PERRY                         860 FOXWORTH BLVD.
NEW YORK NY 10002                       CHICAGO IL 60628                          APT. #211
                                                                                  LOMBARD IL 60148



GENTRY, SCOTT A                         GEO HEISER BODY CO INC                    GEO PROMOTION LLC
110 MORGAN LANE                         11210 TUKWILA INTL BLVD                   1379 RIVERSIDE CIRCLE
CARPINTERIA CA 93013                    TUKWILA WA 98168                          WELLINGTON FL 33414




GEOCARIS, CLAUDIA                       GEOFF BERKSHIRE                           GEOFF MCHALE
5 OAK LEAF COURT                        359 S. BURNSIDE AVENUE                    1771 CHADWICKE CIRCLE
WOODRIDGE IL 60517                      LOS ANGELES CA 90036                      NAPERVILLE IL 60540




GEOFFREY BLACK                          GEOFFREY BOUCHER                          GEOFFREY BROWN
689 SHELBY                              3731 LEMON AVENUE                         1132 S. LYMAN AVENUE
GARY IN 46403                           LONG BEACH CA 90807                       OAK PARK IL 60304




GEOFFREY CAMPBELL                       GEOFFREY COSTANTINO                       GEOFFREY GRIFFITHS
9007 AVEBURY STONE CIRCLE               2430 NW 110TH AVENUE                      8114 HERITAGE DRIVE
MISSOURI CITY TX 77459                  SUNRISE FL 33322                          ALBURTIS PA 18011




GEOFFREY GROSSMAN                       GEOFFREY HEMENWAY                         GEOFFREY MOHAN
P.O. BOX 2904                           5321 TOWNSEND AVENUE                      4739 BRIGGS AVENUE
NORTH BABYLON NY 11703                  LOS ANGELES CA 90041                      LA CRESCENTA CA 91214




GEOFFREY NORDHOFF                       GEOFFREY RIZZO                            GEOFFREY TIRRELL
552 HAVERLAKE CIRCLE                    17 SWALLOW LANE                           3420 COUNTRY SQ. DRIVE
APOPKA FL 32712-4048                    LEVITTOWN NY 11756                        #1501
                                                                                  CARROLLTON TX 75006




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GEOFFREY TURNER                         GEOFFRY FISHBEIN                           GEOGHEGAN, THEODORE
4 SOUTH GRANDVIEW DRIVE                 3047 NW 91ST AVE                           3130 CORLEAR AVE
LATHAM NY 12110                         APT 103                                    BRONX NY 10463
                                        CORAL SPRINGS FL 33065



GEORGE A BROGAN                         GEORGE ACOSTA                              GEORGE ADAMOWSKI
2040 PEPPER ST                          4011 S. TALMAN                             403 CYNTHIA DRIVE
BURBANK CA 91505                        1ST FLOOR                                  HAMPTON VA 23666
                                        CHICAGO IL 60632



GEORGE ANO SPANOS                       GEORGE B IVEY                              GEORGE BERRIE
VERGILIS STENGER ROBERTS PERGAMENT ET   10105 HAMP DRIVE                           13437 CHRYSTAL COURT
EMANUEL F SARIS                         DADE CITY FL 33525                         FONTANA CA 92336
1136 ROUTE 9
WAPPINGERS FALLS NY 12590


GEORGE BISHOP                           GEORGE BLOM                                GEORGE BROWN
220 COVE ROAD                           1309 STAR AVENUE                           13906 FOX MEADOW DR.
APT. 2-B                                ELMONT NY 11003                            ORLANDO FL 32826
STAMFORD CT 06902



GEORGE BURGESS                          GEORGE BURTON                              GEORGE C BROWN
P.O. BOX 223                            14359 STAMFORD CR                          21301 LENTZ ROAD
HARTFORD CT 06141                       ORLANDO FL 32826                           PARKTON MD 21120




GEORGE CASAINE                          GEORGE CASSIDY                             GEORGE CAZEAU
9875 PINEAPPLE TREE DR                  7151 WINTER ROSE PATH                      9042 SHERI COURT
APT 103                                 COLUMBIA MD 21045                          ORLAND PARK IL 60462
BOYNTON BEACH FL 33436



GEORGE CHRISTOPHER                      GEORGE CONNOR                              GEORGE CORREA
P.O. BOX 828                            639 N PACA ST                              1054 W. NORTH SHORE
WALDPORT OR 97394                       BALTIMORE MD 21201                         CHICAGO IL 60626




GEORGE COWIE                            GEORGE CRAIG                               GEORGE DAVIS
816 PALM AVE                            4718 WEMBLEY PLACE                         463 FOREST VIEW ROAD
#A                                      ROANOKE VA 24018                           EDINBURG VA 22824
HUNTINGTON BEACH CA 92648



GEORGE DE LAMA                          GEORGE DENTEL                              GEORGE DIAZ
1917 W. RACE AVE                        26 WAKEFIELD AVENUE                        126 WISTERIA DRIVE
CHICAGO IL 60622                        CORAM NY 11727                             LONGWOOD FL 32779




GEORGE DICKIE                           GEORGE DIGSBY                              GEORGE DOAN
111 SCHUYLER HTS DRIVE                  446 CARLLS PATH                            443 W WRIGHTWOOD AVE #1103
GANSEVOORT NY 12831                     DEER PARK NY 11729                         CHICAGO IL 60614-1774




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GEORGE DUNMORE                       GEORGE F LARSON                            GEORGE FAELLA
4820 S. LANGLEY AVE.                 28909 VIA PLAYA DEL REY                    57 STRAWBERRY COMMONS
CHICAGO IL 60615                     MURRIETA CA 92563                          RIVERHEAD NY 11901




GEORGE FERONE                        GEORGE FIGUEROA                            GEORGE FORDHAM
4 SUGAR PINE RD                      4460 BAYARD ST                             33 SEAFERN DR.
QUEENSBURY NY 12804                  EASTON PA 18045                            LEESBURG FL 34788




GEORGE FOSBURG                       GEORGE FREY PHOTO                          GEORGE FRY
2015 EASTMAN AVENUE                  1618 OAK CLIFF DR                          3319 ROANOKE AVENUE
BETHLEHEM PA 18018                   PROVO UT 84604                             EUGENE OR 97408




GEORGE GAA                           GEORGE GAISIE                              GEORGE GARCIA
2623 LYNBROOK ROAD                   5633 COLFAX AVENUE                         26201 VERMONT AVE
BALTIMORE MD 21222                   #113                                       APT 101A
                                     NORTH HOLLYWOOD CA 91601                   HARBOR CITY CA 90710-3458



GEORGE GAUSE                         GEORGE GOMBOSSY                            GEORGE GONZALES
80 NW 40TH STREET                    239 PEASE ROAD                             16512 TALPA STREET
OAKLAND PARK FL 33309                EAST LONGMEADOW MA 01028                   VICTORVILLE CA 92392




GEORGE GREEN                         GEORGE GREGOIRE                            GEORGE H FISCHER
194 MIDDLE ROAD                      717 GUERNSEYTOWN                           10300 VILLAGE CIRCLE DR
LAKE GEORGE NY 12845                 WATERTOWN CT 06795                         APT 1313
                                                                                PALOS PARK IL 60464-3337



GEORGE HANISAK WINDOW CLEANING       GEORGE HEFFLEY                             GEORGE HIJUELOS
P O BOX 5030                         52-444 DIAZ AVENUE                         1743 NE 49TH COURT
PHILLIPSBURG NJ 08865                LA QUINTA CA 92253                         POMPANO BEACH FL 33064




GEORGE HUNT                          GEORGE HURST                               GEORGE INGRAHAM
2000 HAMPTON AVENUE                  47 HARRISON AVENUE                         11750-A OLD GEORGETOWN RD.
NEWPORT NEWS VA 23607                FREEPORT NY 11520                          #2511
                                                                                ROCKVILLE MD 20852



GEORGE J COTLIAR                     GEORGE JOHNSON                             GEORGE JOHNSON
1618 ANITA LANE                      4303 N. PAULINA                            7265 BRANCHTREE DR
NEWPORT BEACH CA 92660               CHICAGO IL 60613                           ORLANDO FL 32835




GEORGE JONES                         GEORGE JOSEPHS                             GEORGE JR, WALTER
1100 ARBORETUM WAY                   144 ALICE ANNE STREET                      RD 2 BOX 335A
APT. #16                             BEL AIR MD 21014                           KUNKLETOWN PA 18058
NEWPORT NEWS VA 23602




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GEORGE KAYAIAN                         GEORGE KIMBRO                              GEORGE KNUE
552 FOWLER AVE                         983 BANBURY DR                             4636 GRAND AVENUE
FRANKLIN SQUARE NY 11010               HEMET CA 92544                             WESTERN SPRINGS IL 60558




GEORGE KONDASH                         GEORGE KOZLOWSKI                           GEORGE KRUG
4145 HANOVER STREET                    2121 KING MESA DR.                         22 SCHOLL DRIVE
BETHLEHEM PA 18017                     HENDERSON NV 89012                         FARMINGDALE NY 11735




GEORGE LA MONTE                        GEORGE LA REAU                             GEORGE LAVADO
32484 ALISO CANYON ROAD                16114 CITRUSTREE ROAD                      20 PROCTOR DRIVE
ACTON CA 93510                         WHITTIER CA 90603                          WEST HARTFORD CT 06117




GEORGE LIBERMAN ENTERPRISES INC        GEORGE LIEBERMAN ENTERPRISES, INC.         GEORGE LIEBERMAN ENTERPRISES, INC.
MERHAB ROBISON & JACKSON               C/O JAMES T. JACKSON, ESQ.                 C/O JAMES T. JACKSON
JAMES T JACKSON                        MERHAB ROBINSON & JACKSON                  1151 N. TUSTIN AVE.
1551 NORTH TUSTIN AVE SUITE 910        1551 NORTH TUSTIN AVENUE, SUITE 910        STE. 910
SANTA ANA CA 92705                     SANTA ANA CA 92705                         SANTA ANA CA 92705


GEORGE LITTLE                          GEORGE LYNCH                               GEORGE M FRANK
3042 W 53RD PLACE                      3100 NORTH CALIFORNIA AVENUE               13435 VALLEY VISTA BLVD
APT 1A                                 CHICAGO IL 60618                           SHERMAN OAKS CA 91423
CHICAGO IL 60632



GEORGE MACIOCE                         GEORGE MADORE                              GEORGE MARTINEZ
206 N. HAWTHORNE STREET                14 WILLIAMS STREET                         16267 HONNINGTON ST
NORTH MASSAPEQUA NY 11758              BEL AIR MD 21014                           WHITTIER CA 90603




GEORGE MASON HIGH SCHOOL               GEORGE MATTHEWS                            GEORGE MCINTYRE
ATHLETIC BOOSTER ASSOCIATION           2 PARK PLACE                               9917 NW 2ND STREET
7124 LEESBURG PIKE                     APT. 16D                                   PLANTATION FL 33324
FALLS CHURCH VA 22043                  HARTFORD CT 06106



GEORGE MILANO                          GEORGE MONTEBELLO                          GEORGE NADEAU
1650 E ROWLAND AVENUE                  134A RUSTIC ROAD                           9 MARTIN ROAD
WEST COVINA CA 91791                   CENTEREACH NY 11720                        QUEENSBURY NY 12804




GEORGE NEJAME                          GEORGE OJOMO                               GEORGE ORTWEIN
3795 WHITING MANOR LANE                226 W. RITTENHOUSE SQUARE                  1327 RICHARD AVENUE
GLENDALE CA 91208                      APT. 1014                                  BETHLEHEM PA 18018
                                       PHILADELPHIA PA 19103



GEORGE PAPAJOHN                        GEORGE PAPPAS                              GEORGE PARIS
1428 CANTERBURY LANE                   3645 N FRANCISCO AVE., APT 1               3116 FUHRMAN AVENUE EAST
GLENVIEW IL 60025                      CHICAGO IL 60618-4608                      SEATTLE WA 98102




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GEORGE PLESCIA                      GEORGE PLOSKUNAK                          GEORGE POLLOCK
6040 N AVON AVENUE                  6725 ENSIGN AVENUE                        311 71ST STREET
SAN GABRIEL CA 91775                NORTH HOLLYWOOD CA 91606                  NEWPORT NEWS VA 23607




GEORGE PRINCE                       GEORGE R KEENE                            GEORGE RAPP
3554 D CARROTWOOD CT                26206 WHISPERING LEAVES DR                290 33RD STREET
ANAHEIM CA 92804                    NEWHALL CA 91321-2241                     LINDENHURST NY 11757




GEORGE REDMAN                       GEORGE REID                               GEORGE RODGERS
1329 POPLAR AVE.                    1089 SMITH STREET                         120 OVERBROOK ROAD
BALTIMORE MD 21227                  UNIONDALE NY 11553                        BALTIMORE MD 21212




GEORGE RUSNAK                       GEORGE RUZICH                             GEORGE S STEEVES
5522 S NATCHEZ                      15318 S RAINTREE DR                       8707 RIVER STONE LANE
CHICAGO IL 60638                    ORLAND PARK IL 60462                      HARRISON TN 37341




GEORGE SANCHEZ                      GEORGE SCHAEFER                           GEORGE SFONDOURIS
3330 STOCKBRIDGE                    219 SOUTH 9TH STREET                      3106 LAKE AVENUE
LOS ANGELES CA 90032                CHESTERTON IN 46304                       WILMETTE IL 60091




GEORGE SHAWTELL                     GEORGE SHEY                               GEORGE SKELTON
12127 WHITE OAK DRIVE               5314 WEST GRACE STREET                    6310 GRANGERS DAIRY DRIV
CROWN POINT IN 46307                CHICAGO IL 60641                          SACRAMENTO CA 95831




GEORGE SKENE                        GEORGE SMITH                              GEORGE SPANOS AND TAKI HOUSE, INC.,
248 BALFOUR DRIVE                   33 PLEASANT STREET                        D/B/A THE SEVILLE DINER, C/O VERGILIS,
WINTER PARK FL 32792                WEST HARTFORD CT 06107                    STENGER, ET AL.; EMANUEL F. SARIS
                                                                              1136 ROUTE 9
                                                                              WAPPINGERS FALLS NY 12590


GEORGE STINEBAUGH                   GEORGE STOKES                             GEORGE STRATER
2106 ROSANTE CT                     358 NEVADA STREET                         1548 STAR STELLA DRIVE
FALLSTON MD 21047                   LINDENHURST NY 11757                      ODENTON MD 21113




GEORGE STUART                       GEORGE TANTON                             GEORGE TEDESCHI
2801 ALEXANDRA DRIVE                3929 CLOVERHILL RD                        2132 SEVENTH ST
#321                                BALTIMORE MD 21218                        EAST MEADOW NY 11554
ROSEVILLE CA 95661



GEORGE TEUBER                       GEORGE TWEEDY                             GEORGE TYRIVER
1538 DOVE HOLLOW                    9 EAST GRANADA AVE                        6325 N. SHERIDAN RD.
MURPHY NC 28906                     LINDENHURST NY 11757                      #907
                                                                              CHICAGO IL 60660




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GEORGE URBAN                         GEORGE VANDANIKER                           GEORGE W CIAMPA
9722 S MCVICKER AVE                  3825 PLUM SPRING LANE                       3304 WHIFFLETREE LANE
OAK LAWN IL 60453                    ELLICOTT CITY MD 21042                      TORRANCE CA 90505




GEORGE W FREEMAN                     GEORGE WALTER                               GEORGE WARREN
1002 N. 32 AVENUE                    707 COURTNEY DRIVE                          P.O. BOX 12138
HOLLYWOOD FL 33021                   ABERDEEN MD 21001                           CHICAGO IL 60612-0138




GEORGE WASHINGTON UNIVERSITY         GEORGE WASHINGTON UNIVERSITY                GEORGE WASHINGTON UNIVERSITY
2121 EYE ST NW                       C/O TAX DEPARTMENT                          SCHOOL OF MEDIA AND PUBLIC AFFAIRS
WASHINGTON DC 20052                  2100 M STREET NW STE 310                    805 21ST ST NW
                                     WASHINGTON DC 20052                         WASHINGTON DC 20052



GEORGE WELSH                         GEORGE WILHELM                              GEORGE WILSON
1009 DOCKSER DR                      11905 ELWIN ROAD                            7360 SW 18TH STREET
CROWNSVILLE MD 21032                 MOORPARK CA 93021                           PLANTATION FL 33317




GEORGE WRIGHT                        GEORGE WYCOFF                               GEORGE ZAUMAT
374 WEST 46TH STREET                 8780 19TH STREET                            13540 SYLVAN OAKS
APT. 4E                              APT. #271                                   VICTORVILLE CA 92392
NEW YORK NY 10036                    ALTA LOMA CA 91701



GEORGE, CHERYL                       GEORGE, CHERYL                              GEORGE, CHRISTOPHER
21 PEDDLER DR                        95 NUTMEG LANE                              122 CEDAR ST
WINDSOR CT 06095-1748                EAST HARTFORD CT 06118                      MACUNGIE PA 18062




GEORGE, MARK                         GEORGE, SAM                                 GEORGE,CLAUDE
157 ROBERTS RO                       2546 HALLECK DR                             3721 SW 1ST ST
ALBURTIS PA 18011                    WHITEHALL PA 18052                          FORT LAUDERDALE FL 33312




GEORGEFF, RONALD V                   GEORGEFF, RONALD V                          GEORGES BORCHARDT INC
273 HARTFORD AVENUE                  273 HARFORD AVE                             136 EAST 57TH STREET
WETHERSFIELD CT 06109                WETHERSFIELD CT 06109                       14TH FLOOR
                                                                                 NEW YORK NY 10022



GEORGES GLASS & SCREEN               GEORGES ROSEMOND                            GEORGES, CARY
1475 NORTH BRONSON AVE               64 FARMINGTON AVENUE                        1711 RAMONA AVE
HOLLYWOOD CA 90028                   #3                                          SOUTH PASADENA CA 91030
                                     NEW BRITAIN CT 06053



GEORGES, PHILIP                      GEORGETOWN POST INC                         GEORGETTA CAMPBELL
1902 REED HILL DRIVE                 3299 K ST NW STE 101                        99 BALDWIN ROAD
WINDERMERE FL 34786                  WASHINGTON DC 20007                         MANCHESTER CT 06042




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GEORGETTE COPES                        GEORGETTE MORRIS                          GEORGIA EAST
117 LION CIRCLE                        7040 NW 25TH ST.                          3931 NW 94TH WAY
CHULA VISTA CA 91910                   SUNRISE FL 33313                          SUNRISE FL 33351




GEORGIA ENVIRONMENTAL PROTECTION DIV   GEORGIA FAMILY SUPPORT REGISTRY           GEORGIA FAMILY SUPPORT REGISTRY
GEORGIA DEPT OF NATURAL RESOURCES      PO BOX 1800                               TWO PEACHTREE ST NW STE 12-245
2 MARTIN LUTHER KING JR. DRIVE         CARROLLTON GA 30112                       ATLANTA GA 30303-3186
SUITE 1152 EAST TOWER
ATLANTA GA 30334


GEORGIA INCOME TAX DIVISION            GEORGIA INCOME TAX DIVISION               GEORGIA INCOME TAX DIVISION
DEPARTMENT OF REVENUE, PROCESSING      DEPARTMENT OF REVENUE                     GEORGIA DEPARTMENT OF REVENUE
PO BOX 740397                          PO BOX 740317                             PO BOX 105136
ATLANTA GA 30374-0397                  ATLANTA GA 30374-0317                     ATLANTA GA 30348-5136



GEORGIA INCOME TAX DIVISION            GEORGIA MARUDAS                           GEORGIA REED
PO BOX 105499                          9 WENDOVER RD                             1007 SAVANNAH CIRCLE
DEPT OF REVENUE                        BALTIMORE MD 21218                        NAPERVILLE IL 60540
ATLANTA GA 30348-5499



GEORGIA STATE DEPT OF REV              GEORGIA STATE DEPT OF REV                 GEORGIA STATE UNIVERSITY
1800 CENTURY CENTER BLVD., N.E.        PO BOX 105499                             3RD PARTY ACCT - STUDENT ACCTS OFC
ATLANTA GA 30345-3205                  ATLANTA GA 30348-5499                     PO BOX 4029
                                                                                 ATLANTA GA 30302-4029



GEORGIADES, WILLIAM                    GEORGIANNA KUMIS                          GEORGINA ALBI
139 WEST 13TH ST APT 4                 645 NORTH KINGSBURY STREET                PO BOX 416
NEW YORK NY 10011                      APT. #1504                                EL SEGUNDO CA 90245-0416
                                       CHICAGO IL 60654



GEORGINA MATA                          GEORGOPOLIS, ANNALEE                      GEOSNET INC
8338 S KILDARE AVE                     1220 DENSMORE DR                          750 NW 106TH AVE UNIT 8
CHICAGO IL 60652                       WINTER PARK FL 32792                      MIAMI FL 33172




GEOVANNI ALEXANDER                     GEPCO INTERNATIONAL INC                   GEPCO INTERNATIONAL INC
401 S. 14TH AVENUE                     1770 BIRCHWOOD AVENUE                     2225 W. HUBBARD STREET
MAYWOOD IL 60153                       DES PLAINES IL 60018                      CHICAGO IL 60612




GEPPI, ROCCO ANTHONY                   GERACI, MARY ELIZABETH                    GERALD & CULLEN RAPP
904 CORD ST                            655 WEST MELROSE PLACE APT 2N             420 LEXINGTON AVENUE
BALTIMORE MD 21220                     CHICAGO IL 60657                          PENTHOUSE
                                                                                 NEW YORK NY 10170



GERALD & CULLEN RAPP,INC               GERALD & CULLEN RAPP,INC                  GERALD A. BEAN
108 EAST 35 STREET                     420 LEXINGTON AVE                         RE: FLINTRIDGE 1061 VALLEY SU
NEW YORK NY 10016                      NEW YORK NY 10170                         1320 DRAKE RIDGE CREST
                                                                                 REDLANDS CA 92373




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GERALD BANKER                          GERALD BARNO                               GERALD BATES
9435 FLOWER ST.                        435 WETHERSFIELD AVENUE                    2609 S FREDERICK AVENUE
APT #120                               APT. 3N                                    LOT # 33
BELLFLOWER CA 90706                    HARTFORD CT 06114                          OELWEIN IA 50662



GERALD BATTEN                          GERALD BELLI                               GERALD BRAHM
234 PARKER AVE.                        8 GARDEN DRIVE                             1414 W. LINDEN STREET
UPPER DARBY PA 19082                   FAIRFIELD CT 06825                         ALLENTOWN PA 18102




GERALD BREIMON                         GERALD COHN                                GERALD D MOSER
COLLISON & O'CONNOR LTD                6 GLENBROOK DRIVE                          14503 SAN DIGUITO DRIVE
19 S LASALLE ST                        WINDSOR LOCKS CT 06096                     LA MIRADA CA 90638
CHICAGO IL 60603



GERALD DARABARIS                       GERALD DIAMOND                             GERALD DRUCKERMAN
1919 WASHINGTON STREET                 12351 E. NEVADA AVE                        3289 OLD ARCHIBALD RANCH
ALLENTOWN PA 18104                     AURORA CO 80012                            ONTARIO CA 91761




GERALD DUFF                            GERALD EDWARDS                             GERALD ENLOW
1541 STONY BROOK RD                    10712 S. WABASH                            4000 SUNRISE COURT
STONY BROOK NY 11790                   CHICAGO IL 60628                           WILLIAMSBURG VA 23188




GERALD F PRICE                         GERALD FAZIO                               GERALD FISHMAN
739 CARRIGAN AVE.                      600 W. LAS OLAS BLVD.                      6564 SHERBROOK DRIVE
OVIEDO FL 32765                        APT #1901                                  BOYNTON BEACH FL 33437
                                       FORT LAUDERDALE FL 33312



GERALD GRAHAM                          GERALD HEBERT                              GERALD HIRSCH
393 QUARRY HILL ROAD                   18495 MOCKINGBIRD CYN ROAD                 3152 KEMPTON DR
HADDAM NECK CT 06424                   RIVERSIDE CA 92504                         LOS ALAMITOS CA 90720




GERALD HOLEWINSKI                      GERALD JACKSON                             GERALD K WHITE AND ASSOCIATES PC
5311 S MERRIMAC AVE.                   22846 S. LAWNDALE                          205 W RANDOLPH STREET
CHICAGO IL 60638                       RICHTON PARK IL 60471                      SUITE 835
                                                                                  CHICAGO IL 60606



GERALD KELLEY                          GERALD LEAVENWORTH                         GERALD LEE FARIS
4900 SOUTH ULSTER STREET               16707 S GARFIELD                           12467 DAWN LANE
#13-102                                #1502                                      CERRITOS CA 90703-2837
DENVER CO 80237                        PARMOUNT CA 90723



GERALD LEGERSKI                        GERALD LESKE                               GERALD LIBONATI
4123 S. CAMPBELL                       14797 CUMBERLAND DRIVE                     8880 SUNRISE LAKES BLVD
CHICAGO IL 60632                       APT 201N                                   APT 307
                                       DELRAY BEACH FL 33446                      SUNRISE FL 33322




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GERALD LYNCH                          GERALD MONSON                             GERALD P O'DONNELL
927 ELLERY PLACE                      24712 LA PLATA                            28072 BELMONT DR
GLENDORA CA 91741                     LAGUNA NIGUEL CA 92677                    LAGUNA NIGUEL CA 92677




GERALD POTTS                          GERALD PREVOST                            GERALD RUBEN
3323 NW 15TH AVENUE                   610 FARMINGTON AVENUE                     7730 VIA NAPOLI
POMPANO BEACH FL 33064                APT. A4                                   BURBANK CA 91504
                                      HARTFORD CT 06105



GERALD SCHAAF                         GERALD SIKORA                             GERALD SMITH
8516 NW 27TH DRIVE                    6236 S. MOODY                             4450 N. ARTESIAN AVE.
CORAL SPRINGS FL 33065                CHICAGO IL 60638                          CHICAGO IL 60625




GERALD SPECTOR                        GERALD SWANSON                            GERALD SYMON
1813 NORTH CLEVELAND AVENUE           35 S. BAYBROOK DRIVE                      2517 N. PEACHWOOD PLACE
CHICAGO IL 60614                      UNIT 405                                  WESTLAKE VILLAGE CA 91361
                                      PALATINE IL 60074



GERALD T BRANDT AND ASSOCIATES        GERALD T WELSH                            GERALD T WELSH
37710 N FAIRFIELD RD                  11311 BEACH RD                            11311 BEACH RD
LAKE VILLA IL 60046                   BALTIMORE MD 21162                        WHITE MARSH MD 21162




GERALD UREY                           GERALD VAN NATTA                          GERALD WALKER
3010 N NATCHEZ                        PO BOX 450                                8115 S OGLESBY
CHICAGO IL 60634                      WHEATLEY HEIGHTS NY 11798                 CHICAGO IL 60617




GERALD WOLF                           GERALD ZEZIMA                             GERALDINE A FEICHTEL
2737 TILGHMAN STREET                  101 WEDGEWOOD DRIVE                       C/O RICHARD J ORLOSKI
ALLENTOWN PA 18104                    CORAM NY 11727                            111 CEDAR CREST BLVD
                                                                                ALLENTOWN PA 18104



GERALDINE A. FREICHTEL                GERALDINE A. FREICHTEL                    GERALDINE ACORACI
C/O RICHARD L. ORLOSKI                ORLOSKI, HINGA, PANDALEON & ORLOSKI       7625 TAHITI LANE BLDG 33, #203
ORLOSKI, HINGA, PANDALEON & ORLOSKI   RICHARD L. ORLOSKI                        LAKE WORTH FL 33467
111 N. CEDAR CREST BLVD.              111 N CEDAR CREST BLVD
ALLENTOWN PA 18104-4602               ALLENTOWN PA 18104-4602


GERALDINE ALVARADO                    GERALDINE BAFUNDO                         GERALDINE BANDELT
395 EMETT STREET                      850 WELLINGTON AVE                        59 W MILLPAGE DR
ALLENTOWN PA 18102                    UNIT 207                                  BETHPAGE NY 11714
                                      ELK GROVE IL 60007



GERALDINE BAUM                        GERALDINE BOYLE                           GERALDINE COBB
325 WEST END AVE                      9641 S MAJOR                              1435 NORTH AUSTIN BLVD.
5D                                    OAK LAWN IL 60453                         CHICAGO IL 60651
NEW YORK NY 10023




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GERALDINE COPELAND                   GERALDINE DREVALAS                         GERALDINE FEICHTEL
321 LAUREL CT.                       5450 SUBIACO DR.                           THE ORLOSKI LAW FIRM
OXNARD CA 93035                      APT. 232                                   RICHARD J. ORLOSKI, ESQ.
                                     LISLE IL 60532                             111 N. CEDAR CREST BLVD
                                                                                ALLENTOWN PA 18104-4602


GERALDINE HUGHES                     GERALDINE KOVACEVICH                       GERALDINE MATELING
140 WESTERN AVE                      7258 S LAWNDALE AVE                        1780 S. ARLINGTON HTS.RD
GLENDALE CA 91201                    CHICAGO IL 60629                           APT. 2B
                                                                                ARLINGTON HEIGHTS IL 60005



GERALDINE ONGIRSKI                   GERALDINE POTTINGER                        GERALDINE RITTERMANN
303 ANNISTON COURT                   8155 RICHMOND AVE                          4210 ELSA TER
CARY NC 27519                        APT 307                                    BALTIMORE MD 21211
                                     HOUSTON TX 77063



GERALDINE STRYJEWSKI                 GERARD ADAMS                               GERARD ALLEYNE
1409 PRIMROSE PLACE                  2185 MARTINIQUE LANE                       925 EAST 48TH STREET
BELCAMP MD 21017                     OXNARD CA 93035                            BROOKLYN NY 11203




GERARD BABB                          GERARD BUCKREIS                            GERARD DE FROSCIA
185 E. JEFFERSON AVE.                14219 WINTERSET DR.                        1971 PHILLIPS WAY
POMONA CA 91767                      ORLANDO FL 32832                           LOS ANGELES CA 90042




GERARD DEPACE                        GERARD DEVINE                              GERARD E SCHULTZ
54C AYLESBURY COURT                  1029 LAKESHORE DRIVE                       C/O RUTH M POLLACK
RIDGE NY 11961                       MASSAPEQUA PARK NY 11762                   21 WEST SECOND ST
                                                                                PO BOX 120
                                                                                RIVERHEAD NY 11901


GERARD GAETANI                       GERARD J GRIECO                            GERARD LAFFMAN
162 PINEVIEW LANE                    73 SEACLIFF AVE                            5 OAKLEAF COURT
APT. #162                            MILLER PLACE NY 11764                      NORTHPORT NY 11768
CORAM NY 11727



GERARD LAWRENCE                      GERARD MARNIEN                             GERARD MAZUR
105 NORTH 19TH ST                    12560 ORANGE AVENUE                        16 CYPRESS ROAD
WHEATLEY HEIGHTS NY 11798            CHINO CA 91710                             WINDSOR LOCKS CT 06096




GERARD MEADE                         GERARD MULDERRIG                           GERARD MURRAY
8 SADDLEBROOK COURT                  274 SPARROW DRIVE                          282 NORTHWOOD ROAD
DIX HILLS NY 11746                   MANHASSET NY 11030                         RIVERSIDE IL 60546




GERARD NORMAND                       GERARD PUGLISI                             GERARD REILLY
523 CARPENTER                        4 JONES STREET                             23 HEMLOCK LANE
OAK PARK IL 60304                    PATCHOGUE NY 11772                         SMITHTOWN NY 11787




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GERARD SCHAFHAUTLE                    GERARD SCHMIDT                            GERARD TILLEY
26 ARROWHEAD LANE                     1532 GOGOL ST                             574 ALLENS MILL ROAD
EAST SETAUKET NY 11733                HOLBROOK NY 11741                         YORKTOWN VA 23692




GERARD, JONATHAN H                    GERARDETTE HEARNE                         GERARDO AFRICA
201 PARSONS ST                        4030 N. KOLMAR AVE.                       4851 BENHAM AVENUE
EASTON PA 18042                       CHICAGO IL 60641                          BALDWIN PARK CA 91706




GERARDO ALATRISTE                     GERARDO F GUBA                            GERARDO LECHUGA
14244 ERWIN ST.                       5343 ABBOTT PLACE                         510 E. CENTRAL AVE
APT 4                                 LOS ANGELES CA 90042                      SANTA ANA CA 92707
VAN NUYS CA 91401



GERARDO LOPEZ                         GERARDO OLVERA                            GERARDO SALAS
1040 W. MACARTHUR BLVD                3446 SAN GABRIEL RIVER PKWY               5341 HOLMES AVE.
UNIT #1                               BALDWIN PARK CA 91706                     APT. #275
SANTA ANA CA 92707                                                              LOS ANGELES CA 90033



GERASIMOPOULOS, PANAGIOTIS            GERBER, EVE SOMER                         GERBER, HELEN K
410 JOPLIN ST                         723 NORTH ELM DR                          801 OCEAN FRONT WALK STUDIO 9
BALTIMORE MD 21224                    BEVERLY HILLS CA 90210                    VENICE CA 90291




GERBER, PETER H                       GERBER, ROBIN                             GEREFFI, NICK
160 E 48TH ST NO.8F                   7109 EXETER RD                            75 NE 20TH CT
NEW YORK NY 10017                     BETHESDA MD 20814                         FT LAUDERDALE FL 33305




GEREFFI, PAUL                         GEREFFI, PAUL                             GERENA, JESSICA
2303 NE 12TH ST                       508 NW 30TH CT                            5473 PROSPECT ST
FT LAUDERDALE FL 33304                FT LAUDERDALE FL 33311                    WHITEHALL PA 18052




GERENA, NOEL                          GERGAR, FELICIA S                         GERGAR, GLEN
3040 S NEENAH                         5345 MONOCACY DR                          624 ONTARIO
CHICAGO IL 60634                      BETHLEHEM PA 18017                        BETHLEHEM PA 18015




GERGEN, JOSEPH A                      GERIANN CLEM                              GERING FAMILY PARTNERS
511 LIDO BLVD                         2006 NE 30 ST                             460 BROWN COURT
LONG BEACH NY 11561                   FORT LAUDERDALE FL 33306                  PO BOX 547
                                                                                OCEANSIDE NY 11572



GERING FAMILY PARTNERS                GERISE BRANDT                             GERKE, SARAH
460 BROWN CT                          108 BURLINGTON BLVD                       251 S GREEN VALLEY PKWY NO.5812
OCEANSIDE NY 11572                    SMITHTOWN NY 11787                        HENDERSON NV 89012




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GERMAIN, JACKSON                        GERMAIN, JACKSON                          GERMAIN, NED
270 STERLING AVE                        270 STERLING AVE                          532 NW 3RD COURT
DELRAY BEACH FL 33444                   DELRAY BEACH FL 33498                     HALLANDALE FL 33009




GERMAINE EDWARDS                        GERMAN CHAJCHI                            GERMAN, SEAN E
3715 COCOPLUM CIRCLE                    31 BRANCH AVE                             974 BUCKS POND RD
COCONUT CREEK FL 33063                  FREEPORT NY 11520                         MONTICELLO IL 61856




GERMAN, SEAN E                          GERMELINA CARLOS                          GERO, MARK
C/O ARGENTA-OREANA HIGH SCHOOL          6728 GREENE ROAD                          4511 CASTLE LANE
500 NORTH MAIN STREET                   WOODRIDGE IL 60517                        LA CANADA CA 91011
ARGENTA IL 62501



GERONIMA GALLARZO                       GERONIMO CABELLO                          GERONIMO SAJENKO
10421 NEVADA AVENUE                     2013 ROYAL DRIVE                          5858 N. MELVINA
MELROSE PARK IL 60164                   MELBOURNE FL 32904                        CHICAGO IL 60646




GERONNE COEUR-AIMABLE                   GEROU JOSEPH                              GEROULD CREATIVE EFFORTS
10650 SHADY POND LANE                   1300 SW 10TH AVENUE                       7565 SYLVAN VALLEY WAY
BOCA RATON FL 33428-5742                DEERFIELD BEACH FL 33441                  CITRUS HEIGHTS CA 95610




GEROULD KERN                            GERRES, JEFFREY NATE                      GERRIT SCHOLTEN
1245 ANTIETAM DRIVE                     45 S MAIN ST                              14461 76TH AVE
LONG GROVE IL 60047                     BEL AIR MD 21014                          COOPERSVILLE MI 49404




GERRY JOYCE                             GERRY MARTIN                              GERST, JEFFREY
2111 BROOKWOOD DRIVE                    3022 MC ELDARRY STREET                    301 WEST 57TH ST APT NO.12F
SOUTH ELGIN IL 60177                    BALTIMORE MD 21205                        NEW YORK NY 10019




GERSTEIN, JULIE                         GERSTEIN, MARK                            GERSTEIN, MARY RAFFERTY
65-67 RIVINGTON APT 7                   115 WAYLAND ST                            1300 W SCHUBERT AVE
NEW YORK NY 10002                       NORTH HAVEN CT 06473                      CHICAGO IL 60614




GERSTENBLITH, PATTY                     GERSTENZANG, JAMES R                      GERSTENZANG,PETER
910 SHERIDAN RD                         8203 THOREAU DR                           21 ELM HILL DRIVE
WILMETTE IL 60091                       BETHESDA MD 20817                         RYE BROOK NY 10573




GERSTLER, AMY                           GERTRUDE DOLIN                            GERTRUDE MOYER
2151 PRINCETON AVE                      4824 BOXWOOD CIRCLE                       2004 W. COLUMBIA STREET
LOS ANGELES CA 90026                    BOYNTON BEACH FL 33436                    ALLENTOWN PA 18104




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GERTRUDE PERPALL                       GERUS TOMPKINS                            GERVIL, JEAN PAUL
2900 ROCKAWAY AVE                      5348 HOLLYSPRINGS DR. WEST                3104 NW 3 AV NO.4
APT # 5G                               INDIANAPOLIS IN 46254                     POMPANO BCH FL 33064
OCEANSIDE NY 11572



GESENIA RODRIGUEZ                      GESS, TIMOTHY                             GET ME THAT VOICE
805 CHEW STREET                        405 LINDBEGH DR NE                        2409 FROSTED GREEN LANE
2ND FLOOR                              ATLANTA GA 30305                          PLANO TX 75025
ALLENTOWN PA 18102



GETCHES, CATHERINE                     GETLIN, JOSH                              GETLIN, JOSH
338 S FREMONT ST NO.428                250 W 90TH STREET #11A                    250 WEST 90TH STREET APT 11A
SAN MATEO CA 94401                     NEW YORK NY 10024                         NEW YORK NY 10024




GETTEN, RADCLIFFE                      GETTY IMAGES INC                          GETTY IMAGES INC
1066 WYOMING AVE                       4363 COLLECTIONS CENTER DR                P O BOX 953604
FT. LAUDERDALE FL 33312                CHICAGO IL 60693                          ST LOUIS MO 63195-3604




GETTY IMAGES INC                       GETTY IMAGES INC                          GETZ, BECKY
75 VARICK ST 5TH FLR                   601 N 34TH ST                             1185 39TH ST
NEW YORK NY 10013                      SEATTLE WA 98103                          ORLANDO FL 32805




GETZSCHMAN, DAVID STEWART              GETZSCHMAN, DAVID STEWART                 GEULA FERGUSON
1085 W YOSEMITE AVE NO.3               938 SANTA CLARA AVE                       9439 BOCA RIVER CIRCLE
MERCED CA 95348                        ALAMEDA CA 94501                          BOCA RATON FL 33434




GEVISSER, MARK                         GEVISSER, MARK                            GEYER, MARCIA
104 5TH AVE MELVILLE                   PO BOX 85479                              300 SOUTH SYKES CREEK PKWY NO.401
JOHANNESBURG                           EMMARENTIA 2029                           MERRITT ISLAND FL 32952




GF OFFICE FURNITURE                    GF OFFICE FURNITURE                       GF OFFICE FURNITURE
1034 SOUTH KOSTNER AVENUE              2762 PAYSPHERE CTR                        PO BOX 98941
CHICAGO IL 60624                       CHICAGO IL 60674                          CHICAGO IL 60693-8941




GGJ SPORTS                             GHAHREMANI, SUSAN                         GHALANDAR, ARMITA
660 GULF STREET                        5058 E MOUNTAIN VIEW DR                   9718 GLASGLOW PL NO.8
MILFORD MT 6460                        SAN DIEGO CA 92116                        WESTCHESTER CA 90045




GHIROLI, BRITTANY MARIE                GHITIS, FRIDA                             GHITIS, FRIDA
15 TURTLE BAY DR                       112 HIBERNIA AVE                          DBA INTERNATIONAL INSIGHTS
BRANFORD CT 06405                      DECATUR GA 30030                          112 HIBERNIA AVE
                                                                                 DECATUR GA 30030




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GHITIS, STEPHANIE                      GHIYA, STEPHANIE                           GHOSH, KORBI
3710 N 37 TERRACE                      3523 PROSPECT AVE                          1745 WILCOX AVE NO.273
HOLLYWOOD FL 33021                     LA CRESCENTA CA 91214                      LOS ANGELES CA 90028




GHS CARDINAL QUARTERBACK CLUB          GIACOMINI, JOHN R                          GIAIMO ASSOCIATES LLP
318 SOUND BEACH AVE                    365 NEW HAVEN AVE                          JOSEPH O. GIAIMO
OLD GREENWICH CT 06870                 MILFORD CT 06460-6667                      80-02 KEW GARDENS ROAD
                                                                                  KEW GARDENS NY 11415



GIALLUCA, NATALIE                      GIAN NAGPAL                                GIANCARLO OLVERA
22-60 35TH ST APT 2R                   75 TRUXTON ROAD                            2035 W FARGO AVE
ASTORIA NY 11105                       DIX HILLS NY 11746                         APT. #1
                                                                                  CHICAGO IL 60645



GIANNINI, MELISSA                      GIANNINI, MICHELE ANN                      GIANNINI, VINCENT R
343 5TH AVE NO.3R                      2104 TOWNHILL RD APT B                     369 ARBOR CIRCLE
BROOKLYN NY 11215                      PARKVILLE MD 21234                         MEDIA PA 19063




GIANOTTI,MELVYN                        GIANT ARTISTS                              GIANT OCTOPUS
1731 SW 84TH AVE                       1100 THIRD ST                              806 FRANKLIN ST
DAVIE FL 33324                         SAN RAFAEL CA 94901                        CLEARWATER FL 33756




GIANT RESOURCE RECOVERY                GIANTONIO, LORRAINE                        GIARRATANA, EMILY
PO BOX 601801                          364 SCANTIC RD                             5131 AURORA LAKES CIR
CHARLOTTE NC 28260-1801                EAST WINDSOR CT 06088                      GREENACRES FL 33463




GIARRUSSO, JOSEPH                      GIBBARD, M DANIEL                          GIBBONS JR, WILLIAM REGINALD
2419 LINCOLN ST APT 23B                415 WEST WILSHIRE DRIVE                    1633 HINMAN AVE APT 1
HOLLYWOOD FL 33020                     WILMETTE IL 60091                          EVANSTON IL 60201




GIBBONS, JAMES                         GIBBS DESIGN AND ASSOCIATES                GIBBS, DARLYNE
7127 HEATHFIELD RD                     PO BOX 15967                               1116 8 STREET APT A
BALTIMORE MD 21212                     LONG BEACH CA 90815-0967                   WEST PALM BEACH FL 33401




GIBBS, DEBRA R                         GIBBS, MICHAEL                             GIBBS, SCOTT
4122 INVERRARY DR                      413-1 CROMWELL CIRCLE                      6604 GAMEWELL RD
LAUDERHILL FL 33319                    BARTLETT IL 60103                          JACKSONVILLE FL 32211




GIBBS-HORTON, WANDA                    GIBISER, DENNIS                            GIBSON DUNN & CRUTCHER LLP
4863 WEST PARK CIRCLE                  5089 CETRONIA RD                           333 SOUTH GRAND AVENUE
COLLEGE PARK GA 30349                  ALLENTOWN PA 18106                         LOS ANGELES CA 90071




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GIBSON DUNN & CRUTCHER LLP              GIBSON DUNN & CRUTCHER LLP                GIBSON, PATRICK
C/O PETER ZIEGLER ESQUIRE               1050 CONNECTICUT AVE NW                   4205 N UNIVERSITY DR #207
333 SOUTH GRAND AVE                     WASHINGTON DC 20036-5306                  SUNRISE FL 33351
LOS ANGELES CA 90071-3197



GIBSON, ROBERT L                        GIBSON, ROBERT PHILLIP                    GIBSON, SARA A
161 OAKWOOD DR                          161 OAKWOOD DR                            938 NW 17TH AVE
BOLINGBROOK IL 60440                    BOLINGBROOK IL 60440                      FT LAUDERDALE FL 33311




GIBSON, SHAMICA L                       GIBULA, GARY                              GIDEON BROWN
3255 PERCH DR                           3 S 511 FOURTH ST                         1649 W 107TH STREET
MARIETTA GA 30008                       WARRENVILLE IL 60555-3313                 LOS ANGELES CA 90047




GIDEON, GREGORY                         GIDEON, GREGORY                           GIESBRECHT, SHAUNA
2850 AFTON CIR                          2850 ALFTON CIR                           6716 CLYBOURN AVE NO.157
STE 2005                                STE 2005                                  NORTH HOLLYWOOD CA 91606
ORLANDO FL 32825                        ORLANDO FL 32825



GIESER, RICHARD                         GIFFEN TELESUPPORT SERVICES INC           GIFT OF LOVE
796 PAWNEE DRIVE                        RR1 BOX 8104                              35 EAST MAIN ST
CAROL STREAM IL 60188                   PETERBOROUGH ON K9J 6X2                   PO BOX 463
                                                                                  AVON CT 06001



GIGI MANN                               GIGLEY, CHRISTOPHER D                     GIL CORNELL
10451 MULHALL ST.                       204 W TATE ST                             300 DEWALT AVE.
APT#38                                  GREENSBORO NC 27403                       RIDGECREST CA 93555
EL MONTE CA 91731



GIL REYES                               GIL, DARIUSZ                              GIL, ELOY
19523 CITRONIA ST                       221 DERBY AVE                             7495 WEST 14TH COURT
NORTHRIDGE CA 91324                     DERBY CT 06418                            HIALEAH FL 33014




GIL, GADIR                              GIL, GROVIS                               GIL, SHARON
305 SW 67 TER                           5993 NW 57 CT, APT A-109                  519 LONG LANE
PEMBROKE PINES FL 33023                 TAMARAC FL 33319                          MIDDLETOWN CT 06457




GILBERT A LEWTHWAITE                    GILBERT A SHEA                            GILBERT CHAE
10610 AUGUST LIGHT COURT                1682 HACKNEY STREET                       5340 ENCINITA AVENUE
COLUMBIA MD 21044                       HEMET CA 92543-1351                       TEMPLE CITY CA 91780




GILBERT CORREA                          GILBERT FELDMAN                           GILBERT GONZALES
33 CLIFTON STREET                       13851 BELLE CHASSE BLVD                   5114 E WOODWIND LANE
FARMINGDALE NY 11735                    UNIT 416                                  ANAHEIM CA 92807
                                        LAUREL MD 20707




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GILBERT HEILAND                         GILBERT PEREZ                             GILBERT PESQUEIRA
414 GLENMONT AVE.                       700 N KENWOOD                             2458 SOUTH ST ANDREWS PL
GLEN BURNIE MD 21061                    BURBANK CA 91505                          APT 214
                                                                                  LOS ANGELES CA 90018



GILBERT RIOS                            GILBERT SMOCK                             GILBERT WATSON
500 EASTMONT AVENUE                     20909 ARLEAN STREET                       1383 S. TREMAINE AVE
LOS ANGELES CA 90022                    LAKEWOOD CA 90715                         LOS ANGELES CA 90019




GILBERT WEBBLEY                         GILBERT, ANDRE LOUIS                      GILBERT, ANIQUA S
306 WAY POINT DR.                       300 PALM CIRCLE WEST #303                 1790 FOREST WILLOWCT
GROVELAND FL 34736                      PEMBROKE PINES FL 33025                   COLUMBUS OH 43229




GILBERT, CRAIG                          GILBERT, CRAIG                            GILBERT, GARY L
1 LONG WHARF DR                         55 CARMEL RD                              500 W AIRPORT BLVD    NO.1511
NEW HAVEN CT 06511                      BETHANY CT 06524                          SANFORD FL 32773




GILBERT, JAMES RUSSELL                  GILBERT, JANET                            GILBERT, JEFF
160 E. ILLINOIS ST.                     10309 GRETCHEN NICOLE CT                  11 LAUREL ROAD
#1102                                   WOODSTOCK MD 21163-1348                   WINDSOR LOCKS CT 06096
CHICAGO IL 60611



GILBERT, JEFFREY W                      GILBERT, KARL D                           GILBERT, KATHRYN
3205 FLEETWOOD AVE                      2743 SAXON ST                             5 WOODPECKER LANE
ROANOKE VA 24015                        ALLENTOWN PA 18103                        LEVITTOWN NY 11756




GILBERT, KENNETH                        GILBERT, LAURIE                           GILBERT, SANDRA
40 S. FOUR SEASONS RD                   67 WESTERLY TERRACE                       53 MENLO PLACE
PALM BEACH GARDENS FL 33410             EAST HARTFORD CT 06118-3562               BERKELEY CA 94707




GILBERT, SANDRA                         GILBERT, TOM                              GILBERT, TOMMY
3430 BELLS LANDING DR                   4611 S MAPLEWOOD AVE                      9131 NW 25TH ST
REX GA 30273                            TULSA OK 74135                            SUNRISE FL 33322




GILBERTO MEDINA                         GILBERTO VASQUEZ                          GILBERTO VILLANUEVA
271 NE 45TH ST.                         328 CENTINARY DR                          3452 W. 74TH STREET
FORT LAUDERDALE FL 33334                WALNUT CA 91789                           CHICAGO IL 60629




GILBERTSON, BETH                        GILDA OWENS                               GILDEN, JAMES
27 SW 15TH TERRACE                      2642 E. AVENUE R -6                       333 N KALORAMA ST    NO.504
FORT LAUDERDALE FL 33312                PALMDALE CA 93550                         FILMORE CA 93015




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GILDEN, JAMES                           GILDNER, KATHLEEN                           GILES JR, THOMAS W
333 N KALORAMA ST NO.504                2673 KIRK ST                                12944 BALTIMORE CT APT D4
VENTURA CA 93001                        SLATINGTON PA 18080                         NEWPORT NEWS VA 23606




GILES JR,OSCAR                          GILES, CRAIG                                GILGOFF, DANIEL
213 SW 4TH ST                           G TRILLIUM PLACE                            380 PACIFIC ST
DEERFIELD BEACH FL 33441                ALISO VIEJO CA 92656                        BROOKLYN NY 11217




GILJUM, SHARON H                        GILL, DANIEL                                GILL, GARY
5370 TOSCANA WAY                        808 W BROADWAY BLVD                         2541 PAUOA RD
APT # 111                               COLUMBIA MO 65203                           HONOLULU HI 96813
SAN DIEGO CA 92122



GILL, JEFF LAURENCE                     GILL, KRISTEN L                             GILL, SHARON ANDREA
PO BOX 316                              1612 MCCORMICK DR                           1741 NW 56TH AVENUE
OTTO NC 28763                           MECHANICSBURG PA 17055                      LAUDERHILL FL 33313-4843




GILL, STEVEN C                          GILL, YASMIN V                              GILLAND, BRIAN
17 FIFTH AVE                            14060 BISCAYNE BLVD NO. 406                 110 WALSTON AVE
WESTWOOD NJ 07675                       NORTH MIAMI FL 33181                        SALISBURY MD 21804




GILLE, JUDITH                           GILLESKI, JOSEPH                            GILLESPIE GROUP
621 16TH AVENUE EAST                    110 ELMBROOK DRIVE                          431 S WINDSOR DRIVE
SEATTLE WA 98112                        STAMFORD CT 06906                           ARLINGTON HEIGHTS IL 60004




GILLESPIE GROUP INC                     GILLESPIE PRINTING INC                      GILLESPIE, BENJAMIN
401 PILGRIM LN                          256 RACE ST                                 14 MORRISON AV
STE 205                                 CATASAUQUA PA 18032                         NEWPORT NEWS VA 23601
DREXEL HILL PA 19026



GILLESPIE, NICK                         GILLETLY, JOSEPH                            GILLETT, GILBERT
1701 MASSACHUSETTS AVENUE, NW           3570 QUANTUM LAKES DR                       8940 LINCOLNWOOD DR
NO.111                                  BOYNTON BEACH FL 33426                      EVANSTON IL 60203
WASHINGTON DC 20036



GILLETT, GILBERT                        GILLETTE, R ANDREW                          GILLIAM, PAUL
8940 LINCOLNWOOD DRIVE                  4411 KINGSWELL AVE                          254 CRYSTAL ST
SKOKIE IL 60203                         LOS ANGELES CA 90027                        CARY IL 60013




GILLIAN BLACK                           GILLING SR, CLARENCE                        GILLING, LAMBERT
22 TEN BROECK STREET                    35 SCARBOROUGH RD                           22 BINA AVE
ALBANY NY 12210                         WINDSOR CT 06095                            WINDSOR CT 06095




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GILLING, OLIVE                         GILLING, YVONNE                           GILLINGHAM RYAN, SARA KATE
54 GLASTONBURY AVE                     22 BINA AVE                               23 BEDFORD STREET NO.2
ROCKY HILL CT 06067                    WINDSOR CT 06095                          NEW YORK NY 10014




GILLINGHAM, KAREN                      GILLION, CHEVINE A                        GILLSPIE, ROCHELLE J
10705 VALLEYHEART DRIVE                630 SW 14TH STREET                        PHS SPORTS PROGRAM
STUDIO CITY CA 91604                   DEERFIELD BEACH FL 33441                  1 G MARIA DRIVE
                                                                                 POQUOSON VA 23662



GILLTRAP, ZACHARY G                    GILLUM, PRENTICE J                        GILMAN WELDING SERVICE
11869 W ARLINGTON DR                   17701 NW 14TH CT.                         308 BELMAR AVE
LITTLETON CO 80127                     MIAMI GARDENS FL 33169                    INDIANAPOLIS IN 46219




GILMARTIN, JOHN                        GILMORE, DIANA J                          GILMORE, SIDNEY
293 MURRAY HILL TERR                   10301 N 70TH ST NO.215                    [ADDRESS UNAVAILABLE AT TIME OF FILING]
APT 318                                PARADISE VALLEY AZ 85253
BERGENFIELD NJ 07621



GILPIN, JOHN                           GILROY, LEONARD                           GILSON, JANICE S
404 LAKE GEORGE CIRCLE                 1927 W LAMAR STREET NO.1                  1393 ROSEWOOD STREET
WEST CHESTER PA 19382                  HOUSTON TX 77019                          UPLAND CA 91784




GILSON, MATTHEW                        GILSON, SARAH                             GILSTRAP, PETER
2351 N MILWAUKEE AVE                   12160 SW SECOND ST                        1343 LUCILE AVE
CHICAGO IL 60647                       PLANTATION FL 33325                       LOS ANGELES CA 90026




GILWA, DENISE                          GIMBEL, RICK A                            GINA BITTNER
345 JASMINE ST                         2943 INDEPENDENCE AVE                     5543 FRITZINGER ROAD
DENVER CO 80220                        GLENVIEW IL 60026                         GERMANSVILLE PA 18053




GINA BRUNO                             GINA FERAZZI                              GINA FONTANA PHOTOGRAPHIC SERVICES INC
2311 VIRGINIA ST                       3429 ELMWOOD DR                           2893 SW 22ND CIRC NO.46-C
BERKELEY CA 94709                      RIVERSIDE CA 92506                        DELRAY BEACH FL 33445




GINA FRIEDBERG                         GINA GUARINO                              GINA HANDY
85 ADA DRIVE                           19 PAMELA LANE                            66 WORTH ROAD
STATEN ISLAND NY 10314                 SELDEN NY 11784                           GANSEVOORT NY 12831




GINA HOWE                              GINA MANGANIELLO                          GINA MARANO
2133 LEMOYNE STREET                    324 SOUTH FRANKLIN STREET                 57 PINELAWN AVENUE
LOS ANGELES CA 90026                   PEN ARGYL PA 18072                        SHIRLEY NY 11967




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GINA MAZZAFERRI                       GINA MCINTYRE                             GINA PERRY
125 S. LAGRANGE ROAD                  3085 ST. GEORGE STREET                    8805 DRYDEN COURT
LAGRANGE IL 60525                     APT 2                                     SACRAMENTO CA 95828
                                      LOS ANGELES CA 90027



GINA SCOTT                            GINA SEAY                                 GINA TAGLIOLI
30 OLD BEND ROAD                      48 OAK RIDGE LANE                         977 B VILLAGE ROUND
FORT EDWARD NY 12828                  WEST HARTFORD CT 06107                    WESCOSVILLE PA 18106




GINA THOMAS                           GINA TRIFILETTI                           GINA VEZZOLA
2300 LYNHURST AVENUE                  2120 WEST ROAD                            PO BOX 356
BALTIMORE MD 21216                    APOPKA FL 32703                           OLD LYME CT 06371




GINA WARY                             GINAMARIE DAVIS                           GINAMARIE PRECHTEL
316 EAST BROAD STREET                 5 KIMBERLY ANN COURT                      4 IRAM PLACE
SECOND FLOOR                          OWINGS MILLS MD 21117                     BETHPAGE NY 11714
BETHLEHEM PA 18018



GINELL, RICHARD                       GINETT COLON                              GINETTE HYPPOLITE
16856 ESCALON DRIVE                   707 NE 14TH STREET                        71-69 PARSONS BLVD
ENCINO CA 91436                       1                                         FLUSHING NY 11365
                                      FT. LAUDERDALE FL 33304



GINGER DELGADO                        GINGER HAYES                              GINGRICH COMMUNICATIONS
4361 KELLWOOD DRIVE                   1448 SHELTON AVENUE                       1425 K STREET NW STE 450
CASTLE ROCK CO 80109                  NORFOLK VA 23502                          WASHINGTON DC 20005




GINI, ALFRED R                        GINIA HINES                               GINKGO LEAF PRODUCTION INC
506 PARK AVE                          312 REMINGTON STREET                      3941 MAIN ROAD
RIVER FOREST IL 60305                 BRIDGEPORT CT 06610                       TIVERTON RI 02878




GINN, SAM                             GINNIE, DEBRA A SMITH                     GINNY CHIEN
1005 SPRING ST                        5661 WASHINGTON STREET                    131 N. GALE DRIVE
BETHLEHEM PA 18018                    HOLLYWOOD FL 33023                        APT 2C
                                                                                BEVERLY HILLS CA 90211



GINO BATTISTONI                       GINO GRIFFIN                              GINO JOHNSON
6105 W CORNELIA AVENUE                5537 S. ELIZABETH                         720 ORANGE BLOSSOM TR.
CHICAGO IL 60634                      CHICAGO IL 60636                          ORLANDO FL 32805




GINSBURG, MONICA                      GINTY, JASON L                            GINTZLER, SHARON J
1900 W ROSCOE ST                      3532 LAUREL ST                            817 CARROLL ST NO.4B
CHICAGO IL 60657                      NEW ORLEANS LA 70115                      BROOKLYN NY 11215




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GINYARD, TIFFANY CHRISTINA               GIORDANO, C. ESTELLE                      GIORDANO, THOMAS
809 N CHAPLEGATE LANE                    5376 AUTUM BROOK DR.                      146 HIGH ST
BALTIMORE MD 21229                       MEMPHIS TN 38141                          APT 110
                                                                                   MILFORD CT 06460



GIORDANO, VINCENT J                      GIOVANNI MOLINA                           GIOVANNI PIROZZI
16 VAALCOM RD                            8709 NW 61STREET                          4507 SIMPSON AVE.
TOLLAND CT 06084                         TAMARAC FL 33321                          STUDIO CITY CA 91607




GIOVANNI UGARTE                          GIOVANNY ARANGO                           GIOVENCO, CHRISTOPHER
4330 TOLAND WAY                          169 VAN BUREN                             125 N 37TH ST
EAGLE ROCK CA 90041                      MASSAPEQUA NY 11762                       ALLENTOWN PA 18104




GIPE, LEE                                GIRALDO, ANDREA                           GIRALDO, ANDRES
3915 ALLAMANDA CT                        5230 NE 6TH AVE APT 24B                   955 JUNIPER ST
CLERMONT FL 34711                        FT LAUDERDALE FL 33334                    ATLANTA GA 30309




GIRALDO, DANIEL                          GIRALDO, HENRY                            GIRALDO, JEFFREY KEVEN
9831 W. HEATHER LN                       5230 NE 6TH AVE APT 24B                   1617 COUNTRY LAKES DRIVE APT 206
MIRAMAR FL 33025                         FT LAUDERDALE FL 33334                    NAPERVILLE IL 60563




GIRALDO, ROGER                           GIRARD GIBBS & DE BARTOLOMEO LLP          GIRDWAIN, JESSICA
44 CAMBRIDGE ST                          A.J. DE BARTOLOMEO                        606 MILLINGTON WAY
WEST HARTFORD CT 06110                   601 CALIFORNIA ST SUITE 1400              ST CHARLES IL 60174
                                         SAN FRANCISCO CA 94108



GIRGIS, CRISTINA                         GIRL SCOUT OF NORTH EASTERN NY INC        GIRL SCOUT OF NORTH EASTERN NY INC
473 MOUNTAIN AVE                         135 JENNI JILL DRIVE                      213 MEADOWBROOK RD
BERKELEY HEIGHTS NJ 07922                WARRENBURG NY 12885                       QUEENSBURY NY 12804




GIRLIE DIMAANO                           GIROCCO, DAWN M                           GIRON, LEON F
7268 WEST OGDEN                          4220 ALLOTT AVE                           PATRICIO SANZ 1442-10
RIVERSIDE IL 60546                       SHERMAN OAKS CA 91423                     OSLO, DF CP03100




GIRVIN, MICHAEL                          GISELA RODRIGUEZ                          GISH, SHAUN
1613 LIBERTY ST APT A                    153 BURNS AVENUE                          921 HIGHLAND VILLAGE ROAD
EASTON PA 18042                          HICKSVILLE NY 11801                       HIGHLAND VILLAGE TX 75077




GISH, TODD                               GISSENDANNER,ROBERT                       GITLIN, HEATHER S
1537 STANFORD STREET NO.7                5909 SW 26 TERRACE                        1070 SPYGLASS
SANTA MONICA CA 90404                    HOLLYWOOD FL 33023                        WESTON FL 33326




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GITLIN, TODD                              GITLIN, TODD                              GITTENS, JARRETT
2828 BROADWAY                             4 WASHINGTON SQ VILLAGE                   2003 RICHGLEN DR
APT 12A                                   APT 14P                                   BALTIMORE MD 21207
NEW YORK NY 10025                         NEW YORK NY 10012



GITTENS, KEVIN D                          GITTO, JOSHUA                             GIUCA ZEMMEL, LINDA
3362 NW 33RD AVE                          302 ANDREW LANE                           159 ESSEX STREET
LAUDERDALE LAKES FL 33309                 FORT EDWARD NY 12804                      DEEP RIVER CT 06417




GIULIANO, MIKE                            GIULIOTTI, EDWARD J                       GIUSANI, BRIAN
2317 N CALVERT ST                         1600 SE 15 ST                             338 EAST ST APT E2
BALTIMORE MD 21218                        #302                                      PLAINVILLE CT 06062
                                          FORT LAUDERDALE FL 33316



GIUSTO II, JOSEPH D                       GIVANNA WILLIAMS                          GIVENS, JAMES
PO BOX 104                                430 MOLLOY STREET                         750 WHITE DR    APT 421
LINTHICUM MD 21090                        COPIAGUE NY 11726                         TALLAHASSEE FL 32304




GIZARA GROUP                              GLACKMEYER, KEVIN                         GLADDEN, JUSTIN
507 PATTERSONVILLE RD                     213 BELLEHURST DR                         3301 DOLFIELD AVE
AMSTERDAM NY 12010                        MONTGOMERY AL 36109                       BALTIMORE MD 21215




GLADFELTER, SIERRA ROSS                   GLADNEY FUND                              GLADSTONE SAMUELS
1300 CECIL B MOORE AVENUE APT 309 SOUTH   6300 JOHN RYAN DR                         10712 S. PROSPECT AVENUE
PHILADELPHIA PA 19122                     FORT WORTH TX 76132                       CHICAGO IL 60643




GLADYS ARROYO                             GLADYS CENTENO                            GLADYS COLES
1817 WISCONSIN AVENUE                     5832 LOKEY DR                             525 GILMORE STREET 2ND FLOOR
BERWYN IL 60402                           ORLANDO FL 32810                          BALTIMORE MD 21223




GLADYS CRUZ                               GLADYS E GRADY                            GLADYS EDWARDS
2912 ELM ST.                              6 N 6TH STREET #808                       1201 SILVER SUMMIT DR SE
LOS ANGELES CA 90065                      SUN TOWER                                 CONYERS GA 30094
                                          YAKIMA WA 98901



GLADYS GARCIA                             GLADYS GONZALEZ                           GLADYS RHONE
26 NORFOLK DRIVE EAST                     214 7TH AVENUE                            111 WEBB
ELMONT NY 11003                           BETHLEHEM PA 18018                        CALUMET CITY IL 60409




GLADYS STRONG                             GLAGOWSKI, JEFF                           GLANTON, ANGELA
107 BLOOMSBURY AVENUE                     62 FOSTER ST                              2414 CHESTNUT LANDING
HARVE DE GRACE MD 21078                   NEW HAVEN CT 06511                        ATLANTA GA 30360




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GLANTON, ANGELA                         GLANTZ, JENNIFER                          GLANVILLE, DOUGLAS
ATLANTA BUREAU CORRESPONDENT            11742 WATER CRST LANE                     2043 W MCLEAN
435 N MICHIGAN AVE                      BOCA RATON FL 33498                       CHICAGO IL 60647
CHICAGO IL 60611



GLAROS, TONY                            GLAROS, TONY                              GLASCOCK, STUART
9422 GLEN RIDGE DR                      PO BOX 518                                PO BOX 16298
LAUREL MD 20723                         LAUREL MD 20725                           SEATTLE WA 98116




GLASER, GAIL M                          GLASGOW, ELIZABETH                        GLASHEEN, WILLIAM A
1725 W. GLENLAKE AVE.                   502 MADISON AVE                           911 SPRING ST
#1W                                     GREENPORT NY 11944                        KAUKAUNA WI 54130
CHICAGO IL 60660



GLASPELL, CRAIG M                       GLASS DIMENSIONS INC                      GLASS SLIPPER ENTERPRISES INC
23466 DOVER COURT                       PO BOX 220                                737 W WASHINGTON BLVD APT 3401
MURRIETA CA 92562                       ESSEX MA 01929                            CHICAGO IL 60661




GLASS, AILENE G                         GLASS, AMANDA                             GLASS, BRIAN
1492 ALDERSGATE DR      APT 6           2500 CENTERST NO.C212                     2647 N WILTON
KISSIMMEE FL 34746                      ATLANTA GA 30318                          CHICAGO IL 60614




GLASS, RANDY                            GLASSMAN, AMANDA                          GLASSMAN, MARVIN
11025 ERWIN STREET                      40 PINNACLE MOUNTAIN RD                   18011 BISCAYNE BLVD NO.904
N HOLLYWOOD CA 91606                    SIMSBURY CT 06070                         AVENTURA FL 33160




GLASSMAN,STEPHEN                        GLASTONBURY CITIZEN                       GLATZER, ARON
P O BOX 451278                          87 NUTMEG LN                              7 WHITMAN CT
LOS ANGELES CA 90045                    GLASTONBURY CT 06033                      SAN CARLOS CA 94070




GLAUSER, JEFFREY                        GLAZEBROOK, MATTHEW                       GLAZED EXPRESSIONS INC
166 KENWOOD DRIVE                       105 WINTHROP ST NO.6G                     4258 W WELLINGTON
SICKLERVILLE NJ 08081                   BROOKLYN NY 11225                         CHICAGO IL 60641




GLEASON, HOLLY                          GLEESON, ERIN                             GLEI, JOCELYN
PO BOX 121228                           384A 9TH ST                               901 GRAND ST   APT NO.B
NASHVILLE TN 37212                      BROOKLYN NY 11215                         BROOKLYN NY 11211




GLEN ADAMS                              GLEN CALLANAN                             GLEN CAMPBELL
901 PENNYLVANIA AVE                     C/O WGN-TV                                78 LENOX STREET
BALTIMORE MD 21201                      2501 W. BRADLEY PLACE                     HARTFORD CT 06112
                                        CHICAGO IL 60618




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GLEN ELLYN COMMUNITY RESOURCE CENTER     GLEN ELLYN COMMUNITY RESOURCE CENTER      GLEN EPPIG
211 S WHEATON AVE SUITE 200              PO BOX 354                                731 REEDY CIRCLE
WHEATON IL 60187                         GLEN ELLYN IL 60138                       BEL AIR MD 21014




GLEN GAMBOA                              GLEN GIBBONS                              GLEN HENNINGER
138 ST MARKS PLACE                       192 JAN PLACE                             2517 LAUREL VALLEY GARTH
#2A                                      EAST NORTHPORT NY 11731                   ABINGDON MD 21009
BROOKLYN NY 11217



GLEN KOZLOWSKI                           GLEN KOZLOWSKI                            GLEN KRON
1000 FOOTBALL DRIVE                      18095 TIMBER LANE                         305 GADWALL COURT
C/O CHICAGO BEARS                        WILDWOOD IL 60030                         HAVRE DE GRACE MD 21078
LAKE FOREST IL 60045



GLEN MAMMEL                              GLEN SKAGERBERG                           GLENARD R LEE
1816 NW 64 WAY                           10920 CARDIMINE                           945 S FIRCROFT
MARGATE FL 33063                         TUJUNGA CA 91042                          WEST COVINA CA 91791




GLENDA MAYE                              GLENDA MOLON                              GLENDA PARTIN
2624 MEADOW LAKE DRIVE                   735 E. PALMER                             4250 SANDHURST DRIVE
TOANO VA 23168                           APT. #110                                 ORLANDO FL 32817
                                         GLENDALE CA 91205



GLENDA SMITH                             GLENDALE BUSINESS CENTER, LLC             GLENDALE SUNRISE ROTARY FOUNDATION
P.O. BOX #91362                          RE: GLENDALE 6631 N SIDNEY PL             416 N GLENDALE AVE STE 202
LOS ANGELES CA 90009-1362                CARE OF CLOVERLEAF GROUP, INC.            GLENDALE CA 91206
                                         666 DUNDEE ROAD, SUITE 901
                                         NORTHBROOK IL 60062


GLENDEREE HAWKINS                        GLENFORD THOMAS                           GLENFORD WHITE
PO BOX 773                               97 GRANDE AVENUE                          20 CHAPMAN STREET
MIDLOTHIAN IL 60445                      WINDSOR CT 06095                          EAST HARTFORD CT 06108




GLENN ADAMS                              GLENN BALLARD                             GLENN CISSELL
4278 BRIARCLIFFE RD                      8334 S. LAFAYETTE                         2380 SNOWHILLRD.
ALLENTOWN PA 18104                       CHICAGO IL 60620                          CHULUOTA FL 32766




GLENN COUCH                              GLENN DAVIS                               GLENN DE FALKENBERG
1519 S WABASH STREET                     1127 23RD                                 1400 N LAKE SHORE DR #22A
GLENDORA CA 91740                        NEWPORT NEWS VA 23607                     CHICAGO IL 60610-6648




GLENN E HALL                             GLENN F LEBUS                             GLENN FAWCETT
211 E. LOMBARD ST                        19022 WOODLAND WAY                        #8 SILVERFOX CT
APT# 158                                 TRABUCO CANYON CA 92679                   COCKEYSVILLE MD 21030
BALTIMORE MD 21202




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GLENN FODEN                             GLENN GEFFCKEN                            GLENN GRAHAM
917 HORIZON RD                          38 CENTER STREET                          5133 WAGON SHED CIRCLE
MOUNT AIRY MD 21771                     CANDLER NC 28715                          OWINGS MILLS MD 21117




GLENN GUSTAVE                           GLENN HANNIGAN                            GLENN IRIZARRY
200 BEACON HILL DRIVE                   P. O. BOX 3105                            236 EAST FULTON ST
APT. 3A-1                               MUNSTER IN 46321                          LONG BEACH NY 11561
DOBBS FERRY NY 10522



GLENN JENKINSON                         GLENN KAUPERT                             GLENN KAUPERT PHOTOGRAPHY
1 ALEXANDER DRIVE                       745 NORFOLK AVENUE                        745 NORFOLK AVE
SYOSSET NY 11791                        WESTCHESTER IL 60154                      WESTCHESTER IL 60154




GLENN KOENIG                            GLENN KRANZLEY                            GLENN LORANG
1674 AVENIDA DEL VISTA                  839 MAGNOLIA ROAD                         541 SINTON AVE.
CORONA CA 92882                         HELLERTOWN PA 18055                       COLORADO SPRINGS CO 80906




GLENN MARCIONE                          GLENN MCCARTHY                            GLENN MCNATT
15455 GLENOAKS #164                     PO BOX 452376                             108 HOMELAND AVENUE
SYLMAR CA 91342                         KISSIMMEE FL 34745                        BALTIMORE MD 21212




GLENN MEYER                             GLENN NELSON                              GLENN O AINLEY
9725 SW ARDENWOOD                       899 SENATE                                20058 TIPICO
PORTLAND OR 97225                       COSTA MESA CA 92627                       CHATSWORTH CA 91311




GLENN PETRAITIS                         GLENN SINGER                              GLENN THOMSON
18 TONY DRIVE                           1900 LAUREL LANE                          312 WEST 23 ST.
KINGS PARK NY 11754                     WEST PALM BEACH FL 33406                  3A
                                                                                  NEW YORK NY 10011



GLENN THRUSH                            GLENN UEKERT                              GLENN, CAMERON
3310 OBERON STREET                      6711 RENATO STREET                        1306 SPEED AVE
KENSINGTON MD 20895                     CHINO CA 91710                            MONROE LA 71201




GLENN, DEVON                            GLENN, WILLIAM                            GLENN-JOHN JEFFERS
233 WEST WILSHIRE AVENUE                600 ASYLUM AVENUE-NO.404                  5915 N. PAULINA ST.
FULLERTON CA 92832                      HARTFORD CT 06105                         UNIT #3W
                                                                                  CHICAGO IL 60660



GLENS FALLS AREA YOUTH CENTER           GLENS FALLS AREA YOUTH CENTER             GLENS FALLS COUNTRY CLUB
90 MONTCALM STREET                      PO BOX 469                                211 ROUND POND RD
GLENS FALLS NY 12801                    GLEN FALLS NY 12801                       QUEENSBURY NY 12804




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GLENS FALLS RECREATION DEPARTMENT      GLENVILLE, THOMAS                         GLENZES DOWDIE
42 RIDGE ST                            10125 SW 16TH ST APT 304                  942 WEST TIOGA STREET
GLENS FALLS NY 12801                   PEMBROKE PINES FL 33025                   ALLENTOWN PA 18103




GLICK, ANITA                           GLICK, DUSTIN                             GLICK, NANCY
66 ROUNDTREE DRIVE                     30-76 CRESCENT ST                         2016 COUNTRYSIDE CIRCLE SOUTH
PLAINVIEW NY 11803                     ASTORIA NY 11102                          ORLANDO FL 32804-6937




GLICKMAN, ELYSE                        GLICKSBERG, KATE                          GLICKSBERG, KATE
4444 WOODMAN AVE NO.30                 54 CHEEVER PL NO 4                        57 CHEEVER PL NO 4
SHERMAN OAKS CA 91423                  BROOKLYN NY 11231                         BROOKLYN NY 11231




GLIK, SARA                             GLIMMER WESTSIDE                          GLINDA HOWARD
8 BRIGHTSIDE AVE                       P O BOX 489                               332 DOVER ST.
BALTIMORE MD 21208                     NAPERVILLE IL 60566                       ORLANDO FL 32811




GLISTA, HELEN                          GLOBAL AEROSPACE, INC                     GLOBAL AEROSPACE, INC
11 LAUREL RD                           51 JOHN F KENNEDY PARKWAY                 POPULAR CREEK OFFICE PLAZA
WINDSOR LOCKS CT 06096                 SHORT HILLS NJ 07078                      1721 MOON LAKE BOULEVARD
                                                                                 SUITE 420
                                                                                 HOFFMAN ESTATES IL 60169


GLOBAL AIDS ALLIANCE                   GLOBAL CARTOON                            GLOBAL CARTOON
1413 K ST NW 4TH FLR                   95 CARL VOGT BLVD                         C/O PATRICK CHAPPATTE
WASHINGTON DC 20005                    GENEVA 1205                               95 CARL VOGT BLVD
                                                                                 GENEVA 1205



GLOBAL COMPLIANCE SERVICES INC         GLOBAL COMPLIANCE SERVICES INC            GLOBAL COMPLIANCE SERVICES INC
13950 BALLANTYNE CORPORATE PL          13950 BALLANTYNE CORPORATE PL             PO BOX 60941
STE 300                                CHARLOTTE NC 28277                        CHARLOTTE NC 28260-0941
CHARLOTTE NC 28277



GLOBAL COMPUTER SUPPLIES               GLOBAL COMPUTER SUPPLIES                  GLOBAL COMPUTER SUPPLIES
PO BOX 5465                            PO BOX 5000                               PO BOX 5000
CARSON CA 90749                        SUWANEE GA 30024                          SUWANEE GA 30174-5000




GLOBAL COMPUTER SUPPLIES               GLOBAL COMPUTER SUPPLIES                  GLOBAL COMPUTER SUPPLIES
175 AMBASSADOR DRIVE                   2249 WINDSOR COURT                        PO BOX 5133
630-357-3353 FAX X4876 STACEY          ADDISON IL 60101                          CHICAGO IL 60680-5133
800-443-2250 CORP ACCT.
NAPERVILLE IL 60540


GLOBAL COMPUTER SUPPLIES               GLOBAL COMPUTER SUPPLIES                  GLOBAL COMPUTER SUPPLIES
11 HARBOR PARK DRIVE                   22 HARBOR PARK DRIVE                      P O BOX 271
PT WASHINGTON NY 11050                 PT WASHINGTON NY 11050-4682               PT WASHINGTON NY 11050




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GLOBAL CROSSING TELECOMMUNICATIONS        GLOBAL CROSSING TELECOMMUNICATIONS        GLOBAL CUISINE BY GARY ARABIA LLC
1080 PITTSFORD VICTOR RD                  PO BOX 741276                             1041 N FORMOSA AVE
PITTSFORD NY 14534                        CINCINNATI OH 45274-1276                  W HOLLYWOOD CA 90046




GLOBAL DIGITAL MEDIA                      GLOBAL EQUIPMENT COMPANY                  GLOBAL EQUIPMENT COMPANY
5432 W 102NDST                            1070 NORTHBROOK PARKWAY                   PO BOX 5200
LOS ANGELES CA 90045                      SUWANEE GA 30174                          SUWANEE GA 30174




GLOBAL EQUIPMENT COMPANY                  GLOBAL EQUIPMENT COMPANY                  GLOBAL EQUIPMENT COMPANY
22 HARBOR PARK DRIVE                      63 HEMLOCK DRIVE                          P O BOX 1560
PORT WASHINGTON NY 11050-4682             HEMPSTEAD NY 11550                        PORT WASHINGTON NY 11050-1560




GLOBAL IMAGING SYSTEMS, INC.              GLOBAL INSTITUTE OF LANGUAGES &           GLOBAL INVESTIGATIVE GROUP INC
P.O. BOX 728                              7368 NW 5TH ST                            PO BOX 54690
PARK RIDGE NJ 07656                       PLANTATION FL 33317                       IRVINE CA 92619-4690




GLOBAL INVESTIGATIVE GROUP INC            GLOBAL MEDIA NETWORK                      GLOBAL MEDIA SERVICES GMBH
PO BOX 68                                 M-138 GREATER KAILASH II                  MITTELWEG 38
CARLSBAD CA 92018-0068                    NEW DELHI 110048                          D-20148
                                                                                    HAMBURG, HH



GLOBAL RECYCLING                          GLOBAL RESCUE LLC                         GLOBAL RETAIL MARKETING ASSOCIATION LLC
320 PASTURE LANE                          115 BROAD ST   STE 350                    3802 ROSECRANS ST   STE 800
HAMPTON VA 23669-2111                     BOSTON MA 02110                           SAN DIEGO CA 92110




GLOBAL RETAIL MARKETING ASSOCIATION LLC   GLOBAL SECURITIZATION SERVICES LLC        GLOBAL SECURITIZATION SERVICES LLC
5845 EDGEWOOD DR                          68 SOUTH SERVICE RD SUITE 120             C/O GSS LLC
ALGONQUIN IL 60102-2586                   MELVILLE NY 11747                         68 SOUTH SERVICE ROAD SUITE 120
                                                                                    MEVILLE NY 11747



GLOBAL SECURITIZATION SERVICES LLC        GLOBE MARKETING                           GLOBE MARKETING
PO BOX 6139                               2120 E AVE Q-6                            2120 EAST Q6
NEW YORK NY 10249-6139                    PALMDALE CA 93550                         PALMDALE CA 93550




GLOBE NEWSPAPER                           GLOBE NEWSPAPER                           GLOBE NEWSPAPER
135 MORRISSEY BLVD                        BOSTON GLOBE                              GLOBE CIRCULATION DEPT
BOSTON MA 02107                           PO BOX 4074                               PO BOX 55819
                                          WOBURN MA 01888-4074                      BOSTON MA 02205



GLOBE NEWSPAPER                           GLOBE NEWSPAPER                           GLOBE PHOTOS INCORPORATION
PO BOX 2378                               THE BOSTON GLOBE                          275 SEVENTH AVENUE
BOSTON MA 02107                           PO BOX 2553                               NEW YORK NY 10001
                                          BOSTON MA 02208




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GLOBE PHOTOS INCORPORATION             GLOMB, DAVID                               GLORESA SINCLAIR
41 JOHN STREET                         71340 ESTELLITA DRIVE                      2403 LOYOLA NORTHWAY
SUITE 4                                RANCHO MIRAGE CA 92270                     BALTIMORE MD 21215
BABYLON NY 11702



GLORIA BAKER                           GLORIA BRITTON                             GLORIA BROWN
1109 73RD STREET                       14521 DALWOOD AVENUE                       3450 W GOLFVIEW DR.
NEWPORT NEWS VA 23605                  NORWALK CA 90650                           HAZEL CREST IL 60429




GLORIA BURTON                          GLORIA CARABALLO                           GLORIA CWIEKOWSKI
638 N. MONTICELLO                      538 RIDGE AVENUE                           307 SAUCON VIEW DRIVE
1ST FLOOR                              ALLENTOWN PA 18102                         BETHLEHEM PA 18015
CHICAGO IL 60624



GLORIA DARIENZO                        GLORIA DECESARE                            GLORIA DIAZ
1116 5TH AVENUE                        6305 WIND RIDER WAY                        6100 CORD AVENUE
EAST NORTHPORT NY 11731                COLUMBIA MD 21045                          PICO RIVERA CA 90660




GLORIA FOSTER                          GLORIA GARIBAY                             GLORIA GRAHAM
164 BORO VU DRIVE                      1908 GARDEN AVE.                           6708 RIO PINAR
NORTHAMPTON PA 18067                   #10                                        NORTH LAUDERDALE FL 33068
                                       GLENDALE CA 91204



GLORIA GRAMOLINI                       GLORIA GREENE                              GLORIA GUTIERREZ
14 ARLINGTON STREET                    640 WESTWOOD AVENUE                        3308 84TH STREET
WEST HAVEN CT 06516                    HAMPTON VA 23661                           H10
                                                                                  JACKSON HEIGHTS NY 11372



GLORIA HAUTER                          GLORIA HENAO                               GLORIA HINRICHS
12554 ROSEWOOD DRIVE                   500 NW 34TH STREET                         149 SCOTTSWOOD ROAD
HOMER GLEN IL 60491                    POMPANO BEACH FL 33064-3613                RIVERSIDE IL 60546




GLORIA HOWARD                          GLORIA JONES                               GLORIA LAINEZ
3520 NW 50 AVE                         7432 WASHINGTON                            626 TURNER STREET
APT P-308                              APT. 506                                   APT# 2
LAUDERDALE LAKES FL 33319              FOREST PARK IL 60130                       ALLENTOWN PA 18102



GLORIA LANG                            GLORIA LONDON                              GLORIA LUDOLPH
120 SMITH STREET                       20 MYTILENE DR                             P. O. BOX 170
RONKONKOMA NY 11779                    NEWPORT NEWS VA 23605                      SANTA MONICA CA 90406




GLORIA MACLEAN                         GLORIA MARQUEZ                             GLORIA MARQUEZ
756 N IRVING STREET                    1042 BRITTANIA STREET                      11129 MILDREN ST.
ALLENTOWN PA 18109                     A7                                         APT. 8
                                       LOS ANGELES CA 90033                       EL MONTE CA 91731




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GLORIA MEDINA                          GLORIA ROJAS                               GLORIA SCARABINO
5852 COMSTOCK AVENUE                   225 E. MASON STREET                        10300 NW 30TH COURT
APT F                                  AZUSA CA 91702                             APT 107
WHITTIER CA 90601                                                                 SUNRISE FL 33322



GLORIA THOMAS                          GLORIA TIERNEY                             GLORIA VARGAS
4319 W. 21ST PLACE                     7969 TIMBERLAKE DR                         502 SILVER CHARM DRIVE
CHICAGO IL 60623                       MELBOURNE FL 32904                         OSWEGO IL 60543




GLOSAN, GREGORY                        GLOSE, ELSIE                               GLOSE, ELSIE
217 E 21ST ST                          320 CHURCH ST                              320 CHURCH ST
NORTHAMPTON PA 18067                   CATASAQUA PA 18032                         CATASAUQUA PA 18032




GLOUCESTER COUNTY                      GLOUCESTER COUNTY                          GLOUCESTER COUNTY
CLERK                                  PO BOX 2118                                UTILITIES DEPARTMENT
PO BOX N                               GLOUCESTER VA 23061                        TREASURER
CLOUCESTER VA 23061                                                               6489 MAIN ST
                                                                                  GLOUCESTER VA 23061


GLOVER, ANA                            GLOVER, FRANCINER                          GLOVER, JEREMY
12252 ROLLING GREEN COURT              14040 N. MIAMI AVENUE                      3041 CR 3860
JACKSONVILLE FL 32246                  MIAMI FL 33168                             HAWKINS TX 75765




GLOVER, TAMARA                         GLOW IMAGERY                               GLUCK, SARAH
03881 PICCIOLA RD                      524 E 90TH TERRACE                         6315 NW 82ND DR
FRUITLAND PARK FL 34731                KANSAS CITY MO 64114                       PARKLAND FL 33067




GLUDENIE HENRY                         GLUE PRODUCTION                            GLUNZ & JENSEN K & F INC
7243 PINION DRIVE                      324 SOUTH OCCIDENTAL BLVD                  ATTN: ROCKIE WESTBERG
ORLANDO FL 32818                       LOS ANGELES CA 90057                       12633 INDUSTRIAL DRIVE
                                                                                  P. O. BOX 340
                                                                                  GRAINGER IN 46530


GLUNZ & JENSEN K & F INC               GLUNZ & JENSEN K & F INC                   GLUSAC, ELAINE
NORDEA BANK FINLAND PIC-NY BRANCH      W-512256                                   1815 W MELROSE STREET NO. 3C
437 MADISON AVE                        PO BOX 7777                                CHICAGO IL 60657
NEW YORK NY 10022                      PHILADELPHIA PA 19175-2256



GLUSZEK, AGATA MATYLDA                 GLUTING JR, FRANK                          GLUTING JR, FRANK
4332 AVALON HAVEN DR                   2804 BURMAN ROAD                           ACCT NO.1625
NORTH HAVEN CT 06473                   NORTH AURORA IL 60542                      2804 BURMNA ROAD
                                                                                  NORTH AURORA IL 60542



GLUTING JR, FRANK                      GLUTING, BOB                               GLUTING, FRANK
ACCT 1625                              3488 RIVINIA CIR 1604 BIG NEWS             1971 SOMERSET DR
1350 W INDIAN TRAIL ROAD APT 3         AURORA IL 60504                            19500
AURORA IL 60506                                                                   ROMEOVILLE IL 60446




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GLUTING, FRANK                            GLYN PRITCHARD                            GLYNIS BABB
320 ROC BAAR 19500                        6879 NW 28TH TERRACE                      1406 FETTLER WAY
ROMEOVILLE IL 60446                       FORT LAUDERDALE FL 33309                  WINTER GARDEN FL 34787




GLYNN BOYD                                GLYNN, DAVID                              GMAC
708 MICHELLE CT.                          4 BELLA LANE                              PO BOX 5180
GRETNA LA 70056                           UNIONVILLE CT 06085                       CAROL STREAM IL 60197-5180




GMAC                                      GMAC                                      GMAC COMMERCIAL CREDIT LLC
PO BOX 9001951                            PO BOX 70309                              PO BOX 403058
LOUISVILLE KY 40290                       PAYMENT PROCESSING CTR                    ATLANTA GA 30384-3058
                                          CHARLOTTE NC 28272-0309



GMAC COMMERCIAL CREDIT LLC                GMAC COMMERCIAL CREDIT LLC                GMAC COMMERCIAL CREDIT LLC
PO BOX 60576                              100 WEST 33RD STREET                      KID ATHLETE
CHAROLOTTE NC 28260                       NEW YORK NY 10001                         100 WEST 33RD STREET
                                                                                    NEW YORK CITY NY 10001



GMAC COMMERCIAL FINANCE LLC               GMAC COMMERCIAL FINANCE LLC               GMC SOFTWARE TECHNOLOGY INC
PO BOX 403058                             1290 AVENUE OF THE AMERICAS               15 ALLSTATE PARKWAY STE 600
ATLANTA GA 30384-3058                     NEW YORK NY 10104                         MARKHAM ON L3R 5B4




GMINDER, ALBERT                           GMINDER, MAURINE                          GMMB INC
307 LUCAS CREEK ROAD                      307 LUCAS CREEK RD                        1010 WISCONSIN AVE NW SUITE 800
NEWPORT NEWS VA 23602                     NEWPORT NEWS VA 23602                     WASHINGTON DC 20007




GMMB INC                                  GO PROMOTIONS INC                         GO PROMOTIONS INC
PO BOX 7777                               1658 N. MILWAUKEE AVE NO.224              PO BOX 194
W510061                                   CHICAGO IL 60647                          HIGHLAND PARK IL 60035
PHILADELPHIA PA 19175-0061



GO WORLD PUBLISHING LLC                   GOAD, ZACHARY                             GOAL PRODUCTIONS INC
807 ARAPAHOE ST                           2724 WOODBINE AVE                         2623 EAST FOOTHILL BLVD   STE 101
GOLDEN CO 80401                           EVANSTON IL 60201                         PASADENA CA 91107-3466




GOALGETTERS INC                           GOBAR, THOMAS J                           GOBER, DEBRA A
639 S LAGRANGE ROAD                       329 OSGOOD AVE                            101 N SIXTH ST
LAGRANGE IL 60525                         NEW BRITAIN CT 06053                      ALLENTOWN PA 18105




GOBLE, ROBERT M                           GODAR, THOMAS S                           GODDARD,JOSEPH S
8117 WOODVIEW ROAD                        420 CLIFF CT                              202 ASHLAND AVE
ELLICOTT CITY MD 21043                    LISLE IL 60532                            RIVER FOREST IL 60305




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GODENGO INC                             GODENZI, JOSEPH A                          GODERRE, JOE
1255 D PARK AVENUE                      446 PLATT HILL RD                          5 PARK STREET SOUTH
EMERYVILLE CA 94608                     WINSTED CT 06098-2516                      BELLEVILLE ON K8P 2W8




GODFREY, FRANK                          GODFREY, JAMES                             GODMAN, WAYNE
66 GREENBRIAR RD                        6261 NW 16TH ST                            516 N FORSYTH RD STE 2104
EAST HARTFORD CT 06118                  SUNRISE FL 33313                           ORLANDO FL 32807




GODOI, ARISTEU                          GODOI, ARISTEU                             GODOY, SUSANA P
115 SE 15 ST                            411 SE 8TH STREET APT 125                  15411 SW 81 CIR LN NO.38
NO.B                                    DEERFIELD BEACH FL 33441                   MIAMI FL 33193
DEERFIELD BEACH FL 33441



GODSPEED COURIER                        GODUSKY JR, STEPHEN                        GODVIN, COLE
PO BOX 423293                           2121 SOUTHAMPTON DR                        15 PALOMA AVE APT 406
SAN FRANCISCO CA 94142                  MACUNGIE PA 18062                          VENICE CA 90291




GODVIN, TARA                            GODWIN, PETER                              GODWIN, PETER
932 MATLMAN AVE NO.18                   210 RIVERSIDE DRIVE NO.1E                  PEYSER & ALEXANDER MGMT
LOS ANGELES CA 90026                    NEW YORK NY 10025                          ATTN LISA TAMIS
                                                                                   500 FIFTH AVENUE SUITE 2700
                                                                                   NEW YORK NY 10110


GOEHRING, KEVIN                         GOEMAAT, DARRELL W                         GOERING, LAURIE
15 MAPLEWOOD RD                         29 S STONINGTON DR                         435 N MICHIGAN AVENUE
FARMINGTON CT 06032                     PALATINE IL 60074                          FOREIGN DEPARTMENT
                                                                                   CHICAGO IL 60611



GOERING, LAURIE                         GOETHALS, CHRISTINE                        GOETZ, JOHN C
FOREIGN BUREAU CORRESPONDENT            198 ROMANA PL                              SENEFELDER STR 33
435 N MICHIGAN AVENUE                   PASADENA CA 91107                          GERMANY, BE 10437
CHICAGO IL 60611



GOETZ, RICHARD BLAIR                    GOFFE, LEONARD                             GOGAN, KEVIN
751 FLINTRIDGE AVE                      6530 EMERALD DUNES DR NO.108               4643 286TH AVE SE
LA CANADA CA 91011                      WEST PALM BEACH FL 33411                   FALL CITY WA 98024




GOGOL, ARIELLA                          GOINS, CATHERINE                           GOITIA, JOSE
194 E 2ND ST APT 3L                     7408 S DORCHESTER                          40 RUE DE TREVISE
NEW YORK NY 10009                       CHICAGO IL 60619                           PARIS 75009




GOKLANY, INDUR                          GOLAN PRODUCTIONS, INC.                    GOLD MOUNTAIN MEDIA
8726 OLD COURTHOUSE RD                  1501 NO. MAGNOLIA AVE.                     16830 VENTURA BLVD
VIENNA VA 22182                         CHICAGO IL 60622                           STE 605
                                                                                   ENCINO CA 91436




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GOLD, JONATHAN                           GOLD, LOUIS                               GOLD, SARAH F
5855 VALLEY RD NO.1145                   13801 YORK ROAD                           222 WEST 83 ST NO.15D
NORTH LAS VEGAS NV 89031                 APT R3                                    NEW YORK NY 10024
                                         COCKEYSVILLE MD 21030



GOLD, TERESA BASSO                       GOLD, TONI A                              GOLDBARTH, ALBERT
3806 N ALTA VISTA TERRACE                96 KENYON ST                              215 N FOUNTAIN
CHICAGO IL 60613                         HARTFORD CT 06105                         WICHITA KS 67208




GOLDBECK, JEAN                           GOLDBERG KOHN BELL BLACK ROSENBLOOM       GOLDBERG, ADAM
1602 HENRY WAY                           & MORRIS LTD                              6 TAYLOR RD
FOREST HILL MD 21050                     55 E MONROE ST      STE 3700              WEST HARTFORD CT 06110
                                         CHICAGO IL 60603-5802



GOLDBERG, CAROL G                        GOLDBERG, CAROLE G                        GOLDBERG, DANIEL
20 LEMAY ST                              20 LEMAY STREET                           1027 DARTMOUGH LANE
WEST HARTFORD CT 06107                   WEST HARTFORD CT 06107                    WOODMERE NY 11598




GOLDBERG, ELEANOR                        GOLDBERG, JACKIE                          GOLDBERG, JEFFREY
125 W 3RD ST APT 3C                      1544 CURRAN STREET                        85 CANDLEWOOD DR
NEW YORK NY 10012                        LOS ANGELES CA 90026-2036                 SOUTH WINDSOR CT 06074




GOLDBERG, JOAN                           GOLDBERG, JONAH                           GOLDBERG, JUDITH
2500 BELAIR DR                           5141 PALISADE LANE NW                     22 NORTHGATE CIRC
GLENVIEW IL 60025                        WASHINGTON DC 20016                       MELVILLE NY 11747




GOLDBERG, LESLEY                         GOLDBERG, MYSHELE                         GOLDBERG, RITA V
4912 TUJUNGA AVE NO. 1                   24 PARK AVE                               1052 TORREY PINES RD
NORTH HOLLYWOOD CA 91601                 BLOOMFIELD CT 06002                       CHULA VISTA CA 91915




GOLDBERG, ROSS                           GOLDBERG, TOD B                           GOLDBERGER, BENJAMIN
PO BOX 200678                            48625 CALLE ESPERANZA                     3427 NORTH LEAVITT STREET
YALE UNIVERSITY                          LA QUINTA CA 92253                        CHICAGO IL 60618
NEW HAVEN CT 06520



GOLDEN DELIVERY SERVICE INC              GOLDEN STATE JANITORIAL SUPPLY COMPANY    GOLDEN STATE JANITORIAL SUPPLY COMPANY
15 WEXFORD DRIVE                         15705 ARROW HWY SUITE 5                   1574 ARROW HWY    STE B
OAKDALE NY 11769                         BALDWIN PARK CA 91706                     LA VERNE CA 91750




GOLDEN STATE JANITORIAL SUPPLY COMPANY   GOLDEN STATE JANITORIAL SUPPLY COMPANY    GOLDEN STATE WATER COMPANY
462 BORREGO CT UNIT A                    PO BOX 4619                               10758 WASHINGTON BLVD
SAN DIMAS CA 91773                       SAN DIMAS CA 91773                        CULVER CITY CA 90230




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GOLDEN STATE WATER COMPANY             GOLDEN STATE WATER COMPANY                GOLDEN STATE WATER COMPANY
17140 S AVALON BLVD NO.100             ATTN ACCOUNTS PAYABLE R2                  PO BOX 9016
CARSON CA 90746                        630 EAST FOOTHILL BOULEVARD               SAN DIMAS CA 91773
                                       SAN DIMAS CA 91773



GOLDEN SUNRISE                         GOLDEN, CORINNE                           GOLDEN, JOHN
1917 S 30TH STREET                     2213 W LELAND                             1120 FLORIDA ST NO.505
PHILADELPHIA PA 19145                  CHICAGO IL 60625                          SANFORD FL 32773




GOLDEN, RACHAEL J                      GOLDFARB, DEBRAH                          GOLDFARB, DENNIS
8 GRANITE PLACE                        6547 VIA REGINA                           4437 N ROCKWELL AVE
NO.365                                 BOCA RATON FL 33433                       CHICAGO IL 60625-3018
GAITHERSBURG MD 20878



GOLDFARB, RACHEL                       GOLDIE FENSTER                            GOLDIN, SUZAN L
27 FLEMMING DR                         181 SW 96TH TERRACE                       1400 PELHAM ROAD
HILLSBOROUGH NJ 08844                  PLANTATION FL 33324                       WINTER PARK FL 32789




GOLDMAN SACHS GROUP INC                GOLDMAN, BRUCE                            GOLDMAN, MATTHEW
ATTN: SCOTT BYNUM                      1412 21ST AVE                             411 S MAIN ST NO.519
85 BROAD ST                            SAN FRANCISCO CA 94122                    LOS ANGELES CA 90013
NEW YORK NY 10004



GOLDMINE INC                           GOLDSBOROUGH JR, ROBERT                   GOLDSEN, HELENE
4951 GILLINGHAM WAY                    1225 SOUTH MAIN STREET                    4721 CAHUENGA BLVD
DUBLIN OH 43017                        WHEATON IL 60187                          TOULCA LAKE CA 91602




GOLDSHIELD INVESTIGATIONS &            GOLDSHMID, EYAL                           GOLDSHMID, EYAL
SECURITY SERVICES INC                  8849 POPLAR PL                            8849 POPLAR PL
PO BOX 1524                            ORLANDO FL 32801                          ORLANDO FL 32827
MASSAPEQUA NY 11758



GOLDSON,RANDOLPH                       GOLDSTEIN, ADAM                           GOLDSTEIN, AMY
4500 NW 39 ST                          801 15TH STREET S NO.315                  284 SCHOOL ST
LAUDERDALE LAKES FL 33319              ARLINGTON VA 22202                        W HEMPSTEAD NY 11552




GOLDSTEIN, ARI                         GOLDSTEIN, FRANCES                        GOLDSTEIN, GARY
284 SCHOOL ST                          28 FRESNO DRIVE                           8607 SKYLINE DR
WEST HEMPSTEAD NY 11552                PLAINVIEW NY 11803                        LOS ANGELES CA 90046




GOLDSTEIN, MARILYN                     GOLDSTEIN, MICHAEL                        GOLDSTEIN, STEVEN
341 W 24TH ST    APT 8C                90 BRAESIDE CRESCENT                      2037 WINDSOR CIRCLE
NEW YORK NY 10011                      MANCHESTER CT 06040                       DUARTE CA 91010




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GOLDSTEIN, TOBY                         GOLDSTEIN, WARREN                         GOLDWYN, CRAIG
47-36 210TH STREET                      235 EAST 18TH ST                          3601 PRAIRIE AVE
BAYSIDE NY 11361                        NEW YORK NY 10003                         BROOKFIELD IL 60513




GOLF FOR GOOD                           GOLF PROJECTS                             GOLKA, PAUL
8 KINGS LANE                            1554 2ND ST                               6101 CAMBERWELL LN
ESSEX CT 06426                          MANHATTAN BEACH CA 90266                  KERNERSVILLE NC 27284




GOLLER, KARLENE W                       GOLOKHOV, DAVID                           GOLSON, LINDA G
507 BELLEFONTAINE                       NO.1101 705 KING STREET WEST              4924 FAIRFOREST DR.
PASADENA CA 91105                       TORONTO ON M5V 2W8                        STONE MOUNTAIN GA 30088




GOLSTON, CHRISTA B                      GOMES ARCHIBALD                           GOMES, GISELE ALMEIDA
3125 ACAPULCO WAY                       64 ALLERS BLVD                            1310 NW 99TH AVE
EAST POINT GA 30344                     ROOSEVELT NY 11575                        PEMBROKE PINES FL 33024




GOMES, PAULO CESAR                      GOMES, PAULO CESAR                        GOMES,NORMA
3322 MALLARD CLOSE  APT 73              3322 MALLARD CLOSE  APT 73                3340 TACT CT
APT 184                                 POMPANO BEACH FL 33064                    CHINO HILLS CA 91709
POMPANO BEACH FL 33064



GOMES,PAULO,CESAR                       GOMEZ INC                                 GOMEZ INC
875 NE 48TH STREET - LOT # 4            420 BEDFORD ST                            610 LINCOLN ST
POMPANO BEACH FL 33064                  LEXINGTON MA 02420                        WALTHAM MA 02451




GOMEZ INC                               GOMEZ, BERTA C                            GOMEZ, CARLOS
PO BOX 83164                            7300 PEMBROKE RD NO. 6                    CUMBOTO NORTE CALLE LAPLAYA
WOBURN MA 01813-3164                    MIRAMAR FL 33023                          APT SUN AMD SEA O-A
                                                                                  CARABOBO PTO CABELLO



GOMEZ, CATHERINE                        GOMEZ, DIANA                              GOMEZ, EDWARD
12150 BAILES RD                         6901 JOHNSON ST NO. C-11                  6216 S MAYFIELD
MIAMI FL 33170                          HOLLYWOOD FL 33024                        CHICAGO IL 60638




GOMEZ, FELIPE                           GOMEZ, FRANCISCO                          GOMEZ, FRANK EDWARD
5280 SW 90TH WAY # 5                    10800 S DRAKE                             2802 SWISS PINE COURT
COOPER CITY FL 33328                    CHICAGO IL 60655                          HARLINGEN TX 78550




GOMEZ, GUILLERMO                        GOMEZ, IVETTE                             GOMEZ, JONATHAN
596 CRESTING OAK CIRCLE                 76 FLORENCE ST                            8860 NW 179TH LN
ORLANDO FL 32824                        MANCHESTER CT 06040                       MIAMI LAKES FL 33018




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GOMEZ, KATY CASTILLO                    GOMEZ, LEONARDO MARTINEZ                  GOMEZ, LUIS
4637 SW 24TH AVENUE                     11249 ISLE OF WATERBRIDGE APT 101         127 E BERKSHIRE CIRC
FT LAUDERDALE FL 33312                  ORLANDO FL 32837                          LONGWOOD FL 32779




GOMEZ, LUZ                              GOMEZ, LUZ                                GOMEZ, MARIA E
40-05 HAMPTON ST APT 209                97-15 HORACE HARDING EXPRESSWAY           9674 NW 10 AVE LOT NO. E510
ELMHURST NY 11373                       APT 9E                                    MIAMI FL 33150
                                        CORONA NY 11368



GOMEZ, MARIBEL                          GOMEZ, OLIVERIO S                         GOMEZ, RANDY
4709 CANYON WREN LN                     16756 S PARKER RIDGE DR                   1049 3RD ST
COLORADO SPRINGS CO 80916               LOCKPORT IL 60441                         HEMOSA BEACH CA 90254




GOMEZ, RENE R                           GOMEZ-VARENCHIK, JENIFER                  GONELLA,AUDREY
1250 LONG BEACH AVE NO.119              816 1/2 DE LA VINA ST                     242 BRENTWOOD DRIVE
LOS ANGELES CA 90021                    SANTA BARBARA CA 93101                    CHICAGO HEIGHTS IL 60411




GONOMAD.COM                             GONSOWSKI, MARIBEL                        GONSOWSKI, PHYLLIS
14A SUGARLOAF ST                        5357 W. KIMBALL PL                        4513 W. 99TH PLACE
PO BOX 4                                OAK LAWN IL 60453                         OAK LAWN IL 60453
SOUTH DEERFIELD MA 01373



GONZAGA, LUIZ CARLOS                    GONZALES BONET, RUTH D                    GONZALES, ALBERTO A
410 SE 2ND AVE APT A2                   1120 FLORIDA ST  APT 700                  1150 ECHO PARK AV
DEERFIELD BEACH FL 33441                SANFORD FL 32773                          LOS ANGELES CA 90026




GONZALES, ALBERTO R                     GONZALES, ALDO                            GONZALES, BILLY JOE
PO BOX 9932                             75 HAZEL STREET NO.3                      710 NE 32ND CT.
MCLEAN VA 22102                         HARTFORD CT 06106                         POMPANO BEACH FL 33064




GONZALES, CARLOS                        GONZALES, CARLOS                          GONZALES, CHRISTY
1132 MADEIRA KEY PL                     684 CRESTING OAKS CIRCLE                  89 JAMES ST
ORLANDO FL 32824                        ORLANDO FL 32824                          HARTFORD CT 06106




GONZALES, DAVID                         GONZALES, ERNEST R                        GONZALES, ERNEST RAY
P O BOX 8998                            16534 WILKIE AVE.                         16534 WILKIE AVENUE
JACKSON WY 83002                        TORRANCE CA 90504                         TORRANCE CA 90504




GONZALES, HOLLY                         GONZALES, JULIO                           GONZALES, JULIO
2231 CENTER ST                          283 STAFFORD CIRCLE APT 203               283 STAFFORD CIRCLE APT 203
WHITEHALL PA 18052                      CORDON TN 38018                           CORDOVA TN 38018




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GONZALES, VICTORIA EDITH                GONZALEZ & HARRIS                          GONZALEZ JR, NELSON
20 KATHLEEN WAY                         35 NORTH LAKE AVENUE                       11033 SW 5TH COURT NO.203
MANCHESTER CT 06042                     SUITE 710                                  PEMBROKE PINES FL 33025
                                        PASADENA CA 91101



GONZALEZ MORALES, JUAN C                GONZALEZ, ADA                              GONZALEZ, ADRIAN
747 BOYDEN STREET                       494 TUNNEL RD                              6441 CHARLESTON STREET
WATERBURY CT 06049                      VERNON CT 06066                            HOLLYWOOD FL 33024




GONZALEZ, ALMA YOLANDA                  GONZALEZ, ANGEL                            GONZALEZ, ANGELA
2621 MARIPOSA CIRC                      9 BENTON STREET                            19960 NW 78TH PATH
PLANO TX 75075                          HARTFORD CT 06114                          HIALEAH FL 33015




GONZALEZ, ANGELA J                      GONZALEZ, CARLOS                           GONZALEZ, CHARLES PHILIP
500 E 84TH ST  APT 3R                   8616 SHILOH CT                             1807 PALM WAY
NEW YORK NY 10028                       EDEN PRAIRIE MN 55347                      SANFORD FL 32771




GONZALEZ, CLAUDIA P                     GONZALEZ, DAVID B                          GONZALEZ, ED
402 SW 158TH TER NO.201                 6222 NW 22 COURT                           3408 PARK AVE NO.4
PEMBROKE PINES FL 33027                 MIAMI FL 33147                             WEEHAWKEN NJ 07086




GONZALEZ, EDDIE                         GONZALEZ, EDDIE                            GONZALEZ, EDGAR N
4790 PALM WAY                           809 W OAKLAND PK. BLVD. # K 9              2713 S KEDVAKE APT 2
LAKE WORTH FL 33463                     FT. LAUDERDALE FL 33311                    CHICAGO IL 60623




GONZALEZ, EDUARDO                       GONZALEZ, EFRAIN                           GONZALEZ, EVERARDO
413 E STIMMEL                           730 KNICKERBOCKER AVENUE                   3426 CUYLER AVE
WEST CHICAGO IL 60185                   BROOKLYN NY 11221                          BERWYN IL 60402




GONZALEZ, EVERARDO                      GONZALEZ, GLENDALEE                        GONZALEZ, HAROLD A
ACS SUPPORT STOP - 813G                 731 N FRONT ST                             1800 NW 93 TERR
ID NO. XXX-XX-XXXX                      ALLENTOWN PA 18102                         CORAL SPRINGS FL 33071
PO BOX 145566
CINCINNATI OH 45250-5566


GONZALEZ, JACOB                         GONZALEZ, JACOB                            GONZALEZ, JESUS
1501 WILSON RD                          1501 WILSON RD                             88-10 178TH ST  APT 5G
HARLINGEN TX 78550                      HARLINGTON TX 78550                        JAMAICA NY 11432




GONZALEZ, JOEL                          GONZALEZ, JOHN                             GONZALEZ, JORGE
6810 RIDGE PT DR 32D                    38 SEQUIN ST                               4810 MARINERS WY. NO. A
OAK FOREST IL 60452                     HARTFORD CT 06106                          COCONUT CREEK FL 33063




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GONZALEZ, JUBIETH                     GONZALEZ, JULIANA                         GONZALEZ, MARGARITA D
12224 ROYAL PALM BLVD.                2042 SW 176 AVENUE                        1015 S 63RD AVE
CORAL SPRINGS FL 33065                HOLLYWOOD FL 33029                        HOLLYWOOD FL 33023




GONZALEZ, MARIA T                     GONZALEZ, MARTIN                          GONZALEZ, MARWIN JAVIER
47 BODWELL RD                         14015 ISLAND BAY DR    APT 203            CALLE JUAN DE VILLEGAS
EAST HARTFORD CT 06108-1520           ORLANDO FL 32828                          MANZANA 15, CASA 9 UD 104
                                                                                SAN FELIX, BOLIVAR



GONZALEZ, MAYUMI                      GONZALEZ, MICHAEL                         GONZALEZ, MIGUEL BIENVENIDO
7771 SIMMS ST                         15061 WINDOVER WAY                        C SANTA ROSA NO.33 BARRIO NUEVO
HOLLYWOOD FL 33024                    DAVIE FL 33331                            BANI




GONZALEZ, NANCY                       GONZALEZ, NANCY                           GONZALEZ, PATRICIA
1726 LAKE AVE                         87-13 104TH ST APT 41                     5835 W. SCHOOL STREET
WHITING IN 46394                      RICHMOND HILL NY 11418                    CHICAGO IL 60634




GONZALEZ, PEDRITO                     GONZALEZ, RICK                            GONZALEZ, ROBERT
487 NE 136TH STREET                   3629 S HONORE                             494 TUNNEL ROAD
NORTH MIAMI FL 33161                  CHICAGO IL 60609                          VERNON CT 06066




GONZALEZ, ROLANDO                     GONZALEZ, ROY J                           GONZALEZ, RUTH E
3116 QUENTIN RD                       1019 N BONNIE BEACH PLACE                 4508 S KEATING AVE
BROOKLYN NY 11234                     LOS ANGELES CA 90063                      CHICAGO IL 60632




GONZALEZ, SANDRA                      GONZALEZ, VAZQUEZ AMARILIS                GONZALEZ, YAIMARIS MACHADO
3065 MANDOLIN DRIVE                   2136 LONGWOOD RD.                         12401 W OCKEECHOBEE RD APT 352
KISSIMMEE FL 34744                    WEST PALM BEACH FL 33409                  HIALEAH FL 33018




GONZALEZ, YOHAN MANUEL                GONZALEZ-PIZARRO, DORIAM                  GONZALO, GIL
C/PRIMRA NO.12                        18198 KIRBY DR.                           65 DEERFIELD AVENUE 2ND FL
LAGUNA GRANDE                         TINLEY PARK IL 60477                      HARTFORD CT 06112
PUERTO PLATA



GONZALO, JORGE D                      GOOD MORNING NEWS LLC                     GOOD SHEPHERD HOME
75 HAZEL ST                           12 FAIRWAY DRIVE                          543 SAINT JOHN ST
HARTFORD CT 06106                     WALLINGFORD CT 06492-5459                 ALLENTOWN PA 18103




GOOD SHEPHERD HOME                    GOOD, BRADLEY A                           GOOD, JENNIFER C
850 S 5TH STREET                      230 STALLION LANE                         4738 PORTRAIT PLACE
ALLENTOWN PA 18103                    SCHWENKSVILLE PA 19473                    COLORADO SPRINGS CO 80917




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GOODCO PAINTING INC                   GOODE, CHARLES JR                         GOODFOOD CATERING
PO BOX 401                            561 PALERMO BLVD                          8549 HIGUERA STREET
GLASTONBURY CT 06033-0401             KISSIMMEE FL 34759                        CULVER CITY CA 90232




GOODHEART, LAWRENCE B                 GOODLIN, BRITTANY                         GOODLIN, RICHARD
455 N BIGELOW ROAD                    10410 NW 49TH PLACE                       10714 MIDSUMMER LN
HAMPTON CT 06247                      CORAL SPRINGS FL 33076                    COLUMBIA MD 21044




GOODMAN JR, EARL                      GOODMAN, ALLAN                            GOODMAN, ERIKA
102 NANTICOKE TURN                    1337 28TH STREET NW                       6 CHERBOURG DR
YORKTOWN VA 23693                     WASHINGTON DC 20007                       NEWPORT NEWS VA 23606




GOODMAN, JAMES P                      GOODMAN, LANIE                            GOODMAN, MICHAEL J
E103 CTY HWY Q                        36 RUE SEGURANE                           12555 WILLARD ST
WONEWOC WI 53968                      NICE 6300                                 NORTH HOLLYWOOD CA 91605




GOODMAN, PETER W                      GOODMAN,ELYSSA                            GOODRICH, CARLA
43 CIRCLE DR                          3985 NW 75TH TERRANCE                     911 44TH STREET
SYOSSET NY 11791                      LAUDERHILL FL 33319                       WEST PALM BEACH FL 33407




GOODRICH, DONNIE R                    GOODRICH, DWAYNE                          GOODRICH, JASON T
4773 CAPTAIN JOHN SMITH ROAD          3982 ROBIN HOOD WAY                       4200 N MARINE DR
WILLIAMSBURG VA 23185                 SYKESVILLE MD 21784                       APT #202
                                                                                CHICAGO IL 60613



GOODS FOR YOU INC                     GOODSON, DEREK                            GOODSPEED OPERA HOUSE FOUNDATION INC
1075 ZONOLITE RD STE 3                4222 SOUTHPARK DR 108                     PO BOX A
ATLANTA GA 30306                      TYLER TX 75703                            EAST HADDAM CT 06423




GOODTIMERS NYA                        GOODWIN ASSOCIATES                        GOODWIN COLLEGE INC
326 MCKEAN STREET                     4393 S RIDGEWOOD AVE STE 4                SONYA RICHMOND DEVELOPMENT COOR
C/O AL HELLER                         PORT ORANGE FL 32127-4532                 745 BURNSIDE AVENUE
PHILADELPHIA PA 19148                                                           EAST HARTFORD CT 06108



GOODWIN, BOBBY                        GOODWIN, CYNTHIA                          GOODWIN, LAURIE A
726 19TH STREET                       880 APT B 35TH ST                         314 FIRETOWN RD
NEWPORT NEWS VA 23607                 NEWPORT NEWS VA 23607                     SIMSBURY CT 06070-1704




GOODWIN, SABRINA                      GOODYEAR, DANA                            GOOGLE INC
2050 W VAN BUREN NO.C                 8312 HOLLYWOOD BLVD                       1600 AMPHITHEATRE PKWY,BLDG 41
CHICAGO IL 60612                      LOS ANGELES CA 90069                      MOUNTAIN VIEW CA 94043




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GOOGLE INC                                GOOGLE INC                                GOOLSBY JR, LEON R
DEPT 33654                                DEPT NO 33181,                            102 A REPUBLIC ROAD
PO BOX 39000                              PO BOX 39000                              NEWPORT NEWS VA 23603
SAN FRANCISCO CA 94139                    SAN FRANCISCO CA 94139-3181



GOOLSBY, TIFFANY JIHAN                    GORAL, ROBERT                             GORCHOV, JOSHUA
1001 SUMMIT LAKE DRIVE                    7103 GOLDCRIS LN                          4143 HOWE ST
STONE MOUNTAIN GA 30083                   NORTHAMPTON PA 18067                      OAKLAND CA 94611




GORDILLO,JAVIER                           GORDON BEALL PHOTOGRAPHY                  GORDON CONE
2466 TAYLOR ST NO.3B                      5007 ELSMERE PL                           821 NW 14TH WAY
HOLLYWOOD FL 33020                        BETHESDA MD 20814                         FORT LAUDERDALE FL 33311




GORDON COX                                GORDON CUMMINGS                           GORDON D BROWNLOW
2550 EAST AVENUE I                        3 E. SLOPE RD                             781 FAIRVIEW BOULEVARD
SPC 71                                    APT. 3                                    BRECKENRIDGE CO 80424
LANCASTER CA 93535                        BAYVILLE NY 11709



GORDON DALTON                             GORDON FOOD SERVICE INC                   GORDON FOOD SERVICE INC
43 WEST HIGH STREET                       PAYMENT PROCESSING CENTER                 PO BOX 1787
EAST HAMPTON CT 06424                     DEPT CH 10490                             GRAND RAPIDS MI 49501
                                          PALATINE IL 60055-0490



GORDON FOOD SERVICE INC                   GORDON FULTON CORP                        GORDON FULTON CORPORATION
PO BOX 2087                               1 JERICHO TURNPIKE                        RE: GARDEN CITY PARK 151 FULT
GRAND RAPIDS MI 49501-2087                NEW HYDE PARK NY 11040                    ONE JERICHO TURNPIKE
                                                                                    NEW HYDE PARK NY 11040



GORDON GREENE                             GORDON HARGROVE & JAMES, P.A.             GORDON HARGROVE & JAMES, P.A.
308 AQUAHART ROAD                         DICK GORDON                               SCOTT MARKOWITZ
GLEN BURNIE MD 21061                      2400 E. COMMERCIAL BLVD.                  2400 E. COMMERCIAL BLVD.
                                          SUITE 1100                                SUITE 1100
                                          FT. LAUDERDALE FL 33308                   FT. LAUDERDALE FL 33308


GORDON HAYES                              GORDON JONES                              GORDON JONES
468 EDMONDS CT NE                         318 N FARM DRIVE                          77 LUKES WOOD ROAD
RENTON WA 98056                           LITITZ PA 17543                           NEW CANAAN CT 06840




GORDON NG                                 GORDON PATTERSON                          GORDON PEPPARS
16 WILDFLOWER LANE                        45 SILVER PLACE                           10304 GLEN BARR AVE.
WANTAGH NY 11793                          HELLERTOWN PA 18055                       LOS ANGELES CA 90064




GORDON R SCOLLARD                         GORDON TOMASKE                            GORDON W ANDERSEN
13142 MOORPARK STREET                     6372 N. PROVENCE ROAD                     3192 ROWENA DR
SHERMAN OAKS CA 91423                     SAN GABRIEL CA 91775                      ROSSMOOR CA 90720




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GORDON, ALEXANDER SCOTT                GORDON, ANDREW                            GORDON, ANGELINE F
635 GRAY AVE                           70 WOOD DR                                1820 NW 36TH AVE
HIGHLAND PARK IL 60035                 EAST HARTFORD CT 06108                    FT LAUDERDALE FL 33311




GORDON, BEZALEL                        GORDON, EMILY ALEXANDRA                   GORDON, GEORGETT
358 REEVES DR                          218 S 3RD ST NO.24                        4940 N WINTHROP AVE      NO.105
BEVERLY HILLS CA 90212                 BROOKLYN NY 11211                         CHICAGO IL 60640




GORDON, JACQUELINE M                   GORDON, JAMES                             GORDON, MARCUS S
10313 SW 16TH ST                       111 WOODLAKE CIRCLE                       66 WESTBOURNE PARKWAY
PEMBROKE PINES FL 33025                LAKE WORTH FL 33463                       HARTFORD CT 06112




GORDON, PETER                          GORDON, RALSTON O                         GORDON, SANDRA
11970 MONTANA AVENUE      NO.302       1324 AVON LANE #1137                      34 HERITAGE LANE
LOS ANGELES CA 90049                   N LAUDERDALE FL 33068                     WESTON CT 06883-2205




GORDON, SASHA                          GORDON, TODD                              GORDON, TRACY
314 W. VALKY RD. NO.6                  3315 C PEPPERTREE CIRCLE                  3400 SW 12TH PL NO.10
APPLETON WI 54915                      DECATUR GA 30034                          FT LAUDERDALE FL 33312




GORDONES, AMELIA C                     GORDONES, RONEL                           GORE, EVELYN
1880 SW 112 WAY                        1880 SW 112 WAY                           323 S.W. 33RD AVENUE
MIRAMAR FL 33025                       MIRAMAR FL 33025                          DEERFIELD BEACH FL 33442




GORE, OLANIYAN                         GORELICK, RICHARD L                       GOREN BRIDGE LTD
2905 CARABALA S                        1313 N CALVERT STREET APT 3               94-1701 SOUTHFIELD AVE
COCONUT CREEK FL 33066                 BALTIMORE MD 21202                        STAMFORD CT 06902




GORENBERG, GERSHOM                     GORENBERG, GERSHOM                        GOREY JR, ROBERT M
REHOV BEN GAVRIEL 7B                   C/O NORMAN GORENBERG                      114 MEYERS DR
TALPIOT, JERUSALEM                     25702 SHELL DR                            ROCKY HILL CT 06067
                                       DANA POINT CA 92629-2160



GORHAM, REGINALD                       GORITZ JR, KARL H                         GORLAS, MAGDALENA
228 ELLSWORTH AVE NO.B1                29 LAUREL CREST DR                        8 TAUBMAN TERRACE
NEW HAVEN CT 06511                     BURLINGTON CT 06013                       HARBOUR HEIGHTS
                                                                                 DOUGLAS, IOM IM1 5BB



GORMAN, BRIAN                          GORMAN, CONNOR                            GORMAN, DENIS P
30 PARKLAND AVENUE                     3312 SANDBURG TERRACE                     61-20 GRAND CENTURY PKWY APT BLDG
RUSSELL ON K4R 1A2                     OLNEY MD 20832                            FOREST HILLS NY 11375




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GORMAN, JULIANNE                     GORMAN, SANDRA                            GORMAN, SANDRA
473 CARRELL AVE                      4421 S ATLANTIC AVE B8                    568 WEKIVA COVE RD
VENICE CA 90291                      PONCE INLET FL 32127                      LONGWOOD FL 32779




GORMAN, SCOTT                        GORNICK, VIVIAN                           GORNSTEIN, LESLIE E
1033 NW 99TH AVE                     175 W 12TH ST                             6265 COMMODORE SLOAT DRIVE
PLANTATION FL 33322                  NEW YORK NY 10011                         LOS ANGELES CA 90048




GORODESKAYA, IRINA                   GORODESKAYA, IRINA                        GORSKI, PETER
1417 AVENUE APT 2L                   1417 AVENUE K APT 2L                      25A ROBINSON ST
BROOKLYN NY 11230                    BROOKLYN NY 11230                         SOUTH PORTLAND ME 04106




GORSUCH, ELLEN                       GORTRAC DIVISION                          GORTRAC DIVISION
11289 CORAL REAF DR                  2300 S CALHOUN                            BOX 88709
BOCA RATON FL 33498                  ANGELA                                    MILWAUKEE WI 53288-0709
                                     NEW BERLIN WI 53151



GORZELANY, JIM                       GOSINE, ANTHONY                           GOSLINE, ANNA
1722 W MELROSE ST                    14491 HORSESHOE TRACE                     2966 WEST 35TH AVENUE
CHICAGO IL 60657                     WELLINGTON FL 33414                       VANCOUVER BC V6N 2M6




GOSPEL TABERNACLE BAPTIST CHURCH     GOSS INTERNATIONAL AMERICAS INC           GOSS INTERNATIONAL AMERICAS INC
3100 WALBROOK AVE                    C/O JP MORGAN CHASE                       LOCKBOX NO.198327
BALTIMORE MD 21216                   PO BOX 533057                             6000 FELDWOOD RD
                                     ATLANTA GA 30353-3057                     COLLEGE PARK GA 30349



GOSS INTERNATIONAL AMERICAS INC      GOSS INTERNATIONAL AMERICAS INC           GOSS INTERNATIONAL AMERICAS INC
PO BOX 198327                        PO BOX 535055                             700 OAK MOUNT LN
ATLANTA GA 30384-8327                ATLANTA GA 30353                          WESTMONT IL 60559




GOSS INTERNATIONAL AMERICAS INC      GOSS INTERNATIONAL AMERICAS INC           GOSS INTERNATIONAL AMERICAS INC
PO BOX 70741                         700 OAK MOUNT LN                          PO BOX 13214
CHICAGO IL 60673-0741                DOVER NH 03820                            NEWARK NJ 07101




GOSS INTERNATIONAL AMERICAS INC      GOSS INTERNATIONAL AMERICAS INC           GOSS INTERNATIONAL AMERICAS INC
PO BOX 26982                         4900 WEBSTER STREET                       ATTN: TOM MATHEWS ACCT 56254
NEW YORK NY 10087-6982               DAYTON OH 45414                           8900 WEBSTER STREETX3340 RALPH
                                                                               DAYTON OH 45414



GOSS INTERNATIONAL AMERICAS INC      GOSS INTERNATIONAL AMERICAS INC           GOSS INTERNATIONAL AMERICAS, INC.
601 GRASSMERE PARK DR                PO BOX 845180                             121 BROADWAY
NASHVILLE TN 37211                   DALLAS TX 75284                           DOVER NH 03820




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GOSS INTERNATIONAL CORPORATION        GOSS INTERNATIONAL CORPORATION            GOSS INTERNATIONAL CORPORATION
C/O WELLS FARGO BANK                  PO BOX 533057                             3 TERRITORIAL COURT
PO BOX 535055                         ATLANTA GA 30353                          BOLINGBROOK IL 60440-3557
ATLANTA GA 30353-5055



GOSS INTERNATIONAL CORPORATION        GOSS INTERNATIONAL CORPORATION            GOSS INTERNATIONAL CORPORATION
600 OAKMONT LANE                      700 OAKMONT LANE                          700 OAKMONT LANE
WESTMONT IL 60559                     CUSTOMER SALES & SERVICE                  ATTN: MIKE POST
                                      WESTMONT IL 60559                         KEN X5749, LARRY X5783 JOHN5742
                                                                                WESTMONT IL 60559-5546


GOSS INTERNATIONAL CORPORATION        GOSS INTERNATIONAL CORPORATION            GOSS INTERNATIONAL CORPORATION
700 OAKMONT LANE                      P O BOX 70091                             121 BROADWAY
WESTMONT IL 60559-5546                CHICAGO IL 60673-0091                     DOVER NH 03820




GOSS INTERNATIONAL CORPORATION        GOSS INTERNATIONAL CORPORATION            GOSSETT, CALVIN D
PO BOX 13214                          GENERAL POST OFFICE                       245 MIAMI AVE
NEWARK NJ 07101                       PO BOX 26982                              COLUMBUS OH 43203
                                      NEW YORK NY 10087-6982



GOTCH, JOHN                           GOTHAM GIRLS ROLLER DERBY NFP INC         GOTHARD, DAVID
270 MCKINLEY TERR                     PO BOX 226                                43 N SITGREAVES ST
CENTERPORT NY 11721                   NEW YORK NY 10014                         EASTON PA 18042




GOTHIC GROUNDS MANAGEMENT INC         GOTTA, JEFFREY                            GOTTARDO, ALESSANDRO
28546 CONSTELLATION RD                99 MAGNOLIA LANE                          C/O ARTO DESIGN
VALENCIA CA 91355                     EAST BERLIN CT 06023-1009                 VIA STRADELLA 13
                                                                                MILAN 20129



GOTTFRIED, MIRIAM                     GOTTLIEB WOLFE, MARJORIE                  GOTTLIEB, BARRY H
1970 W LAWRENCE                       19 MARKET AVE                             1819 POLK ST NO.227
APT 3W                                SYOSSET NY 11791                          SAN FRANCISCO CA 94109
CHICAGO IL 60640



GOTTLIEB, LORI                        GOTTLIEB, RACHEL                          GOTTLIEB, ROBERT
45 MOUNTAIN VIEW DRIVE                9259 LINCOLNWOOD DRIVE                    1528 YALE ST
WEST HARTFORD CT 06117                EVANSTON IL 60203                         SANTA MONICA CA 90404




GOTTLIEB, STEPHEN                     GOTTLIEB, STEPHEN                         GOTTSCHILD, KARRIE K
42 WINTHROP AVE                       ALBANY LAW SCHOOL                         1028 BLACKTHORN LN
ALBANY NY 12203                       80 NEW SCOTTLAND AVE                      NORTHBROOK IL 60062
                                      ALBANY NY 12208



GOTTSHALL, SUSAN G                    GOTTWALDT, RUSSELL R                      GOTWALS, LISSA
7117 MOUNTAIN RD                      3244 N WHIPPLE STREET NO.3                1204 N GREGSON ST
MACUNGIE PA 18062                     CHICAGO IL 60618                          DURHAM NC 27701




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GOUGH, CODY                             GOULD III, LYTTLETON B                      GOULD LAW OFFICE P.C.
1037 S OAKLEY BLVD     APT 3            12 HILLWOOD RD E                            RE: LISLE TRIBUNE
CHICAGO IL 60612                        OLD LYME CT 06371                           ATTN: SHEPARD GOULD
                                                                                    33 WEST MONROE STREET, SUITE 270
                                                                                    CHICAGO IL 60603


GOULD, ALAN DAVID                       GOULD, DOUGLAS E                            GOULD, JOHN R
2397 S ELDRIDGE CT                      9311 ORANGE GROVE DR NO.117                 3542 DARTMOUTH DR
LAKEWOOD CO 80228                       DAVIE FL 33324                              BETHLEHEM PA 18020




GOULD, LARK ELLEN                       GOULD, LINTON                               GOULD, LLOYD
453 N GARDNER ST                        5916 NW 16 STREET                           1448 AVON LANE, APTNO. 829
LOS ANGELES CA 90036                    SUNRISE FL 33313                            N LAUDERDALE FL 33068




GOULD, SKYLAR                           GOULD, TIMITHIE                             GOULD-SIMON, ALISA
11089 HELENA DRIVE                      713 N ADAMS APT C                           590 GRAND ST    3RD FLR
COOPER CITY FL 33026                    GLENDALE CA 91206                           NEW YORK NY 11211




GOULD-SIMON, ALISA                      GOULDBOURNE, GODFREY                        GOULLET, VERONIQUE
590 GRAND ST 3RD FLR                    5035 NW 42ND CT                             622 N EDISON ST
BROOKLYN NY 11211                       LAUDERDALE LAKES FL 33319                   ARLINGTON VA 22203




GOUVAN, RICHARD                         GOVERNOR'S PLAZA ASSOCIATES                 GOVERNOR'S PLAZA ASSOCIATES
55 EMPIRE ST  APT NO.44                 1300 MARKET ST, PO BOX 622                  C/O PROPERTY MANGEMENT INC
CHICOPEE MA 01013                       LEMOYNE PA 17043-0622                       1300 MARKET STREET
                                                                                    LEMOYNE PA 17043



GOVISION LP                             GOWER, ALAN                                 GOWER, TARA
133 SPORTS PARKWAY NO.A                 235 W COLUMBUS AVE                          897 COLD SPRING RD NO.3
KELLER TX 76248                         NESQUEHONING PA 18240                       ALLENTOWN PA 18103




GOYCO, ANGELA                           GOYETTE, CHRISTINE D                        GP PLASTICS CORPORATION
190 WOODBINE WAY #101                   1503 ENFIELD ST                             904 REGAL ROW
PALM BEACH GARDENS FL 33418             ENFIELD CT 06082                            DALLAS TX 75247




GP PLASTICS CORPORATION                 GP PLASTICS CORPORATION                     GRABOWICZ, PAUL
P O BOX 843853                          PO BOX 201831                               951 HAMILTON DRIVE
DALLAS TX 75284-3853                    DALLAS TX 75320-1831                        PLEASANT HILL CA 94523




GRABUS, BERNADETTE                      GRACE BENT                                  GRACE C TARASCIO
917 SIDEHILL DR                         3150 NW 39TH STREET                         85 SAN SIMEON DR.
BEL AIR MD 21028                        LAUDERDALE LAKES FL 33309                   PALM SPRINGS CA 92264-5237




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GRACE CROCE                            GRACE DUNCAN                               GRACE E MCCAGUE
61 BAUR STREET                         2612 N. LARAMIE                            1235 - 22ND AVENUE
NORTH BABYLON NY 11704                 APT. # 3                                   SAN FRANCISCO CA 94122
                                       CHICAGO IL 60639



GRACE EMANUELO                         GRACE EPISCOPAL CHURCH                     GRACE KIM
90 RABBIT RUN                          637 S DEARBORN                             864 S. NEW HAMPSHIRE AVE
MANORVILLE NY 11949                    CHICAGO IL 60605                           APT 212
                                                                                  LOS ANGELES CA 90005



GRACE M JERVIS                         GRACE M. MOREO                             GRACE MERRITT
984 SURFBIRD WAY                       DOUGLAS M. REDA, ESQUIRE                   19 BRUNSWICK AVENUE
OCEANSIDE CA 92057                     263 MINEOLA BOULEVARD                      WEST HARTFORD CT 06107
                                       MINEOLA NY 11501



GRACE MORALES                          GRACE OKUDA                                GRACE PREISLER
221 NORTH 11TH STREET                  3767 S NORTON AVENUE                       25 BOBCAT LANE
APT 2                                  LOS ANGELES CA 90018                       EAST SETAUKET NY 11733
ALLENTOWN PA 18102



GRACE ROSELLE                          GRACE RUTIGLIANO                           GRACE SIMMONS
50 GREEN STREET                        1120 N. LASALLE DRIVE                      613 20TH STREET
C/O JOHNSON                            3C                                         ORLANDO FL 32805
MORRISVILLE PA 19067                   CHICAGO IL 60610



GRACE SINCLAIR                         GRACE VIDRO                                GRACE, CATHERINE A.
163 TORRINGFORD STREET                 32 GEORGE AVENUE                           2110 LONG LAKE SHORES
RFD #4                                 HICKSVILLE NY 11801                        WEST BLOOMFIELD MI 48323
WINSTED CT 06098



GRACE, KARL                            GRACE, LINDA                               GRACEWOOD, JOLISA
1590 NW 128TH DR # 107                 32 FARMSTEAD CIRCLE                        14 EID ST
SUNRISE FL 33323                       BLOOMFIELD CT 06002                        NEW HAVEN CT 06511




GRACIA, GEORGE                         GRACIELA ASCENSION                         GRACIELA CORREA
1025 WILDROSE LN, APT. NO.301-B        3001 N. MAJOR AVE.                         1515 N. KILDARE
BROWNSVILLE TX 78520                   CHICAGO IL 60634                           CHICAGO IL 60651




GRACIELA MARTINEZ                      GRACIELA MENDOZA                           GRACIELA PANIAGUA
3406 S. 60TH COURT                     1048 W. CITRUS ST.                         2985 SW GIRALDA STREET
CICERO IL 60804                        COLTON CA 92324                            PORT ST LUCIE FL 34953




GRACIELA RETREAGE                      GRACIELA SALDANA                           GRACITA, JEAN
17200 ROSCOE BLVD                      2621 WEST 23RD STREET                      2532 NE 181 ST
UNIT B                                 CHICAGO IL 60608                           N MIAMI BEACH FL 33160
NORTHRIDGE CA 91325




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GRACO                                 GRACZYK, WAYNE STEPHEN                    GRADY, CHRISTINE
5910 SCHUMACHER                       1-12-18 KICHIJOJI HIGASHI-CHO             27 ROLAND ST
HOUSTON TX 77057                      MUSASHINO-SHI 180-0002                    ENFIELD CT 06082




GRADY, EUGENE                         GRADY, MARY K                             GRADY, PAMELA SUSAN
170 MONROE ST                         4848 LINSHAW LANE                         5256 HIGH VISTA DR
NEW BRITAIN CT 06052                  VIRGINIA BEACH VA 23455                   OREFIELD PA 18069




GRADY, RAYMOND                        GRAEBEL COMPANIES                         GRAEBEL COMPANIES
960 DELTONA BLVD                      16346 E AIRPORT CIRC                      2631 PAYSHERE CIRCLE
SUITE 1029                            AURORA CO 80011                           CHICAGO IL 60674
DELTONA FL 32725



GRAEBEL COMPANIES                     GRAEBEL COMPANIES                         GRAF AIR FREIGHT
PO BOX 71950                          P O BOX 8002                              550 W TAYLOR STREET
CHICAGO IL 60694-1950                 WAUSAU WI 54402-8002                      CHICAGO IL 60607




GRAF AIR FREIGHT                      GRAF, ANTHONY                             GRAFF, KYLE
PO BOX 48                             624 ONTARIO ST                            3761 MANGROVE DR
WOODSTOCK IL 60098                    BETHLEHEM PA 18015                        NORTHAMPTON PA 18067




GRAFF, LINDSAY                        GRAFF, ROBERTA                            GRAFF, STEPHEN
616 THIRD KEY DR                      150 FINUCANE PLACE                        3761 MANGROVE DR
FT LAUDERDALE FL 33304                WOODMERE NY 11598                         NORTHAMPTON PA 18067




GRAFF, STEPHEN                        GRAFFITI PROTECTIVE COATINGS              GRAGG CONSULTING INC
3761 MANGROVE DR                      419 NORTH LARCHMONT BOULVARD              308 E NAPERVILLE RD
NORTHAMPTON VA 18067                  SUITE NO.214                              WESTMONT IL 60559
                                      LOS ANGELES CA 90004



GRAHAM BURCH                          GRAHAM CARTER                             GRAHAM MCCANN
5044 CAMEO TERRACE                    5247 ROCKINGHAM DRIVE                     435 MONROVISTA AVE
PERRY HALL MD 21128                   WILLIAMSBURG VA 23188                     MONROVIA CA 91016




GRAHAM MEYER                          GRAHAM, ADAM H                            GRAHAM, GERALD M
1604 W. CORNELIA                      1936 ORCHID AVE                           393 QUARRY HILL ROAD
APT. #3W                              LOS ANGELES CA 90068                      HADDAM NECK CT 06424
CHICAGO IL 60657



GRAHAM, JOHN                          GRAHAM, KAYLEN L                          GRAHAM, KENNETH
151 E WASHINGTON ST NO.611            35 SWINTON GARDENS DR.                    3242 SAN AMADEO
ORLANDO FL 32801                      DELRAY BEACH FL 33444                     #1A
                                                                                LAGUNA WOODS CA 92637




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GRAHAM, MARK                              GRAHAM, PHILIP                              GRAHAM, SHERIKA
1415 2ND AVENUE UNIT 705                  5120 NE 8TH AVENUE                          1955 SW 60 TERRACE
SEATTLE WA 98101                          POMPANO BEACH FL 33064                      NORTH LAUDERDALE FL 33068




GRAHAM, TAMARA                            GRAHAM, TOBIAS ELLIS                        GRAHAM,MARTHA
1395 E LANCEWOOD PLACE                    5150 AIRPORT RD E162                        4394 34TH STREET
DELRAY BEACH FL 33445                     COLORADO SPRINGS CO 80916                   SAN DIEGO CA 92104




GRAHAME JONES                             GRAHAME-SMITH, SETH                         GRAHN, GEOFFREY A
3874 RAVENSWOOD DR                        1206 S BEDFORD ST NO.2                      419 SOUTH OGDEN DR
YORBA LINDA CA 92886                      LOS ANGELES CA 90035                        LOS ANGELES CA 90036




GRAIG HARGRAVES                           GRAINGER                                    GRAINGER
609 MERROW ROAD                           DEPT 720-809860539                          1 PARK DR
TOLLAND CT 06084                          PO BOX 419267                               MELVILLE NY 11747
                                          KANSAS CITY MO 64141-6267



GRALL, BEVERLY A                          GRALL, JESSICA                              GRALL, MATTHEW
2610 CACTUS CIRCLE                        4725 W 117TH WAY                            2610 CACTUS CIRCLE
GOLDEN CO 80401                           WESTMINSTER CO 80031                        GOLDEN CO 80401




GRAMERCY POST                             GRANADOS, JUAN                              GRANATA, ELISE
220 EAST 23RD ST SUITE 800                95 MAIN ST   1ST FLR                        112 SUZANNE CIRCLE
NEW YORK NY 10010                         EAST HAVEN CT 06512                         TRUMBULL CT 06611




GRANATO,ANTHONY NICHOLAS                  GRANBERG, KRISTEN                           GRANCO PRATT-PALMDALE
130 CHANNING ROAD                         9A LIMERICK LANE                            RE: PALMDALE 550 EAST AVE
BURLINGAME CA 94010                       BALLSTON SPA NY 12020                       C/O GREENWOOD & MCKENZIE
                                                                                      440 W. FIRST ST., SUITE 201
                                                                                      TUSTIN CA 92780


GRAND BANK #10025187                      GRAND BANK #10025187                        GRAND FORKS HERALD
650 36TH ST SE                            GARY MULLEN STEIL ARENA ACCOUNT             PO BOX 6008
KENT BEVERAGE (ARENA ACCOUNT)             650 36TH STREET SE                          GRAND FORKS ND 58206
ATN MR KIM GARY                           KENT BEVERAGE (ARENA ACCOUNT)
GRAND RAPIDS MI 49548                     GRAND RAPIDS MI 49548


GRAND HAVEN AREA PUBLIC SCHOOL            GRAND HAVEN COAST GUARD FESTIVAL INC        GRAND HAVEN COAST GUARD FESTIVAL INC
1415 S BEECHTREE ST                       113 N SECOND ST                             PO BOX 694
GRAND HAVEN MI 49417                      GRAND HAVEN MI 49417                        GRAND HAVEN COAST GUARD FESTIVL
                                                                                      GRAND HAVEN MI 49417



GRAND ISLAND INDEPENDENT                  GRAND LUX REALTY INC                        GRAND PIANO HAUS
ATTN: SONY SCHULTZ                        355 MAIN ST STE NO 105                      3640 DEMPSTER STREET
PO BOX 1208                               ARMONK NY 10504                             SKOKIE IL 60076
GRAND ISLAND NE 68802




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GRAND RAPIDS CITY TREASURER             GRAND RAPIDS CITY TREASURER               GRAND RAPIDS CITY TREASURER
PO BOX 129038                           COMMUNITY RELATIONS COMMISSION            PARKING VIOLATIONS BUREAU
PARKING MANAGEMENT                      300 MONROE NW                             300 MONROE AVE NW
SAN DIEGO CA 92112-9038                 GRAND RAPIDS MI 49501                     CITY TREASURERS OFFICE
                                                                                  GRAND RAPIDS MI 49503-2295


GRAND RAPIDS CITY TREASURER             GRAND RAPIDS CITY TREASURER               GRAND RAPIDS CITY TREASURER
PO BOX 347                              PROPERTY TAXES                            WATER & SEWER DEPT
GRAND RAPIDS INCOME TAX DEPT            300 MONROE AVE NW, RM 220                 300 MONROE AVE NW,RM 220 CITY HALL
GRAND RAPIDS MI 49501-0347              GRAND RAPIDS MI 49503-2296                GRAND RAPIDS MI 49503-2296



GRAND RAPIDS COMMUNITY COLLEGE          GRAND RAPIDS COMMUNITY COLLEGE            GRAND RAPIDS GRIFFINS
143 BOSTINICK NE                        143 BOSTINICK NE                          130 W FULTON STE 111
GRAND RAPIDS MI 49503-3295              ATN NIA LEWIS SLEET                       GRAND RAPIDS MI 49503
                                        GRAND RAPIDS MI 49503-3295



GRAND RAPIDS HOUSING COMMISSION         GRAND RAPIDS INCOME TAX DEPT.             GRAND RAPIDS JAYCEES
1420 FULLER SE                          PO BOX 347                                2774 BIRCHCREST DR SE
GRAND RAPIDS MI 49507                   GRAND RAPIDS MI 49501-0347                GRAND RAPIDS MI 49506




GRAND RAPIDS JAYCEES                    GRAND RAPIDS JAYCEES                      GRAND RAPIDS LEGAL NEWS
333 BRIDGE NW                           3923 28TH ST SE BOX 375                   1430 MONROE AVE NW STE 140
GRAND RAPIDS MI 49504                   GRAND RAPIDS MI 49512                     GRAND RAPIDS MI 49505




GRAND RAPIDS RADIO BROADCASTERS         GRAND RAPIDS RADIO BROADCASTERS           GRAND STAGE LIGHTING CO INC
ASSOCIATION                             ASSOCIATION PO BOX 96                     630 WEST LAKE STREET
50 MONROE NW                            GRAND RAPIDS MI 49501                     CHICAGO IL 60661-1465
GRAND RAPIDS MI 49503



GRANDE RONDE WAREHOUSING                GRANDE, RAUL                              GRANDFIELD, GEOFF
201 PENN AVE                            16 TEE LANE                               30 ALLEN ROAD
LA GRANDE OR 97850                      WETHERSFIELD CT 06109                     ENGLAND N16 8SA




GRANDIA, BERNADETTE                     GRANDJEAN, AMY                            GRANDOIT, FRANCESSE
128 GROVE ST                            5431 HANSEL AVE NO.M1                     943 41ST ST
WEST HARTFORD CT 06110                  ORLANDO FL 32809                          NEWPORT NEWS VA 23607




GRANEK, AMANDA                          GRANGER, DANNY                            GRANGER, REGINA
330 EAST 91ST ST  2D                    3801 PETE DYE BLVD                        4 DEL LANE
NEW YORK NY 10128                       CARMEL IN 46033                           COMMACK NY 11725




GRANLUND, DAVID E                       GRANT COVER                               GRANT GORDON
201 SARTY RD                            137 KENNEDY LANE                          21953 LYNETTE LANE
WEST BROOKFIELD MA 01585                EAST DURHAM NY 12423                      SAUGUS CA 91354




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GRANT JR., JOHN                           GRANT MOISE                               GRANT PARKING INC
[ADDRESS UNAVAILABLE AT TIME OF FILING]   4919 PURDUE                               1618 NORTH LAS PALMAS AVE
                                          DALLAS TX 75209                           HOLLYWOOD CA 90028




GRANT RAMPY                               GRANT SMITH                               GRANT SR, CURTIS
18724 UPPER MEADOW DRIVE                  2780 WOODS AVENUE                         27 IRVING ST
LEESBURG VA 20176                         EAST MEADOW NY 11554                      HARTFORD CT 06112




GRANT THORNTON LLP                        GRANT THORNTON LLP                        GRANT THORNTON LLP
175 W JACKSON BLVD                        33562 TREASURY CENTER                     33847 TREASURY CENTER
CHICAGO IL 60604                          CHICAGO IL 60694-3500                     CHICAGO, IL 60694-3800




GRANT THORNTON LLP                        GRANT THORNTON LLP                        GRANT, CHISTOPHER
700 ONE PRUDENTIAL PLAZA                  800 ONE PRUDENTIAL PLAZA                  3010 CONGRESS PARK DRIVE
130 E RANDOLPH DRIVE                      CHICAGO IL 60601                          LAKE WORTH FL 33461
SUITE 700
CHICAGO IL 60601-6203


GRANT, CRYSTAL VALETINE                   GRANT, GAVIN J                            GRANT, HERVIN A
2300 GEORGIA LANE                         176 PROSPECT AVE                          1020 NW 7TH TERRACE
SNELLVILLE GA 30078                       NORTHAMPTON MA 01060                      FT LAUDERDALE FL 33311




GRANT, JUNE                               GRANT, LEONIE                             GRANT, LOVONIA L
5300 NW 23RD ST                           3500 NW 37TH STREET                       790 DUNLEITH CT
LAUDERHILL FL 33313                       LAUDERDALE LAKES FL 33309                 STONE MOUNTAIN GA 30083




GRANT, MICHAEL                            GRANT, REGINALD                           GRANT, SARA
5300 NW 23 ST                             1029 NW 12TH ST                           18 FORESTVIEW DR
LAUDERHILL FL 33313                       FT LAUDERDALE FL 33311                    WOLCOTT CT 06716




GRANT, VERONIA                            GRANT,GORDON M                            GRANTLAND JR, CHARLES H
8184 S M66 HWY                            9 OAK LEDGE LN                            24 B LEATHERWOOD PL
NASHVILLE MI 49073-9424                   EAST HAMPTON NY 11937                     BALTIMORE MD 21237




GRANWEHR, MEREDITH                        GRAPHIC ADVANTAGE INC                     GRAPHIC ADVANTAGE INC
2 GREAT OAK ROAD                          1341 W FULLERTON NO.169                   2723 WEST AGATITE AVE.
NEWTON NJ 07860                           CHICAGO IL 60614                          CHICAGO IL 60625




GRAPHIC ARTS EQUIPMENT CO                 GRAPHIC ARTS EQUIPMENT CO                 GRAPHIC COMMUNICATIONS CONFERENCE OF
1260 S WABASH AVENUE                      65 E PALATINE RD                          THE INTL BROTHERHOOD OF TEAMSTERS,
DONNA/GREG                                SUITE 203                                 LOCAL 4C; 2 WEST BALTIMORE PIKE
CHICAGO IL 60605                          PROSPECT HEIGHTS IL 60070-1845            P.O. BOX 208
                                                                                    CLIFTON HEIGHTS PA 19018




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GRAPHIC COMMUNICATIONS CONFERENCE OF     GRAPHIC COMMUNICATIONS CONFERENCE OF      GRAPHIC COMMUNICATIONS CONFERENCE OF
INTL BROTHERHOOD OF TEAMSTERS, LOCAL     INTL BROTHERHOOD OF TEAMSTERS,            INTL BROTHERHOOD OF TEAMSTERS,
(PRESSROOM), CHICAGO WEB PRINTING        NO. 31 (PRESSROOM)                        NO. 355 (TRANSPORTATION)
PRESSMAN'S; 455 KEHOE BLVD., SUITE 101   7 LESLIE AVENUE                           1030 S. DUKELAND STREET
CAROL STREAM IL 60188-5203               BALTIMORE MD 21236                        BALTIMORE MD 21223


GRAPHIC COMMUNICATIONS CONFERENCE OF     GRAPHIC COMMUNICATIONS CONFERENCE OF      GRAPHIC COMMUNICATIONS UNION-LOCAL 51
INTL BROTHERHOOD OF TEAMSTERS,           INTL BROTHERHOOD OF TEAMSTERS/            31 W 15TH ST 5TH FL
NO. 582 (PREPRESS/E                      BALTIMORE MAILER'S U                      NEW YORK NY 10011
7701 BELAIR ROAD                         6000 ERDMAN AVE., #207
BALTIMORE MD 21236                       BALTIMORE MD 21205


GRAPHIC CONCEPTS INC                     GRAPHIC ENTERPRISES OF OHIO INC           GRAPHIC ENTERPRISES OF OHIO INC
1800 FOURTH AVE EAST                     DEPT 33141                                EQUITABLE BLDG 15TH FLR
OLYMPIA WA 98506-4630                    PO BOX 39000                              DES MOINES IA 40309
                                         SAN FRANCISCO CA 94139-3141



GRAPHIC ENTERPRISES OF OHIO INC          GRAPHIC ENTERPRISES OF OHIO INC           GRAPHIC ENTERPRISES OF OHIO INC
PO BOX 10336                             3874 HIGHLAND PARK N.W                    3874 HIGHLAND PARK NW
DES MOINES IA 50306-0336                 NORTH CANTON OH 44720-8080                PO BOX 3080
                                                                                   CANTON OH 44720-8080



GRAPHIC ENTERPRISES OF OHIO INC          GRAPHIC ENTERPRISES OF OHIO INC           GRAPHIC ENTERPRISES OF OHIO INC
CUSTOMER NO.10375                        PO BOX 71-4207                            PO BOX 75187
3874 HIGHLAND PARK NW                    COLUMBUS OH 43271-4207                    CLEVELAND OH 44101-2199
P.O. BOX 3080
NORTH CANTON OH 44720


GRAPHIC ENTERPRISES OF OHIO INC          GRAPHIC ENTERPRISES OF OHIO INC           GRAPHIC ENTERPRISES OF OHIO INC
SYSTEMS OASIS DIVISION                   ATTN: RANDY ROBB                          PO BOX 41601
3874 HIGHLAND PARK NW BOX 3080           1111 OLD EAGLE SCHOOL RD                  PHILADELPHIA PA 19101-1601
ATTN: SERVICE CONTRACTS                  P O BOX 6608
NO. CANTON OH 44720-8080                 WAYNE PA 19087-8608


GRAPHIC ENTERPRISES OF OHIO INC          GRAPHIC ENTERPRISES OF OHIO INC           GRAPHIC IMAGE CORPORATION
PO BOX 643842                            ROUTE 1 BOX 195A                          2035 W GRAND
PITTSBURGH PA 15264-3842                 GREENWOOD VA 22943                        CHICAGO IL 60612




GRAPHIC PRINT CONSULTANTS LLC            GRAPHIC TECH ELECTRIC INC                 GRAPHICS 2000 INC
802 STABLE MANOR ROAD                    1743 FLORADALE AVE                        825 N CASS AVE     STE 115
REISTERSTOWN MD 21136                    SOUTH EL MONTE CA 91733                   WESTMONT IL 60559-6401




GRAPHICSOURCE CORPORATION                GRAPHTEC INC                              GRASLEY, TODD MICHAEL
9144 TERMINAL AVE                        8620 OLD DORSEY RUN RD                    2323 PEPPERCORN ST
SKOKIE IL 60077                          JESSUP MD 20794                           KISSIMMEE FL 34741




GRASS VALLEY INC                         GRASS VALLEY INC                          GRASS VALLEY INC
400 PROVIDENCE MINE ROAD                 PO BOX 599000                             PO BOX 201017
NEVADA CITY CA 95959                     NEVADA CITY CA 95959                      DALLAS TX 75320-1017




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GRASS VALLEY INC                          GRASS VALLEY INC                          GRASSI, LINDSAY
PO BOX 951224                             2300 S DECKER LAKE BLVD                   28 CARTER DRIVE
DALLAS TX 75395-1224                      SALT LAKE CITY UT 84119                   TOLLAND CT 06084




GRASSO, MICHAEL                           GRATTEAU, HANKE                           GRAU, CHARLES
1815 N HARVARD BLVD                       306 N. HARVEY AVENUE                      19230 NW 60TH CT
LOS ANGELES CA 90027                      OAK PARK IL 60302                         MIAMI FL 33015




GRAU, MARYANN                             GRAUERT, CHRISTIANE                       GRAUSO, ROBERT
1200 1 INDIANA AVENUE                     1501 N FARWELL AVE NO.5                   3928 MANOR OAKS CT
SOUTH PASADENA CA 91030                   MILWAUKEE WI 53202                        LEESBURG FL 34748




GRAVELY, AMBER J                          GRAVES, DEBORAH                           GRAVES, TRISTAN
8467 BEVERLY DR                           3018 KINGFISHER DR                        7137 GATEWOOD DR
SAN GABRIEL CA 91775                      ORLANDO FL 32806                          TYLER TX 75203




GRAY JR, LEON A                           GRAY, ALBERT L                            GRAY, ANGELA
PO BOX 1269                               1240 SW 73RD AVE                          1534 NW 11TH AVE
HAYES VA 23072                            N LAUDERDALE FL 33068                     FORT LAUDERDALE FL 33311




GRAY, BRIAN                               GRAY, CLARK D SR                          GRAY, CLARK D SR
523 FORDHAM ROAD                          21138 ALESSANDRA DRIVE                    753 WILLOW RD
SAN MATEO CA 94402                        MATTESON IL 60443                         MATTESON IL 60443




GRAY, CLARK D SR                          GRAY, COLIN T                             GRAY, ELIZABETH ANN
PO BOX 760                                PO BOX 1269                               124 NEWTON STREET APT 1
MATTESON IL 60443                         HAYES VA 23072                            HARTFORD CT 06106




GRAY, FRANK D                             GRAY, GREGORY                             GRAY, KATHLEEN
412 CONCORD LN                            150 SAUNDERS ROAD                         PO BOX 250-780
ELK GROVE VILLAGE IL 60007                HAMPTON VA 23666                          BROOKLYN NY 11225




GRAY, KEANDRA                             GRAY, KELLY                               GRAY, MELISSA
11784 NW 5TH ST                           1805 FULTON AVENUE                        107 ACUSHNET AVE
PLANTATION FL 33323                       CHARLOTTE NC 28205                        SPRINGFIELD MA 01105




GRAY, NATASHA A                           GRAY, RENEE                               GRAY, STEVEN
1240 SW 73RD AVE                          3501 NW 33RD TERRACE                      5316 N PAULINA ST
NORTH LAUDERDALE FL 33068                 LAUDERDALE LAKES FL 33309                 CHICAGO IL 60640




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GRAY, STEVEN M                       GRAY, TIMOTHY JOSEPH                      GRAY,JASON
4555 TEMPLETON PARK CIRCLE NO.423    90 AYERS DR                               4089 SIERRA TERRACE
COLORADO SPRINGS CO 80917            RISING SUN MD 21911                       SUNRISE FL 33351




GRAYBAR ELECTRIC COM                 GRAYBAR ELECTRIC COM                      GRAYBAR ELECTRIC COMPANY
PO BOX 27010                         900 REGENCY DRIVE                         P O BOX 27070
PHOENIX AZ 85061                     GLENDALE HEIGHTS IL 60139                 PHOENIX AZ 85061




GRAYBAR ELECTRIC COMPANY             GRAYBAR ELECTRIC COMPANY                  GRAYBAR ELECTRIC COMPANY
PO BOX 27010                         2769 TERMINAL ANNEX                       2460 STATE ST
PHOENIX AZ 85061                     LOS ANGELES CA 90051                      HAMDEN CT 06577




GRAYBAR ELECTRIC COMPANY             GRAYBAR ELECTRIC COMPANY                  GRAYBAR ELECTRIC COMPANY
1155 NW 20 STREET                    1255 NW 21ST ST                           ATTN: BRIAN
ATTN: CURT ELLINGSON                 POMPANO BEACH FL 33069                    P O BOX 2033
POMPANO BEACH FL 33060                                                         ORLANDO FL 32802



GRAYBAR ELECTRIC COMPANY             GRAYBAR ELECTRIC COMPANY                  GRAYBAR ELECTRIC COMPANY
P O BOX 3210                         CALLER BOX 7300                           PO BOX 403049
TAMPA FL 33601                       NORCROSS GA 30091                         ATLANTA GA 30384




GRAYBAR ELECTRIC COMPANY             GRAYBAR ELECTRIC COMPANY                  GRAYBAR ELECTRIC COMPANY
PO BOX 403052                        PO BOX 403062                             12431 COLLECTION CENTER DR
ATLANTA GA 30384                     ATLANTA GA 30384                          CHICAGO IL 60693




GRAYBAR ELECTRIC COMPANY             GRAYBAR ELECTRIC COMPANY                  GRAYBAR ELECTRIC COMPANY
12434 COLLECTIONS CENTER DRIVE       12450 COLLECTIONS CENTER DR               900 REGENCY DR
CHICAGO IL 60693                     CHICAGO IL 60693                          ACCT NO. TC5
                                                                               TOM
                                                                               GLENDALE HTS IL 60139


GRAYBAR ELECTRIC COMPANY             GRAYBAR ELECTRIC COMPANY                  GRAYBAR ELECTRIC COMPANY
900 REGENCY DR                       900 REGENCY DRIVE                         PO BOX 22901
BRAD/ERINACCT TC5                    GLENDALE HTS IL 60139                     INDIANAPOLIS IN 46222
CATHY
GLENDALE HTS IL 60139


GRAYBAR ELECTRIC COMPANY             GRAYBAR ELECTRIC COMPANY                  GRAYBAR ELECTRIC COMPANY
PO BOX 9147                          PO BOX 1927                               8170 LACKLAND ROAD
BOSTON MA 02205                      GRAND RAPIDS MI 49501                     BEL RIDGE MO 63114




GRAYBAR ELECTRIC COMPANY             GRAYBAR ELECTRIC COMPANY                  GRAYBAR ELECTRIC COMPANY
21-15 BRIDGE PLAZA N                 660 CANTIAGUE ROCK ROAD                   900 RIDGE AVENUE
LONG ISLAND CITY NY 11101            JERICHO NY 11753                          PITTSBURGH PA 15212




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GRAYBAR ELECTRIC COMPANY              GRAYBAR ELECTRIC COMPANY                  GRAYBAR ELECTRIC COMPANY
P O BOX 847625                        P O BOX 922026                            PO BOX 840458
DALLAS TX 75284                       HOUSTON TX 77292                          DALLAS TX 75284




GRAYBAR ELECTRIC COMPANY              GRAYBILL, CHRISTOPHER                     GRAYDON HEAD & RITCHEY LLP
PO BOX 3727                           4157 MOUNTAIN RD   NO.234                 1900 FIFTH THIRD CTR
SEATTLE WA 98124                      PASADENA MD 21122                         511 WALNUT ST
                                                                                CINCINNATI OH 45202



GRAYDON HEAD & RITCHEY LLP            GRAYS HARBOR COUNTY TREASURER             GRAYS HARBOR RADIO
PO BOX 633721                         PO BOX 831                                1308 COOLIDGE RD
CINCINNATI OH 45263                   MONTESANO WA 95863                        ABERDEEN WA 98520-6317




GRAYS HARBOR RADIO                    GRAYSON, JACKIE                           GRAYTHEN, CHRISTOPHER
PO BOX 47                             2707 VANDIVER DR                          3913 LAKE VILLA DR
ABERDEEN WA 98520                     WEST PALM BEACH FL 33409                  METAIRIE LA 70002




GRAZIANO, JOHN ANTHONY                GRAZIANO, NAZARIO                         GRAZIANO, RICHARD J
917 ANDERSON STREET                   VIA ARNO 14                               17 TYLER COURT
DENTON TX 76201                       OSIMO ANCONA 60027                        AVON CT 06001




GREANEY, LINDA D                      GREASON, WILMA                            GREAT AMERICAN INSURANCE COMPANIES
8131 NORTHPARK DRIVE                  13206 MATTIE CIR NO.12                    580 WALNUT STREET
RIVERSIDE CA 92508                    NEWPORT NEWS VA 23608                     CINCINNATI OH 45202




GREAT AMERICAN INSURANCE COMPANIES    GREAT AMERICAN INSURANCE COMPANIES        GREAT BIG COLOR
ATTN: EXECUTIVE LIABILITY DIVISION    EXECUTIVE LIABILITY DIVISION              5670 WASHINGTON ST
PO BOX 66943                          CLAIMS DEPARTMENT                         DENVER CO 80216
CHICAGO IL 60666                      PO BOX 66943
                                      CHICAGO IL 60666


GREAT EXPECTATIONS                    GREAT LAKES PLUMBING AND HEATING          GREAT LAKES RECYCLING SERVICES
C/O FOX61                             4521 W DIVERSEY AVE                       PO BOX 70
ONE CORPORATE CENTER                  CHICAGO IL 60639                          WORTH IL 60482
HARTFORD CT 06103



GREAT SIGNS & DESIGNS                 GREATBANC TRUST COMPANY                   GREATER AURORA CHAMBER OF
4630 N UNIVERSITY DR NO.335           801 WARRENVILLE RD STE 500                43 WEST GALENA BLVD
CORAL SPRINGS FL 33067                LISLE IL 60532                            AURORA IL 60506




GREATER AURORA CHAMBER OF             GREATER BALTIMORE BOARD OF REALTORS       GREATER BALTIMORE COMMUNICATIONS
COMMERCE                              1306 BELLONA AVE                          100 N. HOLLIDAY STREET
40 WEST DOWNER PLACE                  LUTHERVILLE MD 21093                      BALTIMORE MD 21202
PO BOX 277
AURORA IL 60506




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GREATER BALTIMORE SCORE CHAPTER NO.3    GREATER CHICAGO FOOD DEPOSITORY           GREATER CHICAGO FOOD DEPOSITORY
C/O SMALL BUSINESS ADMINISTRATION       4100 WEST ANN LURIE PL                    4501 S TRIPP
10 S HOWARD ST 6TH FLR                  CHICAGO IL 60632                          CHICAGO IL 60632
BALTIMORE MD 21201



GREATER HARTFORD ARTS COUNCIL           GREATER HARTFORD ASSOCIATION FOR          GREATER HARTFORD ASSOCIATION FOR
PO BOX 231436                           900 ASYLUM AVE                            RETARDED CITIZENS INC
HARTFORD CT 06123-1436                  HARTFORD CT 06105-1985                    900 ASYLUM AVE
                                                                                  HARTFORD CT 06105-1985



GREATER HARTFORD AUTOMOBILE DEALERS     GREATER HARTFORD AUTOMOBILE DEALERS       GREATER HARTFORD FLOOD COMMISSION,
36 TRUMBULL ST                          PROFESSIONAL BUILDING                     RE: HARTFORD 365 BROAD STREET
HARTFORD CT 06103                       179 ALLYN ST                              ATTN: JOHN BERTE
                                        # 304                                     525 MAIN STREET
                                        HARTFORD CT 06103                         HARTFORD CT 06103


GREATER HARTFORD FLOOR COMMISSION       GREATER HOUSTON PARTNERSHIP INC           GREATER LEHIGH VALLEY AUTO DEALERS
RE: HARTFORD 365 BROAD STREET           1200 SMITH       SUITE 700                1275 GLENLIVET DRIVE SUITE 100
525 MAIN STREET                         PO BOX 297653                             ALLENTOWN PA 18106-3107
HARTFORD CT 06103                       HOUSTON TX 77297



GREATER LEHIGH VALLEY AUTO DEALERS      GREATER LEHIGH VALLEY AUTO DEALERS        GREATER LEHIGH VALLEY AUTO DEALERS
C/O JACK JONES BUICK                    C/O MARTHA CUSIMANA EXEC DIR              P O BOX 21925
325 W BROAD ST                          GREATER LEHIGH VALLEY AUTO SHOW           LEHIGH VALLEY PA 18002-1925
BETHLEHEM PA 18018                      287 FLAGSTONE DR
                                        BETHLEHEM PA 18017


GREATER LOS ANGELES AUTO SHOW           GREATER MICHIGAN REALTY                   GREATER NORTH MICHIGAN AVE ASSO
11835 W OLYMPIC BLVD NO.625             5052 CREEKMONTE DR                        625 N MICHIGAN AVENUE
LOS ANGELES CA 90064                    ROCHESTER MI 48306                        SUITE 401
                                                                                  CHICAGO IL 60611



GREATER NORWALK CHAMBER OF COMM         GREATER PARADISE CHRISTIAN CENTER         GREATER PENINSULA NOW
P O BOX 668                             2900 E OLIVER STREET                      12350 JEFFERSON AVE  STE 300
101 EAST AVE                            BALTIMORE MD 21213                        NEWPORT NEWS VA 23602
NORWALK CT 06852



GREATER PLANTATION CHAM OF COMM         GREATER PORT JEFFERSON CHAMBER OF         GREATER SAYVILLE CHAMBER OF COMMERCE
7401 NW 4TH ST                          118 W BROADWAY                            PO BOX 235
PLANTATION FL 33317                     PORT JEFFERSON NY 11777                   SAYVILLE NY 11782




GREATER WASHINGTON URBAN LEAGUE         GREATER WILLIAMSBURG CHAMBER OF           GREATER WILLIAMSBURG CHAMBER OF
2901 14TH ST NW                         PO BOX 3495                               PO BOX 3620
WASHINGTON DC 20009                     WILLIAMSBURG VA 23187-3620                WILLIAMSBURG VA 23187-3620




GREATSCHOOLS INC                        GREATSCHOOLS INC                          GREAVES, FRED
301 HOWARD ST   STE 1440                ATN: CATHERINE NAGLE                      5371 WESTKNOLL LN
SAN FRANCISCO CA 94105                  965 MISSION ST                            SAN DIEGO CA 92109
                                        #500
                                        SAN FRANCISCO CA 94103-2954




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GRECCO, SERGIO DANIEL                  GRECO JR, CARMEN                           GRECZYN, CRAIG
MIAMI COMMERCIAL CENTER                8858 S TROY                                C/O TMS TV DATA
8307 NW 68TH ST SUITE A 1243           EVERGREEN PARK IL 60805                    333 GLEN ST
MIAMI FL 33166-2654                                                               GLENS FALLS NY 12801



GRECZYN, CRAIG                         GREELEY TRIBUNE                            GREEN FLORIDA DEVELOPMENTS
3640 SE HAWTHORNE BLVD APT 7           PO BOX 1690                                RE: DEERFIELD BEACH GOOLSBY
PORTLAND OR 97214                      GREELEY CO 80632                           2201 N.W. 30TH PLACE
                                                                                  POMPANO BEACH FL 33069



GREEN FLORIDA DEVELOPMENTS             GREEN FROG PHOTO                           GREEN GENES
2201 NW 30 PLACE                       417 RICHMOND NW                            PO BOX 470878
POMPANO BEACH FL 33069                 GRAND RAPIDS MI 49504                      SAN FRANCISCO CA 94147




GREEN GROCER                           GREEN HORNET TOUCHDOWN CLUB                GREEN KEY RESOURCES LLC
PRODUCE PRODUCTIONS INC                PO BOX 515                                 475 PARK AVE SOUTH 7TH FLOOR
PO BOX 3556                            EMMAUS PA 18049                            NEW YORK NY 10016
CHERRY HILL NJ 08034



GREEN MOUNTAIN GARDEN SHOP             GREEN PLANET REAL ESTATE                   GREEN, AMY
15953 W 70TH DR                        1937 CARLETON ST                           3116 KNOLLWOOD CIRC
ARVADA CO 80007                        BERKELEY CA 94704                          ORLANDO FL 32804




GREEN, ANNETTE                         GREEN, ANTONIA                             GREEN, CALVIN
640 COUNTY ROAD 533                    304 SPRING MOUNT KNOLL                     3468 WOLF PACK DRIVE
SUMTERVILLE FL 33585                   SCHWENKSVILLE PA 19473                     OREFIELD PA 18069




GREEN, CHUCK                           GREEN, CHUCK                               GREEN, CRAIG J
245 WOODRILL WAY                       245 WOODVILL WAY                           7512 ANGELA AVENUE
ATLANTA GA 30350                       ATLANTA GA 30330                           BAKERSFIELD CA 93308




GREEN, CYNTHIA A                       GREEN, DARREN                              GREEN, DAVID
1586 W ARMSTRONG ROAD                  2611 OAK AVENUE                            231 SOMERS RD
LODI CA 95242                          NORTHBROOK IL 60062                        ELLINGTON CT 06029




GREEN, DEVORA                          GREEN, DOROTHY S                           GREEN, EMILY
9514 S. PAXTON NO.2 FL                 11911 SAN VINCENTE BLVD SUITE 320          2158 W 24TH ST
CHICAGO IL 60617                       LOS ANGELES CA 90049                       LOS ANGELES CA 90018




GREEN, GEORGE M                        GREEN, GERALDINE D                         GREEN, GIBSON
643 NE 42 ST                           8029 S MAPLEWOOD 000051                    1554 OAKPOINTE DRIVE APT E
OAKLAND PARK FL 33334                  CHICAGO IL 60652                           MARIETTA GA 30008




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GREEN, JAMES                             GREEN, JAMES F                             GREEN, JAMESNA E
2311 CODY STREET                         133 SE 5TH AVE APT 4                       3761 BOSSA HOVA DR
HOLLYWOOD FL 33020                       DELRAY BEACH FL 33483                      LAS VEGAS NV 89129




GREEN, JARED                             GREEN, JOAN DENATALE                       GREEN, JULIA A
4459 OLD BETHLEHEM PIKE                  67 SYLVAN AVE                              5545 PATTILAR AVENUE
CENTER VALLEY PA 18034                   HARTFORD CT 06107                          WOODLAND HILLS CA 91367




GREEN, KENT                              GREEN, KEVIN M                             GREEN, KRISTIE LYNN
1223 W FOSTER AVE    NO.2                PO BOX 882                                 99 TIDE MILL LN   APT 23A
CHICAGO IL 60640                         MESA AZ 85211-0882                         HAMPTON VA 23666




GREEN, LIBBY                             GREEN, MARY                                GREEN, MATTHEW ALEXANDER
4624 S WOOD ST                           226 AURORA ST                              6512 ABBOTTS MILL AVENUE
CHICAGO IL 60609                         PHILLIPSBURG NJ 08865                      DAVIE FL 33331




GREEN, MICHAEL                           GREEN, MISCHA P                            GREEN, MOLLY
190 JOHN OLDS DR APT 208                 2327 HARLEM AVENUE                         PO BOX 204100
MANCHESTER CT 06040                      BALTIMORE MD 21216                         NEW HAVEN CT 06520




GREEN, PATRICIA A                        GREEN, PAUL                                GREEN, ROSHANDA
741 N. LOCKWOOD                          860 N LAKE SHORE NO.4K                     15714 NW 7TH AVENUE NO.G
CHICAGO IL 60644                         CHICAGO IL 60611                           MIAMI FL 33169




GREEN, SHARON                            GREEN, SUSAN                               GREEN, TINA
603 ASPEN DR                             309 LOCKRIDGE LN                           231 SOMERS RD
LOMBARD IL 60148                         ALBURTIS PA 18011                          ELLINGTON CT 06029




GREEN, TORRA                             GREEN, TYLER                               GREEN-LATIMORE, ANGELA G
3026 E MISSIONWOOD CIRCLE                4850 CONNECTICUT AVE NW NO.219             101 PINE CIRCLE APT. 5
MIRAMAR FL 33025                         WASHINGTON DC 20008                        BOCA RATON FL 33432




GREENBACK, LAURA                         GREENBAUM, THELMA                          GREENBAUM, THELMA
3029 PIKE DR                             1737 SHIMER AVE                            1737 SHIMER AVE NO. 12
RIVA MD 21140                            APT 12                                     BETHLEHEM PA 18018
                                         BETHLEHEM PA 18018



GREENBERG TRAURIG, P.A.                  GREENBERG, BOB                             GREENBERG, DAVID
RE: PEMBROKE PARK FL SENECA              602 STRATFORD DR                           217 CENTRAL PARK NORTH APT NO.9
1221 BRICKELL AVENUE                     MOORESTOWN NJ 08057                        NEW YORK NY 10026
SUITE 2100
MIAMI FL 33131




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GREENBERG, HERBERT J PHD                GREENBERG, HERBERT J PHD                  GREENBERG, HOWARD
2710 POINTE CIR W                       32 MAGNOLIA ST                            2615 AURELIA PLACE
WEST PALM BEACH FL 33413                ROSWELL GA 30075                          FORT LAUDERDALE FL 33301




GREENBERG, JOEL P                       GREENBERG, KAREN                          GREENBERG, NORMAN
994 E POPPYFIELDS DR                    200 WEST 26TH ST NO.18J                   9404 ALTA SOL WAY
ALTADENA CA 91001                       NEW YORK NY 10001                         NEW PORT RICHEY FL 34655-1764




GREENBERG, PAUL                         GREENBERG, STEVE                          GREENBERG,ADAM
5900 SCENIC DRIVE                       PO BOX 1017                               79 FERNWOOD DR
LITTLE ROCK AR 72207                    CAMARILLO CA 93011                        GUILFORD CT 06437




GREENBERG,JOEL                          GREENBERG,JOEL                            GREENE II, TERRY L
6 KLEIN ST                              JERUSALEM FOREIGN BUREAU                  34-29 41ST ST APT 1L
JERUSALEM 93103                         435 N MICHIGAN AVE                        ASTORIA NY 11101
                                        CHICAGO IL 60611



GREENE III, JAMES                       GREENE, ADINAH                            GREENE, ARCLETHIA
14062 BURWELLS BAY RD                   978 RAMBLEWOOD DR                         908 EDLER RD
SMITHFIELD VA 23430                     CORAL SPRINGS FL 33071                    NEWPORT NEWS VA 23608




GREENE, DEREK                           GREENE, GAYLE                             GREENE, JANICE
GREEN REALTY GROUP                      7318 STOCKTON AVENUE                      2612 BUENA VISTA AVE APT A
3 PARK ST                               EL CERRITO CA 94530                       ALAMEDA CA 94501
AYER MA 01432



GREENE, JASON                           GREENE, RICHARD C                         GREENE, WILLIAM ANDERSON
36614 GRAND ISLAND OAKS CIRCLE          11 GRAND ST                               1325 N ANDREWS AVE
GRAND ISLAND FL 32735                   ENFIELD CT 06082                          FT LAUDERDALE FL 33311




GREENFELD, KARL                         GREENFIELD, MICHAEL                       GREENFIELD, PHILP L.
56 WARREN STREET APT 3E                 183 ALYMER COURT                          726 BROADMOOR DR
NEW YORK NY 10007                       WESTMINSTER MD 21157                      ANNAPOLIS MD 21401




GREENFIELD, SCOTT H                     GREENLIGHT AUTO                           GREENRIDGE ENTERPRISE, LP
175 COVE ROAD                           9001 EAST COLONIAL DRIVE                  RE: BISHOPVILLE 12531 WORCHES
OYSTER BAY COVE NY 11771                ORLANDO FL 32817                          10323 HENRY ROAD
                                                                                  BERLIN MD 21811



GREENRIDGE ENTERPRISES LTD              GREENRIDGE WAREHOUSE AND MINI             GREENSBORO NEWS & RECORD
10323 HENRY RD                          RE: BISHOPVILLE 12531 WORCHES             200 EAST MARKET
BERLIN MD 21811                         GREENRIDGE ENTERPRISES, L.P.              ATTN JOHN ROBINSON
                                        10323 HENRY ROAD                          GREENSBORO NC 27401
                                        BERLIN MD 21811




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GREENSBORO NEWS & RECORD                GREENSCAPES INC                            GREENSCAPES INC
PO BOX 21285                            1721 ROGERS PL NO. 49J                     A GROWING COMPANY
GREENSBORO NC 27420                     BURBANK CA 91504                           1721 ROGERS PLACE
                                                                                   UNIT 49J
                                                                                   BURBANK CA 91504


GREENSPAN, MICHAEL                      GREENSPUN, BRIAN L.                        GREENSPUN, BRIAN LEE
4932 MILAM                              6 DOVETAIL CIRCLE                          2275 CORPORATE CIRCLE STE 300
DALLAS TX 75206                         HENDERSON NV 89014                         HENDERSON NV 89074




GREENSTRIPE MEDIA                       GREENTREE MINCHENER, MARY                  GREENWALD, DAVID
424 N. OLD NEWPORT BLVD.                4301 SW 53RD AVE.                          228 GRANDRIDGE CT
NEWPORT BEACH CA 92663                  DAVIE FL 33314                             VENTURA CA 93003




GREENWALD, JEFFREY MICHAEL              GREENWALT, KARI                            GREENWELL, RANDALL
PO BOX 5883                             6213 E HEMLOCK DR                          2189 RAILROAD AVE
BERKELEY CA 94705-0883                  ELDERSBURG MD 21784                        HERCULES CA 94547




GREENWICH ASSOCIATION OF REALTORS       GREENWICH EMERGENCY MEDICAL SERVICES       GREENWOOD AND MCKENZIE
1 LAYFAYETTE CT 3RD FLR                 1111 E PUTNAM AVE                          440 W FIRST ST  STE 201
GREENWICH CT 06830                      RIVERSIDE CT 06878                         TUSTIN CA 92780




GREENWOOD AND MCKENZIE                  GREENZONE RECYCLING                        GREER CONTRACTING COMPANY
GRANCO PRATT-PALMDALE                   225 INDUSTRIAL WAY, #C                     4028 SHORECREST DR
C/O GREENWOOD & MCKENZIE                WOODLAND CA 95776                          ORLANDO FL 32804
440 W FIRST ST    STE 201
TUSTIN CA 92780


GREER CONTRACTING COMPANY               GREER CONTRACTING COMPANY                  GREER RITCHIE
4062 SHORECREST DR                      670 CLAY ST                                2301 NW 41ST AVE
ORLANDO FL 32804                        WINTER PARK FL 32789                       LAUDERHILL FL 33313




GREER, DANIEL J                         GREER, MARIE LOBDELL                       GREG ARTIS
82 ZACHARY DRIVE                        476 BROADWAY                               1200 MT. LOWE DRIVE
AVON CT 06001                           COSTA MESA CA 92627                        ALTADENA CA 91001




GREG CAPUTO                             GREG CRAWFORD                              GREG DREYER
3418 WINCHESTER LANE                    3102 PLAZA DRIVE NE                        1876 CORY LANE
GLENVIEW IL 60025                       APT D21                                    CHESTERTON IN 46304
                                        GRAND RAPIDS MI 49525



GREG GORELICK                           GREG HADLEY PHOTOGRAPHY                    GREG HAIRSTON
2731 WORDEN STREET                      9208 BAYARD PL                             6 SANTAM CT
SAN DIEGO CA 92110                      FAIRFAX VA 22032                           BAY SHORE NY 11706




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GREG HEALY                              GREG JOHNSON                              GREG KRIKORIAN
2919 N. SOUTHPORT AVE                   28 TOTOKET ROAD                           1102 GRANT STREET
#3                                      BRANFORD CT 06405                         SANTA MONICA CA 90405
CHICAGO IL 60657



GREG MIELCZAREK                         GREG MITCHELL                             GREG PAYNE
400 WEST DEMING PL                      1705 S. KIRKMAN RD.                       946 MEADOWCREST ROAD
APT 3N                                  APT. 115                                  LA GRANGE PARK IL 60526
CHICAGO IL 60614                        ORLANDO FL 32811



GREG PHILLIPS                           GREG S BERNSTEIN A PROFESSIONAL GROUP     GREG SANDELL
1701 NE 2ND TERRACE                     9601 WILSHIRE BLVD SUITE 240              3632 S. PRAIRIE AVE.
POMPANO BEACH FL 33060                  BEVERLY HILLS CA 90210                    CHICAGO IL 60653




GREG SNYDER                             GREG STANLEY                              GREG STRICHARCHUK
100 W CHESTNUT                          1255 SOUTH MICHIGAN AVENUE                1128 E. 46TH ST.
1604                                    APARTMENT 2308                            CHICAGO IL 60653
CHICAGO IL 60610                        CHICAGO IL 60605



GREG THEROUX                            GREG YOUNG                                GREG, STEPHANIE A
28016 DURHAM PLACE                      40 OLD FARM LANE                          3045 GILSON AVE
SAUGUS CA 91350                         YORK PA 17406                             EAST LIVERPOOL OH 43920




GREGG BEHAR                             GREGG BEHONICK                            GREGG BUILDERS LLC
8171 NW 42ND STREET                     998 KAHLE ST                              111 NORTH CANAL STREET SUITE 900
CORAL SPRINGS FL 33065                  BOHEMIA NY 11716                          CHICAGO IL 60606




GREGG DETERDING                         GREGG DITTOE                              GREGG HARTLING
7163 SANTA TERESA CIRCLE                11754 GOLD PARKE LANE                     4146 PROSPECT AVENUE
BUENA PARK CA 90620                     GOLD RIVER CA 95670                       LOS ANGELES CA 90027




GREGG HENGLEIN                          GREGG LORIA                               GREGG PROSSER
2373 WOODLAND AVE                       5125 CALVIN                               6756 SUMMERFIELD COURT
WANTAGH NY 11793                        TARZANA CA 91356                          CHINO CA 91710




GREGG, DAVID                            GREGG, JAMES M                            GREGG, JESSICA
4361 CLAUSSEN RD                        3108 COVENTRY ST                          331 DUMBARTON ROAD
FLORENCE SC 29505                       DELTONA FL 32738                          BALTIMORE MD 21212




GREGGORY YOUNG                          GREGOIRE, JEAN J                          GREGOR, ALISON
1812 SENECA BLVD                        8108 MIZNER LANE                          258 WADSWORTH AVE
WINTER SPRINGS FL 32708                 BOCA RATON FL 33433                       NO.3A
                                                                                  NEW YORK NY 10033




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GREGORIUS, BRIAN                       GREGORY ANDERSON                          GREGORY BAILEY
165 VOLTA ST                           432 WILDFLOWER WAY                        833 W BUENA AVE
COPIAGUE NY 11726                      BOLINGBROOK IL 60440                      APT 709
                                                                                 CHICAGO IL 60613-6636



GREGORY BANKS                          GREGORY BARNA                             GREGORY BAUER
7 ONTARIO RD                           291 HILLTOP ROAD                          441 SCARBOROUGH CR
WEST HEMPSTEAD NY 11552                MENDHAM NJ 07945                          CORONA CA 92879




GREGORY BECKMANN                       GREGORY BIRGE                             GREGORY BOLING
16 5TH PLACE                           3232 WEST JACKSON                         631 COUNTRY SQUIRE
LONG BEACH CA 90802                    CHICAGO IL 60624                          ST. PETERS MO 63376




GREGORY BOWEN                          GREGORY BRADLEY                           GREGORY BRYANT
31 HIGH STREET                         14647 GREENWOOD RD                        152 NORTH MAPLE AVENUE
UNIT #11107                            UNIT #201                                 EAST ORANGE NJ 07017
EAST HARTFORD CT 06118                 DOLTON IL 60419



GREGORY BURNS                          GREGORY BYRNE                             GREGORY CANTAVE
205 DUPEE STREET                       3326 82ND STREET                          431 SPANGLE DRIVE
WILMETTE IL 60091                      APT. 4B                                   NORTH BABYLON NY 11703
                                       JACKSON HEIGHTS NY 11372



GREGORY CARANNANTE                     GREGORY CHRISTOPHER                       GREGORY CONN
2108 N 31ST ROAD                       5551 W. 6TH ST                            2261 NW 37TH AVENUE
HOLLYWOOD FL 33021                     APT#3225                                  COCONUT CREEK FL 33066
                                       LOS ANGELES CA 90036



GREGORY COOK                           GREGORY CUSON                             GREGORY D'ANGELO
4502 LAKE PINKSTON DR.                 1014 DUMAINE STREET                       729 GREENBRIER DRIVE
RICHMOND TX 77469                      APT. #A                                   APT 14
                                       NEW ORLEANS LA 70116                      BOHEMIA NY 11716



GREGORY DAVIS                          GREGORY DAWSON                            GREGORY DEAN WALLACE
5933 PARK PL.                          607 LAKE HARBOR CIRCLE                    8200 SW 23 CT
APT, #3                                ORLANDO FL 32809                          APT B22
HAMMOND IN 46320                                                                 NORTH LAUDERDALE FL 33068



GREGORY DENIS                          GREGORY DWORAK                            GREGORY E LOPEZ
3660 INVERRARY DR.                     1042 CORAL CLUB DRIVE                     1063 EAGLEMONT
# 3W                                   CORAL SPRINGS FL 33071                    NO WHITTIER CA 90601
LAUDERHILL FL 33319



GREGORY ENNEN                          GREGORY FARKAS                            GREGORY FISHER
1660 CATHEDRAL DRIVE                   2191 MAIN ST                              2901 FUNSTON STREET
MARGATE FL 33063                       NORTHAMPTON PA 18067                      HOLLYWOOD FL 33020




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GREGORY FITZWATER                       GREGORY FOSSELMAN                         GREGORY FOSTER
8602 SADDLER ROAD                       6163 N WOLCOTT                            513 CENTRAL AVENUE
BALTIMORE MD 21234                      CHICAGO IL 60660                          APT. 102
                                                                                  MASSAPEQUA NY 11758



GREGORY GAMMONLEY                       GREGORY GARDNER                           GREGORY GARLAND
1870 WALKER AVE.                        2720 E. 4TH ST                            1240 TAYLOR AVENUE
WINTER PARK FL 32789                    APT E                                     ARNOLD MD 21012
                                        LONG BEACH CA 90814



GREGORY GLEY                            GREGORY GORO                              GREGORY GREEN
15W437 CONCORD                          2908 WHITE THORN CIRCLE                   1043 W. 107TH PLACE
ELMHURST IL 60126                       NAPERVILLE IL 60564                       CHICAGO IL 60643




GREGORY GREEN                           GREGORY GRESSLE                           GREGORY GRIGGS
4104 DUTCHMILL ROAD                     4009 N. SHERIDAN RD.                      P.O. BOX 1524
RANDALLSTOWN MD 21133                   UNIT 1S                                   THOUSAND OAKS CA 91358-0524
                                        CHICAGO IL 60613



GREGORY GUINTER                         GREGORY GUTES                             GREGORY HALL
1195 THORNDALE LANE                     6 LEELAND DRIVE                           1330 BRANDY LAKE VIEW
LAKE ZUIRCH IL 60047                    HAUPPAUGE NY 11788                        WINTER GARDEN FL 34787




GREGORY HARDEN                          GREGORY HARMEL                            GREGORY HASKINS
920 CORAL RIDGE DRIVE                   107 MAPLEWOOD AVENUE                      3993 WHISPERING MEADOWS DR.
304                                     WEST HARTFORD CT 06119                    RANDALLSTOWN MD 21133
CORAL SPRINGS FL 33071



GREGORY HENLEY                          GREGORY HERGENROEDER                      GREGORY HERNANDEZ
1504 NW 3RD COURT                       205 E JOPPA ROAD                          12807 COBALT ROAD
APT 2                                   2802                                      VICTORVILLE CA 92392
FORT LAUDERDALE FL 33311                TOWSON MD 21286



GREGORY HOBELMAN                        GREGORY HOFFMAN                           GREGORY HUMPHREY
3702 NIPOMO AVENUE                      999 GRUNDY AVENUE                         3035 WEST BLVD
LONG BEACH CA 90808                     HOLBROOK NY 11741                         APT #103
                                                                                  LOS ANGELES CA 90016



GREGORY HUNTER                          GREGORY HUNTER                            GREGORY IRWIN
19191 EAST CRESTRIDGE CIRCLE            2723 E ABIACA CIR                         401 PUDDINGSTONE DRIVE
AURORA CO 80015                         DAVIE FL 33328                            SAN DIMAS CA 91733




GREGORY J TEMPLE                        GREGORY JOHNSON                           GREGORY JOHNSON
28481 CONNICK PLACE                     3708 SW 52ND AVE                          5309 N. OLEANDER
SAUGUS CA 91350                         #206                                      CHICAGO IL 60656
                                        PEMBROKE PARK FL 33023-6962




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GREGORY JOHNSON                      GREGORY KANE                              GREGORY KARP
14762 BEL AIRE                       4956 EDGEMERE AVE                         15 MILTON DRIVE
IRVINE CA 92604                      BALTIMORE MD 21215                        YARDLEY PA 19067




GREGORY KILLPACK                     GREGORY KOPP                              GREGORY KOT
13814 120TH STREET E                 7367 GOFF AVE                             6305 N LEMAI
PUYALLUP WA 98374                    RICHMOND HEIGHTS MO 63117                 CHICAGO IL 60646




GREGORY LAGROTTERIA                  GREGORY LANG                              GREGORY LANGONE
420 W PALM STREET                    8755 NW 18 ST                             88-33 237 STREET
UNIT A25                             CORAL SPRINGS FL 33071                    BELLROSE NY 11426
LANTANA FL 33462



GREGORY LEWIS                        GREGORY LIPPERT                           GREGORY LOGAN
PO BOX 330455                        909 COLFAX                                9 MILLS LANE
WEST HARTFORD CT 06133-0455          ELMHURST IL 60126                         EAST SETAUKET NY 11733




GREGORY LONG                         GREGORY LOOSE                             GREGORY MALCOLM
10 SOUNDVIEW GARDENS                 3251 N. LEAVITT                           29251 GARNET CANYON DRIVE
APT B                                UNIT 2                                    SANTA CLARITA CA 91390
PORT WASHINGTON NY 11050             CHICAGO IL 60618



GREGORY MARCHAND                     GREGORY MATIKA                            GREGORY MCARDLE
2258 HANNAH LANE                     2927 SECHLER COURT                        4831 NW 77TH COURT
ORLANDO FL 32826                     KUTZTOWN PA 19530                         POMPANO BEACH FL 33073




GREGORY MCDONALD                     GREGORY MCNALLY                           GREGORY MELVIN
42 WALNUT ST                         412 BENEDICT AVENUE                       112 MAYFIELD DRIVE
CORAM NY 11727                       APT. #4G                                  SANFORD FL 32771
                                     TARRYTOWN NY 10591



GREGORY MILLER                       GREGORY MILLER                            GREGORY MONE
10103 HURST STREET                   152 WISTERIA DRIVE                        6831 MAPLE GROVE CT.
BETHESDA MD 20814                    LONGWOOD FL 32779                         YORBA LINDA CA 92886




GREGORY MOORE                        GREGORY MORAGO                            GREGORY MORALES
PO BOX 960075                        92 BEACON STREET                          11 MAPLEWING DR
INWOOD NY 11096                      HARTFORD CT 06105                         CENTRAL ISLIP NY 11722




GREGORY MUELLER                      GREGORY NELL                              GREGORY NICHOLS
2525 SOUTH DAYTON WAY                8185 PALM GATE DR.                        2814 RIGGS AVENUE
#1807                                BOYNTON BEACH FL 33436                    BALTIMORE MD 21216
DENVER CO 80231




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GREGORY NIETO                         GREGORY NOTH                               GREGORY ODDO
505 EAST 24TH STREET                  120 LAKE STREET                            4407 50TH AVENUE SW
UNIT 202                              D                                          SEATTLE WA 98116
DENVER CO 80205-2961                  OAK PARK IL 60302



GREGORY PAGE                          GREGORY PECK                               GREGORY PEDERSEN
5305 EDEN LAKE COURT                  15321 CEDARWOOD                            3921 JOHN SHROPSHIRE
LAKE WORTH FL 33467                   MIDWAY CITY CA 92655                       WILLIAMSBURG VA 23188




GREGORY PORCHIA                       GREGORY RACKETT                            GREGORY RICHARDSON
41052 OAKVIEW LANE                    4334 N HAZEL ST                            17739 STAGG STREET
PALMDALE CA 93551                     APT # 803                                  RESEDA CA 91335
                                      CHICAGO IL 60613



GREGORY ROBINSON                      GREGORY ROBSON                             GREGORY SAKOWICZ
1126 N WALLER                         7 MIDDLE DRIVE                             4671 GRAND HAVEN LANE
CHICAGO IL 60651                      PLANDOME NY 11030                          D
                                                                                 INDIANAPOLIS IN 46280



GREGORY SARRA                         GREGORY SAUNDERS                           GREGORY SCHARLACH
2025 LOUIS KOSSUTH AVE                9316 WHITTEMORE DRIVE                      13024 JEWELSTONE WAY
RONKONKOMA NY 11779                   ELK GROVE CA 95624-3521                    ORLANDO FL 32828




GREGORY SHAFFER                       GREGORY SHIMER                             GREGORY SILAS
2022 BANK STREET                      278 GORMAN ROAD                            P. O. BOX 5159
BALTIMORE MD 21231                    BROOKLYN CT 06234                          VERNON HILLS IL 60061




GREGORY SLATER                        GREGORY SMITH                              GREGORY SODANO
4432 DONCASTER DR.                    1417 VALBROOK CT.                          10301 STRATHMORE HALL STREET
ELLICOTT CITY MD 21043                BELAIR MD 21015                            #304
                                                                                 NORTH BETHESDA MD 20852



GREGORY SOLOWIEI                      GREGORY THOMPSON                           GREGORY THOMPSON
10 CONWAY STREET                      2798 NW 20TH STREET                        3166 SW SEABOARD AVE
RONKONKOMA NY 11779                   FORT LAUDERDALE FL 33311                   PALM CITY FL 34990




GREGORY THURNEAU                      GREGORY W WARMUTH                          GREGORY WATZ
51 RIDGE ROAD                         2 8TH ST                                   174 N. LAKE DRIVE
WHEATLEY HEIGHTS NY 11798             FARMINGVILLE NY 11738                      HILLSBORO MO 63050




GREGORY WEISSMAN                      GREGORY WESTRY                             GREGORY, JANET H
971 SHERWOOD ST.                      9025 CHARLEE STREET                        130 RIVER TRAIL
REDLANDS CA 92373                     LAKE WORTH FL 33467                        SOUTHBURY CT 06488




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GREGORY, ROBERT C                      GREGORY-FULLER, HOLLY DIANE               GREIKA, HILLARY D
4940 151ST                             1922 QUAKER HOLLOW LANE                   91 WEST STAFFORD RD
OAK FOREST IL 60452                    STREAMWOOD IL 60107                       STAFFORD SPRINGS CT 06076




GRELBER INC                            GREMILLION, ROBERT J                      GRENESKO, DONALD C
430 PECKERWOOD LANE                    200 S. VICTORIA PARK ROAD                 130 THORN TREE LANE
GRANTS PASS OR 97527                   FORT LAUDERDALE FL 33301                  WINNETKA IL 60093




GRENIER, JOSEPH                        GRENIER, RONALD G                         GRETA FISCHER
16 LOOMIS ST                           11 PEARL ST                               20440 DEER RIDGE RD.
WINSTED CT 06098                       ENFIELD CT 06082                          NOBLESVILLE IN 46060




GRETCHEN BEETNER                       GRETCHEN BENDER                           GRETCHEN DAY-BRYANT
1812 SOUTH CLARK STREET                P O BOX E                                 2024 NE 19 AVE
APT. #5                                BREINIGSVILLE PA 18031                    FORT LAUDERDALE FL 33305
CHICAGO IL 60616



GRETCHEN DE STEFANO                    GRETCHEN DIBLE                            GRETCHEN DONOVICK
11252 WALLINGSFORD ROAD                15286 SUTTON #102                         2108 ASH GROVE WAY
LOS ALAMITOS CA 90720                  SHERMAN OAKS CA 91403                     DALLAS TX 75228




GRETCHEN GOODE                         GRETCHEN HARP                             GRETCHEN REESE
273 DEEPWOOD DRIVE                     3610 KNERR DRIVE                          10737 PALAISEU CT.
AMSTON CT 06231                        MACUNGIE PA 18062                         ORLANDO FL 32825




GRETCHEN WARD-SMITH                    GRETHEN TONG, DONNA MARIE                 GREY SAMUEL
2506 N. 38TH STREET                    2312 ROOSEVELT AVE                        P.O. BOX 681247
SEATTLE WA 98103                       BERKELEY CA 94703                         ORLANDO FL 32868




GREY, AARON                            GREY, EDWARD                              GREY, MICHAELA
3117 NW 122ND AVE                      107 S JEROME ST APT 4                     625 PICO PLACE
SUNRISE FL 33323                       ALLENTOWN PA 18109                        SANTA MONICA CA 90405




GREY,GINA R                            GREYHOUND PACKAGE EXPRESS                 GREYHOUND PACKAGE EXPRESS
8729 MARINUS DR                        8470 INNOVATION WAY                       15110 N DALLAS PRKWY
BALDWINSVILLE NY 13027                 CHICAGO IL 60682-0084                     DALLAS TX 75248




GREYHOUND PACKAGE EXPRESS              GREYHOUND PACKAGE EXPRESS                 GREYHOUND PACKAGE EXPRESS
FILENO. 6082845                        FILENO. 9911432                           PO BOX 650662
PO BOX 650662                          PO BOX 650662                             FILE 0794776
DALLAS TX 75265-0662                   DALLAS TX 75265-0662                      DALLAS TX 75265-0662




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GREYMART ENVIRONMENTAL RESOURCES INC     GRICEL C STERN                            GRIDER, JAMES
974 MEEKER AVE                           10520 WILSHIRE BLVD                       5065 AVENIDA DEL SOL
BROOKLYN NY 11222                        #1407                                     LAGUNA WOODS CA 92653-1803
                                         W LOS ANGELES CA 90024



GRIDER, SHIRLEY M                        GRIDIRON CLUB                             GRIDIRON CLUB
5065 AVENIDA DEL SOL                     976 NATIONAL PRESS BUILDING               THE CAPITAL HILTON HOTEL RM 402
LAGUNA WOODS CA 92637                    WASHINGTON DC 20045                       1001 16TH ST NW
                                                                                   WASHINGTON DC 20036



GRIDIRON CLUB                            GRIER AND WARANCH LLC                     GRIER, JACOB
5733 N FIFTH ST                          102 W PENNSYLVANIA AVE STE 202            19114 CANDLETRAIL DRIVE
ARLINGTON VA 22205                       TOWSON MD 21204                           SPRING TX 77388




GRIER, JACOB                             GRIERSON, TIMOTHY GREGG                   GRIEVESON, ALISON
850 N RANDOLPH ST NO.1327                1331 MESSELIN AVE                         PO BOX 185341
ARLINGTON VA 22203                       LOS ANGELES CA 90019                      HAMDEN CT 06518




GRIFFENS SATELLITE SERVICE               GRIFFIN MARKETING GROUP INC               GRIFFIN, BARBARA
1423 STATE ROUTE 28N                     7399 N SHADELAND AVE  NO. 131             120 W EARLY AVE
MINERVA NY 12851                         INDIANAPOLIS IN 46250                     COALDALE PA 18218




GRIFFIN, DEBORA                          GRIFFIN, KAREN D                          GRIFFIN, KEITH M.
863 EAST POND MEADOW RD                  4871 HAIRSTON PLACE                       392 OAKWOOD AVE
WESTBROOK CT 06498                       STONE MOUNTAIN GA 30088                   W HARTFORD CT 06110-1155




GRIFFIN, MICHAEL G                       GRIFFIN, RICARDO                          GRIFFIN,JOHN
2515 LAKE VIEW AVENUE                    745 MALIBU BAY DR. NO. 8202               203 FIRST AVENUE
LOS ANGELES CA 90039                     WEST PALM BEACH FL 33401                  PORT JEFFERSON STATION NY 11777




GRIFFIS, DANIEL                          GRIFFITH, ANGELA                          GRIFFITH, BERNARD
6445 EVE ST                              2001 YORK YD                              4704 DUPLESSIS ST
ST CLOUD FL 34771                        OAK BROOK IL 60523                        NEW ORLEANS LA 70122




GRIFFITH, RACHAEL                        GRIFFITHS, ORVILLE                        GRIFFITT, CHRIS
853 CHATHAM AVE                          109 ADELAIDE ST APT A3                    7001 WILSON ST
ELMHURST IL 60126                        HARTFORD CT 06114                         HARAHAN LA 70123




GRIGGS, DON GARY                         GRIGGS, OCTAVIA                           GRIGORIAN, ERIC
10517 NW 8TH STREET                      2637 ADAMS AVE NO.3                       20254 LANARK ST
PEMBROKE PINES FL 33026                  COLUMBUS OH 43202                         CANOGA PARK CA 91306




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GRILLE 66 & BAR                         GRILLO, JANE                              GRIMALDI, LEONARD
2301 SE 17TH STREET CAUSEWAY            99 MOUNTAIN STREET                        22 HOPEWELL WOODS RD
FT LAUDERDALE FL 33316                  WILLIMANTIC CT 06226-3211                 REDDING CT 06896




GRIMALDI, MARIE                         GRIMASON, PAUL                            GRIMES, INGRID
641 HAPSFIELD LANE APT 103              75 KRIVANEC ROAD                          1716 EAST 54TH STREET
BUFFALO GROVE IL 60089-4712             WILLINGTON CT 06279                       CHICAGO IL 60615




GRIMES, MARY                            GRIMES, ROBERT                            GRIMM IV, JOHN
11 ACADIA ST                            105 E ORANGE                              230 RIDGEWAY ROAD
WEST HARTFORD CT 06119                  DAYTONA BEACH FL 32114                    BALTIMORE MD 21228




GRIMM, JOHN                             GRIMM, MARY A                             GRIMM, SEAN
230 RIDGEWAY RD                         303 NW 105 TERRACE                        11304 NW 21ST
BALTIMORE MD 21228                      CORAL SPRINGS FL 33071                    CORAL SPRINGS FL 33071




GRIMMY INC                              GRIPPO & ELDEN                            GRISALES, CELIA
PO BOX 957                              3476 EAGLE WAY                            9366 AEGEAN DR
BRADENTON FL 34206-0957                 CHICAGO IL 60678                          BOCA RATON FL 33496




GRISALES, YOLANDA                       GRISANTI, MARY LEE                        GRISELDA REYES
101 ALDERWOOD DR                        23 OVERBROOK DR                           3020 N. SAWYER
KISSIMMEE FL 34743                      STAMFORD CT 06906                         CHICAGO IL 60618




GRISELDA SILVA                          GRISHAM, DEBORAH                          GRISHAM, TIMOTHY
2024 SOUTH WABASH                       5500 RANCHITO AVE                         1600 S JOYCE ST APT 1634
UNIT 207                                SHERMAN OAKS CA 91401                     ARLINGTON VA 22202
CHICAGO IL 60616



GRISHAW, ANDREW                         GRISSOM, ANTONIO                          GRISSOM, MARQUIS D
2013 KENSINGTON DRIVE                   9243 HWY 100                              110 FIDDLERS RIDGE
HAMPTON VA 23663                        HOGANSVILLE GA 30230                      FAIRBURN GA 30213




GRIST, SHARON                           GROARK, VIRGINIA                          GROBEL, LARRY
912 N SHAMROCK RD                       633 W BARRY NO. 3N                        2724 NICHOLS CANYON RD
BEL AIR MD 21014                        CHICAGO IL 60657                          LOS ANGELES CA 90046




GRODNITZKY, KEVIN                       GROENE, JANET                             GROENE, JANET
1 TROTTERS COURT APT 102                206 LAKE MAMIE RD                         PO BOX 4814
BALTIMORE MD 21208                      DELAND FL 32724                           DOWLING PARK FL 32064




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GROENKE, MICHELLE DURFEE                GROESBECK, JAMES                          GROGAN, JANE
1524 PORTIA RD                          9303 BRADY BRANCH LANE                    131 GREEN ST APT 103
GRAYSLAKE IL 60030                      CYPRESS TX 77433                          NEW BRITAIN CT 06051




GRONVOLD, WILLIAM AARON                 GROOMS, DEXTER                            GROOMS, DOMINIQUE
1935 S CONWAY RD B2                     4325 NW 3RD TERR                          5200 NE 5TH TERR NO.2
ORLANDO FL 32812-8601                   DEERFIELD BEACH FL 33064                  POMPANO BEACH FL 33064




GROPMAN, ADAM                           GROPPER, AMY NATHAN                       GROSECLOSE, DARLENE T
2940 NEILSON WAY NO.402                 3017 BONNIE BRAE CRESCENT                 1012 S TOLLGATE ROAD
SANTA MONICA CA 90405                   FLOSSMOOR IL 60422                        BEL AIR MD 21014




GROSKEY, JOSHUA                         GROSS, AMY                                GROSS, ANTHONY
18814 TOPEKA ST                         1902 12TH ST                              3825 LAKE TR DR
ORLANDO FL 32833                        BETHLEHEM PA 18020                        KENNER LA 70065




GROSS, ARI                              GROSS, GIL                                GROSS, MICHAEL JOSEPH
5272 NW 98TH LANE                       3951 CODY RD                              8581 SANTA MONICA BLVD 502
CORAL SPRINGS FL 33076                  SHERMAN OAKS CA 91403                     W HOLLYWOOD CA 90069




GROSS, RACHEL                           GROSS, TRAVIS                             GROSSCUP, LUANN
525 W CORNELIA NO.3E                    3013 CUMBERLAND CLUB DR                   131 W ADAMS
CHICAGO IL 60657                        ATLANTA GA 30339                          VILLA PARK IL 60181




GROSSE, ANGELA                          GROSSE, ANGELA                            GROSSINGER PROPERTIES INC
4107 W NELHL AVE                        4107 W NELHL AVE                          6900 MCCORMICK BLVD
NORTH LAS VEGAS NV 89032                NW NV 89032                               LINCOLNWOOD IL 60645




GROSSINGER, GARY                        GROSSMAN, ALEX EMANUEL                    GROSSMAN, ELIZABETH
1233 N WELLS                            67 PITT ST NO.4C                          1800 W ERIE ST   UNIT 8
CHICAGO IL 60661                        NEW YORK NY 10002                         CHICAGO IL 60622




GROSSMAN, RICHARD S                     GROSZ, CHRISTY                            GROUND EFFECTS FLOORING
15 HAMLIN ROAD                          638 1/2 N ORANGE DRIVE                    4051 KARELIA ST
NEWTON CENTRE MA 02459                  LOS ANGELES CA 90036                      LOS ANGELES CA 90065




GROUND PROS INC                         GROUND PROS INC                           GROUNDCREW
PO BOX 28                               PO BOX 477                                2127 HAWKINS STREET
ELMHURST IL 60126                       ITASCA IL 60143                           CHARLOTTE NC 28203-4927




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GROUP 1 SOFTWARE                       GROUP 1 SOFTWARE                             GROUT, PHIL
4200 PARLIAMENT PLACE, SUITE 600       PO BOX 79676                                 2658 PATAPSCO RD
LANHAM MD 20708                        BALTIMORE MD 21279-0676                      FINKSBURG MD 21048




GROVER WELDING COMPANY                 GROW, JACOB A                                GROZDEV, KONSTANTIN
9120 TERMINAL AVE                      4184 RUN ROAD                                STR FILATOVA 82 2 AP 73
SKOKIE IL 60077-1514                   NEW TRIPOLI PA 18066                         ODESSA 65074




GROZIER, KIMBERLY ANN                  GRUBB & ELLIS CONSULTING SERVICES            GRUBER, JEREMIAH L
8008 FARMINGDALE RD                    1177 AVENUE OF THE AMERICAS - 3FLR           104 E BROOKFIELD DR
GERMANTOWN TN 38138                    ATTN GENNY HERBERT                           LEBANON PA 17046
                                       NEW YORK NY 10036



GRUBER, MARIA                          GRUEN, BOB                                   GRUEN, JUDY
11090 CAMERON CT #101                  55 BETHUNE ST                                1546 S CREST DR
DAVIE FL 33324                         NEW YORK NY 10014                            LOS ANGELES CA 90035




GRUEN, LORI                            GRUEN, SETH E                                GRUEN, TRACY
47 LAWRENCE STREET                     752 BARBERRY RD                              544 INVERRARY LN
NEW HAVEN CT 06511                     HIGHLAND PARK IL 60035                       DEERFIELD IL 60015




GRUENLOH, HEATHER                      GRULLON, CAROLINA                            GRUMMAN BUTKUS ASSOCIATES
894 MARYLAND CT                        17825 SW 10TH CT                             820 DAVIS ST
WHITEHALL PA 18052                     PEMBROKE PINES FL 33029                      STE 300
                                                                                    EVANSTON IL 60201-4446



GRUND, DAGNER & NELSON, P.C.           GRUND, DAGNER & NELSON, P.C.                 GRUNDY, PAUL
JOHN W. GRUND                          DOUGLAS A. STEVENS                           239 GLENMARY AVENUE
303 E. 17TH AVE.                       303 E. 17TH AVE.                             CINCINNATI OH 45220
SUITE 303                              SUITE 303
DENVER CO 80203-1256                   DENVER CO 80203-1256


GRUNVALD, ERNEST                       GRUNWALD, HEIDI                              GRUTTOLA, MICHAEL
2384 A TEVIOT STREET                   121 BAXTER ST NO.2                           33 SMITH STREET
LOS ANGELES CA 90039                   NEW YORK NY 10013                            LAKE GROVE NY 11755




GRUVER, KELLY                          GRUZ, KENNETH                                GRYGLAK, ZENON A
1778 MAIN ST  2ND FLR                  255 W 31ST STREET                            3247 VERNON AVE
NORTHAMPTON PA 18067                   BALTIMORE MD 21211                           BROOKFIELD IL 60513




GRYZLO, STEPHEN M                      GSM LI LLC, ICA LI LLC, SAF LI LLC,          GSN NEWS INC
1206 MONROE                            FED LI LLC,RE: FARMINGDALE 360 SMITH ST.     PO BOX 5483
RIVER FOREST IL 60305                  C/O LONG ISLAND INDUSTRIAL MGMT LLC          TRENTON NJ 08638
                                       575 UNDERHILL BLVD. SUITE 125
                                       SYOSSET NY 11791




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GTP TOWERS I LLC                         GTP TOWERS I LLC                          GTP TOWERS I LLC
1801 CLINT MOORE RD     STE 100          C/O BANK ATLANTIC                         C/O BANK ATLANTIC
BOCA RATON FL 33487                      PO BOX 5312                               PO BOX 8312
                                         FORT LAUDERDALE FL 33310-8312             FORT LAUDERDALE FL 33310-8312



GUADALUPE CARRANZA                       GUADALUPE MANJARREZ                       GUADALUPE MUNOZ
PO BOX 118273                            2018 W. 17TH AVENUE                       5116 LA MADERA AVE
CHICAGO IL 60611                         APT # 9                                   EL MONTE CA 91732
                                         MELROSE PARK IL 60160



GUADALUPE QUIROA                         GUADALUPE RAMIREZ                         GUADALUPE SERRANO
210-01A HILLSIDE AVENUE                  2046 N. AGNOLO DRIVE                      5714 W. GRAND AVE.
APT. 01A                                 ROSEMEAD CA 91770                         CHICAGO IL 60639
QUEENS VILLAGE NY 11427



GUADALUPE TRUJILLO                       GUAQUETA, ASCENSION                       GUARD PUB CO
1644 NORTH 40TH AVENUE                   1535 THREE VILLAGE ROAD                   DBA THE REGISTER GUARD
STONE PARK IL 60165                      WESTON FL 33327                           PO BOX 10188
                                                                                   EUGENE OR 97440-2188



GUARDIAN LIFE INSURANCE CO               GUARDIAN LIFE INSURANCE CO                GUARDIAN LIFE INSURANCE CO
PO BOX 530160                            P O BOX 6011                              PO BOX 6049
ATLANTA GA 30353-0160                    CAROL STREAM IL 60197                     CAROL STREAM IL 60197-6049




GUARDIAN LIFE INSURANCE CO               GUARDIAN LIFE INSURANCE CO                GUARDIAN LIFE INSURANCE CO
PO BOX 95101                             244 BLVD OF THE ALLIES                    2300 E CAPITAL DRIVE
CHICAGO IL 60694-5101                    C/O LUTTERNER FINANCIAL GROUP             APPLETON WI 54914
                                         3RD FLOOR
                                         PITTSBURGH PA 15222


GUARDSMARK LLC                           GUARDSMARK LLC                            GUARDSMARK LLC
PO BOX 11407                             7483 NW 4TH ST                            PO BOX 26961
BIRMINGHAM AL 35246-3000                 FT LAUDERDALE FL 33317-2227               NEW YORK NY 10087-6961




GUARDSMARK LLC                           GUARINO, MARK                             GUASTAVINO, FEDERICO
MAIL CODE 2204                           1238 W COLUMBIA AVE                       FRANCISCO PLANES 1054
PO BOX 2121                              CHICAGO IL 60626                          BUENOS AIRES 1405
MEMPHIS TN 38159-2204



GUAY, TERRENCE ROBERT                    GUDELIA RAMIREZ                           GUE, BRUNEL
157 CLAREMONT AVE                        1726 N KEDVALE                            1096 SW 27TH AVE
STATE COLLEGE PA 16801                   CHICAGO IL 60639                          BOYNTON BEACH FL 33426




GUE,INGRID                               GUEDES, CLEVER                            GUENTHER, BERNIE
1096 SW 27TH AVENUE                      245 LELAND LN                             9447 MYRTLE CREEK LN NO.115
BOYNTON BEACH FL 33426                   GREENACRES FL 33463                       ORLANDO FL 32832




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GUENTHER, SAMANTHA                       GUERIN, IAN                               GUERNA JOSEPH
474 BARLOW ST                            3672 CLAYPOND RD UNIT NO.5                538 DAVIS ROAD
BRISTOL CT 06010                         MYRTLE BEACH SC 29579                     DELRAY BEACH FL 33445




GUERNSEY, DEAN                           GUERNSEY, JACK                            GUERRA CARDENAS, TONMY
60961 GARNET ST                          9741 EL GRECO CIRCLE                      17132 SW 137TH CT
BEND OR 97702                            FOUNTAIN VALLEY CA 92708                  MIAMI FL 33177




GUERRA, CRISTELA                         GUERRA, NALA                              GUERRA, SHARAN
5304 NW 66TH AVE                         206 ARBOR CIRC                            2459 WASHINGTON STREET
LAUDERHILL FL 33319                      STE 2603                                  HOLLYWOOD FL 33020
                                         SANFORD FL 32773



GUERRERO, FERNANDO                       GUERRERO, PILAR                           GUERRERO, SIGITREDO
79-11 41ST AVE C503                      432 AUBURN ST                             18 HINKLEY AVE
ELMHURST NY 11373                        ALLENTOWN PA 18103                        STAMFORD CT 06902




GUERRIER, GASNER                         GUERRIER, YVES                            GUERRIERO, WILLIAM
C PRIMERA NO.21 BATEY PELIGRO GUAYMATE   12455 WEST RANDALL PARK                   5209 MAIN ST
ROMANA                                   MIAMI FL 33167                            WHITEHALL PA 18052




GUEST QUARTERS SUITE HOTEL               GUEVARA, FRANCISCO ENRIQUE                GUEVARA, FRANCISCO ENRIQUE
RE: SANTA MONICA 1717 4TH STR            2122 BRIDGE VIEW CIRC                     2122 BRIDGEVIEW CIRC
ATTN: MR. THOMAS SCHUMAN                 STE 2314                                  ORLANDO FL 32824
1707 FOURTH STREET                       ORLANDO FL 32824
SANTA MONICA CA 90401


GUEVARA, JOSE ANTONIO                    GUEVARA, JULIETA                          GUEVARA, LINA
CALLEJON SAN CRISTOBAL                   100 SW 132ND WAY NO.213K                  4524 ELDERBERRY DR
BARRIO LAS CLARAS NO.21                  PEMBROKE PINES FL 33027                   ORLANDO FL 32809
ANACO EDO ANZOATEGUI



GUEVARA, WALTER J                        GUGEL, DEANNA M                           GUHNE, JOAN
11015 SW 157 TERRACE                     1442 PON PON CT                           1222 DESTINY CIRCLE
MIAMI FL 33157                           ORLANDO FL 32825                          ANNAPOLIS MD 21401




GUIDELINE INC                            GUIDICE, JOHN M                           GUIDO DELLA MARNA
NEWARK POST OFFICE                       365 RIDGEFIELD ROAD                       668 MARR STREET
PO BOX 34961                             HAUPPAUGE NY 11788                        VENICE CA 90291
NEWARK NJ 07189-4961



GUIDO GABRIELE                           GUIDO SOTELO                              GUIDOTTI, BRETT
45 RUTLAND ROAD                          215 ELM COURT                             2860 DUBLIN BLVD., NO.361
SELDEN NY 11784                          ELIZABETH NJ 07208                        COLORADO SPRINGS CO 80918




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GUILAIN BWINIKA                           GUILAVOGUI, MAMA V                        GUILFOILE, KEVIN J
5925 EL CAJON BLVD #219                   37 CASSIUS ST APT NO.2                    225 NINTH AVE
SAN DIEGO CA 92115                        NEW HAVEN CT 06519                        LA GRANGE IL 60525




GUILFORD AGRICULTURAL SOCIETY             GUILLAUME, CHRISTICE                      GUILLAUME, DEE WILDRO
209 RACE HILL RD                          351 N 70TH TER                            551 NW 42ND AVE. NO.B 608
MADISON CT 06443                          HOLLYWOOD FL 33024                        PLANTATION FL 33317




GUILLAUME, JEAN R                         GUILLAUME, ULRICK                         GUILLEN, CHRISTOPHER J
1510 STONE HAVEN DR. AP NO.5              15700 NW 16TH CT                          1130 S MARENGO
BOYNTON BEACH FL 33436                    PEMBROKE PINES FL 33028                   FOREST PARK IL 60130




GUILLEN, CHRISTOPHER J                    GUILLERMINA LOZANO                        GUILLERMO BENAVIDES
7451 W MADISON ST                         721 BUENA CREEK ROAD                      1126 E WALNUT AVENUE
FOREST PARK IL 60130                      SAN MARCOS CA 92069                       GLENDORA CA 91741




GUILLERMO GIRALDO                         GUILLERMO MARQUEZ                         GUILLERMO PEREZ
8241 S CORAL CIR                          12866 SALUS BURY ST.                      2773 SW 14TH STREET
NORTH LAUDERDALE FL 33068                 BALDWIN PARK CA 91706                     MIAMI FL 33145




GUILLERMO SABLICH                         GUILLERMO, ELISEO                         GUIMAR GROUP INC
1774 SW 81ST WAY                          2 SAGAMORE HILL RD                        9703 SW 132 ST
DAVIE FL 33326                            OYSTER BAY NY 11771                       MIAMI FL 33176




GUIMARAES, DAVI S                         GUIMARAES, JOSE                           GUINYARD, TONI E
411 EXECUTIVE CTR APT 105                 9691 ENCHENTED POINT LANE                 231 BETHANY ROAD NO.308
WEST PALM BEACH FL 33401                  BOCA RATON FL 33496                       BURBANK CA 91504




GUIP STUDIO                               GUISSEPPA MUSSO                           GUITRON, JOSE A
1419 HEMPEL AVE                           PO BOX 536                                2109 OHIO AVE
WINDERMERE FL 34786                       WHITEHALL PA 18052                        SIGNAL HILL CA 90755




GUITTAR, LEE                              GULF COAST ASSISTANCE LLC                 GULF COAST ASSISTANCE LLC
[ADDRESS UNAVAILABLE AT TIME OF FILING]   3014 W PALMIRA AVE  STE 301               PO BOX 18668
                                          TAMPA FL 33629                            TAMPA FL 33679




GULF GREAT LAKES PACKAGING                GULF VIEW RESEARCH LLC                    GULLARD, MARIE M.
PO BOX 792                                7090 CYPRESS GARDENS BLVD                 204 ALTAMONT AVENUE
CHANNAHON IL 60410                        WINTER HAVEN FL 33884                     CATONSVILLE MD 21228




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GULLIKSEN, JORGEN E                       GUMBEL, ANDREW                            GUMBS, CLIFTON
1617 SPRUCE STREET                        2809 2ND STREET NO.3                      3910 INVERRARY BLVD APT # 101-B
NAPA CA 94559                             SANTA MONICA CA 90405                     LAUDERHILL FL 33319




GUMECINDA ORTEGA AVINA                    GUMER, ROBERT                             GUMMERSON, ANNE
940 DEL MAR ST.                           600 S CURSON AVENUE NO.507                811 S ANN ST
SAN GABRIEL CA 91776                      LOS ANGELES CA 90036                      BALTIMORE MD 21231




GUNDERSHEIMER, ROBERT ALLEN               GUNKEL, RUDOLPH JACOB                     GUNNAR BLANKE PRODUCTION
9800 ANAPARNO CT                          2807 CHESLEY AVE                          PO BOX 18127
BAKERSFIELD CA 93312                      PARKVILLE MD 21234                        DENVER CO 80218




GUNNERSON, TATE                           GUNNING, CHRISTOPHER                      GUNNING, MEGAN
1348 W ROSEDALE AVE                       222 JUNIPER ST                            12 DEVONSHIRE LANE
CHICAGO IL 60660                          QUAKERTOWN PA 18951                       MELVERN PA 19355




GUNTER KALOGRIDIS                         GURALL, LANCE                             GUREWITCH, NICHOLAS
107 MONTGOMERY LANE                       2700 CLEVELAND ST                         102 MERRICK AVE
GLENVIEW IL 60025                         MCKEESPORT PA 15132                       MANCHESTER NY 14504




GURIAN, DREW                              GURINSKY, SYLVIA                          GURNEE DAYS CORPORATION
136 GARNER AVE                            8511 NW 4TH ST                            4374 OLD GRAND AVENUE
BLOOMFIELD NJ 07003-4514                  PEMBROKE PINES FL 33024                   GURNEE IL 60031




GURNEE MILLS MLP LIMITED                  GURNEE MILLS MLP LIMITED                  GURNEE MILLS MLP LIMITED
PO BOX 10% 0 DAYS, NET 305                6170 W GRAND AVE                          1300 WILSON BLVD NO. 400
ATLANTA GA 30384-0305                     GURNEE IL 60031                           ARLINGTON VA 22209




GURREY, SIXTINE                           GURUDEO RAY CHAND                         GUS CAPOLI
1426 HARBOUR SIDE DR                      6670 NW 101 TERRACE                       30 BELLMERE AVENUE
WESTON FL 33326                           PARKLAND FL 33076                         STAMFORD CT 06906




GUS SENTEMENTES                           GUSMAO, ARY B                             GUSS, DANIEL
1220 NORTHVIEW ROAD                       8097 MIZNER LN                            P O BOX 5921
BALTIMORE MD 21218                        BOCA RATON FL 33433                       SHERMAN OAKS CA 91413




GUSSIN,HERB                               GUST, ANTON                               GUSTAFSON, JOANNA M
10618 BEACH PALM CT APT 10B               3211 TIMBER CREEK LAND                    2320 11TH AVE
BOYNTON BEACH FL 33437                    NAPERVILLE IL 60565                       NORTH RIVERSIDE IL 60546




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GUSTAVE AUGUSTIN                          GUSTAVE SENKBEIL                          GUSTAVO CERDA
829 CAMINO RD                             769 TOLLAND TURNPIKE                      1415 NORTH 18TH AVENUE
#212                                      MANCHESTER CT 06040                       MELROSE PARK IL 60160
DELRAY BEACH FL 33445



GUSTAVO PABON                             GUSTAVO RUVALCABA                         GUSTAVSSON, JONAS
86 FOREST ROAD                            3536 W PERSHING RD                        777 WEST END AVE NO.11A
CENTEREACH NY 11720                       CHICAGO IL 60632                          NEW YORK NY 10025




GUTEKUNST, ROBERT W                       GUTGOLD, NICHOLA                          GUTH,PHYLLIS Y
509 NW 36TH AVE                           8488 REDHAVEN ST                          1031 N 11TH ST
DEERFIELD BEACH FL 33442                  FOGELSVILLE PA 18051                      WHITEHALL PA 18052




GUTHMAN, EDWIN                            GUTHRIE, JAMES F.                         GUTHRIE, JARRETT MATTHEW
1061 RAVOLI DR                            205 COSTA BELLA                           3414 EAGLE RIDGE CT
PACIFIC PALISADES CA 90272                AUSTIN TX 78734                           VALRICO FL 33596




GUTIERREZ DURAND, PAUL F                  GUTIERREZ, ANA P                          GUTIERREZ, CARL D
73 SOUNDVIEW ST                           207 SEMINOLE ST                           62 RIVERVIEW CT
PORT CHESTER NY 10573                     RONKONKOMA NY 11779                       OSWEGO IL 60543




GUTIERREZ, EDGAR H                        GUTIERREZ, FRANCISCO                      GUTIERREZ, GERARDO
81 CULLODEN ROAD APT 2                    3410 EMERALD POINTE DR NO.301-A           3555 PINERIDGE CIRCLE
STAMFORD CT 06902                         HOLLYWOOD FL 33021                        KISSIMMEE FL 34746




GUTIERREZ, GLADYS                         GUTIERREZ, JAVIER E                       GUTIERREZ, JILL
1817 WOODBIND ST, APT 1F                  3681 TURTLE RUN BLVD NO. 1127             11911 DOROTHY ST NO.105
RIDGEWOOD NY 11385                        CORAL SPRINGS FL 33067                    LOS ANGELES CA 90049




GUTIERREZ, JORGE                          GUTIERREZ, KALINKA                        GUTIERREZ, LAURA L
8111 PETTIT AVE                           4004 OAK AVE                              717 N. BONNIE BEACH PL.
ELMHURST NY 11373                         BROOKFIELD IL 60513                       LOS ANGELES CA 90063




GUTIERREZ, LEONCIO                        GUTIERREZ, MARIA J                        GUTIERREZ, MARILIA T
101 GARDEN DR                             3681 TURTLE RUN BLVD APT NO.1127          1353 W ARGYLE NO.2
APTNO. 205                                CORAL SPRINGS FL 33067                    CHICAGO IL 60640
POMPANO BEACH FL 33069



GUTIERREZ, MARTHA                         GUTIERREZ, MIGUEL ANGEL                   GUTIERREZ, NORMA K
3810 TARRAPIN LANE APT 208                50 ELM DR                                 21 SE 13 TERRACE
CORAL SPRINGS FL 33067                    ELMWOOD CT 06110                          DANIA FL 33004




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GUTIERREZ, RAFAEL                         GUTIERREZ, RAQUEL                         GUTIERREZ, WALTER A
3710 TERRAPIN LN  APT 208                 206 1/2 N DILLON STREET                   271 THIRD STREET
CORAL SPRINGS FL 33067                    LOS ANGELES CA 90026                      WINTER SPRINGS FL 32708




GUTMAN                                    GUTMAN, AMY                               GUTMAN, ROY
% GARY, WILLIAMS, WATSON & SPERANDO, PA   3 CHAUNCEY ST NO.7                        1349 WINDY HILL RD
WILLIAM E. GARY, MANNY SOCIAS             CAMBRIDGE MA 02138                        MCLEAN VA 22102
111 N. ORANGE AVENUE, SUITE 775
ORLANDO FL 32801


GUTSCHE JR, ROBERT                        GUTTMANN, ALLEN J                         GUTTRY, JR., HARVEY
1322 WALDORF BLVD APT 110                 6 LEAD MINE RD                            1135 SCENIC WAY
MADISON WI 53719                          LEVERETT MA 01054                         LOS OSOS CA 93402




GUY BLANCHARD                             GUY CAVASINA                              GUY DEZAN
42302 55TH STREET                         1220 NE 3 ST                              211-23A HILLSIDE AVENUE
QUARTZ HILL CA 93536                      APT #304                                  QUEENS VILLAGE NY 11427
                                          FORT LAUDERDALE FL 33301



GUY JONES                                 GUY LUPI                                  GUY NICOLAS
P.O. BOX 801264                           12 TINA LANE                              6707 NW 61ST STREET
SANTA CLARITA CA 91380                    MOUNT SINAI NY 11766                      TAMARAC FL 33321




GUY SHEETZ                                GUY WASSER                                GUY, DEBRA
3455 SHILOH RD                            P.O. BOX 573                              151 MACARTHUR DR
HAMPSTEAD MD 21074                        HUNTINGTON NY 11743                       WILLOWBROOK IL 60527




GUY, KINGSLEY                             GUY, LINDA K                              GUY, TINASHA
101 NE 8TH AVE NO.5                       1549 MOONLIGHT RD                         4089 SIERRA TER
FORT LAUDERDALE FL 33301                  SMITHFIELD VA 23430                       SUNRISE FL 33351




GUZMAN, ANA MARIE                         GUZMAN, ANGEL                             GUZMAN, ANGEL L
3577 WILES RD NO.203                      AV SUCRE CUTIRA                           50 NATICK ST
COCONUT CREEK FL 33073                    BLQ 5 APTO 4                              HARTFORD CT 06106
                                          CARACAS



GUZMAN, BLANCA                            GUZMAN, FRANCISCO                         GUZMAN, JUSTINO
7414 KENNEDY BLVD                         C/3 #17 BARRIO MENDOZA SEGUNDO            C/PRIMERA NO.4 BO EL PENA
NORTH BERGEN NJ 07047                     SANTO DOMINGO                             CANASTICA
                                                                                    SAN CRISTOBAL



GUZMANN, JOSE                             GUZY, DON R                               GUZZARDO, GEORGE
158-38 77TH AVE                           6433 NW 20TH CT                           1432 E JACKSON
FRESH MEADOWS NY 11366                    MARGATE FL 33063                          C/O MACOMB NEWS AGENCY
                                                                                    MACOMB IL 61455




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GUZZARDO, GEORGE                        GVOZDAS, SUSAN                            GW OFFICE FURNITURE INC
1432 E JACKSON                          3036 LAVENDER AVENUE                      1756 NW 38TH AVE
MACOMB IL 61455                         PARKVILLE MD 21234                        LAUDERHILL FL 33311




GWALTNEY, WILLIAM LEE                   GWEN MURAKAMI                             GWEN PINCUS
114 FAIRWAY DR                          8 LANCIANO                                3520 W. HILLSBORO BLVD
WILLOW PARK TX 76087                    IRVINE CA 92620                           APT 201
                                                                                  COCONUT CREEK FL 33073



GWEN SERNA                              GWEN YOUNG                                GWENDOLYN CAGE
10317 BELFORT DRIVE                     95 WARNER RD                              1941 S. 17TH AVENUE
FRISCO TX 75035                         HUNTINGTON NY 11743                       APT. #1
                                                                                  BROADVIEW IL 60155



GWENDOLYN GLENN                         GWENDOLYN JOHNSON                         GWENDOLYN L WARD
13612 COLEGATE WAY #436                 819 NORTH LYNN STREET                     216 HOCUTT FARM DR
SILVER SPRING MD 20904                  BETHLEHEM PA 18015                        CLAYTON NC 27527




GWENDOLYN LAROE                         GWENDOLYN MALDONADO                       GWENDOLYN MCDUFFIE
2370 COUNTY ROUTE 46                    4939 W. THOMAS ST.                        6161 NW 57TH COURT
FORT EDWARD NY 12828                    2ND FLOOR                                 APT 211
                                        CHICAGO IL 60651                          TAMARAC FL 33319



GWENDOLYN MOORE                         GWENDOLYN WHEELER                         GXS INC
3718E CANDLEWYCK CLB DRIVE              8115 S. SAWYER AVENUE                     GLOBAL EXCHANGE SERVICES
ST. LOUIS MO 63034                      CHICAGO IL 60652                          PO BOX 3101 0028
                                                                                  PASADENA CA 91110-0828



GXS INC                                 GXS INC                                   GXS INC
99285 COLLECTIONS CTR DR                100 EDISON PARK DR                        PO BOX 640371
CHICAGO IL 60693                        GATHERSBURG MD 20878-3204                 PITTSBURGH PA 15264-0371




H & J HAND CAR WASH                     H & M MAINTENANCE LLC                     H & M MAINTENANCE LLC
88 BROAD HOLLOW RD                      9617 SILENT HILLS LANE                    DBA ROCKY MOUNTAIN JANITORIAL
MELVILLE NY 11747                       LONE TREE CO 80124                        9617 SILENT HILLS LANE
                                                                                  LONE TREE CO 80124



H & S PROPERTIES                        H & S PROPERTIES                          H & S PROPERTIES
RE: GLENDALE 1720 W. FLORIST            RE: GLENDALE 1720 W. FLORIST              1830 N DR MARTIN LUTHER KING
1830 N DOCTOR MARTIN LUTHER KING DR.    222 EAST ERIE STREET                      MILWAUKEE WI 53212
MILWAUKEE WI 53212                      MILWAUKEE WI 53202



H BAYER CONTROLS                        H BAYER CONTROLS                          H C WELLER
1319 W THORNDALE AVENUE                 1319 W. THORNDALE AVENUE                  35618 SHELLEY DR
CHICAGO IL 60660                        630-850-6617 HARRY                        LEESBURG FL 34788
                                        CHICAGO IL 60660




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H GENE MESTEL                          H P KOPPLEMANN INC                        H P KOPPLEMANN INC
81272 AVENIDA SOMBRA                   140 VAN BLOCK AVE                         P O BOX 145
INDIO CA 92203                         HARTFORD CT 06106                         HARTFORD CT 06141




H P KOPPLEMANN INC                     H RICHARD ANDERSEN                        H S TECHNOLOGY INC
PO BOX 145                             P.O. BOX 146                              210 W 22ND ST     STE 134
*1 CORPORATE DR, NO HAVEN              HELENDALE CA 92342                        OAK BROOK IL 60523
HARTFORD CT 06141-0145



H W LEVACK LLC                         H WOOD                                    H&H DISTRIBUTING CO INC
452 MAIN ST                            1400 GRANBY STREET                        PO BOX 307
SOUTH WINDSOR CT 06074                 UNIT #107                                 URBANNA VA 23175
                                       NORFOLK VA 23510



H&M SALES                              H.J.M. REALTY                             HA, WILLIAM
704 N MCKINLEY RD                      RE: MANCHESTER 200 ADAMS ST.              10350 FIG CT
LAKE FOREST IL 60045                   C/O DYNAMIC GUNVER TECHNOLOGIES, LLC      PEMBROKE PINES FL 33026
                                       967 PARKER STREET
                                       MANCHESTER CT 06040


HAAG,STEPHEN                           HAAKE, ROSEANN M                          HAARBAUER, BILLY C
33 SCOTT DR                            935 E ELM ST                              1824 EL DORADO ST
VERNON CT 06066                        ALLENTOWN PA 18103                        WEST COVINA CA 91790




HAAS, KEITH W                          HAAS, KRISTI                              HABEAS INC
2924 MORAVIAN AVE                      2924 MORAVIAN AVE                         779 E EVELYN AVE
ALLENTOWN PA 18103                     ALLENTOWN PA 18103                        MOUNTAIN VIEW CA 94041




HABEGGER, LARRY                        HABICH, JOHN                              HABITAT CONTRACTING
10 NAPIER LANE                         18 WEST 10TH ST                           15133 MCELROY ROAD
SAN FRANCISCO CA 94133                 NEW YORK NY 10011                         MEADOW VISTA CA 95722




HACHICANOY, MELINA                     HACKE, RAY D                              HACKENBURG, DENISE R
16-68 PUTNAM AVENUE, APT. 1L           3715 TALLYHO DR NO.119                    215 EAST PENNSYLVANIA AVE
RIDGEWOOD NY 11385                     SACRAMENTO CA 95826                       PEN ARGUL PA 18072




HACKENBURG, DOUGLAS W                  HACKER, CRAIG                             HACKER, CRAIG
215 E PENNSYLVANIA AVE                 CRAIG HACKER PHOTOGRAPHY                  PO BOX 1027
PEN ARGYLE PA 18072                    410 N BROADVIEW                           WICHITA KS 67201-1027
                                       WICHITA KS 67208



HACKER, JACOB                          HACKETT, GAIL                             HACKLEY, MICHAEL
22 LINCOLN ST                          8201 S. SANTA FE DRIVE NO.114             27 DAVID LN
NEW HAVEN CT 06510                     LITTLETON CO 80120                        NORTHFORD CT 06472




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HACKSTEDT, ADAM                        HACKWORTH, CARL                            HADAR YERUSHALMI
2477 E 25TH ST                         2801 NW 60TH AVENUE APT NO.453             299 CUMBERLAND STREET
ALBANY OR 97322                        SUNRISE FL 33313                           APT 2
                                                                                  BROOKLYN NY 11238



HADDAD LLC                             HADDAD, MARY ALICE                         HADDOCK, LUKE
67 CRESTWOOD RD                        15 PEARL ST                                6312 N GLENWOOD AVE NO.3
WEST HARTFORD CT 06107                 MIDDLETOWN CT 06457                        CHICAGO IL 60660




HADDOCK, VICKI                         HAEFELE, MARC                              HAEHLE, ROBERT
25 BROWN CT                            1107 PACIFIC ST                            4707 N.W. 49TH DRIVE
PETALUMA CA 94952                      SANTA MONICA CA 90405                      TAMARAC FL 33319




HAFT, GAIL                             HAGAN, LAURA                               HAGAN, SHANIKA
4607 ROXBURY                           408 BERNARD #B                             602 N BACK RIVER RD
CORONA DEL MAR CA 92625                COSTA MESA CA 92627                        HAMPTON VA 23669




HAGEGEORGE, GEORGE MARK                HAGER, DOUGLAS                             HAGER, VERONICA
2932 WYMAN PRKWY                       7204 OTEY DRIVE                            2709 AUBURN AVE
BALTIMORE MD 21211                     LANEXA VA 23089                            EASTON PA 18045




HAGERTY, LUKE J                        HAGERTY, LUKE J                            HAGL, LOUIS
6249 N 78TH ST NO.14                   116 CLEVELAND AVE                          ACCT NO.0748
SCOTTSDALE AZ 85250                    DEFIANCE OH 43512                          608 W MAIN ST
                                                                                  CARY IL 60013



HAGLER, EDWARD R                       HAGOP DEVEDJIAN                            HAGOPIAN, MARO
2229 GOOD HOMES RD                     894 PICCADILLY                             1085 WILLOUGHBY AVE    NO.304
ORLANDO FL 32818                       HIGHLAND PARK IL 60035                     BROOKLYN NY 11221




HAHN, JAMES D                          HAHN, LEIGH ANN                            HAHN, LUCINDA
34812 CARRIAGE CT                      350 S GRAND AVE                            520 N KINGSBURY NO.4602
DAGSBORO DE 19939                      LOS ANGELES CA 90071                       CHICAGO IL 60610




HAHNVILLE HIGH SCHOOL                  HAI WU                                     HAI, KONG
TOUCHDOWN CLUB                         6102 N. SHERIDAN ROAD                      2920 N ARMISTEAD AVE   LOT 110
PO BOX 779                             APT # 203                                  HAMPTON VA 23666
BOUTTE LA 70039                        CHICAGO IL 60626



HAIDT, JONATHAN                        HAIG MARINO                                HAIG PAPASIAN
70 ALEXANDER ST                        470 PROSPECT AVE. APT. 1C                  1262 TROUT BROOK DR.
PRINCETON NJ 08540                     BROOKLYN NY 11215                          WEST HARTFORD CT 06119




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HAIGHT, CAREN                             HAIL MARYS INC                             HAILEY CROWEL
PO BOX 895075                             1239 GRANDNEW AVE                          1200 N. MANSFIELD AVENUE
LEESBURG FL 34789                         GLENDALE CA 91201                          APT# 214
                                                                                     LOS ANGELES CA 90038



HAIMERL, DUNCAN                           HAIMOFF, MICHELLE                          HAIN, PHILLIP
102 BRICK SCHOOL RD                       45 CHRISTOPHER STREET 10G                  829 E MAPLE ST NO.7
WARREN CT 06754                           NEW YORK NY 10014                          GLENDALE CA 91205




HAINES AND COMPANY INC                    HAINES, JERRY V                            HAINES, JERRY V
PO BOX 2117                               2900 N EDISON ST                           2900 NORTH EDISON STREET
8050 FREEDOM AVENUE NW                    ALEXANDRIA VA 22207                        ARLINGTON VA 22207
NORTH CANTON OH 44720



HAINLEN, AMY                              HAIRE, JULIE                               HAIRSTON JR, LARRY A
136 E STADIUM AVE                         1717 N MARIPOSA AVE NO.B                   97 VINE ST AP 210
W LAFAYETTE IN 47906                      LOS ANGELES CA 90027                       HARTFORD CT 06112




HAIRSTON, JERRY                           HAIRSTON, MARY E                           HAIRSTON-FUGGHETT, PANSY
10938 E SOUTHWIND LN                      4131 3RD AVE                               4979 BROOKGREEN
SCOTTSDALE AZ 85262                       LOS ANGELES CA 90008                       MARTINEZ GA 30907




HAITIAN HEALTH FOUNDATION INC             HAJEK, OLAF                                HAKAKIAN, ROYA
97 SHERMAN STREET                         SCHRODERSTRASSE 4                          151 ANSONIA RD
NORWICH CT 06360                          BERLIN, BE 10115                           WOODBRIDGE CT 06525




HAKIM, ALEXANDER                          HAKIM, ANAT                                HALADEY, THOMAS PALMER
6091 SW 64TH TER                          3426 COMMUNITY DRIVE                       11050 STROTHMORE DR NO.120
MIAMI FL 33143                            JUPITER FL 33458                           LOS ANGELES CA 90024




HALBE, ROLANO                             HALBERT, JASON PAUL                        HALBERT, KURT
BOEHEIMSTRABE 45                          5917 COVINGTON DR                          967 CARISSA LN
STUTTGART, BW D10799                      ROWLETT TX 75089-3274                      OVIEDO FL 32765




HALBLEIB, JOHN F.                         HALBRITTER, JAYME                          HALBUR,ED
C/O ROBERT C. HEIST / ANNE-MARIE FOSTER   3521 PLEASANT AVE NO.7                     2806 E DIEHL AVE
R. O'CONNOR & ASSOCIATES                  MINNEAPOLIS MN 55408                       DES MOINES IA 50320
10 S. RIVERSIDE PLAZA, STE 1830
CHICAGO IL 60602


HALBUR,ED                                 HALCYON MONITORING SOLUTIONS               HALDANE, DAVID S
1505 SW EVANS ST                          800 BELLEVUE WAY NE STE 400                2922 CLAREMORE LANE
PORTLAND OR 97219                         BELLEVUE WA 98004                          LONG BEACH CA 90815




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HALE, BOB                            HALE, JERRY W                             HALE, KELLIE M
616 OVERHILL AVE                     2095 HAZEN RD                             6530 RIDGEBORNE DRIVE
PARK RIDGE IL 60068                  DELAND FL 32720                           ROSEDALE MD 21237




HALEY SCHAEFER                       HALEY, BERNICE                            HALEZE MITCHELL
2023 W. ROSCOE                       119 KINSHIP RD  NO.1B                     910 SW 74TH AVENUE
APT. #3F                             BALTIMORE MD 21222                        NORTH LAUDERDALE FL 33068
CHICAGO IL 60618



HALF HOLLOW HILLS CSD                HALIFAX ORTHOPAEDIC CLINIC                HALIFAX ORTHOPAEDIC CLINIC
525 HALF HOLLOW RD                   MEDICAL CENTER                            ORTHOPAEDIC CLINIC
DIX HILLS NY 11746                   PO BOX 550794                             614 N PENINSULA DR
                                     TAMPA FL 33655-0794                       DAYTONA BCH FL 32118



HALIFAX ORTHOPAEDIC CLINIC           HALILI, SKENDER                           HALINA BORZECKI
PO BOX 550794                        245 SEASIDE AVE                           145 ERIN COURT
TAMPA FL 33655-0794                  STAMFORD CT 06902                         LEMONT IL 60439




HALKIN PHOTOGRAPHY LLC               HALL AND ASSOCIATES LLC                   HALL MONITOR LLC
915 SPRING GARDEN ST STUDIO 215      233 PENNSYVANIA AVE SE SUITE 200          23508 46TH AVE W
PHILADELPHIA PA 19123                WASHINGTON DC 20002                       MOUNTLAKE TERRACE WA 98043




HALL, ALYCIA                         HALL, BRIAN E                             HALL, CHARLOTTE H
2657 MIDWAY RD                       1973 SE 15TH CT                           1851 FORREST ROAD
DECATUR GA 30030                     POMPANO BEACH FL 33062-7601               WINTER PARK FL 32789




HALL, CLINTON                        HALL, DONALD                              HALL, ED
7111 NW 20TH ST                      123 N. CIRCLE DRIVE                       1230 MIRAMAR AVE
SUNRISE FL 33313                     SAVANNAH GA 31415                         JACKSONVILLE FL 32207




HALL, EILEEN H                       HALL, ELAINE                              HALL, ELAINE
9039 BUNKER HILL DR                  11680 SW 91ST TERR                        1600 LEHIGH PKWY E
ACCT 5642                            MIAMI FL 33176                            ALLENTOWN PA 18103
MUNSTER IN 46321



HALL, ELDRED                         HALL, EVADNEY E                           HALL, GWENDOLYN RENA
104 GLENWOOD ST                      4168 IVVERARRY DR NO.412                  3020 CONGRESS PARK DRIVE APT NO. 221
MANCHESTER CT 06042                  LAUDERHILL FL 33319                       LAKE WORTH FL 33461




HALL, HAROLD                         HALL, LESLIE D                            HALL, LYNNE
1217 1/2 W 60TH PLACE                2720 S BROADWAY NO.110                    49 PIERPONT RD NO.2
LOS ANGELES CA 90044                 TYLER TX 75701                            WATERBURY CT 06705




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HALL, MARCELLUS T                       HALL, MARK                                HALL, MEAGAN M
210 EAST BROADWAY 707                   PO BOX 37                                 9091 SW 49 ST
NEW YORK NY 10002                       NEW POINT VA 23125                        COOPER CITY FL 33328




HALL, MELISSA                           HALL, PHILIP                              HALL, RAYMOND
230 BURCH RD                            217 YORK RD                               174 WILDCAT HILL RD
URBANNA VA 23175                        FAIRFIELD CT 06825                        HARWINTON CT 06791




HALL, RAYMOND                           HALL, REBECCA                             HALL, RICARDO P
213 BIRCHWOOD DR                        9909 WESTWOOD DR NO.37                    3020 CONGRESS PARK DR. NO.221
TORRINGTON CT 06790-5738                TAMARAC FL 33321                          LAKE WORTH FL 33461




HALL, RITA Y                            HALL, STEVEN R                            HALL, THERESA
108 STATION RD                          51 DARRELL                                1333 E GLENN OAK RD
GREAT NECK NY 11023                     WINFIELD MO 63389                         N. LAUDERDALE FL 33068




HALL,DAISY,V                            HALL,JOAN                                 HALLER, SHERRY
4331 SW 160TH AVE                       GREENWICH TIME PETTY CASH                 26 TUMBLEBROOK LN
APT 208                                 20 E ELM ST                               WEST HARTFORD CT 06117
MIRAMAR FL 33027                        GREENWICH CT 06830



HALLETT SONS EXPERT MOVER INC           HALLEY, TERRIANN                          HALLIDAY, ANNE GILBERT
7535 W 59TH STREET                      7821 RAMONA STREET                        353 N ELM ST
SUMMIT IL 60501                         MIRAMAR FL 33023                          HINSDALE IL 60521




HALLIGER-MAGGIO,CANDIS KEALA            HALLISEY ENGINEERING ASSOCIATES INC       HALLMAN, SHAUN
660 NE 8TH CT                           78 BEAVER ROAD                            940 E FAIRVIEW ST
POMPANO BEACH FL 33060                  WETHERSFIELD CT 06109-2201                ALLENTOWN PA 18109




HALLMARK DATA SYSTEMS LLC               HALLMARK DATA SYSTEMS LLC                 HALLMARK DATA SYSTEMS LLC
2362 PAYSPHERE CIRC                     7300 LINDER AVE                           7300 N LINDER AVE
CHICAGO IL 60674                        SKOKIE IL 60077                           SKOKIE IL 60077




HALLOCK, NICHOLAS MATTHEW               HALLORAN, ERIN                            HALLORAN, ERIN
1704 WESTGATE CIR                       7270 WESTPOINT BLVD NO.929                7270 WESTPOINTE BLVD NO.929
WILLIAMSBURG VA 23188                   ORLANDO FL 32835                          ORLANDO FL 32835




HALLS RENTAL SERVICE INC                HALLY ENTERPRISES INC                     HALPERIN, JOSEPH
6130 W HOWARD STREET                    PO BOX 669                                4 LUCERNE CIRCLE
NILES IL 60714                          BABYLON NY 11702-0669                     NEWPORT NEWS VA 23606




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HALPERIN, MARK EVAN                     HALPERN, SUE                              HALPIN, BARRY
91 CENTRAL PARK WEST APT 14E            PO BOX 167                                425 S PINE CREEK RD
NEW YORK NY 10023                       RIPTON VT 05766                           FAIRFIELD CT 06824




HALPIN, BRENDAN                         HALSEY, DONNA M                           HALSTEAD, BRUCE
56 PETER PARLEY RD                      731 WATERWAY CT                           2634 PROSPECT AVE APT 2
JAMAICA PLAIN MA 02130                  QUAKERTOWN PA 18951                       ALLENTOWN PA 18103




HALVERSON, WILLIAM B                    HAM, RODERICK                             HAMANN INC
45 A WHITNEY RD                         3403 PERSHING CT                          121 OLD FARM MIDCOURT
COLUMBIA CT 06237                       HAMPTON VA 23666                          BRADLEY IL 60915




HAMANN, BRADFORD                        HAMBLETON, LAURA                          HAMBLIN, JON
28 ASPINWALL ROAD                       1130 CONN AVE NW STE 520                  1733 N KIMBALL 2ND FLOOR
RED HOOK NY 12571                       WASHINGTON DC 20036                       CHICAGO IL 60647




HAMBRIGHT, COURTNEY                     HAMBURG, ERICKA                           HAMBURG, ERICKA
900 NE 18TH AVE NO.903                  25 PARADE PLACE 1K                        PO BOX 648
FT LAUDERDALE FL 33304                  BROOKLYN NY 11226                         CHAPPAQUA NY 10514




HAMBURG, MELISSA                        HAMBURGER, MAXON & YAFFE, WISHOD &        HAMDON ENTERTAINMENT
406 CENTRAL PARK WEST     NO.3          KNAUER, LLP                               15303 VENTURA BLVD STE C-800
NEW YORK NY 10025                       RICHARD HAMBURGER                         SHERMAN OAKS CA 91403
                                        2125 BROADHOLLOW ROAD, SUITE 310 E
                                        MELVILLE NY 11747


HAMEDALDEAN, HAIFA                      HAMEL RESOURCES LLC                       HAMERSMITH INC
7309 ROCKFORD DRIVE                     10 HAWTHORNE RD                           3121 NW 125TH ST
FALLS CHURCH VA 22043                   LAKE GEORGE NY 12845                      MIAMI FL 33167




HAMID FARES                             HAMID, ZAID                               HAMIDULLAH, MASUD TARIQ
3730 MIDVALE AVENUE                     9407 GARWOOD STREET                       1613 NW 14TH CT
APT. #15                                SILVER SPRING MD 20901                    FT LAUDERDALE FL 33311
LOS ANGELES CA 90034



HAMIDULLAH, WAJIHAH                     HAMILL, SEAN D                            HAMILTON CIRCULATION SUPPLIES COMPANY
1613 NW 14TH CT                         605 NEVIN AVE                             522 GOULD
FT. LAUDERDALE FL 33311                 SEWICKLEY PA 15143                        BEECHER IL 60401




HAMILTON CIRCULATION SUPPLIES COMPANY   HAMILTON CIRCULATION SUPPLIES COMPANY     HAMILTON CIRCULATION SUPPLIES COMPANY
522 GOULD                               522 GOULD STREET                          PO BOX 398
921 ACCT.                               PO BOX 398                                BEECHER IL 60401-0398
BEECHER IL 60401                        BEECHER IL 60401-0398




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HAMILTON JOURNAL                       HAMILTON JOURNAL                          HAMILTON REED, LLC
220 COURT ST                           PO BOX 298                                800 MAIN STREET
HAMILTON OH 45011                      HAMILTON OH 45011                         ELLICOTT CITY MD 21043




HAMILTON, ANNE M                       HAMILTON, CHARLES                         HAMILTON, CORTNEY
105 WALDEN ST                          8366 WALBERT LN                           506 PROVIDENCE BLVD
WEST HARTFORD CT 06107                 ALBURTIS PA 18011                         STE 2530
                                                                                 DELTONA FL 32725



HAMILTON, DELIA                        HAMILTON, DENISE                          HAMILTON, GERALDINE
6616 SW 20TH STREET                    1522 WINCHESTER AVE                       101 NE 41ST ST APT F98
POMPANO BEACH FL 33068                 GLENDALE CA 91201                         OAKLAND PARK FL 33334




HAMILTON, JOYCE                        HAMILTON, KERRY EUGENE                    HAMILTON, LA SONYA
1106 NW 14TH CT                        111 E 23RD STREET APT 7                   2219A BEECHWOOD RD
FT. LAUDERDALE FL 33311                BALTIMORE MD 21218                        JOLIET IL 60432




HAMILTON, TERRANCE B                   HAMILTON, TINA                            HAMILTON, WAYNE R
4031 SW 69TH TERRACE                   3771 GLENWOOD RD                          56 HILLSIDE AVE
MIRAMAR FL 33023                       DECATUR GA 30032                          PLANTSVILLE CT 06479




HAMITT, CLIVE                          HAMLET NALBANDYAN                         HAMLET, ASHLEY N
2470 NW 63 AVE                         580 W. STOCKER                            8631 S ESSEX AVE
SUNRISE FL 33313                       APT 4                                     CHICAGO IL 60617
                                       GLENDALE CA 91202



HAMLETTA, WILLIAM                      HAMLETTA, WILLIAM                         HAMLIN PARK NEIGHBORS
4136 HAGUE AVENUE                      436 HAGUE AVENUE                          2122 W BARRY APT 2
BALTIMORE MD 21225                     BALTIMORE MD 21225                        CHICAGO IL 60618




HAMLIN, DESHAWN                        HAMLIN, JANET                             HAMLIN, JANET
401 ADVOCATE CT NO.C                   164 9TH ST                                164 NINTH ST - NO.1
NEWPORT NEWS VA 23608                  BROOKLYN NY 11215                         BROOKLYN NY 11215




HAMLIN, JANET                          HAMLIN, JANET                             HAMM, ROGER
404 NORTH BROADWAY                     HAMLIN ILLUSTRATION                       406 BEVERLY DR
UPPER NYACK NY 10960                   404 N BROADWAY                            ALLENTOWN PA 18104
                                       NYACK NY 10960



HAMMANS CARPENTER, ERIN                HAMMANS ELECTRIC INC                      HAMMER MOTION PICTURES
1958 W FOSTER AVE NO.3W                1445 BROOKVILLE WAY STE A                 7507 CREWS DR
CHICAGO IL 60640                       INDIANAPOLIS IN 46239                     INDIANAPOLIS IN 46226




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HAMMER, DOUGLAS                          HAMMERLE, JOHN C                          HAMMERS, KATIE
5917 W 16TH ST                           7332 W GREENLEAF AVE                      2029 N ASHLAND AVE    NO.2
CICERO IL 60804                          CHICAGO IL 60631                          CHICAGO IL 60614




HAMMERS, MARYANN                         HAMMERSLA,JASON W                         HAMMERSLA,JASON W
1045 CHERRY CREEK CIR                    1111 ARMY NAVY DR                         1850 COLUMBIA PIKE NO.307
WESTLAKE VILLAGE CA 91362                APT 509                                   ARLINGTON VA 22204
                                         ARLINGTON VA 22202



HAMMIDI, TANIA                           HAMMOND JR, GEORGE H                      HAMMOND MANAGEMENT INC
1080 SPRUCE ST APT 4K                    PO BOX 3                                  1990 MASSACHUSETTS AVE
RIVERSIDE CA 92507                       CHURCH VIEW VA 23032                      STE 2529
                                                                                   ORANGE CITY FL 32763



HAMMOND WATER WORKS                      HAMMOND, ANTHONY                          HAMMOND, DONNA
ACCT NO. 000005604                       A-6 BRADLEY CIRCLE                        14313 WOODED PATH LN
6505 COLUMBIA AVE.                       ENFIELD CT 06082                          ORLAND PARK IL 60462
HAMMOND IN 46320



HAMMOND, JERMAINE                        HAMMOND, MARGO A                          HAMMOND, PETER
1340 AVON LANE APT NO.933                2100 INNER CIRCLES                        5623 SELFORD RD
N LAUDERDALE FL 33068                    ST PETERSBURG FL 33712                    HALETHORPE MD 21227




HAMMOND, TRAVIS                          HAMMONS, MATTHEW                          HAMMOUD, HASSAN
1725 SHARIFA WAY                         3435 TONY DRIVE                           611 VILLAGER CIRCLE
ROSEVILLE CA 95747                       SAN DIEGO CA 92122                        DUNDALK MD 21222




HAMOELLER, DOROTHY                       HAMP, JOHNNIE D                           HAMPTON JITNEY INC
39 W 301 CRANSTON RD 13372               2800 NW 44TH ST APT 304                   395 COUNTY ROAD 39A SUITE 6
SAINT CHARLES IL 60175                   OAKLAND PARK FL 33309                     SOUTHAMPTON NY 11968




HAMPTON MODELS                           HAMPTON ROADS CHAMBER OF COMMERCE         HAMPTON ROADS CHAMBER OF COMMERCE
523 TOWNLINE ROAD STE 15                 400 VOLVO PARKWAY                         420 BANK STREET
HAUPPAUGE NY 11788                       ATTN CINDY DAVENPORT                      NORFOLK VA 23510
                                         CHESAPEAKE VA 23320



HAMPTON ROADS CHAMBER OF COMMERCE        HAMPTON ROADS CHAMBER OF COMMERCE         HAMPTON ROADS CHAMBER OF COMMERCE
4661 HAYGOOD RD                          PO BOX 327                                PO BOX 68486
NO.109                                   420 BANK STREET                           VIRGINIA BEACH VA 23471
VIRGINIA BEACH VA 23455                  NORFOLK VA 23510



HAMPTON ROADS EDUCATIONAL                HAMPTON ROADS EDUCATIONAL                 HAMPTON ROADS PARTNERSHIP
5200 HAMPTON BLVD                        TELECOMMUNICATION ASSOCIATIONS INC        430 WORLD TRADE CENTER
NORFOLK VA 23508                         WHRO                                      NORFOLK VA 23510
                                         5200 HAMPTON BLVD
                                         NORFOLK VA 23508




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HAMPTON ROADS TELEPORT                  HAMPTON ROADS UTILITY BILLING S           HAMPTON TRAINING SCHOOL FOR NURSES
977 CENTERVILLE TURNPIKE                PO BOX 1651                               236 N KING ST COURTROOM A
VIRGINIA BEACH VA 23463                 NORFOLK VA 23501-1453                     HAMPTON VA 23669




HAMPTON, DAN                            HAMPTON, JOSEPH                           HAMPTON, JUSTIN
9191 FALLING WATERS DR EAST             851 W AGATITE AE NO.3W                    1984 NORTH MAIN STREET NO. 305
BURR RIDGE IL 60527-0716                CHICAGO IL 60640                          LOS ANGELES CA 90031




HAMPTON, KIRSTEN                        HAMPTON, MARIA L                          HAMPTON, MARIA L
48 5TH ARTILLERY RD                     PO BOX 1101                               PO BOX 206
FT. LEAVENWORTH KS 66027                CANTON CT 06019                           COLLINSVILLE CT 06022




HAMRAH, ALBERT SCOTT                    HAMS, CODY                                HANAFIN, JOHN M
126 UNION STREET NO.2                   33 REGENCY DR                             4380 VIREO AVE APT 1J
BROOKLYN NY 11231-2908                  WONTHAGGI, VIC 3995                       BRONX NY 10470




HANAH CHO                               HANC, JOHN                                HANCOCK, DAVID R
10344 HICKORY RIDGE ROAD                210 CHERRY ST                             20 WESTBROOK RD
APT. 437                                FARMINGDALE NY 11735                      BLOOMFIELD CT 06002
COLUMBIA MD 21044



HANCOCK, SETH                           HAND HELD PRODUCTS INC                    HAND HELD PRODUCTS INC
3120 RIVER SHORE PL                     24004 NETWORK PL                          700 VISIONS DR
INDIANAPOLIS IN 46208                   CHICAGO IL 60623-1240                     SKANEATELOS FALLS NY 13153




HAND, CHRISTOPHER J                     HANDBILL PRINTERS                         HANDEL, JONTHAN
400 EAST BAY STREET NO.1602             14321 CORPORATE DR                        8569 NASH DRIVE
JACKSONVILLE FL 32202                   GARDEN GROVE CA 92843                     LOS ANGELES CA 90046




HANDELSMAN, ALAN                        HANDELSMAN, WALTER                        HANDELSMAN, WALTER
8 SLEEPY HOLLOW COVE                    TIMES PICAYUNE                            235 PINELAWN RD/ VIEWPOINT SECTION
LONGWOOD FL 32750                       3800 HOWARD AVENUE                        MELVILLE NY 11747
                                        NEW ORLEANS LA 70140



HANDELSMAN, WALTER                      HANDLEY, JOHN                             HANDS ON TECHNOLOGY TRANSFER INC
C/O NEWSDAY                             1110 CRESTWOOD DR                         ONE VILLAGE SQUARE STE 8
235 PINELAWN RD                         NORTHBROOK IL 60062                       CHELMSFORD MA 01824
VIEWPOINT SECTION
MELVILLE NY 11747


HANDSPRING REAL ESTATE INC              HANDWERGER, RANDY                         HANDWERK, CARL
7936 SCHOOLHOUSE AVE NW                 8 FOLKSTONE DRIVE                         2065 WALBERT AVE
GIG HARBOR WA 98335                     EAST HAMPTON NY 11937                     ALLENTOWN PA 18104




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HANDYMAN ROSAS INC                    HANEMAN, HEATHER                             HANES, FRANK G
8109 DUPONT AVE NORTH                 1749 N WELLS NO.607                          7933 S KILDARE
BROOKLYN PARK MN 55444                CHICAGO IL 60614                             CHICAGO IL 60652




HANEY, CHERYL                         HANEY, CHERYL                                HANEY, LISA ANN
108 HAVIALND DRIVE                    108 HAVILAND DRIVE                           4721 SPINE RD   UNIT C
NEWPORT NEWS VA 23601                 NEWPORT NEWS VA 23601                        BOULDER CO 80301




HANH NGUYEN                           HANISITS, JOSEPHINE                          HANK CURCIO
4215 VINELAND                         1901 W LINDEN ST APT 511                     1510 COVENTRY
#20                                   ALLENTOWN PA 18104                           SCHAUMBURG IL 60195
STUDIO CITY CA 91602



HANK HUNDEMER                         HANK HURTADO                                 HANKE GRATTEAU
513 O'FALLON AVENUE                   15002 VICTORIA LANE                          306 N. HARVEY AVENUE
BELLEVUE KY 41073                     HUNTINGTON BEACH CA 92647                    OAK PARK IL 60302




HANKIN, VERED                         HANLAN, JEAN                                 HANLAY JR, ARTHUR
2920 N COMMONWEALTH AVE APT 13B       101 RIVERSIDE DR                             2611 CAPTAINS CT
CHICAGO IL 60657                      VERNON CT 06066-3916                         STE 2314
                                                                                   KISSIMMEE FL 34742



HANLEY, JOHN P                        HANLEY, KATIE L                              HANLEY, REID M
2806 BERGREN CT                       82 CACTUS ST                                 349 RIDGE
CRYSTAL LAKE IL 60012                 PROVIDENCE RI 02905                          CLARENDON HILLS IL 60514




HANNAH BLEAVINS                       HANNAH FOSTER                                HANNAH GOEKEN
3001 S OCEAN DRIVE                    2703 SKYLANE DRIVE                           2685 WEAVER ROAD
APT 1249                              NAPERVILLE IL 60564                          ILLIOPLIS IL 62539
HOLLYWOOD FL 33019



HANNAH HARTE                          HANNAH ICENHOUR                              HANNAH MCHALE
1132 7TH ST                           940 MONROE                                   26 E. PEARSON
APT 9                                 447                                          1904
SANTA MONICA CA 90403                 GRAND RAPIDS MI 49503                        CHICAGO IL 60611



HANNAH RILL                           HANNAH, BIMKUBWA                             HANNAH, ZEBEDEE
2578 MINDI DRIVE                      1401 E 55TH ST NO. 312N                      4115 NW 185TH ST
MANCHESTER MD 21102                   CHICAGO IL 60615                             OPA LOCKA FL 33055




HANNAN, SCOTT                         HANNELORE MCDONALD                           HANNON, BRENT
801 S PLYMOUTH APT 605                22 LANGHORNE ROAD                            254 XIANG YANG RD      APT 31
CHICAGO IL 60605                      NEWPORT NEWS VA 23606                        SHANGHAI




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HANNON, KEITH C                          HANOVER NEWS AGENCY INC                     HANS KECK
2251 S BENTLEY AVE NO.204                150 BALTIMORE ST                            5 WILDWOOD ROAD
LOS ANGELES CA 90064                     HANOVER PA 17331                            VERNON CT 06066




HANSEN, BRIAN                            HANSEN, SUSIE                               HANSEN, SUSIE
3785 KNOLL LN APT 6                      506 CRAVE BLVD                              SUSIE HANSEN'S LATIN BAND
COLORADO SPRINGS CO 80917                LOS ANGELES CA 90065                        506 CRAVE BLVD
                                                                                     LOS ANGELES CA 90065



HANSON, ERIC                             HANSON, ROBERT VICTOR                       HANSON, STEPHANIE
4444 UPTON AVE S.                        24136 PALMEK CIR                            424 CLINTON ST APT 1R
MINNEAPOLIS MN 55410                     LAKE FOREST CA 92630                        BROOKLYN NY 11231




HANSON, VICTOR DAVIS                     HANSSEN, DEBBIE                             HANZALEK, ASTRID T
8343 E MT VIEW AVE                       451 N IOWA                                  31 ABRAHAM TERRACE
SELMA CA 93662                           VILLA PARK IL 60181                         SUFFIELD CT 06078




HAO LUONG                                HAO NGUYEN                                  HAPPES, LAWRENCE I
1812 W. PEPPER ST.                       331 S. MYERS                                12 WADSWORTH PLACE
APT. #6                                  BURBANK CA 91506                            SMITHTOWN NY 11787
ALHAMBRA CA 91801



HAPPIEST BABY INC                        HAPPY EYES PRODUCTION                       HAPPY EYES PRODUCTION
12300 WILSHIRE BLVD  STE 320             1400 C SAINT GERMAINE DRIVE SUITE 114       14001 C SAINT GERMAIN DRIVE SUITE 114
LOS ANGELES CA 90025                     CENTREVILLE VA 20121                        CENTREVILLE VA 20121




HARAKAL, GREGORY                         HARAKAL, JEFFREY                            HARALD F SPRUCH
1521 FERNWOOD RD                         1630 N IRVING ST                            16340 MAYALL STREET
SLATINGTON PA 18080                      ALLENTOWN PA 18109                          NORTH HILLS CA 91343




HARAMIS, KELLY                           HARASIM, WOJCIECH                           HARBEN, ADAM
554 BROADVIEW AVE                        1360 S FINLEY RD NO.2G                      28 PARK RIDGE DR
HIGHLAND PARK IL 60035                   LOMBARD IL 60148                            MAUMELLE AR 72113




HARBOR NEWS INC                          HARBOR NEWS INC                             HARBORFIELDS CENTRAL SCHOOL DISTRICT
2242 CREST ROAD                          PO BOX 206                                  2 OLDFIELD RD
14760                                    GRIFFITH IN 46319                           GREENLAND NY 11740-1200
GARY IN 46408



HARBORFIELDS CENTRAL SCHOOL DISTRICT     HARBOUR, ROBERT G                           HARBRECHT, LINDA
2 OLDFIELD RD                            555 NE 34TH ST NO.1503                      1709 CLOVERLEAF ST
GREENLAWN NY 11740                       MIAMI FL 33137                              BETHLEHEM PA 18017




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HARD CANDY SHELL LLC                    HARDAWAY, ROBERT                          HARDEMAN, TRACEY L
11 EAST FIRST ST  NO.219                2255 E EVANS AVE                          2341 SOUTH ACOMA
NEW YORK NY 10003                       DENVER CO 80208                           DENVER CO 80223




HARDEMAN,TRACEY                         HARDEMAN,TRACEY                           HARDEN CONSTRUCTORS INC.
2341 S ACOMA                            PETTY CASH CUSTODIAN                      5625 NW CENTRAL DR NO.D-103
DENVER CO 80223                         2341 S ACOMA                              HOUSTON TX 77092
                                        DENVER CO 80223



HARDEN CONSTRUCTORS INC.                HARDEN, RICH                              HARDEN, RONALD
9420 COSSEY                             743 GREENLEA DR                           6 BALTIMORE AVE
NO.300                                  VICTORIA BC V8Z 3E7                       GLEN BURNIE MD 21061
HOUSTON TX 77070



HARDEN, SHENEQUA                        HARDER, CORINNE MICOLE                    HARDGE, MANDRILL T
2404 YATES DR                           2930 REUBEN DR                            2101 GARDEN WOOD CT
AUGUSTA GA 30906                        COLORADO SPRINGS CO 80918                 COLLEGE PARK GA 30349




HARDIE WHITE                            HARDIN, ANITA J                           HARDIN, COY W
1 PEAR STREET                           PO BOX 1613                               12908 GENT RD
CENTRAL ISLIP NY 11722                  EUSTIS FL 32727                           REISTERSTOWN MD 21136




HARDIN, DOROTHY                         HARDING CONSULTING ALLIANCE, LLC          HARDING CONSULTING ALLIANCE, LLC
12908 GENT RD                           1225 17TH ST  STE 1875                    830 VINE STREET
REISTERTOWN MD 21136                    DENVER CO 80202                           DENVER CO 80206




HARDSCRABBLE ENTERTAINMENT INC          HARDY KLUENDER                            HARDY, CHRIS
C/O HOWARD BLUM                         3 JENKINS COURT                           379 LAIDLEY ST
415 MAIN STREET ROOM W                  OSSINING NY 10562                         SAN FRANCISCO CA 94131
RIDGEFIELD CT 06877



HARDY, TERRENCE                         HARE, SARA SETTEGAST                      HAREWOOD, CHARLES
6931 S WOODLAWN                         121 CAMROSE PLACE                         5 PAPER ST  2ND FLR
CHICAGO IL 60637                        WALNUT CREEK CA 94596                     WESTFIELD MA 01085-4334




HARFORD COMMUNITY                       HARFORD COMMUNITY ACTION AGENCY INC       HARFORD COMMUNITY ACTION AGENCY INC
COLLEGE FOUNDATION                      33 W COURTLAND ST                         C/O EXECUTIVE PUBLISHING
401 THOMAS RUN RD                       BEL AIR MD 21014                          900 S MAIN ST SUITE 103
BEL AIR MD 21015                                                                  BEL AIR MD 21014



HARFORD COUNTY FARM FAIR INC            HARFORD COUNTY MARYLAND                   HARFORD COUNTY MARYLAND
PO BOX 22                               ATTN: HCCW                                COMMISSION FOR WOMEN
BEL AIR MD 21014                        45 SOUTH MAIN ST                          220 S MAIN ST 1ST FL
                                        BEL AIR MD 21014                          BEL AIR MD 21014




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HARFORD COUNTY MARYLAND                 HARFORD COUNTY MARYLAND                   HARFORD COUNTY MARYLAND
DIVISION OF EMERGENCY OPERATIONS        MARYLAND                                  PO BOX 64069
SUSAN AYERS                             PO BOX 609                                BALTIMORE MD 21264-4069
RECORDS CUSTODIAN 2220 ADY RD           BEL AIR MD 21014-0609
FOREST HILL MD 21050


HARFORD, WILLIAM                        HARIDAT, ANITA                            HARINGTON, DONALD O
6701 N LIGHTFOOT AVE                    59 WILLIS AVE                             1784 GLENBROOK PLACE
CHICAGO IL 60646                        SYOSSET NY 11791                          FAYETTEVILLE AR 72701




HARITOS,GUS                             HARKER, DORIS C                           HARKEY, MICHAEL
2701 W CARMEN AVE                       125 KENILWORTH                            2344 EAGLEWOOD DR
CHICAGO IL 60625                        ELK GROVE VILLAGE IL 60007                CHINO HILLS CA 91709




HARKIN, BRIAN                           HARLACHER, HELENA                         HARLAN E HUTCHENS
5808 LAVISTA CT                         53 W PRISCILLA ST                         136 W GAILLARD STREET
DALLAS TX 75206                         ALLENTOWN PA 18103                        GLENDORA CA 91740




HARLESS ROWE                            HARLEY RUBIN                              HARLEY, SEAN
1919 GRANT AVENUE                       4724 TOWNE SQUARE                         537 PINE ST
BALTIMORE MD 21227                      #1607                                     CATASAUQUA PA 18032
                                        PLANO TX 75024



HARLIN, TAYT                            HARLOW, WILLIAM JAMES                     HARMAN, ANNE MICHAUD
310 RIVERSIDE DR     APT 1219           4679 N 400 W                              60 MILL LANE
NEW YORK NY 10025                       SHARPSVILLE IN 46068                      HUNTINGTON NY 11743




HARMON II, STEVEN LEE                   HARMON II, STEVEN LEE                     HARMON MEADOW PLAZA
7407 AMBROSIA RD                        7407 AMBROSIA RD                          RE: SECAUCUS 700 PLAZA DRIVE
RANCHO CUCAMONGA CA 91730               RANCO CUCAMONGA CA 91730                  P.O. BOX 35456
                                                                                  NEWARK NJ 07193-5456



HARMON MEADOW PLAZA INC                 HARMON MEADOW PLAZA INC                   HARMON MEADOW PLAZA, INC.
400 PLAZA DR                            PO BOX 35456                              RE: SECAUCUS 700 PLAZA DRIVE
ATTN F ROSCETT                          NEWARK NJ 07193-5456                      400 PLAZA DRIVE
SECAUCUS NJ 07096-1515                                                            PO BOX 1515
                                                                                  SECAUCUS NJ 07096-1515


HARMON, JON                             HARMON, KAVIN                             HARMON, RICK
8332 NEWBURY CT                         2451 N FRANCISCO                          1443 KAFFIR LILY CT
CANTON MI 48187                         CHICAGO IL 60647                          TRINITY FL 34655




HARMONI                                 HARMONIC MEDIA INC                        HARMSWORTH NEWS SERVICE INC
11 ROY AVE                              3799 SOUTH JASON STREET                   182 SINGINGWOOD DR
MASSAPEQUA NY 11758                     ENGLEWOOD CO 80110                        HOLBROOK NY 11741




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HARNEY, DONNA                           HAROLD BURKHART                           HAROLD CRAWFORD
2 PARTRIDGE LN                          6694 MADISON STREET                       1044 PORTMOOR WAY
WATERFORD NY 12188                      NEW TRIPOLI PA 18066                      WINTER GARDEN FL 34787




HAROLD DARDICK                          HAROLD DAVIS                              HAROLD E DYER
199 SUNNYSIDE AVE                       248 PITT STREET                           2815 BECKWITH COURT
ELMHURST IL 60126                       BRIDGEPORT CT 06606                       NORTHBROOK IL 60062




HAROLD E TERSCH                         HAROLD EDWARDS                            HAROLD FOSTER
3804 MISTERY CIRCLE                     8531 MANOR DRIVE                          127 LOPEZ ROAD
PLANO TX 75023                          FT. WAYNE IN 46825                        APT # 13
                                                                                  LOPEZ ISLAND WA 98261



HAROLD GILBERT                          HAROLD H HOGAN                            HAROLD JACOBS
2521 RESERVOIR LANE                     16754 EAST AVENUE X                       560 NE 33 STREET
REDDING CA 96002                        SPACE 67                                  OAKLAND PARK FL 33334
                                        LLANO CA 93544



HAROLD JOHNSON                          HAROLD L CARTER                           HAROLD M PARIS
2319 FOSTER STREET                      SILVER CREEK RETIREMENT COMMUN            9054 MEADOW HGTS RD
EVANSTON IL 60201                       17607 91ST AVE E -APT 171                 RANDALLSTOWN MD 21133
                                        PUYALLUP WA 98375



HAROLD RICHARD                          HAROLD SCOTT                              HAROLD STORINO
4705 WEST FLIGHT AVENUE                 715 VIA CONCHA ROAD                       P.O. BOX 449
SANTA ANA CA 92704                      NIPOMO CA 93444                           GREAT RIVER NY 11739




HAROLD THOMPSON                         HAROLD TRULEAR                            HAROLD VERITY
3099 PENN ALLEN ROAD                    11 LAKEPOINT DRIVE                        5564 WHITE HERON PLACE
NAZARETH PA 18064                       HARRISBURG PA 17111                       OVIEDO FL 32765




HAROLD WARD                             HAROLD WELLS                              HAROLD WHACK
448 WILLIAMS WAY                        11841 MONTECITO ROAD                      1110 OLIVE RD.
NORTH                                   ROSSMOOR CA 90720                         HOMEWOOD IL 60430
BAITINGHOLLOW NY 11933



HAROLD WILLIAMS                         HAROLD ZIEGLER CHRYSLER DODGE JEEP        HAROUT GARLANIAN
818 EAST 235TH STREET                   4200 PARKWAY PL DR SW                     5545 WILLOWCREST
BRONX NY 10466                          GRANDVILLE MI 49418                       NORTH HOLLYWOOD CA 91601




HARP, WILLIAM XARVIER                   HARPAL SODHI                              HARPER COLLINS PUBLISHERS LLC
2936 NW 10TH COURT                      1515 W 8TH STREET                         10 EAST 53RD STREET
FORT LAUDERDALE FL 33311                APT 309                                   NEW YORK NY 10022-5299
                                        LOS ANGELES CA 90017




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HARPER COLLINS PUBLISHERS LLC           HARPER LIMBACH LLC                         HARPER, GEANENDER
1000 KEYSTONE INDUSTRIES PARK           5401 BENCHMARK LANE                        1220 MACON HALL RD
SCRANTON PA 18512-4621                  SANFORD FL 32773-6433                      CORDOVA TN 38018




HARPER, JESSICA D                       HARPER, JUANITA                            HARPER, MARY PATRICIA
114 WYNWOOD DR                          325 CIRCLE DR                              9 HONEY LANE
ENFIELD CT 06082                        NEWPORT NEWS VA 23605                      NEW LENOX IL 60451




HARPER, REUBEN                          HARPER, RICHARD L                          HARPER, STACY
201 N WARE DRIVE                        325 CIRCLE DR                              1223 W ALLEN ST
WEST PALM BEACH FL 33409                NEWPORT NEWS VA 23605                      ALLENTOWN PA 18102




HARPER, WALTER J                        HARRELL BOEDEKER                           HARRELL, AMY
3128 REDHILL AVENUE SUITE 700           520 BROADWAY AVE.                          245 W 51ST    APT 901
COSTA MESA CA 92626                     APT. 5                                     NEW YORK NY 10019
                                        ORLANDO FL 32803



HARRELL, BARRY                          HARRELL, SCOTT                             HARRIET BOYD
PO BOX 41984                            2420 DARTMOUTH AVE NORTH                   22250 PAMPLICO DRIVE
AUSTIN TX 78704                         ST PETERSBURG FL 33713                     SANTA CLARITA CA 91350




HARRIET BRACKEY                         HARRIET COOPER                             HARRIET GINSBERG
501 NE 9TH AVENUE                       6933 CLEARWIND CT.                         3890 NW 90TH WAY
FORT LAUDERDALE FL 33301                BALTIMORE MD 21209                         SUNRISE FL 33351




HARRIET KLEIN                           HARRIET PELTON                             HARRIET RYAN
460 E. OCEAN AVE.                       510 SHELTON                                2231 EARL STREET
APT. 319                                #4                                         LOS ANGELES CA 90039
LANTANA FL 33462                        BURBANK CA 91506



HARRIET WADE                            HARRIET WILLIAMS                           HARRIET WILLIAMS
3409 PEAR TREE CIRCLE                   10200 FAIRWAY DRIVE                        170 N. MAGNOLIA POND PLACE
LAUDERHILL FL 33319                     ELLICOTT CITY MD 21042                     THE WOODLANDS TX 77381




HARRIETT JACKSON-TYLER                  HARRIETT WATSON                            HARRIETT WILLIAMS
7131 S. SEELEY AVE                      7811 S. SAWYER AVE.                        3639 DUDLEY AVENUE
CHICAGO IL 60636                        CHICAGO IL 60652                           BALTIMORE MD 21213




HARRIGAN, KELLY                         HARRIGAN, SUSAN J                          HARRINARINE SUKHLALL
23 SIMMONS RD                           77 7TH AVE                                 38 WHITE STREET
EAST HARTFORD CT 06118                  APT 12H                                    HARTFORD CT 06114
                                        NEW YORK NY 10011




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HARRINGTON RIGHTER & PARSONS,          HARRINGTON TOWER SERVICES INC             HARRINGTON, BRETT T
4000 TOWNE CENTER                      3515 S FERDINAND ST                       1247 HOLLY CT
SOUTHFIELD MI 48075                    SEATTLE WA 98118                          DOWNERS GROVE IL 60515




HARRINGTON, CHRISTOPHER                HARRINGTON, LISA LAVON                    HARRINGTON, STEPHEN
378 N OSWEGO ST                        2826 DOVER GLEN CIR                       3608 NEWPORT AVE
ALLENTOWN PA 18109                     ORLANDO FL 32828                          BOYNTON BEACH FL 33436




HARRINGTON, THOMAS                     HARRIOTT, CHRISTOPHER,ANTHONY             HARRIS AUTOMATION
113 WHITNEY ST                         1740 NW 28TH AVE                          1134 E ARQUES AVE
HARTFORD CT 06105-2526                 FT LAUDERDALE FL 33311                    SUNNYVALE CA 94086




HARRIS AUTOMATION                      HARRIS AUTOMATION                         HARRIS AUTOMATION
1731 EMBARCADERO RD                    P.O. BOX 148                              231 S LASALLE
PALO ALTO CA 94303                     OLD SAYBROOK CT 02125                     CHICAGO IL 60693




HARRIS AUTOMATION                      HARRIS BEACH PLLC                         HARRIS COMMUNICATIONS
HARRIS CORPORATION                     99 GARNSEY ROAD                           BROADCAST COMMUNICATIONS DIVISION
PO BOX 96776                           PITTSFORD NY 14534                        PO BOX 96776
CHICAGO IL 60693                                                                 CHICAGO IL 60693



HARRIS COMMUNICATIONS                  HARRIS COMMUNICATIONS                     HARRIS COMMUNICATIONS
BROADCAST DIVISION                     15159 TECHNOLOGY DRIVE                    15159 TECHNOLOGY DRIVE
3200 WISMANN LN                        EDEN PRAIRIE MN 55344-2277                ATTN: ORDER
QUINCY IL 62301                                                                  EDEN PRAIRIE MN 55344-2277



HARRIS CORP BROADCAST COMMUNICATIONS   HARRIS CORP BROADCAST COMMUNICATIONS      HARRIS CORP BROADCAST COMMUNICATIONS
2070 LAS PALMAS DR                     3200 WISMANN LANE                         3200 WISMANN LANE
CARLSBAD CA 92009                      BROADCAST DIV BROADCAST SYSTEM            QUINCY IL 62301-7611
                                       QUINCY IL 62301



HARRIS CORP BROADCAST COMMUNICATIONS   HARRIS CORP BROADCAST COMMUNICATIONS      HARRIS CORP BROADCAST COMMUNICATIONS
96776 COLLECTIONS CENTER DR            HARRIS ALLIED BROADCAST DIV               PO BOX 4290
CHICAGO IL 60693                       PO BOX 96776                              QUINCY IL 62305
                                       CHICAGO IL 60693



HARRIS CORP BROADCAST COMMUNICATIONS   HARRIS CORP BROADCAST COMMUNICATIONS      HARRIS CORP BROADCAST COMMUNICATIONS
PO BOX 96488                           PO BOX 96776                              PO BOX 96778
BROADCAST DIVISION                     CHICAGO IL 60693-6488                     BROADCAST DIVISION
CHICAGO IL 60693-6488                                                            CHICAGO IL 60693-6488



HARRIS CORP BROADCAST COMMUNICATIONS   HARRIS CORP BROADCAST COMMUNICATIONS      HARRIS CORP BROADCAST COMMUNICATIONS
4240 IRWIN SIMPSON ROAD                BROADCAST DIVISION                        PO BOX 360097
MASON OH 45040-9478                    4393 DIGITAL WAY                          PITTSBURGH PA 15251-0097
                                       MASON OH 45040




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HARRIS CORP BROADCAST COMMUNICATIONS    HARRIS CORPORATION                         HARRIS CORPORATION
PO BOX 951603                           1999 BROADWAY                              BROADCAST DIVISION
DALLAS TX 75395-1603                    STE 4000                                   PO BOX 96776
                                        DENVER CO 80202                            CHICAGO IL 60693



HARRIS CORPORATION                      HARRIS CORPORATION                         HARRIS CORPORATION
BROADCAST COMMUNICATIONS DIVISION       5293B CLYDE PARK AVE                       NW 5044
PO BOX 96776                            GRAND RAPIDS MI 49509                      PO BOX 1450
CHICAGO IL 60693                                                                   MINNEAPOLIS MN 55485-5044



HARRIS CORPORATION                      HARRIS CORPORATION BROADCAST               HARRIS COUNTY
BROADCAST DIVISION BROADCAST SYSTEM     PO BOX 96776                               PAUL BETTENCOURT
4393 DIGITAL WAY                        CHICAGO IL 60693                           TAX ASSESOR-COLLECTOR
MASON OH 45040                                                                     PO BOX 4622
                                                                                   HOUSTON TX 77210-4622


HARRIS COUNTY                           HARRIS III, FRANK                          HARRIS JR, PETER
TREASURER                               85 BROOK HILL ROAD                         5105 HUNTER CREEK PL
1001 PRESTON     STE 800                HAMDEN CT 06514                            SUFFOLK VA 23435
HOUSTON TX 77002



HARRIS JR, RICHARD L                    HARRIS LACEWELL, MELISSA V                 HARRIS ROTHENBERG INTERNATIONAL LLC
188 NEWMAN ST                           46 CEDAR LANE                              99 WALL ST
BRENTWOOD NY 11717                      PRINCETON NJ 08540                         NEW YORK NY 10005




HARRIS, AARIONETTE N                    HARRIS, AARON                              HARRIS, ASHLEY S
2100 SOUTH LOMBARD AVE #1               1338 N VISTA ST NO.19                      311 MERRILL AVE
BERWYN IL 60402                         LOS ANGELES CA 90046                       CALUMET CITY IL 60409




HARRIS, BOB                             HARRIS, BRANDON C                          HARRIS, BRANDON DARRYL
1919 TAMARIND AVE NO.202                185 SHENANDOAH TRACE                       1805 KENWOOD ST
HOLLYWOOD CA 90068                      RIVERDALE GA 30296                         JONESBORO AR 72401




HARRIS, CEDRIC M                        HARRIS, DANIEL                             HARRIS, DAVID L
2610 NW 6TH CT                          4894 N MILWAUKEE AVE                       224 2ND STREET SOUTH
POMPANO BEACH FL 33069                  CHICAGO IL 60630                           HAINES CITY FL 33844




HARRIS, DENNIS TAYLOR                   HARRIS, GREGORY J                          HARRIS, HYDRESS
1415 W BARRY AVE NO.1                   60 WINTONBURY AVE                          4690 SUMMERLANE AVE NO.3
CHICAGO IL 60657                        BLOOMFIELD CT 06002                        MEMPHIS TN 38118




HARRIS, JOHN M                          HARRIS, JOVAN                              HARRIS, JR, DENNIS
4751 RUSSWOOD AVENUE                    1480 RIVERROCK TRAIL                       6260 GEMFIELD DR
STONE MOUNTAIN GA 30083                 RIVERDALE GA 30296                         COLORADO SPRINGS CO 80918




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HARRIS, LARRY                         HARRIS, LASCHELL                           HARRIS, LESLIE
1915 BEER CREEK DR                    5232 NW 18TH ST NO. 3                      3013 N. PIEDMONT AVENUE
FOREST HILL MD 21050                  LAUDERHILL FL 33313                        BALTIMORE MD 21216




HARRIS, LESLIE M                      HARRIS, LOIS V                             HARRIS, LOUIS W
10058 S STATE                         4704 BRYCE DR                              3209 NE 7TH ST APT 2
CHICAGO IL 60628                      ANACORTES WA 98221                         POMPANO BEACH FL 33062




HARRIS, MARCUS                        HARRIS, MICHAEL M                          HARRIS, NATASHA
1254 BLUE HILLS AVE                   3231 LEES AVE                              3471 NW 17TH STREET
BLOOMFIELD CT 06002                   LONG BEACH CA 90808                        FT LAUDERDALE FL 33311




HARRIS, NORMAN O                      HARRIS, PRESTON                            HARRIS, REBECCA LYN
193 ROCKWELL AVE                      326 NORMA CT                               4041 ELM ST
BLOOMFIELD CT 06002                   NEWPORT NEWS VA 23602                      STE 5625
                                                                                 LADY LAKE FL 32159



HARRIS, RICHARD G                     HARRIS, RICHARD LEE                        HARRIS, ROBERT
7165 WASHINGTON AVE                   6203 VERNE ST                              19836 ERMINE
LANTANA FL 33462                      BETHESDA MD 20817                          SANTA CLARITA CA 91351




HARRIS, SAM                           HARRIS, SANDRA                             HARRIS, SHAWN M
11828 LA GRANGE AVENUE                36851 WILMINGTON RD                        9013 NW 38TH DR APT 205
LOS ANGELES CA 90025                  STE 5716                                   CORAL SPRINGS FL 33065
                                      FRUITLAND PARK FL 34731



HARRIS, TERRY W                       HARRIS, TRUDIE                             HARRIS, VERNELL
624 LOCHWOOD DRIVE                    6854 RUBENS CT                             127 BOWEN DR
CRYSTAL LAKE IL 60012                 ORLANDO FL 32818                           HAMPTON VA 23666




HARRIS, VIRGEN                        HARRIS, VIRGIL L                           HARRIS, WILLIAM
418 N 6TH ST                          3425 LEATHA WAY                            3742 W WALNUT ST
ALLENTOWN PA 18102                    SACRAMENTO CA 95821                        ALLENTOWN PA 18104




HARRIS,MESHA                          HARRISBURG AUTOMOTIVE                      HARRISBURG NEWS COMPANY
8401 S CORAL CIRCLE                   TRADE ASSOCIATION                          980 BRIARSDALE RD
NORTH LAUDERDALE FL 33068             6405 FLANK DRIVE                           HARRISBURG PA 17106
                                      HARRISBURG PA 17112



HARRISBURG NEWS COMPANY               HARRISON HAYS                              HARRISON PIERRE
ATTN JULIE                            2111 NORTH DAYTON                          6930 NW 47TH PLACE
PO BOX 60307                          APT 3                                      LAUDERHILL FL 33319
HARRISBURG PA 17106-0307              CHICAGO IL 60614




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HARRISON, JERESA                        HARRISON, KAREN TINA                      HARRISON, KRISTIN D
2550 E RIVERSIDE DR    APT 39           31-62 29TH ST NO.1D                       200 NE 20 ST   NO.217C
ONTARIO CA 91764                        ASTORIA NY 11106                          BOCA RATON FL 33431




HARRISON, LAIRD                         HARRISON, LAUREN                          HARRISON, ROWENA
4019 LA CRESTA AVE                      602 W 157TH STREET                        106 BAYLAND DR
OAKLAND CA 94602                        APT 1E                                    HAVRE DE GRACE MD 21078
                                        NEW YORK NY 10032



HARRISON, SELIG                         HARRISON, SHANE                           HARRISON, SHERYL
3050 MILITARY RD NW APT 638             127 PACIFIC ST NO.3                       7505 WOODBINE RD.
WASHINGTON DC 20015-1300                BROOKLYN NY 11201                         WOODBINE MD 21797




HARRISON, TERRI                         HARRISON, TIM                             HARRISON, WILLIAM
1923 S GROVE NO.19                      2488 WEST 5TH STREET                      17612 ROY ST
BERWYN IL 60402                         CLEVELAND OH 44113                        LANSING IL 60438




HARROD, CLEMENTE                        HARROD, CLEMENTE                          HARROW, ELLE
27339 WHISPERING BEACH WAY              27339 WHISPERING BIRCHWAY                 28902 TOP OF THE WORLD DR
WESLEY CHAPEL FL 33543                  WESLEY CHAPEL FL 33543                    LAGUNA BEACH CA 92651




HARROWS STORES INC                      HARROWS STORES INC                        HARROWS STORES INC
100 JERICHO QUADRANGLE SUITE 300        270 SPAGNOLI RD                           C/O SILVERMAN PERLSTEIN ACAMPORA LLP
JERICHO NY 11753                        MELVILLE NY 11747                         100 JERICHO QUADRANGLE SUITE 300
                                                                                  JERICHO NY 11753



HARRY & FRIEDA INC                      HARRY A PHILIPS                           HARRY ALEXANDER
140 N MCCADDEN PL                       4136 HOWARD AVENUE                        215 CORNELL STREET
LOS ANGELES CA 90004                    WESTERN SPRINGS IL 60558                  APT 1
                                                                                  HEMPSTEAD NY 11550



HARRY AMSDEN                            HARRY BERECKIS                            HARRY CANNON
72 ROSE PLACE                           528 N. STOME AVENUE                       5828 N ORIOLE
CLARENDON HILLS IL 60514                LA GRANGE PARK IL 60526                   CHICAGO IL 60631




HARRY CARAYS TAVERN                     HARRY CARAYS TAVERN                       HARRY CROMER
33 W KINZIE                             3551 N SHEFFIELD                          26 HIGHFIELD DR
CHICAGO IL 60654                        CHICAGO IL 60657                          BALTIMORE MD 21228




HARRY DIXON                             HARRY DOODNAUTH                           HARRY DOYLE
1320 W. MONTROSE                        55 WEST DOVER STREET                      913 QUINCE LN
CHICAGO IL 60613                        VALLEY STREAM NY 11580                    MOUNT PROSPECT IL 60056




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HARRY DYER                            HARRY F STANFORD                           HARRY FISHER
655 PALISADE AVE                      563 MIDWAYTRACK                            3722 ASTER ST
APT C10                               APT 104K                                   ALLENTOWN PA 18104
BRIDGEPORT CT 06610                   OCALA FL 34472



HARRY FORD                            HARRY FREDRICY                             HARRY GEORGINI
10698 NEWGATE LANE                    7627 E STEDDOM DR                          80 HOMECREST DRIVE
INDIANAPOLIS IN 46231                 SO SAN GABRIEL CA 91770                    KENSINGTON CT 06037




HARRY HIGGINS                         HARRY J TRIMBORN                           HARRY JACKSON
2410 S 138TH ST                       6908 VALLEY RIDGE COURT                    14 DALEBROOK DRIVE
SEATAC WA 98168                       RALEIGH NC 27615                           PHOENIX MD 21131




HARRY JEAN                            HARRY JEFFREY                              HARRY JOLLY
540 DURYEA AVENUE                     6750 SILVER STAR RD.                       1379 ELLIOT ST
UNIONDALE NY 11553                    105                                        ELMONT NY 11003
                                      ORLANDO FL 32818



HARRY JONES                           HARRY LOY                                  HARRY MERRITT
753 WEST 144TH STREET                 2748 HARRINGTON RD.                        106 LAPAIX LANE
RIVERDALE IL 60827                    SIMI VALLEY CA 93065                       BALTIMORE MD 21204




HARRY MORRISON                        HARRY NELSON                               HARRY NORTON
651 47TH ST                           PO BOX N                                   525 RIVERLEIGH AVE
BALTIMORE MD 21224                    FRASIER PARK CA 93222                      APT # 209
                                                                                 RIVERHEAD NY 11901



HARRY REFFELT                         HARRY RUCKER                               HARRY VENERIS
22 VONDRAN STREET                     2179 NW 27TH TERRACE                       426 DANIELS ROAD
HUNTINGTON STATION NY 11746           FORT LAUDERDALE FL 33311                   CORAPEAKE NC 27926




HARRY WATKINS                         HARRY WESSEL                               HARRY, MICHAEL JUAN
1716 TYNDALL COURT                    701 S. HYER AVENUE                         10210 SAN DIEGO MISSION ROAD NO.38
DUNWOODY GA 30338-4643                ORLANDO FL 32801                           SAN DIEGO CA 92108




HART AGENCY                           HART MARKETING LLC                         HART PRODUCTIONS
707 BROADHOLLOW ROAD                  2803 HEATHER WOOD DR                       561 HUDSON ST NO.45
SUITE 25                              FLOWER MOUND TX 75022                      NEW YORK NY 10014
FARMINGDALE NY 11735



HART, HUGH                            HART, JAMES                                HART, JEFFREY P
4246 TUJUNGA AVE                      2240 SW 50TH TERRACE                       131 MOXLEY RD
STUDIO CITY CA 91604                  PLANTATION FL 33317                        UNCASVILLE CT 06382




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HART, KEVIN R                         HART, LEVESTER                             HART, MELISSA
4564 VISTA KNOLL DR                   861 NW 39TH AVE                            PO BOX 50703
PLANO TX 75093                        FT. LAUDERDALE FL 33311                    EUGENE OR 97405




HART, NICOLE                          HART, PATRICK                              HART, PRISCILLA
60 WEST MAKION                        1300 W BROWARD BLVD                        212 MELVIN AVENUE
JOILET IL 60436                       FORT LAUDERDALE FL 33312                   ANNAPOLIS MD 21401




HART, REBECCA L                       HART, REX A                                HART, RONNELL
16101 TOMAHUND DR                     23359 HAMLIN STREET                        7689 NORTHEAST CIRCLE
WILLIAMSBURG VA 23185                 WEST HILLS CA 91307                        INDIANAPOLIS IN 46256




HART, SHEILA                          HART, VICKI                                HART, WILLIAM
8540 WILLOWRUN DR                     231 S CARLISLE ST                          24 STATE ST
JENISION MI 49428                     ALLENTOWN PA 18109                         *PELTON'S
                                                                                 WETHERSFIELD CT 06109-1832



HART, WILLIAM                         HARTCORN PLUMBING & HEATING                HARTE, HANNAH
24 STATE STREET                       850 S 2ND ST                               1132 7TH ST NO.9
WETHERSFIELD CT 06109-1832            RONKONKOMA NY 11779                        SANTA MONICA CA 90403




HARTENSTEIN, EDDY W                   HARTER, SUSAN                              HARTFIELD, ERIC
1515 HIDDEN VALLEY RD                 3849 BEVERLY DRIVE                         28 COLONIAL CT
THOUSAND OAKS CA 91361                LAKE WORTH FL 33461                        PLAINVILLE CT 06062




HARTFIELD, ERICA M                    HARTFIELD, KIMBERLY A                      HARTFIELD, MELISSA
421 TOLLAND ST NO.101                 156 FOREST ST APT 722                      28 COLONIAL CT
EAST HARTFORD CT 06108                MANCHESTER CT 06040                        PLAINVILLE CT 06062




HARTFORD                              HARTFORD AREAS RALLY TOGETHER INC          HARTFORD AREAS RALLY TOGETHER INC
ATTN SHAUNA COLLINS                   423 WASHINGTON ST                          560 HUDSON ST
690 ASYLUM AVE T 12                   HARTFORD CT 06106                          HARTFORD CT 06106
HARTFORD CT 06103



HARTFORD BUSHNELL                     HARTFORD CITY NEW TIMES                    HARTFORD COURANT
166 CAPITOL AVENUE                    123 S JEFFERSON ST                         285 BROAD STREET
HARTFORD CT 06106-1621                ATTN MISSY SHROCK                          HARTFORD CT 06115
                                      HARTFORD CITY IN 47348



HARTFORD COURANT                      HARTFORD COURANT                           HARTFORD COURANT EMPLOYEES
DEPT 069                              PO BOX 40000                               285 BRD ST
285 BROAD STREET                      DEPT 215                                   HARTFORD CT 06115
HARTFORD CT 06115                     HARTFORD CT 06151




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HARTFORD COURANT EMPLOYEES            HARTFORD EDUCATION FOUNDATION INC         HARTFORD EDUCATION FOUNDATION INC
285 BROAD STREET                      MARY JO KEATING                           PATRICIA SALNER
CREDIT UNION PAYROLL FUNDING          PO BOX 230352                             111 CHARTER OAK AVENUE
HARTFORD CT 06115                     HARTFORD CT 06123-0352                    HARTFORD CT 06106



HARTFORD FEDERATION OF TEACHERS       HARTFORD FOUNDATION FOR PUBLIC GIVING     HARTFORD FOUNDATION FOR PUBLIC GIVING
85 BUCKINGHAM ST                      ATTN JESSICA JULIEN GIFT ASSISTANT        MARYANN ROSA
HARTFORD CT 06106                     10 COLUMBUS BLVD                          PHILANTHROPIC ADMIN
                                      HARTFORD CT 06106                         85 GILLETT STREET
                                                                                HARTFORD CT 06105-9735


HARTFORD HOSPITAL                     HARTFORD HOSPITAL                         HARTFORD INTERVAL HOUSE
80 SEYMOUR ST                         P O BOX 5037                              C/O CECILE ENRICO EXECUTIVE DIRECTOR
HARTFORD CT 06102-5037                HARTFORD CT 06102-5037                    PO BOX 340207
                                                                                HARTFORD CT 06134-0207



HARTFORD REGION YWCA                  HARTFORD RESEARCH CENTER                  HARTFORD SYMPHONY ORCHESTRA
135 BROAD ST                          17 TALCOTT NOTCH RD                       ATTN CHARLIE OWENS
HARTFORD CT 06105                     FARMINGTON CT 06032                       228 FARMINGTON AVE
                                                                                HARTFORD CT 06105-3596



HARTFORD SYMPHONY ORCHESTRA           HARTIG, EDWARD                            HARTIGAN, SHANNON
MR MILLARD PRYOR JR                   351 TWIN CREEKS DR                        39 BUCKLAND ST APT 432-1
228 FARMINGTON AVE                    BOLINGBROOK IL 60440                      MANCHESTER CT 06042
HARTFORD CT 06105



HARTLAND, JESSIE                      HARTLEY, DANIELLE                         HARTMAN, RANDALL J
165 WILLIAM ST NO.9                   603 JUNIPER ST                            2165 SHADETREE LANE
NEW YORK NY 10038                     QUAKERTOWN PA 18951                       ESCONDIDO CA 92029




HARTMAN, SUSAN                        HARTT TROPHY AND ENGRAVING                HARTWELL, AARON
31 PROSPECT AVENUE                    620 NORTH LARCHMONT BLVD                  6501 27TH LANE SOUTH EAST
PORT WASHINGTON NY 11050              LOS ANGELES CA 90004                      LACEY WA 98503




HARTZELL, BRITTANY M                  HARTZHEIM, TERESA TOMAH                   HARUTYUN YEMENIAN
2126 WILLIAMS AVE                     12728 SANDPEBBLE CIR NO.3                 949 VERDUGO CIRCLE DR
BETHLEHEM PA 18020                    NEWPORT NEWS VA 23606                     GLENDALE CA 91206




HARVEST INFO INC                      HARVEST INFO INC                          HARVEST INFO INC
3041 SOLUTIONS CENTER                 5412 COURSEVIEW DR STE 435                P O BOX 373
CHICAGO IL 60677-3000                 MASON OH 45040                            LEBANON OH 45036




HARVEST INFO INC                      HARVEST TRUCKING                          HARVEY CLAVON
PO BOX 73165                          944 E 103RD ST                            28228 TAMBORA DRIVE
CLEVELAND OH 44193                    BROOKLYN NY 11236                         SANTA CLARITA CA 91351




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HARVEY FIALKOV                           HARVEY GLATT                              HARVEY HILL
7324 SW 9TH CT                           8577 C BOCA GLADES BLVD.                  3940 RICKOVER RD
PLANTATION FL 33317                      BOCA RATON FL 33434                       SILVER SPRING MD 20902




HARVEY LEBLANC                           HARVEY LINDSAY COMMERCIAL REAL ESTATE     HARVEY MANNING
20402 LANIER LANE                        RE: NEWPORT NEWS 311 ED WRIGH             112 ARCHERS HOPE DRIVE
PONCHATOULA LA 70454                     ATTN: TAMMY H. WALLMAN                    WILLIAMSBURG VA 23185
                                         701 TOWN CENTER DRIVE, SUITE 100
                                         NEWPORT NEWS VA 23606


HARVEY MILLER                            HARVEY NASH INC                           HARVEY PORCHIA
230 N 13TH STREET                        FILE 30726                                534 W. GRANT PLACE
ALLENTOWN PA 18102                       PO BOX 60000                              APT # 1
                                         SAN FRANCISCO CA 94160-0726               CHICAGO IL 60614



HARVEY R SHANKLIN                        HARVEY REMER                              HARVEY SADOWSKY
13 MORAY COURT                           111 KINGS HIGHWAY                         48-60 207TH ST
BALTIMORE MD 21236                       NORTH HAVEN CT 06473                      BAYSIDE NY 11364




HARVEY SAXER                             HARVEY SCHULMAN                           HARVEY V GUTTRY JR
5203 WESTWIND COURT                      3739 BLUE CYN DR                          1135 SCENIC WAY
SUGAR LAND TX 77479                      STUDIO CITY CA 91604                      LOS OSOS CA 93402




HARVEY, DEBRA J                          HARVEY, JAHLISA                           HARVEY, ROBERT
79 FOLSOM AVENUE                         4421 W MCNB RD APT 26                     7604 PINEWALK DR S
HUNTINGTON STATION NY 11746              POMPANO BEACH FL 33069                    MARGATE FL 33063




HARVEY, SARA                             HARVEY, STEPHEN J                         HARWINTON AGRICULATURAL SOCIETY INC
1211 N LASALLE UNIT 503                  384 MIRA MAR AVENUE                       C/O CHRISTINE TERLECKY
CHICAGO IL 60610                         LONG BEACH CA 90814                       SUPERINTENDENT OF CONCESSIONS
                                                                                   101 MANSFIELD RD
                                                                                   HARWINTON CT 06791


HARWINTON AGRICULATURAL SOCIETY INC      HARWOOD FEFFER LLP                        HARWOOD, WILLIAM S
C/O JUDITH AESCHILMANN                   SAMUEL K ROSEN                            7854 CR 109
22 HILLSIDE RD                           488 MADISON AVE                           LADY LAKE FL 32159
HARWINTON CT 06791                       NEW YORK NY 10022



HASAN BETANCOURT                         HASBRO INC                                HASELDEN, WILLIAM B
129 E. 51ST STREET                       1027 NEWPORT AVENUE                       411 S. OLD WOODWARD AVE
BROOKLYN NY 11203                        PO BOX 1059                               #825
                                         PAWTUCKET RI 02862-1059                   BIRMINGHAM MI 48009-6649



HASEN, RICHARD L                         HASHE, JANIS                              HASHEMI, NADER
LOYOLA LAW SCHOOL                        200 TALLEY RD                             UCLA INTERNATIONAL INSTITUTE
919 SOUTH ALBANY STREET                  CHATTANOOGA TN 37411                      11248 BUNCHE HALL
LOS ANGELES CA 90015-0019                                                          LOS ANGELES CA 90095




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HASHIM, SADIQ                        HASIUK, PAUL P                            HASKINS, SARAH C
321 54TH ST APT 1                    1 WILSON CT                               6860 LEXINGTON AVE
NEWPORT NEWS VA 23607                ENFIELD CT 06082                          LOS ANGELES CA 90038




HASLAM, KAREN L                      HASLER MAILING SYSTEMS SOLUTIONS          HASLER MAILING SYSTEMS SOLUTIONS
350 LIVE OAK BLVD                    19 FOREST PKWY                            PO BOX 353
SANFORD FL 32773                     SHELTON CT 06484-0903                     SHELTON CT 06484-0353




HASLER MAILING SYSTEMS SOLUTIONS     HASLER MAILING SYSTEMS SOLUTIONS          HASLER MAILING SYSTEMS SOLUTIONS
PO BOX 895                           1201 WILEY ROAD STE 150                   PO BOX 47
SHELTON CT 06484-0895                SCHAUMBURG IL 60173                       DEERFIELD IL 60015-0047




HASLER MAILING SYSTEMS SOLUTIONS     HASLER MAILING SYSTEMS SOLUTIONS          HASMIK MENECHYAN
PO BOX 802585                        111 WALL ST                               1050 ALLEN AVE
CHICAGO IL 60680-2585                NEW YORK NY 10043                         #4
                                                                               GLENDALE CA 91201



HASSABALLA, HESHAM                   HASSETT AIR EXPRESS                       HASSIOTIS, CHRISTOPHER
174 MICHIGAN CT                      877 S ROUTE 83                            95 A SPRINGDALE ST
BLOOMINGDALE IL 60108                ELMHURST IL 60126                         ATHENS GA 30605




HASSLER, KATHY E                     HASSLER, KIMBERLY                         HASTEN, BELINDA
35 S SPRUCE ST                       9047 AIRFIELD CT                          5802 N.W. 12 STREET APT B
TOPTON PA 19562                      KEMPTON PA 19529                          SUNRISE FL 33313




HASTINGS AIR ENERGY CONTROL INC      HASTINGS, LINDA                           HASTINGS, WAYNE H
5555 S WESTRIDGE DRIVE               6009 1/2 FALLS ROAD                       4097 NEWPORT S
NEW BERLIN WI 53151                  BALTIMORE MD 21209                        DEERFIELD BEACH FL 33442




HASTY, JOHN D                        HATCHER, SHANNON                          HATHAWAY JR, JOHN F
15 CHERRY LAUREL CT NO.101           3200 STONE ROAD                           1044 JODIE CT
WINTER SPRINGS FL 32708              ATLANTA GA 30331                          PENNSBURG PA 18073




HATHAWAY, DENNIS                     HATHAWAY, JESSICA                         HATHAWAY, WILLIAM K
1072 PALMS BOULEVARD                 1136 W TILGHMAN ST                        51 OUTLOOK AVENUE
VENICE CA 90291                      ALLENTOWN PA 18102                        WEST HARTFORD CT 06119




HATHEWAY, TEALE                      HATHOR, DELL T                            HATIC, DANA
1127 N HOOVER ST                     54 NEWTON ST                              8650 NW 56TH ST
LOS ANGELES CA 90029                 HARTFORD CT 06106-1123                    CORAL SPRINGS FL 33067




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HATTENBACH, LINDA                      HATTIE T SOUTHALL                         HAUBRICH,GREG
1236 LITTLE CROOK CIRC                 6 GREGSON CT                              2900 SONATA DRIVE
BREINIGSVILLE PA 18031                 HAMPTON VA 23666                          QUINCY IL 62301




HAUCK, CLAYTON                         HAUENSTEIN, JAMES B                       HAUGAARD, KAY
2935 W AUGUSTA BLVD                    30839 LOMA LINDA ROAD                     390 N SAN RAFAEL AVE
CHICAGO IL 60622                       TEMECULA CA 92592                         PASADENA CA 91105




HAUGABOOK, EDWARD                      HAUGE, MELISSA                            HAUGH, MICHAEL J.
360 OAKLAND ST  APT 12H                45 CLINTON PLACE                          346 HAMILTON AVE
MANCHESTER CT 06040                    WALLINGFORD CT 06492                      GLEN ROCK NJ 07452-2209




HAUGHT, CLEMIE R                       HAUGHTON, ANDRE                           HAUPL, AMY
3101 GEORGETOWN RD                     3470 NW 35TH CT                           8205 SANTA MONICA BLVD. NO.1 - 199
BALTIMORE MD 21230                     LAUDERDALE LAKES FL 33309                 WEST HOLLYWOOD CA 90046




HAUSER, BROOKE                         HAUSER, EMILY                             HAUSER, PATRICE S
457 11TH ST APT 3                      825 N LOMBARD                             5572 FREEPORT DRIVE
BROOKLYN NY 11215                      OAK PARK IL 60302                         TAVARES FL 32778




HAUSMAN & ASSOCIATES LTD               HAUSMAN, RODNEY                           HAUSMAN, RODNEY
516 N OGDEN AVE  NO.132                230 N 8TH ST                              236 N 8TH ST
CHICAGO IL 60622                       LEHIGHTON PA 18235                        LEHIGHTON PA 18235




HAUSSMAN, GLENN                        HAUSWALD, NANCY                           HAVELOCK NEWS
529 9TH STREET APT NO.1                89 STRATFORD DRIVE                        230 STONEBRIDGE SQUARE
BROOKLYN NY 11215-4249                 SEVERNA PARK MD 21146                     HAVELOCK NC 28532




HAVEY BLONDE                           HAVRE DE GRACE LITTLE LEAGUE              HAVRILESKY, HEATHER
9461 SUNRISE LAKES BLVD                PO BOX 122                                6163 BUENA VISTA TERRACE
APT 310                                HAVRE DE GRACE MD 21078                   LOS ANGELES CA 90042
SUNRISE FL 33322



HAWAII DEPT OF LAND &                  HAWAII STATE DEPT OF HEALTH               HAWAII WINTER BASEBALL INC
NATURAL RESOURCES                      ENVIRONMENTAL HEALTH DIVISION             1000 BISHOP ST  STE 904
KALANIMOKU BUILDING                    1250 PUNCHBOWL STREET                     HONOLULU HI 96813
1151 PUNCHBOWL ST.                     HONOLULU HI 96813
HONOLULU HI 96813


HAWK, STEVE                            HAWKEYE INFORMATION SYSTEMS INC.          HAWKINS DELAFIELD & WOOD
PO BOX 153                             PO BOX 2167                               1 CHASE MANHATTAN PLAZA
EL GRANADA CA 94018                    FORT COLLINS CO 80522                     NEW YORK NY 10005




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HAWKINS DELAFIELD & WOOD                HAWKINS ELECTRIC COMPANY INC              HAWKINS, BONNIE
67 WALL ST                              5400 BERWYN RD                            2200 S. GRACE NO.601
NEW YORK NY 10005                       COLLEGE PARK MD 20740                     LOMBARD IL 60148




HAWKINS, CHAUNTALAYNE                   HAWKINS, COURTNEY                         HAWKINS, EURAINA
9623 S WENTWORTH                        5349 S DAMEN     2ND FLR                  109 W 140TH CT
CHICAGO IL 60628                        CHICAGO IL 60609                          RIVERDALE IL 60827




HAWKINS, GLENDEREE                      HAWKINS, GWENDOLYN                        HAWKINS, LAMONT
PO BOX 773                              9623 S WENTWORTH                          64 IRELAND ST
MIDLOTHIAN IL 60445                     CHICAGO IL 60628                          HAMPTON VA 23663




HAWKINS, LATROY                         HAWKINS, LUKE                             HAWKINS, PENNY
9802 HONEYSUCKLE DR                     2807 LAKE TERRANCE DR                     29 CARPENTER ROAD
FRISCO TX 75035                         WYLIE TX 75098                            MANCHESTER CT 06040-2216




HAWKINS, PETER                          HAWKINS, SCOTT                            HAWKINS, TAMMY
524 NW 38TH TERRACE                     11 MOUNTAIN ST                            3618 LOFWOOD DR
DEERFIELD BEACH FL 33442                HAYDENVILLE MA 01039                      AUGUSTA GA 30906




HAWKINS, WILLIAM                        HAWKPOINT PRODUCTIONS                     HAWKS, BETTY MICHELLE
1 EMILY COURT                           63 RINEER DR                              5825 TYLER STREET NO.A
BOLINGBROOK IL 60490                    QUARRYVILLE PA 17566                      HOLLYWOOD FL 33021




HAWLEY, DAVID                           HAWTHORN LP                               HAWTHORN LP
970 CHOATE AVE                          C/O WESTFIELD CORP INC                    BANK OF AMERICA
HAMDEN CT 06518-1734                    11601 WILSHIRE BLVD STE 1200              LOCKBOX 96184
                                        LOS ANGELES CA 90025                      PO BOX 96184
                                                                                  CHICAGO IL 60693


HAWTHORN LP                             HAWTHORN LP                               HAWTHORN, STEVEN
C/O WESTFIELD CORP INC                  PO BOX 96184                              7435 WOODMONT TER APT 104
122 HAWTHORN CENTER                     CHICAGO IL 60693                          TAMARAC FL 33321
VERNON HILLS IL 60061



HAWTHORNE DIRECT INCORPORATED           HAWTHORNE, FRAN                           HAY, DAVID
300 N 16TH ST                           443 FIFTH STREET                          45 FIFTH AVE NO.2B
FAIRFIELD IA 52556                      BROOKLYN NY 11215                         NEW YORK NY 10003




HAYATT R RANDIS                         HAYDEE ROUTLEDGE                          HAYDEN CORPORATION
810 S 9TH STREET                        27 HAVEMEYER PLACE                        P O BOX 59
ALHAMBRA CA 91801                       APT. C-6                                  WEST SPRINGFIELD MA 01090-0059
                                        GREENWICH CT 06830




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HAYDEN LOVELAND                         HAYDEN, DIANE W                               HAYDEN, LARRY
164 FERRY ROAD                          17 DOMINQUE LN                                84 ASH ST APT 4
OLD SAYBROOK CT 06475-1409              SIMSBURY CT 06070                             WILLIMANTIC CT 06226




HAYDEN, THOMAS                          HAYDOCK, APRIL ROSE                           HAYDOCK-DAVIS, JOSHUA
3126 21ST STREET                        4717 N LINCOLN APT 2                          6515 NORTHWIND DR
SAN FRANCISCO CA 94110                  CHICAGO IL 60625                              COLORADO SPRINGS CO 80918




HAYDT, RYAN M                           HAYE, CHELLEANN V                             HAYE, VIN BOWEN
1920 HILLTOWN PIKE APT 6                1400 NE 54TH ST APT NO. 104                   1830 SW 65TH AVE
HILLTOWN PA 18927                       FT LAUDERDALE FL 33334                        MARGATE FL 33068




HAYES JR, DANA C.                       HAYES JR, KENNETH                             HAYES, AILISA D
520 ASH STREET                          201 LOCH HAVEN DR                             9000 BRISTOL PARK DR NO.203
WINNETKA IL 60093                       NEWPORT NEWS VA 23602                         BARTLETT TN 38133




HAYES, CHRISTOPHER                      HAYES, COLIN                                  HAYES, CYNTHIA
5009 THE ALAMEDA                        11908 31ST DR SE                              2548 WILLENHALL WAY
BALTIMORE MD 21239                      EVERETT WA 98208                              LITHONIA GA 30058




HAYES, CYNTHIA                          HAYES, DONNA                                  HAYES, EDWARD F.
2548 WILLENHALL WAY                     9805 NW 37TH ST                               3304 CLEMWOOD DRIVE
LITONIA GA 30058                        SUNRISE FL 33351                              ORLANDO FL 32803




HAYES, JOHN M                           HAYES, JOSEPH                                 HAYES, KENNETH W
9307 OLD SCAGGSVILLE RD                 725 YATES                                     22 LENORE DR
LAUREL MD 20723                         ORLANDO FL 32804                              NEWPORT NEWS VA 23601




HAYES, KING T                           HAYES, LINZY                                  HAYES, MARCUS
22 SPRUCE LA                            2103 NW 47 STREET                             5700 FENWICK AVE
SOUTH WINDSOR CT 06074                  MIAMI FL 33142                                BALTIMORE MD 21239




HAYES, MICHAEL                          HAYES, MICHAEL                                HAYES, ROBERT
1911 NE 18TH CT APT 224                 167 N LAVERGNE APT 2                          117 BANNEKER DR
FORT LAUDERDALE FL 33304                CHICAGO IL 60644                              WILLIAMSBURG VA 23185




HAYES, SHAWNETTA                        HAYES-BAUTISTA, DAVID                         HAYES-JONES, TIFFANY ANN
1656 W JUNEWAY BSMT                     10459 COLINA WAY                              2252 S 22ND AVE
CHICAGO IL 60626                        LOS ANGELES CA 90077                          BROADVIEW IL 60155




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HAYLEY MURPHY PHOTOGRAPHY             HAYLEY WICK                                   HAYMOND CRAWFORD, TRACI DALE
334 4TH AVE                           3550 N. LAKE SHORE DR.                        45 BUNTING LN
VENICE CA 90291                       APT. #811                                     POQUOSON VA 23662
                                      CHICAGO IL 60657



HAYNES, DEREL                         HAYNES, LOLITA                                HAYNES, ORLANDO
786 WILLOW CREEK DRIVE                3420 NW 2ND ST                                429 LOCK RD #44
ATLANTA GA 30328                      FT. LAUDERDALE FL 33311                       DEERFIELD BEACH FL 33064




HAYNES, PATRICK                       HAYNES, REGINALD                              HAYNES, STEPHEN
712 SEDGEFIELD DR                     183 WEST ST                                   3850 SEDGWICK AVE APT 9D
NEWPORT NEWS VA 23605                 BRISTOL CT 06010                              BRONX NY 10463




HAYSPELL, LARRY                       HAYWARD                                       HAYWARD INC
903 MAIN ST                           9556 RIVER STREET                             9556 RIVER STREET
BETHLEHEM PA 18018                    SCHILLER PARK IL 60176                        SCHILLER PARK IL 60176




HAYWARD, VERONICA                     HAYWOOD, CALVIN                               HAYWORTH, JUSTIN
559 WHITEPOINT AVE                    181 LOOMIS DRIVE APT 153                      700 E TIFFIN AVE
MEMPHIS TN 38109                      WEST HARTFORD CT 06107                        DES MOINES IA 50316




HAZEL CARR                            HAZEL M MOFFITT                               HAZLETON NEWS AGENCY
139 CHURN RD.                         51 WELLESLEY DRIVE                            500 E MINE ST
MATTESON IL 60443                     APT. #312                                     HAZLETON PA 18201
                                      NEWPORT NEWS VA 23606



HAZLETT, THOMAS W                     HAZLEY, GREG                                  HB COMMUNICATIONS, INC
12715 SPLIT CREEK CT                  222 SANDCASTLE KEY                            HB GROUP INC
NORTH POTOMAC MD 20878                SECAUCUS NJ 07094                             60 DODGE AVE PO BOX 717
                                                                                    N HAVEN CT 06473-0717



HBA MANAGEMENT CONSULTING GROUP INC   HCC GLOBAL FINANCIAL PRODUCTS                 HCC GLOBAL FINANCIAL PRODUCTS
1761 S STREET NW STE LL-6             US SPECIALTY INSURANCE COMPANY                ATTN CLAIMS MANAGER
WASHINGTON DC 20009                   8 FOREST PARK DRIVE                           PO BOX 4018
                                      PO BOX 4018                                   FARMINGTON CT 06034
                                      FARMINGTON CT 06034


HCC GLOBAL FINANCIAL PRODUCTS         HCC SPECIALTY UNDERWRITERS INC                HD MERRIMACK
PO BOX 4018                           401 EDGEWATER PL STE 400                      60 ISLAND ST  4TH FLR
FARMINGTON CT 06034                   WAKEFIELD MA 01880                            LAWRENCE MA 01840




HD MERRIMACK                          HD NEWS LLC                                   HD SUPPLY INC
60 ISLAND ST  4TH FLR                 1050 WOODHOLLOW DR APT 3                      501 W CHURCH ST
LAWRENCE MA 01845                     SCHERERVILLE IN 46375                         ORLANDO FL 32805




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HDO PRODUCTIONS LP                     HEACOCK, RICHARD                              HEADLINE PROMOTIONS INC
237 MELVIN DRIVE                       109 GRAVEL PIKE  APT E1                       2780 BRISTOL PIKE STE 1
NORTHBROOK IL 60062                    GREEN LANE PA 18054                           BENSALEM PA 19020




HEADWAY CORPORATE ST                   HEAL COTSIFAS FOTO INC                        HEALEY, WILLIAM DOUGLAS
ATTN ACCOUNTS RECEIVABLE               601 W 26TH ST RM 1801-B                       1 HERON LAKE LN
PO BOX 785381                          NEW YORK NY 10001                             WESTPORT CT 06880
PHILADELPHIA PA 19178-5381



HEALTH QUEST MEDIA INC                 HEALTHOLOGY INC                               HEALTHONE CLINIC SERVICES LLC
2836 ROSCOMARE ROAD                    ATTN REGINALD JONES                           3900 E MEXICO NO.200
LOS ANGELES CA 90077                   500 SEVENTH AVE 14TH FLR                      DENVER CO 80210
                                       NEW YORK NY 10018



HEALTHONE CLINIC SERVICES LLC          HEALTHONE CLINIC SERVICES LLC                 HEALY, GREG
OCCUPATIONAL HEALTH                    PO BOX 198957                                 2919 N. SOUTHPORT AVE
DEPARTMENT 298                         ATLANTA GA 30384-8957                         #3
DENVER CO 80291-0298                                                                 CHICAGO IL 60657



HEALY, JACK                            HEALY, JANE                                   HEALY, JANE E
3637 SPUR LN                           813 GREENWOOD ST                              813 GREENWOOD ST.
SEAFORD NY 11783                       ORLANDO FL 32801                              ORLANDO FL 32801




HEANEY, MAUREEN                        HEARD JR, WILLIAM H                           HEARD ROBBINS CLOUD & LUBEL LLP
4 ELTON DRIVE                          1424 WEST 2ND ST                              L. JETH JONES, II
EAST NORTHPORT NY 11731                SAN PEDRO CA 90732                            3800 BUFALLO SPEEDWAY
                                                                                     5TH FL
                                                                                     HOUSTON TX 77098


HEARD, ANTOINETTE                      HEARD, ELANA G                                HEARD, ELANA G
370 OLD MILL ROAD APT NO.603           215 MAIN ST APT 117                           PO BOX 632
CARTERSVILLE GA 30120                  NIANTIC CT 06357                              NIANTIC CT 06357




HEARD, STACEY                          HEARING SPEECH AND DEAFNESS CTR               HEARING SPEECH AND DEAFNESS CTR
1780 FIRST AVE NO.5C                   1620 EIGHTEENTH AV                            1625 19TH AVE
NEW YORK NY 10128                      SEATTLE WA 98122-2798                         SEATTLE WA 98122




HEARN, EDWARD T                        HEARON, RACHEL A                              HEARST ENTERTAINMENT
2839 27TH ST NW APT 20                 7259 S GREEN ST                               235 EAST 45TH ST
WASHINGTON DC 20008                    CHICAGO IL 60621                              3RD FLOOR
                                                                                     NEW YORK NY 10017



HEARST ENTERTAINMENT                   HEARST ENTERTAINMENT INC                      HEARST ENTERTAINMENT INC
C/O TRIBUNE ENTERTAINMENT              KING FEATURES SYNDICATE                       214 NORTH TRYON ST
220 EAST 42ND ST                       PO BOX 409189                                 CHARLOTTE NC 28202
SUITE 400                              ATLANTA GA 30384-9189
NEW YORK NY 10017




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HEARST NEWSPAPERS PARTNERSHIP, LP        HEARST NEWSPAPERS PARTNERSHIP, LP             HEART OF AMERICA FOUNDATION
PO BOX 2171                              PO BOX 2925                                   401 F ST NW   STE 325
SAN ANTONIO TX 78297-2171                SAN ANTONIO TX 78299-2925                     WASHINGTON DC 20001




HEART OF FLORIDA UNITED WAY INC          HEART OF FLORIDA UNITED WAY INC               HEART OF FLORIDA UNITED WAY INC
1940 TRAYLOR BLVD                        1940 TRAYLOR BLVD                             PO BOX 140636
ORLANDO FL 32804                         ORLANDO UNITED WAY                            ORLANDO FL 32814-0636
                                         ORLANDO FL 32804-4714



HEART OF FLORIDA UNITED WAY INC          HEART OF FLORIDA UNITED WAY INC               HEART USA INC
PO BOX 620000                            UNITED WAY                                    611 BROADWAY STE 607
ORLANDO FL 32891-8385                    1900 N MILLS AVE SUITE 8                      NEW YORK NY 10012
                                         .
                                         ORLANDO FL 32803


HEARTLAND VIDEO SYSTEMS INC              HEARTLAND VIDEO SYSTEMS INC                   HEATH, EVANGELINE
1311 PILGRIM ROAD                        1446 PILGRIM ROAD                             1301 OAK STREET APT D
PLYMOUTH WI 53073                        PLYMOUTH WI 53083                             LOS ANGELES CA 90405




HEATH, JAMES                             HEATH, NATHANIEL M                            HEATH, STEVE
4 N GREENFIELD AVE                       12 CHICKOPEE RD                               41 GODAR TER
HAMPTON VA 23666                         MIDDLEFIELD CT 06455-1087                     EAST HARTFORD CT 06118-1926




HEATHER BIGGINS                          HEATHER BONN                                  HEATHER BOYCE
1138 HACIENDA PLACE                      12154 SPRING TRAIL                            24 NAPOLI DRIVE
APT#105                                  KEGEL CANYON CA 91342                         WHEATLEY HEIGHTS NY 11798
WEST HOLLYWOOD CA 90069



HEATHER CARTER                           HEATHER CASALE                                HEATHER COFFRINI
2021-NE 90TH ST.                         920 9TH STREET                                P.O. BOX 11064
#A-204                                   WEST BABYLON NY 11704                         HAUPPAUGE NY 11788
SEATTLE WA 98115



HEATHER COOPER                           HEATHER DROPKIN                               HEATHER FLOORE
304 FAIRWAY VILLAGE                      27 QUEBEC ROAD                                8824 SADDLEHORN DRIVE
LEEDS MA 01053                           ISLAND PARK NY 11558                          APT # 163
                                                                                       IRVING TX 75063



HEATHER FORD                             HEATHER GERBER                                HEATHER HAINES-BLUME
9120 JUDICIAL DRIVE #7122                1260 LAUREL OAK LANE                          3612 PACIFIC AVENUE
SAN DIEGO CA 92122                       YORK PA 17403                                 MANHATTAN BEACH CA 90266




HEATHER HARE                             HEATHER HEINTZELMAN                           HEATHER HISLOP
31 CONSTELLATION ROAD                    426 EAST MAHANOY AVENUE                       1437 SPRINGSIDE DR
LEVITTOWN NY 11756                       MAHANOY CITY PA 17948                         WESTON FL 33326




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HEATHER JOHNSON                         HEATHER LANGENBERG                            HEATHER LARUSSO
3807 MOXLEY RD                          1211 MAPLE LEAF COURT                         21 MARY LU DRIVE
HAVRE DE GRACE MD 21078                 HUNT VALLEY MD 21030                          HOLTSVILLE NY 11742




HEATHER LEHRMAN                         HEATHER MACDONALD                             HEATHER MACWILLIAMS
5 CELESTIAL LANE                        4424 N. LAMON AVENUE                          5704 EAST FALLCREEK PARKWAY N DRIVE
LEVITTOWN NY 11756                      APT. #1                                       INDIANAPOLIS IN 46226
                                        CHICAGO IL 60630



HEATHER MCCALLA                         HEATHER MCFALL                                HEATHER MCNAMARA
1640 NE 5TH COURT                       2037 NE 29TH STREET                           13 LACEY ROAD
APT 2                                   FORT LAUDERDALE FL 33306                      SOUTHINGTON CT 06489
FORT LAUDERDALE FL 33304



HEATHER MCNEILL                         HEATHER MCPHERSON                             HEATHER MOSS
1375 STONELEIGH COURT                   1098 LUCERNE DRIVE                            4856 NORTH STATE ROAD 7
BALTIMORE MD 21226                      MOUNT DORA FL 32757                           UNIT 206
                                                                                      COCONUT CREEK FL 33073



HEATHER MUHA-SCHLOTMAN                  HEATHER MULLER                                HEATHER NAYLOR
4861 LAKESHORE PLACE                    7034 MACBETH WAY                              365 LARKIN DRIVE
#2735                                   SYKESVILLE MD 21784                           RED LION PA 17356
INDIANAPOLIS IN 46250



HEATHER NORWOOD                         HEATHER OSBURN                                HEATHER OSTERMAIER
28 WHITETAIL LANE                       4014 PELICAN LANE                             34 SAYBROOKE COURT
WALLINGFORD CT 06192                    ORLANDO FL 32803                              NEWPORT NEWS VA 23606




HEATHER PAGLIARA                        HEATHER PRIDDY                                HEATHER RAISOR
611 NORTH SUMMERLIN AVE.                241 KIRBYS LANDING                            2824 S. SHINE AVE.
#1                                      ODENTON MD 21113                              ORLANDO FL 32806
ORLANDO FL 32803



HEATHER REINWALD                        HEATHER RICHARDSON                            HEATHER ROBERTSON
3055 THOMPSON ROAD                      10338 LAUNCELOT LANE                          2661 WAVERLY DR
DESOTO MO 63020                         COLUMBIA MD 21044                             LOS ANGELES CA 90039




HEATHER RODRIGUEZ                       HEATHER RUSSELL                               HEATHER SCHNEIDER
2662 TAPO ST. UNIT A                    9910 HOYT CIRCLE                              141 SUNKEN MEADOW RD
SIMI VALLEY CA 93063                    RANDALLSTOWN MD 21133                         FORT SALONGA NY 11768




HEATHER SHAFFER                         HEATHER SMITH                                 HEATHER STONE
2628 N. PAULINA STREET                  4200 FREMONT AVENUE NORTH                     6051 N. MOZART STREET
CHICAGO IL 60614                        APT #2                                        NO. 4
                                        SEATTLE WA 98103                              CHICAGO IL 60659




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HEATHER SULLIVAN                       HEATHER TIMMERMAN                             HEATHER TINNERSTET
29 FULTON STREET                       88 W. SCHILLER                                7303 3RD AVENUE NW
GLENS FALLS NY 12801                   APT. # 1605                                   SEATTLE WA 98117
                                       CHICAGO IL 60610



HEATHER WALKER                         HEATHER WINKEL                                HEATON, MICHAEL T
2036 POMPEII COURT                     3746 WOLF TRAIL DRIVE                         3964 RIVERMARK PLAZA    NO.319
WESTON FL 33327                        ABINGDON MD 21009                             SANTA CLARA CA 95054




HEBNER, RICHIE                         HECHAVARRIA, YANISSETH                        HECHTMAN, BARRY I.
6 TETREAULT                            7745 HARBOR BEND CIRCLE                       8100 SW 81ST DRIVE NO.210
WALPOLE MA 02081                       ORLANDO FL 32822                              MIAMI FL 33143-6603




HECKMAN, DONALD J                      HECKMAN, JENNIFER                             HECTOR BARRAZA
PO BOX 5023                            6 COUNTRY VIEW LN                             824 S SERENADE AVENUE
WOODLAND HILLS CA 91365                KUNKLETOWN PA 18058                           WEST COVINA CA 91790




HECTOR BATISTA                         HECTOR BECERRA                                HECTOR BETANCOURT
333 EAST 23RD STREET                   2721 MEEKER AVENUE                            3442 S. LOMBARD AVE.
8KK                                    EL MONTE CA 91732                             BERWYN IL 60402
NEW YORK NY 10010



HECTOR CABRAL                          HECTOR CASAS                                  HECTOR CORTEZ
747 N SUNSET AVENUE                    1639 E. HOLLY OAK DRIVE                       14801 PACIFIC AVENUE
PASADENA CA 91103                      WEST COVINA CA 91791                          APT. #32
                                                                                     BALDWIN PARK CA 91706



HECTOR GARCIA                          HECTOR MALDONADO                              HECTOR PLATERO
953 ANDERSON AVENUE                    923 HAMILTON MALL                             16 DIAZ STREET
APT 2E                                 #302                                          STAMFORD CT 06902
NEW YORK NY 10452                      ALLENTOWN PA 18101



HECTOR TOBAR                           HECTOR V ROMERO                               HECTOR, JANET L
202 WEST FIRST STREET                  1258 WINDOVER WAY                             12490 REFUGEE RD. SW
FOREIGN DESK                           MONTEREY PARK CA 91754                        PATASKALA OH 43062
LOS ANGELES CA 90012



HEDBLADE, JOCK                         HEDELUND, MARGI                               HEDERER, KATINKA
4847 N TRIPP AVE                       4300 NE 16TH AVE                              621 BONHILL ROAD
CHICAGO IL 60630                       POMPANO BEACH FL 33064                        LOS ANGELES CA 90049




HEDGES, CHRISTOPHER L                  HEDGES, STEPHEN J                             HEDRICH BLESSING
171 JEFFERSON ROAD                     5909 32ND ST NW                               400 N PEORIA ST
PRINCETON NJ 08540                     WASHINGTON DC 20015                           CHICAGO IL 60622




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HEE LEE                                  HEEGER, SUSAN                                 HEEREN, DAVID S
45 STEPPING STONE                        6415 MOORE DRIVE                              314 DUPONT CIRCLE
IRVINE CA 92603                          LOS ANGELES CA 90048                          HOWEY IN THE HILLS FL 34737




HEFFELFINGER,WILLIAM                     HEFFERMAN, TODD                               HEFFERNAN SR, THOMAS M
PO BOX 64                                710 N ILLINOIS AVE                            17 DUNWOODIE ROAD
NESQUEHONING PA 18240-0064               PO BOX 2108                                   GLENMONT NY 12077
                                         CARBONDALE IL 62902



HEFFERNAN, JOSEPH                        HEFFERNAN, JOSH                               HEFFERNAN, MARLO
26 HOLLY CIR                             374 N AVE 57 APT NO.8                         4144 ALLISON RD
WINDSOR CT 06095                         LOS ANGELES CA 90042                          MARTINEZ GA 30907




HEFFLEY, LYNNE O                         HEFFNER, MAURA                                HEFLIN REPS INC
PO BOX 3546                              155 KENYON STREET                             455 W 23RD ST NO.8-D
SOUTH PASADENA CA 91030                  HARTFORD CT 06105                             NEW YORK NY 10011




HEFLINREPS INC                           HEFT, TIMOTHY                                 HEGEDUS, MATTHEW
10 LINDEN TERRACE                        PO BOX 1066                                   71 EATONDALE RD
LEONIA NJ 07605                          BETHLEHEM PA 18016                            BLUE POINT NY 11715




HEHAKAJA, JOHANNES                       HEIDELBERG USA INC                            HEIDELBERG USA INC
311 NW 53 ST                             1000 GUTENBERG DR                             121 BROADWAY
FT LAUDERDALE FL 33309                   PO BOX 100003                                 DOVER NH 03802
                                         KENNESAW GA 30144-9203



HEIDELBERG USA INC                       HEIDELBERG USA INC                            HEIDI BOCK
ATTN: VINCENT RAMPULLA                   PO BOX 845180                                 968 KINGS HIGHWAY
21 COMMERCE DR                           DALLAS TX 75284                               THOROFARE NJ 08086
CRANBURY NJ 08512



HEIDI C BRADY                            HEIDI FISCHER                                 HEIDI LIEB
2248 HAMILTON STREET                     480 NORTH MCCLURG COURT                       1065 97TH ST #4A
CEDAR BEACH APT. 302                     APT# 904                                      BAY HARBOR FL 33154
ALLENTOWN PA 18104                       CHICAGO IL 60611



HEIDI LINNEBACH                          HEIDI PURSLEY                                 HEIDI RIES
512 3/4 N. SPAULDING AVE.                14332 SEQUOIA ROAD                            P.O. BOX 221
LOS ANGELES CA 90036                     SANTA CLARITA CA 91387                        HUNTINGTON NY 11743




HEIDI SCHROEDER                          HEIDI STEVENS                                 HEIDI VOLPE
7436 BRANDENBURG CIRCLE                  1519 S. PEORIA ST.                            21135 COLINA ROAD
SYKESVILLE MD 21784-6682                 CHICAGO IL 60608                              TOPANGA CA 90290




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HEIDI WITT                            HEIFETZ, SARAH                                HEIKKILA, MICHAEL J
7320 KEEN WAY NORTH                   2168 BEACHWOOD TERRACE                        101 S SILVER CLUSTER CT
SEATTLE WA 98103                      HOLLYWOOD CA 90068                            LONGWOOD FL 32750




HEIL-BRICE RETAIL ADV                 HEIL-BRICE RETAIL ADV                         HEILA AMMOUN
4 CORPORATE PLAZA                     9840 IRVINE CENTER DR                         278 OAK PARK PLACE
STE 100                               IRVINE CA 92618                               CASSELBERRY FL 32707
NEWPORT BEACH CA 92660



HEILBRUNN, JACOB                      HEILER, PAUL G                                HEILIG, JOHN
2821 ORDWAY ST NW                     453 W LINDEN ST                               980 MACUNGIE AV
WASHINGTON DC 20008                   ALLENTOWN PA 18102                            EMMAUS PA 18049




HEIMBACH, JULIE B                     HEIMSAL, HEIDI                                HEIMSOTH, EMILY
2019 HARRISON AVE                     6 BREEZE TREE COURT APT K                     3224 PINE BLUFFS DR
ORLANDO FL 32804                      TIMONIUM MD 21093                             ELLICOTT CITY MD 21042




HEIN, CATHERINE                       HEIN, THERESA                                 HEINATZ, RUDY
333 W 8TH ST                          213 S 11TH ST                                 7391 ENGLAND ROAD
SAN PEDRO CA 90731                    QUAKERTOWN PA 18951                           GLOUCESTER POINT VA 23062




HEINE, JENNIFER                       HEINEMANN JR, ROLF                            HEINER RODAS
5758 BEL AIR DR                       8048 STIRRUP CAY CT.                          808 LINCOLD AVE.
COOPERSBURG PA 18036                  BOYNTON BEACH FL 33436                        PASADENA CA 91103




HEINZ, THOMAS P                       HEISER, GEORGE HENRY                          HEISLER, BENJAMIN
116 S VINE                            11624 ROYAL PALM BLVD                         716 GREENWOOD AVE
HINSDALE IL 60521                     CORAL SPRINGS FL 33065                        GLENCOE IL 60022




HEISLER, STEPHANIE                    HEISLER, STEPHANIE N                          HEIST,EDWARD J
18 WILBER AVE                         18 WILBAR AVENUE                              1640 CHEPPENDALE CIR.
MILFORD CT 06460                      MILFORD CT 06460                              BETHLEHEM PA 18017




HEIT, JENNIFER                        HEITZ, CARMEN D                               HEJJA, GREGORY
7852 NW 11TH PLACE                    1117 THICKET LANE                             2500 N ECON LOCKHATCHEE TRL
PLANTATION FL 33322                   MUNSTER IN 46321                              ORLANDO FL 32817




HELBING, ROBERT                       HELEN ANDERSON                                HELEN BORDASH
21820 KING JOHN ST                    5 MEANDER LANE                                4635 16TH STREET PLACE NE
LEESBURG FL 34748                     LEVITTOWN NY 11756                            HICKORY NC 28601




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HELEN BROWN                           HELEN BURT                                    HELEN C CALLENDER
3728 KEENAN                           3746 WEST 81ST STREET                         624 MORNING GLORY DR
GLENVIEW IL 60025                     CHICAGO IL 60652                              HANOVER PA 17331




HELEN CAHILL                          HELEN CHANG                                   HELEN DAVIS
5216 W PATTERSON                      23320 SESAME STREET                           507 N. FREMONT AVE.
CHICAGO IL 60641                      UNIT E                                        BALTIMORE MD 21201
                                      TORRANCE CA 90502



HELEN DE BAERE                        HELEN DECAIRE                                 HELEN DEEGAN
402 W. PARK BLVD.                     212 ALTAMONT AVE.                             1622 N NEW STREET
HADDONFIELD NJ 08033                  CATONSVILLE MD 21228                          BETHLEHEM PA 18018




HELEN ECKINGER                        HELEN EISENBERG                               HELEN FASBACH
421 E. CENTRAL BLVD                   48581/2 N HERMITAGE AVE.                      142A EAST BOURNE COURT
#1210                                 APT #1D                                       RIDGE NY 11961
ORLANDO FL 32801                      CHICAGO IL 60640



HELEN FIELDS                          HELEN GAIL DEMBSKI                            HELEN HAYNIE
PITTSBORO CHRISTIAN VILL INC          5620 ROCK CREEK ROAD                          214 WESTPORT BAY DRIVE
1825 EAST STREET                      AGOURA HILLS CA 91301                         APT 203
PITTSBORO NC 27312                                                                  GLEN BURNIE MD 21061



HELEN HOFFMANN                        HELEN JONES                                   HELEN JUNG
5450 W LELAND                         4407 LAWRENCE AVENUE                          21W230 BRIARCLIFF ROAD
CHICAGO IL 60630                      BALTIMORE MD 21211                            LOMBARD IL 60148




HELEN KELLEHER                        HELEN KINNEY                                  HELEN LIN
520 NE 20 STREET                      6331 PINE RIDGE COURT APT 3D                  2149 E. ALASKA ST.
APT 110                               TINLEY PARK IL 60477                          WEST COVINA CA 91791
WILTON MANORS FL 33305



HELEN NEAFSEY                         HELEN NGUYEN                                  HELEN PAVUK
573 REDDING ROAD                      4816 99TH PLACE SW                            1700 RICH WAY
WEST REDDING CT 06896                 MUKILTEO WA 98275                             #2D
                                                                                    FOREST HILL MD 21050



HELEN PERRY                           HELEN PIERCE                                  HELEN PROROK
85 WEST STREET                        501 YORK WARWICK DR                           4851 N. KILPATRICK
APT. 5                                YORKTOWN VA 23692                             CHICAGO IL 60630
STAFFORD CT 06076



HELEN R STRZALKA                      HELEN ROMAN                                   HELEN ROSECRANS
7632 W BERWYN AV                      9314 N. MENARD AVENUE                         1303 COBLE AVENUE
CHICAGO IL 60656                      MORTON GROVE IL 60053                         HACIENDA HEIGHTS CA 91745




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HELEN SAEGER                           HELEN STICKLE                                 HELEN STRAND
828 ALLEN ST                           13801 YORK ROAD                               30652-B SHADE TREE LANE
ALLENTOWN PA 18102                     APT # F5                                      SAN JUAN CAPIST CA 92675
                                       COCKEYSVILLE MD 21030



HELEN UBINAS                           HELEN WANG                                    HELENA INDEPENDENT RECORD
816 OLD EAGLEVILLE ROAD                721 SOUTH GARFIELD AVE                        PO BOX 4249
COVENTRY CT 06238                      APT. H                                        HELENA MT 59604
                                       MONTEREY PARK CA 91754



HELENA LYSON                           HELENA RUITER                                 HELENA WISE
12910 VIDORRA CIRCLE DRIVE             51 SMITH STREET                               1324 N. STOCKTON ST.
SAN ANTONIO TX 78216                   NESCONSET NY 11767                            BALTIMORE MD 21217




HELENE ELLIOTT                         HELENE GOLDSEN                                HELENE L REARDON
7882 SEAWALL CIRCLE                    4721 CAHUENGA BLVD                            1464 BLISWORTH COURT
HUNTINGTON BEACH CA 92648              TOLUCA LAKE CA 91602                          LAS VEGAS NV 89102




HELENE ROBBINS                         HELENE SPERBER                                HELENE VAN SICKLE
9537 WELDON CIRCLE                     1165 AVALON SQUARE                            639 DOWNING RD.
APT 104                                GLEN COVE NY 11542                            LIBERTYVILLE IL 60048
TAMARAC FL 33321



HELENIUS, PETER                        HELFGOT, MICHAEL                              HELGE HENDRICKSON
280 CEDAR RD WEST                      260 WILLOW PKWY                               26194 CHESTERFIELD ROAD
MASTIC BEACH NY 11951                  BUFFALO GROVE IL 60089                        PORT CHARLOTTE FL 33983




HELICOPTERS INC                        HELIN, JAMES D.                               HELINET AVIATION SERVICES LLC
5000 OMEGA DR                          12156 LA CASA LANE                            16644 ROSCOE BLVD
CAHOKIA IL 62206                       LOS ANGELES CA 90049                          VAN NUYS CA 91406




HELINET AVIATION SERVICES LLC          HELIODORO REZA                                HELIUM FOOT SOFTWARE
PO BOX 100702                          5911 REDBROOK ROAD                            4417 N MAGNOLIA NO.3
PASADENA CA 91189-0702                 SAN DIEGO CA 92117                            CHICAGO IL 60640




HELLANDBRAND, BRITTANY T               HELLER SYNDICATION                            HELLER, ANDREW M
1970 MAIN ST                           PO BOX 285                                    2587 BRUNSWICK CIR
E HARTFORD CT 06108                    GREEN BAY WI 54305                            WOODRIDGE IL 60517




HELLER, JOE                            HELLER, JOE                                   HELLER, MARK
HELLER SYNDICATION                     PO BOX 285                                    10 PALACRO
PO BOX 285                             GREEN BAY WI 54305                            RANCHO SANTA MAGARITA CA 92688
GREEN BAY WI 54305




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HELLER, MICHAEL                       HELLER, PETER                                 HELLER, STEVEN
63 GARDINERS LANE                     2002 OSCEOLA ST                               7 WEST 16TH STREET
EAST HAMPTON NY 11937                 DENVER CO 80212                               NEW YORK NY 10011




HELLER, WILLIAM H                     HELLMAN, DANNY                                HELLMAN, ELIZABETH F
4120 NW 88 AVE NO.206                 PO BOX 901                                    272 SUMMERFIELD RD
CORAL SPRINGS FL 33065                OLD CHELSEA STATION                           NORTHBROOK IL 60062
                                      NEW YORK NY 10113-0901



HELLMANN, CATHERINE M                 HELLMANN, MARY D                              HELLMANN,TOM
1096 34TH ST                          3825 N LAKEWOOD AV NO.1                       3825 N LAKEWOOD AVE
ALLEGAN MI 49010                      CHICAGO IL 60613                              CHICAGO IL 60613




HELLMUTH, ANN B                       HELLOMETRO INC                                HELLOMETRO INC
10674 WOODCHASE CIRCLE                131 E COURT AVENUE SUITE 300                  455 SOUTH 4TH STREET SUITE 310
ORLANDO FL 32836                      JEFFERSONVILLE IN 47130                       LOUISVILLE KY 40202




HELM, JANET                           HELMUT KRACKE                                 HELSONS GARAGE DOOR STORE
1142 W GEORGE ST                      7131 FAIRWAY BEND LANE                        5737 S HARLEM
CHICAGO IL 60657                      SARASOTA FL 34243                             CHICAGO IL 60638




HELTSLEY, MARK                        HELTZEL, ELLEN E                              HELVARG, DAVID
10 ONTARE ROAD                        3705 SW DOSCH CT                              301 COMMODORE DRIVE
ARCADIA CA 91006                      PORTLAND OR 97221                             RICHMOND CA 94804




HELYN OREM                            HEMBY, WILLIAM                                HEMENWAY DIRECT, INC
5800 LINDEN STREET                    10765 WELSH LANE                              3340 S TROPICAL TRL
N. BETHESDA MD 20852                  GRASS VALLEY CA 95949                         MERRITT ISLAND FL 32952




HEMERY FERREIRA                       HEMINGWAY, ROGER                              HEMINGWAY, ROGER
34-26 108TH STREET                    24 TALCOTT AVE                                28 TALCOTT AVE
CORONA NY 11368                       VERNON CT 06066-3166                          VERNON CT 06066-3166




HEMMELER JR, CLIFFORD                 HEMMINGS, ASHLEY                              HEMMY SO
40 SPRING ST                          5821 W COMMERCIAL BLVD                        611 NE 14TH AVE
ENFIELD CT 06082                      TAMARAC FL 33319-2310                         APT 404
                                                                                    FORT LAUDERDALE FL 33304



HENAO, HARVEY                         HENAULT, SHAUNNA                              HENDERSON JR, DOUGLASS W
1212 N LASALLE                        8207 MIZNER LN                                PO BOX 325
CHICAGO IL 60601                      BOCA RATON FL 33433                           BALA CYNWYD PA 19004




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HENDERSON, CHRISTINE                 HENDERSON, DENNY N                            HENDERSON, JACK
12111 BLUE WING DR                   126 S SAGE HILLS RD                           461 PARK AVE 05900 STE 400
CARROLLTON VA 23314                  ORANGE CA 92869                               LAKE VILLA IL 60046




HENDERSON, JACK                      HENDERSON, JACK                               HENDERSON, JUSTIN
504 MAPLEWOOD DR                     CASE NO.C00221523                             1835 B LANDING CT
ANTIOCH IL 60002                     PO BOX 5400                                   COLORADO SPRINGS CO 80904
                                     CAROL STREAM IL 60197-5400



HENDERSON, KATHY                     HENDERSON, MARTIN                             HENDERSON, RAMONA
38 STANDISH ROAD                     25761 LE PARC                                 1495 MISTY LANE
APT. 1                               #16                                           BOLINGBROOK IL 60490
STAMFORD CT 06902                    LAKE FOREST CA 92630



HENDERSON, TOMMY                     HENDRICKS, CHARLES                            HENDRICKS, EMILY
12111 BLUE WING DR                   PO BOX 250356                                 2910 ASTORIA BLVD      APT 5
CARROLLTON VA 23314                  NEW YORK NY 10025                             ASTORIA NY 11102




HENDRICKS, JEFF                      HENDRICKS, JOHN R                             HENDRICKS, SUSAN L
2749 2ND AVE SOUTH                   718 FRANKLIN AVENUE                           117 EAST COTTON HILL RD
GATEWAY NEWS                         RIVER FOREST IL 60305                         NEW HARTFORD CT 06057
CLINTON IA 52732



HENDRIE, MARY                        HENDRIX, JOHN                                 HENDRYCH, DANIEL
2025 HARBOUR GATES DR   NO.263       1145 URSULA AVE                               7536 W WINONA
ANNAPOLIS MD 21401                   ST LOUIS MO 63130                             HARWOOD HTS IL 60706




HENDRYCH, HANNA                      HENICAN INC                                   HENICAN, ELLIS
7536 W WINONA                        71 HUDSON ST   5TH FLR                        71 HUDSON ST.
HARWOOD HEIGHTS IL 60706             NEW YORK NY 10013                             APT 5
                                                                                   NEW YORK NY 10013



HENKIN, JOSHUA                       HENLEY, JAMES                                 HENN, ROBERT
2236 FITZWATER ST                    10310 INWOOD AVE                              122 LEE K ALLEN DR
PHILADELPHIA PA 19146                SILVER SPRING MD 20902                        HAVELOCK NC 28532




HENN, TRACY                          HENNERTY, THOMAS                              HENNINGER, BARBARA A
1925 W CEDAR ST                      231 W EISENHOWER RD NO 100                    121 HIBISCUS DR
ALLENTOWN PA 18104                   FRASER CO 80442                               STE 5623
                                                                                   LEESBURG FL 34788



HENNINGER, DONALD L                  HENNIS, AMANDA                                HENRI SYCIN
121 HIBISCUS DR                      921 PLACE RD                                  485 OCEAN AVENUE
STE 2432                             BETHLEHEM PA 18017                            APT 4T
LEESBURG FL 34788                                                                  BROOKLYN NY 11226




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HENRICE, MARC                             HENRIETTA JENKINS                             HENRIETTA LINDER
6107 NW 8 ST.                             319 HOPE STREET                               1660 N CYPRESS RD
MARGATE FL 33063                          STAMFORD CT 06906                             POMPANO BEACH FL 33060




HENRIETTA ROSENBLATT                      HENRIETTA TOCH                                HENRY ALEXANDRE
1208 GARDEN AVENUE                        17055 SW CHATELAIN DR                         4650 SW GALAXIE STREET
ALLENTOWN PA 18103                        BEAVERTON OR 97006                            PORT SAINT LUCIE FL 34953




HENRY ALGARIN ROMERO                      HENRY AUSTIN JR.                              HENRY BARRETT
9495 EVERGREEN PLACE                      2851 W. PROSPECT RD.                          2036 LE DROIT DRIVE
APT 301                                   UNIT 1107                                     SOUTH PASADENA CA 91030
DAVIE FL 33324                            FT. LAUDERDALE FL 33309



HENRY BOETHLING                           HENRY BOETHLING JR                            HENRY C FREEMAN
1425 WESLEY AVENUE                        9706 E BROADWAY                               7419 HINDON CIRCLE #103
PASADENA CA 91104                         TEMPLE CITY CA 91780                          BALTIMORE MD 21244




HENRY CHU                                 HENRY CHUA                                    HENRY CIANCI
202 W. 1ST. ST., 3RD FLOOR                4017 HOLLYKNOLL DRIVE                         2139 77TH STREET
LOS ANGELES CA 90012                      LOS ANGELES CA 90027                          BROOKLYN NY 11214




HENRY CURTIS                              HENRY DADEN                                   HENRY DAMON
1582 SKYLINE DRIVE                        12 TOLLAND CIRCLE                             2916 NW 60TH TERRACE
KISSIMMEE FL 34744                        SIMSBURY CT 06070-1226                        #331
                                                                                        SUNRISE FL 33313



HENRY F NELSON                            HENRY FITZGERALD                              HENRY FLIPPO
5417 FODOR LANE                           2343 NW 34TH WAY                              4 WINDEMERE VIEW
LAS VEGAS NV 89107                        COCONUT CREEK FL 33066                        CARROLLTON VA 23314




HENRY FUHRMANN                            HENRY GALVAN                                  HENRY GOMEZ
P.O. BOX 1569                             1024 JUNE ST                                  1514 N. LEAVITT
LA CANADA CA 91012                        SANTA PAULA CA 93060                          CHICAGO IL 60622




HENRY GOMEZ                               HENRY HOLT AND COMPANY LLC                    HENRY III, ANDREW K
5350 ENCINITA AVENUE                      175 5TH AVENUE                                7820 NW 83RD ST
TEMPLE CITY CA 91780                      NEW YORK NY 10010                             TAMARAC FL 33321




HENRY J CASEY                             HENRY KIESEL                                  HENRY KONYSKY
3755 LAKE GLEN                            3 TENNIS COURT                                12409 WILLOW GRV CT
YORBA LINDA CA 92886                      PLAINVIEW NY 11803                            MOORPARK CA 93021




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HENRY L SANFORD                       HENRY MAGEE                                   HENRY MARKS AGENCY INC
940 16TH ST                           186 BILTMORE BLVD                             165 ROSLYN ROAD
NEWPORT NEWS VA 23607                 MASSAPEQUA NY 11758                           ROSLYN HEIGHTS NY 11577-1300




HENRY MARTINEZ                        HENRY MITCHELL                                HENRY MOELLER
30041 JAMAICA DUNES                   8317 BARDSTON AVE                             3 N ERIC CIRCLE
TEHACHAPI CA 93561                    ORLANDO FL 32809                              GREEN ACRES FL 33463




HENRY MORITSUGU                       HENRY PHELPS                                  HENRY PRINTING & COPYING
92 CLAYDON RD                         533 AUDUBON RD                                6110 SUNSET BLVD
GARDEN CITY NY 11530                  LEEDS MA 01053                                LOS ANGELES CA 90028




HENRY PRZYBYSZ                        HENRY R HUDSON                                HENRY RUBIO
1006 B. CABRILLO PARK DRIVE           508 HUDSON RD.                                2014 EAST CIENEGA AVENUE
SANTA ANA CA 92701                    OCHLOCKNEE GA 31773                           APT #A
                                                                                    COVINA CA 91724



HENRY RUSSELL                         HENRY S WRIGHT                                HENRY SEAMAN
41 HEWES STREET                       9351 NW 38TH PLACE                            216 WEST CLEARWATER ROAD
PORT JEFFERSON STATION NY 11776       SUNRISE FL 33351                              LINDENHURST NY 11757




HENRY SEGAL                           HENRY SURMA                                   HENRY THOMPSON
1018 HIGHLAND GROVE CT. N.            17218 SHETLAND DR.                            410 LYME STREET
BUFFALO GROVE IL 60089                TINLEY PARK IL 60487                          HARTFORD CT 06112




HENRY TORRES                          HENRY TYSON                                   HENRY WALLACE
5664 NW 106 WAY                       1230 W LEHIGH STREET                          821 SUWANNEE DRIVE
CORAL SPRINGS FL 33076                APT 6                                         APOPKA FL 32703
                                      BETHLEHEM PA 18018



HENRY WEINSTEIN                       HENRY WILCOX                                  HENRY WILLIAMS III
6402 IVARENE AVENUE                   2560 NW 12 CT                                 8336 S. CARPENTER
LOS ANGELES CA 90068                  POMPANO BEACH FL 33069                        CHICAGO IL 60620




HENRY WILSON                          HENRY WINNICKI                                HENRY WYSOCKI
42 HAUGHTON LANE                      452 FRIST AVENUE                              PO BOX 50061
NEWPORT NEWS VA 23606                 BAYPORT NY 11705                              PROVO UT 84605




HENRY, CARL S                         HENRY, CHRISTOPHER                            HENRY, DERVON A
102 ELLSWORTH ST                      1649 FOX HOLLOW LANE                          5200 NW 31 TERR
NEWINGTON CT 06111                    EASTON PA 18040                               FT LAUDERDALE FL 33309




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HENRY, DONNIE R JR                    HENRY, DUVAL                                  HENRY, GENE FREDDIE JR
109 OAK ST                            7 ARLINGTON STREET                            152 NO.B DELMAR LN
YORKTOWN VA 23693                     HARTFORD CT 06106                             NEWPORT NEWS VA 23602




HENRY, GERALD                         HENRY, GERALD                                 HENRY, GUERDIE
19355 NE 10TH AVENUE NO.101           19355 NE 10TH AVENUE NO.101                   515 SW 6TH AVE
AVENTURA FL 33179                     MAIMI FL 33179-5706                           DELRAY BEACH FL 33444




HENRY, JAMI                           HENRY, JILL K                                 HENRY, JOE
2022 MAIN ST                          1649 FOX HOLLOW LN                            1001 BUENA VISTA ST
NORTHAMPTON PA 18067                  EASTON PA 18040                               SOUTH PASADENA CA 91030




HENRY, KRISTINE                       HENRY, MARCIA                                 HENRY, MARY JESSICA
120 GLEN ARGYLE RD                    144 HEMSTEAD AVE                              1104 N ASHLAND AVE  APT 2
BALTIMORE MD 21212                    NEW LONDON CT 06320                           CHICAGO IL 60622




HENRY, RENATE B                       HENRY, RENATE B                               HENRY, ROGER
12717 W SUNRISE BOULEVARD             2605 S UNIVERSITY DR                          PO BOX 42
PMB 179                               NO.129                                        HAMPTON CT 06247
SUNRISE FL 33323                      FT LAUDERDALE FL 33328



HENRY, SAXON                          HENRY, SAXON                                  HENRY, SAXON
408 WEST 25TH ST NO.9                 326 WEST 89TH STREET APT 2                    69 LAKE DR
MIAMI BEACH FL 33140                  NEW YORK NY 10024                             LAKE PEEKSKILL NY 10537




HENSLEY, TRACEY ELISE                 HENSON CONSULTING INC                         HENTHORN JR, RALPH
15612 CORTE CASTLE CT                 111 W WESLEY NO.5                             3739 KNIGHT DR
CHESTERFIELD VA 23838                 WHEATON IL 60187                              MACUNGIE PA 18062




HEPPT, JOSEPH                         HEPPT, WENDY K                                HERALD & REVIEW
19 BEVERLY RD                         19 BEVERLY ROAD                               601 E WILLIAM ST
PORT WASHINGTON NY 11050              PORT WASHINGTON NY 11050                      DECATUR IL 62525




HERALD MAIL CO                        HERALD MAIL CO                                HERALD SUN
100 SUMMIT AVE                        DBA-DAILY AMERICAN                            ATTN MATT ANDERSON
HAGERSTOWN MD 21740                   334 W MAIN ST-PO BOX 638                      PO BOX 2092
                                      SOMERSET PA 15501-0638                        DURHAM NC 27702



HERALD SUN                            HERB GUSSIN                                   HERBERT A CLARK JR
PO BOX 2092                           10618 BEACH PALM COURT 10B                    3708 PALOMA STREET
DURHAM NC 27702                       BOYNTON BEACH FL 33437                        LOS ANGELES CA 90011




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HERBERT BAILEY                          HERBERT BOSTROM                               HERBERT BRESCIANI
1435 SOUTH ZIMMER ROAD                  2311 VINA DEL MAR                             45 FOXHILL
WARSAW IN 46580                         OXNARD CA 93035                               IRVINE CA 92604




HERBERT C ROLLOW                        HERBERT D TERRY                               HERBERT EDOLMO
198 MAY STREET                          355 WEST DRIVE                                13936 CARROTWOOD CT.
ELMHURST IL 60126                       COPIAGUE NY 11726                             CHINO CA 91710




HERBERT EYE                             HERBERT HAWKINS                               HERBERT HOLDEN SLATER & BEIM INC
HC 72 BOX 36                            2033 WEST JAMES STREET                        986 LINDA MAR BLVD
FRANKLIN WV 26807                       CHICAGO IL 60609                              PACIFICA CA 94044




HERBERT HUDDLESTON                      HERBERT J VIDA                                HERBERT K SCHNALL
807 MONTCLAIR DRIVE                     1303 W 214TH                                  P.O. BOX 9457
KISSIMMEE FL 34744-5812                 TORRANCE CA 90501                             15102 CAMINITO MARIA
                                                                                      RANCHO SANTA FE CA 92067



HERBERT LINDLAW                         HERBERT R ARMSTRONG                           HERBERT SMITH
1198 ANNIS SQUAM HARBOUR                81 SE 10TH STREET                             1622 W 60TH STREET
PASADENA MD 21122                       POMPANO BEACH FL 33060                        LOS ANGELES CA 90047




HERBERT WARE                            HERBERT, STEVEN C                             HERBERT, TREVOR O
3219 CAMBRIDGE HOLLOWS COURT            626 N OAKHURST DR                             2545 LAKE COMMONS COURT
LAS VEGAS NV 89135                      BEVERLY HILLS CA 90210                        SNELLVILLE GA 30078




HERBINGER,KURT                          HERCULES MACK                                 HERCULES, JOSE G
10360 AMBERWOOD CIRCLE                  54 RIDGEWOOD AVENUE                           1587 W 45TH STREET
FOUNTAIN VALLEY CA 92708                CENTRAL ISLIP NY 11722                        LOS ANGELES CA 90062




HERD, ASTLEY                            HEREDIA, IRENE                                HERERRA, MAGALLY
6137 FUNSTON STREET                     15512 HOSSWAY RD                              2451 NW 41ST AVE NO.403
HOLLYWOOD FL 33023                      HARLINGEN TX 78551                            LAUDERHILL FL 33313




HERETH,BEATRICE                         HERF, JEFFREY                                 HERGESHEIMER, COURTNEY
5651 NORTHWEST DR APT 3307              3 DELFORD AVE                                 1594 NORMAL DR NO.1
MESQUITE TX 75150                       SILVER SPRING MD 20904                        BOWLING GREEN KY 42101




HERIBERTO HERNANDEZ                     HERIBERTO IRIZARRY                            HERIOT, PAUL
89 EGGLESTON STREET                     1017 SOUTH CARLISLE STREET                    24 TREMPER DR
TORRINGTON CT 06790                     ALLENTOWN PA 18103                            WALLINGFORD CT 06492




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HERITAGE                              HERITAGE ASIAN PACIFIC INC                    HERITAGE ASIAN PACIFIC INC
HERITAHE NETWORK                      LOTUS FESTIVAL                                LOTUS FESTIVAL
307 WEST 38TH ST                      1400 PEBBLE HURST ST                          PO BOX 1647
SUITE 1510                            MONTEREY PARK CA 91754                        MONTEREY PARK CA 91754-9998
NEW YORK NY 10018


HERITAGE ASIAN PACIFIC INC            HERITAGE PARTNERS LLC                         HERITAGE PARTNERS LLC
LOTUS FESTIVAL INC                    RE: SAN BERNADINO 624 S. LINC                 1165 LINCOLN AVE NO.200
PO BOX 862026                         1165 LINCOLN AVE NO.200                       SAN JOSE CA 95125
LOS ANGELES CA 90086-2026             SAN JOSE CA 95125



HERITAGE VENTURES LLC                 HERIVERTO VAZQUEZ                             HERMAN F VOLPE
259 CITY VIEW AVE                     2469 CITRUS VIEW AVE.                         335 SCARBOROUGH CT.
WEST SPRINGFIELD MA 01089             DUARTE CA 91010                               BLOOMINGDALE IL 60108




HERMAN FINKLEY, JR.                   HERMAN HONG                                   HERMAN KATZ & CANGEMI LLP
1011 N. MASSASOIT AVE                 1212 NE 62ND STREET                           400 GARDEN CITY PLAZA STE 206
1A                                    SEATTLE WA 98115                              GARDEN CITY NY 11530
CHICAGO IL 60651



HERMAN MCGEE                          HERMAN T RAMSEY                               HERMAN, CAROL L
93 SPRUCE STREET                      3250 LEMONS RIDGE                             3855 TIMOTHY LN
APT. #2                               ATLANTA GA 30339                              BETHLEHEM PA 18020
STAMFORD CT 06902



HERMAN, ELLEN                         HERMAN, KAYLA                                 HERMIGNONNE, ANNACACY
140 N MCCADDEN PL                     3855 TIMOTHY LN                               429 LOCUST AVENUE
LOS ANGELES CA 90004                  BETHLEHEM PA 18020                            UNIONDALE NY 11553




HERMINIA FLORES                       HERMINIA JAPNGIE                              HERMOGENE, ERNEST
1340 N. MASON                         3029 LIMA DR                                  2306 NW 9TH AVE NO.J
CHICAGO IL 60651                      SPRING HILL FL 34609                          WILTON MANORS FL 33311




HERNAN HERNANDEZ                      HERNANDEZ JIMENEZ, CRISTIAN F                 HERNANDEZ REYEZ, JOSE A
P. O. BOX 113070                      7348 LIBERTY BELL DR                          PO BOX 11365
STAMFORD CT 06911                     COLORADO SPRINGS CO 80920                     WATERBURY CT 06703




HERNANDEZ SR, ROBERT                  HERNANDEZ, ALBERT ADRIAN                      HERNANDEZ, ALBERTO
9554 WHELLOCK WAY                     C/O JOSE FCO PENA GOMEZ                       34-17 103RD ST
SAN DIEGO CA 92129                    NO.7 GUAYMATE                                 CORONA NY 11368
                                      ROMANA



HERNANDEZ, ANA S                      HERNANDEZ, ANA S                              HERNANDEZ, BARBARA E
3039 N GEORGE ST APT NO.BN            3039 W GEORGE ST APT NO.BN                    190 W K ST NO. 1
CHICAGO IL 60618                      CHICAGO IL 60618                              BENICIA CA 94510




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HERNANDEZ, CHRISTINA                  HERNANDEZ, CHRISTINA KOCI                     HERNANDEZ, CHRISTINA KOCI
17 CURRIDEN AVENUE                    4546 TOYAN PL                                 PO BOX 13315 NO.134
CLARKSBORO NJ 08020                   OAKLAND CA 94619                              OAKLAND CA 94661




HERNANDEZ, DANIEL                     HERNANDEZ, DANIEL                             HERNANDEZ, DANIEL
1611 PRESIDIO POINT COURT             3339 40TH STREET                              2922 JEBIDIAH LOOP
CHULA VISTA CA 91911                  SAN DIEGO CA 92105                            STE 2314
                                                                                    ST CLOUD FL 34772



HERNANDEZ, DAVID A                    HERNANDEZ, EDGARDO                            HERNANDEZ, ELIZABETH
36901 N CHARTER COURT                 45 LAYTON DR                                  241 TRIPLET LAKE DR
PALMDALE CA 93552                     ELMWOOD CT 06110                              CASSELBERRY FL 32707




HERNANDEZ, FAUSTINO                   HERNANDEZ, HAROLD                             HERNANDEZ, ISMAEL B
2118 S ELMWOOD AVE                    48 ATWOOD ST                                  414 SPRUCE ST
BERWYN IL 60402                       PLAINVILLE CT 06062                           WALNUTPORT PA 18088




HERNANDEZ, J R AURELIO                HERNANDEZ, JEFFRIE                            HERNANDEZ, JOEL RADHAMES
1416 N FLORENCE                       4122 INVERRARY BLVD NO.58A                    C/PRINCIPAL
EL PASO TX 79902                      LAUDERHILL FL 33319                           NO.95 PALMAL ARRIBA
                                                                                    SANTIAGO



HERNANDEZ, JOSE                       HERNANDEZ, KELLY                              HERNANDEZ, LILIANA A
46 HINCKLEY AVE                       339 OAK ST                                    530 MOBLEY DRIVE
STAMFORD CT 06902                     WATERBURY CT 06705                            DELTONA FL 32725




HERNANDEZ, LYDIA MARIE                HERNANDEZ, MANUEL                             HERNANDEZ, MARIA
1345 ELYSIAN PARK DR                  1005 S CENTRAL AVE                            728 FARMINGTON AVE
LOS ANGELES CA 90026                  COMPTON CA 90220                              BRISTOL CT 06010-7302




HERNANDEZ, MERCEDES                   HERNANDEZ, MONICA                             HERNANDEZ, NORA
3057 CORAL SPRINGS DR 206             502 E DAVIS ST APT 12                         562 E. EXPRESSWAY 83
CORAL SPRINGS FL 33065                HARLINGEN TX 78550                            SAN BENITO TX 78586




HERNANDEZ, PHILLIP                    HERNANDEZ, RAFAEL                             HERNANDEZ, RAYMOND
4524 N MELVINA                        4214 PARK LN                                  8940 KRUEGER ST
CHICAGO IL 60630                      WEST PALM BEACH FL 33406                      CULVER CITY CA 90232




HERNANDEZ, RICHARD                    HERNANDEZ, ROBERT DARIO                       HERNANDEZ, ROBERTO B
45 LAYTON ST                          URB LA FLORIDA AVE PIAR RES PARQUE            302 S ATLAS DR
WEST HARTFORD CT 06110                GUACARA                                       APOPKA FL 32703
                                      EDF CARAVAJAL PISO2 APTO 2-2
                                      GUACARA EDO CARABOBO




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HERNANDEZ, ROLAND                         HERNANDEZ, SANDRA                             HERNANDEZ, SANDRA
216 YELLOWSTONE STREET                    201 25TH ST                                   146 COLBY DR
SAN ANTONIO TX 78210                      SANTA MONICA CA 90402                         EAST HARTFORD CT 06108




HERNANDEZ, YOHANDER                       HERNANDEZ, YVONNE                             HERNANDEZ, YVONNE
6439 W. FLAGLER ST. NO. 40                4811 MASTIN ST                                4811 MASTIN ST
MIAMI FL 33144                            MERRIAM KS 66203                              MERRIAM MO 66203




HERNANDEZ, ZORAIDA                        HERNANDEZ,ERNESTO                             HERNANDEZ,JOSE,I
7771 SIMMS STREET                         11582 60TH ST. N                              300 SE 11TH AVE APT 106
HOLLYWOOD FL 33024                        WEST PALM BEACH FL 33411                      POMPANO BEACH FL 33060




HERNANDEZ,LEONARDO J                      HERNANDO PASCUAL                              HERO THRILL SHOW INC
1735 W 60 ST NO.M201                      44 W 52ND STREET                              1336 SPRING GARDEN ST
HIALEAH FL 33012                          LONG BEACH CA 90805                           PHILADELPHIA PA 19123




HERR,PETER                                HERRAN, HUMBERTO                              HERRERA, ALBERTO
12300 NW 11TH CT                          1662 CLEAR LAKE AVE                           201 RACKET CLUB RD APT N-515
PEMBROKE PINES FL 33026                   ORLANDO FL 32805                              WESTON FL 33326




HERRERA, ALBERTO                          HERRERA, ALEJANDRO                            HERRERA, ANDRES
201 RACQUET CLUB RD APT N-422             526 GRANITE CIRC                              310 RIUNITI CIR
WESTON FL 33326                           CHULUOTA FL 32766                             WINTER SPRINGS FL 32708




HERRERA, ANITA                            HERRERA, FRANK ANTHONY                        HERRERA, LARRY J
819 N ALTA VISTA NO.9                     1530 SINGLEWOOD AVE                           120 EVERGREEN RD
LOS ANGELES CA 90046                      POMONA CA 91767                               CROMWELL CT 06416




HERRERA, LUIS A                           HERRERA, LYNNETTE                             HERRERA, ROBERT
12667 NW 13 ST                            2836 JOSEPH CIR                               228 LA COMBEE DR
SUNRISE FL 33323                          OVIEDO FL 32765                               POLK CITY FL 33868




HERRERA,OFELIA                            HERRIG, FELICE                                HERRING, ANTHONY
10296 WINDSWEPT PLACE                     4 CRESTVIEW TERRACE                           47 NW 13TH AVE
BOCA RATON FL 33498                       BUFFALO GROVE IL 60089                        DELRAY BEACH FL 33444




HERRING, DONTRELL                         HERRING, TERRY                                HERRING, TERRY
9985 GUILFORD RD                          201 PARK LN                                   PO BOX 121
JESSUP MD 20794                           ALBURTIS PA 18011                             ALBURTIS PA 18011




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HERRINGTON, BEULAH                     HERRMANN, THOMAS ALAN                         HERRSCHAFT, WAYNE
2350 AMSTERDAM DRIVE                   3324 GARVEY LN                                120 TRUXTON RD
AUGUSTA GA 30906                       EDWARDSVILLE IL 62025-3221                    DIX HILLS NY 11746




HERSCHEL COLLINS                       HERSCHEL H WILSON                             HERSCHEL JONES
CONNECTICUT LEGAL RIGHTS PROJECT INC   235 W. PLEASANT RUN                           337 ST MARKS AVE
THOMAS BEHRENDT                        APT 331                                       FREEPORT NY 11520
PO BOX 351                             CEDAR HILL TX 75104
MIDDLETOWN CT 06457


HERSEY PRODUCTIONS INC                 HERSKOVITS, PAUL                              HERTZBERG, JENNIFER
13901 SW 31ST ST                       680 GREENBELT PKWY                            803B MAIN ST
DAVIE FL 33303                         HOLBROOK NY 11741                             PORT JEFFERSON NY 11777




HERTZBERG, ROBERT                      HERTZBERG, ROBERT                             HERTZEL, LAURIE
79 DAVIS RD                            79 DAVIS RD                                   1113 CHATSWORTH N
PORT WASHINGTON NY 10024               PORT WASHINGTON NY 10050                      ST PAUL MN 55103




HERTZOG, DIANE                         HERVE MEDARD                                  HERZLICH, JAMIE
3310 LEHIGH ST                         7500 SOUTH SHORE DRIVE                        9 GREENVALE DRIVE
WHITEHALL PA 18052                     APT. 218                                      EAST NORTHPORT NY 11731
                                       CHICAGO IL 60649



HERZOG, DAVID                          HESPERIA STAR                                 HESS CORPORATION
55 COLBERT ROAD EAST                   PO BOX 1389                                   ACCT NO. 440449/440456
WEST NEWTON MA 02465                   VICTORVILLE CA 92393-1389                     P.O. BOX 905243
                                                                                     CHARLOTTE NC 28290-5243



HESS CORPORATION                       HESS CORPORATION                              HESS CORPORATION
ACCT NO. 440449/440457                 ACCT NO. 440449/440458                        PO BOX 198847
P.O. BOX 905243                        P.O. BOX 905243                               ATLANTA GA 30384
CHARLOTTE NC 28290-5243                CHARLOTTE NC 28290-5243



HESS CORPORATION                       HESS CORPORATION                              HESS CORPORATION
PO BOX 905216                          PO BOX 905243                                 1 HESS PLAZA
CHARLOTTE NC 28290-5216                CHARLOTTE NC 28290                            WOODBRIDGE NJ 07095-0961




HESS CORPORATION                       HESS CORPORATION                              HESS CORPORATION
PO BOX 11507                           PO BOX 11508                                  PO BOX 11510
NEWARK NJ 07101-4507                   NEWARK NJ 07101-4508                          NEWARK NJ 07101




HESS CORPORATION                       HESS, CHARLES                                 HESS, DANIEL E
P.O. BOX 905243                        859 S MURFIELD RD                             1300 N LAKESHORE DR APT 36D
CHARLOTTE NC 28290-5243                LOS ANGELES CA 90005                          CHICAGO IL 60610




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HESS, DEBORAH                            HESS, ELIZABETH                               HESS, WARREN
43 RIVEROAKS CIRCLE                      1212 N WELLS ST APT 1206                      2770 MOUNTAIN RD
BALTIMORE MD 21208                       CHICAGO IL 60610                              DANIELSVILLE PA 18038




HESS-WAHL, JAN KAY                       HESSLER, CURTIS A.                            HESSLER, WILLIAM
810 JONATHAN LANE                        570 BRADFORD STREET                           6036 AMBERLY CT
BLOOMFIELD HILLS MI 48302                PASADENA CA 91105-2409                        ORLANDO FL 32822




HESTER ROOFING                           HESTER, CYNTHIA                               HESTER, ELLIOTT
PO BOX 245390                            105 WILD CAT DR                               159 AVENUE LEDRU-ROLLIN
SACRAMENTO CA 95824-5390                 WHITEHOUSE TX 75791                           PARIS 75011




HESTER, VERNON                           HETTER, KATIA                                 HETTRICK, SCOTT R
1432 NW 80TH WAY                         359 6TH AVE   APT 1                           67 E ARTHUR AVE
PLANTATION FL 33314                      BROOKLYN NY 11215                             ARCADIA CA 91006




HETZEL, LEO                              HEUBECK, ELIZABETH                            HEUSCHKEL, DAVID
28745 MODJESKA CANYON RD                 236 GAYWOOD ROAD                              28 CARRIAGE DRIVE
SILVERADO CA 92676                       BALTIMORE MD 21212                            SIMSBURY CT 06070




HEUSCHKEL, DAVID G                       HEVER VASQUEZ                                 HEVIA, JAMES
28 CARRIAGE DRIVE                        7730 NW 50TH STREET                           310 PONEMOH TRL
SIMSBURY CT 06070                        APT 208                                       BUCKLEY MI 49620
                                         LAUDERHILL FL 33351



HEVIA, JAMES                             HEWITSON, JENNIFER                            HEWITT, WADE
931 READS RUN DR                         1145 WOTAN DR                                 1013 OLD VINCENNES TRAIL
TRAVERSE CITY MI 49684                   ENCINITAS CA 92024                            O FALLON IL 62269




HEWLETT PACKARD                          HEWLETT PACKARD                               HEWLETT PACKARD
3000 HANOVER STREET                      5651 W MANCHESTER AVE                         8000 FOOTHILLS BLVD MS 5636
PALO ALTO CA 94304                       LOS ANGELES CA 90045                          ROSEVILLE CA 95747-5636




HEWLETT PACKARD                          HEWLETT PACKARD                               HEWLETT PACKARD
FILE NO. 73756                           M/S 5518                                      PO BOX 60008
PO BOX 60000                             P. O. BOX 1268                                SUNNYVALE CA 94088
SAN FRANCISCO CA 94160-3756              ROSEVILLE CA 95678-8268



HEWLETT PACKARD                          HEWLETT PACKARD                               HEWLETT PACKARD
2124 BARRETT PARK DR.                    PO BOX 100500                                 PO BOX 101149
KENNESAW GA 30144                        ATLANTA GA 30384-0050                         ATLANTA GA 30392-1149




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HEWLETT PACKARD                        HEWLETT PACKARD                               HEWLETT PACKARD
PO BOX 402106                          PO BOX 932956                                 13207 COLLECTIONS CENTER DR
ATLANTA GA 30384                       ATLANTA GA 31193-2956                         CHICAGO IL 60693




HEWLETT PACKARD                        HEWLETT PACKARD                               HEWLETT PACKARD
PO BOX 92013                           MEDIA DIVISION                                PO BOX 65132
CHICAGO IL 60675-2013                  2101 GAITHER ROAD                             CHARLOTTE NC 28265-0132
                                       ROCKVILLE MD 20850



HEWLETT PACKARD                        HEWLETT PACKARD                               HEWLETT PACKARD
PO BOX 75629                           7171 FOREST LN                                PO BOX 951084
CHARLOTTE NC 28275-5629                DALLAS TX 75230                               DALLAS TX 75395-1084




HEWLETT WOODMERE UFSD                  HEWLETT, LATEASE T                            HEXAWARE TECHNOLOGIES INC
ONE JOHNSON PL                         829 E 33RD ST                                 1095 CRANBURY SOUTH RIVER RD
WOODMERE NY 11598                      BALTIMORE MD 21218                            STE 10
                                                                                     JAMESBURG NJ 08831



HEYN, HERMAN M                         HEYWOOD HOFFMAN                               HEYWOOD, SYDONNEY
721 E 36TH STREET                      2605 W. AGATITE AVENUE, #1                    1172 NW 45TH TERR
BALTIMORE MD 21218-2530                CHICAGO IL 60625                              LAUDERHILL FL 33313




HEZEKIAH WALKER                        HI SPEED MEDIA                                HIAASEN, CARL
27 MARSHALL STREET                     NO.774143                                     76400 OVERSEAS HIGHWAY
A-8                                    4143 SOLUTIONS CENTER                         ISLAMORADA FL 33036
HARTFORD CT 06105                      CHICAGO IL 60677



HIAASEN, ROBERT K                      HIBBERT, ALICIA                               HIBBERT, RUPERT
744 CHAPEL RIDGE RD                    4656 FARMDALE AVE                             1151 NW 80TH AVE NO.10H
TIMONIUM MD 21093                      STUDIO CITY CA 91602                          MARGATE FL 33063




HICHAM BALLARI                         HICKAM, HOMER                                 HICKERSON, BUDDY
4956 EAGLESMERE                        9532 HEMLOCK DRIVE                            1959 CHEREMOYA NO.7
APT. 733                               HUNTSVILLE AL 35803                           HOLLYWOOD CA 90068
ORLANDO FL 32819



HICKEY, DENNIS V                       HICKEY, MATTHEW J                             HICKLING, DANIEL
1019 EAST LINWOOD CIRC                 2838 N DAMEN NO.1                             P O BOX 193
SPRINGFIELD MO 65807                   CHICAGO IL 60618                              KENNEBUNK ME 04043




HICKLING, DANIEL P                     HICKS , ANGELA R                              HICKS, BEN
138 SEA ROAD APT 1                     5820 HURON ST                                 4351 NE 5TH AVENUE
KENNEBUNK ME 04043                     BERKELEY IL 60163                             BOCA RATON FL 33431




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HICKS, CHANCE                          HICKS, JOE                                    HICKS, JOE
2901 SW 11TH ST                        865 S FIGUEROA ST NO.3339                     COMMUNITY ADVOCATES INC
FT. LAUDERDALE FL 33312                LOS ANGELES CA 90017                          865 S FIGUEROA ST NO.3339
                                                                                     LOS ANGELES CA 90071



HICKS, KATRINA B                       HICKS, SHERRY                                 HICKSON, EDWARD J
711 27TH ST                            2690 ROSS RD                                  PO BOX 1704
NEWPORT NEWS VA 23607                  SNELLVILLE GA 30039                           EASTON PA 18042




HICKSON, EDWARD J                      HICKSVILLE CHAMBER OF COMMERCE                HIDALGO, JESUS J
PO BOX 1704                            10 W MARIE ST                                 9235 RAMBLEWOOD DR APT 1133
EASTON PA 18064                        HICKSVILLE NY 11801                           CORAL SPRINGS FL 33071




HIEBING, PAUL A                        HIEW, MARK ZHENG                              HIGGINBOTHAM, TRAVIS
602 RIVERVIEW AVE                      10101 KINGS BENCH COURT                       97 CLEVELAND AVE
ALTAMONTE SPRINGS FL 32714             ELLICOTT CITY MD 21042                        HARTFORD CT 06120




HIGGINS TOWER SERVICE INC              HIGGINS, CATHERINE                            HIGGINS, ERNEST
S63W16211 COLLEGE AVENUE               8725 HAYCARRIAGE COURT                        7280 SE 120TH ST
MUSKEGO WI 53150                       ELLICOTT CITY MD 21043                        BELLEVIEW FL 34420




HIGGINS, JOANNE NOEL                   HIGGINS, JOHN T                               HIGGINS, KARRIE
350 W 51ST STREET                      4660 KESTER AVE   NO.218                      925 NW HOYT ST NO.231
NEW YORK NY 10019                      SHERMAN OAKS CA 91403                         PORTLAND OR 97209




HIGGINS, KEVIN                         HIGGINS, MATTHEW                              HIGGINS, MAURICE
290 S. BEL AIR DR.                     227 N MAIN ST                                 2064 MAIN STREET APT B1
PLANTATION FL 33317                    CONCORD NH 03301                              HARTFORD CT 06120




HIGGINS, TIESHA                        HIGGINS, TIMOTHY ALLEN                        HIGGINS, TIMOTHY ALLEN
7732 HANOVER PARKWAY      NO.T4        7280 SE 120TH STREET                          7280 SE 120TH STREET
GREENBELT MD 20770                     BELLEVIEW FL 34420                            BELLVIEW FL 34420




HIGH PEAKS HOSPICE                     HIGH PEAKS HOSPICE                            HIGH POINT ENTERPRISE
286 GLEN ST                            667 BAY ROAD SUITE 1                          210 CHURCH AVE
GLEN FALLS NY 12801                    QUEENSBURY NY 12804                           HIGH POINT NC 27262




HIGH POINT ENTERPRISE                  HIGH POINT ENTERPRISE                         HIGH POINT ENTERPRISE
ATTN BARBARA DANIEL                    PO BOX 1009                                   PO BOX 1129
PO BOX 1070                            HIGH POINT NC 27261                           HIGH POINT NC 27261
HIGH POINT NC 27261




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HIGHER GROUND                         HIGHLAND CAPITAL MANAGEMENT LP                HIGHLAND PARK GIANTS CLUB
21201 VICTORY BLVD SUITE 105          NEXBANK TOWER                                 HIGHLAND PARK HIGH SCHOOL CLUB
CANOGA PARK CA 91303                  13455 NOEL ROAD, 8TH FL                       433 VINE AVE
                                      DALLAS TX 75240                               HIGHLAND PARK IL 60035



HIGHMARK BLUE CROSS BLUE SHIELD       HIGHSAM, DEBRA                                HIGHTOWER, KIMBERLY
PO BOX 382146                         1603 WHOTE CLOUD CT                           1690 ALVARADO TERRACE
PITTSBURGH PA 15250-8146              WINTER SPRINGS FL 32708                       ATLANTA GA 30310




HIGHWAY TECHNOLOGIES INC              HIGNITE, JOHN A                               HIGUITA, CAMILO
2711 SW 36 ST                         9945 ARKANSAS ST                              166-40 89TH AVENUE
FT LAUDERDALE FL 33312                BELLFLOWER CA 90706-5915                      JAMAICA NY 11432




HIGUITA, JOHN                         HILACION, LEN MOKI                            HILAIR, MORANGE
64-22 METROPOLITAN AVENUE             16104 VAN NESS AVE        NO.6                1040 MIAMI BLVD NORTH UNIT NO.1
QUEENS NY 11379                       TORRANCE CA 90504                             DELRAY BEACH FL 33483




HILAIRE, ANDRE G                      HILAIRE, BIZONEL                              HILAIRE, BIZONISTE
4575 BOWMAN ST                        340 STERLING AVE.                             3936 GREEN FOREST DR
LAKE WORTH FL 33463                   DELRAY BEACH FL 33444                         BOYNTON BEACH FL 33436




HILARY BIENSTOCK                      HILARY GERSHOWITZ                             HILARY WALDMAN
1312 BERKELEY ST                      65 RICHMOND BLVD.                             8 WINDRUSH LANE
APT 6                                 RONKONKOMA NY 11779                           ANDOVER CT 06232
SANTA MONICA CA 90404



HILBERT, DANIEL                       HILBURN, CHARLES ROBERT                       HILDA GALINDO
PO BOX 618647                         4131 WITZEL DR                                6070 BIG HORN DR
ORLANDO FL 32861                      SHERMAN OAKS CA 91423                         RIVERSIDE CA 92506




HILDA MUNOZ                           HILDA PEREZ                                   HILDA PETERS
5 FREDERICK STREET                    1097 KELLY CREEK CIRCLE                       23 SALEM RD
APT. #301                             OVIEDO FL 32765                               CENTEREACH NY 11720
HARTFORD CT 06105



HILDA R GEIWITZ                       HILDA WELLS                                   HILDEBRAND, ROBERT J
8319 NUNLEY DRIVE                     1647 S. KARLOV AVE                            4 WINNERS CUP CIRCLE
APT. B                                1ST FLOOR                                     WHEATON IL 60187
BALTIMORE MD 21234                    CHICAGO IL 60623



HILDEBRAND, WAYN                      HILDERBRAND, RICHARD                          HILDERBRAND, RICHARD
1630 LINCOLN AVE                      394 VALLEY HI COURT                           394 VALLEY HI COURT
NORTHAMPTON PA 18067                  WALNUTPORT PA 18068                           WALNUTPORT PA 18088-9683




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HILEMAN, RICK                         HILEX POLY CO LLC                            HILEX POLY CO LLC
2510 PARADISE CR                      DEPT 179                                     12118 CORPORATE DR
KISSIMMEE FL 34741                    PO BOX 32849                                 DALLAS TX 75228
                                      CHARLOTTE NC 32849



HILL HOLLIDAY CONNORS COMOPULOS INC   HILL HOLLIDAY CONNORS COMOPULOS INC          HILL HOLLIDAY CONNORS COMOPULOS INC
200 CLARENDON ST                      53 STATE ST                                  COSMOPULOS INC
BOSTON MA 02116                       BOSTON MA 02109                              200 CLAREDON ST
                                                                                   BOSTON MA 02116-5084



HILL MANAGEMENT SERVICES INC          HILL MANAGEMENT SERVICES, INC.               HILL MANAGEMENT SERVICES, INC.
PO BOX 4835                           RE: EDGEWOOD 2105 EMMORTON PA                RE: EDGEWOOD 2105 EMMORTON PA
TIMONIUM MD 21094                     9640 DEERECO ROAD                            AGENT FOR CROSSROADS COMMERCE
                                      TIMONIUM MD 21093                            PO BOX 4835
                                                                                   TIMONIUM MD 21094


HILL MANAGEMENT SERVICES, INC.        HILL METAL COMPANY                           HILL, A MICHAEL
RE: EDGEWOOD 2105 EMMORTON PA         901 N NEW ST                                 7 HARVEST RD
P.O. BOX 4835                         P O BOX 395                                  BALTIMORE MD 21210
TIMONIUM MD 21094                     ALLENTOWN PA 18105



HILL, BRUCE                           HILL, CORY                                   HILL, CRAIG
1504 TWIN POST COURT                  323 ROLAND STREET                            734 E 83RD ST
ARLINGTON TX 76014                    SUFFOLK VA 23434                             CHICAGO IL 60619




HILL, DANA                            HILL, DAVID                                  HILL, DAVION
135 JOHNSON ST                        4702 NEW TOWN BLVD                           109 LINDSEY WAY
MIDDLETOWN CT 06457                   OWINGS MILLS MD 21117                        SANFORD FL 32771




HILL, ERICA LEIGH                     HILL, ESPERANZA (CHUCHIE)                    HILL, GEORGE
620 N 34TH NO.215                     15 PALOMA AV NO.46                           2047 RUCKLE ST
SEATTLE WA 98103                      VENICE BEACH CA 90291                        INDIANAPOLIS IN 46202




HILL, HEATHER                         HILL, JAMES                                  HILL, JARRELL
5101 GREEN BRACS E DR                 5028 DONNA DR                                445 S LINCOLN AVE
INDIANAPOLIS IN 46234                 COPLAY PA 18037                              AURORA IL 60505




HILL, JEFFREY K.                      HILL, JONATHAN R                             HILL, KEVIN BODHI
104 PEYTON RD                         61 CANDLEWOOD DR                             15 BRIGHT ST NO.2
ATLANTA GA 30311                      ENFIELD CT 06082                             NORTHAMPTON MA 01060




HILL, KOYLE D                         HILL, LIBBY K                                HILL, MONICA
2914 ORIOLE DR                        2715 WOODLAND RD                             9282 NW 40 ST
WICHITA KS 67204                      EVANSTON IL 60201-2033                       CORAL SPRINGS FL 33065




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HILL, PAUL                             HILL, RICHARD J                               HILL, RICHARD J
1072 S. YORK RD NO.3                   17 SPAFFORD RD                                C/O ACES
BENSENVILLE IL 60106                   MILTON MA 02186                               188 MONTAGUE ST 6TH FLOOR
                                                                                     BROOKLYN NY 11201



HILL, ROBB                             HILL, RODNEY L                                HILL, TODD
4966 N SPAULDING AVE NO.1              957 W ERIE ST                                 331 IRON ST
CHICAGO IL 60625                       ALLENTOWN PA 18103                            LEHIGHTON PA 18235




HILL, TRACI C                          HILLARD J QUINT                               HILLARY HEYN
5727 WILLOWTON AVE.                    R67242 GRAHAM                                 912 HULLS FARM ROAD
BALTIMORE MD 21239                     CORRECTIONAL CENTER                           SOUTHPORT CT 06890
                                       PO BOX 499
                                       HILLSBORO IL 62049


HILLARY PATZ                           HILLARY SCHULMAN                              HILLEARY, MICHAEL
6 MULBERRY COURT                       3739 BLUE CANYON DR.                          202 WHITEWATER DR
NEWINGTON CT 06111                     STUDIO CITY CA 91604                          NEWPORT NEWS VA 23608




HILLENMEYER, JOSEPH                    HILLER, DAVID DEAN                            HILLERS, ANN SCHLOTT
777 ROYAL ST GEORGE DRIVE              1448 N. LAKESHORE DRIVE                       21 HICKORY KNOLL COURT
NAPERVILLE IL 60563                    APT. 12C                                      LUTHERVILLE MD 21093
                                       CHICAGO IL 60610



HILLIARD, ARDITH                       HILLIS, JULIANNE                              HILLMAN, ROBERT
2870 BIRCHWOOD CIRCLE                  3387 N CR 500E                                36 GIFFORDS ROAD
EMMAUS PA 18049                        DANVILLE IN 46122                             WARBURTON, VIC 3799




HILLMAN, VICTORIA                      HILLS NEWS AGENCY                             HILO YALE INDUSTRIAL TRUCKS
PETTY CASH CUSTODIAN                   69858 WHITE SCHOOL ROAD                       115 WYANDANCH AVE
101 N 6TH ST                           1004                                          WYANDANCH NY 11798
ALLENTOWN PA 18105-1260                STURGIS MI 49091



HILO YALE INDUSTRIAL TRUCKS            HILTI INCORPORATION                           HILTI INCORPORATION
345 OSER AVENUE                        PO BOX 382002                                 PO BOX 890890
HAUPPAUGE NY 11788                     PITTSBURGH PA 15250-8002                      DALLAS TX 75389-0890




HILTON CHICAGO AND TOWERS              HILTON CHICAGO AND TOWERS                     HILTON CHICAGO AND TOWERS
17 E MONROE ST                         720 S MICHIGAN AVE                            PO BOX 75845
CHICAGO IL 60603                       CHICAGO IL 60605                              CHICAGO IL 60675




HILTON CHICAGO AND TOWERS              HILTON, TIMOTHY                               HIMELDA CARLOS
PO BOX 75846                           2601 GORDON DRIVE                             5425 W. 23RD PLACE
CHICAGO IL 60675-5846                  FLOSSMOOR IL 60422                            CICERO IL 60804




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HIMES,GEOFFREY                          HIMMEL, DAVID I                               HIMMELBERG, RAYMOND
8 E 39 TH ST                            3450 N LAKESHORE DR        NO.2705            5837 EAST CALLE TUBERIA
BALTIMORE MD 21218-1801                 CHICAGO IL 60657                              PHOENIX AZ 85018




HIMMELSBACH WEINSTEIN, ERIK             HIMMELSBACH WEINSTEIN, ERIK                   HIMMELSBACH, ADAM
5543 CARPENTER AVE                      6941 VARNA AVE                                1 GREENBRIER DR NO.202
VALLEY VILLAGE CA 91607                 VALLEY GLEN CA 91405                          FREDERICKSBURG VA 22401




HIMOWITZ, MICHAEL J                     HINCHY, LORI                                  HINCKLEY SPRING WATER COMPANY
8403 MEADOWSWEET ROAD                   826 W PRINCESS ANNE RD APT E5                 PO BOX 530578
BALTIMORE MD 21208                      NORFOLK VA 23517                              ATLANTA GA 30353-0578




HINCKLEY SPRING WATER COMPANY           HINCKLEY SPRING WATER COMPANY                 HINCKLEY SPRING WATER COMPANY
6055 S HARLEM AVE                       PO BOX 1888                                   PO BOX 660579
CHICAGO IL 60638                        BEDFORD PARK IL 60499-1888                    DALLAS TX 75266-0579




HINDON CORP                             HINDS, ANGELLA EVETT                          HINDS, JOHN
2055 BEES FERRY RD                      1 CHANDLER ST                                 39 LIGHTHOUSE POINT
CHARLESTON SC 29414                     EAST HARTFORD CT 06108                        CRAWFORDVILLE FL 32327




HINDS, KENNETH                          HINDS, LASCELL                                HINDS, SEBASTIAN
17111 NW 23RD ST                        99 WOODLAWN CIRC                              1 CHANDLER ST
PEMBROKE PINES FL 33028                 EAST HARTFORD CT 06108                        EAST HARTFORD CT 06108




HINE JR, THOMAS M                       HINELINE, BRIAN                               HINELY, PATRICIA J
565 GROTON LONG POINT ROAD              940 MARSHALL DR                               225 ARNOLD AVE
NOANK CT 06340-4866                     STROUDSBURG PA 18360                          LONGWOOD FL 32750




HINERMAN, GAYLE                         HINES, ANDRE                                  HINES, CLIFTON L
831 LYONS ROAD APT 23101                1475 MALIBU CIR. # 102                        7413 NW 75TH ST
COCONUT CREEK FL 33063                  PALM BAY FL 32905                             TAMARAC FL 33321




HINES, DANA                             HINES, DENNIS                                 HINES, JAMES T
3200 DOCKSIDE DR                        769 CREEK WATER TERRACE         NO.209        1820 DARVILLE DR
COOPER CITY FL 33026                    LAKE MARY FL 32746                            HAMPTON VA 23663-1915




HINES, MICHAEL                          HINESTROZA, LEONARDO D                        HINKE, VERONICA J
3631 N HALSTED ST NO.411                610 TERRELL MILL RD SE                        4240 N CLARENDON AVENUE NO.401N
CHICAGO IL 60613                        MARIETTA GA 30068                             CHICAGO IL 60613




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HINKEL JR, JAMES W                     HINKLE, CHRIS                                 HINKLE, CHRIS
4433 MARIA DR                          2601 W BROADWAY BLVD L495                     PO BOX 3524
BETHLEHEM PA 18020                     TUCSON AZ 85745                               TUCSON AZ 85722




HINKLE, L KENNETH                      HINKLE, L KENNETH                             HINOJOSA, MARK S
136 S MAIN ST                          PO BOX 490                                    303 N. GROVE
RICHLANDTOWN PA 18955                  RICHLANDTOWN PA 18955                         OAK PARK IL 60302




HINOSTROZAS INVESTMENTS INC            HINSDALE HISTORICAL SOCIETY                   HINSHAW & CULBERTSON
8871 NW 10 ST                          PO BOX 336                                    SUE ENGLER
PEMBROKE PINES FL 33024                HINSDALE IL 60522                             100 E. WISCONSIN AVE.
                                                                                     SUITE 2600
                                                                                     MILWAUKEE WI 53202


HINSHAW & CULBERTSON LLP               HINSHAW & CULBERTSON LLP                      HINSHAW & CULBERTSON LLP
MELLISSA SCHAFER                       CHERYL WILKE                                  CHERYL WILKE
11601 WILSHIRE BLVD.                   11601 WILSHIRE BLVD.                          ONE E. BROWARD BLVD.
SUITE 800                              SUITE 800                                     SUITE 1010
LOS ANGELES CA 90025                   LOS ANGELES CA 90025                          FT. LAUDERDALE FL 33301


HINTON DISTRIBUTORS                    HINTON, KYMBERLY                              HINTON, STEVE
SUITE 18                               1050 N MILWAUKEE AVE NO.2                     1090 LAKE FRONT DR
317 10TH STREET NORTHEAST              CHICAGO IL 60622                              SACRAMENTO CA 95831
WASHINGTON DC 20002



HINTON, STEVE                          HIPPEL, ROSE                                  HIPPOLYTE, JERMAINE
4237 AUBERGINE WAY                     325 BIRCHWOOD CT                              29 TAMARACK DR
MATHER CA 95655                        LAKE MARY FL 32746                            WINDSOR CT 06095




HIPPOLYTE,NICOLAS                      HIRAM ELECTRICAL CONTRACTOR                   HIRED HELP
302 SW 4TH AVE                         1351 WEST FOSTER AVENUE                       15830 MAGNOLIA DRIVE
BOYNTON BEACH, FL 33435                CHICAGO IL 60640-2214                         NEW FREEDOM PA 17349




HIRSCH, ARNOLD                         HIRSCH, DEBORAH                               HIRSCH, JACK
7620 SYCAMORE ST                       197 BENT TREE DR                              15220 W. TRANQUILITY LAKE DRIVE
NEW ORLEANS LA 70118                   PALM BEACH GARDENS FL 33418                   DEL REY BEACH FL 33446




HIRSHEY, ELEANOR                       HIRSHMAN, WILLIAM F                           HIRSLEY, MICHAEL
642 BOND CT                            1840 SW 73 AVENUE                             119 15TH STREET
MERRICK NY 11566                       PLANTATION FL 33317                           WILMETTE IL 60091




HISCOCK & BARCLAY LLP                  HISCOCK & BARCLAY LLP                         HISPANIC AMERICAN ORGANIZATION
50 BEAVER ST                           ONE PARK PL 300 S STATE ST                    136 S 4TH ST
ALBANY NY 12207-2830                   SYRACUSE NY 13202-2078                        ALLENTOWN PA 18102




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HISPANIC AMERICAN ORGANIZATION          HISPANIC AMERICANS FOR FAIRNESS IN MEDIA      HISPANIC HEALTH COUNCIL
462 WALNUT ST                           1304 W BEVERLY BLVD SUITE 102                 175 MAIN ST
ALLENTOWN PA 18102                      MONTEBELLO CA 90640-4187                      HARTFORD CT 06106




HISPANIC HEALTH COUNCIL                 HISPANIC HERITAGE ORGANIZATION                HISPANIC MARKETING ASSOCIATES LLC
JEANNETTE DEJESUS PRESIDENT & CEO       443 GREENTREE LANE                            3247 W FULLERTON AVE
175 MAIN STREET                         BOILINGBROOK IL 60440                         CHICAGO IL 60647
HARTFORD CT 06106



HISPANIC MARKETING ASSOCIATES LLC       HISTORIC BETHLEHEM PARTNERSHIP, INC           HISTORIC CHICAGO BUNGALOW ASSOCIATION
6429 S KOLIN AVE                        459 OLD YORK RD                               1 NORTH LASALLE 12TH FLOOR
CHICAGO IL 60629                        BETHLEHEM PA 18018                            CHICAGO IL 60602




HITACHI HIGH TECHNOLOGIES AMERICA INC   HITACHI HIGH TECHNOLOGIES AMERICA INC         HITCHMAN, JAMES
10 N MARTINGALE RD    STE 500           PO BOX 70481                                  130 MACK STREET
SCHAUMBURG IL 60173                     CHICAGO IL 60673-0481                         PO BOX 5
                                                                                      BLENCOE IA 51523



HITHER OLIVO                            HITTINGER, JENNIFER A                         HITTINGER, PAMELA
620 16TH ST                             3116 S 6TH AVE                                1203 W JUBILEE ST
UNION CITY NJ 07087                     WHITEHALL PA 18052                            EMMAUS PA 18049




HITTLE SNOW CO INC                      HITWISE PTY LTD                               HITWISE PTY LTD
17778 SUN PARK DR                       LEVEL 7 580 ST KILDA RD                       300 PARK AVENUE SOUTH 9TH FL
WESTFIELD IN 46074                      MELBOURNE, VIC 3004                           NEW YORK NY 10010




HIX, CHARLES                            HJM REALTY                                    HJM REALTY COMPANY
10 ARCH BRIDGE ROAD                     RE: MANCHESTER 200 ADAMS ST.                  41 PROGRESS DR
BETHLEHEM CT 06751-0486                 41 PROGRESS DR.                               MANCHESTER CT 06040
                                        MANCHESTER CT 06042



HJM REALTY COMPANY                      HJM REALTY COMPANY                            HK SYSTEMS INC
C.O HJA REALTY, LLC                     PO BOX 1117                                   PO BOX 1512
45 WINTONBURY DRIVE                     AVON CT 06001                                 ATTN CONNIE KAISER
BLOOMFIELD CT 06002                                                                   CHICAGO IL 60694



HK SYSTEMS INC                          HK SYSTEMS INC                                HK SYSTEMS INC
PO BOX 71312                            PO BOX 1512                                   PO BOX 684125
CHICAGO IL 60694-1312                   MILWAUKEE WI 53201-1512                       MILWAUKEE WI 53268




HLG MEDIA INC                           HLJMP NEWS INC                                HM BENEFITS ADMINISTRATORS INC
JOAN ELLEN GIANGRASSE                   1320 BURNS LN                                 PO BOX 535061
4700 WOODLAND AVENUE                    MINOOKA IL 60447                              ATTN FINANCE DEPARTMENT
WESTERN SPRINGS IL 60558                                                              PITTSBURGH PA 15253-5061




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HM BENEFITS ADMINISTRATORS INC         HMJ LLC                                       HMJ LLC
PO BOX 642882                          4668 S. SALIDA STREET                         DBA STAR TECHNOLOGY
PITTSBURGH PA 15264                    AURORA CO 80015                               4668 S SALIDA ST
                                                                                     AURORA CO 80015



HO DO                                  HO, DENNIS W                                  HO, JANIE
4504 W. BYRON STREET                   C/O EMMA VOLCKHAUSEN-BURETTA                  258 ELVIN ST
CHICAGO IL 60641                       467 HENRY ST APT 1                            STATEN ISLAND NY 10314
                                       BROOKLYN NY 11231



HOA CHAU                               HOA NGUYEN                                    HOA NGUYEN
3122 BARTLETT AVENUE                   52 HAVEMEYER LANE                             3201 S SALTA STREET
ROSEMEAD CA 91770                      OLD GREENWICH CT 06870                        SANTA ANA CA 92704




HOA TRAN                               HOAG & SONS BOOK BINDERY INC                  HOAG & SONS BOOK BINDERY INC
16356 ALPINE PLACE                     2730 ALPHA ST                                 PO BOX 162
LA MIRADA CA 90638                     LANSING MI 48910-3686                         SPRINGPORT MI 49204-0162




HOBART, CHRISTY                        HOBBS, DUSTIN                                 HOBBS, JANICE
1101 YALE ST                           CALIFORNIA MTG BANKERS ASSOCIATION            1436 S 50 AVE
SANTA MONICA CA 90403                  503 MILL CREEK COURT                          CICERO IL 60804
                                       ROSEVILLE CA 95747



HOBBS, MARY P                          HOBBS, VINCENT                                HOBEL, MICHAEL
4701 SURREY DR                         3701 CASTLE PINES LN      NO.3931             5100 STONE TERRACE DR
CORONA DEL MAR CA 92625                ORLANDO FL 32839                              WHTIEHALL PA 18052




HOBEL, MICHAEL                         HOBO                                          HOCHBERG, CLAIRE MINA
5100 STONE TERRACE RD                  2650 BELVIDERE RD                             162 16TH ST NO.8E
WHITEHALL PA 18052                     WAUKEGAN IL 60085                             BROOKLYN NY 11215




HOCHBERGER, BLAKE                      HOCHMAN, STEVE                                HOCHMAN, STEVE
1113 HIDDEN LAKE DR                    2314 MORENO DRIVE                             279 W LAUREL DRIVE
BUFFALO GROVE IL 60089                 LOS ANGELES CA 90039-3046                     ALTADENA CA 91001




HOCHSCHILD, CHRISTOPHER                HOCHSWENDER, WILLIAM J                        HOCK LIN
3634 N. FREMONT                        32 WINDY RIDGE RD                             3669 CHARIETTE AVE.
APT# 3                                 SHARON CT 06069                               ROSEMEAD CA 91770
CHICAGO IL 60613



HOCKSTEIN, EVELYN                      HODEK, AL                                     HODELIN, RICHARD
312 KIMBLEWICK DR                      P O BOX 800369                                6371 SW 10TH ST
SILVER SPRING MD 20904                 SANTA CLARITA CA 91380                        NORTH LAUDERDALE FL 33068




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HODER, RANDYE                          HODGE TELECOMMUNICATION                       HODGE TELECOMMUNICATION
328 N MANSFIELD AVE                    27 W BROADWAY                                 PO BOX 933
LOS ANGELES CA 90036                   FORT MEADE FL 33841                           FT MEADE FL 33841




HODGE TELECOMMUNICATION                HODGE, KAREEMA                                HODGE, ORZIN
ATTN CONNIE HODGE                      2244 NORDIC PLACE                             7745 GRANDVIEW BLVD
5101 BUFFINGTON RD                     MORROW GA 30260                               MIRAMAR FL 33023
BL 3454
ATLANTA GA 30349


HODGE, VERNON                          HODGEN JR, EDMUND T                           HODGES, ALICIA
5961 NW 61ST AVE     APT 210           PO BOX 172                                    7218 KESTPEL ST
TAMARAC FL 33319                       SHUTESBURY MA 01072                           HOBART IN 46342




HODGES, CLEON ALLEN                    HODGES, TRACEY L                              HODGSON, DIANE
4940 MILLSTONE WALK                    3417 CHARTLEY LANE                            8600 NW 52 CT
STONE MOUNTAIN GA 30088                ROSWELL GA 30075                              LAUDERHILL FL 33351




HODSON, TIMOTHY A                      HOELCK, CHRISTOPHER                           HOERR SCHAUDT LANDSCAPE ARCHITECTS
1725 VALLEJO WAY                       11 WILSON ST                                  850 W JACKSON BLVD STE 800
SACRAMENTO CA 95818                    DANBURY CT 06810                              CHICAGO IL 60607




HOET PELAEZ CASTILLO & DUQUE           HOET PELAEZ CASTILLO & DUQUE                  HOEY, PETER
CCS 13031                              CENTRO SAN IGNACIO TORRE KEPLER AV            1669 FICKLE HILL RD
PO BOX 025323                          AV BLANDIN LA CATELLANA                       ARCATA CA 95521
MIAMI FL 33102-5323                    CARACAS 1060



HOFAMMANN,ALBERT                       HOFFECKER, LESLIE                             HOFFER, DALE
1203 N 19TH ST                         7203 LUDWOOD COURT                            6621 WEST 5TH STREET
ALLENTOWN PA 18104                     ALEXANDRIA VA 22306                           LOS ANGELES CA 90048




HOFFIE NURSERY INC                     HOFFMAN & POLLARD, PLLC                       HOFFMAN, BRENDAN
PO BOX 426                             220 E.42ND STREET                             1435 NEWTON ST NW APT 111
UNION IL 60180                         SUITE 435                                     WASHINGTON DC 20010
                                       NEW YORK NY 10017



HOFFMAN, CHRISTOPHER WILLIAM           HOFFMAN, DONALD P SR                          HOFFMAN, MARVIN A
5670 N W 40TH TERRACE                  1110 STANLEY AVE                              5421 S CORNELL NO.16
COCONUT CREEK FL 33073                 FOUNTAIN HILL PA 18015                        CHICAGO IL 60615




HOFFMAN, MIRIAM S                      HOFFMAN, MUELLER & CREEDON, PTR.              HOFFMAN, NANNETTE
1914 N HONORE                          RE:OTTAWA 507 STATE ST                        403 W SOUTH ST
CHICAGO IL 60622                       510 STATE ST.                                 FL 2
                                       OTTAWA IL 61350                               SLATINGTON PA 18080




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HOFFMAN, NELSON                       HOFFMAN, PETER G                             HOFFMAN,DAVID C
663 MINOR ST                          24W405 CAVALIERI LN                          45 TIMMS HILL ROAD
EMMAUS PA 18049                       NAPERVILLE IL 60540                          HADDAM CT 06438




HOFFMANN, DAVID C                     HOFFMANN, HELEN                              HOFFPAUIR, ERIKA DAWN
904 HEPBURN LANE                      5450 W LELAND                                817 THAMES DR
BEL AIR MD 21014                      CHICAGO IL 60630                             HAMPTON VA 23666




HOFFPAUIR, JAMES M                    HOFFS, ELLEN                                 HOFMANN, MICHELLE
1900 MEADOWHILL                       629 16TH ST                                  8615 HAYVENHURST AVE
JACKSONVILLE TX 75766                 SANTA MONICA CA 90402                        NORTH HILLS CA 91343




HOFMEYER, IRENE                       HOFSTADTER, DOUGLAS                          HOFSTRA UNIVERSITY
2386 HILL RD                          522 SOUTH BALLANTINE                         102 HOFSTRA UNIVERSITY
SELLERSVILLE PA 18960                 BLOOMINGTON IN 47401                         HEMPSTEAD NY 11550-9814




HOFSTRA UNIVERSITY                    HOFSTRA UNIVERSITY                           HOFSTRA UNIVERSITY
140 HOFSTRA UNIVERSITY                147 HOSTRA UNIVERSITY                        202 HOFSTRA HALL
ATTN HOFSTRA CAREER CENTER            ATTN: MR. ROBERT COHEN                       MELISSA CONNOLLY ASSIST. UNIV RELATIONS
HEMPSTEAD NY 11549                    STADIUM BLDG                                 HEMPSTEAD NY 11549
                                      HEMPSTEAD NY 11549


HOFSTRA UNIVERSITY                    HOFSTRA UNIVERSITY                           HOFSTRA UNIVERSITY
ATTN ROBERT COHEN                     ATTN GINA PAOLI                              DAVID S MACK SPORTS
PFC RM 236                            PFC ROOM 233                                 AND EXHIBITION COMPLEX
HEMPSTEAD NY 11549                    HEMPSTEAD NY 11549                           245 HOFSTRA UNIVERSITY
                                                                                   HEMPSTEAD NY 11549


HOFSTRA UNIVERSITY                    HOFSTRA UNIVERSITY                           HOFSTRA UNIVERSITY
MICHAEL B DELUISE VP UNIV RELATIONS   ROOM 163 SWIM CENTER                         ROOM 163 SWIM CENTER
UNIVERSITY RELATIONS OFFICE           HEMPSTEAD NY 11550                           240 HOFSTRA UNIVERSITY
ROOM 202 HOFSTRA HALL                                                              HEMPSTEAD NY 11550
HEMPSTEAD NY 11549


HOFSTRA UNIVERSITY                    HOG ISLAND N Y A                             HOGAN & HARTSON LLP
SCHOOL OF EDUC ALLIED HUMAN SRVC      2116 S 3RD ST                                TIMOTHY J. LYDEN
202 MASON HALL HOFSTRA UNIV           PHILADELPHIA PA 19148                        8300 GREENSBORO DR
HEMPSTEAD NY 11549                                                                 STE 110
                                                                                   MC LEAN VA 22102


HOGAN, KATHRYN A                      HOGAN, MARY ANN                              HOGAN,DANIEL
5 STONEY CT                           9622 PARKVIEW AVE                            36 MEAD AVE
BLOOMINGTON IL 61704                  BOCA RATON FL 33428                          HICKSVILLE NY 11801




HOGE, ADAM                            HOGG, LORI                                   HOGUE, MICHAEL
918 S BELL                            240 EAST 13TH ST NO.28                       3113 PRINCEWOOD DR
CHICAGO IL 60612                      NEW YORK NY 10003                            GARLAND TX 75040




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HOGUET NEWMAN & REGAL LLP             HOH CHEMICALS INCORPORATION                   HOH CHEMICALS INCORPORATION
LAURA B HOGUET                        500 S VERMONT                                 PO BOX 487
10 EAST 40TH ST                       PALATINE IL 60067                             PALATINE IL 60067
NEW YORK NY 10016



HOH CHEMICALS INCORPORATION           HOHENADEL, KRISTIN                            HOHMAN, RALPH
PO BOX 487                            56 RUE VIELLE DU TEMPLE                       410 EAST MAIN ST APT 501
PALATINE IL 60078                     PARIS FRANCE 75003                            MERIDEN CT 06450




HOK SPORTS FACILITIES GROUP LLC       HOKER, KYLE                                   HOLAHAN, DAVID
300 WYANDOTTE STE 300                 1620 W LE MOYNE                               88 HOPYARD RD
KANSAS CITY MO 64105                  CHICAGO IL 60622                              EAST HADDAM CT 06423




HOLCOMB, DAVID L                      HOLDEN MARKETING GROUP                        HOLDEN MARKETING GROUP
810 WESTMOUNT AVENUE                  3550 FRONTIER AVE                             4120 SPECIALTY PLACE
DALLAS TX 75211                       BOULDER CO 80301                              LONGMONT CO 80504




HOLDEN MARKETING GROUP                HOLDEN MARKETING GROUP                        HOLDEN MARKETING GROUP
135 S LASALLE DEPT 2307               607 WASHINGTON AVE NORTH                      PO BOX 1450 NW8512
CHICAGO IL 60674-2307                 MINNEAPOLIS MN 55401                          MINNEAPOLIS MN 55485-8512




HOLDEN MARKETING GROUP                HOLDEN PRODUCTION GROUP                       HOLDEN, BETSY D
PO BOX 1521                           5048 ADDISON CIRCLE                           325 WOODLEY ROAD
MINNEAPOLIS MN 55480-1521             ADDISON TX 75001                              WINNETKA IL 60093




HOLDEN, BETSY D                       HOLDEN, BETSY D.                              HOLDEN, JENNIFER L
C/O OMNIS VENTURES                    325 WOODLEY AVE.                              311 BALLARD ST   APT 10A
1 PARKWAY NORTH STE 280 SOUTH         WINNETKA IL 60093                             YORKTOWN VA 23690
DEERFIELD IL 60015



HOLDEN, JERRY                         HOLDEN, MANESHA                               HOLDER, ROBERT
1686 CAMINO SUENO NO 7                323 YATES AVE                                 2726 NW 6TH STREET
HEMET CA 92545                        CALUMET CITY IL 60409                         POMPANO BEACH FL 33069




HOLDER, TINA J                        HOLDZKOM, LINCOLN                             HOLEHAN, PETE
31 AFTON TERRACE                      7643 CARDIFF PL                               751 SW 148TH AVE    STE 1007
MIDDLETOWN CT 06457                   RANCHO CUCAMONGA CA 91730                     DAVIE FL 33325




HOLLAND & KNIGHT LLP                  HOLLAND & KNIGHT LLP                          HOLLAND & KNIGHT LLP
200 S ORANGE AVENUE                   400 N ASHLEY DR STE 2300                      PO BOX 32092
STE 2600                              PO BOX 1288                                   LAKELAND FL 33802-2092
ORLANDO FL 32802-1526                 TAMPA FL 33602-4300




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HOLLAND & KNIGHT LLP                   HOLLAND & KNIGHT LLP                          HOLLAND AND KNIGHT LLP
PO BOX 864084                          10 ST JAMES AVENUE                            RE: WEST ORANGE DISTRIBUTION
ORLANDO FL 32886                       BOSTON MA 02116                               ATTN: WILEY S. BOSTON, ESQ.
                                                                                     200 SOUTH ORANGE AVENUE, SUITE 2600
                                                                                     ORLANDO FL 32801


HOLLAND JR, FLOYD NELSON               HOLLAND, FAITH                                HOLLAND, FRANK
7702 PARKSIDE DR                       13 TAMARAC AVE                                1839 OLIVER AVE APT 4
LITHIA SPRINGS GA 30122                NEW CITY NY 10956                             VALLEY STREAM NY 11580




HOLLAND, KRISTINE M                    HOLLAND, LAURA                                HOLLAND, MARIA
653 NE SOMMERSETH ST                   149 HIGH ST                                   345 S DOHNEY DR    NO.107
POULSBO WA 98370                       AMHERST MA 01002-1853                         BEVERLY HILLS CA 90211




HOLLAND, VALARIE R                     HOLLANDER, MARTIN                             HOLLANDER, MARTIN
6506 S. PEORIA                         C/O NEWSDAY                                   PO BOX 318
CHICAGO IL 60621                       235 PINELAWN ROAD                             LINDENHURST NY 11757-0318
                                       MELVILLE NY 11747



HOLLANDER, NICOLE                      HOLLANDSWORTH, TODD                           HOLLENBECK, SARAH
3421 N CLAREMONT                       946 COUNTRY CLUB PRKWAY                       5805 N. MAGNOLIA AVE APT NO.2
CHICAGO IL 60618                       CASTLE ROCK CO 80108                          CHICAGO IL 60660




HOLLERAN, RYAN                         HOLLEY, DAVID R                               HOLLEY, DAVID R
351 SPENCEOLA PKWY                     WARSAW BUREAU                                 WARSAW BUREAU
FOREST HILL MD 21050                   C/O EXPENSE REPORTING, 1ST FL                 LA TIMES FOREIGN DESK
                                       LOS ANGELES CA 90012                          202 W 1ST ST
                                                                                     LOS ANGELES CA 90053


HOLLEY, PETER J                        HOLLEY, REGINA                                HOLLI MONROY
255 18TH STREET NO.303                 72 SPRUCE ST                                  10053 WESTPARK DR
BROOKLYN NY 11215                      APT 7D                                        #302
                                       STAMFORD CT 06902                             HOUSTON TX 77042



HOLLI SATTERFIELD                      HOLLIDAY, ANDREW                              HOLLIDAY, JOANN
204 THOMAS NELSON LANE                 2905 WESTCHESTER DR                           6822 S TALMAN AVE
WILLIAMSBURG VA 23185                  AUGUSTA GA 30909                              CHICAGO IL 60619




HOLLIDAY, JONISE LANELL                HOLLIE JOHNSON                                HOLLIFIELD, ELAINE
2661 MANCHESTER DR                     434 PINE RIDGE DRIVE E.                       3195 TEXAS AVE
APT 4                                  WESTFIELD IN 46074                            SIMI VALLEY CA 93063
BAKER LA 70714



HOLLINGSHEAD INDUSTRIES, IN            HOLLINGSWORTH, ANDREW                         HOLLIS NAPOLI
6360 BELLEAU WOOD LANE, STE            8400 NW 38 ST.                                17156 WALTER STREET
SACRAMENTO CA 95822-5925               CORAL SPRINGS FL 33065                        LANSING IL 60438




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HOLLIS, DUNCAN                       HOLLMAN, LAURIE                               HOLLOMON, ALYSE
72 WYNNEDALE RD                      1 WAWAPEK RD                                  8915 ST ANDREWS DR
NARBERTH PA 19072                    COLD SPRING HARBOR NY 11724                   CHESAPEAKE BEACH MD 20732




HOLLOW, MICHELE C                    HOLLOWAY, VIRGINIA                            HOLLOWELL, ANTHONY
159 ACADEMY STREET                   14 FAIRMOUNT ST                               131 CREST AVE
SOUTH ORANGE NJ 07079                HARTFORD CT 06120                             BETHLEHEM PA 18015




HOLLOWELL, JESSICA                   HOLLY BLAIR                                   HOLLY CHUNG
8931 BEVERLYWOOD STREET              240 EAST ILLINOIS STREET                      822B GOLDEN WEST AVENUE
LOS ANGELES CA 90034                 L406                                          ARCADIA CA 91007
                                     CHICAGO IL 60611



HOLLY CLEVENGER                      HOLLY FRASER                                  HOLLY GLANTZ
115 NELSON DRIVE                     423 E. AMERIGE                                6 HEATHER DRIVE
NEWPORT NEWS VA 23601                FULLERTON CA 92832                            ROSLYN NY 11576




HOLLY GREGORY-FULLER                 HOLLY HLADKY                                  HOLLY KLARMAN
4360 HUNTINGTON BOULEVARD            1950 OLD MILL ROAD                            1082 LILLYGATE WAY
HOFFMAN ESTATES IL 60192             MERRICK NY 11566                              BEL AIR MD 21014




HOLLY M DEAN                         HOLLY O'NEIL RINK                             HOLLY RIOZZI
213 SHERMAN AVE.                     1036 WALT WHITMAN WAY                         22 NORTH PINE ST
QUEENSBURY NY 12804                  VIRGINIA BEACH VA 23455                       NIANTIC CT 06357




HOLLY SCHNEIDER                      HOLLY, RICHARD L                              HOLLYWOOD CHAMBER OF COMMERCE
837 W. ROSCOE                        617 S. WASHINGTON ST.                         7018 HOLLYWOOD BOULEVARD
UNIT 4W                              HAVRE DE GRACE MD 21078                       LOS ANGELES CA 90028
CHICAGO IL 60657



HOLLYWOOD CLOSE-UPS, INC.            HOLLYWOOD HEALTH CENTER                       HOLLYWOOD NEWS CALENDAR
6121 SUNSET BLVD.                    1462 NORTH VINE STREET                        PO BOX 55624
HOLLYWOOD CA 90028                   HOLLYWOOD CA 90028                            SHERMAN OAKS CA 91413-0624




HOLLYWOOD SOUND SYSTEMS              HOLM, ERIK                                    HOLMAN, DOLORES
1541 NORTH WILCOX AVENUE             351 17TH ST  APT 2R                           C/O GREG REEDPROSKAUER ROSE LLP
HOLLYWOOD CA 90028-7308              BROOKLYN NY 11215-6124                        1585 BROADWAY
                                                                                   NEW YORK NY 10036



HOLMAN, DOLORES                      HOLMAN, DOLORES                               HOLMAN,JAMES
PO BOX 355                           SMOKEY STOVER LLC                             NASSAU NEWSPAPER DELIVERY
SOUTHOLD NY 11971                    PO BOX 355                                    P O BOX 414
                                     SOUTHOLD NY 11971                             HEMPSTEAD NY 11550




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HOLMAN,JAMES                            HOLMBERG, WILLIAM HERBERT                     HOLMES ENGRAVING COMPANY
P O BOX 414                             VIA ARIOSTO 2/2                               3730 W DEVON AVENUE
HEMPSTEAD NY 11550                      SAN PANCRAZIO 48026                           LINCOLNWOOD IL 60712-1102




HOLMES, BERNETA J                       HOLMES, CHANTE M                              HOLMES, CONNIE
7809 S SPAULDING AVE                    8104 WEBB RD APT 2612                         304 APT H PATRIOT LANE
CHICAGO IL 60652                        RIVERDALE GA 30274                            WILLIAMSBURG VA 23185




HOLMES, CONSUELA                        HOLMES, DANIEL A                              HOLMES, JORDAN L
7935 S EBERHART                         61 MERIDIAN ST                                15440 76TH RD N
CHICAGO IL 60619                        GREENFIELD MA 01301-2909                      LOXAHATCHEE FL 33470




HOLMES, KATHLEEN                        HOLMES, KIM                                   HOLMES, LYNNETTE RAGINA
11 EDITH KEY ST                         2978 TROUSSEAU LN                             PO BOX 929
HAMPTON VA 23666                        OAKTON VA 22124                               URBANNA VA 23175




HOLMES, MELIA                           HOLMES, TERRAH LEIGH                          HOLMES, THOMAS
1918 YOUNG RD                           430 E CHEYENNE MOUNTAIN BLVD APT 28           187 MERRIMAC TRAIL APT NO.4
LITHINONIA GA 30058                     COLORADO SPRINGS CO 80903                     WILLIAMSBURG VA 23185




HOLMES, THOMAS                          HOLMES, VANESSA                               HOLMES, WALTER
CASE NO.0003428117                      4813 SW 41ST ST APT 202                       1791 SW 112TH TER
PO BOX 570                              PEMBROKE PARK FL 33023                        MIRAMAR FL 33025
RICHMOND VA 23218-0570



HOLNESS, CLIFTON                        HOLO SOURCE CORPORATION                       HOLROYD, ERIN
137 ROCKWELL AVE                        12060 HUBBARD ST                              130 CLINTON AVE
BLOOMFIELD CT 06002-3219                LIVONIA MI 48150                              STRATFORD CT 06614




HOLSINGER, GLENN N                      HOLSTON, NOEL W                               HOLT, JAMES
1480 FENNEL RD                          180 DELL AVE                                  2 FIFTH AVE APT 18-R
PENNSBURG PA 18073                      ATHENS GA 30606                               NEW YORK NY 10011




HOLTER, DARRYL                          HOLTER, DARRYL                                HOLTHAUSEN, KATHLEEN
440 S MCCADDEN PL                       ATTN THE SHAMMAS GROUP                        259 NW 39TH WAY
LOS ANGELES CA 90020                    714 WEST OLYMPIC BLVD NO.710                  DEERFIELD BEACH FL 33442
                                        LOS ANGELES CA 90015



HOLTHAUSEN, KATHLEEN                    HOLTON BROWN                                  HOLTON, SUSAN V
POB 970603                              1094 CAMERON RD                               1512 W JONQUIL TER
COCONUT CREEK FL 33097                  BALTIMORE MD 21212                            CHICAGO IL 60626




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HOLTZ, AMARILDO                       HOLTZ, HARRIET                                HOLTZ, PAULICEIA
8406 WEST SAMPLE RAOD APT 122         400 E 56 ST    APT 25E                        8406 W SAMPLE RD
CORAL SPRINGS FL 33065                NEW YORK NY 10022                             CORAL SPRINGS FL 33065




HOLY CROSS HIGH SCHOOL                HOLZBERG, JANENE                              HOLZER, JACKIE
587 ORONOKE RD                        8786 AUTUMN HILL DRIVE                        224 SCOTLAND RD
WATERBURY CT 06708                    ELLICOTT CITY MD 21043                        MADISON CT 06443-3414




HOLZKNECHT, SCOTT A                   HOLZMACHER MCLENDON MURRELL PC                HOM, GERALD
12762 NW 13 CT.                       575 BROAD HOLLOW ROAD                         71-07 NANSEN ST
CORAL SPRINGS FL 33071                MELVILLE NY 11747                             FOREST HILLS NY 11375




HOM, MELISSA                          HOMAR, SANDRA                                 HOMBRE WINGFIELD
114-43 DALIAN COURT                   18 WRIGHT ST                                  2505 ASHTON STREET
COLLEGE POINT NY 11356                STAMFORD CT 06902                             BALTIMORE MD 21223




HOME & CASTLE LLC                     HOME CLEARINGHOUSE                            HOME COMMUNITY HEALTH SERVICE
14936 TULLAMORE LOOP                  PO BOX 944                                    PO BOX 1199
WINTER GARDEN FL 34787                ATKINSON NH 03811                             ENFIELD CT 06082




HOME DEPOT                            HOME DEPOT                                    HOME DEPOT
2782 EL CAMINO REAL                   DBA THE HOME DEPOT                            GECF
TUSTIN CA 92780                       2455 PACES FERRY ROAD                         PO BOX 9903
                                      ATLANTA GA 30339-4024                         MACON GA 31297-9903



HOME DEPOT                            HOME DEPOT                                    HOME DEPOT
GIFT CERTIFICATE DEPT B-10            NO. 0266                                      PO BOX 103081
2455 PACES FERRY RD                   PO BOX 9903                                   ROSWELL GA 30076
ATLANTA GA 30339-4024                 MACON GA 31297-9903



HOME DEPOT                            HOME DEPOT                                    HOME DEPOT
PO BOX 105991                         PO BOX 15715                                  PO BOX 9903
DEPT 24                               ATTN ADELLA TYSON                             MACON GA 31297-9903
ATLANTA GA 30348-5991                 ATLANTA GA 30339



HOME DEPOT                            HOME DEPOT                                    HOME DEPOT
PO BOX 9915                           P O BOX 9905                                  PO BOX 9055
DEPT 24                               DES MOINES IA 50368-9055                      DES MOINES IA 50368-9055
MACON GA 31297



HOME DEPOT                            HOME DEPOT                                    HOME DEPOT
P O BOX 4536 DEPT 24                  PO BOX 4534 DEPT.24                           PO BOX 4535
CAROL STREAM IL 60197-4536            CRLSTRM IL 60197                              DEPT 24
                                                                                    CAROLSTREAM IL 60197-4536




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HOME DEPOT                             HOME DEPOT                                    HOME DEPOT
5 ALLSTATE RD                          DEPT 32-2002913113                            DEPT 32-2014192466
BOSTON MA 02125                        PO BOX 6029                                   HOME DEPOT CREDIT SERVICES
                                       THE LAKES NV 88901-6029                       PO BOX 6029
                                                                                     THE LAKES NV 88901-6029


HOME DEPOT                             HOME DEPOT                                    HOME DEPOT
HOME DEPOT CREDIT SERVICES             PO BOX 6031                                   COMMERCIAL ACCOUNT
PO BOX 6029                            THE LAKES NV 88901-6031                       PO BOX 660335
THE LAKES NV 88901-6029                                                              DALLAS TX 75266



HOME FURNISHING COUNCIL                HOME LISTING SERVICE LLC                      HOME LISTING SERVICE LLC
3411 SILVERSIDE RD.                    412 PINNACLE WAY                              86 W VILLA
SUITE 200                              LUDLOW KY 41016                               FT THOMAS KY 41075
WILMINGTON DE 19810



HOME MAX LLC                           HOME MAX LLC                                  HOME NEWS SERVICE INC
17531 SW KELOK                         2020 SW 8TH AVE STE 271                       PO BOX 3001
LAKE OSWEGO OR 97034                   WEST LINN OR 97068                            LARCHMONT NY 10538




HOME TEAM CALIFORNIA                   HOME TEAM SPORTS                              HOME, LARRY
ATTN CHERYL FLETCHER                   7700 WISCONSIN AVE                            36 ENTERPRISE
1930 W SAN MARCOS BLVD NO.292          BETHESDA MD 20814                             FALCON, WA 6210
SAN MARCOS CA 92078



HOMEAVENUE INC                         HOMEL, BENJAMIN                               HOMEMAX SERVICES LLC
7825 WAYZATA BLVD                      1717 DIXIE HIGHWAY                            174 TALCOTT RD
SAINT LOUIS MN 55426                   FT WRIGHT KY 41011                            WEST HARTFORD CT 06110




HOMEOWNERS SHOWCASE                    HOMER HARDEMAN                                HOMESMART REPORTS
7340 STEPPINGSTONE PL                  1401 N. LAWLER                                32240 C PASEO ADELANTO SUITE C
LIBERTY TOWNSHIP OH 45044              CHICAGO IL 60651                              SAN JUAN CAPISTRANO CA 92675




HONESTLY SPEAKING INC                  HONEYMAN, ALLISON MICHELLE                    HONEYWELL, DAVID
FSO DEBI MAE WEST                      260 DEER BROOKE CIRCLE                        515 MEYERS DR
C/O PARADIGM                           SOUTHINGTON CT 06489                          ROCKY HILL CT 06067
360 PARK AVENUE SOUTH 16TH FLR
NEW YORK NY 10010


HONG LUONG                             HONG, PAUL                                    HONKAWA, JAIME
421 S. NEW AVE.                        141-21 33RD AVE                               561 IDA ST
APT. D                                 FLUSHING NY 11354                             PACIFIC PALISADES CA 90272
MONTEREY PARK CA 91755



HONORE MCGEOWN                         HONORE, ALIX                                  HONORE, ERZULIE
30 BALSAM DRIVE                        168 SE 28TH CT. #1                            3617 NW 14TH CT
MEDFORD NY 11763                       BOYNTON BEACH FL 33435                        LAUDERHILL FL 33311




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HONORIO GARCES                          HONORWAY INVESTMENT CORP                      HONORWAY INVESTMENT CORP
14148 CLARK ST.                         RE: SAN FRANCISCO 388 MARKET                  PO BOX 7140
BALDWIN PARK CA 91706                   C/O PM REALTY GROUP                           SAN FRANCISCO CA 94120-7140
                                        PO BOX 7140
                                        SAN FRANCISCO CA 94120-7140


HONORWAY INVESTMENT CORPORATION         HOOD, JOEY                                    HOOD, JOHN
RE: SAN FRANCISCO 388 MARKET            53 HAMILTON AVE                               3347 SW 25 TERRACE
388 MARKET STREET                       STATEN ISLAND NY 10301                        MIAMI FL 33133
SUITE 300
SAN FRANCISCO CA 94111


HOOD, LADONNA                           HOOD, RONALD                                  HOOD, SUSAN RAE
1395 CAUDLE CT                          1758 RS RANCH RD                              375 LAUREL ST
ORLANDO FL 32828-5109                   SAINT CLOUD FL 34771                          HARTFORD CT 06105




HOODBHOY, PERVEZ                        HOODS, CASSANDRA                              HOOGLAND ORLANDO
PHYSICS DEPT                            9421 NW 42ND ST                               RE: SANFORD 112-116 FIRST ST.
QUAIDE E AZAM UNIVERSITY                SUNRISE FL 33351                              C/O FIRST CAPITAL PROPERTY GROUP
ISLAMABAD 45320                                                                       1516 E. HILLCREST ST., SUITE 210
                                                                                      ORLANDO FL 32803


HOOGLAND ORLANDO INC                    HOOGLAND ORLANDO, INC.                        HOOGLAND ORLANDO, INC.
1516 E HILLCREST ST STE 210             RE: SANFORD 112-116 FIRST ST.                 RE: SANFORD 116 W. FIRST ST
ORLANDO FL 32803                        C/O FIRST CAPITAL PROPERTY GROUP, INC.        C/O FIRST CAPITAL PROPERTY GROUP, INC.
                                        120 E. COLONIAL DRIVE                         120 E. COLONIAL DR.
                                        ORLANDO FL 32801                              ORLANDO FL 32801


HOOK SLIDE INC                          HOOK SLIDE INC                                HOOK SLIDE INC
231 HESSIAN HILLS RD                    280 MARCOTT RD                                ATTN ROGER KAHN
CROTON-ON-HUDSON NY 10520               KINGSTON NY 12401                             231 HESSIAN HILLS RD
                                                                                      CROTON ON HUDSON NY 10520



HOOK SLIDE INC                          HOOK, DERRON                                  HOOK, KATHERINE
ATTN: ROGER KAHN                        1336 S 10TH ST APT 1                          4325 O'KANE COURT
PO BOX 556                              ALLENTOWN PA 18103                            FT MEADE MD 20755
STONERIDGE NY 12484-0556



HOOKS, TWANDA                           HOOPER, CRAIG H                               HOOSIER BADGE
4812 CALIBRE CREEK PARKWAY              PO BOX 119                                    6161 HILLSIDE AVE
ROSWELL GA 30076                        BOOTH BAY ME 04537                            INDIANAPOLIS IN 46220




HOOTON, BURT                            HOOVER HULL LLP                               HOOVER HULL LLP
3619 GRANDY CT                          111 MONUMENT CIRCLE STE 4400                  PO BOX 44989
SAN ANTONIO TX 78214                    PO BOX 44989                                  INDIANAPOLIS IN 46244
                                        INDIANAPOLIS IN 46244-0989



HOOVER, CORRIN M                        HOOVER, ELIZABETH                             HOOVER, RAYMOND A
732 FERRY ST                            601 WEST KIRKWOOD AVE         APT 2           91 FAIRVIEW AVE
EASTON PA 18042                         BLOOMINGTON IN 47404                          MORRISVILLE PA 19067




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HOOVER, SARAH A                        HOP MEADOW COUNTRY CLUB                       HOPE ASKEW
290 HARBOR ROAD                        85 FIRETOWN RD                                3909 FORREST HILLS DRIVE
COLD SPRING HARBOR NY 11724            SIMBURY CT 06070                              PORTSMOUTH VA 23703




HOPE BROWN                             HOPE JR, JOE LOUIS                            HOPE MILLER
109 W. HENRIETTA STREET                2509 WILEY COURT                              48 HUNGTINGTON STREET
BALTIMORE MD 21230                     HOLLYWOOD FL 33020                            3B
                                                                                     HARTFORD CT 06105



HOPE PIZZA RESTAURANT                  HOPE WINSTON-BRINKLEY                         HOPE WRAY
230 HOPE ST                            182 CONNECTICUT AVENUE                        513 CORAL KEY PLACE
STAMFORD CT 06906                      STAMFORD CT 06902                             APT. #1-A
                                                                                     NEWPORT NEWS VA 23606



HOPE, ANDREA J                         HOPETON SIMONS                                HOPKINS, FELICIA
216 SW 9TH CIRRCLE                     40 MANIZAKS AVENUE                            3653 HARMONY CHURCH RD
DELRAY BEACH FL 33444                  PUNTA GORDA FL 33983                          HAVRE DE GRACE MD 21078




HOPKINS, ROBERT C                      HOPKINS, TRACY                                HOPKINSON, CATHERINE
157 SENTAR RD                          120 BOERUM PLACE APT 1H                       417 HICKS ST APT 6D
CARPINTERIA CA 93013                   BROOKLYN NY 11201                             BROOKLYN NY 11201




HOPKINSON, JENNY                       HOPPE, WILLIAM                                HOPPER, JESSICA
68 BLACKWOOD LN                        315 WADSWORTH CT                              2202 W RACE ST NO. 3E
STAMFORD CT 06903                      TONAWANDA NY 14150                            CHICAGO IL 60612




HOPPES, SONYA JILL DUFF                HOPPLE, ELISSA M                              HOPWOOD, BRITTANY
1252 STONEHAVEN COURT                  28 SPRINGVALE ROAD                            8351 NW 48TH ST
HEATHROW FL 32746                      RED LION PA 17356                             LAUDERHILL FL 33351




HORA, JESSE                            HORACE LILES                                  HORACE SCOTT
1670 N CLAREMONT    APT 108            4609 PLACE ONE DRIVE                          107-29 132ND ST.
CHICAGO IL 60647                       GARLAND TX 75042                              RICHMOND HILL NY 11419




HORACE SMITH                           HORAN, DANIEL                                 HORATIO ALGER ASSOCIATION
7770 NW 78TH AVE                       12246 MONTANA AVE NO.202                      99 CANAL PLAZA
APT 2313                               LOS ANGELES CA 90049                          ALEXANDRIA VA 22314
TAMARAC FL 33321



HORECZKO, CHRISTOPHER T                HORGAN, DENIS                                 HORIA DIACONESCU
1744 APPIAN WAY                        45 RIGG AVE                                   763 SENECA AVENUE
MONTEBELLO CA 90640                    WEST HARTFORD CT 06107                        #2R
                                                                                     RIDGEWOOD NY 11385




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HORINE, SAM                            HORIZON                                       HORIZON SOFTWARE INC
340 21ST NO.1L                         HORIZON                                       PO BOX 735
BROOKLYN NY 11215                      630 3RD AVE                                   GLASTONBURY CT 96033-0735
                                       NEW YORK NY 10017



HORMAZA,MAURICIO                       HORN, DUSTIN                                  HORN, IAN
195 LAKEVIEW DR APT 205                203 E BERCKMAN ST                             741 CROSS AVE
WESTON FL 33326                        FRUITLAND PARK FL 34731                       LOS ANGELES CA 90065




HORN, JASON                            HORNBACHER, GARY                              HORNBERGER, LEE
12 GRACE MOORE RD                      33800 SHAWNEE DR                              6 MOUNTAIN SPRING RD
SANDY HOOK CT 06482                    DAGSBORO DE 19939                             BURLINGTON CT 06013-1819




HORNBLOW, DEBORAH                      HORNE, ARTHUR                                 HORNE, GARY
26 AUBURN ROAD                         10301 SW 16TH COURT                           602 FAIRWOOD AVE
WEST HARTFORD CT 06119                 PEMBROKE PINES FL 33025                       CHARLOTTE NC 28203




HORNE, MARY A                          HORNE, VINCENT                                HORNELL PARTNERS INC
3110 LAKE ARNOLD PLACE                 2721 CYPRESS AVE                              211 N PARK BLVD
ORLANDO FL 32806-1654                  MIRAMAR FL 33025                              GLEN ELLYN IL 60137




HORNING, LORI                          HOROWITZ ASSOCIATES                           HOROWITZ, FREDRICK R
311 STONE HAVEN DR                     1971 PALMER AVENUE                            PO BOX 3613
RED HILL PA 18076                      LARCHMONT NY 10538                            SANTA MONICA CA 90406-3813




HOROWITZ, JAMIE                        HOROWITZ, RICHARD M                           HOROZY, CHERYL
3497 MARY NOEL AVENUE                  4014 N MORRIS BLVD                            PO BOX 937
BETTENDORF IA 52722                    SHOREWOOD WI 53211                            AVON CT 06001




HORSEY, DAVID                          HORSFALL, CLAYTON                             HORST BERGMAN
1410 N 39TH ST                         833 S DWYER AVE                               ATTN: HORST BERGMAN
SEATTLE WA 98103                       ARLINGTON HEIGHTS IL 60005                    4261 PRESERVE PARKWAY SOUTH
                                                                                     GREENWOOD CO 80121



HORSTMEYER, ERICA                      HORTA, KORINNA                                HORTA, KORINNA
836 GARFIELD ST                        ENVIRONMENTAL DEFENSE                         7324 BALTIMORE AVE
DENVER CO 80206                        1875 CONNECTICUT AVE STE 600                  TAKOMA PARK MD 20912
                                       WASHINGTON DC 20009



HORTENCIA JUAREZ                       HORTENSE BAILEY                               HORTENSIA SERRANO
PO BOX 10                              18 HAMPTON LANE                               38 FRANKLIN AVE.
WEST CHIAGO IL 60186                   BLOOMFIELD CT 06002                           NORTHLAKE IL 60164




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HORTICULTURAL CREATIONS INC            HORTON JONES ELECTRICAL                       HORTON JONES ELECTRICAL
53-55 BEACH ST                         1225 NE 24 STREET                             CONTR INC
NEW YORK NY 10013                      ATTN: ORDER                                   1225 NE 24TH STREET
                                       WILTON MANORS FL 33305                        WILTON MANORS FL 33305



HORTON SR, NORMAN C                    HORTON, BRIAN                                 HORTON, DORIS J
2525 COACH BRIDGE CT                   399 HIGH ST APT B                             3028 GRANDOLA DR
OVIEDO FL 32766                        COVENTRY CT 06238-3340                        ORLANDO FL 32811




HORTON, JENNIFER                       HORTON, JUANITA R                             HORTON, LORRAINE
8329 E STATE RD 44                     5721 S WASHTENAW                              3970 PROSEPECT RD
STE 5716                               CHICAGO IL 60623                              STREET MD 21154
WILDWOOD FL 34785



HORTON,ANNETTA W                       HORWITH, BROOKE                               HORWITZ, DARRELL
64 EAST CONCORD ST                     1302 N 19TH ST                                1812 S STATE ST NO.12
CENTRAL FLORIDA NEWS 13                ALLENTOWN PA 18104                            CHICAGO IL 60616
ORLANDO FL 32801



HORWITZ, DARRELL                       HORWITZ, MELISSA                              HOSACK, NILA E
1812 S STATE ST NO.12                  2541 LAWNDALE                                 21 WESTOVER ST
CHICAGO IL 60618                       EVANSTON IL 60201                             HAMPTON VA 23669




HOSE MAN INC                           HOSEGOOD, LYNN                                HOSIE FROST LARGE & MCARTHUR
5397 N IRWINDALE AVE                   4475 PLEASANT VIEW DR                         DIANE S RICE
IRWINDALE CA 91706-2025                WILLIAMSBURG VA 23188                         ONE MARKET ST
                                                                                     SPEAR STREET TOWER 22ND FL
                                                                                     SAN FRANCISCO CA 94105


HOSKINS, BERNARD TYRONE                HOSKINS, STUART S                             HOSKINS, STUART S
1185 MEADOWLARK LN                     1380 WENTWORTH AVE                            1780 WENTWORTH AVE
MEMPHIS TN 38116                       CALUMET CITY IL 60409                         CALUMET CITY IL 60409




HOSLER, KAREN A                        HOSLEY, CHERRYL LYNNELL                       HOSLEY, WILLIAM
12 CONSTITUTION AVE                    2788 DORSON WAY                               30 OLD ABBE RD
ANNAPOLIS MD 21401                     DELRAY BEACH FL 33445                         ENFIELD CT 06082




HOSMON,ROBERT                          HOSTETTER, JANET L                            HOT PRODUCTIONS
3071 OAK AVENUE                        421 BELVIDERE ST E                            6415 WAYZATA BLVD
COCONUT GROVE FL 33133                 ST PAUL MN 55107                              ST LOUIS PARK MN 55426




HOT SHOTS VIDEO PRODUCTIONS            HOT TOPICS PUBLICATIONS INC                   HOTALING'S NEWS AGENCY INC
172 MARLOW DRIVE                       PO BOX 183                                    630 W 52ND ST
OAKLAND CA 94605                       WYNCOTE PA 19095-0183                         NEW YORK NY 10019-5013




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HOTCHKISS PEACOCK RANCH INC.         HOTCHKISS, ELISABETH P                        HOTCHKISS, JOHN
5990 SAN SIMEON CK RD                2055 WATERSEDGE DR.                           397 CIRCLE DR
CAMBRIA CA 93428                     DELTONA FL 32738                              TORRINGTON CT 06790-5927




HOTCHKISS, RYAN                      HOTPROPTV.COM                                 HOUDE, GEORGE L
397 CIRCLE DR                        2104 WEST MAGNOLIA                            412 JACKSON ST
TORRINGTON CT 06790                  BURBANK CA 91504                              EAST DUNDEE IL 60118




HOUF, ROBERT H                       HOUGHTON INTERNATIONAL INC                    HOUGHTON, JONATHAN
219 S 17TH ST                        PO BOX 930                                    2 W 111TH ST APT 3E
ST CHARLES IL 60174                  VALLEY FARGE PA 19482-0930                    NEW YORK NY 10026




HOUK, MARTIN C                       HOUMAN ALIABADI                               HOUND GROUP INC
21 MOHANNIS WAY                      6715 9TH AVE NW                               1376 CARY RD
KINGS PARK NY 11754                  SEATTLE WA 98117                              ALGONQUIN IL 60102




HOUND GROUP INC                      HOUPPERT, KAREN S                             HOUR
1914 S JEFFERSON ST                  2643 N CALVERT ST                             346 MAIN AVE
CHICAGO IL 60616                     BALTIMORE MD 21218                            NORWALK CT 06851




HOUR                                 HOUSE VALUES LLC                              HOUSE WARMING EXPRESS
P O BOX 790                          11332 NE 122ND WAY                            20 HAYRICK LANE
NORWALK CT 06851-0790                KIRKLAND WA 98034                             COMMACK NY 11725




HOUSE, CHRISTINA                     HOUSEHOLD FINANCIAL CORPORATION,              HOUSEPAD.COM REALTORS
6385 CERRIOTOS AVE                   AS SUCCESSOR IN INTEREST TO BENEFICIAL        1500 CONRAD WEISER PARKWAY
LONG BEACH CA 90805                  FLORIDA, INC.                                 WOMELSDORF PA 19567
                                     BRAY & SINGLETARY PA, PO BOX 5317
                                     JACKSONVILLE FL 32201


HOUSEPAD.COM REALTORS                HOUSER III, JOHN C                            HOUSEY, JOE
1500 CONRAD WISER PARKWAY            619 S KENWOOD AVE                             4214 PIERCE ST
WOMELSDORF PA 19567                  BALTIMORE MD 21224                            HOLLYWOOD FL 33021




HOUSING GUIDES OF AMERICA            HOUSING GUIDES OF AMERICA                     HOUSING GUIDES OF AMERICA
8541 E ANDERSON DR NO.103            17780 FITCH SUITE 195                         523 N. SAM HOUSTON PARKWAY E. NO.300
SCOTTSDALE AZ 85255                  C/O HOMEBUYERS GUIDE                          HOUSTON TX 77060
                                     IRVINE CA 92614



HOUSING GUIDES OF AMERICA            HOUSING GUIDES OF AMERICA                     HOUSMAN, ROBERT
C/O PIXEL WORKS CORPORATION          PO BOX 672681                                 20431 FOXWORTH CIRCLE
8603 BOTTS LANE                      HOUSTON TX 77267                              ESTERO FL 33928
SAN ANTONIO TX 78217




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HOUSTON ASTROS BASEBALL CLUB            HOUSTON ASTROS BASEBALL CLUB                  HOUSTON CHRONICLE PUBLISHING COMPANY
501 CRAWFORD                            PO BOX 288                                    PO BOX 80086
HOUSTON TX 77002                        HOUSTON TX 77001-0288                         PRESCOTT AZ 86304




HOUSTON CHRONICLE PUBLISHING COMPANY    HOUSTON CHRONICLE PUBLISHING COMPANY          HOUSTON CHRONICLE PUBLISHING COMPANY
801 TEXAS AVE                           PO BOX 200084                                 PO BOX 4260
HOUSTON TX 77002                        HOUSTON TX 77216                              SHOWEST CONVENTION
                                                                                      HOUSTON TX 77210



HOUSTON CHRONICLE PUBLISHING COMPANY    HOUSTON FENCE CO                              HOUSTON LIVESTOCK AND RODEO
PO BOX 4464                             13300 MURPHY ROAD                             PO BOX 20070
HOUSTON TX 77210-4464                   STAFFORD TX 77477-4399                        HOUSTON TX 77225-0070




HOUSTON MEDIA CLASSIC                   HOUSTON MITCHELL                              HOUSTON NFL HOLDINGS LP
PO BOX 27592                            526 N BALTON AVENUE                           DBA HOUSTON TEXANS
HOUSTON TX 77227                        SAN DIMAS CA 91773                            RELIANT STATIUM TWO RELIANT PARK
                                                                                      HOUSTON TX 77054



HOUSTON OILERS                          HOUSTON TOWER JOINT VENTURE                   HOUSTON, PAM
ADMINISTRATIVE OFFICES                  7700 WESTPARK DR                              P O BOX 324
6910 FANNIN                             HOUSTON TX 77063                              CREEDE CO 81130
HOUSTON TX 75559



HOVAN JR, MICHAEL                       HOVAN, JOSEPH                                 HOVAN, KERRI
232 W GILBERT ST APT 107                1921 DONALD RD                                1921 DONALD RD
HAMPTON VA 23669                        EFFORT PA 18330                               EFFORT PA 18330




HOVANESSIAN, ANNIE                      HOVANNISIAN, GARIN K                          HOVERMAN, ALEC
2429 N REESE PL                         101 N GROVERTON PL                            148 HOOSAC RD
BURBANK CA 91504-2215                   LOS ANGELES CA 90077                          CONWAY MA 01341




HOVING ASSOCIATES INC                   HOWARD BEACON                                 HOWARD BLUME
150 E 73RD ST                           40 CLYDE AVENUE                               3115 BERKELY CIRCLE
NEW YORK NY 10021                       HEMPSTEAD NY 11550                            LOS ANGELES CA 90026




HOWARD COUNTY                           HOWARD COUNTY                                 HOWARD COUNTY
3410 COURTHOUSE DR                      DIR OF FINANCE                                DIR OF FINANCE
ELLICOTT CITY MD 21043                  7120 OAKLAND MILLS ROAD                       3300 NORTH RIDGE RD. NO.380
                                        COLUMBIA MD 21046                             ELLICOTT CITY MD 21043



HOWARD COUNTY                           HOWARD COUNTY                                 HOWARD COUNTY
DIR OF FINANCE                          DIRECTOR OF FINANCE                           DIRECTOR OF FINANCE
3430 COURTHOUSE DRIVE                   PO BOX 37213                                  PO BOX 2748
ELLICOTT CITY MD 21043                  BALTIMORE MD 21297-3213                       ELLICOTT CITY MD 21041-2748




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HOWARD COUNTY                          HOWARD COUNTY DEPT. OF FINANCE                HOWARD COUNTY DEPT. OF FINANCE
POLICE DEPT                            ACCT NO. 65952060                             ACCT NO. 65952065
AUTOMATED ENFORCEMENT                  P.O. BOX 37213                                P.O. BOX 37213
PO BOX 17414                           BALTIMORE MD 21297-3213                       BALTIMORE MD 21297-3213
BALTIMORE MD 21297-1414


HOWARD COUNTY ECONOMIC                 HOWARD COUNTY ECONOMIC                        HOWARD COUNTY FAIR
6751 COLUMBIA GATEWAYNO.500            DEVELOPMENT AUTHORITY                         2210 FAIRGROUND ROAD
COLUMBIA MD 21046                      6751 COLUMBIA GATEWAYNO.500                   WEST FRIENDSHIP MD 21794
                                       COLUMBIA MD 21046



HOWARD COVERT                          HOWARD COYLE                                  HOWARD D STITT
2801 E. COLONIAL DRIVE                 1619 Q STREET #14                             4095 FRUIT STREET #873
ORLANDO FL 32803                       SACRAMENTO CA 95814                           LA VERNE CA 91750




HOWARD F RENNER                        HOWARD FILIP                                  HOWARD FOARD
1551 S KROCKS ROAD                     2436 W. CORTEZ                                4121 DORIS AVE
WESCOSVILLE PA 18106                   #1E                                           BROOKYN MD 21225
                                       CHICAGO IL 60622



HOWARD FRIEDLANDER                     HOWARD GOODMAN                                HOWARD GREENBERG
1026 OLYMPIA ROAD                      1010 NW 20TH AVE                              2615 AURELIA PLACE
NORTH BELLMORE NY 11710                DELRAY BEACH FL 33445                         FORT LAUDERDALE FL 33301




HOWARD HARVEY                          HOWARD HOLCOMB                                HOWARD J MAHER
155-56 115TH ROAD                      54 RIVERSIDE DRIVE                            5435 NELSON AVE
JAMAICA NY 11434                       VERNON CT 06066                               BALTIMORE MD 21215




HOWARD JR, HURSTEL                     HOWARD L WHITE & ASSOCIATES INC               HOWARD LIBIT
128 SHERMAN AVE                        PO BOX 5197                                   50 DUNKIRK RD.
MONTGOMERY IL 60538                    BUFFALO GROVE IL 60089                        BALTIMORE MD 21212




HOWARD M PALMER                        HOWARD MORRISON                               HOWARD MULLER
11974 W. 85TH AVENUE                   2022 WEST 82ND STREET                         409 CATON AVENUE
ARVADA CO 80005                        LOS ANGELES CA 90047                          BROOKLYN NY 11218




HOWARD PARKER                          HOWARD PHILLIPS                               HOWARD REICH
23279 BARWOOD LN NORTH                 9861 NW 15TH STREET                           832 PINE STREET
BLDG 4 APT 207                         PLANTATION FL 33322                           DEERFIELD IL 60015
BOCA RATON FL 33428



HOWARD ROSENTHAL                       HOWARD ROSS                                   HOWARD RUBY
29 COPELAND PLACE                      3511 HERON AVENUE SW                          822 BAYVIEW DRIVE
FARMINGDALE NY 11735                   WYOMING MI 49509                              HERMOSA BEACH CA 90254




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HOWARD S WRIGHT CONSTRUCTORS             HOWARD SCOTT WILLIAMS                         HOWARD SHANK
501 EASTLAKE AVE E STE 100-A             1470 DICKSON AVENUE                           11 SILVER MAPLE CT
SEATLLE WA 98109                         DOWNERS GROVE IL 60516                        BALTIMORE MD 21220




HOWARD SHEPPARD                          HOWARD SLOAN KOLLER GROUP                     HOWARD SLOAN KOLLER GROUP
1020 STERLING PLACE                      300 EAST 42ND ST 15TH FLR                     EXECUTIVE SEARCH
LANCASTER PA 17603                       NEW YORK NY 10017                             300 E 42ND ST 15TH FLR
                                                                                       NEW YORK NY 10017



HOWARD SYKES                             HOWARD THOMPSON                               HOWARD VAUGHN
125 LINBROOK DR                          413 WEST AVENUE                               8143 LINDEN AVE.
NEWPORT NEWS VA 23602                    DARIEN CT 06820                               MUNSTER IN 46321




HOWARD WEINSTEIN                         HOWARD WITT                                   HOWARD, CECIL
12114 FAULKNER DR.                       3314 THICKET RUN DR.                          201 NW 15 STREET
OWINGS MILLS MD 21117                    SPRING TX 77388                               DELRAY BEACH FL 33444




HOWARD, DOUGLAS W                        HOWARD, GERALDINE                             HOWARD, HENRY
15224 YORBA AVENUE                       3127 FILLMORE ST                              1804 CANYON CREEK DR
CHINO HILLS CA 91709                     HOLLYWOOD FL 33021                            LAFAYETTE IN 47909




HOWARD, JACOB WAYNE                      HOWARD, JOHN C                                HOWARD, JOHN D
2815 GRIFFIN RD                          920 CASILADA WAY                              2054 HARVEST FARM RD
LEESBURG FL 34748                        SACRAMENTO CA 95822                           SYKESVILLE MD 21784




HOWARD, JOSEPH                           HOWARD, LINDA A                               HOWARD, MARC M
1 CORTEZ CT                              3447 KINGSBROOKE WAY                          3827 T ST NW
HAMPTON VA 23666                         DECATUR GA 30034                              WASHINGTON DC 20007




HOWARD, MARGO                            HOWARD, RITA                                  HOWARD, SARAH
975 MEMORIAL DR NO.211                   5153 S MAY ST                                 1120 1/2 HACIENDA PLACE
CAMBRIDGE MA 02138                       CHICAGO IL 60609                              WEST HOLLYWOOD CA 90069




HOWARD, THATIANA                         HOWARD, VELICIA                               HOWARD, WILLIE
18920 NW 27TH AVE NO. 101                4715 CALLAWAY HILLS DRIVE                     20 ROBERT COURT 2ND FLR
MIAMI FL 33056                           MEMPHIS TN 38125                              STAMFORD CT 06902




HOWARD-JOHNSON, CAROLYN                  HOWDEN, DELROY                                HOWDEN, DERRICK
3324 EMERAL ILSE                         1324 AVON LANE APT 26                         1324 AVON LANE APT 26
GLENDALE CA 91206                        N LAUDERDALE FL 33068                         NORTH LAUDERDALE FL 33068




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HOWE, ROGER                           HOWELL, ARNESA A                              HOWELL, DAVE
6451 HOLLY OAK DR                     955 26TH ST NW NO.407                         420 DIAMOND ST
ALTA LOMA CA 91701                    WASHINGTON DC 20037                           EASTON PA 18042




HOWELL, DON                           HOWELL, GRACE                                 HOWELL, JENNIFER
253 W PALMETTO AVENUE                 7775 KALEB GROVE                              4606 HURON BAY CIRCLE
DELAND FL 32720                       APT 2213                                      KISSIMMEE FL 34759
                                      COLORADO SPRINGS CO 80920



HOWELL, KARL                          HOWELL, SHELLY                                HOWELL, WILLIAM
2502 LOYOLA SOUTHWAY                  915 W GORDON TERR NO.2                        2017 W HOWER ST
BALTIMORE MD 21215                    CHICAGO IL 60613                              CHICAGO IL 60647




HOWELLS, MARGARET                     HOWERTON, SANDRA J                            HOWEY, PAUL MCCARVER
1215 ANCHORS WAY NO.13                9108 RICHARDS DRIVE                           137 JONES ROAD
VENTURA CA 93001                      RAYTOWN MO 64133                              LEICESTER NC 28748




HOWISON, DEL                          HOWLEY, KERRY                                 HOWREY LLP
4213 W BURBANK BLVD                   301 T STREET APT 1 NW                         1299 PENNSYLVANIA AVENUE NW
BURBANK CA 91505                      WASHINGTON DC 20001                           WASHINGTON DC 20004-2402




HOWREY LLP                            HOWRY, BOB                                    HOWZE, LENORA N
321 NORTH CLARK STREET SUITE 3400     5440 W PARK VIEW LANE                         4212 SUMMERSHADE WAY
CHICAGO IL 60654                      GLENDALE AZ 85310                             OWINGS MILLS MD 21117




HOY, CHRISTINA                        HOYLE, BRIAN MICHAEL                          HOYLE, BRIAN MICHAEL
4961 SW 13 ST                         2609 WOODCREST DRIVE SW                       PO BOX 31
FT LAUDERDALE FL 33317                CONCORD NC 28027-8839                         NEW HYDE PARK NY 11040




HOYOS, CLARA PATRICIA                 HOYT DESIGNS INC                              HOYT DESIGNS INC
314 DOUGLAS WAY                       27 1/2 25TH AVENUE                            PO BOX 242
STE 2709                              VENICE CA 90291                               SHELBY MI 49455
WINTER GARDEN FL 34787



HOYT, MELISSA                         HR SLATER COMPANY INC                         HRABAR, VITALIY
102 SPRING STREET                     2050 W 18TH ST                                DOVZHENKA 20/69
EASTON PA 18042                       CHICAGO IL 60608                              LVIV 79066




HRADA - HAMPTON ROADS AUTOMOBILE      HRADA - HAMPTON ROADS AUTOMOBILE              HRADA - HAMPTON ROADS AUTOMOBILE
509 FIRST STREET                      484 VIKING DR STE 151                         C/O COMMANDER ENTERPRISES
ANNAPOLIS MD 21403                    VIRGINIA BEACH VA 23452                       3800 THREE SHIPS LANDING
                                                                                    VIRGINIA BEACH VA 23455




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HRADA - HAMPTON ROADS AUTOMOBILE       HRADA - HAMPTON ROADS AUTOMOBILE              HRCS
REFLECTIONS III                        REFLECTIONS III NO. 121                       11845 W OLYMPIC BLVD   STE 985
C/O 3800 THREE SHIPS LANDING           VIRGINIA BEACH VA 23452                       LOS ANGELES CA 90064
VIRGINIA BEACH VA 23455



HRCS                                   HRCS                                          HRCS
900 WILSHIRE BLVD STE 1515             ALLIANCE BANK                                 HUMAN RESOURCES CONTRACT SRVC INC
LOS ANGELES CA 90017                   PO BOX 3048                                   PO BOX 80027
                                       CULVER CITY CA 90231                          CITY OF INDUSTRY CA 91716-8026



HRH CONSTRUCTION LLC                   HRINKOVICH, MICHAEL                           HROBOWSKI, KRYSTAL
50 MAIN STREET                         1036 W CHEW ST                                192 MEADOW LANE NO.106
15TH FLOOR                             ALLENTOWN PA 18102                            CAROL STREAM IL 60188
WHITE PLAINS NY 10606



HRSD                                   HRSD                                          HRYBYK, LOUISE
PO BOX 152                             PO BOX 1651                                   53140 CORYDON CT
WEST POINT VA 23181                    NORFOLK VA 23501-1651                         GRANGER IN 46530




HSBC BUSINESS SOLUTIONS                HSBC BUSINESS SOLUTIONS                       HSE COMMUNICATIONS INC.
PO BOX 5219                            ONE HSBC CENTER                               5997 S JASMINE STREET
CAROL STREAM IL 60197-5219             BUFFALO NY 14203                              CENTENNIAL CO 80111




HSE COMMUNICATIONS INC.                HSIA, TIMOTHY                                 HSIEH, LYNN
PO BOX 3853                            4515 NE 55TH STREET NO.1                      86-32 56TH AVENUE
ENGLEWOOD CO 80155                     SEATTLE WA 98105                              ELMHURST NY 11373




HSM SECURITY MONITORING                HSUEH JUCHNIK                                 HTN COMMUNICATIONS LLC
8309 INNOVATION WAY                    219 NORTH ST CLOUD STREET                     11 PENN PLAZA 22ND FL
CHICAGO IL 60682                       ALLENTOWN PA 18104                            NEW YORK NY 10001




HTN COMMUNICATIONS LLC                 HUA,THAO                                      HUANG, JINGBO
PO BOX 9020                            11556 BELLAIRE BLVD NO.E                      9802 GABLE RIDGE TERR APT A
HICKSVILLE NY 11802                    HOUSTON TX 77072                              ROCKVILLE MD 20850




HUANG, NATHAN                          HUANG, WEN                                    HUB SECURITY SYSTEMS
731 40TH ST NO 1F                      1811 W BERWYN         UNIT B                  55 COURT STREET SUITE 510
BROOKLYN NY 11232                      CHICAGO IL 60640                              BOSTON MA 02108




HUBBARD WARREN                         HUBBARD, ESTHER L                             HUBBELL, CHRIS L
140 RUSS ST APT.S-306                  8104 MIZNER LN                                440 S ROSEMARY AVE APT 1
HARTFORD CT 06106                      BOCA RATON FL 33433                           WEST PALM BEACH FL 33401




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HUBBLE, BRIAN                          HUBER JR, STANLEY GENE                        HUBER, DOUGLAS J
152 S 2ND ST NO.1                      7580 STIRLING RD APT 215                      693 GRAND CENTRAL RD
BROOKLYN NY 11211                      DAVIE FL 33024                                PEN ARGYL PA 18072




HUBER, GAIL                            HUBER, JEAN L                                 HUBER, NORMAN
1331 N 14TH ST APT L16                 693 GRAND CENTRAL ROAD                        7731 CHERRY BLOSSOM WAY
WHITEHALL PA 18052                     PEN ARGYL PA 18072                            BOYNTON BEACH FL 33437




HUBERSON VILDOR                        HUBERT BRADDOCK                               HUBERT MOTE
101 NE 41 STREET                       1718 LARUEL CANYON BLVD                       140 BERRY PATCH
APT 15A                                LOS ANGELES CA 90046                          SOUTH WINDSOR CT 06074
OAKLAND PARK FL 33334



HUBERT MURRAY                          HUBERT, ROCK                                  HUBLER, SHAWN
143 LINCOLN AVENUE                     710 NW 5TH AVE                                370 FLORA STREET
DEER PARK NY 11729                     FORT LAUDERDALE FL 33311                      LAGUNA BEACH CA 92651




HUCKINS, DAVID                         HUDAK ON HOLLYWOOD INC                        HUDAK, GEORGE
70 MAPLE ST                            9429 SW 76TH ST APT W-26                      127 MELANCHOLY LN
EASTHAMPTON MA 01027                   MIAMI FL 33173                                NORTHAMPTON PA 18067




HUDAK, KRISTINE E                      HUDAK, ROBERT J                               HUDDY, LEONIE
1638 MILLARD ST                        4703 SATINWOOD TRAIL                          190 W 21ST ST
BETHLEHEM PA 18017                     COCONUT CREEK FL 33063                        HUNTINGTON STATION NY 11746




HUDGINS, CHRISTOPHER R                 HUDGINS, CHRISTOPHER R                        HUDSON GROUP
HC 69 BOX 7570                         HC69 BOX 7570                                 ONE MEADOWLANDS PLAZA
520 IVISON LANE                        ONEMO VA 23130                                SUITE 902
ONEMO VA 23130                                                                       EAST RUTHERFORD NJ 07073



HUDSON NEWS                            HUDSON NEWS                                   HUDSON, BARTON
ATTN HASENA HURLEY                     ONE MEADOWLANDS PLAZA                         2852 N HARDING
1305 PATTERSON PLANK RD                SUITE 902                                     CHICAGO IL 60618
N BERLIN NJ 07047                      EAST RUTHERFORD NJ 07073



HUDSON, CHRISTOPHER JOHN               HUDSON, IRENE B                               HUDSON, JOHN
13380 SW 6 COURT                       13380 SW 6 CT                                 515 SW 8TH AVE
DAVIE FL 33325                         DAVIE FL 33325                                DELRAY BEACH FL 33444




HUDSON, JORDAN WOOD                    HUDSON, JULIE D                               HUDSON, KATHRYN J
3416-A PERAL ST                        17948 EXCHANGE AVENUE                         1190 W NORTHERN PKW APT 525
SANTA MONICA CA 90405                  LANSING IL 60438                              BALTIMORE MD 21211




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HUDSON, KATHY                       HUDSON, KIMBERLY                              HUDSPETH, CAROLYN
P.O. BOX 5662                       407 SOUTHGATE AVE                             3883 TURTLE CREEK BLVD.
BALTIMORE MD 21210                  TYLER TX 75702                                #2018
                                                                                  DALLAS TX 75219



HUDSPETH, TIMOTHY                   HUDSPETH,CAROLYN                              HUDSPETH,CAROLYN
3002 ALEXANDER PL                   200 SPLIT ROCK TER                            8001 JOHN CARPENTER FRWY.
BOWIE MD 20716                      OVILLA TX 75154                               DALLAS TX 75247




HUDSPETH,CAROLYN                    HUE DAI                                       HUE V HO
PETTY CASH CUSTODIAN                4121 OAKBERRY DR                              9771 FELIPE AVENUE
8001 JOHN CARPENTER FRWY            ORLANDO FL 32817                              MONTCLAIR CA 91763
DALLAS TX 75247



HUEBL, JOHN CARL                    HUEBNER, BRADLEY                              HUEG, MARY
16620 BETHAYRES RD                  1645 W LINDEN STREET                          814 LITTLE CITY RD
DERWOOD MD 20855                    ALLENTOWN PA 18102                            HIGGANUM CT 06441




HUERTA, JASON                       HUFBAUER, BENJAMIN GRANT                      HUFF, AUDREA
35414 RIO VISTA DR                  UNIVERSITY OF LOUISVILLE                      3309 CHAROW LN
SAN BENITO TX 78586                 1851 WOODFILL WAY                             ORLANDO FL 32806
                                    LOUISVILLE KY 90205



HUFF, GARY                          HUFFINGTON POST.COM                           HUFFINGTON, ARIANNA
3026 HECKTOWN RD                    560 BROADWAY NO.308                           300 N CARMELINA AVE
EASTON PA 18045                     NEW YORK NY 10012                             LOS ANGELES CA 90049




HUFFINGTON, ARIANNA                 HUFFMAN SR, CHARLES C                         HUFFMAN, CHARLES C
300 N CARMELINA RD                  436 OWAD RD                                   2011 TOWER RD
LOS ANGELES CA 90049                AIRVILLE PA 17302                             ABERDEEN MD 21001




HUFFMAN, JON                        HUGGAN, LEON F                                HUGH ANDREWS
822 GALLIER ST                      56 NORTHBROOK CT                              121 HUNTLEE DRIVE
NEW ORLEANS LA 70117                EAST HARTFORD CT 06108                        NEW ORLEANS LA 70131




HUGH CASEY                          HUGH CASSIDY                                  HUGH DELLIOS
6100 PRIMROSE AVE                   66 JACKSON AVENUE                             435 N MICHIGAN AVENUE
APT #8                              ROCKVILLE CENTRE NY 11570                     EDITORIAL
LOS ANGELES CA 90068                                                              CHICAGO IL 60611



HUGH HIGGINS                        HUGH LESSIG                                   HUGH M VINEYARD SR
7852 41ST COURT                     2122 NEW BERNE ROAD                           766 222ND ST
LYONS IL 60534                      RICHMOND VA 23228                             PASADENA MD 21122




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HUGH MEADOWCROFT                       HUGH MOORE HISTORICAL                         HUGH MOORE HISTORICAL
4803 VARIATION RD                      PARK & NATIONAL CANAL MUSEUM INC              PARK AND MUSEUMS
BALTIMORE MD 21236                     30 CENTRE SQUARE                              30 CENTRE SQUARE
                                       EASTON PA 18042-7743                          EASTON PA 18042-7743



HUGH OWEN                              HUGH ROWE                                     HUGH W WEGMAN
49 HOPYARD ROAD                        7615 NW 72ND WAY                              19229-B AVE OF THE OAKS
STAFFORD CT 06076                      TAMARAC FL 33321                              NEWHALL CA 91321




HUGH, CHELSEA                          HUGH, FORRESTOR                               HUGHES JR, JOSEPH CLYDE
17380 SW 32 CT                         6375 LIDO ST                                  715 N 4TH ST    APT 6
MIRAMAR FL 33029                       ORLANDO FL 32807                              LAFAYETTE IN 47901




HUGHES JR, JOSEPH CLYDE                HUGHES, BILL                                  HUGHES, CHEVAUGHN
715 N 4TH ST   APT 6                   5365 ROD COURT UNIT 101                       5955 NW 24TH PL
LAFAYETTE OH 43608                     LAS VEGAS NV 89122                            SUNRISE FL 33313




HUGHES, CHRISTOPHER                    HUGHES, HEATHER B                             HUGHES, LISA A
501 SYLVIEW AVENUE                     2760 NW 210TH TERRACE                         6644 N. OGALLAH
PASADENA MD 21122                      MIAMI GARDENS FL 33056                        CHICAGO IL 60631




HUGHES, LOTOYA                         HUGHES, PATTY                                 HUGHES, PETER
2512 ARTHUR ST NO.R                    8007 RED REEF LN                              14997 KUTZTOWN RD
HOLLYWOOD FL 33020                     BOYNTON BEACH FL 33436                        KUTZTOWN PA 19530




HUGHES, ROBBIE FAYE                    HUGHES, ROBERT                                HUGHES, SAM
1565 TASKA ROAD                        3239 NORTH WILTON                             2778 CUMBERLAND BLVD
RED BANKS MS 38661                     CHICAGO IL 60657                              APT 567
                                                                                     SMYRNA GA 30080



HUGHES, SAM                            HUGHES, SAM                                   HUGHES, TYLER S
438 BILL KENNEDY WAY                   6023 CUMBERLAND GLEN LN                       303 RIDGE AVE NO.1
ATLANTA GA 30316                       SMYRNA GA 30083                               CHICAGO IL 60202




HUGHES,GARY                            HUGHES,PAT                                    HUGO DIAZ
40 BUXTON LANE                         13 FOX TRAIL                                  1088 COURTLAND DR
LANTANA FL 33426                       LINCOLNSHIRE IL 60069                         BAY SHORE NY 11706




HUGO ESPINOZA                          HUGO GOMEZ                                    HUGO LOUREIRO
3302 W. DICKENS                        253-49 149TH AVENUE                           60 CANDLEWOOD DR.
#4                                     APT #2                                        SOUTH WINDSOR CT 06074
CHICAGO IL 60647                       ROSEDALE NY 11422




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HUGO MARTIN                              HUGO PARRA                                    HUGO PORTELLA
1956 LAYTON STREET                       11141 ARMINTA ST.                             194 MAIN PARKWAY WEST
PASADENA CA 91104                        SUN VALLEY CA 91352                           PLAINVIEW NY 11803




HUGO ZEVALLOS                            HULDA KRULL                                   HULER, SCOTT
1 MARTIN ROAD                            1869 KRULL ROAD                               1712 CENTER RD
BETHPAGE NY 11714                        HERMAN MO 65041                               RALEIGH NC 27608




HULL HOUSE ASSOCIATION                   HULL, CHRISTOPHER JAMES                       HULL, GREGORY A
10 S RIVERSIDE PLZA STE 1700             4730 RED FOREST RD                            PO BOX 251
CHICAGO IL 60606                         MONUMENT CO 80132                             TWO HARBORS MN 55616




HULS, DESIREE                            HULS, DESIREE                                 HULS, MICHAEL
1822 N DIXIE HWY APTNO. 8                1822 N DIXIE HWY APTNO. 8                     1822 N. DIXIE HWY. NO. 8
HOLLYWOOD FL 33305                       WILTON MANORS FL 33305-3817                   WILTON MANORS FL 33305




HULSEN, JOHN                             HULSMAN, JOHN                                 HULVAT, RYAN J
35 MILL LANE                             996 RIVERDALE CIRCLE                          2067 W BROAD ST
HUNTINGTON NY 11743                      CULPEPER VA 22707-2064                        BETHLEHEM PA 18018




HULVAT, RYAN J                           HULVAT, RYAN J                                HUMAN FACTORS INTERNATIONAL INC
25 W THIRD ST STE 345                    930 N FOURTH ST                               410 WEST LOWE
BETHLEHEM PA 18015                       ALLENTOWN PA 18102                            FAIRFIELD IA 52556




HUMAN PERFORMANCE INTERNATIONAL          HUMBERTO CRUZ                                 HUMBERTO TAKESHI BARRIOS MIYATA
122 SCOLLARD STREET STE 201              1130 GOVERNORS WAY                            REFORMA NO 177 NTE COL
TORONTO ON M5R 1G2                       VERO BEACH FL 32963                           BALDERRAMA
                                                                                       HERMOSILLO CP83180



HUMES, CHERYL S                          HUMES, EDWARD                                 HUMMEL, TERRY
4510 NW 77TH TER                         PO BOX 124                                    12218 GRECO DRIVE
SUNRISE FL FL 33351                      SEAL BEACH CA 90740                           ORLANDO FL 32824




HUMMELD, DIANE                           HUMMER, CHAD H                                HUMP & DUMP
7207 JACKSON ST                          1457 ESSEX CT                                 3805 HALLOWAY CIRCLE
INDIANAPOLIS IN 46241                    BETHLEHEM PA 18015                            UPPER MARLBORO MD 20772




HUMPHREY, LINDA                          HUMPHREY, LISA                                HUNDEMER, HANK JOSEPH
25008 CELESTIAL STREET                   2401 CUMMING ROAD                             513 O'FALLON AVENUE
CHRISTMAS FL 32709                       AUGUSTA GA 30904                              BELLEVUE KY 41073




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HUNDLEY, ANN                           HUNDLEY, RANDY                                HUNDLEY, THOMAS
9522 NARRAGANSETT PL                   1935 PLUM GROVE RD APT 285                    FOREIGN BUREAU CORRESPONDENT
VIENNA VA 22180                        PALATINE IL 60067                             435 N MICHIGAN AVE
                                                                                     CHICAGO IL 60611



HUNEKE, ROBERT J                       HUNEVEN, MICHELLE                             HUNG NGO
107 ANDREANO AVENUE                    259 E CALAVERAS ST                            2437 1/4 SICHEL STREET
PATCHOGUE NY 11772                     ALTADENA CA 91001                             LOS ANGELES CA 90031




HUNG VU                                HUNG, TOMMY LEE                               HUNGERFORD ALDRIN NICHOLS AND CARTER
11541 GLENN CIRCLE                     3126 HOUNDSWORTH CT APT 212                   1512 MOMEMTUM PLACE
PLAINFIELD IL 60585                    ORLANDO FL 32837                              CHICAGO IL 60689-5315




HUNGERFORD ALDRIN NICHOLS AND CARTER   HUNGERFORD ALDRIN NICHOLS AND CARTER          HUNGERFORD,CHRISTIAN
CARTER                                 PO BOX 3265                                   PO BOX 46
2910 LUCERINE DRIVE SE                 GRAND RAPIDS MI 49501                         BEACON FALLS CT 06403
CENTENNAL PARK EAST
GRAND RAPIDS MI 49546


HUNSICKER, BRYCE M                     HUNSICKER, CORY                               HUNSICKER, NATHAN
205 CHURCH ST                          94 CHURCH RD                                  1692 CROWNWOOD ST
CATASAUQUA PA 18032                    LEHIGHTON PA 18235                            ALLENTOWN PA 18103-6457




HUNT JR, RALPH                         HUNT, AISHA                                   HUNT, C MICHAEL
64 PERSHING ST                         6324 S KIMBARK AVE                            1276 GOLDEN VALE DR
HARTFORD CT 06112                      CHICAGO IL 60637                              RIVERSIDE CA 92506-5666




HUNT, DONALD R                         HUNT, JONATHAN                                HUNT, JUDITH L
683 W SIERRA MADRE BLVD                6524 GRAYBARK LN                              717 HATHAWAY DR NO.102E
SIERRA MADRE CA 91024                  HUGHSON CA 95326                              COLORADO SPRINGS CO 80915




HUNT, KATHY LYNN                       HUNT, KRIS                                    HUNT, N JANE
85 PECHINS MILL RD                     508 MANHATTAN                                 1424 W. PRATT BLVD.
COLLEGEVILLE PA 19426                  ROSEVILLE CA 95678                            CHICAGO IL 60626




HUNT, TIMOTHY J                        HUNTE, KENUEL                                 HUNTER BLOCH
5723 WILDROSE LN                       89 COLORADO AVE NORTH                         18585 ASUNCION ST.
SCHERERVILLE IN 46375                  TORRINGTON CT 06790                           NORTHRIDGE CA 91326




HUNTER CHAMBERLAND, MICHELE            HUNTER, BONNIE B                              HUNTER, DIANE MARIE
8750 PISA DRIVE APT 334                3801 SUMMIT VIEW DRIVE NE                     2103 ALLEGHENY CT
ORLANDO FL 32810                       GRAND RAPIDS MI 49525                         ORLANDO FL 32818




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HUNTER, GERALD                        HUNTER, GINA                                  HUNTER, KAREN J
424 DIVERSEY PKWY NO.342              446 BELLWOOD AVE                              91 EAST MAIN STREET
CHICAGO IL 60614                      HILLSIDE IL 60162                             MIDDLETOWN CT 06457




HUNTER, KIMBERLY                      HUNTER, RICHARD                               HUNTER, ROBERT J
3100 LUMBY DR NO. 431                 6550 SW 14TH ST.                              1558 POQUONOCK AVE
DECATUR GA 30034                      BOCA RATON FL 33428                           WINDSOR CT 06095




HUNTER, SHELLEY                       HUNTER, SHERYL                                HUNTER, TONY
40 ROBIN RD                           435 EAST ST                                   16049 HIDDEN VALLEY CIRCLE
GLASTONBURY CT 06033                  EASTHAMPTON MA 01027                          HOMER GLEN IL 60491




HUNTER, VAUGHN ANTHONY                HUNTER, VIRGINIA LEE                          HUNTING, ROD
19120 NW 5TH COURT                    2039 ALFRED AVE                               938 N WOLCOTT NO 312
MIAMI FL 33169                        ST LOUIS MO 63110                             CHICAGO IL 60622




HUNTINGTON POWER EQUIPMENT INC        HUNTON, JONATHAN P                            HUNZINGER, JACQUELINE
PO BOX 2040                           91 ONEIDA AVE                                 1104 SE WINDSTAR DR
SHELTON CT 06484                      N PLAINFIELD NJ 07060                         LEES SUMMIT MD 64081




HURLEY M BRAME                        HURLEY, ALLEN W                               HURLOCK, ALFRED J
3737 S RAMONA DR                      147 BELMONT ST                                4868 WEATHERHILL DR
SANTA ANA CA 92707                    NEW BRITAIN CT 06053                          WILMINGTON DE 19808-4377




HURN, TYRONE S                        HUROWITZ, GLENN                               HURSHMAN, BRANDON
1652 EAST 70TH STREET                 2531 Q STREET NW STE 205                      921 NE 16TH STREET APT 5
CHICAGO IL 60649                      WASHINGTON DC 20007                           FORT LAUDERDALE FL 33304




HURSKY, ALEXANDRA O                   HURST JR, HENRY                               HURST JR, HENRY
5078 BONNIE BRANCH RD                 114 SARGEANT ST                               114 SARGEANT ST APT 2
ELLICOTT CITY MD 21043                HARTFORD CT 06105                             HARTFORD CT 06106




HURST, JOHN                           HURST, ROBERT                                 HURT, ANTWON
89120 UMANSKI LANE                    2740 N PINE GROVE AVE NO.4C                   6900 E 138TH ST
VENETA OR 97487                       CHICAGO IL 60614                              GRANDVIEW MO 64030




HURT, SUZANNE                         HURTADO, DIANA O                              HURTADO, JUAN
901 28TH ST                           15744 MAPLEGROVE                              201 RAQUECT CLUB RD NO.N 528
SACRAMENTO CA 95816                   VALINDA CA 91744                              WESTON FL 33326




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HURTADO, LOURDES                        HURTADO, OCTAVIO GIBRAN BECERRIL              HUSARSKA, ANNA
162 LINDEN AVE                          452 RIVERSIDE AVE                             29 1/2 MORTON ST
BELLWOOD IL 60104                       TORRINGTON CT 06790                           APT NO.4A
                                                                                      NEW YORK NY 10014



HUSKINS, JONATHON                       HUSO, DEBORAH R                               HUSON,JEFF
472 YOUNGS MILL LANE APT K              328 HIGH KNOB RD                              10349 ROWLOCK WAY
NEWPORT NEWS VA 23602                   BLUE GRASS VA 24413                           PARKER CO 80134




HUSSAIN, AYSHA                          HUSSAIN, YANISE                               HUSSEIN, HAISAM
2439 38TH ST APT 7B                     620 SW 69TH WAY                               309 LEFFERTS AVE APT 2
ASTORIA NY 11103                        HOLLYWOOD FL 33023                            BROOKLYN NY 11225




HUSSEY, DENISE                          HUSSEY, TIM                                   HUSTED CHEVROLET, INC.
1023 FAIRFIELD MEADOWS DR               534 KING STREET                               EDWARD REYER
WESTON FL 33327                         CHARLESTON SC 29403                           C/O JOHN J. NAPOLITANO
                                                                                      55 WOODLAND DRIVE
                                                                                      OYSTER BAY NY 11771


HUSTED CHEVROLET, INC.                  HUSTEDT CHEVROLET, INC.                       HUSTING, GRETCHEN
JOHN J. NAPOLITANO                      JOHN J. NAPOLITANO                            60 E SCOTT
55 WOODLAND DRIVE                       55 WOODLAND DR                                CHICAGO IL 60610
OYSTER BAY NY 11771                     OYSTER BAY NY 11771



HUSTON, CHRISTOPHER                     HUSTON, VIRGINIA                              HUTCHENS, TERRY M
5800 GREEN VALLEY CIRCLE NO.314         8138 WHITE LOWE RD                            9139 LEEWARD CIR
CULVER CITY CA 90230                    SALISBURY MD 21801                            INDIANAPOLIS IN 46256




HUTCHESON AMER, TAMMY                   HUTCHESON, JESSE ALLEN                        HUTCHINGS, DAVID
1037 NORWYK LN                          105C SUITE LIFE CIRCLE                        54 DARO DR
WILLIAMSBURG VA 23188                   NEWPORT NEWS VA 23606                         ENFIELD CT 06082




HUTCHINS, NORMAN                        HUTCHINSON, BENJAMIN                          HUTCHINSON, CHRISTOPHER
831 SW 12TH CT                          1431 MEANDER DR                               7755 YARDLEY DR NO.405D
DEERFIELD BEACH FL 33441                NAPERVILLE IL 60565                           TAMRACE FL 33321




HUTCHINSON, EARL L                      HUTCHINSON, GARY                              HUTCHINSON, GARY R
5517 SECREST DRIVE                      15 BROOKLYN ST                                1013 PREYFIELD LN
LOS ANGELES CA 90043                    VERNON CT 06066                               SANDY SPRINGS GA 30350




HUTCHINSON, JULIETTE                    HUTCHINSON, RICHARD                           HUTCHINSON, SYDNI
5 DARBY ST                              788 TOWER AVE                                 2601 RIVERSIDE DRIVE NO.5
BLOOMFIELD CT 06002                     HARTFORD CT 06112                             CORAL SPRINGS FL 33065




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HUTCHISON SERVICES INC                  HUTHWAITE INC                                 HUTSON, AARON
2008 JOAN LEE LN                        PO BOX 414672                                 343 E WALNUT ST
OCOEE FL 34761                          BOSTON MA 02241-4672                          KUTZTOWN PA 19530




HUTTEN, DAVID                           HUTTON, ANDREW P                              HUTTON, SARA R
401 S RODEO DR    UNIT B                7619 COFFEE RD                                11384 162ND PLACE NORTH
BEVERLY HILLS CA 90212                  FALCON CO 80831                               JUPITER FL 33478




HUTTS GLASS CO INC                      HUTTS GLASS CO INC                            HUTZAYLUK, JOSEPH
1600 SWAMP PIKE                         PO BOX 309                                    5722 LIMEPORT ROAD
GILBERTSVILLE PA 19525                  GILBERTSVILLE PA 19525                        EMMAUS PA 18049




HUTZEL, SUE                             HUYNH, JOHN                                   HUZAIFA TAPAL
71 COPPERSMITH RD                       2752 ENVIRONS BLVD                            347 CANE GARDEN CIRCLE
LEVITTOWN NY 11756                      ORLANDO FL 32818                              AURORA IL 60504




HUZAR, BERNARD                          HY-KO PRODUCTS COMPANY                        HY-KO PRODUCTS COMPANY
2476 NW 89TH DR.                        THOMPSON HINE                                 THOMPSON HINE - CLEVELAND
CORAL SPRINGS FL 33065                  STEVEN S. KAUFMAN; THOMAS F. ZYCH             NANCY M. BARNES
                                        3900 KEY TOWER; 127 PUBLIC SQ                 3900 KEY TOWER; 127 PUBLIC SQUARE
                                        CLEVELAND OH 44114                            CLEVELAND OH 44114


HY-KO PRODUCTS COMPANY                  HY-KO PRODUCTS COMPANY                        HY-KO PRODUCTS COMPANY
THOMPSON HINE - CLEVELAND               THOMPSON HINE - CLEVELAND                     THOMAS HINE - CLEVELAND
SAMER M. MUSALLAM                       STEVEN S. KAUFMAN                             THOMAS F. ZYCH
3900 KEY TOWER; 127 PUBLIC SQ.          3900 KEY TOWER; 127 PUBLIC SQ.                3900 KEY TOWER; 127 PUBLIC SQ.
CLEVELAND OH 44114                      CLEVELAND OH 44114                            CLEVELAND OH 44114


HYATT CORPORATION                       HYATT CORPORATION                             HYATT CORPORATION
100 PLAZA ALICANTE                      1750 WELTON STREET                            DENVER
GARDEN GROVE CA 92640                   ACCOUNTING DEPT                               DEPT 588
                                        DENVER CO 80202                               DENVER CO 80291-0588



HYATT CORPORATION                       HYATT CORPORATION                             HYATT CORPORATION
1800 E PUTNAM AVE                       PO BOX 328                                    ONE GRAND CYPRESS BLVD.
OLD GREENWICH CT 06870                  RIVERSIDE CT 06878                            .
                                                                                      .
                                                                                      ORLANDO FL 32819


HYATT CORPORATION                       HYATT CORPORATION                             HYATT CORPORATION
ORLANDO                                 1400 CORPORETUM DRIVE                         500 S DEARBORN
INTERNATIONAL AIRPORT                   LISLE IL 60532                                CHICAGO IL 60605
PO BOX 91-8378
ORLANDO FL 32891-8378


HYATT CORPORATION                       HYATT CORPORATION                             HYATT CORPORATION
75 REMMITTANCE DR                       CHICAGO                                       CHICAGO
SUITE 1505                              PO BOX 2667                                   151 EAST WACKER DRIVE
CHICAGO IL 60675-1505                   CAROL STREAM IL 60132-2667                    CHICAGO IL 60601




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HYATT CORPORATION                     HYATT CORPORATION                             HYATT CORPORATION
CHICAGO                               DBA HYATT ON PRINTERS ROW                     MCCORMICK PLACE CHICAGO
PO BOX 7417                           500 S DEARBORN                                2233 S MARTIN LUTHER KING DRIVE
DEPARTMENT 37008                      CHICAGO IL 60605                              CHICAGO IL 60616
CHICAGO IL 60680-7417


HYATT CORPORATION                     HYATT CORPORATION                             HYATT CORPORATION
PO BOX 2667                           PO BOX 92061                                  ONE S CAPITOL AVENUE
CAROL STREAM IL 60132-2667            CHICAGO IL 60675-2061                         INDIANAPOLIS IN 46204




HYATT CORPORATION                     HYATT CORPORATION                             HYATT CORPORATION
401 WEST HIGH ST                      1300 NICOLLET MALL                            ONE ST LOUIS UNION STATION
LEXINGTON KY 40507                    MINNEAPOLIS MN 55403                          ST LOUIS MO 63103




HYATT CORPORATION                     HYATT CORPORATION                             HYATT CORPORATION
HOTEL                                 PO BOX 4951                                   HYATT REGENCY DALLAS
TWO ALBANY ST                         CHURCH STREET STATION                         PO BOX 843048
NEW BRUNSWICK NJ 08901                NEW YORK NY 10261                             DALLAS TX 75207-4498



HYATT CORPORATION                     HYATT REGENCY PIER 66                         HYATT, GEORGE
201 W WISCONSIN AVE                   ATTN DANELL STEIR                             6110 REDWOOD LN
DEPT 630                              2301 SE 17TH STREET                           ALEXANDRIA VA 22310
MILWAUKEE WI 53259                    FORT LAUDERDALE FL 33316



HYBIRD MOON VIDEO PRODUCTIONS         HYDE, BEVERLY                                 HYDE, CHRIS
2580 NW UPSHUR ST                     86 KENMARE ST NO.18                           4 7-9 MARINE PARADE
PORTLAND OR 97210                     NEW YORK NY 10012                             MANLY, NSW 2095




HYDE, CURTIS                          HYDER, WILLIAM                                HYE CHA CHAR
2310 PARLIAMENT DR                    5488 CEDAR LANE                               1461 GREENPORT AVENUE
COLORADO SPRINGS CO 80920             COLUMBIA MD 21044                             ROWLAND HGTS CA 91748




HYE JEONG                             HYE KWON                                      HYE-YONG DUKE
1815 MENAHAN STREET                   2639 REDONDO BEACH BLVD                       1748 BLOSSOM TRAIL
APT. 2FL                              GARDENA CA 90249                              PLANO TX 75074
RIDGEWOOD NY 11385



HYLE, MICHAEL                         HYLTON, MARCIA E                              HYMAN, GREGORY
4029 HONEYTREE LN                     7310 PEMBROKE ROAD NO.2                       372 BRIMFIELD RD
MARIETTA GA 30066                     MIRAMAR FL 33023                              WETHERFIELD CT 06109




HYMAN, PATRICK                        HYMANS, LAWRENCE                              HYMOWITZ, KAY S
6911 SW 10TH ST                       8302 E SWEET ACALIA DR                        836 PRESIDENT ST
N LAUDERDALE FL 33068                 GOLD CANYON AZ 85218                          BROOKLYN NY 11215




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HYNDMAN, ROBERT E                      HYPERION SOLUTIONS                            HYPERION SOLUTIONS
359 MYRTLE ST                          6600 SILACCI WAY                              PO BOX 39000 DEPT 33389
LAGUNA BEACH CA 92651                  GILROY CA 95020                               SAN FRANCISCO CA 94139-3389




HYPERION SOLUTIONS                     HYPERION SOLUTIONS                            HYPPOLITE, FABIENNE
900 LONG RIDGE ROAD                    PO BOX 19254A                                 2412 FUNSTON STREET
STAMFORD CT 06902                      NEWARK NJ 07195-2054                          HOLLYWOOD FL 33020




HYSTER CREDIT COMPANY                  I & EYE PRODUCTIONS                           I AM UNIVERSAL MARKETING
PO BOX 4366                            5545 MADISON ROAD                             5525 GWYNN OAK AVE
PORTLAND OR 97208                      CINCINNATI OH 45227                           BALTIMORE MD 21207




I CREATIVES GRAPHIC ARTS STAFFING      I CREATIVES GRAPHIC ARTS STAFFING             I CREATIVES GRAPHIC ARTS STAFFING
P.O. BOX 030398                        PO BOX 350127                                 PO BOX 60839
FT. LAUDERDALE FL 33303                FT LAUDERDALE FL 33303                        CHARLOTTE NC 28260-0839




I DO THE PICTURES INC                  I E IMAGEVOLUTION                             I H R RESEARCH GROUP
6379 LA PUNTA DRIVE                    265 E MARKET ST                               RONALD E CLARK
LOS ANGELES CA 90068                   BETHLEHEM PA 18018                            PO BOX 10126
                                                                                     NEWPORT BEACH CA 92658



I NEWS DELIVERY INC                    I ROAM MOBILE SOLUTIONS INC                   I ROAM MOBILE SOLUTIONS INC
PO BOX 3247                            366 ADELAIDE ST WEST STE 301                  3333 IRIS AVE  STE 204
CHATSWORTH CA 91313                    TORONTO ON M5V 1R9                            BOULDER CO 80301




I&J MAINTENANCE INC                    I-NEWS DELIVERY                               I-O CONCEPTS INC
4760 VIA LOS SANTOS                    9421 WINNETKA AVE #R                          2125 112TH AVE NE NO.201
SANTA BARBARA CA 93111                 CHATSWORTH CA 91311                           BELLEVUE WA 98004




I2I ART INC                            IAC AVIATION L.L.C.                           IAC SPORTS FOUNDATION
20 MAUD ST     APT 202                 RE: LOS ANGELES 5540 W. CENTU                 710 GREEN MEADOW DR
TORONTO ON M5V 2M5                     1849 GREEN BAY ROAD                           GREENWOOD IN 46143
                                       4TH FLOOR
                                       HIGHLAND PARK IL 60035


IACONIS, ROSARIO A                     IAM NATIONAL PENSION FUND                     IAM NATIONAL PENSION FUND
101 CLINTON AVE UNIT 2C                1170 17TH ST NW                               PO BOX 64341
MINEOLA NY 11501                       SUITE 501                                     BALTIMORE MD 21264-4341
                                       WASHINGTON DC 20036



IAN CUMBERBATCH                        IAN GROSETT                                   IAN HANDLER
32 SUNNYSIDE AVE                       3121 NW 47TH TERRACE                          1202 LEXINGTON AVENUE
HEMPSTEAD NY 11550                     APT 214                                       APT. C1
                                       LAUDERDALE LAKES FL 33319                     NEW YORK NY 10028




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IAN HUGHES                             IAN MCCORMICK                                 IAN MILLER
6817 SOUTH IVY STREET                  14 PELLETT STREET                             426 W. BRIAR STREET
208                                    NORWICH NY 13815                              APT. #3F
CENTENNIAL CO 80112                                                                  CHICAGO IL 60657



IAN ROEHRICH                           IAN ROSS                                      IAN SCHWENZFEGER
6195 WEST LONG DRIVE                   33521 MOONSAIL DR                             1 FREEMAN COURT
LITTLETON CO 80123                     MONARCH BEACH CA 92629                        COMMACK NY 11725




IAN SQUIRES                            IAN TAUBER                                    IAN WALLACE
4420 Q STREET, NW                      1242 N 26TH STREET                            330 BLACKHAWK DR
WASHINGTON DC 20007                    ALLENTOWN PA 18104                            CAROL STREAM IL 60188




IAN WHITE PHOTO                        IANNO, EMILY                                  IANNOTTI, RONALD
599 CALIFORNIA AVE                     PO BOX 907                                    112 HALF MILE RD
VENICE CA 90291                        MATTITUCK NY 11952                            NORTH HAVEN CT 06473




IATSE 750 PENSION                      IATSE NATIONAL BENEFIT FUNDS                  IATSE NATIONAL BENEFIT FUNDS
LOCKBOX 714                            417 5TH AVE 3RD FL                            55 W 39TH ST 5TH FL
C/O AMERIMARK BANK                     NEW YORK NY 10016                             NEW YORK NY 10018
ATTN MIKE KEENAN
LAGRANGE IL 60525


IATSE STAGE EMPLOYEES                  IATSE W&P LOC 1 ANNUITY                       IATSE W&P LOC 1 PENSION
320 WEST 46TH STREET                   320 WEST 46TH STREET                          320 W 46TH STREET
NEW YORK NY 10036                      NEW YORK NY 10036                             NEW YORK NY 10036




IATSE W&P LOC 1 WELFARE                IB ASSOCIATES LP                              IBARRA, KELLY
320 WEST 46TH STREET                   C/O KAEMPFER MANAGEMENT SRVCS                 7711 BEACH RD ACCT 731
NEW YORK NY 10036                      2345 CRYSTAL DR 10TH FLR                      WONDER LAKE IL 60097
                                       ARLINGTON VA 22202



IBARRA, KELLY                          IBC USA PUBLICATIONS INC                      IBC USA PUBLICATIONS INC
ACCT 731                               290 ELIOT ST ATN JULIA BLAIR                  PO BOX 5193
7711 BEACH RD                          ASHLAND MA 01721                              WESTBOROUGH MA 01581-5193
WONDER LAKE IL 60097



IBERPRESS S L                          IBERRI, ERIC                                  IBEW LOCAL 1220
AVDA CANADA REAL DE LAS MERINAS 1-3    4420 BANNISTER AVE                            8605 WEST BRYN MAWR
NUDO EISENHOWER EDIFICIO 4 2G PTA      EL MONTE CA 91732                             SUITE 309
MADRID 28042                                                                         CHICAGO IL 60631



IBEW LOCAL 4                           IBEW LOCAL 98                                 IBM CORPORATION
1610 S KINGS HIGHWAY                   1719 SPRING GARDEN STREET                     1 NORTH CASTLE DRIVE
ST LOUIS MO 63110                      PHILDELPHIA PA 19130                          ARMONK NY 10504-2575




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IBM CORPORATION                         IBM CORPORATION                               IBM CORPORATION
PO BOX 26908                            DEPARTMENT NO.4725                            PO BOX 61000 DEPT 1896
TEMPE AZ 85285                          BO UT3                                        SAN FRANCISCO CA 94161-1896
                                        SCF PASADENA CA 91051-4725



IBM CORPORATION                         IBM CORPORATION                               IBM CORPORATION
PO BOX 91222                            P O BOX 16848                                 PO BOX 105063
LOS ANGELES CA 90074                    ATLANTA GA 30321-6848                         ATLANTA GA 30348-5063




IBM CORPORATION                         IBM CORPORATION                               IBM CORPORATION
PO BOX 534151                           PO BOX 945684                                 2707 BUTTERFIELD RD
ATLANTA GA 30353-4151                   ATLANTA GA 30394-5684                         OAKBROOK IL 60126




IBM CORPORATION                         IBM CORPORATION                               IBM CORPORATION
91222 COLLECTION CENTER DRIVE           ONE IBM PLAZA                                 400 RIVERPARK DR
CHICAGO IL 60693-1222                   CHICAGO IL 60611                              N READING MA 01864




IBM CORPORATION                         IBM CORPORATION                               IBM CORPORATION
BOX 360091                              PO BOX 643600                                 PO BOX 7247-0276
PITTSBURGH PA 15250-0091                PITTSBURGH PA 15264-3600                      PHILADELPHIA PA 19170-0276




IBM CORPORATION                         IBM CORPORATION                               IBM CORPORATION
PO BOX 7247-0298                        PO BOX 676673                                 PO BOX 841593
PHILADELPHIA PA 19170                   DALLAS TX 75267-6673                          DALLAS TX 75284-1593




IBM CORPORATION                         IBM CREDIT LLC                                IBRAHIM, JON
PO BOX 911737                           1 NORTH CASTLE DRIVE                          607 BLUEBIRD DR
DALLAS TX 75391                         ARMONK NY 10504-2575                          BOLINGBROOK IL 60440




ICARUS COMMUNICATIONS LLC               ICEBERG MEDIA FZ LLC                          ICHIDA, ROBERT H
3910 ADLER PL  STE 200                  BUILDING NO 8 BUSINESS CENTRE GRD FLR         205 W. ARTHUR
BETHLEHEM PA 18017                      PO BOX 502068                                 ROSELLE IL 60172
                                        DUBAI MEDIA CITY



ICHTON, LEONARD                         ICHTON, LEONARD                               ICICLE BROADCASTING INCORPORATED
405 MAIN ST                             PO BOX 2536                                   7475 KOHO PL
WOBURN MA 01801                         SEABROOK NH 03874                             LEAVENWORTH WA 98826




ICKES, MICHAEL                          ICON INTERNATIONAL                            ICON MEDIA DIRECT
126 WINDSOR RD                          118 N LARCHMONT BLVD                          15315 MAGNOLIA BLVD NO.101
ALBURTIS PA 18011                       LOS ANGELES CA 90004                          SHERMAN OAKS CA 91403




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ICON MEDIA DIRECT                     ICON MEDIA DIRECT INC                         ID MEDIA INC
5910 LEMONA AVE                       5910 LAMONA AVENUE                            BANK OF AMERICA
VAN NUYS CA 91411                     VAN NUYS CA 91411                             LOCKBOX 100544 6000FELDWOOD
                                                                                    ATLANTA GA 30349-3652



ID MEDIA INC                          ID MEDIA INC                                  ID MEDIA INC
PO BOX 100544                         13801 FNB PARKWAY                             28 W 23RD ST
ATLANTA GA 30384-0544                 OMAHA NE 68154                                NEW YORK NY 10010




IDA MAY DENNY                         IDA SOLIS                                     IDA WILLIAMS
1165 MONTGOMERY ROAD                  3320 W. 62ND PL                               10504 E. ZAMORA AVE.
SEBASTOPOL CA 95472                   CHICAGO IL 60629                              LOS ANGELES CA 90002




IDAHO DEPT OF                         IDALBERT, GARY                                IDEAL TRIAL SOLUTIONS INC
ENVIRONMENTAL QUALITY                 3971 NW 33RD TERRACE                          3601 NINTH ST
1410 N. HILTON                        LAUDERDALE LAKES FL 33309                     RIVERSIDE CA 92501
BOISE ID 83706



IDEARC MEDIA CORPORATION              IDEARC MEDIA CORPORATION                      IDEAZ IN INK
P O BOX 951293                        PO BOX 619009                                 474 TERRYVILLE RD
DALLAS TX 75395-1293                  DFW AIRPORT TX 75261                          PORT JEFFERSON STATION NY 11776




IDEAZ IN INK                          IDELLA JOHNSON                                IDOWU, OLAYINKA
474 TERRYVILLE RD                     7345 NW 48TH COURT                            408 SW 9TH ST APT #1
PT JEFFERSON NY 11776                 LAUDERHILL FL 33319                           HALLANDALE BEACH FL 33009




IDREES DARKY                          IERENIMO TOILOLO                              IFM EFECTOR INC
1111 HEATHER LANE                     4016 FLOWER ST.                               805 SPRINGDALE DRIVE
GLEN ELLYN IL 60137                   CUDAHY CA 90201                               EXTON PA 19341




IFM EFECTOR INC                       IFM INC                                       IFONIA JEAN
PO BOX 8538-307                       1439 CAPRI LANE NO. 5711                      960 NW 80 AVE. APT. #203
PHILADELPHIA PA 19171-0307            WESTON FL 33326                               MARGATE FL 33063




IGDALSKY, LEAH                        IGENIA SEAY                                   IGERSHEIMER, ANDREW
14 LONGLANE RD                        2416 MONTE CRISTO WAY                         339 MAIN ST
WEST HARTFORD CT 06117                SANFORD FL 32771-5812                         DEEP RIVER CT 06417




IGLESIAS, DAVID                       IGLESIAS, RAFAEL                              IGNACIO DECASTRO
12020 IRISH MIST AVENUE NE            15410 WOODWAY DR                              1666 W EDGEWATER, 2ND FLR.
ALBUQUERQUE NM 87122                  TAMPA FL 33613                                CHICAGO IL 60660




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IGNACIO RIOS                          IGNACIO RIOS-OCHOA                            IGNACIO TORRES
517 E CAMILE STREET                   1165 E. HOLLYVALE STREET                      1426 E. RIVER ROAD
SANTA ANA CA 92701                    APT # 16                                      BELEN NM 87002
                                      AZUSA CA 91702



IGNATIUS QUINTANA                     IGNATIUS WEN                                  IGOR ZUSEV
4734 S WOOD STREET                    4969 DUNMAN AVENUE                            51 BENHAM STREET
CHICAGO IL 60609                      WOODLAND HILLS CA 91364                       TORRINGTON CT 06790




IGUANA MEDIA INC                      IHAYA, MANAKO                                 IHEARTCOMIX EVENTS INC
15252 SW 31ST ST                      27062 SPRINGWOOD CIRCLE                       1322 N ALEXANDRIA AVE
MIAMI FL 33185                        LAKE FOREST CA 92630                          LOS ANGELES CA 90027




IHOSVANI RODRIGUEZ                    IJET INTERNATIONAL INC                        IKEMIRE, KRISTI
2002 SW 12TH STREET                   910F BESTGATE RD                              3824 N JANSSEN NO.3W
MIAMI FL 33135                        ANNAPOLIS MD 21401                            CHICAGO IL 60613




IKNO INC                              IKON FINANCIAL SERVICES                       IKON FINANCIAL SERVICES
12784 TULIPWOOD CIRC                  1738 BASS ROAD                                PO BOX 740540
BOCA RATON FL 33428                   MACON GA 31210                                ATLANTA GA 30374-0540




IKON FINANCIAL SERVICES               IKON OFFICE SOLUTIONS                         IKON OFFICE SOLUTIONS
PO BOX 41564                          47 EASTERN BLVD                               655 WINDING BROOK DR
PHILADELPHIA PA 19101-1564            GLASTONBURY CT 06033                          GLASTONBURG CT 06033




IKON OFFICE SOLUTIONS                 IKON OFFICE SOLUTIONS                         IKON OFFICE SOLUTIONS
PO BOX 30069                          PO BOX 31306                                  PO BOX 30009
HARTFORD CT 06150                     HARTFORD CT 06150-1306                        TAMPA FL 33360-3009




IKON OFFICE SOLUTIONS                 IKON OFFICE SOLUTIONS                         IKON OFFICE SOLUTIONS
P O BOX 532521                        PO BOX 102693                                 PO BOX 198727
FLORIDA DISTRICT                      ATLANTA GA 30368-2693                         ATLANTA GA 30384-8727
ATLANTA GA 30353-2521



IKON OFFICE SOLUTIONS                 IKON OFFICE SOLUTIONS                         IKON OFFICE SOLUTIONS
SOUTHEAST DISTRICT                    21588 NETWORK PLACE                           21706 NETWORK PLACE
PO BOX 532530                         CHICAGO IL 60673-1215                         GREAT LAKES DISTRICT
ATLANTA GA 30353-2530                                                               CHICAGO IL 60673-1217



IKON OFFICE SOLUTIONS                 IKON OFFICE SOLUTIONS                         IKON OFFICE SOLUTIONS
GREAT LAKES DISTRICT                  OHIO VALLEY DISTRICT                          PO BOX 802566
PO BOX 802558                         21464 NETWORK PLACE                           CHICAGO IL 60680-2566
CHICAGO IL 60680-2558                 CHICAGO IL 60673-1214




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IKON OFFICE SOLUTIONS                    IKON OFFICE SOLUTIONS                       IKON OFFICE SOLUTIONS
PO BOX 54903                             7138 WINDSOR BLVD                           PO BOX 9424
NEW ORLEANS LA 70154-4903                BALTIMORE MD 21244                          GRAND RAPIDS MI 49509-0424




IKON OFFICE SOLUTIONS                    IKON OFFICE SOLUTIONS                       IKON OFFICE SOLUTIONS
PO BOX 1144                              FLORIDA DISTRICT                            PO BOX 905201
JEFFERSON CITY MO 65102                  PO BOX 905923                               CHARLOTTE NC 28290-5201
                                         CHARLOTTE NC 28290-5923



IKON OFFICE SOLUTIONS                    IKON OFFICE SOLUTIONS                       IKON OFFICE SOLUTIONS
PO BOX 905672                            GPO BOX 29631                               215 CITY AVENUE
SOUTHEAST DISTRICT                       NEW YORK NY 10087-9631                      DBA BPM GROUP
CHARLOTTE NC 28290-5672                                                              MERION STATION PA 19066



IKON OFFICE SOLUTIONS                    IKON OFFICE SOLUTIONS                       IKON OFFICE SOLUTIONS
MID ATLANTIC DISTRICT                    NORTHEAST RPC                               PO BOX 827457
PO BOX 827468                            17 LEE BLVD                                 PHILIDELPHIA PA 19182-7457
PHILADELPHIA PA 19182-7468               MALVERN PA 19355



IKON OFFICE SOLUTIONS                    IKON OFFICE SOLUTIONS                       IKON OFFICE SOLUTIONS
PO BOX 827577                            PO BOX 8500-1430                            PO BOX 201854
PHILADELPHIA PA 19182                    PHILADELPHIA PA 19178                       HOUSTON TX 77216-1854




IKON OFFICE SOLUTIONS                    IKON OFFICE SOLUTIONS                       IKON OFFICE SOLUTIONS
TEXAS DISTRICT                           PO BOX 30750                                4900 SEMINARY ROAD
PO BOX 730712                            SALT LAKE CITY UT 84189-0750                12TH FLOOR
DALLAS TX 75373-0712                                                                 ALEXANDRIA VA 22311



ILA S HEBERT                             ILDA MALDONADO                              ILDEFONSO, JULIETA Q
5078 ALDEA AVENUE                        611 CREEKSIDE CT.                           2032 N 73RD CT
ENCINO CA 91316                          CHESAPEAKE VA 23320                         ELMWOOD PARK IL 60707




ILEANA GONZALES                          ILEANA LLORENS                              ILEANA MORALES
2425 SW WEBSTER STREET                   14310 SW 36TH COURT                         17420 NW 89TH AVE
D1                                       MIRAMAR FL 33027                            MIAMI FL 33018
SEATTLE WA 98106



ILEANA'S CONSTRUCTION CLEAN UP COMPANY   ILEANE ABADY                                ILEL, NEILLE
PO BOX 25974                             77 LENOX ROAD                               3723 DUNN DRIVE
SANTA ANA CA 92799                       APT 2F                                      LOS ANGELES CA 90034
                                         ROCKVILLE CENTRE NY 11570



ILENE METZ                               ILIANA LIMON                                ILIFF, ANDREW R
9560 WELDON CIRCLE                       1813 GRAND ISLE CIRCLE                      216 BISHOP ST   APT 206
TAMARAC FL 33321                         APT. 212A                                   NEW HAVEN CT 06511
                                         ORLANDO FL 32810




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ILIR, CENAJ                            ILIZAR MISHIYEV                              ILLAIT, SIMON
859 E MAIN ST                          1018 CASTILIAN COURT                         7898 TERRACE RD
STAMFORD CT 06902                      GLENVIEW IL 60025                            LANTANA FL 33462




ILLANA LYNN                            ILLINGWORTH, JOHN                            ILLINOIS BATTERY CO
3765 TURTLE RUN BLVD                   2486 POND LANE                               2453 IRVING PARK ROAD
APT 1733                               HELLERTOWN PA 18055                          CHICAGO IL 60618
CORAL SPRINGS FL 33067



ILLINOIS BROADCASTERS ASSOC            ILLINOIS BROADCASTERS ASSOC                  ILLINOIS BROADCASTERS ASSOC
200 MISSOURI AVE                       2621 MONTEGA SUITE E                         300 N PERSHING SUITE B
CARTERVILLE IL 62918                   SPRINGFIELD IL 62704                         ENERGY IL 62933




ILLINOIS BUSINESS ROUNDTABLE           ILLINOIS BUSINESS ROUNDTABLE                 ILLINOIS BUSINESS ROUNDTABLE
150 N WACKER DR STE 2800               330 N WABASH    STE 2800                     ATTN JEFF MAYS
ATTN JEFF MAYS                         ATTN JEFF MAYS                               200 EAST RANDOLPH SUITE 2200
CHICAGO IL 60606                       CHICAGO IL 60611-3605                        CHICAGO IL 60601



ILLINOIS COMMISSION ON DIVERSITY AND   ILLINOIS COMMISSION ON DIVERSITY AND         ILLINOIS COMMISSION ON DIVERSITY AND
C/O REV C BROOKS                       HUMAN RELATIONS                              HUMAN RELATIONS
1404 APRICOT COURT UNIT A              1502 KENDAL COURT                            1404 APRICOT COURT     STE A
MT PROSPECT IL 60056                   ARLINGTON HEIGHTS IL 60004                   MT PROSPECT IL 60056



ILLINOIS COUNCIL ON ECONOMIC           ILLINOIS COUNCIL ON ECONOMIC                 ILLINOIS CRANE INC
EDUCATION                              EDUCATION                                    2260 LANDMEIER ROAD
NORTHERN ILLINOIS UNIVERSITY           STOCK MARKET GAME                            ELK GROVE VILLAGE IL 60007
113 ALTGELD HALL                       NORTHERN ILLINOIS UNIVERSITY
DEKALB IL 60115                        DEKALB IL 60115


ILLINOIS CRANE INC                     ILLINOIS DEPARTMENT OF HUMAN SERVICES        ILLINOIS DEPARTMENT OF REVENUE
PO BOX 3740                            ATN: PAT TRUEBLOOD                           100 W RANDOLPH ST LEVEL 7-400
PEORIA IL 61612-3740                   809 COMMERCIAL AVE                           CHICAGO COLLECTION SERVICES DIV
                                       SPRINGFIELD IL 62703                         ATTN ERIC MERCADO
                                                                                    CHICAGO IL 60601


ILLINOIS DEPARTMENT OF REVENUE         ILLINOIS DEPARTMENT OF REVENUE               ILLINOIS DEPARTMENT OF REVENUE
100 WEST RANDOLPH STREET               AGRICULTURE                                  CARDLEVY UNIT
LEVEL 7                                PO BOX 19427                                 PO BOX 19035
CHICAGO IL 60601                       SPRINGFIELD IL 62794-9427                    SPRINGFIELD IL 62794-9035



ILLINOIS DEPARTMENT OF REVENUE         ILLINOIS DEPARTMENT OF REVENUE               ILLINOIS DEPARTMENT OF REVENUE
DIVISION OF NUCLEAR SAFETY             FIELD COMPLIANCE DISTRICT 02                 OF REVENUE
1035 OUTER PARK DRIVE                  245 W ROOSEVELT RD BLDG 4 STE 28             RETAILERS OCCUPATION TAX
SPRINGFIELD IL 62704-4491              W CHICAGO IL 60185-3783                      SPRINGFIELD IL 62796-0001



ILLINOIS DEPARTMENT OF REVENUE         ILLINOIS DEPARTMENT OF REVENUE               ILLINOIS DEPARTMENT OF REVENUE
PO BOX 19006                           PO BOX 19008                                 PO BOX 19019
SPRINGFIELD IL 62794-9006              SPRINGFIELD IL 62794-9008                    SPRINGFIELD IL 62794-9019




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ILLINOIS DEPARTMENT OF REVENUE        ILLINOIS DEPARTMENT OF REVENUE                ILLINOIS DEPARTMENT OF REVENUE
PO BOX 19034                          PO BOX 19043                                  PO BOX 19045
SPRINGFIELD IL 62794-9034             SPRINGFIELD IL 62794-9043                     SPRINGFIELD IL 62794-9045




ILLINOIS DEPARTMENT OF REVENUE        ILLINOIS DEPARTMENT OF REVENUE                ILLINOIS DEPARTMENT OF REVENUE
PO BOX 19281                          PO BOX 19427                                  PO BOX 64449
SPRINGFIELD IL 62794-9281             ILLINOIS STATE FAIR                           OFFICE OF COLLECTION UNIT
                                      SPRINGFIELD IL 62794-9429                     CHICAGO IL 60664-0449



ILLINOIS DEPARTMENT OF REVENUE        ILLINOIS DEPT OF PUBLIC HEALTH                ILLINOIS EMERGENCY MGMT AGENCY
TAX PROCESSING CENTER                 PO BOX 4263                                   DIVISION OF NUCLEAR SAFETY
PO BOX 19477                          SPRINGFIELD IL 62708-4263                     1035 OUTER PARK DRIVE
SPRINGFIELD IL 62794-9477                                                           SPRINGFIELD IL 62704-4491



ILLINOIS ENVIRONMENTAL                ILLINOIS ENVIRONMENTAL                        ILLINOIS ENVIRONMENTAL
PROTECTION AGENCY                     PROTECTION AGENCY                             PROTECTIVE AGENCY
FISCAL SVCS SECTION RECEIPTS NO.2     PO BOX 19276                                  TREASURER STATE OF ILLINOIS BOL NO.24
PO BOX 19276                          SPRINGFIELD IL 62794-9276                     1021 N GRAND AVE
SPRINGFIELD IL 62794-9276                                                           SPRINGFIELD IL 62702-3998


ILLINOIS ENVIRONMENTAL PROTECTION     ILLINOIS NATIONAL INSURANCE COMPANY           ILLINOIS SECRETARY OF STATE
1021 NORTH GRAND AVENUE EAST          175 WATER STREET                              DEPT OF BUSINESS SERVICES
P.O. BOX 19276                        NEW YORK NY 10038                             501 SO. 2ND STREET
SPRINGFIELD IL 62794-9276                                                           SPRINGFIELD IL 62756-5510



ILLINOIS SECRETARY OF STATE           ILLINOIS SECRETARY OF STATE                   ILLINOIS SECRETARY OF STATE
300 N GOODWICH                        501 S 2ND ST RM 311                           591 HOWLETT BUILDING
ATTN BUSINESS OFFICE                  SPRINGFIELD IL 62756                          RENEWALS SECTION
URBANA IL 61801                                                                     SPRINGFIELD IL 62756



ILLINOIS SECRETARY OF STATE           ILLINOIS SECRETARY OF STATE                   ILLINOIS SECRETARY OF STATE
EXECUTIVE COUNSEL                     HOWLETT BUILDING                              HOWLETT BUILDING
17 N STATE STREET                     3RD FLOOR                                     ROOM 500
SUITE 1179                            SPRINGFIELD IL 62756                          SPRINGFIELD IL 62756
CHICAGO IL 60602


ILLINOIS SECRETARY OF STATE           ILLINOIS SECRETARY OF STATE                   ILLINOIS SECRETARY OF STATE
SECRETARY OF STATE                    TRADEMARK DIVISION DEPT OF BUSINESS           VEHICLE SERVICES
DEPARTMENT OF BUSINESS SERVICES       SERVICES                                      501 S 2ND ST RM591
SPRINGFIELD IL 62756                  ROOM 328 HOWLETT BUILDING                     SPRINGFIELD IL 62756-7000
                                      SPRINGFIELD IL 62756


ILLINOIS STATE                        ILLINOIS STATE DISBURSEMENT UNIT              ILLINOIS STATE DISBURSEMENT UNIT
DEPARTMENT OF REVENUE                 PO BOX 8500                                   PO BOX 5400
RETAILERS OCCUPATION TAX              TALLAHASSEE FL 32314-8500                     CAROL STREAM IL 60197-5400
SPRINGFIELD IL 62796-0001



ILLINOIS STATE LOTTERY                ILLINOIS STATE UNIVERSITY                     ILLINOIS STATE UNIVERSITY
676 N. ST. CLAIR                      103 WILLIAMS HALL ANNEX                       ALAMO II BOOKSTORE
SUITE 2040                            TELECOMMUNICATIONS OFFICE                     319 NORTH ST
CHICAGO IL 60611                      NORMAL IL 61790-3500                          NORMAL IL 61761




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ILLINOIS STATE UNIVERSITY                ILLINOIS STATE UNIVERSITY                     ILLINOIS STATE UNIVERSITY
BONE CENTER                              CAMPUS BOX 4000 ISU                           TELECOMMUNICATIONS OFFICE
100 N UNIVERSITY STREET                  NORMAL IL 61790-4000                          CAMPUS BOX NO.3500
CAMPUS BOX 2640                                                                        C/O SHARON STILLE
NORMAL IL 61790-2640                                                                   NORMAL IL 61790-3500


ILLINOIS STATE UNIVERSITY                ILLINOIS WORKERS COMPENSATION                 ILLUSTRATION DIVISION INC
UNIVERSITY PROGRAM BOARD                 C/O STATE TREASURER                           420 W 24TH ST APT 1F
CAMPUS BOX 2700                          100 W RANDOLPH    STE 8-329                   NEW YORK NY 10011-1333
NORMAL IL 61790                          CHICAGO IL 60601



ILLUSTRATION DIVISION INC                ILMA MANCHAME                                 ILSE MEDITZ
48 GREEN ST ART DEPT                     1906 VASSAR AVE. APT. 2                       5 SOUTH CAROLINA WAY
NEW YORK NY 10013                        GLENDALE CA 91204                             WHITINIG NJ 08759




ILYA DYAKOV                              IMAGE ACTIVE                                  IMAGE ASSOCIATES
232 NINA LANE                            4191 STANSBURY AVE                            2658 GRIFFITH PARK BL NO.218
WILLIAMSBURG VA 23188                    SHERMAN OAKS CA 91423                         LOS ANGELES CA 90039




IMAGE COMMUNICATIONS INC                 IMAGE COMMUNICATIONS INC                      IMAGE IMPACT INC
290 GLENGARRY ROAD                       22435 PANTHER LOOP                            2310 W 75TH ST
FELTON CA 95018                          BRADENTON FL 34202                            PRAIRIE VILLAGE KS 66208




IMAGE ONE                                IMAGE PLANT INC                               IMAGE PRINTING AND MILLENNIUM DIRECT
6206 BENJAMIN RD SUITE 301               735 UPLAND ROAD                               12246 COLONY AVE
TAMPA FL 33634                           WEST PALM BEACH FL 33401-7851                 CHINO CA 91710-2095




IMAGE VIDEO                              IMAGERY MARKETING CONSULTANTS                 IMAGES COM
1620 MIDLAND AVE                         13523 BARRETT PARKWAY SUITE 104               1140 BROADWAY 4TH FLR
SCARBOROUGH ON M1P 3C2                   ST LOUIS MO 63021                             NEW YORK NY 10001




IMAGIC                                   IMAGING NETWORK LLC                           IMAGISTICS INTERNATIONAL INC
2810 N LIMA ST                           44 ISLAND GREEN                               PO BOX 856193
BURBANK CA 91504                         GLASTONBURY CT 06033                          LOUISVILLE KY 40285-6193




IMAGISTICS INTERNATIONAL INC             IMAGITAS                                      IMAGITAS
PO BOX 856210                            156 OAK STREET FL 1                           156 OAK STREET FLOOR 1
LOUISVILLE KY 40285-6210                 TARGETED MARKETING SOLUTIONS                  NEW UPPER FALLS MA 02164-1440
                                         INC
                                         NEWTON UPPER FALLS MA 02464-1440


IMAGITAS                                 IMAGITAS                                      IMAGITAS
48 WOERD AVE                             PO BOX 414673                                 PO BOX 83070
WALTHAM MA 02453-3826                    ATTN JIM PUNTONI                              WOBURN MA 01813-3070
                                         BOSTON MA 02241-4673




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IMAN SHOEIBI                           IMANI LANERS                                  IMBER, WILLIAM J
45800 SHAGBARK TERRACE                 12 B THORNTON PLACE                           3529 N WILTON AVE NO.1
STERLING VA 20166                      CLIFTON NJ 07012                              CHICAGO IL 60657




IMBROGNO, JOSEPH                       IMC INC                                       IMDEPUERTO
7323 BLACKBURN AVE NO.201              8358 W OAKLAND PK BLVD SUITE 101              ESADIO INDEPENDENCIA
DOWNERS GROVE IL 60516                 SUNRISE FL 33351                              AVE ALI LEBRUN ENTRE BOLIVARY
                                                                                     JUAN FLORES
                                                                                     PUERTO CABELLO


IMEDIA COMMUNICATIONS INC              IMELDA GUZMAN                                 IMELDA KOMALA
180 DUNCAN MILL RD   4TH FLR           18 E ELM #409                                 630 N. STATE ST.
TORONTO ON M3B 1Z6                     CHICAGO IL 60611                              #2401
                                                                                     CHICAGO IL 60610



IMERO LLC                              IMES, ROBERT                                  IMG
230 PARK AVENUE SOUTH 4TH FLOOR        2883 ELMWOOD STREET                           C/O TWI SYNDICATION
NEW YORK NY 10003                      PORTAGE IN 46368                              520 WEST 45TH STREET
                                                                                     NEW YORK NY 10036



IMG TALENT AGENCY INC                  IMLV, INC                                     IMM, KEVIN A
1360 EAST NINTH ST SUITE 100           22704 VISTAWOOD WAY                           3 SUSSEX LANE
CLEVELAND OH 44114                     BOCA RATON FL 33428                           BETHPAGE NY 11714




IMMACULATE CONCEPTION SHELTER &        IMOGENE L LAMBIE                              IMPACT GROUP, INC.
PO BOX 260669                          1 ATHENRY CT APT 304                          501 VIRGINIA AVENUE
HARTFORD CT 06126-0669                 TIMONIUM MD 21093                             INDIANAPOLIS IN 46203




IMPACT MARKETING                       IMPACT MARKETING                              IMPACT MARKETING CONCEPTS INC
808 CHERRY ST                          PO BOX 8684                                   PO BOX 775
CHICO CA 95928                         CHICO CA 95928                                ITASCA IL 60143




IMPACT SALES SOLUTIONS INC             IMPACT SALES SOLUTIONS INC                    IMPACT SALES SOLUTIONS INC
5301 SOUTHWYCK BLVD SUITE 202          6924 SPRING VALLEY DR NO.130                  6936 AIRPORT HWY
TOLEDO OH 43614                        HOLLAND OH 43528                              HOLLAND OH 43528




IMPACT TECHNOLOGIES INC                IMPACT TECHNOLOGIES INC                       IMPERIAL ELECTRIC COMPANY
1807 PARK 270 NO.120                   PO BOX 790100                                 PO BOX 74924
ST LOUIS MO 63146-4021                 DEPARTMENT 480151                             CHICAGO IL 60675-4924
                                       ST LOUIS MO 63179-0100



IMPERIAL ELECTRIC COMPANY              IMPERIAL SERVICE SYSTEMS INC                  IMPERIAL SERVICE SYSTEMS INC
15333 COMMERCE DRIVE                   1791 MOMENTUM PL                              707 717 N IOWA ST
STOW OH 44224                          CHICAGO IL 60689                              VILLA PARK IL 60181




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IMPERIAL SERVICE SYSTEMS INC               IMPERIAL SERVICE SYSTEMS INC               IMPREMEDIA NEW YORK, LLC
PO BOX 2938                                PO BOX 6269                                C/O EL DIARIO
GLEN ELLYN IL 60138-2938                   VILLA PARK IL 60181-6269                   345 HUDSON STREET
                                                                                      13TH FLOOR
                                                                                      NEW YORK NY 10014


IMPROBABLE MISSIONS FORCE                  IN BOTH EARS                               IN CHEF WE TRUST CATERING
755 MANGELS AVENUE                         62 SW VIRGINIA SUITE 210                   3051 N COURSE DRIVE SUITE NO.101
SAN FRANCISCO CA 94127-2215                PORTLAND OR 97239                          POMPANO BEACH FL 33069




IN RE LITERARY WORKS IN ELECTRONIC         IN RE LITERARY WORKS IN ELECTRONIC         IN RE LITERARY WORKS IN ELECTRONIC
DATABASES COPYRIGHT LITIGATION             DATABASES COPYRIGHT LIT, % HOSIE, FROST,   DATABASES,COPYRIGHT LIT,% GIRARD GIBBS
% KOHN, SWIFT & GRAF PC, MICHAEL J. BONI   LARGE & MCARTHUR, DIANE S. RICE            DE BARTOLOMEO LLP, A.J. DE BARTOLOMEO
ONE SOUTH BROAD ST, SUITE 2100             ONE MARKET ST, SPEAR ST TOWER, 22ND FL     601 CALIFORNIA ST., STE 1400
PHILADELPHIA PA 19107                      SAN FRANCISCO CA 94105                     SAN FRANCISCO CA 94108


IN TENTS                                   IN TENTS                                   IN THE CITY ENTERTAINMENT INC
20 RADCLIFF DR                             20 RADCLIFF DR                             402-2020 TRAFALGAR ST
HUNTINGTON NY 11742                        HUNTINGTON NY 11743                        VANCOUVER BC V6K 3S6




IN THE EVENT INC                           INBORNONE, JOSEPH                          INCALCATERRA, MICHAEL
924 N MAGNOLIA AVE                         208 HOLDERNESS DRIVE                       3747 LINDY DR
ORLANDO FL 32803                           LONGWOOD FL 32779                          OREFIELD PA 18068




INCALCATERRA, MICHAEL                      INCANTALUPO,JOSEPH                         INCORONATA JOZWICKI
3747 LINDY DR                              4 VALIANT COURT                            135 AVONDALE DEIVE
OREFIELD PA 18069-2029                     MT SINAI NY 11766                          CENTEREACH NY 11720




INCREDIBLE VENDING LLC                     INCS INC                                   INDEL DAVIS INC
2610 S ZUNI ST                             7279 PARK DR                               PO BOX 9697
ENGLEWOOD CO 80110                         BATH PA 18014                              TULSA OK 74157-0697




INDEPENDENT COLLEGE FUND OF MARYLAND       INDEPENDENT MULTIFAMILY COMM COUNCIL       INDEPENDENT MULTIFAMILY COMM COUNCIL
3225 ELLERSLIE AVE SUITE C160              3004 OREGON KNOLLS DRIVE NW                10 SERENA COURT
BALTIMORE MD 21218-3519                    WASHINGTON DC 20018                        NEWPORT BEACH VA 92663




INDIAN COUNTRY TODAY                       INDIANA AMERICAN WATER                     INDIANA AMERICAN WATER
3059 SENECA TURNPIKE                       ACCT NO. XX-XXXXXXX-3                      ACCT NO. XX-XXXXXXX-6
CANASTOTA NY 13032                         PO BOX 94551                               P.O. BOX 94551
                                           PALATINE IL 60094-4551                     PALATINE IL 60094-4551



INDIANA AMERICAN WATER                     INDIANA AMERICAN WATER                     INDIANA CABLE TELECOMMUNICATIONS ASSOC
ACCT NO. XX-XXXXXXX-0                      P.O. BOX 94551                             201 N ILLINOIS ST STE 1560
555 E. COUNTY LINE ROAD, SUITE 201         PALATINE IL 60094-4551                     INDIANAPOLIS IN 46204
GREENWOOD IN 46143




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INDIANA DEPARTMENT OF REVENUE             INDIANA DEPT OF ENVIRONMENTAL                 INDIANA LAND BECKNELL INVESTORS, LLC
100 N SENATE AVE                          MANAGEMENT                                    RE: HOBART 1626 NORTHWIND PKW
INDIANAPOLIS IN 46204-2253                100 N. SENATE AVE.                            P.O. BOX 317
                                          MAIL CODE 60-01                               CHAMPAIGN IL 61824-0317
                                          INDIANAPOLIS IN 46204-2251


INDIANA UNIVERSITY                        INDIANA UNIVERSITY                            INDIANA UNIVERSITY
ATTN PHOTOGRAPH CURATOR                   CAREER DEVELOPMENT CTR                        FOUNDATION
OFFICE OF UNIV ARCHIVES & REC MGMT        625 N JORDAN AVE                              1229 E 7TH ST
BRYAN HALL 201, 107 S INDIANA AVE         BLOOMINGTON IN 47405                          BLOOMINGTON IN 47405
BLOOMINGTON IN 47405-7000


INDIANA UNIVERSITY                        INDIANA UNIVERSITY                            INDIANAPOLIS COLTS INC
PO BOX 66248                              STUDENT ACTIVITIES OFFICE IMU RM 37           7001 W 56TH ST
INDIANAPOLIS IN 46266-6248                1001 E 17TH ST                                INDIANAPOLIS IN 46254
                                          BLOOMINGTON IN 47405



INDIANAPOLIS COLTS INC                    INDIANAPOLIS COLTS INC                        INDIANAPOLIS FIRE BUFFS
PO BOX 53500                              PO BOX 535000                                 2205 E 58TH ST
INDIANAPOLIS IN 46253                     INDIANAPOLIA IN 46253-5000                    INDIANAPOLIS IN 46220




INDIANAPOLIS FIRE BUFFS                   INDIANAPOLIS FIRE BUFFS                       INDIANAPOLIS NEWSPAPERS INC.
PO BOX 811                                PO BOX 811                                    307 N PENNSYLVANIA ST
PALINFIELD IN 46168                       PLAINFIELD IN 46188-0811                      INDIANAPOLIS IN 46204




INDIANAPOLIS NEWSPAPERS INC.              INDIANAPOLIS NEWSPAPERS INC.                  INDIANAPOLIS POWER & LIGHT
PO BOX 145                                PO BOX 7080                                   PO BOX 110
INDIANAPOLIS IN 46206-0145                INDIANAPOLIS IN 46206-7080                    INDIANAPOLIS IN 46206-0110




INDIANAPOLIS POWER & LIGHT CO.            INDIANAPOLIS POWER & LIGHT CO.                INDIANAPOLIS WATER
ACCT NO. 153637                           ACCT NO. 441772                               ACCT NO. 000876558-000608641
P.O. BOX 110                              P.O. BOX 110                                  P.O. BOX 1990
INDIANAPOLIS IN 46206-0110                INDIANAPOLIS IN 46206-0110                    INDIANAPOLIS IN 46206-1990



INDIANAPOLIS WATER                        INDIANAPOLIS WATER                            INDIANAPOLIS WATER
ACCT NO. 000738697-000608642              ACCT NO. 000876549-000608644                  P.O. BOX 1990
P.O. BOX 1990                             P.O. BOX 1990                                 INDIANAPOLIS IN 46206-1990
INDIANAPOLIS IN 46206-1990                INDIANAPOLIS IN 46206-1990



INDIANAPOLIS WATER CO.                    INDU CHAUHAN                                  INDUSTRIAL CHEMICAL CORPORATION
DEPARTMENT OF PUBLIC WORKS                12 CABLE LANE                                 1939 HOLLINS FERRY RD
PO BOX 1990                               HICKSVILLE NY 11801                           BALTIMORE MD 21230-1604
INDIANAPOLIS IN 46206



INDUSTRIAL COLOR INC                      INDUSTRIAL CONCRETE SERVICES INC              INDUSTRIAL DOOR COMPANY
32 AVENUE OF THE AMERICAS 22ND FL         PO BOX 10699                                  1555 LANDMEIER ROAD
NEW YORK NY 10013                         PORTLAND ME 04104                             ELK GROVE VILLAGE IL 60007




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INDUSTRIAL DOOR COMPANY                INDUSTRIAL ELECTRONIC ENGINEERS               INDUSTRIAL ELECTRONIC ENGINEERS
2351 BRICKVALE DRIVE                   7740 LEMONA AVENUE                            PO BOX 513200
ELK GROVE VILLAGE IL 60007             VAN NUYS CA 91409                             LOS ANGELES CA 90051-1200




INDUSTRIAL FLEET MANAGEMENT INC        INDUSTRIAL FLEET MANAGEMENT INC               INDUSTRIAL METAL SUPPLY COMPANY
104 INDUSTRY LANE SUITE 5              201 W PADONIA RD                              2072 ALTON AVENUE
FOREST HILL MD 21050                   SUITE 201                                     IRVINE CA 92714
                                       TIMONIUM MD 21093



INDUSTRIAL METAL SUPPLY COMPANY        INDUSTRIAL METAL SUPPLY COMPANY               INDUSTRIAL METAL SUPPLY COMPANY
3303 SAN FERNANDO RD                   8300 SAN FERNANDO BLVD                        PO BOX 6189
BURBANK CA 91504                       SUN VALLEY CA 91352                           BURBANK CA 91510




INDUSTRIAL SHOE COMPANY                INDUSTRIAL SIGNS                              INDUSTRIAL STAFFING SERVICES INC
1421 E 1ST STREET                      DIVISION OF NEON SIGN CORP                    2955 EAGLE WAY
SANTA ANA CA 92701                     PO BOX 23394                                  CHICAGO IL 60628
                                       NEW ORLEANS LA 70183



INDUSTRIAL TECHNICAL SERVICES          INDUSTRIAL VIDEO CORPORATION                  INES SANTOS
1507 OUTRIGGER ST                      14885 SPRAGUE RD                              849 GRAMERCY DR.
WEST COVINA CA 91790                   CLEVELAND OH 44136                            APT. 309
                                                                                     LOS ANGELES CA 90005



INEZ ALEJANDRO                         INEZ ELLIOTT                                  INEZ HEINE
10055 NEWVILLE AVENUE                  402 SOUTH 15TH STREET                         PO BOX 383
DOWNEY CA 90240                        APARTMENT 611                                 GEORGETOWN MD 21930
                                       ALLENTOWN PA 18102



INEZ NESE                              INFANTE, EDILMAR EDUARDO                      INFINET COMPANY
137 BURLINGTON AVE                     BARRIO PUEBLO NUEVO CALLEJON 2                P O BOX 281697
DEER PARK NY 11729                     CASA 31 EL SOMBRERO                           ATLANTA GA 30384-1697
                                       EDO GUARICO



INFINET COMPANY                        INFINITE CREATIVE CONCEPTS, INC               INFINITE ENERGY, INC
151 W 4TH ST STE 201                   PO BOX 62                                     7011 SW 24TH AVE
CINCINNATI OH 45202                    BABYLON NY 11702                              GAINESVILLE FL 32607




INFINITE ENERGY, INC                   INFINITE ENERGY, INC                          INFINITE ENERGY, INC
PO BOX 31514                           PO BOX 91-7914                                PO BOX 791263
TAMPA FL 33631-3514                    ORLANDO FL 32891-7914                         BALTIMORE MD 21279-1263




INFINITE IMAGE NYC INC                 INFINITE MARKETING GROUP OF AZ LLC            INFINITE MARKETING GROUP OF AZ LLC
49 WEST 24TH ST 6TH FLR                10820 N 43RD AVE NO. 7                        17235 N 75TH AVE BLDG STE 150
NEW YORK NY 10010                      GLENDALE AZ 85304                             GLENDALE AZ 85308




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INFINITI GRAPHICS                     INFINITI GRAPHICS                             INFINITY BROADCASTING
96 PHOENIX AVE                        QUEBECOR WORLD ENFIELD                        6121 SUNSET BLVD
ENFIELD CT 06083                      PO BOX 98668                                  LOS ANGELES CA 90028
                                      CHICAGO IL 60693-8668



INFINITY BROADCASTING                 INFINITY BROADCASTING                         INFINITY BROADCASTING
ARROW 93.1 FM                         C/O KCBS MARKETING                            CBS RADIO KFWB-AM
5901 VENCE BLVD                       5901 VENICE BLVD                              PASADENA CA 91189-0734
LOS ANGELES CA 90034                  LOS ANGELES CA 90034



INFINITY BROADCASTING                 INFINITY BROADCASTING                         INFINITY BROADCASTING
PO BOX 100136                         PO BOX 100182                                 PO BOX 100247
PASADENA CA 91189-0136                PASADENA CA 91189-0182                        PASADENA CA 91189-0247




INFINITY BROADCASTING                 INFINITY BROADCASTING                         INFINITY BROADCASTING
PO BOX 100653                         10 EXECUTIVE DR                               DENVER KDJM/KIMN/KXKL
PASADENA CA 91189                     FARMINGTON CT 06032                           22293 NETWORK PLACE
                                                                                    CHICAGO IL 60673-1222



INFINITY BROADCASTING                 INFINITY BROADCASTING                         INFINITY BROADCASTING
1200 SOLDIERS FIELD RD                1 MEMORIAL DR                                 C/O WBZ-AM
BOSTON MA 02134                       ST LOUIS MO 63102                             PO BOX 33081
                                                                                    NEWARK NJ 07188-0081



INFINITY BROADCASTING                 INFINITY BROADCASTING                         INFINITY BROADCASTING
P O BOX 13053                         PO BOX 13053                                  PO BOX 13086
C/O WMBX FM                           WBMX 98.5                                     NEWARK NJ 07188
NEWARK NJ 07188-0053                  NEWARK NJ 07188-0053



INFINITY BROADCASTING                 INFINITY BROADCASTING                         INFINITY BROADCASTING
PO BOX 33103                          PO BOX 33185                                  524 W 57TH ST
NEWARK NJ 07188-0103                  NEWARK NJ 07188                               NEW YORK NY 10019




INFINITY BROADCASTING                 INFINITY BROADCASTING                         INFINITY BROADCASTING
KRBV FM                               PO BOX 730380                                 1000 DEXTER AVE N STE 100
7901 CARPENTER FREEWAY                DALLAS TX 75373-0380                          SEATTLE WA 98109
DALLAS TX 75247



INFINITY NEWS                         INFINITY NEWS                                 INFOCOMM
12315 RHEA DRIVE                      2219 TIMBER TRAIL DRIVE                       213 W INSTITUTE PLACE
PLAINFIELD IL 60585                   PLAINFIELD IL 60586                           SUITE 604
                                                                                    CHICAGO IL 60610



INFOLINK SCREENING SERVICES INC       INFOPAK INTERNATIONAL INC                     INFOPRINT SOLUTIONS COMPANY LLC
9201 OAKDALE AVE                      PO BOX 6808                                   1 NEW ORCHARD RD
SUITE 100                             BEND OR 97708                                 ARMONK NY 10504
CHATSWORTH CA 91311-6520




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INFOPRINT SOLUTIONS COMPANY LLC       INFORMA RESEARCH SERVICES INC                 INFORMA RESEARCH SERVICES INC
PO BOX 644225                         26565 AGOURA RD                               PO BOX 32807
PITTSBURG PA 15264                    STE 300                                       HARTFORD CT 06150
                                      CALABASAS CA 91302-1942



INFORMA RESEARCH SERVICES INC         INFORMA USA                                   INFORMA USA
ONE RESEARCH DR                       ONE RESEARCH DR                               PO BOX 5193
PO BOX 5193                           WESTBOROUGH MA 01581                          ONE RESEARCH DR
WESTBOROUGH MA 01581-5193                                                           STE 400A
                                                                                    WEST BOROUGH MA 01581


INFORMATEL                            INFORMATEL                                    INFORMATICA
2012 RENE LAENNEC BUREAU 275          4455 AUTOROUTE LAVAL 440                      PO BOX 49085
LAVAL                                 SUITE 250                                     SAN JOSE CA 96161-9085
QUEBEC QC H7M 4J8                     LAVAL QC H7P 4W6



INFORMATION & DISPLAY SYSTEMS         INFORMATION BUILDERS INC                      INFORMATION BUILDERS INC
10275 CENTURION COURT                 JAF BOX 2823                                  P O BOX 7247 7482
JACKSONVILLE FL 32256                 NEW YORK NY 10116                             PHILADELPHIA PA 19170




INFORMATION BUILDERS INC              INFORMS INC                                   INFOSPACE INC
PO BOX 7247-7482                      13055 RILEY ST                                PO BOX 50432
PHILADELPHIA PA 19170-7482            HOLLAND MI 49424                              LOS ANGELES CA 90074-0432




INFOSPACE INC                         INFRARED INSPECTIONS INC                      INGA, SEGUNDO F
601 108TH AVE NE STE 1200             6554 S. AUSTIN                                43 CEDAR ST
BELLEVUE WA 98004                     BEDFORD PARK IL 60638                         STAMFORD CT 06902




INGBER, HANNA C                       INGE HOOKER                                   INGEBRESTEN, DOROTHY LEE
51 MINISINK TRL                       707 OLD DONALDSON AVENUE                      32859 SEAGATE DR  NO.A
GOSHEN NY 10924                       SEVERN MD 21144                               RANCHO PALOS VERDES CA 90275




INGELS, ROBIN                         INGER GODLEY                                  INGER LUND
308 MALTOX DRIVE                      816 W 136TH STREET                            2409 1/2 W. SILVER LAKE DR.
NEWPORT NEWS VA 23601                 COMPTON CA 90222                              LOS ANGELES CA 90039




INGERSOLL RAND COMPANY                INGERSOLL RAND COMPANY                        INGERSOLL RAND COMPANY
150 E NORTH AVE                       AIR COMPRESSOR GROUP                          540 SOUTHLAKE BLVD
VILLA PARK IL 60181                   PO BOX 75817                                  RICHMOND VA 23236
                                      CHARLOTTE NC 28275



INGRAHAM, ROBERT                      INGRAM, BARBARA G                             INGRAM, SHANNON S
4200 SHERIDAN STREET NO.209           2607 HICKORY FLATS TRAIL                      354 FLOWER ST
HOLLYWOOD FL 33021                    HUNTSVILLE AL 35801                           COSTA MESA CA 92627




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INGRID CANADAY                         INGRID QUILES                                 INGRID THOMPSON
8 SIDEWINDER COURT                     2656 GREENWILLOW DRIVE                        7547 SOUTH ORIOLE BLVD.
WILLIAMSBURG VA 23185                  ORLANDO FL 32825                              #204
                                                                                     DELRAY BEACH FL 33446



INHAN CHUNG                            INIT PRODUCTIONS                              INITIAL ELECTRONICS INCORPORATED
916 W. VICTORIA AVE.                   C/O JESS S MORGAN & CO                        135 SOUTH LASALLE
#200                                   5750 WILSHIRE BVLD SUITE 590                  DEPT 3806
MONTEBELLO CA 90640                    LOS ANGELES CA 90036                          CHICAGO IL 60674-3806



INITIAL TROPICAL PLANTS                INITIATIVE MEDIA WORLDWIDE                    INITIATIVE MEDIA WORLDWIDE
PO BOX 95409                           LOCKBOX PROCESSING                            LOCKBOX PROCESSING
PALATINE IL 60095-0409                 P O BOX 4491                                  PO BOX 100544
                                       LOS ANGELES CA 90096-4491                     ATLANTA GA 30384-0544



INITIATIVE MEDIA WORLDWIDE             INITIATIVE MEDIA WORLDWIDE                    INJURY SOLUTIONS INC
PO BOX 504491                          PO BOX 7247-6588                              11845 OLYMPIC BLVD SUITE 1250 WEST
THE LAKES NV 88905-4491                PHILADELPHIA PA 19170-6566                    LOS ANGELES CA 90064




INJURY SOLUTIONS INC                   INK RECLAMATION SERVICES INC                  INKLES, ALAN
11845 OLYMIC BLVD SUITE 1250           150 PIONEER TRAIL NO.151                      6 FOXRUN COURT
WEST LOS ANGELES CA 90064              CHASKA MN 55318                               PORT JEFFERSON STATION NY 11776




INLAND VALLEY/DAILY BULLETIN           INLAND VALLEY/DAILY BULLETIN                  INMAN NEWS INC
ACCOUNTS RECEIVABLE - SUBSCRIPTION     PO BOX 4000                                   1100 MARINA VILLAGE PARKWAY SUITE 102
PO BOX 50400                           ONTARIO CA 91761                              ALAMEDA CA 94501
ONTARIO CA 91761-1081



INMAN NEWS INC                         INMAN NEWS INC                                INMAN NEWS INC
1250 45TH ST NO. 360                   1250 45TH STREET                              1480 64TH ST STE 100
EMERYVILLE CA 94608                    SUITE 360                                     EMERYVILLE CA 94608
                                       EMERYVILLE CA 94608



INNER CIRCLE                           INNER CIRCLE                                  INNERWORKINGS INC
PO BOX 5372                            RM 9, CITY HALL                               ACCOUNTS RECEIVABLE
NEW YORK NY 10185-5372                 NEW YORK NY 10007                             27011 NETWORK PL
                                                                                     CHICAGO IL 60673



INNIS WILLIAMS                         INNIS, STEPHANIE C                            INNISFREE M&A INCORPORATED
723 SHERIDAN AVENUE                    8060 NW 96 TERR NO.105                        501 MADISON AVE   20TH FLR
BALTIMORE MD 21212                     TAMARAC FL 33321                              NEW YORK NY 10022




INNISS, RICARDO R                      INNOCENT, NADEGE                              INNOVAGE INC
2240 N SHERMAN CIRCLE APT 307          344 SE 11TH AVE NO.5                          19511 PAULING
MIRAMAR FL 33025                       POMPANO BEACH FL 33060                        FOOTHILL RANCH CA 92610




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INNOVATION DATA PROCESSING INC        INNOVATIVE EDIT INC                           INNOVATIVE MARKETING CONSULTANTS
INNOVATION PLAZA-3RD FLOOR            1435 N MERIDAN ST                             4284 SHORELINE DR
275 PATERSON AVENUE                   INDIANAPOLIS IN 46202-2304                    SPRING PARK MN 55384
LITTLE FALLS NJ 07424-1658



INNOVATIVE PROMOTIONS                 INNOVATIVE RESEARCH & MARKETING INC           INNOVATIVE SYSTEMS DESIGN
21732 DEVONSHIRE ST   STE 1001        13615 VICTORY BLVD NO.217                     15000 BLVD PIERREFONDS
CHATSWORTH CA 91311                   VAN NUYS CA 91491                             STE 100
                                                                                    QUEBEC QC H9H 4G2



INNOVATIVE SYSTEMS DESIGN             INOC                                          INOTEK TECHNOLOGIES CORP
16025-A PIERRREFONDS BLVD             1101 SKOKIE BLVD STE 200                      1064 TOWER LANE
PIERREFONDS QC H9H 3X6                NORTHBROOK IL 60062                           BENSENVILLE IL 60106




INOTEK TECHNOLOGIES CORP              INOUYE, RICHARD E                             INQUER, ROYAL
11212 INDIAN TRAIL                    1300 POPENOE ROAD                             3597 NW 40TH CT
DALLAS TX 75229                       LA HABRA HEIGHTS CA 90631                     LAUDERDALE LAKES FL 33309




INSCERCO MFG                          INSDORF, BRIAN                                INSERTCO INC
4621 WEST 138TH ST                    60 E 9 STREET APT 537                         57-11 49TH PL
CRESTWOOD IL 60445                    NEW YORK NY 10003                             MASPETH NY 11378




INSERTCO INC                          INSERTS EAST                                  INSIDE EDGE INC
ATN: ACCOUNTING                       7045 CENTRAL HWY                              5049 EMERSON AVE 5
48-23 55TH AVE                        PENNSAUKEN NJ 08109                           MINNEAPOLIS MN 55419
MASPETH NY 11378



INSIDE IMAGE PRODUCTIONS LLC          INSIDE STL ENTERPRISES LLC                    INSIGHT
18421 BLUE MOON COURT                 1900 LOCUST STREET SUITE 301                  6820 S HARL AVE
BOYDS MD 20841                        ST LOUIS MO 63103                             TEMPE AZ 85283




INSIGHT                               INSIGHT                                       INSIGHT
ATTN: ORDER PROCESSING                PO BOX 78269                                  PO BOX 78825
6820 X. HARL AVENUE                   PHOENIX AZ 85062                              PHOENIX AZ 85062-8825
TEMPE AZ 85283



INSIGHT COMMUNICATIONS                INSIGHT COMMUNICATIONS                        INSIGHT COMMUNICATIONS
PO BOX 173885                         PO BOX 5297                                   GARY P DUSA
DENVER CO 80217-3885                  CAROL STREAM IL 60197-5297                    10200 LINN STATION ROAD SUITE 310
                                                                                    LOUISVILLE KY 40223



INSIGHT COMMUNICATIONS                INSIGHT COMMUNICATIONS                        INSIGHT GLOBAL INC
810 7TH AV                            PO BOX 740273                                 4170 ASHFORD DUNWOODY RD STE 580
NEW YORK NY 10019                     CINCINNATI OH 45274-0273                      ATLANTA GA 30319




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INSIGHT GLOBAL INC                      INSIGHT NEWS & FEATURES INC                   INSIGHT NEWS & FEATURES INC
PO BOX 198226                           321 WEST 44TH ST SUITE 702                    630 NINTH AVE   STE 1102G
ATLANTA GA 30384-8226                   NEW YORK NY 10036                             NEW YORK NY 10036




INSIGHT REALTY INC                      INSIGHT REALTY INC                            INSIGNIA LANDSCAPE & TREE CARE
800 SEAHARWK CIR STE 111                800 SEAHAWK CIR NO.110                        1776 COUNTRY CLUB DR
VIRGINIA BEACH VA 23452                 VIRGINIA BEACH VA 23452                       ESCONDIDO CA 92029




INSPRUCKER, MARY                        INSTADIUM INC                                 INSTALLATION SERVICES INC
262 S HALE                              566 WEST ADAMS ST          STE 601            10406 CHERRY VALLEY RD
PALATINE IL 60067                       CHICAGO IL 60661                              GENOA IL 60135




INSTANT FIRE PROTECTION INC             INSTANT MAILING SYSTEM                        INSTANT TECHNOLOGY
7811 ALABAMA AVE NO.6                   1515 ELLIS ST                                 200 WEST ADAMS STE 1230
CANOGA PARK CA 91304                    WAUKESHA WI 53186                             CHICAGO IL 60606




INSTANT TECHNOLOGY                      INSTITUTE OF INTERNAL AUDITORS                INSTITUTE OF INTERNAL AUDITORS
6456 PAYSPHERE CIRCLE                   247 MAITLAND AVE                              CHICAGO CHAPTER
CHICAGO IL 60674                        ALTAMONTE SPRINGS FL 32701                    112 WESLEY ST
                                                                                      BARRINGTON IL 60010



INSTITUTE OF INTERNAL AUDITORS          INSTRUCTIONAL TELEVISION ARCHDIOCESE          INSTRUMENTAL MUSIC ASSOC
PO BOX 973                              215 SEMINARY AVE                              EASTON AREA HIGH SCHOOL
PARK RIDGE IL 60068                     YONKERS NY 10704                              2601 WILLIAM PENN HWY
                                                                                      EASTON PA 18042



INSUASTI, GUSTAVO                       INSULATION PRODUCTS CORPORATION               INSULATION PRODUCTS CORPORATION
2148 SAND ARBOR CIRCLE                  2550 WISCONSIN AVENUE                         650 S SCHMIDT RD
ORLANDO FL 32824                        DOWNERS GROVE IL 60515                        BOLINGBROOK IL 60440




INTECH PARK SVC ASSN INC                INTEGRA TELECOM                               INTEGRATED MARKETING SERVICES INC
401 PENNSYLVANIA PKWY                   1201 NE LLOYD BLVD., SUITE 500                279 WALL ST
INDIANAPOLIS IN 46280                   PORTLAND OR 97232-1208                        PRINCETON NJ 08540-1519




INTEGRATED MEDIA SOLUTIONS              INTEGRATED MEDIA SOLUTIONS                    INTEGRATED MEDIA SOLUTIONS
350 SOUTH BEVERLY DR                    350 SOUTH BEVERLY DRIVE SUITE 315             650 5TH AVE 35TH FLR
BEVERLY HILLS CA 90212                  BEVERLY HILLS CA 90212                        NEW YORK NY 10019




INTEGRATED PRINT & GRAPHICS             INTELLI-TEC SECURITY SERVICES INC             INTELLI-TEC SECURITY SERVICES INC
645 STEVENSON RD                        349 WEST JOHN ST                              400 WEST DIVISION STREET
SOUTH ELGIN IL 60177                    HICKSVILLE NY 11801                           SYRACUSE NY 13204




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INTELLI-TEC SECURITY SERVICES INC     INTELLIGENCE GROUP                            INTELLIGENCE GROUP
550 EAST GENESEE ST                   2000 AVENUE OF THE STARS                      162 5TH AVENUE 6TH FLOOR
SYRACUSE NY 13202                     LOS ANGELES CA 90067                          NEW YORK NY 10010




INTELLIVERSE                          INTELLIVERSE                                  INTELLSCAPE COMPANY
6260 LOOKOUT RD                       8130 INNOVATION WAY                           8555 LAWNDALE AVE
BOULDER CO 80301-3319                 CHICAGO IL 60682                              SKOKIE IL 60076




INTELSAT CORPORATION                  INTENSEBLUESTUDIO                             INTENSEBLUESTUDIO
PO BOX 7247-8912                      3587 HIGHWAY 9 NO.175                         108F NORTH READING RD NO. 166
PHILADELPHIA PA 19170-8912            FREEHOLD NJ 07728                             EPHRATA PA 17522




INTER AMERICAN PRESS ASSOCIATION      INTER AMERICAN PRESS ASSOCIATION              INTER AMERICAN PRESS ASSOCIATION
1801 SW 3D AVE                        1801 SW 3RD AVE                               1801 SW 3RD AVE 8TH FLOOR
JULES DUBOIS BLDG                     JULES DUBOIS BLDG                             MIAMI FL 33129
ATTENTION DR JULIO MUNOZ              MIAMI FL 33129
MIAMI FL 33129


INTER AMERICAN PRESS ASSOCIATION      INTER AMERICAN PRESS ASSOCIATION              INTER CON SECURITY SYSTEMS
1801 SW 3RD AVENUE                    2911 NW 39TH STREET                           210 S DE LACEY AVENUE
MIAMI FL 33129                        MIAMI FL 33142                                PASADENA CA 91105




INTER CONTINENTAL CHICAGO             INTER COUNTY BUS CORP                         INTER TEL LEASING INC
505 N MICHIGAN AVE                    PO BOX 17                                     1140 WEST LOOP NORTH
CHICAGO IL 60611                      BABYLON NY 11702                              HOUSTON TX 77055




INTER TEL LEASING INC                 INTER TEL LEASING INC                         INTERACTIVE BUSINESS SYSTEMS INC
PO BOX 972448                         PO BOX 972629                                 2625 BUTTERFIELD RD
DALLAS TX 75397-2448                  DALLAS TX 75397-2629                          OAK BROOK IL 60523




INTERACTIVE BUSINESS SYSTEMS INC      INTERACTIVE MARKET SYSTEMS INC                INTERACTIVE MARKET SYSTEMS INC
6650 EAGLE WAY                        PO BOX 88991                                  11 W 42ND ST
CHICAGO IL 60678-1066                 CHICAGO IL 60695-8991                         NEW YORK NY 10036-8088




INTERACTIVE MARKET SYSTEMS INC        INTERCEPT COURIER INC                         INTERCON SOLUTIONS INC
P O BOX 7247-7403                     348 N ASHLAND AVE STE 202                     1001-59 WASHINGTON AVE
PHILADELPHIA PA 19170-7403            CHICAGO IL 60607                              CHICAGO HEIGHTS IL 60411




INTERGENERATIONAL STRATEGIES          INTERGLOBAL SPACE LINES INC                   INTERIOR DESIGN GROUP LTD
75 WIND WATCH DR                      PO BOX 8947                                   646 ROOSEVELT RD
HAUPPAUGE NY 11788                    JACKSON WY 83002                              GLEN ELLYN IL 60137-5819




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INTERIOR WORKPLACE SOLUTIONS          INTERIOR WORKPLACE SOLUTIONS                  INTERKINETICS CORP
7150 WINDSOR DR                       P O BOX 3503                                  200 E ROBINSON ST  STE 450
SUITE 3                               ALLENTOWN PA 18106-0503                       ORLANDO FL 32801
ALLENTOWN PA 18106



INTERLINC DIRECT CORPORATION          INTERMEC TECHNOLOGIES CORP                    INTERMEC TECHNOLOGIES CORP
65 SUPERIOR BOULEVARD UNIT 1          22090 NETWORK PL                              22095 NETWORK PL
MISSISSAUGA ON L5T 2X9                CHICAGO IL 60673-1220                         CHICAGO IL 60673-1220




INTERMEC TECHNOLOGIES CORP            INTERMEC TECHNOLOGIES CORP                    INTERMEC TECHNOLOGIES CORP
3060 SALT CREEK LANE                  100 PASSAIC AVENUE, 1ST FL                    9290 LESAINT DRIVE
ARLINGTON HEIGHTS IL 60005            FAIRFIELD NJ 07652                            FAIRFIELD OH 45014




INTERNAL REVENUE SERVICE              INTERNAL REVENUE SERVICE                      INTERNAL REVENUE SERVICE
PO BOX 21126                          450 GOLDEN GATE AVE 6TH FLOOR                 6230 VAN NUYS BLVD
PHILADELPHIA PA 19114-0326            SAN FRANCISCO CA 94102-3661                   VAN NUYS CA 91401




INTERNAL REVENUE SERVICE              INTERNAL REVENUE SERVICE                      INTERNAL REVENUE SERVICE
AUTOMATED COLLECTION SERVICE          COLLECTION DEPARTMENT                         DEPARTMENT OF TREASURY
PO BOX 24017                          ATLANTA CA 39901                              FRESNO CA 93888
FRESNO CA 93776



INTERNAL REVENUE SERVICE              INTERNAL REVENUE SERVICE                      INTERNAL REVENUE SERVICE
ENROLLMENT RENEWALS                   ATTN GARY WOOD                                MILDRED CRUZ
PO BOX 894191                         135 HIGH STREET                               936 SILAS DEANE HIGHWAY
LOS ANGELES CA 90189-4191             HARTFORD CT 06103-1125                        2ND FLOOR
                                                                                    WETHERSFIELD CT 06109


INTERNAL REVENUE SERVICE              INTERNAL REVENUE SERVICE                      INTERNAL REVENUE SERVICE
STANLEY PIORUN/ 2ND FLOOR             PO BOX 2608                                   ATTN K KENNEDY STOP 5331
936 SILAS DEANE HIGHWAY               WASHINGTON DC 20013-2608                      850 TRAFALGAR CT STE 200
WETHERSFIELD CT 06109                                                               MAITLAND FL 32751-4153



INTERNAL REVENUE SERVICE              INTERNAL REVENUE SERVICE                      INTERNAL REVENUE SERVICE
ATTN: P MCNEALY STOP 5331             UNITED STATES TREASURY                        PO BOX 105421
850 TRAFALGAR CT                      7850 SW 6TH CT                                ATLANTA GA 30348
STE 200                               PLANTATION FL 33324
MAITLAND FL 32751-4153


INTERNAL REVENUE SERVICE              INTERNAL REVENUE SERVICE                      INTERNAL REVENUE SERVICE
PO BOX 105572                         PO BOX 47-421                                 230 SOUTH DEARBORN STREET
ATLANTA GA 30348-5572                 DORAVILLE GA 30362                            STOP 5115
                                                                                    CHICAGO IL 60604



INTERNAL REVENUE SERVICE              INTERNAL REVENUE SERVICE                      INTERNAL REVENUE SERVICE
PO BOX 6229                           SMALL BUSINESS SELF EMPLOYED                  ANDOVER SERVICE CENTER
CHICAGO IL 60680-6229                 8125 RIVER DR NO.103                          ANDOVER MA 05501
                                      MORTON GROVE IL 60053




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INTERNAL REVENUE SERVICE               INTERNAL REVENUE SERVICE                     INTERNAL REVENUE SERVICE
C/O C NADINE MARSH 52-07100            PO BOX 219236                                PO BOX 1236
31 HOPKINS PLAZA                       KANSAS CITY MO 64121-9236                    CHARLOTTE NC 28201-1236
ROOM 942
BALTIMORE MD 21201


INTERNAL REVENUE SERVICE               INTERNAL REVENUE SERVICE                     INTERNAL REVENUE SERVICE
44 SOUTH CLINTON AVE THIRD FLOOR       M COCOZZO                                    PO BOX 889
TRENTON NJ 08609                       1 LEFRAK CITY PLAZA                          HOLTSVILLE NY 11742
                                       CORONA NY 11368



INTERNAL REVENUE SERVICE               INTERNAL REVENUE SERVICE                     INTERNAL REVENUE SERVICE
CINCINNATI SERVICE CENTER              PO BOX 145566                                ACS
CINCINNATI OH 45999-0072               CINCINNATI OH 45214                          PO BOX 57
                                                                                    BENSALEM PA 19020-8514



INTERNAL REVENUE SERVICE               INTERNAL REVENUE SERVICE                     INTERNAL REVENUE SERVICE
INTERNAL REVENUE SERVICE CENTER        PHILADELPHIA SERVICE CENTER                  PO BOX 42530
PHILADELPHIA PA 19255                  PO BOX 57                                    PHILADELPHIA PA 19101-2530
                                       BENSALEM PA 19020-9980



INTERNAL REVENUE SERVICE (IRS)         INTERNATIONAL ALLIANCE OF THEATRICAL         INTERNATIONAL ALLIANCE OF THEATRICAL
P.O. BOX 105050                        AND STAGE EMPLOYEES (ENGINEERS)              AND STAGE EMPLOYEES,
ATLANTA GA 30348-5050                  10045 RIVERSIDE DRIVE                        LOCAL NO. 2 (STAGEHANDS)
                                       TOLUCA LAKE CA 91602                         20 N. WACKER DRIVE, ROOM 1032
                                                                                    CHICAGO IL 60606


INTERNATIONAL ALLIANCE OF THEATRICAL   INTERNATIONAL ASSOCIATION OF MACHINISTS      INTERNATIONAL ASSOCIATION OF MACHINISTS
AND STAGE EMPLOYEES, LOCAL ONE         120 E OGDEN AVE. 18-A                        AND AEROSPACE WORKERS
320 WEST 46TH STREET                   HINSDALE IL 60521                            120 E OGDEN AVE. 18-A
NEW YORK NY 10036                                                                   HINSDALE IL 60521



INTERNATIONAL ASSOCIATION OF           INTERNATIONAL BROTHERHOOD OF                 INTERNATIONAL BROTHERHOOD OF
LOCAL 126 (MACHINISTS)                 TEAMSTERS, LOCAL 706 (DRIVERS)               WORKERS
120 EAST OGDEN AVENUE                  NEWSPAPER DRIVERS' UNION                     8605 WEST BRYN MAWR, #309
SUITE 18-A                             6650 NORTHWEST HIGHWAY, SUITE 208            CHICAGO IL 60631
HINSDALE IL 60521                      CHICAGO IL 60631


INTERNATIONAL BROTHERHOOD OF           INTERNATIONAL BROTHERHOOD OF                 INTERNATIONAL BROTHERHOOD OF
WORKERS LOCAL 1220 (ENGINEERS          WORKERS, LOCAL 1212                          WORKERS, LOCAL 40 (ELECTRICIANS)
& NEWSWRITERS)                         225 W. 34TH STREET                           5643 VINELAND AVENUE
8605 WEST BRYN MAWR, #309              SUITE 1120                                   NORTH HOLLYWOOD CA 91601
CHICAGO IL 60631                       NEW YORK NY 10122


INTERNATIONAL BROTHERHOOD OF           INTERNATIONAL BROTHERHOOD OF                 INTERNATIONAL BROTHERHOOD OF
WORKERS, LOCAL 98 (TECHNICIANS)        WORKERS, NO. 4 (ENGINEERS)                   WORKERS, NO. 4 (NEWSROOM
1701 SPRING GARDEN STREET              1610 SOUTH KINGSHIGHWAY                      1610 SOUTH KINGSHIGHWAY
PHILADELPHIA PA 19130                  ST. LOUIS MO 63110                           ST. LOUIS MO 63110



INTERNATIONAL CREATIVE MANAGEMENT      INTERNATIONAL CREATIVE MANAGEMENT            INTERNATIONAL CREATIVE MANAGEMENT
8942 WILSHIRE BLVD                     40 WEST 57TH ST                              825 EIGHT AVENUE 26TH FLOOR
BEVERLY HILLS CA 90211-1934            ATTN LIZ FARRELL                             NEW YORK NY 10019
                                       NEW YORK NY 10019




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INTERNATIONAL CREATIVE MANAGEMENT     INTERNATIONAL CREATIVE MANAGEMENT             INTERNATIONAL DATA CASTING
ATTN SLOAN HARRIS                     I C M AS AGENT FOR HENRY KISSINGER            50 FRANK NIGHBOR PLACE
40 WEST 57TH ST   17FL                ATTN MARVIN JOSEPHSON                         KANATA ON K2V 1B9
NEW YORK NY 10019                     40 W 57TH ST
                                      NEW YORK NY 10019


INTERNATIONAL DATA DEPOSITORY         INTERNATIONAL DEMOGRAPHICS INC                INTERNATIONAL DEMOGRAPHICS INC
5195 NW 77TH AVENUE                   CHAMBER OF COMMERCE                           PO BOX 203047
MIAMI FL 33166                        6250 PARC COMICHER DRIVE                      HOUSTON TX 77216-3047
                                      ORLANDO FL 32821



INTERNATIONAL DEMOGRAPHICS INC        INTERNATIONAL DEMOGRAPHICS INC                INTERNATIONAL FAMILY SERVICES
PO BOX 297681                         PO BOX 4160                                   700 S FRIENDSWOOD DR    STE A
HOUSTON TX 77297-7681                 HOUSTON TX 77210-4160                         FRIENDSWOOD TX 77546




INTERNATIONAL NEWSPAPER GROUP         INTERNATIONAL ORTHODOX CHRISTIAN              INTERNATIONAL OUTSOURCING
64 SPYGLASS DRIVE                     7 CITITATION CIRCLE                           1600 W BLOOMFIELD RD
JACKSON NJ 08527                      WHEATON IL 60187                              BLOOMINGTON IN 47403




INTERNATIONAL PRODUCTIONS INC         INTERNATIONAL PROMOTIONS INC                  INTERNATIONAL SALES INCENTIVES LLC
DBA EVERGREEN SPEEDWAY                11278 LOS ALAMITOS BLVD NO.101                6402 ARLINGTON BLVD NO.1130
PO BOX 879                            LOS ALAMITOS CA 90720                         FALLS CHURCH VA 22042
MONROE WA 98272



INTERNATIONAL SPORTS MANAGEMENT       INTERNATIONAL SPORTS PROPERTIES INC           INTERNATIONAL SPORTS PROPERTIES INC
205 N MICHIGAN   STE 3900             UFC ARENA                                     140 CLUB OAK CT
CHICAGO IL 60601                      N GEMINI BLVD BLDG 50 RM 119C                 WINSTON-SALEM NC 27104
                                      ORLANDO FL 32816-1500



INTERNATIONAL SPORTS PROPERTIES INC   INTERNATIONAL TELECOMM COMPONENTS INC         INTERNATIONAL UNION OF OPERATING
DEPT 905ISP                           94 B EAST IEFRYN BLVD                         ENGINEERS, LOCAL 399 (OPERATING ENG.)
PO BOX 67715                          DEER PARK FL 11729                            763 WEST JACKSON BOULEVARD
CHARLOTTE NC 28266                                                                  CHICAGO IL 60661



INTERNATIONALIST MARKETING LLC        INTERNET BROADCASTING SYSTEMS                 INTERNET CHICAGO
4004 LOS FELIZ BLVD                   355 RANDOLPH AVE                              1801 C HOWARD STREET
LOS ANGELES CA 90027                  ST PAUL MN 55102                              ELK GROVE VILLAGE IL 60007




INTERNET CHICAGO                      INTERPARKING                                  INTERPARKING
PO BOX 6367                           1920 L ST NW                                  5883 COLLECTION CENTER DR
BLOOMINGDALE IL 60108-6357            WASHINGTON DC 20036                           CHICAGO IL 60693




INTERPARKING                          INTERPARKING                                  INTERPARKING
91144 COLLECTION CENTER DR            GRAND OHIO                                    P O BOX 5883
CHICAGO IL 60693                      211 EAST OHIO                                 CHICAGO IL 60693-5883
                                      CHICAGO IL 60611




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INTERPARKING                          INTERPLEX COMPANY                             INTERPLEX COMPANY
P.O. BOX 91144                        PO BOX 4694                                   PO BOX 68-6393
CHICAGO IL 60693-1144                 ROCKFORD IL 61110-4694                        ROCKFORD IL 61110




INTERSPORT INC                        INTERSPORT TELEVISION                         INTERSTATE ADV MANAGERS ASSOC
20 W KINZIE NO.1600                   414 NORTH ORLEANS PLAZA                       PO BOX 5128
CHICAGO IL 60610                      SUITE 600                                     BETHLEHEM PA 18015
                                      CHICAGO IL 60610



INTERSTATE ALARM INC                  INTERSTATE ALARM INC                          INTERSTATE ALL BATTERY CENTER
PO BOX 275                            9132 INDIANAPOLIS BLVD                        2606 SOUTH SHEPHERD
DOLTON IL 60419                       HIGHLAND IN 46322                             HOUSTON TX 77098




INTERSTATE ALL BATTERY CENTER         INTERSTATE NEWS                               INTERSTATE PROPERTIES ASSOCIATES
8350 WESTHEIMER                       6316 WEATHERVANE LN                           RE: GLENDALE 221 N. BRAND BLV
SUITE D                               ACCT NO.1030                                  1880 CENTURY PARK EAST
HOUSTON TX 77063                      MACHESNEY PARK IL 61115                       SUITE 810
                                                                                    LOS ANGELES CA 90067


INTERSTATE PROPERTIES ASSOCIATES      INTERTECT DESIGN GROUP                        INTERTECT DESIGN GROUP
433 N CAMDEN DR    STE 900            1080 WOODCOCK RD NO. 200                      2755 HOWARD AVE
BEVERLY HILLS CA 90210                ORLANDO FL 32803                              OVIEDO FL 32765




INTERTECT DESIGN GROUP                INTERTECT DESIGN GROUP                        INTERVIEWING SERVICE OF AMERICA INC
7059 UNIVERSITY BLVD                  ATTN: ORDER PROCESSING                        15400 SHERMAN WAY
WINTER PARK FL 32792                  SUITE 100                                     VAN NUYS CA 91406-4211
                                      988 WOODCOCK ROAD
                                      ORLANDO FL 32803


INTL COMMUNICATIONS BROS              INTOUCH SOLUTIONS                             INTRIAGO, IVONNE
37523 56TH STREET EAST                1717 PARK STREET SUITE 301                    84-14 102 AVE
PALMDALE CA 93552                     NAPERVILLE IL 60563                           OZONE PARK NY 11416




INTRIERI, CAROL E                     INVESTIGATIVE REPORTERS & EDIT                INVESTIGATIVE REPORTERS & EDIT
17608 CORONADO DR                     100 NEFF HALL UNV OF MISSOURI                 138 NEFF HALL ANNEX
ORLAND PARK IL 60467                  SCHOOL OF JOURNALISM                          COLUMBIA MO 65211
                                      COLUMBIA MO 65211



INVESTIGATIVE REPORTERS & EDIT        INVESTIGATIVE REPORTERS & EDIT                INVESTIGATIVE REPORTERS & EDIT
DEBBIE WOLFE                          EDITORS INC                                   MISSOURI SCHOOL OF JOURNALISM
MISSOURI SCHOOL OF JOURNALISM         138 NEFF ANNEX                                P O BOX 838
138 NEFF ANNEX                        MISSOURI SCHOOL OF JOURNALISM                 COLUMBIA MO 65205
COLUMBIA MO 65211                     COLUMBIA MO 65211


INVESTORS BUSINESS DAILY              INVESTORS BUSINESS DAILY                      INVESTORS BUSINESS DAILY
12655 BEATRICE ST                     ATTN SINGLE COPY AND RETAIL BULK              PO BOX 6113
DEPARTMENT S                          PO BOX 92060                                  INGLEWOOD CA 90312-6113
LOS ANGELES CA 90066                  LOS ANGELES CA 90009-2060




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INVESTORS BUSINESS DAILY                INVISION INC                                  INX INC
PO BOX 6113                             420 LEXINGTON AVE     STE 3005                309 LIMESTONE RD
ATTN SINGLE COPY AND RETAIL BULK        NEW YORK NY 10170                             RIDGEFIELD CT 06877
INGLEWOOD CA 90312-6113



INYO COUNTY TAX COLLECTOR               INZANA, RYAN                                  IOANA BORGOVAN
PO BOX 0                                114 CLINTON ST                                7 MARY LANE
INDEPENDENCE CA 93526-0614              LAMBERTVILLE NJ 08530                         RIVERSIDE CT 06878




ION MEDIA NETWORKS INC                  ION MEDIA NETWORKS INC                        IORIO, GRACE
601 CLEARWATER PARK RD                  PO BOX 930467                                 42 ORCHARD ST
WEST PALM BEACH FL 33401                ATLANTA GA 31193                              BRISTOL CT 06010




IOWA CUBS                               IOWA DEPT OF NATURAL RESOURCES                IPANAQUE, MARTHA
350 S W. FIRST                          502 E. 9TH STREET                             876 PIPERS CAY DR.
DES MOINES IA 50309                     DES MOINES IA 50319-0034                      WEST PALM BEACH FL 33415




IPC INTERNATIONAL CORPORATION           IPC INTERNATIONAL CORPORATION                 IPC PRINT SERVICES
2111 WAUKEGAN RD                        3360 PAYSPHERE CIRCLE                         9122 EAGLE WAY
BANNOCKBURN IL 60015                    CHICAGO IL 60674                              CHICAGO IL 60678-9122




IPC PRINT SERVICES                      IPLACEMENT INC                                IPOCK, DON
501 COLONIAL DRIVE                      PO BOX 533958                                 582 WEST 40TH STREET
ST JOSEPH MI 49085                      ORLANDO FL 32853                              KANSAS CITY MO 64111




IPOCK, DON                              IPRINT INC                                    IPROMOTEU.COM
PHOTOGRAPHY                             127 WEST 25TH ST           5TH FLR            321 COMMONWEALTH RD NO.103
9825 SHEPHARD DR                        NEW YORK NY 10001                             WAYLAND MA 01778
KANSAS CITY MO 64131



IPSOFT INC                              IRA ABRAMOWITZ                                IRA COHEN
17 STATE ST  12TH FLR                   110 GREENE AVENUE                             5 SADORE LANE
NEW YORK NY 10004                       PORT JEFFERSON STATION NY 11776               APT. 2K
                                                                                      YONKERS NY 10710



IRA GOLDSTONE                           IRA GRIGGS                                    IRA JAMES
420 MANHATTAN AVE.                      3 JEFFREY COURT                               36 KENDRICK LANE
MANHATTAN BEACH CA 90266                FREEPORT NY 11520                             WINDSOR CT 06095




IRA MEYERS                              IRA W BAKER                                   IRA WINDERMAN
206 ELTON COURT WEST                    9214 DOVE MEADOW DRIVE                        848 HAMPTON COURT
ST. JAMES NY 11780                      DALLAS TX 75243                               WESTON FL 33326




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IRANI, PHIROZE                         IRANIA SIGUENZA                               IRASEMA FRANQUEZ
45-41 40 ST   APT 1F                   9663 BELCHER ST                               412 E DEWEY AVENUE
SUNNYSIDE NY 11104                     DOWNEY CA 90242                               SAN GABRIEL CA 91776




IRAVANI, SEAN                          IRELAND, BARBARA D                            IRELAND, MEGAN R
8811 NW 4TH ST                         19 CASTLEBAR COURT                            3819 MATTHEW LN
PEMBROKE PINES FL 33024                TIMONIUM MD 21093                             SEAFORD NY 11783




IRELAND, STEPHANIE                     IRENA WITKOWSKA                               IRENE AND COMPANY INC
472 NO.K YOUNGS MILL LN                1507 LE GRANDE TERRACE                        14320 BAY ISLE DR
NEWPORT NEWS VA 23602                  SAN PEDRO CA 90732                            ORLANDO FL 32824




IRENE AVANT                            IRENE BIRDSALL                                IRENE BRODTMAN
711 FLORIDA AVENUE                     625 PEARLANNA DR.                             1962 BRIDGEWOOD DRIVE
APT. C                                 SAN DIMAS CA 91773                            BOCA RATON FL 33434
LYNNHAVEN FL 32444



IRENE CASTANEDA-LOMELI                 IRENE CERVANTES                               IRENE DUDAS
6223 S. KILDARE                        5019 MAIN AVENUE                              363 E. CHURCH
CHICAGO IL 60629-5019                  BALDWIN PARK CA 91706                         ELMHURST IL 60126




IRENE G SHENOHA                        IRENE GRAMIT                                  IRENE HERNANDEZ
6655 SOUTH KEDVALE AVENUE              704 PARKSIDE CIRCLE                           15489 ORION
CHICAGO IL 60629                       STREAMWOOD IL 60107                           LAKE ELSINORE CA 92530




IRENE HOCHFELD                         IRENE KOWALEWSKI                              IRENE KRAFT
9537 WELDON CIR                        6720 NOVA DRIVE                               4801 LINDA LANE
TAMARAC FL 33321                       #202                                          EMMAUS PA 18049
                                       DAVIE FL 33317



IRENE KRAUCUNAS                        IRENE LOGAN                                   IRENE MAHONEY-PAIGE
1723 POQUONOCK AVENUE                  152 N. LEAVITT                                115 PARADISE LANE
POQUONOCK CT 06064                     CHICAGO IL 60612                              STURBRIDGE MA 01518




IRENE MANDARAKAS                       IRENE MARIE INC                               IRENE MCLAUGHLIN
1017 W. LONGVIEW AVENUE                728 OCEAN DR                                  522 SHORE ROAD
STOCKTON CA 95207                      MIAMI BEACH FL 33139                          APT 2H
                                                                                     LONG BEACH NY 11561



IRENE MODENA                           IRENE RANDALL                                 IRENE RODGERS
4024 CHESTNUT ST                       13 BIRCH COURT                                10300 NW 30TH COURT
SEAFORD NY 11783                       PORT DEPOSIT MD 21904                         APT 208
                                                                                     SUNRISE FL 33322




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IRENE ROSADO                          IRENE SALERNO                                 IRENE SCHWARTZ
15227 COVELLO ST.                     6809 COL. HOLCOMB DRIVE                       809 RICHMOND ROAD
VAN NUYS CA 91405                     CRYSTAL LAKE IL 60012                         EAST MEADOW NY 11554




IRENE SEWELL                          IRENE TETONIS                                 IRENE TYREE
2310 DEWES STREET                     8312 NW 59TH STREET                           849 W. LEXINGTON ST
GLENVIEW IL 60025                     TAMARAC FL 33321                              B
                                                                                    BALTIMORE MD 21223



IRENE VIRBILA                         IRENE WIRTHLIN                                IRENEUSZ PLATEK
1643 MCCOLLUM STREET                  1651 S WASHINGTON AVENUE                      16036 S. MESSENGER CIRCLE
LOS ANGELES CA 90026                  GLENDORA CA 91740                             HOMER GLEN IL 60491




IRICK, JOE                            IRICK, TOMIKO                                 IRINA DAVID
65 E SCOTT NO.11P                     417 W PEMBROKE AVE                            376 PRESIDENT STREET
CHICAGO IL 60610                      HAMPTON VA 23669                              APT. #3H
                                                                                    BROOKLYN NY 11231



IRIS COMPANIES                        IRIS FAHRER                                   IRIS GILLISPIE
901 PARK RD                           2525 SW 22ND AVE.                             13826 HAYNES STREET
FLEETWOOD PA 19522                    #202                                          VAN NUYS CA 91401
                                      DELRAY BEACH FL 33445



IRIS GOVERNALE                        IRIS PICONE                                   IRIS QUIGLEY
10 WINTHROP RD                        2429 WILLOW ST                                6 O'HARA PL
PLAINVIEW NY 11803                    WANTAGH NY 11793                              HUNTINGTON NY 11743




IRIS S SCHNEIDER                      IRIS SANCHEZ                                  IRISH AMERICAN STRING BAND
2071 BALMER DR                        70 COOLIDGE STREET                            182 SOUTH CANAL ST
LOS ANGELES CA 90039                  APT. 2                                        YARDLEY PA 19067
                                      HARTFORD CT 06106



IRISH AMERICAN STRING BAND            IRISH AMERICAN STRING BAND                    IRIZARRY, CYNTHIA
206 GREENWOOD AVE                     PO BOX 56545                                  88 ELLIS ST
WYNCOTE PA 19095-1515                 PHILADELPHIA PA 19111                         NEW BRITAIN CT 06051




IRIZARRY-LOPEZ, ANA                   IRLANDE THEODORE                              IRLESBERGER, CHRISTINE
1722 SW 7 DRIVE                       1351 N.E. 39TH STREET                         1160 ACADEMY DR
POMPANO BEACH FL 33060                POMPANO BEACH FL 33064                        ALTAMONTE SPRINGS FL 32714




IRMA AMADOR                           IRMA CARDENAS                                 IRMA CASTELLANOS
219 MASSACHUSETTS AVENUE              4328 NW 55TH STREET                           15145 OLIVE ST.
BAY SHORE NY 11706                    FT. LAUDERDALE FL 33319                       BALDWIN PARK CA 91706




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IRMA ESQUIVEL                            IRMA FRANCO                                   IRMA FRANTZEN
162 S AVENUE 55                          401 EIGHTH STREET                             508 DROKE LANE
#201                                     SECOND FLOOR                                  BLOUNTVILLE TN 37617
LOS ANGELES CA 90042                     ALLENTOWN PA 18102



IRMA GUERRA                              IRMA HUNTER WESLEY FORT LAUDERDALE            IRMA SOLIS
1215GLENNFIELD COURT                     CHILD DEVELOPMENT CENTER                      9142 CANFORD STREET
APT#177                                  1409 NW SISTRUNK BLVD                         PICO RIVERA CA 90660
LOS ANGELES CA 90023                     FT LAUDERDALE FL 33311



IRMA TRUSZ                               IRMA URENA                                    IRMA VALDEZ
835 OLD HARTFORD ROAD                    7124 KUHL DR                                  3044 EAST CECELIA STREET
COLCHESTER CT 06415                      COMMERCE CA 90040                             WEST COVINA CA 91792




IRON MOUNTAIN                            IRON MOUNTAIN                                 IRON MOUNTAIN
PO BOX 65017                             PO BOX 27128                                  PO BOX 27129
CHARLOTTTE NC 28265-0017                 NEW YORK NY 10087-7128                        NEW YORK NY 10087-7128




IRON MOUNTAIN                            IRON MOUNTAIN                                 IRON MOUNTAIN INTELLECTUAL PROPERTY
BOX L996P                                PO OX 915004                                  9265 SKY PARK CT NO. 202
PITTSBURGH PA 15264-0996                 DALLAS TX 75391-5004                          SAN DIEGO CA 92123




IRON MOUNTAIN INTELLECTUAL PROPERTY      IRON MOUNTAIN INTELLECTUAL PROPERTY           IRONMONGER, LENNELL B
MANAGEMENT INC                           MANAGEMENT INC                                70 CEDAR RD
PO BOX 45156                             PO BOX 27131                                  POQUOSON VA 23662
SAN FRANCISCO CA 94145-0156              NEW YORK NY 10087-7131



IRONS, CHARLES                           IRONWORKERS OFFICE PLAZA                      IRONWORKERS OFFICE PLAZA
1806 HIAWATHA DR                         RE: PASADENA 131 N. EL MOLINO                 C/O THE REMM GROUP
STE 0300                                 C/O THE REMM GROUP                            505 SOUTH VILLA REAL, SUITE 201
KISSIMMEE FL 34741                       505 SOUTH VILLA REAL, SUITE 201               ANAHEIM HILLS CA 92807
                                         ANAHEIM HILLS CA 92807


IRONWORKERS PLAZA INC.                   IRS KANSAS CITY                               IRTS FOUNDATION
RE: PASADENA 131 N. EL MOLINO            PO BOX 219236                                 162 WEST 56ST SUITE 405
C/O THE REMM GROUP                       KANSAS CITY MO 64121-9236                     NEW YORK NY 10019
505 SOUTH VILLA REAL, SUITE #201
ANAHEIM HILLS CA 92807


IRTS FOUNDATION                          IRTS FOUNDATION                               IRV GIKOFSKY
420 LEXINGTON AV NO. 1714                420 LEXINGTON AVE         STE 1601            30 LINCOLN PLAZA
NEW YORK NY 10170                        NEW YORK NY 10170                             NEW YORK NY 10023




IRVIN LETOFSKY                           IRVIN SIMMS                                   IRVIN, RIC
857 S CURSON AVENUE                      208 N DALLAS COURT                            2790 AMLI LN NO.1512
LOS ANGELES CA 90036-4620                BALTIMORE MD 21231                            AURORA IL 60504




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IRVINA KANAREK                         IRVINE MECHANICAL INC                         IRVINE MECHANICAL INC
2314 WESTMINSTER AVE                   ATTN ROBERT F IRVINE PRES.                    PO BOX 540358
COSTA MESA CA 92627                    1500 N ORANGE BLOSSOM TRAIL                   ORLANDO FL 32854-0358
                                       ORLANDO FL 32804



IRVINE, PATRICIA                       IRVING GOLDENBERG                             IRVING KRAVSOW
888 S ORANGE GROVE BLVD    APT 2E      3994 DEMONT ROAD                              211 MONTERLY DRIVE
PASADENA CA 91105                      SEAFORD NY 11783                              NAPLES FL 34119




IRVING PATTERSON                       IRVING QUIMBY                                 IRWIN, CHRISTINE
7351 STONEBROOK PL                     1106 LAPIDUM ROAD                             PO BOX 421203
RANCHO CUCAMONGA CA 91730              HARVE DE GRACE MD 21078                       LOS ANGELES CA 90042




IRWIN, DAVID                           IRWIN, GERIANN                                IRWIN, RACHEL
2459 W WILSON AVE                      2006 NE 30TH ST                               3501 PIMLICO PKWY NO.104
CHICAGO IL 60625                       FT LAUDERDALE FL 33306                        LEXINGTON KY 40517




IRWINDALE CHAMBER OF COMMERCE          ISA, BENE                                     ISA, JOHN N
PO BOX 2307                            2602 WEST HAMILTON ST                         229 W GORDON ST
IRWINDALE CA 91706                     ALLENTOWN PA 18104                            ALLENTOWN PA 18102




ISAAC AYCOX                            ISAAC BREKKEN PHOTO INC                       ISAAC HAYES
94 SPIKENARD CIRCLE                    1305 WINDYCLIFF COURT                         1027 COURTNEY ROAD
SPRINGFIELD MA 01129                   LAS VEGAS NV 89117                            CATONSVILLE MD 21227




ISAAC LIFSHITZ                         ISAAC PARDO                                   ISAAC SANCHEZ
301 E 75 ST                            2255 POWERS PLACE                             1017 S. 3RD AVE.
11E                                    NORTH BELLMORE NY 11710                       MAYWOOD IL 60153
NEW YORK NY 10021



ISAAC SARPONG                          ISAAC SEYMOUR                                 ISAAC SUTTON
1038 BOSTON ROAD                       4002 MAPLE AVE.                               3510 SW 51ST STREET
APT 5D                                 EL MONTE CA 91731                             FT. LAUDERDALE FL 33312
BRONX NY 10456



ISAAC, ESPERANZA                       ISAAC, WALTER                                 ISAAC, WILLIAM
2505 NW 10TH AVE NO.303                4642 NW 34TH TERRACE                          3601 BLACKSTONE RD
MIAMI FL 33127                         FT. LAUDERDALE FL 33309                       RANDALLSTOWN MD 21133




ISAACS, SCOTT                          ISAACS, STANLEY                               ISAACSON, ANDREW
432 S CURSON AVE 2-L                   3300 DARBY RD APT C202                        1626 DERBY ST
LOS ANGELES CA 90036                   HAVERFORD PA 19041                            BERKELEY CA 94703




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ISABEL CASTILLO                         ISABEL CUADRADO                               ISABEL GOMEZ
4508 LANDIS AVENUE                      810 N 73RD TERRACE                            3355 W BALMORAL AVE #2
BALDWIN PARK CA 91706                   HOLLYWOOD FL 33024                            CHICAGO IL 60625-4643




ISABEL MEJIA                            ISABEL MEUCCI                                 ISABEL ORTEGA
567 TRACE CIRCLE                        22A COLONIAL DRIVE                            4152 W. 82ND PLACE
APT 102                                 ROCKY HILL CT 06067                           CHICAGO IL 60652
DEERFIELD BEACH FL 33441



ISABEL RAMIREZ                          ISABEL TORRES                                 ISABELLE KINEL
1675 NW 13 STREET, APARTMENT #202       709 NORTH GLENMORE                            6533 N. NORTHWEST HWY
BOCA RATON FL 33486                     LOCKPORT IL 60441                             APT 3C
                                                                                      CHICAGO IL 60631



ISABELLE PEASLEE-EBERLE                 ISACKSON, NOAH F                              ISADORE SAMUEL SOCRANSKY &
1107 NORTH 17 AVE                       2654 N RACINE                                 SOCRANSKY FAMILY TRUST
HOLLYWOOD FL 33020                      CHICAGO IL 60614                              RE: BALDWIN PARK 5051 COMMERC
                                                                                      P.O. BOX 92467
                                                                                      LONG BEACH CA 90609


ISADORE SOCRANSKY AND SOCRANSKY         ISADORE SOCRANSKY AND SOCRANSKY               ISAIAH WRIGHT
FAMILY TRUST PARTNERSHIP                FAMILY TRUST PARTNERSHIP                      1162 EAST 35TH STREET
PO BOX 92467                            PO BOX 92467                                  BROOKLYN NY 11210
LONG BEACH CA 90609                     LONG BEACH CA 90809



ISAKSEN INVESTMENTS LLC                 ISAKSEN INVESTMENTS LLC                       ISCMA
RE: ARLETA 9351 LAUREL CANYON           7250 FRANKLIN AVE    STE 1108                 ATTN BILL LOEBECKER SEC/TREAS
7250 FRANKLIN AVE, STE 1108             LOS ANGELES CA 90046                          C/O THE INTELLIGENCER
LOS ANGELES CA 90046                                                                  333 N BROAD ST
                                                                                      DOYLESTOWN PA 18901


ISCMA                                   ISCMA                                         ISCOUTS INC
C.O LANCASTER NEWSPAPERS                THE PATROIT NEWS                              11 FIELDSTONE DR
8 W KING ST                             C/O KURT HOWER                                WINCHESTER MA 01890
PO BOX 1328                             812 MARKET ST
LANCASTER PA 17608-1328                 HARRISBURG PA 17101


ISELA MORENO                            ISG                                           ISGAF PUBLISHING INC
2279 WEST ADAMS BLVD                    INTEGRAL SOLUTIONS GROUP INC                  PO BOX 942
APT 4                                   4221 SARATOGA AVENUE                          DOWNEY CA 90241
LOS ANGELES CA 90018                    SUITE 202A
                                        DOWNERS GROVE IL 60515


ISHIKAWA, MIGUEL                        ISHOLA, MARGARET                              ISI TELEMANAGEMENT SOLUTIONS INC
16 VINCENT AVE                          503 MARIE DR                                  1051 PERIMETER DR NO.200
STAMFORD CT 06902                       SOUTH HOLLAND IL 60473                        SCHAUMBURG IL 60173




ISI TELEMANAGEMENT SOLUTIONS INC        ISIDORO BAQUERO                               ISIDORO REYES
31231 NETWORK PL                        104 WINDING RIDGE DR                          7742 LANKERSHIM BLVD.
CHICAGO IL 60673-1312                   SANFORD FL 32773                              APT. # 44
                                                                                      NORTH HOLLYWOOD CA 91605




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ISIDRO PARDO AVILA                     ISINGER, WILLIAM R.                           ISIS PAPYRUS AMERICA, INC.
322 N BEL AIR                          3845 EL LADO DR                               301 BLANK ST
ANAHEIM CA 92801                       GLENDALE CA 91208                             SOUTHLAKE TX 76092




ISIS PAPYRUS AMERICA, INC.             ISKRA, ALICE T                                ISLAND ENVIRONMENTAL SERVICES
5505 NORMANDY DR.                      6236 PARALLEL LANE                            2490 W POMONA BLVD
COLLEYVILLE TX 76034                   COLUMBIA MD 21045                             POMONA CA 91768




ISMAEL CARABALLO                       ISMAEL LEGASPI                                ISMAEL, PACHON
417 WASHINGTON STREET                  3595 SANTA FE AVENUE                          889 SW 151ST PLACE
APT. 3                                 SP #96                                        MIAMI FL 33194
ALLENTOWN PA 18102                     LONG BEACH CA 90810



ISMAIL MEGAHED, IHAB A                 ISMAUDE JOLICOEUR                             ISOM, SHAKIRA
5841 DUTHESS DR NO.74                  10010 BOYNTON PLACE CIRCLE                    4133 CHURCH ST NO.H3
COLORADO SPRINGS CO 80918              APT 115                                       CLARKSTON GA 30021
                                       BOYNTON BEACH FL 33437



ISON, TARA                             ISPACE INC                                    ISPACE INC
4804 GAVLOTA AVE NO.111                2141 ROSECRANS AVE         STE 5175           C/O HOLTHOUSE CARLIN VAH TRIGT LLP
ENCINO CA 91436                        EL SEGUNDO CA 90245                           1601 MONICA CLOVERFIELD BLVD
                                                                                     STE 300 SOUTH
                                                                                     SANTA MONICA CA 90404


ISRAEL, CANSKY                         ISRAEL, DEREESHAH B                           ISRAEL, MARC Y
5337 NW 5 STREET                       3681 W HILLSBORO BLVD APT E 204               1016 SW 61ST AVE
DELRAY BEACH FL 33445                  COCONUT CREEK FL 33073                        MARGATE FL 33068




ISSAC, RAY                             ISSERMOYER, WILBUR                            IT49
909 CLUB PL                            2303 S 2ND ST                                 5527 GLADEHOLLOW CT
DULUTH GA 30096                        ALLENTOWN PA 18103                            AGOURA HILLS CA 91301




ITASCA WIGGINS                         ITASIENNE LOUISSEZE                           ITC/POLYGRAM
4406 N. RACINE                         1509 NW 2ND AVE                               2500 BROADWAY STREET
APT. 2S                                FORT LAUDERDALE FL 33311                      SANTA MONICA CA 90404
CHICAGO IL 60613



ITC/POLYGRAM                           ITR CONCESSION COMPANY LLC                    ITRUS TECHNOLOGIES
9333 WILSHIRE BLVD.                    52551 ASH RD                                  145 SHASTA
BEVERLY HILLS CA 90210                 GRANGER IN 46530-7226                         LAKE DALLAS TX 75065




ITSMYTIME INC                          IULIANO, VINCENT                              IUOE LOCAL 399
15 EAST 32ND STREET 6TH FLOOR          460 RAFT AVENUE                               763 W JACKSON BLVD
NEW YORK NY 10016                      HOLBROOK NY 11741                             DEFERRED COMPENSATION
                                                                                     CHICAGO IL 60661




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IUVONE, MARY                           IVAN ALONSO                                   IVAN CORDEIRO
208 PLEASANT RON RD                    80-15 GRENFELL ST                             1443 MONTECITO DRIVE
BRANCHBURG NJ 08853                    #B23                                          LOS ANGELES CA 90031
                                       KEW GARDENS NY 11415



IVANNA HAMPTON                         IVELISE AGUIRRE GARCIA                        IVETTE YEE
7209 S. YATES BLVD.                    5141 S. MAJOR                                 8370 SW 5TH ST.
APT. #2A                               CHICAGO IL 60638                              MIAMI FL 33144
CHICAGO IL 60649



IVEY, DEIDRE D                         IVEY, DORINDA D                               IVEY, JANELLE A
714 28TH STREET                        23129 CHEYENNE DR                             3243 NO.A BUTTERNUT DR
NEWPORT NEWS VA 23607                  VALENCIA CA 91354                             HAMPTON VA 23666




IVIE SPARACO                           IVINS, NICHOLAS                               IVONE LUTT
11814 NW 53RD COURT                    1521 TUTELA HEIGHTS                           296 GLENBROOK ROAD
CORAL SPRINGS FL 33076                 ESCONDIDO CA 92026                            STAMFORD CT 06906




IVONNE FABIAN                          IVOR, NOEL HUME                               IVORY SNOW
4010 PLATT AVENUE                      2 WEST CIRCLE                                 215 N. AUSTIN BLVD
LYNWOOD CA 90262                       WILLIAMSBURG VA 23185                         CHICAGO IL 60644




IVORY, STEVEN                          IVY CREATIVE LLC                              IVY DAI
720 S PLYMOUTH BLVD NO.15              214 NORTH MAIN STREET SUITE 102               95 N. MERIDITH AVE
LOS ANGELES CA 90005                   NATICK MA 01760                               APT#1
                                                                                     PASADENA CA 91106



IVY LEAGUE SOFTWARE LLC                IVY LEAGUE SOFTWARE LLC                       IVY PRESTON
RR 4 BOX 228A                          RR 4 BOX 288A                                 1911 EDGEWOODDRIVE
TOWANDA PA 18848                       TOWANDA PA 18848                              C
                                                                                     EDGEWOOD MD 21040



IVY RASHKOVER                          IWANAGA, PAUL B                               IYER, SIDDHARTH PICO
69-09 I 186TH LANE                     807 MCKENZIE STATION DRIVE                    201 LIME VILLAGE, 3-32-2
FRESH MEADOWS NY 11365                 LISLE IL 60532                                SHIKANODAO, MINAMI
                                                                                     IKOMA MARA KEN 6300113



IYER, SIDDHARTH PICO                   IZADPANAH, KAMRAN                             IZAGUIRRE, ENRIQUE
1975 OLD SAN MARCOS RD                 325 S. BERKELEY AVENUE                        8529 S KOSTNER
SANTA BARBARA CA 93111-1218            PASADENA CA 91107                             CHICAGO IL 60652




IZTURIS, CESAR                         IZZY ENTERPRISES CORPORATION                  J C RICHARDS ASSOCIATES
URBANIZACION HATO ARRIBA               9200 SW 3RD STREET APT 107                    3110 BELVIDERE RD
CABUDARE VIA AGUA VIVA                 BOCA RATON FL 33428                           PHILLIPSBURG NJ 08865-9504
BARQUISIMETO LARA




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J & A CIRCULATION                       J & A NEWS SERVICE INC                        J & A NEWS SERVICE INC
20317 SATICOY ST NO.218                 4850 N ODELL CT                               4850 N ODELL CT
CANOGA PARK CA 91306                    DIST 0199                                     HARWOOD HEIGHTS IL 60706
                                        HARWOOD HEIGHTS IL 60706



J & B SOFTWARE                          J & F FOUR STAR DELIVERY INC                  J & W DISTRIBUTING, INC.
510 TOWNSHIP LINE RD      STE 100       538 MORRIS AVE                                6925 BIANCINI CIRCLE
BLUE BELL PA 19422                      NORTH VALLEY STREAM NY 11580                  BOCA RATON FL 33433




J & W DISTRIBUTORS                      J A M VIDEO PRODUCTIONS INC                   J A SECURITY SYSTEMS
PO BOX 397                              21403 N TANGLE CREEK LANE                     3843 ROSEMEAD AV
SOMONAUK IL 60552                       SPRING TX 77388                               LOS ANGELES CA 90032




J AHZARABI INVESTORS LLC                J AHZARABI INVESTORS LLC                      J ANTHONY ASKEW CAPITAL MANAGEMENT
RE: MISSION VIEJO 27831 CENTE           C/O SOUTHPARK MANAGEMENT COMPANY              21 ELK STREET
C/O SOUTHPARK MANAGEMENT COMPANY        PO BOX 15446                                  ALBANY NY 12207
PO BOX 15446                            IRVINE CA 92623-5446
IRVINE CA 926235446


J B KENEHAN INC                         J B KENEHAN INC                               J B NEWSPAPER DISTRIBUTORS INC
P O BOX 68-9950                         W238 N1700 ROCKWOOD DR                        17 BAYLEY PLACE
MILWAUKEE WI 53268-9950                 WAUKESHA WI 53169                             HUNTINGTON STATION NY 11746




J BOURGH SCHAMP PHOTOGRAPHY             J BRYON SHUMAKER                              J C HENRY WILLIAMS
6907 AVONDALE ROAD                      2120 E MT HOPE RD                             6030 AMBERWOOD ROAD
BALTIMORE MD 21212                      MANHEIM PA 17545                              C1
                                                                                      BALTIMORE MD 21206



J CLARK PROMOTIONS INC                  J D POWER AND ASSOCIATES                      J D POWER AND ASSOCIATES
5615 CRAWFORD STREET                    2625 TOWNSGATE RD                             ATTN: SUBCRIPTION DEPT.
NEW ORLEANS LA 70123                    WESTLAKE VILLAGE CA 91361                     30401 AGOURA ROAD
                                                                                      AGOURA HILLS CA 91301



J D POWER AND ASSOCIATES                J DAVID GLADSTONE INSTITUTES                  J DEREVENSKY CONSULTING INC
PO BOX 512778                           43 CORPORATE PARK                             12408 SW 44 CT
LOS ANGELES CA 90051-0778               SUITE 102                                     MIRAMAR FL 33027
                                        IRVINE CA 92606



J E VANCAMP                             J J PEPPERS                                   J J PEPPERS
5146 LAKE HOWELL RD                     1213 IRVING PARK RD                           8001 W 79TH ST
WINTER PARK FL 32792                    BENSENVILLE IL 60106                          JUSTICE IL 60458




J LUC LEVESQUE                          J M P 231 TRAVERSE CORP                       J MANUEL
8556 NOBLE AVENUE                       81 HILL AVE                                   30 E. BROADWAY STREET
NORTH HILLS CA 91343                    ELMONT NY 11003                               APT B
                                                                                      BEL AIR MD 21014




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J MATTHEW MOODY                           J MCCORMICK                                 J MICHAEL O'KEEFE
1018 EUCLID STREET #204                   395 E MC KINLEY AVE                         1561 36TH STREET
SANTA MONICA CA 90403                     POMONA CA 91767                             SACRAMENTO CA 95816-6608




J MICHAEL SHORT PHOTOGRAPHY INC           J PATRICK DOWNEY                            J S TRADING INC
19275 STONE OAK PRKWY NO.1321             385 S OAKLAND AVENUE                        6524 NW 13 CT
SAN ANTONIO TX 78258-3262                 #302                                        PLANTATION FL 33313
                                          PASADENA CA 91101



J SCANNA FLOOR COVERING                   J SCOTT LANGWORTHY                          J T TAYLOR
45 AVE D                                  36 NICOLE DRIVE                             2434 E DEVONSHIRE
HOLBROOK NY 11741                         QUEENSBURY NY 12804                         HEMET CA 92544




J THOMAS MCHUGH COMPANY                   J THOMAS MCHUGH COMPANY                     J TIMOTHYS TAVERNE
ATTN: TOM BRYANT                          PO BOX 1937                                 143 NEW BRITAIN AVE
12931 FORD DRIVE                          DEPT 36                                     PLAINVILLE CT 06062
FISHERS IN 46038                          INDIANAPOLIS IN 46206



J W LEMMON                                J W TERRILL INC                             J WILLARD COLSTON
1433 PELICAN BAY TRL                      16091 SWINGLEY RIDGE RD                     61 THOMAS STREET
WINTER PARK FL 32792                      SUITE 200                                   PORTLAND ME 04102
                                          ST LOUIS MO 63017



J&A HERNANDEZ CORPORATION                 J&A SHEET METAL INC                         J&M DISTRIBUTION LLC
9400 SW 15 ST                             1800 NORTH CAMPBELL AVENUE                  5464 ADDINGTON ROAD
MIAMI FL 33174                            CHICAGO IL 60647                            BALTIMORE MD 21229




J. ALLEN, C. EVANS, P. EVANS, G. GRANT,   J. PORTER                                   J.C. PENNEY CORPORATION, INC.
B. MCNAIR, S. SERRAO, C/O D. MAIMON       2600 N SOUTHPORT                            RE: MERRILLVILLE TRIBUNE
KIRSCHENBAUM AND CHARLES JOSEPH,          UNIT 120                                    P.O. BOX 10001
& HERZFELD, 757 THIRD AVE., SUITE 2500    CHICAGO IL 60614                            ATTN: REAL ESTATE COUNSEL
NEW YORK NY 10017                                                                     DALLAS TX 75301-2105


J.P. MORGAN CHASE, N.A.                   J.R. HILLMAN IRREVOCABLE TRUST NO. 2        JA PRODUCTIONS
EDUARDO REYES                             RE: LAKE ZURICH 440 OAKWOOD                 21142 WASHINGTON PKWY
ATM MARKET MANAGER-CENTRAL REGION         C/O HILLCO REALTY MANAGEMENT COMPANY        FRANKFORT IL 60423
10 S. DEARBORN STREET                     P.O. BOX 608
CHICAGO IL 60603                          HIGHLAND PARK IL 60035


JABAR WILLIAMS                            JABLONSKI, DONNA M                          JABS, GWENDOLYN
835 SOUTH 4TH STREET                      851 MANGO DRIVE                             PO BOX 312
APT #9                                    CASSELBERRY FL 32707                        HEREFORD PA 18056
ALLENTOWN PA 18103



JACARANDA LIMITED                         JACHLES, MICHAELS                           JACINTA BOGER
SUITE 15 OLIAJI TRADE CENTRE              237 NW 118 DR                               516 W. DIVERSEY PKWY
FRANCIS RACHEL STREET APT 1312            CORAL SPRINGS FL 33071                      APT. 2
VICTORIA MAHE                                                                         CHICAGO IL 60614




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JACINTA FITZGERALD                      JACINTE, NATACHA                              JACINTH FRECKLETON
1240 WOODBOURNE AVENUE                  2830 WESTGATE AVE                             145-56 176TH STREET
BALTIMORE MD 21239                      WEST PALM BEACH FL 33414                      JAMAICA NY 11434




JACINTHE,EMMA                           JACK AGLIATA                                  JACK AW SHENKAN
1760 SW 85TH AVENUE                     2131 60TH STREET                              1003 FARM HAVEN DRIVE
MIRAMAR FL 33025                        BROOKLYN NY 11204                             ROCKVILLE MD 20852




JACK BATTON                             JACK BEEBE                                    JACK CASIO
6109 W 77TH STREET                      33 ROY AVE                                    61 S FRIEDNER LN
LOS ANGELES CA 90045                    MASSAPEQUA NY 11758                           BOHEMIA NY 11716




JACK CHAPKIN                            JACK DANIELS                                  JACK E MEADOWS
6544 MALTA DR.                          26 NAUGATUCK LANE                             2225 TWELVE OAKS DR
BOYNTON BEACH FL 33437                  EAST ISLIP NY 11730                           FAYETTEVILLE AR 72703




JACK EWING                              JACK HENRY & ASSOCIATES INC                   JACK HILL
5204 ASHLAR DR.                         PO BOX 503328                                 5770 HACIENDA RANCH ROAD
MINNEAPOLIS MN 55437                    ST LOUIS MO 63150-3328                        PALMDALE CA 93551




JACK HOOD TRANSPORTATION INC            JACK KLUNDER                                  JACK L PLANK
10827 W COUNTY RD 400 N                 15735 BIRCHWOOD STREET                        33522 NANCY JANE COURT
MICHIGAN CITY IN 46360                  LA MIRADA CA 90638                            DANA POINT CA 92629




JACK LEON                               JACK LEONARD                                  JACK LEWELLEN
17407 BLUE ASPEN LANE                   4334 E LA CARA STREET                         14302 MARINER LANE
FAIR OAKS RANCH CA 91387                LONG BEACH CA 90815                           WESTMINSTER CA 92683




JACK MARTIN                             JACK MCLAUGHLIN                               JACK MILLROD
3022 MISTY PARK                         807 CHESNEY LANE                              56 AMERICAN AVE
HOUSTON TX 77082                        BEL AIR MD 21014                              CORAM NY 11727




JACK MODICA                             JACK NADEL INC                                JACK NADEL INC
728 S. HEATHER LANE                     DIRECT RESPONSE PROMOTION AGENCY              PO BOX 60935
WEST COVINA CA 91791                    P O BOX 60935                                 LOS ANGELES CA 90060-0935
                                        LOS ANGELES CA 90060-0935



JACK PAINE                              JACK POINTER                                  JACK REMINGTON
1611 DULANEY DRIVE                      3916 N. PINE GROVE AVE.                       986 E COACHWOOD DRIVE
JARRETTSVILLE MD 21084                  APT 2W                                        ORO VALLEY AZ 85755-9162
                                        CHICAGO IL 60613




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JACK RUBIN AND SONS INC                JACK SHERMAN                                  JACK STRICKLER
PO BOX 3005                            24 FRANSAL CT                                 9513 CARNATION AVENUE
COMPTON CA 90222                       NORTHPORT NY 11768                            FOUNTAIN VALLEY CA 92708




JACK STRUMSKY                          JACK TOBIAS                                   JACK W DAVIS JR
547 SILVERSHADOW DRIVE                 288 NORTH 9TH STREET                          2400 N. LAKEVIEW AVE
SAN MARCOS CA 92078                    BANGOR PA 18013                               APT # 1802
                                                                                     CHICAGO IL 60614



JACK W GERMOND                         JACK W NEELY                                  JACK WEINER
859 HAWTHORNEDALE RD                   7200 THIRD AVE C-048                          5961 NW 61 AVE #308
CHARLES TOWN WV 25414                  SYKESVILLE MD 21784                           TAMARAC FL 33319




JACK WHISLER                           JACKIE EHRLICH                                JACKIE FRIEDMAN
645 LINCOLN STREET                     321 WEST DRIVE                                117 BENEDICT MANOR DR
GLENVIEW IL 60025                      COPIAGUE NY 11726                             KIRKVILLE NY 13082




JACKIE O'CONNELL                       JACKIE ORTEGA                                 JACKIE SCOTT
2120 CEDAR DRIVE                       92 E. QUINCY STREET                           10655 LYNN CIRCLE
APT. G                                 RIVERSIDE IL 60546                            CYPRESS CA 90630
EDGEWOOD MD 21040



JACKLYN GERENA-PELLOT                  JACKOWITZ, STEFANIE                           JACKS, LISA BOLIVAR
P.O. BOX 840221                        37 PACIO COURT                                5405 NW 26TH TERR
PEMBROKE PINES FL 33084                ROSELAND NJ 07068                             TAMARAC FL 33309




JACKSON ANTHONY, KEOSHIA               JACKSON GRANT, JUDITH                         JACKSON JR, JOHN M
22605 AIDAN RD                         3957 WILD LIME LN                             7 TALCOTT AVE
PLAQUEMINE LA 70764                    CORAL SPRINGS FL 33065                        ROCKVILLE CT 06066




JACKSON WALKER LLP                     JACKSON WALKER LLP                            JACKSON, AARON
901 MAIN ST NO. 6000                   PO BOX 130989                                 5517 SW 6TH STREET
DALLAS TX 75202-3797                   DALLAS TX 75313-0989                          MARGATE FL 33068




JACKSON, ARCHIE T                      JACKSON, BERNARD                              JACKSON, BRETT
1672 DEVON CT                          161 CARRIAGE RD                               2828 E TUOLOMNE RD
STONE MOUNTAIN GA 30088                WILLIAMSBURG VA 23188                         TURLOCK CA 95382




JACKSON, BRIDGETTE                     JACKSON, BRIDGETTE                            JACKSON, CAROLYN
481 FARMINGTON AVE APT A               481 FARMINGTON AVE APT A                      4904 NELLIE SPRINGS CT
HARTFORD CT 06105                      HARTFORD CT 06119-2318                        LAS VEGAS NV 89110




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JACKSON, CHRISTOPHER                  JACKSON, DANIEL A                             JACKSON, DEBRA
10961 BURNT MILL RD NO.1227           5435 NW 10TH CT # 101                         2045 WEST FARGO
JACKSONVILLE FL 32256                 PLANTATION FL 33313                           #2W
                                                                                    CHICAGO IL 60645



JACKSON, GREGORY L JR.                JACKSON, IMAN                                 JACKSON, JAMES M
2121 WINDYHILL ROAD NO.1812           7833 LEWIS CHAPEL CIRCLE 301                  115 E LAUREN CT
MARIETTA GA 30060                     LORTON VA 22079                               FERN PARK FL 32730




JACKSON, JEFF                         JACKSON, JEFFRISE                             JACKSON, JENNIFER LASHUN
1001 EAST 35TH STREET                 821 NW 33RD TERRACE                           41 SHIRLEY PL NO.9
CHARLOTTE NC 28205                    FT. LAUDERDALE FL 33311                       ATLANTA GA 30314




JACKSON, JOHN P                       JACKSON, JORIKA L                             JACKSON, JULIETTE
1607 CIRCLE DR                        2927 ANNUNCIATION ST                          2143 BOLLINGBROOK DR SW
LOUISVILLE CO 80027                   NEW ORLEANS LA 70115                          ATLANTA GA 30311




JACKSON, KEVIN                        JACKSON, KIRK                                 JACKSON, LA SHAWN
PO BOX 3117                           1719 TURNER STREET                            8630 S CARPENTER
PEARLAND TX 77588                     ALLENTOWN PA 18104                            CHICAGO IL 60620




JACKSON, LATASHA                      JACKSON, LILLIAN                              JACKSON, MAMON
1572 HARDEE ST 34D                    1201 75TH ST                                  940 E 72ND ST
ATLANTA GA 30307                      NEWPORT NEWS VA 23605                         CHICAGO IL 60619




JACKSON, MARIA S                      JACKSON, MARLENE                              JACKSON, MARLIN
481 FARMINGTON AVE APT A              23 WALNUT ST                                  7806 PARKDALE DR
HARTFORD CT 06105                     ENFIELD CT 06082                              ZIONSVILLE IN 46077




JACKSON, MICHAEL J                    JACKSON, NANCY M                              JACKSON, PATRICIA A
3730 SW 32ND STREET                   8907 CARLISLE AVE                             1214 MCCULLOH STREET
WEST PARK FL 33023                    BALTIMORE MD 21236                            BALTIMORE MD 21217




JACKSON, PATRICIA L                   JACKSON, PRINCESS D                           JACKSON, ROBERT
9833 S. CLAREMONT                     903 RIVER TRAIL ROAD                          140 HARRISON ST
CHICAGO IL 60643                      LOWELL NC 28098                               EMMAUS PA 18049




JACKSON, ROLAND T                     JACKSON, RUBY                                 JACKSON, SAMANTHA T
117 B PALM BAY DR                     PO BOX 2942                                   21057 NW 22 AVE # 133
PALM BEACH GARDENS FL 33418           OCALA FL 34478                                MIAMI FL 33056




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JACKSON, SYLVIA J                       JACKSON, TANYA N                              JACKSON, TAWANDA
4861 BIXBY PARK PL                      2028 S 20TH AVE                               152 MAGRUDER AVE LOT 6
GROVEPORT OH 43125                      BRAODVIEW IL 60155                            WILLIAMSBURG VA 23185




JACKSON, TIMOTHY L                      JACKSON, TONISHA                              JACKSON, TONY
1538 W JONQUIL TERRACE                  2329 176TH PLACE                              3003 RIVERVIEW PLACE
CHICAGO IL 60626-1215                   LANSING IL 60438                              JONESBORO GA 30236




JACKSON, VAUGHN                         JACKSON, VAUGHN                               JACKSON, YENTL
3440 S. COTTAGE, APT. NO.300            3605 S. KING DRIVE APT 3A                     4162 LIFFEY LN
CHICAGO IL 60616                        CHICAGO IL 60653                              DECATUR GA 30034




JACKSON,KAREN                           JACKSON,LUTHER                                JACKSON,NICOLAS A
716 WALKER AVE                          5421 NW 11 STREET                             2101 WYNNEWOOD DR
BALTIMORE MD 21212                      LAUDERHILL FL 33313                           RICHMOND VA 23235




JACKSON,TROY                            JACKSONVILLE DAILY PRESS                      JACKSONVILLE DAILY PRESS
540 CANAL POINT WAY SOUTH APT.NO.115A   707 SOUTH MAIN ST                             PO BOX 0196
DELRAY BEACH FL 33444                   BURLINGTON NC 27215                           JACKSONVILLE NC 28541-0196




JACKSONVILLE FLORIDA TIMES UNION        JACKSONVILLE FLORIDA TIMES UNION              JACKSONVILLE FLORIDA TIMES UNION
ONE RIVERSIDE AVE                       PO BOX 1949                                   PO BOX 45008
JACKSONVILLE FL 33202                   JACKSONVILLE FL 32231                         JACKSONVILLE FL 32232-5008




JACKSONVILLE JOURNAL COURIER            JACKSONVILLE SOUND & COMMUNICATIONS           JACLYN BERNSTEIN
235 W STATE                             PO BOX 551629                                 3313 S. KIRKMAN ROAD
JACKSONVILLE IL 62651                   JACKSONVILLE FL 32255-1629                    APT 224
                                                                                      ORLANDO FL 32811



JACLYN BRASPENNINX                      JACLYN CAPALBO                                JACLYN COLDWELL
3310 WEATHERFORD AVE                    5504 CHARLESTON ST.                           133 HOLLY CIRCLE
2A                                      ORLANDO FL 32807                              BALTIMORE MD 21221
GRAND RAPIDS MI 49544



JACLYN DESANTO                          JACLYN FRANK                                  JACLYN GABRIEL
38 ENGELKE AVENUE                       6650 VIA REGINA                               26 MILLER BOULEVARD
HUNTINGTON STATION NY 11746             BOCA RATON FL 33433                           SYOSSET NY 11791




JACLYN GIOVIS                           JACLYN TRANCHIDA                              JACLYN WARYASZ
1790 E LAS OLAS BLVD                    910 W. WEBSTER AVENUE                         4637 RIDGE ROAD
APT 11                                  CHICAGO IL 60614                              BALTIMORE MD 21236
FORT LAUDERDALE FL 33301




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JACLYNN STOVER                             JACO, GOLDIE                               JACOB CLINE
12010 OCEAN PARK BLVD.                     14245 S EVANS                              1328 WILEY STREET
APT#5                                      DOLTON IL 60419                            APT 311
LOS ANGELES CA 90064                                                                  HOLLYWOOD FL 33019



JACOB FENTON                               JACOB LANGSTON                             JACOB MALONE
512 SOUTH 45TH STREET                      230 OAK ROAD                               2322 N COMMONWEALTH AVE.
PHILADELPHIA PA 19104                      WINTER SPRINGS FL 32708                    104
                                                                                      CHICAGO IL 60614



JACOB MICHAELS                             JACOB NAVARRO                              JACOB OLESEN
1410 WEST MARKET STREET                    3701 PARKVIEW LN                           712 W. WELLINGTON AVE.
BETHLEHEM PA 18018                         APT#17-C                                   #2E
                                           IRVINE CA 92612                            CHICAGO IL 60657



JACOB OWENS                                JACOB RODRIGUEZ                            JACOB SMITH
106 TUESDAY HAUS                           650 ELLA                                   4501 NE 21 AVE
HIGHLAND VILLAGE TX 75077                  DALLAS TX 75217                            APT 210
                                                                                      FORT LAUDERDALE FL 33308



JACOB SOTO                                 JACOB SWALL                                JACOB SWALL JR.
1 HIGHLAND AVE                             14 THORLEY ST                              77 HUXLEY PL
WARWICK NY 10990                           CARROLLTON VA 23314                        NEWPORT NEWS VA 23606




JACOB, KAREN                               JACOB, KAREN                               JACOB, MARGARET
51 HOPMEADOW ST                            9 RED STONE DR                             10785 WEYBURN AVE
APT 3B-1                                   *AC PETERSEN/SIMSBURY BULK DRP             LOS ANGELES CA 90024
WEATOGUE CT 06089                          WEATOGUE CT 06089-9715



JACOBS ENGINEERING                         JACOBS ENGINEERING                         JACOBS ENGINEERING
ONE NORTH FRANKLIN SUITE 600               PO BOX 651603                              PO BOX 27058
CHICAGO IL 60606                           CHARLOTTE NC 28265                         NEWARK NJ 07101-6758




JACOBS, AITHEA                             JACOBS, DIANA J                            JACOBS, ELISA
1097 N 59TH AVE                            101 S OCEAN DR UNIT 206                    111 S CROFT AVENUE NO.104
HOLLYWOOD FL 33021                         DEERFIELD BEACH FL 33441                   LOS ANGELES CA 90048




JACOBS, GRUDBERG, BELT, DOW & KATZ, P.C.   JACOBS, JANICE                             JACOBS, KENNETH
DAVID T. GRUDBERG, ESQ.                    530 N. LAKESHORE DRIVE                     912 PRESTWICK LN
350 ORANGE ST                              UNIT 1609                                  NEWPORT NEWS VA 23602
NEW HAVEN CT 06511                         CHICAGO IL 60611



JACOBS, LEONARD                            JACOBS, MARK                               JACOBS, MILLARD W JR
30-72 29TH ST  NO.5                        PO BOX 1123                                1146 WELLINGTON AV
ASTORIA NY 11102                           WRIGHTWOOD CA 92397                        PASADENA CA 91103




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JACOBS, ROBERT MICHAEL                JACOBS, SCOTT                                 JACOBS, SCOTT
3881 COLWYN DR                        8623 NW 47TH ST DR                            U-BOX NO 60621
JARRETTSVILLE MD 21084                CORAL SPRINGS FL 33067                        TALLAHASSEE FL 32313




JACOBS, SHARON                        JACOBS,THERESA                                JACOBSEN JR, JOHN V
212 SAINT JOHN ST                     35 ONEIDA ST                                  5630 QEEN ANNE COURT
CATASAUQUA PA 18032                   DEER PARK NY 11729                            NEW MARKET MD 21774




JACOBSEN, DONALD                      JACOBSOHN, ANDREW                             JACOBSON, AILEEN
722 MARSH RD                          1600 NW 81ST WAY                              3 DUNCAN LA
PO BOX 674                            PLANTATION FL 35322                           HUNTINGTON NY 11743
GLEN WILD NY 12738



JACOBSON, AILEEN                      JACOBSON, DIANA                               JACOBSON, MICHAEL
3 DUNCAN LANE                         3998 NW 52ND PL                               2317 LOOP ROAD
HALESITE NY 11743                     BOCA RATON FL 33496                           TUSCALOOSA AL 35405




JACOBSON, STEPHEN A                   JACOBSON,MITCH                                JACOBY, CLINT
221 FAIRWAY RD                        2017 HUDSON TERRACE                           1600 NW 33 ST NO.50
LIDO BEACH NY 11561                   APT G                                         POMPANO BEACH FL 33064
                                      FORT LEE NJ 07024



JACOBY, DAVID                         JACOBY, SANFORD                               JACOBY, SUSAN L
8041 MOUNTAIN VIEW CIR                2321 PELHAM AVE                               510 E 86TH STREET
NORTHAMPTON PA 18067                  LOS ANGELES CA 90064                          APT 2A
                                                                                    NEW YORK NY 10028



JACOBY, TAMAR                         JACONIA TOYLOY                                JACOVINA JR, EDWARD J
304 E CAPITOL ST NE APT 4             5076 SAVANNAH RIVER WAY                       37 SELDEN HILL DR
WASHINGTON DC 20003-3858              #214                                          WEST HARTFORD CT 06107
                                      ORLANDO FL 32839



JACQUELIN MERVIL                      JACQUELINE ALLMOND                            JACQUELINE BENNETT
3610 NW 21 STREET                     420 EAST 111TH STREET                         683 MIDWOOD STREET
APT 305                               APT. 217                                      UNIONDALE NY 11553
LAUDERDALE LAKES FL 33311             NEW YORK NY 10029



JACQUELINE BONSER                     JACQUELINE BRAY                               JACQUELINE BUCKLEY
2210 S ELLSWORTH ST                   20 WEST HARRISON ROAD                         5543 NW 41ST AVE
ALLENTOWN PA 18103                    WEST CHESTER PA 19380                         COCONUT CREEK FL 33073




JACQUELINE CLEMENT                    JACQUELINE CONWAY                             JACQUELINE CORMIER
1330 W GEORGE ST                      4113 PIMILICO ROAD                            5 MONTAGUE CIRCLE
CHICAGO IL 60657                      BALTIMORE MD 21216                            EAST HARTFORD CT 06118




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JACQUELINE CORVINO                   JACQUELINE CUTLER                             JACQUELINE DEVITA
2609 WINDSOR AVENUE                  451 WYOMING AVENUE                            157 COTTON LANE
OCEANSIDE NY 11572                   MILLBURN NJ 07041                             LEVITTOWN NY 11756




JACQUELINE DOUGLAS                   JACQUELINE EASTER                             JACQUELINE ESPINAL
168 LOCUST STREET                    19 NORTH HIGHLAND AVENUE                      ZUCKERMAN & POWERS
FLORAL PARK NY 11001                 BALTIMORE MD 21224                            JAY R. POWERS
                                                                                   1622 BRENTWOOD RD
                                                                                   BAY SHORE NY 11706


JACQUELINE ETCHEVERRY                JACQUELINE FRACK                              JACQUELINE GONZALEZ
5530 OWENSMOUTH AVENUE               1600 LEHIGH PARKWAY EAST                      360 WEST AVENUE 26
203                                  APT 2-G                                       UNIT #109
WOODLAND HILLS CA 91367              ALLENTOWN PA 18103                            LOS ANGELES CA 90031



JACQUELINE GREEN                     JACQUELINE GREEN                              JACQUELINE HANCOCK
14230 SCHOOL                         P.O. BOX 770                                  8141 STONEBRANCH EAST DRIVE
RIVERDALE IL 60827                   FT. WASHINGTON PA 19034                       INDIANAPOLIS IN 46256




JACQUELINE HOLDEN                    JACQUELINE INC                                JACQUELINE INC
2570 W. HORIZON RIDGE PKY            6845 S CONSTANCE AVE                          930 E 50TH STREET
APT 1106                             CHICAGO IL 60649                              CHICAGO IL 60615
HENDERSON NV 89052



JACQUELINE INC                       JACQUELINE JACOBSON                           JACQUELINE JANE HENEGHAN
ATTN: ALLENE WALKER                  3610 NORTH AVERS AVENUE                       986 WOODROSE COURT
6845 SOUTH CONSTANCE AVE             CHICAGO IL 60618                              ALTAMONTE SPRINGS FL 32714
CHICAGO IL 60649



JACQUELINE KEENAN                    JACQUELINE KERR                               JACQUELINE LARSON
9075 CARLISLE LANE                   8373 ROYAL PALM BLVD                          228 N JACKSON #C
ORLAND PARK IL 60462                 CORAL SPRINGS FL 33065                        GLENDALE CA 91206




JACQUELINE LESKO                     JACQUELINE LEWIS-EDWARDS                      JACQUELINE MARC
600 W. DIVERSEY PKWY                 8255 GOLDEN CHICKASAW CIRCLE                  6930 NW 47TH PLACE
APT# 1714                            ORLANDO FL 32825                              LAUDERHILL FL 33319-3404
CHICAGO IL 60614



JACQUELINE MARTINEZ                  JACQUELINE MITCHELL                           JACQUELINE MOORE
6734 FORSYTH OAKS CT                 2126 E 97TH PLACE                             6337 ROOSEVELT ROAD
ORLANDO FL 32807                     CHICAGO IL 60617                              BERWYN IL 60402




JACQUELINE MORAN                     JACQUELINE NUGENT                             JACQUELINE OSTACHER
2712 N LEHMANN CT                    415 ARMOUR DR NE #5505                        315 EAST 70TH STREET
3S                                   ATLANTA GA 30324-3946                         APT 3L
CHICAGO IL 60614                                                                   NEW YORK NY 10021




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JACQUELINE OSTROWSKI                   JACQUELINE OXENDINE, ESQ. PRO SE              JACQUELINE PALMER
2057 W. NORTH AVENUE                   PO BOX 530264                                 14 FULLER ROAD
3                                      SAINT PETERSBURG FL 33747                     SOUTH GLENS FALLS NY 12803
CHICAGO IL 60647



JACQUELINE PANOWICZ                    JACQUELINE PAULUS                             JACQUELINE PERREAULT
429 AUTUMN HARVEST CT.                 660 N. STATE STREET                           60 ARCELLIA DRIVE
ABINGDON MD 21009                      ROOM 1302                                     MANCHESTER CT 06040
                                       CHICAGO IL 60654



JACQUELINE PHILLIGANES                 JACQUELINE PHILLIPS                           JACQUELINE ROANE GRIFFIN
6121 WOODMAN AVE                       250 GORGE RD. APT. 21L                        1512 N ELLWOOD AVE
APT 205                                CLIFFSIDE PARK NJ 07010                       BALTIMORE MD 21213
VAN NUYS CA 91401



JACQUELINE SIMON                       JACQUELINE STREICHER                          JACQUELINE STRICKLAND
320 W. ILLINOIS                        2968 BELTAGH AVENUE                           2600 RIVERWOODS RD
APT. #609                              WANTAGH NY 11793                              RIVERWOODS IL 60015
CHICAGO IL 60610



JACQUELINE THOMAS                      JACQUELINE VAN LOAN                           JACQUELINE VAZQUEZ
8 OLD OAK COURT                        3 FAIRWOOD DRIVE                              1338 W. WAYNE STREET
BLOOMFIELD CT 06002                    QUEENSBURY NY 12804                           ALLENTOWN PA 18102




JACQUELYN BARNES                       JACQUELYN GURRIERI                            JACQUELYN HENRY
1002 E. PINE FOREST DR.                156 WEST MAIN STREET                          750 NORTH 143RD STREET
LYNN HAVEN FL 32444                    A1                                            APT #B1
                                       AVON CT 06002                                 SEATTLE WA 98133



JACQUELYN LYNCH                        JACQUELYN M POOLE                             JACQUELYN VIRGADULA
7201 TUSCANY DRIVE                     19440 GLENWOOD ROAD                           69 INDIANA STREET
MACUNGIE PA 18062                      APT 407                                       BRISTOL CT 06010
                                       CHICAGO HEIGHTS IL 60411



JACQUES KELLY                          JACQUES PASTERNAK                             JACQUES SAINT CLAIR
2616 ST PAUL ST                        74 SARAH COURT                                769 COLERIDGE RD
BALTIMORE MD 21218                     AMITYVILLE NY 11701                           UNIONDALE NY 11553




JACQUES, JOHN                          JACQUES, JOHN                                 JACQUES, NATALIE
609 DEEPWOOD DR                        PO BOX 1024                                   325 SW 1ST AVE
LEBANON CT 06249                       AMSTON CT 06231                               DELRAY BEACH FL 33444




JACQUI NGUYEN                          JADE CITY PRODUCTIONS INC                     JADE DISTRIBUTION INC
14330 CLAYMORE COURT                   535 FIFTH AVE                                 4278 OAK BEACH ROAD
SAN DIEGO CA 92129                     NEW YORK NY 10017                             OAK BEACH NY 11702




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JADE PEREZ                             JADE QUAVE                                    JADOTTE,SUZETTE
2530 N AUSTIN                          7026 WRIGHTCREST DRIVE                        1060 CRYSTAL LAKE DR #201
APT # 2                                CULVER CITY CA 90232                          POMPANO BEACH FL 33064
CHICAGO IL 60639



JAEGER TOURS INC                       JAEGER TOURS INC                              JAENICKE, JUERGEN
204 N 9TH AVE                          C/O KEVIN KARSLON                             99 DEER LAKE DR
RIO GRANDE NJ 08242                    20 REED BEACH RD                              N BABYLON NY 11703-3400
                                       CAPE MAY COURT HOUSE NJ 08210



JAFFE PRESSMAN, WENDY                  JAFFE, BENJAMIN                               JAFFE, CHARLES A
30 BUCKSKIN ROAD                       PO BOX 660216                                 DBA J FEATURES
BELL CANYON CA 91307                   ORLANDO FL 32816                              P O BOX 70
                                                                                     COHASSET MA 02025-0070



JAFFE, ERIC                            JAFFE, JAMES                                  JAGADE FREEMAN
1633 Q STREET NW NO.502                2717 38TH ST NW                               20008 DUNBROOKE
WASHINGTON DC 20009                    WASHINGTON DC 20007                           CARSON CA 90746




JAGGIA, PRISCILLA                      JAGLOM, HENRY                                 JAGUAR COMMUNICATIONS INC
1574 VALLEY FALLS AVE                  9165 SUNSET BLVD                              1007 SE 12TH AVE
REDLANDS CA 92374                      LOS ANGELES CA 90068                          DEERFIELD FL 33441




JAHAD, SHIRLEY                         JAHMEL WAY                                    JAICK SODEN, KIMBERLY
1000 EAST CORDOVA NO.302               172 RUTLAND ROAD                              617 KATHRYN ST
PASADENA CA 91106                      HEMPSTEAD NY 11550                            READING PA 19601




JAIGO PAUL BISNAUTH                    JAIME AGUIRRE                                 JAIME ALVAREZ
115 COOPER COURT                       1244 FOXWORTH AVENUE                          3403 ROSELAWN AVE
ORLANDO FL 32835                       LA PUENTE CA 91744                            BALTIMORE MD 21214




JAIME CARDENAS                         JAIME CRESPO                                  JAIME CSER
3154 YORBA LINDA BLVD                  4740 DRUMMOND LANE                            2126 NORTHAMPTON AVENUE
APT E-12                               ORLANDO FL 32810                              NORTHAMPTON PA 18067
FULLERTON CA 92831



JAIME DARANG                           JAIME DEGRISELLES                             JAIME FRANCO
1429-F W TOUHY                         701 GALER STREET                              18237 NW 61ST PLACE
CHICAGO IL 60626                       APT #410                                      MIAMI FL 33015
                                       SEATTLE WA 98109



JAIME GARCIA                           JAIME GARCIA                                  JAIME GARCIA
7783 KINGSBURY DRIVE                   10233 LAUREL CANYON                           11242 WORLEY AVENUE
HANOVER PARK IL 60133                  PACOIMA CA 91331                              ORLANDO FL 32837-1234




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JAIME GARZA                           JAIME HENDERSON                               JAIME LEDER
2763 LARKSPUR LANE #4                 5512 ARNOLD PALMER DRIVE                      331 WEST 16THSTREET
SACRAMENTO CA 95864                   APT. 1331                                     DEER PARK NY 11729
                                      ORLANDO FL 32811



JAIME LIVAS                           JAIME MANN                                    JAIME ORTIZ
355 EAST VISTA RIDGE MALL DRIVE       1635 W. BELMONT                               6250 CASITAS AVENUE
APT. # 5432                           APT #305                                      BELL CA 90201
LEWISVILLE TX 75067                   CHICAGO IL 60657



JAIME REILLY                          JAIME REYES                                   JAIME STALEY
44 BOND STREET                        1059 N. SPAULDING                             20959 TALL GRASS DRIVE
WESTMINSTER MD 21157                  #B                                            MOKENA IL 60448
                                      CHICAGO IL 60651



JAIME ZINN                            JAIMIE RUSH                                   JAIRO CHABLE
1900 LEONARD STREET                   796 TONNER DR                                 122 E. 62ND STREET
YORK PA 17404                         POMONA CA 91768                               LOS ANGELES CA 90003




JAIRO MEDINA                          JAKAI GREEN                                   JAKE SCHULTZ
1305 S ATLANTIC AVE                   1600 METROPOLITAN AVENUE                      117 ANDEL CT.
#350                                  APT. 6E                                       GLEN BURNIE MD 21061
COCOA BEACH FL 32931                  BRONX NY 10462



JAKE SCOTT                            JAKE WILLIAMS                                 JAKIE R VEST JR
313 PHILADELPHIA AVENUE               311 S BROADWAY                                P.O. BOX 350757
MASSAPEQUA PARK NY 11762              UNIT D                                        GRAND ISLAND FL 32735
                                      REDONDO BEACH CA 90277



JAKIELA, LORI                         JAKOWSKI, DANIEL                              JAKUBOS, DAVID M
257 HILLCREST DR                      45 WELLMAN RD APT 7                           2854 SANDY BAY ROAD
TRAFFORD PA 15085                     MANCHESTER CT 06042                           WILLIAMSBURG VA 23185




JAKUBOWSKI, RICHARD                   JAKUBOWSKI,ROBERT V                           JAKUSZ, MATTHEW
401 TALCOTTVILLE RD APT 52            460 SPRING CRESS LN                           17119 S HERITAGE DR
VERNON CT 06066                       W CHICAGO IL 60185                            HOMER GLEN IL 60491




JALBERT PRODUCTIONS                   JALEEL BECK                                   JALEELAS DESIGN
775 PARK AVENUE                       7359F SAUERKRAUT LANE                         2207 VOORHEES AVE  UNIT A
SUITE 230                             MACUNGIE PA 18062                             REDONDO BEACH CA 90278
HUNTINGTON NY 11743



JALON, ALLAN                          JAM ENTERTAINMENT & CREATIVE SERVICES         JAMAAHL BALTHAZAR
403 30TH STREET                       207 W GOETHE                                  1647 N. ORCHARD
HERMOSA BEACH CA 90254                CHICAGO IL 60610                              CHICAGO IL 60614




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JAMAAL GARNER                            JAMAINE DICKERSON                          JAMAITUS, STACY
8305 DAVID DRIVE                         3319 DOLFIELD AVENUE                       128 DAVID DR
APT #A                                   BALTIMORE MD 21215                         COVENTRY CT 06238
WOODRIDGE IL 60517



JAMAL BANKS                              JAMAL CALDWELL                             JAMAL CLARK
615 TRAIL DUST DRIVE                     923 N. BENTALOUST                          527 NORTH ELEVENTH STREET
CEDAR PARK TX 78613                      BALTIMORE MD 21216                         ALLENTOWN PA 18102




JAMAL FORMAN-MCKNIGHT                    JAMAL GRATE                                JAMAL HINDS
4428 PARKTON STREET                      622 STANTON AVENUE                         2328 BEACON AVENUE
BALTIMORE MD 21229                       BALDWIN NY 11510                           BETHLEHEM PA 18017




JAMAL NURSE                              JAMALCA INC                                JAMAR, DELIM
8857 TREMBLE WAY                         1400 NW 108 AVE NO.279                     5139 HUNTEREST DR
ROSEDALE MD 21237                        PLANTATION FL 33322                        MABLETON GA 30126




JAMELL GLASPER                           JAMES AC ELLIOTT                           JAMES A COONTZ
61 CARROL AVENUE                         225 S. VIRGINIA AVE                        916 HEATHER CIRCLE
VALLEY STREAM NY 11580                   BURBANK CA 91506-2538                      #4
                                                                                    MT VERNON WA 98273



JAMES A CULLEN MEMORIAL FUND             JAMES A MOORS                              JAMES AARON
185 CENTRAL AVE                          6157 CARPENTER AVENUE                      1201 ARGONNE DR
BETHPAGE NY 11714-3929                   NORTH HOLLYWOOD CA 91606                   BALTIMORE MD 21218




JAMES ABBEY                              JAMES ABBOTT                               JAMES ABEL
1400 COLORADO STREET #C                  50 MAGNOLIA DR.                            18842 LAXFORD
BOULDER CITY NV 89005                    DEBARY FL 32713                            COVINA CA 91722




JAMES ALLEN                              JAMES ALLEN                                JAMES ALLEN, CHARLES & PEARL EVANS ETAL
31 CARLTON STREET                        3550 GRANDLAKE BLVD.                       /D MAIMON KIRSCHENBAUM &
2ND FLOOR                                APT. #J208                                 C JOSEPH/JOSEPH & HERZFELD
NEW BRITAIN CT 06053                     KENNER LA 70065                            757 THIRD AVE,STE 2500
                                                                                    NEW YORK NY 10017


JAMES ALLEN, CHARLES EVANS, PEARL        JAMES ALTMAN                               JAMES ALVEY
GARY GRANT LORETTA GRANT, BILL MCNAIR,   7 CLIFFMORE ROAD                           5489 BRIGHT HAWK COURT
SEAN SERRAO, C/O JOSEPH & HERZFELD LLP   WEST HARTFORD CT 06107                     COLUMBIA MD 21045
757 THIRD AVENUE, SUITE 2500
NEW YORK NY 10017


JAMES ANGIUS                             JAMES APPEL                                JAMES AQUINO
1674 MARGATE PLACE                       1924 RUSSELL ST                            905 SAZA RUN
WESTLAKE VILLAGE CA 91361                BELLMORE NY 11710                          CASSELBERRY FL 32707




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JAMES ASBURY                          JAMES AUSTIN                               JAMES B CHAMBERLAIN
43 N 7TH STREET                       42 ADAMS STREET                            816 W BROADWAY
COPLAY PA 18037                       HARTFORD CT 06112                          ANAHEIM CA 92805




JAMES B STRONG                        JAMES BABCHAK                              JAMES BAETENS
355 NEWBURY                           16 WITHINGTON RD                           249 VALLEY AVE SW
ARLINGTON HTS IL 60005                SCARSDALE NY 10583                         GRAND RAPIDS MI 49504




JAMES BAKER                           JAMES BARRERO                              JAMES BAUMBACH
748 ECHO PARK TERRACE                 541 GREENBANK AVENUE                       355 SOUTH WELLWOOD AVENUE
LOS ANGELES CA 90026                  DUARTE CA 91010                            LINDENHURST NY 11757




JAMES BEARD FOUNDATION                JAMES BEARD FOUNDATION                     JAMES BELSVIG
6TH WEST 18TH STREET                  C/O DELOITTE & TOUCHE                      6309 174TH AVE KPS
NEW YORK NY 10011                     2 WORLD TRADE FINANCIAL CTR                LONGBRANCH WA 98351
                                      NEW YORK NY 10281-1414



JAMES BELUE                           JAMES BERNHARDT                            JAMES BERNSTEIN
4711 ST. JOSEPH CREEK                 7616 ZOEI DRIVE                            102 MAIN AVENUE
#3-1                                  BALTIMORE MD 21237                         SEA CLIFF NY 11579
LISLE IL 60532



JAMES BETHEA                          JAMES BIGELOW                              JAMES BILELLO
4609 WALTHER AVE                      302 E. 19TH STREET                         2490 SW 12TH STREET
BALTIMORE MD 21214                    APT #2                                     DEERFIELD BEACH FL 33442
                                      LONG BEACH CA 90806



JAMES BINKLEY                         JAMES BISHOP III                           JAMES BOYD
7056 N KEATING                        1801 GLEEN DALE LANE                       87 BARROW STREET
LINCOLNWOOD IL 60712                  BEL AIR MD 21015                           APT. 5D
                                                                                 NEW YORK NY 10014



JAMES BOYD                            JAMES BOYKIN                               JAMES BOYLE
201 TRUBERG AVENUE                    600 N. HICKORY AVE.                        4949 WEST RUNNING BROOK RD.
NORTH PATCHOGUE NY 11772              7                                          COLUMBIA MD 21044
                                      BEL AIR MD 21014



JAMES BRENNER                         JAMES BREWER                               JAMES BROOKS
18 WEST 22ND STREET                   7955 JUNIPER ROAD                          4001 KARELIA STREET
HUNTINGTON STATION NY 11746           COLORADO SPRINGS CO 80908                  LOS ANGELES CA 90065




JAMES BRUNGARDT                       JAMES BRYAN MIKA                           JAMES BRYANT
13 FUENTE                             415 BOB O'LINK ROAD                        2551 EDMONDSON AVENUE
RANCHO SANTA MARGARITA CA 92688       MOUNT PROSPECT IL 60056                    BALTIMORE MD 21229




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JAMES BULLOCK                       JAMES BURCKE                               JAMES BUSTRAAN
2222 LOIRE STREET                   1923 SQUIRES WAY                           3860 BRANTON DR.
CARSON CITY NV 89701                CHESTERFIELD MO 63017                      OVIEDO FL 32765




JAMES BUTCHER                       JAMES BYRNE                                JAMES C KELLY
939 NO. BAY AVE                     17714 GLOBE THEATRE DRIVE                  20154 ZIMMERMAN PLACE
MASSAPEQUA NY 11758                 OLNEY MD 20832                             SAUGUS CA 91390




JAMES C MONROE                      JAMES CALAFATI                             JAMES CAMPBELL
3868 BLUFF                          2225 HILLCREST ROAD                        22 PLANTATION DRIVE
NORCO CA 92860                      QUAKERTOWN PA 18951                        HAMPTON VA 23669




JAMES CARBONNEAU COMPANY            JAMES CAROLLO                              JAMES CARR
57 PRATT ST     STE 809             13928 SHADY LANE                           13012 TIGER LILY CT
HARTFORD CT 06103                   HUNTLEY IL 60142                           ST LOUIS MO 63146




JAMES CASTLER                       JAMES CATRON                               JAMES CENTERS
55 NOBLE WAY                        121 DOVER COURT                            13654 KNOLLBROOK LANE
QUEENSBURY NY 12804                 SMITHFIELD VA 23430                        CHARLESTON IL 61920




JAMES CHADWICK                      JAMES CHAMBERS                             JAMES CHANGEFIELD ENT
35352 SANTA ROSA                    28560 CONEJO VIEW DRIVE                    PO BOX 292735
YUCAIPA CA 92399                    AGOURA CA 91301                            FT LAUDERDALE FL 33329




JAMES CHIN                          JAMES CITY COUNTY                          JAMES CITY COUNTY
2353 SOUTH SEAMAN NECK RD           ACCTS PAYABLE                              CLERKS OF COURTS
SEAFORD NY 11783                    P.O. BOX 8784                              5201 MONTICELLO AVE NO.6
                                    WILLIAMSBURG VA 23187                      WILLIAMSBURG VA 23188



JAMES CITY COUNTY                   JAMES CITY COUNTY                          JAMES CITY COUNTY
FAIR                                TREASURER                                  PO BOX 8784
3127 FORGE RD                       101 MOUNTS BAY RD                          WILLIAMSBURG VA 23187-8784
TOANO VA 23168                      WILLIAMSBURG VA 23185



JAMES CLAYTON                       JAMES COATES                               JAMES CONDON
22535 MAURICE COURT                 2310 S LOWELL                              63-101 ALDERTON STREET
EL TORO CA 92630                    SANTA ANA CA 92707                         APT. 2
                                                                               REGO PARK NY 11374



JAMES CORBIN                        JAMES CORCORAN                             JAMES COURAKOS
23921 DEL MONTE DR.                 6 PLEASANT AVENUE                          5013 COBALT COURT
APT#32                              SOUTH FARMINGDALE NY 11735                 GREENACRES FL 33463
VALENCIA CA 91355




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JAMES COX                             JAMES CRANDELL                             JAMES CREAR
3896 FULTON AVENUE                    7616 MENDHAM COURT                         BOX 11328
SEAFORD NY 11783                      ELK GROVE CA 95758                         BURBANK CA 91510




JAMES CROTEAU                         JAMES CROWNOVER                            JAMES CUNNINGHAM
6322 ROYAL PALM BLVD                  4407 50TH AVE SW                           12 JOCARDA DR.
MARGATE FL 33063                      SEATTLE WA 98116                           MIDDLETOWN NJ 07748




JAMES CURRAN                          JAMES CUSTARD                              JAMES D COOPER
71 HAVERHILL PLACE                    3470 N. LAKE SHORE DR.                     9133 BELMONT
SOMERSET NJ 08873                     APT. 4A                                    BELLFLOWER CA 90706
                                      CHICAGO IL 60657



JAMES D DOGED                         JAMES D MELTON                             JAMES D MIFFLIN
301 WILLRICH CIRCLE                   1530 CRESTVIEW AVENUE                      3813 DUNEDIN COURT
UNIT G                                SEAL BEACH CA 90740                        APOPKA FL 32712
FOREST HILL MD 21050



JAMES D MOSES                         JAMES D QUINN                              JAMES D SHAW
51711 FARGO LANE                      72 PLEASANT ST                             228 JEFFERSON'S HUNDRED
BEN OR 97702                          APT. #5                                    WILLIAMSBURG VA 23185
                                      NATICK MA 01760



JAMES DALY                            JAMES DAVIS                                JAMES DAVIS
929 PRIMROSE WAY                      4417 W HADDON AVE                          4056 SW 67 TERR
LAKE WALES FL 33853                   CHICAGO IL 60651                           DAVIE FL 33314




JAMES DAWSON                          JAMES DEFLORA                              JAMES DEJOHN
50 NORTH COUNTRY ROAD                 33 GORDON AVENUE                           103 HUDSON POINTE BLVD
MOUNT SINAI NY 11766                  MEDFORD NY 11763                           QUEENSBURY NY 12804




JAMES DEJULIO                         JAMES DELLISANT                            JAMES DELOMA
2 E CARIBBEAN                         331 BURRELL BLVD                           251 SUMMIT STREET
PORT ST LUCIE FL 34952                ALLENTOWN PA 18104                         BRIDGEPORT CT 06606




JAMES DENMAN                          JAMES DEPURY                               JAMES DESMOND
8440 S. MICHIGAN AVE                  437 DARTHA DR.                             1276 SW 26TH AVENUE
CHICAGO IL 60619                      DALLASTOWN PA 17313                        DEERFIELD BEACH FL 33442




JAMES DISCH                           JAMES DONAHUE                              JAMES DOODY
1406 S. HICKORY DR                    4110 N. SALEM DR.                          1165 ENFIELD STREET
MT PROSPECT IL 60056                  ARLINGTON HEIGHTS IL 60004                 UNIT 12
                                                                                 ENFIELD CT 06082




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JAMES DOUTHETT                         JAMES DOUTNEY                              JAMES DREW
1217 GANADO                            294 CONKLIN AVENUE                         159 DUMBARTON ROAD
SAN CLEMENTE CA 92673                  PATCHOGUE NY 11772                         BALTIMORE MD 21212




JAMES E BEATON III                     JAMES E BETTS                              JAMES E SANTOS
505 HAMLET CT                          1520 OATS AVE NE                           VILLA DO MAR
YORKTOWN VA 23693                      MADISON FL 32340                           BOX 231
                                                                                  HAMPTON BAYS NY 11946



JAMES E WOOTEN                         JAMES EDMONDSON                            JAMES EDWARD KIRK
638 S CAJON AVENUE                     2274 LAKE POINTE CIR                       2844 TANAGA BASIN
WEST COVINA CA 91791                   LEESBURG FL 34748                          NEW LENOX IL 60451




JAMES EDWARD MOORE                     JAMES ELIZARRARAS                          JAMES ELLIS
1318 BUCCANEER COURT                   6674 LAKE STREET                           74 GOLF ROAD
WINTER PARK FL 32792                   RIVERSIDE CA 92503                         #243
                                                                                  GOLF IL 60029-0243



JAMES ELMS                             JAMES EMBREY SR                            JAMES ERI
1096 TODD FARM DRIVE                   270 MCMILLAN COURT                         624 HAMPSHIRE LANE
APT # 101                              MARTINSBURG WV 25404                       OVIEDO FL 32765
ELGIN IL 60123



JAMES ERIN DE JAUREGUI PHOTOGRAPHY     JAMES ERKMAN                               JAMES F DAVIS
858 S MANENGO AVE NO.3                 131 MIDLAND AVENUE                         4125 SLATER AVE
PASADENA CA 91106                      STATEN ISLAND NY 10306                     BALTIMORE MD 21236




JAMES F KELLER                         JAMES F POTTER                             JAMES F QUINN PHOTOGRAPHY
PO BOX 2362                            6722 GREENWOOD CIRCLE                      3414 S CLINTON AVENUE
BIG RIVER CA 92242                     PALM SPRINGS CA 92264                      BERWYN IL 60402




JAMES FAIR                             JAMES FARRELL                              JAMES FEASTER
23 LONGMEADOW PL                       24 LOOKOUT MOUNTAIN DRIVE                  15220 WATERMAN COURT
CENTEREACH NY 11720                    MANCHESTER CT 06040                        SOUTH HOLLAND IL 60473




JAMES FEHER                            JAMES FEHNEL                               JAMES FERRAIUOLO
2958 VICTORIA LANE                     1238 W. FLETCHER STREET                    229 MILLER PLACE PL RD
ALLENTOWN PA 18104                     UNIT F                                     MILLER PLACE NY 11764
                                       CHICAGO IL 60657-3272



JAMES FIGURNIAK                        JAMES FISHER                               JAMES FLANIGAN
20 PALANE EAST                         6018 EL MIO DR                             163 COLLIER RD
BAITING HOLLOW NY 11933                LOS ANGELES CA 90042                       WETHERSFIELD CT 06109




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JAMES FORD                          JAMES FOWLER                               JAMES FRANCAVILLA
452 RIVERSIDE DRIVE                 1977 ESCARPA DR                            C/O JEANETTE FRANCAVILLA
APT. #45                            LOS ANGELES CA 90041                       7219 SAN LUCAS ST
NEW YORK NY 10027                                                              CARLSBAD CA 92011



JAMES FRANKLIN                      JAMES FUEHRING                             JAMES G. HADJIN
58 GLENHAVEN DR                     300 W. INWOOD RD                           4 SHADYWOOD COURT
HAMPTON VA 23664                    APT # 110                                  HUNTINGTON NY 11743
                                    WHEELING IL 60090



JAMES GAFFNEY                       JAMES GALAUSKAS                            JAMES GANO
6 STEWART AVE                       14 N ORCHARD                               2356 CALLE SABINA
GLENS FALLS NY 12801                ROUND LAKE IL 60073                        SAN DIMAS CA 91773




JAMES GARCIA                        JAMES GENTRY                               JAMES GERLING
1111 ORANGE AVENUE                  712 FOXMOOR LANE                           1912 CLUB CIRCLE
MONROVIA CA 91016                   LAKE ZURICH IL 60047                       APT. 3
                                                                               HARRISON AR 72601



JAMES GERSTENZANG                   JAMES GILBERT                              JAMES GILLISON
8203 THOREAU DR                     160 E. ILLINOIS ST.                        2 S 181 MAYFIELD
BETHESDA MD 20817                   #1102                                      GLEN ELLYN IL 60137
                                    CHICAGO IL 60611



JAMES GLOEDE                        JAMES GOLSTON                              JAMES GRAHAM
40 SCHILLER CT                      2289 5TH AVENUE                            14100 MAGNOLIA GLEN CIRCLE
YAPHANK NY 11980                    APT. 9K                                    ORLANDO FL 32828
                                    NEW YORK NY 10037



JAMES GRANELLI                      JAMES GREENFIELD                           JAMES GREGORY
1872 LAVE                           711 N. RIDGELAND AVE                       125 CAROL ROAD
LONG BEACH CA 90815                 OAK PARK IL 60302                          EAST MEADOW NY 11554




JAMES GRIMES                        JAMES GROSS                                JAMES GUDAS
704 GLENDALE DRIVE                  P O BOX 8386                               1641 W. 105TH PLACE
KELLER TX 76248                     CORAL SPRINGS FL 33075                     CHICAGO IL 60643




JAMES GUTHRIE                       JAMES H COPLAND                            JAMES H NORRIS
6166 N SHERIDAN RD                  2110 BEECHER ST.                           121 TAFT CRESCENT
UNIT 20K                            ORLANDO FL 32808                           CENTERPORT NY 11721
CHICAGO IL 60660



JAMES H ROBINSON COMPANY INC        JAMES H VOELTZ                             JAMES H WOLFSON
4904 KITSAP WAY                     631 OLEANDER STREET                        PO BOX 668
BREMERTON WA 98312                  BREA CA 92821                              BROOKINGS OR 97415




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JAMES HADESTY                        JAMES HAGLUND                              JAMES HANCOCK
426 E FRANKLIN STREET                1214 BELLEFORTE                            4026 PEBBLE BRANCH ROAD
SLATINGTON PA 18080                  OAK PARK IL 60302                          ELLICOTT CITY MD 21042




JAMES HANSEN                         JAMES HARDING                              JAMES HARRIS
345 WEST BROADWAY                    816 HILLSIDE DRIVE                         15332 IRVING AVE
NEW YORK NY 10013                    STREAMWOOD IL 60107                        DOLTON IL 60419




JAMES HART                           JAMES HAVILAND                             JAMES HAYES
132A HAZEL AVENUE                    827 W. WRIGHTWOOD AVE.                     8715 BLAIRWOOD ROAD
BALTIMORE MD 21227                   CHICAGO IL 60614                           B-2
                                                                                NOTTINGHAM MD 21236



JAMES HAYES                          JAMES HEFLIN                               JAMES HERNANDEZ
2916 S. HARLEM AVE.                  12 KNIGHT AVE #2                           7 MEADOW HAVEN LANE
RIVERSIDE IL 60546                   EASTHAMPTON MA 01027                       EAST NORTHPORT NY 11731




JAMES HITCHMAN                       JAMES HOGAN                                JAMES HOLLAND
130 MACK STREET                      98 EAST SHORE DRIVE                        3200 N. LAKE SHORE DRIVE
PO BOX 5                             BABYLON NY 11702                           APT 606
BLENCOE IA 51523                                                                CHICAGO IL 60657-3904



JAMES HOLMES                         JAMES HORKY                                JAMES HORNER
3 FLYING DUTCHMAN WAY                PO BOX 572941                              236 CONNETQUOT RD
SARATOGA SPRINGS NY 12866            HOUSTON TX 77257-2941                      BAYPORT NY 11705




JAMES HUEG                           JAMES HUTCHINSON                           JAMES J BOLAND
814 LITTLE CITY ROAD                 4577 EGNER                                 31130 S. GENERAL KEARNY ROAD
HIGGANUM CT 06441                    CEDAR SPRINGS MI 49319                     SPACE #56
                                                                                TEMECULA CA 92591



JAMES JACKSON                        JAMES JACKSON                              JAMES JACKSON
1338 N. MAYFIELD                     14861 MORNING SIDE DRIVE                   115 E LAUREN CT
CHICAGO IL 60651                     POWAY CA 92064                             FERN PARK FL 32730




JAMES JACKSON                        JAMES JANEGA                               JAMES JAVORSKI
2903 VALLEYBROOK CT.                 801 S. PLYMOUTH CT.                        8022 WALLACE ROAD
KINGSVILLE MD 21087                  UNIT 912                                   BALTIMORE MD 21222
                                     CHICAGO IL 60605



JAMES JOHN SHANAHAN                  JAMES JOHNSON                              JAMES JOHNSON
1680 MARYKAY AVE.                    350 JOHN STREET                            810 PLAZA SERENA
AURORA IL 60505                      ORLANDO FL 32835                           ONTARIO CA 91764




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JAMES JOHNSON                         JAMES JOHNSON                              JAMES JONES
2001 HELMLY TERRACE                   188 CARRIAGE WAY                           304 GWYNN AVENUE
DELTONA FL 32725                      WINDSOR CT 06095                           BALTIMORE MD 21229




JAMES JORDAN                          JAMES JOYNER                               JAMES JUMP
1828 FARRIS DRIVE                     2802 MICHELLE RD.                          1228 WILSHIRE DR.
SAINT CLOUD FL 34771                  MANCHESTER MD 21102                        NAPERVILLE IL 60540




JAMES K SARNI                         JAMES KAMPER                               JAMES KARASEK
2729 S OAKLND FOR DR                  9206 S TROY                                44 FORT HILL ROAD
# 202                                 EVERGREEN PARK IL 60805                    HUNTINGTON NY 11743
OAKLAND PARK FL 33309



JAMES KARM                            JAMES KEAT                                 JAMES KEMP
6 E. MONROE, APT. 1002                1001 RIVERSIDE AVE                         1917 SINALOA AVENUE
CHICAGO IL 60603                      BALTIMORE MD 21230                         ALTADENA CA 91001




JAMES KENDY                           JAMES KENNEDY                              JAMES KILEY
1215 MANCHESTER ROAD                  1877 TRUDEAU DR                            456 WEST 37TH STREET
BETHLEHEM PA 18018                    FOREST HILL MD 21050                       APT.4F
                                                                                 NEW YORK NY 10018



JAMES KIM                             JAMES KIMBERLY                             JAMES KING
2278 MONTEVERDE DR.                   1238 S. 10TH ST.                           P.O. BOX 647
CHINO HILLS CA 91709                  ST. CHARLES IL 60174                       CHURCHVILLE MD 21028




JAMES KINNAMAN                        JAMES KOBER                                JAMES KRAVITZ
17 SEYMOUR LANE                       4 EXECUTIVE DR                             264-28A LANGSTON AVENUE
HICKSVILLE NY 11801                   HAUPPAUGE NY 11788                         GLEN OAKS NY 11004




JAMES KUCHARZ                         JAMES KUYKENDALL                           JAMES L MATEJA
3923 S. EAST AVE.                     361 HANG DOG LANE                          6225 83RD AVENUE,
STICKNEY IL 60402                     WETHERSFIELD CT 06109                      KENOSHA WI 53142-7407




JAMES L RENTFRO                       JAMES LA MANTIA                            JAMES LA VALLY
9240 SW 54TH PL                       405 WHISPERNG OAK LN                       5140 DUNSMORE AVENUE
COOPER CITY FL 33328                  APOPKA FL 32712                            LA CRESCENTA CA 91214




JAMES LAFATA                          JAMES LAMARCA                              JAMES LANE
120 SUSSEX PLACE                      3544 BAYFIELD BLVD                         4572 N. MILWAUKEE AVE.
APT. 23                               OCEANSIDE NY 11572                         APT. 1B
BOHEMIA NY 11716                                                                 CHICAGO IL 60630




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JAMES LANE                               JAMES LASSITER                             JAMES LAUDERMITH
938 KOKOMO KEY LN                        4204 MEADOWVIEW ROAD                       4802 N MICHIGAN
DELRAY BEACH FL 33483                    PORTSMOUTH VA 23703                        SCHILLER PARK IL 60176




JAMES LEAVITT                            JAMES LEO                                  JAMES LEUSNER
1639 SOUTH BROADMOOR AVENUE              93 ISLIP BLVD                              5415 LAKE HOWELL RD
APT. #198                                ISLIP NY 11751                             #106
WEST COVINA CA 91790                                                                WINTER PARK FL 32792



JAMES LONG                               JAMES LONG                                 JAMES LONG
168 HASTINGS WAY                         10739 WEST DARTMOUTH AVENUE                49 HOMEPLATE COURT
ST. CHARLES MO 63301                     LAKEWOOD CO 80227                          O'FALLON MO 63366




JAMES LONGNECKER                         JAMES LOWRY                                JAMES LUCAS
3117 PINEHURST DR                        3248 OAKSHIRE DR.                          906 DESTINY DRIVE
CORONA CA 92881                          LOS ANGELES CA 90068                       MATTESON IL 60443




JAMES LUI                                JAMES LYNCH                                JAMES LYNOTT
33-18-74TH ST.                           10710 49TH AVENUE SOUTH                    6328 WEDGEWOOD TERRACE
FLUSHING NY 11372                        TUKWILA WA 98178                           TAMARAC FL 33321




JAMES M ROBERTS                          JAMES MADORE                               JAMES MADRIGAL
18 BAY TREE CT                           C/O NEWSDAY, P.O. BOX 7255                 5919 W 88TH STREET
ST SIMONS ISLAND GA 31522                CAPITOL STATION                            OAK LAWN IL 60453
                                         ALBANY NY 12224



JAMES MAGEE                              JAMES MANGAN                               JAMES MANN
116 S. ARDMORE AVE.                      6 STRULLY DRIVE                            414 LAUREL AVE
MANHATTAN BEACH CA 90266                 MASSAPEQUA PARK NY 11762                   WILMETTE IL 60091




JAMES MANNER                             JAMES MARKHAM                              JAMES MARSICO
15442 TRUMP TOWN ROAD                    68 FISHER RD                               3316 JERUSALEM AVENUE
WINDSOR VA 23487                         COMMACK NY 11725                           WANTAGH NY 11793




JAMES MARTIN                             JAMES MARZULLO                             JAMES MATTEUCCI
1200 WEST 35TH STREET                    140 N. EUCLID AVE.                         11338 SOUTH AVENUE O
APT# 272                                 APT 506                                    CHICAGO IL 60617
CHICAGO IL 60637                         OAK PARK IL 60302



JAMES MCCORMICK                          JAMES MCGUIRE                              JAMES MCLAMB
2 ASHLEY PLACE                           900 N. DEWITT PLACE                        138 EICHELBERGER ST
QUEENSBURY NY 12804                      CHICAGO IL 60611                           HANNOVER PA 17331




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JAMES MCLEAN SMITH                   JAMES MCMAHON                              JAMES MCMAHON
360 S DEANNA STREET                  1221 NE 4 ST                               711 S. OLIVE STREET
LA HABRA CA 90631                    #1                                         APT. #409
                                     POMPANO BEACH FL 33060                     LOS ANGELES CA 90014



JAMES MCNAMARA                       JAMES MEEHAN                               JAMES MELLO
610 FORUM DR.                        4 ELDERBERRY LA                            4249 LYND AVENUE
ROSELLE IL 60172                     WESTBURY NY 11590                          ARCADIA CA 91006




JAMES MEMOLO                         JAMES MIGNONE                              JAMES MILAZZO
1002 LONGAKER                        99 LENORE LANE                             2 FLEETWOOD AVE
NORTHBROOK IL 60062                  FARMINGVILLE NY 11738                      MELVILLE NY 11747




JAMES MILLER                         JAMES MILLER                               JAMES MINOR
915 S. 6TH AVENUE                    106 STEVENAGE COURT                        142 WHITE CEDAR LANE
LA GRANGE IL 60525                   LONGWOOD FL 32779                          YORKTOWN VA 23693




JAMES MIRABITO                       JAMES MIZENER                              JAMES MONTAS
8 BALSAM COURT                       45 SPRING STREET                           89-10 GETTYSBERG ST.
SELDEN NY 11784                      PORTLAND CT 06480                          BELLROSE NY 11426




JAMES MORGAN                         JAMES MORRIS                               JAMES MORROW
1026 W 14TH PLACE                    7200 NW 45TH STREET                        651 RED OAK DR.
CHICAGO IL 60608                     CORAL SPRINGS FL 33065                     BEL AIR MD 21014




JAMES MOTAVALLI                      JAMES MURPHY                               JAMES MYERS
261 BROOKLAWN TERRACE                8169 SOUTH KNOX AVENUE                     31 ACORN DRIVE
FAIRFIELD CT 06825                   CHICAGO IL 60652                           MOUNT WOLF PA 17347




JAMES N HUNT                         JAMES NAPOLI                               JAMES NARDULLI
330 DIVERSEY PKWY.                   3701 LADONIA STREET                        10 CARRIAGE DRIVE
APT# 2509                            SEAFORD NY 11783                           MANCHESTER CT 06040
CHICAGO IL 60657



JAMES NEWTON                         JAMES NICKELL                              JAMES NORDBROOK
507 BELLEFONTAINE STREET             1406 CHAZADALE WAY                         70 OPEN GATE COURT
PASADENA CA 91105                    WESTMINSTER MD 21157                       BALTIMORE MD 21236




JAMES NORMILE                        JAMES NORRIS                               JAMES NOURSE
38 ONTARIO DRIVE                     121 TAFT CRESCENT                          848 THAMES DRIVE
BAYSHORE NY 11706                    CENTERPORT NY 11721                        HAMPTON VA 23666




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JAMES NUCKOLS                          JAMES O KELLY                              JAMES O TOBIN
1740 DYLAN WAY                         20383 E ANTELOPE ROAD                      7305 SAN LUIS
ENCINITAS CA 92024-6201                CORDES LAKES AZ 86333                      CARLSBAD CA 92011




JAMES O'BOGANY                         JAMES O'BRIEN                              JAMES O'CONNOR
2373 NW 34TH WAY                       1211 LEWISTON DRIVE                        305 SEVEN SEAS DRIVE
COCONUT CREEK FL 33066                 WESTFIELD IN 46074                         HAVELOCK NC 28532-9445




JAMES O'DELL                           JAMES O'SHEA                               JAMES O'SHEA
20787 NORTH MEADOW CT.                 2242 N. LINCOLN PARK WEST                  5 GAZEBO LANE
BARRINGTON IL 60010                    APT. 3-E                                   HOLTSVILLE NY 11742
                                       CHICAGO IL 60614



JAMES OAKES                            JAMES OGNIBENE                             JAMES OLIPHANT
5721 REBA ST.                          4 VACATION COURT                           1515 JEFFERSON DAVIS HWY.
MORTON GROVE IL 60053                  HOLBROOK NY 11741                          APT. #1224
                                                                                  ARLINGTON VA 22202



JAMES ORLANDO                          JAMES OSICK                                JAMES OTTINGER
405 NE 23 AVE                          123 KRAML DRIVE                            1699 RIDGE STREET
BOYNTON BEACH FL 33435                 BURR RIDGE IL 60527                        NORTH CATASAUQUA PA 18032




JAMES P DAY                            JAMES P LYNCH                              JAMES P MUNDING
664 KENSINGTON AVE                     7009 FEATHER PINE STREET                   1749 E MICHELLE
SEVERNA PARK MD 21146                  LAS VEGAS NV 89131                         WEST COVINA CA 91791




JAMES PACE                             JAMES PALLARES                             JAMES PARENTE
14 ROBINS TREE LANE                    23940 ROTUNDA ROAD                         468 WEST DRIVE
IRVINE CA 92602                        VALENCIA CA 91355                          COPIAGUE NY 11726




JAMES PASMA                            JAMES PAUL WARD                            JAMES PEACOCK
2051 BOB-O-LINK                        7 BRIGANTINE CT.                           1614 REDWOOD DRIVE
LIBERTYVILLE IL 60048                  BALTIMORE MD 21236                         CORINTH TX 76210




JAMES PELTZ                            JAMES PENA                                 JAMES PEPPLER
245 W COLORADO BLVD                    1307 LAKEVIEW STREET                       707A ALBIN AVENUE
#15A                                   WHITING IN 46394                           WEST BABYLON NY 11704
ARCADIA CA 91007



JAMES PHILLIPS                         JAMES PHOENIX                              JAMES PINNICK
4245 WEST MAYPOLE                      1323 WEST INDIES WAY                       1200 MORGAN AVENUE
CHICAGO IL 60624                       LANTANA FL 33462                           LA GRANGE PARK IL 60526




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JAMES PINZINE                          JAMES PLUMLEY                              JAMES PRINTZ
147 PINE GROVE                         336 NEW SALEM ROAD                         1337 E SPRING MEADOW CT
LAKEMOOR IL 60051                      ABRAHAM WV 25918                           EDGEWOOD MD 21040




JAMES PRISCHING                        JAMES PUNDA                                JAMES PUPKIES
3502 BRABERRY LANE                     296 DECATUR AVENUE                         824 CAMARGO WAY
PRAIRIE GROVE IL 60012                 SHIRLEY NY 11967                           APT. #208
                                                                                  ALTAMONTE SPRINGS FL 32714



JAMES PURVIS                           JAMES PUZZANGHERA                          JAMES QUIGLEY
1119 N. CORONADO STREET                9121 SANTAYANA DRIVE                       80 BUCKET LANE
APT #307                               FAIRFAX VA 22031                           LEVITTOWN NY 11756
LOS ANGELES CA 90026



JAMES QUINN                            JAMES R GRIGGS                             JAMES RAINEY
HERITAGE APARTMENTS/APT 16             5404 WALNUT GROVE                          609 CHARTER OAK STREET
425 GLEN STREET                        SAN GABRIEL CA 91776                       SOUTH PASADENA CA 91030
GLENS FALLS NY 12801



JAMES RAMOS                            JAMES RAMSEY                               JAMES RASMUSSEN
30526 N. SORRENTO PLACE                613 W. JONATHAN DRIVE                      5509 PERSIMMON
CASTAIC CA 91384                       ROUND LAKE IL 60073                        TEMPLE CITY CA 91780




JAMES RASSOL                           JAMES RATTIGAN                             JAMES REID
464 W OCEAN AVENUE                     3524 DOGWOOD DRIVE                         53 MILWAUKEE AVENUE
BOYNTON BEACH FL 33435                 GARNET VALLEY PA 19061                     BETHEL CT 06801




JAMES RICCI                            JAMES RICKER                               JAMES RILES
2251 FERN DELL PLACE                   7675 CEDAR DR                              22245 NEWBRIDGE ROAD
LOS ANGELES CA 90068                   PASADENA MD 21122                          LAKE FOREST CA 92630




JAMES RIVER COUNTRY CLUB               JAMES ROBINSON                             JAMES ROBINSON
1500 COUNTRY CLUB ROAD                 91 LAKEWOOD PLACE                          11760 BUCKLEY COURT
NEWPORT NEWS VA 23606                  HIGHLAND PARK IL 60035                     WOODBRIDGE VA 22192




JAMES ROBITAILLE                       JAMES RODGERS                              JAMES ROLAND
882 STANFORD AVENUE                    1913 S TWIN AVENUE                         10 CREEKSIDE CIRCLE
CHULA VISTA CA 91913                   SAN GABRIEL CA 91776                       UNIT D
                                                                                  ELGIN IL 60123



JAMES ROLES                            JAMES ROONEY                               JAMES ROSENFELD
1216 JUNE RD                           28036 LIANA LANE                           31 BEAUMONT DRIVE
BALTIMORE MD 21227                     VALENCIA CA 91354                          PLAINVIEW NY 11803




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JAMES ROSS                            JAMES ROSSI                                JAMES ROSSI
10584 JASON COURT                     4615 WILKENS AVE.                          167 HERITAGE DRIVE
COLUMBIA MD 21044                     BALTIMORE MD 21229                         NAUGATUCK CT 06770




JAMES ROTCHE                          JAMES ROTH                                 JAMES RUGINO JR
143 ASHCROFT DR.                      4 SPYGLASS LANE                            105 PRINCESS AVENUE
BOLINGBROOK IL 60490                  EAST SETAUKET NY 11733                     ANDERSON SC 29621




JAMES RUPERT                          JAMES RUSSO                                JAMES SARCONE
225 LIBERTY HILL ROAD                 308 CENTER OAKS TRAIL                      17245 HAYNES STREET
C/O RUPERTS                           BAY SHORE NY 11706                         VAN NUYS CA 91406
GILFORD NH 03249



JAMES SAVO                            JAMES SAWYER                               JAMES SCANLAN
405 N. OCEAN BLVD                     59 PARK HILL PL                            310 BLAIR STREET
APT 503                               BALTIMORE MD 21236                         BATAVIA IL 60510
POMPANO BEACH FL 33062



JAMES SCHIRO                          JAMES SCHRIJN                              JAMES SCHUMACHER
32 GAYMOR LANE                        50 FOREST LANE                             11 STACEY LANE
FARMINGVILLE NY 11738                 CANTON CT 06019                            EAST NORTHPORT NY 11731




JAMES SCHWAB                          JAMES SCOTT                                JAMES SEELINGER
13330 HUSTON STREET                   229 SOUTH WATER STREET                     291 PARK AVENUE
UNIT D                                APT. C4                                    WESTBURY NY 11590
SHERMAN OAKS CA 91423                 EAST WINDSOR CT 06088



JAMES SELTZER                         JAMES SELVAGGIO                            JAMES SERENSITS
1233 E 142 STREET                     1 BONWEIT PLACE                            1310 LINCOLN STREET
COMPTON CA 90222                      FARMINGDALE NY 11755                       CATASAUQUA PA 18032




JAMES SEYBOLD                         JAMES SHEA                                 JAMES SIEGFRIED
220-F TIMBER TRAIL                    7 HOLLYBERRY ROAD                          6120 ADRIATIC WAY
BEL AIR MD 21014                      BRISTOL CT 06010                           GREENACRES FL 33413




JAMES SIMMONS                         JAMES SIMON                                JAMES SIMPSON
3252 PORTSIDE LANE                    1660 NW 2ND AVE                            ATTN: JAMES SIMPSON
PLANO TX 75024                        POMPANO BEACH FL 33060                     5 CRESTWOOD DRIVE
                                                                                 NEWPORT CA 92660



JAMES SISSON                          JAMES SIVAS                                JAMES SMITH
6240 S. KEDIZE                        183 MAR VISTA AVENUE                       14615 MINERVA
APT 302                               PASADENA CA 91106                          DOLTON IL 60419
CHICAGO IL 60629




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JAMES SMITH                           JAMES SMITH                                JAMES SMITH
3620 W. 81ST STREET                   2660 E 93RD STREET                         1115 SOUTH CURSON AVENUE
CHICAGO IL 60652                      CHICAGO IL 60617                           LOS ANGELES CA 90019




JAMES SMITH                           JAMES SMITH                                JAMES SMITH
6185 WESTGATE DR.                     15 COVERT STREET                           416 MINEOLA BLVD
APT. 334                              PORT WASHINGTON NY 11050                   WILLISTON PARK NY 11596
ORLANDO FL 32835



JAMES SNYDER                          JAMES SOSNOFF                              JAMES SOUZA
P.O. BOX 7658                         14171 FORESTVALE DRIVE                     68 MT VERNON AVENUE
WANTAGH NY 11793                      CHESTERFIELD MO 63017                      APT 7E
                                                                                 PATCHOGUE NY 11772



JAMES SPLAWSKI                        JAMES SPRUILL                              JAMES STEAR
6923 VALLEY VIEW                      1509 GATEWOOD DR                           219 WINDWARD COURT NORTH
DOWNERS GROVE IL 60516                NEWPORT NEWS VA 23601                      PORT JEFFERSON NY 11777




JAMES STEVENSON                       JAMES STORCK                               JAMES STOWELL
6119 CATINA STREET                    4567 W AVENUE 40                           33 SECOND STREET
NEW ORLEANS LA 70124                  LOS ANGELES CA 90065                       SOUTH GLENS FALLS NY 12803




JAMES STRAITE                         JAMES STRATTON                             JAMES SUITER
701 HARRISON STREET                   1234 GOLFVIEW ST                           13531 CLIFTY FALLS DRIVE
#003                                  ORLANDO FL 32804                           CARMEL IN 46032
ALLENTOWN PA 18103



JAMES SUTTON                          JAMES SWETLIK                              JAMES T JONES
8 RAYMOND TERRACE                     225 EVERGREEN LANE                         126 OLD STAGE ROAD
NORWALK CT 06855                      MUNSTER IN 46321                           TOANO VA 23168




JAMES TAN                             JAMES TANGEN                               JAMES TANKERSLEY
6991 BRADLEY DR                       10520 58TH STREET                          3810 DOMINION MILL DR.
GURNEE IL 60031                       MIRA LOMA CA 91752                         ALEXANDRIA VA 22304




JAMES TARMANN                         JAMES TAYLOR                               JAMES THOMA
5121 S ADELE AVENUE                   182 WEST MORNINGSIDE STREET                42 THORNEY AVENUE
WHITTIER CA 90601                     HARTFORD CT 06112                          HUNTINGTON STATION NY 11746




JAMES TIGHE                           JAMES TINGLEY                              JAMES TODD
207 BAYSIDE DRIVE                     500 E FULTON                               505 BINFORD STREET
DUNDALK MD 21222                      123                                        SOUTH HILL VA 23970
                                      GRAND RAPIDS MI 49503




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JAMES TODD SADOWSKI                     JAMES TOEDTMAN                             JAMES TOLSON
110 BITTERNUT ROAD                      2604 GENEVA HILL CT                        4934 DOBSON ST.
MOUNT WOLF PA 17347                     OAKTON VA 22124                            SKOKIE IL 60077




JAMES TOOLE                             JAMES TOUSEY                               JAMES TRICE
1900 NW 81 AVE                          7 STONY BROOK AVE                          25 DELMONT ROAD
CORAL SPRINGS FL 33071-6234             STONY BROOK NY 11790                       EAST HARTFORD CT 06108




JAMES TROKEN                            JAMES V BEATTIE                            JAMES VAHLSING
7258 CONRAD AVE                         392 COUNTY ROAD 3519                       126 S.SYMINGTON AVE.
NILES IL 60714                          CLARKSVILLE AR 72830                       CATONSVILLE MD 21228




JAMES VALCOURT                          JAMES VANELLS                              JAMES VASQUEZ
435 SW 5TH AVENUE                       3970 SANDPIPER DR.                         232 W 5TH STREET
BOYNTON BEACH FL 33435                  HANOVER PARK IL 60133                      SAN DIMAS CA 91773




JAMES VERRELLI                          JAMES VIA                                  JAMES VIRGA
913 GREENWAY AVENUE                     28 BELHAVEN DRIVE                          3 ISLAND AVENUE
YARDLEY PA 19067                        BALTIMORE MD 21236                         #7F
                                                                                   MIAMI BEACH FL 33139



JAMES W BANNINGER                       JAMES W HORTON JR                          JAMES W MITCHELL
35218 FIR AVE., #215                    7801 ARQUILLA                              40441 VIA SIENA
YUCAIPA CA 92399                        APT # 1A                                   MURRIETA CA 92562
                                        PALOS HEIGHTS IL 60463



JAMES W WALLACE                         JAMES WAGNER                               JAMES WAGNER
5822 BRIARTREE DR                       7971 WOODRIDGE DR.                         1416 WESTERLY TERRACE
LA CANADA FLINT CA 91011                APT. #104                                  APT 3
                                        WOODRIDGE IL 60517                         LOS ANGELES CA 90026



JAMES WAHL                              JAMES WALSH                                JAMES WALTERS
77 W 4TH ST                             1207 W. LILL                               2380 RIVERWOODS RD
DEER PARK NY 11729                      APT. #2                                    RIVERWOODS IL 60015
                                        CHICAGO IL 60614



JAMES WARD                              JAMES WARREN                               JAMES WASHBURN
1470 WOODBURY CIRCLE                    4228 NORTH GREENVIEW STREET                119 ASPEN DRIVE
GURNEE IL 60031                         CHICAGO IL 60613                           MILFORDE PA 18337




JAMES WATSON                            JAMES WEAVER                               JAMES WEBB
908 VERNON AVE.                         2750 MADISON AVENUE                        1603 ALBERMARLE CT
VENICE CA 90291                         BETHLEHEM PA 18017                         NAPERVILLE IL 60563




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JAMES WEBER                           JAMES WELCH                                JAMES WEST PHOTOGRAPHY
4072 BASSEN DRIVE                     27 HEATHER DRIVE                           4875 THREE MILE DRIVE
SWANSEA IL 62226                      WETHERSFIELD CT 06109                      DETROIT MI 48224




JAMES WETTER                          JAMES WHEELER                              JAMES WHITE
43 CLEREMONT AVE                      808 CATHEDRAL STREET                       1163 SHILPA CT.
SAINT JAMES NY 11780                  3F                                         ORLANDO FL 32817
                                      BALTIMORE MD 21201



JAMES WHITE                           JAMES WILLETT                              JAMES WILLIAMS
9141 CEDARGROVE AVE                   321 W. BELDEN AVENUE                       2758 N KEYSTONE ST
WHITTIER CA 90605                     1E                                         BURBANK CA 91504
                                      CHICAGO IL 60614



JAMES WILLIAMSON                      JAMES WILSON                               JAMES WILSON
1009 PINE DRIVE                       115 NORTH 4TH STREET                       103 LAMPLIGHTER PLACE
APT. #9                               ALLENTOWN PA 18102                         WILLIAMSBURG VA 23185
POMPANO BEACH FL 33060



JAMES WIRTH                           JAMES WOERNER INC                          JAMES WOLFE
13188 W. STONEBRIDGE LANE             130 ALLEN BLVD                             541 EAST 20TH STREET
HUNTLEY IL 60142                      FARMINGDALE NY 11735                       APT 9F
                                                                                 NEW YORK NY 10010



JAMES WOODS                           JAMES WORSTER                              JAMES WRIGHT
1013 183RD                            822 ARDMORE PL                             23637 MESA COURT
HOMEWOOD IL 60430                     BELLMORE NY 11710                          VALENCIA CA 91355




JAMES WRIGHT                          JAMES WRIGHT                               JAMES YONKERS
9507 PERRY BROOK CT                   348 SUWANEE STREET                         5200 GARDENS HILLS C
BALTIMORE MD 21236                    PARK FOREST IL 60466                       WEST PALM BEACH FL 33415




JAMES YOSHINAGA                       JAMES YOST                                 JAMES YOUNG
4644 EAST DARTMOUTH AVENUE            490 WAGO ROAD                              7635 SO ROSEMARY CIRCLE
DENVER CO 80222                       MOUNT WOLF PA 17347                        ENGLEWOOD CO 80112




JAMES ZEBORA                          JAMES ZEBRO                                JAMES ZERWEKH
160 DEXTER AVENUE                     26 SPRINGTIME LANE                         4580 FOXTAIL CIRCLE
MERIDEN CT 06450                      LEVITTOWN NY 11756                         GREENWOOD VILLAGE CO 80121-3942




JAMES ZOTTOLA                         JAMES, CHARESSE                            JAMES, DEBORAH A
21 WATERMAN ST                        4020 PALMETTO TRAIL                        191 NEW LONDON RD
BABYLON NY 11702                      WESTON FL 33331                            SALEM CT 06420




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JAMES, DERRICK T                        JAMES, HENRY GRADY                         JAMES, JANICE B
1270 SW 7TH AVE                         JALAN PETITENGET 200XX                     3606 BISCAYNE DRIVE
DEERFIELD BEACH FL 33441                KEROBOKAN 80361                            WINTER SPRINGS FL 32708




JAMES, JENNIFER S                       JAMES, KARL                                JAMES, KATHLEEN
PO BOX 10403                            8760 SW 133RD AVE                          106 SHERRILL DR
GLENDALE CA 91209                       BUILDING 9 APT 201                         NEW OXFORD PA 17350
                                        MIAMI FL 33183



JAMES, MARISSA                          JAMES, ORLINDIS                            JAMES, PATRICK
3821 AVALON PARK BLVD EAST APT 222      128 COLLINS ST                             4521 NW 23TH CT
ORLANDO FL 32828                        HARTFORD CT 06105                          LAUDERHILL FL 33313




JAMES, RENEE A                          JAMES, RICARDO                             JAMES, ROBERT LEE
1129 N 24TH ST                          135 OCEAN AVE NO.2B                        1810 NW 26TH TERRACE
ALLENTOWN PA 18104                      BROOKLYN NY 11225                          FT. LAUDERDALE FL 33311




JAMES, STACEYANN                        JAMES, STEPHANIE                           JAMES, SUSAN ELIZABETH
11750 NW 36TH ST                        15224 DERBYSHIRE WAY                       4534 HILLIARD AVE
CORAL SPRINGS FL 33065                  ACCOKEEK MD 20607                          LA CANADA CA 91011




JAMES, THOMAS                           JAMES, TONNY                               JAMES, VIRGINIA
2110 GIVENSWOOD DR.                     4927 N 49TH ST                             2110 GIVENSWOOD DR
FALLSTON MD 21047                       MILWAUKEE WI 53218                         FALLSTON MD 21047




JAMES, WINFIELD H.                      JAMES,ELIZABETH                            JAMES-ENGER, KELLY
27 ATLANTIC DR                          1440 COVENTRY MEADOES DR                   6911 WATERFALL PLACE
L COMPTON RI 02837-1404                 SYKESVILLE MD 21784                        DOWNERS GROVE IL 60516




JAMESON PETERS                          JAMESON, ELEANOR                           JAMESON, N MARNELL
25401 62ND AVENUE S                     575 NW 51ST ST                             6189 MASSIVE PEAK CIRC
APT. #U205                              MIAMI FL 33127                             CASTLE ROCK CO 80108
KENT WA 98032



JAMESTOWN LAFAYETTE ED FUND             JAMI JARA                                  JAMICA GOLDSTEIN
P.O. BOX 935                            1350 SAN BERNARDINO ROAD                   3721 CASTLE ROCK DR.
WILLIAMSBURG VA 23187                   SPACE 74                                   ZIONSVILLE IN 46077
                                        UPLAND CA 91786



JAMIE ALLEN                             JAMIE BOYD                                 JAMIE CLAUSING
13 MERRITT ST                           500 SW 9TH STREET                          1440 MIDDLEBURY CT.
WEST ISLIP NY 11795                     FORT LAUDERDALE FL 33315                   BOURBONNAIS IL 60914




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JAMIE CONN                              JAMIE CUEVAS                               JAMIE CURRAN
21643 MAGNOLIA AVE                      12 ENTRADA EAST                            1040 FLAMINGO WAY
EUSTIS FL 32736                         IRVINE CA 92620                            LA HABRA CA 90631




JAMIE DUNN                              JAMIE FLANAGAN                             JAMIE GILBERT
38 TRUMAN STREET                        9441 STONE HAVEN CIRCLE                    6554 SWISSCO DR.
NORWALK CT 06854                        GARDEN GROVE CA 92841                      ORLANDO FL 32822




JAMIE GILLILAND                         JAMIE GOLD                                 JAMIE GREGG
2229 N. FREMONT STREET                  529 EAST LADERA STREET                     714 ZACHARY DRIVE
CHICAGO IL 60614                        PASADENA CA 91104                          ROMEOVILLE IL 60446




JAMIE GUSILATAR                         JAMIE HOPKINS                              JAMIE HOTTINGER
3021 GEORGETOWN ROAD                    700 ORCHARD OVERLOOK                       7058MCINTOSH LANE
BALTIMORE MD 21230                      APT. 201                                   #2A
                                        ODENTON MD 21113                           INDIANAPOLIS IN 46226



JAMIE INSCORE                           JAMIE JACKSON                              JAMIE MCDOWELL
18 EAST 900 SOUTH                       1S215 DORCHESTER                           16733 BURKE AVENUE NORTH
LAYTON UT 84041                         DOLTON IL 60419                            SHORELINE WA 98133




JAMIE MORSE                             JAMIE NASH                                 JAMIE PELAYO
333 CANDEE AVE                          2936 AIRDRIE AVENUE                        715 NORMANDIE AVE
B8                                      ABINGDON MD 21009                          UNIT 530
SAYVILLE NY 11782                                                                  LOS ANGELES CA 90005



JAMIE POWELL                            JAMIE ROWE                                 JAMIE SHOLBERG
812 CAREN DRIVE                         16761 VIEWPOINT LANE                       1223 WILSHIRE BLVD.
ELDERSBURG MD 21784                     APT# 134                                   #231
                                        HUNTINGTON BEACH CA 92647                  SANTA MONICA CA 90403-5400



JAMIE SORIANO                           JAMISON HENSLEY                            JAMISON, GINO
9504 CONEY ISLAND CIRCLE                3160 CLARHO CIRCLE                         1716 SW 5TH CT
ELK GROVE CA 95758                      FINKSBURG MD 21048                         FT LAUDERDALE FL 33312




JAMS INC                                JAMSHID MOUSAVINEZHAD                      JAN A KIRKPATRICK
PO BOX 512850                           89-29 69TH ROAD                            P.O. BOX 1676
LOS ANGELES CA 90051-0850               APT 2F                                     TEHACHAPI CA 93581
                                        QUEENS NY 11375



JAN BECKNER                             JAN C ALLEN                                JAN ELLEN WOELFFER
125 HORIZON CIRCLE                      12635 SCARSDALE STREET                     4706 N MAPLEWOOD AVENUE
CAROL STREAM IL 60188                   APT 1011                                   #3
                                        SAN ANTONIO TX 78217                       CHICAGO IL 60625




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JAN F LANE                             JAN FRANCO NALING                          JAN GUSZYNSKI
62 LYNDA DR                            876 EMERALD DRIVE                          1733 N. MILWAUKEE AVENUE
RONKONKOMA NY 11779                    PINGREE GROVE IL 60140                     #5
                                                                                  CHICAGO IL 60647



JAN MAMONE                             JAN MOLEN                                  JAN NOTARBARTOLO
11684 VENTURA BLVD #230                3829 OLIVE AVENUE                          15 CREST HILL CT
STUDIO CITY CA 91604                   LONG BEACH CA 90807                        HUNTINGTON STATION NY 11746




JAN PARR                               JAN STUART                                 JANA ADKINS
1174 S. HOME                           90 GOLD STREET                             27577 ARTINE DR.
OAK PARK IL 60304                      APT 23E                                    SANTA CLARITA CA 91350
                                       NEW YORK NY 10038



JANA BIELECKI                          JANA GAVIN                                 JANA HUSKEY
11915 SW 13 CT                         497 ENGLEWOOD COURT                        1115 5TH AVENUE NORTH
DAVIE FL 33325                         POWELL OH 43065                            APT #2
                                                                                  SEATTLE WA 98109



JANA SMITH                             JANAE MOSBY                                JANAIL CALDWELL
1010 WENDOVER AVE                      40 STILLWATER AVENUE                       5743 S. WINCHESTER
WESTFIELD IN 46074                     #8E                                        CHICAGO IL 60636
                                       STAMFORD CT 06902



JANALENT CORPORATION                   JANAPOULOS CASTANEDA, JOANNE               JANDA, KENNETH FRANK
7251 W LAKE MEAD BLVD     STE 300      4208 S CAPISTRANO DR                       2341 PIONEER ROAD
LAS VEGAS NV 89128                     DALLAS TX 75247                            EVANSTON IL 60201




JANE ANDERSON                          JANE BOAL WALTHER                          JANE DEE
303 PRIMROSE PATH                      1916 N. OAKLEY AVE.                        27 DEEP HOLLOW ROAD
MANORVILLE NY 11049                    CHICAGO IL 60647                           CHESTER CT 06412




JANE EBERLE                            JANE EISELEIN                              JANE ENGLE
2646 NORTH HERMITAGE AVENUE            33 ROY AVE                                 12204 HAVELOCK AVENUE
CHICAGO IL 60614                       MASSAPEQUA NY 11758                        LOS ANGELES CA 90230-5934




JANE ETO                               JANE FRITSCH                               JANE GARCIA
1100 CROTON PL                         10833 S TRIPP                              15016 FAIRHAVEN DR.
CELEBRATION FL 34747                   OAK LAWN IL 60453                          FONTANA CA 92336




JANE HAYDEN                            JANE HEALY                                 JANE HIRT
777 N. MICHIGAN AVE.                   813 GREENWOOD ST.                          2144 W FARRAGUT AVENUE
#701                                   ORLANDO FL 32801                           CHICAGO IL 60625
CHICAGO IL 60611




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JANE HWA                             JANE JANSEN                                JANE KENNADY
229 21 STREET                        1260 RIDGE ROAD                            415 GEORGE STREET
SANTA MONICA CA 90402                HIGHLAND PARK IL 60035                     PEN ARGYL PA 18072




JANE KINGSEED                        JANE LEONARD                               JANE MAGALLANES
560 RIVERSIDE DRIVE                  713 NORTH 11TH STREET                      814 1/2 SILVER FIR ROAD
APT. 3G                              ALLENTOWN PA 18102                         DIAMOND BAR CA 91789
NEW YORK NY 10027



JANE MAIDHOF                         JANE NARDUCCI                              JANE P ROESLER
PO BOX 243                           9550 SW 1ST COURT                          2117 ALLIBONE ROAD
KINGS PARK NY 11754                  CORAL SPRINGS FL 33071                     BEL AIR MD 21015




JANE PATTERSON                       JANE ROSENBERG                             JANE USERO
58 ROCK ROAD                         600 W. 111TH STREET                        5740 GOLDFINCH CT
BURLINGTON CT 06013                  APT 8C                                     ELLICOTT CITY MD 21043
                                     NEW YORK NY 10025



JANE WHITE                           JANE WOLLMAN RUSOFF                        JANE WOLLMAN RUSOFF
5418 HOLIDAY DRIVE                   1606 NORTH LAUREL AVENUE                   222 S FIGUEROA STREET NO.622
ALLENTOWN PA 18104                   SUITE 116                                  LOS ANGELES CA 90012
                                     LOS ANGELES CA 90046



JANE WOLLMAN RUSOFF                  JANE WOLLMAN RUSOFF                        JANE WZIONTKO
7660 BEVERLY BLVD APT 429            920 N KINGS RD                             39 BUCKLAND STREET
LOS ANGELES CA 90036                 APT 309                                    APT. 322-4
                                     W HOLLYWOOD CA 90069                       MANCHESTER CT 06042



JANEAN ELKINS                        JANECK, DAVID                              JANEEN CURRAN
4123 OCEAN DRIVE                     210 MANTLEBROOK DR                         732 SW 13TH AVENUE
MANHATTAN BEACH CA 90266             DESOTO TX 75115                            FORT LAUDERDALE FL 33312




JANEEN JONES                         JANEEN SCRIPP                              JANEL COOLEY
3901 HANNON CT.                      40 JOHNNYCAKE MOUNTAIN ROAD                1412 MEDFIELD AVENUE
UNIT 3D                              BURLINGTON CT 06013                        BALTIMORE MD 21211
HUNNINGTON MD 21236



JANEL JACOBS                         JANEL SHARPE                               JANEL ZUNIGA
1928 TAYLOR AVENUE                   12711 GEIST COVE DRIVE                     10221 LANETT AVE
WINTER PARK FL 32792                 INDIANAPOLIS IN 46236                      WHITTIER CA 90605




JANELL BOYDE                         JANELLE AMRHEIN                            JANELLE MITCHELL
243-11 WELLER AVENUE                 4169 VIA MARINA                            301 OCEAN AVENUE
ROSEDALE NY 11422                    APT#103                                    APT 22
                                     MARINA DEL REY CA 90292                    SANTA MONICA CA 90402




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JANELLE MORRIS                         JANELLE WALSH                              JANER, FABIO
10805 PHILLIPS DRIVE                   6238 RED CANYON DRIVE                      1641 W OAK RIDGE ROAD APT A
UPPER MARLBORO MD 20772                UNIT C                                     STE 205
                                       HIGHLANDS RANCH CO 80130                   ORLANDO FL 32809



JANERIS PAREDES                        JANESCH, ALAN                              JANESVILLE GAZETTE
1280 NE 211TH STREET                   1234 STEIN LANE                            PO BOX 5001
MIAMI FL 33179                         LEWISBURG PA 17837                         JANESVILLE WI 53547-5001




JANET ALLSOP                           JANET B TARR                               JANET BEAUDETTE
114 CALLIOPE STREET                    180 MOHEGAN TRAIL                          15 HORTON ROAD
OCOEE FL 34761                         SOUTH WINDSOR CT 06074                     MANCHESTER CT 06042




JANET BEERY                            JANET BOTAISH GROUP                        JANET BOYKINS
10067 CROFT LANE                       12711 VENTURA BLVD NO.280                  4828 81ST ST
FRANKFORT IL 60423                     STUDIO CITY CA 91604                       HAMPTON VA 23605




JANET C MCALLISTER                     JANET C WONG                               JANET CAMPBELL
P.O. BOX 1132                          2431 BORDER AVE.                           P.O. BOX 22095
CANNON BEACH OR 97110                  TORRANCE CA 90501                          BALTIMORE MD 21203




JANET CHOI                             JANET CLARK                                JANET CROMLEY
425 N. SIERRA BONITA AVEUNE            4327 HUNTING TRAIL                         16 5TH PLACE
LOS ANGELES CA 90036                   LAKE WORTH FL 33467                        LONG BEACH CA 90802




JANET DENDLER                          JANET DOBBS                                JANET DUCKWORTH
200 EAST FRONT ST APT A                6624 N. LORON AVENUE                       1225 HI POINT STREET
BERWICK PA 18603                       CHICAGO IL 60646                           LOS ANGELES CA 90035




JANET DUNMIRE                          JANET EASTMAN                              JANET GABLE
413 ALBACORE DRIVE                     709 WASHINGTON ST                          722 N. RESERVOIR STREET
YORKTOWN VA 23692                      ASHLAND OR 97520                           LANCASTER PA 17602




JANET GREEN                            JANET HILL                                 JANET HLADKY
3127 SOUTH UNION                       8397 FOUNTAIN AVENUE                       53 MOUNTAIN DRIVE
2ND FLOOR REAR                         APT #203                                   SOUTH WINDSOR CT 06074
CHICAGO IL 60616                       LOS ANGELES CA 90069



JANET HOOK                             JANET JONG                                 JANET KIRCHOFF
4820 PARK AVENUE                       1832 BUSHNELL                              870 FIRE ISLAND AVENUE
BETHESDA MD 20816                      SO PASADENA CA 91030                       WEST ISLIP NY 11795




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JANET LUNDBLAD                        JANET MASLO                                JANET O'CONNOR
2235 WOODLYN ROAD                     631 SECOND AVE                             305 SEVEN SEAS DRIVE
PASADENA CA 91104                     APT. 4                                     HAVELOCK NC 28532
                                      NEW YORK NY 10016



JANET ORAVETZ                         JANET POSE                                 JANET PRUSAK
13005 WEST 2ND PLACE                  35 SOMERSET CIRCLE                         5246 ROSEWOOD DRIVE
M301                                  BRISTOL CT 06010                           CENTER VALLEY PA 18034
LAKEWOOD CO 80228



JANET PUM                             JANET REINWALD                             JANET ROBINSON
520 E FRANKFORD STREET                P.O. BOX 1234                              65 PANTHORN TRAIL
BETHLEHEM PA 18018                    OWINGS MILLS MD 21117                      SOUTHINGTON CT 06489




JANET SCHIFFELBAIN                    JANET SCHREINER                            JANET SHAY
76 UNION AVENUE                       243 FOXMOOR ROAD                           653 LONGMEADOW CIRCLE
CENTER MORICHES NY 11934              FOX RIVER GROVE IL 60021                   LONGWOOD FL 32779




JANET T CLAYTON                       JANET TERRELL                              JANET TIGHE
655 S RIMPAU BLVD                     4008 MAGUIRE BLVD.                         674 ADAMS AVE
LOS ANGELES CA 90005                  APT. 5304                                  LINDENHURST NY 11757
                                      ORLANDO FL 32803



JANET WERNER                          JANET WILSON                               JANET YEAGER
2200 NW 70 LANE                       17311 WILKINSON                            425 BRIGHTON STREET
MARGATE FL 33063                      MODJESKA CA 92676                          APT 305
                                                                                 BETHLEHEM PA 18015



JANET, RANDY                          JANETTE E VITTORINI                        JANETTE LOPEZ
901 S MT PULASKI RD                   2525 N. MCVICKERS                          328 E WALNUT STREET
BUFFALO IL 62515                      CHICAGO IL 60639                           ALLENTOWN PA 18109




JANI KING OF PORTLAND                 JANICE A RODRIGUEZ                         JANICE BUERKLI
8338 NE ALDERWOOD RD NO.130           12035 HOOSIER CT                           6191 MAJORS LANE
PORTLAND OR 97220                     APT. 203                                   COLUMBIA MD 21045
                                      BAYONET POINT FL 34667



JANICE CORSELLO                       JANICE DAWSON                              JANICE DETTLOFF
862 JUDSON PLACE                      19003 HILLFORD AVENUE                      940 BRUNSWICK CIRCLE
STRATFORD CT 06615                    CARSON CA 90746                            SCHAUMBURG IL 60193




JANICE DEVINE                         JANICE FLOM                                JANICE GILSON
2543 N. ST. LOUIS                     2716 NW 79TH AVENUE                        1393 ROSEWOOD STREET
CHICAGO IL 60647                      MARGATE FL 33063                           UPLAND CA 91784




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JANICE GINSBERG                       JANICE GRIVOIS                             JANICE HENDERSON
99 NOSTRAND AVENUE                    760 MIDDLETOWN ROAD                        4113 MARIBAN COURT
STATEN ISLAND NY 10314                COLCHESTER CT 06415                        BALTIMORE MD 21225




JANICE HESS                           JANICE JACOBS                              JANICE JAMES
7542 CIRCLE PARKWAY                   530 N. LAKESHORE DRIVE                     3606 BISCAYNE DRIVE
SACRAMENTO CA 95823-3405              UNIT 1609                                  WINTER SPRINGS FL 32708
                                      CHICAGO IL 60611



JANICE JEWELL                         JANICE JONES                               JANICE LEE
15520 HANOVER PIKE                    411 TUDOR LANE                             9303 RESTOVER LANE
UPPERCO MD 21155                      MIDDLE ISLAND NY 11953                     HOUSTON TX 77064




JANICE LEMERY                         JANICE MARIE SHELLENBERGER                 JANICE MOORE-JOHNSON
46 HIDDEN HILLS DRIVE                 1461 MAIN STREET                           4387 IMPERIAL DRIVE
QUEENSBURY NY 12804-2145              BETHLEHEM PA 18018                         RICHTON PARK IL 60471




JANICE PODSADA                        JANICE ROTHERS                             JANICE SLOANE
141 MOYLAN COURT                      1530 COURTLAND DRIVE                       9 THIRD AVENUE
NEWINGTON CT 06111                    ARLINGTON HEIGHTS IL 60004                 EAST NORTHPORT NY 11731




JANIE MYRTLE OLLIFF                   JANINE NEAL                                JANINE SCHAULTS
750 ESSEX PLACE                       85 ARROWWOOD PLACE                         5548 FOXWOODS DRIVE
ORLANDO FL 32803-6616                 BALLSTON SPA NY 12020                      OAK LAWN IL 60453




JANIS HAYES                           JANIS HOFFMAN                              JANIS ROGERS
22 LENORA DR                          1426 NW 80TH WAY                           146 S LAUREL DR
NEWPORT NEWS VA 23601                 PLANTATION FL 33322                        MARGATE FL 33063




JANIS TRINCHERE                       JANIS WALENKIEWICZ                         JANISE ALLEN
4503 W. WRIGHTWOOD                    17754 65TH AVE                             914 N. HOMAN
2ND FLOOR                             TINLEY PARK IL 60477                       CHICAGO IL 60651
CHICAGO IL 60639



JANISE, CHERNELLA                     JANKLOW & NESBIT ASSOC                     JANNA GEYSEN
9555 REDWOOD DR                       445 PARK AVE                               35 FISHER HILL ROAD
BATON ROUGE LA 70814                  NEW YORK NY 10022                          EAST GLASTONBURY CT 06025




JANNA SMITH                           JANNA WHISTLER                             JANNETA ABUNDA
340 N. ISABEL STREET                  39 PALOMA AVE                              1064 MCCLEAN
APT# G                                APT#2                                      APT 2
GLENDALE CA 91206                     VENICE CA 90291                            YONKERS NY 11704




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JANNETTE DOTSON                         JANNICE CALLAHAN                           JANOTA, MARYANN
8045 S. ELLIS                           12487 DOGLEG DRIVE                         843 EDGEWOOD RD
CHICAGO IL 60619                        BOYNTON BEACH FL 33437-4121                KENSINGTON CT 06037




JANOVSKY, JULIE                         JANOVSKY, JULIE                            JANSEN JR, RAYMOND A.
PO BOX 9267                             89 RIM LANE                                24 DOCKSIDE LANE
SCOTTSDALE AZ 85252-9267                HICKSVILLE NY 11801                        BOX 422
                                                                                   KEY LARGO FL 33037



JANSKY, STEVE                           JANSON DESIGN GROUP LLC                    JANSON DESIGN GROUP LLC
335 N WALNUT STREET                     PO BOX 3153                                257 PARK AVE SOUTH STE 303
DALLASTOWN PA 17313                     BATON ROUGE LA 70821                       NEW YORK NY 10010




JANSSEN, JAMIE M                        JANUS ADAMS LLC                            JANUSZEWSKI, DENNIS
17701 AVALON BLVD NO.78                 PO BOX 603                                 18 DUFF DR
CARSON CA 90746                         WILTON CT 06897                            ENFIELD CT 06082




JANVIER, PATRICK                        JAOUDI, JULIANA                            JAPENGA, ANN
6057 STRAWBERRY FIELDS WAY              814 WOODLAWN AVENUE                        521 N AVENIDA CABALLEROS
LAKE WORTH FL 33463                     VENICE CA 90291                            PALM SPRINGS CA 92262




JAPHETH MONTAQUE                        JAPNGIE, CHARLES                           JAQUAR COMMUNICATIONS INC
1700 NW 58TH TERRACE                    3029 LEMA DR                               1007 SE 12TH AVENUE
APT 3P                                  SPRING HILL FL 34609                       DEERFIELD BEACH FL 33441
SUNRISE FL 33313



JAQUISH, JULIE P                        JAQUISH, PAUL                              JARA, HENRY
756 BRAYMAN HOLLOW RD                   32 FOLEY ST 3RD FLOOR                      187 WEST AVENUE
POMFRET CENTER CT 06259                 ELMWOOD CT 06110                           STAMFORD CT 06902




JARA-RIVERA, MARTHA L.                  JARA-RIVERA, MARTHA L.                     JARAMILLO, ALAIN
16411 BLATT BLVD APT 105                16650 WATERS EDGE DR.                      10600 CANDLEWICK RD
WESTON FL 33326                         WESTON FL 33326-1508                       STEVENSON MD 21153




JARAMILLO, KATERINE LEON                JARAMILLO, LEONARDO                        JARAMILLO, ROBERTO P
384 SW 32 AVENUE                        3755 TEAK DRIVE                            1010 MONTEREY AVE
DEERFIELD BEACH FL 33442                NORTHAMPTON PA 18067                       BARSTOW CA 92311




JARAMILLO,CARLOS                        JARBOE, KATHLEEN                           JARCELYN WHITE
108-28 38TH AVE                         11420 IAGER BLVD                           105 W. CELESTE ST.
CORONA NY 11368                         FULTON MD 20759                            APOPKA FL 32703




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JARCZYNSKI, MICHAEL F                  JARDANA SCHLEIMER                          JARECKI, MICHAEL
1835 W CEDAR ST                        410 NW 87TH LANE                           2343 W HADDON APT 1
ALLENTOWN PA 18104                     APT 203                                    CHICAGO IL 60622
                                       PLANTATION FL 33324



JARED CHAMBERLAIN                      JARED HALVORSON                            JARED SURETHING
8201 16TH STREET                       19595 EAST SARATOGA AVENUE                 65 HULETT ROAD
APT. 1202                              CENTENNIAL CO 80015                        GRANVILLE NY 12832
SILVER SPRINGS MD 20910



JAREEN SANDERS                         JARELL FOTHERGILL                          JAROD SABATINO
203 GRAHAM ROAD                        8 MIDLAND LANE                             468 W. MELROSE
SOUTH WINDSOR CT 06074                 WHEATLEY HEIGHTS NY 11798                  459
                                                                                  CHICAGO IL 60657



JAROSLAW NOWIK                         JARRAH, DANNY                              JARRAH, LILLIAN
8974 WESTERN AVE                       741 N JORDAN ST                            3553 APOLLO CT
#301                                   ALLENTOWN PA 18102                         OREFIELD PA 18069
DES PLAINES IL 60016



JARRAH, MARY                           JARRAH, MOUNIRA                            JARRAH, RIAD
741 N JORDAN ST                        1147 N 21ST ST                             3553 APOLLO CT
ALLENTOWN PA 18102                     ALLENTOWN PA 18104                         OREFIELD PA 18069




JARRAH, SAMER                          JARREAU, CONSUELLA                         JARRED HALL
741 N JORDAN ST                        PO BOX 84581                               3701 WASHINGTON AVE.
ALLENTOWN PA 18102                     BATON ROUGE LA 70884                       BALTIMORE MD 21244




JARRETT BURTON                         JARRETT FIRE CONTROL SYSTEMS               JARRETT JENKINS
2011 FARRAGUT AVE.                     14795 VELVET ST                            104 WASHBURN AVENUE
APT. 1                                 CHINO HILLS CA 91709                       FREEPORT NY 11520
CHICAGO IL 60625



JARRETT RENSHAW                        JARROD EDWARDS                             JARROW, DOUGLAS RICHARD
112 WEST 4TH AVENUE                    44 HOLDEN AVENUE                           763 46TH SQUARE
CONSHOHOCKEN PA 19428                  QUEENSBURY NY 12804                        VERO BEACH FL 32968




JARVIE, JENNIFER                       JARVIE, RICHARD M                          JARVIS, COURTNEY M
319 LELAND TERRACE NE                  938 WASHINGTON BLVD NO.2W                  PO BOX 1106
ATLANTA GA 30317                       OAK PARK IL 60302                          WHITE MARSH VA 23183




JARVIS,SHARON,C                        JASCULCA TERMAN AND ASSOCIATES INC         JASCULCA, RICHARD J
2823 NORTH COURSE DR.NO.206            730 N FRANKLIN ST                          238 FRANKLIN
POMPANO BEACH FL 33069                 STE 510                                    RIVER FOREST IL 60305
                                       CHICAGO IL 60610-7204




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JASKOL, ELLEN                         JASMIN CONNER                              JASMIN RODRIGUEZ
PHOTOGRAPHY                           5747 WOODBINE AVE                          1045 COUNTRY CLUB DRIVE
151 SOUTH ROSEMARY STREET             PHILADELPHIA PA 19131                      #102
DENVER CO 80230                                                                  MARGATE FL 33063



JASMIN, KESNY                         JASMINE RICHARDSON                         JASNER, ANDREW L
5265 CEDAR LAKE RD APT. 617           674 CENTERWOOD STREET                      224 WOODWARD RD
BOYNTON BEACH FL 33437                NORTH BABYLON NY 11704                     MEDIA PA 19063




JASON AIKEN                           JASON ALLISON                              JASON ARNOLD
19300 NW 7TH COURT                    8099 SEVERN DRIVE                          5750 SW 54 COURT
MIAMI FL 33169                        APT B                                      DAVIE FL 33314
                                      BOCA RATON FL 33433



JASON BALL                            JASON BATTS                                JASON BENZE
1148 N. CORONADO ST.                  2255 SYLVAN AVE                            4 SUNRAY COURT
LOS ANGELES CA 90026                  GRAND RAPIDS MI 49506                      BELLPORT NY 11713




JASON BERNZWEIG                       JASON BLYMIRE                              JASON BONTA
12 FERN DRIVE                         356 WEST MAPLE STREET                      2935 N. CLARK
COMMACK NY 11725                      DALLASTOWN PA 17313                        APT. 2S
                                                                                 CHICAGO IL 60657



JASON BOYER                           JASON BOYLE                                JASON BRUNNWASSER
1775 IVY STREET                       900 GAINSBOROUGH COURT                     675 CONKLIN STREET
DENVER CO 80220                       BEL AIR MD 21014                           14A
                                                                                 FARMINGDALE NY 11735



JASON BRYANT                          JASON BUSH                                 JASON CARMICHAEL
659 OUTLOOK AVENUE                    505 MILL POND DRIVE                        6367 RUTHIE DR.
NORTH BABYLON NY 11704                SOUTH WINDSOR CT 06074                     ORLANDO FL 32818




JASON CHEN                            JASON CHEN                                 JASON COLON
230 CLINTON STREET                    515 FLORENCE AVENUE                        152 GINKGO ST.
14B                                   MONTEREY PARK CA 91755-1419                BOLINGBROOK IL 60490
NEW YORK NY 10002



JASON COWDELL                         JASON DEATH                                JASON DEMOSS
101 PINE ROAD                         103 STEPHANIE COURT                        4428 MARELLA WAY
MOUNT HOLLY SPRINGS PA 17065          RISING SUN MD 21911                        BAKERSFIELD CA 93309




JASON DEWBERRY                        JASON ESPINAL                              JASON FELCH
2782 MONTICELLO PLACE                 312 28TH STREET                            1153 N. HUDSON AVENUE
305                                   LINDENHURST NY 11757                       PASADENA CA 91104
ORLANDO FL 32835-2947




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JASON FELIX                            JASON FINK                                 JASON FLEISSNER
520 N. NOBLE ST                        265 WEST 81ST STREET                       1614 HAMPTON DRIVE
APT # 1N                               APT 8D                                     SANDY SPRINGS GA 30350
CHICAGO IL 60622                       NEW YORK NY 10024



JASON FRIEDMAN                         JASON FRITZ                                JASON GALLOWAY
2010 3RD STREET                        3148 REMINGTON AVE                         146 S. FREMONT STREET
APT#110                                BALTIMORE MD 21221                         PALATINE IL 60067
SANTA MONICA CA 90405



JASON GARCIA                           JASON GARCIA                               JASON GELT
910 BELGIAN AVENUE                     109 EAST KING STREET                       4452 ELLENWOOD DR.
APT 3B                                 ORLANDO FL 32804                           APT. #1
BALTIMORE MD 21218                                                                LOS ANGELES CA 90041



JASON GEORGE                           JASON GIFFORD                              JASON GOLDSTEIN
2630 N. MOZART ST                      12 PINION PINE LANE                        5760 SOUTH KENTON WAY
#3                                     QUEENSBURY NY 12804                        ENGLEWOOD CO 80111
CHICAGO IL 60647



JASON GOODRICH                         JASON GOODWIN                              JASON GREENE
4200 N MARINE DR                       155 PROSPECT AVENUE                        36614 GRAND ISLAND OAKS CIRCLE
APT #202                               1B                                         GRAND ISLAND FL 32735
CHICAGO IL 60613                       BROOKLYN NY 11215



JASON GROTTO                           JASON GUSKE                                JASON HAHN
2025 W. SUPERIOR STREET                38 LILAC CT.                               851 MEADOW COURT
APT. #1F                               SCHERERVILLE IN 46375                      MOORESVILLE IN 46158
CHICAGO IL 60612



JASON HARK                             JASON HENDRICK                             JASON HOLLOWAY
119 CLAYWOOD DRIVE                     2461 UNION STREET #1                       2888 NW 99TH TERRACE
BRENTWOOD NY 11717                     SAN DIEGO CA 92101                         SUNRISE FL 33322




JASON HONE                             JASON HOOVER                               JASON HUTTON
115 PLEASANT STREET                    7842 MAPLE BROOK LANE                      7621 KRUPP RD.
1ST FLOOR                              HOUSTON TX 77095                           BELDING MI 48809
WINDSOR CT 06095



JASON INNES                            JASON IVERS                                JASON JEDLINSKI
4707 241ST AVENUE SE                   2202 W. 229TH STREET                       5232 W. SEMINOLE ST.
ISSAQUAH WA 98029                      #B                                         CHICAGO IL 60646
                                       TORRANCE CA 90501



JASON JESSUP                           JASON JOHNSON                              JASON JOHNSTON
39 BYRD STREET                         813 WOODLAND COURT                         433 SUN LAKE CIRCLE
HEMPSTEAD NY 11550                     CORAM NY 11727                             APT. 309
                                                                                  LAKE MARY FL 32746




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JASON JORDAN                           JASON KELLY                                JASON KERR
234 HARPER FARM LANE                   44C DOWNEY DRIVE                           1417 W. ALBION
ROCKY MOUNT NC 27801                   MANCHESTER CT 06040                        2ND FL
                                                                                  CHICAGO IL 60626



JASON KLARMAN                          JASON LAMB                                 JASON LANGFORD
1082 LILLYGATE LANE                    3910 BUTTONWOOD DRIVE                      575605 ARBOR CLUB WAY
BEL AIR MD 21014                       APT. #301                                  BOCA RATON FL 33433
                                       COLUMBIA MO 65201



JASON LEE                              JASON LEVY                                 JASON LEW
1041 W. GRAND AVENUE                   1426 MARSHALL STREET                       3636 MONON STREET
#3                                     BALTIMORE MD 21230                         APT#6
CHICAGO IL 60622                                                                  LOS ANGELES CA 90027



JASON LIECHTI                          JASON LOWELL                               JASON MCDONNELL
1303 COLUMBINE STREET                  3002 E LAKE VISTA CIRCLE                   6018 HOSTA CT.
APT. 305                               FORT LAUDERDALE FL 33328                   ELKRIDGE MD 21075
DENVER CO 80206



JASON MEISNER                          JASON MOEHR                                JASON MORRIS
3337 W. BYRON STREET                   11446 JASPER KAY TERRACE                   2323 W. MONTROSE AVE
APT #2                                 UNIT 1012                                  APT. 1E
CHICAGO IL 60618                       WINDERMERE FL 34786-5502                   CHICAGO IL 60618



JASON MOSLEY                           JASON MOTT                                 JASON NAHORNEY
2307 MARSHALL AVENUE                   25 N. FINDLAY STREET                       2305 PINE AVENUE
NEWPORT NEWS VA 23607                  YORK PA 17402                              RONKONKOMA NY 11779




JASON NEKNEZ                           JASON NEUBERT                              JASON NICHOLS
21 STOOTHOFF ROAD                      120 KAUAI LANE                             13677 MACCLAIN
EAST NORTHPORT NY 11731                PLACENTIA CA 92870                         GOWEN MI 49326




JASON NORDENDALE                       JASON OBERFEST                             JASON OFFICE PRODUCTS INC
1048 N. SHINE AVE.                     620 N BEACHWOOD DRIVE                      140 W 31ST STREET
ORLANDO FL 32803                       LOS ANGELES CA 90004                       NEW YORK NY 10001




JASON PARSLEY                          JASON PENNETTA                             JASON POWELL
6808 WILLOW CREEK RUN                  920 U STREET                               P.O. BOX 170112
LAKE WORTH FL 33463                    SACRAMENTO CA 95818                        MILWAUKEE WI 53217




JASON PUFAHL                           JASON RANKIN                               JASON ROBERTS
7044 WHITE OAK AVENUE                  12660 STAFFORD RD                          7200 FRANKLIN AVE
HAMMOND IN 46324                       APPT 1136                                  APT#307
                                       STAFFORD TX 77477                          LOS ANGELES CA 90046




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JASON RONIMOUS                        JASON SCHINDLER                            JASON SEYMOUR
2409 VILLAGE GLEN CT.                 3011 STONEWOOD NW                          7621 S. CLYDE
MARYLAND HEIGHTS MO 63043             GRAND RAPIDS MI 49504                      CHICAGO IL 60649




JASON SODENKAMP                       JASON SONG                                 JASON STROMBERG
544 NORTH KENMORE AVENUE              807 FOREST AVE                             7585 LACORNICHE CIRCLE
APT #10                               SOUTH PASADENA CA 91030                    BOCA RATON FL 33433
LOS ANGELES CA 90004



JASON SWARTZ                          JASON TEBALDI                              JASON THOMPSON
445 OGDEN AVENUE                      200 WAVERLY AVENUE                         P.O. BOX 176
APT. 1B                               APT. 1 NORTH                               NEW YORK NY 10009
JERSEY CITY NJ 07307                  PATCHOGUE NY 11772



JASON WACHTER                         JASON WALAKOVITS                           JASON WELLS
503 N. LAROSA STREET                  1410 SOUTH 2ND STREET                      712 VENDOME ST
BEL AIR MD 21014                      ALLENTOWN PA 18103                         APT 1
                                                                                 LOS ANGELES CA 90026



JASON WHYMARK                         JASON WILBERDING                           JASON WILD
17 WEST 10TH STREET                   1457 12TH ST                               2801 35TH AVENUE
NORTHAMPTON PA 18067                  APT B                                      ROCK ISLAND IL 61201
                                      MANHATTAN BEACH CA 90266



JASON WILLIAMS                        JASON WILLIAMS                             JASON WILLIAMS
25 WEST CLINTON AVENUE                722 LESNER AVENUE                          710 CORNELL DRIVE
ROOSEVELT NY 11575                    UNIT #208                                  OSWEGO IL 60543
                                      NORFOLK VA 23518



JASON WILSON                          JASON YEATON                               JASON YOUNG
5450 HAASADAHL ROAD                   9370 NW 43RD ST                            2106 WEST VERDUGO AVE
OREFIELD PA 18069                     SUNRISE FL 33351                           BURBANK CA 91506




JASON YOUNGBLOOD                      JASON71 DESIGN STUDIO                      JASONS DELI
17111 HAFER ROAD                      411 SOUTH MAIN NO.218                      PO BOX 54436
APT. #1114                            LOS ANGELES CA 90013                       NEW ORLEANS LA 70154-4436
HOUSTON TX 77090



JASONS DELI                           JASPER COUNTY TREASURER                    JASPER COUNTY TREASURER
PO BOX 4869                           COURT HOUSE                                COURTHOUSE SUITE 201
DEPT NO.271                           BOX 7                                      115 WEST WASHINGTON STREET
HOUSTON TX 77210-4869                 RENSSELAER IN 47978                        RENSSELAER IN 47978



JASPER COUNTY TREASURER               JASTRZEBSKI, STANISLAUS                    JATIVA, CARMEN
PO BOX 7255                           825 S LOMBARD AVE APT 2                    1940 PIPER TERRACE
INDIANAPOLIS IN 46207-7255            OAK PARK IL 60304                          DELTONA FL 32738




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JAUHER, SANDEEP                         JAVIER ALAMINA                             JAVIER ALDAPE
545 W 110TH ST NO.3D                    3104 DON PANCHO WAY                        207 E OHIO ST
NEW YORK NY 10025                       SAN YSIDRO CA 92173                        BOX 401
                                                                                   CHICAGO IL 60611



JAVIER CALLE                            JAVIER CARDENAS                            JAVIER CHAVEZ
631 CHAPPARAL DRIVE                     483 N PINE ISLAND RD                       10447 CHANEY AVENUE
DIAMOND BAR CA 91765                    APT 206-C                                  DOWNEY CA 90241
                                        PLANTATION FL 33324



JAVIER ESPITIA                          JAVIER FRAIRE                              JAVIER LOPEZ
20300 SOUTH KEDZIE AVE.                 1135 WILCOX AVENUE                         1972 LAKE ATRIUMS
OLYMPIA FIELDS IL 60461                 MONTEREY PARK CA 91755                     APT. 182
                                                                                   ORLANDO FL 32839



JAVIER LOPEZ                            JAVIER ORTIZ                               JAVIER ORTIZ
3305 92ND STREET                        2037 KENTLAND DRIVE                        41 WEST FIRST STREET
APT# 4C                                 ROMEOVILLE IL 60446                        FREEPORT NY 11520
JACKSON HEIGHTS NY 11372



JAVIER PACHECO-SANCHEZ                  JAVIER PAZ                                 JAVIER ROJAS
680 SE 13TH STREET                      4249 LAUREL CANYON BLVD                    159 CLINTON STREET
APT 103                                 STUDIO CITY CA 91604                       SARATOGA SPRINGS NY 12866
DANIA BEACH FL 33004



JAVIER ROSILLO                          JAVIER RUIZ                                JAVIER VARGAS
901 NE 14TH AVENUE                      9260 SW 21 STREET                          1642 N. WHIPPLE
APT 104                                 MIAMI FL 33165                             CHICAGO IL 60647
HALLANDALE FL 33009



JAVITS, JOSHUA M                        JAWORSKI GEOTECH INC                       JAXTHEIMER, EVAN R
2023 R STREET NW                        77 SUNDIAL AVE STE 401W                    1439 GRAND DR
WASHINGTON DC 20009                     MANCHESTER NH 03103                        FT LAUDERDALE FL 33312




JAY ABRAMOWITZ                          JAY ALLEN APPERSON                         JAY BERMAN
1302 MARINE ST                          1208 RAYVILLE ROAD                         1720 NE 11TH ST.
SANTA MONICA CA 90405                   PARKTON MD 21120                           UNIT 11
                                                                                   FT. LAUDERDALE FL 33304



JAY BLAHNIK INC                         JAY CHRISTENSEN                            JAY CLENDENIN
1100 S COAST HWY    STE 312             6255 CANOGA AVENUE #31                     202 W. FIRST STREET
LAGUNA BEACH CA 92651                   WOODLAND HILLS CA 91367                    LOS ANGELES CA 90012




JAY CONGDON                             JAY CUNNINGHAM                             JAY DAVID BOBBIN
407 COLFAX AVE.                         3220 SW 67TH WAY                           NEEDLE PARK CIRCLE
CLARENDON HILLS IL 60514                MIRAMAR FL 33023                           BLD 90 APT 2
                                                                                   QUEENSBURY NY 12804




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JAY FRANKETT                           JAY GOZUN                                   JAY GROFT
19 NORTH RICHMOND STREET               1181 N. ARMEL DRIVE                         17 HIGHLAND ROAD
FLEETWOOD PA 19522                     COVINA CA 91722                             SEVEN VALLEYS PA 17360




JAY HAMBURG                            JAY HARRISON                                JAY JUDGE
3633 PARKLAND DRIVE                    3074 MORROW ROAD                            208 ROLLINGDALE ROAD
ORLANDO FL 32814                       OCEANSIDE NY 11572                          CATONSVILLE MD 21228




JAY MARKS                              JAY MCCROSKEY                               JAY PAUL PHOTOGRAPHY
3227 NORTH THIRD STREET                3633 N WILTON AVE #3                        800 W 29TH ST
WHITEHALL PA 18052                     CHICAGO IL 60613                            RICHMOND VA 23225




JAY R. SERKIN                          JAY RADZAVICZ                               JAY SCOTT
C/O FREDERIC J. GREENBLATT             5042 WATER WHEEL COURT                      15 BRIDGEWOOD
22151 VENTURA BOULEVARD, SUITE 200     OCOEE FL 34761                              IRVINE CA 92604
WOODLAND HILLS CA 91364



JAY SERKIN                             JAY SERKIN                                  JAY SPIEGEL
C/O FREDERIC J. GREENBLATT &           C/O FREDERIC J. GREENBLATT AND LISA L.      39 NEWTON ROAD
LISA L. LOVERIDGE, ATRNYS AT LAW       LOVERIDGE, ATTORNEYS AT LAW                 WOODBRIDGE CT 06525
22151 VENTURA BOULEVARD, SUITE 200     22151 VENTURA BOULEVARD, SUITE 200
WOODLAND HILLS CA 91364-1600           WOODLAND HILLS CA 91364-1600


JAY THOMPSON                           JAY TREMAINE                                JAY ZACHARIAS
3201 GUILFORD AVENUE, APT. 3           777 N. MICHIGAN AVE                         3832 168TH PLACE SE
BALTIMORE MD 21218                     APT. #2204                                  BOTHELL WA 98012
                                       CHICAGO IL 60611



JAY, LEE                               JAYAPRADA GANTA                             JAYME VEITH-PEREZ
600 W COLONIAL DR     APT 18           5 SAXTON BROOK DRIVE                        6630 EATON ST
ORLANDO FL 32804                       SIMSBURY CT 06070                           HOLLYWOOD FL 33024




JAYME WOLFSON                          JAYME, V MICHAEL                            JAYNE CLEMENT
11 CROFT PLACE                         2204 SILVERBAY ST                           C/O CARNEY R. SHEGERIAN, ESQ.
HUNTINGTON NY 11743                    EL MONTE CA 91732                           SHEGERIAN & ASSOCIATES INC.
                                                                                   225 ARIZONA AVENUE,SUITE 400
                                                                                   SANTA MONICA CA 90401


JAYNE CLEMENT                          JAYNES, THOMAS H                            JAYSON BROWN
SHEGERIAN & ASSOCIATES INC             4685 TEMPLETON PARK CIRCLE NO.250           12 CATLIN AVENUE
CARNEY R SHEGERIAN ESQ                 COLORADO SPRINGS CO 80917                   ROOSEVELT NY 11575
225 ARIZONA AVE SUITE 400
SANTA MONICA CA 90401


JAYSON WHITE                           JAZMIN AGUIRRE                              JAZZMEN TYNES
65 DWIGHT STREET                       2346 BLACKPINE ROAD                         2928 CLIFTON AVE.
APT. B14                               CHINO HILLS CA 91709                        BALTIMORE MD 21216
NEW HAVEN CT 06510




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JB ASSETS INC                           JB ASSETS INC                              JB CREATIVE SERVICES
26910 THE OLD ROAD NO.55                27023 MCBEAN PKWY NO.156                   4424 MONTGOMERY AVE STE 304
VALENCIA CA 91381                       VALENCIA CA 91355                          BETHESDA MD 20814




JB DIRECT INC                           JB ENTERPRISE                              JB ILLUSTRATION
143 SHASTA LN                           PO BOX 1157                                177 CLAREMONT AVE
TOMS RIVER NJ 08753                     ATHENS TX 75751                            MONTCLAIR NJ 07042




JBL WRITERS INC                         JBT MEDIA MANAGEMENT                       JC CURLEY & COMPANY INC
1635 ORCHID BEND                        6991 E CAMELBACK ROAD STE B295             1262 LAKE WILLISARA CIR
WESTON FL 33327                         SCOTTSDALE AZ 85251                        ORLANDO FL 32806




JC DELIVERY INC                         JC DELIVERY INC                            JC FRANCO INC
12 WALNUT PLACE                         PO BOX 067                                 11131 LEADWELL ST
OYSTER BAY NY 11771                     OLD BETHPAGE NY 11804                      SUN VALLEY CA 91352




JC SKYNET LOGISTICS LLC                 JCDECAUX MALLSCAPE LLC                     JCJ MULTISERVICES
46 RED SPRING LANE                      PO BOX 26898                               648 FALLING OAK CV STE 2709
GLEN COVE NY 11542                      NEW YORK NY 10087-6898                     APOPKA FL 32703




JD CUSTOM PRINTING CO                   JD KOZIARSKI                               JD KOZIARSKI
PO BOX 269                              3346 N MANOR DR                            3348 N MANOR DR
BROOKFIELD IL 60513                     LANSING IL 60438                           LANSING IL 60438




JD LAWN SERVICES INC                    JDH PROPERTIES LLC                         JDH PROPERTIES, LLC
539 CRAIGS CORNER RD.                   2845 ENTRPRISE RD APT 107-A                RE: DEBARY 842 DIPLOMAT ROAD
HAVRE DE GRACE MD 21078                 DEBARY FL 32713                            2845 ENTERPRISE RD.
                                                                                   SUITE 107A
                                                                                   DEBARY FL 32713


JEAN ANAXE                              JEAN ARTY                                  JEAN AUSTIN
620 NW 42 CT                            1637 MORGAN STREET                         37 ELMWOOD STREET
POMPANO BEACH FL 33064                  VALLEY STREAM NY 11580                     OLD SAYBROOK CT 06475




JEAN BERNARD JEAN GILLES                JEAN BLAIN                                 JEAN BYNUM
2801 NW 109 AVE                         105 GLEELAND STREET                        25 FRANKLIN ROAD
SUNRISE FL 33322                        DEER PARK NY 11729                         NEWPORT NEWS VA 23601




JEAN C STONE                            JEAN CARNEY                                JEAN CHAPPELL
PO BOX 4817-0817                        1195 SW 26 AVE                             1204 BARTLETT DRIVE
HILO HI 96720-0817                      DEERFIELD BEACH FL 33442                   VALPARAISO IN 46383




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JEAN CLAUDE PIERRE                      JEAN DIPIETRO                              JEAN DOCTEUR, EDNA
920 NW 35TH AVENUE                      66 PENN STREET                             2611 NW 56TH AVE APT 312
FORT LAUDERDALE FL 33311                PORT JEFFERSON STATION NY 11776            LAUDERHILL FL 33313




JEAN DORMEUS                            JEAN DUPONT                                JEAN E CURRAN
190-38 118TH STREET                     88 DEER VALLEY DR                          800 WILLIS AVE.
ST. ALBANS NY 11412                     NESCONSET NY 11767                         UNIT 116
                                                                                   ALBERTSON NY 11507



JEAN E HAASE                            JEAN FAMEUX                                JEAN FRANCOIS
22919 ENADIA WAY                        551 NW 51ST AVE                            233 CHICAGO WOODS CIRCLE
WEST HILLS CA 91307                     DELRAY BEACH FL 33445                      ORLANDO FL 32824




JEAN GAILIE                             JEAN GARDNER & ASSOCIATES INC              JEAN GARRY ETIENNE
2490 GRAND AVENUE                       444 N LARCHMONT BLVD STE 207               310 NE 30TH COURT
DELAND FL 32720                         LOS ANGELES CA 90004                       POMPANO BEACH FL 33064




JEAN GENEUS                             JEAN GEORGE, BAPTISTE                      JEAN GERMAIN
112 EAST 2ND STREET                     8021 SOUTHGATE BLVD NO.G3                  411 NE 30TH STREET
HUNTINGTON STATION NY 11746             NORTH LAUDERDALE FL 33068                  APT A
                                                                                   POMPANO BEACH FL 33064



JEAN GILLIES                            JEAN GIOVANNELLI                           JEAN GOODWIN
2601 PENNSYLVANIA AVE.                  17689 CROOKED OAK AV                       P.O. BOX 4313
APT. 609                                BOCA RATON FL 33487                        HAMPTON VA 23664
PHILADELPHIA PA 19130



JEAN GUPTILL                            JEAN H CONE                                JEAN HARE
12400 NW 62ND COURT                     6731 N HERMITAGE                           6104 SPRING MEADOW LANE
CORAL SPRINGS FL 33076                  CHICAGO IL 60626                           FREDERICK MD 21701




JEAN HARVEY                             JEAN HASKINS                               JEAN HUDSON
34 W STARR AVE                          1238 UNION STREET                          1256 WEST 7TH STREET
COLUMBUS OH 43201                       ALLENTOWN PA 18102                         MAYFAIR-APT. 622
                                                                                   LOS ANGELES CA 90017



JEAN JENNINGS                           JEAN JR,GARRY                              JEAN JULIEN, PATRICIA LAWRENT
404 BREEZEWAY DRIVE                     1301 SW 117 WAY                            11 CROSSING CIR APT F
APOPKA FL 32712                         FORT LAUDERDALE FL 33325                   BOYNTON BEACH FL 33435




JEAN KESTER                             JEAN LAINE                                 JEAN LALOR
32110 STONE MEADOW COURT                3 MATTHEW STREET                           74 OLD BARN ROAD
SORRENTO FL 32776                       FARMINGDALE NY 11735                       STAMFORD CT 06905




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JEAN MARBELLA                            JEAN MARIE LOPER                           JEAN MICHEL
814 WILLIAM STREET                       8 SKIP LANE                                15 MILANO AVENUE
BALTIMORE MD 21230                       BURLINGTON CT 06013                        WHEATLEY HEIGHTS NY 11798




JEAN NECHVATAL                           JEAN OTALOR                                JEAN PASTOR
9136 BOARDWALK TERRACE                   1180 RAYMOND BOULEVARD                     81 STAPLE STREET
ORLAND HILLS IL 60487                    #7B                                        GLENS FALLS NY 12801
                                         NEWARK NJ 07102



JEAN PAUL                                JEAN PHILIPPE, MARIE                       JEAN PHILLIPS-THOMAS
20 NW 193RD STREET                       3104 NW 3 AVE NO. 4                        5862 EAGLE CAY CIRCLE
MIAMI FL 33169                           POMPANO BEACH FL 33064                     COCONUT CREEK FL 33073




JEAN PIEKARA                             JEAN PIERRE, WESLY                         JEAN POINTDUJOUR
2614 N CLYBOURN                          1637 NW 80TH AVE                           91-34 195TH ST.
UNIT #304                                MARGATE FL 33063                           2C
CHICAGO IL 60614                                                                    JAMAICA NY 11423



JEAN PROSPERE                            JEAN REMSEN                                JEAN SAINTIZAIRE
128-26 INWOOD STREET                     904 S VOYAGER                              4110 LAKESIDE DRIVE
SOUTH OZONE PARK NY 11436                BARTLETT IL 60103                          TAMARAC FL 33319




JEAN SYLVAINCE                           JEAN TOUSSAINT                             JEAN TOUSSAINT
4301 NE 2ND AVENUE                       891 MONTGOMERY STREET                      118 NORTHFIELD RD
POMPANO BEACH FL 33064                   BROOKLYN NY 11213                          HAUPPAUGE NY 11788




JEAN VIECHWEG                            JEAN W ELLING                              JEAN YLTEUS
13304 PREAKNESS DRIVE                    119 MYA CIRCLE                             1220 NW 5 AVE
NEWPORT NEWS VA 23602                    CENTRAL ISLIP NY 11722-4542                APT 1
                                                                                    FORT LAUDERDALE FL 33311



JEAN, FARRAH                             JEAN, HERMAND                              JEAN, JULIO
409 S.W. 2ND PLACE NO.202                620 NW 13TH ST  APT NO.13                  7385 MICHIGAN ISLE RD
POMPANO BEACH FL 33060                   BOCA RATON FL 33486                        LAKE WORTH FL 33467




JEAN, LORRI                              JEAN, MCARTHUR                             JEAN, NERLA
1316 N CHEROKEE AVENUE                   12040 NW 15TH AVENUE                       332 SW 10TH ST
LOS ANGELES CA 90028                     MIAMI FL 33167                             DELRAY BCH FL 33444




JEAN, POLYVENTIOV                        JEAN,TOUSSAINT                             JEAN-BAPTISTE, ALOVY
301 SW 13TH AVE                          2121 SW 13TH STREET                        843 CAROLINE CIR
BOYNTON BEACH FL 33435                   DELRAY BEACH FL 33445                      WEST PALM BEACH FL 33413




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JEAN-BAPTISTE, KEYE                    JEAN-BAPTISTE, WISSON                      JEAN-BAPTISTE, YVENS
1490 NE 118 TER                        7350 SUNNY HILLS TERRACE                   2301 NE 170TH STREET NO.8
NORTH MIAMI FL 33162                   LANTANA FL 33462                           NORTH MIAMI BEACH FL 33160




JEAN-CHARLES, FRITZ MYRTHO             JEAN-CHARLES, GERALD                       JEAN-CLAUDE, ANGENER
10640 LAGO WELLEBY DRIVE               3201 ORANGE STREET                         4431 SOUTH TEXAS AVE APT 205
SUNRISE FL 33351                       BOYNTON BEACH FL 33435                     STE 2005
                                                                                  ORLANDO FL 32839



JEAN-CLAUDE, ANGENER                   JEAN-FELIX, REGINE M                       JEAN-FELIX, RICHARD C
4431 SOUTH TEXAS AVE APT 205           15811 NW 10TH ST                           1480 NW 110TH AVE APT 379
ORLANDO FL 32839                       PEMBROKE PINES FL 33028                    PLANTATION FL 33322




JEAN-FRANCOIS,HARRY                    JEAN-GILLES, ERNSO                         JEAN-GILLES, LAURIE
7751 HAMPTON BLVD                      6322 PINESTEAD DRIVE #626                  1598 NW 4TH AVE AP # 207
N LAUDERDALE FL 33068                  LAKE WORTH FL 33463                        BOCA RATON FL 33432




JEAN-JACQUES,MARIE A                   JEAN-JACQUES,MARIE A                       JEAN-MARIE MCCARTHY
333 IVES DAIRY RD NO. 7                333 IVES DAIRY RD NO. 7                    2726 SW 15TH STREET
MIAMI FL 33179                         NORTH MIAMI FL 33179                       DEERFIELD BEACH FL 33442




JEAN-PAUL RENAUD                       JEAN-PIERRE, GUILLAULE                     JEAN-PIERRE, THIERY
1950 NORTH ANDREWS AVE.                5770 LAKESIDE DR APT 808                   1040 NW 5TH ST
APT. 214D                              MARGATE FL 33063                           BOCA RATON FL 33486
WILTON MANORS FL 33311



JEANETTA DAVIS                         JEANETTA TAYLOR                            JEANETTE BURGOS
10372 YORKMERE COURT                   25785 VIA QUINTO STREET                    3307 SUMMERWIND DRIVE
ORLANDO FL 32817                       MORENO VALLEY CA 92551                     WINTER PARK FL 32792




JEANETTE COX                           JEANETTE E CLARK                           JEANETTE MCBRIDE
7520 S. COLES AVE                      17831 COMMUNITY                            1561 WAVERLY WAY
APT. 2W                                LANSING IL 60438                           D
CHICAGO IL 60649                                                                  BALTIMORE MD 21239



JEANETTE PAUL                          JEANETTE RIVERA-ROSA                       JEANETTE ROMANO
6620 NW 24TH STREET                    4848 W BYRON                               8037 N KOLMAR AVE
SUNRISE FL 33313                       CHICAGO IL 60641                           SKOKIE IL 60076




JEANETTE SOCKS                         JEANETTE WINNICK                           JEANINE GALBRAITH
7534 TRENT DRIVE                       6635 SW 41ST COURT                         1515 WAYNE DRIVE
TAMARAC FL 33321                       DAVIE FL 33314                             CRETE IL 60417




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JEANINE MESNIL                          JEANLYS, JEAN CLAUDE                       JEANMARIE LONQUIST
40 DUNN HILL ROAD                       559 NE 48TH ST APT NO.305                  6216 N. NEWCASTLE
TOLLAND CT 06084                        BOCA RATON FL 33431                        CHICAGO IL 60631




JEANNA SYLVE                            JEANNE BYRD-SINGLETON                      JEANNE DEBELL POLOCHECK
27 N. APPLE SOUTH DRIVE                 1028 WESTERN AVENUE #E                     1102 JOSHUA LANE
CARRIERE MS 39426                       GLENDALE CA 91201                          HOUSTON TX 77055




JEANNE DEHLER                           JEANNE GALLO                               JEANNE KWONG
19 WOODLAND STREET                      2219 WEKIVA VILLAGE LANE                   1829 S. CORDOVA STREET
LAKE RONKONKOMA NY 11779                APOPKA FL 32703                            ALHAMBRA CA 91801




JEANNE LARSON                           JEANNE LEBLANC                             JEANNE LEBLANC
2601 SW 84TH TERRACE                    143 WYNWOOD DRIVE                          8 FOOTE ROAD
DAVIE FL 33328                          ENFIELD CT 06082                           BURLINGTON CT 06013




JEANNE M CAPLICE                        JEANNE M KARPENKO                          JEANNE MARIE BONNER
5237 CLAUSEN AVE                        1230 E. WINDOR RD                          2142 W WASHINGTON STREET
WESTERN SPRINGS IL 60558                APT 409                                    ALLENTOWN PA 18104
                                        GLENDALE CA 91205



JEANNE MARINO                           JEANNE MOFFITT                             JEANNE ROHRBACH
9 FERRY STREET                          268 LYONS ROAD                             203 WELLINGTON ROAD
HUDSON FALLS NY 12839                   BASKING RIDGE NJ 07920                     GARDEN CITY NY 11530




JEANNETTA MONTGOMERY                    JEANNETTE ANTONGIORGI                      JEANNETTE BARRIOS
8103 R. 53                              736 FERN GLEN                              2125 UNION BLVD.
#7                                      LA JOLLA CA 92037                          ALLENTOWN PA 18109
WOODRIDGE IL 60517



JEANNETTE BIEL                          JEANNETTE HARRIS                           JEANNETTE NEVES
45 CHAPEL ROAD                          P.O. BOX 431244                            109 OAK MANOR LANE
SOUTH WINDSOR CT 06074                  LOS ANGELES CA 90043                       ST. ROSE LA 70087




JEANNETTE RIVERA                        JEANNETTE RIVERA-LYLES                     JEANNETTE ROHDE
63 GREGWOOD CIRCLE                      1126 GEORGIA BLVD.                         11 SPEED ST
QUEENSBURY NY 12804                     ORLANDO FL 32803                           BRENTWOOD NY 11717




JEANNETTE ZARRA                         JEANNIE FONTANA FUSARO                     JEANNIE HAMMOND
6846 ROYAL PALM BEACH BLVD              1422 EAST 2ND STREET                       3145 S. GREEN
WEST PALM BEACH FL 33412                APT 2F                                     CHICAGO IL 60608
                                        BROOKLYN NY 11230




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JEANNIE MCGRORY                       JEANNIE SEGERT                             JEANNINE DECICCO
4626 N. KENMORE                       1800 CHERRY RIDGE DRIVE                    33 GARFIELD AVENUE
3S                                    LAKE MARY FL 32746                         EAST ISLIP NY 11730
CHICAGO IL 60640



JEANNINE E SHORT                      JEANNINE HUNTE                             JEANNINE MAHANEY
232 EL DORADO WAY                     15 SANDRA LANE                             1130 NE 18TH AVE
SHELL BEACH CA 93449                  APT 24B                                    FT. LAUDERDALE FL 33304
                                      STATEN ISLAND NY 10304



JEANNINE STEIN                        JEANNINE STEVENSON                         JEANNINE SYDNOR
7427 OAKWOOD AVENUE                   5550 N KENMORE                             130 BRANDON ROAD
LOS ANGELES CA 90036                  APT # 702                                  BALTIMORE MD 21212
                                      CHICAGO IL 60640



JEANNITE, ALEXANDRA                   JEANSON, JUDITH KANE                       JEANTINORD, JIMMY
7704 NW 5TH ST NO. 2 B                1186 S VICTORIA AVE                        1500 NW 7TH AVE
PLANTATION FL 33324                   LOS ANGELES CA 90019                       FT LAUDERDALE FL 33311




JEANTY, JEAN CLAUDE                   JECO PLASTIC PRODUCTS                      JED BONAPARTE
151 NE 26 STREET                      PO BOX 26                                  7645 N. RODGERS AVE.
POMPANO BEACH FL 33064                PLAINFIELD IN 46168                        APT. #2 W
                                                                                 CHICAGO IL 60626



JED FRANCIS                           JEFF AMLOTTE                               JEFF ANDERSON CONSULTING INC
165 GRAND BOULEVARD                   25741 N PERLMAN PLACE #B                   PO BOX 1744
BRENTWOOD NY 11717                    STEVENSON RANCH CA 91381                   LA JOLLA CA 92038-1744




JEFF BLAKLEY                          JEFF CASH                                  JEFF CERCONE
12541 B 37TH AVENUE NE                12841 WILDERNESS TRAIL                     1827 W. LELAND AVE
SEATTLE WA 98125                      GRAND HAVEN MI 49417                       APT. #1G
                                                                                 CHICAGO IL 60640



JEFF COEN                             JEFF DAVIS                                 JEFF EVANS
823 N. RIDGELAND AVE.                 3259 NORTH ANCHOR DRIVE                    1309 CRESCENT AVENUE
OAK PARK, IL 60302                    CHICAGO IL 60618                           PARK RIDGE IL 60068




JEFF GLAUSER                          JEFF GOLD                                  JEFF GOLDBERG
166 KENWOOD DRIVE                     1385 YORK AVENUE                           85 CANDLEWOOD DRIVE
SICKLERVILLE NJ 08081                 23J                                        SOUTH WINDSOR CT 06074
                                      NEW YORK NY 10021



JEFF GOLDBERG                         JEFF GREEN PHOTOGRAPHY                     JEFF HERMAN
36 LINCOLN BLVD                       PO BOX 1297                                385 DEBBIE LANE
MERRICK NY 11566                      MEDICAL LAKE WA 99022-1297                 MANCHESTER PA 17345




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JEFF JACOBS                          JEFF KOHLER & ASSOCIATES INC                JEFF LONG
31015 OLD COLONY WAY                 476 W PROSPECT AVE                          4896 N. ASHLAND AVENUE
WESTLAKE VILLAGE CA 91361            NORTH WALES PA 19454-2630                   #2-E
                                                                                 CHICAGO IL 60640



JEFF MATHEWS                         JEFF PAGETT                                 JEFF PARMET & ASSOCIATES LLC
3449 N. RACINE                       1853 IVES AVE. #150                         9920 POTOMAC MANORS DR
APT. #1                              OXNARD CA 93030                             POTOMAC MD 20854
CHICAGO IL 60657



JEFF PATTERSON                       JEFF SANDERS                                JEFF SCIORTINO PHOTOGRAPHY
7505 WARWICK BLVD.                   1753 S. CORA ST                             764 N MILWAUKEE AVENUE
NEWPORT NEWS VA 23607                DES PLAINES IL 60018                        CHICAGO IL 60622




JEFF SHORT                           JEFF STINTZ                                 JEFF TRUMAN
24619 STONERIDGE LANE                17 EAST MAPLE AVENUE                        5143 BAKMAN AVE
CRETE IL 60417                       BALTIMORE MD 21206                          UNIT#311
                                                                                 NORTH HOLLYWOOD CA 91601



JEFF VORVA                           JEFF WAGNER                                 JEFF WOLAK
7918 KEYSTONE RD.                    199 AMHERST AVE                             1923 E SHAMWOOD STREET
ORLAND PARK IL 60462                 DES PLAINES IL 60016                        WEST COVINA CA 91791




JEFF ZELEVANSKY PHOTOGRAPHY          JEFFER, MANGELS, BUTLER AND MARMARO         JEFFERIES, JONNETTA
9 OAKVIEW AVE                        RE: HOLLYWOOD 5800 SUNSET BLV               875 FRANKLIN RD SE APT 1424
MAPLEWOOD NJ 07040                   ATTN: SCOTT KALT, ESQ.                      MARIETTA GA 30067
                                     1900 AVENUE OF THE STARS, 7TH FLOOR
                                     LOS ANGELES CA 90067


JEFFERIES, JUDITH I                  JEFFERS, GLENN                              JEFFERS, GLENN
1285 HASTINGS RANCH DRIVE            5915 N PAULINA ST     NO.3W                 5915 N PAULINA ST   NO.3W
PASADENA CA 91107-1636               CHICAGO IL 60640                            CHICAGO IL 60660




JEFFERSON COUNTY                     JEFFERSON COUNTY                            JEFFERSON COUNTY
100 JEFFERSON PKWY                   PO BOX 4007                                 SHERIFF
GOLDEN CO 80419                      GOLDEN CO 80401                             200 JEFFERSON CITY PRKWY
                                                                                 GOLDEN CO 80401-2697



JEFFERSON COUNTY                     JEFFERSON COUNTY TREASURER                  JEFFERSON JAVIER
TREASURER                            PO BOX 571                                  4157 192ND PLACE
PO BOX 4007                          PORT TOWNSEND WA 98368                      COUNTRY CLUB HILLS IL 60478
GOLDEN CO 80401



JEFFERSON OFFICE WAREHOUSE II LLC    JEFFERSON OFFICE WAREHOUSE II, LLC          JEFFERSON OFFICE WAREHOUSE, II LLC
C/O R & R CONSTRUCTION               RE: NEWPORT NEWS 311 ED WRIGH               RE: NEWPORT NEWS 311 ED WRIGH
11747 JEFFERSON AVE STE 2F           C/O R & R CONSTRUCTION                      C/O R&R CONSTRUCTION, ATTN: JACKIE SELF
NEWPORT NEWS VA 23606                320 ED WRIGHT LANE, SUITE A                 11747 JEFFERSON AVE., SUITE 2F
                                     NEWPORT NEWS VA 23606                       NEWPORT NEWS VA 23606




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JEFFERSON PILOT SPORTS                  JEFFERSON REITER                           JEFFERSON TRENCH
ONE JULIAN PRICE PLACE                  256 MERTON AVENUE                          155 11TH AVENUE
CHARLOTTE NC 28208                      GLEN ELLYN IL 60137                        HUNTINGTON STATION NY 11746




JEFFERSON, ANN WILKINS                  JEFFERSON, IMAN AIM                        JEFFERSON, LAKESHA W
8786 SMOKERISE DR                       222 COVE DRIVE                             213 NW 9TH AVE, APT 130
MACEDONIA OH 44056                      FLOSSMORE IL 60422                         FT LAUDERDALE FL 33311




JEFFERSON, PAUL                         JEFFERY BECK                               JEFFERY COLEMAN
1304 NW 19TH AVE.                       10491 SOUTH LYNN CIRCLE                    8184 BLACK ASH DRIVE
FORT LAUDERDALE FL 33311                MIRA LOMA CA 91752                         FORT WORTH TX 76131




JEFFERY COOPER                          JEFFERY E BURTT                            JEFFERY KAPUGI
44 SCOTT DR                             839 NORTH HAYWORTH AVENUE                  10215 SILVER BELL TERRACE
DELTA PA 17314                          APT. #104                                  ROCKVILLE MD 20850
                                        LOS ANGELES CA 90046



JEFFERY KRUSE                           JEFFERY L LINDENMUTH                       JEFFERY PETTIFORD
229 CUMBERLAND AVENUE                   5135 SHIMERVILLE ROAD                      135 CAPEN STREET
WETHERSFIELD CT 06109                   EMMAUS PA 18049                            HARTFORD CT 06120




JEFFERY PURO                            JEFFERY SCARCLIFF                          JEFFERY SCIACKITANO
829 MELROSE ST                          583 29TH STREET                            315 FOREST DRIVE
NEW LENOX IL 60451                      MANHATTAN BEACH CA 90266                   CRYSTAL LAKE IL 60014




JEFFERY WEINER                          JEFFERY ZBAR                               JEFFERY, BIANCA
2415 ERIE                               4833 NORTHWEST 98TH WAY                    13005 RUDDY DUCK COURT
RIVER GROVE IL 60171                    CORAL SPRINGS FL 33076                     UPPER MARLBORO MD 20774




JEFFORDS, DEBBIE L                      JEFFORY BAKER                              JEFFREY BACON
31 NAMPTON ST                           634 WEST ARLINGTON PLACE                   839 S. LYMAN
EASTHAMPTON MA 01027-0947               APT #25                                    #2
                                        CHICAGO IL 60614                           OAK PARK IL 60304



JEFFREY BAKER                           JEFFREY BALAZS                             JEFFREY BARKER
16 CURTIS ROAD                          10330 MARLOU DRIVE                         1226 PINECREST CIRCLE
KUTZTOWN PA 19530                       MUNSTER IN 46321                           SILVER SPRING MD 20910




JEFFREY BERNTHAL                        JEFFREY BILL                               JEFFREY BOLTER
11996 SARTHE DRIVE                      411 GRALAN RD                              4622 WISCONSIN AVENUE
MARYLAND HEIGHTS MO 63043               BALTIMORE MD 21228                         302
                                                                                   WASHINGTON DC 20016




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JEFFREY BOOKHULTZ                     JEFFREY CALMA                             JEFFREY CARLSON
7863 WENWELL CT.                      2600 W. BERWYN AVENUE                     2200 ROMM CT.
PASADENA MD 21122                     APT 306                                   SCHAUMBURG IL 60194
                                      CHICAGO IL 60625



JEFFREY CARYL                         JEFFREY CHAVEZ                            JEFFREY CIBULL
28121 HIGHRIDGE ROAD                  17661 GILBERT DRIVE                       4141 HATHAWAY AVE.
APT. #406                             LOCKPORT IL 60441                         APT. # 27
RANCHO PALOS VERDES CA 90275                                                    LONG BEACH CA 90815



JEFFREY CLAY                          JEFFREY CLEMONS                           JEFFREY COFFEY
61 MEADOWBROOK DRIVE                  7700 WESTPARK DR.                         15139 BARKLEY ROAD
BRENTWOOD NY 11717                    HOUSTON TX 77063                          W. COLLEGE CORNER IN 47003




JEFFREY COHEN                         JEFFREY CURRY                             JEFFREY D'ADAMO
15 COLUMBUS AVENUE                    2441 GLENSIDE LANE                        202 TIMBER TRAIL #B
MIDDLETOWN CT 06457                   CAMARILLO CA 93012                        BEL AIR MD 21014




JEFFREY DALEY                         JEFFREY DALO                              JEFFREY DEGLER
19 HORACE STREET                      1229 N. MANSFIELD AVE                     9676 BRADFORD KNOLL DRIVE
MANCHESTER CT 06040                   APT 204                                   FISHERS IN 46037
                                      LOS ANGELES CA 90038



JEFFREY DEJESUS                       JEFFREY DELLINGER                         JEFFREY DIEHL
1962 SIEGFRIED STREET                 5230 ZELZAH AVE                           1335 N WAHNETA ST
BETHLEHEM PA 18017                    APT 3                                     ALLENTOWN PA 18109
                                      ENCINO CA 91316



JEFFREY DORSEY                        JEFFREY DUDLEY                            JEFFREY DUNCAN
3100 SOUTH MARTIN LUTHER KING DRIVE   1431 DEWEY AVENUE                         3745 W 86TH PLACE
APT. #1104                            NORTHAMPTON PA 18067                      CHICAGO IL 60652
CHICAGO IL 60616



JEFFREY ELDRED                        JEFFREY ELLISON                           JEFFREY FEDERMAN
730 WESTOVER AVENUE                   5614 EL PALOMINO DR                       2112 W. ARMITAGE
NORFOLK VA 23507                      RIVERSIDE CA 92509                        APT # 2W
                                                                                CHICAGO IL 60647



JEFFREY FICKES                        JEFFREY FINKELMAN                         JEFFREY FINKEN
2598 SHEFFIELD DRIVE                  25 W. 105 WINDHAM HILL COURT              1719 SOUTH STREET
DELTONA FL 32738                      NAPERVILLE IL 60540                       2ND FLOOR
                                                                                PHILADELPHIA PA 19146



JEFFREY FLAIM                         JEFFREY FLEISHMAN                         JEFFREY FORBES
3403 KAREN AVE                        202 WEST FIRST STREET                     24138 VICTORY BLVD
LONG BEACH CA 90808                   LOS ANGELES CA 90012                      WOODLAND HILLS CA 91367




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JEFFREY GOLD                         JEFFREY GOTTLIEB                            JEFFREY GROUS
84 SHORE ROAD                        1244 20TH STREET                            52 VERNWOOD DRIVE
A2                                   HERMOSA BEACH CA 90254                      VERNON CT 06066
PORT WASHINGTON NY 11050



JEFFREY GURR                         JEFFREY HANLON                              JEFFREY HARMS
3100 S DIXIE HIGHWAY                 5173 WARING RD                              925 W HURON
APT 13                               #408                                        APT # 523
BOCA RATON FL 33432                  SAN DIEGO CA 92120                          CHICAGO IL 60622



JEFFREY HELLER                       JEFFREY HIGGINS                             JEFFREY HILL
212 CREEK ROAD                       220 SW 56TH AVE                             1610 LAUREL LANE
WADING RIVER NY 11792                APT 201                                     DARIEN IL 60561
                                     MARGATE FL 33068-1861



JEFFREY HOOVER                       JEFFREY J BIERY                             JEFFREY JACOBS
131 SOUTH PARK                       5200 OCEAN BEACH BLVD.                      33 PHILMAR DRIVE
ROSELLE IL 60172                     #232                                        PLAINFIELD CT 06374
                                     COCOA BEACH FL 32931-3741



JEFFREY JOHNS                        JEFFREY JOHNSON                             JEFFREY JOHNSON
2121 WEST BOULEVARD                  4582 N. VISTAPARK DR.                       4255 BEULAH DRIVE
BETHLEHEM PA 18017                   MOORPARK CA 93021                           LA CANADA CA 91011




JEFFREY JORDAN                       JEFFREY JUSTICE                             JEFFREY KLINE
9538 S. EUCLID                       8851 N. LINCOLNWOOD DRIVE                   PO BOX 2661
CHICAGO IL 60617                     EVANSTON IL 60203                           RONKONKOMA NY 11777




JEFFREY KOORS                        JEFFREY KUEPPERS                            JEFFREY KUIPERS
4434 KENNETH CT.                     5412 LINDLEY AVE                            12520 GREENE AVENUE
TITUSVILLE FL 32780                  APT#319                                     LOS ANGELES CA 90066
                                     ENCINO CA 91316



JEFFREY KUNERTH                      JEFFREY LANDAW                              JEFFREY LEVAN
1274 LOST CREEK CT                   3310 GREENVALE RD                           411C 146TH STREET
ALTAMONTE SPRINGS FL 32714           BALTIMORE MD 21208                          UNIT 241
                                                                                 OCEAN CITY MD 21842



JEFFREY LEVINE                       JEFFREY LYON                                JEFFREY MACDONALD
1774 IBIS LANE                       5430 N WAYNE                                9033 NORTH BUCHANAN
WESTON FL 33327                      CHICAGO IL 60640                            PORTLAND OR 97203




JEFFREY MASSARO                      JEFFREY MCCUMISKEY                          JEFFREY MEDEIROS
78 ROOT AVENUE                       1044 HUDSON DT.                             31131 VIA CORDOVA
ISLIP NY 11751                       TUSTIN CA 92782                             SAN JUAN CAPISTRANO CA 92675




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JEFFREY MEITRODT                      JEFFREY MELODIA                            JEFFREY MOHLER
2333 S. BATES AVE.                    28978 GARNET CANYON ROAD                   7205 TAGGART PLACE
SPRINGFIELD IL 62704                  SAUGUS CA 91390                            RANCHO CUCAMONGA CA 91739




JEFFREY MOLLE                         JEFFREY MORGANTEEN                         JEFFREY NOEL
208 LUGONIA ST                        60 MARY VIOLET ROAD                        1794 RED BUD RD
APT B                                 STAMFORD CT 06907                          BOLINGBROOK IL 60490
NEWPORT BEACH CA 92663



JEFFREY OLAF                          JEFFREY ORMON                              JEFFREY ORTWEIN
1327 CATHEDRAL LANE                   248 CORNELL ST                             450 COLVER ROAD
OREFIELD PA 18069                     HEMPSTEAD NY 11550                         NAZARETH PA 18064




JEFFREY OTTERBEIN                     JEFFREY OWCZARSKI                          JEFFREY PALMER
142 DIANE DRIVE                       171 LOWER POMEROY ROAD                     17 BROOKSIDE DRIVE
MANCHESTER CT 06040                   MONTGOMERY MA 01050                        SARATOGA SPRINGS NY 12866




JEFFREY PERLMAN                       JEFFREY PETERS                             JEFFREY PFEIFFER
5201 THORN TREE LANE                  11406 WESTHILL                             2513 S. LENOX STREET
IRVINE CA 92612                       FESTUS MO 63028                            MILWAUKEE WI 53207




JEFFREY PIPER                         JEFFREY PRESS                              JEFFREY RABIN
3723 HIGHKNOB CIRCLE                  4 DALE COURT                               4421 E 5TH STREET #C
NAPERVILLE IL 60564                   HAUPPAUGE NY 11788                         LONG BEACH CA 90814




JEFFREY RAKES                         JEFFREY REMALY                             JEFFREY REUTER
3007 N OAKLAND FOREST DRIVE           1246 MANCHESTER ROAD                       1522 N MOHAWK ST
APT 307                               BETHLEHEM PA 18018                         APT REAR
FORT LAUDERDALE FL 33309                                                         CHICAGO IL 60610



JEFFREY RITTERBAND                    JEFFREY ROBERTS                            JEFFREY ROSENBERG
3183 LEE PLACE                        1595 GOLD RUN RD.                          22 WOODSIDE ROAD
BELLMORE NY 11710                     CHULA VISTA CA 91913                       SPRINGFIELD NJ 07081-2701




JEFFREY RUBY                          JEFFREY RUTH                               JEFFREY S TIEGER
1439 W. RASCHER                       918 SOUTH POPLAR STREET                    115 NORTHWOOD COURT
APT. 1W                               ALLENTOWN PA 18103                         BAYPORT NY 11705
CHICAGO IL 60640



JEFFREY S. BERG                       JEFFREY SABES                              JEFFREY SAUGER PHOTOGRAPHY INC
C/O TRIBUNE COMPANY                   746 PRESCOTT                               2116 E FOURTH ST
435 N. MICHIGAN AVENUE                APT# 301                                   ROYAL OAK MI 48067
CHICAGO IL 60611                      ROSELLE IL 60172




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JEFFREY SCHAMBERRY                     JEFFREY SCHULER                            JEFFREY SCOTT
864 CLEVELAND STREET                   8441 WALBERT LANE                          202 E. SOUTH STREET
WEST HEMPSTEAD NY 11552                ALBURTIS PA 18011                          #1042
                                                                                  ORLANDO FL 32801



JEFFREY SHAND                          JEFFREY SMITH                              JEFFREY SMITH
7160 NW 45TH COURT                     846 HILLCREST ROAD                         105 MARBELLA LANE
LAUDERHILL FL 33319                    ORANGE CT 06477                            TOLLAND CT 06084




JEFFREY SPENCER                        JEFFREY SQUARE                             JEFFREY STARK
6027 MESCALLERO PLACE                  2555 BATCHELDER ST                         239 DIVISION AVENUE
SIMI VALLEY CA 93063                   2D                                         MASSAPEQUA NY 11758
                                       BROOKLYN NY 11235



JEFFREY STERN                          JEFFREY STORTZ                             JEFFREY STRAILEY
10709 BEARDSLEE PLACE                  4020 RYE STREET                            20515 NICKIE LANE
BOTHELL WA 98011                       UNIT #10                                   SAUGAS CA 91350
                                       METAIRIE LA 70002



JEFFREY THOMAS                         JEFFREY THOMAS                             JEFFREY THOMAS CARTWRIGHT
2171 ELMCREST PLACE                    8500 ALLENSWOOD ROAD                       2470 KINNEY AVENUE NW
OVIEDO FL 32765                        RANDALLSTOWN MD 21133                      GRAND RAPIDS MI 49544




JEFFREY TULLY                          JEFFREY VALIN                              JEFFREY VON MOLT
27816 SILVERTON COURT                  60 BURROWS HILL ROAD                       4221 CARLOTTA STREET
VALENCIA CA 91354                      AMSTON CT 06231                            SIMI VALLEY CA 93063




JEFFREY VOSE                           JEFFREY WADDELOW                           JEFFREY WALD
2110 GARDNER CIRCLE WEST               1228 BURNETT DRIVE                         1940 COLBY AVE
AURORA IL 60503                        LANTANA TX 76226                           LOS ANGELES CA 90025




JEFFREY WALTON                         JEFFREY WEAVER                             JEFFREY WEINBERG
1307 APPLETON WAY                      281 BLUE HERON DRIVE                       61 RIDGE ROAD
VENICE CA 90291                        WESTMINSTER MD 21157                       SMITHTOWN NY 11787




JEFFREY WHEAT                          JEFFREY WILLIAMS                           JEFFREY WILLIAMS
20538 CAITLIN LANE                     806 WINNEBAGO COURT                        147 CHICHESTER ROAD
SAUGUS CA 91350                        ROMEOVILLE IL 60441                        HUNTINGTON NY 11743




JEFFREY WILSON                         JEFFREY WINSTON                            JEFFREY WONG
236 W 79TH ST                          75 MONTAUK AVENUE                          1440 APPIAN WAY
WILLOWBROOK IL 60527                   BRENTWOOD NY 11717                         MONTEBELLO CA 90640




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JEFFREY XUE                           JEFFREY YOUNG                              JEFFREY ZAVALA
3328 OAKHURST AVENUE                  1421 VIA SEVILLA                           140 S. OFFICE
UNIT 301                              LA VERNE CA 91750                          BRAIDWOOD IL 60408
LOS ANGELES CA 90034



JEFFREY ZREBIEC                       JEFFRIES, KELLY                            JEFFRY LEE
11435 LITTLE PATUXENT PARKWAY         722 NW 8 STREET                            278 STEELE ROAD
#205                                  DANIA BEACH FL 33004                       WEST HARTFORD CT 06117
COLUMBIA MD 21044



JEFFRY MATTESON                       JEFFRY SCATTAREGGIA                        JEHOVAH CLEANING SERVICES
6430 N. FAIRFIELD AVE.                64 VELLISIMO                               3851 CORAL TREE CIRCLE
CHICAGO IL 60645                      ALISO VIEJO CA 92656                       COCONUT CREEK FL 33073




JEIMMIE NEVALGA                       JELENKO, JANE                              JELEON FREEMAN
7325 EAST PRAIRIE ROAD                10580 DOLCEDO WAY                          6621 S. WABASH AVE
LINCOLNWOOD IL 60712                  LOS ANGELES CA 90077                       CHICAGO IL 60637




JELLISON, REGINA                      JELTEMA JR, JAMES W                        JEMIELITY, SAM
1920 WAYNE STREET                     6534 CLEARBROOK DR                         2782 W FRANCIS F1
BETHLEHEM PA 18020                    SAUGATUCK MI 49453                         CHICAGO IL 60647




JENAMY INC                            JENEANE GIBSON                             JENEE YOUNGBLOOD
DBA WHITE HEN PANTRY                  1843 W. 76TH                               7639 BLACK WALNUT DRIVE
WEST DUNDEE IL 60118                  CHICAGO IL 60620                           AVON IN 46123




JENELLE BENOIT                        JENETTE WILLIAMS                           JENICE UPSHAW
6771 SPRINGPARK AVE                   6449 S KENWOOD AVE                         3451 W. 79TH STREET
APT 102                               CHICAGO IL 60637                           2
LOS ANGELES CA 90056                                                             CHICAGO IL 60652



JENICE WOODARD                        JENIFER FRANK                              JENIFER JONES
4903 BIG HORN STREET                  98 OUTLOOK AVENUE                          166 PARKER ROAD
ORLANDO FL 32819                      WEST HARTFORD CT 06119                     CORINTH NY 12822




JENIFER SACKS                         JENINE CUCCHI                              JENIUS INDUSTRIES INC
7525 NW 65TH LANE                     23 ELDERWOOD DRIVE                         2994 BARCLAY WAY
PARKLAND FL 33067                     ST. JAMES NY 11780                         ANN ARBOR MI 48105




JENKINS, AARON                        JENKINS, ALLIE L                           JENKINS, ANTHONY
841 BADGE DR                          P.O. BOX 550504                            388 QUEBEC AVE
COLORADO SPRINSG CO 80916             ORLANDO FL 32855-0504                      TORONTO ON M6P 2V4




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JENKINS, BRENDA                       JENKINS, CATHY                             JENKINS, CHRIS
4370 NW 80 AVE                        8680 REDLAND CT                            11625 W ATLANTIC BLVD BLDG 21 APT 22
CORAL SPRINGS FL 33065                JONESBORO GA 30238                         CORAL SPRINGS FL 33071




JENKINS, CHRISTOPHER                  JENKINS, DARREN                            JENKINS, JOHN PHILIP
35 DAVIS AVE                          2526 WINTERVILLE DRIVE                     1222 OLD BOALSBURG RD
NEWPORT NEWS VA 23601                 AUGUSTA GA 30909                           STATE COLLEGE PA 16801-6152




JENKINS, LASHAWYNA                    JENKINS, RHONDA G                          JENKINS, ROBERT
1311 EMMETT STREET                    526 W GOODING STREET                       7033 13TH AVE
AUGUSTA GA 30904-5726                 MILLSTADT IL 62260                         BERWYN IL 60402




JENKINS, RONALD SCOTT                 JENKINS, RUBY                              JENKINS, SHEQUITA RENEE
131 MT VERNON ST                      12228-6 SAG HARBOUR COURT                  135 HEMPHILL SCHOOL RD
MIDDLETOWN CT 06457                   WELLINGTON FL 33414                        ATLANTA GA 30331




JENKINS, TIMOTHY                      JENKINS, VERNON PURCELL                    JENNA CONVERSE
112 WINDBROOK DR                      5780 LAKESIDE DR APT 913                   4117 CROOKED TREE RD SW
WINDSOR CT 06095                      MARGATE FL 33063                           #5
                                                                                 WYOMING MI 49519



JENNA KAUFMANN                        JENNA MACDONALD                            JENNA MALONEY
250 SOUTH PRESIDENT STREET            1221 OXFORD ROAD                           15552 LOCKPORT DRIVE
#211                                  MAITLAND FL 32751                          WESTFIELD IN 46074
BALTIMORE MD 21202



JENNA PLISCOFSKY                      JENNA RUSSO                                JENNER & BLOCK LLP
P.O. BOX 4180                         207 GEORGE STREET                          330 N WABASH AVE
QUEENSBURY NY 12804                   APT. #103                                  CHICAGO IL 60611
                                      MIDDLETOWN CT 06457



JENNER, DONALD K                      JENNIE LUDWIG                              JENNIE NEKNEZ
17840 GREENWOOD DRIVE                 575 E VAN BUREN                            21 STOOTHOFF ROAD
TINLEY PARK IL 60477                  VILLA PK IL 60181                          EAST NORTHPORT NY 11731




JENNIE RAMIREZ                        JENNIFER ABEL                              JENNIFER ALEXIS
400 N. RACINE                         39 KELLEY STREET                           1324 CHURCH HILL DR
#103B                                 BRISTOL CT 06010                           PIKESVILLE MD 21208
CHICAGO IL 60622



JENNIFER ARNTZ                        JENNIFER BADIE                             JENNIFER BARRIOS
5817 WOOD VALLEY RD                   9810 ENDORA COURT                          334 W OCEAN HGHTS AVE
HASLETT MI 48840                      OWINGS MILLS MD 21117                      UNIT 114
                                                                                 LINWOOD NJ 08221




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JENNIFER BECKER                       JENNIFER BENGTSON                          JENNIFER BERGERON
4271 DILLINGERSVILLE ROAD             351 WEST TENTH AVE.                        23402 CAMINITO TELMO
ZIONSVILLE PA 18092                   MOUNT DORA FL 32757                        LAGUNA HILLS CA 92653




JENNIFER BERNARDO                     JENNIFER BESER                             JENNIFER BETKA
108 WILBUR DRIVE                      12 BRIDLEWOOD CT                           1044 GRANT ST
NEWINGTON CT 06111                    OWINGS MILLS MD 21117                      APT 1
                                                                                 SANTA MONICA CA 90405



JENNIFER BISRAM                       JENNIFER BOEHM                             JENNIFER BONNER
109-37 126TH STREET                   7807 NW 71 AVE.                            865 PEQUOT AVENUE
SOUTH OZONE PARK NY 11420             TAMARAC FL 33321                           SOUTHPORT CT 06890




JENNIFER BRANSBY                      JENNIFER BROADWATER                        JENNIFER BROWN
5900 CEDONIA AVENUE                   17 SHADY NOOK AVE.                         38 KETEWOMOKE DRIVE
BALTIMORE MD 21206                    CATONSVILLE MD 21228                       HALESITE NY 11743




JENNIFER BULLOCK                      JENNIFER BUSSE                             JENNIFER BUTLER
1123 SHIELDS PLACE                    3831 VALLEY CREEK DRIVE                    905 LA LOMA ROAD
BALTIMORE MD 21201                    WAUKESHA WI 53189                          LOS ANGELES CA 90041




JENNIFER CABALA                       JENNIFER CARBON                            JENNIFER CARTER
PO BOX 26                             690 PACIFIC GROVE DRIVE                    1502 CHRISTY AVE.
SEATTLE WA 98111                      #1                                         ORLANDO FL 32803
                                      WEST PALM BEACH FL 33401



JENNIFER CARTER                       JENNIFER CASCIO                            JENNIFER CASOLARO
400 S. GREEN                          44 STEINHARDT AVENUE                       6 MCCREA ROAD
APT 414                               OLD BRIDGE NJ 08857                        QUEENSBURY NY 12804
CHICAGO IL 60607



JENNIFER CHOI                         JENNIFER COLLINS                           JENNIFER CONLEY
10306 WINSTEAD COURT                  7834 S. WABASH                             105 W 39TH STREET
WOODSTOCK MD 21163                    CHICAGO IL 60619                           BALTIMORE MD 21210




JENNIFER CORDIER                      JENNIFER COTTO                             JENNIFER CRICHTON
164 OAK STREET                        142 CASSATA COURT                          1316 WESTBROOKE TERRACE DRIVE
EAST HARTFORD CT 06118                WEST BABYLON NY 11704                      BALLWIN MO 63021




JENNIFER CUNNISON                     JENNIFER CUSTODIO                          JENNIFER DANIELS
418 DURHAM STREET                     10106 FOOTHILL COURT                       913 BALLARD ST
HAMPTON VA 23669                      SPRING VALLEY CA 91977                     APT B
                                                                                 ALTAMONTE SPRINGS FL 32714




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JENNIFER DANIELS                          JENNIFER DANSICKER                          JENNIFER DEGROOT
9652 CAROUSEL CIRCLE NORTH                8 INDIAN PONY COURT                         843 SOUTH HARVEY
BOCA RATON FL 33434                       OWINGS MILLS MD 21117                       OAK PARK IL 60304




JENNIFER DEKARZ                           JENNIFER DELLES                             JENNIFER DELSON
865 PEQUOT AVENUE                         379 COLLEGE HIGHWAY                         253 ATTICA DR
SOUTHPORT CT 06890                        SOUTHAMPTON MA 01073                        LONG BEACH CA 90803




JENNIFER DEMARAH                          JENNIFER DEMOY                              JENNIFER DEVILLEZ
923 W. OAKDALE AVE.                       1347 KING ROAD                              135 WESTON ROAD
#2C                                       CAMBRIDGE NY 12816                          PLAINFIELD CT 06374
CHICAGO IL 60657



JENNIFER DOLNY                            JENNIFER DOYLE                              JENNIFER DREYER
340 EAST 34TH ST.                         169 E WASHINGTON AVENUE                     1338 W. IRVING PARK RD.
APT. 8N                                   BETHLEHEM PA 18018                          #3
NEW YORK NY 10016                                                                     CHICAGO IL 60613



JENNIFER DUCHMAN                          JENNIFER DUSZYNSKI                          JENNIFER EASTMAN
9230 TRADERS CROSSING                     3844 KNOLLTON RD                            532 CAPE COD LANE
APT. D                                    INDIANAPOLIS IN 46228                       #302
LAUREL MD 20723                                                                       ALTAMONTE SPRINGS FL 32714



JENNIFER ECK                              JENNIFER EVERLAND                           JENNIFER EVESLAGE
2400 N. LAKEVIEW AVE.                     92 PINE FOREST PLACE                        9 S COLUMBIA
#2106                                     APOPKA FL 32712                             NAPERVILLE IL 60540
CHICAGO IL 60614



JENNIFER FAGGIO, CONSERVATOR OF           JENNIFER FARACI                             JENNIFER FARRINGTON
ANDREW FAGGIO AND JENNIFER FAGGIO         1645 W. OGDEN AVENUE                        6041 SW 32ND STREET
JACOBS, GRUDBERG, BELT, DOW & KATZ P.C.   405                                         DAVIE FL 33314
EDWARD J. MCMANUS, 350 ORANGE ST          CHICAGO IL 60612
NEW HAVEN CT 06503


JENNIFER FEDEN                            JENNIFER FINEGAN                            JENNIFER FLETCHER
290 BEAVER ROAD                           P.O. BOX 940842                             2441 CHARLESTON DR
SOUTHAMPTON PA 18966                      MAITLAND FL 32794-0842                      SCHAUMBURG IL 60193




JENNIFER FORTIN                           JENNIFER FREHN                              JENNIFER FULLER
99 GOLF STREET                            2807 DEARBORN AVENUE                        289 HAYES ROAD
NEWINGTON CT 06111                        PALMDALE CA 93551                           SCHUYLERVILLE NY 12871




JENNIFER GALLAGHER                        JENNIFER GATTONE                            JENNIFER GIANTOMASO
6260 NE 18TH AVENUE                       26W125 JEWELL RD.                           12 WENMORE ROAD
APT 705                                   WHEATON IL 60187                            COMMACK NY 11725
FT. LAUDERDALE FL 33334




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JENNIFER GIBLIN                         JENNIFER GILL                              JENNIFER GIOVINCO
8 SOUTH 32ND STREET                     12252 NE 100TH STREET                      4111 NE 26TH TERRACE
WYANDANCH NY 11798                      KIRKLAND WA 98033                          LIGHTHOUSE POINT FL 33064




JENNIFER GIRARD PHOTOGRAPHY             JENNIFER GOERNER                           JENNIFER GOLDSTEIN
1455 WEST ROSCOE                        624 CORAL GLEN LOOP                        235 HUDSON STREET
CHICAGO IL 60657-1309                   #108                                       APT# 702
                                        ALTAMONTE SPRINGS FL 32714                 HOBOKEN NJ 07030



JENNIFER GOLLAN                         JENNIFER GRAVES                            JENNIFER GUERRIERI
509 SW 10TH STREET                      1711 N. PASS AVE                           35975 ITHACA DRIVE
FORT LAUDERDALE FL 33315                BURBANK CA 91505                           AVON OH 44011




JENNIFER HACKER                         JENNIFER HARMON                            JENNIFER HAYNES
1815 JFK BLVD.                          3706 ARBORDALE LANE                        P.O. BOX 1387
APT. # 2602                             SACHSE TX 75048                            WEST POINT VA 23181
PHILADELPHIA PA 19103



JENNIFER HEARN                          JENNIFER HERMANSEN                         JENNIFER HERRMANN
18 MAIN STREET                          5S040 FIRESTONE COURT                      968 GARDINER DRIVE
HUDSON FALLS NY 12839                   NAPERVILLE IL 60563                        BAY SHORE NY 11706




JENNIFER HIDALGO                        JENNIFER HINKES                            JENNIFER HITTINGER
185 RUSSELL COURT                       299 NW 87TH TERRACE                        3116 SOUTH 6TH AVENUE
EFFORT PA 18330                         CORAL SPRINGS FL 33071                     WHITEHALL PA 18052




JENNIFER HOLLIMAN                       JENNIFER HOLT                              JENNIFER HOUMAN
555 MEGAN COURT                         117 CONCORD LANE                           306 1/2 THOMAS STREET
APT. 2716                               CAROL STREAM IL 60188                      BEL AIR MD 21014
CASTLE ROCK CO 80108



JENNIFER HOWERTON                       JENNIFER HUBER                             JENNIFER HUGHES PHOTOGRAPHY LLC
1360 N. LAKE SHORE DR.                  1248 KNOSSOS DRIVE                         518 OLD ORCHARD RD
#318                                    APT 2                                      BALTIMORE MD 21229
CHICAGO IL 60610                        WHITEHALL PA 18052



JENNIFER HUMES                          JENNIFER INJAIAN                           JENNIFER IRWIN
7 FIRE BRICK LANE                       4202 CAHUENGA                              1131 KERSFIELD CIRCLE
SIMSBURY CT 06070                       TOLUCA LAKE CA 91602                       LAKE MARY FL 32746




JENNIFER JAMES                          JENNIFER JARVIE                            JENNIFER JEFFERSON
PO BOX 10403                            319 LELAND TERRACE NE                      19671 EAST 40TH AVENUE
GLENDALE CA 91209                       ATLANTA GA 30317                           DENVER CO 80249




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JENNIFER JEZLER                       JENNIFER JHON                              JENNIFER JONES
110 NORTH STATE STREET                4895 SW 26TH AVENUE                        4787 N. PINE HILL RD.
GLENWOOD IL 60425                     EAST UNIT                                  APT. 204
                                      DANIA BEACH FL 33312                       ORLANDO FL 32808



JENNIFER KARMON                       JENNIFER KELLEHER                          JENNIFER KELLY
1708 CARVER STREET                    67-41 BURNS STREET                         14 VERITY COURT
REDONDO BEACH CA 90278                APT #207                                   BALTIMORE MD 21236
                                      FOREST HILLS NY 11375



JENNIFER KENNA                        JENNIFER KILZER                            JENNIFER KOHNKE
207 TERRA BELLA                       2309 W. WILSON                             1822 W. CHASE
IRVINE CA 92602                       APT 109                                    APT 1
                                      CHICAGO IL 60625                           CHICAGO IL 60626



JENNIFER KRAMKA                       JENNIFER KUGLER                            JENNIFER KULDANEK
670 ORANGE STREET                     1960 E. WINTER PARK ROAD                   1001 W MADISON ST
ELGIN IL 60123                        WINTER PARK FL 32789-5821                  206
                                                                                 CHICAGO IL 60607



JENNIFER LADALSKI                     JENNIFER LAHMERS                           JENNIFER LAPP
3021 CARPENTER STREET                 2 PARK PLACE                               3808 W. 61ST PLACE
STEGER IL 60475                       10J                                        CHICAGO IL 60629
                                      HARTFORD CT 06106



JENNIFER LARNED                       JENNIFER LATSON                            JENNIFER LAZO
29 OREGON DRIVE                       2117 HOPKINS STREET                        11209 KENNEY ST.
HUNTINGTON NY 11746                   HOUSTON TX 77006                           NORWALK CA 90650




JENNIFER LEE                          JENNIFER LOW PHOTOGRAPHY                   JENNIFER LYONS
16001 S. VERMONT AVE                  73 ASHTON AVE                              230 COACHMANS
APT 55                                SAN FRANCISCO CA 94112                     ALTAMONTE SPRINGS FL 32701
GARDENA CA 90247



JENNIFER LYONS                        JENNIFER MADURO                            JENNIFER MALINOWSKI
943 MILFORD ST.                       793 SPRINGDALE DRIVE                       1911 HORATIO AVE.
CARY IL 60013                         MILLERSVILLE MD 21108                      MERRICK NY 11566




JENNIFER MALONEY                      JENNIFER MARTIN                            JENNIFER MCDONNELL
403 OCEAN AVENUE                      3205 LOS FELIZ BLVD.                       6 BURBAGE COURT
APT. 3A                               APT 8-342                                  BALTIMORE MD 21236
BROOKLYN NY 11226                     LOS ANGELES CA 90039



JENNIFER MCFARLANE                    JENNIFER MCMENAMIN                         JENNIFER MEYER INC
196 HARRIS ROAD                       506 OVERBROOK ROAD                         9220 SUNSET BLVD STE 300
CORINTH NY 12822                      BALTIMORE MD 21212                         LOS ANGELES CA 90067




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JENNIFER MILKOWSKI                     JENNIFER MOORE                             JENNIFER MOORHEAD
165 CARDINAL DR                        14 N. PEORIA ST.                           320 CHESTNUT STREET
HAWTHORN WOODS IL 60047                APT. #6B                                   ABERDEEN MD 21001
                                       CHICAGO IL 60607



JENNIFER MORAN                         JENNIFER MOREHEAD                          JENNIFER MORELAND
624 CALIFORNIA STREET                  1725 HINMAN AVE.                           148 EDGERTON STREET
UNIT # A                               EVANSTON IL 60201                          APT. B8
WEST SACRAMENTO CA 95605                                                          MANCHESTER CT 06040



JENNIFER MUSA                          JENNIFER MYSTKOWSKI                        JENNIFER NASON
C/O KSWB                               6253 N. SHERIDAN ROAD                      686 GOODMAN ROAD
7191 ENGINEER RD                       APT. #26                                   FORT ANN NY 12827
SAN DIEGO CA 92111                     CHICAGO IL 60660



JENNIFER NEVILLE                       JENNIFER NICHOLS                           JENNIFER OLDHAM
1610 E. 1ST STREET                     371 VININGS VINTAGE CIRCLE                 12444 HUSTON STREET
LONG BEACH CA 90802                    MABLETON GA 30126                          VALLEY VILLAGE CA 91607




JENNIFER OVERMAN                       JENNIFER PARADIS                           JENNIFER PENA
2 PARK PLACE                           4 JACKIE AVENUE                            531 E. NINTH ST.
APT. #2G                               FORT EDWARD NY 12828                       APT. # 1
HARTFORD CT 06106                                                                 AZUSA CA 91702



JENNIFER PFAFF                         JENNIFER PHILLIPS                          JENNIFER PICCIONE
3507 BUENA VISTA                       541 PORTER COURT                           48-32 195TH STREET
BALTIMORE MD 21211                     FOLSOM CA 95630                            FRESH MEADOWS NY 11365




JENNIFER PICKETT                       JENNIFER POPEIL                            JENNIFER PREECE
9921 PINEY POINT CIRCLE                5452 SW 88 TERRACE                         18811 WOODCROFT STREET
ORLANDO FL 32825                       COOPER CITY FL 33328                       COVINA CA 91722




JENNIFER RIDDLE                        JENNIFER RIEDY                             JENNIFER ROCHOLL PHOTOGRAPHY INC
835 WAFFORD LANE                       5344 TRUTH PLACE                           2031 YAQI
BETHLEHEM PA 18017                     ALLENTOWN PA 18106                         TUSTIN CA 92782




JENNIFER ROMEO                         JENNIFER ROZSYPAL                          JENNIFER RUSSO
509 BATHURST ROAD                      910 W MADISON                              90 WEST STREET
CATONSVILLE MD 21228                   APT# 505                                   #3H
                                       CHICAGO IL 60607                           NEW YORK NY 10006



JENNIFER SALAZAR                       JENNIFER SCHWARZ                           JENNIFER SHEEHAN
P.O. BOX 678733                        2121 N. CAMBRIDGE AVENUE, APT# 109         222 NORTH STREET
ORLANDO FL 32867                       MILWAUKEE WI 53202                         EMMAUS PA 18049




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JENNIFER SHRUM                        JENNIFER SILVA                             JENNIFER SINGLETON
500 IRONGATE CIRCLE                   715 SUNNYSLOPE DRIVE                       1676 W. 24TH ST.
IRVING TX 75060                       #8                                         LOS ANGELES CA 90007
                                      HARTLAND WI 53029



JENNIFER SIY                          JENNIFER SMITH                             JENNIFER SPENGLER
1625 CLOVER CT                        540 SECOND STREET                          1401 S STATE ST UNIT 707
ROMEOVILLE IL 60446                   BROOKLYN NY 11215                          CHICAGO IL 60605-3625




JENNIFER STAUFFACHER                  JENNIFER STETLER                           JENNIFER STROBL
1931 SOUTH 69TH STREET                1360 N. SANDBURG TER.                      961 LAWRENCE DRIVE
WEST ALLIS WI 53219                   APT. 2607                                  EMMAUS PA 18049
                                      CHICAGO IL 60610



JENNIFER TANAKA                       JENNIFER TANNER                            JENNIFER TARRIO
1437 W. GLENLAKE AVE.                 81 AUTUMN DRIVE                            529 N. LINCOLN AVENUE
CHICAGO IL 60660                      SOUTHINGTON CT 06489                       APT F
                                                                                 MONTEREY PARK CA 91755



JENNIFER TAYLOR                       JENNIFER TEKEL                             JENNIFER TENUTO
725 YATES ST                          10177 SW 87TH AVENUE                       7035 W. WOLFRAM ST.
ORLANDO FL 32804                      TIGARD OR 97223                            CHICAGO IL 60634




JENNIFER TRAPP                        JENNIFER USON                              JENNIFER VAN HOOK
17621 HILLSIDE AVENUE                 1812 N. HUDSON                             101 LORRAINE AVENUE
HOMEWOOD IL 60430                     UNIT A                                     MONTCLAIR NJ 07043
                                      CHICAGO IL 60614



JENNIFER WADDELL                      JENNIFER WALTHER-DREYER                    JENNIFER WANG
561 NORTH 3RD STREET                  4150 N. HARDING AVE.                       1312 SOUTH FEDERAL STREET
EMMAUS PA 18049                       CHICAGO IL 60618                           APT# B
                                                                                 CHICAGO IL 60605



JENNIFER WARD                         JENNIFER WASCHITZ                          JENNIFER WEHUNT
1470 WOODBURY CIRCLE                  21 MAGPIE LANE                             3317 W. WRIGHTWOOD AVE.
GURNEE IL 60031                       LEVITTOWN NY 11756                         APT #1
                                                                                 CHICAGO IL 60647



JENNIFER WHITE                        JENNIFER WHITFIELD                         JENNIFER WILLIAMS
405 1/2 CHARLES ROAD                  21 SCHENCK AVENUE.                         262 SUMMERLAKE LN
LINTHICUM MD 21090                    APT. A                                     NEWPORT NEWS VA 23602
                                      GREAT NECK NY 11021



JENNIFER WILLIAMS                     JENNIFER WILSON                            JENNIFER WINTER
418 SPRING STREET                     418 SE 2 ST                                301 WEST GOETHE ST.
INDIANAPOLIS IN 46202                 DEERFIELD BEACH FL 33441                   APT. #304C
                                                                                 CHICAGO IL 60610




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JENNIFER WISNIEWSKI                      JENNIFER YI                                JENNIFER YU
8711 STONES THROW LANE                   3735 KEYSTONE AVE                          1372 64TH STREET
MISSOURI CITY TX 77459                   APT 202                                    BROOKLYN NY 11219
                                         LOS ANGELES CA 90034



JENNIFFER MONTOYA                        JENNIKA INC                                JENNIKA INC
13079 CASCADE COURT                      78 RIDGE ROAD                              C/O DOUG JEFFERS
ARLETA CA 91331                          KATONAH NY 10536                           DBA 10 EAST 44TH ST
                                                                                    NEW YORK NY 10017



JENNINGS, DAYYAN                         JENNINGS, FRANCIS M                        JENNINGS, JOE
4016 INVERRARY BLVD      APT 16B         182 RIVERSIDE DRIVE                        12004 NW 30TH STREET
LAUDERHILL FL 33319                      FOX LAKE IL 60020                          CORAL SPRINGS FL 33065




JENNINGS, LATOYA TIESHA                  JENNINGS, ROSALIND                         JENNIS WEST
7 LILAC STREET                           500 NEWELL HILL RD NO. 112 D               8 N. MARLEY ST
MANCHESTER CT 06040                      LEESBURG FL 34748                          BALTIMORE MD 21229




JENNY ASKIN                              JENNY MCCABE                               JENNY REPKO
334 S HIGHLAND AVE#334                   3709 NORTH JANSSEN                         P. O. BOX 4612
BALTIMORE MD 21224                       APT. #1R                                   PHILADELPHIA PA 19127
                                         CHICAGO IL 60613



JENNY SCHMIDT                            JENNY THOMAS                               JENSEN, BRETT
109 WISP CREEK DRIVE                     561 W STRATFORD PL #4A                     309 HUDSON CIRCLE
BAILEY CO 80421                          CHICAGO IL 60657-2647                      ANDERSON SC 29625




JENSEN, CHERYL                           JENSEN, CHRISTOPHER W                      JENSEN, CHRISTOPHER W
PO BOX 246                               448 LEWIS HILL RD                          PO BOX 246
BETHLEHEM NH 03574                       BETHLEHEM NH 03574                         BETHLEHEM NH 03574




JEPS ENTERPRISES, INC                    JEPSEN,CARA                                JERALD EDLING
5129 SPRING WILLOW COURT                 4111 N ASHLAND AVE                         11817 BLLICE ST
OWINGS MILLS MD 21117                    CHICAGO IL 60613                           MALIBU CA 90265




JERALD LEE ASH                           JERALD MASSIE                              JERANT, FREDERICK
2716 SQUALL KING PLACE                   8141 S. MARYLAND                           618 N LAFAYETTE STREET
LAKE HAVASU CITY AZ 86404                APT #3R                                    ALLENTOWN PA 18104
                                         CHICAGO IL 60619



JERCH, KIRSTEN E                         JEREL TYSON                                JEREMEY BROWN
4900 N WINCHESTER AVE NO.2               566 S. MAIN ST                             2658 W. HOMER STREET
CHICAGO IL 60640                         RED LION PA 17356                          FLOOR #2
                                                                                    CHICAGO IL 60647




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JEREMIAH BOGERT                      JEREMIAH GARY                              JEREMIAH JOHNSON
2308 ELM AVE                         907 E. 7TH STREET                          5439 N. CAPITOL AVE
MANHATTAN BEACH CA 90266             APT 206                                    INDIANAPOLIS IN 46208
                                     LOS ANGELES CA 90021



JEREMIAH MARTINEZ                    JEREMY BERK                                JEREMY CONRAD
4881NORTH PAULINA STREET             8339 SW SHAWMUT DR                         3519 COCOPLUM CIRCLE
APT# 3-D                             BEAVERTON OR 97007                         COCONUT CREEK FL 33063
CHICAGO IL 60640



JEREMY COPAS                         JEREMY D'ALESSANDRO                        JEREMY DANIEL OSSO
220 E. 42ND STREET                   794 SHELDON AVENUE                         3331 NEVADA AVENUE
10TH FLOOR                           STATEN ISLAND NY 10309                     COSTA MESA CA 92626
NEW YORK NY 10017



JEREMY DIETZ                         JEREMY FOWLER                              JEREMY FRENCH
5942 31ST AVENUE SW                  452 SCARLATTI COURT                        4371 WHITE PINE AVE.
SEATTLE WA 98126                     OCOEE FL 34761                             ORLANDO FL 32811




JEREMY GORNER                        JEREMY HILL                                JEREMY HOROWITZ
7434 N. FRANCISCO AVE                4180 N MARINE DR                           9583 ALCOTT ST.
CHICAGO IL 60645                     1508                                       APT. 105
                                     CHICAGO IL 60613                           LOS ANGELES CA 90035



JEREMY JAAP                          JEREMY JONES                               JEREMY KANTERMAN
7971 WATERFALL                       8222 S. PAULINA                            25 RAMBLING DRIVE
HUNTINGTON BEACH CA 92648            APT BASEMENT                               SCOTCH PLAINS NJ 07076
                                     CHICAGO IL 60620



JEREMY KOSLOW                        JEREMY LANG                                JEREMY MANIER
1380 NW 94TH AVE                     1625 SE 10 AVE                             821 S. RACINE
PLANTATION FL 33322                  #1008                                      UNIT F
                                     FORT LAUDERDALE FL 33316                   CHICAGO IL 60607



JEREMY MIKKELSON                     JEREMY MONTI                               JEREMY MUSKIEVICZ
40 N. MUESSING ST.                   8041 NW 127TH LANE                         1647 SCHAFER DRIVE
INDIANAPOLIS IN 46229                PARKLAND FL 33076                          SCHERERVILLE IN 46375




JEREMY OBERSTEIN                     JEREMY PRATT                               JEREMY R RIFKIN ENTERPRISES
8028 BLACKBURN AVENUE                7419 LONGSTREET LANE                       4520 E WEST HWY    STE 600
LOS ANGELES CA 90048                 FONTANA CA 92336                           BETHESDA MD 20814




JEREMY SHAW                          JEREMY SHULTZ                              JEREMY SIDELL
1808 W. ARMITAGE                     1606 BRIARFIELD ROAD                       26443 OVID AVE
APT. #A                              HAMPTON VA 23661                           LOMITA CA 90717
MELROSE PARK IL 60160




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JEREMY WALTERS                        JEREMY WOODLEE                             JERGENSEN, LORETTA CHILCOAT
201 TAZEWELL STREET                   202 W. FIRST STREET                        7620 DANIELS AVENUE
APT. #219                             LOS ANGELES CA 90012                       BALTIMORE MD 21234
NORFOLK VA 23510



JERLENE ALLEN                         JERMAINE WILSON                            JERMALE COOPER
85 PURPLE SAGE                        10107 S. HOXIE                             4538 BAUGHMAN
KERRVILLE TX 78028                    CHICAGO IL 60617                           NEWPORT NEWS VA 23607




JERMANE WEIR                          JERMANOK, STEPHEN                          JERMAUD HARRIS
1871 BROAD STREET                     89 ROUNDWOOD RD                            2440 LAURETTA AVENUE
3RD FLOOR                             NEWTON MA 02464                            BALTIMORE MD 21223
HARTFORD CT 06114



JERMEL MICKENS                        JERMEY FRAZIER                             JERNELL TAYLOR
105 NORTH 19TH ST                     115-25 84TH AVENUE                         3857 W. 14TH STREET
WYANDANCH NY 11798                    3G                                         CHICAGO IL 60623
                                      RICHMOND HILL NY 11418



JEROLENE BROWN                        JEROME A LEE                               JEROME ADAMSTEIN
3054 JOLLY POND ROAD                  10618 DESTINO CIRCLE                       960 10TH ST
WILLIAMSBURG VA 23188                 CERRITOS CA 90703                          APT #7
                                                                                 SANTA MONICA CA 90403



JEROME BOYD                           JEROME BURDI                               JEROME COLLINS
1178 NW 83 AVE                        2746 SW 15TH STREET                        25761 ARLINGTON DR
CORAL SPRINGS FL 33071                DEERFIELD BEACH FL 33442                   LAGUNA NIGUEL CA 92677




JEROME CROWE                          JEROME ESPOSITO                            JEROME F MUELLER
1116 7TH STREET                       1825 SAN JUAN DRIVE                        7518 CLEARLAKE LN.
HERMOSA BEACH CA 90254                APT D                                      BALTIMORE MD 21220
                                      DELRAY BEACH FL 33445



JEROME GALVIN                         JEROME GLICK                               JEROME GREENE
820 W BELMONT AVE                     60 DAVENPORT ROAD                          2020 SEPLER DRIVE
3F                                    MONTVILLE NJ 07045-9199                    FERN PARK FL 32730
CHICAGO IL 60657



JEROME H DAVIS                        JEROME JACKSON                             JEROME KASZUBOWSKI
1888 PINYON CT                        716 WALKER AVE                             3817 MICHAEL LANE
HEMET CA 92545                        BALTIMORE MD 21212                         GLENVIEW IL 60025




JEROME KUBISZ                         JEROME LEPORE                              JEROME LOGGINS
3444 42ND PLACE                       807 MILL POND DRIVE                        2142 N. SPAULDING
HIGHLAND IN 46322                     SOUTH WINDSOR CT 06074                     CHICAGO IL 60647




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JEROME MARTIN                         JEROME MCGUIRE                             JEROME MCINTOSH
1110 LAURELWOOD                       139 NEWMARKER ROAD                         3220 NW 4TH STREET
CARMEL IN 46032                       SOUTH WINDSOR CT 06074                     FORT LAUDERDALE FL 33311




JEROME S RUBIN                        JEROME SCHULIST                            JEROME SINGLETARY
15 WEST 53RD STREET                   1076 PROVIDENCE LN                         1027 CATHERDRAL STREET
APT.# 29B                             OVIEDO FL 32765                            3A
NEW YORK NY 10019-5401                                                           BALTIMORE MD 21201



JEROME STANDBERRY                     JEROME TAYLOR                              JEROME VAUGHN
33 GUILFORD STREET                    17143 S. KIMBARK                           1617 EAST PALMER STREET
APT. A                                SOUTH HOLLAND IL 60473                     COMPTON CA 90221
HARTFORD CT 06120



JEROME WILKERSON                      JEROME, CHARLENE                           JERON BOSTIC
15 LAFAYETTE STREET                   4497 SW 66TH TERRACE                       900 COLYEAR SPRINGS LANE
HUNTINGTON NY 11743                   DAVIE FL 33314                             WALNUT CA 91789




JERRE SANCHEZ                         JERRI ANNE STYES                           JERRI CHAVES
1321 N AVENUE 57                      11614 WILSON CIRCLE                        440 SW 55 TERRACE
LOS ANGELES CA 90042                  PARKER CO 80134                            PLANTATION FL 33317




JERRIA FORD-JAMIESON                  JERROLD FALLSTROM                          JERROLD GLICK
4735 NANTUCKET LANE                   210 S. PALM AVE                            1296 SPRING CIRCLE DRIVE
ORLANDO FL 32808                      HOWEY-IN-THE-HILLS FL 34737                CORAL SPRINGS FL 33071




JERRY BAYNE                           JERRY BELCASTRO                            JERRY BLUESTEIN
1245 HAUBERT ST                       5 GLENWOOD ROAD                            3748 BARRY AVENUE
BALTIMORE MD 21230                    BEL AIR MD 21014                           LOS ANGELES CA 90066




JERRY BROCKETT                        JERRY BROWN                                JERRY BUSSER
617 SYCAMORE                          1125 N. LOREL                              2950 W. PALMER STREET
GLENDORA CA 91741                     CHICAGO IL 60651                           A2
                                                                                 CHICAGO IL 60647



JERRY DE LA CRUZ                      JERRY GARNS STUDIO                         JERRY GARNS STUDIO
8644 E. HERMOSA DRIVE                 5216 VENICE BLVD                           5216 VENICE BLVD
SAN GABRIEL CA 91775                  LOS ANGELES CA 90019                       VENICE CA 90019




JERRY GOLLICK                         JERRY HUNT                                 JERRY JACKSON
3540 ROLAND AVE                       7723 S. MERRILL                            415 S. HIGHLAND AVE.
BALTIMORE MD 21211                    CHICAGO IL 60649                           WINTER GARDEN FL 34787




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JERRY JORDAN                           JERRY KERSTING                             JERRY KOUTAVAS
144 ASH DRIVE                          435 N MICHIGAN AVE                         11112 E. COVE CIRCLE
BOLINGBROOK IL 60490                   CHICAGO IL 60611                           3C
                                                                                  PALOS HILLS IL 60465



JERRY LEWIS                            JERRY LOPEZ                                JERRY MALVASIA
9 RATON LANE                           1260 RIDLEY AVENUE                         526 LONGFELLOW BLVD
HOT SPRINGS AR 71909                   HACIENDA HEIGHTS CA 91745                  LAKELAND FL 33801




JERRY MAROS                            JERRY MC DONALD                            JERRY R CLARK
6119 MAYFAIR                           1700 BOTELHO DRIVE                         3561 FIGUEROA STREET
MORTON GROVE IL 60053                  APT 321                                    GLENDALE CA 91206
                                       WALNUT CREEK CA 94596



JERRY TODD                             JERRY VOLETTO                              JERRY WEI
19441 WATERBURY LN.                    4152 BUNKER HILL LANE W.                   427 W. GRANT PLACE
HUNTINGTON BEACH CA 92648              WALNUTPORT PA 18088-3001                   UNIT A
                                                                                  CHICAGO IL 60614



JERRY, R                               JERSEY CHROME PLATING CO                   JERVIS R FERGUSON FOUNDATION
4782 BERWICK CT                        144 46TH STREET                            2515 W MARTIN L KING JR BLVD
ORLANDO FL 32824                       PITTSBURGH PA 15201                        LOS ANGELES CA 90008




JERVONNA WALKER                        JERZY DUNAJEWSKI                           JERZY MAYWALD
11405 NW 35TH STREET                   1023 ANGELA COURT                          1729 WEBSTER LN
CORAL SPRINGS FL 33065                 SCHAUMBURG IL 60173                        DES PLAINES IL 60018




JESEK, LOIS                            JESS VIGNOL JR                             JESSE C MOORE
9618 HIGHLAND GEORGE DR                779 W EDNA PLACE                           3005 W BROOK
BEVERLY HILLS CA 90210                 COVINA CA 91722                            SANTA ANA CA 92704




JESSE CASTANEDA                        JESSE COX                                  JESSE CROTEAU
2300 W.ALABAMA                         44028 ENGLE WAY                            2117 NORTHLAND ROAD
#60                                    APT. #35                                   GWYNN OAK BALTIMORE MD 21207
HOUSTON TX 77098                       LANCASTER CA 93536



JESSE DASHNAW                          JESSE DE GEYTERE                           JESSE ESPINOZA
REGENCY PARK NORTH                     16350 VENUS DR                             2304 VIA CAMILLE STREET
5210                                   WESTMINSTER CA 92683                       MONTEBELLO CA 90640
QUEENSBURY NY 12804



JESSE ESPINOZA                         JESSE HAMILTON                             JESSE HOFFMAN
2304 W. VIA CAMILLE                    232 G ST. SW                               6901 ENVIRON BLVD
MONTEBELLO CA 90640                    WASHINGTON DC 20024                        APT 3A
                                                                                  LAUDERHILL FL 33319




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JESSE JACKSON                            JESSE JACKSON                              JESSE LEAVENWORTH
C/O DAVID M. STEINBERG                   SACHS EARNEST & ASSOC                      81 SOUTH EAGLE STREET
SACHS, EARNEST & ASSOCIATES, LTD.        1 N LASALLE ST 1525                        TERRYVILLE CT 06786
1 NORTH LASALLE ST.,SUITE 1525           CHICAGO IL 60602
CHICAGO IL 60602


JESSE LINARES                            JESSE MARINELARENA                         JESSE MARTINEZ
461 S. CLOVERDALE AVE                    5026 BENHAM AVENUE                         2428 S. WESLEY
APT. 1                                   BALDWIN PARK CA 91706                      BERWYN IL 60402
LOS ANGELES CA 90036



JESSE MERCADO                            JESSE MIRANDA                              JESSE NEIDER
10006 VICTORIA RIDGE LANE                1616 N. 43RD AVE                           1047 S CHARLES ST.
HOUSTON TX 77075                         STONE PARK IL 60165                        BALTIMORE MD 21230




JESSE PARKER                             JESSE QUINLAN                              JESSE T CROWDER JR
2030 DRUID HILL AVE.                     129 THEODORE FREMD AVE                     2840 ELMWOOD LANE
2ND FLOOR                                RYE NY 10580                               MOUNT DORA FL 32757
BALTIMORE MD 21217



JESSE TODD                               JESSE VALONA                               JESSE VICE
110 WOODLAND DRIVE                       5022 TAFT ST.                              2915 ANCON CT.
NEWPORT NEWS VA 23606                    CHINO CA 91710                             EDGEWOOD MD 21040




JESSEL VERGARA                           JESSICA ADAMS                              JESSICA ARSENEAU
27308 BUFFALO TRAIL                      901 BRIGHTON CT                            1456 SW 2ND AVENUE
CORONA CA 92883                          BEL AIR MD 21014                           POMPANO BEACH FL 33060




JESSICA BONITATIBUS                      JESSICA CAETANO                            JESSICA CANNING
24 CAROLINE STREET                       909 WORTHINGTON RIDGE                      1 KING PHILIP DRIVE
QUEENSBURY NY 12804                      BERLIN CT 06037                            # 304
                                                                                    WEST HARTFORD CT 06117



JESSICA CLAREMON                         JESSICA COLUCCI                            JESSICA CONWAY
1508 AIDENN LAIR ROAD                    6 GREENDALE LANE                           3306 PARKINGTON AVE
MAPLE GLEN PA 19002                      EAST NORTHPORT NY 11731                    BALTIMORE MD 21215




JESSICA DAMIANO                          JESSICA DELK                               JESSICA DELORENZO
17 SYLVIA STREET                         27 PARRY STREET                            345 HEIDEN ROAD
GLEN HEAD NY 11545                       HUDSON FALLS NY 12839                      BANGOR PA 18013




JESSICA DERVIN                           JESSICA DORSEY                             JESSICA DUFRESNE
1500 W GEORGE ST                         3928 BUSH COURT                            1 N. HENRY STREET
CHICAGO IL 60657                         ABINGDON MD 21009                          VALLEY STREAM NY 11580




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JESSICA FERNANDEZ                    JESSICA FISHER                              JESSICA FLORES
4565 HAZELTINE AVENUE                208 JEFFREY LANE                            47-06 160TH STREET
APT#104                              NORTHAMPTON PA 18067                        FLUSHING NY 11358
SHERMAN OAKS CA 91423



JESSICA GARRISON                     JESSICA GAYLORD                             JESSICA GELT
5685 BALTIMORE STREET                3932 WALLINGFOR AVENUE N                    1614 W. SUNSET BLVD
LOS ANGELES CA 90042                 APT. #5                                     APT 3
                                     SEATTLE WA 98103                            LOS ANGELES CA 90026



JESSICA GILLESPIE                    JESSICA GOLDEN                              JESSICA GORMAN
2452 GLENFORRD DRIVE                 490 SOUTH STREET                            8 WEST RIVIERA DRIVE
AURORA IL 60502                      ELMHURST IL 60126                           LINDENHURST NY 11757




JESSICA GUYNN                        JESSICA HARBISON WEAVER                     JESSICA HILTON
2338 VALLEY STREET                   2145 N. NEW JERSEY ST.                      251 NORTH EL MOLINO AVENUE
BERKELEY CA 94702                    INDIANAPOLIS IN 46202                       APT #8
                                                                                 PASADENA CA 91101



JESSICA HOLLAND                      JESSICA HOLLOWELL                           JESSICA HOLMES
16 HENRY AVENUE                      8931 BEVERLYWOOD STREET                     9017 1/2 RANGELY AVE
NAZARETH PA 18064                    LOS ANGELES CA 90034                        WEST HOLLYWOOD CA 90048




JESSICA HUI                          JESSICA KENNEALLY                           JESSICA KRUGER
60 ABERDEEN DRIVE                    2656 COX NECK ROAD                          3415 PINEWALK DRIVE, N.
SICKLERVILLE NJ 08081                CHESTER MD 21619                            MARGATE FL 33063




JESSICA LA BOY                       JESSICA LANGE                               JESSICA LEDERER
14520 E. AMAR RD.                    3437 BOCAGE DRIVE                           840 WASHINGTON ST
APT. E                               APT. 506                                    APT 313
LA PUENTE CA 91744                   ORLANDO FL 32812                            DENVER CO 80203



JESSICA LEE                          JESSICA LETOURNEAUT                         JESSICA LINN
90 PLAD BLVD                         1300 NE MIAMI GARDENS DRIVE                 1872 N. CLYBOURN
HOLTSVILLE NY 11742                  APT 701                                     205
                                     NORTH MIAMI BEACH FL 33179                  CHICAGO IL 60614



JESSICA LISA ESPINOZA                JESSICA MAJOROS                             JESSICA MARTINEZ
14408 HAWES STREET                   3549 N RETA AVE #2                          6140 MONTEREY ROAD
WHITTIER CA 90604                    CHICAGO IL 60657-1710                       APT#215
                                                                                 LOS ANGELES CA 90042



JESSICA MAUCK                        JESSICA MAXWELL                             JESSICA MEDINA
3536 POOLE STREET                    27 ALMA LANE                                14 MYSTIC AVENUE
BALTIMORE MD 21211                   EAST NORTHPORT NY 11731                     WILLIMANTIC CT 06226




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JESSICA MEDINA                        JESSICA MIZENER                             JESSICA NOVINS
3280 ROCHAMBEAU AVENUE                45 SPRING STREET                            54 KESWICK LANE
6D                                    PORTLAND CT 06480                           PLAINVIEW NY 11803
BRONX NY 10467



JESSICA OWENS                         JESSICA PANZARELLA                          JESSICA PARKS
683 SANDPIPER CIRCLE                  44 LAWRENCE STREET                          2705 WAVERLY DRIVE
LODI CA 95240                         GREENLAWN NY 11740                          LOS ANGELES CA 90039




JESSICA PASCOE                        JESSICA PERDOMO                             JESSICA RANDKLEV
195A WASHINGON PARK                   2405 NW 49TH TERRACE                        342 IMPERIAL WAY
APT 7                                 COCONUT CREEK FL 33063                      APT# 343
BROOKLYN NY 11205                                                                 BAYPORT NY 11705



JESSICA REAVES                        JESSICA RIVERA                              JESSICA ROBINSON
5448 N. GLENWOOD AVE                  223 E. FAIRVIEW STREET                      8749 S. EGGLESTON AVENUE
APT. #1                               ALLENTOWN PA 18109                          CHICAGO IL 60620
CHICAGO IL 60640



JESSICA RODRIGUEZ                     JESSICA ROSAS                               JESSICA ROUCH
319A MAIN STREET                      2503 N. BURLING                             10150 EAST VIRGINIA AVENUE
ROSLYN NY 11576                       2                                           #17-204
                                      CHICAGO IL 60614                            DENVER CO 80247



JESSICA RUBIN                         JESSICA SCHWARTZ                            JESSICA SHAVER
849 GRAMERCY DRIVE                    5 NORTH AVENUE                              5164 NW 66TH LANE
212                                   BEL AIR MD 21014                            CORAL SPRINGS FL 33067
LOS ANGELES CA 90005



JESSICA SNYDER                        JESSICA SOLDNER                             JESSICA SPAHR
813 SHROPSHIRE LOOP                   735 WEST JUNIOR TERRACE                     366 E. 5TH STREET
SANFORD FL 32771                      304                                         HOLLAND MI 49423
                                      CHICAGO IL 60613



JESSICA TAYLOR                        JESSICA TOBEY                               JESSICA TOLEDO
191 NICHOLS ROAD                      3900 BEETHOVEN STREET                       1034 WEST 21ST STREET
NESCONSET NY 11767                    APT 101                                     LOS ANGELES CA 90007
                                      LOS ANGELES CA 90066



JESSICA UMSTEAD                       JESSICA VACKETTA                            JESSICA WAGNER
1210 N. CALVERT STREET                5709 RALSTON AVE.                           714 1ST AVENUE NORTH
APT. 7                                INDIANAPOLIS IN 46220                       APT #B
BALTIMORE MD 21202                                                                SEATTLE WA 98109



JESSICA WARD                          JESSICA WEISS                               JESSICA WILLIAMS
2473 OSWEGO STREET                    3352 BALSAM STREET                          2633 N. WILTON AVENUE
UNIT #3                               OCEANSIDE NY 11572                          UNIT 2
PASDENA CA 91107                                                                  CHICAGO IL 60614




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JESSICA ZUREK                             JESSIE CANTU                               JESSIE HARRIS
1 EALING ON DUXBURY                       7316 NORTHWAY DRIVE                        181-E WOODLAND ROAD
ROLLING MEADOWS IL 60008                  HANOVER PARK IL 60103                      HAMPTON VA 23663




JESSIE SAUCEDO                            JESSIE YARBOUGH                            JESSIE YONG
13783 COOLIDGE WAY                        4833 W HURON                               512 W GLEASON STREET
HESPERIA CA 92345                         CHICAGO IL 60644                           MONTEREY PARK CA 91754




JESSING, DEBBIE                           JESSUP, GERALDINE                          JESSY THOMAS
5232 FAIRVIEW                             3017 BEECH ST                              THE LAW OFFICES OF FRANK M. MORELLI, JR.
APT #4                                    LAKE PLACID FL 33852                       NISCHAL RAVAL
LOS ANGELES CA 90056                                                                 403 W GALENA
                                                                                     AURORA IL 60506


JESTER, DAVID                             JESTER, DAVID                              JESUS ARBELAEZ
41073 CRIMSON PILLAR LANE                 41073 CRIMSON PILLAR LANE                  370 OAK STREET
ELSMOIRE CA 92532                         LAKE ELSMOIRE CA 92532                     COPIAGUE NY 11726




JESUS ARIAS-MATA                          JESUS ARNANZ                               JESUS BELTRAN
9315 S. WESTERN AVE.                      4 OLD MILL LANE                            712 E. BENTON STREET
LOS ANGELES CA 90047                      QUEENSBURY NY 12804                        AURORA IL 60505




JESUS BOLANOS                             JESUS CHAVEZ                               JESUS DESANTIAGO
11448 POMERING DRIVE                      1801 OLIVE AVE.                            3830 S. 61ST COURT
DOWNEY CA 90241                           SOUTH PASADENA CA 90042                    CICERO IL 60804




JESUS DIAZ                                JESUS DURAN                                JESUS FERNANDEZ-DAVILA
2920 N. 72ND COURT                        17043 E. ALCROSS ST.                       15 GOLDENROD LANE
ELMWOOD PARK IL 60707                     COVINA CA 91722                            MAGNOLIA DE 19962




JESUS GOMEZ                               JESUS LABOY                                JESUS LEBRON
2438 LOGANBERRY CIRCLE                    626 S. ALVARADO STREET                     425 COLUMBINE LANE
PALMDALE CA 93551                         APT #448                                   BOLINGBROOK IL 60440
                                          LOS ANGELES CA 90057



JESUS MARISCAL URIBE                      JESUS MEDINA                               JESUS MORALES
8230 PRISCILLA STREET                     14505 DUCAT STREET                         4930 MONTE VISTA STREET
DOWNEY CA 90242                           MISSION HILLS CA 91345                     LOS ANGELES CA 90042




JESUS PEOPLE USA FULL GOSPEL MINISTRIES   JESUS PEREZ                                JESUS QUINTANA
RE: CHICAGO 2948 N. WESTERN A             5789 CHESTNUT AVENUE                       10720 S. AVENUE M
2950 N. WESTERN AVE.                      LONG BEACH CA 90805                        CHICAGO IL 60617
CHICAGO IL 60618




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JESUS REYES                             JESUS RODRIGUEZ                            JESUS SANCHEZ
1936 W SLOOP AVENUE                     4930 S MAPLEWOOD                           1539 PARMER AVENUE
ANAHEIM CA 92804                        CHICAGO, IL 60632                          LOS ANGELES CA 90026




JESUS SOTO                              JESUS VARGAS JR.                           JESUS, PAULO R
11415 FARNDON                           11929 FERRIS RD.                           495 SE 8TH STREET APT 134
SOUTH EL MONTE CA 91733                 EL MONTE CA 91732                          DEERFIELD BEACH FL 33441




JESUS, ROBERTH H                        JET AVIATION BUSINESS JETS                 JET EFFECTS
3110 SW 4TH ST                          112 CHARLES LINDEBERGH DR 3RD FLR          6910 FARMDALE AVE
DEERFIELD BEACH FL 33442                TETERBORO NJ 07608                         NORTH HOLLYWOOD CA 91605




JETER, DARREN                           JETT, DENNIS C                             JETT, DENNIS C
209 NELSON ST  APT 3                    123 GRINTER HALL, PO BOX 113225            2515 NW 21ST STREET
ALLENTOWN PA 18109                      GAINESVILLE FL 32611-3225                  GAINESVILLE FL 32605




JETT, LINDA                             JETTER, FRANCES                            JETTY PRODUCTIONS LLC
1265 GUINEVERE DR 2603                  390 WEST END AVE                           243 E 83RD ST NO.5B
CASSELBERRY FL 32707                    NEW YORK NY 10024                          NEW YORK NY 10028




JEUDY, BENONI                           JEUDY, MICKIL                              JEVENS INC
10439 SW 16TH STREET                    5195 NW 6TH ST                             1312 CAMBRIDGE ROAD
PEMBROKE PINES FL 33025                 DELRAY BEACH FL 33445                      ANN ARBOR MI 48104




JEVON CHAMBERS                          JEVON HICKS                                JEVON PHILLIPS
2674 SPICEBUSH LOOP                     1120 WEST MORGAN STREET                    1350 E. WASHINGTON BLVD.
APOPKA FL 32712                         RIALTO CA 92376                            APT.#8
                                                                                   PASADENA CA 91104



JEWEL M BORDNER                         JEWEL M NOVACK                             JEWEL OSCO
905 SWAN DRIVE                          604 S OAKS AVENUE                          1955 W NORTH AVE
DYER IN 46311                           ONTARIO CA 91762                           MELROSE PARK IL 60160




JEWEL OSCO                              JEWEL OSCO                                 JEWEL OSCO
4650 W 103RD ST                         75 REMITTANCE DR STE 1273                  944 S YORK RD
OAKLAWN IL 60453                        CHICAGO IL 60675-1273                      ELMHURST IL 60126




JEWEL OSCO                              JEWEL OSCO                                 JEWEL OSCO
C A FORTUNE & CO                        FOOD STORE 012                             FOOD STORE 012
141 COVINGTON DRIVE                     1210 N CLARK                               3630 N SOUTHPORT
BLOOMINGDALE IL 60108                   CHICAGO IL 60610                           CHICAGO IL 60613




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JEWELL, BARBARA                        JEWELL, TED                                JEWETT, AUBREY
517 FRANKLIN ST                        PO BOX 69934                               2864 HAZEL GROVE LN
HARTFORD CT 06114                      LOS ANGELES CA 90069                       OVIEDO FL 32766




JEWISH FAMILY SERVICE OF BROWARD       JEWISH FEDERATION OF GREATER HARTFORD      JEWISH WEEK
100 S PINE ISLAND RD NO.230            MICKEY ORKIN                               1501 BROADWAY     SUITE 505
PLANTATION FL 33324                    333 BLOOMFIELD AVE                         NEW YORK NY 10036
                                       WEST HARTFORD CT 06117



JEWTRAW, ED                            JFK INVESTMENT COMPANY LLC                 JFK INVESTMENT COMPANY, LLC
169 WASHINGTON AVE                     43252 WOODWARD AVE SUITE 210               RE:LIVONIA DETROIT SALES OFF
TORRINGTON CT 06790                    BLOOMFIELD HILLS MI 48302                  26200 TOWN CENTER DR.
                                                                                  NOVI MI 48375



JGB CAREER APPAREL & UNIFORMS          JGCM REPRESENTATIONS INC                   JGCM REPRESENTATIONS INC
5949 W IRVING PARK ROAD                1965 DOWNS CT                              1965 DOWNS CT
CHICAGO IL 60634                       STE 2208                                   LAKE MARY FL 32746
                                       LAKE MARY FL 32746



JH&F INC                               JHON DENIS                                 JHON DIAZ
13100 FIRESTONE BLVD                   2726 RENEGADE DR.                          9440 SW 8TH STREET
SANTE FE SPRINGS CA 90570              APT 104                                    APT 122
                                       ORLANDO FL 32818                           BOCA RATON FL 33428



JHON MARTE                             JHON, CHRISTIAN                            JHONNY PANIAGUA
4230 CASTLE ROCK CIRCLE                4895 SW 26TH AVE EAST UNIT                 1225 RIVERSIDE DR
AURORA IL 60504                        DANIA BEACH FL 33312                       APT 208
                                                                                  CORAL SPRINGS FL 33071



JHS CREATIVE LLC                       JI BROADCASTING INC                        JIA-RUI COOK
46 BUCHINGHAM COURT                    11 WESTPORT                                4879 LA RODA AVE
POMONA NY 10970                        MANHATTAN BEACH CA 90266                   LOS ANGELES CA 90041




JIBRAN UDDIN                           JIH-CHUNG FAN                              JIHO KIM
107 CHAPEL HILL DRIVE                  3723 MENTONE AVE                           211 PRESSTMAN STREET
BRENTWOOD NY 11717                     APT 1                                      BALTIMORE MD 21217
                                       LOS ANGELES CA 90034



JIK TAN                                JILL A YARO                                JILL ANISKOFF
132-25 SANFORD AVE                     17042 CALAHAN STREET                       1964 BOULEVARD
2 FL                                   NORTHRIDGE CA 91325                        WEST HARTFORD CT 06107
FLUSHING NY 11355



JILL AUGUGLIARO                        JILL BERNHARD                              JILL BOBA
26 E. GARFIELD STREET                  9672 PONDEROSA COURT                       3730 W. EDDY ST.
MERRICK NY 11566                       KEMPTON PA 19529                           CHICAGO IL 60618




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JILL BODNER                            JILL CHANDLER                              JILL CLARK
9 MARTIN ROAD                          1027 FELSPAR STREET #7                     7282 S PONTIAC WAY
QUEENSBURY NY 12804                    SAN DIEGO CA 92109                         ENGLEWOOD CO 80112




JILL D'ANGELO                          JILL DARLING                               JILL DAVIS
8500 NW 51 CT                          4811 BEN AVENUE                            28 ALLEGHENY AVE
LAUDERHILL FL 33351                    VALLEY VILLAGE CA 91607                    1606
                                                                                  TOWSON MD 21204



JILL DREISCH                           JILL FORREST                               JILL GEISLER
1403 BUTLER AVE                        7131 ARLINGTON ROAD                        1928 W. ROSCOE
LOS ANGELES CA 90025                   APT #553                                   2E
                                       BETHESDA MD 20814                          CHICAGO IL 60657



JILL GREEN                             JILL GREENBERG STUDIO                      JILL GREER
6 CHAROLAIS RUN                        8570 WILSHIRE BLVD STE 250                 1310 AUSTIN COLONY
HAMPTON VA 23669                       BEVERLY HILLS CA 90211                     RICHMOND TX 77469




JILL HUECKEL                           JILL KLITZ                                 JILL LEOVY
ANGIULI KATKIN & GENTILE, LLP          N17 W5401 GARFIELD COURT                   3278 WILSHIRE BLVD
60 BAY STREET, PH                      CEDARBURG WI 53012                         APT 602
STATEN ISLAND NY 10301                                                            LOS ANGELES CA 90010



JILL MANUEL                            JILL MARIE JONES                           JILL MCCAVITT
3344 GRENWAY                           3874 RAVENSWOOD DR                         1140 W. GRAND
SHAKER HEIGHTS OH 44122                YORBA LINDA CA 92886                       3F
                                                                                  CHICAGO IL 60622



JILL NALEPA                            JILL NICOLINI                              JILL NORMAN
8485 ROBERTS RD                        363 PLAD BOULEVARD                         239 WHITE BIRCH ESTS.
ELLICOTT CITY MD 21043                 HOLTSVILLE NY 11742                        FT EDWARD NY 12828




JILL ORDWAY                            JILL PETERSON                              JILL ROBERTS
26 WILLIAM STREET                      74 PEACHTREE LANE                          5334 HAMMILL ROAD
APT 1                                  QUEENSBURY NY 12804                        EL MONTE CA 91732
GLENS FALLS NY 12801



JILL ROBERTS                           JILL ROSEN                                 JILL SELMAN
1245 N. CAMPBELL                       19 S. CHESTER STREET                       19 PANTZER STREET
1A                                     BALTIMORE MD 21231                         SMITHTOWN NY 11787
CHICAGO IL 60622



JILL ULRIKSEN                          JILL VAN LOAN                              JILL YUNKER
8132 BRUSH DRIVE                       412 REYNOLDS ROAD                          120 KETRIDGE STREET
HUNTINGTON BEACH CA 92647              FORT EDWARD NY 12828                       WEST BABYLON NY 11704




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JILL ZUCKMAN                           JILLANN GARRISON                            JILLETTE, PENN
3007 PORTER STREET NW                  7715 20TH AVE SW                            3555 W RENO AVE STE L
WASHINGTON DC 20008                    SEATTLE WA 98106                            LAS VEGAS NV 89118




JILLIAN BLEISTEIN                      JILLIAN LEWIS INC                           JILLIAN NAGGY
10700 NW 14TH STREET                   201 50TH AVE NO.21F                         1054 OLD TOWN ROAD
APT 155                                LONG ISLAND CITY NY 11101                   CORAM NY 11727
PLANTATION FL 33322



JILLIAN PSENICKA                       JILLIAN WALLACE                             JIM BAERWALD
1C WOODHOLLOW LANE                     8227 RUTLEDGE                               640 GOLDEN SPRINGS DRIVE #F
HUNTINGTON NY 11743                    MERRILLVILLE IN 46410                       DIAMOND BAR CA 91765




JIM BRANDENBURG                        JIM COCKS                                   JIM COOPER PHOTOGRAPHY
7555 CHATTERTON                        5 GLENLAWN COURT                            347 EAST 65TH ST
INDIANAPOLIS IN 46254                  SEA CLIFF NY 11579                          NEW YORK NY 10021




JIM CUTLER VOICE OVERS INC             JIM CUTLER VOICE OVERS INC                  JIM GARDNER JR CONSTRUCTION
17 MICHAELS LANE                       3 OAK VALLEY DRIVE                          2502 N LAZONA DR
OLD BROOKVILLE NY 11545                GLEN HEAD NY 11545                          MESA AZ 85203




JIM H ARMANTROUT                       JIM HATHAWAY                                JIM HODGES
11460 ANDASOL AVENUE                   1992 E CIENEGA AVENUE                       962 BEAVER DAM ROAD
GRANADA HILLS CA 91344                 UNIT B                                      CHESAPEAKE VA 23322
                                       COVINA CA 91724



JIM JENSEN                             JIM K ROBERTSON                             JIM KELLEY & ASSOCIATES
28853 GARNET HILL COURT                902 E VALENCIA AVENUE                       TWIN STACKS CENTER
AGOURA HILLS CA 91301                  BURBANK CA 91501                            1100 MEMORIAL HWY
                                                                                   DALLAS PA 18612



JIM MCCRARY PHOTOGRAPHER               JIM MCCRARY PHOTOGRAPHER                    JIM MURRAY MEMORIAL FOUNDATION
1232 MARIPOSA ST NO.B                  PO BOX 1161                                 PO BOX 491304
GLENDALE CA 91205                      GLENDALE CA 91209-1161                      LOS ANGELES CA 90049




JIM MURRAY MEMORIAL FOUNDATION         JIM OSBORNE PHOTOGRAPHY                     JIM PEASE PHOTOGRAPHY
PO BOX 995                             44 BUSTETTER DR                             11836 DARLINGTON AVE NO.2
LA QUINTA CA 92247-0995                FLORENCE KY 41042                           LOS ANGELES CA 90049




JIM PERRY GIVENS                       JIM POWELL                                  JIM ROUSE ENTREPRENEURIAL FUND, INC
4041 TRAIL CREEK ROAD                  2300 BELLEVUE AVENUE                        9250 BENDIX RD N
BOZEMAN MT 59715                       APT# 7                                      COLUMBIA MD 21044
                                       LOS ANGELES CA 90026




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JIM RUBIN ASSOCIATES INC                JIM VARNER                                 JIM WALTERS
481 HALF HOLLOW ROAD                    14628 TONIKAN ROAD                         3872 ALBERAN AVENUE
DIX HILLS NY 11746-5860                 APPLE VALLEY CA 92307-3740                 LONG BEACH CA 90808




JIM WISER                               JIM WRIGHT                                 JIMENEZ GARCIA, MARIA MARGARITA
701 MILTON ROAD                         2 S. STOUGH                                140 BONAVENTURE BLVD NO.201
INVERNESS IL 60067                      HINSDALE IL 60521                          WESTON FL 33326




JIMENEZ MCCUE, EVE MARIE                JIMENEZ, ARTURO                            JIMENEZ, ELVIN
372 NOTRE DAME DR                       7705 CAMINO REAL NO.301                    CASA NO.83 EL CORTE
ALTAMONTE SPRINGS FL 32714              MIAMI FL 33143                             SAMANA SARTA YAGUATE
                                                                                   SAN CRISTOBAL



JIMENEZ, FELIX DANIEL                   JIMENEZ, SUSSEL                            JIMENEZ, TOMAS
735 NW 21 COURT                         1585 W 56TH PLACE                          3381 LEBON DRIVE NO.204
MIAMI FL 33125                          HIALEAH FL 33012                           SAN DIEGO CA 92122




JIMENEZ, TOMAS                          JIMIKA DAVIS                               JIMMIE GILMORE
3381 LEBRON DRIVE NO.204                4520 WILLIAMS BLVD.                        4701 S GRAMERCY PLACE
SAN DIEGO CA 92122                      APT. #A308                                 LOS ANGELES CA 90062
                                        KENNER LA 70065



JIMMIE HAMBRICK                         JIMMY A HANCOCK                            JIMMY BURKE
4419 W. ADAMS                           155 PLUMOSUS DRIVE                         5701 W. WASHINGTON BLVD
CHICAGO IL 60624                        ALTAMONTE SPRINGS FL 32701                 APT 1E
                                                                                   CHICAGO IL 60644



JIMMY D LAMPHIER                        JIMMY DEDIOS                               JIMMY FISHBEIN PHOTOGRAPHY INC
675 JOSHUA RD                           362 PLAZA PARAISO                          111 S MORGAN STREET NO.507
NIPOMO CA 93444                         CHULA VISTA CA 91914                       CHICAGO IL 60607




JIMMY JAMES                             JIMMY PAGE                                 JIMMY PARK
4400 GEORGETOWN DR                      8608 HOLLOWAY DR #118                      4020 WOKING WAY
ORLANDO FL 32808                        WEST HOLLYWOOD CA 90069                    LOS ANGELES CA 90027




JIMMY POLLOCK                           JIMMY RENESCA                              JIMMY WEATHERSBEE
8234 N. RUPPERT ROAD                    11325 PORTO CT.                            1253 ROBIN ROAD
MILLERSVILLE MD 21108                   ORLANDO FL 32837                           WEST COVINA CA 91791




JIMMY Y GROUNDS                         JIMMYS PERMIT SERVICE                      JIN, LAN
28753 SR 44 EAST                        7413 HANNUM AVE                            1876 BLUFFHILL DR
EUSTIS FL 32736                         CULVER CITY CA 90230                       MONTEREY PARK CA 91754




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JINES CARRASCO                          JING & MIKE COMPANY                        JING & MIKE COMPANY
7 ANN LEE LANE                          1128 4TH AVE                               73-4325 LIHILIHI PLACE
TAMARAC FL 33319                        LONGMONT CO 80501                          KAILUA-KONA HI 96740




JINGLE NETWORKS INC                     JINI TAYLOR                                JINNY WELCH
36 CROSBY DRIVE                         425 W. ROSCOE                              97 MISTY MEADOW
BEDFORD MA 01730                        APT # 102                                  PERKASIE PA 18944
                                        CHICAGO IL 60657



JINX PERSZYK                            JISCHKE, ROBERT                            JIWON SONG
PO BOX 335                              839 N MUHLENBERG ST                        8 W MONROE ST.
WIND GAP PA 18091                       ALLENTOWN PA 18104                         APT. #1604
                                                                                   CHICAGO IL 60603



JIYEON YOO                              JK GROUP INC                               JKO NEWS AGENCY INC
2306 MATHEWS AVENUE                     PO BOX 7174                                6311 W PATTERSON
1                                       PRINCETON NJ 08543-7174                    CHICAGO IL 60634
REDONDO BEACH CA 90278



JKO NEWS AGENCY INC                     JKS CMFV LLC                               JKS CMFV LLC
6311 W PATTERSON / 00099                RE: FOUNTAIN VALLEY 17700 NEW              C/O SOUTHPARK MANAGEMENT CO
CHICAGO IL 60634                        C/O SOUTHPARK MANAGEMENT CO                4 UPPER NEWPORT PLZA   100
                                        4 UPPER NEWPORT PLAZA, NO. 100             NEWPORT BEACH CA 92660
                                        NEWPORT BEACH CA 92660


JKS SYSTEMS LLC                         JKS-CMFV, LLC                              JL 360 LLC
PO BOX 474                              RE: FOUNTAIN VALLEY 17700 NEW              1600 ROUTE 22 2ND FLR
MARLBOROUGH CT 06447                    C/O SOUTHPARK MANAGEMENT COMPANY           UNION NJ 07083
                                        4 UPPER NEWPORT PLAZA, SUITE 100
                                        NEWPORT BEACH CA 92660


JL MEDIA INC                            JL MEDIA INC                               JL NEWS
ATTN PHOEBE RAMOS                       1600 ROUTE 22                              5119 HAWTHORNE LN
7205 CORPORATE CENTER DR NO.505         UNION NJ 07083                             LISLE IL 60532
MIAMI FL 33126-1231



JM & ASSOCIATES INC                     JM MCGANN & COMPANY                        JM MECHANICAL AND ASSOCIATES
20428 WEATHERSTONE ROAD                 2230 S BLUE ISLAND AVE                     3016 BARKLEY AVE NO.4
KILDEER IL 60047                        CHICAGO IL 60608                           BRONX NY 10465




JMD ELECTRIC INC                        JML, INC. C/O RELEVISION                   JN MANAGEMENT INC
26 EVERGREEN DR                         C/O RELEVISION                             5010 N CENTRAL AVE NO.145
MANORVILLE NY 11949                     107 W. IMPERIAL HWY                        CHICAGO IL 60630
                                        STE 319
                                        BREA CA 92821


JN MANAGEMENT INC                       JNJ NEWS INC                               JO & MC CORPORATION
JN MANAGEMENT INC                       19205 STATELINE RD                         22349 SW 66TH AVENUE
T BLACKSHIRE / ID NO. XX-XXXXXXX        LOWELL IN 46356                            BOCA RATON FL 33428
230 S DEARBORN ST     STOP 5115
CHICAGO IL 60604




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JO ANN LAWSON                           JO ANN LINDO                               JO ANNE LAWSON
C/O H. DUNCAN GARNETT, JR.              226 SYPE DRIVE                             PATTEN, WORNOM, HATTEN & DIAMONSTEIN,
PATTEN,WORNOM,HATTEN & DIAMONSTEIN,     CAROL STREAM IL 60188                      H. DUNCAN GARNETT, JR.
12350 JEFFERSON, AVENUE, SUITE 300                                                 12350 JEFFERSON AVENUE, STE 300
NEWPORT NEWS VA 23602                                                              NEWPORT NEWS VA 23602


JO ELLEN STOVEALL                       JO LYNNE SINOR                             JO SHANEYBROOK
250 SW 29TH AVENUE                      510 LOGAN PLACE                            2826 CUB HILL ROAD
FORT LAUDERDALE FL 33312                APT. 17                                    BALTIMORE MD 21234
                                        NEWPORT NEWS VA 23601



JO SIMONS                               JO'ANN JONES-MURRAY                        JO-ANN SCOTTO
2657 PALMETTO ROAD                      8623 S. LAFLIN                             90 VREELAND AVENUE
MT. DORA FL 32757                       CHICAGO IL 60620                           RUTHERFORD NJ 07070




JO-ANNE SMALLWOOD                       JOACHIM H JERON                            JOAN ALUTTO
21042 E ARROW HIGHWAY                   7119 FERNHILL DRIVE                        43 LANCASTER DRIVE
APT 88                                  MALIBU CA 90265                            WINDSOR CT 06095
COVINA CA 91724



JOAN BEVER                              JOAN CAIRNEY                               JOAN CARY
383 EAST 1500 NORTH                     633 S. PLYMOUTH CT                         22W771 HACKBERRY DRIVE
CHESTERTON IN 46304                     APT. #504                                  GLEN ELLYN IL 60137
                                        CHICAGO IL 60605



JOAN CONNELLY                           JOAN CORBOY                                JOAN DUMAINE
873 VICEROY ROAD                        2907 CRABTREE LANE                         86 TRACY DRIVE
WANTAGH NY 11793                        WILMETTE IL 60091                          MANCHESTER CT 06042




JOAN E FULTON                           JOAN FANTAZIA                              JOAN GAJEWSKI
276 FIFTH AVE                           3594 VERDUGO VISTA TERRACE                 9800 WESTWOOD DR
NEW YORK NY 10001                       LOS ANGELES CA 90065                       TAMARAC FL 33321




JOAN GARGISO                            JOAN GARVEY                                JOAN GHERMAN
21 DEER LANE                            4 OAKDALE AVENUE                           261 N MONROE AVE
WANTAGH NY 11793                        CENTRAL ISLIP NY 11722                     LINDENHURST NY 11757




JOAN HAFNER                             JOAN HALL                                  JOAN HAMILTON
601 NORTH 8TH STREET                    5 MCMULLEN AVENUE                          5 MANOR COURT
APT #2                                  APT 1                                      RISING SUN MD 21911
ALLENTOWN PA 18102                      STAMFORD CT 06902



JOAN HARRIS                             JOAN IMHOF                                 JOAN KNUTH
7225 PLANTAIN DR.                       24 ADAMS AVE                               35 WALNUT AVE
ORLANDO FL 32818                        BAYVILLE NY 11709                          FARMINGVILLE NY 11738




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JOAN KUEKER                             JOAN LAKE                                  JOAN M WONG
634 N DRURY LANE                        78932 FALSETTO DRIVE                       10560 BETHANY CENTER RD.
ARLINGTON HTS IL 60004                  PALM DESERT CA 92211                       EAST BETHANY NY 14054




JOAN MARIE HALL                         JOAN MASHALLA                              JOAN MCIVER
2105 HILLSIDE TERRACE                   4738 SOUTH CHAMPLAIN                       2201 NE 32ND COURT
CARY IL 60013-2836                      CHICAGO IL 60615                           LIGHTHOUSE POINT FL 33064




JOAN MORANO                             JOAN NAGELKIRK                             JOAN NORMAN
425-B HERITAGE HILLS                    3135 N CLIFTON                             1251 W 33RD STREET
SOMERS NY 10589                         COACHHOUSE                                 LONG BEACH CA 90810
                                        CHICAGO IL 60657



JOAN O'SHEA                             JOAN P RING                                JOAN REMINICK
112 S. MAPLE                            28684 PORTSMOUTH DRIVE                     2 SALISBURY DRIVE S
#B1                                     SUN CITY CA 92586                          EAST NORTHPORT NY 11731
OAK PARK IL 60302



JOAN RICCA                              JOAN RILEY                                 JOAN SHANAHAN
PO BOX 2046                             406 S. VINCENT STREET                      55 CEDAR STREET
WEST HEMPSTEAD NY 11552                 BALTIMORE MD 21223                         HICKSVILLE NY 11801




JOAN SPRINGHETTI                        JOAN STAKE                                 JOAN STANIS
108 WEST 2ND STREET                     1219 SW 2ND AVENUE                         1000 W GREGORY
#613                                    POMPANO BEACH FL 33060                     MT PROSPECT IL 60056
LOS ANGELES CA 90012



JOAN STATTEL                            JOAN WALTERS                               JOAN, NATHAN
2206 JACKSON AVE                        5 MAIDSTONE COURT                          4221 LENORE LANE NW
SEAFORD NY 11783                        APT. D                                     WASHINGTON DC 20008
                                        BALTIMORE MD 21237



JOANALYN MENDOZA                        JOANEL JEAN-PHILIPPE                       JOANIE COX
2597 ARCADIA CIRCLE                     1049 CLOVER CREST RD.                      6646 VILLA SONRISA DRIVE
NAPERVILLE IL 60540                     ORLANDO FL 32811                           APT. #512
                                                                                   BOCA RATON FL 33433



JOANN BATY                              JOANN DANG                                 JOANN DEMICCO
855 GRANADA PARKWAY                     620 ABBOT AVE                              31 BEL AIRE DR
LINDENHURST NY 11757                    SAN GABRIEL CA 91776                       PLAINVILLE CT 06062-1000




JOANN FALAJLO                           JOANN H LUNDBERG                           JOANN HAMASAKI
2354 NORTHGATE                          25607 SHINNECOCK DR                        1330 JAMAICA LANE
NORTH RIVERSIDE IL 60546                MONEE IL 60449                             OXNARD CA 93030




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JOANN KELLEHER                         JOANN KLIMKIEWICZ                          JOANN MANNO
1340 N. ASTOR STREET                   34 COTTAGE STREET                          25 PRESTON AVENUE
408                                    NEW HAVEN CT 06511                         STATEN ISLAND NY 10312
CHICAGO IL 60610



JOANN MATIKA                           JOANN MILLER                               JOANN MRACEK-HUSSEY
1040 BARBARA DRIVE                     3017 WEYMOUTH COURT                        1698 NE 33 ST
COPLAY PA 18037                        APOPKA FL 32703                            OAKLAND PARK FL 33334




JOANN PALMINTERI                       JOANN PARKER                               JOANN PRIHODA-REECE
57 STRAWBERRY COMMONS                  27 N LOCKWOOD                              657 LOMOND DR.
RIVERHEAD NY 11901                     CHICAGO IL 60644                           MUNDELEIN IL 60060




JOANN SENECHAL                         JOANN STOUT                                JOANN WHITE
163 WINTERWOOD                         926 TILGHMAN STREET                        403 N. ROBINSON STREET
WINDSOR CT 06095                       ALLENTOWN PA 18102                         BALTIMORE MD 21224




JOANN ZOLLO                            JOANNA CHERRY                              JOANNA LAST
9828 NW 28TH CT.                       3121 BRENDAN AVENUE                        3874 BEVERLY RIDGE DRIVE
CORAL SPRINGS FL 33065                 BALTIMORE MD 21213                         SHERMAN OAKS CA 91423-4511




JOANNA LIN                             JOANNA PONCAVAGE                           JOANNA ROGUSKA
5029 ELMWOOD AVE                       1144 PECAN LANE                            1337 N. ASHLAND AVENUE
APT 17                                 WALNUTPORT PA 18088                        APT 2
LOS ANGELES CA 90004                                                              CHICAGO IL 60622



JOANNAH HILL                           JOANNE CAUSEY                              JOANNE CIURZYNSKI
729 OVERBROOK ROAD                     5015 EVELYN CT                             16 JACOBIE ROAD
BALTIMORE MD 21212                     NEWPORT NEWS VA 23605                      SOUTH GLENS FALLS NY 12803




JOANNE FEHNEL                          JOANNE HEENAN                              JOANNE LALONDE
18 RED OAK DR                          63 DIAMOND DRIVE                           1136 PATTENS MILLS ROAD
PALMERTON PA 18071                     PLAINVIEW NY 11803                         QUEENSBURY NY 12804




JOANNE LEHR                            JOANNE M STEINBACH                         JOANNE MARLOWE
3055 NEWBURG ROAD                      7444 VIA RIO NIDO                          259 BAYARD ST
NAZARETH PA 18064                      DOWNEY CA 90241                            OCEANSIDE NY 11572




JOANNE MCCRACKEN                       JOANNE MOZDZER                             JOANNE NETREFA
938 1/2 N. VERDUGO ROAD                176 COOPER PLACE                           305 BRIDGEWATER LANE
GLENDALE CA 91206                      NEW HAVEN CT 06515                         BLOOMINGDALE IL 60108




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JOANNE NEUSHOTZ                        JOANNE O'MALLEY                            JOANNE PECK
25 PLEASANT AVE                        8445 LEROY STREET                          421 NO. BAY DRIVE
PLAINVIEW NY 11803                     SAN GABRIEL CA 91775                       NO. MASSAPEQUA NY 11758




JOANNE POCIASK                         JOANNE REISS                               JOANNE SCHMITZ
220 WOODBORO DR                        1440 W. WOODLAWN STREET                    730 S BOND ST
WEST CHICAGO IL 60185                  ALLENTOWN PA 18102                         BALTIMORE MD 21231




JOANNE STERN                           JOANNE WERNICK                             JOAQUIM FRAGA
400 N. MCCLURG CT.                     4 BROWN CONE GARTH                         69 OAKWOOD AVENUE
#3010                                  BALTIMORE MD 21236                         WEST HARTFORD CT 06119
CHICAGO IL 60611



JOAQUIN VELAZQUEZ                      JOB FEVRIER                                JOBS4POINTOCOM LLC
1645 S. PALMETTO AVENUE                530 SW 63RD TERRACE                        24 JUNIPER RD
ONTARIO CA 91764                       MARGATE FL 33068                           WESTPORT CT 06880




JOBY METAYER                           JOCELYN BRAHAM                             JOCELYN HAYES
241 NW 11TH STREET                     7100 RALEIGH ST.                           4101 WEST ROSECRANS AVENUE
APT 1                                  HOLLYWOOD FL 33024                         APT#18
POMPANO BEACH FL 33060                                                            HAWTHORNE CA 90250



JOCELYN SHELTRAW                       JOCELYN STEWART                            JOCELYN, MILDRED
8 HOLLINWOOD                           214 E 106TH STREET                         637 NW 6TH CT APT 1
IRVINE CA 92618                        LOS ANGELES CA 90003                       HALLANDALE FL 33009




JOCHYMEK, BRENDA G                     JOCKEL, BONNY                              JOD KAFTAN
5164 WYDELLA RD                        44 S EMERSON AVE                           1121 PRINCETON ST
LILBURN GA 30047                       AMITYVILLE NY 11701                        APT 3
                                                                                  SANTA MONICA CA 90404



JODEY LAWRENCE                         JODI BRESLIN                               JODI CENTERBAR
896 CAPITAL                            17 DOONE DRIVE                             33 PEACH TREE LANE
COSTA MESA CA 92627                    SYOSSET NY 11791                           QUEENSBURY NY 12804




JODI COHEN                             JODI DANOW                                 JODI HIGGINS
2033 W. CUYLER                         4376 ACACIA CIRCLE                         1551 TURNER STREET
CHICAGO IL 60618                       COCONUT CREEK FL 33066                     ALLENTOWN PA 18102




JODI ZISSLER                           JODIE RUSSO                                JODIE, JACOBS
94 W. RANDALL                          104 SCHUYLER HEIGHTS                       590 LONGWOOD DR
COOPERSVILLE MI 49404                  GANSEVOORT NY 12831                        LAKE FOREST IL 60045




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JODY ALIFF                             JODY BORRELLI                              JODY PAIGE
4837 NORTH AGNES AVENUE                43 ANCHOR STREET                           1316 KLEIN AVE.
TEMPLE CITY CA 91780                   APT S                                      DOWNERS GROVE IL 60516
                                       FREEPORT NY 11520



JODY PEREZ                             JODY REES                                  JODY WILLIAMS
3421 LARGA AVENUE                      9181 NW 17TH STREET                        2 PERRY STREET
LOS ANGELES CA 90039                   PLANTATION FL 33322                        CORTLANDT MANOR NY 10567




JOE ABEL FENCE                         JOE BELL                                   JOE BREAZEALE
86-36 VAN WYCK EXPRESSWAY              1910 LANARK AVENUE                         P.O. BOX 892
RICHMOND HILL NY 11418                 DALLAS TX 75203                            GENEVA FL 32732




JOE C MORENO PHOTOGRAPHY               JOE CHAVIRA                                JOE CHLOPECKI - HI RISE
245 W NORTH AVE APT 111                11742 SUNGLOW STREET                       18812 AVERS AVE
CHICAGO IL 60610                       SANTA FE SPRINGS CA 90670                  FLOSSMOOR IL 60422




JOE DAN BOYD                           JOE DENSON                                 JOE FULLER
5107 N. FM 312                         3818 W. CONGRESS PKWY                      811 MIMOSA DR
WINNSBORO TX 75494-6467                CHICAGO IL 60624                           ALTAMONTE SPRINGS FL 32714




JOE GUTIERREZ                          JOE H ALVAREZ                              JOE KELLY
PO BOX 60666                           PO BOX 187                                 1209 WEST SHERWIN AVENUE
CHICAGO IL 60660                       HAPPY CAMP CA 96039                        APT. #501
                                                                                  CHICAGO IL 60626



JOE KLEIN PHOTOGRAPHY                  JOE KLEIN PHOTOGRAPHY                      JOE LUNA
5483 FORBES AVE                        5483 FORBES AVE                            844 S 4TH STREET
SAN DIEGO CA 92112                     SAN DIEGO CA 92120                         MONTEBELLO CA 90640




JOE M BOLDEN                           JOE MERTINS                                JOE NEVAREZ
1233 E HELMICK STREET                  9327 AVENUE SAN TIMOTEO                    1985 HEATHER DR
CARSON CA 90746                        CHERRY VALLEY CA 92223                     MONTEREY PARK CA 91755




JOE NOLAN                              JOE OGAN                                   JOE ORLANDO
5611 SANFORD                           3012 PINNACLE CT.                          1182 W. MIDDLE TPKE.
HOUSTON TX 77096                       CLERMONT FL 34711                          APT. C-1
                                                                                  MANCHESTER CT 06040



JOE ORLANDO                            JOE RODRIGUEZ                              JOE RODRIGUEZ
1506 ANTRIM COURT                      18516 IBEX AVENUE                          7810 MADRONA
ROSEVILLE CA 95747                     ARTESIA CA 90701                           FONTANA CA 92336




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JOE ROMERO                           JOE T. RICHARDSON                          JOE TORRES
138-16 68TH DRIVE                    RE: LAFAYETTE, IN TRIBUNE                  15797 VISTA DEL MAR ST
FLUSHING NY 11367                    3555 MCCARTY LANE                          RANCHO BELAGO CA 92555
                                     LAFAYETTE IN 47905



JOE TURCO                            JOE W ROMERO                               JOE WEBER
755 WILDFLOWER CIRCLE                1014 BIG DALTON AVENUE                     2300 GETTYSBURG DRIVE
NAPERVILLE IL 60540                  LA PUENTE CA 91746                         AURORA IL 60506




JOE WIGDAHL PHOTOGRAPHY INC          JOEANN O'ROURKE                            JOEL BARNETT
320 N DAMEN AVE                      260 JAMAICA AVE                            6740 S. OGLESBY AVE.
SUITE D 202-B                        MEDFORD NY 11763                           UNIT 1
CHICAGO IL 60612                                                                CHICAGO IL 60649



JOEL C NEWFIELD                      JOEL DIRANY                                JOEL EMERMAN
127 HOLLY TERRACE                    303 EDWARD LANE                            1660 N. LASALLE
SUNNYVALLE CA 94086                  CATASAUQUA PA 18032-1340                   403
                                                                                CHICAGO IL 60614



JOEL GREENBERG                       JOEL GREENBERG                             JOEL HAPP
994 E POPPYFIELDS DR                 435 N. MICHIGAN                            83 GNARLED HOLLOW ROAD
ALTADENA CA 91001                    FOREIGN DEPARTMENT                         EAST SETAUKET NY 11733
                                     CHICAGO IL 60611



JOEL HOOD                            JOEL KUCK                                  JOEL LIBERATORE
1104 E. 46TH STREET                  46 WESTCHESTER AVENUE                      4553 N. MAGNOLIA AVE.
APT. #204                            WEST BABYLON NY 11704                      #506
CHICAGO IL 60653                                                                CHICAGO IL 60640



JOEL M LANG                          JOEL MEYER                                 JOEL MIDDLETON
247 GROVERS AVENUE                   4054 NW 62 DR                              322 DEATON DRIVE
BRIDGEPORT CT 06605                  COCONUT CREEK FL 33073                     HAMPTON VA 23669




JOEL O BREDING                       JOEL ONIGBINDE                             JOEL P LUGAVERE
2404 VIA MARIPOSA WEST               2471 NW 56 AVE                             23250 SPIRES STREET
UNIT 1F                              APT 106                                    WEST HILLS CA 91304
LAGUNA WOODS CA 92637-2003           LAUDERHILL FL 33313



JOEL POWELL                          JOEL RIEBOW                                JOEL RUBIN
P.O. BOX 1612                        137 QUARTERLINE                            8308 CLINTON STREET
ORLANDO FL 32802                     PORTLAND MI 48875                          APT. #3
                                                                                WEST HOLLYWOOD CA 90048



JOEL SAPPELL                         JOEL SEIBERT                               JOELI LEWIS
2716 EL ROBLE DR                     1449 5TH STREET                            4011 MARJEFF PLACE
LOS ANGELES CA 90041                 LA VERNE CA 91750                          APT. E
                                                                                NOTTINGHAM MD 21236




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JOELLE LEVINE                            JOES NEWS AGENCY                           JOETTA FIELDS-TAYLOR
298 NE 45 STREET                         10826 S CALHOUN AVE                        18651 WALNUT AVENUE
POMPANO BEACH FL 33064                   CHICAGO IL 60617                           COUNTRY CLUB HILLS IL 60478




JOETTA PALUMBO                           JOETTE S DORAN & ASSOCIATES PC             JOEY HARRISON
12798 SPINNAKER LANE                     2300 N BARRINGTON RD   STE 400             2141 BUCHANAN BAY CIR.
WELLINGTON FL 33414                      HOFFMAN ESTATES IL 60169                   #105
                                                                                    ORLANDO FL 32839



JOEY JAIME                               JOEY NAHIGIAN                              JOEY TRAMAN
2903 WEST SUMMERDALE AVE                 28 HONEY LOCUST COURT                      1516 W NELSON ST
1B                                       LAFAYETTE HILL PA 19444                    GDN
CHICAGO IL 60625                                                                    CHICAGO IL 60657



JOHAN T STRAND                           JOHANNA NEUMAN                             JOHANNA STARAL
8 CABRILLEAR LANE                        4801 HAMPDEN LANE                          815 SHERMAN STREET
HOT SPRINGS VILLAGE AR 71909             APT. #502                                  #15
                                         BETHESDA MD 20814                          DENVER CO 80203



JOHANNA VEGA                             JOHANNES TESSELAAR                         JOHANSSON, ANN
275 N. PINE STREET                       27726 KRISTIN LANE                         1254 9TH STREET
NORTH MASSAPEQUA NY 11758                SAUGUS CA 91350                            NO.9
                                                                                    SANTA MONICA CA 90401



JOHANY LACAYO                            JOHENNY MOLINA                             JOHN A VILLANTI
3438 4TH AVENUE                          1611 WEST TILGHMAN STREET                  3053 HARROW ROAD
LOS ANGELES CA 90018                     ALLENTOWN PA 18102                         SPRING HILL FL 34606-3136




JOHN A WELLCK                            JOHN A WONSIL                              JOHN A. KIDWELL SR
146 HIGHLAND DR                          5334 N. MEADE AVENUE                       27 SHAMROCK CIRCLE
CEDAR CITY UT 84720                      CHICAGO IL 60630                           WESTMINSTER MD 21157




JOHN A. QUATELA, P.C.                    JOHN ACANFORA                              JOHN ADAMIAN
35 ARKAY DRIVE, SUITE 200                P.O. BOX 77                                4 STANTON AVENUE
HAUPPAUGE NY 11788                       BREINIGSVILLE PA 18031                     SOUTH HADLEY MA 01075




JOHN ADAMS                               JOHN ADDAMO                                JOHN ADKINS
1827 CAMPUS ROAD                         16 NEW HIGHWAY                             5111 S DREXEL BOULEVARD
LOS ANGELES CA 90041                     COMMACK NY 11725                           3F
                                                                                    CHICAGO IL 60615



JOHN ALLISON                             JOHN ALTAMIRANO                            JOHN ALTAVILLA
134 PHEASANT HILL ROAD                   424 N OSWEGO STREET                        22 FLAX MILL HOLLOW
DEER PARK IL 60010                       ALLENTOWN PA 18109                         BRANFORD CT 06405




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JOHN ALTMEYER                        JOHN ANDERS                                JOHN ANDERSEN
430 CLATON ROAD                      14839 WILLOW HEARTH                        9514 S. FRANCISCO
#4F                                  HOUSTON TX 77084                           EVERGREEN PARK IL 60805
NEW ROCHELLE NY 10804



JOHN ANDREW DELOS REYES              JOHN ARNOLD                                JOHN ARTHUR
14626 VIA EL CAMINO                  1 WESTGATE ROAD                            1506 GRANT STREET
BALDWIN PARK CA 91706                MASSAPEQUA NY 11762                        SANTA MONICA CA 90405




JOHN ASTOBIZA                        JOHN ATWOOD                                JOHN ATZINGER
7376 HUNTINGTON SQUARE LANE #215     2203 CEDAR LAKES CT.                       25 AMHERST DR.
CITRUS HEIGHTS CA 95621              PLAINFIELD IL 60586                        MANCHESTER CT 06040




JOHN AUSTIN                          JOHN B DUNN                                JOHN B MC CARTHY
43 LINCOLN STREET                    6 PELHAM SPRINGS PLACE                     4866 ROBINHOOD AVENUE
2ND FLOOR                            GREENVILLE SC 29615                        TEMPLE CITY CA 91780
HARTFORD CT 06106



JOHN B O'DONNELL JR                  JOHN B POINTS                              JOHN B TIMBERLAKE
601 HILTON AVE                       P.O. BOX 888                               135 EASTERN PARKWAY
BALTIMORE MD 21228                   MT. VERNON TX 75457                        BROOKLYN NY 11238




JOHN B WATERSTRAT                    JOHN BADENHOP                              JOHN BAILEY
8219 E LIPPIZAN TRAI                 3216 MANHATTAN AVENUE                      321 RAVINE ROAD
SCOTTSDALE AZ 85258                  #4                                         HINSDALE IL 60521
                                     MANHATTAN BEACH CA 90266-3837



JOHN BAKER                           JOHN BARBER                                JOHN BARRETT
2300 W. WABANSIA                     3507 W. LEXINGTON                          90 WOODBRIDGE STREET
APT #229                             CHICAGO IL 60624                           SOUTH HADLEY MA 01075
CHICAGO IL 60647



JOHN BARRETT                         JOHN BASTA                                 JOHN BAUDILLE
4108 METAURO DRIVE                   29 FORK LANE                               145 ROBERTS ST
LIVERPOOL NY 13080                   HICKSVILLE NY 11801                        HOLBROOK NY 11741




JOHN BEARDSLEY                       JOHN BEAUDOIN                              JOHN BECKER
21609 BERMUDA ST                     27 MARGARET DRIVE                          2718 KINGFISHER VILLAGE
CHATSWORTH CA 91311                  QUEENSBURY NY 12804                        DELAND FL 32720




JOHN BEEBE                           JOHN BEEGAN                                JOHN BELL
2040 TRENT COURT                     366 PARK ROAD                              74 OVERLOOK DR
GLENVIEW IL 60025                    APT. B-1                                   EAST ISLIP NY 11730
                                     WEST HARTFORD CT 06119




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JOHN BELTHOFF                           JOHN BENDER                                JOHN BERGER
323 OLD MT TOM ROAD                     608 S. CUYLER AVE                          2358 CENTER STONE LANE
BANTAM CT 06750                         OAK PARK IL 60304                          RIVIERA BEACH FL 33404




JOHN BERNAL                             JOHN BETHELMY                              JOHN BEYER
734 N. MONTEBELLO BLVD                  2363 GRAND AVE                             2444 CENTRAL RD
MONTEBELLO CA 90640                     APT 10B3                                   GLENVIEW IL 60025
                                        BALDWIN NY 11510



JOHN BIDSTRUP                           JOHN BILLIARD                              JOHN BIRMINGHAM
1200 S. WINSOR BLVD.                    6874 N TUTTEROW ROAD                       318 S. EVERGREEN AVE.
LOS ANGELES CA 90019                    MONROVIA IN 46157-9003                     ARLINGTON HEIGHTS IL 60005




JOHN BISOGNANO                          JOHN BITINAS                               JOHN BITLER
227 N. OAK PARK AVENUE                  400 NORTH MCCLURG COURT                    48 WENSLEY LANE
#2W                                     APT# 3703                                  EAST ISLIP NY 11730
OAK PARK IL 60302                       CHICAGO IL 60611



JOHN BLAKE IV                           JOHN BLANDA                                JOHN BOARDMAN
4100 SOUTH LAND PARK DRIVE              11 COURTYARD CIRCLE                        3611 MAGNOLIA BLVD W
SACRAMENTO CA 95822                     CENTERPORT NY 11721                        SEATTLE WA 98199




JOHN BOBERA                             JOHN BOBERA                                JOHN BOELL
13773 KIRKLAND DR.                      1027 N AUBURN WOODS DRIVE                  159 MARCY ST
HUNTLEY IL 60142                        PALATINE IL 60067                          WEST BABYLON NY 11704




JOHN BOSCH                              JOHN BRACKEN                               JOHN BRADEN
418 PEMBROOKE LANE                      2145 FIRETHORN RD.                         5506 123RD PLACE
WINDSOR CT 06095                        BALTIMORE MD 21220                         DELAIRE CA 90250




JOHN BRAME                              JOHN BRENNAN                               JOHN BREUNIG
7229 S FAIRFIELD                        424 NE 9 AVENUE                            35 ARDSLEY ROAD
CHICAGO IL 60629                        FORT LAUDERDALE FL 33301                   STAMFORD CT 06906




JOHN BROWN                              JOHN BUCKLEY                               JOHN BUDDE
3605 NE 16TH AVE                        3184 PLYERS MILL ROAD                      211 EAST 17TH STREET
OAKLAND PARK FL 33334                   KENSINGTON MD 20895                        NEW YORK NY 10003




JOHN BUGNACKI                           JOHN BURMESTER                             JOHN BURNETT
5325 NE 4 TERRACE                       19 LEONARD ST                              18 WATERSIDE LANE
FORT LAUDERDALE FL 33334                SMITHTOWN NY 11787                         CLINTON CT 06413




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JOHN BURTON                            JOHN BUTOYI                                JOHN BYER
1618 G ASHBY SQ                        43 BOND STREET                             102 RIDGE ROAD
EDGEWATER MD 21040                     HARTFORD CT 06114                          GLEN BURNIE MD 21060




JOHN C CHOYNACKI                       JOHN C CLARKE                              JOHN C DALEY
5852 SEA FOREST DRIVE                  7478 EPWORTH DRIVE                         14 SCHOOL STREET
APARTMENT 427                          BROOKSVILLE FL 34601                       LAKE RONKONKOMA NY 11779
NEW PORT RICHY FL 34652



JOHN C DARNALL                         JOHN C HABERMAN                            JOHN C LONG JR
6378 LADA AVE.                         1589 WHISPER CREEK                         143 BRENT ROAD
CAMARILLO CA 93012                     BEAUMONT CA 92223                          MANCHESTER CT 06040




JOHN C MURTON                          JOHN CAHILL                                JOHN CAMDEN
5411 WEST LAWRENCE AVENUE              8219 W. 44TH PLACE                         446 N. WELLS STREET
APT 3D                                 LYONS IL 60534                             APT. #2000
CHICAGO IL 60630                                                                  CHICAGO IL 60610



JOHN CANNIZZO                          JOHN CANNIZZO                              JOHN CANNON
1718 VALLEY FORGE PLACE                151 RINGNECK DRIVE                         58 OLD OAK LANE
DOWNERS GROVE IL 60516                 GLENDALE HGTS IL 60139                     LEVITTOWN NY 11756




JOHN CANOSA                            JOHN CARANGELO                             JOHN CAREY
415 HAZEL COURT                        4 TANGLEWOOD DRIVE                         35 WOODVALE AVE
ORLANDO FL 32804                       BALLSTON LAKE NY 12019                     KINGS PARK NY 11754




JOHN CARPENTIERI                       JOHN CARRINGTON                            JOHN CARROLL
308 UNQUA ROAD                         94 HILTON DRIVE                            131 S. WALNUT AVENUE
MASSAPEQUA NY 11758                    SOUTH WINDSOR CT 06074                     ARLINGTON HEIGHTS IL 60005




JOHN CASSIDY                           JOHN CETIN                                 JOHN CHANDLER
274 TIFFANY LANE                       200 W 7 STREET                             1307 SULPHUR SPRING RD
BRISTOL CT 06010                       DEER PARK NY 11729                         BALTIMORE MD 21227




JOHN CHARLES SHANNON                   JOHN CHARLTON                              JOHN CHASE
2513 BENNINGTON AVE                    11 JEFFERSON STREET                        4420 N. DOVER STREET
SHERERVIILLE IN 46375                  UNIONVILLE CT 06085                        APT #3
                                                                                  CHICAGO IL 60640



JOHN CHEEVERS                          JOHN CHERWA                                JOHN CHISHOLM
1919 W. POTOMAC AVENUE                 920 WILD CHERRY COURT                      3823 VISTA COURT
CHICAGO IL 60622                       LAKE MARY FL 32746                         LA CRESCENTA CA 91214




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JOHN CHIU                             JOHN CHRISTOPOLUS                          JOHN CHRISTOPOULOS
30 CHELSEA DRIVE                      911 BUCKINGHAM DRIVE                       725 HYDE PARK DR
SMITHTOWN NY 11787                    STEVENSVILLE MD 21666                      GLEN BURNIE MD 21061




JOHN CIOFFI                           JOHN CLARKE                                JOHN CLARKE
5 SCHUYLER DR                         1404 W. FLOURNOY                           21W211 NORTH LANE
COMMACK NY 11725                      2                                          ITASCA IL 60143
                                      CHICAGO IL 60607



JOHN COBBLE                           JOHN COFFREN                               JOHN COLLINS
4665 SOUTH HAMPTON DR.                223 ARMS CHAPEL RD.                        53 SAND STREET
ORLANDO FL 32812                      REISTERSTOWN MD 21136                      MASSAPEQUA NY 11758




JOHN COLLIS                           JOHN COLUMBUS                              JOHN CONLIN
49 TIPPIN DRIVE                       465 OAK AVE                                77 HARDING STREET
HUNTINGTON STATION NY 11746           RIVERHEAD NY 11901                         HAZLETON PA 18201




JOHN CONNOLLY                         JOHN CONSOLATORE                           JOHN CONTRERA
7826 SPRINGER STREET                  12 BROOK AVE                               8 SOUTHVIEW CT
DOWNEY CA 90242                       BLUE POINT NY 11715                        YAPHANK NY 11980




JOHN COOPER                           JOHN COOPER                                JOHN CORLEY
607 S WENONAH AVENUE                  2253 241ST STREET                          999 4TH STREET
OAK PARK IL 60304                     LOMITA CA 90717                            CALIMESA CA 92320




JOHN CORRIGAN                         JOHN COSENZA                               JOHN COUSINS
3714 EL MORENO STREET                 7630 DANUBE DRIVE                          5033 S. SHIELDS
LA CRESCENTA CA 91214                 BAYONET POINT FL 34667-2369                CHICAGO IL 60609




JOHN COWITCH                          JOHN CR NICKERSON                          JOHN CRAIG
106 CANDLEWYCKE LANE                  273 WEST AVENUE                            805 W. LEADORA AVE.
NORTHAMPTON PA 18067                  DARIEN CT 06820                            GLENDORA CA 91741




JOHN CREWDSON                         JOHN CROLL                                 JOHN CROOK
6437 DAHLONEGA ROAD                   3526B BAHIA BLANCA W                       2414 PEACHWOOD CIRCLE
BETHESDA MD 20816                     LAGUNA WOODS CA 92653                      #6
                                                                                 ATLANTA GA 30345



JOHN CRUSE                            JOHN CSIZMAR                               JOHN CURTIN
3008 44TH ST.                         77 VILLAGE CIRCLE                          858 BENTLEY GREEN CIRCLE
METAIRIE LA 70001                     NAUGATUCK CT 06770                         WINTER SPRINGS FL 32708




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JOHN CURTIS CHRISTIAN SCHOOL           JOHN CUTTER                                 JOHN CZAHOR
10125 JEFFERSON HIGHWAY                714 KAY COURT                               6947 WEST WOLFRAM STREET
RIVER RIDGE LA 70123                   MOUNT DORA FL 32757                         CHICAGO IL 60634




JOHN D BEACH                           JOHN D HANZELKO                             JOHN D KENDALL
75 CLARET                              605 CREEK WAY CIRCLE SE                     304 N ARMEL DR
IRVINE CA 92614                        BOLIVA NC 28422                             COVINA CA 91722




JOHN D'ORLANDO                         JOHN D'ORVILLIERS                           JOHN DALY
3214 HEIRLOOM ROSE PLACE               1251 W HENDERSON ST                         3196 MILBURN AVE
OVIEDO FL 32766                        CHICAGO IL 60657-1403                       BALDWIN NY 11510




JOHN DARAKJIAN                         JOHN DAVENPORT                              JOHN DAVIDSON
607 ARDEN AVE                          819 SPRING PARK LOOP                        2801 NE 2ND AVE
GLENDALE CA 91202                      CELEBRATION FL 34747-4825                   WILTON MANORS FL 33334




JOHN DAVIS                             JOHN DEMORAIS                               JOHN DERENCHES
3007 SCOTCH CT                         89 RENN LANE                                34 HESTON RD
ABINGDON MD 21009                      BERLIN CT 06037                             SHIRLEY NY 11967




JOHN DERIVAL                           JOHN DERRIG                                 JOHN DESARLE
1250 W. MAGNOLIA CIRCLE                5388 SOLWAY DRIVE                           3058 AVENUE R
DELRAY FL 33445                        MELBOURNE BEACH FL 32951                    BROOKLYN NY 11229




JOHN DESOURDY                          JOHN DESOUSA                                JOHN DEWEY
4093 SW 51ST STREET                    155 GRAHAM STREET                           3300 HERMANOS ST
FT. LAUDERDALE FL 33314                STRATFORD CT 06615                          PASADENA CA 91107




JOHN DEWEY                             JOHN DIAZ                                   JOHN DICIOCCIO
37 FARINGDON DRIVE                     650 W. 43RD STREET                          186 CONESTOGA WAY
CRYSTAL LAKE IL 60014                  CHICAGO IL 60609                            GLASTONBURY CT 06033




JOHN DICKINSON                         JOHN DIDYK                                  JOHN DOBBINS
2920 W. WILSON                         8521 CARGO DRIVE                            3 PATRICIA COURT
CHICAGO IL 60625                       YPSILANTI MI 48197                          MIDDLE ISLAND NY 11953




JOHN DONNELLY                          JOHN DOWD                                   JOHN DOWNS
536 W. ARLINGTON PL.                   3807 N RIDGEWAY                             306 SPRUCE DRIVE
APT # 305                              CHICAGO IL 60618                            HOLBROOK NY 11741
CHICAGO IL 60614




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JOHN DRAKE                               JOHN DUBON                                 JOHN DUNCLIFFE
4030 N ODELL                             188 MAIN STREET                            86 WEBSTER STREET
NORRIDGE IL 60634                        KEYPORT NJ 07735                           LYNBROOK NY 11563




JOHN DUNLEAVY                            JOHN DUSSMAN                               JOHN DYER
68 HELEN AVE                             1506 N. BEVERLY LANE                       100 SILVER MIST CIRCLE
PLAINVIEW NY 11803-5655                  ARLINGTON HEIGHTS IL 60004                 ALPHARETTA GA 30022




JOHN DYKES ILLUSTRATION INC              JOHN DYKES ILLUSTRATION INC                JOHN E CRIMMINS
515 HILL FARM ROAD                       PO BOX 177                                 40 MUTTONTOWN EASTWOODS ROAD
FAIRFIELD CT 06430                       SUDBURY CT 01776                           BUILDING 5, APT. 76
                                                                                    SYOSSET NY 11791



JOHN E FLICK                             JOHN E JONES                               JOHN E SATER
31 SEAVIEW DR                            4837 ARGOSY LANE                           505 WEST VIEW ST.
SANTA BARBARA CA 93108                   CARLSBAD CA 92008                          PO BOX 417
                                                                                    BRIDGEWATER VA 22812



JOHN E. BRYSON                           JOHN EATON                                 JOHN ECKERT
SOUTHERN CALIFORNIA EDISON CO.           4538 W. 89TH STREET                        25 BRIARGATE RD
2244 WALNUT GROVE AVE, RM. 428           HOMETOWN IL 60456                          CARY IL 60013
ROSEMEAD CA 91770



JOHN EDWIN KEESLER                       JOHN EICHBERGER                            JOHN ELLIOTT
4841 NW 76TH PLACE                       893 SHORELINE DR.                          10751 VALLEYHEART DR
POMPANO BEACH FL 33073                   AURORA IL 60504                            STUDIO CITY CA 91604




JOHN ENDERLEY                            JOHN ESTORGE                               JOHN F BRIGNOLI
144 KOEHL STREET                         24086 WATERCRESS DRIVE                     10343 MIRACLE LANE
MASSAPEQUA PARK NY 11762                 CORONA CA 92883                            NEW PORT RICHEY FL 34654




JOHN F GRUBE                             JOHN F KENNEDY SPACE CENTER NASA           JOHN F KENNEDY SPACE CENTER NASA
26 HALLOCK AVENUE                        COLLECTION PROCESSOR- GG-A                 ATTN FOR THE ACCOUNTS OF KENNEDY
SMITHTOWN NY 11787                       KENNEDY SPACE CENTER FL 32899              SPACE CENTER
                                                                                    BLDG 1111 C RD
                                                                                    STENNIS SPACE CTR MS 39529


JOHN F KRESZ                             JOHN F LUX                                 JOHN F NEEDHAM JR
982 N LITTLE MUSKIE RD.                  4250 N MARINE DR                           29726 KNOLL VIEW DR
PARK FALLS WI 54552                      APT 822                                    RANCHO PALOS VERDES CA 90275
                                         CHICAGO IL 60613



JOHN F WESCOTT                           JOHN F. KENNEDY SPACE CENTER               JOHN F. KENNEDY SPACE CENTER
1902 N. EAGLE CHASE DRIVE                RE: TITUSVILLE KENNEDY SP CEN              RE: TITUSVILLE KENNEDY SP CEN
HERNANDO FL 34442                        40 MONUMENT CIRCLE                         ATTN: MS. LEILA G. TAYLOR
                                         INDIANAPOLIS IN 46204                      KSC REAL PROP OFFICER, MAIL CODE: TA-F
                                                                                    KENNEDY SPACE CENTER FL 32899




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JOHN FAIRHALL                        JOHN FALLON                                JOHN FERGUSON
103 FAIRFIELD DR                     170 NORTH FIRST ST                         3100 RIVERSIDE DR
BALTIMORE MD 21228                   ORANGE CA 92869                            BURBANK CA 91505




JOHN FERRARO                         JOHN FILLIPITCH                            JOHN FIORILLO
125 BRENTWOOD DRIVE                  602 N. WAIOLA                              6689 MINE DRIVE
CHESHIRE CT 06410                    LA GRANGE IL 60526                         MACUNGIE PA 18062




JOHN FIZZ                            JOHN FLEMING                               JOHN FLOCK
1109 SEYBOLT AVENUE                  216 SW 20TH STREET                         4120 N OTTAWA
CAMARILLO CA 93010                   APT 3                                      NORRIDGE IL 60706
                                     FORT LAUDERDALE FL 33315



JOHN FOLEY                           JOHN FOOTE                                 JOHN FORLIVIO
135 WEST CAMINO REAL AVENUE          422 WEST MELROSE STREET                    28 FIELDCREST ROAD
ARCADIA CA 91007                     APT#1504                                   NEW CANAAN CT 06840
                                     CHICAGO IL 60657



JOHN FRAHM                           JOHN FRANK                                 JOHN FRASSE
114 KIDWELL AVENUE                   3136 OLD FORGE HILL RD                     232 WEST SHORE DR
CENTREVILLE MD 21617                 STREET MD 21154                            MASSAPEQUA NY 11758




JOHN FRIER                           JOHN FRITZE                                JOHN FROMM
255 GORDON WAY                       48 E. RANDALL STREET                       42 BARBARA DR
GRANTS PASS OR 97527                 BALTIMORE MD 21230                         CENTEREACH NY 11720




JOHN FX BROWNE ASSOCIATES PC         JOHN G SHEDD AQUARIUM                      JOHN G SHEDD AQUARIUM
38710 WOODWARD                       1200 S LAKESHORE DRIVE                     75 REMITTANCE DR
SUITE 220                            CHICAGO IL 60605                           SUITE 3056
BLOOMFIELD HILLS MI 48304                                                       CHICAGO IL 60675-3056



JOHN G SHEDD AQUARIUM                JOHN GALLAGHER                             JOHN GALLANT
PO BOX 71459                         28 EDWARD STREET                           788 WISHARD AVENUE
CHICAGO IL 60694-1459                MANCHESTER CT 06040                        SIMI VALLEY CA 93065




JOHN GALLANT                         JOHN GALLANT                               JOHN GARAY
C/O EMPLOYMENT LAWYERS GROUP         EMPLOYMENT LAWYERS GROUP                   20316 DAMIETTA DR
KARL GERBER                          KARL GERBER                                DIAMOND BAR CA 91789
13418 VENTURA BLVD.                  13418 VENTURA BLVD
SHERMAN OAKS CA 91423                SHERMAN OAKS CA 91423


JOHN GARCIA                          JOHN GARCIA                                JOHN GAUL
311 EAST RANDOLPH ST.                1431 N. EUCLID ST                          9 UNION STREET
GLENDALE CA 91207                    SANTA ANA CA 92703                         CATASAUQUA PA 18032




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JOHN GAYNOR                            JOHN GEORGE BOWEN                          JOHN GIANNINI
1159 5TH AVENUE                        450 NW 87 RD                               24 WEST 13TH ST
EAST NORTHPORT NY 11731                #201                                       DEER PARK NY 11729
                                       PLANTATION FL 33324



JOHN GIBBONS                           JOHN GIBSON                                JOHN GILL
11 GLENBROOK DR                        9 GENEVA PLACE                             139 N. FINDLEY ST
PHOENIX MD 21131                       GREENLAWN NY 11740                         YORK PA 17402




JOHN GINES                             JOHN GLENNON                               JOHN GLIONNA
3529 SOMERSET CIRCLE                   49 THUNDER RD                              2487 15TH AVENUE
KISSIMMEE FL 34746                     MILLER PLACE NY 11764                      SAN FRANCISCO CA 94116




JOHN GLOVER                            JOHN GOBER                                 JOHN GONTA
333 ANDOVER DR.                        1425 COUNTRY CLUB ROAD                     140 E ZORANNE DR
APT 247                                WESCOSVILLE PA 18106                       FARMINGDALE NY 11735
BURBANK CA 91504



JOHN GOODWIN                           JOHN GRAHAM                                JOHN GREENE
4207 W. 21ST STREET                    PO BOX 120                                 73 MEADOW VIEW DR
CHICAGO IL 60623                       MOUNT SINAI NY 11766                       POMONA CA 91766




JOHN GREGORIO                          JOHN GRIFFIN                               JOHN GRUBER
541 MAYWOOD LANE                       1764 MUSTANG COURT                         16819 EMPTYNESS DR
LISLE IL 60532                         WHEATON IL 60189                           CYPRESS TX 77429




JOHN GUIDICE                           JOHN H CLELAND                             JOHN H NELSON
365 RIDGEFIELD ROAD                    801 SUZANNE LANE S E                       4 WYNKOOP COURT
HAUPPAUGE NY 11788                     ALBUQUERQUE NM 87123                       BETHESDA MD 20817




JOHN HAGER                             JOHN HAMBRICK                              JOHN HANCOCK LIFE INSURANCE COMPANY
813 ERIE ST                            1007 N FEDERAL HWY #381                    200 BERKELEY ST
HAVRE DE GRACE MD 21078                FORT LAUDERDALE FL 33304                   BOSTON MA 02117




JOHN HANDE                             JOHN HANDY                                 JOHN HANSEN
1014 ZOOK DRIVE                        3622 N CALMGROVE AVENUE                    840 TARTAN TRAIL
GLENDALE CA 91202                      COVINA CA 91724                            HIGHLAND VILLAGE TX 75077




JOHN HARDING                           JOHN HARGRAVE                              JOHN HARRIS
10053 CARILLON DR.                     5202 CARMELYNN ST.                         5353 W.ALABAMA ST
ELLICOTT CITY MD 21042                 TORRANCE CA 90503                          SUITE 415
                                                                                  HOUSTON TX 77056




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JOHN HARRISON                       JOHN HARTNETT                               JOHN HARVEY
7630 S. MAY                         216 PEMBROKE ROAD                           4649 MASSENA DRIVE
CHICAGO IL 60620                    C/O V. FRANKENTHAL                          WILLIAMSBURG VA 23188
                                    NAPERVILLE IL 60540



JOHN HATZFELD                       JOHN HAUGEN                                 JOHN HAWKINS
24 LOCUST AVE                       3222 N SEMINARY AVE                         2388 DAVID COURT
OAKDALE NY 11769                    APT REAR                                    EAST MEADOW NY 11554
                                    CHICAGO IL 60657-3311



JOHN HELLER                         JOHN HELMER                                 JOHN HENDRICKS
1225 N. HAYWORTH AVE                11 SHEILA DRIVE                             718 FRANKLIN AVENUE
WEST HOLLYWOOD CA 90046             HAUPPAUGE NY 11788                          RIVER FOREST IL 60305




JOHN HENSLEY                        JOHN HERNANDEZ                              JOHN HERNDON
10520 KEY WEST ST                   5837 PICKERING AVE                          2330 VOORHIES AVENUE #2E
TEMPLE CITY CA 91780                APT 308                                     BROOKLYN NY 11235
                                    WHITTIER CA 90601



JOHN HILDEBRAND                     JOHN HODGE                                  JOHN HOEFFEL
23 TARGET ROCK DR                   2823 N COURSE DRIVE                         1800 N. VAN NESS AVENUE
LLOYD NECK NY 11743                 APT 206                                     LOS ANGELES CA 90028
                                    POMPANO BEACH FL 33069



JOHN HOFFMAN                        JOHN HOLLAND                                JOHN HOLLAND
241 41ST ST                         80 SPRUCE STREET                            1941 NE 31ST STREET
LINDENHURST NY 11757                UNIT 4-L                                    APT 2
                                    STAMFORD CT 06902                           LIGHTHOUSE POINT FL 33064



JOHN HORIE                          JOHN HORN                                   JOHN HOUSEMAN
1111 ROBERTA AVENUE                 261 SAN MIGUEL ROAD                         51 LINDEN STREET
ORLANDO FL 32825                    PASADENA CA 91105                           MASSAPEQUA NY 11758




JOHN HUDSON                         JOHN HULLAR                                 JOHN HUNTER
249 THUNDER RD                      25202 TANOAK LANE                           28032 NANTUCKET STREET
HOLBROOK NY 11741                   LAKE FOREST CA 92630                        CASTAIC CA 91384




JOHN I KARLSSON                     JOHN INGLE                                  JOHN IRWIN
6224 LANNING LANE                   10 COVINGTON STREET                         2503 GRAMERCY CIRCLE
LAS VEGAS NV 89108                  HUNTINGTON STATION NY 11746                 BALTIMORE MD 21234




JOHN J BRENNAN                      JOHN J CARROLL                              JOHN J DAEMER
13801 E. YALE AVE.                  PO BOX 113                                  440 ROYAL TERN DR
APT # 108                           DEPOSIT NY 13754                            BAREFOOT BAY FL 32976
AURORA CO 80014




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JOHN J HARTMANN                          JOHN J MC CRORY                            JOHN J SNYDER
15 SYCAMORE PLACE                        187 DOLPHIN COVE QUAY                      33751 POWERHOUSE ROAD
EAST NORTHPORT NY 11731                  STAMFORD CT 06902                          SPACE # 8
                                                                                    AUBERRY CA 93602



JOHN J WILLIAMS                          JOHN J ZAKARIAN                            JOHN JACKSON
7937 WOODED GLEN CT                      656 RIDGE ROAD                             17626 72ND AVENUE EAST
PASADENA MD 21122                        WETHERSFIELD CT 06109                      PUYALLUP WA 98375




JOHN JACKSON                             JOHN JACKSON                               JOHN JACKSON
53 VASSAR AVENUE                         2611 S. SALTMEADOW DRIVE                   949 CHURCH ST
APT. #2                                  NAPERVILLE IL 60564                        DECATUR GA 30030
STAMFORD CT 06902



JOHN JACOBSEN                            JOHN JACOME                                JOHN JALINSKAS
5630 QEEN ANNE COURT                     196 BROADWAY                               56 BURNT HILL ROAD
NEW MARKET MD 21774                      GREENLAWN NY 11740                         FARMINGTON CT 06032




JOHN JANCUK                              JOHN JARECKI                               JOHN JAROS
14226 MANOR RD                           5548 S MULLIGAN                            1802 SO OAK PARK AVENUE
PHOENIX MD 21131                         CHICAGO IL 60638                           BERWYN IL 60402




JOHN JEANSONNE                           JOHN JENKINS                               JOHN JOHNSON
39 FOSTER LA                             600 S. DEARBORN STREET                     124 CARR DR.
BABYLON NY 11702                         UNIT #2105                                 APT. C
                                         CHICAGO IL 60605                           GLENDALE CA 91205



JOHN JONES                               JOHN JOSEFAK                               JOHN JOY
914 JASMINE PARK DRIVE #1                23 RALPH AVE                               277 W 18 ST
BAKERSFIELD CA 93312                     LAKE GROVE NY 11755                        DEER PARK NY 11729




JOHN JOYCE                               JOHN JOYNER                                JOHN KEATING
102 S. KARWICK RD.                       5530 THORNBURN ST.                         7330 DARIEN LANE
MICHIGAN CITY IN 46360                   #203                                       DARIEN IL 60561
                                         LOS ANGELES CA 90045



JOHN KEATING                             JOHN KEEVERS                               JOHN KEILMAN
610 TWIN HILL COURT                      6910 W. 65TH STREET                        269 EAST DIVISION
FORT SALONGA NY 11768                    CHICAGO IL 60638                           VILLA PARK IL 60181




JOHN KEITH PALENICA                      JOHN KELCH                                 JOHN KELLEHER
3348 S MORGAN                            8044 EASTDALE ROAD                         2 HILLCREST AVENUE
1ST FLOOR                                BALTIMORE MD 21224                         BREWSTER NY 10509
CHICAGO IL 60608




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JOHN KELLEHER                          JOHN KENNEDY                               JOHN KENZIE
14 LOREN DRIVE                         1780 MARSTON PLACE                         3933 N. SAWYER AVENUE
QUEENSBURY NY 12804                    TALLAHASSEE FL 32308                       APT. #2
                                                                                  CHICAGO IL 60618



JOHN KERFOOT                           JOHN KERKE                                 JOHN KIERNAN
5412 HALBRENT AVENUE                   1517 S EUCLID AVENUE                       38750 VISTA ROCK DRIVE
VAN NUYS CA 91411                      BERWYN IL 60402                            MURRIETA CA 92563




JOHN KILLELEA                          JOHN KING                                  JOHN KINSEY
19506 115TH AVE.                       66 JESSE PL.                               104 BROWN STREET
UNICT C                                EAST MEADOW NY 11554                       VALPARAISO IN 46383
MOKENA IL 60448



JOHN KISSELL                           JOHN KITSON                                JOHN KITTLING
23404 EVALYN AVENUE                    1934 N. 76TH AVE.                          232 LEXINGTON DRIVE
TORRANCE CA 90505                      ELMWOOD PARK IL 60707                      BOLINGBROOK IL 60440




JOHN KLINGAMAN                         JOHN KNIPPER                               JOHN KO
5019 KLEE MILL RD                      14 BENNINGTON ST.                          763 FAIRVIEW AVE
SYKESVILLE MD 21784                    MELVILLE NY 11747                          APT G
                                                                                  ARCADIA CA 91007



JOHN KOCHERSBERGER                     JOHN KODIS                                 JOHN KOHUT
159 BEAVER DAM RD                      66 OLD FARMS RD                            7603 S. MADISON CIRCLE
BROOKHAVEN NY 11719                    AVON CT 06001                              CENTENNIAL CO 80122




JOHN KOLLIAS                           JOHN KREBS                                 JOHN KRENCS
721 N. ISABEL                          42 CLARENDON TERRACE                       2272 GROVE ROAD
APT #12B                               NEWINGTON CT 06111                         ALLENTOWN PA 18109
GLENDALE CA 91206



JOHN KRIKORIAN                         JOHN KROPP                                 JOHN KUBEL
P.O. BOX 2065                          813 10 STREET                              30 RUSSET DRIVE
GLENDALE CA 91209                      WEST BABYLON NY 11704                      EASTON PA 18045




JOHN KUNTZ                             JOHN KUUSTO                                JOHN KYLE
25630 CROSS CREEK DRIVE                1056 N. HIGHLAND AVENUE                    8612 HERMOSA DRIVE
UNIT H                                 FULLERTON CA 92835                         SAN GABRIEL CA 91775
YORBA LINDA CA 92887



JOHN L BUBERL JR                       JOHN L SNYDER                              JOHN L SPRIGG
3530 BAY DRIVE                         10687 N CORONADO CIR                       3610 KEYSTONE AVE
BALTIMORE MD 21220                     FRESNO CA 93730                            BALTIMORE MD 21211




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JOHN L STROSNIDER                      JOHN LABRUNO                               JOHN LACY
434 MARYLAND AVE                       29 LADWIK LANE                             1305 MAIN STREET
PASADENA MD 21122                      CLIFTON NJ 07013                           GLASTONBURY CT 06033




JOHN LAFAYETTE                         JOHN LAFIRENZA                             JOHN LAMPHERE
120 HAVERHILL LANE                     1500 W 226TH ST                            24 WHITEOAK STREET
SCHAUMBURG IL 60193                    #20                                        MIDDLE ISLAND NY 11953
                                       TORRANCE CA 90501



JOHN LASPINA                           JOHN LAWRENCE                              JOHN LE MAIRE
67 WINTER LANE                         48 YUMA LANE                               190 RIDGE STREET
HICKSVILLE NY 11801                    EAST ISLIP NY 11730                        APT. #7A
                                                                                  GLENS FALLS NY 12801



JOHN LEARY                             JOHN LEHMAN                                JOHN LESLIE DAVIS
26 HANY LANE                           646 KITTENDALE CIRCLE                      5838 SHEPARD AVENUE
VERNON CT 06066                        BALTIMORE MD 21220                         SACRAMENTO CA 95819




JOHN LEWIS                             JOHN LINCK                                 JOHN LINDNER
382 HICKORY POINT BOULEVARD            9500 LINDA RIO DRIVE                       3752 SYKESVILLE ROAD
APT. #C                                SACRAMENTO CA 95827                        SYKESVILLE MD 21784
NEWPORT NEWS VA 23608



JOHN LIONETTI                          JOHN LIPPMAN                               JOHN LOBERTINI
59 WEST BROADWAY STREET                1596 N. ROOSEVELT AVE                      9072 ACORN RIDGE CIRCLE
PORT JEFFERSON STATION NY 11776        PASADENA CA 91104                          ELK GROVE CA 95758




JOHN LOBODA                            JOHN LOMELIN                               JOHN LORD
656 MELISSA DR.                        14724 SADDLEPEAK DR                        29 ORVILLE STREET
BOLINGBROOK IL 60440                   FONTANA CA 92336                           GLENS FALLS NY 12801




JOHN LORICK III                        JOHN LOVELACE                              JOHN LOVELL
124 S. HARPER AVENUE                   465 OLIVETA PLACE                          2610 NE 13 COURT
LOS ANGELES CA 90048                   LA CANADA CA 91011                         #4
                                                                                  FORT LAUDERDALE FL 33304



JOHN LYONS                             JOHN M LA FLEUR                            JOHN M MOORE
200 MURDOCK ROAD                       842 GOLDEN BARK DR                         12521 S. UNION
BALTIMORE MD 21212-1823                GRANTS PASS OR 97527                       CHICAGO IL 60628




JOHN MACKENZIE                         JOHN MAGINNIS                              JOHN MAHER
3356 N. SEMINARY                       814 NW 12TH AVENUE                         3627 WALDWICK CIR
APT. 1F                                DANIA FL 33004                             EL DORADO HILLS CA 95762
CHICAGO IL 60657




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JOHN MAINES                             JOHN MAKELY                                JOHN MALNIC
931 SW 8 ST                             175 EINSTEIN WAY                           P. O. BOX 1163
FORT LAUDERDALE FL 33315                EAST WINDSOR NJ 08512                      GLENDORA CA 91740




JOHN MANCINI                            JOHN MANNHART                              JOHN MANZI
64-14 84TH ST                           ONE LINDEN STREET                          3216 NW CHAPIN DR
MIDDLE VILLAGE NY 11379                 SELDEN NY 11784                            PORTLAND OR 97229




JOHN MARCHSTEINER                       JOHN MARGELOS                              JOHN MARINA
26284 CHARLOTTE DR                      6563 OLD CARRIAGE ROAD                     1653 QUINN DR.
BONITA SPRINGS FL 34135                 WINTER GARDEN FL 34787                     PLAINFIELD IL 60544




JOHN MARINO                             JOHN MARRA                                 JOHN MARRERO
470 KUEHNER AVENUE                      64 FRANK STREET                            508 PARK MANOR CR
SLATINGTON PA 18080                     LINDENHURST NY 11757                       BEL AIR MD 21014




JOHN MARSHALL                           JOHN MARSZEWSKI                            JOHN MARTI
159 SILO CIRCLE                         689 N. MILWAUKEE AVE.                      5121 HESPERUS
NAZARETH PA 18064                       CHICAGO IL 60622                           COLUMBIA MD 21044




JOHN MARTIN                             JOHN MARTIN                                JOHN MARTINEZ
5646 MARLETT STREET                     19515 KININGHAM DR                         600 WEST 165TH STREET
MIRA LOMA CA 91752                      BLOOMINGTON CA 92316                       APT. 6K
                                                                                   NEW YORK NY 10032



JOHN MARZO                              JOHN MASON                                 JOHN MASON
402 GREENBELT PARKWAY                   374 SHULTS ST                              31 RIVER VIEW
HOLTSVILLE NY 11742                     APT 108                                    AVON CT 06001
                                        LOS ANGELES CA 90042



JOHN MASSE                              JOHN MAYO                                  JOHN MAZZA PE ENGINEERING
P.O. BOX 1792                           465 WEST MAIN ST                           359 NEW YORK ROUTE 111
LAKESIDE CA 92040                       AMSTON CT 06231-1212                       SMITHTOWN NY 11787




JOHN MAZZULLI                           JOHN MC GRANAHAN                           JOHN MC-CORMACK
7 HEDWIG COURT                          404 WALNUT ST.                             4 WILLITS ROAD
WEST HARTFORD CT 06107                  VANDERGRIFT PA 15690                       GLEN COVE NY 11542




JOHN MC-NALLY                           JOHN MCCLINTOCK                            JOHN MCCORMICK
326 NASSAU BLVD                         5721 RIDGEDALE RD                          338 N. EDGEWOOD AVENUE
MINEOLA NY 11501                        BALTIMORE MD 21209                         LA GRANGE PARK IL 60526-5506




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JOHN MCCORMICK                         JOHN MCDONALD                              JOHN MCDONOUGH
177 SO YORK STREET                     4404 W. ADELE LANE                         31 PIAVE TERRACE
UNIT C                                 OAK FOREST IL 60452                        LINDENHURST NY 11757
ELMHURST IL 60126



JOHN MCDOUGALD                         JOHN MCGUIRK                               JOHN MCINTYRE
101 DURHAM STREET                      37 EAST SENECA ST                          5516 PLYMOUTH RD
HARTFORD CT 06112                      MASSAPEQUA NY 11758                        BALTIMORE MD 21214




JOHN MCKEON                            JOHN MCMAHON                               JOHN MCMAHON
32 HEWLETT DRIVE                       4 MOUNTAIN VIEW DRIVE                      56 CHERUBINA LANE
SOUND BEACH NY 11789                   NEWINGTON CT 06111                         NORTH BABYLON NY 11703




JOHN MCNULTY                           JOHN MCWILLIAMS                            JOHN MEADOWS
1234 5TH STREET                        4627 BLUE PINE CIR                         P.O. BOX 295
WEST BABYLON NY 11704                  LAKE WORTH FL 33463                        GRAND ISLAND NY 14072




JOHN MEADOWS                           JOHN MELLON                                JOHN MELO
5423 NW 54TH DRIVE                     12 MILFORD COURT                           107 PLEASANT STREET
COCONUT CREEK FL 33073                 EASTON PA 18045                            APT. L
                                                                                  ENFIELD CT 06082



JOHN MEYER                             JOHN MICEK                                 JOHN MICHAEL KONSTANTARAS
3 OLD WHITE TURKEY ROAD                116 LILAC STREET                           708 KRESSWOOD DR.
BROOKFIELD CT 06804                    HARRISBURG PA 17110                        MCHENRY IL 60050




JOHN MICHAEL WIRTZ                     JOHN MIKUSKA                               JOHN MILLER
300 N PARK BLVD                        220 ROSSFORD LANE                          243 GARDEN STREET
STREAMWOOD IL 60107                    NEW LENOX IL 60451                         WESTBURY NY 11590




JOHN MINER                             JOHN MINI INDOOR LANDSCAPES                JOHN MINI INDOOR LANDSCAPES
5215 N MYRTUS                          233 FORDHAM STREET                         250 BRENNER DRIVE
TEMPLE CITY CA 91780                   BRONX NY 10464-1414                        CONGERS NY 10920




JOHN MISSOURI                          JOHN MITCHELL                              JOHN MOCKLER
41 VANDERBILT AVE                      386 S BURNSIDE AVENUE #1J                  83 KNOLLWOOD DRIVE
BABYLON NY 11704                       LOS ANGELES CA 90036                       CARLE PLACE NY 11514




JOHN MOCZULSKI                         JOHN MOGOR                                 JOHN MOLOCHNICK
17798 CAMINO DE YATASTO                13406 VERGENNES ST                         12056 ANDREW STREET
PACIFIC PALISADES CA 90272             LOWELL MI 49331                            PLANO IL 60545




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                          Case 08-13141-BLS     Doc 17-2      Filed 12/08/08   Page 287 of 800
JOHN MONTORIO                          JOHN MOODY                                 JOHN MOORE
290 N. HUDSON AVENUE                   39231 NICOLE DRIVE                         1365 YORK AVENUE
APT 408E                               PALMDALE CA 93551                          APT. 7C
PASADENA CA 91101                                                                 NEW YORK NY 10021



JOHN MORAN                             JOHN MORENO                                JOHN MORREALE
140 S WATER ST                         3725 E. SIERRA MADRE BLVD                  84-25 86TH ROAD
EAST WINDSOR CT 06088-9656             PASADENA CA 91107                          WOODHAVEN NY 11421




JOHN MOSER                             JOHN MOULTON                               JOHN MUELLER
207 NORTH 3RD STREET                   5045 W. 33RD AVE                           2141 N. MULLIGAN AVE
LEHIGHTON PA 18235                     DENVER CO 80212                            CHICAGO IL 60639




JOHN MUELLER                           JOHN MULLIN                                JOHN MURPHY
522 W. 23RD STREET                     1056 OSTERMAN AVENUE                       C/O THE WALL STREET JOURNAL
SAN PEDRO CA 90731                     DEERFIELD IL 60015                         PRUDENTIAL TOWER 7F
                                                                                  CHIYODA-KU, TOKYO 1000014



JOHN N MC COLLUM                       JOHN NASH                                  JOHN NELSON
300 VZ CR 4717                         356 MT. SHASTA DRIVE                       102 LAKEWOOD CIR
BEN WHEELER TX 75754                   SAN RAFAEL CA 94903                        GRAFTON VA 23692




JOHN NEWINN                            JOHN NITZ                                  JOHN NOOTENS
10214 PINE FLATS DR                    1510 W CAMINO URBANO                       1237 WEST NELSON STREET
HOUSTON TX 77095                       GREEN VALLEY AZ 85614                      CHICAGO IL 60657




JOHN NOSEL                             JOHN NOWOTNY                               JOHN NULSEN
21301 COMPASS LANE                     1007 SHERRYWOOD ST.                        850 HANNA ROAD
HUNTINGTON BEACH CA 92646              FERN PARK FL 32730                         MANCHESTER MO 63021




JOHN NUZZI                             JOHN O VARNELL                             JOHN O'BRIEN
4015 THORNGATE DR                      5002 N DALEVIEW                            1011 SALISBURY COURT
WILLIAMSBURG VA 23188                  TEMPLE CITY CA 91780                       LA CANADA CA 91011




JOHN O'CONNELL                         JOHN O'LOUGHLIN                            JOHN O'NEIL
18083 SW 13 ST                         1234 WILSHIRE                              11101 SE 208TH
PEMBROKE PINES FL 33029                APT# 436                                   APT #832
                                       LOS ANGELES CA 90017                       KENT WA 98031



JOHN O'NEILL                           JOHN OLAVARRIA                             JOHN OMARA
320 HIGHVIEW                           227 EAST 57TH STREET                       44 HARRIS DR
ELMHURST IL 60126                      APT. 5F                                    NEWINGTON CT 06111-4432
                                       NEW YORK NY 10022




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JOHN OPAT                            JOHN OWENS                                 JOHN OWENS
8079 WEST 174TH                      2665 W. 171ST ST.                          6033 N. SHERIDAN RD.
LOWELL IN 46356                      HAZEL CREST IL 60429                       #24D
                                                                                CHICAGO IL 60660



JOHN P ALLOCCO                       JOHN P DEBRETSKY                           JOHN P PUERNER
49 ELWOOD ROAD                       630 GATHERING WAY                          1018 SIERRA PINON
NORTHPORT NY 11768                   ORANGE CITY FL 32763                       SANTA FE NM 87501




JOHN P SCHEIBE                       JOHN PAIRMAN                               JOHN PALOMINO
5057 GAYNOR AVENUE                   43941 VINTAGE STREET                       261 ANDERSON ROAD
ENCINO CA 91436                      LANCASTER CA 93536                         NEW LENOX IL 60451




JOHN PANTALEAO                       JOHN PAPA                                  JOHN PARASKEVAS
132 COLES ROAD                       106 BOB-O-LINK COURT                       ONE STONY BROOK AVE
CROMWELL CT 06416                    SOUTHLAKE TX 76092                         STONY BROOK NY 11790




JOHN PARENTE                         JOHN PARKER                                JOHN PASTOR
200 RAMPART WAY                      4984 W CAMPUS DRIVE C-5                    139 N. 7TH STREET
#112                                 ALLENDALE MI 49401                         3 REAR
DENVER CO 80230                                                                 ALLENTOWN PA 18101



JOHN PATRICK WALSH                   JOHN PAYNE                                 JOHN PELCZAR
328 HICKORY DRIVE                    711 RHODE ISLAND AVENUE                    20 WESTMEADOW ROAD
CRYSTAL LAKE IL 60014                NORFOLK VA 23508                           ROCKY HILL CT 06067




JOHN PENNER                          JOHN PERCELL                               JOHN PERDIGAO
1940 NORTH VERMONT AVENUE            333 SOUTH FURROW STREET                    15666 HARTE LANE
APT # 3                              BALTIMORE MD 21223                         MOORPARK CA 93021
LOS ANGELES CA 90027



JOHN PHILLIPS                        JOHN PINA                                  JOHN PLUNKETT
1807 W. ADDISON                      75 PRENTICE STREET                         1822 VISTA LANE
APT # 4-W                            PLAINVILLE CT 06062                        TIMONIUM MD 21093
CHICAGO IL 60613



JOHN POELKING                        JOHN POGGI                                 JOHN POMPILIO
825 NORTH CHESTNUT AVENUE            4 SHATEL RD                                1560 E CITADEL COURT
ARLINGTON HEIGHTS IL 60004           PLAINVIEW NY 11803                         PALATINE IL 60074




JOHN PORCU                           JOHN POWALOWSKI                            JOHN PRESSLEY
1016 BAYRIDGE PARKWAY                1415 N. DEARBORN                           722 SECOND STREET
BROOKLYN NY 11228                    CHICAGO IL 60611                           WHITEHALL PA 18052




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JOHN PROTEAU                            JOHN QUIGG                                 JOHN R BARNEY
1472 SW 25 WAY                          1081 LONGVIEW AVENUE                       719 SW 16TH STREET
DEERFIELD BEACH FL 33442                PISMO BEACH CA 93449                       BOYNTON BEACH FL 33426-5415




JOHN R BIRKINSHAW                       JOHN R MURPHY                              JOHN R STANLEY
731 G STREET                            PO BOX 31042                               7949 WENTWORTH STREET
SPACE D3                                SEA ISLAND GA 31561                        SUNLAND CA 91040
CHULA VISTA CA 91910



JOHN R. WILLIAMS AND ASSOCIATES         JOHN RACHEY                                JOHN RADECKI
JOHN R. WILLIAMS, ESQ.                  5611 S. NEW ENGLAND AVE.                   20821 SARVER
51 ELM STREET                           CHICAGO IL 60638                           SHOREWOOD IL 60431
NEW HAVEN CT 06510



JOHN RAWLINGS                           JOHN REARDON                               JOHN REED
48 BALDWIN ROAD                         1325 N. ASTOR                              9448 NW 45TH PLACE
HEMPSTEAD NY 11550                      CHICAGO IL 60610                           SUNRISE FL 33351




JOHN REED                               JOHN REGINAL KEMP                          JOHN RHODES
6234 BUENA VISTA DRIVE                  602 SW 8TH COURT                           700 SW 17TH STREET
MARGATE FL 33063                        DELRAY BEACH FL 33444                      BOCA RATON FL 33486




JOHN RICCARDELLO                        JOHN RICKETT                               JOHN RIGGLE
106 S 6TH STREET                        18185 SUNDOWNER #843                       81 CHURCHILL DR.
BETHPAGE NY 11714                       CANYON COUNTRY CA 91387                    YORK PA 17403




JOHN RIGGS                              JOHN RILEY                                 JOHN RIVERA
67 MICHEL AVENUE                        55 MEADOW WAY                              366 MADISON AVENUE
FARMINGDALE NY 11735                    IRVINGTON NY 10533                         NORTH BRENTWOOD NY 11717




JOHN ROBERTS                            JOHN RODDEN                                JOHN RODRIGUEZ
38 TENNESSEE AVENUE                     130 NORTH WAIOLA                           415 N. COLLEGE STREET
HEMPSTEAD NY 11550                      LA GRANGE IL 60525                         LA HABRA CA 90631




JOHN ROMONOSKI                          JOHN ROSEMEYER                             JOHN ROUNTREE
24 MILLBURN ROAD                        6768 TIFFANY ROSE PLACE                    1025 W. CYPRESS
BOX 7561                                SANFORD FL 32771                           COVINA CA 91722
SOUND BEACH NY 11789



JOHN RUFFING                            JOHN RUGGIERO                              JOHN RUSSO
2165 HERBERT DRIVE                      28 RICHARDSON STREET                       116 ALTAMONT AVENUE
BETHLEHEM PA 18018                      QUEENSBURY NY 12804                        SEA CLIFF NY 11579




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JOHN RUSSO                             JOHN RUSSO PHOTOGRAPHY INC                 JOHN S DART
150 N BEDFORD RD                       6363 WILSHIRE BLVD STE 419                 12122 BOWMORE AVENUE
APT 8A                                 LOS ANGELES CA 90048                       NORTHRIDGE CA 91326
CHAPPAQUA NY 10514



JOHN S ELSE                            JOHN S HILL                                JOHN S PARSONS
5776 - 120TH STREET                    3700 CAZADOR STREET                        P O BOX 811
HOLSTEIN IA 51025                      LOS ANGELES CA 90065                       CARLSBORG WA 98324




JOHN SABO                              JOHN SAKASH COMPANY                        JOHN SAKASH COMPANY
6450 ARK ROAD                          433 ROMANS ROAD                            P O BOX 210
GLOUCESTER VA 23061                    ELMHURST IL 60126                          ELMHURST IL 60126




JOHN SALAZAR                           JOHN SALKA                                 JOHN SALO
3330 CASITAS AVENUE                    9A BARLOW AVENUE                           2426 MORENO DR
LOS ANGELES CA 90039                   GLEN COVE NY 11542                         LOS ANGELES CA 90039




JOHN SAPUTO                            JOHN SAUNDERS                              JOHN SCAFURA
5 JOHN STREET                          9560 OLIVE STREET                          5A MILBURN ST
SOUTH SETAUKET NY 11720                TEMPLE CITY CA 91780                       HICKSVILLE NY 11801




JOHN SCANLAN                           JOHN SCARPINITO                            JOHN SCELES
3 AVALON PLACE                         648 MYRTLE AVE                             2301 S. 12TH AVENUE
WETHERSFIELD CT 06109                  WEST ISLIP NY 11795                        NORTH RIVERSIDE IL 60546




JOHN SCHARPER                          JOHN SCHEINMAN                             JOHN SCHLICHT
47 GREENHURST ROAD                     5415 CONNECTICUT AVE.NW                    2281 MATTITUCK AVENUE
WEST HARTFORD CT 06107                 APARTMENT # 840                            SEAFORD NY 11783
                                       WASHINGTON DC 20015



JOHN SCHMELTZER                        JOHN SCHULTHEISS                           JOHN SCOTT KAYE
33 W. HURON ST.                        106 EAST 9TH STREET                        P.O. BOX 615
#509                                   HUNTINGTON STATION NY 11746                KILLINGTON VT 05751
CHICAGO IL 60610



JOHN SEIDL                             JOHN SELIG                                 JOHN SELLARE
102 ANN STREET                         4149 SIXTH AVENUE                          950 REDFIELD RD.
WINSTED CT 06098                       UNIT #35                                   APT. E
                                       SAN DIEGO CA 92103                         BEL AIR MD 21014



JOHN SEMINERIO                         JOHN SERENE                                JOHN SERKO
7 TIMBERLANE DRIVE                     9306 W. OLYMPIC BLVD                       521 SW 75 TER
COLONIA NJ 07067                       BEVERLY HILLS CA 90212                     PLANTATION FL 33317




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JOHN SHALEK                           JOHN SHALJIAN                              JOHN SHANKLIN
8070 NEVIS PLACE                      53 NORTH COUNTRY RD                        8408 SAUNDERS RD
WELLINGTON FL 33414                   MILLER PLACE NY 11746                      LUTHERVILLE MD 21093




JOHN SHANLEY                          JOHN SHISHENG XIE                          JOHN SIMON
4837 N OZANAM                         1154 DAYTON COURT                          1004 VALE ROAD
NORRIDGE IL 60706                     BUFFALO GROVE IL 60089                     BEL AIR MD 21014




JOHN SIMON                            JOHN SIRICA                                JOHN SLOAN
2425 SW 103 STREET                    188 WOODBINE AVENUE                        1018 N. WESTERN AVENUE
SEATTLE WA 98146                      NORTHPORT NY 11768                         LAKE FOREST IL 60045




JOHN SMIERCIAK                        JOHN SNIDER                                JOHN SNYDER
9445 CALUMET AVE.                     9795 JEFFERSON PARKWAY                     5267 WARNER AVENUE
ST. JOHN IN 46373                     H2                                         APT 363
                                      ENGLEWOOD CO 80112                         HUNTINGTON BEACH CA 92649



JOHN SOBCZAK                          JOHN SOBISKI                               JOHN SOKOLIS
W153 N9848 NEPTUNE DR.                1724 POLO COURT                            12737 CUNNINGHILL COVE RD
GERMANTOWN WI 53022                   LANCASTER CA 93535                         BALTIMORE MD 21220




JOHN SOPKO                            JOHN SPANO                                 JOHN SPEARS
875 MAPLE HILL RD                     9606 OAKMORE ROAD                          400 WEST 43RD STREET
NAUGATUCK CT 06770                    LOS ANGELES CA 90035                       APT. 42T
                                                                                 NEW YORK NY 10036



JOHN SPERLONGO                        JOHN SPIEGEL                               JOHN SPOT PORTABLE SERVICES
6440 FERN ST                          1358 VANBUREN STREET                       1565 AURORA AV
MARGATE FL 33063                      ALLENTOWN PA 18109                         AURORA IL 60504-8703




JOHN SPOT PORTABLE SERVICES           JOHN SPOT PORTABLE SERVICES                JOHN SPOT PORTABLE SERVICES
5050 WEST LAKE STREET                 P.O. BOX 2545                              PO BOX 9001099
MELROSE PARK IL 6010504-87            JOLIET IL 60434                            LOUISVILLE KY 40290-1099




JOHN SPOT PORTABLE SERVICES           JOHN SPYROS KASS                           JOHN SROKA
PO BOX 9001885                        4934 LAWN AVENUE                           1040 N WOOD ST
LOUISVILLE KY 40290-1885              WESTERN SPRINGS IL 60558                   CHICAGO IL 60622




JOHN STARK                            JOHN STERLING                              JOHN STEWART
520 PINEHURST CIRCLE                  824 MANOR ST                               2016 HILLCREST DR
202                                   YORK PA 17403                              HERMOSA BEACH CA 90254
WESTMINSTER MD 21158




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JOHN STOECKER                         JOHN STRASSNER                             JOHN SUDOL
18 LANDING RD                         6160 SOUTH WABASH WAY                      34 WALKLEY DRIVE
HUNTINGTON NY 11743                   GREENWOOD VILLAGE CO 80111                 SOUTHINGTON CT 06489




JOHN SULLIVAN                         JOHN SWANSON                               JOHN SWEIGART
10 MINEBANK COURT                     211 MICHAEL DRIVE                          206 HOLLY LANE
TOWSON MD 21286                       ROCKWOOD TN 37854                          NEW CASTLE IN 47362




JOHN T FARRELL                        JOHN T LA MARRE                            JOHN T LANG
RR 6 BOX 6661                         2316 RIVER TREE CIRCLE                     8507 SANDALWOOD COURT
SAYLORSBURG PA 18353                  SANFORD FL 32771                           RANCHO CUCAMONGA CA 91730




JOHN T LINEHAN                        JOHN T MCCUTCHEON                          JOHN T SPRAN
500 SO QUAKER LANE                    10 FOXPAW LN                               SW WHITEMARSH WAY
WEST HARTFORD CT 06110                SALUDA NC 28773                            2286
                                                                                 PALM CITY FL 34990



JOHN TATUM                            JOHN TAVARES                               JOHN TAYLOR
38 WELLS COURT                        309 EMORY RD                               1457 NORTH ELDERBERRY AVENUE
NEWPORT NEWS VA 23607                 MINEOLA NY 11501                           ONTARIO CA 91762




JOHN TEDESCHI                         JOHN THOMAS                                JOHN THOMAS
949 PEARL ST                          755 11TH AVENUE                            1660 N. GEORGE MASON DRIVE
BOHEMIA NY 11716                      LA GRANGE IL 60525                         ARLINGTON VA 22205




JOHN THOMASON                         JOHN THOMPSON                              JOHN THORN
12830 SW 10TH COURT                   420 LOCUST COURT SO                        165 N. CANAL ST.
DAVIE FL 33325                        ROCKVILLE CENTRE NY 11570                  1228
                                                                                 CHICAGO IL 60606



JOHN TORRES                           JOHN TRAIL                                 JOHN TRAINOR
6 SWALLOW LANE                        113 THIRD AVE                              40 EAST CHICAGO AVENUE, #242
BRENTWOOD NY 11717                    BALTIMORE MD 21227                         CHICAGO IL 60611




JOHN TREFNY                           JOHN TREVVETT                              JOHN TRINGONE
3608 S. 56TH COURT                    P.O. BOX 5952                              69 OAKLAND AVE
CICERO IL 60804                       WILLIAMSBURG VA 23188                      MILLER PLACE NY 11764




JOHN TRUITT                           JOHN TRUSKEY                               JOHN TURCK
441 FROST PLACE                       6110 CANSLER ROAD                          50 WEST 34TH STREET
LAKE FOREST IL 60045                  HOPKINSVILLE KY 42240                      APT 12C5
                                                                                 NEW YORK NY 10001




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JOHN TWOHEY                           JOHN TYRRELL                               JOHN UELAND
2715 BROADWAY                         25429 CYPRESS STREET                       1603 FREDERICK MICHAEL WAY
EVANSTON IL 60201                     LOMITA CA 90717                            LIVERMORE CA 94550




JOHN UMPHRED                          JOHN VALENTI                               JOHN VANDE WEGE
49 IDAHO AVE                          44-11 MACNISH STREET                       517 FAIRWOOD STREET
BAY SHORE NY 11706                    2G                                         DUARTE CA 91010
                                      ELMHURST NY 11373



JOHN VEYSEY                           JOHN VILLA                                 JOHN VINCZE
9830 NW 24TH STREET                   1 HAWK COURT                               3 GLENSTONE DRIVE
CORAL SPRINGS FL 33065                HOWELL NJ 07731                            VERNON CT 06066




JOHN VITANOVEC                        JOHN VON RHEIN                             JOHN VUILLEMOT
1256 FOREST GLEN N.                   1430 W WINONA STREET                       24 OAK RIDGE ROAD
WINNETKA IL 60093                     APT 1                                      BURLINGTON CT 06013
                                      CHICAGO IL 60640-2821



JOHN W CHACE                          JOHN W KITTELL                             JOHN W LANGDALE
16401 GOLF CLUB ROAD                  P.O. BOX 81                                2133 NORTH BRIGHTON ST
UNIT 209                              JOHANNESBURG CA 93528                      BURBANK CA 91504-3315
WESTON FL 33326



JOHN W WITTMAN                        JOHN WALKER                                JOHN WARD
8800 WALTHER BLVD.                    29145 MADRID PLACE                         103 GRAND STREET
APT. 3312                             CASTAIC CA 91384                           MIDDLETOWN CT 06457
BALTIMORE MD 21234



JOHN WARWICK                          JOHN WATSON                                JOHN WEBER
P.O. BOX 673                          5831 WESTWOOD AVE                          308 LAWNDALE AVENUE
MATHEWS VA 23109                      BALTIMORE MD 21206                         ELMHURST IL 60126




JOHN WEIGAND                          JOHN WENTWORTH                             JOHN WENZEL
13870 PROCTOR VALLEY                  36 VINCENT CIRCLE                          838 W 9TH
JAMUL CA 91935                        SOUTH WINDSOR CT 06074                     CORONA CA 92882




JOHN WEST                             JOHN WHALEN                                JOHN WHITEFIELD
P.O. BOX 10082                        13 CORNCRIB LANE                           4971 CROWN AVENUE
GLENDALE CA 91209                     ROCKY HILL CT 06067                        LA CANADA CA 91011




JOHN WILEY & SONS INC                 JOHN WILEY & SONS INC                      JOHN WILEY & SONS INC
1 WILEY DRIVE                         GLOBAL RIGHTS DEPT                         PO BOX 18684
SOMERSET NJ 08875                     C/O FLEET BANK                             NEWARK NJ 07191-8684
                                      PO BOX 34446
                                      NEWARK NJ 07189-4446




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JOHN WILEY & SONS INC                 JOHN WILEY & SONS INC                      JOHN WILL
PO BOX 18709                          PO BOX 34587                               92 WENDY DRIVE
NEWARK NJ 07191-8709                  NEWARK NJ 07189-4587                       HOLTSVILLE NY 11742




JOHN WILLEY                           JOHN WILLIAM SMITHERS, SR                  JOHN WILLIAMS
18 YARDLEY MANOR DRIVE                LAW OFFICES OF PAUL BLUMENTHAL             177 BEECHWOOD AVE
MATAWAN NJ 07747                      PAUL S BLUMENTHAL, ESQ                     ROOSEVELT NY 11575
                                      WEST COURT BLDG 2448 HOLLY AVE SUITE 301
                                      ANNAPOLIS MD 21401


JOHN WILLIAMS                         JOHN WILLS                                 JOHN WILSHER
18 SOUTH 30TH STREET                  22 FRANK STREET                            185 OCEAN AVENUE
WYANDANCH NY 11798                    SMITHTOWN NY 11787                         BRENTWOOD NY 11717




JOHN WILSON                           JOHN WIRICK                                JOHN WISE
15236 FONTHILL AVE.                   3903 FERNCROFT LANE                        9324 JENKINS LANE
LAWNDALE CA 90260                     BETHLEHEM PA 18020                         SMITHFIELD VA 23430




JOHN WOIKE                            JOHN WOLAK                                 JOHN WOLLNEY
82 BUCKLEY AVENUE                     1501 BLANCHAN                              318 50TH PLACE
FORESTVILLE CT 06010                  LA GRANGE PARK IL 60525                    WESTERN SPRINGS IL 60558




JOHN WOOTEN                           JOHN WORTHINGTON                           JOHN WRIGHTSON
1639 W. 11TH PLACE                    P O BOX 189                                948 MIDDLESEX RD
LOS ANGELES CA 90015                  BEL AIR MD 21014                           BALTIMORE MD 21221




JOHN Y ENG                            JOHN YOHMAN                                JOHN YOUNAN
2017 FULTON AVENUE                    23735 BROOKLYN AVE.                        5000 W. OAKTON ST
MONTEREY PARK CA 91755-6717           SORRENTO FL 32776                          UNIT # 301
                                                                                 SKOKIE IL 60077



JOHN YOUNG                            JOHN ZABETAKIS                             JOHN ZAKARIAN
1104 CALLE CATALINA                   2508 DOBOS DRIVE                           656 RIDGE ROAD
SANTA FE NM 87501                     FINKSBURG MD 21048                         WETHERSFIELD CT 06109




JOHN ZARAGOZA                         JOHN ZDON                                  JOHN ZEBRO
15217 SOUTH TEE BROOK DRIVE           4723 N KELSO                               165 N. SYRACUSE AVENUE
ORLAND PARK IL 60462                  CHICAGO IL 60630                           NORTH MASSAPEQUA NY 11758




JOHN ZEIGLER                          JOHN ZELENKA                               JOHN ZIELINSKI
377 RECTOR PLACE                      56 WAVERLY                                 518 HIBBARD ROAD
APT. 4A                               CLARENDON HILLS IL 60514                   WILMETTE IL 60091
NEW YORK NY 10280




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JOHN ZITZELSBERGER                    JOHN-JOHN WILLIAMS                         JOHN-THOR DAHLBURG
21143 E CALORA STREET                 121 S. FREMONT AVE                         223 NW 75TH WAY
CHARTER OAK CA 91724                  APT 428                                    PLANTATION FL 33317
                                      BALTIMORE MD 21201



JOHNADENE DUNN                        JOHNATHAN TEIXEIRA                         JOHNDRO-SHADOWSCENE, ELLEI
7457 SKYLINE DRIVE                    24 BRUCE LANE NORTH                        1921 VISTA DEL MAR NO.204
STANTON CA 90680                      KINGS PARK NY 11754                        HOLLYWOOD CA 90068




JOHNETTA PAYE                         JOHNETTE HOWARD                            JOHNITA HUBBARD
2119 N SEDGWICK ST                    223 WYCKOFF STREET                         1255 S. MICHIGAN AVE.
APT # G3                              BROOKLYN NY 11217                          #1002
CHICAGO IL 60614                                                                 CHICAGO IL 60605



JOHNNIE HUCKS                         JOHNNIE MILLER-CLEAVES                     JOHNNIE PUTMAN-KINGSMILL
4259 NEWSOME DRIVE                    7639 SOUTH LUELLA AV                       3321 COLUMBIA
NEWPORT NEWS VA 23607                 1ST FLOOR                                  LINCOLNWOOD IL 60712
                                      CHICAGO IL 60649



JOHNNIE SHAFFER                       JOHNNY AVERY                               JOHNNY BAO
9049 S. ELIZABETH                     2208 ROUND ROAD                            1617 FRANKLIN ST
CHICAGO IL 60620                      T-2                                        APT 5
                                      BALTIMORE MD 21225                         SANTA MONICA CA 90404



JOHNNY COLE                           JOHNNY JIMENEZ                             JOHNNY LINSCOMB
67 SHARON STREET                      118 E. COLUMBIA AVE                        108 S GRAMERY PLACE APT 206
HARTFORD CT 06112                     POMONA CA 91767                            LOS ANGELES CA 90004




JOHNNY MCCOOL                         JOHNNY MOJICA                              JOHNNY PACHECO
716 W. STONEHURST DR.                 667 HOEFNER AVENUE                         12925 SW 28TH CT
ALTADENA CA 91001                     LOS ANGELES CA 90022                       MIRAMAR FL 33027




JOHNNY SALLEY                         JOHNNY SANCHEZ                             JOHNNY SEQUEIRA
2125 STREAMWAY CT.                    P.O. BOX 293241                            448 LOCK ROAD
BALTIMORE MD 21207                    PHELAN CA 92329                            APT 121
                                                                                 DEERFIELD BEACH FL 33442



JOHNNY, AYESHA                        JOHNS HOPKINS CHILDRENS CENTER             JOHNS, NICOLE
317 HARRISON     NO.1W                100 N CHARLES ST   STE 200                 1210 BUTZTOWN RD
OAK PARK IL 60304                     BALTIMORE MD 21201                         BETHLEHEM PA 18017




JOHNS, ROSE MARIE                     JOHNS, STEPHEN                             JOHNSEN, ROBERT
1128 PENNSYLVANIA ST.                 72 SO. QUAKER LN.                          2801 W SUMMERDALE AVE NO.1E
WHITEHALL PA 18052                    WEST HARTFORD CT 06119                     CHICAGO IL 60625




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JOHNSEN, ROBERT                        JOHNSON & BELL                              JOHNSON & BELL
610 E SHABONEE TRAIL                   PATRICK MORRIS                              PATRICK GARVEY
MT PROSPECT IL 60058                   33 W. MONROE ST.                            33 W. MONROE ST.
                                       SUITE 2700                                  SUITE 2700
                                       CHICAGO IL 60603-5404                       CHICAGO IL 60603-5404


JOHNSON & BELL                         JOHNSON AVENT, VERONICA                     JOHNSON CLARK ASSOCIATES
33 W MONROE ST SUITE 2700              2640 TUCKER VALLEY RD                       2150 RIVER PLAZA DR STE 150
CHICAGO IL 60603                       TUCKER VA 30084                             SACRAMENTO CA 95833




JOHNSON CONTROLS INC                   JOHNSON CONTROLS INC                        JOHNSON CONTROLS INC
5770 WARLAND DR.                       3300 CORPORATE AVE                          ATTN: PAT WINKLEMAN
CYPRESS CA 90630-5030                  WESTON FL 33331                             4433 PARKBREEZE COURT
                                                                                   ORLANDO FL 32808



JOHNSON CONTROLS INC                   JOHNSON CONTROLS INC                        JOHNSON CONTROLS INC
3007 MALMO DRIVE                       PO BOX 905240                               PO BOX 730068
ARLINGTON HEIGHTS IL 60005             CHARLOTTE NC 28290                          DALLAS TX 75373




JOHNSON CONTROLS INC                   JOHNSON COUNTY REMC                         JOHNSON FAMILY TRUST
JOHNSON CONTROLS INSTITUTE / M45,      ACCT NO. 5765000000                         RE: LOVES PARK, IL TRIBUNE
507 E. MICHIGAN ST.                    P.O. BOX 309                                635 HARLEM ROAD
MILWAUKEE WI 53202                     FRANKLIN IN 46131                           MACHESNEY PARK IL 61115



JOHNSON JR, BERT R                     JOHNSON JR, WYATT T.                        JOHNSON MECHANICAL
631 CELEY STREET NO.104                3280 RILMAN ROAD                            PO BOX 404
HAMPTON VA 23661                       ATLANTA GA 30327-1551                       ELK GROVE CA 95759




JOHNSON MORGAN & WHITE                 JOHNSON PIPE & SUPPLY CO                    JOHNSON PIPE & SUPPLY CO
6800 BROKEN SOUND PARKWAY NW           999 W 37TH ST                               PO BOX 78929
BOCA RATON FL 33487                    BRIAN                                       MILWAUKEE WI 53278-0929
                                       CHICAGO IL 60609



JOHNSON REALTY INC                     JOHNSON SEAT & CANVAS SHOP INC              JOHNSON SR, RICHARD
12329 BALLAS LANE                      PO BOX 548                                  657 MUSKEGON
SAINT LOUIS MO 63131                   25 S SOMONAUK RD                            CALUMET CITY IL 60409
                                       CORTLAND IL 60112



JOHNSON, ALBERT D                      JOHNSON, ALBERT E                           JOHNSON, ALEXIS
342 WESTWIND DR                        2070 RESTON CIRC                            11908 DARLINGTON AVE NO.2017
EL CAJON CA 92020                      ROYAL PALM BEACH FL 33411                   LOS ANGELES CA 90049




JOHNSON, ALISON                        JOHNSON, AMY                                JOHNSON, ANDRE
202 HEATH PL                           12 MONUMENT DRIVE                           1008 NE 12TH ST
YORKTOWN VA 23693                      WILLIAMSBURG VA 23185                       FT. LAUDERDALE FL 33304




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JOHNSON, ANGELA T                      JOHNSON, ANITA D                           JOHNSON, ANTHONY
402 NW 15TH AVE                        PO BOX 1452                                3952 MEMORIAL COLLEGE AVE APT 4
BOYNTON BEACH FL 33435                 SALUDA VA 23149                            CLARKSTON GA 30021




JOHNSON, ARTIS L                       JOHNSON, ASTRIEN                           JOHNSON, BENJAMIN
5717 SW 38 STREET                      4820 WEST 157TH NO.2                       421 RIDGE ROAD
PEMBROKE PARK FL 33023                 OAK FOREST IL 60452                        HAMDEN CT 06517-2942




JOHNSON, BENJAMIN BROCK                JOHNSON, BOB A                             JOHNSON, BRANDON K
221 VAN BRUNT ST APT 3B                7105 BRIDOON AVE                           1005 WINTERSET PARKWAY
BROOKLYN NY 11231                      ELDERSBURG MD 21784                        MARIETTA GA 30067




JOHNSON, BRIAN K                       JOHNSON, BRITTNI                           JOHNSON, CALEB ADAM
5325 BLUE RIDGE                        1049 BLUE HORIZON                          300 SAUNDERS TRAIL BOX 351
MEMPHIS TN 38134                       DELTONA FL 32738                           GENEVA FL 32732




JOHNSON, CANDRA                        JOHNSON, CARL                              JOHNSON, CARL
357 WEST PRESTON ST                    116 LAKE OAKS BLVD                         116 LAKE OAKS BLVD NO. 2709
HARTFORD CT 06114                      STE 2709                                   LONGWOOD FL 32750
                                       LONGWOOD FL 32750



JOHNSON, CARLA                         JOHNSON, CAROL H                           JOHNSON, CAROLYN
12366 CATE AVE                         4329 ORCHARD PARK COURT                    4050 DOUGLAS RD
BATON ROUGE LA 70815                   STONE MOUNTAIN GA 30083                    DOWNERS GROVE IL 60515




JOHNSON, CATHY MARIE                   JOHNSON, CHEVON                            JOHNSON, CHIQUITA M
966 MARCUS DR   APT 2                  207 GWINNIE H SQ CIR                       1110 PRESTON PARK DR
NEWPORT NEWS VA 23602                  DULUTH GA 30096                            DULUTH GA 30096




JOHNSON, CORDELL                       JOHNSON, COREY                             JOHNSON, DANA
3435 S ORANGE AVE     NO.T201          816 NW 4TH AVE                             610 S MAIN ST NO.307
ORLANDO FL 32806                       HALLANDALE FL 33009                        LOS ANGELES CA 90014




JOHNSON, DANIEL STEPHEN                JOHNSON, DAVID                             JOHNSON, DAVID E
29 NICOLL ST NO.2                      5851 HOLMBERG ROAD NO.2911                 7282 DEER RUN RD
NEW HAVEN CT 06511                     PARKLAND FL 33067                          BLAIRSVILLE GA 30512




JOHNSON, DAWN                          JOHNSON, DEAN                              JOHNSON, DEAN P
1001 FRONT ST APT A                    964B E MICHIGAN ST                         123 LAUREL AVE
CATASAQUA PA 18032                     ORLANDO FL 32806                           PITMAN NJ 08071




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JOHNSON, DENA                          JOHNSON, DENISE                             JOHNSON, DENNIS
1372 CYPRESS RIDGE CR                  760 PENN ST                                 98 COLEBROOK ST
STONE MTN GA 30083                     PENNSBURG PA 18073                          HARTFORD CT 06112-1410




JOHNSON, DIRK E                        JOHNSON, ERIK THOMAS                        JOHNSON, FRANKLYN
413 SOMONAUK ST                        1111 LA LIMONAR                             6325 NW 43RD TERRACE
SYCAMORE IL 60178                      SANTA ANA CA 92705                          COCONUT CREEK FL 33073




JOHNSON, GEORGE                        JOHNSON, HENRY                              JOHNSON, JASON
1147 1/2 CAMINO SAN ACACIO             32 S 19TH                                   4732 ROSWELL RD APT 1928
SANTA FE NM 87505                      ALLENTOWN PA 18104                          ATLANTA GA 30342




JOHNSON, JEANIE                        JOHNSON, JEFFREY                            JOHNSON, JEFFREY M
3311 CARDOZA AVE                       105 HUGHES AVE                              4255 BEULAH DRIVE
MARINA CA 93933                        BRIDGEPORT CT 06604                         LA CANADA CA 91011




JOHNSON, JEFFREY M                     JOHNSON, JENNIFER                           JOHNSON, JERMAINE
2344 RIPPLEWATER DR                    847 CATHERINE DR                            7840 NW 3RD ST APT NO.11-204
ATLANTA GA 30316                       COPLAY PA 18037                             PEMBROKE PINES FL 33024




JOHNSON, KARREN L                      JOHNSON, KATHERINE                          JOHNSON, KATHLEEN
206 RENO ST                            14-52 28TH AVE APT 1A                       174 DAPPLEGRAY ROAD
NEW CUMBERLAND PA 17070                ASTORIA NY 11102                            BELL CANYON CA 91307




JOHNSON, KENNETH                       JOHNSON, KIM                                JOHNSON, KIM
4695 S HAVEN RD                        1200 UNION ST                               1871 SAND DOLLAR LANE
MEMPHIS TN 38109                       ALLENTOWN PA 18102                          VERO BEACH FL 32963




JOHNSON, KIMBERLY                      JOHNSON, LAKEISHA M                         JOHNSON, LAKESSIA L
5844 S PEORIA                          906 THICKET WAY                             1034 CAREY PARRISH RD
CHICAGO IL 60621                       DECATUR GA 30035                            WRENS GA 30833




JOHNSON, LARRNETTE L                   JOHNSON, LATESHA                            JOHNSON, LAWRENCE A
22055 BREWERS NECK BLVD                6704 BROWNS MILL TRAIL                      555 NE 34TH ST NO.2203
CARROLLTON VA 23314                    LITHONIA GA 30038                           MIAMI FL 33137




JOHNSON, LAWRENCE A                    JOHNSON, LEON                               JOHNSON, LETICA
555 NE 34TH ST NO.2203                 5232 PRAIRIE GRASS LN                       232 LONG DR
MIAMI FL 33301                         COLORADO SPRINGS CO 80922                   MCDONOUGH GA 30253




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JOHNSON, LINDA                       JOHNSON, LINDA D                           JOHNSON, LUCILLE
403 W DURHAM ST                      67 IMLAY ST                                481 FARMINGTON AVE APT 15
PHILADELPHIA PA 19119                HARTFORD CT 06105                          HARTFORD CT 06105




JOHNSON, LUCILLE                     JOHNSON, LYNSEY                            JOHNSON, MALCOLM L
80 RICHARD ST                        99 CIRCLE DRIVE NORTH                      449 W 43RD ST APT 1B
WEST HARTFORD CT 06119-2318          ELMONT NY 11003                            NEW YORK NY 10036




JOHNSON, MARCUS                      JOHNSON, MARGARET                          JOHNSON, MARILYN
2632 DRUID OAKS NE                   65 BRITTANY LN                             631 LYONS RD BLDG 12 NO.205
ATLANTA GA 30329                     WEST HAMPTON BEACH NY 11978                COCONUT CREEK FL 33063




JOHNSON, MARK                        JOHNSON, MARK                              JOHNSON, MARK ALLEN
45 CONGRESS DR                       45 CONGRESS DR                             35058 FOREST ESTATES RD
AMSTON CT 06231-1505                 HEBRON CT 06231-1505                       EVERGREEN CO 80439




JOHNSON, MARK R                      JOHNSON, MARTIN                            JOHNSON, MARTIN
3311 N RACINE                        163 3RD AVENUE                             379 WASHINGTON AVENUE APT 3F
UNIT B                               SUITE 210                                  BROOKLYN NY 11238
CHICAGO IL 60657                     NEW YORK NY 10003



JOHNSON, MARY P                      JOHNSON, MATTHEW                           JOHNSON, MATTHEW M
768 TRENTON AVE                      442 N KENSINGTON AVE                       2668 NW 41 STREET
SEVERNA PARK MD 21146                LA GRANGE PARK IL 60526                    BOCA RATON FL 33434




JOHNSON, MICHAEL J                   JOHNSON, MICHELE                           JOHNSON, MICHELLE
4111 PARK ST                         1112 BERNIE DR                             2010 NE 17 ST APT 14
WHITEHALL PA 18052                   COPLAY PA 18037                            FT LAUDERDALE FL 33305




JOHNSON, NILS V                      JOHNSON, NORMAN                            JOHNSON, NORMAN REEVE
3214 PINECREST CT                    484 BLOOMFIELD AVE                         978 SW 10TH DR  NO.18
ABINGDON MD 21009                    BLOOMFIELD CT 06002                        POMPANO BEACH FL 33060




JOHNSON, OFELIA                      JOHNSON, PATRICIA                          JOHNSON, QUADI
7532 HARRISON                        620 NW 7TH AVE APT 8                       2623 PROSPECT AVE APT 6
FOREST PARK IL 60130                 POMPANO BEACH FL 33060                     ALLENTOWN PA 18103




JOHNSON, RANDY                       JOHNSON, RANDY L                           JOHNSON, REED
365 HEMLOCK ROAD                     5 RALEIGH CIRCLE                           MEXICO CITY BUREAU
BANNER ELK NC 28604                  BLOOMFIELD CT 06002                        LA TIMES FOREIGN DESK
                                                                                202 W FIRST ST
                                                                                LOS ANGELES CA 90012




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JOHNSON, REED C                          JOHNSON, REUBENS                            JOHNSON, ROBERT
10008 MIRADA DR                          2946 NW 53RD TERRACE                        7348 ARBOR PINES DRIVE
LAS VEGAS NV 89144                       MARGATE FL 33063                            P.O. BOX 485
                                                                                     GLEN ARBOR MI 49636



JOHNSON, ROBERT D                        JOHNSON, ROGER                              JOHNSON, ROGER EARL
2301 W ARTHUR AVE    NO.3                1005 74TH STREET                            8733 SW 15TH CT
CHICAGO IL 60645                         NEWPORT NEWS VA 23607                       DAVIE FL 33324




JOHNSON, RONALD E                        JOHNSON, RUPERT S                           JOHNSON, RYAN A
226 SUNFLOWER LANE                       5069 NW 41ST PL                             409 W VALLEY RD APT 203
ISLANDIA NY 11749                        LAUDERDALE LAKES FL 33309                   APPLETON WI 54915




JOHNSON, SAMMIE L                        JOHNSON, SANDRA ELAINE                      JOHNSON, SCOTT
4387 IMPERIAL DR.                        5128 ROBIN LN                               9718 GLASGOW PL APT 8
RICHTON PARK IL 60471                    GROVETOWN GA 30813                          WESTCHESTER CA 90045




JOHNSON, SORAYA                          JOHNSON, STEPHANIE                          JOHNSON, STEPHANIE
14 RELAY PL 2R                           549 MAIN ST                                 2000 VZ CR 4907
STAMFORD CT 06901                        PENNSBURG PA 18073                          BENWHEELER TX 75754




JOHNSON, STEVEN M                        JOHNSON, STEVEN P                           JOHNSON, TAMARA
760 PENN ST                              4215 SW 22ND LANE UNIT 131                  3486 D CHELSEA PARK
PENNSBURG PA 18073                       GAINESVILLE FL 32607                        NORCROSS GA 30092




JOHNSON, TANGUERIA S                     JOHNSON, THOMAS                             JOHNSON, THOMAS H
617 FREDERICK HM                         209 TROY PLACE                              1924 DIANA LANE
BELLWOOD IL 60104                        NEWPORT NEWS VA 23608                       NEWPORT BEACH CA 92660




JOHNSON, TORRANCE                        JOHNSON, VINCENT DAVID                      JOHNSON, WARREN
1123 FRESH WATER LAKE DR                 662 E 50TH PL                               4928 S ST LAWRENCE     APT 413
WEST PALM BEACH FL 33401                 CHICAGO IL 60615                            CHICAGO IL 60615




JOHNSON,BEVERLY                          JOHNSON,BEVERLY                             JOHNSON,BEVERLY
3979 HILLGROVE WAY                       3979 HILLGROVE WAY                          4655 FRUITRIDGE RD
PETTY CASH CUSTODIAN                     CARMICHAEL CA 95608                         PETTY CASH CUSTODIAN
CARMICHAEL CA 95608                                                                  SACRAMENTO CA 95820



JOHNSON,RODERICK                         JOHNSTON III, RA TREY                       JOHNSTON, BRIAN
64 EAST CONCORD ST                       708 S BRAINTREE                             10706 ESTERINA WAY
CENTRAL FLORIDA NEWS 13                  SCHAUMBURG IL 60193                         CULVER CITY CA 90230
ORLANDO FL 32801




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JOHNSTON, DAWN L                        JOHNSTON, DYLAN JOHN                       JOHNSTON, JOSEPH
39 PROSPECT ST                          3380 S ROGER CT                            110 BECKER ST
STAFFORD SPRING CT 06076                CHANDLER AZ 85249                          SHELL BEACH CA 93449




JOHNSTON, JOSEPH                        JOHNSTON, JUDITH                           JOHNSTON, SUSAN
110 BOEKER ST                           171 E MIDDLE TPKE                          640 PINEWOOD DR
SHELL BEACH CA 93449                    MANCHESTER CT 06040                        ELK GROVE VILLAGE IL 60007




JOHNSTON, SUSAN                         JOHNSTON, TINA A                           JOHNSTONE SUPPLY
ROUND HOUSE                             5892 OTTERDAM RD                           8639 TAMARACK AVENUE
640 PINEWOOD DR                         WAVERLY VA 23890                           SUN VALLEY CA 91352
ELK GROVE VILLAGE IL 60007



JOIE TYRRELL                            JOINT CIVIC COMMITTEE OF                   JOINVILLE, ELSIE
189 SPRING ROAD                         ITALIAN AMERICANS                          12340 SAND WEDGE DR
HUNTINGTON NY 11743                     3800 DIVISION ST                           BOYNTON BEACH FL 33437
                                        STONE PARK IL 60165



JOISSIN, JHONSON                        JOJUAN JONES                               JOKAB SAFETY NA
5866 TRIPHAMMER RD                      9540 S. EUCLID                             6471 COMMERCE DR
LAKE WORTH FL 33463                     CHICAGO IL 60617                           WESTLAND MI 48185




JOLANDA ORTIZ                           JOLIE DUGAS                                JOLIET EQUIPMENT CORPORATION
2436 N FEDERAL HIGHWAY                  4548 CHANTILLY DRIVE                       PO BOX 114
APT 247                                 NEW ORLEANS LA 70126                       J0LIET IL 60434
LIGHTHOUSE POINT FL 33064



JOLIET JR COLLEGE                       JOLIET REGION CHAMBER OF COMMERCE          JOLIET REGION CHAMBER OF COMMERCE
PARAPSYCHOLOGY CLUB                     OF COMMERCE                                PO BOX 752
C/O LEN HODGMAN                         16 W VAN BUREN ST                          JOLIET IL 60434
3117 TWIN OAKS DR E                     P O BOX 752
JOLIET IL 60435                         JOLIET IL 60434


JOLINE BUEGE                            JOLIVETTE, THERESA                         JOLLEYS PROPERTY MANAGEMENT SERVICES
1935 W EDDY ST                          1 NW 33RD TERRACE                          7875 CHALICE ROAD
APT # 2                                 FORT LAUDERDALE FL 33311                   SEVERN MD 21144
CHICAGO IL 60657



JOLLY, LAUREN                           JOLLY-DYER, LINDA                          JOLYN JACKSON
2610 PORTLAND ST NO.206                 1570 BROOKINS ST                           40 STILLWATER AVENUE
LOS ANGELES CA 90007                    MEMPHIS TN 38108                           APT. #8E
                                                                                   STAMFORD CT 06902



JOMARLIN INC                            JON BARRIENTOS                             JON BORTHWICK
5860 NW 44TH ST NO.611                  218 WINDWARD COURT N.                      1481 11TH STREET
LAUDERHILL FL 33319                     PORT JEFFERSON NY 11777                    WEST BABYLON NY 11704




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JON COPPOLA                              JON FLOWERS                                JON GITT
135 DARTLEY STREET                       150 WEST COLUMBIA ST                       1020 GRANVILLE AVENUE #105
STAMFORD CT 06905                        APT 3J                                     LOS ANGELES CA 90049
                                         HEMPSTEAD NY 11550



JON GREENE                               JON HAN                                    JON HEALEY
2637 W. BELMONT                          1633 S BENTLEY AVE NO.100                  2021 MERIDIAN AVENUE
#3                                       LOS ANGELES CA 90025                       SOUTH PASADENA CA 91030
CHICAGO IL 60618



JON HEALY                                JON HILKEVITCH                             JON HILL
785 CHISOLM                              1119 IRONWOOD LANE                         2224 MARICOPA DRIVE
ROSELLE IL 60172                         LISLE IL 60532                             LOS ANGELES CA 90065




JON HUFFMAN                              JON JUSSERO                                JON LANGE
2812 NORTH RAMPART ST.                   137 S 197TH STREET                         1030 N DEARBORN #1203
NEW ORLEANS LA 70117                     DES MOINES WA 98148                        CHICAGO IL 60610-7847




JON MUCKER                               JON PAUL TROCOLA                           JON ROBERT VAN SENSUS
17650 134TH AVE SE #K-104                309 DAVID COURT                            C/O CALLAHAN & BLAINE
RENTON WA 98058                          ISLAND LAKE IL 60042                       DANIEL J. CALLAHAN, SARAH C. SERPA
                                                                                    3 HUTTON CENTRE DRIVE, SUITE 900
                                                                                    SANTA ANA CA 92707


JON ROBERT VANSENUS/NEALA OLSON          JON TOTEN                                  JON VANDUSSELDORP
CALLAHAN & BLAINE                        5312 WEST 140TH STREET                     3300 N CLIFTON AVE.
DANIEL J CALLAHAN/SARA C SERPA           HAWTHORNE CA 90250                         CHICAGO IL 60657
3 HUTTON CENTRE DR, SUITE 900
SANTA ANA CA 92707


JON WALGREN                              JON WILLIAMS                               JON WINSTON HAUER
213 BAY COLONY DRIVE                     12 TODD COURT                              2404 WILSHIRE BOULEVARD
NAPERVILLE IL 60565                      HUNTINGTON STATION NY 11746                7F
                                                                                    LOS ANGELES CA 90057-3341



JON YATES                                JON YUHN                                   JON-PAUL FERRARI
731 S. GUNDERSON AVE.                    4209 CHAPEL ROAD                           201 W. FULTON
OAK PARK IL 60304                        PERRY HALL MD 21128                        1004
                                                                                    GRAND RAPIDS MI 49503



JONALYN SCHUON                           JONAS BALTRUKONIS                          JONATHAN ABRAMS
8 CRESCENT DR                            3610 S HOYNE                               12427 WEST JEFFERSON BLVD
HUNTINGTON NY 11743                      CHICAGO IL 60609                           APT 209
                                                                                    LOS ANGELES CA 90066



JONATHAN ACKERMAN                        JONATHAN ALVAREZ                           JONATHAN ANTHONY
63 BROOKLAWN AVENUE                      5226 WALNUT GROVE AVE                      400 BRIDLEPATH ROAD
BRIDGEPORT CT 06604                      SAN GABRIEL CA 91776                       TOWNHOUSE #10
                                                                                    BETHLEHEM PA 18017




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JONATHAN ASKEW                         JONATHAN AVILES                             JONATHAN BAUM
209 NORFOLK STREET                     1582 WEST 35TH STREET                       90 GOLD STREET
SPRINGFIELD MA 01109                   LOS ANGELES CA 90018                        APT. 25E
                                                                                   NEW YORK NY 10038



JONATHAN BOHNER                        JONATHAN BOHO                               JONATHAN BOR
1731 WEST MARKET STREET                726 ELM STREET                              6214 WOODCREST AVE
APT 15                                 INDIANAPOLIS IN 46203                       BALTIMORE MD 21209
BETHLEHEM PA 18018



JONATHAN BRANDON                       JONATHAN BURKE                              JONATHAN BURNETT
824 GORDON STREET                      2 STEWART CIRCLE SOUTH                      3806 W WASHINGTON BLVD
ALLENTOWN PA 18102                     CENTEREACH NY 11720                         CHICAGO IL 60624




JONATHAN BURSTEIN                      JONATHAN BUSH                               JONATHAN BUSH
2802 SW 6TH STREET                     4841 IRONWOOD AVE                           208 BLAKENEY ROAD
DELRAY BEACH FL 33445                  SEAL BEACH CA 90740                         CATONSVILLE MD 21228




JONATHAN CAMPOS                        JONATHAN CASTELLO                           JONATHAN CASTRO
2292 STINSON ST.                       50 W. 71ST STREET                           133 COURTLAND AVENUE
SIMI VALLEY CA 93065                   APT 152                                     APT. #20
                                       CHICAGO IL 60621                            STAMFORD CT 06902



JONATHAN CAWLEY                        JONATHAN CERVONE-RICHARDS                   JONATHAN CHAN
229 BRUTON AVENUE                      91 FORESTER AVENUE                          2040 WELLINGTON COURT
NEWPORT NEWS VA 23601                  WARWICK NY 10990                            WESTBURY NY 11590




JONATHAN CHERLIN                       JONATHAN DE LEON                            JONATHAN FINE
318 OCEAN AVENUE                       12653 MUSCATINE ST                          51 CROYDON DRIVE
MASSAPEQUA NY 11758                    ARLETA CA 91331                             BELLMORE NY 11710




JONATHAN FLIS                          JONATHAN FOGG                               JONATHAN FRANKTON
3439 BONISTEEL NW                      2424 PROSPECT AVENUE                        10 HILLSIDE RD
WALKER MI 49534                        #105                                        #2
                                       ALLENTOWN PA 18103                          BALTIMORE MD 21228



JONATHAN GUISBERT                      JONATHAN HANSON                             JONATHAN HAU
26 NORFOLK DRIVE EAST                  2114 E LOMBARD STREET                       1823 GATES AVENUE
ELMONT NY 11003                        BALTIMORE MD 21231                          RIDGEWOOD NY 11385




JONATHAN HENNON                        JONATHAN HERB                               JONATHAN JACKSON
3100 RIVERSIDE DRIVE                   2825 HILLCREST DRIVE EAST                   14 LEXINGTON
APT#357                                COPLAY PA 18037                             IRVINE CA 92620
LOS ANGELES CA 90027




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JONATHAN JURADO                     JONATHAN KING                              JONATHAN KROBOT
337 LINNMORE STREET                 656 LEONARD LN                             1960 N. LINCOLN PARK WEST
HARTFORD CT 06106                   NEWPORT NEWS VA 23601                      #308
                                                                               CHICAGO IL 60614



JONATHAN LABE                       JONATHAN LATTYAK                           JONATHAN LEDERMAN
5625 N. KENMORE AVE.                215 MARENGO                                5510 PACIFIC BLVD., APT. 117
#3                                  UNIT 3B                                    BOCA RATON FL 33433
CHICAGO IL 60660                    FOREST PARK IL 60130



JONATHAN LENDER                     JONATHAN LINDNER                           JONATHAN LUCAS
170 SNAKE HILL RD                   W125S7171 SKYLARK LANE                     102 OGDEN ROAD
COVENTRY CT 06238                   MUSKEGO WI 53150                           STAMFORD CT 06905




JONATHAN MARCUS                     JONATHAN MARTINEZ                          JONATHAN MCCARTHY
7996 EXETER BLVD. W.                1475 NW 208 TER                            7 DARON LANE
TAMARAC FL 33321                    PEMBROKE PINES FL 33209                    COMMACK NY 11725




JONATHAN MILLER                     JONATHAN MILLNER PITTS                     JONATHAN MINICUCCI
6024 DEWEY BLVD.                    211 PRESSTMAN STREET                       114 LEXINGTON AVENUE
SACRAMENTO CA 95824                 BALTIMORE MD 21217                         OYSTER BAY NY 11771




JONATHAN MORGAN                     JONATHAN NASH                              JONATHAN OZERAN
637 MURDOCK ROAD                    32 VALLEY BOTTOM RD.                       850 N. STATE STREET
BALTIMORE MD 21212                  ABERDEEN MD 21001                          5J
                                                                               CHICAGO IL 60610



JONATHAN PEARSON                    JONATHAN PETERSON                          JONATHAN POMPA
29341 SPENCER DR.                   6 WHIPPOORWILL COURT                       1911 GARDENA AVE.
CANYON COUNTRY CA 91387             ROCKVILLE MD 20852                         APT. #6
                                                                               GLENDALE CA 91204



JONATHAN RABER                      JONATHAN REID                              JONATHAN RISING
26929 CADDY CT                      2530 W. WINNEMAC                           605 APPLEWOOD AVE
EL MACERO CA 95618                  APT #1W                                    ALTAMONTE SPRINGS FL 32714
                                    CHICAGO IL 60625



JONATHAN RITCH                      JONATHAN ROC                               JONATHAN ROCKOFF
35 ORCHARD STREET                   8904 213TH STREET                          3827 YOLANDO ROAD
COS COB CT 06807                    QUEENS VILLAGE NY 11427                    BALTIMORE MD 21218




JONATHAN ROUGEOT                    JONATHAN RUSSELL                           JONATHAN SHANER
336 E. 5TH ST.                      2919 LOCH HAVEN COURT                      4775 ALDON RIDGE AVE NW
APT. #2RW                           IJAMSVILLE MD 21754                        APT 210
NEW YORK NY 10003                                                              COMSTOCK PARK MI 49321




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JONATHAN SMITH                          JONATHAN SZWAJKOWSKI                        JONATHAN TAMNEY
3145 S. LITUANICA                       13249 DUNMURRY DRIVE                        244 WEST END AVENUE
CHICAGO IL 60608                        ORLAND PARK IL 60464                        MASSAPEQUA NY 11758




JONATHAN TAYLOR                         JONATHAN VREELAND                           JONATHAN WALTON
48 OAK ROAD                             400 N MCCLURG COURT                         635 ROUGHBEARD RD.
EAST PATCHOGUE NY 11772                 APT. 1212                                   WINTER PARK FL 32792
                                        CHICAGO IL 60611



JONATHAN WARD                           JONATHAN WU                                 JONATHON BERLIN
1417 21ST AVENUE                        19791 MARGATE LANE                          1641 W. WINONA
APT #3                                  HUNTINGTON BEACH CA 92646                   UNIT #C
SEATTLE WA 98722                                                                    CHICAGO IL 60640



JONATHON KOCH                           JONCO, INC                                  JONE FULKERSON
244 ETHEL AVENUE                        ATTN: JOHN HENSCH                           30 WHITMAN AVENUE
APT. #1                                 4813 HILTON AVE NE                          W. HARTFORD CT 06107
NORFOLK VA 23504                        ALBUQUERQUE NM 87110-1144



JONELL MCFADDEN                         JONES & CLEARY ROOFING CO INC               JONES CROSBY, ROSALIND
4131 WILLIAM STYRON SQUARE NORTH        6838 S SOUTH CHICAGO AVE                    2676 NORMANDY PL
NEWPORT NEWS VA 23606                   CHICAGO IL 60637                            LISLE IL 60532




JONES DAY                               JONES DAY                                   JONES DAY
PO BOX 7805 BEN FRANKLIN STATION        77 W WACKER DRIVE                           599 LEXINGTON AVE
WASHINGTON DC 20044                     ATTN JULIE JONES                            NEW YORK NY 10022
                                        CHICAGO IL 60601-1692



JONES LANG LASALLE                      JONES LANG LASALLE                          JONES LANG LASALLE
530 B STREET    STE 1400                C/O UNION BANK OF CALIFORNIA NA             CORPORATE PROPERTY SERVICES
SAN DIEGO CA 92101                      PO BOX 45362                                33845 TREASURY CENTER
                                        ATTN CORP REAL ESTATE SERVICES              CHICAGO IL 60694-3800
                                        SAN FRANCISCO CA 94145-0362


JONES LANG LASALLE                      JONES LANG LASALLE AMERICAS, INC.           JONES LAWN CARE INC
PO BOX 71700                            RE: NEW YORK TWO PARK AVE                   2900 LINWOOD AVE
CHICAGO IL 60694-1700                   ATTN: BUILDING MANAGER                      BALTIMORE MD 21234
                                        TWO PARK AVENUE, 15TH FLOOR
                                        NEW YORK NY 10016


JONES NEWS AGENCY                       JONES NEWS AGENCY                           JONES SR, ADRIAN
128 E CTR ST PO BOX 113                 PO BOX 113                                  4941 W WALTON ST
MAHANOY CITY PA 17948                   MAHANOY CITY PA 17948-0113                  ACCTNO.1631
                                                                                    CHICAGO IL 60651



JONES SR, CRAIG D                       JONES WORLDWIDE INC                         JONES, ALISON
417 SHEPPARD CROSSING COURT             720 N FRANKLIN STE 401                      2720 NW 26TH AVE
STONE MOUNTAIN GA 30083                 CHICAGO IL 60610                            OAKLAND PARK FL 33311




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JONES, ALLISON                          JONES, AMANDA M                            JONES, AMANDA M
11 COTTAGE GR                           700 GLENLOCH WAY                           747 HILLCREST WAY
ENFIELD CT 06082                        EMERALD HILLS CA 94062                     EMERALD HILLS CA 94062




JONES, AMY                              JONES, ANN                                 JONES, ANN
2222 RIVER RUN DR NO.136                57 PROSPECT ST                             C/O DIAMOND
SAN DIEGO CA 92108                      NORTHAMPTON MA 01060                       11 DENNET PLACE
                                                                                   BROOKLYN NY 11231



JONES, ANNETTE                          JONES, ANNIE L                             JONES, ANTOINE ANGELO
30 KENILWORTH AVE                       PO BOX 514                                 2401 SPRINGARN COURT
ROMEOVILLE IL 60446                     NEWPORT NEWS VA 23607                      ORLANDO FL 32811




JONES, AVERY                            JONES, BOBBY                               JONES, BRANDON J
916 WHEELER DR                          4605 WHITEPINE STREET                      10513 S HALE NO.2C
NEWPORT NEWS VA 23608                   MEMPHIS TN 38109                           CHICAGO IL 60643




JONES, CARLESHIA                        JONES, CHERYL L                            JONES, CHRIS
413 PARK LAKE LANE                      802 ROLFE STREET                           5 WOLCOTT HILL RD
NORCROSS GA 30092                       HAMPTON VA 23661                           WETHERSFIELD CT 06109




JONES, CYNTHIA LYNN                     JONES, DAN                                 JONES, DANIEL P
04949 MAGNOLIA RIDGE RD                 143 SMITH HILL RD                          1168 BOULEVARD
FRUITLAND PARK FL 34731                 WINSTED CT 06098-2217                      WEST HARTFORD CT 06119




JONES, DARWYN                           JONES, DAVID                               JONES, DAVID
1400 W OLIVE AVE UNIT 2                 528 N 26TH ST                              528 N 26TH ST
CHICAGO IL 60660                        GRAND JUNCTION CA 81501                    GRAND JUNCTION CO 81501




JONES, DAVID                            JONES, DAVID A                             JONES, DEBORAH
314 POPULAR AVE                         4026 N LOWELL AVE                          519 MOHEGAN PKWY
NEWPORT NEWS VA 23607                   CHICAGO IL 60641                           PO BOX 402
                                                                                   QUAKER HILL CT 06375-1413



JONES, DEBORAH                          JONES, DEVON A                             JONES, DIONNA
PO BOX 402                              4401 NW 11 STREET                          2325 N SHELTON ST
QUAKER HILL CT 06375                    LAUDERHILL FL 33313                        INDIANAPOLIS IN 46218




JONES, DONNA                            JONES, DOUGLAS B                           JONES, ERICKA A
1146 WILLOW GREEN DR                    38W070 SPRING GREEN WAY                    1221 WESTCHESTER
NEWPORT NEWS VA 23602                   BATAVIA IL 60570                           WESTCHESTER IL 60145




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JONES, ERICKA A                         JONES, ERNEST                              JONES, FELISHA
1221 WESTCHESTER                        1842 W 108TH PL                            5501 SW 6TH CT
WESTCHESTER IL 60154                    CHICAGO IL 60643                           MARGATE FL 33068




JONES, FLORENCE C.                      JONES, FREDERICK                           JONES, GARRETT
1574 PINEVIEW TERRACE                   797 NW 15TH PL                             1511 N ROCKWELL       APT NO.3
ATLANTA GA 30311                        POMPANO BEACH FL 33060                     CHICAGO IL 60622




JONES, GORDON L.                        JONES, GREGORY W                           JONES, GREGORY W
77 LUKES WOOD ROAD                      42 GRAVES AVE                              PO BOX 396
NEW CANAAN CT 06840                     NORTHAMPTON MA 01060                       NORTHAMPTON MA 01061




JONES, ISSAC                            JONES, JACQUE                              JONES, JAMES
1215 NE 17TH AVE APT 4                  347 ST RITA CT                             620 HUMMINGBIRD CT
FORT LAUDERDALE FL 33304                SAN DIEGO CA 92113                         LAKE MARY FL 32746




JONES, JAMES R                          JONES, JAY C                               JONES, JHAWN ELLIOTT
317 EAST CAPITOL STREET                 6111 WHEAT PENNY AVE                       1308 HEATHCLIFF CT
WASHINGTON DC 20003                     LAS VEGAS NV 89122                         VIRGINIA BEACH VA 23464




JONES, JOHN W                           JONES, JONETTA                             JONES, JOSLYN J
135 RAYMOND DR                          5102 N WOLCOTT NO.1                        1636 N WELLS NO.2010
HAMPTON VA 23666                        CHICAGO IL 60640                           CHICAGO IL 60614




JONES, KAREN                            JONES, KELIA                               JONES, LAVELLE
266-A2 CHERRY VALLEY AVENUE             6285 LAKE VIEW TRAIL       NO.203          748 WRENN RD APT A
GARDEN CITY NY 11530                    MEMPHIS TN 38115                           SMITHFIELD VA 23430




JONES, LAVONE                           JONES, LELAND                              JONES, LINDA
7632 S JEFFERY                          413A SOUTH BROAD STREET                    7641 S. CREGIER AVE
CHICAGO IL 60649                        SUFFOLK VA 23434                           CHICAGO IL 60649




JONES, LUZ M                            JONES, MARI ROBYN                          JONES, MARK
304 SPRUCE STREET                       1860 PINENEEDLE TRL                        5905 MANCHESTER WAY
MANCHESTER CT 06040                     KISSIMMEE FL 34746                         TAMARAC FL 33321




JONES, MICA                             JONES, MICHAEL                             JONES, MICHAEL
481 EAST ED AVE APT 2                   2337 SOUTH MAIN ST                         29826 HIGHWAY 12
CHICAGO IL 60649                        MIDDLETOWN CT 06457                        MCCOOL MS 39108




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JONES, MILDRED M                        JONES, NEAL                                JONES, NICK
37 MAPLEWOOD RD BOX 52                  5161 DERBY DR                              5104 APPLETREE DR
STORRS CT 06268-1607                    COLORADO SPRINGS CO 80916                  ROANOKE VA 24019




JONES, NOEL                             JONES, OMAR                                JONES, PAMELA YOLANDA
330 7TH ST                              1934 E 74TH ST                             1326 PEABODY DR
BANGOR PA 18013                         CHICAGO IL 60649                           HAMPTON VA 23666




JONES, PATRICK                          JONES, PAULITA                             JONES, RANDY
9408 NEWTON                             P.O. BOX 6162                              323E 10TH ST NO. 6
KANSAS CITY MO 64138                    BROADVIEW IL 60155                         NEW YORK NY 10009




JONES, RIDLEY LEE                       JONES, ROBERT W                            JONES, ROBIN
11 LYLISTON LN                          1135 CHALLENGE DR                          4500 E BARKER WAY
NEWPORT NEWS VA 23601                   BATAVIA IL 60510                           LONG BEACH CA 90814




JONES, ROMAINE                          JONES, SAMUEL                              JONES, SANDI (SANDRA)
4401 NW 11TH STREET                     517 LIGHTHORSE LANE        APT 2024        4330 SIBLEY AVE
LAUDERHILL FL 33313                     ORLANDO FL 32818                           COLUMBUS OH 43227




JONES, SCOTT C                          JONES, STAN                                JONES, SUZANNE
35-25 77TH ST B-67                      7904 BRIGHTMEADOW COURT                    451 LAKESIDE CIRCLE NO.314
JACKSON HEIGHTS NY 11372                ELLICOTT CITY MD 21043                     POMPANO BEACH FL 33060




JONES, TASHENA                          JONES, TAYLOR                              JONES, TERRY L
4206 GLENNBROOK                         PO BOX 140297                              2300 LINCOLN ROAD NO.82
MEMPHIS TN 38109                        STATEN ISLAND NY 10314                     HALTESBURG MS 39402




JONES, THOMAS E                         JONES, TIM                                 JONES, TRAVIS
32 WILLINGTON HILL RD                   89 WEARE RD                                29 MATHEWS DR
WILLINGTON CT 06279                     HENNIKER NH 03242                          WINDSOR VA 23487




JONES, URIAH                            JONES, VERNA NOEL                          JONES, WILLIAM S
9652 S EMERALD                          3825 S DAWSON ST                           660 COVENTRY ST AP # 10
CHICAGO IL 60628                        AURORA CO 80014                            BOCA RATON FL 33487




JONES, WILLIS R                         JONES,JAMES T                              JONES-BONBREST, NANCY
22374 SW 66 AVE                         64 E CONCORD ST                            18718 FALLS RD
BOCA RATON FL 33428                     ORLANDO FL 32801                           HAMPSTEAD MD 21074




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JONI FINKLE                            JONILYN CONNOLLY                           JONISHA WILLIAMS
5145 E. STACEY LEE LANE                PO BOX 631                                 16 HAMILTON ROAD
ORANGE CA 92867                        GLEN COVE NY 11542                         TEANECK NJ 07666




JONS MARKETPLACE                       JOON BAI                                   JOPRSTRATEGY
5315 SANTA MONICA BLVD                 28-08 141 STREET                           11839 HIGHLAND PLACE
LOS ANGELES CA 90029                   APT #1D                                    CORAL SPRINGS FL 33071
                                       FLUSHING NY 11354



JORBY INC                              JORBY INC                                  JORBY INC
2993 NW 103 LANE                       7850 W MCNAB ROAD APT 318                  8871 NW 10 ST
CORAL SPRINGS FL 33065                 TAMARAC FL 33321                           PEMBROKE PINES FL 33024




JORBY INC                              JORDAN ARSENEAU                            JORDAN BARTEL
PO BOX 260663                          811 INDEPENDENCE DR.                       32 EAST PRESTON STREET
PEMBROKE PINES FL 33026                BOURBONNAIS IL 60914                       BALTIMORE MD 21202




JORDAN CONTROLS                        JORDAN CONTROLS                            JORDAN CONTROLS
5607 W DOUGLAS AVENUE                  5607 W. DOUGLAS AVENUE                     PO BOX 3036
MILWAUKEE WI 53218-1694                ATTN: PAUL                                 MILWAUKEE WI 53201
                                       MILWAUKEE WI 53218



JORDAN DENOON                          JORDAN DZIURA                              JORDAN GROUP USA, LLC
2153 7TH AVENUE                        4151 MADISON AVENUE                        504 MARSHALL RD
SACRAMENTO CA 95818                    BROOKFIELD IL 60513                        ST LOUIS MO 63119




JORDAN GROUP, THE                      JORDAN GUZZARDO                            JORDAN KOESTER
30 TREMONT STREET                      2439 N. CENTRAL PARK, #1                   200 DRAKE COURT
SUITE 59                               CHICAGO IL 60647                           HAVRE DE GRACE MD 21078
DUXBURY MA 02332



JORDAN LONG                            JORDAN LYONS                               JORDAN MONROE
504 KNOLL DRIVE                        2018 DAVID DRIVE                           2428 TIMOTHY LANE
LEHIGHTON PA 18235                     EDGEWOOD MD 21040                          KISSIMMEE FL 34743




JORDAN RAU                             JORDAN SEAMAN                              JORDAN STAIR
151 LAGOMARSINO WAY                    300 EAST 40TH STREET                       1865 S. MILWAUKEE ST.
SACRAMENTO CA 95819                    6G                                         DENVER CO 80210
                                       NEW YORK NY 10016



JORDAN WYATT                           JORDAN, AMY BETH                           JORDAN, CARMEN
4100 A. ARSENAL                        505 MERWYN RD                              500 E 75TH ST NO.2
ST. LOUIS MO 63116                     NARBERTH PA 19072                          CHICAGO IL 60619




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JORDAN, DIANE                          JORDAN, KAREN MONIQUE                      JORDAN, MICHAEL
605 PASADENA AVE NO.6                  P.O. BOX 976                               7246 SUE LANE
CREST HILL IL 60435                    MABLETON GA 30126                          COLORADO SPRINGS CO 80925




JORDAN, MYCHAL T                       JORDAN, SANDRA B                           JORDAN, SHAUN
2432 NORTH DIXIE HWY                   4443 GLENVIEW LANE                         11539 VILLA CT 2B
BOCA RATON FL 33431                    WINTER PARK FL 32792                       ALSIP IL 60803




JORDAN,SHIRLEY                         JORDI, NATHALIE                            JORGE AYALA
1109 LA SENDA DRIVE                    5390 BANYAN DRIVE                          7611 LAKESIDE DR
FULLERTON CA 92835                     MIAMI FL 33156                             RIVERSIDE CA 92509




JORGE CABRERA                          JORGE CARDENAS                             JORGE DE LA VEGA
10006 WINDING LAKE ROAD                P.O. BOX 5023                              4124 MAINE AVENUE
APT 204                                EL MONTE CA 91734                          BALDWIN PARK CA 91706
SUNRISE FL 33351



JORGE ESPINAL                          JORGE GARCIA                               JORGE GONZALEZ
1641 STRAIGHT PATH                     2465 ALICE RODRIGUEZ CIRCLE                35 ARLINGTON STREET
LINDENHURST NY 11757                   IRWINDALE CA 91706                         HARTFORD CT 06106




JORGE HERNANDEZ                        JORGE JIMENEZ                              JORGE LEYVA
14818 ASTORIA STREET                   6108 S. NARRAGANSETT AVE                   638 DOUGLAS ST.
APT. # 1                               CHICAGO IL 60638                           CHULA VISTA CA 91910
SYLMAR CA 91342



JORGE MADEIRA                          JORGE MARTINEZ                             JORGE ORTIZ
244 NEWINGTON ROAD                     784 CHISHOLM TRIAL                         11630 S. AVENUE H
WEST HARTFORD CT 06110                 ROSELLE IL 60172                           CHICAGO IL 60617




JORGE PAZ                              JORGE PLANCARTE                            JORGE RODRIGUEZ
11546 HESBY STREET                     11008 MCVINE AVENUE                        295 E COUNTRY DRIVE
NORTH HOLLYWOOD CA 91601               SUNLAND CA 91040                           BARTLETT IL 60103




JORGE ROJAS                            JORGE SOLIS                                JORGE TISCARENO
1151 SORRENTO DRIVE                    92-33 245TH STREET                         814 ALAMEDA STREET
WESTON FL 33326                        FLORAL PARK NY 11001                       ALTADENA CA 91001




JORGE VALENCIA                         JORGE VALENCIA                             JORGE VARGAS
2418 HOPKINS ST.                       1052 WESTWARD LANE                         4714 CARLEEN ROAD
SAN DIEGO CA 92139                     COSTA MESA CA 92627                        HOUSTON TX 77092




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JORGE VASQUEZ                         JORGE VEGA                                   JORGENSEN, LAUREL M
457 S WITMER ST.                      13080 4TH STREET                             1867 N HOWE ST NO.2
APT. #204                             CHINO CA 91710                               CHICAGO IL 60614
LOS ANGELES CA 90017



JORIE STEFFEN                         JORMEL INC                                   JORON HARRIS
ON233 WOODLAND COURT                  536 5TH STREET STE 2                         1401 WEST FAYETTE STREET
WHEATON IL 60187                      BROOKLYN NY 11215                            2
                                                                                   BALTIMORE MD 21223



JORSON & CARLSON CO INC               JORSON & CARLSON CO INC                      JORSON & CARLSON CO INC
1501 PRATT BLVD                       1501 PRATT BLVD                              PO BOX 796 1291 BRUMMEL
ELK GROVE VILLAGE IL 60007            PO BOX 796                                   ELK GROVE VILLAGE IL 60007
                                      ELK GROVE VILLAGE IL 60007



JOSCLYN POWELL                        JOSE A. GARCIA, JR.                          JOSE AMADOR
4622 SOUTH CALUMET AVENUE             144 1/2 S. TEXAS BLVD.                       13259 CLARK AVE.
CHICAGO IL 60653                      WESLACO TX 78596                             DOWNEY CA 90242




JOSE AMBRIZ                           JOSE AMIGLEO                                 JOSE AVILA
714 N FRANDALE AVENUE                 852 VAIL CT.                                 5119 N. ARROWAY AVE
VALINDA CA 91744                      VALPARAISO IN 46385                          COVINA CA 91724




JOSE AVILA                            JOSE AYALA                                   JOSE BORRERO
1336 EAST IDAHOME ST.                 7013 MARBRISA AVENUE                         93 SPRUCE STREET
WEST COVINA CA 91790                  HUNTINGTON PARK CA 90255                     #6
                                                                                   STAMFORD CT 06902



JOSE BUENO                            JOSE CAMACHO                                 JOSE CARABALLO
69 STAFFORD STREET                    5942 S SAWYER                                421 WEST TURNER STREET
HARTFORD CT 06114                     CHICAGO IL 60629                             ALLENTOWN PA 18102




JOSE CASTRO                           JOSE CASTRO                                  JOSE CENTENO
6443 S. LAPORTE AVE                   3240 E ATLANTIC DR                           17844 E. EDNA PLACE
CHICAGO IL 60638                      BOYNTON BEACH FL 33435                       COVINA CA 91722




JOSE CHAVEZ                           JOSE CHAVEZ                                  JOSE CORDERO
8354 S. BALTIMORE                     2020 W HARVARD STREET                        79 BRADLEY STREET
CHICAGO IL 60617                      SANTA ANA CA 92704                           BRENTWOOD NY 11717




JOSE CRESPO                           JOSE CRUZ                                    JOSE CRUZ
P.O. BOX 47918                        38 VICTORIA ROAD                             42 CORNELIA STREET
CHICAGO IL 60647-0918                 HARTFORD CT 06114                            SUITE 2
                                                                                   BROOKLYN NY 11221




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JOSE DE WIT                             JOSE DEL VALLE                             JOSE DIAZ
1990 BRICKELL AVENUE                    29 SPOTSWOOD DRIVE                         9015 KOENIG
UNIT 1                                  CORINTH NY 12822                           SAN ANTONIO TX 78251
MIAMI FL 33129



JOSE DIAZ                               JOSE ECHEVERRIA                            JOSE EDEZA
190 RALPH AVE                           9551 LOWER ASUZA ROAD                      3134 N MANGUM STREET
BABYLON NY 11702                        TEMPLE CITY CA 91780                       BALDWIN PARK CA 91706




JOSE ESPARZA                            JOSE FUENTES                               JOSE GOMEZ
1608 N AVENUE 45                        899 PARKER STREET                          15522 VANOWEN STREET
LOS ANGELES CA 90041                    MANCHESTER CT 06040                        APT# 219
                                                                                   VAN NUYS CA 91406



JOSE GOMEZ                              JOSE GOMEZ                                 JOSE GUADALUPE LAZARO
3247 BRONCO LANE                        228 BURNSED PL                             6146 S. RICHMOND
NORCO CA 92860                          OVIEDO FL 32765                            CHICAGO IL 60629




JOSE GUATEMALA                          JOSE GUZMAN                                JOSE HERNANDEZ
3043 GARNE LANE                         185 SCHOLES STREET                         1800 E AROMA DR. APT # 227
APT. #C                                 3C                                         WEST COVINA CA 91791
FULLERTON CA 92831                      BROOKLYN NY 11206



JOSE HERNANDEZ                          JOSE HERNANDEZ                             JOSE HERNANDEZ
1420 N. ALTA VISTA BLVD.                3146 SOUTH KEDVALE                         616 WALNUT STREET
APT#105                                 1ST FLOOR                                  ALLENTOWN PA 18101
LOS ANGELES CA 90046                    CHICAGO IL 60623



JOSE HERRERA                            JOSE HERRERA                               JOSE HUERTAS
3310 S. CUYLER AVE.                     15917 W. CHANCELLER                        275 FREEMAN STREET
BERWYN IL 60402                         LOCKPORT IL 60491                          HARTFORD CT 06106




JOSE JARAMILLO                          JOSE JAUREGUI                              JOSE LAZO RODRIGUEZ
114 BUELL STREET                        21759 DON GEE COURT                        6513 FAIRFIELD ST.
NEW BRITAIN CT 06051                    SANTA CLARITA CA 91350                     LOS ANGELES CA 90022




JOSE LEON                               JOSE LIZARDO                               JOSE LOPEZ
1617 FIFTH AVE                          2916 FUTURE ST.                            1951 SUMMIT TOWER DRIVE
BAY SHORE NY 11706                      LOS ANGELES CA 90065                       #364
                                                                                   ORLANDO FL 32810



JOSE LOZADA                             JOSE LUCERO                                JOSE LUIS GATMAYTAN, MIGUEL
425 MAIN STREET                         16712 KALISHER ST                          1208 SE 16TH ST
WALNUTPORT PA 18088                     GRANADA HILLS CA 91344                     OCALA FL 34471




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JOSE LUYANDO                          JOSE M ROBLES                              JOSE MARQUEZ
53 MAIN STREET                        23486 LOS ADORNOS                          2964 PARTRIDGE AVENUE
WEST HAVEN CT 06516                   LAGUNA HILLS CA 92656                      LOS ANGELES CA 90039




JOSE MARTINEZ                         JOSE MENDEZ                                JOSE MENDEZ
404 S. ASHDALE ST                     PO BOX 125                                 5348 WEST. BYRON STREET
WEST COVINA CA 91790                  BETHLEHEM PA 18016                         CHICAGO IL 60641




JOSE MIRANDA                          JOSE MORE                                  JOSE MORENO
18003 JEANNIE ST.                     2405 HAPPY HOLLOW                          26 WINDERMERE DRIVE
LA PUENTE CA 91744                    GLENVIEW IL 60026                          YONKERS NY 10710




JOSE NAZARENO                         JOSE ORTA                                  JOSE ORTIZ
1387 QUAKER LN                        3943 ELM AVE                               P.O. BOX 884
PROSPECT HEIGHTS IL 60070             2S                                         ALLENTOWN PA 18105
                                      BROOKFIELD IL 60513-1917



JOSE ORTIZ                            JOSE OSORIO                                JOSE PAGAN
125 SOUTH 8TH STREET                  4120 W. EDDY STREET                        2515 N. SPRINGFIELD
ALLENTOWN PA 18101                    CHICAGO IL 60641                           CHICAGO IL 60647




JOSE PAGAN                            JOSE PEREZ                                 JOSE PEREZ
80 NILAN STREET                       300 TRESSER BLVD                           1758 PARK STREET
HARTFORD CT 06106                     APT. 8-F                                   2ND FLOOR
                                      STAMFORD CT 06901                          HARTFORD CT 06106



JOSE PEREZ MONTALVO                   JOSE PINIERO                               JOSE PRADO
339 NORTH PENN STREET                 216 ROCKAWAY PARKWAY                       3435 PAULA ST.
ALLENTOWN PA 18102                    VALLEY STREAM NY 11580                     WEST COVINA CA 91792




JOSE RAMOS                            JOSE RAYA                                  JOSE RAYGOZA
31 ANDERSON STREET                    9628 LEMON COURT                           1641 EAST 32ND STREET
STAMFORD CT 06902                     FONTANA CA 92335                           LOS ANGELES CA 90011




JOSE REI                              JOSE RENTERIA                              JOSE REYES
112 TIFFANY ROAD                      7700 CRANER                                44 BARNARD STREET
EAST HARTFORD CT 06108                SUN VALLEY CA 91352                        APT. D3
                                                                                 HARTFORD CT 06114



JOSE RIOS                             JOSE RIOS                                  JOSE RIVERA
7761 PALMETTO AVENUE                  5632 VAN NUYS BLVD                         2133 S. ALBANY
FONTANA CA 92336                      APT 350                                    CHICAGO IL 60623
                                      VAN NUYS CA 91401




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JOSE ROA                                 JOSE RODOLFO DIAZ                          JOSE RODRIGUEZ
1422 S 49TH COURT                        6904 MARCH WAY                             1050 S MILITARY TRAIL
CICERO IL 60804                          ELK GROVE CA 95758                         APT 205
                                                                                    DEERFIELD BEACH FL 33442



JOSE RODRIGUEZ                           JOSE ROMAN                                 JOSE ROZAS
4610 S. WHIPPLE                          925 N CALIFORNIA                           721 WETHERSFIELD AVENUE 3N
CHICAGO IL 60632                         APT. 204                                   HARTFORD CT 06114
                                         CHICAGO IL 60622



JOSE SALAZAR GUEMES                      JOSE SANCHEZ                               JOSE SANCHEZ
232 1/2 W. FORENCE AVE                   7021 WILLS DRIVE                           18263 ADA ST
LOS ANGELES CA 90003                     GARLAND TX 75043                           LANSING IL 60438




JOSE SANDOVAL                            JOSE SANTIAGO                              JOSE SANTOS
7923 RESEDA BOULEVARD                    15115 S. RIDGEWAY                          607 LASSEN LANE
APT. #5                                  MIDLOTHIAN IL 60445                        COSTA MESA CA 92626
RESEDA CA 91335



JOSE TEXIDOR                             JOSE TOLEDO                                JOSE VAZQUEZ
2020 17TH STREET                         5550 LIDO ST.                              P.O. BOX 340312
MELROSE PARK IL 60160                    ORLANDO FL 32807                           HARTFORD CT 06134




JOSE VAZQUEZ                             JOSE VELAZQUEZ                             JOSE VELAZQUEZ
13775 GLENOAKS BLVD.                     284 E. 49TH STREET                         8 RABBIT ROCK ROAD
APT#10                                   LOS ANGELES CA 90011                       EAST HAVEN CT 06513
SYLMAR CA 91342



JOSE VILLANUEVA LOPEZ                    JOSE ZAMUDIO                               JOSE' ALBERTO MATA
42-15 43RD AVENUE A                      4943 S. LATROBE                            10824 ANITA DRIVE
APT 21                                   CHICAGO IL 60638                           MASON NECK VA 22079
LONG ISLAND CITY NY 11104



JOSE' MARTINEZ                           JOSE-ANNA DIZON                            JOSEAN MALCOLM-COOK
P.O. BOX 4426                            1119 S ALBANY STREET #302                  18981 SW 41ST STREET
ORLANDO FL 32802-2143                    LOS ANGELES CA 90015                       MIRAMAR FL 33029




JOSEF CIOLEK                             JOSEF MILLITZER                            JOSEFINA GARCIA
2824 N LAWNDALE                          4205 BOTANICAL                             827 ALLEN STREET
CHICAGO IL 60618                         2W                                         ALLENTOWN PA 18102
                                         ST. LOUIS MO 63110



JOSEFINA MARTINEZ                        JOSEFINA ZALDUA                            JOSEFINA ZAMUDIO
236 MAPLEWOOD                            2028 LEMOYNE ST                            18020 BRITTANY
NORTHLAKE IL 60164                       LOS ANGELES CA 90026                       LANSING IL 60438




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JOSELITA VELASCO                      JOSELITO HUERTO                            JOSELYN BONIFACI RENTERIA
838 N KENMORE AVENUE                  2645 PICKENS STREET                        PO BOX 4728
LOS ANGELES CA 90029                  MONTROSE CA 91020                          CARSON CA 90745




JOSEMOND, MICHELAIS                   JOSEPH & HERZFELD LLP                      JOSEPH A DIBELLA
604 SW 2ND AVE                        D MAIMON KIRSCHENBAUM/BRIAN FREDERICKS     3063 LAZY Y-U DRIVE
BOYNTON BEACH FL 33426                757 THIRD AVE, 25TH FL                     KINGMAN AZ 86401
                                      NEW YORK NY 10017



JOSEPH A GUSMEROTTI                   JOSEPH A MOORE                             JOSEPH A MURZANSKI
102 S CATALINA                        612 N KEYSTONE                             6222 W. 124TH STREET
LOS ANGELES CA 90004                  BURBANK CA 91506                           PALOS HEIGHTS IL 60463




JOSEPH A VASSA                        JOSEPH A. FIORE                            JOSEPH ADAMO
40 FRONT ST                           BARBARA J DUFFY                            1525 TOWHEE LANE
CATASAUQUA PA 18032                   C/O LANE POWELL PC                         NAPERVILLE IL 60565
                                      1420 FIFTH AVENUE, SUITE 4100
                                      SEATTLE WA 98101-2338


JOSEPH ALLEN                          JOSEPH AMEREIHN                            JOSEPH ANDUJAR
617 CIDER PRESS LOOP                  344 ELINOR AVE                             1512 WEST LIBERTY STREET
JOPPA MD 21085                        BALTIMORE MD 21236                         ALLENTOWN PA 18102




JOSEPH ANTELO                         JOSEPH ANTONELLI                           JOSEPH ANTONIATO
1350 N. ASTOR STREET                  3 DEAN STREET                              P.O. BOX 4044
APT.4D                                APT. 1A                                    DEERFIELD BEACH FL 33442
CHICAGO IL 60610                      STAMFORD CT 06902



JOSEPH ARISTIDE                       JOSEPH ATKINSON                            JOSEPH BAER
4587 FRISCO CIRCLE                    104 PARK AVENUE                            P. O. BOX 102
ORLANDO FL 32808                      NEWPORT NEWS VA 23607                      RHINECLIFF NY 12574




JOSEPH BARNER                         JOSEPH BARON                               JOSEPH BATTISTONI
3051 SUSSEX ROAD                      5 COLLINS CT                               7935 TRINITY
ALLENTOWN PA 18103                    BAYPORT NY 11705                           2 NW
                                                                                 TINLEY PARK IL 60487



JOSEPH BEAN                           JOSEPH BEAUDROT                            JOSEPH BEEGLE
9601 LAMBETH CT.                      59 FLOYD RD                                17445 FALCON DRIVE
COLUMBIA MD 21046                     SHIRLEY NY 11967                           BETHLEHEM PA 18017




JOSEPH BELL TROWBRIDGE                JOSEPH BELLINO                             JOSEPH BENNETT
427 SHERMAN AVENUE                    4308 FISHERMANS TERRACE                    27 POPLAR ST
EVANSTON IL 60202                     LYONS IL 60534                             WESTBURY NY 11590




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JOSEPH BERNI                          JOSEPH BERNICHIO                           JOSEPH BISSETT
99-31 64TH AVENUE                     9840 S. 50TH CT.                           7 S. SYCAMORE LANE
REGO PARK NY 11374                    OAK LAWN IL 60453                          STEWARTSTOWN PA 17363-4139




JOSEPH BOCHICCHIO                     JOSEPH BOLTON                              JOSEPH BONFIGLIO
315 RENEE DRIVE                       12814 SYCAMORE LANE                        12 WILDWOOD DRIVE
BAYPORT NY 11705                      PALOS HEIGHTS IL 60463                     TRUMBULL CT 06611




JOSEPH BOTELER                        JOSEPH BREZACK                             JOSEPH BROOKS
1154 ANNIS SQUAM HARBOUR              53 W PRISCILLA STREET                      3907 ROSE PETAL LN
PASADENA MD 21122                     ALLENTOWN PA 18103                         ORLANDO FL 32808




JOSEPH BROQUARD                       JOSEPH BROWN                               JOSEPH BRUNNER
2135 W. BELMONT AVENUE                14171 APPLE GROVE COURT                    1777 GREVELIA STREET
UNIT 3                                CORONA CA 92880                            APT A
CHICAGO IL 60618                                                                 S. PASADENA CA 91030



JOSEPH BUCCILLI                       JOSEPH BURRIS                              JOSEPH CALANDRINO
456 CARNATION DRIVE                   118 INGLE PLACE                            20 CLOVERDALE DRIVE
EAST YAPHANK NY 11967                 ALEXANDRIA VA 22304                        OAKDALE NY 11769




JOSEPH CAMBARERI                      JOSEPH CAMERON                             JOSEPH CAMPANELLA
27 MONATON DRIVE                      10023 WOOD LANE                            404 S. SUNNYSIDE
HUNTINGTON STATION NY 11746           PALOS HILLS IL 60465                       ITASCA IL 60143




JOSEPH CAMPANILE                      JOSEPH CAMPBELL                            JOSEPH CANTASANO
5051NESTING WAY                       5124 WOODLAWN AVENUE                       843 TANGLEWOOD RD
APT B                                 EVERETT WA 98203                           WEST ISLIP NY 11795
DELRAY BEACH FL 33484



JOSEPH CAPUANO                        JOSEPH CARTALINO                           JOSEPH CARZOLI
1091 COURTLAND DR                     955 HARMONI LANE                           108 SENECA TRAIL
BAY SHORE NY 11706                    NEW LENOX IL 60451                         BLOOMINGDALE IL 60108




JOSEPH CATANIA                        JOSEPH CAVARETTA                           JOSEPH CECCOLA
1877 NW 107TH DRIVE                   4560 NE 2ND AVE                            1002 MEADOWVIEW LANE
CORAL SPRINGS FL 33071                OAKLAND PARK FL 33334                      MONT CLARE PA 19453




JOSEPH CHARLES                        JOSEPH CHLOPECKI- CITY                     JOSEPH CHLOPECKI- NATIONAL
1292 JEFFERSON AVE                    18812 S. AVERS                             18812 S. AVERS
2ND FLOOR                             FLOSSMOOR IL 60422                         FLOSSMOOR IL 60422
BROOKLYN NY 11221




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JOSEPH CHLOPECKI- PMA                JOSEPH CHRISTOPHER                         JOSEPH CIPOLLA
18812 S. AVERS                       543 RUMPLE LANE                            85 IMPERIAL DRIVE
FLOSSMOOR IL 60422                   ADDISON IL 60101                           MILLER PLACE NY 11764




JOSEPH CLAGGETT                      JOSEPH COATES                              JOSEPH COLEMAN
1913 WILHELM AVE                     3200 LAKE SHORE DR                         169 SIGOURNEY STREET
ROSEDALE MD 21237                    APT 2407                                   APT B3
                                     CHICAGO IL 60657                           HARTFORD CT 06105



JOSEPH COOK                          JOSEPH CORDERI                             JOSEPH COUCH
900 NAVY ROAD                        2690 SW 22ND AVE                           11164 CANORA CT.
TOWSON MD 21204                      303                                        APPLE VALLEY CA 92308
                                     MIAMI FL 33133



JOSEPH COZZATI                       JOSEPH CUZZOLINA                           JOSEPH D CANTRELL
205 FRANKLIN STREET                  619 NORTH SYCAMORE AVENUE                  6210 REGAL SPRINGS DR
BEL-AIR MD 21014                     LOS ANGELES CA 90036                       LOUISVILLE KY 40205




JOSEPH D'ADAMO                       JOSEPH DARROW                              JOSEPH DECARLO
2 REDFIELD CT                        849 N HARVEY AVE                           3201 BRITANNIA CT
BALTIMORE MD 21236                   OAK PARK IL 60302                          ANNAPOLIS MD 21403




JOSEPH DEGROAT                       JOSEPH DELAURI                             JOSEPH DEMMA
71 FENWICK STREET                    1538 N. DETROIT STREET                     307 SAINT ANDREWS ROAD
HARTFORD CT 06114                    APT#5                                      HOLLYWOOD FL 33021
                                     LOS ANGELES CA 90046



JOSEPH DERRY                         JOSEPH DESOLA                              JOSEPH DIETERICH
5977 SOUTH LOUTHAN STREET            BINDER & BINDER PC                         6603 RAPID WATER WAY
LITTLETON CO 80120                   PATRICK BUSSE                              UNIT 202
                                     300 RABRO DR SUITE 101                     GLEN BURNIE MD 21060
                                     HAUPPAUGE NY 11788


JOSEPH DINUNZIO                      JOSEPH DIONISIO                            JOSEPH DIX
500 CYPRESS ROAD                     228 BAYVIEW DR                             3430 N LAKE SHORE
NEWINGTON CT 06111                   MASTIC BEACH NY 11951                      #18P
                                                                                CHICAGO IL 60657-2842



JOSEPH DREISIGMEYER                  JOSEPH DUARTE                              JOSEPH ECKDAHL
3005 HOKENDAUQUA ST.                 2432 HARMONY PLACE                         7307 GRIFFITH LANE
WHITEHALL PA 18052                   LA CRESCENTA CA 91214                      MOORPARK CA 93021




JOSEPH EVANS                         JOSEPH F NAWROZKI                          JOSEPH FABIS
25 TENBURY RD                        296 CANTERBURY RD UNIT H                   10179 HANOVER AVENUE
LUTHERVILLE MD 21093                 BEL AIR MD 21014                           HUNTLEY IL 60142




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JOSEPH FARRAR                          JOSEPH FARRELL                             JOSEPH FARRIELLA
4935 HARRIMAN AVENUE                   2720 NORTH WAYNE                           156 RICHMOND AVE
SOUTH PASADENA CA 91030                CHICAGO IL 60614                           MEDFORD NY 11763




JOSEPH FERNANDEZ                       JOSEPH FERRANTE                            JOSEPH FICETO
193 ANCHORAGE DR.                      29 WICHARD DR                              180 LOCUST DRIVE
WEST ISLIP NY 11795                    OAKDALE NY 11769                           ROCKY POINT NY 11778




JOSEPH FLETCHER                        JOSEPH FLEURIMOND                          JOSEPH FLOREK
10721 S. KEATING AVENUE                4530 NW 36TH STREET                        4735 SOUTH TRIPP
APT. 2N                                APT # 410                                  CHICAGO IL 60632
OAK LAWN IL 60453                      LAUDERDALE LAKES FL 33319



JOSEPH FLORIDIA                        JOSEPH FORASTIERE                          JOSEPH FORYS
266 FIRST AVENUE                       P.O. BOX 1374                              9 DAELL LANE
MASSAPEQUA PARK NY 11762               HARTFORD CT 06143                          CENTEREACH NY 11720




JOSEPH FOURHMAN                        JOSEPH FREED AND ASSOCIATES LLC            JOSEPH FRENCH
549 N REESER DRIVE                     C/O JOSEPH FREED AND ASSOCIATES LLC        17600 BURBANK BOULEVARD
YORK HAVEN PA 17370                    220 N SMITH STREET SUITE 300               APT. 204
                                       PALATINE IL 60067                          ENCINO CA 91316



JOSEPH FREY                            JOSEPH FUDGE                               JOSEPH GAETA
71-22 69TH PLACE                       122 LAKE POINTE DRIVE                      359 VERMONT AVENUE
GLENDALE NY 11385                      NEWPORT NEWS VA 23603                      OCEANSIDE NY 11572




JOSEPH GANZZERMILLER                   JOSEPH GARRAFFO                            JOSEPH GARVY
3216 JUNEAU PL                         1029 NORTH HAMILTON AVE                    8 S 241 DUNHAM DRIVE
BALTIMORE MD 21214                     LINDENHURST NY 11757                       NAPERVILLE IL 60540




JOSEPH GELL                            JOSEPH GERGEN                              JOSEPH GIACALONE
5 VEGAS COURT                          511 LIDO BLVD                              150B NORTH BROADWAY
PLAINVIEW NY 11803                     LONG BEACH NY 11561                        WHITE PLAINS NY 10603




JOSEPH GIAMETTA                        JOSEPH GIERTUGA                            JOSEPH GILLESKI
7 EBB COURT                            11725 S. LAMON AVENUE                      110 ELMBROOK DRIVE
COMMACK NY 11725                       ALSIP IL 60803                             STAMFORD CT 06906




JOSEPH GIORDANO                        JOSEPH GIROUX                              JOSEPH GLYNN
502 WOOD BURY WAY                      12 A SUNSET AVENUE                         3500 HILLHAVEN DR
BEL AIR MD 21014                       QUEENSBURY NY 12804                        WEST COVINA CA 91791




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JOSEPH GORDON                          JOSEPH GRAVES                              JOSEPH GRAY
530 W SCHOOL STREET                    1264 WEST MONTROSE                         811 W ALDINE
COMPTON CA 90220                       #3                                         #4S
                                       CHICAGO IL 60613                           CHICAGO IL 60657



JOSEPH GUILLOTTE                       JOSEPH GUZZELLO                            JOSEPH HABERSTROH
3640 WILDERNESS WAY                    397 SAVILLE RD                             75 S PENATAQUIT AVE
CORAL SPRINGS FL 33065                 MINEOLA NY 11501                           BAY SHORE NY 11706




JOSEPH HALL                            JOSEPH HANEY                               JOSEPH HARDY
1144 NORTH STRICKER STREET             2449 FLOWER STREET                         5021 MADISON AVENUE
BALTIMORE MD 21217                     HUNTINGTON PARK CA 90255                   PENNSAUKEN NJ 08110




JOSEPH HEATH                           JOSEPH HLADIK                              JOSEPH HUERTA
746 ST. NICHOLAS AVENUE                REGENCY PARK NORTH                         2461 18TH AVE
APT. #35                               5210                                       SACRAMENTO CA 95820
NEW YORK NY 10031                      QUEENSBURY NY 12804



JOSEPH HUGHES                          JOSEPH HURST                               JOSEPH HUTZAYLUK
9596 E ROADRUNNER DR                   11 LEONARD AVE                             5722 LIMEPORT ROAD
SCOTTSDALE AZ 85262                    FREEPORT NY 11520                          EMMAUS PA 18049




JOSEPH IACANGELO                       JOSEPH IMBROGNO                            JOSEPH INBORNONE
14 DOLPHIN WAY                         1955 WISCONSIN AVE.                        208 HOLDERNESS DRIVE
RIVERHEAD NY 11901                     DOWNERS GROVE IL 60515                     LONGWOOD FL 32779




JOSEPH J BOGG                          JOSEPH J GUITERAS                          JOSEPH J KOVACS
20008 WHITE PINES COURT                2238 BERMUDA DUNES PLACE                   343 NORTH BOSTON AVE
MOKENA IL 60448                        OXNARD CA 93036                            MASSAPEQUA NY 11758




JOSEPH J ZISA                          JOSEPH JABALY                              JOSEPH JAHNS
3149 ALABAMA STREET                    10101 EAST BAY HARBOR DRIVE                184 2ND ST
LA CRESCENTA CA 91214                  #204                                       HERMOSA BEACH CA 90254
                                       MIAMI BEACH FL 33154



JOSEPH JENKINS                         JOSEPH JERRICK                             JOSEPH JR,ALFRED A
4161 THATSBURY COURT                   20 OLD OAK COURT                           5802 EVERHART NO.16E
CHINO HILLS CA 91709                   BLOOMFIELD CT 06002                        CORPUS CHRISTI TX 78413




JOSEPH JUAREZ                          JOSEPH KAPSCH                              JOSEPH KEMMERER
3352 NORTH MUSCATEL AVENUE             7046HOLLYWOOD BLVD                         1301 MICKLEY ROAD
ROSEMEAD CA 91770                      APT 202                                    APT J-5
                                       HOLLYWOOD CA 90028                         WHITEHALL PA 18052




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JOSEPH KNOWLES                       JOSEPH KOLEK                               JOSEPH KOLLIN
2S516 ASHLEY DRIVE                   6158 S NEENAH                              1429 SE MIAMI RD 7
GLEN ELLYN IL 60137                  CHICAGO IL 60638                           FORT LAUDERDALE FL 33316




JOSEPH KORDASH                       JOSEPH KUCHAR                              JOSEPH KUTIL
1423 ARTESIAN AVENUE                 980 W. BRIARCLIFF                          630 BRAINTREE
#3                                   BOLINGBROOK IL 60440                       SCHAUMBURG IL 60193
CHICAGO IL 60622



JOSEPH L MATUSEK                     JOSEPH L MUCEK                             JOSEPH L O'NEAL
P.O. BOX 10                          1349 GEM CT                                1777 S OGDEN DR
BRISTOL WI 53104                     WISC DELLS WI 53965                        LOS ANGELES CA 90019




JOSEPH LAARVELD                      JOSEPH LAMANTIA                            JOSEPH LASZCIK
5807 N. ROCKWELL                     3829 N OAKLEY                              15 POPLAR DRIVE
CHICAGO IL 60659                     1ST FLOOR                                  SMITHTOWN NY 11787
                                     CHICAGO IL 60618



JOSEPH LENNERT                       JOSEPH LEONARD                             JOSEPH LEONE
23619 CATSKILL AVENUE                26 LAPEER ST                               60 PAYTON TERRACE
CARSON CA 90745                      DEER PARK NY 11729                         BRISTOL CT 06010




JOSEPH LEPAGE                        JOSEPH LEWIS                               JOSEPH LOPEZ
98 SYCAMORE ST                       1312 N. TOWNER                             531 TREE SHORE DR
BRENTWOOD NY 11717                   SANTA ANA CA 92706                         ORLANDO FL 32825




JOSEPH LOVELOCK                      JOSEPH LYNCH                               JOSEPH LYNN
2622 FOXDALE AVENUE                  1175 BRECKENRIDGE AVENUE                   658 LYDIA ST. NE
OCEANSIDE NY 11572                   LAKE FOREST IL 60045                       3
                                                                                GRAND RAPIDS MI 49503



JOSEPH M SHARNOFF PC                 JOSEPH MALLIA                              JOSEPH MALONE
2800 CENTER RIDGE DR                 57 SMITH ST                                35 BROOKMEADOW CIR
OAKTON VA 22124                      GREENLAWN NY 11740                         SHREWSBURY PA 17361




JOSEPH MANDRACCHIA                   JOSEPH MANGINELLI                          JOSEPH MANN & CREED
1375 SUNFLOWER AVENUE                14421 DANES CIRCLE                         20600 CHARGIN BLVD STE 550
COSTA MESA CA 92626                  HUNTINGTON BEACH CA 92647                  SHAKER HTS OH 44122




JOSEPH MANNIELLO                     JOSEPH MARANGOLO                           JOSEPH MARINO
2036 GROPSEY AVENUE                  4256 EISENHOWER DRIVE                      4 SHELTON COURT
APT 5G                               BETHLEHEM PA 18020                         COMMACK NY 11725
BROOKLYN NY 11214




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JOSEPH MARK RUSSIN                     JOSEPH MARMER                              JOSEPH MARTIN
1458 ROYAL BOULEVARD                   31 ROXTON ROAD                             126 CARDINAL LANE
GLENDALE CA 91207                      PLAINVIEW NY 11803                         YORKTOWN VA 23693




JOSEPH MASTRARRIGO                     JOSEPH MATHEWS                             JOSEPH MCCLARY
3215 NORTH JERSALEM ROAD               812 1/2 S. ORANGE GROVE AVE                335 BROADWAY ROAD
LEVITTOWN NY 11756                     LOS ANGELES CA 90036                       HUNTINGTON NY 11743




JOSEPH MCDONALD                        JOSEPH MENN                                JOSEPH MESSINA
2720 W ALLEN STREET                    2302 EARL STREET                           610 LAVINA DRIVE
ALLENTOWN PA 18104                     LOS ANGELES CA 90039                       BOLINGBROOK IL 60440




JOSEPH MICK                            JOSEPH MIEDZIANOWSKI                       JOSEPH MOLINA
602 RAVINIA DRIVE                      8543 W. ST. JOSEPH                         31 BARTER LANE
SHOREWOOD IL 60431                     CHICAGO IL 60656                           HICKSVILLE NY 11801




JOSEPH MORWIN                          JOSEPH MOTIS                               JOSEPH MOZINGO
1051 OCEANSHORE BLVD.                  118 CLEVELAND PL                           4216 E. 6TH ST.
#504                                   MASSAPEQUA NY 11758                        LONG BEACH CA 90814
ORMOND BEACH FL 32176



JOSEPH MUNOZ                           JOSEPH MURKIJANIAN                         JOSEPH MURPHY
857 E. WASHINGTON BLVD.                125 E. BALANDA DR.                         7400 W. 111TH STREET
UPLAND CA 91786                        MONTEBELLO CA 90640                        #103
                                                                                  WORTH IL 60482



JOSEPH NAGEL                           JOSEPH NAILOG                              JOSEPH NIXON
17933 DAVIDS LANE                      P. O. BOX 1586                             115 FERNWOOD DRIVE
ORLAND PARK IL 60467                   LOS ANGELES CA 90078                       EASTON PA 18040




JOSEPH NUNES                           JOSEPH NUNEZ                               JOSEPH O'BRIEN
56 CONCORD STREET                      35 NORTH FRANKLIN STREET                   8 WINDRUSH LANE
WEST HARTFORD CT 06119                 ALLENTOWN PA 18102                         ANDOVER CT 06232




JOSEPH ORLANDO                         JOSEPH OSSA                                JOSEPH P MATHIAS
1014 MISTY BROOK                       806 TWIN LAKES DRIVE                       4403 TOLCHESTER CT
JOLIET IL 60432                        CORAL SPRINGS FL 33071                     BELCAMP MD 21017




JOSEPH PALLADINO                       JOSEPH PANEPINTO                           JOSEPH PARK
8 SATELLITE DRIVE                      4797 SUNRIDGE TERRACE DRIVE                1212 W. NORTH SHORE AVE
ISLIP TERRACE NY 11752                 CASTLE ROCK CO 80109                       APT 1W
                                                                                  CHICAGO IL 60626




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JOSEPH PASSANANTE                     JOSEPH PATRIZZI                            JOSEPH PAUSBACK
238 49TH ST.                          229 KILLINGWORTH TURNPIKE #7               1331 S. ASHLAND AVE.
LINDENHURST NY 11757                  CLINTON CT 06413                           PARK RIDGE IL 60068




JOSEPH PELLEGRINO                     JOSEPH PELLICANE                           JOSEPH PENDERGRASS
39 KIRBY LANE                         2216 CYPRESS BEND DR                       107 COUNTY RT #44
LAKE RONKONKOMA NY 11779              # 14-304                                   PO BOX 96
                                      POMPANO BEACH FL 33069                     ARGYLE NY 12809



JOSEPH PERILLO                        JOSEPH PERZ                                JOSEPH PETE
427 PRESIDENT PLACE                   4320 N. CLARENDON                          6320 N MAPLEWOOD AVE
WEST BABYLON NY 11704                 UNIT 2010                                  CHICAGO IL 60659
                                      CHICAGO IL 60613



JOSEPH PHILLIPS                       JOSEPH PISANI                              JOSEPH PIZZO
8017 S. INDIANA                       877 INDIAN HILL ROAD                       6747 N. LAKEWOOD
APT. #2W                              ORANGE CT 06477                            APT #3
CHICAGO IL 60619                                                                 CHICAGO IL 60626



JOSEPH PLAZOLA                        JOSEPH PRICE                               JOSEPH PRODUCTIONS INC
7915 KYLE STREET                      65 WEST NINTH ST                           34525 GLENDALE
SUNLAND CA 91040                      DEER PARK NY 11729                         LIVONIA MI 48150




JOSEPH PROPHETE                       JOSEPH PUNDAY                              JOSEPH QUEEN
441 SW 2ND COURT                      7 HEMLOCK ROAD                             2423 GOLDERS GREEN CT
APT 1                                 HOWELL NJ 07731                            BALTIMORE MD 21244
POMPANO BEACH FL 33060



JOSEPH QUINN                          JOSEPH QUINTERO                            JOSEPH R GAAL
376 N WELLWOOD AVE                    PO BOX 844                                 1303 N ULSTER STREET
LINDENHURST NY 11757                  ELK GROVE CA 95759                         ALLENTOWN PA 18109




JOSEPH R QUASARANO JR                 JOSEPH R STERNE                            JOSEPH RAGO
10861 WICKS ST.                       PO BOX 599                                 117 S. GRANT STREET
SHADOW HILLS CA 91040                 SPARKS MD 21152                            WESTMONT IL 60559




JOSEPH RAMOS                          JOSEPH RASSEL                              JOSEPH RATHER
3727 KENMORE AVE.                     1308 CRAWFORD DR                           605 FORFAR COURT
BALDWIN PARK CA 91706                 APOPKA FL 32703                            ABINGDON MD 21009




JOSEPH RAWLEY                         JOSEPH REDMOND                             JOSEPH RINGGOLD
ONE GALLERIA BLVD.                    6026 N. WINTHROP                           30 GARFIELD PLACE
STE. 850                              APT. 6C                                    HEMPSTEAD NY 11550
METAIRIE LA 70001                     CHICAGO IL 60660




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JOSEPH RIVERA                           JOSEPH RIVIERS                             JOSEPH ROBERTS
4009 W. PALMER                          526 NORTH 5TH STREET                       2873 BILTMORE PARK DR.
CHICAGO IL 60639                        ALLENTOWN PA 18102                         APT. 206
                                                                                   ORLANDO FL 32835



JOSEPH ROCKEFELLER                      JOSEPH ROGATE                              JOSEPH ROTH
465 BUCKLAND HILLS DRIVE                1202 ALLEN DR                              1625 MARSHALL STREET SW
APT. 34213                              SEAFORD NY 11783                           ALLENTOWN PA 18103
MANCHESTER CT 06042



JOSEPH ROTHGEB                          JOSEPH ROULIER                             JOSEPH RUMORE
7 LESLIE AVENUE                         1228 ASHTON LANE                           275 MAPLE AVENUE, #B-6
BALTIMORE MD 21236                      NAPERVILLE IL 60540                        ROCKVILLE CENTRE NY 11570




JOSEPH RYAN                             JOSEPH RYAN                                JOSEPH S MAGDZIAK
9105 SW 22ND STREET                     P O BOX 176                                13717 WILDER AVENUE
UNIT E                                  AUDUBON NJ 08106                           NORWALK CA 90650
BOCA RATON FL 33428



JOSEPH SALECKI                          JOSEPH SANDERS                             JOSEPH SASIADEK
15919 BARROW CT                         547 STONE HARBOR CIRCLE                    3038 W. 54TH PLACE
MANHATTAN IL 60442                      LA HABRA CA 90631                          CHICAGO IL 60632




JOSEPH SCHILTZ                          JOSEPH SCHWERDT                            JOSEPH SEAGER
ONE CORPORATE CENTER                    2521 SW 11TH STREET                        5 BROADWAY
WTIC/WTXX - TV                          BOYNTON BEACH FL 33426                     HOLTSVILLE NY 11742
HARTFORD CT 06103



JOSEPH SEITZ                            JOSEPH SERNA                               JOSEPH SGRO
138 MEADOW CROFT DRIVE                  9451 SUTHERLAND WAY                        213 REGAN ROAD
CENTERVILLE MD 21617                    WESTMINSTER CA 92683                       APT. 11
                                                                                   VERNON CT 06066



JOSEPH SHAKESPEARE                      JOSEPH SHEA                                JOSEPH SHERLOCK
4468 OAKDALE CRESCENT COURT             949 MOODY PLACE                            3125 MARGATE PLACE
927                                     CLAREMONT CA 91711                         PALMDALE CA 93551
FAIRFAX VA 22030



JOSEPH SILVESTRI                        JOSEPH SIMON                               JOSEPH SINCLAIR
60 WEAVER STREET                        2113 ORANGE CENTER BLVD                    833 WEST 15TH PLACE
LITTLE FALLS NJ 07424                   UNIT D                                     UNIT # 301
                                        ORLANDO FL 32805                           CHICAGO IL 60608



JOSEPH SJOSTROM                         JOSEPH SOLIMENO                            JOSEPH SOLLACCIO
238 SOUTH SCOVILLE AVENUE               61-48 GATES AVENUE                         883 WILLOW RUN LANE
OAK PARK IL 60302                       RIDGEWOOD NY 11385-3319                    WINTER SPRINGS FL 32708




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JOSEPH SOLLECITO                         JOSEPH SPEAR                                JOSEPH STASZEWSKI
7936 LAKEWOOD COVE CT                    12686 MASSACHUSETTS ST                      68-58 76TH STREET
LAKE WORTH FL 33467                      CROWN POINT IN 46307                        MIDDLE VILLAGE NY 11379




JOSEPH STERNE                            JOSEPH STINE                                JOSEPH STURIALE
PO BOX 599                               5 QUEEN STREET                              1 CARSTON STREET WEST
SPARKS MD 21152                          HICKSVILLE NY 11801                         SELDEN NY 11784




JOSEPH STURM                             JOSEPH SWIERCINSKI                          JOSEPH SZCZECH
5 PECONIC LANE                           6415 S KOSTNER                              1222 WEST 119TH STREET
SELDEN NY 11784                          CHICAGO IL 60629                            LEMONT IL 60439




JOSEPH SZYMANSKI                         JOSEPH TERRAZZINO                           JOSEPH THUNDER
403 WHITAKER MILL RD                     10 S 123 LORRAINE DRIVE                     333 N. DEQUINCY ST.
FALLSTON MD 21047                        HINSDALE IL 60527                           INDIANAPOLIS IN 46201




JOSEPH TOLERICO                          JOSEPH UCCELLO                              JOSEPH VALLE
17 PROSPECT ROAD                         44 LEWIS DRIVE                              4972 NW 66TH AVENUE
WAYNE NJ 07470                           SOUTH WINDSOR CT 06074                      LAUDERHILL FL 33319




JOSEPH VAN LEER                          JOSEPH VANNIEUWENHUYSE                      JOSEPH VASSALOTTI
313 BLACKTAIL COURT                      8733 S KOLIN AVENUE                         10 BLOOM COURT
APOPKA FL 32703                          HOMETOWN IL 60456                           DAMASCUS MD 20872




JOSEPH VINCI                             JOSEPH VISSICHELLI                          JOSEPH VIVENS
8646 MIROBALLI DR.                       2315 CURLEY CUT                             860 N. ORANGE AVE.
HICKORY HILLS IL 60457-1061              WEST PALM BEACH FL 33411                    APT. 313
                                                                                     ORLANDO FL 32801



JOSEPH W LOOPER                          JOSEPH W PARRILLI                           JOSEPH WALCZAK
814 ROBERTO DR                           31 FOXFIRE DRIVE                            225 DWINGGINS
NEWPORT NEWS VA 23601                    BURBANK IL 60459-1292                       GRIFFITH IN 46319




JOSEPH WALKER                            JOSEPH WALKER                               JOSEPH WAWRZYNSKI
4152 BUNKER HILL LANE WEST               158 YEARDLEY DRIVE                          5931 RESEDA BLVD
WALNUTPORT PA 18088                      APT 6                                       APT #127
                                         NEWPORT NEWS VA 23601                       TARZANA CA 91356



JOSEPH WEICHINGER                        JOSEPH WENZEL                               JOSEPH WHITE
32 COUR D ALENE                          51 SPRING STREET                            1006 JAMES STREET
PALOS HILLS IL 60465-2404                WINDSOR LOCKS CT 06096                      BEL AIR MD 21014




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JOSEPH WILLIAMS                         JOSEPH WILLIAMS                              JOSEPH WILLIAMS
204 COLLINS STREET                      602 LABORDE DRIVE                            11 TIMMONS LANE
APT. #C-1                               FRUITLAND FL 34731                           QUEENSBURY NY 12804
HARTFORD CT 06105



JOSEPH WOOD                             JOSEPH WYLDER                                JOSEPH WYSKIEL
315 ALBANY AVE                          2100 KINGS HIGHWAY                           4850 PATTERSON
LINDENHURST NY 11757                    UNIT 973                                     CHICAGO IL 60641
                                        PT CHARLOTTE FL 33980



JOSEPH YOST                             JOSEPH YOUNG                                 JOSEPH YOUNG
449 EAST BROAD STREET                   121 E WYOMING ST                             1510 BYRON NELSON PKWY.
QUAKERTOWN PA 18951                     ALLENTOWN PA 18103                           SOUTHLAKE TX 76092




JOSEPH ZELASCO                          JOSEPH ZELEZNICKY                            JOSEPH, ACNEL
7823 WESTWOOD DR.                       156 LAKESIDE DRIVE                           1901 NE 2ND TERR
ELMWOOD PARK IL 60707                   EAST HADDAM CT 06423                         POMPANO BEACH FL 33060




JOSEPH, CLAUDE                          JOSEPH, DESIUS                               JOSEPH, ELAINE J
200 CROTON AVE APT. 208                 2041 NW 2ND COURT                            175 OLD SOUTH PATH
LANTANA FL 33462                        BOYNTON BEACH FL 33435                       MELVILLE NY 11747




JOSEPH, ERWIN                           JOSEPH, FAUSTIN                              JOSEPH, GENIEL
745 MALIBU BAY DR NO.105                1201 SW 52ND AVE 107                         626 SE 3 AVE
WEST PALM BEACH FL 33401                NORTH LAUDERDALE FL 33068                    DELRAY BEACH FL 33444




JOSEPH, GLADIS                          JOSEPH, HYROUANCE                            JOSEPH, ICHEMITH
1845 NW 4TH AVE APT 20                  1845 NW 4TH AVENUE APT. 20                   1761 2ND AVE NORTH APT. NO. 1
BOCA RATON FL 33432                     BOCA RATON FL 33432                          LAKE WORTH FL 33460




JOSEPH, IVAN                            JOSEPH, JEAN                                 JOSEPH, JEAN CHARLES
10474 BOYNTON PLACE NO.638              480 NW 2ND WAY                               5831 NW 17TH PL NO.1
BOYNTON BEACH FL 33437                  DEERFILED BEACH FL 33441                     SUNRISE FL 33313




JOSEPH, JEAN CLAUDE                     JOSEPH, LINCOLN J                            JOSEPH, LISA
2531 SOUTHRIDGE RD                      400 NW 65TH AVE. # 212                       1278 NW 170TH AVE
DELRAY BEACH FL 33444                   MARGATE FL 33068                             PEMBROKE PINES FL 33028




JOSEPH, MARCKSON                        JOSEPH, MARIE                                JOSEPH, MARIE S
7961 NW 44 CT #1                        10474 BOYNTON PLACE CIR NO.638               3011 NW 35 AVE. #104
CORAL SPRING FL 33065                   BOYNTON BEACH FL 33437                       LAUDERDALE LAKES FL 33319




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JOSEPH, MICHAEL                         JOSEPH, NIKO                               JOSEPH, PAMELA
173 WINSTED ROAD                        480 NW 2ND WAY                             3852 VICTORIA DR.
TORRINGTON CT 06790-2927                DEERFIELD BEACH FL 33441                   WEST PALM BEACH FL 33406




JOSEPH, ROMAIN                          JOSEPH, ROSENA                             JOSEPH, SAVENET
2017 NW 46TH AVE, APT A-109             211 S SWINTON AVE. APT. 10                 630 SW 20TH CT AP NO.5
LAUDERHILL FL 33313                     DELRAY BEACH FL 33444                      DELRAY BEACH FL 33445




JOSEPH, SCOTT L                         JOSEPH,PIERRE D                            JOSEPH-ALVIN DE LEOZ
1705 BRIERCLIFF DRIVE                   2110 N 38 AVENUE                           13641 FLAGSTAFF ST.
ORLANDO FL 32806                        HOLLYWOOD FL 33021                         LA PUENTE CA 91746




JOSEPH-LOUIS ESPINOSA                   JOSEPHINE APOLONIO                         JOSEPHINE BLOM
3419 NW 112TH TERRACE                   127 EAST CRYSTAL LAKE STREET               264 LAWRENCE RD
CORAL SPRINGS FL 33065                  ORLANDO FL 32806                           KINGS PARK NY 11754




JOSEPHINE BRANDAY                       JOSEPHINE CARDILLO                         JOSEPHINE CELESTE
95 WOODRUFF ROAD                        2541 NOB HILL ROAD                         56 SHERMAN AVE
FARMINGTON CT 06032                     APT 309                                    WEST ISLIP NY 11795
                                        SUNRISE FL 33322



JOSEPHINE CHADWICK                      JOSEPHINE DECLET                           JOSEPHINE EGAN
25862 PECOS RD.                         2736 RIVERSIDE AVENUE                      13428 GOLDEN MEADOW DR
LAGUNA HILLS CA 92653                   MERRICK NY 11566                           PLAINFIELD IL 60544




JOSEPHINE FLORES                        JOSEPHINE GERMAK                           JOSEPHINE HAMILTON
838 N ATLANTIC BLVD #A                  3913 N PLAINFIELD AV                       13752 HEWES AVENUE
ALHAMBRA CA 91801                       CHICAGO IL 60634                           SANTA ANA CA 92705




JOSEPHINE NAPOLITANO                    JOSEPHINE RAPP                             JOSEPHINE SWAGGER
2008 W. ARMITAGE AVE.                   9229 SEALED MESSAGE ROAD                   6857 BOSTON AVE
APT #1R                                 COLUMBIA MD 21045                          BALTIMORE MD 21222
CHICAGO IL 60622



JOSEPHINE THOMPSON                      JOSEPHINE TRIPODI                          JOSEPHINE VOELTZ
12739 WESTPORT CIRCLE                   34 CRESCENT AVENUE                         1605 TURNBULL CANYON ROAD
WELLINGTON FL 33414                     CLIFFSIDE PARK NJ 07010                    HACIENDA HEIGHTS CA 91745




JOSEPHS, SUSAN                          JOSEPHSON, PAUL                            JOSETTE MURAD
545 WESTMINSTER AVE      APT 2          38 MILL POND ROAD                          12351 NW 25TH STREET
VENICE CA 90291                         DURHAM NH 03824                            CORAL SPRINGS FL 33065




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JOSEY, DAVID                            JOSH ADEN                                   JOSH COUNCE
19410 MELODY LANE                       1059 CONCORD                                6563 ROSECLIFFE DR.
EUSTIS FL 32736                         COSTA MESA CA 92626                         #103
                                                                                    ORLANDO FL 32835



JOSH FRIEDMAN                           JOSH GARLAND                                JOSH GETLIN
235 NORTH REESE PLACE                   3215 CRESTWOOD FOREST DR.                   250 W 90TH STREET #11A
BURBANK CA 91506                        DELTONA FL 32725                            NEW YORK NY 10024




JOSH KOVNER                             JOSH LEONARD                                JOSH NAIR
199 FOOTE STREET                        1022 LAKE FRANCIS DR.                       1968 ADAMS AVENUE
HAMDEN CT 06517                         APOPKA FL 32712                             ABINGTON PA 19001




JOSH NOEL                               JOSHI, PRADNYA                              JOSHUA ABELSON
435 N. MICHIGAN AVE.                    2423 LIGUSTRUM FLOWER DR                    407 ROBINWOOD DRIVE
CHICAGO IL 60611                        SPRING TX 77388                             LOS ANGELES CA 90049




JOSHUA ANDERSON                         JOSHUA ANSEL                                JOSHUA BAAR
417 DEMBYTOWN ROAD                      63 EAST ELLENDALE ST.                       5020 FOX TROTTER WAY
JOPPA MD 21085                          BEL AIR MD 21014                            ELK GROVE CA 95757




JOSHUA BOAK                             JOSHUA BUSH                                 JOSHUA CHOWDHARY
541 W. WELLINGTON                       6534 CREEK BAY DRIVE                        182 W LAKE STREET
CHICAGO IL 60657                        APT C                                       APT # 703
                                        INDIANAPOLIS IN 46217                       CHICAGO IL 60601



JOSHUA CLARK                            JOSHUA CRUEY                                JOSHUA DAVIS
243 AVIATION ROAD                       948 BRIGHTVIEW DRIVE                        1354 N. BUNDY DRIVE
QUEENSBURY NY 12804                     LAKE MARY FL 32746                          LOS ANGELES CA 90049




JOSHUA DE LA CRUZ                       JOSHUA DEAN                                 JOSHUA DOMBROSKIE
2311 WEST 92ND AVENUE                   213 SHERMAN AVENUE                          300 E. RING FACTORY RD.
LOT 451                                 QUEENSBURY NY 12804                         BEL AIR MD 21014
FEDERAL HEIGHTS CO 80030



JOSHUA DREDGE                           JOSHUA DROBNYK                              JOSHUA FRISHMAN
1210 MICKLEY ROAD                       646 G STREET SE                             564 TOWNSEND AVENUE
WHITEHALL PA 18052                      WASHINGTON DC 20003                         NEW HAVEN CT 06512




JOSHUA GAYNE                            JOSHUA GITTO                                JOSHUA GUTSTEIN
1450 PORTOFINO POINT                    302 ANDREW LANE                             7180 FRANCISCO BEND DRIVE
APT. #305                               FORT EDWARD NY 12804                        DELRAY BEACH FL 33446
OVIEDO FL 32765




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JOSHUA HAFENBRACK                       JOSHUA HANKINS                             JOSHUA HEMMANN
9172 W. HIGHLAND PINES DRIVE            135 BYRON NELSON CIRCLE                    38 SHADY LANE
PALM BEACH GARDENS FL 33418             ETTERS PA 17319                            ANNVILLE PA 17003




JOSHUA HORNER                           JOSHUA JENISCH                             JOSHUA JONES
707 YALE DRIVE                          7925 WARING AVENUE                         444 W FULLERTON PKWY #1207
APT #1                                  LOS ANGELES CA 90046                       CHICAGO IL 60614-2848
CLARKSVILLE IN 47129



JOSHUA KAUFMAN                          JOSHUA KLEINPETER                          JOSHUA KYLE
655 GROSSE POINTE CIRCLE                414 S. GRANADA                             1321 WORCHESTER STREET
VERNON HILLS IL 60061                   ALHAMBRA CA 91801                          AURORA CO 80011




JOSHUA LEE                              JOSHUA LUCAS                               JOSHUA MAMIS
16460 MARBRO DR                         530 W. DUARTE ROAD                         7 SCHOOL STREET
ENCINO CA 91436                         APT C                                      BRANFORD CT 06405
                                        MONROVIA CA 91016



JOSHUA MARTIN                           JOSHUA MCCALLISTER                         JOSHUA MCLAUGHLIN DELIVERY SERVICE
8626 S. KENWOOD                         370 JAMES AVENUE                           1055 CHEROKEE AVE
CHICAGO IL 60619                        ABERDEEN MD 21001                          WINTER PARK FL 32789




JOSHUA MCVEY                            JOSHUA MEYER                               JOSHUA MILLER
3623 SOUTH SHERIDAN BLVD.               1640 IRVING ST. NW                         226 ZIGLER ST.
#T-22                                   WASHINGTON DC 20010                        NEW CARLISLE IN 46552
LAKEWOOD CO 80235



JOSHUA MITCHELL                         JOSHUA MORTON                              JOSHUA MURRAY
1940 NEW HAMPSHIRE AVENUE, NW           279 N. HOLLISTON AVE                       11 UNION COURT
WASHINGTON DC 20009                     APT#1                                      EASTHAMPTON MA 01027
                                        PASADENA CA 91106



JOSHUA NEIL                             JOSHUA NIELSEN                             JOSHUA NIEVES
2317 MARSHALLFIELD LANE                 1170 HARTFORD TURNPIKE                     5339 W 25TH PLACE
UNIT D                                  VERNON CT 06066                            HOUSE
REDONDO BEACH CA 90278                                                             CICERO IL 60804



JOSHUA RAND                             JOSHUA ROBBINS                             JOSHUA ROMANO
14911 LACEHAVEN DRIVE                   515 EAST PINE STREET                       224 SAGAMORE CT.
DALLAS TX 75248                         APT. #4                                    SCHAUMBURG IL 60194
                                        ORLANDO FL 32801



JOSHUA SANDOVAL                         JOSHUA SCHUELER                            JOSHUA SEEGER
22401 BURTON ST                         3928 DAVIS CORNER ROAD                     1740 NORTH CLARK STREET
WEST HILLS CA 91304                     STREET MD 21154                            UNIT #1726
                                                                                   CHICAGO IL 60614




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JOSHUA SOMMERS                        JOSHUA STERN                               JOSHUA TAUZIN
644 HILLCREST ST.                     11970 MONTANA AVE                          112 OAK ROAD
ORLANDO FL 32803                      APT 108                                    YORK PA 17402
                                      LOS ANGELES CA 90049



JOSHUA VICK                           JOSHUA WARREN                              JOSHUA WOODMAN
2120 PEACH STREET                     13723 S. SCHOOL STREET                     1438 VASSAR ST.
PORTSMOUTH VA 23704                   RIVERDALE IL 60827                         ORLANDO FL 32804




JOSHUA'S TRACT AND HISTORIC TRUST     JOSHUA, VON                                JOSIAH OWOYEMI
WARREN CHURCH PRESIDENT               22580 INDIANWOOD DR                        3738 SAINT MARGARETS STREET
PO BOX 4                              SOUTH LYON MI 48178                        BALTIMORE MD 21225
MANSFIELD CENTER CT 06250



JOSIAH WENTWORTH                      JOSLIN, WILLIAM                            JOSLYN JONES
46 WILSON AVENUE                      202 SUE ELLEN CT                           1636 N. WELLS ST.
SOUTH GLENS FALLS NY 12803            MCCORMICK SC 29835                         APT. #2010
                                                                                 CHICAGO IL 60614



JOSPEH, ALICE                         JOSTHA CASTOR                              JOSUE GUERRIER
4801 OAK OAKTREE CT                   P O BOX 5016                               10 NE 21ST COURT
ORLANDO FL 32808                      LIGHTHOUSE POINT FL 33074-5016             POMPANO BEACH FL 33060




JOSUE GUERRIER                        JOSUE ISIDORE                              JOSUE JOSEPH
90 LARIAT CIRCLE                      345 WEBSTER AVENUE                         201 NW 32ND COURT
BOCA RATON FL 33487                   3E                                         APT 204
                                      BROOKLYN NY 11230                          POMPANO BEACH FL 33064



JOTHAM BURBANK                        JOUAM YORKTOWN COUNCIL                     JOUAM YORKTOWN COUNCIL
1640 SHAWNEE TRAIL                    34 CEDAR RD                                J.O.U.A.M. YORKTOWN COUNTIL NO.66
MAITLAND FL 32751                     C/O PAUL LINDSAY                           PO BOX 2021
                                      POQUOSON VA 23662                          ATTN PAUL LINDSAY
                                                                                 POQUOSON VA 23662


JOURDAN, EMILY N                      JOURNAL SENTINEL INC                       JOURNAL SENTINEL INC
1100 LAKE SHADOW CIRCLE UNIT 2-306    333 W STATE ST PO BOX 661                  PO BOX 661
MAITLAND FL 32751                     MILWAUKEE WI 53201                         MILWAUKEE WI 53201




JOURNALISMJOBS.COM LLC                JOVANIM MARTINEZ                           JOVANNA GONZALEZ
72 PLAZA DR                           401 W. LA VETA AVE                         6111 LEONA JOAN AVENUE
BERKELEY CA 94705                     APT#51                                     PICO RIVERA CA 90660
                                      ORANGE CA 92866



JOVONN BRITT                          JOY ALLEN                                  JOY BROWN
1231 MOYER ROAD                       1420 GLENMORE DRIVE                        1467 WEST 46TH STREET
NEWPORT NEWS VA 23608                 APOPKA FL 32712                            LOS ANGELES CA 90062




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JOY CARUSO                            JOY CHILDS                                  JOY DESIGN GROUP INC
76 ANGEEL DR APT B                    P.O. BOX 34856                              140 1/2 SWEETZER AVE
WTBY CT 06708                         LOS ANGELES CA 90034                        LOS ANGELES CA 90048




JOY DICKINSON                         JOY HAENLEIN LOEWE                          JOY HARRIS
614 1/2 E WASHINGTON                  41 SOUND BEACH AVENUE                       2510 JOHN BOURG
ORLANDO FL 32801                      OLD GREENWICH CT 06870                      PLAINFIELD IL 60586




JOY HARRY                             JOY HUGHLEY                                 JOY KIM
4111 MURPHYS RUN CT                   1835 ALBERT LEE PARKWAY                     1229 VIOLA AVE
HAMPSTEAD MD 21074                    WINTER SPRINGS FL 32789                     APT#9
                                                                                  GLENDALE CA 91202



JOY LYNN HUNSICKER                    JOY NAKRIN                                  JOY OGLESBY
1692 CROWNWOOD STREET                 221 TRUMBULL STREET                         2520 SW 14TH AVE
ALLENTOWN PA 18103                    APT. 1204                                   BOX 48
                                      HARTFORD CT 06103                           FORT LAUDERDALE FL 33315



JOY SHROYER                           JOY SKILLMAN                                JOY THOMPSON
252 WOODLAND ROAD                     23465 CAMBRIDGE RD                          2503 WESTGATE CIRCLE
COVENTRY CT 06238                     YORBA LINDA CA 92887                        WILLIAMSBURG VA 23185




JOY VALDEZ                            JOY WILLIAMS                                JOY, MICHAEL B
2 EAST OAK STREET                     10223 S. YALE                               1100 N KENILWORTH ST NO.4
#2301                                 CHICAGO IL 60628                            ARLINGTON VA 22205
CHICAGO IL 60611



JOYCE CHI-JING SIT                    JOYCE CORBETT                               JOYCE DEUBEL
2310 PASADENA AVENUE                  5333 N. SHERIDAN ROAD                       47 CARLETON AVE
#205                                  APT# 6L                                     ISLIP TERRANE NY 11752
LOS ANGELES CA 90031-2278             CHICAGO IL 60640



JOYCE E MASON                         JOYCE ECKBLAD                               JOYCE FOSTER
5558 W 61ST STREET                    3100 N.LAKE SHORE DR                        436 W. 58TH STREET
LOS ANGELES CA 90056                  APT.#1203                                   CHICAGO IL 60621
                                      CHICAGO IL 60657-4952



JOYCE JOHNSON                         JOYCE JOHNSON                               JOYCE JOHNSON
1410 NORTH BOND STREET                C/O ALEXANDER S. MICHALAKOS                 LAW OFFICES OF ALEXANDER MICHALAKOS,
BALTIMORE MD 21213                    LAW OFC OF ALEXANDER MICHALAKOS, P.C.       ALEXANDER S. MICHALAKOS
                                      1410 W. HIGGINS,SUITE 204                   1410 W HIGGINS, STE 304
                                      PARK RIDGE IL 60068                         PARK RIDGE IL 60068


JOYCE KACZMAREK                       JOYCE LADEWSKI                              JOYCE MAGNUS
555 W. HARDING ROAD                   8153 SEVERN DRIVE                           8457 HARMS ROAD
LOMBARD IL 60148                      UNIT C                                      SKOKIE IL 60077
                                      BOCA RATON FL 33433




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JOYCE MASTRANGELO                      JOYCE MITCHELL                             JOYCE MURPHY
16 LIONEL DRIVE                        1409 HUEY P. LONG AVE.                     2023 JOHN HENRY CIRCLE
SIMSBURY CT 06070                      GRETNA LA 70053                            APT. #430
                                                                                  APOPKA FL 32703



JOYCE MURRAY                           JOYCE NEWHOFF                              JOYCE OLORESISIMO ARPON
9211 NW 82ND COURT                     9929 HAMBLIN CT                            3480 EXETER CT.
TAMARAC FL 33321                       INDIANAPOLIS IN 46280-1568                 ORLANDO FL 32812




JOYCE PRICE                            JOYCE SCOTT                                JOYCE SMITH
815 GLENWOOD LANASING ROAD             8022 S BRANDON                             2863 RAVENALL AVE
UNIT 505                               CHICAGO IL 60617                           ORLANDO FL 32811
GLENWOOD IL 60425



JOYCE TOMBERLIN                        JOYCE WALKER                               JOYCE, AMANDA
12772 W KISHWAUKEE LANE                2724 N MANSFIELD DR                        78 CHRISTOPHER ST       APT NO.14
HUNTLEY IL 60142                       BURBANK CA 91504                           NEW YORK NY 10014




JOYCE, COLLIN                          JOYCE, GERALD                              JOYCE-SUTTON, VANESSA
4541 N LEAVITT ST NO.1                 1725 ADAMS ST   NO.14                      PO BOX 212
CHICAGO IL 60625                       HOLLYWOOD FL 33020                         NORWICH CT 06360




JOYCELYN WINNECKE                      JOYCINTH CAMPBELL                          JOYE BROWN-TOOR
201 E. CHESTNUT STREET                 3156 NW 39TH PLACE                         65 LANDING RD
CHICAGO IL 60611                       LAUDERDALE LAKES FL 33309                  HUNTINGTON NY 11743




JOYNER, EUGENIA M                      JOZEF DUARTE                               JOZEF DZIUBA
1851 RIVERCHASE CIR                    6623 MADELINE COVE DR.                     3215 N. KEATING
CONYERS GA 30013                       RANCHO PALAS VERDES CA 90275               APT 1A
                                                                                  CHICAGO IL 60641



JOZEF NOWAK                            JOZSEF MOLNAR                              JP ENGINEERING INC
5004 WEST WILSON AVE                   669 S. UNION AVE                           41 MECHANIC ST
CHICAGO IL 60630                       APT 312                                    WINDSOR CT 06095
                                       LOS ANGELES CA 90017



JP GRAPHICS INC                        JP MORGAN CHASE                            JP MORGAN CHASE
3001 E VENTURE DR                      LETTER OF CREDIT DEPARTMENT                4508 NORTH MILWAUKEE
APPLETON WI 54911                      10420 HIGHLAND MANOR DR 4TH FL             CHICAGO IL 60630
                                       TAMPA FL 33610



JP MORGAN CHASE                        JP MORGAN CHASE                            JP MORGAN CHASE
605 N MICHIGAN AVE                     C/O LAKESHORE ATLETIC SERVICES             C/O SBLC GROUP
CHICAGO IL 60611                       7555 N LINDER AVE                          21591 NETWORK PL
                                       SKOKIE IL 60077                            CHICAGO IL 60673-1215




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JP MORGAN CHASE                          JP MORGAN CHASE                            JP MORGAN CHASE
270 PARK AVE                             LETTER OF CREDIT DEPT                      NEW YORK ROAD RUNNERS
NEW YORK NY 10017                        4 CHASE METROTECH CTR                      9 EAST 89TH ST
                                         BROOKLYN NY 11245                          NEW YORK NY 10128



JP MORGAN CHASE                          JP MORGAN CHASE                            JP MORGAN CHASE BANK, NA
PO BOX 26040                             PO BOX 974222                              ATTN: SHADIA AMINU
NEW YORK NY 10087-6040                   DALLAS TX 75397-4222                       PURCHASE CARD
                                                                                    1111 FANNIN, 10TH FLOOR
                                                                                    HOUSTON TX 77002


JP MORGAN CHASE BANK, NA AS AGENT        JP SIMONS & COMPANY                        JP SIMONS & COMPANY
1111 FANNIN, 10TH FLOOR                  4243 W BELMONT AVE                         4243 W BELMONT AVE
HOUSTON TX 77002                         VICKIE/BRUCE                               CHICAGO IL 60641-4688
                                         CHICAGO IL 60641



JPA PRINTING LLC                         JPMORGAN CHASE BANK                        JPMORGAN CHASE BANK
1715 GLENN LN                            ATTN: VIC NIGRO, VP - TREASURY SVCES       ATTN: FARNAZ MOHAMMADI
BLUE BELL PA 19422                       ONE CHASE PLAZA, FL 7                      10 SOUTH DEARBORN ST
                                         NEW YORK NY 10005                          CHICAGO IL 60603



JPMORGAN CHASE BANK                      JPMORGAN CHASE BANK                        JPMORGAN CHASE BANK, N.A., AS AGENT
ATTN: DAVID MALLETT, MANAGING DIR - IB   ATTN: KEVIN JOHNSON, CUSTOMER SVC          1111 FANNIN, 8TH FLOOR
ONE CHASE PLAZA                          420 WEST VAN BUREN STREET                  HOUSTON TX 77002
NEW YORK NY 10005                        SUITE I|1-0239
                                         CHICAGO IL 60606


JPMORGAN CHASE BANK, NA                  JPS DISTRIBUTION SERVICES                  JPS LANDSCAPE INC
ATTN: MIRIAM KULNIS                      617 MYRTLE AVE                             1900 WILLOW ROAD
ONE CHASE PLAZA                          WEST ISLIP NY 11795                        NORTHBROOK IL 60062
NEW YORK NY 10005



JR DISTRIBUTION                          JR JESPERSEN PLUMBING AND HEATING CO       JR LIGHTING INC
14318 S HILLCREST RD                     2025 CHESTNUT AVE UNIT NO.H                9 E BROOKS AVE
HOMER GLEN IL 60491                      GLENVIEW IL 60025-1680                     NORTH LAS VEGAS NV 89030




JR TIMBO & ASSOCIATES LLC                JR WOMENS HEALTH INC                       JRB DISTRIBUTING LLC
205 ABBEY LN                             10933 WELLWORTH AVE NO.4                   27525 NEWHALL RANCH RD NO.7
LANSDALE PA 19446                        LOS ANGELES CA 90024                       VALENCIA CA 91355




JROB CORPORATION                         JSE COMMUNICATIONS INC                     JT PACKARD & ASSOCIATES INC
8787 SOUTHSIDE BLVD STE 2915             308 EVIAN WAY                              275 INVESTMENT CT
JACKSONVILLE FL 32256                    PEACHTREE CITY GA 30269                    VERONA WI 53593




JT PACKARD & ASSOCIATES INC              JT&D NEWS CORP                             JT&D NEWS CORP
PO BOX 1451 DEPT 5341                    1168 STANTON DR                            PO BOX 1581
MILWAUKEE WI 53201                       LAKE ZURICH IL 60047                       NORTHBROOK IL 60062




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JTV SATELLITE SYSTEMS INC            JUAKEENA SPENCER                           JUAN ALIEN PRODUCTIONS LLC
1413 SOUTH 72 ST                     297 FAIRFIELD AVENUE                       610 W LAS OLAS BLVD   APT 1218
WEST ALLIS WI 53214                  1ST FLOOR                                  FORT LAUDERDALE FL 33312
                                     STAMFORD CT 06902



JUAN ALONSO                          JUAN ALVAREZ                               JUAN AVALOS
4484 CONCORD LANDING DR.             327 W. WILSON SP 36                        1845 S. LOOMIS
#212                                 COSTA MESA CA 92627                        CHICAGO IL 60608
ORLANDO FL 32839



JUAN BARBARAN                        JUAN BARRERA                               JUAN BERMUDEZ
160 N CURLEY STREET                  4020 3/4 WALNUT ST.                        2214 KENSINGTON
BALTIMORE MD 21224                   BALDWIN PARK CA 91706                      WESTCHESTER IL 60154




JUAN BONILLA                         JUAN CAMPOS                                JUAN CAMPOS
5424 W. LELAND                       720 N. ADA                                 5203 S. TRUMBULL
CHICAGO IL 60630                     CHICAGO IL 60642                           CHICAGO IL 60632




JUAN CARLOS FANJUL                   JUAN CARRANZA                              JUAN CARRANZA
1301 W. FLETCHER                     11586 EMBREE DRIVE                         3652 S. MARSHFIELD
APT #412                             EL MONTE CA 91732                          CHICAGO IL 60609
CHICAGO IL 60657



JUAN CHECO                           JUAN DEJESUS                               JUAN FIGUEROA
44 GRAFTON STREET                    3103 RUTH FITZGERALD DRIVE                 5009 N. NAGLE AVE
B-6                                  PLAINFIELD IL 60586                        CHICAGO IL 60630
HARTFORD CT 06106



JUAN GARCIA                          JUAN GONZALES                              JUAN GONZALEZ
2062 N BINGHAM STREET                531 N. AVENUE 57                           135 1/2 W. 55 ST.
CHICAGO IL 60647                     LOS ANGELES CA 90042                       LOS ANGELES CA 90037




JUAN GORDON                          JUAN GRANADOS                              JUAN GUTIERREZ
173 HANCOCK ST                       3701 E. CHAPMAN AVENUE                     14791 PINE AVENUE
BRENTWOOD NY 11717                   #8                                         FONTANA CA 92335
                                     ORANGE CA 92869



JUAN HERNANDEZ                       JUAN JUAREZ                                JUAN LA FORGIA
1718 W 44TH ST                       3109 LINCOLN                               3563 WILES ROAD
CHICAGO IL 60609                     FRANKLIN PARK IL 60131                     APT 305
                                                                                COCONUT CREEK FL 33073



JUAN LOPEZ                           JUAN LOPEZ                                 JUAN MARISCAL
1257 E. 25TH STREET                  12919 MONTAGUE ST                          4971 BOARDWALK DR
LOS ANGELES CA 90011                 PACOIMA CA 91331                           RIVERSIDE CA 92503




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JUAN MARTIN                            JUAN MEJIA                                 JUAN MENDEZ
407 ARABIAN ROAD                       2825 N. 73RD CT                            736 HILLSIDE AVENUE
LAKE WORTH FL 33461                    ELMWOOD PARK IL 60707                      HARTFORD CT 06106




JUAN MONROY-SANCHEZ                    JUAN MONTANEZ                              JUAN MORALES
201 RACQUET CLUB ROAD                  4844 W. ALTGELD                            3651 ENVIRON BLVD
N-429                                  CHICAGO IL 60639                           APT 356
WESTON FL 33326                                                                   LAUDERHILL FL 33319



JUAN ORTEGA                            JUAN ORTIZ                                 JUAN ORTIZ
101 BRINY AVE                          6216 SOUTH KEDVALE                         250 GOODWIN STREET
UNIT 1405                              CHICAGO IL 60629                           EAST HARTFORD CT 06108
POMPANO BEACH FL 33062



JUAN PAZARAN                           JUAN PEREZ                                 JUAN PEREZ
3841 PECK RD. AVENUE                   1473 W RASCHER                             1542 N 43RD AVENUE
EL MONTE CA 91732                      IST FL                                     STONE PARK IL 60165
                                       CHICAGO IL 60640



JUAN QUEZADA                           JUAN RIOS                                  JUAN RODRIGUEZ
46 BROOKLAWN AVENUE                    369 SMITH STREET                           1515 CRICKET CLUB CIRCLE
NORWALK CT 06854                       FREEPORT NY 11520                          APT. 206
                                                                                  ORLANDO FL 32828



JUAN RODRIGUEZ                         JUAN ROJAS                                 JUAN ROLON
511 NW 76 TERRACE                      13070 WRANGLER LANE                        5064 W. SUNNYSIDE
PEMBROKE PINES FL 33024                VICTORVILLE CA 92392                       CHICAGO IL 60630




JUAN SANTIAGO                          JUAN SEGUNDO                               JUAN TORRES
484 WEST REITTER STREET                1220 N. GREENVIEW DRIVE                    3862 DIVISION STREET
STRATFORD CT 06614                     LA HABRA CA 90631                          LOS ANGELES CA 90065




JUAN VALENZUELA                        JUAN VELAZQUEZ                             JUAN VILLARREAL
1811 FOUNTAIN VIEW                     12355 TEBO AVENUE                          9406 BASCOM STREET
APT #73                                CHINO CA 91710                             PICO RIVERA CA 90660
HOUSTON TX 77057



JUANA LARA                             JUANA LLAMAS                               JUANA PACHECO
2633 W. 23RD STREET                    1118 N. SANDRA AVENUE                      6020 S. KILDARE
2ND FLOOR                              NORTHLAKE IL 60164                         CHICAGO IL 60629
CHICAGO IL 60608



JUANA QUINONES                         JUANA RODRIGUEZ                            JUANA ROSARIO
10515 NEVADA AVENUE                    2301 N NARRAGANSETT                        25 IRVING AVENUE
MELROSE PARK IL 60164                  CHICAGO IL 60639                           WYANDANCH NY 11798




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JUANA VEGA                            JUANDOLYN HEARD                            JUANIQUE BARBOUR
3727 N. SAWYER AVE.                   1454 N CHESTNUT AVE                        1231 NORTH LUZERNE AVENUE
CHICAGO IL 60618                      RIALTO CA 92376                            BALTIMORE MD 21213




JUANITA AVILA                         JUANITA BUCHANAN                           JUANITA COCHRANE
22 SHINE PLACE                        589 BURNSIDE AVE                           7776 CALLE FACIL PRESTANCIA
VALLEY STREAM NY 11581                2ND FLOOR                                  SARASOTA FL 34238
                                      EAST HARTFORD CT 06108



JUANITA ECKERT                        JUANITA MILES                              JUANITA ROSADO
722 WHITEWOOD DRIVE                   40 E. BEL AIR AVENUE                       380 S. STATE ROAD 434
DELTONA FL 32725                      10                                         SUITE 1004-335
                                      ABERDEEN MD 21001                          ALTAMONTE SPRINGS FL 32714



JUAREZ, ANDREA                        JUAREZ, ANTHONY                            JUDAH, TIMOTHY
1192 DORSET LN                        12636 MAPLE AVE 31                         26 RICHMOND WAY
COSTA MESA CA 92626                   BLUE ISLAND IL 60406                       LONDON W12 8LY




JUDD FIRE PROTECTION LLC              JUDE GARCIA                                JUDE ST LOUIS
1100 BUSINESS PKWY S STE 3            1375 FALCON DRIVE                          253-61 148TH ROAD
WESTMINSTER MD 21157                  GRAND PRAIRIE TX 75051                     ROSEDALE NY 11422




JUDETH DORFMEISTER                    JUDEX MERONARD                             JUDGE, LEONARD
105 STAPLE STREET                     3651 NE 14TH AVENUE                        128 ARABIAN WAY
FARMINGDALE NY 11735                  POMPANO BEACH FL 33064                     SIMPSONVILLE SC 29681




JUDI FAROLE                           JUDI WOJCIECHOWSKI                         JUDICIAL BRANCH DP REVOLVING FUND
4622 CORTLAND DRIVE                   33 SPLIT ROCK RD                           99 EAST RIVER DR
OREFIELD PA 18069                     POUND RIDGE NY 10576                       JUDICIAL INFORMATIONS SYSTEMS
                                                                                 EAST HARTFORD CT 06108



JUDICIAL BRANCH DP REVOLVING FUND     JUDICIAL BRANCH DP REVOLVING FUND          JUDICIAL BRANCH DP REVOLVING FUND
C/O FISCAL ADMINISTRATION             C/O FISCAL ADMINSTRATION                   FISCAL ADM
90 WASHINGTON STREET                  61 WOODLAND ST                             C/O FELICIA NOBREGA
HARTFORD CT 06106-4406                HARTFORD CT 06105-2352                     75 ELM ST
                                                                                 HARTFORD CT 06106


JUDITH A CURTIS                       JUDITH A DUGAN                             JUDITH ALDERMAN
196 JACOBSON #43                      403 N BRONSON AVENUE                       11849 HOWEY CROSS RD
CATHLAMET WA 98612                    LOS ANGELES CA 90004                       CLERMONT FL 34715




JUDITH ANN GRAY                       JUDITH BAILENSON                           JUDITH BERMAN
918 CAULFIELD SW                      8 BALLAD LANE                              501 NORTH CALVERT
GRAND RAPIDS MI 49503                 STONY BROOK NY 11790                       BALTIMORE MD 21278




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JUDITH BERNSTEIN                        JUDITH BOMAN                               JUDITH BONTEMPS
713 THIRD AVENUE                        10667 BREEZEWOOD DRIVE                     1210 LORING AVENUE
EAST NORTHPORT NY 11731                 WOODSTOCK MD 21163                         APT 4 I
                                                                                   BROOKLYN NY 11208



JUDITH CAPITELLI                        JUDITH CAPUTO                              JUDITH CARNEY
4 HARCOURT RD                           1210 HUGUENOT AVE                          2000 TOWERSIDE TERRACE
PLAINVIEW NY 11803                      STATEN ISLAND NY 10312                     # 1011
                                                                                   MIAMI FL 33138



JUDITH CARTWRIGHT                       JUDITH CHAMBERLAIN                         JUDITH COYMAN
89 JUNE AVENUE                          816 W BROADWAY                             14319 CYPRESS HILL
NORTHPORT NY 11768                      ANAHEIM CA 92805                           CHESTERFIELD MO 63017




JUDITH ELIZABETH ROGERS                 JUDITH ENDEAN                              JUDITH F GOLDBERG
5352 LOMA LINDA AVENUE                  506 BLUFF OAK COURT                        22 NORTHGATE CIR
LOS ANGELES CA 90027                    APOPKA FL 32712                            MELVILLE NY 11747




JUDITH GARDNER                          JUDITH GRAHAM                              JUDITH HOKENSON
1780 CREEKSIDE DR                       1232 DETROIT STREET                        3155 HECKTOWN ROAD
APT 1527                                DENVER CO 80206                            BETHLEHEM PA 18020
FOLSOM CA 95630



JUDITH JANTZ                            JUDITH JUDS                                JUDITH KLEIN
266 NW 41ST WAY                         10902 MOOSE LANE                           14519 RAVEN STREET
DEERFIELD BEACH FL 33442                ORLAND PARK IL 60467                       SYLMAR CA 91342




JUDITH KLOSOWSKI                        JUDITH KURZ                                JUDITH LA VALLY
168 HARBOR ROAD                         208 SUNNY REST DRIVE                       5140 DUNSMORE AVENUE
LAKE BARRINGTON IL 60010                PALMERTON PA 18071                         LA CRESCENTA CA 91214




JUDITH LANGSTEIN                        JUDITH LASER                               JUDITH LOCKE
10623 ST THOMAS DRIVE                   20809 KEENEY MILL RD                       30 DOGWOOD LANE
BOCA RATON FL 33498                     FREELAND MD 21053                          LEVITTOWN NY 11756




JUDITH LOWERY                           JUDITH MC CULLOCH                          JUDITH MORGAN
50 FRANKLIN RD                          2405 S MOUNTAIN AVENUE                     P. O. BOX 577514
NEWPORT NEWS VA 23601                   DUARTE CA 91010                            CHICAGO IL 60657




JUDITH N ROMO                           JUDITH PADILLA                             JUDITH PASTERNAK
2635 ORANGE AVE                         171 DOMMERICH DRIVE                        6207 CRATHIE LANE
LA CRESCENTA CA 91214-2122              MAITLAND FL 32751                          BETHESDA MD 20816




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JUDITH PERES                          JUDITH PONCE                               JUDITH PRATO
2324 CENTRAL STREET                   6324 S. LONG                               482 HALFWAY HOUSE RD
APT 3B                                CHICAGO IL 60638                           WINDSOR LOCKS CT 06096
EVANSTON IL 60201



JUDITH PRYOR                          JUDITH RAIA                                JUDITH REICH
631 E VALENCIA AVENUE                 128 WELLINGTON ROAD                        9541 NW 13 STREET
BURBANK CA 91501                      GARDEN CITY NY 11530                       PLANTATION FL 33322




JUDITH RIOS                           JUDITH SANTOS                              JUDITH SHANKS
500 SOUTH EASTMONT AVENUE             6 CANTERBURY WOODS STREET                  146 LAWSON DR
LOS ANGELES CA 90022                  QUEENSBURY NY 12804                        YORKTOWN VA 23693




JUDITH STARNER                        JUDITH STEVENSON                           JUDITH W ROUSUCK
2155 TULSA ROAD                       10902 ROYAL PALM BLVD                      1981 GREENBERRY ROAD
ELDERSBURG MD 21784                   CORAL SPRINGS FL 33065                     BALTIMORE MD 21209




JUDITH WALLACE                        JUDITH YUEN                                JUDKIS, MAURA
3067 OLIVE AVENUE                     211 WILLARD AVENUE                         1440 N ST NW APT 715
ALTADENA CA 91001                     FARMINGDALE NY 11735                       WASHINGTON DC 20005




JUDS, JUDITH A                        JUDSON MANAGEMENT GROUP INC                JUDY A ANDERSEN
10902 MOOSE LANE                      145 EAST 57TH ST                           905 FOOTBRIDGE PLACE
ORLAND PARK IL 60467                  NEW YORK NY 10022                          CARY NC 27519




JUDY A BLOOD                          JUDY A WONG                                JUDY ALSTON
11829 KILLIAN STREET                  1251 GRAND VISTA WAY                       219-17 135TH AVENUE
EL MONTE CA 91732                     MONTEREY PARK CA 91754                     SPRINGFIELD GARDENS NY 11413




JUDY ALVAREZ                          JUDY B MULE                                JUDY BOJORQUEZ
8313 SHADYSIDE AVENUE                 7106 PRIVATEER CT                          20711 VANOWEN STREET
WHITTIER CA 90606                     WILMINGTON NC 28405                        #120
                                                                                 CANOGA PARK CA 91306



JUDY BOYLE                            JUDY CRAFT                                 JUDY CRAMER
227 CENTENNIAL AVE                    171 PARKVIEW DRIVE                         800 HARRINGTON ROAD
HANOVER PA 17331                      SHIRLEY NY 11967                           GLENDALE CA 91207




JUDY DICKSON                          JUDY FABIAN                                JUDY GALUSHA
1709 S. HANOVER STREET                7752 W. LAUREL DR                          409 TORI TRACE
BALTIMORE MD 21230                    FRANKFORT IL 60423                         FORT EDWARD NY 12828




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JUDY HEVRDEJS                          JUDY IRVINE                                JUDY KAUCHAK
1555 N. SANDBURG TERRACE               8387 TAMAR DRIVE                           960 READ DRIVE
#207                                   333                                        CHESTERTON IN 46304
CHICAGO IL 60610                       COLUMBIA MD 21045



JUDY L GRIMSLEY                        JUDY M ROQUE                               JUDY SCANTLING
625 CORNWALL RD                        13058 W BALLAD DR                          356 WEST MAPLE STREET
WINTER PARK FL 32792                   SUN CITY WEST AZ 85375                     DALLASTOWN PA 17313




JUDY TAAFFE                            JUDY VIANEST                               JUDY WANG
137 N. PARK AVE.                       380 FULTON STREET                          2543 COBBLEWOOD DR
LOMBARD IL 60148                       H-3                                        NORTHBROOK IL 60062
                                       FARMINGDALE NY 11735



JUDY WEINBERG                          JUERGEN OTTO                               JUHASZ, DANIEL
61 RIDGE RD                            10772 COBALT COURT                         52 PROSPECT ST
SMITHTOWN NY 11787                     FOUNTAIN VALLEY CA 92708                   VERNON CT 06066




JULBERT, BRUTUS                        JULE GOODWIN                               JULEE CLARK
576 W EVANSTON CIRCLE                  PO BOX 6307                                3022 INDIES DRIVE
FT LAUDERDALE FL 33312                 BEVERLY HILLS CA 90212                     ORLANDO FL 32828




JULES J WITCOVER                       JULES, ALFRED                              JULES, SARA
3042 Q STREET, NW                      119 ARTHUR COURT                           18405 TAPADERO TERR.
WASHINGTON DC 20007                    BOYNTON BEACH FL 33435                     BOCA RATON FL 33496




JULIA A HOWELL                         JULIA A RICHARDSON                         JULIA ABREU
13140 NASSAU DR , #214D                4446 BOSTON AVENUE                         145 N. 19TH STREET
SEAL BEACH CA 90740                    LA CRESCENTA CA 91214                      WHEATLEY HEIGHTS NY 11798




JULIA ARANA                            JULIA ARPI                                 JULIA BARRIOS
834 GRENADIER DRIVE                    44 ORCHARD STREET                          69 STAFFORD STREET
ORLANDO FL 32807                       STAMFORD CT 06902                          HARTFORD CT 06106




JULIA COHN                             JULIA DELORME                              JULIA GAINES
4817 KING WAY WEST                     1150 THOMAS AVE, APT 1                     61-20 GRAND CENTRAL PKWY
GURNEE IL 60031                        SAN DIEGO CA 92109                         B1105
                                                                                  FOREST HILLS NY 11375



JULIA GREEN                            JULIA KELLER                               JULIA KUHL
5545 PATTILAR AVENUE                   2770 SUNBURY RD.                           1017 W WASHINGTON BLVD     APT 40
WOODLAND HILLS CA 91367                GALENA OH 43021                            CHICAGO IL 60607




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JULIA KUS                              JULIA LEYDON                               JULIA LOCONTO
9001 S CICERO AVE                      34 GEHRIG STREET                           1633 N. CLYBOURN
LOT 240                                COMMACK NY 11725                           APT #2
OAK LAWN IL 60453                                                                 CHICAGO IL 60614



JULIA LOMBARDO                         JULIA LONGLEY                              JULIA NICHOLS
12 HARVARD LANE                        206 MEADOW END ROAD                        3020 LANDTREE PLACE
COMMACK NY 11725                       MONROE CT 06468                            ORLANDO FL 32812




JULIA NILLES                           JULIA PASCO                                JULIA REHBERG
308 E. CHICAGO AVE.                    4400 MARBLE HALL ROAD                      17031 CELTIC STREET
WESTMONT IL 60559                      BALTIMORE MD 21218                         GRANADA HILLS CA 91344




JULIA SANSEVERE                        JULIA SIMPSON                              JULIA TORRES
36 SUTTON PLACE                        9095 LAMBSKIN LANE                         3721 SARASOTA CT.
#8B                                    COLUMBIA MD 21045                          ORLANDO FL 32812
NEW YORK NY 10022



JULIA VANDER PLOEG                     JULIA WALKER                               JULIA YOUNG
1668 BRENTFORD DRIVE                   198 106TH AVENUE SE                        15 CHATEL STREET
NAPERVILLE IL 60563                    APT. #5                                    LAKE LUZERNE NY 12846-3400
                                       BELLEVUE WA 98004



JULIAN BARNES                          JULIAN BRITO                               JULIAN CREWS
3509 RUNNYMEDE PL NW                   2432 CALDWELL PLACE                        1650 W. 104TH ST.
WASHINGTON DC 20015                    ONTARIO CA 91761                           CHICAGO IL 60643




JULIAN MARQUEZ                         JULIAN POSADA                              JULIAN QUARNSTROM
543 SOUTH FERRIS AVENUE                4343 TRIPP                                 148 N. MICHIGAN AVE.
LOS ANGELES CA 90022                   CHICAGO IL 60641                           HOBART IN 46342




JULIAN RUCKER                          JULIAN TUROCK                              JULIAN, LIAM
314 STREAMSIDE DRIVE                   212 UNION AVENUE                           1500 MASSACHUSETTS AVE NW NO.854
HARVEY IL 60426                        PEEKSKILL NY 10566                         WASHINGTON DC 20005




JULIANA APONTE                         JULIANA JAOUDI                             JULIANA SIERRA
108 SOUTH 6TH STREET                   814 WOODLAWN AVENUE                        436 NORTH 6TH STREET
ALLENTOWN PA 18101                     VENICE CA 90291                            ALLENTOWN PA 18102




JULIANE FISEL                          JULIANE SELVAGGI                           JULIANNA BRAY
12 RAYNHAM ROAD                        5175 LAZY OAKS DRIVE                       9414 DENBURY WAY
NEW HAVEN CT 06512                     WINTER PARK FL 32792                       HOUSTON TX 77025




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JULIANNA COLE                            JULIANNA DULLUM                             JULIAO, ALEXANDER
41 E. 8TH STREET                         14006 BAMA COURT                            3164 ABBEY DR SW
UNIT 2202                                ORLANDO FL 32826                            ATLANTA GA 30331
CHICAGO IL 60605



JULIE ACKERFELD                          JULIE ALARCON                               JULIE ANDERSON
7 DELLWOOD DR                            5741 FIVE FLAGS BLVD.                       712 IRONWOOD CT.
HUNTINGTON NY 11743                      APT 1043                                    WINTER SPRINGS FL 32708
                                         ORLANDO FL 32822



JULIE ARZATE-CALMA                       JULIE BATEMAN                               JULIE BENNETT
13810 RAMONA DRIVE                       15914 44TH AVE W                            705 N. LEAVITT
APT. D                                   APT #L202                                   CHICAGO IL 60612
WHITTIER CA 90605                        LYNNWOOD WA 98087



JULIE BISKIS                             JULIE BLACK                                 JULIE BREWER
4424 CAMPBELL STREET                     438 BROWNS ROAD                             330 SOUTHERN PECAN CIR.
CHICAGO IL 60625                         NESCONSET NY 11767                          #207
                                                                                     WINTER GARDEN FL 34787



JULIE BYER                               JULIE BYKOWICZ                              JULIE C CHEN
849 E. MOUNTAIN VIEW AVE.                1608 PARK AVE                               17860 CALLE SAN LUCAS
GLENDORA CA 91741                        BALTIMORE MD 21217                          ROWLAND HGTS CA 91748




JULIE CARSON                             JULIE CART                                  JULIE CHANG
654 BREMER COURT                         1627 NO. ROOSEVELT AVENUE                   111 SULLIVAN STREET
GLEN ELLYN IL 60137                      PASADENA CA 91104                           APT. 4BF
                                                                                     NEW YORK NY 10012



JULIE COPPLE                             JULIE CRONIN                                JULIE CURLEE
9020 CLEARHURST DRIVE                    2346 S. COLONY DRIVE                        5610 WEST TIMBERLANE
DALLAS TX 75238                          11                                          MONEE IL 60449
                                         MOUNT PROSPECT IL 60656



JULIE DOWNING                            JULIE FERGUSON                              JULIE FERGUSON
5902 NW 88 AVE.                          3603 KIMBLE ROAD                            1123 NORTH EUTAW STREET APT 102
TAMARAC FL 33321                         BALTIMORE MD 21218                          BALTIMORE MD 21201




JULIE FERKINGSTAD                        JULIE FICHT                                 JULIE FICHT
3025 NW 58TH ST                          C/O BRIAN LACIEN, POWERS, ROGERS & SMITH    C/O POWER ROGERS & SMITH PC
SEATTLE WA 98107                         THREE FIRST NATIONAL PLAZA                  70 W. MADISON, #5500
                                         70 WEST MADISON STREET, 55TH FLOOR          CHICAGO IL 60602
                                         CHICAGO IL 60602


JULIE FICHT, C/O BRIAN LACIEN            JULIE GELLIN                                JULIE GERMANETTI
POWER, ROGERS & SMITH, P.C.              1947 N. DAYTON                              1430 HOWARD LANE
THREE FIRST NATIONAL PLAZA               APT. #1F                                    EASTON PA 18045
70 WEST MADISON ST.,55TH FLOOR           CHICAGO IL 60614
CHICAGO IL 60602




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JULIE GOLDMAN                         JULIE GORDON                               JULIE HEIMBACH
1800 NE 28 TER                        2 RALE TERRACE                             2019 HARRISON AVE
POMPANO BEACH FL 33062                LIVINGSTON NJ 07039                        ORLANDO FL 32804




JULIE HUDSON                          JULIE JOHNSSON                             JULIE KASTEL
17948 EXCHANGE AVENUE                 2913 WEST LELAND AVENUE                    200 N. ARLINGTON HEIGHTS ROAD
LANSING IL 60438                      APT #2                                     925
                                      CHICAGO IL 60625                           ARLINGTON HEIGHTS IL 60004



JULIE KICHLINE                        JULIE KUHN                                 JULIE LAPIN
934 S. BOULDIN STREET                 859 KERRY CT                               151 COURTLAND AVENUE
BALTIMORE MD 21224                    PALATINE IL 60067                          APT. #1E
                                                                                 STAMFORD CT 06902



JULIE LONCICH                         JULIE MAKINEN                              JULIE MARQUIS
5130 LAKESHORE CT.                    202 W. 1ST ST                              1524 LAFAYETTE ROAD
1338                                  LOS ANGELES CA 90012                       CLAREMONT CA 91711
INDIANAPOLIS IN 46250



JULIE MATRAS                          JULIE MCKEIVER                             JULIE MORALES
21205 PRESTANCIA DRIVE                12459 WOODLAND PARK DRIVE NE               6839 TEAK WAY
MOKENA IL 60448                       BELDING MI 48809                           RANCHO CUCAMONGA CA 91701




JULIE NAUMAN                          JULIE NORTHLAKE                            JULIE OSSE
2441 NORTH GREENVIEW                  1015 VALENCIA AVENUE                       33 LINDEN ST
CHICAGO IL 60614                      ORLANDO FL 32804                           HUNTINGTON NY 11743




JULIE OTTO                            JULIE PATEL                                JULIE PAYTON
1600 N 74 TER                         313 NE 2ND STREET                          16 COOKS AVENUE
HOLLYWOOD FL 33024                    APT 705                                    MORICHES NY 11955
                                      FORT LAUDERDALE FL 33301



JULIE PETTIT                          JULIE RAMIREZ                              JULIE ROGERS
429 ROSE WAY                          4670 MASCOT STREET                         2535 7TH STREET
BEL AIR MD 21014                      LOS ANGELES CA 90019                       APT. E
                                                                                 SANTA MONICA CA 90405



JULIE RZADZKI                         JULIE SAGER                                JULIE SCHARPER
5939 ATHENS BEACH ROAD NW             2050 NE 39TH STREET                        932 N CHARLES STREET
OLYMPIA WA 98502                      APT 202                                    2R
                                      FORT LAUDERDALE FL 33308                   BALTIMORE MD 21201



JULIE SHEER                           JULIE SIEGEL PHOTOGRAPHY                   JULIE SLINING
1652 ROSE VILLA ST.                   35100 MULHOLLAND HWY                       8225 RAMSGATE AVENUE
PASADENA CA 91611                     MALIBU CA 90265                            WESTCHESTER CA 90045




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JULIE STOWELL                           JULIE STRATTON                             JULIE UNRUH
33 SECOND STREET                        490 CRESTRIDGE WAY                         650 LINCOLN AVE.
SOUTH GLENS FALLS NY 12803              ABINGDON MD 21009                          WINNETKA IL 60093




JULIE VAN LEER                          JULIE VLASICH                              JULIE WILLINGHAM
944 WESLEY AVENUE                       22114 COSTANSO STREET                      400 EAST COLONIAL DRIVE
EVANSTON IL 60202                       WOODLAND HILLS CA 91364                    #310
                                                                                   ORLANDO FL 32803



JULIE XANDERS                           JULIE-ANN LINDSAY                          JULIEANN ROSSI
1720 HIGHLAND AVENUE                    1715 PINE ACRES BOULEVARD                  301 SW 64TH AVENUE
GLENDALE CA 91202                       BAY SHORE NY 11706                         MARGATE FL 33068




JULIEN DIEUGRAND                        JULIEN EBERSON                             JULIEN, DANIEL
3730 NE 12TH AVE                        1345 NW 7TH AVE                            2490 NW 68 ST
POMPANO BEACH FL 33064                  FORT LAUDERDALE FL 33311                   MIAMI FL 33147




JULIEN, ERNST                           JULIEN, HOBANEL                            JULIEN, JACKY
2041 NW 2ND COURT                       1600 STONEHAVEN DRIVE NO.7                 222 SW 8TH AVENUE
BOYNTON BEACH FL 33435                  BOYNTON BEACH FL 33436                     BOYNTON BEACH FL 33435




JULIEN, JUNIOR                          JULIET SOTO                                JULIETA ZEPEDA
2081 NW 43 TERRACE                      608 N MORRIS AVENUE                        5133 NW 96TH DRIVE
NO.204                                  WEST COVINA CA 91790                       CORAL SPRINGS FL 33076
LAUDERHILL FL 33313



JULIETTE TROTTMAN                       JULIO ALEJANDRO ESCALONA                   JULIO ARANGUREN
16251 NW 14TH STREET                    1114 S. LYMAN                              2231 NW 77TH AVE
PEMBROOKE PINES FL 33028                OAK PARK IL 60304                          SUNRISE FL 33322




JULIO AVILES                            JULIO BARRETO                              JULIO BRANCHANSKY
3701 NW 82ND AVE                        157 JERRY ROAD                             1432 NW 11TH PLACE
CORAL SPRINGS FL 33065                  EAST HARTFORD CT 06118                     FORT LAUDERDALE FL 33311




JULIO DUENAS                            JULIO LOPEZ                                JULIO MALAVE
13608 68 ST NORTH                       2437 CORDOZA AVE                           349 NORTH 7TH STREET
WEST PALM BEACH FL 33412                ROWLAND HEIGHTS CA 91748                   ALLENTOWN PA 18102




JULIO MONROY                            JULIO PENA                                 JULIO PEREZ PEREZ
2941 RIVERSIDE DRIVE                    2520 KENNEDY BOULEVARD                     1348 MURCHISON STREET #22
APT 301                                 APT. 4A                                    LOS ANGELES CA 90033
CORAL SPRINGS FL 33065                  JERSEY CITY NJ 07304




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JULIO RAMIREZ                          JULIO ROMAN                                JULIO SOTO
75 HAZEL STREET                        3820 W. WRIGHTWOOD                         10955 109TH ST
3RD FLOOR                              CHICAGO IL 60647                           JAMAICA NY 11420
HARTFORD CT 06106



JULIO TORRES                           JULIO TORRES                               JULIUS ALEXANDER
PO BOX 27903                           P.O. BOX 111                               31 CLIFFMOUNT DRIVE
SANTA ANA CA 92799-7903                ALHAMBRA CA 91802                          BLOOMFIELD CT 06002




JULIUS NETO                            JULIUS SMITH                               JULIUS SULLIVAN
12 CANNATA DRIVE                       219-22 132ND STREET                        9802 S. LOOMIS
CROMWELL CT 06416                      SPRINGFIELD GARDENS NY 11413               CHICAGO IL 60643




JULSAINT, DAVID                        JULSAINT, ROBINSON                         JULVANE INC
131 NW 9TH AVE                         4280 NE 18 AVE                             PO BOX 583
DELRAY BEACH FL 33444                  POMPANO BEACH FL 33064                     GOTHA FL 34734




JUMA TECHNOLOGY CORP                   JUMAN, RACHADEE A                          JUMBO SHRIMP CIRCUS
154 TOLEDO ST                          1363 SO SEAGATE DR                         20315 BALTAR STREET
FARMINGDALE NY 11735                   DELTONA FL 32725                           WINNETKA CA 91306




JUMBO SHRIMP CIRCUS                    JUMP OFF RIDGE LLC                         JUMPUSA.COM
6656 WINNETKA AVE                      PO BOX 1229                                1290 LAWRENCE STATION RD
WINNETKA CA 91306                      24202 215TH AVE SE                         SUNNYVALE CA 94089
                                       MONROE WA 98272



JUNA THOMPSON                          JUNAID LUGHMANI                            JUNE ARNEY
5506 DOGWOOD WAY                       7979 WESTHEIMER                            8733 BIRKENHEAD COURT
LAUDERHILL FL 33319                    APT #2301                                  LAUREL MD 20723
                                       HOUSTON TX 77063



JUNE BEATA                             JUNE CHAN                                  JUNE HARRINGTON
478 GREENSWARD WAY                     68 N. MICHIGAN AVE                         10 MANOR CIRCLE
MATTESON IL 60443                      APT#2                                      EAST HARTFORD CT 06118
                                       PASADENA CA 91106



JUNE JAMES                             JUNE JONES                                 JUNE K BODELL
9658 S EGGLESTON                       514 ECKHART DR                             4426 W AVENUE 42
CHICAGO IL 60628                       JOPPATOWNE MD 21085                        LOS ANGELES CA 90065




JUNE LAWRENCE                          JUNE MAZLIN                                JUNE MILLER
46 HEMLOCK LANE                        1159 E. 72 STREET                          60 SNOWDANCE LANE
BAY SHORE NY 11706                     BROOKLYN NY 11234                          NESCONSET NY 11767




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JUNE SORIANO                           JUNEAU, CHRISTINE                          JUNER, SARAH
114 S. DILLON STREET                   6380 NW 75TH WAY                           964 CONDOR DR
LOS ANGELES CA 90057                   PARKLAND FL 33067                          COPPELL TX 75019




JUNG, STACEY                           JUNIOR ACHIEVEMENT                         JUNIOR ACHIEVEMENT OF CHICAGO
501 N MAPLE ST                         11 ASYLUM STREET SUITE 601                 651 WEST WASHINGTON STREET
SPRINGFIELD GA 31329                   HARTFORD CT 06103                          SUITE 404
                                                                                  ATTN: KRIS GUNDERSON
                                                                                  CHICAGO IL 60661


JUNIOR ACHIEVEMENT OFGREATER PUGET     JUNIOR ADAMS                               JUNIOR LAUTURE
600 STEWART ST                         236 W. 38TH PL.                            74 STEPHEN STREET
NO.212                                 APT. #250                                  STAMFORD CT 06902
SEATTLE WA 98101                       CHICAGO IL 60609



JUNIOR METELLUS                        JUNKIN, VANESSA DAWN                       JUNNARKAR, SANDEEP
1510 NW 10TH CIRCLE                    4508 WHETSTONE CT                          165 FLORAL BLVD
APT 34                                 HAMPSTEAD MD 21074                         FLORAL PARK NY 11001
POMPANO BEACH FL 33069



JUPITER RESEARCH INC                   JUPITER RESEARCH INC                       JUPITER, MARC ELIE
BANK OF AMERICA                        233 BROADWAY        STE 1005               120 SUNFLOWER CIRCLE
FILE 30735                             NEW YORK NY 10279-1099                     WEST PALM BEACH FL 33411
PO BOX 60000
SAN FRANCISCO CA 94160


JUPITERIMAGES CORPORATION              JUPITERIMAGES CORPORATION                  JURASITS, SARA J
5232 EAST PIMA STREET                  GPO                                        141 S FAIRVIEW ST
SUITE 200C                             PO BOX 27569                               NAZARETH PA 18064
TUCSON AZ 85712                        NEW YORK NY 10087-7569



JURKOWITZ, MARK                        JURY DUTY LLC                              JURY, NICHOLAS
401 WILLIAMSBURG DRIVE                 5737 KANAN RD STE 547                      8316 DAWN COURT
SILVER SPRINGS MD 20901                AGOURA HILLS CA 91301                      ELLICOTT CITY MD 21043




JUST LIKE THAT NEWS LLC                JUSTICE, SHAN                              JUSTIN ABROTSKY
PO BOX 2261                            2650 NW 64TH AVE APT 108                   9837 NW 2ND COURT
PORTAGE IN 46368                       SUNRISE FL 33313                           PLANTATION FL 33324




JUSTIN ADAMS                           JUSTIN BOCATIJA                            JUSTIN BUFFONE
62 MORNINGSIDE DRIVE                   9231 JANNA STREET                          2010 NE 17 STREET
YORK PA 17402                          BELLFLOWER CA 90706                        APT # 13
                                                                                  FORT LAUDERDALE FL 33305



JUSTIN CASTILLE                        JUSTIN CHRISTIAN                           JUSTIN CONDER
502 OAKLAWN DRIVE                      835 NEWPORT AVE                            847 MAIN AVE
METAIRIE LA 70005                      LONG BEACH CA 90804                        LINTHICUM MD 21090




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JUSTIN DAY                               JUSTIN EMGE                                JUSTIN FENTON
4255 CRYSTAL LAKE DR. #55                1600 BRUDER COURT                          424 E CLEMENT STREET
POMPANO BEACH FL 33064                   O'FALLON MO 63366                          BALTIMORE MD 21230




JUSTIN GAROFALO                          JUSTIN GONZALES                            JUSTIN GOODE
16 EDGERTON ST                           5114 WOODWIND LANE                         833 WEST BUENA AVENUE
PO BOX 261                               ANAHEIM CA 92807                           APT. #1502
EAST HAMPTON CT 06424-0261                                                          CHICAGO IL 60613



JUSTIN HENNING                           JUSTIN HERREN                              JUSTIN HORN
931 FITZPATRICK DR                       4616 NORTH BEACON                          4208 W. 118TH PLACE
BEL-AIR MD 21014                         APT. #3G                                   ALSIP IL 60803
                                         CHICAGO IL 60640



JUSTIN HORNE                             JUSTIN HUSE                                JUSTIN HUTCHINSON
5510 S RICE AVE APT 2023                 1906 W. WINNEMAC                           938 W HUBBARD ST
HOUSTON TX 77081                         UNIT #1                                    CHICAGO IL 60622
                                         CHICAGO IL 60640



JUSTIN JACKSON                           JUSTIN KELLY                               JUSTIN KNAPFEL
1430 DEXTER STREET                       735 N. SUNSET AVE.                         1809 FINN HILL DR
DENVER CO 80220                          UNIT #12                                   BOYNTON BEACH FL 33426
                                         WEST COVINA CA 91790



JUSTIN MCCLIMANS                         JUSTIN O'CONNOR                            JUSTIN PALMER
1200 GALAPAGO STREET                     9030 FAIRVIEW                              3824 YORKLAND DRIVE NE
APT. #610                                BROOKFIELD IL 60513                        APT. #3
DENVER CO 80204                                                                     COMSTOCK PARK MI 49321



JUSTIN PHILLIPS                          JUSTIN RUSSO                               JUSTIN SCINOCCO
232 NE 22ND AVENUE                       462 WASHINGTON BLVD.                       P.O. BOX 36
APT 4                                    APT. #3E                                   EAST NORWICH NY 11732
POMPANO BEACH FL 33062                   OAK PARK IL 60302



JUSTIN SILVERMAN                         JUSTIN WESTGATE                            JUSTIN WILSON
201 EAST 4TH STREET                      618 LANARK COURT NORTH                     5539 E SR 64
APT. 7                                   BEL AIR MD 21015                           FRANCISCO IN 47649
NEW YORK NY 10009



JUSTINE GREGORY                          JUSTINE MAKI                               JUSTINE RYANS
425 W. SURF STREET                       103 W MONUMENT ST                          110 MAPLE AVE
APT. #309                                4C                                         HAMPTON VA 23661
CHICAGO IL 60657                         BALTIMORE MD 21202



JUSTINIANO, SONIA                        JUSTINIANO, WILKINS                        JUSTO BARRENO
72 MONROE ST                             72 MONROE ST                               33-33 JUNCTION BLVD
NEW BRITAIN CT 06051                     NEW BRITAIN CT 06051                       JACKSON HEIGHTS NY 11372




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JUSTO RAMOS                             JUSTO REY                                  JUSTO, ELIZABETH ZOILA
6230 NORTH CLAREMONT ST.                7020 N LOCH ISLE                           4931 BRIGHTMOUR CIR
CHICAGO IL 60659                        MIAMI LAKES FL 33014                       ORLANDO FL 32837




JUTRAS, NEAL                            JUTTON, GEORGIA                            JUTTON, GEORGIA
14 BRIARWOOD DR                         7004 W 99TH ST                             7004 W 99TH ST
ENFIELD CT 06082-6229                   CHICAGO RIDGE IL 60415                     CHICAGO RIDGE IL 60477




JUVENILE DIABETES RESEARCH FOUNDATION   JUVENILE DIABETES RESEARCH FOUNDATION      JUVENILE DIABETES RESEARCH FOUNDATION
1111 S ARROYO PARKWAY STE 400           800 WEST SIXTH ST    STE 450               18 N MAIN ST
PASADENA CA 91105                       LOS ANGELES CA 90017                       WEST HARTFORD CT 06107




JUVENILE DIABETES RESEARCH FOUNDATION   JUVENILE DIABETES RESEARCH FOUNDATION      JUVENILE DIABETES RESEARCH FOUNDATION
20 BATTERSON PARK ROAD 3RD FLOOR        2572 WHITNEY AVE                           KEN CROWLEY, CROWLEY AUTO GROUP
FARMINGTON CT 06032                     HAMDEN CT 06518                            PO BOX 6000
                                                                                   BRISTOL CT 06011-6000



JUVENILE DIABETES RESEARCH FOUNDATION   JUVENILE DIABETES RESEARCH FOUNDATION      JUVENILE DIABETES RESEARCH FOUNDATION
100 E SYBELIA AVE NO.140                500 N DEARBORN                             6214 MORENCI TRAIL
MAITLAND FL 32751                       CHICAGO IL 60610                           SUITE 290
                                                                                   INDIANAPOLIS IN 46268



JUVENILE DIABETES RESEARCH FOUNDATION   JUVENILE DIABETES RESEARCH FOUNDATION      JUVENILE DIABETES RESEARCH FOUNDATION
BAY STATE CHAPTER                       1000 THIRD AVE      7TH FLR                120 WALL STREET
20 WALNUT ST STE 318                    NEW YORK NY 10022                          NEW YORK NY 10005-4001
WELLESLEY HILLS MA 02481



JUVENILE DIABETES RESEARCH FOUNDATION   JUVENILE DIABETES RESEARCH FOUNDATION      JUVENILE DIABETES RESEARCH FOUNDATION
432 PARK AVE SOUTH 15TH FLR             PO BOX 102                                 225 CITY LINE AVENUE
NEW YORK NY 10016                       100 GLEN ST SUITE 1D                       SUITE 208
                                        GLENS FALLS NY 12801                       ATTN KEN MULLNER
                                                                                   BALA CYNWYD PA 19004


JUVENTINO MARQUEZ                       JUVONEN, JAANA                             JUWAN GRIFFIN
15120 SWANEE LANE                       10316 MONTE MAR DR                         5417 S MAY
BALDWIN PARK CA 91706                   LOS ANGELES CA 90064                       CHICAGO IL 60609




JWANZA WALLACE                          JWM DISTRIBUTORS                           JYMM ADAMS
4844 NW 24TH COURT                      487 LOCUST GROVE RD                        1050 TOPEKA STREET
APT 140                                 YORK PA 17402                              PASADENA CA 91104
LAUDERDALE LAKES FL 33313



K & F PRINTING SYSTEMS INTERN'L         K & L GATES LLP                            K AMANDA MALONE
12633 INDUSTRIAL DR                     535 SMITHFIELD STREET                      125 WINDERS LANE
GRANGER IN 46530                        HENRY W OLIVER BUILDING                    YORKTOWN VA 23692
                                        ELLIS LLP
                                        PITTSBURGH PA 15222-2312




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K M DELIVERY SERVICE INC                K STANLEY PHOTOGRAPHY                      K STANLEY PHOTOGRAPHY
ONE NORWAY PINE DRIVE                   282 JOHNSON AVE                            C/O K STANLEY PHOTOGRAPHY
MEDFORD NY 11763                        SAYVILLE NY 11782                          282 JOHNSON AVE
                                                                                   SAYVILLE NY 11782



K STANLEY PHOTOGRAPHY                   K&M NEWSPAPER SERVICE INC                  K&M NEWSPAPER SERVICE INC
PO BOX 221                              2 SPOOK ROCK ROAD BLDG B-102               45 GILBERT STREET EXTENSION
SAYVILLE NY 11782                       TALMAN NY 10982                            MONROE NY 10950




K&M NEWSPAPER SERVICE INC               K&M NEWSPAPER SERVICE INC                  K&S INDUSTRIAL COMPUTER SERV
78 LAFAYETTE AVE                        PO BOX 637                                 15677 KOECKER WAY
SUFFERN NY 10901                        ATTN: ROBERT                               FAX NO. 313-374-0481
                                        MISSY                                      SOUTHGATE MI 48195
                                        TALLMAN NY 10982


K. DUFFY STUART                         K2 MARKETING GROUP INC                     K2 MARKETING GROUP INC
1234 LAUREL LANE                        525 E COLORADO BLVD 2ND FL                 153 TELEMARK CT
SCHAUMBURG IL 60193                     PASADENA CA 91101                          STEAMBOAT SPRINGS CO 80487




KA CHEW                                 KAAREN PAGANO                              KAARIN TISUE
6353 SUNSET BLVD                        118 HILARY STREET                          4820 N WINCHESTER
HOLLYWOOD CA 90028                      WEST SAYVILLE NY 11796                     #3
                                                                                   CHICAGO IL 60640



KABA, NDRICIM                           KABAKER, SUSAN BERGER                      KABAM!
19 FIFTH ST  APT 2                      951 FORESTWAY DRV                          125 S WACKER SUITE 1750
STAMFORD CT 06905                       GLENCOE IL 60022                           CHICAGO IL 60606




KABANA, ELIZABETH                       KABELA HANSEN, CHERYL                      KABLE FULFILLMENT SERVICES INC
2441 BLUE SPRING CT NO.103              300 N EL MOLINO AVE NO.124                 335 CENTENNIAL PARKWAY
ODENTON MD 21113                        PASADENA CA 91101                          LOUISVILLE CO 80027




KABLE FULFILLMENT SERVICES INC          KABLE FULFILLMENT SERVICES INC             KABLE FULFILLMENT SERVICES INC
16 SOUTH WESLEY AVE                     4515 PAYSPHERE CIRCLE                      PO BOX 6197
MT MORRIS IL 61054                      CHICAGO IL 60674                           CHICAGO IL 60680




KABRICK, ANDREW MICHAEL                 KACEY POULIOT                              KACIE MINTER
2145 BLOSSOM                            27 SILVER HILL CT                          614 MCLAWHORNE DRIVE
BETHLEHEM PA 18018                      PERRY HALL MD 21128                        NEWPORT NEWS VA 23605




KACZMAREK, JOSEPH                       KADETRA COOPER                             KADIN, DEBORAH
2019 GRANT AVE                          7194 BELLE MEADE CT                        43 SOUTH BLVD
PHILADELPHIA PA 19115                   YPSILANTI MI 48197                         2N
                                                                                   OAK PARK IL 60302




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KADLUBOWSKI, DAVID                     KADOW, ELIZABETH NOREEN                    KADOW, KEVIN A.
14645 S 24TH PL                        6322 N TROY                                PO BOX 597435
PHOENIX AZ 85048                       CHICAGO IL 60659                           CHICAGO IL 60659-1414




KADRI, SUSAN I                         KAELA MAHON                                KAEMARR COX
2651 NE 11TH AVE                       32 CAROLINE AVENUE                         7504 HAYSTACK DRIVE
POMPANO BEACH FL 33064                 SETAUKET NY 11733                          BALTIMORE MD 21244




KAESER AND BLAIR INC                   KAESER AND BLAIR INC                       KAFKA, ALEXANDER C
4236 GRISSON DR                        PO BOX 644085                              6201 STARDUST LN
BATAVIA OH 45103                       CINCINNATI OH 45264-4085                   BETHESDA MD 20817




KAFTAN, JOD                            KAHL, COLIN                                KAHL, KRISTA
1121 PRINCETON ST NO.3                 1220 D STREET NE                           939 S SERRANO AVE #803
SANTA MONICA CA 90403                  WASHINGTON DC 20002                        LOS ANGELES CA 90006




KAHLENBERG, RICHARD D                  KAHN, ABBY J                               KAHN, AMANDA ALLISON
7101 LOCH LOMOND DR                    28 DOGWOOD CT                              410 N ROSSMORE AVE NO.415
BETHESDA MD 20817                      JAMESBURG NJ 08831                         LOS ANGELES CA 90004




KAHN, ASHLEY                           KAHN, HAMILTON                             KAHN, KENNETH R
1600 CENTER AVE NO.74                  3025 BROWNS NECK EXT RD                    12 1/2 CHARTER OAK PL
FORT LEE NJ 07024                      WELLFLEET MA 02667                         HARTFORD CT 06106




KAHN, KENNETH R                        KAHNS, KRISTIE                             KAI ZHANG
12 1/2 CHARTER OAKS PL                 516 N OGDEN AVE      NO.237                8525 TOBIAS AVENUE
HARTFORD CT 06106                      CHICAGO IL 60622                           APT #19
                                                                                  PANORAMA CITY CA 91402



KAITLYN KELLY                          KAITLYN SEITH                              KAITLYN STITT
3175 WATERMILL DRIVE                   3300 MAYO PLACE                            206 KANAWAH RUN
MACUNGIE PA 18062                      BOWIE MD 20715                             YORKTOWN VA 23693




KAIVAN DAVE                            KAKERY                                     KALA CONSULTING INC
518 S. ELMHURST RD                     1000 MAIN ST                               158 WARWICK AVE
MOUNT PROSPECT IL 60056                NEWINGTON CT 06111                         ORMAND BEACH FL 32174




KALA CONSULTING INC                    KALAMAZOO CITY TREASURER OFFICE            KALAVREJOS, ELIAS
514 MCINTOSH ROAD                      241 W SOUTH STREET                         622 PONCA ST
ORMAND BEACH FL 32174                  KALAMAZOO MI 49007-4750                    BALTIMORE MD 21224




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KALCO SPECIALTIES INC                   KALE, RICHARD                                KALEITA, JOE
514 E PARK AVE                          [ADDRESS UNAVAILABLE AT TIME OF FILING]      9714 PEDDLERS WAY
ELMHURST IL 60126                                                                    ORLANDO FL 32817




KALES TILLAGE                           KALEVI HAMALAINEN                            KALEY, ALLISON
3124 E. VIRGINIA ST.                    15916 AUSTIN COURT                           9032 VICKROY TERRACE
LYNWOOD CA 90262                        SANTA CLARITA CA 91387                       OVIEDO FL 32765




KALINA RAHAL                            KALINA, NOAH                                 KALITA, JENNIFER
944 N. HAYWORTH AVE                     32A SOUTH 1ST STREET                         15516 WEMBROUGH ST
APT#4                                   BROOKLYN NY 11211                            SILVER SPRING MD 20905
LOS ANGELES CA 90046



KALLET, JUDITH S.                       KALLICHARAN, SIMONE                          KALLICK, DAVID DYSSEGAARD
7949 CRANES POINTE WAY                  7925 SW 8TH CT                               115 E 9TH ST APT 6L
WEST PALM BEACH FL 33412                NORTH LAUDERDALE FL 33068                    NEW YORK NY 10003




KALLICK, ROBERT                         KALLINA, KENNETH                             KALLINICH, DONALD A
1933 N WINCHESTER APT 2F                766 ELLWOOD AVE                              14 MADSEN ROAD
CHICAGO IL 60622                        ORLANDO FL 32804                             WEST HARTFORD CT 06110




KALMAN, ROBERT                          KALNA, CRYSTAL                               KALSEY, ALEXANDER
107 STATE ST                            68 AVOCADO AVENUE                            952 1/2 HYPERION AVENUE
GUILFORD CT 06437                       WEST PALM BEACH FL 33413                     LOS ANGELES CA 90029




KALTER, AMY L                           KALUZNY BROS INC                             KALVITIS, DAVID
19 HAMPSHIRE RD                         1528 MOUND ROAD                              PO BOX 10131
GREAT NECK NY 11023                     JOILET IL 60436                              ROCHESTER NY 14610




KAMAFI BYRD                             KAMAL MASON                                  KAMAL, RAJA M
6234 WOODMAN STREET                     921 CARVER STREET                            5619 S DORCHESTER NO. 4S
APT.#202                                PHILADELPHIA PA 19124                        CHICAGO IL 60637
VAN NUYS CA 91401



KAMAN & ASSOCIATES                      KAMAN INDUSTRIAL TECHNOLOGIES                KAMAN INDUSTRIAL TECHNOLOGIES
505 SAVONA WAY                          13321 SATICOY ST                             2882 WALNUT AVE STE 1
OAK PARK CA 91377-4842                  N HOLLYWOOD CA 91605                         TUSTIN CA 92760-7004




KAMAN INDUSTRIAL TECHNOLOGIES           KAMAN INDUSTRIAL TECHNOLOGIES                KAMAN INDUSTRIAL TECHNOLOGIES
4839 SOUTH EASTERN AVE                  PO BOX 25356                                 PO BOX 30672
BELL CA 90201                           SANTA ANA CA 92799-5356                      HARTFORD CT 06150-0349




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KAMAN INDUSTRIAL TECHNOLOGIES           KAMAN INDUSTRIAL TECHNOLOGIES                KAMARCK, ELAINE
P O BOX 74566                           295 OSER AVENUE                              160 ROBBINS HILL ROAD
CHICAGO IL 60690                        HAUPPAUGE NY 11788                           BREWSTER MA 02631




KAMBIZ MOVAGHAR                         KAMCO                                        KAMCO
32006 POPPY WAY                         132 HOLCOMB DR                               7138 DUFFIE DR
LAKE ELSINORE CA 92532                  WILLIAMSBURG VA 23185                        WILLIAMSBURG VA 23185




KAMENETZKY, ANDREW PHILIP               KAMENETZKY, ANDREW PHILIP                    KAMENETZKY, BRIAN
625 S DETROIT ST APT 5                  908 S SYCAMORE AVE                           1342 1/2 HAYWORTH AVE
LOS ANGELES CA 90036                    LOS ANGELES CA 90036                         W HOLLYWOOD CA 90046




KAMENETZKY, BRIAN                       KAMERAAD, SHARON                             KAMETLER, STEPHEN W
438 1/2 N GARDNER STREET                [ADDRESS UNAVAILABLE AT TIME OF FILING]      303 COUNTY RD 101
LOS ANGELES CA 90036                                                                 COLLINSVILLE AL 35961




KAMIEN, STACIE M.                       KAMIN, JOE                                   KAMINECKI, DAMARA
7740 WEST FLORAL COURT                  2124 OLD HICKS ROAD                          2549 N BERNARD ST
FRANKFORT IL 60423                      PALATINE IL 60074                            CHICAGO IL 60647




KAMINSKY JR, LOUIS                      KAMINSKY JR, LOUIS                           KAMINSKY, SABRINA
P/O BOX 93                              PO BOX 93                                    272 LINCOLN BLVD
786 LONG HILL/UNDR OVRHNG GROT          LEDYARD CT 06339                             LONG BEACH NY 11561
LEDYARD CT 06339



KAMMEN, DANIEL M                        KAMMEN, MICHAEL                              KAMMERAAD, SHARON D
1 WEYBRIDGE CT                          110 IROQUOIS ROAD                            PO BOX 413005
OAKLAND CA 94611                        ITHACA NY 14850                              NAPLES FL 34101




KAMPA, TAYLOR                           KAMPERT, PATRICK W                           KAMPYS ROUND THE CLOCK INC
11000 WARWICKSHIRE DR                   1311 KNOLLWOOD CIR                           559 W MELROSE CIR
GREAT FALLS VA 22066                    CRYSTAL LAKE IL 60014                        FT LAUDERDALE FL 33312




KAMRAN AFSHAR ASSOCIATES INC            KAMRAN IZADPANAH                             KANDACE SCHULTZ
P O BOX 283                             325 S. BERKELEY AVENUE                       3949 KANSAS STREET #19
BETHLEHEM PA 18016                      PASADENA CA 91107                            SAN DIEGO CA 92104




KANDEL, SUSAN                           KANDY HARTSFIELD                             KANDYBA GRAPHICS INC
1027 N ORLANDO AVE                      4120 PERIWINKLE DRIVE                        2590 AGATE RD
LOS ANGELES CA 90069                    FORT WORTH TX 76137                          BOULDER CO 80304




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KANE COUNTY COUGARS                   KANE, GREGORY P                            KANE, RANDY J
34W002 CHERRY LANE                    4956 EDGEMERE AVE                          20 FLICKER CIRCLE
GENEVA IL 60134                       BALTIMORE MD 21215                         MERTZTOWN PA 19539




KANE, TIM                             KANIKA JACKSON                             KANNER, CATHERINE
26 FAIRFIELD LANE                     1631 W. 51ST                               572 RADCLIFFE AVE
CARY IL 60013                         LOS ANGELES CA 90062                       PACIFIC PALISADES CA 90272




KANO LABORATORIES INC                 KANO LABORATORIES INC                      KANSAS CITY ROYALS
1000 S. THOMPSON LANE                 P O BOX 110098                             PO BOX 419969
ACCT 108825                           NASHVILLE TN 37222                         KANSAS CITY MO 64141
TOBY
NASHVILLE TN 37211


KANSAS CITY STAR                      KANSAS CITY STAR                           KANSAS DEPT OF HEALTH
1729 GRAND AVE                        PO BOX 27-255                              & ENVIRONMENT
KANSAS CITY MO 64108                  KANSAS CITY MO 64180-0255                  CURTIS STATE OFFICE BUILDING
                                                                                 1000 SW JACKSON
                                                                                 TOPEKA KS 66612


KANTER, DOUGLAS SCOTT                 KANTER, DOUGLAS SCOTT                      KANTOR, HELEN
17848 MISSION OAK DR                  497 PACIFIC ST APT 3B                      4716 BRIGGS AVE
LITHIA FL 33547                       BROOKLYN NY 11217                          LA CRESCENTA CA 91214




KANTOREN FONDS NEDERLAND B.V.         KANTUREK, LES                              KANYA, SUZANNE
RE: NETHERLANDS AMSTERDAM, OR         27 ALMA AVENUE                             6200 TAMARA COURT
3521 AN UTRECHT                       LAKE GROVE NY 11755                        SUITLAND MD 20746
JAARBEURSPLEIN 17



KAPLAN, DEBORAH ABRAMS                KAPLAN, DORIS                              KAPLAN, ERIN AUBRY
1044 GULL AVE                         3924 PALLADIUM LAKE DRIVE                  11022 CHANERA AVE
FOSTER CITY CA 94404                  BOYNTON BEACH FL 33436                     INGLEWOOD CA 90303




KAPLAN, FRED                          KAPLAN, JACK                               KAPLAN, ROBERT
498 12TH STREET                       93 NORTH LAKE DR                           4 CHERRY ST
BROOKLYN NY 11215                     HAMDEN CT 06517                            STOCKBRIDGE MA 01262




KAPLAN, ROGER P                       KAPLAN, RUTH                               KAPLAN, SUNNY NICOLE
211 N UNION ST STE 100                4133 CARAMBOLA CIRCLE S NO.201             2345 NEBRASKA AVE NW
ALEXANDRIA VA 22314                   COCONUT CREEK FL 33066                     WASHINGTON DC 20016




KAPLAN, SUNNY NICOLE, C/O PETER       KAPLAN, THOMAS A                           KAPOOR, SITARA NIEVES
KRISTENSEN THE WORLD BANK GROUP       40 WINDING TRAIL LN                        5219 NEW UTRECHT NO.2L
MSN ACCWE                             CHESHIRE CT 06410                          BROOKLYN NY 11219
PO BOX 27839
WASHINGTON DC 20038




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KAPOW TECHNOLOGIES INC              KAPP, BILLIE M                              KAPPA PUBLISHING GROUP
260 SHERIDAN AVE   STE 420          4 LLYNWOOD DR                               ATTN: SYLVIA RICHARDS
PALO ALTO CA 94306                  BOLTON CT 06043                             PO BOX 1492
                                                                                FORT WASHINGTON PA 19034



KAPS, KELLY                         KAPUGI, JEFFERY                             KAPUSCINSKI, SYLWIA
133 CHESTNUT ST                     10215 SILVER BELL TERRACE                   1015 E ELIZABETH AVE      2ND FLR
BANGOR PA 18013                     ROCKVILLE MD 20850                          LINDEN NJ 07036




KAR GRAPHICS LLC                    KAR PRINTING                                KAR PRINTING
13930 NW 60TH AVE                   7990 SECOND FLAGS DR                        135 S LASALLE ST
MIAMI LAKES FL 33014                STE D                                       DEPARTMENT 2789
                                    AUSTELL GA 30168                            CHICAGO IL 60674-2786



KAR PRINTING                        KAR PRINTING                                KAR PRINTING
72 INDUSTRIAL CIRC                  PO BOX 643566                               SHARED MAIL ACQUISITION
LANCASTER PA 17601                  PITTSBURGH PA 15264                         72 INDUSTRIAL CIRCLE
                                                                                LANCASTER PA 17601



KARA BOULAHANIS                     KARA BROOKS                                 KARA JACKSON
3030 18TH STREET                    5154 ASPEN TALON COURT                      125 NASSAU BOULEVARD
VERO BEACH FL 32960                 INDIANAPOLIS IN 46254                       WEST HEMPSTEAD NY 11520




KARA MCENTEE                        KARA MCNEELY                                KARA OGUSHI
5 HERRICK AVENUE                    5871 MANNING RD.                            18513 ILLINOIS COURT
APT. A                              INDIANAPOLIS IN 46228                       TORRANCE CA 90504
WARRENSBURG NY 12885



KARA PRAWL                          KARA ROMAGNINO                              KARA SCHIEBEL
192 OVERBROOK DRIVE                 757 SIESTA KEY TRAIL                        5250 QUEEN VICTORIA LN.
STAMFORD CT 06906                   APT 1128                                    KALAMAZOO MI 49009
                                    DEERFIELD BEACH FL 33441



KARA SNYDER                         KARA SPUDIC                                 KARA STEFANIK
7 TALISTER COURT                    17604 WENTWORTH AVENUE                      1720 N. HALSTED
BALTIMORE MD 21237                  LANSING IL 60438                            304
                                                                                CHICAGO IL 60614



KARA SYNWOLT                        KARA WALSH                                  KARABEL, JEROME
4714 WEST BERTEAU                   817 W. LILL                                 3015 BENVENUE AVENUE
APT. #IN                            2                                           BERKELEY CA 94705
CHICAGO IL 60641                    CHICAGO IL 60614



KARABELL, ZACHARY                   KARAN GASKINS                               KARANT & ASSOCIATES INC
121 W 72ND ST 14C                   3101 PORT ROYALE BLVD                       400 N MAY ST
NEW YORK NY 10023                   UNIT 1323                                   CHICAGO IL 60622
                                    FORT LAUDERDALE FL 33308




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KARCH, CHARLES                        KARCHESKY, MARCUS                          KARDOK, RYAN
P.O.BOX 1214                          4140 IBERIS LN                             6067 NW 77TH DR
WESTWOOD CA 96137                     ORLANDO FL 32822                           PARKLAND FL 33067




KARDOOSE, ANTHONY                     KAREEM DOMINGUEZ                           KAREEM HYLAND
18975 COLLINS AVE    APT C-213        743 ADAMS DRIVE                            186 HOWARD AVE
SUNNY ISLES FL 33160                  APT. #7A                                   ROOSEVELT NY 11575
                                      NEWPORT NEWS VA 23606



KAREEM ROBERTS                        KAREN A CALLAWAY                           KAREN ANDRIST
405 S. NORTHLAKE BLVD.                3520 N LAKE SHORE DR                       9082 S. MAIN
#1055                                 2E                                         HOMETOWN IL 60456
ALTAMONTE SPRINGS FL 32701            CHICAGO IL 60657



KAREN ANN MURRAY                      KAREN BAILIS                               KAREN BELLVILLE
49 WINDMILL LANE                      77-12 35TH AVENUE                          2039 NEW STONECASTLE TERRACE
LEVITTOWN NY 11756                    B15                                        APT. 113
                                      JACKSON HEIGHTS NY 11372                   WINTER PARK FL 32792



KAREN BOWERS                          KAREN BROPHY                               KAREN BUDELL
2920 SNAKE LANE                       625 PICO PLACE                             1212 NORTH LASALLE STREET
CHURCHVILLE MD 21028                  SANTA MONICA CA 90405                      APT. 2604
                                                                                 CHICAGO IL 60610



KAREN CARBONARA                       KAREN CASTILLO                             KAREN CHACON
2356 RIDGE DRIVE                      616 EAST BROOKSIDE LANE                    752 VIA ALTAMIRA
HELLERTOWN PA 18055                   HILLSBOROUGH NJ 08876                      APT #33
                                                                                 MONTEBELLO CA 90640



KAREN CHADERJIAN                      KAREN CLYBURN                              KAREN COMBS
3944 LINDEN AVENUE                    7578 THORNLEE DRIVE                        849 E. VICTORIA ST
LONG BEACH CA 90807                   LAKE WORTH FL 33467                        APT 107
                                                                                 CARSON CA 90746



KAREN COOPER LAWRENCE                 KAREN DAILEY                               KAREN DICK
77 WEST 55TH STREET                   118 ROBERTA DRIVE                          21807 FOLEY AVE.
17D                                   HAMPTON VA 23666                           CARSON CA 90745
NEW YORK NY 10019



KAREN DRAPER                          KAREN DRESSLER                             KAREN DUNLAP
927 DEERFLATS                         11222 FULMER DR                            1015 GOTWALT DR.
SAN DIMAS CA 91773                    GARDEN GROVE CA 92840                      OVIEDO FL 32765




KAREN DURANT                          KAREN EICH                                 KAREN ERNSTING
508 ORCHARD STREET                    559 W. SURF                                5763 N. BEL AIRE DRIVE
BALTIMORE MD 21201                    #802                                       GLENDALE WI 53209
                                      CHICAGO IL 60657




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KAREN FINNIGAN                         KAREN FISHER                               KAREN FLAX
1033 N PUTNAM AVE                      9755 SW 161ST ST                           5716 S. KIMBARK AVENUE
LINDENHURST NY 11757                   MIAMI FL 33157                             CHICAGO IL 60637




KAREN FLEISCHER                        KAREN G LEMONS                             KAREN GEMIGNANI
921 SAN RAPHAEL                        1223 W 17TH STREET                         11109 NW 39TH STREET, APT. 103
POINCIANA FL 34759                     SAN PEDRO CA 90731                         TAMARAC FL 33351




KAREN GILL                             KAREN GOLDBERG                             KAREN GOREN
108 TYNDALL DRIVE                      3909 NW 122ND TERRACE                      257 EAST 3RD STREET
NEWPORT NEWS VA 23606                  SUNRISE FL 33323                           DEER PARK NY 11729




KAREN GRAHAM                           KAREN HINSON-MUMAW                         KAREN HOFFMAN
3532 CALUMET STREET                    1090 CARLTONS CORNER RD                    3885 TOPAZ ROAD
PHILADELPHIA PA 19129                  KING & QUEEN COURTHOUSE VA 23085           WEST SACRAMENTO CA 95691




KAREN HORN                             KAREN HOSLER                               KAREN HUNTER
50 RIDGECREST COURT                    12 CONSTITUTION AVE                        91 EAST MAIN STREET
LAFAYETTE CA 94549                     ANNAPOLIS MD 21401                         MIDDLETOWN CT 06457




KAREN HUTCHENS & ASSOCIATES            KAREN IANNACCONE                           KAREN ISAACS
550 W C STREET STE 1850                171 LOCUST AVE                             4325 CAHUENGA BOULEVARD
SAN DIEGO CA 92101                     BABYLON NY 11702                           TOLUCA LAKE CA 91602




KAREN JASKULIS                         KAREN JENNINGS                             KAREN JOHNSON
3 WOOD OAK COURT                       952 CARIBBEAN PLACE                        3939 VESELICH AVENUE
NOTTINGHAM MD 21236                    CASSELBERRY FL 32707                       APT. #127
                                                                                  LOS ANGELES CA 90039



KAREN JORDAN                           KAREN JOSSEL                               KAREN KAISER
P.O. BOX 352                           3625 FREDONIA DRIVE                        200 RIVERSIDE BOULEVARD
RICHLANDTOWN PA 18955                  #3                                         APT# 38C
                                       HOLLYWOOD CA 90068                         NEW YORK NY 10069



KAREN KAPLAN                           KAREN KELDER                               KAREN KINTNER
2016 MISSION STREET                    2460 PARKDALE                              P.O. BOX 520655
SOUTH PASADENA CA 91030                WYOMING MI 49519                           MIAMI FL 33152-0655




KAREN KLAGES                           KAREN LANDIS                               KAREN LELONEK
2200 BOUTERSE STREET                   3748 WEST WRIGHTWOOD AVENUE                907 BERGEN LANE
APT. #209                              2                                          BEL AIR MD 21014
PARK RIDGE IL 60068                    CHICAGO IL 60647




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KAREN LEWIS                            KAREN LONGANECKER                          KAREN LUMPKINS
5710 CALEB AVEUE                       1612 EAST CLEMENT STREET                   7227 S MAY STREET
SACRAMENTO CA 95819                    BALTIMORE MD 21230                         CHICAGO IL 60621




KAREN LUNEAU                           KAREN LUU                                  KAREN M SCHLOMANN ORLOSKY
104 SUFFOLK AVENUE                     8933 NEWBY AVENUE                          5710 NE 19TH AVENUE
NORTH BABYLON NY 11703                 ROSEMEAD CA 91770                          FORT LAUDERDALE FL 33308




KAREN MAISA                            KAREN MANSFIELD                            KAREN MANZ
680 N. LAKE SHORE DRIVE                256 E. PARK ST                             65 GREYSTONE ROAD
#517                                   PLAINFIELD IN 46168                        ROCKVILLE CENTER NY 11570
CHICAGO IL 60611



KAREN MARCONE                          KAREN MCINNIS                              KAREN MERWICK
2836 LENT ROAD                         353 WEST 47TH STREET, APT 8H               6420 N CLAREMONT
APOPKA FL 32712                        MIAMI BEACH FL 33140                       #3S
                                                                                  CHICAGO IL 60645



KAREN MOORE                            KAREN MORGAN                               KAREN MORRISON
201 GRAND BOULEVARD                    9 HAYES DRIVE                              117 FRANCIS ST
BRENTWOOD NY 11717                     NEWPORT NEWS VA 23602                      HAVRE DE GRACE MD 21078




KAREN NORRIS                           KAREN NORTHRUP                             KAREN O'BRIEN
6 QUARTER PATH LN                      51 DEAN ROAD                               7 HERON DRIVE
HAMPTON VA 23666                       HUDSON FALLS NY 12839                      SOMERS CT 06071




KAREN ORDING                           KAREN OSBORNE                              KAREN OTT
3 JAY COURT                            4900 NW 44TH TERRACE                       3347 S. ADAMS AVENUE
LAKE GROVE NY 11755                    TAMARAC FL 33319                           BAY VIEW WI 53207




KAREN PAGANO                           KAREN PAUL                                 KAREN PFORR
3 BALDER DRIVE                         1021 N RICHMOND AVE                        11 MAGNOLIA LANE
MIDDLE RIVER MD 21220                  LINDENHURST NY 11757                       SMITHTOWN NY 11787




KAREN PHILLIPS                         KAREN PISTONE                              KAREN PORTER
455 WINONA LAKES                       740 HARDWOOD CIRCLE                        464 MIDDLEBURY COURT
EAST STROUDSBURG PA 18301              ORLANDO FL 32828                           CLAREMONT CA 91711




KAREN POULSEN                          KAREN RAPONE                               KAREN REW
6157 CITRACADO CIRCLE                  120 CASEY LANE                             3200 N LAKE SHORE DR
CARLSBAD CA 92009                      BENSALEM PA 19020                          #2106
                                                                                  CHICAGO IL 60657




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KAREN RL KING                         KAREN ROBACK                               KAREN ROGERS
10211 WARWICK BOULEVARD               10071 SW 16TH COURT                        61 THOMAS DRIVE
NEWPORT NEWS VA 23601                 DAVIE FL 33324                             WILLIAMSBURG VA 23188




KAREN RUSSETH-OROL                    KAREN RUST                                 KAREN SAUNDERS
2644 TREYMORE DRIVE                   153 SE 7TH STREET                          2732 TIERRA CIRCLE
ORLANDO FL 32825                      DEERFIELD BEACH FL 33441                   WINTER PARK FL 32792




KAREN SCAFFIDI                        KAREN SCOTT                                KAREN SIMPSON
14327 SE 256TH PLACE                  215 EAST 68TH STREET                       4051 NW 87TH AVE
KENT WA 98042                         APT 18X                                    SUNRISE FL 33351
                                      NEW YORK NY 10065



KAREN SMITH                           KAREN SMITH                                KAREN SNYDER
234 POTTER ROAD                       42 SOUTH HOWELL AVE.                       100 SOCIETY PARK COURT
QUEENSBURY NY 12804                   FARMINGVILLE NY 11738                      EMMAUS PA 18049




KAREN STABILE                         KAREN STAUFFER                             KAREN TAPIA
194 KILBURN RD                        500 LONDON ROAD                            6222 E CLIFFWAY DR
GARDEN CITY NY 11530                  WINTER PARK FL 32792                       ORANGE CA 92869




KAREN TEERLINK                        KAREN TENSA                                KAREN TUCK
5346 LOMA AVENUE                      11 WILSON STREET                           27 WALNUT ROAD
TEMPLE CITY CA 91780                  DANBURY CT 06810                           ROCKY HILL CT 06067




KAREN WEED                            KAREN WHITE                                KAREN WIECHNICKI
9218 MOSS TRAIL                       2710 NW 51ST PLACE                         47 PLEASANT STREET
DALLAS TX 75231                       FORT LAUDERDALE FL 33309                   WINDSOR CT 06095




KAREN WILEY                           KAREN WILLEY-COX                           KAREN WOLSKY
90 PARK TIMBERS DRIVE                 35 MONTAUK ROAD                            1213 SE 1 STREET
SHARPSBURG GA 30277                   CHICOPEE MA 01013                          APT. 2
                                                                                 FORT LAUDERDALE FL 33301



KAREN WOOL                            KAREN YOUGER                               KAREN ZEILER
47 RUSH STREET                        325 STURGESS RUN                           8 WILLOW PATH CT.
PORT JEFFERSON STATION NY 11776       SHARPSBURG GA 30277                        BALTIMORE MD 21236




KAREN-SANDY LENT                      KARETNICK, JEN                             KARI BARNETT
947 MANOR LANE                        9301 NE 9TH PLACE                          3138 MEADOW ROAD
WEST BAYSHORE NY 11706                MIAMI SHORES FL 33138                      PALM SPRINGS FL 33406




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KARI BOYER                            KARI KRAUSE                                KARI MUSICK
70 SPRING VALLEY RD                   444 NORTH CAROLINA AVENUE                  602 WEST 21ST
OSSINING NY 10562                     PASADENA MD 21122                          APT #4
                                                                                 HOUSTON TX 77008



KARIE JAMES                           KARIE SORENSEN                             KARIM EL-SAYED
6128 SPICA DRIVE SE                   5425 KIOWA DRIVE                           1299 BARNES ROAD
GRAND RAPIDS MI 49508                 #1                                         WALLINGFORD CT 06492
                                      LA MESA CA 91942



KARIM SABUR II                        KARIN BUCHBINDER                           KARIN BUGGE
9041 S. DANTE                         1973 CARMEN AVENUE                         602 ATHENS STREET
CHICAGO IL 60619                      LOS ANGELES CA 90068                       ALTADENA CA 91001




KARIN ESTERHAMMER                     KARIN HOWARD                               KARIN KLEIN
4219 E. VERMONT ST                    5535 CANYONSIDE ROAD                       1261 STARLIT DR
LONG BEACH CA 90814                   LA CRESCENTA CA 91214                      LAGUNA BEACH CA 92651




KARIN LIPSON                          KARIN PIKE                                 KARIN REED
43 GREYSTONE ROAD                     471 TUNNEL ROAD                            62 CATHERINE STREET
ROCKVILLE CENTRE NY 11570             VERNON CT 06066                            HARTFORD CT 06106




KARIN SATTERFIELD                     KARIN STEINER                              KARIN TYREE
3501 E. RANSOM STREET                 9 OLD KING'S HIGHWAY                       14 VIRGINIA DRIVE
APT# 306                              NORWALK CT 06850                           MEDFORD NY 11763
LONG BEACH CA 90804



KARIN WANSERSKI                       KARIN WASLER                               KARINA BERNAL
8309 N. 107TH STREET                  814 SOUTH SHERBOURNE                       12724 DE GARMO AVENUE
UNIT E                                APT#7                                      SYLMAR CA 91342
MILWAUKEE WI 53224                    LOS ANGELES CA 90035



KARINA MONDRAGON                      KARINA SARAVIA                             KARINSKI, EDNA
215 N. CURTIS AVE                     39 BELLA CASA LANE                         1517 EAST GARFIELD AVE NO.16
APT 11                                CENTRAL ISLIP NY 11722                     GLENDALE CA 91205
ALHAMBRA CA 91801



KARJANIS, JESSICA                     KARL ALLEN                                 KARL CICITTO
350 RIVER RD                          26324 RAINBOW GLEN D                       726 NEWGATE ROAD
HAMDEN CT 06518                       NEWHALL CA 91321                           WEST SUFFIELD CT 06093




KARL FERRON                           KARL HART                                  KARL KENDALL
1019 WEST LEXINGTON ST                PO BOX 470141                              2614 SOUTH 14TH STREET
BALTIMORE MD 21223                    LOS ANGELES CA 90047                       TACOMA WA 98405




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KARL OWENS                              KARL PALOUCEK                               KARL RINK
5746 SOUTH ELIZABETH                    3738 S. EUCLID AVENUE                       2150 NORTH BEACHWOOD DRIVE
CHICAGO IL 60636                        BERWYN IL 60402                             APT 8
                                                                                    LOS ANGELES CA 90068



KARL ROGERS                             KARL SCHOENHOFEN                            KARL SIMS
1221 BRASS MILL ROAD                    9426 S. SPAULDING                           1022 RICHARDSON AVENUE
BELCAMP MD 21017                        EVERGREEN PARK IL 60805                     SIMI VALLEY CA 93065




KARL STAMPFL                            KARL WALZ                                   KARL YOUNG
1535 NEWBERRY AVENUE                    306 THIRD AVENUE                            244 LAKE HAYWARD RD
LA GRANGE IL 60526                      ST. JAMES NY 11780                          COLCHESTER CT 06415




KARL, JOSEPH                            KARLA ARAM                                  KARLA ESCOBAR
11295 REGATTA LN.                       441 E. SAN JOSE AVENUE                      8009 CROSNOE AVENUE
WELLINGTON FL 33449                     UNIT # 209                                  PANORAMA CITY CA 91402
                                        BURBANK CA 91501



KARLA ESTRADA                           KARLA JOHNSON                               KARLA KELLEY
238 S. AVENUE 55                        624 HARLAN AVE NE                           8183 MOONLIGHT ROAD
APT. #7                                 GRAND RAPIDS MI 49503                       SMITHFIELD VA 23430
LOS ANGELES CA 90042



KARLA LAYDEN                            KARLA LOPEZ-MILLER                          KARLA SCHUSTER
200 E 81 ST                             114 AIRLINE COURT                           107-40 QUEENS BLVD
APT 8A                                  MONTZ LA 70068                              APT 15C
NEW YORK NY 10028                                                                   FOREST HILLS NY 11375



KARLA TORREZ                            KARLAYNE PARKER                             KARLENE GOLLER
9946 PRADERA AVE.                       327 HIGHFALCON ROAD                         507 BELLEFONTAINE
MONTCLAIR CA 91763                      REISTERSTOWN MD 21136                       PASADENA CA 91105




KARLOVSKY, GAIL                         KARLOWITSCH,JOSEF                           KARLOWITSCH,SARAH
551 LAVINA DRIVE                        78210 GRAY HAWK DR.                         78210 GRAY HAWK DR.
BOLINGBROOK IL 60440                    PALM DESERT CA 92211                        PALM DESERT CA 92211




KARLY DIBELLA                           KARLY IRON WORKS INC                        KARMANIAN, KENDALL
17 OLD POST RD                          4014 NORTHWEST HWY UNIT 4C                  2401 W OHIO ST   NO.27
WETHERSFIELD CT 06109                   CRYSTAL LAKE IL 60014                       CHICAGO IL 60612




KARMEN KEANE                            KARNETH, KAYLEIGH                           KARNISH, JOHN M.
2160 WEST GIDDING STREET                6771 KIMBERLY BLVD                          132 E GARIBALO AVE
UNIT# 2                                 NORTH LAUDERDALE FL 33065                   NESQUEHONING PA 18240
CHICAGO IL 60625




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KAROL HUNTER                           KAROL MONTI                                KAROL THOMPSON
801 NW 18TH STREET                     473 17TH ST                                36 MORNING GLORY DRIVE
FT. LAUDERDALE FL 33111                WEST BABYLON NY 11704                      MIDDLETOWN CT 06457




KARON HAVELKA                          KARON SULLIVAN                             KAROUN DEMIRJIAN
42W690 STAR LANE                       1518 W CORTEZ ST                           435 N. MICHIGAN AVE.
SUGAR GROVE IL 60554                   UNIT 1E                                    CHICAGO IL 60611
                                       CHICAGO IL 60622



KARP, MYLES                            KARPIUK, THOMAS                            KARPOVICH, TODD C
1427 VICTORIA ISLE DR                  560 PURDY W 105                            500 WILTON RD
WESTON FL 33327                        PALM SPRINGS FL 33461                      BALTIMORE MD 21286




KARRALYNN STRICKLAND                   KARRAS, JOHN                               KARREN BAUER
33 MECHANIC STREET                     809 TURTLECREEK CT                         866 35TH STREET
#205                                   BEL AIR MD 21014                           APT. #B
WINDSOR CT 06095                                                                  NEWPORT NEWS VA 23607



KARRI MORGAN                           KARSCHNER, MICHELLE                        KARSHMER, AVRAHAM
5133 DOLLAR RIDGE LANE                 4715 PINE LAKE DRIVE                       14 BREEZE AVE
INDIANAPOLIS IN 46221                  ST CLOUD FL 34769                          VENICE CA 90291




KARSTEN IVEY                           KARTIK MONEY                               KARYI RUTCHIK
7050 NW 44TH STREET                    12540 BRADDOCK DR.                         17 W. 706 BURTTERFIELD ROAD
UNIT 306                               APT B-113                                  #113
LAUDERHILL FL 33319                    LOS ANGELES CA 90066                       OAKBROOK TERRACE IL 60181



KASEY CHAMPION                         KASHA BROUSSARD                            KASLOF, MARISSA
2712 W. 43RD PLACE                     2308 HOUMA BLVD.                           11021 ANGEL WING DR
LOS ANGELES CA 90008                   APT. #724                                  TAMARAC FL 33321
                                       METAIRIE LA 70001



KASM, BRYAN ANTHONY                    KASNER, MARK                               KASPAR WIRE WORKS INC
124 LIVE OAK AVE APT 5                 1 SOUTH FOREST AVE                         1127 SHORACK DRIVE
DAYTONA BEACH FL 32114                 ROCKVILLE CENTRE NY 11570                  ATT: DAVID
                                                                                  ATTN: BOB BARTULUCCI
                                                                                  SHINER TX 77984


KASPAR WIRE WORKS INC                  KASPAR WIRE WORKS INC                      KASPAR WIRE WORKS INC
BASSICK DIVISION                       PO BOX 667                                 SHO RACK DIVISION
1603 BASSICK DRIVE                     SHINER TX 77984                            PO BOX 1127
PO BOX 1603CK DRIVE                                                               1127 SHO RACK DR
SHINER TX 77984                                                                   SHINER TX 77984


KASPER, LEN                            KASPER,ROBERT W                            KASPERKOSKI JR, DANIEL
445 DREXEL AV                          1417 PARK AVENUE                           6030 FAIRWAY LN
GLENCOE IL 60022                       BALTIMORE MD 21217                         ALLENTOWN PA 18106




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KASSIRER, JEROME                      KASTHURI SEERLA                            KASTNER, LARA
21 SQUIRREL ROAD                      719 KNOCH KNOLLS                           2061 W CONCORD PL
WELLESLEY MA 02481                    NAPERVILLE IL 60565                        CHICAGO IL 60647




KASTNER, LARA                         KAT PHOTO                                  KATE AURTHUR
LARA KASTNER PHOTOGRAPHY              1759 W ERIE                                3264 COLONY DRIVE
2061 W CONCORD PL                     CHICAGO IL 60622                           LOS ANGELES CA 90027
CHICAGO IL 60647



KATE BAKMAN                           KATE CHIMENTO                              KATE LARKWORTHY ARTIST REPRESENTATION
3284 CARRIAGEWAY CT.                  2060 LACEY OAK DR.                         350 CENTRAL PARK WEST 13D
ARLINGTON HEIGHTS IL 60004            APOPKA FL 32703                            NEW YORK NY 10025




KATE LINTHICUM                        KATE PADUCHOWSKI                           KATE SHATZKIN
1984 NORTH MAIN STREET                664 W. OAKDALE                             5508 SPRINGLAKE WAY
APT #502                              APT. #2F                                   BALTIMORE MD 21212
LOS ANGELES CA 90031                  CHICAGO IL 60657



KATE SISLIN                           KATERI PEREZ                               KATES, ALIENA
904 W. GRACE                          345 NORTH LASALLE                          1011 4TH ST APT 2
#3                                    APT. #4503                                 CATASAQUA PA 18032
CHICAGO IL 60613                      CHICAGO IL 60654



KATES, AMY                            KATH, BONNIE                               KATHARIN CZINK
703 MALLARD CIRLCE                    2426 HASTINGS AVE                          511 S. PINE AVE.
CLAYMONT DE 19703                     EVANSTON IL 60201                          ARLINGTON HEIGHTS IL 60005




KATHARINA VELEZ                       KATHARINE JENKINS                          KATHARINE KREMP
1456 W. ADDISON                       28 GAGE AVE                                5324 BELLAIRE AVENUE
APT. GARDEN S                         GLENS FALLS NY 12801                       VALLEY VILLAGE CA 91607
CHICAGO IL 60613



KATHARINE MCCLELLAND                  KATHARINE MELONE                           KATHARINE PEPPERS
1263 CIRCLE DRIVE                     134 FOSTER TERRANCE                        4200 W. 205TH STREET
ARBUTUS MD 21227                      RIDGEWOOD NJ 07450                         MATTESON IL 60443




KATHARINE TUR                         KATHEDER, JOHN MARSHALL                    KATHERINE BASEY
200 EAST 69TH STREET, APT #40B        PO BOX 2564                                100 MINTON WAY
NEW YORK NY 10021                     WINDERMERE FL 34786                        SMITHFIELD VA 23430




KATHERINE BATTLES                     KATHERINE BOLINGER                         KATHERINE BRATHWAITE
1415 W BYRON STREET                   1890 JAMESTOWN CIRCLE                      B 9371 N.W. 45TH STREET
APT R2                                HOFFMAN ESTATES IL 60195-2826              SUNRISE FL 33351
CHICAGO IL 60613




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KATHERINE BUXTON                      KATHERINE CARMICHAEL                       KATHERINE CASTRO
8834 WALTHER BLVD.                    3803 SHANNON DRIVE                         24 STIRLING AVENUE
BALTIMORE MD 21234                    BALTIMORE MD 21213                         FREEPORT NY 11520




KATHERINE CHAFFER                     KATHERINE CODDINGTON                       KATHERINE CORRIVEAU
1778 BUSHWICK AVENUE                  3833 NORTH RIDGEWAY                        5065 AMESBURY DR.
MERRICK NY 11566                      CHICAGO IL 60618                           COLUMBIA MD 21044




KATHERINE DROUIN-KEITH                KATHERINE EBY                              KATHERINE FARRISH
23 NORTHGATE DRIVE                    2318 O STREET #6                           423 OLD POST ROAD
GREENLAWN NY 11740                    SACRAMENTO CA 95816                        TOLLAND CT 06084




KATHERINE FREDERICKS                  KATHERINE FRETLAND                         KATHERINE GAOUETTE
355 NORTH 4TH STREET                  7333 RIVERSIDE PL.                         4009 FESSENDEN STREET NW
LEHIGHTON PA 18235                    ORLANDO FL 32810-3771                      WASHINGTON DC 20016




KATHERINE GRUBER                      KATHERINE HAJDUCH                          KATHERINE JOHNSON
2740 W WINNEMAC AVE #2                1800 N. WASGTENAW                          1055 S. HIAWASSEE RD.
CHICAGO IL 60625-3642                 CHICAGO IL 60647                           #2017
                                                                                 ORLANDO FL 32835



KATHERINE JUDY                        KATHERINE KMONICEK                         KATHERINE KUENKLER
360 E SOUTH WATER ST #605             56 DOWNING AVENUE                          2762 S. QUINCY AVENUE
CHICAGO IL 60601                      SEA CLIFF NY 11579                         MILWAUKEE WI 53207




KATHERINE LAMB                        KATHERINE LOVE                             KATHERINE LUTZ
442 N. SUNNYSLOPE AVE                 17823 COLLINS ST.                          627 HUMMINGBIRD LANE
PASADENA CA 91107                     ENCINO CA 91816-1143                       DELRAY BEACH FL 33445




KATHERINE MAIER                       KATHERINE MANKER                           KATHERINE MANNING
930 TAYLOR DRIVE                      17 S. BIRCHWOOD DRIVE                      345 E. RUSSELL STREET
APT 107                               NAPERVILLE IL 60540                        BARRINGTON IL 60010
GURNEE IL 60031-3194



KATHERINE MCGINNIS                    KATHERINE MONGIELLO                        KATHERINE MOORE
105 MORAY FIRTH                       21 FULTON AVE                              821 CABOT COURT
WILLIAMSBURG VA 23188                 HICKSVILLE NY 11801                        WINTER PARK FL 32792




KATHERINE NEWTON                      KATHERINE NORRIS                           KATHERINE OAKES
818 SOUTH GRAND AVE                   8205 CASTINANGO STREET                     1649 EAST 50TH STREET
APT 703                               ORLANDO FL 32817                           APT. #9D
LOS ANGELES CA 90017                                                             CHICAGO IL 60615




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KATHERINE OSTROWSKI                     KATHERINE REES                             KATHERINE REINHARD
3750 N. WILTON                          720 MORNINGSIDE ROAD                       610 PINE STREET
APT. #4                                 RIDGEWOOD NJ 07450                         EMMAUS PA 18049
CHICAGO IL 60613



KATHERINE ROTHLISBERGER                 KATHERINE SANTICH                          KATHERINE SCHMIDT
1003 TIOGA COURT                        307 HAMPTON AVE. SO.                       411 BROOKLYN BLVD
CAROL STREAM IL 60188                   ORLANDO FL 32803                           APT 1A
                                                                                   BRIGHTWATERS NY 11718



KATHERINE SMITH                         KATHERINE STAZZONE                         KATHERINE SULLIVAN
912 JAMES DRIVE                         515 OVINGTON AVE                           115 GENOVA COURT
NEWPORT NEWS VA 23605                   APT 3H                                     FARMINGDALE NY 11735
                                        BROOKLYN NY 11209



KATHERINE VANIK                         KATHERINE WITENKO                          KATHERINE WOOLFOLK
7914 COLCHESTER CT.                     411 W. FULLERTON PKWY #1406W               13 BRANDON ROAD
PASADENA MD 21122                       CHICAGO IL 60614-2849                      NEWPORT NEWS VA 23601




KATHIE BOZANICH                         KATHIE VOTAW                               KATHLEEN MCGRATH
9452 LEILANI DR                         456 E 19TH STREET                          TERRANCE E LEONARD
HUNTINGTON BEACH CA 92646               COSTA MESA CA 92627                        100 WEST MONROE
                                                                                   SUITE 1310
                                                                                   CHICAGO IL 60603


KATHLEEN BADE                           KATHLEEN BEIRIGER                          KATHLEEN BENNETT
9823 KIKA COURT                         1243 BRANDYWINE                            60 PAWNEE DRIVE
SAN DIEGO CA 92129                      MUNSTER IN 46321                           COMMACK NY 11725




KATHLEEN BONDI                          KATHLEEN BOST                              KATHLEEN BOYLE
5424 ERLANGER ROAD                      4760 W BROWARD BLVD                        10350 S SPAULDING
KENNER LA 70065                         PLANTATION FL 33317                        CHICAGO IL 60655




KATHLEEN BROKHAUSEN                     KATHLEEN BUCHER                            KATHLEEN BUTTON
8952 CARDINAL AVENUE                    323 TYLER AVE                              2820 SHARON RD
FOUNTAIN VALLEY CA 92708                MILLER PLACE NY 11764                      JARRETTSVILLE MD 21084




KATHLEEN BYRD                           KATHLEEN CASEY                             KATHLEEN CEI
20 MINNEHAHA CIRCLE                     3205 GILBERT ST.                           149 NICOLL STREET
MAITLAND FL 32751                       AUSTIN TX 78703                            APT. #2
                                                                                   NEW HAVEN CT 06511



KATHLEEN CELER                          KATHLEEN CLELLAND                          KATHLEEN CONRAD
1615 S HIGHLAND                         15149 CHAUMONT STREET                      2317 HASTINGS DRIVE
BERWYN IL 60402                         LAKE ELSINORE CA 92530                     PLAINFIELD IL 60544




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KATHLEEN COOK                           KATHLEEN CORCORAN                          KATHLEEN COSTA
4334 MAIN STREET                        18 SALLY DRIVE                             40 TANNERY ROAD
WHITEHALL PA 18052                      SOUTH WINDSOR CT 06074                     SOUTHWICK MA 01077




KATHLEEN CROSS                          KATHLEEN CROUSE                            KATHLEEN DALY
1029 THICKET WYND                       16 STONEWAY PLACE                          36 WHIPPOORWILL ROAD
VIRGINIA BEACH VA 23455                 NOTTINGHAM MD 21236                        QUEENSBURY NY 12804




KATHLEEN DAVIES                         KATHLEEN DELAPP                            KATHLEEN DIAMOND
1941 NE 2ND AVE                         143 KNAPPS HIGHWAY                         1442 BALDWIN BLVD
POMPANO BEACH FL 33064                  FAIRFIELD CT 06825                         BAY SHORE NY 11706




KATHLEEN DINEEN                         KATHLEEN EAGER                             KATHLEEN EUBANKS
2916 MALDIVE COURT                      260-53 75 AVE                              3305 N 151ST DRIVE
DELTONA FL 32738                        GLEN OAKS NY 11004                         GOODYEAR AZ 85395




KATHLEEN FREED                          KATHLEEN GEAREY                            KATHLEEN GERVASIO
8 TORREYPINE LANE                       61 NORWICH STREET                          17 DELFT AVENUE
MEDFORD NY 11763                        HUNTINGTON STATION NY 11746                NORTH FORT MEYERS FL 33903-2120




KATHLEEN GOSNELL SEILER                 KATHLEEN GRAHAM HEADLY                     KATHLEEN GRIFFIN
520 MERIDIAN TERRACE                    18153 ZION COURT                           10835 S. LAVERGNE
LOS ANGELES CA 90042                    FOUNTAIN VALLEY CA 92708                   OAK LAWN IL 60453




KATHLEEN GUZLEY                         KATHLEEN H WOOLSON                         KATHLEEN HAINES
1023 CLEVELAND STREET                   55 VICTORIA LANE                           2400 E LAS OLAS BLVD
ALLENTOWN PA 18103                      SIERRA MADRE CA 91024                      PBM 373
                                                                                   FORT LAUDERDALE FL 33301



KATHLEEN HAMMANN                        KATHLEEN HENSLEY                           KATHLEEN HOULIHAN
1008 SW 18 COURT                        33209 BEACH VIEW DRIVE                     433 N. MONROE STREET
FORT LAUDERDALE FL 33315                LEESBURG FL 34788                          HINSDALE IL 60521




KATHLEEN HUGHES                         KATHLEEN HUNT                              KATHLEEN JANCZAK
P. O. BOX 5948                          33 WEST AVENUE                             3600 NORTHWAY DRIVE
CHICAGO IL 60680-5948                   WEST SAYVILLE NY 11796                     BALTIMORE MD 21234




KATHLEEN KELLY PHOTO                    KATHLEEN KEMERLY                           KATHLEEN KERNICKY
14 EAGLES NEST DR                       1198 BETSY ROSS PLACE                      9336 NW 8TH CIRCLE
SCARBOROUGH ME 04074                    BOLINGBROOK IL 60490                       PLANTATION FL 33324




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KATHLEEN KERR                         KATHLEEN KRIES                             KATHLEEN LAMPHER
29 WILDWAY                            6923 MONROE AVENUE                         5024 DOMINGUEZ RANCH ROAD
BRONXVILLE NY 10708                   HAMMOND IN 46324-1937                      YORBA LINDA CA 92887




KATHLEEN LORETTA                      KATHLEEN LUDWIG                            KATHLEEN M SWEENEY
2100 CYPRESS STREET                   12 OAKWOOD DRIVE                           11 CIRCLE LANE
WANTAGH NY 11793                      SOUTH GLENS FALLS NY 12803                 BAY SHORE NY 11706




KATHLEEN MAIER                        KATHLEEN MANILLA                           KATHLEEN MANTEGNA
401 E ONTARIO                         1654 WEST SURF STREET                      2711 WOODSDALE AVE
1409                                  CHICAGO IL 60657                           BALTIMORE MD 21214
CHICAGO IL 60611



KATHLEEN MARCONI                      KATHLEEN MARINO                            KATHLEEN MARTOCCI
586 N. SYCRACUSE AV                   79 BEECHER ROAD                            41 LUDLOW WAY
MASSAPEQUA NY 11758                   NORTH BABYLON NY 11703                     OAKDALE NY 11769




KATHLEEN MATANO                       KATHLEEN MATTHEU                           KATHLEEN MCCABE
103 UNCAS STREET                      1627 MORSE ROAD                            331 WEST GOETHE
NESCONSET NY 11767                    FOREST HILL MD 21050                       CHICAGO IL 60610




KATHLEEN MCDONALD TOMPKIN             KATHLEEN MCGLADE                           KATHLEEN MCGUINNESS
1913 GRESHAM CIRCLE                   2004 BLUE BARN ROAD                        1164 MADIA STREET
#C                                    OREFIELD PA 18069                          PASADENA CA 91103
WHEATON IL 60187



KATHLEEN MCKULA                       KATHLEEN MCLANE                            KATHLEEN MEDINA
175 WALLENS HILL RD                   5102 GARY DRIVE                            2370 SECOND AVENUE
WINSTED CT 06098                      EMMAUS PA 18049                            APT # 4F
                                                                                 NEW YORK NY 10035



KATHLEEN MEGAN                        KATHLEEN MONAHAN                           KATHLEEN NEWELL
PO BOX 46                             408 BUCKINGHAM DRIVE                       4576 FOOTHILL DRIVE
MIDDLE HADDAM CT 06456                NORTHAMPTON PA 18067                       SHINGLE SPRINGS CA 95682




KATHLEEN NIERVA                       KATHLEEN O'BRIEN                           KATHLEEN O'HARA
410 WEST BRIAR PLACE                  1422 THIRD AVENUE                          642 N. RIDGELAND
UNIT 2E                               APT 3C                                     OAK PARK IL 60302
CHICAGO IL 60657                      NEW YORK NY 10028



KATHLEEN O'HARE                       KATHLEEN O'MALLEY                          KATHLEEN O'ROURKE
3700 SOUTH SEPULVEDA BLVD.            531 WEST MELROSE                           132 WOODSIDE GREEN
APT 346                               APT 2E                                     APT. #3D
LOS ANGELES CA 90034                  CHICAGO IL 60657                           STAMFORD CT 06905




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KATHLEEN PAPASIAN                      KATHLEEN PARISH                            KATHLEEN PELLEGRINO
1262 TROUT BROOK DRIVE                 28572 JAEGER DRIVE                         9410 POINCIANA PL
WEST HARTFORD CT 06119                 LAGUNA NIGUEL CA 92677                     #310
                                                                                  FORT LAUDERDALE FL 33324



KATHLEEN QUINN                         KATHLEEN REYNOLDS                          KATHLEEN RHAMES
330 SPRING LAKE TERRACE                5830 MIRIAM DR.                            505 S. WINDSOR BLVD.
ROSWELL GA 30076                       ELDERSBURG MD 21784                        LOS ANGELES CA 90020




KATHLEEN SCHAGER                       KATHLEEN SERGENT                           KATHLEEN SEVERINO
1141 EAST PADDOCK DRIVE                2451 GOLF RIDGE CIRCLE                     115 BROOKSITE DRIVE
PALATINE IL 60074                      NAPERVILLE IL 60563                        SMITHTOWN NY 11787




KATHLEEN SIMMONS                       KATHLEEN SPRINKLE                          KATHLEEN STRANZL
237 33RD ST                            1205 LEXINGTON PKWY.                       117 S. 5TH STREET
LINDENHURST NY 11757                   APOPKA FL 32712                            COPLAY PA 18037




KATHLEEN TOLSTRUP                      KATHLEEN TROCCOLO                          KATHLEEN UHLER
1854 SANFORD RIDGE                     25 SAND HILL ROAD                          2130 TEMPLAR DRIVE
QUEENSBURY NY 12804                    BRISTOL CT 06010                           NAPERVILLE IL 60565




KATHLEEN WALTZ                         KATHLEEN WARNER                            KATHLEEN WATT
4310 N. A1A                            6129 WESTERN AVE.                          40 BAYLAWN AVENUE
APT 801                                WILLOWBROOK IL 60527                       COPIAGUE NY 11726
FORT PIERCE FL 34949



KATHLEEN WILLARD                       KATHLEEN WILSON                            KATHLEEN WRONA
83 FAITH CIRCLE                        268 38TH STREET                            4975 DEL MONTE AVE #219
MANCHESTER CT 06040                    LINDENHURST NY 11757                       SAN DIEGO CA 92107




KATHLEEN WYLIE                         KATHRYN ALLEN                              KATHRYN BALLARD
20 MAPLEWOOD RD                        361 KIWANIS CIRCLE                         3448 ROSEMARY AVE.
WEST BABYLON NY 11704                  CHULUOTA FL 32766                          GLENDALE CA 91208




KATHRYN BRYER                          KATHRYN BURNSIDE                           KATHRYN COLLINS
1678 FENIMORE ROAD                     925 W. OAKDALE                             4959 VIRMAR STREET
HEWLETT NY 11557                       APT. #2F                                   FAIR OAKS CA 95628
                                       CHICAGO IL 60657



KATHRYN COOPER                         KATHRYN DELP DEW                           KATHRYN DOWNS
3020 DIKEWOOD CT                       474 CYPRESS                                428 3RD STREET NE
WINTER PARK FL 32792                   APT.#E                                     APT. 401
                                       LAGUNA BEACH CA 92651                      WASHINGTON DC 20002




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KATHRYN EADIE                         KATHRYN GARDNER                            KATHRYN GARRISON
903 W. 17TH STREET                    7737 TILGHMAN ST.                          4250 N MARINE DRIVE
SPACE # 37                            FULTON MD 20759                            APT #1735
COSTA MESA CA 92627                                                              CHICAGO IL 60613



KATHRYN GARRISON                      KATHRYN GOLDTHWAITE                        KATHRYN HIMSL
25791 KNOTTY PINE                     12 SUGGS LANE                              5127 W. HUTCHINSON
LAGUNA HILLS CA 92653                 HICKSVILLE NY 11801                        CHICAGO IL 60641




KATHRYN HOFFMAN                       KATHRYN HOTCHKISS                          KATHRYN JANICEK
3991 W. EASTMAN AVENUE                2014 ALLISON AVENUE                        5100 SUNSET DRIVE
DENVER CO 80236                       SPEEDWAY IN 46224                          PALATINE IL 60067




KATHRYN KILICHOWSKI                   KATHRYN LASKOWSKI                          KATHRYN LAUER WILLIAMS
3464 RUTGERS DRIVE                    4020 GALT OCEAN DR                         480 S. SECOND STREET
BETHLEHEM PA 18020                    UNIT 308                                   EMMAUS PA 18049
                                      FORT LAUDERDALE FL 33308



KATHRYN LISEK                         KATHRYN PEPPER                             KATHRYN ROMAN
1122 W. LUNT AVENUE                   301 N. SAN DIMAS CYN ROAD                  1057 HAWTHORN ROAD
APT. 4C                               APT #6                                     ALLENTOWN PA 18103
CHICAGO IL 60626                      SAN DIMAS CA 91773



KATHRYN SOUTH                         KATHRYN SWANSON                            KATHRYN VAULTER
2401 BRAND FARM DRIVE                 118 TOWER RD.                              331 EAST 50TH STREET
SOUTH BURLINGTON VT 05403             BARRINGTON IL 60010                        INDIANAPOLIS IN 46205




KATHRYN VERNON                        KATHRYN WOOLARD                            KATHRYN YOUNCE
241 E. 86TH ST.                       345 W. FULLERTON                           490 LOCK ROAD
9G                                    APT 2202                                   APT 234
NEW YORK NY 10028                     CHICAGO IL 60614                           DEERFIELD BEACH FL 33442



KATHY BERGEN RAFFETTO                 KATHY BURSTEIN                             KATHY C WILLIAMSON
5248 N. VIRGINIA AVE.                 2802 SW 6TH STREET                         317 S BRADFORD ST
CHICAGO IL 60625                      DELRAY BEACH FL 33445                      ALLENTOWN PA 18109




KATHY DENNIS                          KATHY ENDERS                               KATHY ESCOBAR
306 S LAWSONA BLVD                    775 GILEAD STREET                          4317 SAINT JONES COURT
ORLANDO FL 32801                      HEBRON CT 06248                            ELK GROVE CA 95758




KATHY GERARDI                         KATHY HAYES                                KATHY HENDERSON
107 PINE HILL AVENUE                  1101 LAVETA TERRACE #17                    38 STANDISH ROAD
APT. #3                               LOS ANGELES CA 90026                       APT. 1
STAMFORD CT 06906                                                                STAMFORD CT 06902




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KATHY JEAN WHITE                      KATHY JOSEPH                                KATHY KRISTOF MAGNUSON
32 LEO STREET                         2928 NW 6TH COURT                           905 GREEN LANE
QUEENSBURY NY 12804                   POMPANO BEACH FL 33069                      LA CANADA CA 91011




KATHY L MEYERS                        KATHY LAUGHLIN                              KATHY MANISTA
2423 S HIGHLAND AVENUE                2004 N 44 AVE                               248 HEDGEROW DRIVE
BERWYN IL 60402                       HOLLYWOOD FL 33021                          BLOOMINGDALE IL 60108




KATHY NONNEMAKER                      KATHY PYON                                  KATHY SKIPPER
8292 BLUEMOUNTAINHOUSE ROAD           2143 MONTROSE AVENUE                        P O BOX 272487
KEMPTON PA 19529                      UNIT 201                                    BOCA RATON FL 33427-2487
                                      MONTROSE CA 91020



KATHY STURGEON                        KATHY THOMSON                               KATHY VAN MULLEKOM
112 PUFFIN LANE                       1505 LYNNGROVE DR                           302 DAWSON DRIVE
WILLIAMSBURG VA 23188                 MANHATTAN BEACH CA 90266                    SEAFORD VA 23696




KATIE DANIELS                         KATIE GROLLER                               KATIE LEIMKUEHLER
5274 BLUE SKY DR                      12207 W. SECOND PLACE                       1706 W. BYRON
OREFIELD PA 18069                     APT 7-205                                   APT. #2
                                      LAKEWOOD, CO 80228                          CHICAGO IL 60613



KATIE O'HARA                          KATIE PETERMANN                             KATIE POWALSKI
905 W PINE CROFT LANE                 34 QUARRY DRIVE                             3842 BAY CLUB CIRCLE
LAKE FOREST IL 60045                  MILLERSVILLE PA 17551                       UNIT 203
                                                                                  KISSIMMEE FL 34741



KATIE SHANK                           KATIE THOMAS                                KATIE TOROS
45 N. QUEEN STREET                    214 W. 92ND STREET                          2810 SHEILA DRIVE
APT 2                                 APT 6A                                      APOPKA FL 32712
YORK PA 17403                         NEW YORK NY 10025



KATIE WHITMORE                        KATINA SMITH                                KATOPODIS, ANASTASIOS
4610 N KARLOV AVE                     7510 PARK PROMENDAE DR                      3043 100TH ST
CHICAGO IL 60630                      APT 2016                                    HIGHLAND IN 46322
                                      WINTER PARK FL 32792



KATRINA ENSIGN                        KATRINA GARLAND                             KATRINA RUNGE
1264 STANLEY STREET                   26 WILSON AVENUE                            8304 PORTOFINO DR.
NEW BRITAIN CT 06051                  SOUTH GLENS FALLS NY 12803                  #202
                                                                                  CHAMPIONS GATE FL 33896



KATRINA SKRAPITS                      KATRINA TEN                                 KATROY THOMPSON
1277 N COTTONWOOD RD                  701 WILBER PLACE                            743 BIG DALTON STREET
DANIELSVILLE PA 18038                 MONTEBELLO CA 90640                         LA PUENTE CA 91744




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KATTEN MUCHIN ROSENMAN LLP             KATTEN MUCHIN ROSENMAN LLP                 KATTIE WILLIAMS
1999 AVENUE OF THE STARS               525 W MONROE STREET SUITE 1900             1911 SOUTH 10TH STREET
SUITE 1400                             CHICAGO IL 60661-3693                      HAINES CITY FL 33844
LOS ANGELES CA 90067



KATULIS, BRIAN                         KATZ COMMUNICATIONS INC                    KATZ, BOB
7627 CODDLE HARBOR LANE                125 W 55TH ST                              6 ROWLAND AVENUE
POTOMAC MD 20854                       NEW YORK NY 10019-5369                     LEXINGTON MA 02421




KATZ, JEFFREY                          KATZ, LENA                                 KATZ, MINDA
455 N VAN NESS AVE                     8424A SANTA MONICA BLVD NO.171             3316 BRUSSELS AVENUE
LOS ANGELES CA 90004                   W HOLLYWOOD CA 90069                       COOPER CITY FL 33026




KATZ, STEVEN L                         KATZ, WILLIAM P                            KATZMANN, SUSAN MANLIN
11141 HURDLE HILL DR                   166 LINNMOORE ST                           26 SOUTHMOOR DR
POTOMAC MD 20854                       HARTFORD CT 06114                          ST LOUIS MO 63105




KATZOFF, HOWARD MARTIN                 KATZOWITZ, JOSHUA                          KAUFMAN & CANOLES, P.C.
26 NEPERAN ROAD                        2528 HACKBERRY ST                          HUNTER W. SIMS
TARRYTOWN NY 10591                     CINCINNATI OH 45206                        150 W. MAIN ST.
                                                                                  SUITE 2100
                                                                                  NORFOLK VA 23510


KAUFMAN & CANOLES, P.C.                KAUFMAN BROADCAST SERVICES CORP            KAUFMAN BROADCAST SERVICES CORP
MICHAEL A. BEVERLY                     1509 WASHINGTON AVE                        3655 OLIVE ST
150 W. MAIN ST.                        STE 620                                    ST LOUIS MO 63108
SUITE 2100                             ST LOUIS MO 63103
NORFOLK VA 23510


KAUFMAN, AMY                           KAUFMAN, CAROL L                           KAUFMAN, IRA
1221 W 3RD ST                          PO BOX 86105                               10335 MAVERICK ST
THE VISCONTI  APT 405                  LOS ANGELES CA 90086                       NEW PORT RICHEY FL 34654
LOS ANGELES CA 90017



KAUFMAN, IRWIN                         KAUFMAN,NORMA J                            KAUPERT, GLENN A
4830 FOX HUNT TRAIL                    51 FERNWOOD DR                             745 NORFOLK AVENUE
BOCA RATON FL 33487                    SAN FRANCISCO CA 94127                     WESTCHESTER IL 60154




KAUR, RAJWANT                          KAUSHIK MAKATI                             KAUSS, JIM
82-26 256TH STREET                     54 ROSER DRIVE                             364 NEWMAN CT
FLORAL PARK NY 11004                   GLASTONBURY CT 06033                       LAKE BLUFF IL 60044




KAVA, BRADLEY                          KAVANAGH, ANDREA                           KAVANAGH, ANNE
288 PERCH WAY                          1768 FLORIDA AVE NO.3                      825 REDWOOD LANE
APTOS CA 95003                         WASHINGTON DC 20009                        GLENVIEW IL 60025




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KAVANAGH, JOHANNE                       KAVANAUGH TRANSCRIPTIONS                   KAVANAUGH, LINDA
1079 SE 22ND AVE APT 2                  6180 GLAD RD                               102 ALTON RD
POMPANO BEACH FL 33062                  ADWORTH GA 30102                           STAMFORD CT 06906




KAVANAUGH, ROBERT H                     KAVEH RAHMANIAN                            KAVITA DASWAM INC
3166 EAGLES LANDING CIRCLE WEST         220 SAN VICENTE BLVD                       1 SADDLEBOW RD
CLEARWATER FL 33761-2817                APT#PH-106                                 BELL CANYON CA 91307
                                        SANTA MONICA CA 90402



KAVITA VARMA-WHITE                      KAVOURIAS, IRENE                           KAWAL SINGH
626 108TH AVE SE                        629 12TH AVE                               2037 VICTORIA FALLS DRIVE
BELLEVUE WA 98004                       BETHLEHEM PA 18018                         ORLANDO FL 32824




KAWALERSKI, SUSAN                       KAWANIS YATES                              KAWARATANI, STEVE
6830 GRATTAN STREET                     3341 KAPOT TERR                            850 WENDT TERR
CORAL GABLES FL 33146                   MIRAMAR FL 33025                           LAGUNA BEACH CA 92651




KAWATA, KELLY NOBUKO                    KAY GEE SIGN AND GRAPHICS                  KAY HOLLAND
1936 PORT BRISTOL CIRCLE                200 SOUTHBRIDGE ST                         131 STARK STREET
NEWPORT BEACH CA 92660                  AUBURN MA 01501                            NORTHAMPTON PA 18067




KAY KUDUKIS                             KAY MURRAY                                 KAY VALO-FADDIS
7220 HOLLYWOOD BLVD                     4720 CENTER BOULEVARD                      3515 SHEFFIELD AVENUE
APT. 110                                APT. #1909                                 LOS ANGELES CA 90042
LOS ANGELES CA 90046                    LONG ISLAND CITY NY 11109



KAYCE ATAIYERO                          KAYE ALPERTO                               KAYE, DAVID
2609 N. LAWNDALE AVENUE                 2140 N. CLAREMONT                          2633 AIKEN AVENUE
APT. 2                                  CHICAGO IL 60647                           LOS ANGELES CA 90064
CHICAGO IL 60647



KAYEMA INC                              KAYEMA INC                                 KAYLA KAHL
OS 600 OLD YORK NO.1B                   OS 600 OLD YORK RD 1D                      2109 PINEY BRANCH CIRCLE
ELMHURST IL 60126                       ELMHURST IL 60126                          HANOVER MD 21076




KAYLA LANDREY                           KAYLA YI                                   KAYS, MILDRED
11049 OAK SPUR COURT                    2006 VALLEY VIEW COURT                     521 NORMAN ST
APT. F                                  BEL AIR MD 21015                           NAZARETH PA 18042
ST. LOUIS MO 63146



KAYS, MILDRED                           KAZA AZTECA AMERICA INC                    KAZAN, DANIEL G
521 NORMAN STREET                       1139 GRAND CENTRAL AVE                     1715 FALLING LEAF LANE
NAZARETH PA 18064                       GLENDALE CA 91201                          NORTHBROOK IL 60062




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KAZANJIAN, GARY                       KAZIMIR, GINA                               KAZMARK ENTERTAINMENT
2010 SHORT DRV.                       125 WILLIAM ST                              14320 VENTURA BLVD.
HANFORD CA 93230                      BEL AIR MD 21014                            SUITE 601
                                                                                  SHERMAN OAKS CA 91423



KB PRODUCTIONS INC                    KBP MEDIA GROUP INC                         KC ENTERPRISES INC
722 E SOUTH ST                        155 ASHLEY DR                               PO BOX 156
PLANO IL 60545                        FRANKLINVILLE NJ 08322                      COTTONDALE AL 35453




KCNC TV                               KCNC TV                                     KCRA TV
1044 LINCOLN ST                       21249 NETWORK PL                            3 TELEVISION CIRCLE
DENVER CO 80203                       CHICAGO IL 60673-1249                       SACRAMENTO CA 95814




KCRA TV                               KCRA TV                                     KE SHENG
DEPT 05983                            WELLS FARGO LOCKBOX                         3700 JOYEIN COURT
PO BOX 39000                          3440 WALNUT AVENUE BLGD A 2ND FLOOR         ELLICOT CITY MD 21042
SAN FRANCISCO CA 94139-5983           377676321
                                      FREMONT CA 94538


KEANE, SOPHIE                         KEARNEY, CHARLES                            KEARNEY, RYAN JOSEPH
6312 DEPARTED SUNSET LANE             203 RIVER RD                                67 W 109TH ST APT 1B
COLUMBIA MD 21044                     NEWPORT NEWS VA 23601                       NEW YORK NY 10025




KEATING III, HERBERT J                KEATING MAGEE INC                           KEATING MAGEE INC
18 GRENNAN RD                         600 DECATUR ST 5TH FLR                      DIVISION OF KEATING MAGEE & ASSOC
WEST HARTFORD CT 06107                NEW ORLEANS LA 70130                        600 DECATUR ST 5TH FLR
                                                                                  NEW ORLEANS LA 70130



KEATING, RAYMOND J                    KECIA BELL                                  KECIA COBBS
PO BOX 576                            7905 NW 20TH STREET                         1089 SMITH STREET
MANORVILLE NY 11949                   MARGATE FL 33063                            UNIONDALE NY 11553




KECIA PLATT                           KECK, DAVID L                               KECK, THOMAS M
917 PLEASURE ROAD                     362 SO CANTERBURY RD                        828 MARYLAND AVE
LANCASTER PA 17601                    CANTERBURY CT 06331                         SYRACUSE NY 13210




KEDEST KASSAHUN                       KEDJIDJIAN, CATHERINE                       KEECH, JILL K
3424 WEST CULLOM                      1328 WOODLAND DR                            337 GREEN SPRING COURT
UNIT #2                               DEERFIELD IL 60015                          HAMPTON VA 23669
CHICAGO IL 60618



KEEDLE, JAYNE                         KEEFE AUSTIN                                KEEFER JR, JEFFREY
229 NIANTIC RIVER RD                  6163 SOUTH MICHIGAN                         111 TERRI BETH PL
WATERFORD CT 06385                    1ST FLR                                     NEWPORT NEWS VA 23602
                                      CHICAGO IL 60637




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KEEFER, CANDACE Y                       KEEGAN, EDWARD                             KEEL, MICHAEL
PO BOX 1861                             2140 LINCOLN PW NO.207                     2 GREENE ST    5TH FLR
HAYES VA 23072                          CHICAGO IL 60614                           NEW YORK NY 10013




KEEL, MICHAEL                           KEELIN DALY                                KEELY SUGDEN
42 GREENE ST    5TH FLR                 4009 CONGRESS STREET                       150 EAST CORNELL AVENUE
NEW YORK NY 10013                       FAIRFIELD CT 06824                         ENGLEWOOD CO 80113




KEEN, SHANE                             KEENA HARRIS                               KEENA TAPE LLC
1335 W GORDAN ST                        207 CASSATA DRIVE                          1245 VIRGINIA ST
ALLENTOWN PA 18102                      COPIAGUE NY 11726                          ELIZABETH NJ 07208




KEENAN BARNES                           KEENAN GROUP INC                           KEENAN GROUP INC
6523 28TH STREET                        155 KEENAN COURT                           208 REN-MAR DRIVE
BERWYN IL 60402                         PLEASANT VIEW TN 37146                     PLEASANT VIEW TN 37146




KEENAN GROUP INC                        KEENAN GROUP INC                           KEENAN GROUP INC
ATTN: SUZETTE                           PO BOX 458                                 PO BOX 458 Q
208 REN-MAR DRIVE                       PLEASANT VIEW TN 37146                     PLEASANT VIEW TN 37146
.
PLEASANT VIEW TN 37146


KEENAN SMITH                            KEENAN, NANCY                              KEENAN, STEFANIE
2650 LAKESHORE DRIVE                    601 E WALNUT ST                            1417 N CATALINA STREET
UNIT 1206                               PERKASIE PA 18944                          LOS ANGELES CA 90027
RIVIERA BEACH FL 33404



KEENAN, STEFANIE                        KEENE, LINDA EILEEN                        KEENE, PAUL D
W STUDIO NYC/LA                         902 IMPERIAL COURT                         40 BRIGHTWOOD LN
1417 N CATALINA ST                      LANSDOWNE MD 21227                         WEST HARTFORD CT 06110
LOS ANGELES CA 90027



KEENEY STREET SCHOOL PTA                KEEPER PHOTOS INC                          KEEPER PHOTOS INC
179 KERNEY STREET                       2103 N HUDSON NO.1N                        9614 LOWELL AVE
MANCHESTER CT 06040                     CHICAGO IL 60614                           SKOKIE IL 60076




KEEPNEWS, JAMES                         KEER, ANDREW                               KEESHA RAINEY
181 VAN WINKLE AVE                      101 E PHILLIPS ST                          3633 W GIRENSHAW
JERSEY CITY NJ 07306                    COALDALE PA 18218                          CHCAGO IL 60624




KEESHA RICHARDSON                       KEEVAN KEYES                               KEGLER, PHILIP
5259 HOLLY SPRINGS DR. W                9401 ROBERTS DRIVE                         3725 EL CAMINO CT
INDIANAPOLIS IN 46254                   APT 27B                                    LARGO FL 33771
                                        ATLANTA GA 30350




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KEH, ANDREW                              KEHOE, MARIE                               KEHOE, SARAH
10 CITY PLACE NO 20 B                    136 MEADOW ST                              4730 BEN AVE NO.24
WHITE PLAINS NY 10601                    GARDEN CITY NY 11530                       VALLEY VILLAGE CA 91607




KEHS, RANDY T                            KEIDRA MALVEAUX                            KEIKO MORRIS
8276 LYON VALLEY RD                      19606 CYPRESS BOUGH DR.                    953 AMSTERDAM AVENUE
NEW TRIPOLI PA 18066                     KATY TX 77449                              APT. 5C
                                                                                    NEW YORK NY 10025



KEIL, CARL D                             KEILLOR, GARRISON                          KEILLOR, GARRISON
7644 SIMM AVE                            611 FRONTENAC PLACE                        611 FRONTENAC PLACE
ORLANDO FL 32812                         C/O KAY GORNICK                            SAINT PAUL MN 55104
                                         SAINT PAUL MN 55104



KEISER, VANESSA                          KEISHA JOHNSON                             KEISHA PEARSON
413 N 4TH ST                             846 WOODFIELD ROAD                         3030 EAST MONUMENT STREET
ALLENTOWN PA 18102                       WEST HEMPSTEAD NY 11552                    BALTIMORE MD 21205




KEITH ALLEN                              KEITH AMATO                                KEITH BAILEY
2635 PROSPECT AVENUE                     33 DANDELION RD                            2046 S SALIDA STREET
#4                                       ROCKY POINT NY 11778                       AURORA CO 80013
ALLENTOWN PA 18103



KEITH BALABON                            KEITH BARRY                                KEITH BELDEN
11534 SOUTH KNOX                         20 ARROWHEAD DRIVE                         1408 SPRING RIDGE DR
ALSIP IL 60803                           SHIRLEY NY 11967                           WINTER GARDEN FL 34787




KEITH BOYER                              KEITH BRIDE                                KEITH BUTTELMAN
1000 S. SEMORAN BLVD.                    11804 112TH AVE CT E                       29935 N. VIOLET HILLS DR.
#815                                     PUYALLUP WA 98374                          SANTA CLARITA CA 91351
WINTER PARK FL 32792-5570



KEITH CHERNOW                            KEITH CIBULSKI                             KEITH CLAUNCH PHOTOGRAPHY INC
12 MARLON AVE                            4716 LAKE COMO AVE.                        5049 N AVERS AVE
BETHPAGE NY 11714                        METAIRIE LA 70006                          CHICAGO IL 60625




KEITH CLAXTON                            KEITH COVILLE                              KEITH DAVIS
5826 N. RIDGE                            1606 FINLEY AVE.                           215 WOODBURN DRIVE
APT 3N                                   APOPKA FL 32703                            HAMPTON VA 23664
CHICAGO IL 60660



KEITH DEBOURG                            KEITH DENSON                               KEITH DEWEESE
235 WEST MAIN STREET                     28024 EAGLE PEAK AVENUE                    1353 WEST GREENLEAF AVENUE
STAMFORD CT 06902                        CANYON COUNTRY CA 91351                    1F
                                                                                    CHICAGO IL 60626




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KEITH FERGUSON                         KEITH FITZSIMMONS                          KEITH FLOWERS
7006 NW 81ST PLACE                     171 BRAXTON WAY                            219 WEST STREET
TAMARAC FL 33321                       GRAYSLAKE IL 60030                         ALLENTOWN PA 18102




KEITH FUNAKOSHI                        KEITH GATCHEL                              KEITH GROLLER
1736 WILLOWSPRING DRIVE NORTH          4541 BEACON STREET                         10 EAST GREENLEAF STREET
ENCINITAS CA 92024                     CHICAGO IL 60640                           EMMAUS PA 18049




KEITH HAHN                             KEITH HERBERT                              KEITH HUTCHINS
102 ALDEN AVENUE                       404 CLINTON AVE                            955 N DAMATO DR
WARRENSBURG NY 12885                   BROOKLYN NY 11238                          COVINA CA 91724




KEITH KAEPPEL                          KEITH KIELTY                               KEITH KOHN
1029 HOWERTOWN ROAD                    72 BUNKER HILL ROAD                        724 COQUINA COURT
CATASAUQUA PA 18032                    FREEHOLD NJ 07728                          ORLANDO FL 32807




KEITH KUEKER                           KEITH LEWIS                                KEITH LOPEZ
503 RELIANCE CT.                       900 MICKLEY ROAD                           79 HEMPSTEAD AVENUE
OSWEGO IL 60543                        VT-3                                       ROCKVILLE CENTRE NY 11570
                                       WHITEHALL PA 18052



KEITH MACDONALD                        KEITH MAZZA                                KEITH MC CRACKEN
180 WATER OAK DRIVE                    13 MELANNI PLACE                           175 B E. 22ND STREET
PONTE VEDRA FL 32082                   EAST ISLIP NY 11730                        COSTA MESA CA 92627




KEITH MCFARLAND                        KEITH MEISEL                               KEITH MICKLUS
5225 EAST PROSPECT ROAD                1910 WOODSIDE AVENUE                       851 POPLAR ROAD
YORK PA 17406                          HALETHORPE MD 21227                        HELLERTOWN PA 18055




KEITH MILLER                           KEITH MONAHAN                              KEITH OWENS
6314 AUBURN LANE                       3123 STEPHENS CREEK LANE                   212 BRIDGEVIEW ROAD
HAMPTON VA 23666                       SUGAR LAND TX 77478                        BALTIMORE MD 21225




KEITH PAULK                            KEITH POTTS                                KEITH REH
7222 SIENNA RIDGE LANE                 153 DEVON ROAD                             22241 CRANE STREET
LAUDERHILL FL 33319                    WILLIAMSBURG VA 23188                      LAKE FORREST CA 92630




KEITH RILEY                            KEITH SALOMON                              KEITH SELLMAN
5100 S. CORNELL                        55 E 14TH STREET                           7603 SPRUCE RD
APT #606                               # 105                                      BALTIMORE MD 21222
CHICAGO IL 60615                       BOCA RATON FL 33432




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KEITH SIMMONS                          KEITH STEWART                              KEITH SWINDEN
84 BANK ST                             640 W WAVELAND AVE #4D                     35119 TIMBER DR
VALLEY STREAM NY 11580                 CHICAGO IL 60613-4242                      WARRENVILLE IL 60555




KEITH THOMPSON                         KEITH THURSBY                              KEITH VOSS
36 MORNING GLORY DRIVE                 14 SARATOGA                                501 WEST HAWTHORNE BOULEVARD
MIDDLETOWN CT 06457                    IRVINE CA 92620                            MUNDELEIN IL 60060




KEITH WALSH                            KEITH WIGGINS                              KEITH WILLIAMS
911 SOUTH COUNTRY LANE                 90 GIRARD AVE.                             14241 KENWOOD
MOUNT PROSPECT IL 60056                HARTFORD CT 06105                          DOLTON IL 60419




KEITH WILSON                           KEITH YOUNGE                               KEITH, JACQUELYN
10479 CANYON VISTA ROAD                2117 MELVIN ST                             5350 NEWCOMBE ST
MORENO VALLEY CA 92557                 PHILADELPHIA PA 19131                      JACKSONVILLE FL 32209




KEITH, MARANASUE                       KEITHLEY, ARIANNE                          KEITT, WYATT R
4856 AMOS ST                           400 ARBOETUM WAY APT 10                    67-46 161 ST
JACKSONVILLE FL 32209                  NEWPORT NEWS VA 23602                      FLUSHING NY 11365




KEIZER, GARRET                         KELBURN ENGINEERING                        KELEMEN, CAROLYN
770 KING GEORGE FARM RD                6545 N OLMSTED AVENUE                      10291 WILDE LAKE TERRACE
SUTTON VT 05867                        CHICAGO IL 60631                           COLUMBIA MD 21044




KELHART, MICHAEL A                     KELI BUZZARD                               KELLAM, LYDIA
1416 BROOK AVE                         509 NE 50TH COURT                          44 MANTER ST
ALLENTOWN PA 18103                     POMPANO BEACH FL 33064                     BROOKLYN NY 11206




KELLAMS, KAREN                         KELLAN CONNOR                              KELLEE VESSEY
1616 MAIN ST                           6012 MANTON AVE.                           13401 BOW PLACE
EVANSTON IL 60202                      WOODLAND HILLS CA 91367                    SANTA ANA CA 92705




KELLEHER, JIA S                        KELLEHER, PATRICK E                        KELLER GROUP LTD
19 FRANKLIN COURT WEST                 1230 BLACKHAWK DR.                         7900 W SNOQUALMIE RD NE
GARDEN CITY NY 11530                   ELGIN IL 60120                             CARNATION WA 98104




KELLER, CRAIG                          KELLER, DAVID LLOYD                        KELLER, DOUGLAS A
4724 N RACINE AVE NO.3E                10020 STRAFFORD OAK COURT NO.919           4655 SPACEWALK WAY
CHICAGO IL 60640                       TAMPA FL 33624                             COLORADO SPRINGS CO 80916




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KELLER, JUDITH A                        KELLER, JULIA E                            KELLER, WILLIAM
634 SPRING ST                           P.O. BOX 164                               5115 STONE TERRACE DR
BETHLEHEM PA 18018                      WEST CAMP NY 12490                         WHITEHALL PA 18052




KELLER, WILLIAM                         KELLER, WINDY                              KELLERMANN, DONALD
7916 W. HILLSIDE ROAD ROUTE 3           910 SPRING CREEK WY                        2750 UNICORN LANE
CRYSTAL LAKE IL 60012                   DOUGLASVILLE GA 30134                      WASHINGTON DC 20015




KELLERMANN, DONALD S.                   KELLETT, MARCHELLE                         KELLEY CARTER
2750 UNICORN LN                         876 GALT TER                               435 N. MICHIGAN AVE.
WASHINGTON DC 20015                     DELTONA FL 32738                           CHICAGO IL 60611




KELLEY DUBOIS                           KELLEY HOSKINS                             KELLEY KOORS
4544 CHEWS VINEYARD                     8424 JANUARY                               4434 KENNETH COURT
ELLICOTT CITY MD 21043                  ST. LOUIS MO 63134                         TITUSVILLE FL 32780




KELLEY, ALLISON                         KELLEY, BENEDICT                           KELLEY, DEXTER
242 GREENBRIAR DR                       1050 URBAN ST                              6103 SW 38TH ST NO.3
CHESHIRE CT 06410                       GOLDEN CO 80401                            MIRAMAR FL 33023




KELLEY, JASON E                         KELLEY, MARCUS                             KELLEY, MASON
10592 MARTIS VALLEY RD                  1634 S AUSTIN NO.2                         811 SW 10TH TERR
TRUCKEE CA 96161                        CICERO IL 60804                            FORT LAUDERDALE FL 33315




KELLEY, RUTH                            KELLEY,BRAD                                KELLEY,BRAD
27500 OAK SPRING CANYON RD              1329 E SHEENA DR                           20608 N 61ST AV
CANYON COUNTRY CA 91387                 PHOENIX AZ 85022                           GLENDALE AZ 85308




KELLI CODE                              KELLI DEVENEY-CHANDLER                     KELLI MURRAY
2133 WILSON CREEK CIRCLE                22 AUBURN PLACE                            0N117 STANLEY STREET
AURORA IL 60503                         GLENS FALLS NY 12801                       WINFIELD IL 60190




KELLI SULLIVAN                          KELLIE JEAN LOWE                           KELLIE MACMULLAN
21613 VICKY AVENUE                      2851 ROLLING HILLS DRIVE                   5461 FULLERTON CIRCLE
TORRANCE CA 90503                       APT.# 68                                   HIGHLANDS RANCH CO 80130
                                        FULLERTON CA 92834



KELLIE MANIER                           KELLOG, ALEX P                             KELLOGG, CAROLYN
2003 PLEASANT VIEW DRIVE                1610 HARBAR DR                             3355 WILSHIRE BLVD NO.309
ELIZABETHTOWN KY 42701                  ANN ARBOR MI 48105                         LOS ANGELES CA 90010




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KELLUM, GWENDOLYN                       KELLY -ANNE GINEO                          KELLY ANN KULAS
4189 VERSAILLES  APT G                  369 ADDISON ROAD                           9426 PARKWAY DR.
ORLANDO FL 32808                        GLASTONBURY CT 06033                       HIGHLAND IN 46322




KELLY ANTONCICH                         KELLY BARNICLE                             KELLY BARRETT
655 CROCKETT STREET                     10464 CANTERBURY                           70 WEST HURON ST
B405                                    WESTCHESTER IL 60154                       APT # 2309
SEATTLE WA 98109                                                                   CHICAGO IL 60610



KELLY BARRON                            KELLY BASSIN                               KELLY BENSON
416 PRAIRIE ST                          2712 MAYFIELD AVENUE                       1177 BRAMPTON PLACE
SPRING VALLEY IL 61362                  LA CRESCENTA CA 91214                      HEATHROW FL 32746




KELLY BRADY ADVERTISING                 KELLY BRADY ADVERTISING                    KELLY BRADY ADVERTISING
22924 LYONS AVE NO.106                  52 WEST 2950 NORTH                         9921 NORTH NEVADA
NEWHALL CA 91321                        PROVO UT 84604                             SPOKANE WA 99218




KELLY BRADY ADVERTISING                 KELLY BRADY ADVERTISING                    KELLY BRADY ADVERTISING
1522 N WASHINGTON NO.213                25 SOUTH ALTAMONT                          9921 N NEVADA STREET NO. 200
SPOKANE WA 99201                        SPOKANE WA 99202                           SPOKANE WA 99218




KELLY BREWINGTON                        KELLY CHRISTIANSEN                         KELLY CREWS INC
5713 JASON ST                           1990 ERVING CIRCLE                         1823 QUARTR HORSE DR.
CHEVERLY MD 20785                       #12106                                     WOODSTOCK MD 21163
                                        OCOEE FL 34761



KELLY DEWALT                            KELLY DONNELL                              KELLY DUEWEL
429 WILLOW CIRCLE                       1122 NAPOLEON AVENUE                       24W 724 BLACKSTONE CT.
APT C                                   APT. #2                                    NAPERVILLE IL 60540
ALLENTOWN PA 18102                      NEW ORLEANS LA 70115



KELLY ENTERPRISES INC                   KELLY ENTERPRISES INC                      KELLY ESPOSITO
4237 AIRLINE                            DBA WMKG TV 38                             150 WEST 16TH STREET
MUSKEGON MI 49444                       4237 AIRLANE ROAD                          DEER PARK NY 11729
                                        NORTON SHORES MI 49444



KELLY FEDERICO                          KELLY FITZPATRICK                          KELLY FOGO
2818 FERNOR STREET                      1207 EAST JEFFERSON STREET                 5151 SOUTH QUINTERO STREET
APT. 201                                ORLANDO FL 32801-2107                      CENTENNIAL CO 80015
ALLENTOWN PA 18103



KELLY FRYE                              KELLY GALLAGHER                            KELLY GARRETT
834 NW 110TH AVENUE                     2232 OAKRIDGE DRIVE                        110C DEER RUN DRIVE
PLANTATION FL 33324                     APT. #03                                   HUDSON FALLS NY 12839
                                        AURORA IL 60502




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KELLY GECEWICZ                        KELLY GERARDI                              KELLY HACKETT
2 MONMOUTH ST                         117 RIMBRAVE DRIVE                         1734 N. SEDGWICK
DEER PARK NY 11729                    GANSEVOORT NY 12831                        2F
                                                                                 CHICAGO IL 60614



KELLY HAGAN                           KELLY HARAMIS                              KELLY HARE
6314 WINSTON DRIVE                    554 BROADVIEW AVE.                         31 CONSTELLATION ROAD
WOODRIDGE IL 60517                    HIGHLAND PARK IL 60035                     LEVITTOWN NY 11756




KELLY HARE                            KELLY HILL                                 KELLY IV, TOM
1621 SW 127TH AVE.                    10736 JEFFERSON BLVD.                      351 W SCHUYKILL RD STE 10 NO.472
DAVIE FL 33325                        APT.#106                                   POTTSTOWN PA 19465
                                      CULVER CITY CA 90230



KELLY JR, PAUL R                      KELLY JR, THOMAS B                         KELLY JR, WILLIAM P
850 EAST 153RD COURT                  6N782 COLONEL BENNETT LN                   67 WOODS AVENUE
SOUTH HOLLAND IL 60473                ST CHARLES IL 60175                        ROCKVILLE CENTRE NY 11570




KELLY KLEMOLIN                        KELLY LATORRE                              KELLY LIVIERATOS
384 N ROGER ST                        96 ST GEORGE DR                            72 TRIPLE CROWN COURT
KIMBERLY WI 54136                     SHIRLEY NY 11967                           WINDSOR MILL MD 21244




KELLY LYNCH                           KELLY LYONS                                KELLY MATERA
1560 N. SANDBURG TERRACE              347 47TH STREET                            322 SO. 2ND STREET
#508                                  LINDENHURST NY 11757                       LINDENHURST NY 11757
CHICAGO IL 60610



KELLY MCCABE                          KELLY MEYER                                KELLY MUSICK
702 EAST BROADWAY                     9389 OAKLEAF TRAIL                         811 W. 15TH PLACE
MILFORD CT 06460                      HILLSBORO MO 63050                         #605
                                                                                 CHICAGO IL 60608



KELLY NEWS & ENTERTAINMENT            KELLY NEWS & ENTERTAINMENT                 KELLY O'BRIEN
8075 WEST THIRD STREET                KELLY NEWS & ENTERTAINMENT                 14 W. ELM STREET
#402                                  8075 WEST THIRD ST                         1207
LOS ANGELES CA 90048                  SUITE 402                                  CHICAGO IL 60610
                                      LOS ANGELES CA 90048


KELLY O'CONNOR                        KELLY O'DONNELL-PADILLA                    KELLY PALKA
2885 SW 22ND AVENUE                   2175 EAST 37 STREET                        215 NORTH PARKWOOD DRIVE
#107                                  BROOKLYN NY 11234                          CLIFTON PARK NY 12065
DELRAY BEACH FL 33445



KELLY PARKER                          KELLY PENRY                                KELLY PHILLIPS
4671 WARNER AVENUE                    3200 NORTH LAKE SHORE DRIVE                P. O. BOX 323
APT#132                               CHICAGO IL 60657                           BELLFLOWER CA 90707
HUNTINGTON BEACH CA 92649




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KELLY PULLIN                          KELLY RIZO                                 KELLY RIZZI
1315 N CENTRAL AVE                    111 S. MORGAN                              2394 CRAGMONT COURT
APT E                                 APT. #709                                  SIMI VALLEY CA 93065
GLENDALE CA 91202                     CHICAGO IL 60607



KELLY SCHIFFERT                       KELLY SCOTT                                KELLY SCOTT & MADISON INC
2928 OLD ROUTE 22                     921 MONTEREY ROAD                          35 EAST WACKER DRIVE
HAMBURG PA 19526                      SOUTH PASADENA CA 91030                    SUITE 1150
                                                                                 CHICAGO IL 60601-2193



KELLY SCOTT & MADISON INC             KELLY SERANSKY                             KELLY SERVICES INC
5515 PAYSPHERE CIRC                   808 TIVOLI CIRCLE                          PO BOX 31001-0422
CHICAGO IL 60674                      APT. 108                                   PASADENA CA 91110-0422
                                      DEERFIELD BEACH FL 33441



KELLY SERVICES INC                    KELLY SERVICES INC                         KELLY SERVICES INC
PO BOX 530437                         1212 SOLUTIONS CENTER                      999 W BIG BEAVER RD
ATLANTA GA 30353-0437                 CHICAGO IL 60677-1002                      TROY MI 48084




KELLY SERVICES INC                    KELLY SERVICES INC                         KELLY SERVICES INC
PO BOX 331179                         PO BOX 777 C9995                           PO BOX 820405
DETROIT MI 48266                      PHILIDELPHIA PA 19175-9995                 PHILADELPHIA PA 19182-0405




KELLY SIFUENTES                       KELLY STRODL                               KELLY STRONG
34 GERTHMERE DRIVE                    15821 QUARTZ STREET                        29 YOLE DRIVE
WEST HARTFORD CT 06110                WESTMINSTER CA 92683                       HUDSON FALLS NY 12839




KELLY SULLIVAN                        KELLY THOMPSON                             KELLY TIAO
3507 N RACINE #1W                     1914 DARLIN CIR.                           16616 WESTGATE AVENUE
CHICAGO IL 60657                      ORLANDO FL 32820                           CERRITOS CA 90703




KELLY TOON                            KELLY WILLIAMS                             KELLY ZECH
108 W. FOREST AVE                     2266 BELMONT AVE                           5921 KENMORE #3
ARCADIA CA 91006                      LONG BEACH CA 90815                        CHICAGO IL 60660




KELLY ZYDOR                           KELLY, ANNE S                              KELLY, ANNETTE
30 OAKDALE ROAD                       1008 FOSTER ST.                            4939 CARTWRIGHT AVE.
CENTERPORT NY 11721                   EVANSTON IL 60201                          NORTH HOLLYWOOD CA 91601




KELLY, BLAIR                          KELLY, BLAIR                               KELLY, DENISE M
107 GILMOUR AVE                       107 GILMOUR AVE                            11565 7TH LN N NO.1606
TORONTO ON M6R 3B2                    TORONTO ON M6R 3B5                         ST PETERSBURG FL 33716




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KELLY, DIANN CAMERON                   KELLY, DOROTHY                             KELLY, DWON
102 GALLOWS HILL ROAD                  28 FOX HOLLOW RD                           2122 S 9TH AVE
CORTLANDT MANOR NY 10567               WOODBURG NY 11797                          MAYWOOD IL 60153




KELLY, JOANNA                          KELLY, JOSEPH MICHAEL                      KELLY, KWESI
115 CEDAR ROAD                         5443 PRINCESS DRIVE                        931 RICH DR  APT NO.208
WALLINGFORD PA 19086                   BALTIMORE MD 21237                         DEERFIELD BEACH FL 33441




KELLY, MAURA A                         KELLY, MONTIES E                           KELLY, PATRICIA
518 HALSEY ST NO.2                     8750 ROYAL PALM BLVD NO.215                386 METROPOLITAN AVENUE
BROOKLYN NY 11233                      CORAL SPRINGS FL 33065                     BROOKLYN NY 11211




KELLY, ROBERTA C                       KELLY, ROSE                                KELLY, SAMANTHA KENWORTHY
2712 NW 47TH LN                        1794 NW 55TH AVE. # 203                    12700 MARYVALE COURT
LAUDERDALE LAKES FL 33313              LAUDERHILL FL 33313                        ELLICOTT CITY MD 21042




KELLY, SEAN                            KELLY, SEAN                                KELLY, STEPHEN
126 JACKMAN AVE                        200 EAST 11TH STREET                       5956 CEDAR FERN COURT
FAIRFIELD CT 06825                     APT 4B                                     COLUMBIA MD 21044
                                       NEW YORK NY 10003



KELLY, STEPHEN M                       KELLY, THOMAS F                            KELLY, TOM
708 CAMBRY DR                          508 EPSOM RD                               PO BOX 4719
BEL AIR MD 21015                       BALTIMORE MD 21204                         ROLLING BAY WA 98061




KELLY, WILLIAM                         KELLY,DETRON                               KELLY-ANNE SUAREZ
839 DARDEN DR                          9266 W. ATLANTIC BLVD APT 1031             1842 MANSFIELD STREET
NEWPORT NEWS VA 23608                  CORAL SPRINGS FL 33071                     HELLERTOWN PA 18055




KELLYLYNN QUEEN                        KELSEY DUFENDACH                           KELSEY PETERS
9010 BREEZEWOOD TR                     3730 HONY CREEK AVE                        2550 JUGTOWN ROAD
APT: 204                               ADA MI 49301                               MORRIS IL 60450
GREENBELT MD 20770



KELSEY RAGA                            KELSEY SANDBAKKEN                          KELSEY WILLAN
50 RUGGLES ROAD                        844 HEATHER GLEN CIRCLE                    132 S. PARKE STREET
SARATOGA SPRINGS NY 12866              LAKE MARY FL 32746                         ABERDEEN MD 21001




KELSEY, BRIDGET                        KELSY FLOWERS                              KELUM AMARASINGHE
1392 CEDAR GREEN                       5250 NW 73RD TERRACE                       104 ACRE LANE
STONE MOUNTAIN GA 30088                LAUDERHILL FL 33319                        HICKSVILLE NY 11801




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KELVIN ANDERSON                      KELVIN JACKSON                             KELVIN LIU
1528 N. LUNA                         2106 W. LUNT                               3119 SOUTH HALSTED
CHICAGO IL 60651                     CHICAGO IL 60645                           CHICAGO IL 60608




KELVIN SORRELL                       KEMENY, MADELEINE                          KEMMERER, BRUCE
615 MT. HOLLY STREET                 924 SHERMAN AVE                            312 LAFAYETTE ST
BALTIMORE MD 21229                   EVANSTON IL 60202                          TAMAQUA PA 18252




KEMNIC, CHRISTOPHER J                KEMP, JAMES A                              KEMP, WILLIAM D
4904 151ST STREET                    1917 SINALOA AVENUE                        7129 OWENSMOUTH AVE
OAK FOREST IL 60452                  ALTADENA CA 91001                          CANOGA PARK CA 91303




KEMPER KIRKPATRICK                   KEMPSTER, NORMAN                           KEN AHEARN
1134 W. FARWELL AVE.                 7505 DEMOCRACY BLVD                        3271 GATLIN DRIVE
UNIT #3E                             APT 114                                    VIERA FL 32955
CHICAGO IL 60626                     BETHESDA MD 20817



KEN BRODER                           KEN CHIN                                   KEN EVSEROFF
1250 10TH STREET                     6720 A 40TH AVENUE SOUTH                   155 DOVER STREET
#12                                  SEATTLE WA 98118                           BROOKLYN NY 11235
SANTA MONICA CA 90401



KEN GRIMES                           KEN HIVELY                                 KEN IRWIN
5940 COUNTY ROAD 165                 4119 MAGUIRE DR                            7215 HILLSIDE AVENUE
KAUFMAN TX 75142                     MALIBU CA 90265                            APT #17
                                                                                LOS ANGELES CA 90046



KEN MURRAY                           KEN SWOPE & ASSOCIATES INC                 KEN TOMCZAK
1541 N MARTEL #332                   135 BASS POINT RD                          243 DEERPATH DRIVE W
HOLLYWOOD CA 90046                   NAHANT MA 01908                            SCHERERVILLE IN 46375




KEN WESTERMANN                       KENAN, AMIR                                KENDAL GAIL GLENN
1424 N 51ST STREET                   8550 CASHIO ST APT NO.1                    237 KETTERING ROAD
SEATTLE WA 98103                     LOS ANGELES CA 90035                       DELTONA FL 32725




KENDAL LEE PATTERSON                 KENDALL BETHEA                             KENDALL COOPER
2768 DUNDEE COURT                    691 GREENBRIAR AVE                         7320 HAWTHORN AVENUE
CARLSBAD CA 92010                    APT. #H                                    UNTI # 203
                                     HAMPTON VA 23661                           HOLLYWOOD CA 90046



KENDALL, CONSTANCE                   KENDALL, JASON D                           KENDALL, JEANNETTE
603 S LAFAYETTE                      692 CHAUTAUGUA BLVD                        2630 TURF VALLEY ROAD
FRANKTON IN 46044                    PACIFIC PALLISADES CA 90272                ELLICOTT CITY MD 21042




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KENDALL, JOSHUA C                       KENDALL, MARK                              KENDIS GIBSON
58 SOUTH RUSSELL ST APT 4               1422 N PLEASANT AVE                        707 TENTH AVE
BOSTON MA 02114                         ONTARIO CA 91764                           #409
                                                                                   SAN DIEGO CA 92101



KENDRA FERWERDA                         KENDRA LANG                                KENDRA THURLOW
2050 PERRY STREET                       1717 GRANDE POINTE BLVD.                   75 MAIN STREET
APT. #3                                 APT. 25-107                                APT. #1
DENVER CO 80212                         ORLANDO FL 32839                           EASTHAMPTON MA 01027



KENDRICK COLIN                          KENDRICK ORIE                              KENDRICK, RALPH
9705 ROBINSON STREET                    10 NOLAN DR                                771 RIVERVIEW DRIVE
DYER IN 46311                           BLOOMFIELD CT 06002-2014                   JEKYLL ISLAND GA 31527




KENDRICK-MCCANN LP                      KENDRICK-MCCANN LP                         KENDRICK/MCCANN LP
RE: SANTA FE 12236 MCCANN DR            C/O T C COLLINS & ASSOCIATES               RE: SANTA FE 12236 MCCANN DR
C/O T C COLLINS & ASSOCIATES            3600 BIRCH ST SUITE NO.100                 3600 BIRCH ST., SUITE 100
3600 BIRCH ST SUITE NO.100              NEWPORT BEACH CA 92660                     NEWPORT BEACH CA 92660
NEWPORT BEACH CA 92660


KENDRICK/MCCANN LP                      KENDRICKS, JENNIFER                        KENDT, ROBERT
RE: SANTA FE 12236 MCCANN DR            1203 TIBARRON PKWY                         1033 1/2 N NEW HAMPSHIRE AVE
C/O T.C. COLLINS AND ASSOCIATES         SMYRNA GA 30080                            LOS ANGELES CA 90029
3600 BIRCH STREET, SUITE 100
NEWPORT BEACH CA 92660


KENDT, ROBERT                           KENDT, ROBERT                              KENDU DISTRIBUTION INC
1033 1/2 NEW HAMPSHIRE AVE              200 COURT ST      APT 3L                   3123 55TH CT     UNIT 51
LOS ANGELES CA 90029                    BROOKLYN NY 11201                          KENOSHA WI 53144




KENDU DISTRIBUTION INC                  KENEL JUSTIN                               KENER, ANDREW
ACCT NO.1023                            91-30 191ST STREET                         94 DUNBAR ROAD E
3123 55TH CT     UNIT 51                APT. 6N                                    PALM BEACH GARDENS FL 33418
KENOSHA WI 53144                        HOLLIS NY 11423



KENLEY, LEE                             KENN VENIT & ASSOCIATES                    KENNARD FRENKEL
30 BUTLER DR                            185 DANIEL RD                              104-20 68TH DRIVE
HAMPTON VA 23666                        HAMDEN CT 06517-2211                       A13
                                                                                   FOREST HILLS NY 11375



KENNEBEC JOURNAL                        KENNEDY GROUP                              KENNEDY GROUP
274 WESTERN AVE                         38601 KENNEDY PARKWAY                      PO BOX 931648
AUGUSTA ME 04330                        WILLOUGHBY OH 44094                        CLEVELAND OH 44193




KENNEDY'S                               KENNEDY, BRIDGET                           KENNEDY, CHRISTOPHER
PO BOX 815                              814 W HUBBARD    UNIT 4                    116 NW 9TH TER NO.311
109 WEST MIDWAY DR                      CHICAGO IL 60642                           HALLANDALE FL 33009
EULESS TX 76039




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KENNEDY, DANA                          KENNEDY, DAVID                             KENNEDY, EUGENE C
350 W 50TH ST NO.27C                   3227 HAWTHORNE BLVD                        1300 N LAKESHORE DR
NEW YORK NY 10019                      ST LOUIS MO 63104                          CHICAGO IL 60610




KENNEDY, EUGENE C                      KENNEDY, JOHN                              KENNEDY, JOHN F
1300 N LAKESHORE DR-15A                PETTY CASH CUSTODIAN                       1780 MARSTON PLACE
CHICAGO IL 60610                       633 N ORANGE AVE                           TALLAHASSEE FL 32308
                                       ORLANDO FL 32801



KENNEDY, JOSEPH A                      KENNEDY, KATHLEEN A                        KENNEDY, KATHRYN
1130 PINTO DRIVE                       2025 LAKEPOINTE DRIVE APT 3-H              635 ALIDA DRIVE
LA HABRA HEIGHTS CA 90631              LEWISVILLE TX 75057                        CARY IL 60013




KENNEDY, KIMBERLY                      KENNEDY, KRISTAN M                         KENNEDY, MELANIE
1029 NW 28TH AVE.                      1656 DARTMOUTH CT                          1029 NW 28TH AVE
FT LAUDERDALE FL 33311                 NAPERVILLE IL 60565                        FT. LAUDERDALE FL 33311




KENNEDY, PAUL M                        KENNEDY, ROBERT                            KENNEDY, SHANNON
409 HUMPHREY STREET                    2539 BEDFORD ST UNIT 38 O                  6476 MATHENY WAY
NEW HAVEN CT 06511                     STAMFORD CT 06905                          CITRUS HEIGHTS CA 95621




KENNEDY, TIMOTHY R                     KENNEDY,KAREN DE MILLE                     KENNEDY-SHAFFER, ALAN
2075 CHARLES DRIVE                     1351 N CRESCENT HTS BLVD NO.106            5133 GINGER COURT
HELLERTOWN PA 18055                    WEST HOLLYWOOD CA 90046                    WILLIAMSBURG VA 23188




KENNELLY, THERESA                      KENNETH ABBOTT                             KENNETH ACKERMAN
2217 NOYES ST                          1404 EAST 3RD STREET                       9218 AMBER OAKS WAY
EVANSTON IL 60201                      APT. #9                                    OWINGS MILLS MD 21117
                                       LONG BEACH CA 90802



KENNETH ALBERT                         KENNETH ALTIDOR                            KENNETH B CLOWNEY
205 HARTFORD AVE                       860 BEACH STREET                           5666 KAVON AVE.
NEWINGTON CT 06111                     LINDENHURST NY 11757                       BALTIMORE MD 21206




KENNETH BARKSDALE                      KENNETH BAUM                               KENNETH BAUTER
5849 SOUTH FRANCISCO AVENUE            7788 MANSFIELD HOLLOW RD                   614 15TH PLACE
APT# 1A                                DELRAY BEACH FL 33446                      APT 23C
CHICAGO IL 60629                                                                  KENOSHA WI 53140



KENNETH BENSINGER                      KENNETH BERGER                             KENNETH BLANEY
202 W. FIRST ST                        162-41 POWELLS COVE BLVD.                  1 TAMAGER :AME
LOS ANGELES CA 90012                   APT. 4-D                                   LEVITTOWN NY 11756
                                       BEECHHURST, NY NY 11357




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KENNETH BLITMAN                         KENNETH BORDERS                             KENNETH BOWERS
198 WYANDANCH RD                        7858 ISLAND CLUB DR                         37165 GENERAL MAHONE BLVD.
SAYVILLE NY 11782                       J                                           IVOR VA 23866
                                        INDIANAPOLIS IN 46214



KENNETH BOWSER                          KENNETH BREDEMEIER                          KENNETH BREINER PRODUCTION
13142 DOUBLE C COURT                    6111 MOONPARTERNS TRAIL                     3434 OYSTER COVE DRIVE
GLEN ROCK PA 17327                      FAIRFAX STATION VA 22039                    MISSOURI CITY TX 77459




KENNETH BRENNAN                         KENNETH BRIEF                               KENNETH BROWN
820 OAKWOOD DRIVE                       4 KENNEBEC LANE                             48 DUXBURY LN.
WESTMONT IL 60559                       BRUNSWICK ME 04011                          CARY IL 60013




KENNETH BRUNS                           KENNETH BRUZEK                              KENNETH BUFF
31 GAVINA                               10324 CONGRESSIONAL COURT                   25 GORMLEY AVE
MONARCH BEACH CA 92629                  ELLICOTT CITY MD 21042                      MERRICK NY 11566




KENNETH C JANUS                         KENNETH CALLICUTT ILLUSTRATION              KENNETH CARTER
924 S COURTLAND AVE                     2711 FLOYD AVENUE FIRST FLOOR               59 RAILROAD PLACE
PARK RIDGE IL 60068                     RICHMOND VA 23220                           #301
                                                                                    SARATOGA SPRINGS NY 12866



KENNETH CAUSEY                          KENNETH CHRISTIAN                           KENNETH CIOLINO
13 DEAN RAY COURT                       2409 ARUNAH AVENUE                          19263 JOHN KIRKHAM DR
NEWPORT NEWS VA 23605                   BALTIMORE MD 21216                          LOCKPORT IL 60441




KENNETH CLEVENGER                       KENNETH COLDWELL                            KENNETH COLLAZO
820 ROBERTO DRIVE                       315 SASSAFRAS ROAD                          664 WEST 163RD STREET
NEWPORT NEWS VA 23601                   BALTIMORE MD 21221                          APT. 31
                                                                                    NEW YORK NY 10032



KENNETH DAVIDOFF                        KENNETH DEBRITTO                            KENNETH DEMULDER
145 WEST 67 ST                          10301 BLUE PALM STREET                      184 OAKWOOD AVENUE
APT 8C                                  PLANTATION FL 33324                         BAYPORT NY 11705
NEW YORK NY 10023



KENNETH DEPAOLA                         KENNETH DEPAOLA                             KENNETH ELLINGWOOD
21313 S. BOSCHOME CIRCLE                21313 SOUTH BOSCHOME                        202 WEST 1ST STREET
KILDEER IL 60047-7805                   KILDEER IL 60047                            C/O FOREIGN DESK
                                                                                    LOS ANGELES CA 90012



KENNETH FEELEY                          KENNETH FORTUNATO                           KENNETH GAUDY
1713 JACKSON ST                         1 BRUCE LANE                                10 ELLEN DR
BALTIMORE MD 21230                      KINGS PARK NY 11754                         NESCONSET NY 11767




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KENNETH GILYARD                       KENNETH GLADSTONE                          KENNETH GOSSELIN
35 N RICHMOND ST                      2030 HARGATE COURT                         44 HUBBARD DRIVE
FLEETWOOD PA 19522                    OCOEE FL 34761                             GLASTONBURY CT 06033




KENNETH GUZIK                         KENNETH HALAJIAN                           KENNETH HANSEN
22 COURT ST. TROPEZ                   21 HIGH RIDGE RD                           7102 MEADOW LAKE
PALOS HILLS IL 60465                  OSSINING NY 10562-1969                     DALLAS TX 75214




KENNETH HEBERT                        KENNETH HEIDEL                             KENNETH HENDERSON
890 FOSTER STREET EXT                 290 BROOKFIELD ROAD                        10614 SANTO MARCO COURT
SOUTH WINDSOR CT 06074                FISKDALE MA 01518                          LAS VEGAS NV 89135




KENNETH HICKSON                       KENNETH HOGAN                              KENNETH HOUSTON
257 TUNXIS                            65 EAST STREET                             84 SECOND ST
APT. #1                               HICKSVILLE NY 11801                        RONKONKOMA NY 11779
BLOOMFIELD CT 06002



KENNETH HUTFLESS                      KENNETH HYATT                              KENNETH ILLG
19109 CELTIC STREET                   17854 W. HAMPSHIRE DRIVE                   1912 CECILY DRIVE
NORTHRIDGE CA 91326                   GURNEE IL 60031                            JOLIET IL 60435




KENNETH J LUBAS                       KENNETH J O'CONNOR                         KENNETH JARMAN
15012 HARVEST STREET                  411 SANTA HELENA LN                        1471 AMBERWOOD DR. N.
MISSION HILLS CA 91345                FT MEYERS FL 33903                         ANNAPOLIS MD 21401




KENNETH JOHN KLEIDON                  KENNETH JOHNSON                            KENNETH JONES
6129 S NAGLE                          1423 W. ARGYLE                             1108 PRINCEWOOD DR
CHICAGO IL 60638                      UNIT 1N                                    ORLANDO FL 32810
                                      CHICAGO IL 60640



KENNETH KAYE                          KENNETH KIRSCHBAUM                         KENNETH KOLLER
621 SPINNAKER                         2511 29TH STREET                           476 JEANNE CT
WESTON FL 33326                       SANTA MONICA CA 90405                      NEWBURY PARK CA 91320




KENNETH KONIKOWSKI                    KENNETH KWOK                               KENNETH L GOODMAN
132 WOODHENGE DRIVE                   6038 ENCINITA AVENUE                       5687 MERLIN WAY
TOLLAND CT 06084                      TEMPLE CITY CA 91780                       ST. CLOUD FL 34772




KENNETH LAM                           KENNETH LEAK                               KENNETH LEE JACOBY
513 STRATFORD RD                      3 SUMMERCRESS LANE                         7603 PASSONS BLVD
FALLSTON MD 21047                     CORAM NY 11727                             PICO RIVERA CA 90660




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KENNETH LEGANSKI                      KENNETH LENOIR                             KENNETH LOVECKY
432 INDEPENDENCE CT                   11840 WINDEMERE CT                         364 BURDICK ROAD
BOLINGBROOK IL 60440                  #303                                       CHESTERTON IN 46304
                                      ORLAND PARK IL 60467



KENNETH LUURTSEMA                     KENNETH LYGHT                              KENNETH LYLES
40 SHADYCREST DRIVE                   1240 BEDFORD AVENUE                        25619 76TH ST.
EAST HARTFORD CT 06118                APT #5F                                    SOUTH HAVEN MI 49090
                                      BROOKLYN NY 11216



KENNETH M WYNER PHOTOGRAPHY           KENNETH MARGOLFO                           KENNETH MCCORMICK
7313 BALTIMORE AVENUE                 22 CLUBHOUSE DRIVE                         802 OLD POINT AVENUE
TAKOMA PARK MD 20912                  CROMWELL CT 06416                          HAMPTON VA 23663




KENNETH MCDONALD                      KENNETH MCINTYRE                           KENNETH MELLO
5312 ANGUS AVENUE                     1462 DANIELS COVE DR                       15 RONNIE LANE
ORLANDO FL 32810                      WINTER GARDEN FL 34787                     BETHPAGE NY 11714




KENNETH MIDONECK                      KENNETH MITCHELL                           KENNETH MORGAN
80 ANNETTE DRIVE                      1121 S. MILITARY TRAIL                     64 DOVER STREET
MARLBORO NJ 07746                     APT 172                                    EAST MASSAPEQUA NY 11758
                                      DEERFIELD BEACH FL 33442



KENNETH MULLANE                       KENNETH MURRAY                             KENNETH MYERS
1012 SHARI LN                         7 GALETREE CT                              4301 NW 34TH WAY
LIBERTYVILLE IL 60048                 COCKEYSVILLE MD 21030                      LAUDERDALE LAKES FL 33309




KENNETH NAIL                          KENNETH NEAL                               KENNETH O'NEIL
19501 THORNLAKE                       1408 LAKE SHADOW CIRCLE                    305 NASSAU ROAD
CERRITOS CA 90703                     #1 - 105                                   HUNTINGTON STATION NY 11743
                                      MAITLAND FL 32751



KENNETH OLSEN                         KENNETH PASKMAN                            KENNETH PASS
5333 COLLINS AVE                      680 CHEOY LEE CIRCLE                       1846 N. NASHVILLE
APT 704                               WINTER SPRINGS FL 32708                    CHICAGO IL 60707
MIAMI BEACH FL 33140



KENNETH PAXSON                        KENNETH PERRY                              KENNETH PESNELL
9448 CENTRAL PARK                     7137 ARCHIBALD AVE.                        2910 CYPRESS AVENUE
EVANSTON IL 60203                     APT #133                                   MIRAMAR FL 33025
                                      ALTA LOMA CA 91701



KENNETH PLUMB                         KENNETH PORTER                             KENNETH PUGH
12026 NUGENT DRIVE                    4338 W. MAYPOLE AVENUE                     11917 SW 9 COURT
GRANADA HILLS CA 91344                CHICAGO IL 60624                           DAVIE FL 33325




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KENNETH R GAWNE                         KENNETH REGNIER                            KENNETH REICH
1802 BEDFORD TER                        980 CUYAHOGA DR.                           5522 NAGLE AVENUE
H184                                    BARTLETT IL 60103                          VAN NUYS CA 91401
SUN CITY CENTER FL 33573



KENNETH REINER                          KENNETH REUTER                             KENNETH RICKARD
1625 MERLE DR.                          231 DAKOTA AVE                             233 E. WACKER DR.
AURORA IL 60502                         BAY SHORE NY 11706                         APT. #808
                                                                                   CHICAGO IL 60601



KENNETH ROGALSKI                        KENNETH ROLLE                              KENNETH RUDIN
1032 KAREN DRIVE                        6440 ABBEYDALE CT.                         1 CARY STREET
JOLIET IL 60431                         ORLANDO FL 32818                           SYOSSET NY 11791




KENNETH RUPP                            KENNETH RYF                                KENNETH S PELTON
P. O. BOX 2171                          180 N CHESTNUT ST                          1200 S ORANGE GROVE #2
FRAZIER PARK CA 93225                   MASSAPEQUA NY 11758                        PASADENA CA 91105




KENNETH SAMPLE                          KENNETH SAWCHUK                            KENNETH SCHMIDT
19 DRESSLER RD                          26 TEANECK DR                              708 EASTWOOD COURT
GREENLAWN NY 11740                      EAST NORTHPORT NY 11731                    BEL AIR MD 21014




KENNETH SHAPIRO                         KENNETH SILVER                             KENNETH SMITH
16236 DEER CHASE LOOP                   7 WHITS COURT                              1090 PATRICIA DRIVE
ORLANDO FL 32828                        NEWPORT NEWS VA 23606                      ALLENTOWN PA 18103




KENNETH SMITH                           KENNETH SNYDER                             KENNETH SPENCER
40495 YARDLEY COURT                     939 RAMBLEWOOD LANE                        42 LAUREL AVE
TEMECULA CA 92591                       FREEMANSBURG PA 18017                      SEA CLIFF NY 11579




KENNETH STOUFFER                        KENNETH SURMAN                             KENNETH TEMPLETON
2466 W. ESTES                           106 SPRINGFIELD ST                         1502 DIANNE LANE
#3                                      COOPERSBURG PA 18036                       CORONA CA 92881
CHICAGO IL 60645



KENNETH THOMPSON                        KENNETH TURAN                              KENNETH TYSON
70 COREY STREET                         1115 GALLOWAY STREET                       73 LIBERTY STREET
WINDSOR CT 06095                        PACIFIC PALISADES CA 90272                 APT. #8
                                                                                   STAMFORD CT 06902



KENNETH WEISS                           KENNETH WEISS                              KENNETH WILLIAMS
4405 SEDGWICK RD.                       475 LAMBERT ROAD                           4225 ROSEWOOD COURT
BALTIMORE MD 21210                      CARPINTERIA CA 93013                       WILLIAMSBURG VA 23188




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KENNETH WISSER                        KENNETH YONAN                              KENNEY, BRIGID E
1851 PICCADILLY CIRCLE                4736 FRANKLIN AVENUE                       4920 RIEDY PLACE
ALLENTOWN PA 18103                    LOSANGELES CA 90027                        LISLE IL 60532




KENNEY, JOHN                          KENNEY, JOHN DAVID                         KENNEY, PAUL J
104 PIERREPONT ST                     192 E THOMPSON DRIVE                       8109 PERRY ST NO.15
BROOKLYN NY 11201                     WHEATON IL 60187-7455                      OVERLAND PARK KS 66204




KENNICOTT BROTHERS COMPANY            KENNISTON BYRON                            KENNY GRADNIGO
452 N ASHLAND AVENUE                  1510 FARMINGTON AVENUE                     13510 CROQUET LANE
CHICAGO IL 60622-6303                 BERLIN CT 06037                            HOUSTON TX 77085




KENNY HOANG                           KENNY JR, MICHAEL A                        KENNY ROSARION
1660 E. MARTIN LUTHER KING BLVD.      1 E SCHILLER ST APT 2A                     15 NE 134 ST
LOS ANGELES CA 90011                  CHICAGO IL 60610                           NORTH MIAMI FL 33161




KENNY SPECIALTIES                     KENNY, GLENN                               KENNY, HEATHER
9645 S WINCHESTER AVE                 108 SECOND PL NO.4                         3110 W CULLOM AVE NO.2
CHICAGO IL 60643                      BROOKLYN NY 11231                          CHICAGO IL 60618




KENNY, HEATHER                        KENNY, MELISSA                             KENRICK STEPHENS
3110 W CULLON AVE NO.2                23 WESTLAND ST                             115-23 196TH STREET
CHICAGO IL 60618                      HARTFORD CT 06120                          ST ALBANS NY 11412




KENS GRAPHIC REPAIR                   KENS GRAPHIC REPAIR                        KENS VIDEO
10228 NW 50TH ST                      10869 NW 50TH ST                           1300 RAND ROAD
SUNRISE FL 33351                      SUNRISE FL 33351                           PALATINE IL 60074




KENSIL,LEO                            KENSIL,LEO                                 KENT BOCLAIR
1300 SIMMONS LN                       2303 HARDIN RIDGE DRIVE                    1311 NORTH HALSTED
NOVATO CA 94945                       HENDERSON NV 89052                         CHICAGO IL 60622




KENT COLOMA                           KENT COUNTY SHERIFF DEPT                   KENT COUNTY SHERIFF DEPT
10950 CHURCH STREET                   701 BALL AV NE                             ATTN FDIA COORDINATOR KATHY BUTTS
APT #1523                             GRAND RAPIDS MI 49503                      701 BALL AVE NE
RANCHO CUCAMONGA CA 91730                                                        GRAND RAPIDS MI 49503



KENT DOYLE                            KENT KUENZLI                               KENT OSBORNE
2903 MCGONAGALL COURT                 3009 ROYAL PALM DR                         3425 WATERMARKE PLACE
ABINGDON MD 21009                     COSTA MESA CA 92626                        IRVINE CA 92612




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KENT SADLER                              KENT STRAUSS                               KENT TREPTOW
26 W 7500 S                              852 FRENCH DR.                             859 WEST 19TH STREET
10                                       MUNDELEIN IL 60060                         APT.# 19
MIDVALE UT 84047                                                                    COSTA MESA CA 92627



KENT WELDING INC                         KENT WISSINK                               KENT ZELAS
1915 STERLING AVE NW                     145 W. ROOSEVELT                           129 POMONA AVENUE
GRAND RAPIDS MI 49504                    ZEELAND MI 49464                           LONG BEACH CA 90803




KENT, DAVID A                            KENT, MILTON D                             KENTON YOUNG
PO BOX 127                               2404 BATTERSEA PLACE                       113-12 199TH STREET
NEW BRITAIN CT 06050                     204                                        ST. ALBANS NY 11412
                                         WINDSOR MILL MD 21244



KENTUCKY CABLE TELECOMMUNICATION         KENTUCKY CABLE TELECOMMUNICATION           KENTUCKY DEPARTMENT OF REVENUE
138 KING STREET                          PO BOX 415                                 FRANKFORT KY 40620
BURKESVILLE KY 42717                     BURKESVILLE KY 42717




KENTUCKY DEPT FOR                        KENWIN MIEREZ                              KENYA SPANN
ENVIRONMENTAL PROTECTION                 150 BROWN STREET                           8138 SOUTH SAGINAW AVENUE
300 FAIR OAKS LN                         HARTFORD CT 06114                          APT# 3
FRANKFORT KY 40601                                                                  CHICAGO IL 60617



KENYON COLLEGE                           KENYON, CLARA L                            KENZIE, JENNIFER
103 CHASE AVE                            2822 PLUNKETT ST.                          3933 N SAWYER
GAMBIER OH 43022                         HOLLYWOOD FL 33020                         CHICAGO IL 60618




KEOSHUA COOKS                            KEPPLE, PAUL                               KEREN ELDAD
2210 NW 68TH AVENUE                      428 NORTH 13TH ST NO 5F                    515 W. 52ND STREET
SUNRISE FL 33313                         PHILADELPHIA PA 19123                      APT 4S
                                                                                    NEW YORK NY 10019



KERET, ETGAR DAVID                       KERET, ETGAR DAVID                         KERI DETRICK
13 LEVY YITZHAD STREET 13                13 LEVY YITZHAK STR                        2115 SEDGEWICK STREET
TEL AVIV 62483                           TEL AVIV 62483                             CHICAGO IL 60614




KERI FREI-GOMEZ                          KERI PIKE                                  KERLIN, MICHAEL D
3897 EAST MALLARD STREET                 412 REYNOLDS ROAD                          1701 PARK RD NW APT 420
HIGHLANDS RANCH CO 80126                 FORT EDWARAD NY 12828                      WASHINGTON DC 20010




KERMALLI, FATIMA                         KERN, ANDREW C                             KERN, GEROULD
539 WILD MINT LN                         1041 W OGDEN AVE NO.234                    1245 ANTIETAM DRIVE
ALLENTOWN PA 18104                       NAPERVILLE IL 60563                        LONG GROVE IL 60047




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KERN, ROBERT F                        KERN-RUGILE, JENNA                         KERNAN, SEAN
262 RICHMOND AVE                      46 BELLECREST AVE                          205 ENDICO H WAY
MASSAPEQUA NY 11758                   EAST NORTHPORT NY 11731                    DELAND FL 32724




KERNAN, SEAN                          KERNICKY, KATHLEEN                         KEROSETZ, FRANK
620 W BLUE LAKE TERR                  9336 NW 8 CIRCLE                           415 RIDGE AVE
DELAND FL 32724                       PLANTATION FL 33324                        ALLENTOWN PA 18102




KEROSETZ, FRANK                       KEROSETZ, TAMMY                            KERR, CAROL A
PO BOX 9210                           PO BOX 9210                                11060 CAMERON CT NO. 202
ALLENTOWN PA 18105                    ALLENTOWN PA 18105                         DAVIE FL 33324




KERR, JOHN                            KERR, MICHAEL J                            KERR, ROSEMARIE B
280 FAIRBANKS RD                      3222 N DRAKE                               7934 SW 8 CT.
RIVERSIDE IL 60546                    CHICAGO IL 60618                           NORTH LAUDERDALE FL 33068




KERR, THOMAS                          KERR-CARN, YVONNE                          KERRI LESIAK
114-04 14TH RD                        4078 LAKESIDE DR                           34 KANAWHA AVENUE
COLLEGE POINT NY 11356-1422           TAMARAC FL 33319                           AGAWAM MA 01001




KERRI LITTLE                          KERRI SPARKS                               KERRI WARD
6816 CONNECTICUT TRAIL                6649 GADSEN CT.                            3445 N. SEELEY
CRYSTAL LAKE IL 60012                 PLAINFIELD IN 46168                        APT # 2F
                                                                                 CHICAGO IL 60618



KERRIE TURNER                         KERRIGAN, CHRIS                            KERRON WARRICK
3019 S. 15TH STREET                   1028 FERNHILL LN                           20 CARMEL CHASE CT
MILWAUKEE WI 53215                    WHITEHALL PA 18052                         MANVEL TX 77578




KERRVILLE DAILY TIMES                 KERRY BARR                                 KERRY BRACE CAMPI
429 JEFFERSON ST                      716 SIXTH AVENUE                           618 UNIVERSITY AVE
KERRVILLE TX 78028                    APT. 17                                    BURBANK CA 91504
                                      BETHLEHEM PA 18018



KERRY BRANDSTEIN                      KERRY CARROLL                              KERRY DAVIS
1 PLANE TREE LANE RD                  10819 HOLLOW RD                            392 S. JOHN YOUNG PKWY
DIX HILLS NY 11746                    COCKEYSVILLE MD 21030                      APT. #24
                                                                                 ORLANDO FL 32805



KERRY DEROSA                          KERRY E CARROLL                            KERRY GIBSON
11222 NW 16 PLACE                     10819 HOLLOW RD                            172 EMPORIA AVE
CORAL SPRINGS FL 33071                COCKEYSVILLE MD 21030                      ELMONT NY 11003




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KERRY JOSEPH                           KERRY KELEMEN                              KERRY LEE WOOD
605 BARNSDALE ROAD                     3 GIBRALTAR DRIVE NE                       6838 E CHENY DR
APT#2                                  ROCKFORD MI 49341                          PARADISE VALLEY AZ 85253
LA GRANGE PARK IL 60526



KERRY LEE WOOD                         KERRY LEE WOOD                             KERRY LEONARD
433 N WELLS                            858 W ARMTIAGE AVE NO.125                  2150 W. CORTEZ
CHICAGO IL 60610                       CHICAGO IL 60614                           APT. #3E
                                                                                  CHICAGO IL 60622



KERRY LUFT                             KERRY MCKOY                                KERRY RENTSCHLER
910 OAKTON                             140 RAYDAN WAY                             1435 MAPLEWOOD DRIVE
#2                                     NORTHEAST MD 21901                         NEW CUMBERLAND PA 17070
EVANSTON IL 60202



KERRY ROBB                             KERRY SAVATSKI                             KERRY SORRELL
21607 SHALLOW GLEN LANE                2025 E. GREENWICH AVENUE                   324 SW TOMOKA SPRINGS DRIVE
KATY TX 77450                          #14                                        PORT ST. LUCIE FL 34986-1919
                                       MILWAUKEE WI 53211



KERRY WILLS                            KERRY-LEE ESPEUT                           KERSAINT, ISLANDER
66 HARBOUR CLOSE                       811 S HOLLYBROOK DRIVE                     17351 NE 5TH AVENUE
NEW HAVEN CT 06519                     BLDG 24 UNIT 310                           NORTH MIAMI BEACH FL 33162
                                       PEMBROKE PINES FL 33025



KERSCHER, SOPHIA                       KERSCHNER, COREY                           KERSHAW, KATHERINE
567 N BOYLSTON ST                      44 BOYKO DR                                1916 MARY LOU LANE
LOS ANGELES CA 90012                   LEHIGHTON PA 18235                         ATLANTA GA 30316




KERSTING, JERRY L                      KERY KNUTSON                               KERYN SHIPMAN
435 N MICHIGAN AVE                     9095E SW 21ST COURT                        408 BROOKTREE
CHICAGO IL 60611                       BOCA RATON FL 33428                        BALLWIN MO 63011




KESE SMITH                             KESHA THOMPSON                             KESHNER, TERRY
4215 CROW VALLEY DRIVE                 5304 ARQUILLA DRIVE                        943 FERDINAND    APT 1
MISSOURI CITY TX 77459                 RICHTON PARK IL 60471                      FOREST PARK IL 60130




KESNER JULIEN                          KESNY JEAN                                 KESSLER, AARON
1724 NEEDLEWOOD LANE                   959 SW 15TH STREET                         1140 HAMMOCKS GAP RD
ORLANDO FL 32818-5930                  DEERFIELD BEACH FL 33441                   CHARLOTTESVILLE VA 22911




KESSLER, DAVID                         KESSLER, KEVIN W                           KESSLER, MATTHEW
12201 HILLSLOPE ST                     242 NW 122 TERR.                           391 CASTLEWOOD LANE
STUDIO CITY CA 91604                   CORAL SPRINGS FL 33071                     BUFFALO GROVE IL 60089




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KESSLER,KIMBERLY,D                      KESTER ALLEYNE-MORRIS                      KESTLER, DAWN M
11601 SW 2ND ST NO. 104                 1380 E HIDE PARK BLVD.                     230 BURCH RD
PEMBROKE PINES FL 33025                 APT. #119                                  URBANNA VA 23175
                                        CHICAGO IL 60615



KESTREL COMMUNIATIONS                   KETCHAM, CHRISTOPHER                       KETTMAN, STEPHEN
2344 APPLE RD                           663 DEGRAW STREET APT NO.3                 7024 APPLE GROVE COURT
FOGELSVILLE PA 18051                    BROOKLYN NY 11217                          SAN JOSE CA 95135




KEUSCHER, KELLY S                       KEUTER,GREGORY                             KEVEN LERNER
809 26TH ST APT B                       2530 E SAGEBRUSH ST                        1033 THISTLE CREEK COURT
SANTA MONICA CA 90403                   GILBERT AZ 85296                           WESTON FL 33327




KEVIN ALLEN CAMP                        KEVIN AMERMAN                              KEVIN AMORIM
1005 S 242ND ST                         PO BOX 484                                 5 DAWN DRIVE
DES MOINES WA 98198                     BLAKESLEE PA 18610                         EAST NORTHPORT NY 11731




KEVIN ANDERSON                          KEVIN ANDERSON                             KEVIN ARTHURS
943 OLIVE ROAD                          1326 SOUTH DIAMOND BAR BLVD                2007 MORNING DRIVE
APT 6B                                  DIAMOND BAR CA 91765                       ORLANDO FL 32809
HOMEWOOD IL 60430



KEVIN B RYAN                            KEVIN BARFIELD                             KEVIN BARTH
1640 MAPLE DR                           14 JET LOOP                                340 E. 23RD STREET
APT 48                                  APOPKA FL 32712                            APT. 15A
CHULA VISTA CA 91911                                                               NEW YORK NY 10010



KEVIN BAUER                             KEVIN BAXTER                               KEVIN BECK
11550 ALLEN                             24404 W. MONTEVISTA CIRCLE                 1082 HOWERTOWN ROAD
TUSTIN CA 92782                         VALENCIA CA 91354                          CATASAUQUA PA 18032




KEVIN BECK                              KEVIN BEYERS                               KEVIN BOENING
4944 SHANKWEILER ROAD                   5555 KLUMP AVENUE                          40 FAIRVIEW AVE
OREFIELD PA 18069                       APT. #18                                   FREEPORT NY 11520
                                        NORTH HOLLYWOOD CA 91601



KEVIN BOLYARD                           KEVIN BOTTERMAN                            KEVIN BOYADJIAN
2658 GRIFFITH PARK BLVD.                233 STONE MANOR CIRCLE                     1759 CANYON VISTA DRIVE
#211                                    BATAVIA IL 60510                           AZUSA CA 91702
LOS ANGELES CA 90039



KEVIN BOYD                              KEVIN BOZANT                               KEVIN BRONSON
240 LINDEN AVENUE                       4471 PAINTERS ST                           921 NORTH HOWARD STREET
WILMETTE IL 60091                       NEW ORLEANS LA 70122                       GLENDALE CA 91207




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KEVIN BROOKS                          KEVIN BURTON                                KEVIN CAREY
2144 N CENTRAL PARK                   734 1/2 W BARRY AVE                         16 CATHERINE STREET
CHICAGO IL 60647                      #2S                                         VALLEY STREAM NY 11581
                                      CHICAGO IL 60657-6315



KEVIN CARLSON                         KEVIN CASSIDY                               KEVIN CAWTHRA
901 RONDA SEVILLA                     3712 N. MARSHFIELD                          P. O. BOX 25952
#O                                    CHICAGO IL 60613                            SANTA ANA CA 92799
LAGUNA WOODS CA 92637



KEVIN CELI                            KEVIN CHAU                                  KEVIN CHEN
28315 MAITLAND LANE                   4544 ELROVIA AVENUE                         19108 E. GOLD LANE
SANTA CLARITA CA 91350                EL MONTE CA 91732                           WALNUT CA 91789




KEVIN CHESNEY                         KEVIN CLARK                                 KEVIN CLARK
6913 SAN ADRIANO WAY                  813 GREENWOOD STREET                        920-4TH STREET
BUENA PARK CA 90620                   ORLANDO FL 32801                            WEST BABYLON NY 11704




KEVIN COAKLEY                         KEVIN COBB                                  KEVIN CONNERS
198 AVENUE B                          347 N BIRCH ROAD                            809 POTOMAC AVENUE
LAKE RONKONKOMA NY 11779              APT 7                                       NAPERVILLE IL 60565
                                      FORT LAUDERDALE FL 33304



KEVIN CONNOLLY                        KEVIN CONNOR                                KEVIN COOK
330 PINE SPRINGS DRIVE                330 PRIMROSE LANE                           7960 BURR RIDGE COURT
DEBARY FL 32713                       FAIRFIELD CT 06825                          UNIT 102
                                                                                  WOODRIDGE IL 60517



KEVIN CORRIGAN                        KEVIN COSGROVE                              KEVIN COSTELLO
1712 W. PIERCE                        10039 S DAMEN AVE                           2443 SEMINARY AVENUE
APT #G                                CHICAGO IL 60643-2003                       1F
CHICAGO IL 60622                                                                  CHICAGO IL 60614



KEVIN COURTNEY                        KEVIN COVERT                                KEVIN CRAIG FRICKE
17501 NW 82 CT                        7096 WOODMONT AVE.                          104 TEASEL ST.
MIAMI FL 33015                        TAMARAC FL 33321                            COMSTOCK PARK MI 49321




KEVIN CRUST                           KEVIN CURLAND                               KEVIN DALTON
601 E. 2ND ST                         951 N. MARIPOSA AVENUE                      11712 SUNFLOWER LANE
APT 305                               LOS ANGELES CA 90029                        HUNTLEY IL 60142
LOS ANGELES CA 90012



KEVIN DANSART                         KEVIN DAVIS                                 KEVIN DENNEHY
9135 S. MULLIGAN DRIVE                59 ASTOR AVE                                22 WILSON AVENUE
OAK LAWN IL 60453                     SAINT JAMES NY 11780                        BRAINTREE MA 02184




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KEVIN DEVANEY                           KEVIN DIEHL                               KEVIN DILLIARD
911 TULE LAKE RD S                      4531 PARK VIEW DRIVE                      4045 PAULA STREET
TACOMA WA 98444                         Q6                                        LA MESA CA 91941
                                        SCHNECKSVILLE PA 18078



KEVIN DRISCOLL                          KEVIN DUFFY                               KEVIN DWYRE
33 UNCAS ST.                            8622 BEATRICE LANE                        16 TOWPATH LANE
GLENS FALLS NY 12801                    BATH PA 18014                             GLENS FALLS NY 12801




KEVIN E MURPHY                          KEVIN EALY                                KEVIN EALY
411 GARDENS DR                          C/O BRIAN J. WANCA, ESQ.                  WANCA BRIAN J
# 201                                   3701 ALGONQUIN #760                       3701 ALGONQUIN
POMPANO BEACH FL 33069                  ROLLING MEADOWS IL 60008                  760
                                                                                  ROLLING MDW IL 60008


KEVIN ECK                               KEVIN F RENNIE                            KEVIN FLAGG
339 ENFIELD ROAD                        1456 MAIN ST                              955 AUBURN AVE.
JOPPA MD 21085                          SOUTH WINDSOR CT 06074                    HIGHLAND PARK IL 60035




KEVIN FRERICHS                          KEVIN GALLIFORD                           KEVIN GILLIE
23365 CAMINITO JUANICO                  3 ABBY ROAD                               6831 SILVER BEACH CIRCLE
LAGUNA HILLS CA 92653                   STAFFORD SPRINGS CT 06076                 HUNTINGTON BEACH CA 92648




KEVIN GODFREY                           KEVIN GOYETTE                             KEVIN GRAMS
16 WESTLAND AVENUE                      317 HURLEY AVENUE                         C/O MICHAEL PONCE ATTORNEY AT LAW
QUEENSBURY NY 12804                     NEWPORT NEWS VA 23601                     9663 GARVEY AVE SUITE 126
                                                                                  SOUTH EL MONTE CA 91733



KEVIN GRAMS, ON BEHALF OF HIMSELF AND   KEVIN HAGGERTY                            KEVIN HAMPTON
ALL OTHERS SIMILARLY SITUATED,          10025 MOY LANE                            1600 SOUTH PRAIRIE
C/O MICHAEL PONCE, ATTORNEY AT LAW      SUNLAND CA 91040                          1208
9663 GARVEY AVENUE, SUITE 126                                                     CHICAGO IL 60616
SOUTH EL MONTE CA 91733


KEVIN HARING                            KEVIN HENAGHAN                            KEVIN HENZEL
2635 ROLLING MEADOWS DRIVE              15 WIIGS ROAD                             260 BROAD BROOK ROAD
NAPERVILLE IL 60564                     NESCONSET NY 11767                        ENFIELD CT 06082




KEVIN HILL                              KEVIN HOWELL                              KEVIN HUGHES
19 CAMBRIDGE PLACE                      103 PINEFIELD DRIVE                       4300 BEDROCK CIRCLE #201
CATASAUQUA PA 18032                     SANFORD FL 32771                          NOTTINGHAM MD 21236




KEVIN HUNT                              KEVIN JACOBS PHOTOGRAPHY                  KEVIN JACOBS PHOTOGRAPHY
304 TALL TIMBERS ROAD                   5 DIXVILLE ST                             5 DIXVILLE ST
GLASTONBURY CT 06033                    NASHA NH 03063                            NASHUA NH 03063




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KEVIN JAMES HOEKSEMA                  KEVIN JOHNS                                KEVIN JOYCE
4456 SUMMERTIME COURT SE              440 HILLSIDE DRIVE                         18 GOODE STREET
GRAND RAPIDS MI 49508                 MOUNTVILLE PA 17554                        BURNT HILLS NY 12027




KEVIN KADOW                           KEVIN KEARNS                               KEVIN KEEGAN
PO BOX 597435                         69 RAYMOND ROAD                            2825 WEST MCLEAN
CHICAGO IL 60659-1414                 WINDSOR LOCKS CT 06096                     APT. # 220
                                                                                 CHICAGO IL 60647



KEVIN KEENAN                          KEVIN KENNEDY                              KEVIN KERR
3730 NW 11TH STREET                   1557 VICTORIA ST                           731 N 69TH WAY
COCONUT CREEK FL 33066                BALDWIN NY 11510                           HOLLYWOOD FL 33024




KEVIN KILLIS                          KEVIN KILPATRICK PRODUCTIONS               KEVIN KISSELBURG
784 COLUMBINE DRIVE                   461 CHRISTOPHER LN                         800 E VINE AVENUE
ELGIN IL 60123                        LAWRENCEBURG TN 38464                      WEST COVINA CA 91790




KEVIN KLAHOLD                         KEVIN KRAUSHAAR                            KEVIN KRISTOFCO
1055 CHERIMOYA                        32 FOLEY STREET                            10309 MALCOLM CIRCLE APT M
YORK PA 17404                         WEST HARTFORD CT 06110                     COCKEYSVILE MD 21030




KEVIN KRIZKA                          KEVIN KURZ                                 KEVIN KUYLEN
9612 S. 49TH AVENUE                   2168 SOUTH ATLANTIC BOULEVARD              4038 N. REDWOOD AVE.
OAK LAWN IL 60453                     APT #361                                   RIALTO CA 92377
                                      MONTEREY PARK CA 91754



KEVIN LELAND                          KEVIN LERNER                               KEVIN LEUNG
1730 N. CLARK                         11496 NW 4TH STREET                        5653 FOUNTAIN AVENUE
#1611                                 PLANTATION FL 33325                        LOS ANGELES CA 90028
CHICAGO IL 60614



KEVIN MARSHALL                        KEVIN MARTIN                               KEVIN MASTERSON
3932 JAMIESON AVE                     1429 WALLACE AVENUE                        1160 W. TAMARACK
1N                                    CHICAGO HEIGHTS IL 60411                   BARRINGTON IL 60610
ST. LOUIS MO 63109



KEVIN MATTIMORE                       KEVIN MCCARTHY                             KEVIN MCCRUDDEN
12 DONALD LANE                        422 PINETREE DRIVE                         330 EDGEWOOD AVENUE
HUNTINGTON NY 11743                   ORANGE CT 06477                            SMITHTOWN NY 11787




KEVIN MCDONALD                        KEVIN MICHAEL O'BOYE                       KEVIN MINGORA
12831 REDSKINS AVENUE                 13051 PARKSIDE                             RR8 BOX 7078
FISHERS IN 46037                      PALOS PARK IL 60464                        SAYLORSBURG PA 18353




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KEVIN MOORE                               KEVIN MOORE                                KEVIN MORROW
13 CORNELIUS DRIVE                        108 GIRARD                                 1 LONG BOW LANE
HAMPTON VA 23666                          WILMETTE IL 60091                          COMMACK NY 11725




KEVIN MYERS                               KEVIN PANG                                 KEVIN PHIPPS
164-02 FOCH BOULEVARD                     5410 N. KENMORE AVE                        6509 COPPER RIDGE DRIVE
JAMAICA NY 11434                          #2                                         201
                                          CHICAGO IL 60640                           PIKESVILLE MD 21209



KEVIN PILGRIM                             KEVIN PRESKY                               KEVIN PRISOCK
49 EVERT STREET                           HC 89 BOX 278                              503 CHESTNUT STREET
HUNTINGTON STATION NY 11746               620 STILLWATER DRIVE                       DELTA PA 17314
                                          POCONO SUMMIT PA 18346



KEVIN RAGLAND                             KEVIN RANDOL                               KEVIN RECTOR
2159 CHELESA TERRACE                      2125 W. FLETCHER STREET                    7787 ROCKBURN DRIVE
BALTIMORE MD 21218                        APT. #1                                    ELLICOTT CITY MD 21043
                                          CHICAGO IL 60618



KEVIN REILLY                              KEVIN RICHARDSON                           KEVIN RICHTER
2441 WEXFORD LANE                         6938 KNIGHTHOOD LANE                       12920 FRANCIS RD.
LAKE IN THE HILLS IL 60156                COLUMBIA MD 21045                          MOKENA IL 60448




KEVIN RIORDAN                             KEVIN ROWE                                 KEVIN SANDERS PHOTOGRAPHY LLC
102 GROVE ANENUE                          705 W DUELL STREET                         741 NE 5TH ST   APT 102
FOX RIVER GROVE IL 60021                  AZUSA CA 91702                             ANKENY IA 50021-4734




KEVIN SCANLON                             KEVIN SCATES                               KEVIN SHEEHAN
5206 TILBURY WAY                          7120 S. PARNELL                            37058 N. PARMA AVE.
BALTIMORE MD 21212                        CHICAGO IL 60621                           LAKE VILLA IL 60046




KEVIN SMITH                               KEVIN SMITH                                KEVIN SPEIRS
7588 PARKSIDE LANE                        509 WARREN ROAD                            31 HONEYSUCKLE ROAD
MARGATE FL 33063                          COCKEYSVILLE MD 21030                      LEVITTOWN NY 11756




KEVIN SPENCE                              KEVIN SPIRES                               KEVIN STARLING
2057 GRINNALDS AVE                        4648 ORCHARD VIEW COURT                    51 SPRING STREET
BALTIMORE MD 21230                        ALSIP IL 60803                             WHEATLEY HEIGHTS NY 11798




KEVIN STEVENSON                           KEVIN TAPANI                               KEVIN THURMAN
5231 LIMELIGHT CIRCLE                     781 N FERNDALE RD                          6 N. HAMLIN BLVD.
APT. 4                                    WAYZATA MN 55391                           APT. 918
ORLANDO FL 32839                                                                     CHICAGO IL 60624-4438




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KEVIN TOGAMI                           KEVIN UEDA                                 KEVIN VAN VALKENBURG
2039 WEST 182ND STREET                 18409 HAAS AVENUE                          506 OVERBROOK ROAD
TORRANCE CA 90504                      TORRANCE CA 90504                          BALTIMORE MD 21212




KEVIN WILLIAMS                         KEVIN WINSTEAD                             KEVIN ZEICHNER
375 VINE AVE                           7172 HAWTHORN AVENUE                       1207 TURNBRIDGE ROAD
HIGHLAND PARK IL 60035                 APT. #214                                  FOREST HILL MD 21050
                                       LOS ANGELES CA 90046



KEY 2 CHICAGO INC                      KEY 2 CHICAGO INC                          KEY BANK
2817 POWELL CT                         630 VICKSBURG CT                           ATTN: DAVID BLESSING
NAPERVILLE IL 60563                    NAPERVILLE IL 60540                        154 QUAKER RD
                                                                                  QUEENSBURY NY 12804



KEY EQUIPMENT FINANCE                  KEY EQUIPMENT FINANCE                      KEY P CORPORATION
PO BOX 74713                           PO BOX 203901                              EIGHT NORWAY PINE DRIVE
CLEVELAND OH 44194-0796                HOUSTON TX 77216-3901                      MEDFORD NY 11763




KEYA' STITH                            KEYES III, JOSEPH E                        KEYES, CHARLES F
7944 S. CHAMPLAIN                      3624 32ND ST NO.1B                         4304 37TH AVE NE
CHICAGO IL 60619                       ASTORIA NY 11106                           SEATTLE WA 98105




KEYES, KEEVAN                          KEYES, WILLIE                              KEYONA LYDE
9401 ROBERTS DRIVE                     2026 NW 55 WAY                             248 GREEN FREN WAY
APT 27B                                LAUDERHILL FL 33313                        BALTIMORE MD 21227
ATLANTA GA 30350



KEYS AIRPORT BUSINESS INC              KEYSHA WILLIAMS                            KEYSHLA COLEMAN
9086 AIRPORT BLVD                      1630 NW 47TH AVENUE                        1701 W. 91ST STREET
ORLANDO FL 32827                       LAUDERHILL FL 33313                        CHICAGO IL 60620




KEYSPAN ENERGY DELIVERY                KEYSPAN ENERGY DELIVERY                    KEYSPAN ENERGY DELIVERY
PO BOX 4300                            PO BOX 020690                              PO BOX 29212
WOBURN MA 01888-4300                   BROOKLYN NY 11202-9900                     BROOKLYN NY 11202




KEYSPAN ENERGY DELIVERY                KEYSPAN ENERGY DELIVERY                    KEYSPAN ENERGY DELIVERY
PO BOX 888                             PO BOX 9037                                PO BOX 9039
HICKSVILLE NY 11815-0001               HICKSVILLE NY 11802-9037                   HICKSVILLE NY 11802




KEYSPAN ENERGY DELIVERY                KEYSTONE MEDIA INTERNATIONAL               KEYSTONE OUTDOOR ADVERTISING CO INC
PO BOX 9040                            3018 EAST 3300 SOUTH                       PO BOX 202
HICKSVILLE NY 11802-9500               SALT LAKE CITY UT 84109                    CHELTENHAM PA 19012-0202




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KEYSTONE STATE SPJ                     KEZI INC                                    KFORCE INC & SUBSIDIARIES
C/O SUSAN SCHWARTZ                     PO BOX 7009                                 1001 E PALM AVENUE
PRESS ENTERPRISE                       EUGENE OR 97401                             TAMPA FL 33605
3185 LACKAWANNA AVE
BLOOMSBURG PA 17818


KFORCE INC & SUBSIDIARIES              KG PROMOTIONAL PRODUCTS                     KGMB9 TV
PO BOX 277997                          21410 WELLSFORD GLEN DR                     1534 KAPIOLANI BLVD
ATLANTA GA 30384-7997                  KATY FREEWAY TX 77449-7574                  HONOLULU HI 96814-3715




KGMB9 TV                               KHADIA JONJO                                KHADIJAH MARSHALL
PO BOX 31000                           660 EAST 98TH STREET                        146 JEFFERSON AVENUE
HONONLULU HI 96849-5576                APT. 10H                                    AMITYVILLE NY 11701
                                       BROOKLYN NY 11236



KHAHAIFA, AVIDO DIKARI                 KHALID JORDAN                               KHALIL, ASHRAF
1641 PINE BAY DRIVE                    4025 S. DEARBORN                            JERUSALEM BUREAU
LAKE MARY FL 32746                     APT. #3                                     LOS ANGELES TIMES FOREIGN DESK
                                       CHICAGO IL 60609                            202 W FIRST ST
                                                                                   LOS ANGELES CA 90012


KHAMIS, MOHAMED                        KHAN, AMINA                                 KHAN, JUHI
149 BRIAN LANE                         104-40 QUEENS BLVD APT 8A                   914 JACOBS LN
EFFORT PA 18330                        FOREST HILLS NY 11375                       NEWINGTON CT 06111




KHAN, NADIA AMIRAH                     KHAN, SANA                                  KHANG NGUYEN
5445 N SHERIDAN NO.301                 7740 NW 47 ST                               9361 ELBEN AVE
CHICAGO IL 60640                       LAUDERHILL FL 33351                         SUN VALLEY CA 91352




KHANH NGUYEN                           KHANH VU                                    KHARE, RAHUL
28050 N DAYDREAM WAY                   3720 SOUTH MARINE STREET                    2800 N SEMINARY AVE
VALENCIA CA 91354                      APT#2                                       CHICAGO IL 60657
                                       SANTA ANA CA 92704



KHARI JOHNSON                          KHARI WILLIAMS                              KHARLA MURPHY
79 NW 4TH AVENUE                       6060 S FALLS CIRCLE DRIVE                   8770 AZALEA COURT
DELRAY BEACH FL 33444                  APT 423                                     APT 203
                                       LAUDERHILL FL 33319                         TAMARAC FL 33321



KHATRI, CHANDNI                        KHEMKA, ANITA                               KHL ILLINOIS
890 ARBORMOOR PLACE                    W-15 K 8, SLANIK FARMS                      C/O KHL ENGINEERED PACKAGING
LAKE MARY FL 32746                     NEW DELHI 110062                            100 PROGRESS RD
                                                                                   LOMBARD IL 60148



KHL ILLINOIS                           KHRUSHCHEVA, NINA L                         KI JAE LEE
PO BOX 201295                          341 WEST 88TH ST, 2-B                       25 QUAIL CT
DALLAS TX 75320-1295                   NEW YORK NY 10024                           ENGLEWOOD NJ 07631




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KIA COLEMAN                             KIA JOHNSON                                KICHLINE, JULIE M
7461 OCEANLINE DRIVE                    1735 WEST PRATT STREET                     934 S. BOULDIN STREET
INDIANAPOLIS IN 46214                   BALTIMORE MD 21223                         BALTIMORE MD 21224




KICK10 PROMOTIONS                       KICK10 PROMOTIONS                          KICKA WITTE PHOTOGRAPHY
445 E OHIO ST STE 350                   676 NORTH MICHIGAN AVE STE 3800            PO BOX 1103
CHICAGO IL 60611                        CHICAGO IL 60611                           KILAUEA HI 96754




KIDD, ELEANOR                           KIDNEY, BRYON D                            KIDS ACROSS PARENTS DOWN LLC
625 STONEY SPRING DRIVE                 16 BONNIE LANE                             4620 ASHFORD DRIVE
BALTIMORE MD 21210                      FORT THOMAS KY 41075                       MATTESON IL 60443




KIDS IN DISTRESS INC                    KIDS LEARNING ACADEMY                      KIDS VOTING BROWARD INC
819 NE 26TH STREET                      5151 NE 14 TERRACE                         % BROWARD COUNTY SCHOOL BOARD
WILTON MANORS FL 33305                  FORT LAUDERDALE FL 33334                   600 SE 3RD AVENUE 8TH FLOOR
                                                                                   FORT LAUDERDALE FL 33301



KIDS VOTING BROWARD INC                 KIDSCOOP                                   KIEFER, JONATHAN EDWARD
600 SE 3RD AV 8TH FL                    P.O. BOX 1802                              2400 PACIFIC AVE APT 506
FORT LAUDERDALE FL 33301                SONOMA CA 95476                            SAN FRANCISCO CA 94115




KIEL LEGGERE                            KIELY, COLIN                               KIENITZ, TONY
2035 SPRING GARDEN STREET               652 TIMBER LANE                            2300 HANOVER ST
1R                                      LAKE FOREST IL 60045                       PALO ALTO CA 94306
PHILADELPHIA PA 19130



KIERNAN, BENEDICT F                     KIERSTEN MATHIEU                           KIERSZENBAUM, ENRIQUE
134 COTTAGE STREET                      207 ELMWOOD LANE                           PO BOX 2182
NEW HAVEN CT 06511                      COATSVILLE PA 19320                        JERUSALEM 91021




KIESEL COMPANY                          KIESEL COMPANY                             KIF PROPERTY TRUST
4801 FYLER AVE                          DEPT 23729                                 300 BARR HARBOR DRIVE SUITE 150
ST LOUIS MO 63116                       LOCK BOX NO.790100                         CONSHOHOCKEN PA 19428
                                        ST LOUIS MO 63179



KILBORN, LAWRENCE                       KILDEER COUNTRYSIDE SCHOOL PTO             KILDEER COUNTRYSIDE SCHOOL PTO
PO BOX 323                              23357 PROVIDENCE DRIVE                     3100 RFD
CHESTER CT 06412-0323                   KILDEER IL 60047                           DIST 96
                                                                                   LONG GROVE IL 60047



KILDUFF, AMY                            KILEY, KENNETH                             KILGOE, MARY
76 SCOTT DR                             91 HOLLISTER DR                            28 S BACK RIVER RD
BLOOMFIELD CT 06002                     EAST HARTFORD CT 06118                     HAMPTON VA 23669




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KILIANSKI, BRENDA J                   KILKENNY, LUKE J                           KILKENNY, LUKE J
4950 N. MARINE DRIVE                  636 NO.AMBOAT RD                           636 STEAMBOAT RD
APT 704                               GREENWICH CT 06831                         GREENWICH CT 06831
CHICAGO IL 60640



KILLER TRACKS                         KILLER TRACKS                              KILLIEBREW, LINDA M
6534 SUNSET BLVD                      PO BOX 31001-1694                          170 PLUMAGE LN
HOLLYWOOD CA 90028                    PASADENA CA 91110-1694                     WEST PALM BEACH FL 33415




KILLION, MICHAEL J                    KILPATRICK, DOUGLAS                        KILZER, JENNIFER L
944A WEST CUYLER AVE    APT NO.3N     442 EAST NORTH ST                          2309 W. WILSON
CHICAGO IL 60613                      BETHLEHEM PA 18018                         APT 109
                                                                                 CHICAGO IL 60625



KIM ARMSTRONG                         KIM BARKER                                 KIM BAUMAN
12767 ORLEY DRIVE                     435 N. MICHIGAN                            161 COPPERWOOD DRIVE
FLORISSANT MO 63033                   FOREIGN DESK                               BUFFALO GROVE IL 60089
                                      CHICAGO IL 60611



KIM BROWN                             KIM CHILDS                                 KIM CHRISTENSEN
4046 NW 19TH STREET                   12 PENDALE DR.                             4505 EAST SECOND STREET
BLDG H, APT 102                       AMITYVILLE NY 11701                        LONG BEACH CA 90803
LAUDERHILL FL 33313



KIM CHRISTMAN                         KIM CHRISTOPHER                            KIM COLLINS
2037 STEFKO BLVD                      12705 DAYBREAK CIRCLE                      1401 CYPRESS AVENUE
BETHLEHEM PA 18017                    NEWPORT NEWS VA 23602                      ST. CLOUD FL 34769




KIM COOK                              KIM DEMANUEL                               KIM DEMERS
608 BELINDER LANE                     366 GRAND BLVD                             355 RIDGEWOOD ROAD
APT. 2709                             DEER PARK NY 11729                         WEST HARTFORD CT 06107
SCHAUMBURG IL 60173



KIM FERRY                             KIM FIORIO                                 KIM HERTZ
6534 W. OLYMPIC BLVD.                 68 NORTH WOODS ROAD                        12784 TULIPWOOD CIR
LOS ANGELES CA 90048                  BAITING HOLLOW NY 11933                    BOCA RATON FL 33428




KIM JOHNSON                           KIM LIBRETTA                               KIM MARCUM
1871 SAND DOLLAR LANE                 18741 COHASSET STREET                      8417 LITTLELEAF COURT
VERO BEACH FL 32963                   RESEDA CA 91335                            ORLANDO FL 32835




KIM MARSHALL                          KIM MCAFEE DENNIS                          KIM MCCLEARY LA FRANCE
25128 VISTA ORIENTE                   1008 EAST 53RD STREET                      1540 11TH ST.
MURRIETA CA 92563                     LOS ANGELES CA 90011                       MANHATTAN BEACH CA 90266




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KIM MYRICK                              KIM OKABE                                  KIM PROFANT
10331 NIGHT MIST CT.                    1005 MADISON ST.                           1600 S. INDIANA AVE.
COLUMBIA MD 21044                       APT. #205                                  APT. #506
                                        EVANSTON IL 60202-3451                     CHICAGO IL 60611



KIM QUANG                               KIM REIF                                   KIM REINER
210 E. GRAVES AVENUE                    862 VICTORIA TER.                          7225 CROSS DRIVE
APT. E                                  ALTAMONTE SPRINGS FL 32701                 CITRUS HEIGHTS CA 95610
MONTEREY PARK CA 91755



KIM RIVERA                              KIM ROSEN ILLUSTRATION                     KIM ROUGGIE
30 N MILLERS LN                         7 KARY ST                                  6244 SHIRLEY AVE
MOUNT PROSPECT IL 60056                 NORTHAMPTON MA 01060                       TARZANA CA 91335




KIM SPRINGS                             KIM SUMMERS                                KIM TONNESON
6339 MEMORIAL ROAD                      6 PIMA COURT                               440 BRYSON SPRINGS
ALLENTOWN PA 18106                      RANDALLSTOWN MD 21133                      COSTA MESA CA 92627




KIM VALERIO                             KIM W INC                                  KIM WASKI
283 EAST MAIN ST                        38517 DREXEL BLVD                          4310 SW 22ND STREET
CENTERPORT NY 11721                     ANTIOCH IL 60002                           FORT LAUDERDALE FL 33317




KIM WEST                                KIM YOUNG                                  KIM, DENNIS
2520 MOOSE DEER DRIVE                   13609 CRAWFORD AVENUE                      10212 BOCA BEND EAST NO.D-1
ONTARIO CA 91761                        CRESTWOOD IL 60472                         BOCA RATON FL 33428




KIM, DONALD                             KIM, ELIZA                                 KIM, FRANCES SERENA
8934 SW 17TH STREET                     1719 CORAL RIDGE DRIVE                     148 S HAYWORTH AVE APT 9
BOCA RATON FL 33433                     CORAL SPRINGS FL 33071                     LOS ANGELES CA 90048




KIM, JAE HA                             KIM, SOPHIA                                KIM, YUN
902 S RANDALL RD       STE C-323        2210 JACKSON ST APT 502                    2218 BROMLEY CT
ST CHARLES IL 60174                     SAN FRANCISCO CA 94115                     WOODSTOCK MD 21163




KIMBALL, ADAM                           KIMBALL, KATHARINE H                       KIMBER MATZINGER-VOUGHT
30A SCOTLAND AVE                        726A CAMINO SANTA ANA                      P O BOX 694
MADISON CT 06443                        SANTA FE NM 87505                          FALLSTON MD 21047




KIMBER, DANIEL                          KIMBERLEE EBB                              KIMBERLEE ROHRER
4415 ROCKLAND PL                        952 SEAGULL AVE                            2181 SOUTH TRENTON WAY
MONTROSE CA 91020                       BALTIMORE MD 21225                         #12-308
                                                                                   DENVER CO 80231




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KIMBERLEY BEER                          KIMBERLEY CARR                             KIMBERLEY HORCHER
1222 BALLYSHANNON PARKWAY               4115 NW 79TH AVE                           22803 LAZY TRAIL RD.
ORLANDO FL 32828                        CORAL SPRINGS FL 33065                     DIAMOND BAR CA 91765




KIMBERLEY MARTIN                        KIMBERLI DIMARE                            KIMBERLY ALLOWAY
165 BEACH 59TH STREET                   P.O. BOX 770967                            22300 FORT CHRISTMAS ROAD
ARVERNE NY 11692                        CORAL SPRINGS FL 33077-0967                CHRISTMAS FL 32709-9471




KIMBERLY ANDREWS                        KIMBERLY BAILEY                            KIMBERLY BENZ
6773 FIELDS LANDING ROAD                2154-2N NATCHEZ AVENUE                     415 WESLEY
HAYES VA 23072                          CHICAGO IL 60707                           #23
                                                                                   OAK PARK IL 60302



KIMBERLY BOND                           KIMBERLY BONNER                            KIMBERLY BORIO
1659 CANDLEWOOD COURT                   3323 W. 84TH STREET                        34522 CALLE PALOMA
EDGEWOOD MD 21040                       CHICAGO IL 60652                           CAPISTRANO BEACH CA 92624




KIMBERLY BOWEN                          KIMBERLY BROWNING                          KIMBERLY BURDICK
109 COUNTY ROUTE 17A                    549 HOMESTEAD LANE                         736 N. PINE AVENUE
COMSTOCK NY 12821                       GREENWOOD IN 46142                         ARLINGTON HEIGHTS IL 60004




KIMBERLY BUTLER                         KIMBERLY BYNUM                             KIMBERLY CALHOUN
5576 CHANNING ROAD                      1764 MEADOWOOD CT                          11808 MEADOW BRANCH DR.
BALTIMORE MD 21229                      EDGEWOOD MD 21040                          #1111
                                                                                   ORLANDO FL 32825



KIMBERLY CARR                           KIMBERLY CASILLAS                          KIMBERLY CHARITY
7226 ROCKRIDGE DR                       6632 WALKER AVE.                           1510 SEWARD DRIVE
HUNTINGTON BEACH CA 92648               BELL CA 90201                              HAMPTON VA 23663




KIMBERLY COAN                           KIMBERLY COBURN                            KIMBERLY COUGHLIN
7438 N. OZARK AVE.                      11 MELLON STREET                           30 ELRO STREET
CHICAGO IL 60631                        NEWPORT NEWS VA 23606                      MANCHESTER CT 06040




KIMBERLY DUBIN                          KIMBERLY FILLMORE                          KIMBERLY FINE
47 HENRY AVENUE                         1045 IOWA AVE                              230 W. LAKE LAWN PLACE
SELDEN NY 11784                         AURORA IL 60506                            APT B
                                                                                   MADISON WI 53703



KIMBERLY FOWLER                         KIMBERLY GARREN                            KIMBERLY GATES
610 SPRUCE HOLLOW ROAD                  4901 HEIL AVENUE                           3914 HUMBOLDT DRIVE
PALMERTON PA 18071                      APT# C33                                   HUNTINGTON BEACH CA 92649
                                        HUNTINGTON BEACH CA 92649




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KIMBERLY GRISWOLD                         KIMBERLY HAIRSTON                          KIMBERLY HAYS
1224 WINDWARD ROAD                        4619 LUERSSEN AVE                          1913 MOSHER DRIVE
MILFORD CT 06460                          BALTIMORE MD 21206                         ORLANDO FL 32810




KIMBERLY HOLTMAN                          KIMBERLY JOHNSON                           KIMBERLY JURGIL
9506 LINCOLN COURT                        209 MILL RIVER ROAD                        4224 SARATOGA AVENUE
CROWN POINT IN 46307                      OYSTER BAY NY 11771                        APT. J112
                                                                                     DOWNERS GROVE IL 60515



KIMBERLY KALINOWSKI                       KIMBERLY KEYS                              KIMBERLY KING
6547 N. HARLEM, #2E                       1461 5TH STREET                            196 EAST WALNUT STREET
CHICAGO IL 60631                          SACRAMENTO CA 95814                        ZIONSVILLE IN 46077




KIMBERLY LUTZ                             KIMBERLY MARTINEAU                         KIMBERLY MICHAUD
1540 CLEARFIELD ROAD                      11A W. 94TH STREET                         503 E 78TH ST #5F
WIND GAP PA 18091                         1B                                         NEW YORK NY 10021
                                          NEW YORK NY 10025



KIMBERLY MITCHELL                         KIMBERLY MURPHY                            KIMBERLY NICHOLS
2112 S. 20TH AVENUE                       57 BURLINGTON LANE                         60 POPLAR AVENUE
BROADVIEW IL 60155                        LONDON W4 3 ET                             NEWPORT NEWS VA 23607




KIMBERLY O'CONNELL                        KIMBERLY PAREDES                           KIMBERLY PETTY
2120 CEADER DRIVE                         7312 GARFIELD AVENUE                       14031 HESBY ST.
APT. G                                    APT#C                                      SHERMAN OAKS CA 91423
EDGEWOOD MD 21040                         HUNTINGTON BEACH CA 92648



KIMBERLY PIRAINO                          KIMBERLY POE                               KIMBERLY PRINTZ
8 SHOAL CREEK CT.                         1233 SOUTH CAREY STREET                    1337 E. SPRINGMEADOW COURT
LAKE IN THE HILLS IL 60156                BALTIMORE MD 21230                         EDGEWOOD MD 21040




KIMBERLY QUIER                            KIMBERLY RIPPS                             KIMBERLY ROOT
1012 SPRUCE LANE                          408 UPPER BLVD                             140 POCAHONTAS PLACE
BREINIGSVILLE PA 18031                    RIDGEWOOD NJ 07450                         HAMPTON VA 23661




KIMBERLY SCHWEIZER                        KIMBERLY SCOTT                             KIMBERLY SERGI
2273 WHITE HOUSE COVE                     2222 RANCH ROAD                            72 WESTFIELD TERRACE
NEWPORT NEWS VA 23602                     SLATINGTON PA 18080                        MIDDLETOWN CT 06457




KIMBERLY SOLT                             KIMBERLY SPRINGER                          KIMBERLY STALLWORTH
219 CREEKSIDE MANOR DRIVE                 3028 SEVILLE STREET, APT. 1                304 LOCKWOOD LANE
LEHIGHTON PA 18235                        FORT LAUDERDALE FL 33304                   ST. PETERS MO 63376




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KIMBERLY STRUNK                      KIMBERLY TAYLOR                            KIMBERLY THERRIEN
110 CHURCH ROAD                      1 W SUPERIOR ST.                           86 1/2 FEEDER ST.
NEWPORT NEWS VA 23606                APT. #1509                                 HUDSON FALLS NY 12839
                                     CHICAGO IL 60610



KIMBERLY THORNTON                    KIMBERLY WALKER                            KIMBERLY WALKER
1854 N. KEDZIE                       83 FAITH CIRCLE                            2423 KEN OAK ROAD
APT #3                               MANCHESTER CT 06040                        E
CHICAGO IL 60647                                                                BALTIMORE MD 21209



KIMBERLY WEISENSEE                   KIMBERLY WILKERSON                         KIMBERLY WILLIAMS
656 W. NATALIE LANE                  15814 SOUTH SPAULDING                      9033 S. LOOMIS
ADDISON IL 60101                     MARKHAM IL 60428                           CHICAGO IL 60620




KIMBERLY WILLIAMS                    KIMBERLY, WASHINGTON                       KIMBLE, TERROL
4316 S. LANGLEY                      1991 NW 60TH AVE                           1093 RICHTON PLACE
APT. #2A                             SUNRISE FL 33313                           RICHTON PARK IL 60471
CHICAGO IL 60653



KIMBLE, WILLIE                       KIMBRELL, GEORGE                           KIMEL, DANIEL ANTHONY
5B TOWN HOUSE RD                     CTA INTL CENTER FOR TECH ASSESSMENT        3114 VAIL PASS DR
BROAD BROOK CT 06016                 660 PENNSYLVANIA AVE SE SUITE 302          COLORADO SPRINGS CO 80917
                                     WASHINGTON DC 20003



KIMI EVANS                           KIMIA SEHATI                               KIMIKO YOSHINO
C/O KSWB TV                          6215 JUMILLA AVE                           1030 EAST OCEAN BLVD
7191 ENGINEER RD.                    WOODLAND HILLS CA 91367                    APT #306
SAN DIEGO CA 92111                                                              LONG BEACH CA 90802



KIMMEL, JOEL                         KIMMEL, MICHAEL                            KIMMICH, JOHN EDWARD
27 MESEROLE ST NO.3R                 487 13TH ST                                320 N DODGE ST
BROOKLYN NY 11206                    BROOKLYN NY 11215                          IOWA CITY IA 52245




KIMMONS, JON G                       KINCAID, DOROTHY KAY                       KINDALL,MARYBETH
JON & MARY KIMMONS                   10520 WILSHIRE BOULEVARD NO.708            22 SIOUX RD
2420 79TH AVE SE                     LOS ANGELES CA 90024                       EAST HARTFORD CT 06118-2560
EVERETT WA 98205



KINDEL, VIKEY                        KINDELL, LATEEFAH                          KINDER JR, LARRY C
1010 SW 7TH AVE                      402 FRIENDLY HILLS DRIVE                   PO BOX 442
DELRAY BEACH FL 33444                DECATUR GA 30035                           PLAINFIELD IN 46168




KINDRED, DAVID A                     KINDT, ANDREW J                            KINETIC LIGHTING INC
4040 GOVERNOR ALMOND ROAD            218 S FRANKLIN STR                         3583 HAYDEN AVE
LOCUST GROVE VA 22508                ALLENTOWN PA 18102                         CULVER CITY CA 90232




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KING BLACKWELL DOWNS & ZEHNDER PA     KING BOLT COMPANY                          KING BROADCASTING CO
25 E PINE ST                          4680 N GRAND AVE                           1501 SW JEFFERSON ST
ORLANDO FL 32801                      COVINA CA 91724                            PORTLAND OR 97201




KING BROADCASTING CO                  KING BROADCASTING CO                       KING BROADCASTING CO
C/O DBA KWG-TV                        333 DEXTER AVENUE N                        PO BOX 24525
PO BOX 121058                         SEATTLE WA 98109                           SEATTLE WA 98124
DEPT 891058
DALLAS TX 75312-1058


KING COUNTY                           KING COUNTY                                KING COUNTY
INTERNATIONAL AIRPORT                 SUPERIOR COURT CLERK                       TREASURY
PO BOX 80245                          516 3RD AVE      ROOM E609                 500 4TH AVE    RM 600
SEATTLE WA 98108                      SEATTLE WA 98101                           SEATTLE WA 98104-2387



KING FEATURES SYNDICATES              KING FEATURES SYNDICATES                   KING FEATURES SYNDICATES
N AMERICAN SYNDICATE PERMISSIONS      PO BOX 536463                              PO BOX 409189
PO BOX 536463                         ORLANDO FL 32853-6563                      ATLANTA GA 30384
ORLANDO FL 32853-6463



KING FEATURES SYNDICATES              KING FEATURES SYNDICATES                   KING FEATURES SYNDICATES
214 N TRIVON ST                       227 WEST TRADE STREET                      888 SEVENTH AVE
CHARLOTTE NC 28202                    HEARST SERVICES CENTER 5TH FL              ATTN SALES DEPT
                                      C/O JOY MURPHY                             NEW YORK NY 10019
                                      CHARLOTTE NC 28202


KING FEATURES SYNDICATES              KING FEATURES SYNDICATES                   KING KULLEN GROCERY CO INC
ATTN FRAN TROIANO                     PO BOX 7247-8975                           185 CENTRAL AVE
235 E 45TH ST                         PHILADELPHIA PA 19170-8975                 BETHPAGE NY 11714-3929
NEW YORK NY 10017



KING OF TEXAS ROOFING COMPANY LP      KING WORLD                                 KING WORLD
307 GILBERT CIRCLE                    12400 WILSHIRE BLVD                        1700 BROADWAY
GRAND PRAIRIE TX 75050                W. LOS ANGELES CA 90025                    32ND FLOOR
                                                                                 NEW YORK NY 10019



KING WORLD                            KING WORLD                                 KING WORLD PRODUCTIONS
1700 BROADWAY                         ATTN: RESEARCH                             PO BOX 100599
33RD FLOOR                            1675 BROADWAY                              PASADENA CA 91189-0599
NEW YORK NY 10019                     17TH FLOOR
                                      NEW YORK NY 10019


KING WORLD PRODUCTIONS                KING WORLD PRODUCTIONS                     KING WORLD PRODUCTIONS
C/O CBS ENTERPRISES                   PO BOX 73930                               PO BOX 19471
PO BOX 739309                         CHICAGO IL 60673-7930                      NEWARK NJ 07195-0471
CHICAGO IL 60673-7930



KING WORLD PRODUCTIONS                KING, ALDO                                 KING, ANITA
PO BOX 33077                          621 N 69 AVE                               1576 BOULDERWOODS DR SE
NEWARK NJ 07188-0077                  HOLLYWOOD FL 33024                         ATLANTA GA 30316




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KING, BRUCE O                          KING, CHARLES                               KING, CHARLES
11825 REYNOLDS ROAD                    1096 SANTA CLARA DR                         2530 PAR CIRCLE
KINGSVILLE MD 21087                    DELTONA FL 32738                            DELRAY BEACH FL 33445




KING, FREDRICKA ELAINE                 KING, GREGORY                               KING, HANNIBAL
5414 NW 19 ST.                         4141 NW 26 ST APT 115                       4-21 27AVE NO.13H
LAUDERHILL FL 33313                    LAUDERHILL FL 33313                         ASTORIA NY 11102




KING, HEATHER                          KING, IBAHIEM                               KING, JARVIS T
915 1/2 S. HOBART BLVD                 111 WOODLAKE CIR                            500 FREDERICK AVENUE
LOS ANGELES CA 90006                   LAKE WORTH FL 33463                         BELLWOOD IL 60104




KING, JENNY A                          KING, JOE                                   KING, JONATHAN
849 RIVARD                             57 WEST STREET                              9466 PALM CIRCLE S
GROSSE POINTE PARK MI 48230            VERNON CT 06066                             PEMBROKE PINES FL 33025




KING, KEISHA                           KING, LESLIE                                KING, LITICIA
9466 PALM CIRCLE S                     2119 LUMPKIN RD L-4                         3031 NW 183RD STREET
PEMBROKE PINES FL 33025                AUGUSTA GA 30906                            MIAMI FL 33056




KING, LOREN                            KING, MARCIA                                KING, MARCIA
9 CHEEVER ST                           420 S LAKE BOX 93                           PO BOX 93
CHELSEA MA 02150                       TWIN LAKES WI 53181                         TWIN LAKES WI 53181




KING, MARLENE                          KING, MATTHEW                               KING, MICHAEL
3912 CLARINTH ROAD                     1127 ASHLAND AVE                            MCTSP ATTN LISA HARRISON
BALTIMORE MD 21215                     SANTA MONICA CA 90405                       8383 WILSHIRE BLVD STE 500
                                                                                   BEVERLY HILLS CA 90211



KING, MICHELLE                         KING, PETER                                 KING, ROSS
4580 NW 24TH WAY                       4807 E VILLA THERESA DR                     10 HENSINGTON RD
BOCA RATON FL 33431                    SCOTTSDALE AZ 85254                         WOODSTOCK
                                                                                   OXON OX20 1JL



KING, RYAN                             KING, SANDRA B                              KING, SEAN G
3 CHEROKEE DR                          P.O. BOX 190285                             436 14TH ST STE 1309
POQUOSON VA 23669                      FORT LAUDERDALE, FL 33319                   OAKLAND CA 94612




KING, SUSAN R                          KING, TANYA                                 KING, TIM
1223 JULIANA PLACE                     855 W ERIE NO.103                           420 N WABASH
ORLANDO FL 32807                       CHICAGO IL 60622                            SUITE 203
                                                                                   CHICAGO IL 60611




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KING, TRESANDERS                        KING, WILLIAM TAYLOR                       KING,LAURA
8110 S. KOSTNER                         4734 N ROCKWELL ST NO.2                    JERUSALEM BUREAU
CHICAGO IL 60652                        CHICAGO IL 60625                           LA TIMES FOREIGN DESK
                                                                                   202 W 1ST ST
                                                                                   LOS ANGELES CA 90053


KING,TOYE                               KINGA MERUNOWICZ                           KINGKARN EBNER
57 WEST ST                              6008 W. DAKIN                              21202 OAKLEAF CANYON DRIVE
VERNON CT 06066-3236                    CHICAGO IL 60634                           SANTA CLARITA CA 91321




KINGMAN, DAVE                           KINGS COLLEGE                              KINGS CUPBOARD OF FINE PROVISIONS
2080 BACK RD PO BOX 209                 133 N RIVER ST                             210 OLD HOLLOW RD
GLENBROOK NV 89413                      WILKES BARRE PA 18711                      WILLIAMSBURG VA 23185




KINGS ENTERPRISES OF BROWARD INC        KINGSBURY, HEATHER                         KINGSLEY ADI
2499 SW 10 DRIVE                        2210 3RD ST APT 317                        111-52 147TH STREET
DEERFIELD BEACH FL 33442                SANTA MONICA CA 90405                      JAMAICA NY 11435




KINGSLEY J GUY                          KINGSLEY OFFOR                             KINGSLEY, LISA
101 NE 8 AVE                            15 CHABLIS DRIVE                           4742 N VIRGINIA
#5                                      DIX HILLS NY 11746                         CHICAGO IL 60625
FORT LAUDERDALE FL 33301



KINGSTON, JAMES ROBERT                  KINGSTON, JEROME                           KINGSTON, MAXINE HONG
3224 LINDBERG AVE                       PO BOX 802204                              5425 GOLDEN GATE AVENUE
ALLENTOWN PA 18103                      CHICAGO IL 60680                           OAKLAND CA 94618




KINGSWAY BIBLE BAPTIST CHURCH           KINGSWAY LOGISTICS INC                     KINGSWAY LOGISTICS INC
4301 ST GEORGES AVENUE                  61 S MITCHELL COURT                        PO BOX 95349
BALTIMORE MD 21212                      ADDISON IL 60101                           PALATINE IL 60095-0349




KINIGOPOULOS, JANICE                    KINKADE, KRIS                              KINKADE, MICHAEL
3028 SENECA CHIEF TRAIL                 2796 BIRD ROCK ST                          1252 REID RD
ELLICOTT CITY MD 21042                  PORTAGE MI 49024                           PULLMAN WA 99163




KINLOCH, JERREL D                       KINLOCH, TRAVIS                            KINLOW ASSOCIATES INC
1914 SW 94 TERR                         849 FRANKLIN RD APT 2005                   100 DANZIG STREET
MIRAMAR FL 33025                        MARIETTA GA 30067                          SYRACUSE NY 13206




KINMAN, RONALD G                        KINN, DANIELLE                             KINNEVIK MEDIA PROPERTIES
552 PAXVILLE PLACE                      12490 WAGNER ST                            805 3RD AVE.
THE VILLAGES FL 32162                   LOS ANGELES CA 90066                       8TH FLOOR
                                                                                   NEW YORK NY 10022




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KINNEY, ELOISE                        KINNEY, JENNIFER                           KINSEY JR, JOHN I
2432 POPLAR DR                        PO BOX 954                                 104 BROWN ST
FT COLLINS CO 80521                   EAST WINDSOR CT 06088                      VALPARAISO IN 46383




KINSEY, ELIZABETH H                   KINSEY, EVA DALE                           KINSEY, THERESA
1830 ANNA CATHERINE DR                P.O. BOX 530974                            2830 N PINE HILLS RD APT 101
ORLANDO FL 32828                      LAKE PARK FL 33403                         ORLANDO FL 32808




KINSLEY JR, RAYMOND W                 KINSLEY POWER SYSTEMS                      KINSLEY POWER SYSTEMS
13 BUNCE RD                           14 CONNECTICUT SOUTH DRIVE                 PO BOX 3242
WETHERSFIELD CT 06109-3315            EAST GRANBY CT 06026                       BOSTON MA 02241-3242




KINSTON FREE PRESS                    KINSTON FREE PRESS                         KINTER, MARY KATHLEEN
1300 GUM BRANCH RD                    PO BOX 129                                 631 AUTUMN SKY CT
JACKSONVILLE NC 28540                 KINSTON NC 28502-0129                      SYKESVILLE MD 21784




KINZER, STEPHEN                       KIOKO, GEOFFREY                            KIPEN, DAVID
814 N KENILWORTH                      807 CLOVER LEAF COURT                      1100 PENNSYLVANIA AVE NO.722
OAK PARK IL 60302                     EDGEWOOD MD 21040                          WASHINGTON DC 20506




KIPFERIE JONES                        KIPLING, RICHARD E                         KIPLINGER WASHINGTON EDITORS INC
7844 S THROOP                         4384 BEULAH DRIVE                          1729 H STREET NW
2ND FLOOR                             LA CANADA CA 91011                         WASHINGTON DC 20006
CHICAGO IL 60620



KIPLINGER WASHINGTON EDITORS INC      KIPLINGER WASHINGTON EDITORS INC           KIPLINGER WASHINGTON EDITORS INC
MAGAZINE                              PO BOX 10910                               PO BOX 3293
PO BOX 10553                          DES MOINES IA 50340-0910                   HARLAN IA 51593-2373
DES MOINES IA 50340-0553



KIPP, KRISTOPHER                      KIPP, VICKI E                              KIRALY, SHERWOOD
305 FAITH DR                          305 FAITH DR                               2954 ALTA LAGUNA BLVD
BLANDON PA 19510                      BLANDON PA 19510                           LAGUNA BEACH CA 92651




KIRALY, SHERWOOD                      KIRAN KERR                                 KIRBY, DAVID
2954 ALTA LAGUNA BLVD                 9730 NW 16TH COURT                         1168 SEMINOLE DR
LAGUNA BEACH FL 92651                 PEMBROKE PINES FL 33024                    TALLAHASSEE FL 32301-4656




KIRBY, KATHERINE                      KIRBY, RAINBOW                             KIRCHBERGER, ERIC
27914 AMBER                           675 MONROE BLVD                            10 EAST 44TH STREET
MISSION VIEJO CA 92691                LONG BEACH NY 11561                        NEW YORK NY 10017




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KIRCHICK, JAMES                        KIRDAHY, DONNA                             KIRK BROWN
14 COLONIAL ROAD                       4 BUXMONT LA                               5238 WEST WASHINGTON BLVD
DOVER MA 02030                         STONY BROOK NY 11790                       CHICAGO IL 60644




KIRK CHRIST                            KIRK HINES                                 KIRK JACKSON
4063 GLENALBYN DR.                     910 S. 12TH STREET                         1719 TURNER STREET
LOS ANGELES CA 90065                   ALLENTOWN PA 18103                         ALLENTOWN PA 18104




KIRK KAMERIK                           KIRK MCKOY                                 KIRK MILLER
1107 OREGON AVE                        27703 N RON RIDGE DR                       155 RIDGE STREET
ST. CLOUD FL 34769                     SANTA CLARITA CA 91350                     APT. 5K
                                                                                  NEW YORK NY 10002



KIRK PREBLE                            KIRK WOOLSEY                               KIRK, ELIZABETH STONE
2855 PINECREEK DRIVE                   25 SOUTH 78TH                              216 BLENHEIM RD
APT A-122                              BELLEVILLE IL 62223                        BALTIMORE MD 21212
COSTA MESA CA 92626



KIRKIN, KARLA                          KIRKLAND & ELLIS                           KIRKLAND & ELLIS
15227 4TH AVE                          INTERNATIONAL LLP     TOWER 42             200 EAST RANDOLPH DRIVE
PHOENIX IL 60426                       25 OLD BROAD ST                            CHICAGO IL 60601
                                       LONDON EC2N 1HQ



KIRKLAND SMITH                         KIRKMAN, ERIKA G                           KIRKMAN, NATHAN
4001 MAINE AVENUE                      3487 ROBINS LANDING WAY NO.9               845 W FULTON MARKET ST      STE 217
BALTIMORE MD 21207-7509                DECATUR GA 30032                           CHICAGO IL 60607




KIRKWOOD, JUDITH                       KIRLEY, THOMAS                             KIROUAC, DEBRA
5209 NANNYBERRY DR                     2225 ALLEN LN                              9-11 PARK STREET UNIT 201
FITCHBURG WI 53711                     WINTER PARK FL 32792                       NORWALK CT 06851




KIRSCH, JONATHAN L                     KIRSCH, JONATHAN L                         KIRSCHE, ROBIN A
1880 CENTURY PARK EAST    STE 515      LAW OFFICES OF JONATHAN KIRSH              10-I TALCOTT GLEN RD
LOS ANGELES CA 90034                   1880 CENTURY PARK EAST STE 515             FARMINGTON CT 06032
                                       LOS ANGELES CA 90067



KIRSCHNER, IAN                         KIRSTEN BOCK                               KIRSTEN DIZE
4737 N OCEAN DR NO.228                 1219 BERKELEY DRIVE                        160 DREXEL DRIVE
LAUDERDALE BY THE SEA FL 33308         GLENDALE CA 91205                          BEL AIR MD 21014




KIRSTEN DRINO                          KIRSTEN FOX                                KIRSTEN HAMPTON
46 WARRREN STREET                      795 OAK PATH CT.                           48 5TH ARTILLERY RD
WARRENSBURG NY 12885                   OAK PARK CA 91377                          FT. LEAVENWORTH KS 66027




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KIRSTEN LARRAIN                       KIRSTEN PONTON                             KIRSTEN ROSS
41 NW 106TH STREET                    3417 KINGS LAKE DRIVE                      92 VANCORTLANDT PK. SOUTH
MIAMI SHORES FL 33150-1245            VIRGINIA BEACH VA 23452                    BRONX NY 10463




KIRSTIE WILSON                        KISER CONTROLS COMPANY, INC                KISER CONTROLS COMPANY, INC
3263 W. MAYPOLE                       7045 HIGH GROVE BLVD.                      PO BOX 5940
CHCAGO IL 60624                       GINA/SUE                                   DEPARTMENT 20-KIS 001
                                      BURR RIDGE IL 60521                        CAROL STREAM IL 60197-5940



KISER, BILLY C                        KISH,ERNEST                                KISHOR SHAH
770 PINEWOOD CIRCLE                   16 SYCAMORE ST                             11 CHARLEMONT DRIVE
MOORESVILLE NC 28115                  CENTEREACH NY 11720                        ALISO VIEJO CA 92656




KISKIS, MICHAEL                       KISS,PAUL                                  KISSIMMEE UTILITY AUTHORITY
13969 COUNTRYPLACE DR STE 0400        8358 DYNASTY DR.                           PO BOX 423219
ORLANDO FL 32826                      BOCA RATON FL 33433                        KISSIMMEE FL 34742-3219




KISSIMMEE UTILITY AUTHORITY           KISSIMMEE UTILITY AUTHORITY                KISSLING DAVIS, DAWN MICHELLE
PO BOX 850001                         P.O. BOX 850001                            1705 WOODSTOCK DR
ORLANDO FL 32885-0087                 ORLANDO FL 32885-0096                      BROWNSBURG IN 46112




KISTLER, JAMES I                      KISTLER, JAMME S                           KISTLER-O'BRIEN FIRE PROTECTION CORP
2621 SW ARCH ST                       843 1/2 N 6TH ST                           2210 CITY LINE ROAD
ALLENTOWN PA 18103                    ALLENTOWN PA 18102                         BETHLEHEM PA 18017-2171




KIT LUONG                             KITCHELL, TABITHA                          KITMAN, MARVIN
934 PLANTATION DRIVE                  2334 W MAPLE DR                            147 CRESCENT AVE
LEWISVILLE TX 75067                   UNION MILLS IN 46382                       LEONIA NJ 07605




KITMAN, MARVIN                        KITOMBA, LUVEVO N                          KITSAP COUNTY TREAS
EDITORIAL 0217                        261 EAST ROBBINS ST                        PO BOX 299
235 PINELAWN RD                       NEWINGTON CT 06111                         BREMERTON WA 98337
MELVILLE NY 11747



KITSAP COUNTY TREAS                   KITTEK, SUSAN                              KITTEK, SUSAN
PO BOX 34303                          5574 OHLS LANE                             5574 OHLS PLACE
SEATTLE WA 98124                      COOPERSBURG PA 18036-9551                  COPPERSBURG PA 18036-9551




KITTITAS COUNTY TREASURER             KITTLE, RONALD D                           KITWANA, BAKARI
205 W 5TH                             1840 TOUR TRACE                            PO BOX 450832
ELLENSBURG WA 98925                   CHESTERTON IN 46304                        WESTLAKE OH 44145




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KIVIAT, KATHERINE                      KIVIAT, KATHERINE                         KIWANIS CLUB OF WILLIAMSBURG
203 RIVINGTON ST NO.5P                 PO BOX 4668 NO.6008                       112 WETHERBURN LANE
NEW YORK NY 10002                      NEW YORK NY 10163-4668                    C/O THOMAS FRENCH
                                                                                 WILLIAMSBURG VA 23188



KIWANIS CLUB OF WILLIAMSBURG           KIZZEE II, ROBERT E                       KIZZY COLLINS
P.O. BOX 1265                          15323 OHARA DRIVE                         4437 S. PRAIRIE
WILLIAMSBURG VA 23187                  MISSOURI CITY TX 77489                    CHICAGO IL 60653




KKDA AM                                KKDA AM                                   KKDA AM
621 NW 6TH ST                          SERVICE BROADCASTING CORP                 SERVICE BROADCASTING CORP
GRAND PRAIRIE TX 75050                 621 NW 6TH ST                             PO BOX 530860
                                       GRAND PRAIRIE TX 75050                    GRAND PRAIRIE TX 75053



KKR FINANCIAL CORPORATION              KKSN INC.                                 KKSN INC.
ATTN: JEREMIAH LANE                    RE: PORTLAND ENTERCOM                     RE: PORTLAND ENTERCOM
555 CALIFORNIA ST, 50TH FL             ATTN: GENERAL MANAGER                     C/O HERITAGE MEDIA CORPORATION
SAN FRANCISCO CA 94104                 888 NORTHWEST 5TH AVENUE; SUITE 790       13355 NOEL ROAD, SUITE 1500
                                       PORTLAND OR 97204                         DALLAS TX 75240


KLANCE STAGING INC                     KLARE, MICHAEL T                          KLARSFELD, AMANDA JANE
1375 JEFFERSON ST                      17 COLUMBUS AVE                           2101 NE 24TH ST
PACIFIC MO 63069                       NORTHAMPTON MA 01060                      WILTON MANORS FL 33305




KLATT, MARY BETH                       KLAUGH, LISA                              KLAUGH, RALPH
6966 N WOLCOTT NO.2N                   538 N 13TH ST                             1680 HARDING CIRCLE
CHICAGO IL 60626                       ALLENTOWN PA 18102                        WHITEHALL PA 18052




KLAUS G KURZ                           KLAUSFELDER, BRADD G                      KLAVAN, ANDREW
2004 GRAYLOCK AVENUE                   359 HOFFMANSVILLE RD                      15 W CARRILLO ST APT 217
MONTEREY PARK CA 91754                 BECHTELSVILLE PA 19505                    SANTA BARBARA CA 93101




KLEAN-SWEEP PARKING LOT SERVICES INC   KLEAN-SWEEP PARKING LOT SERVICES INC      KLEIBSCHEIDEL, JEFFREY A
P O BOX 3395                           PO BOX 3607                               1086 NEW YORK AVE
TORRANCE CA 90510                      TORRANCE CA 90510-3607                    HELLERTOWN PA 18055




KLEIN HEALY ELOISE                     KLEIN LEWIS PRODUCTIONS LTD               KLEIN SCAUZILLO, KAREN E
4350 ALLOTT AVE                        C/O SCHWARTZ LEVITSKY FELDMAN LLP         5645 N HELEO AVE
SHERMAN OAKS CA 91423-3814             1167 CALEDONIA ROAD                       TEMPLE CITY CA 91780
                                       TORONTO ON M6A 2X1



KLEIN, AMY                             KLEIN, BETSY                              KLEIN, CARRIE
306 MARKET STREET                      3005 ORANGE ST                            591 THIRD ST
VENICE CA 90291                        MIAMI FL 33133                            BROOKLYN NY 11215




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KLEIN, DANIEL                          KLEIN, DAVID                               KLEIN, DAVID G
PO BOX 629                             69 MARIE CRESCENT                          139 DAHILL RD 1ST FL
GREAT BARRINGTON MA 01230              COMMACK NY 11725                           BROOKLYN NY 11218




KLEIN, DAVID G                         KLEIN, EZRA                                KLEIN, JACK
625 CANTON AVE APT 1D                  1768 HOBART ST NW                          5 REYNOLDS ROAD
BROOKLYN NY 11218                      WASHINGTON DC 20009                        GLEN COVE NY 11542




KLEIN, JEROME ROBERT                   KLEIN, JOHN                                KLEIN, JORI
2445 LYTTONSVILLE ROAD APT 1201        JK PRODUCTIONS                             365 STATE ST NO.3
SILVER SPRING MD 20910                 5116 ADMIRAL PLACE                         BROOKLYN NY 11217
                                       SARASOTA FL 34231



KLEIN, JOSHUA                          KLEIN, JULES                               KLEIN, JULIA M
727 S GROVE AVE                        704 PRESERVE TERRACE                       307 MONROE ST
OAK PARK IL 60304                      HEATHROW FL 32746                          PHILADELPHIA PA 19147




KLEIN, MICHAEL                         KLEIN, NAOMI                               KLEIN, RACHAEL
22 EDGEWOOD ROAD                       77 DENISON AVE                             612 WEST BROAD ST
MADISON NJ 07940                       TORONTO ON M5T 2M7                         QUAKERTOWN PA 18951




KLEIN, RICHARD                         KLEIN, YOSSI HALEVI                        KLEINER, ARNOLD
911 MARYLAND AVE NE                    15/8 HACHAYIL ST                           7575 MULLHOLLAND DRIVE
WASHINGTON DC 20002                    FRENCH HILL                                LOS ANGELES CA 90046
                                       JERUSALEM



KLEINMAN, MICHAEL                      KLEINTOP, WANDA                            KLEMANS, PATRICIA A
5850 WEST 3RD STREET APT 196           564 TOWNSHIP LINE RD                       1606 EDWIN COURT
LOS ANGELES CA 90036                   NAZARETH PA 18064                          BEL AIR MD 21015




KLEMSCOTT PRESS INC                    KLEMSCOTT PRESS INC                        KLEMZAK, JEFF
1665 MALLETTE RD                       PO BOX 1090                                2861 PIEDMONT AVE
AURORA IL 60505                        AURORA IL 60507                            LA CRESCENTA CA 91214




KLEPPE, CAROLYN                        KLEPPE, CAROLYN                            KLEPPE, KELLY
5301 OLD BETHLEHEM PIKE                5301 OLD BETHLEHEM PIKE                    1161 STEFKO BLVD
BETHLEHEM PA 18015                     BETHLEHEM PA 18017                         BETHLEHEM PA 18017




KLEPPINGER, SARAH                      KLIAN, JACK                                KLIGMAN, NANCY A
3901 CHESTNUT RD                       12520 ARISTO PL                            15 CHAPLIN LANE
ALBURTIS PA 18011                      GRANADA HILLS CA 91344                     STAMFORD CT 06903




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KLIMASZEWSKI IGERSHEIMER, CASEY         KLIMKIEWICZ, JOANN                         KLINE, EDWARD JAMES
144 MAIN ST  APT 2                      24 COTTAGE ST                              96 LEISURE LN
CHESTER CT 06412                        NEW HAVEN CT 06511                         NORTHAMPTON PA 18067




KLINE, MATTHEW A                        KLINGENSMITH, DAWN                         KLINGER, JENNIFER
41 FOREST ST                            7445 N CLAREMONT NO.2C                     0S444 KIRK AVENUE
SPRINGFIELD MA 01108                    CHICAGO IL 60645                           ELMHURST IL 60126




KLINGER, LESLIE                         KLINGER, SARA                              KLINGFORTH, TIM G
10866 WILSHIRE BLVD  STE 1500           219 BAY ST NO.D                            3900 DOOLITTLE DR APT B
LOS ANGELES CA 90024                    SANTA MONICA CA 90405                      STEVENS POINT WI 54481-7321




KLIONSKY, ALLIE                         KLIPSCH, LESLIE                            KLOBERDANZ, M KRISTIN
2417 NW 36TH ST                         916 GRAND CT                               3328 NORTON AVENUE
BOCA RATON FL 33431                     DAVENPORT IA 52803                         MODESTO CA 95350




KLOEMPKEN, MICHAEL                      KLOOSTERMAN LANDSCAPING INC                KLOSNER, DANA
1635 THORNEAPPLE LN                     7892 CHERRY VALLEY SE                      54 LOCUST DR
ALGONQUIN IL 60102                      CALEDONIA MI 49316                         NESCONSET NY 11767




KLOSOWSKI, JUDITH A                     KLOSOWSKI, KATHARINE                       KLOTZ JR, HENRY
168 HARBOR ROAD                         70 W HURON    APT 408                      6595 HANOVER ST
LAKE BARRINGTON IL 60010                CHICAGO IL 60610                           BETHLEHEM PA 18017




KLOTZ, BRENDA A                         KLT PRODUCTIONS INC                        KLTY RADIO
401 WIGGINS ST                          393 S NAY RD                               6400 N BELTLINE
GREENPORT NY 11944                      GREENWOOD IN 46143                         STE 120
                                                                                   IRVING TX 75063



KLTY RADIO                              KLUCZYNSKI, GIRTZ & VOGELZANG              KLUG, DAVID
PO BOX 676625                           GREG RAPP                                  1063 SUMMER PL
DALLAS TX 75267-6625                    BRASSWORKS BUILDING                        PITTSBURGH PA 15243
                                        648 MONROE N.W., SUITE 400
                                        GRAND RAPIDS MI 49503


KLUGER, BRUCE                           KLUGER, JEFFREY S                          KLUNDER, JACK D
309 WEST 86TH ST NO.3A                  301 E 75TH STREET NO.3D                    15735 BIRCHWOOD STREET
NEW YORK NY 10024                       NEW YORK NY 10021                          LA MIRADA CA 90638




KLURFELD, JAMES                         KMB NEWS AGENCY                            KMB NEWS AGENCY
1 CARRIAGE COURT                        111 W 154TH ST                             DBA KMB NEWS AGENCY
STONY BROOK NY 11790                    SOUTH HOLLAND IL 60473                     1820 W 126TH STREET
                                                                                   CALUMET PARK IL 60827-5634




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KMH PRODUCTIONS, INC                     KMIEC, DOUGLAS W                         KMIEC, DOUGLAS W
PO BOX 485                               21619 PACIFIC COAST HWY                  21619 PACIFIC COAST HWY
BATAVIA IL 60510-0485                    MALIBU CA 90265                          MALIBU CA 90263-4532




KMOV TV                                  KMOV-TV                                  KMR TECHINICAL SERVICE INC
ONE MEMORIAL DR                          RE: ST. LOUIS BELO/NTSC TOWER            10446 W CERMAK RD
ST LOUIS MO 63102                        ONE MEMORIAL DRIVE                       WESTCHESTER IL 60154-5201
                                         ST. LOUIS MO 63102



KMR TECHINICAL SERVICE INC               KNAB, ALLISON                            KNAPFEL, JUSTIN
6727 WEST CERMAK ROAD                    424 W BELDEN     APT 2W                  1809 FINN HILL DE NO.9
BERWYN IL 60402                          CHICAGO IL 60614                         BOYNTON BEACH FL 33426




KNAPP, BARBARA                           KNAPP, LUCIUDA MICHELE                   KNAUS REALTY COMPANY
42 WILSON ST                             7423 JORDAN AVE                          RE: NEW BRITAIN 40 SOUTH ST.
STAMFORD CT 06902                        CANOGA PARK CA 91303                     150 PRODUCTION COURT
                                                                                  NEW BRITAIN CT 06051



KNAUS REALTY COMPANY                     KNAUSS, JASON                            KNECHT, MARK
RE: NEW BRITAIN 40 SOUTH ST.             1737 HELEN AVE                           101 W MARTIN ST
150 PRODUCTION CT.                       ALLENTOWN PA 18104                       ALLENTOWN PA 18103
NEW BRITAIN CT 06051



KNECHT, ROSEMARIE                        KNEDEL, CINDY                            KNEEBONE, THOMAS H
526 1/2 N FOUNTAIN ST                    6041 RIO LINDA BLVD NO.2                 BOX 855
ALLENTOWN PA 18104                       RIO LINDA CA 95673                       HUNTLEY IL 60142




KNESKI, STEPHEN                          KNICKERBOCKER, DAVID                     KNIESS, LINDA NADINE
246 W PATTERSON ST                       221 E CULLERTON NO.306                   101 OLD STAGE ROAD
LANSFORD PA 18232                        CHICAGO IL 60616                         GLEN BURNIE MD 21061




KNIGHT BROADCASTING OF BATON ROUGE INC   KNIGHT BROADCASTING OF BATON ROUGE INC   KNIGHT DIGITAL MEDIA CENTER
10000 PERKINS RD                         WVLA                                     140 UNIVERSITY HALL NO. 1111
BATON ROUGE LA 70816                     ATTN PHIL WATERMAN                       BERKELEY CA 94720-1111
                                         10000 PERKINS ROAD
                                         BATON ROUGE LA 70816


KNIGHT DIGITAL MEDIA CENTER              KNIGHT DIGITAL MEDIA CENTER              KNIGHT DIGITAL MEDIA CENTER
PO BOX 24610                             THE BANCROFT LIBRARY ATTN: SUSAN SN      UNIVERSITY OF CALIFORNIA
OAKLAND CA 94623-1610                    PERMISSION & REPRODUCTIONS               GRADUATE SCHOOL OF JOURNALISM
                                         UNIVERSITY OF CALIFORNIA                 NORTH GATE HALL STE B-42
                                         BERKELEY CA 94720-6000                   BERKELEY CA 94720-5860


KNIGHT HALL SCHOOLS INC                  KNIGHT II, ANTHONY                       KNIGHT LAWRENCE, LATANYA
ATTN MARTHA WYLIE DIRECTOR               2246 HIDDEN GREEN DR                     2201 LEALAND PLACE LN
411 PARK ROAD                            MARIETTA GA 30067                        LAWRENCEVILLE GA 30044
WEST HARTFORD CT 06119




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KNIGHT, JAMES E                       KNIGHT, KARLENE N                          KNIGHT, PATSY ANN
529 CHURCH RD                         5201 SW 31ST AVENUE NO. 237                1755 LA CRESTA DR
REISTERSTOWN MD 21136                 FORT LAUDERDALE FL 33312                   PASADENA CA 91103




KNIGHT, RICHARD                       KNIGHT, RICHARD G                          KNIGHT, ROBYN R
1709 N ALBANY                         24395 CAVENDISH AVE WEST                   1619 GRIFLET RD
CHICAGO IL 60647                      NOVI MI 48375                              JACKSONVILLE FL 32211




KNIGHT, TIMOTHY                       KNIGHT, WILLIAM TODD                       KNIGHTEN, HEATHER
P.O BOX 301216                        50 CAYMAN PL.                              151 BADGER RD
MEMPHIS TN 38130                      PALM BEACH GARDENS FL 33418                DELTAVILLE VA 23043




KNIGHTS OF THE GRIP                   KNOBLAUCH, AUSTIN                          KNOBLAUCH, AUSTIN
PO BOX 237                            15903 SPUNKY CANYON RD                     15903 SPUNKY CANYON RD
NORTHFORD CT 06472                    GREEN VALLEY CA 91390                      SANTA CLARITA CA 91390




KNOCKEMDOWN PRODUCTIONS               KNOPP, LISA                                KNOPPER WRITING LLC
1024 NE 5TH STREET                    LISA KNOPP PHOTOGRAPHY                     3445 W MONCRIEFF PL
HALLANDALE FL 33009                   28 HAYES HILL DRIVE                        DENVER CO 80211
                                      NORTHPORT NY 11768



KNOTT, ANNA                           KNOTTS BERRY FARM                          KNOWER, ROSEMARY
845 WEST FULTON MARKET   STE 217      8039 BEACH BLVD DEPT 226                   3925 BEECH AVE
CHICAGO IL 60607                      BUENA PARK CA 90620                        BALTIMORE MD 21211




KNOWER, ROSEMARY                      KNOWLTON, CAITLIN                          KNOWLTON, CIECIE
WYMAN PARK APARTMENTS 218 A           232 MERIDEN AVE                            336 HEATHER DRIVE
3925 BEECH AVE                        SOUTHINGTON CT 06489                       CARMEL IN 46032
BALTIMORE MD 21211



KNOX PARKS FOUNDATION                 KNOXVILLE NEWS SENTINEL                    KNSD TV DIVIS OF STATION VENTURE OPER LP
75 LAUREL ST                          PO BOX 59038                               225 BROADWAY
HARTFORD CT 06106                     KNOXVILLE TN 37950-9038                    SAN DIEGO CA 92101




KNUDSON, JESSICA                      KNUREK, JEFFREY T                          KO, JENNIE
47 HIGH ST  BSMT                      12583 ELGIN CT                             6217 FRANKLIN AVE NO.277
TERRYVILLE CT 06786                   FISHERS IN 46038                           LOS ANGELES CA 90028




KOAZ EXPRESS INC                      KOBALT INDUSTRIES INC                      KOBALT INDUSTRIES INC
5709 NW 48 TERR                       DBA AR INDUSTRIES                          DBA AR INDUSTRIES
TAMARAC FL 33319                      PO BOX 4175                                1739 S GROVE AVE STE B
                                      ONTARIO CA 91761                           ONTARIO CA 91761




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KOBASA, STEPHEN VINCENT                 KOBIALKA, JOHN                             KOBLENZ, JAY
46 HOBART ST                            381 LLOYD ST                               31926 MILL STREAM RD
NEW HAVEN CT 06511-4033                 NEWINGTON CT 06111                         TRABUCO CANYON CA 92679-3231




KOCH, KAREN                             KOCK BEN WOO                               KODAK VERSAMARK INC
3130 TEVIS AVE                          3845 ROSEMEAD BLVD. # 6                    3000 RESEARCH BLVD
LONG BEACH CA 90808                     ROSEMEAD CA 91770                          DAYTON OH 45420




KODAK VERSAMARK INC                     KODAK VERSAMARK INC                        KODAS, MICHAEL G
P O BOX 633069                          PO BOX 640350                              220 OXFORD STREET
CINCINNATI OH 45263-3069                PITTSBURGH PA 15264                        HARTFORD CT 06105




KOEHLER & KHEEL                         KOEHLER & KHEEL REALTY LLC                 KOEHLER, GLENN
RE: EASTON 400 NORTHAMPTON ST           400 NAMPTON ST                             756 EASTON ROAD
400 NORTHAMPTON ST, SUITE 708           EASTON PA 18042                            HELLERTOWN PA 18055
EASTON PA 18042



KOEHLER, KELLY                          KOEHLER-KHEEL REALTY, LLC                  KOENENN,CONSTANCE
723 SPRING ST                           RE: EASTON 400 NORTHAMPTON ST              1121 N OLIVE DR NO.203
JIM THORPE PA 18229                     400 NORTHAMPTON STREET                     LOS ANGELES CA 90069
                                        SUITE 708
                                        EASTON PA 18042


KOENIG & STREY GMAC                     KOENIG & STREY GMAC                        KOENIG, JOHN
1800 N CLYBOURN AVE 2ND FLR             3201 OLD GLENVIEW RD                       826 E FEDERAL ST
CHICAGO IL 60614                        WILMETTE IL 60091                          ALLENTOWN PA 18103




KOEPPEL DIRECT                          KOERBER,SCOTT D                            KOESTER, AXEL
16200 DALLAS PRKWAY STE 270             21151 N LENNON                             1769 RUHLAND AVENUE
DALLAS TX 75248                         HARPER WOODS MI 48225                      MANHATTAN BEACH CA 90266




KOESTNER, JOE                           KOGAN, RICK                                KOHL, DAVID
1129 HOLLY AVENUE                       435 NORTH MICHIGAN AVE                     PO BOX 198
HOLLY HILL FL 32117-2713                TT500                                      NEW RICHMOND OH 45157
                                        CHICAGO IL 60611



KOHL, RONALD L.                         KOHL, RONALD L.                            KOHLBERGER, IRENE T
53 KENWOOD CIRCLE                       833 S 10TH ST                              4155 TORRES CIRCLE
QUAKERTOWN PA 18951                     ALLENTOWN PA 18103                         WEST PALM BEACH FL 33409




KOHLHEPP ELECTRICAL COMPANY             KOHLS DEPARTMENT STORES                    KOHN SWIFT & GRAF PC
PO BOX 564                              N56W 17000 RIDGEWOOD DR                    MICHAEL J BONI
JENKINTOWN PA 19046                     MENOMONEE FALLS WI 53051                   ONE SOUTH BROAD ST, SUITE 2100
                                                                                   PHILADELPHIA PA 19107




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KOHNKE, JENNIFER                        KOIS, BARBARA                              KOITHAN, STEPHANIE M
1822 W CHASE NO.1                       1007 CHERRY STREET                         406 CHURCH ST
CHICAGO IL 60626                        WHEATON IL 60187                           ODESSA NY 14869




KOITHAN, STEPHANIE M                    KOKO REPRESENTS INC                        KOKORIS, JIM
BOX 1127                                166 GEARY ST STE 1007                      230 S SPRING AVE
ODESSA NY 14869                         SAN FRANCISCO CA 94108                     LA GRANGE IL 60525




KOKOTAN, SHIRLEY                        KOKOUA, ARMANDO                            KOLAR, JENNIFER
1252 MAIN STREET                        618 SABAL PALM CIRC                        11 BUDENOS DR
DALLAS OR 97338                         ALTAMONTE SPRINGS FL 32701                 SAYVILLE NY 11782




KOLARS MARKETING INC                    KOLB, ELZY                                 KOLB, PATRICIA A
746 KRISTINE CT                         26 RIDGEVIEW AVE                           3317 WHITBURN CT. SE
VICTORIA MN 55386                       WHITE PLAINS NY 10606                      ADA MI 49301




KOLBER, JACLYN H                        KOLBERT, ELIZABETH                         KOLESNIKOVA, MARY
1636 N WELLS ST APT 1908                326 OBLONG RD                              2269 TURK BLVD APT B
CHICAGO IL 60614                        WILLIAMSTOWN MA 01267                      SAN FRANCISCO CA 94118




KOLESSAR, JOAN                          KOLINSKY, IRWIN J                          KOLL PER CENTERRA LLC
904 N BERGEN ST                         PO BOX 6249                                4343 VON KARMAN AVE   STE 150
BETHLEHEM PA 18015                      NEWPORT NEWS VA 23606                      NEWPORT BEACH CA 92660




KOLLER, TIMOTHY L                       KOLLIN, JOSEPH                             KOLODZIEJ, CAROL
5 APPLE HILL LANE                       1429 SE MIAMI RD 7                         1808 HEWITT ST 01005
YORK PA 17402                           FORT LAUDERDALE FL 33316                   STREATOR IL 61364




KOLOSKY, DAVID EDWARD                   KOLSBY, PAUL                               KOLYER, ALEXANDER
1750 WOODBRIDGE LN                      1385 ALLISON AVE                           16565 NE 26 AVE NO.3E
CENTER VALLEY PA 18034                  LOS ANGELES CA 90026                       NORTH MIAMI BEACH FL 33160




KOMAIKO, LESLEE                         KONCZ, WADE O                              KONDO, BETH
5456 LEMONA AVE                         711 N LACROSSE ST                          527 N ASHLAND NO.2
SHERMAN OAKS CA 91411                   ALLENTOWN PA 18109                         CHICAGO IL 60622




KONGANDA BELLIAPPA                      KONHEIM, ORRIN REED                        KONICA MINOLTA BUSINESS SOLUTIONS INC
77 N. HOLLISTON AVE                     2771 N QUINCY STREET                       P.O. BOX 403718
APT 5                                   ARLINGTON VA 22207                         ATLANTA GA 30384-3718
PASADENA CA 91106




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KONICA MINOLTA BUSINESS SOLUTIONS INC    KONICA MINOLTA BUSINESS SOLUTIONS INC       KONICA MINOLTA BUSINESS SOLUTIONS INC
13847 COLLECTIONS CENTER DRIVE           21146 NETWORK PLACE                         305 W BIG BEAVER RD
CHICAGO IL 60693                         CHICAGO IL 60673-1211                       TROY MI 48084




KONICA MINOLTA BUSINESS SOLUTIONS INC    KONICA MINOLTA BUSINESS SOLUTIONS INC       KONICA MINOLTA BUSINESS SOLUTIONS INC
101 WILLIAMS DR                          P O BOX 29721                               LEASE ADMINSTRATION CENTER
RAMSEY NJ 07446                          NEW YORK NY 10087-9721                      PO BOX 371992
                                                                                     PITTSBURGH PA 15250-7992



KONICA MINOLTA BUSINESS SOLUTIONS INC    KONICA MINOLTA BUSINESS SOLUTIONS INC       KONICA MINOLTA GRAPHIC IMAGING USA INC
PO BOX 7247-0322                         PO BOX 911316                               25662 ATLANTIC OCEAN DR
PHILADELPHIA PA 19170-0322               DALLAS TX 75391-1316                        LAKE FOREST CA 92630




KONICA MINOLTA GRAPHIC IMAGING USA INC   KONICA MINOLTA GRAPHIC IMAGING USA INC      KONICA MINOLTA GRAPHIC IMAGING USA INC
1072 S POWERLINE ROAD                    1072 S POWERLINE ROAD                       46921 ENTERPRISE COURT
DEERFIELD BEACH FL 33442                 ATTN PHIL FUSSEL                            WIXOM MI 48393
                                         142177
                                         DEERFIELD BEACH FL 33442


KONICA MINOLTA GRAPHIC IMAGING USA INC   KONICA MINOLTA GRAPHIC IMAGING USA INC      KONICA MINOLTA GRAPHIC IMAGING USA INC
LB 78240                                 71 CHARLES STREET                           71 CHARLES STREET
PO BOX 78000                             FAX 800-204-4291                            GLEN COVE NY 11542-2837
DETROIT MI 48278-0240                    MELISSA ID 282087 PARTS
                                         GLEN COVE NY 11542


KONICA MINOLTA GRAPHIC IMAGING USA INC   KONICA MINOLTA GRAPHIC IMAGING USA INC      KONICA MINOLTA GRAPHIC IMAGING USA INC
71 CHARLES STREET                        ATTN: ORDER PROCESSING                      PO BOX 9148
PARTS DEPARTMENT                         CUSTNO. 192155                              UNIONDALE NY 11553-9148
ACCT 142177                              71 CHARLES STREET
GLEN COVE NY 11542-2837                  GLENCOVE NY 11542


KONKEL, DON                              KONSTANTEN DANIELYAN                        KOOBIR, ASHLEY
ACCT NO.8265                             7934 VARNA AVENUE                           7241 NW 46 ST
PO BOX 0862                              PANORAMA CITY CA 91402                      LAUDERHILL FL 33319
LAKE GENEVA WI 53147



KOOIMAN, PETER J                         KOONCE, DONNIE                              KOONTZ, JOSEPH
24661 LA CRESTA DR     APT 12            3051 S PALM AIRE DR NO.207                  10 WALL ST FLR 2
DANA POINT CA 92629                      POMPANO BEACH FL 33069                      WALLINGFORD CT 06492-4709




KOPACH, KITT J                           KOPACZ, MELANIE J KUZMINSKI                 KOPELNITSKY, IGOR
300 STONEGATE RD                         3005 SAGANASHKEE LN                         58 SUMMERFIELD DR
BOLINGBROOK IL 60440                     NAPERVILLE IL 60564                         HOLTSVILLE NY 11742




KOPF, FRED                               KOPF,KLAUS                                  KOPITZKE, CASEY EYAN
2280 COVENTRY RD                         8096 MERLEWOOD AVE                          1907 RIVERSIDE DR NO.F
BALDWIN NY 11510                         LAS VEGAS NV 89117                          GREEN BAY WI 54313




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KOPITZKE, CASEY EYAN                    KOPP, JOHN                                 KOPPEL, DALE PHD
7368 LEMKE ROAD                         11 PROSPECT RD                             4 DANVIN COURT
GREENLEAF WI 54126                      STRASBURG PA 17579                         ROCKPORT MA 01966




KOPPELMAN, ANDREW                       KOPPELMAN, CHARLES                         KOPPER, JAMES L.
735 CLINTON PL                          2419 B JEFFERSON AVE                       7768 LAKESIDE BLVD
EVANSTON IL 60201                       BERKELEY CA 94703                          APT 531
                                                                                   BOCA RATON FL 33434



KORB, LAWRENCE J                        KORB, MICHAEL                              KORB, MICHAEL
203 YORKWAY PARKWAY NO.908              30 WHISTLER CT UNIT 116                    30 WHISTLER CT UNIT 116
ALEXANDRIA VA 22304                     SARATOGA NY 12866                          SARATOGA SPRINGS NY 12866




KORCHEK, JEFFREY                        KORD STANLEY                               KOREAN AMERICAN COALITION
17755 ALONZO PL                         407 PACIFIC STREET                         3727 W SIXTH ST STE 515
ENCINO CA 91316                         #3                                         LOS ANGELES CA 90020
                                        BROOKLYN NY 11217



KOREEN VANN                             KORELLIS, PATRICK                          KORETKE, PAUL
23 GRANT HILL                           1465 MCCLELLAN DR                          ACCT 3650
BLOOMFIELD CT 06002                     LINDENHURST IL 60046                       PO BOX 67
                                                                                   NAPERVILLE IL 60566-0067



KORETKE, PAUL                           KOREY MICKEY                               KORMAN, ALEXIS
PO BOX 67                               21724 43RD DRIVE SE                        419 W 56TH ST APT 3D
NAPERVILLE IL 60566-0067                BOTHELL WA 98021                           NEW YORK NY 10019




KORMYLO, DEBRA J                        KORN, DIANE                                KORN, EVAN
1220 COURTNEY CHASE CIR NO.1138         12 PERKINS ST                              110 ELLIMAN PL
ORLANDO FL 32837                        WINSTED CT 06098                           SYOSSET NY 11791




KORN/FERRY INTERNATIONAL                KORNBERG, ALLISON                          KORNBLUTH, JESSE
NW 5064                                 509 N MAPLE DR                             4 EAST 95TH STREET
PO BOX 1450                             BEVERLY HILLS CA 90210                     NEW YORK NY 10128
MINNEAPOLIS MN 55485-5064



KORNFELD, JASON                         KOROBKIN, RUSSELL                          KORP, THOMAS EDWARD
1907 DEERPARK DR APT 480                UCLA SCHOOL OF LAW                         650 BARRYMORE ST
FULLERTON CA 92831                      408 S BENTLEY AVE                          PHILLIPSBURG NJ 08865
                                        LOS ANGELES CA 90049



KORTE, DIANA                            KORZEN, ANNIE                              KORZYNIEWSKI, STEFANIE
564 LINDEN PARK COURT                   8110 BLACKBURN AVE                         4555 S KARLOV AVE
BOULDER CO 80304                        LOS ANGELES CA 90048                       CHICAGO IL 60632




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KOSCHMIEDER, RYAN J                   KOSCIOLEK, ASHLEY                           KOSIK SR, GERALD
377 BENHAM RD                         922 NORTH BERKS STREET                      972 W TILGHMAN ST
GROTON CT 06340                       ALLENTOWN PA 18104                          ALLENTOWN PA 18102




KOSKEY JR, EDWARD A                   KOSKO,DEBORAH                               KOSMAN, JASON
239 W BERWICK ST                      76 BENHAM ST                                843 1/2 N 6TH ST
EASTON PA 18042-6633                  BRISTOL CT 06010-7510                       ALLENTOWN PA 18102




KOSMOPOULOS, NICOLE M                 KOSMOWORKS LLC                              KOSNETT, RENA
9406 C BOCA GARDENS PARKWAY           115 STILL HILL ROAD                         511 N HARPER AVE
BOCA RATON FL 33496                   HAMDEN CT 06518                             LOS ANGELES CA 90048




KOSOFF, BARBARA                       KOSS-FEDER, LAURA                           KOSSOVER & COMPANY INC
1115 5TH ST NO.109                    4019 JUDITH LANE                            1628 WARSAW POINTE
SANTA MONICA CA 90403                 OCEANSIDE NY 11572-4200                     MARIETTA GA 30062




KOSTAS ASTIFIDIS                      KOSTIUK, MICHAEL                            KOSTOCHKO, VERA
15 GIBBONS BOULEVARD                  11 SEYMOUR ST                               17 GANTLEY RD
COCKEYSVILLE MD 21030                 MANCHESTER CT 06042                         WINDSOR LOCKS CT 06096




KOSZYK, MARY                          KOTKIN, JOEL                                KOTKIN, JOEL
7010 W. 110TH ST                      12364 EMELITA ST                            13351D RIVERSIDE DRIVE NO.651
WORTH IL 60482                        VALLEY VILLAGE CA 91607                     SHERMAN OAKS CA 91423




KOTLOWITZ, ALEX                       KOTSIOPOULOS, GEORGE                        KOTULAK, RONALD M
141 S HARVEY AVENUE                   8612 WONDERLAND AVE                         737 N OAK PARK AVE
OAK PARK IL 60302                     LOS ANGELES CA 90046                        OAK PARK IL 60302




KOTZ, DONALD                          KOUDOU, EULOGE P                            KOURI, EMILIO
1060 BIGLEY ROAD                      3450 BLUE LAKE DR NO.D505                   5407 S GREENWOOD AVE
DANIELSVILLE PA 18038                 POMPANO BEACH FL 33064                      CHICAGO IL 60615




KOUTSOPOULOS,JAMES                    KOVACS, JOSEPH                              KOWAL, JESSICA
626 FORBES ST                         1135 4TH ST                                 2313 E VALLEY STREET
EAST HARTFORD CT 06118                CATASAUQUA PA 18032                         SEATTLE WA 98112




KOWALEWSKI, IRENE                     KOWALSKY, JEFFREY ALAN                      KOWALSKY, JEFFREY ALAN
1564 VERACRUZ LN                      26150 W 12 MILE ROAD                        5228 COLD SPRING LN
WESTON FL 33327                       NO.A-43                                     WEST BLOOMFIELD MI 48322
                                      SOUTHFIELD MI 48034




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KOZA, IZASLAV                        KOZAK, KENNETH                             KOZAK, MARY ELIZABETH
3400 PERRIWINKLE CT APT 103          5930 W FITCH AVE                           504 LLYOD FOX PLACE
PALM BEACH GARDENS FL 33410          CHICAGO IL 60646                           UNIT M
                                                                                BEL AIR MD 21014



KOZIOL, NINA                         KOZLAK, CORRINE                            KOZLOWSKI, ALEX
11925 FORD ROAD                      9444 AVERS AVE                             15 1/2 FOREST ROAD
PALOS PARK IL 60464                  EVANSTON IL 60203                          WHEELING WV 26003




KOZLOWSKI,MARTIN                     KOZYRA, DEBRA L                            KPA MEDIA INC
C/O LUCIDA ST                        105 LITTLEBROOK DR                         369 PINE ST   STE 620
309 LIMESTONE RD                     NEWINGTON CT 06111-5304                    SAN FRANCISCO CA 94104
RIDGEFIELD CT 06877



KPFF CONSULTING ENGINEERS            KPFF CONSULTING ENGINEERS                  KPM NEWS INC
1601 FIFTH AVE STE 1600              1610 FIFTH AVE   STE 1600                  4228 FLORENCE AVE 00702
SEATTLE WA 98101                     SEATTLE WA 98101                           DOWNERS GROVE IL 60515




KPMG LLP                             KPMG LLP                                   KPMG LLP
PO BOX 3031                          1305 WALT WHITMAN RD NO.200                345 PARK AVENUE
ORLANDO FL 32802                     MELVILLE NY 11747                          NEW YORK NY 10154




KPMG LLP                             KPMG LLP                                   KPMG LLP
717 N HARWOOD STREET                 DEPT 0522                                  DEPT 0970
DALLAS TX 75201-6585                 PO BOX 120001                              PO BOX 120001
                                     DALLAS TX 75312-0522                       DALLAS TX 75312-0970



KR ETTER DISTRIBUTORS LLC            KRAFT, CURTIS A JR                         KRAFT, DENISE
2704 VERGILS COURT                   19108 SYCAMORE GLEN DRIVE                  2451 NE 16TH ST
CROFTON MD 21114                     TRABUCO CANYON CA 92679                    POMPANO BEACH FL 33062




KRAFT, PETER R                       KRAGE, RICK                                KRAIG MINTERS
98 NILAN STREET                      68 S CHURCH ST                             1331 E 139TH STREET
HARTFORD CT 06106                    MACUNGIE PA 18062                          ROSEWOOD CA 90220




KRAMER, JEROME                       KRAMER, LINDSAY                            KRAMKA, JENNIFER
171 W 79TH ST NO 43                  3238 FAR REACH DR                          670 ORANGE ST
NEW YORK NY 10024                    BALDWINSVILLE NY 13027                     ELGIN IL 60123




KRAMKA, JENNIFER                     KRAMPE, RACHELLE MARIE                     KRANE, STUART
670 ORANGE ST                        512 LENAPE PATH                            1930 BROADWAY NO. 26D
ELGIN IL 61023                       COLUMBIA TN 38401                          NEW YORK NY 10023




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KRANICH, DONNA                         KRANITZ,RICHARD A                          KRANZLEY, GLENN G
14 DELAWARE ST                         6344 W BUCKSKIN TRAIL                      839 MAGNOLIA ROAD
HUNTINGTON NY 11743                    PHOENIX AZ 85310                           HELLERTOWN PA 18055




KRASNIQI, HANE                         KRASSNER, PAUL                             KRATTENMAKER, TOM
76 HIGHLAND RD                         9829 SAN SIMEON DRIVE                      1314 NW IRVING STREET 211
STAMFORD CT 06902                      DESERT HOT SPRINGS CA 92240                PORTLAND OR 97209




KRATZER, GARY                          KRATZERT, BRUCE                            KRATZERT, LYNN MARIE
446 HAHN RD                            791 OLD TREELINE TRL                       791 OLD TREELINE TRAIL
NAZARETH PA 18064                      STE 5237                                   DELAND FL 32724
                                       DELAND FL 32724



KRAUL, CHRISTIAN W                     KRAUS, PEGGY K                             KRAUS,RICHARD
MEXICO CITY BUREAU                     82 SPRINGVILLE ROAD                        25 LUCILLE DRIVE
LA TIMES FOREIGN DESK                  HAMPTON BAYS NY 11946                      SOUTH SETAUKET NY 11720
202 W 1ST ST
LOS ANGELES CA 90053


KRAUSE, ADAM                           KRAUSE, DAVID EMMETT                       KRAUSE, FREDERICK (JIM)
15 GREENPOINT AVE     APT B7           2100 W 135TH AVENUE                        4610 LA CRESTA DR
BROOKLYN NY 11222                      WESTMINSTER CO 80234                       COLORADO SPRINGS CO 80918




KRAUSE, GRETA                          KRAUSE, JON                                KRAUSE, LISA
115 CYPRESS DR                         2924 DISSTON ST                            1531 BRAZILIAN LANE
QUAKERTOWN PA 18951                    PHILADELPHIA PA 19149                      WINTER PARK FL 32792




KRAUSE, MARLA                          KRAVEC,KENNETH                             KRAVITZ, DONALD B
2234 CHESTNUT AVE                      6752 TAEDA DRIVE                           PO BOX 173
WILMETTE IL 60091                      SARASOTA FL 34241                          SOMERS POINT NJ 08244




KRAWIEC, AARON P                       KRAWITZ, ALAN J                            KRCMAR, STEPHEN
4682 PINEVIEW DR                       200 STAPLES ST                             1634 WESTERLY TERRACE
HAMBURG NY 14075                       FARMINGDALE NY 11735                       LOS ANGELES CA 90026




KREBS, MIGUEL                          KREBSBACH,TIMM                             KRECICHWOST, DANIEL
810 VERONICA CIR                       20703 DONIELLE COURT                       21 W 58TH ST APT NO.7A
OCOEE FL 34761                         WILDOMAR CA 92595                          CLARENDON HILLS IL 60514




KREMPASKY, JOSEPH                      KREMSER, GEFFORY                           KRENECK, KEVIN
28 MICHAEL AVE                         16480 SOUTH POST RD. # 203                 1507 HOLLYWOOD AVENUE
EAST HARTFORD CT 06108                 WESTON FL 33331                            DALLAS TX 75208




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KRESGE, PHYLLIS                        KRESTEL, PERRY                             KRESTEL, PERRY
RR4 BOX 7704                           14310 MALLARD DR                           16400 S 105TH CT 25621
SAYLORSBURG PA 18353                   25621                                      ORLAND PARK IL 60467
                                       HOMER GLEN IL 60491



KREUTZER, LINDSEY                      KRICKE, DANIEL J                           KRIEGER, DAVID J
100 E WALTON NO18A                     1679 COLUMBIA CIRCLE UNIT 3                1958 KING WAY
CHICAGO IL 60611                       BARTLETT IL 60103                          DENVER CO 80204




KRIER, KEVIN                           KRIJGER, STEVE                             KRIKORIAN, MARK
1226 SAN EDUARDO DR                    18 TOTOKET ROAD                            9602 JUDGE CT
HENDERSON NV 89015                     QUAKER HILL CT 06375                       VIENNA VA 22182




KRIS ANGUIANO                          KRIS STEVEN ENTERPRISES INC                KRISBERG, BARRY
20929 VENTURA BLVD                     22362 DARDENNE STREET                      1530 EDITH STREET
STE. 47-296                            CALABASAS CA 91302                         BERKLEY CA 94703
WOODLAND HILLS CA 91364



KRISHNA BARRETT                        KRISHNAN PRODUCTIONS LLC                   KRISHNAN, KARUNYA
5310 NW 32ND STREET                    159 MADISON AVE   APT 11F                  11865 NW 9TH ST
MARGATE FL 33063                       NEW YORK NY 10016                          CORAL SPRINGS FL 33071




KRISTA FLORES                          KRISTA LOUDEN                              KRISTA MANN
6746 W. 19TH STREET                    338 W 19TH STREET #3A                      4351 THIRD STREET
BERWYN IL 60402                        NEW YORK NY 10011-3958                     TREICHLERS PA 18086




KRISTA MCMANUS                         KRISTA SPIES                               KRISTA VAN SAUN
PO BOX 1387                            4006 N ROHRBAUGH RD                        8 RODNEY PL
ISSAQUAH WA 98027                      SEVEN VALLEYS PA 17360                     DEMAREST NJ 07627-2234




KRISTAL ADAMS                          KRISTAN HARVEY                             KRISTEN ANDERSON
2723 KENWOOD AVE                       57 GALESVILLE ROAD                         9648 RICHMOND AVENUE
LOS ANGELES CA 90007                   GREENWICH NY 12834                         EVERGREEN PARK IL 60805




KRISTEN ANDERSON                       KRISTEN BENWITZ                            KRISTEN BREWER
3450 N. LAKESHORE DRIVE                1616 W. MONTROSE AVE.                      707 W. DIVERSEY PKWY.
#311                                   APT. #3J                                   CHICAGO IL 60614
CHICAGO IL 60657                       CHICAGO IL 60613



KRISTEN COHANE                         KRISTEN COTA                               KRISTEN DRESCHER
29 FOREST HILLS LANE                   9 GENOA ROAD                               134 PADEN COURT
WEST HARTFORD CT 06117                 NORWALK CT 06851                           FOREST HILL MD 21050




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KRISTEN ECCLES                          KRISTEN FAUST                              KRISTEN GABY
5130 W. WINNEMAC                        919 W. ALTGELD                             32 CLAFLIN COURT
CHICAGO IL 60630                        APT. #3                                    FRANKLIN SQUARE NY 11010
                                        CHICAGO IL 60614



KRISTEN KRIDEL                          KRISTEN LAMEY                              KRISTEN LONG
2970 N. SHERIDAN RD.                    849 HARVEST LAKE DRIVE                     21311 WINDY HILL DRIVE
APT. #931                               BROWNSBURG IN 46112                        FRANKFORT IL 60423
CHICAGO IL 60657



KRISTEN MCNEILL                         KRISTEN MELAMED                            KRISTEN MERTENS
1505 FAYMONT AVE                        2327 WILLOW VALE DRIVE                     6823 CHELSEA RD.
MANHATTAN BEACH CA 90266                FALLSTON MD 21047                          TINLEY PARK IL 60477




KRISTEN MINERO                          KRISTEN MROZ                               KRISTEN MUKAE
272 MARILYN COURT                       3600 N LAKE SHORE DRIVE                    1423 9TH STREET
EAST ISLIP NY 11730                     1119                                       APT #10
                                        CHICAGO IL 60613                           SANTA MONICA CA 90401



KRISTEN O'NELL                          KRISTEN PAOLILLO                           KRISTEN REED
583 COVENTRY COURT                      90 HILL STREET                             8814 CITRUS VILLAGE DR.
NORTHAMPTON PA 18067                    1ST FLOOR                                  #104
                                        EAST HAVEN CT 06512                        TAMPA FL 33626



KRISTEN STONE                           KRISTEN WINDSOR                            KRISTI ELLIOTT
2041 ROYAL OAKS DRIVE #238              1012 SPARROW WAY                           3115 W. DIVERSY AVENUE
SACRAMENTO CA 95815                     BREINIGSVILLE PA 18031                     APT 1E
                                                                                   CHICAGO IL 60647



KRISTI IKEMIRE                          KRISTI KOFFEL                              KRISTI MELLEN
3418 N. WOLCOTT, UNIT 1                 3404 CASTEEN RD.                           2801 NW 107TH AVE
CHICAGO IL 60657                        LEESBURG FL 34748                          CORAL SPRINGS FL 33065




KRISTIAN RODRIGUEZ                      KRISTIANSEN, SANDRA                        KRISTIE HOWELL VANGUILDER
14961 SW 147TH COURT                    PO BOX 189                                 12255 W. 105TH CIRCLE
MIAMI FL 33196                          GUNPOWDER MD 21010                         ST. JOHN IN 46373




KRISTIN ANDERSON                        KRISTIN ANDROS                             KRISTIN BENJAMIN
P.O. BOX 2402                           14 METACOMET DRIVE                         402 S 18TH STREET
FORT LAUDERDALE FL 33303                MERIDEN CT 06450                           ALLENTOWN PA 18104




KRISTIN BROWN                           KRISTIN BURTON                             KRISTIN CALLINAN
2014 PAGE AVE                           625 S UNION AVE                            211 PROSPECT STREET
ORLANDO FL 32806                        2                                          2ND FLOOR
                                        HAVRE DE GRACE MD 21078                    MIDDLETOWN CT 06457




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KRISTIN CHILBERG                      KRISTIN DEHAAN                             KRISTIN DOLL
111 DEBBIE DRIVE                      4409 1/2 GREENVIEW AVENUE                  838 15TH STREET
SOUTH WINDSOR CT 06074                APT. #2W                                   HERMOSA BEACH CA 90254
                                      CHICAGO IL 60640



KRISTIN FOCHT                         KRISTIN FORD                               KRISTIN HEY
853 W. CORNELIA AVENUE                13760 BLUE LAGOON WAY                      2116 FALKNER RD.
APT #1S                               ORLANDO FL 32828                           MAITLAND FL 32751
CHICAGO IL 60657



KRISTIN KARNOPP                       KRISTIN KOLIADA                            KRISTIN KROPP
4707 N HERMITAGE AVE                  24 ORCHARD STREET                          29 LINDEN STREET
#2                                    APT A                                      NEW BRITAIN CT 06051
CHICAGO IL 60640                      GLENS FALLS NY 12801



KRISTIN MCGURK                        KRISTIN MORRIS                             KRISTIN NUZZO
34 11TH AVENUE                        3600 N. LAKE SHORE DR.                     1148 W MONROE
FARMINGDALE NY 11735                  APT 2108                                   #4NE
                                      CHICAGO IL 60613                           CHICAGO IL 60607



KRISTIN O'CONNOR                      KRISTIN RANTA                              KRISTIN REILLY
2600 NETHERLAND AVENUE                442 N SUNNYSLOPE                           5203 NE 24TH TERRACE
APT. 2409                             PASADENA CA 91107                          APT B206
RIVERDALE NY 10009                                                               FORT LAUDERDALE FL 33308



KRISTIN SAMUELSON                     KRISTIN SHEA                               KRISTIN SULLIVAN-STOESSER
1914 W. CULLOM AVE                    2041 NORTH BISSELL STREET                  351 WEST MICHIGAN AVE.
#3                                    UNIT ONE                                   PALATINE IL 60067
CHICAGO IL 60613                      CHICAGO IL 60614



KRISTIN SZYLUK                        KRISTIN WHITE                              KRISTIN WILLIAMS
7415 OLIN WAY                         111 HARLAN DRIVE                           104 1/2 BREEZE AVENUE
ORLANDO FL 32822                      YORKTOWN VA 23692                          VENICE CA 90291




KRISTIN WINDSOR                       KRISTIN WNUK                               KRISTINA AUDENCIAL
668 N. ORANGE AVENUE                  64-15 183RD STREET                         9719 DEER TRAIL DRIVE
APT. 5402                             FRESH MEADOWS NY 11365                     SAN DIEGO CA 92127
ORLANDO FL 32801



KRISTINA BALLAS                       KRISTINA BEHR                              KRISTINA CRAIG
2252 W. BERTEAU AVENUE                1520 YORK AVENUE                           1429 W WINNEMAC
UNIT #1                               APT. 3A                                    1
CHICAGO IL 60618                      NEW YORK NY 10028                          CHICAGO IL 60640



KRISTINA GELAZIS                      KRISTINA HINTZ                             KRISTINA KEARNS
6442 CAVALLERI ROAD                   14935 W HARCOVE DRIVE                      256 HALLS POND ROAD
MALIBU CA 90265                       NEW BERLIN WI 53151                        SALEM NY 12865




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KRISTINA LEE                           KRISTINA LIBERATORE                         KRISTINA LINDGREN
13788 RUETTE LE PARC                   4553 N. MAGNOLIA AVE.                       18902 PARKVIEW TERRACE
APT C                                  #506                                        SANTA ANA CA 92705
DEL MAR CA 92014                       CHICAGO IL 60640



KRISTINA MERIS                         KRISTINA MOELLERING                         KRISTINA RINELLA
8920 PAULHAUS WAY                      2908 W. BELMONT AVE.                        12 EAST SQUIRE DRIVE
ELK GROVE CA 95758                     APT. #401                                   APT 3
                                       CHICAGO IL 60618                            ROCHESTER NY 14623



KRISTINA SILLERS                       KRISTINE ANN BROUILLARD                     KRISTINE BUTLER
3180 CESSNA DRIVE                      9219 LONGFELLOW PL                          12703 MARINERS COURT
CAMERON PARK CA 95682                  APOPKA FL 32703                             APT. #5
                                                                                   NEWPORT NEWS VA 23606



KRISTINE FITZPATRICK                   KRISTINE HOLLAND                            KRISTINE REYNOLDS
24105 DEL MONTE DR #456                435 N. MICHIGAN AVE.                        8930 BECK PLACE
VALENCIA CA 91355                      CHICAGO IL 60611                            HOMETOWN IL 60456




KRISTINE ROLLINS                       KRISTINE TOLZMANN                           KRISTINE WENDT
6 CROYDON ROAD                         BLUESTONE LAKE CT                           26 E. PEARSON ST.
AMITYVILLE NY 11701                    #13771                                      #1904
                                       DAVIE FL 33325                              CHICAGO IL 60611



KRISTOF, KATHY                         KRISTOFER ANNECHIARICO                      KRISTOFF, KIMBERLY K
905 GREEN LANE                         342 NEWTOWN TPKE                            56 CHURCH ST WEST
LA CANADA CA 91011                     REDDING CT 06896                            GREENWICH CT 06830




KRISTOPHER FORTIN                      KRISTOPHER KETTNER                          KRISTOPHER SAVA
2121 S. CURTIS AVENUE                  2214 W.AINSLIE ST                           2129 BANKS ST
ALHAMBRA CA 91803                      APT 1                                       HOUSTON TX 77098
                                       CHICAGO IL 60625-1902



KRISTY FURG PHOTOGRAPHY                KRISTY MAY PHOTOGRAPHY                      KRISTY ROBINSON
1508 BAY RD NO.273                     159 CALYER ST   APT 1R                      308 AQUAHART RD
MIAMI BEACH FL 33139                   BROOKLYN NY 11222                           GLEN BURNIE MD 21061




KRISTY TAMBURELLO                      KRISTYN SCHIAVONE                           KRITZ, FRANCESCA LUNZER
49 HARNESS DRIVE                       1630 CHICAGO AVENUE                         11702 LOVEJOY ST
SOUTHINGTON CT 06489                   #901                                        SILVER SPRING MD 20902
                                       EVANSTON IL 60201



KROESCHELL ENGINEERING COMPANY         KROESCHELL ENGINEERING COMPANY              KROHN, JACLYN
215 W ONTARIO STREET                   3222 N KENNICOTT                            3420 N LAKESHORE DR NO. 14K
CHICAGO IL 60610                       ARLINGTON HEIGHTS IL 60004                  CHICAGO IL 60657




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KROLL ASSOCIATES INC                    KROLL ASSOCIATES INC                       KROLL BACKGROUND AMERICA
PO BOX 30835                            ACCOUNTING DEPARTMENT                      PO BOX 1418
NEWARK NJ 07188-0835                    900 THIRD AV 7TH FLR                       COLUMBUS GA 31902-1418
                                        NEW YORK NY 10022-4751



KROMA PRINTING INDUSTRIES CORP          KROMM, CATHERINE A                         KRONICK MOSKOVITZ TIEDEMANN & GIRARD
875 AVENUE OF THE AMERICAS SUITE 1702   1523 KIRKWOOD RD.                          400 CAPITOL MALL 27TH FLR
NEW YORK NY 10001                       BALTIMORE MD 21207                         SACRAMENTO CA 95814-4417




KRONINGER, STEPHEN                      KRONOS INCORPORATED                        KRONOS INCORPORATED
303 MERCER STREET                       1515 WOODFIELD ROAD                        297 BILLERICA ROAD
NO.B 304                                SUITE 400                                  CHELMSFORD MA 01824
NEW YORK NY 10003                       SCHAUMBURG IL 60173



KRONOS INCORPORATED                     KRONOS INCORPORATED                        KROPP, JOHN
PO BOX 4295                             PO BOX 845748                              1016 HERZEL BLVD.
BOSTON MA 02211                         BOSTON MA 02284-5748                       WEST BABYLON NY 11704




KROSAN DEVELOPMENT, LLC                 KRUCHUN, ELAINE                            KRUCKEMYER, GENE R
RE: HAMMOND 3500 179TH STREET           87 EASTWICK RD                             608 ELM AVE
2009 W. GLEN PARK                       NEW BRITAIN CT 06053                       SANFORD FL 32771
GRIFFITH IN 46319



KRUEGER TOWER INC                       KRUEGER TOWER INC                          KRUEGER, RONALD
114 N WASHINGTON                        251 JEFFERSON DR                           6167 EAST KNOLL NO.499
GENOA IL 60135                          KINGSTON IL 60145                          GRAND BLANC MI 48439-5031




KRUKENBERG, CLAIRE E                    KRULL, BEN                                 KRULL, RANDY
2531 VILLAGE RD                         234 EAST 77 STREET APT 5D                  2521 IVES AVE
CHARLESTON IL 61920-4233                NEW YORK NY 10075                          ORLANDO FL 32806




KRULL, ROXANN                           KRUMPER, LISA M                            KRUMPER, LISA M
5442 W PENSACOLA                        203 LANDINGS BLVD                          4133 BOSTON COURT
CHICAGO IL 60641                        WESTON FL 33327                            WESTON FL 33331




KRUPKA, JAMES T                         KRUSE, DENISE                              KRUSE, DENISE
1631 N 21ST ST                          42 THORNWOOD RD                            2355 AVE BARCELONA OESTE
ALLENTOWN PA 18104                      *WAREHOUSE DEPOT                           WEST PALM BEACH FL 33415
                                        HIGGANUM CT 06441-1258



KRUSE, DYLAN                            KRUSHALL, DEMETRIUS                        KRUSS INC
1309 MARSHALL ST APT 309                1243 W MORSE APT 2E                        915 HUNTINGTON DR
REDWOOD CITY CA 94603                   CHICAGO IL 60626                           ELK GROVE IL 60007




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KRYSTAL BAUGHER                          KRYSTAL BURTON                               KRYSTAL HACKETT
6306 N. MAGNOLA AVE                      10255 DOVER STREET                           5916 CROSS COUNTRY BLVD
APT. 2N                                  #427                                         C
CHICAGO IL 60660                         WESTMINSTER CO 80021                         BALTIMORE MD 21215



KRYSTAL KAUFFMAN                         KRYSTYNA PUGAWKO                             KRYZIA SANTIAGO
4248 MOHICAN DRIVE                       1285 WYNDHAM LANE #103                       621 WEST TURNER STREET
SCHNECKSVILLE PA 18078                   PALATINE IL 60074                            APT #8
                                                                                      ALLENTOWN PA 18102



KRZACZYNSKI, KAMIL S                     KSM PROMOTION INC                            KT NEWS INC
2226 S GOEBBERT RD NO.471                1676 BARCLAY BOULEVARD                       60 W 550 N
ARLINGTON HTS IL 60005-4238              BUFFALO GROVE IL 60089                       VALPARAISO IN 46385




KTLA                                     KTR CAPITAL PARTNERS                         KTR CAPITAL PARTNERS
5800 SUNSET BLVD.                        RE: BOYNTON BEACH 4935 PARK                  RE: FT LAUDERDALE 3026 SW 42N
LOS ANGELES CA 90028                     QUOROM BUSINESS CENTER                       QUOROM BUSINESS CENTER
                                         300 BARR HARBOR DR, 5 TOWER BR, STE 150      300 BARR HARBOR DR., 5 TOWER BR, STE 150
                                         CONSHOHOKEN PA 19428                         CONSHOHOKEN PA 19428


KTVU                                     KTVU                                         KTWB
TWO JACK LONDON SQUARE                   2 JACK LONDON SQUARE                         925 DEXTER AVE N
P.O.BOX 22222                            OAKLAND CA 94607                             SEATTLE WA 98109
OAKLAND CA 94607



KUBA & ASSOCIATES                        KUBA & ASSOCIATES                            KUBALA, CINDY
515 S FIGUEROA ST NO. 321                660 S FIGUEROA ST          STENO. 1280       2407 ROCKPORT RD
LOS ANGELES CA 90071                     LOS ANGELES CA 90017                         ACCT 6931
                                                                                      JANESVILLE WI 53545



KUBANEK, FRANK                           KUBAS CONSULTANTS                            KUBAS, SARA
746 HILLPINE DR NE                       2300 YONGE ST STE 2002                       44 MELANIE LANE
ATLANTA GA 30306                         TORONTO ON M4P 1E4                           COLCHESTER CT 06415




KUBATKO, ROCH E                          KUBIAK, WENDY                                KUBRA DATA TRANSFER LTD
947 B LORIMEL ROAD                       501 WEST WHITING AVE NO.3                    5050 TOMKEN RD
ELDERSBURG MD 21784                      FULLERTON CA 92832                           MISSISSAUGA ON L4W 5B1




KUBRA DATA TRANSFER LTD                  KUBRA DATA TRANSFER LTD                      KUBRA DATA TRANSFER LTD
39577 TREASURY CENTER                    901 PENHORN AVE UNIT B6 & B7                 901 PENHORN AVE UNIT 86
CHICAGO IL 60694-9500                    SECAUCUS NJ 07094                            SECAUCUS NJ 07094




KUBY, RONALD L                           KUCERA, PHILIP E.                            KUCISKA, RAYMOND
119 W 23RD ST   STE 900                  1700 S BAYSHORE LANE APT 4B                  15 CROWN ST
NEW YORK NY 10011                        MIAMI FL 33133                               ROCKVILLE CT 06066




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KUDELKA, JACQUELYN M                    KUDLA, JANET M.                            KUEHL, LISA B
921 N NEVEDA AVE                        4539 VERA CRUZ RD                          1713 N WOLCOTT
APT 3                                   CENTER VALLEY PA 18034                     CHICAGO IL 60622
COLORADO SPRINGS CO 80903



KUEHN, JAMES                            KUEHNE, BRIAN                              KUEKER, ALISSA
1310 SURREY PL                          6990 NW 21 CT                              1525 GRIFFITH PARK BLVD APT 301
ROCKVILLE CENTRE NY 11570               MARGATE FL 33063                           LOS ANGELES CA 90026




KUEKES, GEORGE                          KUETTNER, ANNE MARIE                       KUGEL, SETH
10671 E SAN SALVADOR                    2016 ORIOLE AVE                            35-36 79TH ST NO.43
SCOTTSDALE AZ 85258                     COLORADO SPRINGS CO 80909                  JACKSON HEIGHTS NY 11372




KUGIYA, HUGO                            KUGIYA, HUGO                               KUGLER, LOGAN
C/O NEWSDAY                             717 N 50TH ST                              150 S SAN FERNANDO BLVD NO.305
235 PINELAWN RD                         SEATTLE WA 98103                           BURBANK CA 91502
MELVILLE NY 11747



KUHL, JACKSON                           KUHLMAN, JOHN P                            KUHN PLUMBING CORP
524 RIVERSIDE DR                        428 ASHBURY CT                             2330 W NELSON ST
FAIRFIELD CT 06824                      LEMONT IL 60439                            CHICAGO IL 60618




KUHN PLUMBING CORP                      KUHN, ANNETTE                              KUHN, REGINA MARIE
3161 N HALSTED STREET                   9609 W OLYMPIC BLVD APT H                  3055 N SHEFFIELD APT 3D
CHICAGO IL 60657                        BEVERLY HILLS CA 90212                     CHICAGO IL 60657




KUIL, CHARLES J                         KUILAND NAZARIO, MARCUS                    KUJAWSKI, BETHELLEN
7 MARK DR                               1637 18TH ST                               721 S MAIN ST
HOLBROOK NY 11741                       SANTA MONICA CA 90404                      CROWN POINT IN 46307




KULA, ANDRZEJ                           KULBIDA, MICHAEL                           KULIKOWSKI, WALTER M
5840 W 104TH ST                         5143 S MOBILE                              8344 WALNUT DR
UNIT 301                                CHICAGO IL 60638                           MUNSTER IN 46321
OAK LAWN IL 60453



KULISH, KIM STEPHEN                     KULL, DAVID                                KULP,ROBERT
PO BOX 2344                             5420 TRIBUNE DR                            41 SHERMAN STREET
MARE ISLAND CA 94592                    ORLANDO FL 32812                           CATASAUQUA PA 18032




KUMAR, RAJINDER                         KUMARI KELLY                               KUMMER, CORBY
157 BUENA VISTA DR 09375                14103 SUMMERSET COURT                      112 REVERE STREET
DEKALB IL 60115                         CLERMONT FL 34711                          BOSTON MA 02114




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KUMMER, CORBY                         KUN, JOSH                                  KUNINORI TAKAHASHI
C/O AUERBACH                          1050 PAGODA PLACE                          2108 W. ARMITAGE AVE #3W
24 NEWBERN STREET                     LOS ANGELES CA 90031                       CHICAGO IL 60647
JAMAICA PLAIN MA 02130



KUNKLE, JENNIFER                      KUNKLE, RANDY                              KUNKLE, VICTORIA
1430 NEWPORT AVE                      1114 PECAN LN                              4315 MOUNTAIN CT
NORTHAMPTON PA 18067                  WALNUTPORT PA 18088                        OREFIELD PA 18069




KUNSMAN ROOFING & SIDING INC          KUNSMAN, WILLIAM                           KUNTZ, DOUG
203 WASHINGTON ST                     2344 QUARRY ST                             23 SANDRA RD
FREEMANSBURG PA 18017                 COPLAY PA 18037                            EAST HAMPTON NY 11937




KUNZ INDUSTRIES                       KUO, WEN-PO                                KUPCHAN, CHARLES A
15800 SUNTONE DRIVE                   205 TAAFFE PLACE APT 4R                    3133 CONNECTICUT AVE NW
SOUTH HOLLAND IL 60473                BROOKLYN NY 11205                          APT NO.907B
                                                                                 WASHINGTON DC 20008



KUPCHAN, CHARLES A                    KUPCHAN, CLIFFORD                          KUPRES, DEBORAH A
3133 CONNECTICUT AVE NW NO.907        2701 CALVERT STREET NW APT 1126            437 E RIDGE ST
WASHINGTON DC 20008                   WASHINGTON DC 20008                        LANSFORD PA 18232




KURAITIS, PAUL                        KURITZ SR, JOHN M                          KURLAND, BERNEICE J
873 STONE RD                          226 E NORTH ST                             46 LILIAN LN
WINDSOR CT 06095                      BETHLEHEM PA 18018                         BANGOR PA 18013




KURLANSKY, MARK                       KURLANTZICK, JOSHUA                        KURLANTZICK, JOSHUA
144 W 86TH ST APT 17C                 CARNEGIE ENDOWMENT FOR INTL PEACE          2910 GUILFORD AVE
NEW YORK NY 10024                     1779 MASSACHUSETTS AVE NW                  BALTIMORE MD 21218
                                      WASHINGTON DC 20036



KUROKAWA, NICOLE                      KUROWSKI, JAY D                            KURT DAVIDSON
1301 MASSACHUSETTS AVE NW NO.605      8767 EDGERTON DRIVE                        6320 NW 11TH STREET
WASHINGTON DC 20005                   POWELL OH 43065                            APT 202B
                                                                                 SUNRISE FL 33313



KURT ERICKSON                         KURT FLANSBURG                             KURT GEHRISCH
12 STRAWFIELD ROAD                    4624 SOUTH K STREET                        902 W. DAKIN
UNIONVILLE CT 06085                   APT #B                                     #2
                                      TACOMA WA 98408                            CHICAGO IL 60613



KURT HOLTZ                            KURT JETER                                 KURT LABELLE
9027 AUSTIN AVE.                      1375 NW 81ST AVE                           1512 E. SWAN CIRCLE
MORTON GROVE IL 60053                 BLGD 16                                    BRENTWOOD MO 63144
                                      PLANTATION FL 33322




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KURT LUDWIG                            KURT MANN                                  KURT MARKUS LTD
4358 HUNTLEY CT                        169 JERUSALEM AVENUE                       135 LONE PINE RD
WOODBRIDGE VA 22192                    MASSAPEQUA PARK NY 11762                   KALISPELL MT 59901




KURT MOODY                             KURT MUELLER                               KURT PLOMGREN
1213 IRIS COURT                        4319 NORTH MOZART                          982 WEST 2ND STREET
WESTON FL 33326                        APT 3N                                     APT # 4
                                       CHICAGO IL 60618                           SAN BERNARDINO CA 92410



KURT RICHTER                           KURT STREETER                              KURT STRUVE
1284 PARKER STREET                     2998 HYPERION                              10337 LUBAO STREET
SPRINGFIELD OR 97477                   APT.# 3                                    CHATSWORTH CA 91311
                                       LOS ANGELES CA 90027



KURT TOVEY                             KURT VANDERAH                              KURT WEBER
7826 EAGLE VALLEY PASS                 9241 WOODWARD AVE.                         3338 STEPHEN STREET
INDIANAPOLIS IN 46214                  HIGHLAND IN 46322                          OREFIELD PA 18069




KURTZ JR, HAROLD J                     KURTZ PHELAN, DANIEL                       KURTZ, ANDREW
PO BOX 625                             58 E 68TH ST                               2433 W HADDON 1W
CENTREVILLE MD 21617                   NEW YORK NY 10021                          CHICAGO IL 60622




KURTZ, WARREN                          KURUC, MEL                                 KURZ, DEBORAH
1660 PARK AVENUE                       212 THIRD AVE                              517 WASHINGTON ST
INDEPENDENCE COURT                     BALTIMORE MD 21227                         TAMAQUA PA 18252
QUAKERTOWN PA 18951



KURZAWA, TITUS                         KURZAWA, TITUS                             KUSA-GANNETT CO
1123 COURT STREET                      1123 CT ST                                 500 SPEER BLVD
ALLENTOWN PA 18101                     ALLENTOWN PA 18102                         DENVER CO 80203-4187




KUSAM SHARMA                           KUSBIT, MARY BETH                          KUSHEL, ALEX
18651 E. ARROW HWY.                    240 DICKSON AVE                            5746 NW 38TH TERRACE
APT. A                                 BEN ARON PA 15202                          BOCA RATON FL 33496
COVINA CA 91722



KUSHNER, AMANDA                        KUSTER, JOHN                               KUSTERER, JANET
41 BRIAN LANE                          5 SEBURN DRIVE                             3796 DORSEY SEARCH CIRC
AVON CT 06001                          BLUFFTON SC 29909                          ELLICOT CITY MD 21042




KUSTERER, JANET                        KUTZ, MATTHEW P                            KUTZERA, DALE
3796 DORSEY SEARCH CIRC                5419 N GLENWOOD ST NO.2                    1624 FEDERAL AVENUE NO.15
ELLICOTT CITY MD 21042                 CHICAGO IL 60640                           LOS ANGELES CA 90025




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KUTZTOWN UNIVERSITY FOUNDATION          KUTZTOWN UNIVERSITY FOUNDATION             KUYKENDAL, STEPHANIE
PO BOX 151                              PO BOX 730                                 175 TODD PL NE
KUTZTOWN PA 19530                       KUTZTOWN PA 19530                          WASHINGTON DC 20002




KUYKENDAL, STEPHANIE                    KUYKINDALL, TERRENCE                       KUYKINDALL, TERRENCE
3 HARRIOTT PL                           9414 S MAY                                 5522 S ADA
HARRINGTON PARK NJ 07640                CHICAGO IL 60620                           CHICAGO IL 60620




KUYKINDALL, TERRENCE                    KUZDZAL, ANETA                             KUZNIAR, MARK
5522 S ADA                              9140 W 95TH ST    APT NO.3A                837 SW 56 AVE
CHICAGO IL 60636                        HICKORY HILLS IL 60457                     MARGATE FL 33068




KVCL SAFETY INC                         KVENVIK, DOUGLAS ALAN                      KW CONTROLS INC
10 SOUTH RIVERSIDE PLAZA                PO BOX 3250                                219 RAVENNA ST
SUITE 1800                              FULLERTON CA 92834                         NOKOMIS FL 34275
CHICAGO IL 60606



KWABENA KORSAH                          KWAIT, BRITANY                             KWAME JOSEPH
11 PEARY STREET                         369 DENNIS ST                              301 CHUTNEY DRIVE
WEST BABYLON NY 11704                   OCEANSIDE NY 11572                         ORLANDO FL 32825




KWANG KIM                               KWENCY NORMAN                              KWIATKOWSKI, THERESE A
9950 RESEDA BLVD.                       2148 SE EAST DUNBROOKE ROAD                3644 S. GROVE AVENUE
UNIT #9                                 PORT ST LUCIE FL 34952                     BERWYN IL 60402
NORTHRIDGE CA 91324



KWON,DAEWON                             KWONG, WILLSON                             KY LIM
10531 EDGELEY PL                        800 WOODSTOCK RD                           1820 NEW AVE.
LOS ANGELES CA 90024                    VIRGINIA BEACH VA 23464                    SAN GABRIEL CA 91776




KYANN LEWIS                             KYARA LOMER                                KYFF, ROBERT S
7700 WESTPARK DR                        702 SE SECOND AVE.                         84 RICHMOND LANE
HOUSTON TX 77063                        APT. # 301                                 WEST HARTFORD CT 06117
                                        DEERFIELD BEACH FL 33443



KYKO BARTON                             KYLA WILLIAMSON                            KYLE ANDRUKIEWICZ
2402 HARBOR BLVD                        4422 WEST 47TH STREET                      82 BANTA LANE
APT# 101                                INDIANAPOLIS IN 46254                      DURHAM CT 06422
COSTA MESA CA 92626



KYLE BATY                               KYLE BAUMANN                               KYLE BROWNELL
855 GRANADA PARKWAY                     797 29TH AVENUE                            3 BROOK ROAD
LINDENHURST NY 11757                    #2328                                      HUDSON FALLS NY 12839
                                        DENVER CO 80202




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KYLE BURLINGTON                      KYLE COFIELL                               KYLE CRUM
4 VISTA DEL CERRO                    296 WILLIAMS STREET                        13133 S. CARONDOLET AVE
ALISO VIEJO CA 92656                 GLASTONBURY CT 06033                       CHICAGO IL 60633




KYLE CURRAN                          KYLE FARNSWORTH                            KYLE HIGHTOWER
215 COLLEGE NE APT #2                365 CHILLHOE DR                            617 N HYER AVE.
GRAND RAPIDS MI 49503                CANTON GA 30115                            APT. 1
                                                                                ORLANDO FL 32803



KYLE HIGMAN                          KYLE HUNTER                                KYLE KOENTJE
504 E DENNY WAY                      616 N. SWEETZER AVE. #206                  26 JOSEPH STREET
APT #204                             LOS ANGELES CA 90048                       SAYVILLE NY 11782
SEATTLE WA 98122



KYLE KREBS                           KYLE LEONARD                               KYLE LEWIS
19496 WINDWOOD PARKWAY               250 HAWLEY STREET                          30 BLY AVENUE
NOBLESVILLE IN 46062                 HAWTHORN WOODS IL 60047                    HUDSON FALLS NY 12839




KYLE MAJORS                          KYLE NAIL                                  KYLE ROSS
540 VIA DE LA VALLE                  19801 THORNLAKE AVE                        7709 BRANDYWOOD CIR.
SOLANA BEACH CA 92075                CERRITOS CA 90703                          #151
                                                                                WINTER PARK FL 32792



KYLE SARRAPEDE                       KYLE SYKES                                 KYLE T WEBSTER ILLUSTRATION
44 PERRIDALE COURT                   3343 S CEDAR CREST BLVD                    101 N CHESTNUT ST, APT 10
BABYLON NY 11702                     EMMAUS PA 18049                            WINSTON SALEM NC 27101




KYLE TAYLOR                          KYLE WASHINGTON                            KYLE WEGENER
2416 ISABELLA ST                     2020 W. JACKSON ST.                        10324 MORNING GLORY
EVANSTON IL 60201                    ORLANDO FL 32805                           FOUNTAIN VALLEY CA 92708




KYLE WELLS                           KYLE, LISA RENEE                           KYLEE MARTIN
5514 W. BERENICE AVE.                703 WASHINGTON AVE                         4550 N. OAKLEY AVE. #1
#2                                   OAKMONT PA 15139                           CHICAGO IL 60625
CHICAGO IL 60641



KYLEE SADDLER                        KYMBERLY DOUCETTE                          KYNDRA KINNARD
401 ADVOCATE COURT                   11 ALTA VISTA                              1028 WESTERN AVENUE
UNIT #C                              FOOTHILL RANCH CA 92610                    APT E
NEWPORT NEWS VA 23608                                                           GLENDALE CA 91201



KYNTON CHAN                          KYODO NEWS INTERNATIONAL INC               KYODO NEWS INTERNATIONAL INC
1653 LOGAN STREET                    50 ROCKEFELLER PLZ, 8TH FLR                747 3RD AVE RM 1803
DENVER CO 80203                      NEW YORK NY 10020                          NEW YORK NY 10017




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KYPARISSIOTIS, VASILIOS                KYRA KYLES                                 L & L EXHIBITION MANAGEMENT
10374 BOCA ENTRADA BLVD NO.211         3544 S. MARTIN LUTHER KING DRIVE           7809 SOUTH TOWN CENTER NO.200
BOCA RATON FL 33428                    APT. #2D                                   BLOOMINGTON MN 55431
                                       CHICAGO IL 60653



L & L REALTY LLC                       L & L REALTY, LLC                          L & R PRODUCTIONS
RE: AVON 80 DARLING DR.                RE: AVON 80 DARLING DR.                    87 CHURCH STREET
PO BOX 1527                            80 DARLING ROAD                            EAST HARTFORD CT 06108
80 DARLING DR                          AVON CT 06001
AVON CT 06001


L A MODELS INC                         L A VANVLISSINGEN                          L CLARK MOREHOUSE
7700 W SUNSET BLVD                     105 E LAUREL AVE                           1 OXFORD ROAD
LOS ANGELES CA 90046                   #307                                       LARCHMONT NY 10538
                                       LAKE FOREST IL 60045



L GEORGE BOND                          L HEUREUX, RENEE A                         L LUNA CONSTRUCTION
1329 CHARLESTOWN DRIVE                 109 GEORGE ST                              1915 LA CRESTA ROAD
EDGEWOOD MD 21040                      EAST HAVEN CT 06512                        EL CAJON CA 92021




L RED CORPORATION                      L W PRECISION SHEETMETAL                   L&G DISTRIBUTORS
571 STEWART STREET                     13378 MONTE VISTA AVE                      PO BOX 188
RIDGEFIELD NJ 07657                    CHINO CA 91710                             WOODSTOCK MD 21163




L&L HOLDING COMPANY, LLC               L&L REALTY LLC                             L&P FINANCIAL SERVICES
RE: NEW YORK TWO PARK AVE              PO BOX 1527                                200 RIVER ST.
2 PARK AVENUE                          AVON CT 06001                              LECRETIA
NEW YORK NY 10016                                                                 CARTHAGE MO 64836



L&P FINANCIAL SERVICES                 L&P FINANCIAL SERVICES                     L&P HOME TRANSPORTS
C/O US BANK                            PO BOX 952092 MAIN POST OFFICE             107-23 UNION HALL ST
PO BOX 952092                          ST LOUIS MO 63195-2092                     JAMAICA NY 11433
MAIN POST OFFICE
ST LOUIS MO 63195-2092


L&W NEWSPAPER DIST                     L&W NEWSPAPER DIST                         L'OREAL THOMPSON
1526 MAIN ST                           WILLIS & LINDA WILHELM                     4401 DOWERY LANE
DECATUR IL 62526                       1526 MAIN STREET                           BELCAMP MD 21017
                                       DECATUR IL 62526



L/B VIA COLINAS LLC                    L/B VIA COLINAS LLC                        L2 AGENCY
RE: WESTLAKE VILLAGE 31166 VI          C/O GEORGE LINDER                          4829 GAVIOLA AVE
C/O GEORGE LINDER                      P O BOX 49621                              ENCINO CA 91436
P O BOX 49621                          LOS ANGELES CA 90049
LOS ANGELES CA 90049


L3 COMMUNICATIONS ELECTRON DEVICES     L3 COMMUNICATIONS ELECTRON DEVICES         L3 COMMUNICATIONS ELECTRON DEVICES
22312 NETWORK PLACE                    10 COMMERCE WAY                            PO BOX 13598
CHICAGO IL 60673-1223                  WOBURN MA 01801                            NEWARK NJ 07188-0598




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L3 COMMUNICATIONS ELECTRON DEVICES   L3 COMMUNICATIONS ELECTRON DEVICES         LA ARENA FUNDING LLC
435 MORELAND RD                      70 SUFFOLK COURT                           AEG HUMAN RESOURCES
HAUPPAUGE NY 11788-3994              HAUPPAUGE NY 11788                         OPERATIONS ENGINERRING DEPT
                                                                                1111 S FIGUEROA ST STE 3100
                                                                                LOS ANGELES CA 90015


LA ARENA FUNDING LLC                 LA ARENA FUNDING LLC                       LA BREA HEATING & AIR CONDITION CO, INC
STAPLES CENTER                       STAPLES CENTER                             5601 W SLAUSON AVE
1111 S FIGUEROA ST                   555 17TH STREET STE 2400                   STE 262
LOS ANGELES CA 90015-1306            DENVER CO 80202                            CULVER CITY CA 90230-6598



LA CANADA FLINTRIDGE                 LA CANADA FLINTRIDGE                       LA CANADA FLINTRIDGE
CHAMBER OF COMMERCE & COMMUNITY      EDUCATIONAL FOUNDATION                     PO BOX 869
4529 ANGELES CREST HWY STE 102       4490 CORNISHON AVENUE NO.211               LA CANADA FLINTRIDGE CA 91012
LA CANADA CA 91011                   LA CANADA FLINTRIDGE CA 91011



LA CROSSE TRIBUNE                    LA DEPT OF REVENUE                         LA FASHION AWARDS LLC
401 N THIRD ST                       617 NORTH THIRD STREET                     PO BOX 1739
LA CROSSE WI 54601                   BATON ROUGE LA 70821                       HOLLYWOOD CA 90078-1739




LA FASHION AWARDS LLC                LA FLEUR, DARYL G                          LA FORGIA, JUAN
PO BOX 411883                        244 SOUTH ST   APT 1                       3563 WILES RD NO.305
LOS ANGELES CA 90041                 NORTHAMPTON MA 01060                       COCONUT CREEK FL 33073




LA GRASTA, IRENA                     LA MARR, ELAINE M                          LA OPINION LIMITED PARTNERSHIP
200 W 20TH ST NO.816                 3625 HAMPSTEAD RD                          411 W 5TH ST
NEW YORK NY 10011                    LA CANADA CA 91011                         11TH FLOOR
                                                                                ATTN REBECCA GERMAN
                                                                                LOS ANGELES CA 90013


LA OPINION LIMITED PARTNERSHIP       LA OPINION LIMITED PARTNERSHIP             LA OPINION LIMITED PARTNERSHIP
700 S FLOWER ST     STE 3100         ATTN MARIA PAZ                             ATTN: ACCOUNTS RECEIVABLE
LOS ANGELES CA 90017                 411 W 5TH ST 11TH FLR                      700 S FLOWER
                                     LOS ANGELES CA 90013                       LOS ANGELES CA 90017



LA OPINION LIMITED PARTNERSHIP       LA OPINION LIMITED PARTNERSHIP             LA OPINION LIMITED PARTNERSHIP
CLASSIFIED                           P O BOX 15093                              PO BOX 15010
411 W FIFTH ST                       LOS ANGELES CA 90015-0093                  LOS ANGELES CA 90015-0093
LOS ANGELES CA 90013



LA OPINION LIMITED PARTNERSHIP       LA SALLE UNIVERSITY                        LA SALLE UNIVERSITY
PO BOX 15187                         1900 W OLNEY AVE                           CAREER PLANNING
LOS ANGELES CA 90015                 PHILADELPHIA PA 19141                      PHILADELPHIA PA 19141




LA TOYA WEATHERSBY                   LA VALLEE, KEITH                           LA WATTS TIMES INC
P.O. BOX 4493                        2111 W SUPERIOR ST                         3540 WISHIRE BLVD PH3
GARY IN 46404                        CHICAGO IL 60612                           LOS ANGELES CA 90010




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LA' KISHA BRIGHTFUL                     LA'TANYA LAWRENCE                          LA'TERRANCE THOMPSON
1801 NORTH ROSEDALE AVE                 800 S. WELLS                               721 BUSHKILL STREET
BALTIMORE MD 21216                      UNIT 1203                                  EASTON PA 18042
                                        CHICAGO IL 60607



LA-KISHA THOMPSON                       LA84 FOUNDATION                            LAAKMANN,BARI
11 ALEXANDER ROAD                       2141 W ADAMS BLVD                          3499 COCOPLUM CIRCLE
BLOOMFIELD CT 06002                     LOS ANGELES CA 90018-2040                  COCONUT CREEK FL 33063




LAB SAFETY SUPPLY INC                   LAB SAFETY SUPPLY INC                      LAB SAFETY SUPPLY INC
401 S WRIGHT RD                         A/C NO.6165516                             ACCOUNT 5537764
P O BOX 1368                            PO BOX 5004                                PO BOX 5004
JANESVILLE WI 53547-1368                JANESVILLE WI 53547                        JANESVILLE WI 53547-5004



LAB SAFETY SUPPLY INC                   LAB SAFETY SUPPLY INC                      LAB SAFETY SUPPLY INC
ACCOUNT NO.0000328887                   ACCT 5280751                               ACCT 5497073
P.O. BOX 5004                           PO BOX 5004                                PO BOX 5004
JANESVILLE WI 53547-5004                JAMESVILLE WI 53547-5004                   JANESVILLE WI 53547-5004



LAB SAFETY SUPPLY INC                   LAB SAFETY SUPPLY INC                      LAB SAFETY SUPPLY INC
ACCT NO.0000819930                      ACCT NO.5325209                            DEPT NO.000085859
PO BOX 5004                             PO BOX 5004                                P.O. BOX 5004
JANESVILLE WI 53547-5004                JANESVILLE WI 53547-5004                   JANESVILLE WI 53547-5004



LAB SAFETY SUPPLY INC                   LAB SAFETY SUPPLY INC                      LAB SAFETY SUPPLY INC
PO BOX 1368                             PO BOX 5004                                PO BOX 5004
DEBBIE                                  ACCT NO. 553764                            ACTNO. 0000046818
JANESVILLE WI 53547                     JANESVILLE WI 53547-5004                   JANESVILLE WI 53547-5004



LAB SAFETY SUPPLY INC                   LABADY, ERNST                              LABADY, JEAN-CLAUDE
PO BOX 5004                             715 NE 195TH ST                            5146 NW 6TH ST
JANESVILLE WI 53547-5004                MIAMI FL 33179                             DELRAY BEACH FL 33445




LABAR, HEIDI                            LABARGE, TIMOTHY JOSEPH                    LABARRE, SUZANNE
960 GLASS ST                            2505 SE 11TH AVE STE 356                   284 EASTERN PARKWAY APT 1H
PEN ARGYL PA 18072                      PORTLAND OR 97202                          BROOKLYN NY 11225




LABAUNTA WRIGHT                         LABEL PLUS INC                             LABOR READY
5850 SUNDOWN CIRCLE                     PO BOX 2530                                PO BOX 740435
ORLANDO FL 32822                        HOT SPRINGS CT 71914                       ATLANTA GA 30374




LABOR READY INC                         LABOR READY MID ATLANTA                    LABOR TEMPS INC
4421 S KEDZIE                           PO BOX 820145                              2147 N WESTERN AVE
CHICAGO IL 60632                        PHILADELPHIA PA 19182-0145                 CHICAGO IL 60647




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LABOR TEMPS INC                          LABOSSIERRE, FARAH                          LABOY, CECILIA
PO BOX 2150                              8430 SW 22ND AVENUE                         635 BURNSIDE AVENUE APT 1A
BEDFORD PARK IL 60499-2150               MIRAMAR FL 33025                            EAST HARTFORD CT 06108




LABRACK, JILL                            LABRANCHE, CHARLOTTE                        LABRANCHE, KIRSTEN
325 LAFAYETTE ST APT 5102                121 CHESTERFIELD RD                         103 KRAPF RD
BRIDGEPORT CT 06604                      EAST LYME CT 06333                          ASHFORD CT 06278




LABRANCHE, ROBERTA                       LABRIOLA, LOUIS F                           LABRIOLA, LOUIS F
23 6TH STREET                            4 ELM CREEK DRIVE NO.318                    911 GLENBARD ROAD
NEWINGTON CT 06111                       ELMHURST IL 60126                           GLEN ELLYN IL 60137




LABUNSKI, RICHARD E                      LACCETTI, SILVIO                            LACEWELL, ALAN KEITH
170 CLUB LANE                            435 NORTH 10TH ST                           8816 S NIGHTINGALE WAY
VERSAILLES KY 40383                      FAIRVIEW NJ 07022                           HIGHLANDS RANCH CO 80126




LACEY JORDAN                             LACEY, JENNIFER TERESA                      LACHELLE BUSSELL
31 ARDMOUR DRIVE                         929 W 35TH PLACE 1R                         202 DUKE OF KENT COURT
MASTIC NY 11950                          CHICAGO IL 60609                            T4
                                                                                     COCKEYSVILLE MD 21030



LACHER, IRENE                            LACHER, IRENE                               LACHINE, KARL PAUL
1325A N OLIVE DRIVE                      1660 N WILTON PLACE APT 302                 47 PARRY DR
WEST HOLLYWOOD CA 90069                  LOS ANGELES CA 90028                        CHATHAM ON N7L 2J1




LACISSA COLLUM                           LACKEY, DANIEL B                            LACLAIR, MATTHEW
5542 S MAY                               40 HICKORY HILL RD                          22 TERRACE PL
APT. #1                                  HAMPTON VA 23666                            KEARNY NJ 07032
CHICAGO IL 60621



LACLARE, BARBARA M                       LACLEDE GAS                                 LACROIX, ISLANDE
32 INDIAN RUN                            ACCT NO. 871437-001-5                       610 NW 7TH STREET
ENFIELD CT 06082                         DRAWER 9                                    POMPANO BEACH FL 33060
                                         720 OLIVE STREET
                                         ST. LOUIS MO 63101


LACY, ANYA                               LACY, ANYA                                  LACY, LISA
443 E 87TH ST                            AG NEWS                                     20 DENNETT PL APT 1
CHICAGO IL 60619                         443 E 87TH ST                               BROOKLYN NY 11231
                                         CHICAGO IL 60619



LACY, STEPHEN L                          LADD, JOSEPH                                LADDIE FISHER
600 ROYCROFT AVENUE                      11760 ST ANDREWS PL        APT 103          P. O. BOX 39001
LONG BEACH CA 90814                      WELLINGTON FL 33414                         CHICAGO IL 60639




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LADENA JENNINGS                        LADNIER, COOPER M                          LADON BROOKS
617 NW 15TH AVENUE                     17627 LEMAY ST                             3814 S FLOWER #D
APT 2                                  VAN NUYS CA 91406                          SANTA ANA CA 92707
POMPANO BEACH FL 33069



LADONNA STRICKLAND                     LADONNA YARBER                             LAERCIO, VIEIRA
136 JENNIFER LANE                      6410 S. WINCHESTER AVE.                    3800 NW 3 AVENUE
CALUMET CITY IL 60409                  CHICAGO IL 60636                           POMPANO BEACH FL 33064




LAFAVE, KELLY                          LAFAYETTE HIGH SCHOOL                      LAFAYETTE SQUARE ASSOCIATES LP
61 GRAND STREET                        4460 LONGHILL ROAD                         4 EXECUTIVE BLVD STE 200
MIDDLETOWN CT 06457                    WILLIAMSBURG VA 23188                      SUFFERN NY 10901




LAFFEY & ASSOCIATES PC                 LAFFEY, MARY L                             LAFORTUNE, ANDY
415 CHARTIERS AVE                      1435 W BALMORAL AVE APT 1S                 2769 10 NORTH APT 105
CARNEGIE PA 15106                      CHICAGO IL 60640                           PALM SPRINGS FL 33461




LAFRANCE, THEVERNE                     LAFRANZO, SUZANNE                          LAFROMBOISE, LISA
201 BROOKLYN AVENUE                    1451 HIDEAWAY CIRC                         PATUXENT PUBLISHING CO
WESTBURY NY 11590                      BROWNSBURG IN 46112                        10750 LITTLE PATUXENT PKY
                                                                                  COLUMBIA MD 21044



LAFROMBOISE, LISA                      LAGACE, NORMAND                            LAGAMBINA, GREGG
PETTY CASH                             44 MOUNTAIN VIEW AVE                       1834 GRIFFITH PARK BLVD
PATUXENT PUBLISHING CO                 BRISTOL CT 06010                           LOS ANGELES CA 90026
10750 LITTLE PATUXENT PKY
COLUMBIA MD 21044


LAGEMAN, HEATHER                       LAGOS PORTILLO, KAREN M                    LAGRANT FOUNDATION
314 FELTON ROAD                        8909 NW 28 DR APT NO.F                     626 WILSHIRE BLVD STE 700
TIMONIUM MD 21093                      CORAL SPRINGS FL 33065                     LOS ANGELES CA 90017-2920




LAGRANT FOUNDATION                     LAGRANT, MERYS                             LAGRANT, MERYS
911 WILSHIRE BLVD       STE 2150       89-20 PARK LANE SOUTH      APT 15B         89-20 PARK LANE SOUTH     APT B15
LOS ANGELES CA 90017                   WOODHAVEN NY 11421                         WOODHAVEN NY 11421




LAGUERRE, CLADY                        LAGUNA BEACH PATRIOTS DAY                  LAGUNA COUNTRY MART LTD
2579 DORSON WAY                        PARADE ASSOCIATION                         RE: LAGUNA HILLS 384 FOREST A
DELRAY BEACH FL 33445                  PO BOX 5147                                C/O KOSS REAL ESTATE INVESTMENTS
                                       LAGUNA BEACH CA 92652                      12410 SANTA MONICA BLVD
                                                                                  LOS ANGELES CA 90025


LAGUNA COUNTRY MART LTD                LAGUNA COUNTRY MART LTD                    LAGUNA COUNTY MART, LTD
12410 SANTA MONICA BLVD                C/O KOSS REAL ESTATE INVESTMENTS           RE: LAGUNA HILLS 384 FOREST A
LOS ANGELES CA 90025                   12410 SANTA MONICA BLVD                    C/O KOSS REAL ESTATE INVESTMENTS
                                       LOS ANGELES CA 90025                       12410 SANTA MONICA BLVD.
                                                                                  LOS ANGELES CA 90025




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LAGUNA COUNTY MART, LTD.             LAH PRODUCES                               LAHAM, CASSIA
RE: LAGUNA HILLS 384 FOREST A        590 N ROSSMORE AVE NO 7                    5721 CASTLEGATE AVE
C/O KOSS REAL ESTATE MANAGEMENT      LOS ANGELES CA 90004                       DAVIE FL 33331
12410 SANTA MONICA BLVD.
LOS ANGELES CA 90025


LAHEY, TIMOTHY                       LAHOZ, NICOLE                              LAI CHAU
68 BEECHMONT ST                      19344 SW 4TH ST                            3327 EVELYN AVENUE
WORCESTER MA 01609                   PEMBROKE PINES FL 33029                    ROSEMEAD CA 91770




LAI DU                               LAICHE, DEBORAH                            LAILA DERAKHSHANIAN
9349 WEST ARCH AVENUE                400 S LAFAYETTE PK #312                    1420 DOMINGUEZ RANCH ROAD
MILWAUKEE WI 53224                   LOS ANGELES CA 90057                       CORONA CA 92882




LAILA MORCOS                         LAILA RAHMAN                               LAIMUTE LOSKARN
3723 LILAC LANE                      7924 S. WHIPPLE                            14318 DAIRYDALE CT
METAIRIE LA 70601                    CHICAGO IL 60652                           BALDWIN MD 21013




LAINE' BREITFELD                     LAINEZ, DAMASO                             LAING, DORIKA
4372 NAYLOR LANE                     15303 SW 111TH ST                          951 SIESTA KEY BLVD #517
WHITEHALL PA 18052                   MIAMI FL 33196                             DEERFIELD BEACH FL 33441




LAING, VANBURN K                     LAING,RAYMOND                              LAING,RAYMOND
22 JACKSON RD                        1800 SAN SOUCI BLVD                        605 NW 177 ST NO.220
BLOOMFIELD CT 06002                  APT 410                                    MIAMI FL 33169
                                     N MIAMI FL 33181



LAIT, STEVEN                         LAITH MIRZA                                LAITIN, DAVID
2450 PALMIRA PL                      9417 CONGRESS PARK AVENUE                  199 LELAND AVE
SAN RAMON CA 94583                   BROOKFIELD IL 60513                        MENLO PARK CA 94025




LAJJ DISTRIBUTOR INC                 LAKATOS, STEVE                             LAKE BRADDOCK ATHLETIC BOOSTER CLUB
7 MARKET DR                          58 BROWN ST                                PO BOX 230
SYOSSET NY 11791                     BLOOMFIELD CT 06002                        BURKE VA 22009




LAKE COUNTY PRESS INC                LAKE COUNTY PRESS INC                      LAKE COUNTY TREASURER
98 NOLL STREET                       P O BOX 9209                               18 N COUNTY ST
PO BOX 9209                          WAUKEGAN IL 60079                          WAUKEGAN IL 60085
WAUKEGAN IL 60079



LAKE COUNTY TREASURER                LAKE COUNTY TREASURER                      LAKE EXPRESS NEWS
2293 N MAIN ST                       232 RUSSELL ST                             2329 SOUTH ROBERT CT ACCTNO.709
CROWN POINT IN 46307                 HAMMOND IN 46320                           ROUND LAKE IL 60073




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LAKE FOREST ACADEMY                   LAKE GROUP MEDIA INC                       LAKE JAMES LLC
1500 W KENNEDY RD                     411 THEODORE FREMD AVE                     C/O WILLIAM H SNED & CO LLC
LAKE FOREST IL 60045                  RYE NY 10580                               3030 S DIXIE HWY
                                                                                 WEST PALM BEACH FL 33405



LAKE JAMES, LLC                       LAKE TROUT                                 LAKE, JUNIOR OSVALDO
RE: KISSIMMEE 1201 DONEGAN AV         13935 WEST TAHITI WAY                      C/PADRE LA CASA NO.30 B
C/O WILLIAM H SNED AND COMPANY, LLC   APT#343                                    BUENOS AIRES
3030 S. DIXIE HWY, SUITE 3            MARINA DEL REY CA 90292                    SAN PEDRO DE MACORIS
WEST PALM BEACH FL 33405


LAKE, KATHRYN                         LAKEESHA PICKETT                           LAKEISHA COLEMAN
4454 N DOVER ST NO.1N                 1645 W. GARFIELD                           1101 SHAKER RUN
CHICAGO IL 60640                      CHICAGO IL 60636                           MCKINNEY TX 75069




LAKELAND LEDGERPUBLISHING CO          LAKELAND LEDGERPUBLISHING CO               LAKELAND LEDGERPUBLISHING CO
300 W LIME ST                         PO BOX 408                                 PO BOX 913004
LAKELAND FL 33815                     LAKELAND FL 33802                          ORLANDO FL 32891-3004




LAKEN, ELAYNE                         LAKENYA FINLEY                             LAKES & RIVERS CONTRACTING INC
37 RENAISSANCE COURT                  4072 HILLCREST DRIVE                       PO BOX 67
THORNHILL ON L4J 7W4                  UNIT B                                     LEMONT IL 60439
                                      LOS ANGELES CA 90008



LAKESHORE HELICOPTERS                 LAKESHORE WASTE SERVICES                   LAKEVIEW CITIZENS COUNCIL
9120 62ND ST                          4808 W WILSON AVE                          867 W BUCKINGHAM PL
KENOSHA WI 53142                      CHICAGO IL 60630                           CHICAGO IL 60657




LAKEVIEW JR HIGH                      LAKEVIEW PANTRY                            LAKEVIEW SHELTER INC
701 PLAINFIELD RD                     3831 N BROADWAY                            % NORTH SIDE HOUSING & SUPPORT
DOWNERS GROVE IL 60516                CHICAGO IL 60613                           835 W ADDISON
                                                                                 CHICAGO IL 60613



LAKISHA BIDDLE                        LAKISHA THOMAS                             LAKOMY, MARK
7316 S EVANS                          1301 PONTIAC AVE                           18 CRYSTAL DR
CHICAGO IL 60619-1959                 BROOKLYN MD 21225                          EAST GRANBY CT 06026-8706




LAKOTA JR, STANLEY J                  LAKOTA JR, STANLEY J                       LAKSHMI RAMASESHAN
59 RIVER RD   PO BOX 8                PO BOX 8                                   14009 WILD MAJESTIC ST.
WHATELY MA 01093                      WHATELY MA 01093                           ORLANDO FL 32828




LALAMI, LAILA                         LALLKY SEIBERT ILLUSTRATION INC            LALWANI, SAMEER
1712 HERRIN ST                        1675 NE 36TH ST                            402 7TH STREET NE
REDONDO BEACH CA 90278                FT LAUDERDALE FL 33334                     WASHINGTON DC 20002




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LALWANI, SAMEER                        LAM, WENDY                                LAMAR CRUDUP
NEW AMERICAN FOUNDATION                1934 EUCLID STREET NO.6                   14612 S GIBSON
1630 CONNECTICUT AVENUE NW SUITE 700   SANTA MONICA CA 90404                     COMPTON CA 90221
WASHINGTON DC 20009



LAMAR CULPPER                          LAMAR ROBINSON                            LAMAR, CARUSONOEL
2025 NW 58TH TERRACE                   P.O. BOX 7464                             1026 SOUTH F ST
LAUDERHILL FL 33313                    FT. LAUDERDALAE FL 33338                  LAKE WORTH FL 33460




LAMARCHE, NICOLE                       LAMAY, CRAIG                              LAMB, CHRISTOPHER JON
2802 WILD HORSE ROAD                   504 5TH ST   APT C3                       1341 HEIDIHO WAY
ORLANDO FL 32822                       WILMETTE IL 60091                         MT PLEASANT SC 29466




LAMB, DAVID S                          LAMBDA CHI CHAPTER DELTA SIGMA CHI        LAMBDA LEGAL DEFENSE & EDUCATION FUND
312 N COLUMBUS STREET                  UC RIVERDALE                              120 WALL ST
ALEXANDRIA VA 22314                    145 COSTO HALL NO.158                     NEW YORK NY 10005
                                       RIVERSIDE CA 92521-0001



LAMBERT II, PAUL                       LAMBERT, CYNTHIA H                        LAMBERT, MOLLY
910 ATHENS HWY SUITE K103              135 RAYMOND DR                            1429 MCDUFF ST
LOGANVILLE GA 30052                    HAMPTON VA 23666                          LOS ANGELES CA 90026




LAMBERT, ROGER                         LAMBERT, SANDRA                           LAMBERTO DIAZ
1624 COTTINGTON DRIVE                  533 E WASHINGTON AVE                      3833 WEST AVENUE 42
SCHAUMBURG IL 60194                    BETHLEHEM PA 18017                        APT. # 219
                                                                                 LOS ANGELES CA 90065



LAMBERTY, HARRY W                      LAMBROU, MILTON R                         LAMBUS, JOSHUA
4702 FAIRVIEW AVE                      4162 WATTS LN                             75 5740 ALAHOU ST NO.8
ORLANDO FL 32804                       HEMET CA 92545                            KAILUA KONA HI 96740




LAMECCA DAVIS                          LAMETRA ELDER                             LAMIN 8 SERVICES
838 EVANGELINE AVE.                    12420 S. STATE                            226 W ONTARIO ST
ORLANDO FL 32809                       2ND FLOOR                                 CHICAGO IL 60610
                                       CHICAGO IL 60628



LAMINATE IT                            LAMM, ERNEST                              LAMONT ANDREWS
15235 BRAND BLVD                       5638 N COPLAY RD                          226 DEERFIELD ROAD
MISSION HILLS CA 91345                 WHITEHALL PA 18052                        WINDSOR CT 06095




LAMONT HARVEY                          LAMONT HOLLOWAY                           LAMONT PERRY
203 S ANN ST                           1344 W. HASTINGS                          238 N. PINE STREET
BALTIMORE MD 21231                     CHICAGO IL 60608                          CHICAGO IL 60644




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LAMONT TAYLOR                            LAMONTE COOPER                             LAMOREE, AMANDA M
912 TAYLOR AVE                           7641 SOUTH ABERDEEN                        3901 NW 78TH WAY
NEWPORT NEWS VA 23607                    1ST FLOOR                                  CORAL SPRINGS FL 33065
                                         CHICAGO IL 60620



LAMOTH, LEROY                            LAMPERT & COMPANY                          LAMPERT & COMPANY
320 NW 205 TER                           112 SE KORTKING ST                         PO BOX 6119
MIAMI FL 33169                           OCALA FL 34471                             OCALA FL 34478




LAMPILA, ALEX                            LAMPL, PATRICIA RYAN                       LAMPONE, DAVID
3967 SAWTELLE BLVD APT H                 4 ST JOHN PL                               13212 NO.6 NATALIE CIRCLE
LOS ANGELES CA 90066                     PORT WASHINGTON NY 11050                   NEWPORT NEWS VA 23061




LAMPONE, DAVID                           LAMSTER, MARK                              LANA GWINN
13212 NO.6 NATALIE CIRCLE                57 THIRD STREET                            5033 N. AVERS AVE.
NEWPORT NEWS VA 23601                    BROOKLYN NY 11231                          CHICAGO IL 60625




LANA HEYING                              LANA JOHNSON                               LANA REED
9924 TERHUNE AVENUE                      1242 RUTLAND ROAD                          1029 VENTNOR H CVE
SHADOW HILLS CA 91040                    APT #3                                     DEERFIELD BEACH FL 33442-2437
                                         NEWPORT BEACH CA 92660



LANCASTER ASSOCIATED RETAILERS GROUP     LANCASTER BINGO COMPANY INC                LANCASTER NEWSPAPERS
814 B DAWN AVENUE                        PO BOX 668                                 PO BOX 1328
EPHRATA PA 17522                         LANCASTER OH 43130-0668                    LANCASTER PA 17603




LANCASTER NEWSPAPERS                     LANCASTER, DONALD S                        LANCASTER, LAUREN
PO BOX 3111                              160 HAWTHORNE DRIVE                        93 SOUTH 4TH ST APT 2
LANCASTER PA 17604-3111                  NEWPORT NEWS VA 23602                      BROOKLYN NY 11211




LANCASTER, LESTER W                      LANCASTER, SHARON LYNN                     LANCE ADESZKO
3835 N CANYON WASH CIRCLE                2121 CORALTHORN RD                         452 EAST ADAMS STREET
MESA AZ 85207                            MIDDLE RIVER MD 21220                      ELMHURST IL 60126




LANCE BONSIGNORE                         LANCE CADENHEAD                            LANCE FARRAR
5 ETNA COURT                             5025 S. ELIZABETH                          418 W CENTER STREET #6
AMITYVILLE NY 11701                      CHICAGO IL 60609                           COVINA CA 91723




LANCE KLUG                               LANCE LEWIS                                LANCE MCCONOMY
3466 DATA DRIVE #1225                    5630 NW 74TH PLACE                         200 BROAD STREET
RANCHO CORDOVA CA 95670                  APT 207                                    #2432
                                         COCONUT CREEK FL 33073                     STAMFORD CT 06901




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LANCE NOELL                            LANCE PIETRZAK                             LANCE PUGMIRE
18519 CALLENS CIRCLE                   3 ALDEN PLEAD                              2274 WENDY WAY
FOUTAIN VALLEY CA 92708                BEL-AIR MD 21014                           UPLAND CA 91784




LANCE TAIT                             LANCE ZIERLEIN                             LANCIA, CHRISTOPHER RAYMOND
2120 WEST ROAD                         7618 PAGEWOOD                              1639B 7TH AVENUE
APOPKA FL 32703                        HOUSTON TX 77063                           LANGLEY AFB VA 23665




LANCOS, JOEY                           LAND & SEA PETROLEUM HOLDINGS INC          LAND MARK ELECTRIC INC
2921 NE 40TH ST                        6710 NW 15TH WAY                           7876 DEERING AVE
LIGHTHOUSE POINT FL 33064              FT LAUDERDALE FL 33309                     CANOGA PARK CA 91304




LAND, THEODORE                         LANDAETA, MIGUEL E                         LANDAS, MARC
12443 69TH AVE                         1393 SEAGRAPE CIR                          355 N SPAULDING AVE
PALOS HEIGHTS IL 60463                 WESTON FL 33326                            LOS ANGELES CA 90036




LANDAU, ERICA                          LANDAU, PAUL                               LANDERS PR LLC
1777 MICHIGAN AVE APT 200              500 PECONIC ST APT 20-8B                   1680 N VINE ST  STE 1005
MIAMI BEACH FL 33139                   RONKONKOMA NY 11779                        HOLLYWOOD CA 90028




LANDES, WILLIAM L                      LANDESBANK HESSEN-THURINGEN                LANDI COMIC CLUB
474 N TRELLIS CT                       RE: NEW YORK TWO PARK AVE                  593 CEDAR RUN DOCK RD
NEWPORT NEWS VA 23608                  420 FIFTH AVENUE                           STEPHEN MELNYCHUCK
                                       NEW YORK NY 10018-2729                     CEDAR RUN NJ 08092



LANDI COMIC CLUB                       LANDIS, EMILY LOUISE                       LANDIS, EMILY LOUISE
593 CEDAR RUN DOCK RD                  1600 LEHIGH PARKWAY EAST 2C                5461 CETRONIA RD
CEDAR RUN NJ 08092                     ALLENTOWN PA 18103                         ALLENTOWN PA 18106




LANDMARK TELESERVICES                  LANDON FICHTNER                            LANDON IRWIN
2107 VETERANS BLVD  STE 6              21280 BEACH BLVD.                          5354 S 5240 W
DEL RIO TX 78840                       #P203                                      SALT LAKE CITY UT 84118
                                       HUNTINGTON BEACH CA 92648



LANDON MEDIA GROUP LLC                 LANDON, FRANK                              LANDON, ROBERT
PO BOX 16000                           654 PHOENIXVILLE RD                        2500 HILLEGASS AVE NO.12
LEWISTON ME 04243-9407                 CHAPLIN CT 06235                           BERKELEY CA 94704




LANDON, TIMOTHY J                      LANDOV LLC                                 LANDRETTE, DONNA M
2704 BENNETT AVENUE                    244 FIFTH AVE 5TH FLOOR                    150 BURRITT ST UNIT 5K
EVANSTON IL 60201                      NEW YORK NY 10001                          PLANTSVILLE CT 06479




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LANDRY, BLYTHE                         LANDRY, CARL C                             LANDSBERG, LYNNE F
837 E ERIE                             9716 W JUNIPER CT                          3809 JOCELYN ST NW
OAK PARK IL 60302                      MILWAUKEE WI 53224                         WASHINGTON DC 20015




LANDWER, DAVID                         LANDY, KELLY                               LANDY, KELLY
12N808 MEADOWLARK DR 1642              150 NE 15TH AVE NO.337                     150 NE 15TH AVE NO.337
HAMPSHIRE IL 60140                     CORAL SPRINGS FL 33071                     FT LAUDERDALE FL 33301




LANE JOHNSON                           LANE L LEONARD                             LANE PAGE
114 EAST 7TH STREET                    39211 N. PONDEROSA LANE                    10361 SIXPENCE CIRCLE
APT 10                                 DEER PARK WA 99006                         COLUMBIA MD 21044
NEW YORK NY 10009



LANE, AUDREY F                         LANE, DIANE                                LANE, GENEVIEVE O
506 BLACK OAK DRIVE                    159 UNION ST   APT B-3                     316 N 12TH ST
AUDREY F FORAN         20600           BRISTOL CT 06010                           BREESE IL 62230
MICHIGAN CITY IN 46360



LANE, JACKSON                          LANE, JANE F                               LANE, JUSTIN S
1410 NE 42ND STREET                    103 BROOKSITE DRIVE                        10413 E 65TH ST
POMPANO BEACH FL 33064                 SMITHTOWN NY 11787                         RAYTOWN MO 64133




LANE, SANDRA                           LANE, WANDA J                              LANESEY, WILLIAM A
2102 JUSTICE LANE                      6530 SW 14TH ST                            2622 JOYCERIDGE DRIVE
SAINT CLOUD FL 34769                   BOCA RATON FL 33428                        CHESTERFIELD MO 63017




LANG, JEREMY                           LANG, THOMAS E                             LANGAN-BAADE,THERESA
1625 SE 10TH AVE                       38685 FIVE MILE RD                         826 VIA ALHAMBRA UNIT Q
FT LAUDERDALE FL 33316                 LIVONIA MI 48154                           LAGUNA HILLS CA 92653




LANGDON,PHILIP A                       LANGE, POUL HANS                           LANGE, WERNER
178 E ROCK RD                          71 ST MARKS PL NO.10                       510 SUPERIOR ST
NEW HAVEN CT 06511                     NEW YORK NY 10003                          NEWTON FALLS OH 44444




LANGE, WILLIAM                         LANGER QUALITATIVE LLC                     LANGER, ADAM
11376 VIA RANCHO SAN DIEGO NO.A        525 E 86TH ST 18H                          60 W 106TH ST NO.2C
EL CAJON CA 92019                      NEW YORK NY 10028                          NEW YORK NY 10025




LANGER,JOE                             LANGER,JOE                                 LANGERAK ROOF SYSTEMS INC
764 CHERRYBROOK RD                     764 CHERRYBROOK RD                         4266 CORPORATE EXCHANGE DR
AC PETERSEN BULK DROP/SIMSBURY         CANTON CT 06019                            PO BOX 85
CANTON CT 06019                                                                   HUDSONVILLE MI 49426-0085




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LANGFORD, EDWARD                     LANGLEE, NICHOLAS FOREST                   LANGLEY, BENJAMIN M
6133 TOWN PLACE DRIVE                2228 RED MAPLE ROAD                        2031 ERIN LOOP
MIDDLETOWN CT 06457                  FLOWER MOUND TX 75022                      COLORADO SPRINGS CO 80918




LANGLEY, ELIZABETH                   LANGLEY, LAMARK                            LANGLEY, SHARON
2716 E WASHINGTON ST                 364 E 10TH ST APT 3C                       333 N MICHIGAN AVE SUITE 1322
APT 8                                NEW YORK NY 10009                          CHICAGO IL 60601
ORLANDO FL 32803



LANGMYER, THOMAS E.                  LANGONE, PETER                             LANGSTEIN, MARVIN
1829 CULVER LANE                     215 SE 12TH AVE                            10623 ST. THOMAS DR.
GLENVIEW IL 60025                    FT LAUDERDALE FL 33301                     BOCA RATON FL 33498




LANGSTON BRYANT                      LANGSTON, LEE S                            LANHUA GEORGE CHEN
12926 JARVIS AVENUE                  199 JENNY CLIFF                            3811 W SCHOOL ST
LOS ANGELES CA 90061                 MANCHESTER CT 06040                        UNIT A
                                                                                CHICAGO IL 60618



LANIER, AMANDA M                     LANIER, CHE                                LANIN, BENJAMIN JAY
3650 ASHFORD DUNWOODY RD NO.616      3610 GREENMOUNT AVENUE                     202 ERAMO TERR
ATLANTA GA 30319                     BALTIMORE MD 21218                         HAMDEN CT 06518




LANKFORD, THOMAS H                   LANKFORD, THOMAS H                         LANNA ANDERSON
15904 LONG RD                        PO BOX 632                                 6172 MONTGOMERY ROAD
SMITHVILLE MO 64089                  SMITHVILLE MO 64089                        ELKRIDGE MD 21075




LANNA LANGLOIS                       LANSING, DAVID M                           LANTA
30 MALLARDS LANDING SOUTH            510 FULLERTON AVE                          1060 LEHIGH ST
WATERFORD NY 12188                   NEWPORT BEACH CA 92663                     ALLENTOWN PA 18103




LANTA                                LANTA                                      LANTOS, JEFFREY
1201 W CUMBERLAND ST                 12TH & CUMBERLAND STS                      3217 THATCHER AVE
ALLENTOWN PA 18103                   ALLENTOWN PA 18103                         MARINA DEL REY CA 90292




LANTRONIX                            LANTRONIX USA CORP                         LANTZ, JEFFREY DAVID
PO BOX 50744                         8370 NW 10TH ST APT 13                     759 34TH STREET
IRVINE CA 92619-0744                 MIAMI FL 33126                             WEST DES MOINES IA 50265




LANZ, MICHELLE                       LANZA, PATRICIA                            LANZA, PATRICIA
3006 COLORADO                        948 5TH ST                                 948 5TH ST NO.E
SANTA MONICA CA 90404                SANTA MONICA CA 90403                      SANTA MONICA CA 90403




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LAPENNA, ANTHONY ROBERT                 LAPENNA, ANTHONY ROBERT                    LAPID,JOHN
1918 S MAY ST                           2136 W BELMONT AVE NO.3                    7 GREENWAY NO.29
CHICAGO IL 60608                        CHICAGO IL 60618                           MANORVILLE NY 11949




LAPIERRE, JAMES                         LAPLACE, WILLIAM                           LAPORTE COUNTY TREASURER
10147 BOCA ESTRADA      APT 125         7 CHARLES ST                               300 WASHINGTON ST
BOCA RATON FL 33428                     CENTERBROOK CT 06409                       SUITE 102
                                                                                   MICHIGA CITY IN 46560-3258



LAPORTE COUNTY TREASURER                LAPORTE COUNTY TREASURER                   LAPORTE, NICOLE
813 LINCOLNWAY                          PO BOX J                                   316 MARKET ST
LAPORTE IN 46350                        MICHIGAN CITY IN 46361-0319                VENICE CA 90291




LAPOS, JOHN J                           LAPPING, LUKE                              LAPRETE, JAY
2836 DIAMOND AVENUE                     545 4TH ST  APT 13                         1584 GOODALE BLVD
ALLENTOWN PA 18103                      CATASAUQUA PA 18032                        COLUMBUS OH 43212




LARA HAZENFIELD                         LARA SHEEHAN                               LARA WEBER
3702 228TH PLACE SW                     400 DEAN ROAD                              1757 N. PAULINA ST.
BRIER WA 98036                          HUDSON FALLS NY 12839                      APT. P
                                                                                   CHICAGO IL 60622



LARA, CAMILO G                          LARA, CAMILO G                             LARA, ELVIS WILSON
3004 W HELLMAN AVE                      3333 SAN FERNANDO RD                       C/LA CELDA NO.45
ALHAMBRA CA 91803                       LOS ANGELES CA 90065                       BARRIO PARAISO VILLA MELLA
                                                                                   SANTO DOMINGO



LARA, ROBERTO                           LARA, YAMILA                               LARAINE JACOBSEN
5213 S TRIPP                            20311 W COUNTRY CLUB       TH 1            722 MARSH RD
CHICAGO IL 60632                        AVENTURA FL 33180                          PO BOX 674
                                                                                   GLEN WILD NY 12738



LARAINE TUNICK                          LARGE, ANGELINA E                          LARGE, ANGELINE E
7 WAINER COURT                          2375 NE 173RD STREET # B211                100 PHOENIX CIR
CENTERPORT NY 11721                     NORTH MIAMI BEACH FL 33160                 WILLIAMSBURG VA 23185




LARGE, NANCY L                          LARGER CITIES NEWSPAPER GROUP              LARGER CITIES NEWSPAPER GROUP
100 PHOENIX CIR                         5127 WARREN PL NW                          C/O MARY SEPUCHA
WILLIAMSBURG VA 23185                   WASHINGTON DC 20016                        5127 WARREN PL NW
                                                                                   WASHINGTON DC 20016



LARIBERT GONZALES                       LARISA GLAZYRINA                           LARKIN, ASHLEY
1008 CENTRAL AVENUE                     540 W. LODGE TRAIL                         31 MINT BROOK LANE
APT 7A                                  WHEELING IL 60090                          AMSTON CT 06231
WOODMERE NY 11598




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LARKIN, KATHY                           LARKIN, MARGARET J                         LARKIN, WILLIAM
522 E 20TH STREET NO.11H                201 E CHESTNUT   6E                        5545 2ND ROAD
NEW YORK NY 10009                       CHICAGO IL 60611                           LAKE WORTH FL 33467




LAROCCO, PAUL                           LAROCHE, LUCIEN                            LAROCK, TIFFANY
580 BUCKNELL AVE APT H                  1932 SW 47TH AVE                           5875 ARTHUR AVE
CLAREMONT CA 91711                      FORT LAUDERDALE FL 33317                   LOWELL IN 46356




LAROE JR, DAVID                         LAROIA, PRIYA                              LARONDA PETERSON
261 FERENCE RD                          2629 N WAYNE                               4024 MAGUIRE BLVD.
ASHFORD CT 06278-2317                   CHICAGO IL 60614                           APT. 1107
                                                                                   ORLANDO FL 32803



LAROSE, DAWN                            LAROSILIERE, JOHANNE                       LARRAINE BURN
45 RUMFORD ROAD                         2022 ADAMS ST APT 110                      10600 NW 80 CT
KINGS PARK NY 11754                     HOLLYWOOD FL 33020                         TAMARAC FL 33321




LARRAINE ZWANG                          LARRANGA, BERNARDO FAUSTINO FERNANDEZ      LARRIE ROSENFELD
88 LEXINGTON AVE                        126 SEASIDE AVE                            333 N. SCREENLAND
NEW YORK NY 10016                       STAMFORD CT 06902                          APT#220
                                                                                   BURBANK CA 91505



LARRIMORE, WILLIAM H                    LARRIVEE, WAYNE                            LARROSA, FLAVIA A
31 SAINT JOHNS AVE                      598 BOX ELDER LANE                         757 CURTISS PKWY NO. 118
HAMPTON VA 23666                        GRAFTON WI 53024                           MIAMI SPRINGS FL 33166




LARRUBIA, IVAN                          LARRY BIGGS                                LARRY BROOKS
9151 LIME BAY BLVD     APT 312          33859 VIOLET LANTERN ST                    724 NORMAL AVENUE
TAMARAC FL 33321                        APT A                                      NORMAL IL 61761
                                        DANA POINT CA 92629



LARRY BRUSH                             LARRY CARSON                               LARRY D CLABAUGH
410 W 220TH STREET #22                  7168 WINTER ROSE PATH                      261 AVENUE VICTORIA #A
CARSON CA 90745                         COLUMBIA MD 21045                          SAN CLEMENTE CA 92672




LARRY EVANS                             LARRY FRANCO                               LARRY GOTIS
EVANS ON CHESS                          853 N HENDRICKS STREET                     6400 MELLOW WINEWAY
BOX 1182                                MONTEBELLO CA 90640                        COLUMBIA MD 21044
RENO NV 89504



LARRY GRESHAM                           LARRY H HARRIS                             LARRY HARMON PICTURES CORP.
1720 W. DEMPSTER STREET                 6509 ALTA AVE                              7080 HOLLYWOOD BLVD.
UNIT #B                                 BALTIMORE MD 21206                         HOLLYWOOD CA 90028
PARK RIDGE IL 60068




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LARRY HARNISCH                         LARRY HARRIS                               LARRY HARRIS
1101 FOOTHILL STREET                   1915 BEAR CREEK DRIVE                      2950-2 EAST ARAGON BLVD
SOUTH PASADENA CA 91030                FOREST HILL MD 21050                       SUNRISE FL 33313




LARRY HAWKINS                          LARRY HOCKENSMITH                          LARRY HOFF
8401 JAMIESON AVE                      21179 VIA COTA                             25 LINCOLN AVENUE
NORTHRIDGE CA 91325                    YORBA LINDA CA 92887                       OLD GREENWICH CT 06870




LARRY HOLIDAY                          LARRY HOLLISTER                            LARRY HUNT
PO BOX 5052                            1255 PINE HARBOR PT                        1548 ZAFFER STREET NW
SAN PEDRO CA 90733                     ORLANDO FL 32806                           PALM BAY FL 32907




LARRY KNILL                            LARRY LOPEZ                                LARRY LOSCH
317 PLEASANT CORNER CT.                7701 WURZBACH ROAD APT 1807                4279 MAIN ROAD WEST
RED LION PA 17356                      SAN ANTONIO TX 78229                       EMMAUS PA 18049




LARRY MACHOVEC                         LARRY MACK                                 LARRY MAILLET
8159 SUNSET DR                         219 W. MULBERRY ST.                        25149 ROLLING OAK ROAD
PASADENA MD 21122                      APT. 3                                     SORRENTO FL 32776
                                       BALTIMORE MD 21202



LARRY MCCAIN                           LARRY MILES                                LARRY MURPHY
1620 HARTSDALE RD                      3026 CLIFTON PARK TERRACE                  116-42 147 ST
BALTIMORE MD 21239                     BALTIMORE MD 21213                         JAMAICA NY 11436




LARRY NOVOTNY                          LARRY OWENS                                LARRY PRICE
3245 PARK AVENUE                       2624 TURTLECREEK DR                        11737 COURTLEIGH DR.
BROOKFIELD IL 60513                    HAZEL CREST IL 60429                       #205
                                                                                  LOS ANGELES CA 90066



LARRY R MASSAU                         LARRY RAY                                  LARRY S. GIBSON, ESQ.
1818 ORIOLE DR                         11116 S. LONGWOOD DR.                      2000 CHARLES CENTER SOUTH
COSTA MESA CA 92626                    APT. #203                                  36 S. CHARLES STREET
                                       CHICAGO IL 60643                           BALTIMORE MD 21201



LARRY SCHWINGEL                        LARRY SHELER                               LARRY SMITH
2249 NW 45 AVE                         525 HARRISON ST.                           P.O. BOX 895563
COCONUT CREEK FL 33066                 TITUSVILLE FL 32780                        LEESBURG FL 34788




LARRY SOUDER                           LARRY THOMAS                               LARRY TODD
5409 CHRISTINE AVENUE                  10 S 330 PALISADES                         1585 BRIARFIELD ROAD
MCHENRY IL 60050                       HINSDALE IL 60521                          APT. #76
                                                                                  HAMPTON VA 23666




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LARRY TOMOYASU                        LARRY UNDERWOOD                            LARRY W PETERSON
1223 N DOMINION AVENUE                110 N KENILWORTH                           26 STEPHANIE LANE
PASADENA CA 91104                     1E                                         DARIEN CT 06820
                                      OAK PARK IL 60301



LARRY WARE                            LARRY WASHINGTON                           LARRY WEIR
1047 W 109TH PLACE                    1506 E AVENUE R-7                          P. O. BOX 76
CHICAGO IL 60643                      PALMDALE CA 93550                          GREENWICH NY 12834




LARRY WILLIAMS                        LARRY WILLIAMS                             LARSEN, ANDREW S
1 E. LEE STREET                       5004 WETHEREDSVILLE RD.                    4204 W YORKSHIRE DR
APT. C                                BALTIMORE MD 21207                         SOUTH JORDAN UT 84095
BEL AIR MD 21014



LARSEN, DONNA M                       LARSEN, ELIZABETH                          LARSEN, ERIK
PO BOX 162994                         2725 EWING AVENUE SO                       1044 W ROSEMONT AVE
ALTAMONTE SPRINGS FL 32716            MINNEAPOLIS MN 55416                       CHICAGO IL 60660




LARSEN, KIMBERLY                      LARSEN, NILS                               LARSEN, PAUL N
7771 KIDWELL DRIVE                    3907 N JANSSEN                             5 CARLSON TERRACE
HANOVER MD 21076                      CHICAGO IL 60613                           FISHKILL NY 12524




LARSON, CRISTINA M                    LARSON, JESS                               LARSON, KRISTIN
4818 N KEDVALE                        1263 1/2 N CRESCENT HTS BLVD               199 S BUCKHOUT ST
CHICAGO IL 60630                      WEST HOLLYWOOD CA 90046                    IRVINGTON NY 10533




LARSON, PETER                         LARSON, VAUGHN R                           LARSSON, ANDREAS
1820 MAPLE LEAF DR                    115 SPRING STREET                          913 W VAN BUREN ST    NO.4E
WINDERMERE FL 34786                   PLYMOUTH MI 53073                          CHICAGO IL 60607




LARUE CANGIALOSI                      LARUE, BRIAN G                             LARY R BLOOM
620 NORTH 200 EAST                    206 WILLOW ST FL 2                         23 BATES ROAD
SPANISH FORT UT 84660                 NEW HAVEN CT 06511                         CHESTER CT 06412




LAS CRUCES SUN NEWS                   LAS OLAS MODELS & TALENT                   LAS VIRGENES MUNICIPAL WATER DISTRICT
PO BOX 1749                           1119 E LAS OLAS BLVD                       4232 LAS VIRGENES ROAD
LAS CRUCES NM 88005                   FORT LAUDERDALE FL 33301                   CALABASAS CA 91302-1994




LAS VIRGENES WATER DISTRICT           LASALLE STAFFING, INC                      LASALLE STAFFING, INC
4232 LAS VIRGENES ROAD                111 W WASHINGTON                           200 N LASALLE STREET SUITE 2400
CALABASAS CA 91302-1994               CHICAGO IL 60602                           CHICAGO IL 60601




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LASALLE STAFFING, INC                   LASCELLES HINDS                            LASCELLES N BONNAR
C/O JP MORGAN CHASE BANK                1 CHANDLER STREET                          1 SUMMER COURT
23903 NETWORK PLACE                     EAST HARTFORD CT 06108                     EAST WINDSOR CT 06088
CHICAGO IL 60673-1239



LASCELLES WALTERS                       LASCELLES, JAMES                           LASCELLES, JEROME
4660 NW 43RD COURT                      3711 SW 43RD AVE                           7807 NW 69 TER
LAUDERDALE LAKES FL 33313               WEST PARK FL 33023                         TAMARAC FL 33321




LASHAY BASKERVILLE                      LASHAYE JAMES                              LASI, HOMILET
17 N. STREEPER STREET                   5911 NE 18TH AVENUE                        6705 RIO PINAR DR
BALTIMORE MD 21229                      #4                                         NORTH LAUDERDALE FL 33068
                                        FT. LAUDERDALE FL 33334



LASKIN, DAFNA                           LASLEY, DORETHA                            LASONIA REED
15 STOWE CT                             2920 NW 24TH STREET                        1832 S. CENTRAL PARK
HAMDEN CT 06514                         FORT LAUDERDALE FL 33311                   CHICAGO IL 60623




LASPINA, JOHN S                         LASSEN, LOUIS                              LASSER, JOSHUA M
67 WINTER LANE                          16203 SANTA ANA AVE                        1269 LAKESIDE DR NO.1115
HICKSVILLE NY 11801                     FONTANA CA 92337                           SUNNYVALE CA 94085




LASSMAN, CASSANDRA                      LASSMAN, DANIEL                            LASTRA AMERICA
811 SW 4TH STREET APT 3                 9392 BOCA RIVER CIRCLE                     PO BOX 54852
FORT LAUDERDALE FL 33312                BOCA RATON FL 33434                        NEW ORLEANS LA 70154




LASTRA AMERICA                          LASTRA AMERICA                             LASTRA AMERICA
2625 NORTH NEARGARD AVE                 3433 TREE COURT INDUSTRIAL BLVD            ATTN: CUSTOMER SERVICE
SPRINGFIELD MO 65803                    ST LOUIS MO 63122                          3433 TREE COURT INDUSTRIAL BLD
                                                                                   ST LOUIS MO 63122



LASTRA AMERICA                          LASTRA AMERICA                             LASTRA AMERICA
ATTN: ORDER PROCESSING                  PO BOX 751931                              2034 N JACKSON ST
3433 TREE CT. IND. BKVD.                CHARLOTTE NC 28275-1920                    JACKSONVILLE TX 75766
ST LOUIS MO 63122



LASTRA AMERICA                          LATARSHA BEACHAM                           LATASHA CARROLL
4335 DIRECTORS ROW                      2655 HORNLAKE CIRCLE                       1145 N AUSTIN BLV.
HOUSTON TX 77092                        OCOEE FL 34761                             APT. #A5
                                                                                   CHICAGO IL 60651



LATASHA DAVIS                           LATASHA LEWIS                              LATEST LINE INC
9358 S. WABASH AVE.                     1733 N. MEADE                              41 ALGONQUIN ROAD
CHICAGO IL 60619                        CHICAGO IL 60639                           YONKERS NY 10710




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LATHASCHI LONG                         LATHRONIA DANIELS                           LATIMER, REBECCA LYNN
378 BUFFALO AVE                        210 MAYBERRY DRIVE                          2310 W 7TH STREET APT 29
CALUMET CITY IL 60409                  APT# 202                                    HATTIESBURG MS 39401
                                       ABERDEEN MD 21001



LATINO BUSINESS JOURNAL                LATINO LEADERSHIP ALLIANCE                  LATISHA WRIGHT
7319 JUDD WAY                          OF LEHIGH VALLEY                            607 BRIDGEVIEW ROAD
ORLANDO FL 32822                       C/O NOELIA ORTIZ TREASURER                  BALTIMORE MD 21225
                                       PO BOX 572
                                       ALLENTOWN PA 18105


LATITIA GREEN                          LATO LLC                                    LATONYA GLOVER
1401 W.110TH ST                        C/O LA WEIGHT LOSS                          8115 S KIMBARK
CHICAGO IL 60643                       747 DRESHER ROAD SUITE 150                  CHICAGO IL 60619
                                       HORSHAM PA 19044



LATONYA NEWBERN                        LATORIA BRANCH                              LATORRE, CARLOS
1026 W. 14TH PLACE                     2912 SOUTHLAND AVE.                         8 CHARLES ST
CHICAGO IL 60608                       BALTIMORE MD 21225                          STAMFORD CT 06902




LATORRE, VILFRIDO J                    LATORREO TOLBERT                            LATORYA HAGGINS
PO BOX 450413                          8121 S. HONORE                              2315 NW 8TH COURT
MIAMI FL 33245                         CHICAGO IL 60620                            APT 19-1
                                                                                   FORT LAUDERDALE FL 33311



LATOSHA LAWRENCE                       LATOUCHE,LISSON                             LATOUR, RENEE
8366 S. BALTIMORE                      3442 CHATELAINE BLVD                        1192 WHITEWOOD DR
CHICAGO IL 60617                       DELRAY BEACH FL 33445                       DELTONA FL 32725




LATOY FORESHAW                         LATOYA HUNTER                               LATOYA MORRIS
164 WALKER STREET                      388 STONEHEDGE DR                           5601 WASHINGTON STREET
WEST BABYLON NY 11729                  26E                                         HOLLYWOOD FL 33023
                                       SALT LAKE CITY UT 84107



LATOYA SMITH                           LATRICE HODGES                              LATRISTON BUTLER
4847 S. VINCENESS AVE.                 1421 N. LATROBE STREET                      331 SW 11TH STREET
APT. #107                              CHICAGO IL 60651                            DEERFIELD BEACH FL 33441
CHICAGO IL 60615



LATSHAW, JENNIFER                      LATSHAW, JUDY                               LATSHAW, RUTH
P O BOX 25                             P O BOX 76                                  972 HOCH RD
DANIELSVILLE PA 18038                  DANIELSVILLE PA 18038                       DANIELSVILLE PA 18038




LATTANZIO, CHRISTOPHER                 LATTANZIO, REBECCA                          LATTIMORE, RICKIE D
21 FOREST LANE                         7609 PINE ISLAND WAY                        305 WITTENRIDGE CT
EAST HARTFORD CT 06118                 WEST PALM BEACH FL 33411                    ALPHARETTA GA 30022




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LATUCH, MORGAN                           LAU SR, DAVID E                             LAUB, ELLYN
51 DANIEL ST                             1979 GARRETT ROAD                           2202 LUCAYA BEND APT N 2
EAST HAMPTON CT 06424                    MANCHESTER MD 21102                         COCONUT CREEK FL 33066




LAUB, SEIDEL, COHEN AND HOF, LLC         LAUBACH, RICHARD                            LAUBER, STEVEN
RE: EASTON 400 NORTHAMPTON ST            583 ARLINGTON AVE                           101 N 6TH ST
EASTON DOLLAR SAVINGS AND TRUST CO.      PHILLIPSBURG NJ 08865                       ALLENTOWN PA 18101
8 CENTRE SQUARE
EASTON PA 18042


LAUBER, STEVEN                           LAUBERT, RICHARD                            LAUCKHARDT RHOADES, HEIDI
PETTY CASH CUSTODIAN                     PO BOX 2701                                 17557 WEEPING WILLOW TRAIL
101 N 6TH ST                             PALOS VERDES PENINSULA CA 90274             BOCA RATON FL 33487
ALLENTOWN PA 18101



LAUDATI, COURTNEY                        LAUDATI, CYNTHIA K                          LAUDENBERGER, MICHAEL G
45 ROYAL DR                              45 ROYAL DR                                 520 KURTZ ST
BRISTOL CT 06010                         BRISTOL CT 06010                            CATASAUQUA PA 18032




LAUDENSLAGER, JOEL                       LAUDERDALE RIVER INC                        LAUDERDALE RIVER INC
1715 BEECH LN                            255 ALAHAMBRA CIRC                          PO BOX 6149
MACUNGIE PA 18062                        STE 1100                                    HICKSVILLE NY 11802-6149
                                         CORAL GABLES FL 33134



LAUDERDALE RIVER, INC.                   LAUDERDALE RIVER, INC.                      LAUER SHEA
RE: FT LAUDERDALE NEW RIVER C            RE: FT LAUDERDALE NEW RIVER C               512 N. MCCLURG COURT
% CB RICHARD ELLIS, ATTN: PROPERTY MGR   % INVESCO REAL ESTATE, ATTN: ASSET MGR      #4711
200 E. LAS OLAS BLVD                     13155 NOEL ROAD, SUITE 500                  CHICAGO IL 60611
FORT LAUDERDALE FL 33301                 DALLAS TX 75240


LAUGHLIN, PHILLIP                        LAUMANN, DENISE                             LAUMANN, SCOTT
2090 ASTER RD                            7211 GOLDEN RING RD                         172 OLYMPIC DRIVE
MACUNGIE PA 18062-9332                   BALTIMORE MD 21221                          VALLEJO CA 94589




LAUMANN, SCOTT                           LAUMANN, SCOTT                              LAURA AGUILERA
609 PRINCETON CIRCLE E                   721 NORTH TER APT D                         3111S. 55TH CT.
FULLERTON CA 92831                       PHILADELPHIA PA 19123                       CICERO IL 60804




LAURA ALBANESE                           LAURA ANN NICHOLS                           LAURA BADKE
212 JERUSALEM AVENUE                     P.O. BOX 613                                230-01 58TH AVE
MASSAPEQUA NY 11758                      BLUE ISLAND IL 60406                        BAYSIDE NY 11364




LAURA BENEDETTO                          LAURA BERNHEIM                              LAURA BLATT
3315 MEADOWBROOK WAY                     200 E. LAS OLAS BLVD.                       5439 AMIGO AVE
DAVIE FL 33328                           FT. LAUDERDALE FL 33301                     TARZANA CA 91356




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LAURA BOND-HARRIS                      LAURA BROST                                 LAURA BURGMEYER
449 MENOMINEE LANE                     841 MAYFAIR CIRCLE                          3613 CALHOUN STREET
NAPERVILLE IL 60563                    ORLANDO FL 32803                            NEW ORLEANS LA 70125




LAURA BUTCHEN                          LAURA C BARNHARDT CECH                      LAURA C RUPP
193 LOINES AVE                         10 TANGLEWOOD ROAD                          2932 CALM GARDEN
MERRICK NY 11566                       CATONSVILLE MD 21228                        ACTON CA 93510




LAURA CAMPBELL                         LAURA CARDENAS                              LAURA CHATTERTON
101 NW 17TH COURT                      15520 DELCOMBRE AVE                         4809 ELDON GREEN COURT
POMPANO BEACH FL 33060                 PARAMOUNT CA 90723                          HALETHROPE MD 21227




LAURA CISNEROS                         LAURA DOMINGUEZ                             LAURA DOMINICK
10007 W. LYNDALE                       708 N LARIMORE AVE                          3227 FERNWOOD AVENUE
MELROSE PARK IL 60164                  LA PUENTE CA 91744                          LOS ANGELES CA 90039




LAURA DONALDSON                        LAURA DUCKETT                               LAURA E OSBORNE
9650 COPLEY DRIVE                      8650 N. SERVITE DRIVE                       4530 EDGEWATER CIRCLE
INDIANAPOLIS IN 46290                  MILWAUKEE WI 53223                          CORONA CA 92883




LAURA EMERSON                          LAURA FISHER                                LAURA FLANDREAU
27916 DOUBLETREE WAY                   821 FOREST AVENUE                           124 W MEADE STREET
CASTAIC CA 91384                       WILMETTE IL 60091                           PHILA PA 19118




LAURA FRANCEL                          LAURA GANDOLFO                              LAURA GARGER
4115 JACQUELINE LANE                   160 HOUSTON STREET                          3227 OAKLAND SQUARE
CRYSTAL LAKE IL 60014                  LINDENHURST NY 11757                        BETHLEHEM PA 18020




LAURA GRAHAM                           LAURA GROCHOWSKI                            LAURA GUTIERREZ
2379 WOODHOUSE LANE                    1649 SHENANDOAH DR                          717 N. BONNIE BEACH PL.
CASTLE ROCK CO 80109                   CLAREMONT CA 91711                          LOS ANGELES CA 90063




LAURA HAGAN                            LAURA HARGREAVES                            LAURA HENSEL
408 BERNARD #B                         19 HAMPTON COURT                            5830 SW 87TH TERRACE
COSTA MESA CA 92627                    CORAM NY 11727                              COOPER CITY FL 33328




LAURA HERRERA SEXTON                   LAURA HERRING                               LAURA HUTCHINSON
4648 N ST. LOUIS AVENUE                553 SETTLERS LANDING ROAD                   2308 W. FARWELL
APT. #2B                               APT. 314                                    #1E
CHICAGO IL 60625                       HAMPTON VA 23669                            CHICAGO IL 60645




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LAURA JANOVICH                         LAURA JEAN KELLY HURLEY                    LAURA JENSEN
959 ENGLISH TOWN LANE                  675 NE ST. LUCIE BLVD                      1043 W. BARRY
#319                                   JENSEN BEACH FL 34957                      APT. 1
WINTER SPRINGS FL 32708                                                           CHICAGO IL 60657



LAURA KIEL                             LAURA KING                                 LAURA KOHLER
2213 W. WABANSIA AVE.                  202 WEST FIRST STREET                      3066 VERBENA DR
APT 2B                                 FOREIGN DESK/ JERUSALEM BUREAU             DELTONA FL 32725
CHICAGO IL 60647                       LOS ANGELES CA 90012



LAURA KOSKI                            LAURA KOVALCHIK                            LAURA KRUEGER
114 18TH ST.                           719 LOMIER STREET                          34 SHORE DRIVE
UNION CITY NJ 07087                    BROOKLYN NY 11211                          MERIDEN CT 06451




LAURA L BAUMGARNER                     LAURA LACH                                 LAURA LEVKO
859 CONGRESS                           1062 GALLANT COURT                         900 CHICAGO AVE
COSTA MESA CA 92627                    WHEATON IL 60187                           UNIT # 506
                                                                                  EVANSTON IL 60202



LAURA LIU                              LAURA MACE                                 LAURA MANN
418 POMONA DRIVE                       809 N KIOWA STREET                         249-11 61 AVE
APOPKA FL 32712                        ALLENTOWN PA 18109                         LITTLE NECK NY 11362




LAURA MASTROBERTI                      LAURA MCCANDLISH                           LAURA MCCONNELL
19 CLINTON PLACE                       3750 NW HARRISON BLVD                      1410 W MT. ROYAL AVENUE
MASSAPEQUA NY 11758                    CORVALLIS OR 97330                         BALTIMORE MD 21217-4244




LAURA MCFARLANE                        LAURA MEJIA                                LAURA MINEO
2230 OLD EMMORTON RD                   1734 STEINHART AVENUE                      835 WILLOW AVENUE
BEL AIR MD 21015                       REDONDO BEACH CA 90278                     APT. #6
                                                                                  HOBOKEN NJ 07030



LAURA MOLINA                           LAURA MORAN                                LAURA NAVARRE
1807 MERIDIAN AVENUE                   306 W. CONCORD PL                          1725 NORTH HUDSON AVENUE
ALHAMBRA CA 91803                      CHICAGO IL 60614                           APT# 2
                                                                                  CHICAGO IL 60614



LAURA NEVILLE                          LAURA NOTT                                 LAURA O'BRIEN
23 CECILY LN                           1130 QUAIL GARDENS COURT                   5 RICHARD COURT
COMMACK NY 11725                       ENCINITAS CA 92024                         MANALAPAN NJ 07726




LAURA OLSEN                            LAURA PAGE                                 LAURA PARISEAU
84 MAHOGANY ROAD                       670 SOUTH MECOSTA LANE                     6119 GARDEN COURT
ROCKY POINT NY 11778                   ROMEOVILLE IL 60446-5249                   DAVIE FL 33314




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LAURA PATS                              LAURA PETERSON                              LAURA PIKE
1924 GREENHAVEN DRIVE                   33 W. ONTARIO STREET                        9 HILL CREST AVENUE
BALTIMORE MD 21209                      APT #33I                                    QUEENSBURY NY 12804
                                        CHICAGO IL 60610



LAURA RAUCH INC                         LAURA RIVERA                                LAURA ROSALES
10625 ENGLEWOOD CLIFFS AVE              417 EAST 136TH STREET                       16641 E. CYPRESS STREET
LAS VEGAS NV 89144                      BRONX NY 10454                              COVINA CA 91722




LAURA ROSENBERG                         LAURA SEGURA                                LAURA SHEKORE
127 AVALON COURT DRIVE                  1749 12TH STREET                            PO BOX 1814
MELVILLE NY 11747                       APT E                                       POMONA CA 91769
                                        SANTA MONICA CA 90404



LAURA SHIFFLETT                         LAURA SKOLNICK                              LAURA SMITHE
201 S. SYMINGTON AVE.                   446 W SURF                                  P.O. BOX 914
APT. C                                  CHICAGO IL 60657-6106                       HARTFORD CT 06112-0914
BALTIMORE MD 21228



LAURA SMITHERMAN                        LAURA STAKE                                 LAURA SZMAJDA
9294 N. LAUREL ROAD                     6929 WESLEY COURT                           5511 N CHESTER AVENUE, UNIT 28
LAUREL MD 20723                         INDIANAPOLIS IN 46220                       CHICAGO IL 60656




LAURA TARVAINEN                         LAURA TENNARO                               LAURA VANDER HEYDEN
2600 NE 22 ST.                          8200 TOWNSHIP DRIVE                         2348 HART STREET
FORT LAUDERDALE FL 33305                BALTIMORE MD 21117                          DYER IN 46311




LAURA VERA                              LAURA VOZZELLA                              LAURA WERDER
295 E ELIZABETH STREET                  507 STAMFORD ROAD                           316 WALTON BLVD
PASADENA CA 91104                       BALTIMORE MD 21229                          WEST PALM BEACH FL 33405




LAURA WIEGMAN                           LAURA WILEY                                 LAURA WOODWORTH
4311 W. 109TH STREET                    4942 RUDDER DRIVE                           640 ARBUTUS STREET
OAK LAWN IL 60453                       APT 3                                       GOLDEN CO 80401
                                        HUNTINGTON BEACH CA 92649



LAURA WOOTEN                            LAURA ZIMMERMAN                             LAURA, YELKA
6325 BORDEAUX CIRCLE                    137 STONE LAKE COURT                        69 FAIRWAY DR NO.D
SANFORD FL 32771                        YORKTOWN VA 23693                           WETHERSFIELD CT 06109




LAURALEI PROPERTIES                     LAURE, CESAR L                              LAUREKINS PARDOVANI
3710 FRENCH AVE                         376 BOWERS ROAD                             666 141 STREET
SAINT LOUIS MO 63116                    BOWERS PA 19511                             APT. #5F
                                                                                    BRONX NY 10454




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LAUREL BLAIS                          LAUREL BOARD OF TRADE                      LAUREL BRUCE
14441 LIBERTY STREET                  342 MAIN STREET                            2727 CLERMONT ST
ORLANDO FL 32826                      LAUREL MD 20707                            BETHLEHEM PA 18017




LAUREL CANYON MEDIA                   LAUREL LIGHT                               LAUREL MCANDREWS-FROGLEY
SCHOMMER KLEIN                        2179 JERUSALEM AVENUE                      512 RIALTO AVE
12115 MAGNOLIA BLVD NO.318            MERRICK NY 11566                           LOS ANGELES CA 90291
NORTH HOLLYWOOD CA 91607



LAUREL MCCARTHY                       LAUREL NORMAN                              LAUREL OUTDOOR
568 KNOLLWOOD ROAD                    860 N. ORANGE AVE.                         5809 CITRUS BLVD SUITE 200
SEVERNA PARK MD 21146                 114                                        NEW ORLEANS LA 70123
                                      ORLANDO FL 32801



LAUREL RICHTER                        LAUREL RODGERS                             LAUREL VON HELMS
3526 MATISSE DR                       196 NORTH ROAD                             14659 S. KILDARE AVENUE
ST CHARLES IL 60175                   GROTON CT 06340                            MIDLOTHIAN IL 60445




LAURELL, DAVID                        LAURELS GROUP                              LAUREN ANDRICH
230 N PARISH PL                       595 RTE 25A                                1050 CARLL DRIVE
BURBANK CA 91506                      STE 18                                     BAY SHORE NY 11706
                                      MILLER PLACE NY 11764



LAUREN BEALE                          LAUREN BELCHER                             LAUREN BLANTON
4433 VIA PAVION                       271 S. HOLLYBROOK DR.                      5440 W. BERTEAU
PALOS VERDES ESTATES CA 90274         #305                                       APT # 2 - 2ND FLOOR
                                      PEMBROKE PINES FL 33025                    CHICAGO IL 60641



LAUREN BROWN                          LAUREN BROWN                               LAUREN BURNS
48 DEXTER DRIVE                       2605 KENWAY LANE                           185 SOUTH 16TH STREET
SHELTON CT 06484                      BOWIE MD 20715                             LINDENHURST NY 11757




LAUREN BUTINDARI                      LAUREN CALLAHAN                            LAUREN CALTAGIRONE
92 AYERS ROAD                         4 ARROWHEAD PLACE                          3615 ELLA LEE LANE
LUCUST VALLEY NY 11560                HUNTINGTON NY 11743                        HOUSTON TX 77027




LAUREN CAMPION                        LAUREN CORNELIUS                           LAUREN CUSTER
5554 S. MONROE STREET                 4208 TERELL LANE                           3638 HICKORY AVENUE
HINSDALE IL 60521                     HAMPTON VA 23666                           BALTIMORE MD 21211




LAUREN DAGISTINO                      LAUREN DAVIS                               LAUREN DUBIN
1899 CALIFORNIA ST #2                 2300 COMMONWEALTH                          47 HENRY AVENUE
SAN FRANCISCO CA 94109-4545           UNIT 7I                                    SELDEN NY 11784
                                      CHICAGO IL 60614




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LAUREN EDGECOMBE                     LAUREN GADZALA                             LAUREN HARRIS
1798 WISTERIA CIRCLE                 1633 WARBLER DRIVE                         1600 CAMPUS ROAD
BELLPORT NY 11713                    NAPERVILLE IL 60565                        BOX 272
                                                                                LOS ANGELES CA 90041



LAUREN HARRISON                      LAUREN HOLMES                              LAUREN JOHNSTON
1340 W. MORSE AVE.                   2626 EAST BIDDLE STREET                    225 NORTH 8TH STREET
211                                  BALTIMORE MD 21213                         APT. 4C
CHICAGO IL 60626                                                                BROOKLYN NY 11211



LAUREN KOTELES                       LAUREN MERENDA                             LAUREN NEWMAN
3124 W ADDISON                       27931 MAXAGON                              1729 WE GO TRAIL
CHICAGO IL 60618                     MISSION VIEJO CA 92692                     DEERFIELD IL 60015-4611




LAUREN PETERSON                      LAUREN POWERS                              LAUREN RAAB
2070 AVENIDA PLACIDA                 42 MARIE STREET                            P.O. BOX 7083
APT 1                                LINDENHURST NY 11757                       BEVERLY HILLS CA 90212
SIMI VALLEY CA 93063



LAUREN RITCHIE                       LAUREN RODRIGUEZ                           LAUREN SABLOWSKY
16723 C.R. 448                       9513 NICHOLS ST                            1301 20TH ST. NW
MOUNT DORA FL 32757                  BELLFLOWER CA 90706                        #205
                                                                                WASHINGTON DC 20036



LAUREN SOUMOFF                       LAUREN SPRING                              LAUREN SZVETICS
10921 NW 12TH PLACE                  500 5TH AVENUE WEST                        425 GLEN STREET
PLANTATION FL 33322                  UNIT 602                                   APT. #74
                                     SEATTLE WA 98119                           GLENS FALLS NY 12801



LAUREN TOBON                         LAUREN VIDAS                               LAUREN VIERA
9180 NW 15 STREET                    25 PARK PLACE                              2212 N. CENTRAL PARK AVE.
PLANTATION FL 33322                  APT. 3C                                    CHICAGO IL 60647
                                     GREAT NECK NY 11021



LAUREN WILLIAMS                      LAURENCE BELKIN                            LAURENCE FLYNN
1122 GLADYS AVENUE                   9805 BABBITT AVE                           6445 MARY ELLEN AVENUE
APT# 6                               NORTHRIDGE CA 91325                        VAN NUYS CA 91401
LONG BEACH CA 90804



LAURENCE FOX                         LAURENCE MANSFIELD                         LAURENCE O'ROURKE
43 ROCKY HILL ROAD                   384 LOCUST STREET                          1186 WHITMAN LANE
BREWSTER MA 02631                    SOUTH HEMPSTEAD NY 11550                   P.O. BOX 923
                                                                                ALBRIGHTSVILLE PA 18210



LAURENCE SILVERSTEIN                 LAURENCE SOTSKY                            LAURENCE STEWART
2435 VAN BUREN STREET                701 11TH STREET                            1835 TULIP LANE
APT 5B                               HERMOSA BEACH CA 90254                     ARCADIA CA 91006
HOLLYWOOD FL 33020




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LAURENT, BLACHIER                      LAURENT, CHAVANNES                         LAURENT, GUIVANAIS
23 RUEDE LA DUEE                       11 CROSSING CIR APT F                      420 NW ENFIELD TER
PARIS 75020                            BOYNTON BEACH FL 33435                     DELRAY BEACH FL 33444




LAURENT, GUIVANAIS                     LAURENT, JUDE                              LAURENT, MELISSA
558 NW 50TH AVE                        7704 THORNLEE DR                           5650 NE 7TH TERRACE
DELRAY BEACH FL 33445                  LAKE WORTH FL 33467                        FORT LAUDERDALE FL 33334




LAURENT, YVETTE                        LAURENTINA LLAURO                          LAURENTINO NOFFKE, SILVANA
99-17 32ND AVE                         7821 SW 56 STREET                          4324 NW 9TH AVE 1D
EAST ELMHURST NY 11369                 MIAMI FL 33155                             POMPANO BEACH FL 33064




LAURETTA MORIARTY                      LAURI, MICHAEL                             LAURIDSEN, DAVE
250 N. VILLIAGE AVENUE                 11 S POINT BLVD                            2914 E CHEVY CHASE DR
ROCKVILLE CENTRE NY 11570              BARNEGAT NJ 08005                          GLENDALE CA 91206




LAURIDSEN, DAVE                        LAURIE ANDERSON                            LAURIE BREY
6245 CRESTWOOD WAY                     39W822 BOWDISH DR.                         1710 PINEWIND DRIVE
LOS ANGELES CA 90042                   GENEVA IL 60134                            ALBURTIS PA 18011




LAURIE CIPRIANO                        LAURIE COHEN                               LAURIE CUCCI
1015 PINEFIELD LANE                    5528 SOUTH KENWOOD                         10800 TEA OLIVE LN
CASTLE ROCK CO 80108                   CHICAGO IL 60637                           BOCA RATON FL 33498




LAURIE DEWITT                          LAURIE GOERING                             LAURIE KRYSIAK
12332 MELROSE WAY                      435 N MICHIGAN AVENUE                      1809 WYE MILLS LANE
BOCA RATON FL 33428                    FOREIGN DEPARTMENT                         BEL AIR MD 21015
                                       CHICAGO IL 60611



LAURIE LAUBENHEIMER                    LAURIE MUCHNICK                            LAURIE MUFFLEY
W237N9333 MONTICELLO DRIVE             41 W 83RD ST                               1116 LINKSIDE DRIVE
COLGATE WI 53017                       APT #3D                                    BALTIMORE MD 21234-5914
                                       NEW YORK NY 10024



LAURIE PASKMAN                         LAURIE PENNACCHINI                         LAURIE PEREZ
680 CHEOY LEE CR.                      17 SHOREHAM ROAD                           146 WELLS STREET
WINTER SPRINGS FL 32708                NEW HAVEN CT 06512                         MANCHESTER CT 06040




LAURIE PLUNKETT                        LAURIE POLTURAK                            LAURIE RUBIN INC
6820 MILL CREEK ROAD                   430 SOUTH NIAGARA                          1113 WEST ARMITAGE ST
SLATINGTON PA 18080                    APT 111                                    CHICAGO IL 60614
                                       BURBANK CA 91505




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LAURIE RYDEN                            LAURIE SIEGEL                              LAURIE STANGENES
2122 GLENDALE AVENUE                    10587 E KEY DR                             2942 N. RACINE AVE.
BETHLEHEM PA 18018                      BOCA RATON FL 33498                        FLOOR 2
                                                                                   CHICAGO IL 60657



LAURIE STEVENS                          LAURIE TADAYON                             LAURIE TOROK
415 GANSEVOORT ROAD                     239 OLD FARMS ROAD                         3344 CHURCHVIEW ROAD
FORT EDWARD NY 12828                    APT. 6B                                    EMMAUS PA 18049
                                        AVON CT 06001



LAURIE TSEKA                            LAURIE WHITE                               LAURIN SELLERS
109 WALNUT HILL ROAD                    9 COLONIAL LANE                            5635 CANVASBACK DR.
EAST HARTLAND CT 06027                  EAST HARTFORD CT 06118                     MIMS FL 32754




LAURINAITIS, LINDA                      LAURORE, CLEEFOARD                         LAURORE, TALMA
76 LAKEWOOD CIR                         10154 BOYNTON PLACE CIRCLE                 1400 NE 11TH ST
S GLASTONBURY CT 06073-2312             BOYNTON BEACH FL 33437                     MIAMI FL 33161




LAURUS TECHNOLOGIES                     LAURUS TECHNOLOGIES                        LAURUS TECHNOLOGIES
1015 HAWTHORN DRIVE                     1091 HAWTHORN DRIVE                        DEPT 20 8006
ITASCA IL 60143                         ITASCA IL 60143                            PO BOX 5998
                                                                                   CAROL STREAM IL 60197-5998



LAUTMAN PHOTOGRAPHY                     LAUTMAN,VICTORIA S                         LAUX, MARK WILLIAM
4906 41ST ST NW                         3100 N SHERIDAN RD 5-B                     6810 HUNT DR
WASHINGTON DC 20016                     CHICAGO IL 60657                           MACUNGIE PA 18062




LAUX, MEGAN                             LAVANA WINGER                              LAVANCE SHADE
680 S FEDERAL ST                        609 HAMLIN ST                              7841 S. HOYNE
CHICAGO IL 60605                        NEWPORT NEWS VA 23601                      CHICAGO IL 60620




LAVAR MASON                             LAVARK, DEON NELSON                        LAVELLE, DANIEL R
310 STATE AVE                           6722 19TH ST NO.C5                         208 ROBERTS AVE
WYANDANCH NY 11798                      BERWYN IL 60402                            GLENSIDE PA 19038




LAVENTHOL, DAVID                        LAVENTURE, DANA                            LAVERA, ALFREDO
870 UNITED NATIONS PLAZA                1068 CHESTNUT ST                           50 SE 14 STREET (UNIT NORTH)
APT. #31B                               VALLEY STREAM NY 11580                     DANIA BEACH FL 33004
NEW YORK NY 10017-1820



LAVERNE CLARK                           LAVERNE DEEL                               LAVERNE PRIBAN
8262 YARROW LANE                        180 ELECTRA DRIVE                          230 KING ARTHUR COURT
RIVERSIDE CA 92508                      NEWPORT NEWS VA 23602                      ELGIN IL 60120




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LAVERNE WHITENER                       LAVERNE WILLIAMS                           LAVERNE WILLIAMS
1308 CHESTNUT HILL AVE.                333 BROOKWOOD DRIVE                        101-26 133RD ST
BALTIMORE MD 21218                     OLYMPIA FIELDS IL 60461                    RICHMOND HILL NY 11419




LAVIN RAPP, CHERYL                     LAVIN, MAUD                                LAVIN, SUSAN M
13653 E WETHERSFIELD RD                1148 S PLYMOUTH COURT                      6202 GRAFTONS VIEW CT
SCOTTSDALE AZ 85259                    CHICAGO IL 60605                           ELKRIDGE MD 21075-6909




LAVINCENT MAYHORN                      LAVIOLETTE, JULIE LANDRY                   LAVOIE,GENE
4044 MANHATTEN BEACH BLVD. A           5172 SW 104TH AVE                          PO BOX 491
LAWNDALE CA 90250                      COOPER CITY FL 33328                       BELCHERTOWN MA 01007




LAVON CHALK                            LAVONA D COOK                              LAVONDA ABERNATHY
2507 E. 15 STREET                      2871 RENNOC RD                             9820 SOUTH PULASKI
#111                                   KNOXVILLE TN 37918                         APT# 214
LONG BEACH CA 90804                                                               OAK LAWN IL 60453



LAW BULLETIN INFORMATION SOURCE        LAW OFFICE OF NOEMI G RAMIREZ              LAW OFFICES OF GERALD S. SACK, LLC
415 N STATE STREET                     523 W 6TH ST    STE 830                    GERALD S. SACK
CHICAGO IL 60610-4674                  LOS ANGELES CA 90014                       836 FARMINGTON AVE.
                                                                                  SUITE 109
                                                                                  WEST HARTFORD CT 06119


LAW OFFICES OF JAMES STEDRONSKY        LAW OFFICES OF JEFFREY LICHTMAN            LAW OFFICES OF MARY A CARRAGHER
82 MEADOW ST     STE B                 750 LEXINGTON AVE 15TH FLOOR               155 FRANKLIN RD
LITCHFIELD CT 06759                    NEW YORK NY 10022                          GLENCOE IL 60022




LAW OFFICES OF MURPHY & MURPHY, PC     LAW OFFICES OF ROSALBA PINA                LAW OFFICES OF SUSAN FORTINO-BROWN
RE: NORTH AURORA TRIBUNE               3810 W 26TH ST 2ND FLR                     531 S PLYMOUTH CT STE 103
ATTN: J. ROBERT MURPHY                 CHICAGO IL 60623                           CHICAGO IL 60605
P.O. BOX 460
AURORA IL 60507


LAWANA WOODS                           LAWANDA BODDIE                             LAWANDA PACK
2315 WINDSOR LANE                      PO BOX 15421                               3507 OAKS WAY
COUNTRY CLUB HILLS IL 60477            NEWPORT NEWS VA 23608                      BLDG 114 UNIT 803
                                                                                  POMPANO BEACH FL 33069



LAWLER, RALPH A                        LAWLEY, JOSEPH D                           LAWLOR, VERONICA
50155 CAMINO PRIVADO                   RR2 BOX 2039                               520 EAST 20TH ST NO.8D
LA QUINTA CA 92253                     STROUDSBURG PA 18360                       NEW YORK NY 10009




LAWNSKEEPER INC                        LAWRENCE A EISINGER                        LAWRENCE AGUDO
25605 W 111TH ST                       1207 THE TERRACES                          47 JUNE COURT
PLAINFIELD IL 60585                    SHELBURNE VT 05482                         APT 2A
                                                                                  BAY SHORE NY 11706




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LAWRENCE ANDREW                          LAWRENCE BARSZEWSKI                        LAWRENCE BOVE
864 N. MOHAWK                            751 SW 5TH STREET                          371 SOUTH 12TH ST
CHICAGO IL 60610                         BOCA RATON FL 33486                        LINDENHURST NY 11757




LAWRENCE BUDGEN                          LAWRENCE BYRD                              LAWRENCE CAMPBELL
27124 KEPLER                             3812 BARRINGTON RD                         26219 STILLWATER CIRCLE
MENIFEE CA 92584                         BALTIMORE MD 21215                         PUNTA GORDA FL 33955




LAWRENCE CLARK                           LAWRENCE CUNNINGHAM                        LAWRENCE DELIA
7413 S CHAPPEL AVE                       5300 BRABANT RD                            2005 S. QUEEN ST
CHICAGO IL 60649                         BALTIMORE MD 21229                         YORK PA 17403




LAWRENCE DIETRICH                        LAWRENCE E ARMSTRONG                       LAWRENCE GEHO
7444 MADISON ST APT 1A                   8325 W 4TH STREET                          3619 MELANIE RD
FOREST PARK IL 60130-1564                LOS ANGELES CA 90048                       BALTIMORE MD 21234




LAWRENCE GHERARDI                        LAWRENCE GONYEA                            LAWRENCE GORDON
54 FAIRLAWN DR                           14 GRAND STREET                            2430 KENILWORTH AVENUE
CENTRAL ISLIP NY 11722                   APT C                                      LOS ANGELES CA 90039
                                         GLENS FALLS NY 12801



LAWRENCE HAPPES                          LAWRENCE HAYDEN                            LAWRENCE HO
12 WADSWORTH PLACE                       3118 W. SLAUSON AVE.                       2078 N HILLDALE AVENUE
SMITHTOWN NY 11787                       #1                                         SIMI VALLEY CA 93065
                                         LOS ANGELES CA 90043



LAWRENCE HUFNAGEL                        LAWRENCE J COLES                           LAWRENCE J MYERS
6 WEST CLIFF LANE                        10001 FRONTAGE ROAD #57                    7100 POND VIEW CT
LAKE GROVE NY 11755                      SOUTH GATE CA 90280                        SPRING HILL FL 34606




LAWRENCE JONES                           LAWRENCE JOST                              LAWRENCE JOURNAL WORLD
82 N HEMLOCK STREET                      36 COURTLAND AVENUE                        609 NEW HAMPSHIRE
VENTURA CA 93001                         APT. 3                                     LAWRENCE KS 66044
                                         STAMFORD CT 06902



LAWRENCE JOURNAL WORLD                   LAWRENCE L FILKOWSKI                       LAWRENCE LENSMITH
PO BOX 888                               358 STAFFORD COURT                         102 NORTH STREET
LAWRENCE KS 66044                        LAKE FOREST IL 60045                       IRON RIDGE WI 53035




LAWRENCE LINEHAN                         LAWRENCE LYON                              LAWRENCE MASSACESI
95 COOLIDGE AVE                          1921 CHANTICLEER ROAD                      8868 BAY 16TH STREET
RYE NY 10580                             ANAHEIM CA 92804                           BROOKLYN NY 11214




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LAWRENCE MOODY                        LAWRENCE MOVERA                            LAWRENCE MUCHOWSKI
905 CYPRESS STATION DR                12621 LONGLEAF DRIVE                       4901 ALTA DRIVE
F5                                    LA MIRADA CA 90638                         SACRAMENTO CA 95822
HOUSTON TX 77090



LAWRENCE MULLER                       LAWRENCE NUSS                              LAWRENCE OLIVER
3589 PRINCETON DR N.                  2 RICHLAND CT.                             39 RUSCO ST
WANTAGH NY 11793                      METAIRIE LA 70001                          HUNTINGTON NY 11743-4127




LAWRENCE PERL                         LAWRENCE POKOL                             LAWRENCE QUINONES
3410 OAKENSHAW PLACE                  102 ROSEBRIAR DRIVE                        526 FLORAL PARK TERRACE
BALTIMORE MD 21218                    LONGWOOD FL 32750                          SOUTH PASADENA CA 91030




LAWRENCE RASIE                        LAWRENCE ROLFO                             LAWRENCE RUTHERFORD
243 LINDEN AVENUE                     119 WINDSOR CRESCENT ST.                   6201 S KOMENSKY
BRANFORD CT 06405                     WINTER SPRINGS FL 32708                    CHICAGO IL 60629




LAWRENCE SHORT                        LAWRENCE SMITH                             LAWRENCE SNYDER
8038 WALLACE RD                       2 REVERE DRIVE                             7 DAY STREET
BALTIMORE MD 21222                    APT. 4                                     PLAINVILLE CT 06062
                                      BLOOMFIELD CT 06002



LAWRENCE STANLEY                      LAWRENCE STRIEGEL                          LAWRENCE TAYLOR
340 CABRINI BOULEVARD                 30 NORTON DRIVE                            1201 PURDY CT.
APT. 601                              EAST NORTHPORT NY 11731                    LUTHERVILLE MD 21093
NEW YORK NY 10040



LAWRENCE THOMPSON                     LAWRENCE TUPPER                            LAWRENCE URIBE
803 LINDENWALD LANE                   6712 MAXALEA RD                            4018 CAMERO AVENUE #7
ALTAMONTE SPRINGS FL 32701            BALTIMORE MD 21239                         LOS ANGELES CA 90027




LAWRENCE VALENTIN                     LAWRENCE W TYSON                           LAWRENCE WALLACE
450 E. OLIVE                          12 SANDBAR DR                              10271 SW 169 ST
APT #222                              CORONA DEL MAR CA 92625                    PERRINE FL 33157
BURBANK CA 91501



LAWRENCE WARD                         LAWRENCE WENTZEL                           LAWRENCE WHEELER
P.O.BOX 146741                        222 LONGLEAF DRIVE                         915 S. SHERBOURNE DR.
CHICAGO IL 60614-6741                 BLANDON PA 19510                           APT #201
                                                                                 LOS ANGELES CA 90035



LAWRENCE WILLIAMS                     LAWRENCE WILSON                            LAWRENCE, ARIC
134 KNOLLWOOD RD                      177 LAMPLIGHTER ACRES                      4418 COLFAX AVE NO.1
MANCHESTER CT 06042                   FORT EDWARD NY 12828                       STUDIO CITY CA 91602




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LAWRENCE, CHRISTOPHER                    LAWRENCE, DEVIN                             LAWRENCE, FEREVA
2411 ISLAND DR                           1840 N KENMORE AVE          APT 218         4343 OCEAN VIEW BLVD APT 219
MIRAMAR FL 33023                         LOS ANGELES CA 90027                        MONTROSE CA 91020




LAWRENCE, GLENDON R                      LAWRENCE, HANNAH                            LAWRENCE, KEISHA
1620 NW 46 AVE. # 43                     2 TENNESSEE CT                              3032 KLEIN ST APT 167B
LAUDERHILL FL 33313                      PORT JEFFERSON NY 11776                     ALLENTOWN PA 18103




LAWRENCE, LISA                           LAWRENCE, NOEL                              LAWRENCE, RAHSAAN
7006 NW 81ST CT.                         122 1/2 W CYPRESS AVE                       107 SACRAMENTO DRIVE
TAMARAC FL 33321                         MONROVIA CA 91016                           HAMPTON VA 23666




LAWRENCE, RAYMOND                        LAWRENCE, RENEE                             LAWS, CYNTHIA D
6250 N WINTHROP AVE APT 110              122 SAINT CLAIR DRIVE                       1185 BUTTONWOOD CIRCLE
CHICAGO IL 60660                         CONYERS GA 30094                            ALTAMONTE SPRINGS FL 32714




LAWS, PAULA                              LAWSON, CAMILLE M                           LAWSON, IRA
6651 SPRUCE RIDGE RD                     7910 S RICHMOND                             717 S COCHRAN AVE NO.17
BEAR LAKE MI 49614                       CHICAGO IL 60654                            LOS ANGELES CA 90036




LAWSON, SHANNON                          LAWSON, THOMAS                              LAWSON, TIFFANY
180 WILLOWCREST DR                       1664 HAZEN RD                               211 RED OAK CT
WINDSOR CT 06095                         DELAND FL 32720                             SMITHFIELD VA 23430




LAWSON,EDWARD                            LAWSON,ROBIN                                LAWTON, RICHARD E
8200 BOLSA AVE NO.106                    PETTY CASH                                  1970 MAIN STREET
MIDWAY CITY CA 92655                     PO BOX 271                                  APT 1-F
                                         WEST POINT VA 23181                         EAST HARTFORD CT 06108



LAWTON, RICHARD E                        LAYER 3 TECHNOLOGIES INC                    LAYER 3 TECHNOLOGIES INC
1970 MAIN ST                             189 NORTH WATER ST                          PO BOX 26289
EAST HARTFORD CT 06108                   ROCHESTER NY 14604                          ROCHESTER NY 14626




LAYER, ERIC                              LAYGO, EUGENE                               LAYLAND, DAVID A
1267 ELYSIAN PK AVE NO.29                631 TALCOTTVILLE RD        NO.N27           11520 FLOWERWOOD CT
LOS ANGELES CA 90026                     VERNON CT 06066                             MOORPARK CA 93021




LAYLO, ROBERT A                          LAZ PARKING TEXAS LLC                       LAZANYI, ILONA
PO BOX 275                               1310 ELM STREET SUITE 110                   P.O. BOX 013794
KELAYRES PA 18231                        DALLAS TX 75202                             MIAMI FL 33101




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LAZAR, ZACHARY                        LAZARO CORRAL                              LAZAROVITZ, MAYA
35 MISSAPOGUE AVENUE                  920 N. ROBERTA AVE.                        507 POLARIS LOOP APT 103
SOUTHAMPTON NY 11968                  MELROSE PARK IL 60164                      CASSELBERRY FL 32707




LAZARUS, EDWARD                       LAZBOY CONTRACT FURNITURE                  LAZER MICR INC
333 N CITRUS AVE                      1300 NORTH BROAD ST                        PO BOX 243
LOS ANGELES CA 90036                  LELAND MS 38756-2511                       EASTON PA 18044




LAZO,VICTOR                           LAZZARA, MARIE ANN                         LAZZARO, MARY JO
42 FEDERAL ST                         714 W MULLOY DR                            PETTY CASH CUSTODIAN
ELMWOOD CT 06110-1719                 ADDISON IL 60101                           505 NORTHWEST AVE
                                                                                 NORTHLAKE IL 60164



LD CHUCKMAN FINE ART & ILLUSTRATION   LD CHUCKMAN FINE ART & ILLUSTRATION        LD CHUCKMAN FINE ART & ILLUSTRATION
1322 W HURON ST NO.3N                 ILLUSTRATION & FINE ART                    PO BOX 7005
CHICAGO IL 60622                      PO BOX 7005                                CHICAGO IL 60680-7005
                                      CHICAGO IL 60680-7005



LDC PRODUCTIONS LLC                   LDC PRODUCTIONS LLC                        LDI
130 S EL CAMINO DRIVE                 CITY NATIONAL BANK                         50 JERICHO QUAD
BEVERLY HILLS CA 90212                ATTN MR CHARLES HEAPHY                     SUITE 105
                                      400 N ROXBURY DR SUITE 400                 JERICHO NY 11753
                                      BEVERLY HILLS CA 90212


LDS GROUP INC                         LE DRAOULEC, PASCALE                       LE MASSON, NICOLAS F
555 EIGHTH AVENUE SUITE 1110          3 RIDGEDELL AVENUE                         106 MUERDAGO ROAD
NEW YORK NY 10001                     HASTINGS ON HUDSON NY 10706                TOPANGA CA 90290




LE ROY SPENCER                        LE ROYALE                                  LE, ANN
6142 ALTMARK                          21 SEVENTH AVE SOUTH                       2756 LOCKSLEY PLACE
WHITTIER CA 90601                     NEW YORK NY 10014                          LOS ANGELES CA 90039




LEA LION                              LEA STOKES                                 LEA TERCERO
962 WEST KENSINGTON ROAD              801 RAMSEY STREET                          1227 FLINTLOCK ROAD
LOS ANGELES CA 90026                  BALTIMORE MD 21230                         DIAMOND BAR CA 91765




LEACH, SCOTT W                        LEACH, SHIRLEY                             LEACH, THOMAS D
21 WEST ST NO.5                       3354 PACKARD AVE                           200 EAST DELAWARE PLACE
BRISTOL CT 06010                      SUITE 2314                                 4F
                                      SAINT CLOUD FL 34772                       CHICAGO IL 60611



LEADER & BERKON LLP                   LEADERSHIP GREATER HARTFORD INC            LEADERSHIP HOWARD COUNTY IN
630 THIRD AVENUE                      30 LAUREL TERRACE                          5560 STERRETT PL  STE 105
NEW YORK NY 10017                     HARTFORD CT 06106                          COLUMBIA MD 21044




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LEADERSHIP LEHIGH VALLEY               LEADPOINT FINANCIAL INC                    LEAF FINANCIAL CORP
NORTHAMPTON COMMUNITY COLLEGE          512 N MCLURG CT    STE 1202                PO BOX 644006
3835 GREEN POND RD                     CHICAGO IL 60611                           CINCINNATI OH 45264-4006
BETHLEHEM PA 18020



LEAF, ELANA                            LEAGUE OF CHICAGO THEATRE                  LEAGUE OF WOMEN VOTERS
1000 1/2 N CROFT                       FOUNDATION                                 C/O JOAN TRAFTON
LOS ANGELES CA 90069                   228 S WABASH SUITE 300                     106 B SOUTH ST
                                       BENEFIT COMMITTEE                          ANNAPOLIS MD 21401
                                       CHICAGO IL 60604


LEAGUE OF WOMEN VOTERS                 LEAGUE OF WOMEN VOTERS                     LEAGUE OF WOMEN VOTERS
45 EAST 33RD ST NO.331                 NASSAU COUNTY                              PO BOX 1440
NEW YORK NY 10016                      P O BOX 526                                STONY BROOK NY 11790
                                       JERICHO NY 11753-0526



LEAGUE OF WOMEN VOTERS                 LEAGUE OF WOMEN VOTERS                     LEAH DEAN
PO BOX 539                             OF THE CITY OF NY EDUCATION FUND           P.O. BOX 82
POINT LOOKOUT NY 11569                 150 BROADWAY      14TH FLR                 WHITE HALL MD 21161
                                       NEW YORK NY 10038



LEAH LIGHT                             LEAH MCCLANAHAN                            LEAH PRICE
9860 SW HALL BLVD C 4                  4516 4TH AVE                               12-A OAKWOOD DRIVE
PORTLAND OR 97223                      LOS ANGELES CA 90043                       APT. #202
                                                                                  YORKTOWN VA 23693



LEAH SCHMIDT                           LEAH SEGAL                                 LEAH SIMON
425 SOUTH DETROIT STREET               25 TUMBLEBROOK LANE                        2873 NW 91 AVE.
APT #201                               WEST HARTFORD CT 06117                     APT. 202
LOS ANGELES CA 90036                                                              CORAL SPRINGS FL 33065



LEAHY III, EDWARD                      LEAL, ARNALDO                              LEANARDI, JOHN
4010 NE 2 TER                          4343 W 11TH LN                             PATRICK AUTO GROUP
POMPANO BEACH FL 33064                 HIALEAH FL 33012                           526 MALL DRIVE
                                                                                  SCHAUMBURG IL 60173



LEANDRA HAYNES                         LEANDRA HERNANDEZ                          LEANNE CHAMBLISS
5146 WATERMAN AVE                      7634 ERATH                                 1215 N 90TH STREET
ST. LOUIS MO 63108                     HOUSTON TX 77023                           APT # 105
                                                                                  SEATTLE WA 98103



LEANNE LAWALL                          LEAPOAL, HOLLIE                            LEAPOAL, JEFFREY
6612 BLUE HEATHER COURT                31 LOCUST STREET                           31 LOCUST ST
MACUNGIE PA 18062                      MACUNGIE PA 18062                          MACUNGIE PA 18062




LEAR, ERIC                             LEARNER, PAUL                              LEARNING SOLUTIONS LLC
42418 N CENTER STREET                  7182 TREVISO LANE                          215 PIER AVENUE SUITE NO.D
ANTIOCH IL 60002                       BOYNTON BEACH FL 33472                     HERMOSA BEACH CA 90254




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LEARNING SOLUTIONS LLC                LEATART, BRIAN                             LEATHA AIKINS
216 LYNDON STREET                     520 N WESTERN AVE                          1811 GUINYARD WAY
HERMOSA BEACH CA 90254                LOS ANGELES CA 90004                       ORLANDO FL 32805




LEATHERMAN, DALE ANN                  LEAVITT MANAGEMENT GROUP                   LEAVITT MANAGEMENT GROUP
PO BOX 232                            2600 LAKE LUCIEN DR                        PO BOX 940699
SNOWSHOE WV 26209                     SUITE 180                                  MAITLAND FL 32751
                                      MAITLAND FL 32751



LEAVITT MANAGEMENT GROUP              LEBANON LIONS CLUB                         LEBANON LIONS CLUB
2600 LAKE LUCIEN DRIVE 180            ATTN DEB MORTON                            ATTN RAND WELLS
MAITLAND FL 32751                     PO BOX 13                                  444 OLIVER RD
                                      LEBANON CT 06249                           LEBANON CT 06249



LEBECK, STEVEN W                      LEBENON BRATHWAITE                         LEBLANC, LITHSO
2109 VERNON DR   APT B                24 HARRIET TUBMAN COURT                    3720 SW 59TH AVE. NO. 4
ELGIN IL 60123                        HARTFORD CT 06120                          DAVIE FL 33314




LEBOURGEOIS, BENOIT                   LEBOVIC, ABRAHAM                           LEBOVITZ, DAVID
1741 1/2 PROSPECT AVE                 2090 8TH AVE NO.5C                         26 BOULEVARD BEAUMARCHAIS
SANTA BARBARA CA 93103                NEW YORK NY 10026                          PARIS 75011




LEBOWITZ, ERIC                        LEBRON, ENRIQUE                            LEBRON, JESSE
37-15 30TH AVE APT 7                  2552 WINDSOR HEIGHTS ST                    C ESPAILLAT NO.106 CENTRO CIUDAD
ASTORIA NY 11103                      DELTONA FL 32738                           ROMANA




LEBRUN, BERNARD                       LEBSACK, STEVE                             LECARO, LINA
310 LYME ST                           1340 N ASTOR ST NO.1007                    1537 MALTMAN AVE
HARTFORD CT 06112                     CHICAGO IL 60610                           LOS ANGELES CA 90026




LECEDRIC MOORE                        LECG, LLC                                  LECHOWITZKY, IRENE
3239 SOUTH PARKER ROAD                PO BOX 952423                              2740 GLASGOW DRIVE
APT. #305A                            ST LOUIS MO 63195-2423                     CARLSBAD CA 92008
DENVER CO 80014



LECIA DALLEMOLLE                      LECKEY, ANDREW                             LECLEREC, JOANN
16085 S. PENNY LANE                   C/O JANICE MARTINO                         3336 CALDWELL ST
HOMER GLEN IL 60491                   637 LINDARO ST STE 200                     DELTONA FL 32738
                                      SAN RAFAEL CA 94901



LECTROSONICS INC                      LECTROSONICS INC                           LEDA, LORETTA LYNN
581 LASER RD NE                       PO BOX 15900                               1233 CASTLEPORT RD
RIO RANCHO NM 87124                   RIO RANCHO NM 87174                        WINTER GARDEN FL 34787




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LEDBETTER, JAMAINE                    LEDBETTER, JAMAINE                         LEDBETTER, MARVA A
40 ARROW BROOK RD                     40 ARROWBROOK RD                           50 HILLSIDE ST
WINDSOR CT 06095                      WINDSOR CT 06905                           A1
                                                                                 EAST HARTFORD CT 06108



LEDDY, CHUCK                          LEDEE, IVIS                                LEDERHANDLER, LEAH E
12 CHARLES ST                         651 WILLIAMS ST                            301 W BYBERRY ROAD UNIT F5
QUINCY MA 02169                       BETHLEHEM PA 18015                         PHILADELPHIA PA 19116




LEDRA, CRISTINA                       LEE A HARRIS JR                            LEE A MORREALE
8545 NW 47TH ST                       5719 S RIMPAU BLVD                         11 MOUNTAIN TERRACE
CORAL SPRINGS FL 33067                LOS ANGELES CA 90043                       NANUET NY 10954-1052




LEE ABRAMS                            LEE ALBERT KNIGHT                          LEE ANN HUBER
435 N MICHIGAN AVE                    1648 N VINE ST                             96 WISTERIA DR.
CHICAGO IL 60611                      APT#105                                    LONGWOOD FL 32779
                                      CHICAGO IL 60614



LEE BASS                              LEE BEAN                                   LEE BOWLER
4033 W 127TH ST.                      351 NE 28TH COURT                          906 TENTH AVE #108
APT # 7                               BOYNTON BEACH FL 33435                     SAN DIEGO CA 92101
ALSIP IL 60803



LEE BUTTER & ASSOCIATES INC           LEE BUTTER & ASSOCIATES INC                LEE CUSANO
1125 LUNT AV                          20 S LIVELY BLVD                           61 HOLISTER DRIVE
ELK GROVE VILLAGE IL 60007            SUITE 200                                  ROCKY HILL CT 06067
                                      ELK GROVE VILLAGE IL 60007



LEE E ARMSTRONG                       LEE GELLERSTEIN                            LEE GORDON
5611 ARUNDEL DRIVE                    28 JUNIPER PL                              7141 N KEDZIE AVE
ORLANDO FL 32808                      HUNTINGTON NY 11743                        1115
                                                                                 CHICAGO IL 60645



LEE HALL                              LEE HECHT HARRISON LLC                     LEE HECHT HARRISON LLC
2544 E. 76TH STREET                   11400 W OLYMPIC BLVD STE 800               500 W MONROE STE 3720
APT 3                                 LOS ANGELES CA 90064                       CHICAGO IL 60661
CHICAGO IL 60649



LEE HECHT HARRISON LLC                LEE J FOSTER                               LEE JENNINGS TARGET EXPRESS INC
PO BOX 8500-41635                     26 EAST LIBERTY STREET                     1465 E FRANKLIN AVE
PHILADELPHIA PA 19178                 CHESTER CT 06412                           POMANA CA 91766




LEE JONES                             LEE JR, DONNIE                             LEE LANG
363 PARKVILLAGE AVE                   5892 OTTERDAM RD                           105 EAST BROADWAY
FAIRVIEW TX 75069                     WAVERLY VA 23890                           BEL AIR MD 21014




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LEE LANGON                              LEE LEVINE ENTERPRISES                     LEE MARGULIES
20111 AEGINA DRIVE                      2779 MORTON AVE                            25016 HOLLYHOCK COURT
OLYMPIA FIELDS IL 60461                 OCEANSIDE NY 11572                         NEWHALL CA 91381




LEE MEDIA SERVICES                      LEE MONTI                                  LEE NADOLNY
2440 INISHMORE COURT                    473 17TH STREET                            2501 DUNWOODY DRIVE
INDIANAPOLIS IN 46214                   WEST BABYLON NY 11704                      MADISON WI 53713




LEE NGO                                 LEE PEACOCK                                LEE PECK
13733 SW LIDEN DRIVE                    120 TINDALE CIRCLE                         20 RULAND ROAD
TIGARD OR 97223                         LONGWOOD FL 32779                          SELDEN NY 11784




LEE PORUBAN                             LEE ROBINSON, ELIZABETH                    LEE SCHLESINGER
88 LONDON TERRACE                       3500 CRESTMONT AVE                         5111 IRVINGTON TERR
STRATFORD CT 06614                      LOS ANGELES CA 90026                       LOS ANGELES CA 90042




LEE SHERMAN                             LEE SMITH                                  LEE SMITH
631 IBIS DR.                            PO BOX 159                                 PO BOX 399
DELRAY BEACH FL 33444                   CASTOR LA 71016                            CASTOR LA 71016




LEE TEMBY                               LEE THAM                                   LEE WEISSMANN
1309 CHESHIRE LANE                      5407 WALTON STREET                         5404 VELOZ
BEL AIR MD 21014                        LONG BEACH CA 90815                        TARZANA CA 91356




LEE, AARON                              LEE, ALLYSSA                               LEE, ANTOYA N
4900 LINCOLNE AVENUE                    10331 ANGELA AVE                           533 SW 16TH PL
LOS ANGELES CA 90042                    CYPRESS CA 90630                           FT LAUDERDALE FL 33315




LEE, BRIAN                              LEE, CAROL                                 LEE, CHAVONE C
233 AUTUMN STREET                       2311 BOUGAINVILLEA ST                      7131 S BENNETT APT 1N
MANCHESTER CT 06040                     SARASOTA FL 34239-5316                     CHICAGO IL 60649




LEE, CHRISTINE                          LEE, CHRISTINE                             LEE, CONNIE
3233 PARK RD   APT O                    3233 PARK RD   APT O                       245 BURLINGTON AVE NO.212
CHARLOTTE NC 28200                      CHARLOTTE NC 28209-2086                    CLARENDON HILLS IL 60514




LEE, DERREK                             LEE, DERREK                                LEE, DEVINE
3576 BRTTANY WAY                        1155 N DEARBORN UNIT 1202                  8037 S EVANS
EL DORADO HILLS CA 65762                CHICAGO IL 60610                           CHICAGO IL 60620




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LEE, DON                               LEE, EDMOND                                LEE, EDMOND
LA TIMES FOREIGN DESK                  4440 WEST DEVON                            7568 MELON CT
SHANGHAI BUREAU                        LINCOLNWOOD IL 60712                       GURNEE IL 60031
220 W FIRST ST
LOS ANGELES CA 90012


LEE, ELISE R                           LEE, EUFORD                                LEE, HAK-JU
7100 SPRINGS LANE APT F                10681 LAGO WELLEBY DR                      KYUNG KI DO KYUNG MYUNG
NORCROSS GA 30092                      SUNRISE FL 33351                           SI KWANG MUYNG 4 DONG HANSHIN APT 110
                                                                                  SEOUL 801



LEE, HEROLINE                          LEE, JASON P                               LEE, JESSICA
131 WOODLAND AVE                       235 W 102 ST NO.3G                         3238 ELYSIA ST
BLOOMFIELD CT 06002                    NEW YORK NY 10025                          CORONA CA 32882




LEE, JESSICA                           LEE, JIN-SUP                               LEE, JOHN
3238 ELYSIA ST                         275 GREENWICH ST APT 2F                    406-1450 WEST GEORGIA ST
CORONA CA 92882                        NEW YORK NY 10007                          VANCOUVER BC V6G 2T8




LEE, KATHERINE                         LEE, LINDA                                 LEE, MICHAEL
3300 N LAKE SHORE DR APT 12A           42-27 164 ST NO. 3FL                       PO BOX 840
CHICAGO IL 60657                       FLUSHING NY 11358                          WELLFLEET MA 02667




LEE, MICHAEL VIN                       LEE, MONICA                                LEE, ROBIN
16422 HAAS AVE                         2431 FAIRMONT AVE                          11312 W. 67TH TERRACE
TORRANCE CA 90504                      LA CRESCENTA CA 91214                      SHAWNEE KS 66203




LEE, RODNEY A                          LEE, ROSITA                                LEE, SARAH MEGHAN
2091 NW 93RD LANE                      19818 SE 23RD STREET                       827 CHARLES PLACE NW
SUNRISE FL 33322                       SAMMAMISH WA 98075                         ALBUQUERQUE NM 87107




LEE, SEUNG                             LEE, SHANNON W                             LEE, SIMON
4234 NW 98TH WAY                       1807 FRUITLAND PARK BLVD                   MANSUK JUGONG
SUNRISE FL 33351                       STE 2432                                   APT 103 DON 604 HO
                                       FRUITLAND PARK FL 34731                    INCHEON KWANGYUKSI
                                                                                  SOUTH KOREA


LEE, TERRY L                           LEE, UN JIN                                LEEANN ADAMS
PO BOX 895                             22957 OLD INLET BRIDGE DR                  3430 UNIVERSITY PLACE
ALTA LOMA CA 91701                     BOCA RATON FL 33433                        BALTIMORE MD 21218




LEEANN MAZZEO                          LEEANNE GRIFFIN                            LEEDS, MARK B
27 BROOKS AVENUE                       327 BRAINARD ROAD                          80 LASALLE ST  APT 10F
NESCONSET NY 11767                     UNIT 108                                   NEW YORK NY 10027
                                       ENFIELD CT 06082




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LEEDS, VICTORIA BRECKER                LEELYN PARKER                              LEEMA THOMAS-JOSEPH
840 PARK AVE NO.12A                    95 HOCKANUM BLVD.                          7 SAGAMORE LANE
NEW YORK NY 10075                      APT. 6025                                  DIX HILLS NY 11746
                                       VERNON CT 06066



LEEN, JOHN                             LEEN, JOHN                                 LEENA JHURANI
4060 N KENMORE NO.306                  4060 N KENMORE NO.305                      23 CELLINI
CHICAGO IL 60613                       CHICAGO IL 60613                           ALISO VIEJO CA 92656




LEES, PAM                              LEESA THOMPSON                             LEESON, RACHEL
262 BALD EAGLE WAY                     3033 NE 16 AVE                             37 TALL OAK
WILLIAMSBURG VA 23188                  OAKLAND PARK FL 33334                      IRVINE CA 92603




LEETARU, LARS                          LEETH, DAN                                 LEEUWENBURG, JAY
509 MEWS DR                            P O BOX 440289                             6268 S COLORADO
SELLERSVILLE PA 18960                  AURORA CO 80044                            LITTLETON CO 80123




LEFF,DAVID K                           LEFFLER, MELVYN                            LEGACY PARTNERS I LONG BEACH
4 THE GREEN                            1612 CONCORD DR                            4000 E THIRD AVE    STE 600
COLLINSVILLE CT 06019                  CHARLOTTESVILLE VA 22901                   FOSTER CITY CA 94404-4605




LEGACY PARTNERS I LONG BEACH           LEGAL NOTICE REGISTRY CORPORATION          LEGASPI, ALTHEA
OCEANGATE LLC                          8701 GEORGIA AVE    STE 404                4917 N AVERS AVE     NO.3B
OCEANGATE BU 29462                     SILVER SPRING MD 20910                     CHICAGO IL 60625
FILE 50307
LOS ANGELES CA 90074


LEGETTE, JEFFREY B                     LEGGETT JONES, VIVIAN E                    LEGGS, TARA
6416 COXLEY LN                         7 CHATFIELD DR APT E                       15418 ELM
SUFFOLK VA 23435                       STONE MOUNTAIN GA 30083                    SOUTH HOLLAND IL 60473




LEGHORN, ZACHARY                       LEGILUS, ODILIEN                           LEGISLATIVE CORRESPONDENTS
150 PINE STREET APT 220                6267 FAIRGREEN ROAD                        PO BOX 7340
MANCHESTER CT 06040                    WEST PALM BEACH FL 33417                   NYS CAPITOL
                                                                                  ALBANY NY 12224-7040



LEGISLATIVE REFERENCE BUREAU           LEGNANI, PERRY                             LEGOLAND
ATTN PACS SUBSCRIPTIONS                185 TURKEY HILLS RD APT 114                ATTN ACCOUNTS RECEIVABLE
ROOM 641 MAIN CAPITOL BLDG             EAST GRANBY CT 06026                       ONE LEGOLAND DRIVE
HARRISBURG PA 17120-0033                                                          CARLSBAD CA 92008



LEGOLAND                               LEGRANDE, PETER                            LEGWOLD, JEFF
ONE LEGOLAND DRIVE                     35 EVERGREEN AVE NO.C 11                   8477 E MINERAL CIRCLE
CARLSBAD CA 92008                      HARTFORD CT 06105                          CENTENNIAL CO 80112




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LEHIGH COUNTY CONFERENCE OF CHURCHES   LEHIGH FLUID POWER INC                     LEHIGH FLUID POWER INC
534 CHEW ST                            1413 ROUTE 179                             RT. 179 PO BOX 248
ALLENTOWN PA 18102                     LAMBERTVILLE NJ 08530-0248                 ATTN: LINDA
                                                                                  LAMBERTVILLE NJ 08530-0248



LEHIGH LAW JOURNAL                     LEHIGH UNIVERSITY                          LEHIGH UNIVERSITY
1114 WALNUT ST                         622 BRODHERD AVE                           ATHLETICS DEPT
ALLENTOWN PA 18102                     DEVELOPEMENT ANNEX                         ATTN TRAVIS SPENCER
                                       BETHLEHEM PA 18015-3055                    641 TAYLOR STREET
                                                                                  BETHLEHEM PA 18015


LEHIGH UNIVERSITY                      LEHIGH UNIVERSITY                          LEHIGH UNIVERSITY
ATTN CAMPUS POST OFFICE                C/O CHOICES COMMUNITY                      DEVELOPMENT OFFICE
118 ATLAS DR BLDG J                    211 WARREN SQUARE                          PO BOX 8500-8285
BETHLEHEM PA 18015-4796                BETHLEHEM PA 18015                         PHILADELPHIA PA 19178-8285



LEHIGH UNIVERSITY                      LEHIGH UNIVERSITY                          LEHIGH UNIVERSITY
FRIENDS OF LIBRARY                     OFFICE OF THE BURSAR                       S T A R ACADEMIES
8A E PACKER AVE                        27 MEMORIAL DR WEST                        422 BRODHEAD AVE
BETHLEHEM PA 18018                     BETHLEHEM PA 18015-3093                    BETHLEHEM PA 18015



LEHIGH UNIVERSITY                      LEHIGH VALLEY ARTS COUNCIL                 LEHIGH VALLEY ARTS COUNCIL
ZOELLNER ARTS CENTER                   1633 ALLEN ST                              840 HAMILTON ST    STE 201
ARTS DEVELOPMENT OFC                   ALLENTOWN PA 18102                         ALLENTOWN PA 18101
203 E PACKER AVE
BETHLEHEM PA 18015


LEHIGH VALLEY ARTS COUNCIL             LEHIGH VALLEY ASSOCIATION OF REALTORS      LEHIGH VALLEY ASSOCIATION OF REALTORS
PO BOX 20591                           10 S COMMERCE WAY                          P O BOX 20487
LEHIGH VALLEY PA 18002-0591            BETHLEHEM PA 18017                         LEHIGH VALLEY PA 18002-0487




LEHIGH VALLEY BUILDERS ASSOCIATION     LEHIGH VALLEY BUSINESS EDUCATION           LEHIGH VALLEY BUSINESS EDUCATION
1524 LINDEN ST                         2158 AVE C STE 200                         C/O DONLEY AWARDS
ALLENTOWN PA 18102                     ATTN WILLIAM BARTLE                        1601 UNION BLVD
                                       BETHLEHEM PA 18017-2148                    ALLENTOWN PA 18109



LEHIGH VALLEY ECONOMIC DEVELOPMENT     LEHIGH VALLEY ECONOMIC DEVELOPMENT         LEHIGH VALLEY ECONOMIC DEVELOPMENT
2158 AVENUE C   NO.200                 3405 AIRPORT RD                            P O BOX 21750
BETHLEHEM PA 18017                     SUITE 200                                  LEHIGH VALLEY PA 18002
                                       ALLENTOWN PA 18103



LEHIGH VALLEY IRON PIGS                LEHIGH VALLEY IRON PIGS                    LEHIGH VALLEY IRON PIGS
1050 IRON PIG WAY                      PO BOX 90220                               PO BOX 90220 555 UNION BLVD
ALLENTOWN PA 18109                     ALLENTOWN PA 18109                         ALLENTOWN PA 18109




LEHIGH VALLEY LATIN SOCCER LEAGUE      LEHIGH VALLEY PARTNERSHIP                  LEHIGH VALLEY PARTNERSHIP
PO BOX 21351                           C/O BERT DADAY GENTW5                      TWO N NINTH ST
LEHIGH VALLEY PA 18002                 PPL CORPORATION                            ALLENTOWN PA 18101-1179
                                       TWO N NINTH STREET
                                       ALLENTOWN PA 18101-1179




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LEHIGH VALLEY POSTAL CUSTOMER COUNCIL   LEHIGH VALLEY POSTAL CUSTOMER COUNCIL      LEHIGH VALLEY POSTAL CUSTOMER COUNCIL
1000 POSTAL ROAD                        17 S COMMERCE WAY                          HOLIDAY INN CONFERENCE CTR
ALLENTOWN PA 18103                      LEHIGH VALLEY PA 18002-9601                ROUTES I-78 & 100
                                                                                   FOGELSVILLE PA 18051



LEHIGH VALLEY POSTAL CUSTOMER COUNCIL   LEHMAN BROTHERS HOLDINGS INC.              LEHMANN, ALLISON
RODALE                                  745 SEVENTH AVE                            1130 N DEARBORN ST APT 2707
33 E MINOR ST                           NEW YORK NY 10019                          CHICAGO IL 60610
EMMAUS PA 18098



LEHMANN, DONNA                          LEHRER & VAN ALLEN INC                     LEHRER, DAVID A
3165 S CARNABY ST                       17509 NE 31ST COURT                        865 S FIGUEROA ST    STE 3339
BLOOMINGTON IN 47401                    REDMOND WA 98052-5757                      LOS ANGELES CA 90017




LEHRER, JONAH                           LEHRER, LIA                                LEIBENSPERGER, PATRICIA
98 SOUTH ST                             6851 N KILPATRICK                          412 RACE ST
CONCORD NH 03301                        LINCOLNWOOD IL 60712                       CATASAUQUA PA 18032




LEIBIG, DANIELLE                        LEICESTER,JOHNATHAN                        LEICH, DANIEL
246 W PATTERSON ST                      17151 CORBINA LANE NO.112                  56 DAWNING AVE
LANSFORD PA 18232                       HUNTINGTON BEACH CA 92649                  SEA CLIFF NY 11579




LEICHT, LAUREL BETH                     LEICHTER, AARON                            LEIGH HANLON
314 EAST 78TH ST APT 19                 304 GARFIELD PLACE 4R                      4840 N. LINDER AVENUE
NEW YORK NY 10075                       BROOKLYN NY 11215                          #117
                                                                                   CHICAGO IL 60630



LEIGH MOORE-JONES                       LEIGH MOYLAN                               LEIGH, EDWARD A
8020 W. MANCHESTER AVE                  2830 LINDEN ST                             17269 TENNYSON PLACE
# 305                                   UNIT 3F                                    GRANADA HILLS CA 91344
PLAYA DEL REY CA 90293                  BETHLEHEM PA 18017



LEILA FEINSTEIN                         LEILA QUIAMBAO                             LEILA SHALHOUB
2239 PENMAR AVENUE                      1733 N SIERRA VISTA DRIVE                  11666 MONTANA AVE
VENICE CA 90291                         TEMPE AZ 85281                             #306
                                                                                   LOS ANGELES CA 90049



LEILAH BERNSTEIN                        LEINER, BARRI                              LEINER, BARRI M
156 NORTH ALTA VISTA BLVD               449 W ALDINE STE 3                         3400 N LAKE SHORE DR APT 2A
LOS ANGELES CA 90036                    CHICAGO IL 60657                           CHICAGO IL 60657




LEINS, ANDREW                           LEIPZIG, VICTOR                            LEIST, JUDITH A
10679 SW 20 CT                          17461 SKYLINE LANE                         2538 EASTON AVE
MIRAMAR FL 33025                        HUNTINGTON BEACH CA 92647                  BETHLEHEM PA 18017




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LEISTNER, WALTER                        LEITCH INCORPORATED                        LEITCH INCORPORATED
5340 JOSIE                              PO BOX 100063                              PO BOX 198716
LAKEWOOD CA 90713                       PASADENA CA 91189-0063                     ATLANTA GA 30384-8716




LEITCH INCORPORATED                     LEITCH INCORPORATED                        LEITCH INCORPORATED
22294 NETWORK PL                        PO BOX 891012                              PO BOX 951603
CHICAGO IL 60673-1222                   DALLAS TX 75389                            DALLAS TX 75395-1603




LELAND GASPERICH                        LELAND WELLS                               LELIA ARNHEIM
5158 W GEORGE                           19 SUMMIT ROAD                             5538 N. WINTHROP AVE.
CHICAGO IL 60641                        VERNON CT 06066                            APT #1
                                                                                   CHICAGO IL 60640



LEMBACH, DAYLE                          LEMIEUX, GARY W                            LEMIEUX, JENNA
9002 TRANSOMS RD                        10 TROUT STREAM DR                         10409 CALIFA ST
BALTIMORE MD 21236                      VERNON CT 06066                            NORTH HOLLYWOOD CA 91601




LEMKE-BRINKER, PAULINE MARIE            LEMMONS, JUDY C                            LEMON GROVE PLAZA INC
4109 N OCEAN BVD APT 10                 9 EMMAUS ROAD                              C/O FRED M. KAPLAN, CPA
FORT LAUDERDALE FL 33308                POQUOSON VA 23662                          23047 VENTURA BLVD.NO.250
                                                                                   WOODLAND HILLS CA 91364



LEMON WILLIAMS                          LEMON-HACKWORTH, KIMBERLY J.               LEMOS, JAIN
4633 SPRINGMONT DR SE                   2801 NW 60TH AVE. APT. NO. 453             30025 ALICIA PARKWAY STE 103
KENTWOOD MI 49512                       SUNRISE FL 33313                           LAGUNA NIGUEL CA 92677




LEMOYNE ELEMENTARY SCHOOL               LEMUS, CHRISTINA                           LEMUS,JOSE,A
851 W WAVELAND                          9321 DUNHILL DRIVE                         3160 SW 27 TERR
CHICAGO IL 60613                        MIRAMAR FL 33025                           MIAMI FL 33133




LEN DEGROOT                             LEN KASPER                                 LENA EVANS
1534 SE 15 ST                           445 DREXEL AVE.                            4411 DOWERY LANE
APT 5                                   GLENCOE IL 60022                           BELCAMP MD 21017
FORT LAUDERDALE FL 33316



LENA LINDEMANN                          LENA OHTA                                  LENA SULLIVAN
18532 HAWKS HILL RD                     4126 WEST 173RD ST                         880 A HILL TOP ROAD EAST
WILDWOOD MO 63069                       TORRANCE CA 90504                          HERITAGE VILLAGE
                                                                                   SOUTH BURY CT 06488



LENARD LYNCH                            LENARDSON,RITA,M                           LENDROTH, SUSAN
2995 TULIP LANE                         817 SW 17 ST                               609 W SIERRA MADRE BLVD NO.9
HOBART IN 46342                         FORT LAUDERDALE FL 33315                   SIERRA MADRE CA 91024




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LENEGAN, LLOYD T                         LENEHAN, MICHAEL D                         LENESCAR, JOSEPH
157 W LINDEN ST                          2224 W GIDDINGS ST                         18771 STEWART CIR NO.4
ALLENTOWN PA 18101                       CHICAGO IL 60625                           BOCA RATON FL 33496




LENEUS, MAHER                            LENGYEL, JUNE                              LENHART, DONNA S
4123 SW 159TH AVE                        2416 9TH ST                                13319 SPRING
MIRAMAR FL 33027                         BETHLEHEM PA 18020                         GRANDVIEW MO 64030




LENIN LEMACHE                            LENIN, EVELYN                              LENIQUE JULIEN
109 DUPONT STREET                        308 NW 77 AVE.                             7744 BERIDALE COURT
APT. 3                                   MARGATE FL 33063                           ORLANDO FL 32818
BROOKLYN NY 11222



LENISE BERNARDINO                        LENNON, COLLEEN M                          LENNOX, FLOYD B
2371 NORWALK AVENUE                      26 GLENWOOD AVE                            5520 N LAKEWOOD CIRC     APT 624
LOS ANGELES CA 90041                     WOBURN MA 01801                            MARGATE FL 33063




LENNY DELGADILLO                         LENNY'S POWER WASHING & SEALING INC        LENORA THOMAS
224 W. MAINT STREET                      126 RACEFIELD DRIVE                        2040 BROWNING BLVD.
SAN GABRIEL CA 91776                     TOANO VA 23168                             LOS ANGELES CA 90062




LENORE BURNS                             LENORE CASTROGIOVANNI                      LENORE GILNACK
1115 S BIRCH                             52 WEST OAK STREET                         13 ROBIN ROAD
SANTA ANA CA 92707                       FARMINGDALE NY 11735                       GLASTONBURY CT 06033




LENORE LAIDLAW                           LENS, JENNY                                LENSEY, GWENDOLYN NICOLE
38018 VILLAGE 38                         2801 OCEAN PARK BLVD NO.231                169 JAMES STREET APT 3B
CAMARILLO CA 93012                       SANTA MONICA CA 90405                      NEWARK NJ 07103-4030




LENTINE, LAUREN                          LENTZ, GLEN                                LENWORTH JACOBS
35-60 11TH ST APT 3A                     15 SPRING HILL LN                          106 BREFNI STREET
LONG ISLAND CITY NY 11106                ELIZABETHTOWN PA 17022                     AMITYVILLE NY 11701




LEO BOATENG                              LEO BRENNAN                                LEO BURNETT USA INC
39912 BANYAN STREET                      31291 OLD SAN JUAN RD                      35 W WACKER DRIVE
MURRIETA CA 92563                        SAN JUAN CAPISTRANO CA 92675-2408          CHICAGO IL 60601




LEO BURNETT USA INC                      LEO BURNETT USA INC                        LEO DOUGLAS
91451 COLLECTION CENTER DR               C/O ERIC RAJEWSKI                          5721 S. KIMBARK
CHICAGO IL 60693                         35 W WACKER DR                             APT. #3
                                         CHICAGO IL 60601                           CHICAGO IL 60637




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LEO EBERSOLE                          LEO FERGUSON                               LEO HORRIGAN
211 E. OHIO STREET                    5324 NW 48 ST                              306 RADNOR ROAD
#709                                  COCONUT CREEK FL 33073                     BALTIMORE MD 21212
CHICAGO IL 60611



LEO J BARRETT                         LEO KERNER                                 LEO M EGAN JR
1929 YOUNGSTON RD                     717 REEDY CIRCLE                           32-670 SOUTHERN HILLS AVENUE
JARRETTSVILLE MD 21084                BEL AIR MD 21014                           THOUSAND PALMS CA 92276




LEO V SELIGSOHN                       LEO WOLINSKY                               LEO, JAMIE
7183 SANDHILLS PLACE                  8550 HOLLYWOOD BLVD.                       2550 SW 18TH TERRACE NO.2208
BRADENTON FL 34202                    LOS ANGELES CA 90069                       FT LAUDERDALE FL 33315




LEO, RYAN W                           LEOBARDO MERCADO                           LEOBARDO TALAVERA
670 WEST BROADWAY                     14136 S. WOOD STREET                       2526 S 57TH AVE
LONG BEACH NY 11561                   DIXMOOR IL 60426                           CICERO IL 60804




LEODUS THOMAS                         LEOLA AIELLO                               LEOMIA KEITH
1900 N RUTHERFORD AVE                 226 UNION AVENUE                           7215 REX HILL TRAIL
CHICAGO IL 60707                      ISLIP NY 11751                             ORLANDO FL 32818




LEON CAREY                            LEON CHARETTE                              LEON CONSOLATORE
P. O. BOX 251 #B-21                   33 FLORENCE LANE                           37 SAN JOSE CIRCLE
SURFSIDE CA 90743                     PLAINVILLE CT 06062                        ORMOND BEACH FL 32176




LEON COUNTY TAX COLLECTOR             LEON COUNTY TAX COLLECTOR                  LEON COUNTY TAX COLLECTOR
ATTN: JOHN F CHAFIN                   JOHN F CHAFIN, TAX COLLECTOR               PO BOOX 1835
P O BOX 1835                          P O BOX 1835                               TALLAHASSEE FL 32302-1835
TALLAHASSEE FL 32302-1835             .
                                      TALLAHASSEE FL 32302


LEON FOOKSMAN                         LEON GEBHART                               LEON KOFMAN
11211 NW 17TH PLACE                   136 OAK MILL ST                            734 N. GRIFFITH PARK DRIVE
CORAL SPRINGS FL 33071                ADDISON IL 60101                           BURBANK CA 91506




LEON MONSANTO                         LEON POWELL                                LEON RUIZ, DIANA
1232 E. 56 ST.                        9857 VIA SONOMA                            6700 NOVA DR. NO. 204
LOS ANGELES CA 90011                  CYPRESS CA 90630                           DAVIE FL 33317




LEON STANFORD                         LEON THOMAS                                LEON TOLIVER
1011 BRANCHWATER COURT                24 SURREY RD.                              6035 JEFFERSON AVE
BALTIMORE MD 21205                    DEBARY FL 32713                            APT. 220
                                                                                 NEWPORT NEWS VA 23605




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LEON TURNBULL PHOTOGRAPHY                 LEON WOODSON                               LEON, ANNA M
116 MONOWOOD DR                           5106 GROTON ROAD                           54 K READING ROAD
FOLSOM CA 95630                           BALTIMORE MD 21206                         EDISON NJ 08817




LEON, ASTRID                              LEON, JANET                                LEON, JEAN-MICHAEL
28 HAMLIN ST                              202 W 1ST ST 5TH FLR                       18821 NW 22ND ST
MANCHESTER CT 06040                       TIMES WEST                                 PEMBROKE PINES FL 33029
                                          LOS ANGELES CA 90012



LEON, JOHN                                LEON, JOHN                                 LEON, MARIA D
1015 GRAND CONCOURSE NO. 1C               84-80 118 ST                               2251 CHATHAM PLACE TRAIL
BRONX NY 10452                            KEW GARDENS NY 11415                       ORLANDO FL 32824




LEON, MARIANA                             LEON, MARISOL                              LEON, MARK
6220 WILES ROAD NO.308                    1676 S LEONARD AVENUE                      3401 SYCAMORE ST
CORAL SPRINGS FL 33067                    LOS ANGELES CA 90019                       ALLENTOWN PA 18104




LEON, RAFAEL B                            LEON, ROB                                  LEON, VICKI
5056 MILLENIA BLVD APT 107                84 30 118TH ST                             506 PINON ST
ORLANDO FL 32839                          KEW GARDENS NY 11415                       MORRO BAY CA 93443




LEON, VICKI                               LEON-HERNANDEZ, RUBEN                      LEONA AUTOR
PO BOX 1436                               14541 GREENLEAF ST                         2102 W CRESTWOOD LANE
MORRO BAY CA 93443                        SHERMAN OAKS CA 91403                      ANAHEIM CA 92804




LEONA B COTTON                            LEONA GINTER                               LEONA INGRAHAM
263 STINER ROAD                           3560 PINE BOX 46                           7510 KNOLLWOOD ROAD
SHARPS CHAPEL TN 37866                    KIELER WI 53812                            TOWSON MD 21286




LEONARD & SCIOLLA, LLP                    LEONARD BARI                               LEONARD BAUMGARTNER
HEIDI ANDERSON, ESQ.                      2440 S BARRINGTON AVENUE                   28035 LOIS DRIVE
1515 MARKET ST                            APT # 202                                  TAVARES FL 32778
STE 1800                                  LOS ANGELES CA 90064
PHILADELPHIA PA 19102


LEONARD BRASHEAR                          LEONARD BURKETT                            LEONARD DABEK
428 CORAL DRIVE                           6171 NW 32ND WAY                           1033 BUSSE HWY
LAKE HAVASU CITY AZ 86403                 FORT LAUDERDALE FL 33309                   #1D
                                                                                     PARK RIDGE IL 60068



LEONARD DELVECCHIO                        LEONARD F PARTISS JR                       LEONARD FODERA
19 RANDAL AVENUE                          1440 SMITHTOWN AVENUE                      11 DILLMONT DRIVE
WEST HARTFORD CT 06110                    BOHEMIA NY 11716                           SMITHTOWN NY 11787




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LEONARD FOXVOG                        LEONARD GERTZ PHOTOGRAPHY                  LEONARD GRONNING
2271 QUEENSBERRY RD.                  2341 S MICHIGAN AVE APT 3                  911 SO. IDAHO
PASADENA CA 91104                     CHICAGO IL 60616                           #91
                                                                                 LA HABRA CA 90631



LEONARD HEINLEIN                      LEONARD I HOROWITZ                         LEONARD KANARICK
1898 JOSHUA'S PATH                    11 HIGHWOOD ROAD                           13422 A SABAL PALM COURT
CENTRAL ISLIP NY 11722                WESTPORT CT 06880                          DELRAY BEACH FL 33484




LEONARD KESLIN                        LEONARD KNOTT                              LEONARD KRUGER
14317 CREEK CROSSING                  110 REAVIS RD                              1108 NOVILUNIO
ORLAND PARK IL 60462                  HANOVER MD 21076                           SAN CLEMENTE CA 92673




LEONARD LEE                           LEONARD LESCIO                             LEONARD PARTISS
4534 HAZELWOOD AVENUE                 29 WOODBROOK DRIVE                         80 BALLAD CIRCLE
BALTIMORE MD 21206                    RIDGE NY 11961                             HOLBROOK NY 11741




LEONARD POMERANTZ                     LEONARD RIGHI                              LEONARD ROWLEY
23311 VALERIO STREET                  2130 HUNTINGTON STREET                     4312 O'DONOHUE DRIVE
CANOGA PARK CA 91304                  BETHLEHEM PA 18017                         JOLIET IL 60431




LEONARD SAMPSON                       LEONARD SOUSA                              LEONARD TELESCA
24979 CONSTITUTION AVE, #625          7 WATERHOLE ROAD                           11 GLEN ROAD
STEVENSON RANCH CA 91381              COLCHESTER CT 06415                        MASSAPEQUA NY 11762




LEONARD W DAVIS                       LEONARD, ABAGAIL                           LEONARD, BRANDEE
8081 LA MONTE ROAD                    25 1/2 E 61 ST                             994 CALLE DEL PACIFICO
STANTON CA 90680                      NEW YORK NY 10021                          GLENDALE CA 91208




LEONARD, GARY                         LEONARD, JULIE                             LEONARD, LEROY
1539 CURRAN ST                        PO BOX 1914                                412 CUMNOR RD
LOS ANGELES CA 90026                  SULTAN WA 98294                            KENILWORTH IL 60043




LEONARD, RYAN                         LEONARDA RODRIGUEZ                         LEONARDI III, JOHN J
3438 N DAMEN APT B                    1330 WASHINGTON STREET                     1139 RIVERSHIRE DR
CHICAGO IL 60618                      LONG BEACH CA 90805                        EVANS GA 30809




LEONARDO NAIM                         LEONE, RUDOLPH                             LEONE, TERYN
1210 HYPERION AVENUE                  91 BERTS DR                                6961 LONG LAKE CT
LOS ANGELES CA 90029-2230             LOTHIAN MD 20711                           LEMON GROVE CA 91945




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LEONELL MENDOZA                     LEONID KHRANOVICH                          LEONID MINEVICH
3552 NORTH LAKEWOOD                 1131 KINGSBURY ROAD                        22 JONES FALLS TERRACE
1                                   OWINGS MILLS MD 21117                      BALTIMORE MD 21209
CHICAGO IL 60657



LEONIE DACRES                       LEONILLA MARTIS                            LEONOR OCAMPO
10507 NW 83TH STREET                1517 ELGIN AVEENUE                         4318 W MCLEAN
TAMARAC FL 33321                    FOREST PARK IL 60130                       CHICAGO IL 60639




LEONOR PALALA                       LEONOR VIVANCO                             LEONORA KRAMER
83 HENRY STREET                     4832 N KOSTNER                             5025-4 GREEN MOUNTAIN CIRCLE
#I                                  CHICAGO IL 60630                           COLUMBIA MD 21044
HARTFORD CT 06114



LEOPOLD FELIX                       LEOPOLDO PEREZ                             LEORA ROMNEY
1009 INDIANA COURT                  8114 GARDENDALE ST.                        22 VULCAN STAIRWAY
VENICE CA 90291                     PARAMOUNT CA 90723                         SAN FRANCISCO CA 94114




LEOVIGILDO CASANAS                  LEPERE SCHLOOP, MARA                       LERMAN, DAVID
613 HILLSIDE DRIVE                  7462 HURST ST                              1239 VERMONT AVE. NW
BENSENVILLE IL 60106                NEW ORLEANS LA 70118                       #801
                                                                               WASHINGTON DC 20005



LERMAN, PHILIP                      LERMAN, PHILIP                             LERNER & GUARINO, LLC
5036 SEDGEWICK ST NW                5036 SEDGWICK ST NW                        EDWARD N. LERNER; GEORGE KENT GUARINO
WASHINGTON DC 20016                 WASHINGTON DC 20016                        112 PROSPECT ST
                                                                               STAMFORD CT 06901



LERNER, JANE                        LERNER, LISA                               LEROI E CRANDALL
505 COURT ST NO.5R                  1033 THISTLE CREEK CT                      534 N AVENUE 67
BROOKLYN NY 11231                   WESTON FL 33327                            LOS ANGELES CA 90042




LEROY A EVANS JR                    LEROY BOVA                                 LEROY D KESTNER
2310 NAGLE COURT                    827 BATES CT.                              1540 BURR OAK ROAD
FOREST HILL MD 21050                CASSELBERRY FL 32707                       HOMEWOOD IL 60430




LEROY DONALD                        LEROY FLOWERS                              LEROY HESTER
12666 NW 14TH PL                    2500 WEST BELVEDER AVENUE                  5178 STONE HARBOUR R
SUNRISE FL 33323                    BALTIMORE MD 21215                         ORLANDO FL 32808




LEROY KELLY                         LEROY LEONARD                              LEROY MC-PHERSON
932 SEAGULL AVENUE                  412 CUMNOR RD                              225-08 106TH AVE2.50
BALTIMORE MD 21225                  KENILWORTH IL 60043                        QUEENS VILLAGE NY 11429




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LEROY POPADOWSKI                       LEROY SINGLETON                            LEROY SMITH
155 N EDGEWOOD AVENUE                  19506 OAKWOOD AVE                          142 SISSON STREET
WOODDALE IL 60191                      LYNWOOD IL 60411                           EAST HARTFORD CT 06118




LEROY, DANIEL JONATHAN                 LEROY, MICHAEL H                           LERS, PAMELA
16 BRANDYWINE LANE                     3307 CYPRESS CREEK                         112 W. BROWN STREET
SUFFIELD CT 06078                      CHAMPAIGN IL 61822                         WAUPUN WI 53963




LERZ, JOSEPH                           LES DUNSEITH                               LES ENTREPRISES PAPYRUS
591 GUERNSEYTOWN RD                    2521 NELSON AVENUE                         50 DE JUAN LES PINS
WATERTOWN CT 06795                     UNIT #1                                    GATINEAU QC J8T 6H2
                                       REDONDO BEACH CA 90278



LES VANTS AERIAL PHOTOS                LESA COMBS                                 LESA HAMILTON
72 CHARME RD                           112 CROSS RD.                              941 NW 79TH TERRACE
TEWKSBURY MA 01876                     OAKDALE NY 11769                           PLANTATION FL 33324




LESBURN DIAS                           LESCHER & LESCHER LTD                      LESCOE JR, EDMUND A
174 ASHLEY STREET                      346 EAST 84TH STREET                       10 STREAM CT
APT. 1                                 NEW YORK NY 10028                          FARMINGTON CT 06032-2143
HARTFORD CT 06105



LESHER, DAVID                          LESHNOCK, MOLLY L                          LESIA CLARK
5707 CALLISTER AVE                     615 SOUTH BLVD UNIT C                      14534 S. WHIPPLE AVE.
SACRAMENTO CA 95819                    OAK PARK IL 60302                          POSEN IL 60469




LESLEY CHINEN                          LESLEY CONROY                              LESLEY ODOOM
16716 S. HALLDALE AVE                  2170 NE 51ST CT.                           450 SAN VICENTE
GARDENA CA 90247                       B1                                         APT 105
                                       FT. LAUDERDALE FL 33308                    SANTA MONICA CA 90402



LESLIE ADAMS                           LESLIE ANN PEPKE                           LESLIE BARNES
1455 NE 2ND COURT                      1586 FALLING STAR LANE                     3103 LLOYD MANGRUM LANE
BOCA RATON FL 33432                    CHINO HILLS CA 91709                       BILLINGS MT 59106




LESLIE BRENNER                         LESLIE BURKEY                              LESLIE CARLSON
289 SO. BARRINGTON AVENUE              840 NORMANDY DRIVE                         6184 TEMPLE HILL DR
APT. # 201                             SUFFOLK VA 23434                           LOS ANGELES CA 90068
LOS ANGELES CA 90049



LESLIE DELBOY                          LESLIE DICKSON                             LESLIE DIGITAL IMAGING (LDI)
15 NORTH ROAD                          9276 FREDERICK RD                          1615 BRETT RD
NORTHPORT NY 11768                     ELLICOTT CITY MD 21042                     ATTN BOX NO.0322
                                                                                  NEW CASTLE DE 19720




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LESLIE DIGITAL IMAGING (LDI)            LESLIE DIGITAL IMAGING (LDI)               LESLIE DIGITAL IMAGING (LDI)
116 CNTY CTHOUSE RD                     50 JERICHO QUADRANGLE                      COLOR TOOLBOX INC
GARDEN CITY NY 11040                    JERICHO NY 11753                           1000 WOODBURY RD
                                                                                   WOODBURY NY 11797



LESLIE DIGITAL IMAGING (LDI)            LESLIE DIGITAL IMAGING (LDI)               LESLIE DOGGRELL
TIMES SQUARE PLAZA                      PO BOX 7247-0322                           14 RACING WIND
1500 BROADWAY      10TH FLR             PHILADELPHIA PA 19170-0322                 IRVINE CA 92614
NEW YORK NY 10036



LESLIE EARNEST                          LESLIE GROSSLEY                            LESLIE HARRIS
315 MILFORD DRIVE                       708 SCOTTDALE AVENUE                       3013 N. PIEDMONT AVENUE
CORONA DEL MAR CA 92625                 GLENDORA CA 91740                          BALTIMORE MD 21216




LESLIE HOFFECKER                        LESLIE HOWARD                              LESLIE JOHNSON
7203 LUDWOOD COURT                      2737 GRANDVIEW PLACE                       14545 SOUTH MANISTEE
ALEXANDRIA VA 22306                     ENDICOTT NY 13760                          APT. #1-D
                                                                                   BURNHAM IL 60633



LESLIE LINDEMANN                        LESLIE LOCKE                               LESLIE MARCUS
1202 PASEO TERESA                       63 ELLENDALE STREET                        7086 PRIMENTEL LANE
SAN DIMAS CA 91773                      BEL AIR MD 21014                           CARLSBAD CA 92009




LESLIE MASON                            LESLIE OSIKA                               LESLIE POSTAL
152 CHESTNUT STREET                     11312 SOUTH DRAKE                          1234 GOLFVIEW ST.
WILLIMANTIC CT 06226                    CHICAGO IL 60655                           ORLANDO FL 32804




LESLIE SEIFERT                          LESLIE VALENTIN                            LESLIE VOEGTLIN
318 W. 100 STREET                       4018 SUNNY DAY WAY                         1812 SOUTH CLARK ST. UNIT 3
APT 6-C                                 KISSIMMEE FL 34744                         CHICAGO IL 60616
NEW YORK NY 10025



LESLIE WARD                             LESLIE WELLS                               LESLIE WERNER
1147 EL MEDIO AVENUE                    240 WALTER MAXFIELD                        52 WESTOVER ROAD
PACIFIC PALISADES CA 90272              HADLEY NY 12835                            NEWPORT NEWS VA 23601




LESLIE WIGGINS                          LESLIE WILKINSON                           LESLIE WONG
1253 HAVENHURST DRIVE                   617 N. ORANGE DR                           5510 LEHIGH STREET
APT #238                                APT 105                                    WHITEHALL PA 18052-1710
WEST HOLLYWOOD CA 90046                 LOS ANGELES CA 90036



LESLIE, ERROL                           LESORAVAGE, ALICE J                        LESSER, ERIK S
45 SPINNING WHEEL LANE                  2345 CENTER STREET                         169 HALE ST NE
TAMARAC FL 33319                        BETHLEHEM PA 18017                         ATLANTA GA 30307




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LESSER, ERIK S                            LESSIE BELL COKLEY                         LESSIE SCALES
3158 MAJESTIC CIRC                        2137 WEST MAYPOLE                          419 RIDGE AVE
AVONDALE ESTATES GA 30002                 UNIT A                                     D
                                          CHICAGO IL 60612                           EVANSTON IL 60202



LESTER ABARCA                             LESTER BUTLER                              LESTER FALTZ
41 WOLFLE STREET                          10 BERKELEY CIRCLE                         3 BRIE CT
2 FL                                      NEWINGTON CT 06111                         RANDALLSTOWN MD 21133
GLEN COVE NY 11542



LESTER HARRISON                           LESTER J MARTIN                            LESTER JENSEN
222 W. QUINCY                             1916 FARRELL AVENUE                        11168 WEST DORADO PLACE
APT. A                                    REDONDO BEACH CA 90278                     LITTLETON CO 80127
WESTMONT IL 60559



LESTER SIELSKI                            LESTER WATERS                              LESTER, ADRIAN
639 WELLINGTON DR                         2102 VIA ESTRADA                           7942 NW 16TH AVE
DYER IN 46311                             CARROLLTON TX 75006                        MIAMI FL 33147




LESTER, CHAVNAWANA                        LETICIA BARCENAS                           LETICIA BRISCOE
2768 HICKORY PONT CV NO.2                 1003 W. CULLERTON ST.                      1629 ARGONNE DRIVE
MEMPHIS TN 38115                          CHICAGO IL 60608                           BALTIMORE MD 21218




LETICIA BUGARIN                           LETICIA ESPINOSA                           LETICIA GARCIA
14403 CARNELL STREET                      5341 W. OAKDALE AVE.                       1908 GARDENA AVENUE
WHITTIER CA 90603                         CHICAGO IL 60641                           APT. # 9
                                                                                     GLENDALE CA 91204



LETICIA GARCIA                            LETICIA LARA                               LETICIA PRECIADO
1048 E 5TH STREET                         204 BANBRIDGE AVENUE                       266 RANDY STREET
ONTARIO CA 91764                          LA PUENTE CA 91744                         POMONA CA 91768




LETOURNEAU, BRANDON                       LETSON, MARK                               LETTA TAYLER
20021 NW 8TH STREET                       117 OLD KINGS HWY                          382 PARK PLACE
PEMBROKE PINES FL 33029                   HAMPTON CT 06247                           BROOKLYN NY 11238




LETTICH, AMY                              LETTICH, BRANDON                           LETTICH, CYNTHIA
3381 EAST BLVD APT 2                      216 E CUMBERLAND ST                        413 BARN SWALLOW LN
BETHLEHEM PA 18017                        APT 2                                      ALLENTOWN PA 18104
                                          ALLENTOWN PA 18103



LETURIA, ELIO                             LEUNG, LISA                                LEUPOLD, LORI
5644 N WAYNE AVE     APT 3                10 STANTON STREET APT 8M                   2250 BALL DR.
CHICAGO IL 60660                          NEW YORK NY 10002-1249                     ST LOUIS MO 63146




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LEUSNER, JAMES J                         LEVASSEUR, MARIA                           LEVCO, JESSICA
5415 LAKE HOWELL RD                      51 SCHOOL ST                               1953 W IOWA ST UNIT 1
#106                                     VERNON CT 06066                            CHICAGO IL 60622
WINTER PARK FL 32792



LEVEL 3 COMMUNICATIONS                   LEVEL 3 COMMUNICATIONS                     LEVEL 3 COMMUNICATIONS
ACCT. NO. 9905                           ACCT. NO. 12929                            ACCT. NO. 13184
DEPT. 182                                DEPT. 182                                  DEPT. 183
DENVER CO 80291-0182                     DENVER CO 80291-0182                       DENVER CO 80291-0182



LEVEL 3 COMMUNICATIONS                   LEVEL 3 COMMUNICATIONS                     LEVEL 3 COMMUNICATIONS
ACCT. NO. 13857                          ACCT. NO. 52378                            ACCT. NO. 1-FT1F1
DEPT. 182                                DEPT. 182                                  DEPT. 182
DENVER CO 80291-0182                     DENVER CO 80291-0182                       DENVER CO 80291-0182



LEVEL 3 COMMUNICATIONS LLC               LEVEL 3 COMMUNICATIONS LLC                 LEVENDIS, DARCEY
1025 ELDORADO BLVD                       C/O WELLS FARGO BANK                       307 E 18TH ST NO.1C
BROOMFIELD CO 80021                      1700 LINCOLN ST LOWER LEVEL 3              NEW YORK NY 10003
                                         DENVER CO 80274



LEVENE, MICHAEL R                        LEVERETT, THEODORE CHESS                   LEVESQUE, CHARLES W
3129 WEAVER AVE                          976 ARMFIELD CIR NO.204                    4938 S DREXEL BLVD NO.310
BALTIMORE MD 21214                       NORFOLK VA 23505                           CHICAGO IL 60615




LEVESQUE, JAMES                          LEVI GRIGGS                                LEVI RAY & SHOUP INC
3569 WEST US 40                          3 JEFFERY COURT                            2401 WEST MONROE
GREENFIELD IN 46140                      FREEPORT NY 11520                          SPRINGFIELD IL 62704




LEVI, JONATHAN                           LEVIANT, CURT                              LEVIN, AMELIA
404 RIVERSIDE DRIVE NO.4N                265 CROWELLS ROAD                          1212 N LASALLE APT 2306
NEW YORK NY 10025                        EDISON NJ 08817                            CHICAGO IL 60610




LEVIN, BARRY L                           LEVIN, KAY J                               LEVIN, MARCIA
1016 N EDINBURGH AVENUE #3               12401 MOSS RANCH ROAD                      4102 N 48TH TERRACE
WEST HOLLYWOOD CA 90046                  MIAMI FL 33156                             HOLLYWOOD FL 33021-1753




LEVIN, MARTIN                            LEVIN, MYRON W                             LEVIN, RACHEL
221 KIRBY LANE                           17344 LOS ALIMOS STREET                    5025 MAPLEWOOD AVE NO.5
RYE NY 10580                             GRANADA HILLS CA 91344                     LOS ANGELES CA 90004




LEVIN, ROBERT                            LEVINE SULLIVAN KOCH & SCHULZ LLP          LEVINE, AMANDA
10 MORWOOD LANE                          1050 SEVENTEENTH ST NW                     6025 NW 96TH WAY
ST LOUIS MO 63141                        STE 800                                    PARKLAND FL 33076
                                         WASHINGTON DC 20036




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LEVINE, ANTHONY                         LEVINE, BETH                               LEVINE, BETTIJANE
1491 NW 4TH AVENUE                      75 RIDGE PARK AVE                          28381 ROBIN AVENUE
PEMBROKE PINES FL 33024                 STAMFORD CT 06905                          SAUGUS CA 91350




LEVINE, BRUCE                           LEVINE, IRENE S                            LEVINE, JEFFREY S
6007 N SHERIDAN RD NO.48                15 STONY HOLLOW                            1774 IBIS LANE
CHICAGO IL 60660                        CHAPPAQUA NY 10514                         WESTON FL 33327




LEVINE, LISA BERCU                      LEVINE, LOUIS                              LEVINE, MATTHEW
29600 EDGEDALE RD                       989 BENTON ST                              1555 LEIMERT BLVD
PEPPER PIKE OH 44124                    WOODMERE NY 11598                          OAKLAND CA 94602




LEVINE, MICHELLE                        LEVINE,FELICIA                             LEVINE,LEROY
1144 WILSON AVE                         295 NW 36TH AVE                            2779 MORTON AVE
MERRICK NY 11566                        DEERFIELD BEACH FL 33442                   OCEANSIDE NY 11572




LEVINSON, THOMAS                        LEVITA, NICHOLAS J                         LEVITAS, ROSALIE
1724 E 54TH ST UNIT B                   692 RADNOR DRIVE                           3718 BERNARD DRIVE
CHICAGO IL 60615                        ROSELLE IL 60172                           WANTAGH NY 11793




LEVITASOV, MICHAEL                      LEVITH, WILLIAM J                          LEVITIN, ADAM J
773 ORTONA CT                           183 GREEN ST APT 3L                        5529 TRENT ST
WINTER SPRINGS FL 32708                 BROOKLYN NY 11222                          CHEVY CHASE MD 20815-5511




LEVITIN, MICHAEL                        LEVITT, BEVERLY                            LEVITT, LEONARD
6195 ANDERSON ROAD                      3400 STONER AVE                            33 WINDMILL CIR
FORESTVILLE CA 95436                    LOS ANGELES CA 90066                       STAMFORD CT 06903




LEVITT, ROSANNE                         LEVORN WILLIAMS                            LEVY CREATIVE MANAGEMENT LLC
158 W COLUMBUS AVE                      415 CORNELL AVENUE                         300 E 46TH ST STE 8E
NESQUEHONING PA 18240                   ROCKVILLE CENTRE NY 11570                  NEW YORK NY 10017




LEVY DIAMOND BELLO                      LEVY RESTAURANTS                           LEVY RESTAURANTS
PO BOX 352                              1060 WEST ADDISON                          333 WEST 35TH STREET
MILFORD CT 06460                        C/O WRIGLEY                                DIAMOND SUITE STADIUM CLUB
                                        CHICAGO IL 60613                           CHICAGO IL 60616



LEVY RESTAURANTS                        LEVY RESTAURANTS                           LEVY RESTAURANTS
7994 COLLECTIONS CENTER DR              980 N MICHIGAN AVE STE 400                 980 N MICHIGAN AVE STE NO.1315
CHICAGO IL 60693                        ATTN AIMEE LABADESSA                       CHICAGO IL 60611
                                        CHICAGO IL 60611




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LEVY RESTAURANTS                       LEVY RESTAURANTS                           LEVY, ALLI A
C/O WRIGLEY FIELD                      980 N MICHIGAN AVE NO.1315                 5961 MANCHESTER WAY
3721 N CLARK ST                        CHICAGO IL 60611                           TAMARAC FL 33321
CHICAGO IL 60613



LEVY, ANDREA                           LEVY, ANNE                                 LEVY, BRETT D
1192 ELBUR AVENUE                      4100 N MARINE DR                           15955 N 102ND PL
LAKEWOOD OH 44107                      NO. 15-B                                   SCOTTSDALE AZ 85255
                                       CHICAGO IL 60613



LEVY, FAYE                             LEVY, LARRY                                LEVY, NATALIE
5116 MARMOL DRIVE                      14 VICTORIAN CT                            518 N LINDEN DR
WOODLAND HILLS CA 91364-3329           HUNTINGTON NY 11743                        BEVERLY HILLS CA 90210




LEVY, RAM & OLSON ROSSI LLP            LEVY, ROBERT A                             LEVY, SASHA A
ATTORNEYS                              8787 BAY COLONY DRIVE UNIT 306             357 BRITTANY FARMS RD APT H136
639 FRONT STREET                       NAPLES FL 34108                            NEW BRITAIN CT 06053
FOURTH FLOOR
SAN FRANCISCO CA 94111-1913


LEWALLYN, DENNIS                       LEWBEL, SAMUEL                             LEWIE,RAYMOND
2900 BRECKENRIDGE DR                   83 FURNACE AVE W2                          460 GOODWIN STREET
PENSACOLA FL 32526                     STAFFORD SPGS CT 06076-1265                EAST HATFORD CT 06108




LEWIN, CARLINGTON                      LEWIN, ELSIE                               LEWIN, LUIS E
5606 WELLESY PK DR     BLDG 1-202      1030 SW 76TH AVE                           312 NORTH MAY STREET
BOCA RATON FL 33433                    N LAUDERDALE FL 33068                      UNIT #3D
                                                                                  CHICAGO IL 60607



LEWINSON, ANN                          LEWIS A. A. TAYLOR                         LEWIS BRESEE
55 EAST 87TH STREET NO.2G              2580 NW 46 AVE                             2 OAK STREET
NEW YORK NY 10128                      LAUDERHILL FL 33313                        TERRYVILLE CT 06786




LEWIS CLAYTON                          LEWIS COMENETZ                             LEWIS COUNTY TREASURER
1430 HIGHLAND AVE                      1206 QUEEN ANEE NORTH                      351 NW NORTH ST MS TRS01
EUSTIS FL 32726                        APT. 201                                   CHEHALIS WA 98532
                                       SEATTLE WA 98109



LEWIS COUNTY TREASURER                 LEWIS EDWARDS                              LEWIS FREEDMAN
360 NW NORTH ST                        641 JAMESTOWN BLVD                         632 LAKEWOOD FARMS DRIVE
MS TRS01                               2145                                       BOLINGBROOK IL 60490
CHEHALIS WA 98532-1900                 ALTAMONTE SPRINGS FL 32714



LEWIS II, ELVIN                        LEWIS JOHNSON                              LEWIS KERBY
19323 SW 60TH CT                       11622 REMINGTON STREET                     509 HOODS MILL RD
SOUTHWEST RANCHES FL 33332             LAKEVIEW TERRACE CA 91342                  WOODBINE MD 21797




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LEWIS KRAUS, GIDEON                   LEWIS METZ                                 LEWIS NARDELLI
142 MT AIRY RD                        1289 GREAT ARCH AVE                        26921 LA SIERRA DRIVE
BERNARDSVILLE NJ 07924                MESQUITE NV 89034                          MISSION VIEJO CA 92691




LEWIS RAWLES                          LEWIS SEGAL                                LEWIS, ALDARCY CAROLE
74 CLUBHOUSE ROAD                     6655 EMMET TERR                            437 UVEDALE RD
WINDSOR CT 06095                      LOS ANGELES CA 90068                       RIVERSIDE IL 60546




LEWIS, BRANDON CHRISTIAN              LEWIS, CENESHA                             LEWIS, CHRIS
2500 OLD 63 SOUTH APT 822             3507 COLONEL GIBSON CIRCLE                 9200 SUMMIT CENTRE WAY NO.306
COLUMBIA MO 65201                     BATON ROUGE LA 70816                       ORLANDO FL 32810




LEWIS, CORNELL                        LEWIS, CORNELL                             LEWIS, DAMON
28 APPLEWOOD RD                       PO BOX 400092                              3534 E FALLCREEK PARKWAY     APT H
BLOOMFIELD CT 06002                   HARTFORD CT 06140                          INDIANAPOLIS IN 46205




LEWIS, DANIEL                         LEWIS, DAVID                               LEWIS, DONALD L
971 HOPMEADOW ST APT NO.30            101 FOUNDERS CT                            2949 W WILCOX ST
SIMSBURY CT 06070                     BETHLEHEM PA 18020                         CHICAGO IL 60612




LEWIS, DONNELL                        LEWIS, DUSTIN                              LEWIS, GARETH TRACE
6256 HILLANDALE DR APT 1112           910 OLD VIRGINIA BEACH RD                  3701 JACKSON STREET NO.110
LITHONIA GA 30058                     VIRGINIA BEACH VA 23451                    HOLLYWOOD FL 33021




LEWIS, GINA DELORES                   LEWIS, HERSCHELL GORDON                    LEWIS, JEROLD D
4139 OPEN WAY                         2110 N OCEAN BLVD     STE 2602             374 63RD ST
COOPER CITY FL 33026                  FT LAUDERDALE FL 33305                     OAKLAND CA 94618




LEWIS, JUDITH                         LEWIS, KEITH                               LEWIS, KHAMBREL JAMAL
916 ELECTRIC AVE                      146 WESTBOURNE PKWY APT 204                3731 NORTH WEST 8TH PLACE
VENICE CA 90291-3040                  HARTFORD CT 06112                          FORT LAUDERDALE FL 33311




LEWIS, KIRK                           LEWIS, KURL                                LEWIS, KYANN
2137 N 14TH AVE                       2589 HERITAGE OAKS CIR                     400 MILLS AVENUE NO.404
HOLLYWOOD FL 33020                    DACULA GA 30019                            GREENVILLE SC 29605




LEWIS, LUCIUS D                       LEWIS, MARILYN                             LEWIS, MARK K
4788 SE 149TH PLACE                   285 GREENFIELD WAY                         813 QUZIL RIDGE DR
SUMMERFIELD FL 34491                  LOVINGTON GA 30016                         GREENCASTLE IN 46135




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LEWIS, MARY                             LEWIS, MELISSA D                           LEWIS, MICHELLE N
4058 MONTEITH DR                        5564 NW 193 LANE                           1830 EMBASSY DR APT 101
LOS ANGELES CA 90043                    MIAMI FL 33055                             WEST PALM BEACH FL 33401




LEWIS, MICHELLE N                       LEWIS, RAHA                                LEWIS, REGINALD
1830 EMBASSY DR APT 101                 102 N SWEETZER AVE NO.104                  4711 NW 16TH CT
WEST PALM BEACH FL 33407                LOS ANGELES CA 90048                       LAUDERHILL FL 33313




LEWIS, REGINALD                         LEWIS, SAMUEL                              LEWIS, SARA E
8281 NW 36 ST.                          121 1/2 S 13TH ST                          107 OXFORD CIRCLE
SUNRISE FL 33351                        ALLENTOWN PA 18102                         WILLIAMSBURG VA 23185




LEWIS, SCOTT DOUGLAS                    LEWIS, SCOTT DOUGLAS                       LEWIS, SHAWN
LEWIS LEWIS & MARTINEZ                  LEWIS LEWIS & MARKETING                    102 AMERICANA DR NO.75
120 E MARKET ST STE 910                 120 E MARKET ST STE 910                    NEWPORT NEWS VA 23606
INDIANAPOLIS IN 46204                   INDIANAPOLIS IN 46204



LEWIS, SHERRI                           LEWIS, STACEY                              LEWIS, TANYIKA N
4711 NW 16TH CT                         370 NORTHSIDE DR      NO.1201              5228 LEAVERS
LAUDERHILL FL 33313                     ATLANTA GA 30318                           ROSEDALE MD 21237




LEWIS, TERI R                           LEWIS, TODD M                              LEWIS, TODD M
2 SAINT ASHLEY PLACE                    1701 WALDORN                               RANSOM NOTE ENTERTAINMENT
HAMPTON VA 23669                        GRAND RAPIDS MI 49505                      4930 CASCASE ROAD
                                                                                   GRAND RAPIDS MI 49505



LEWIS, TOM                              LEWIS, VELISA                              LEWIS,BEATRICE
64 VILLAGE LN NO.710                    84 ELLEN DR                                8781 SHOAL CREEK LANE
WETHERSFIELD CT 06109                   LYNWOOD IL 60411                           BOYNTON BEACH FL 33434




LEWIS,BEATRICE                          LEWIS-WILLIAMS, JOI                        LEWITT, ELLEN
8781 SHOAL CREEK LN                     985 CARPENTER ST                           142 BERLIN AVE
BOYNTON BEACH FL 33437                  COLUMBUS OH 43206                          SOUTHINGTON CT 06489




LEWKOWICZ, SARA                         LEWKOWICZ, SARA                            LEXIN CELEBRATION COMMERCIAL LLC
203 MAIN ST   APT 4                     203 MAIN ST  APT 4                         610 SYCAMORE ST      STE 230
ANNAPOLIS MD 21401                      ANNAPOLIS MD 21404                         CELEBRATION FL 34747




LEXIN CELEBRATION COMMERCIAL LLC        LEXINGTON HERALD-LEADER                    LEXINGTON HERALD-LEADER
C/O LINCOLN PROPERTY CO                 100 MIDLAND AVE                            PO BOX 14730
720 CELEBRATION AVE STE 130             LEXINGTON KY 40508-1999                    LEXINGTON KY 40512-4730
CELEBRATION FL 34747




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LEXINGTON INSURANCE COMPANY           LEXIS NEXIS                                LEXIS NEXIS
100 SUMMER STREET                     PO BOX 894166                              P O BOX 100176
BOSTON MA 02110-2103                  LOS ANGELES CA 90189                       ATLANTA GA 30384




LEXIS NEXIS                           LEXIS NEXIS                                LEXIS NEXIS
PO BOX 2314                           PO BOX 2314 REED ELSEVIER INCORP           PO BOX 2861
CAROL STREAM IL 60132-2314            CAROL STREAM IL 60132-2314                 SPRINGFIELD IL 62708-2861




LEXIS NEXIS                           LEXIS NEXIS                                LEXIS NEXIS
PO BOX 1009                           LEXIS NEXIS BUSINESS & ACADEMIC PUB        LEXIS NEXIS COURTLINK INC
SUMMIT NJ 07902-9967                  PO BOX 7247 0340                           PO BOX 7247-6882
                                      PHILADELPHIA PA 19170-0340                 PHILADELPHIA PA 19170-6882



LEXIS NEXIS                           LEXIS NEXIS                                LEXIS NEXIS
MARTINDALE HUBBELL                    MEALEY PUBLICATIONS                        PO BOX 7247 0165
PO BOX 7247 0292                      PO BOX 62090                               PHILADELPHIA PA 19170-0165
PHILADELPHIA PA 19170-0292            KING OF PRUSSIA PA 19406



LEXIS NEXIS                           LEXIS NEXIS                                LEXIS NEXIS MATTHEW BENDER
PO BOX 7247-0173                      PO BOX 7247-7090                           1275 BROADWAY
PHILADELPHIA PA 19170-0173            REED ELSEVIER INCORPORATION                ALBANY NY 12204
                                      PHILADELPHIA PA 19170-7090



LEXIS NEXIS MATTHEW BENDER            LEXIS NEXIS MATTHEW BENDER                 LEYLA CROSBY
PO BOX 2% 20 DAYS, NET 30             P O BOX 7247-0178                          5524 CHARLESTON ST.
ALBANY NY 12201-2030                  PHILADELPHIA PA 19170-0178                 ORLANDO FL 32807




LEYLA MACAULAY                        LEYVA, EMMA                                LEYVA, HERMES
8800 SHORE FRONT PKW                  390 FLORIDA AVE                            1930 NW 180TH WAY
APT 9U                                FT LAUDERDALE FL 33312                     PEMBROKE PINES FL 33029
ROCKAWAY BEACH NY 11693



LHEE, EUNA                            LHEE, EUNA                                 LI BUSINESS DEVELOPMENT COUNCIL
358 E BEECH DR                        610 CATHEDRAL STREET APT 1A                190 SIEGEL BLVD
SCHAUMBURG IL 60193                   BALTIMORE MD 21201                         BABYLON NY 11702




LI BUSINESS DEVELOPMENT COUNCIL       LI BUSINESS DEVELOPMENT COUNCIL            LI-YA CHIU
PO BOX 806                            PO BOX 82                                  1840 N. KENMORE AVE
BABYLON NY 11702                      BAYPORT NY 11705-0082                      APT#207
                                                                                 LOS ANGELES CA 90027



LIA BOYD                              LIA, RALPH                                 LIAM GOWING
39 SEARS STREET                       7201 SO STICKNEY AVE                       1521 PURDUE AVENUE
MIDDLETOWN CT 06457                   BRIDGEVIEW IL 60455                        LOS ANGELES CA 90025




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LIAM T FORD                            LIANA COLON                                LIANE GONZALEZ
6615 N. NEWGARD AVE.                   14632 GRAND COVE DR.                       411 EAST 6TH STREET
CHICAGO IL 60626                       ORLANDO FL 32837                           SHARON SPRINGS KS 67758




LIANE GUENTHER                         LIANG, BRYAN A                             LIANI WICK
24 HIGHWOOD ROAD                       5116 LONG BRANCH AVENUE                    368 I STREET
EAST NORWICH NY 11732                  SAN DIEGO CA 92107                         BRAWLEY CA 92227




LIANNE HUGHES                          LIANNE ROSTAD                              LIAPPES, JESSICA
145 LINDBERGH PARKWAY                  545 KENORA DR.                             9 SOUTH ST 2ND FLR
WALDWICK NJ 07463                      MILLERSVILLE MD 21108                      WINDSOR LOCKS CT 06096




LIAPPES, MARK                          LIBBY HAWKINS                              LIBERAL, MYRLANDE
9 SOUTH ST 2ND FLR                     814 N. COLLINGTON                          601 SW 42 CT APT 208
WINDSOR LOCKS CT 06096                 APT. 204                                   POMPANO BEACH FL 33064
                                       BALTIMORE MD 21205



LIBERMAN, SI                           LIBERMAN, SI                               LIBERTINI, GAIL
2760 S OCEAN BLVD   NO.416             710 FERNMERE AVE                           1424 WHITEFORD RD
PALM BEACH FL 33480                    INTERLAKEN NJ 07712                        STREET MD 21154




LIBERTINI, JAMES CHANCE                LIBERTINI, WILLIAM                         LIBERTY ASHES INC
2203 MELROSE LANE                      1318 CONOWINGO RD                          112 PHYLIS COURT
FOREST HILL MD 21050                   BEL AIR MD 21014                           ELMONT NY 11003




LIBERTY INTERNATIONAL UNDERWRITERS     LIBERTY MUTUAL INSURANCE COMPANY           LIBERTY NYA
55 WATER STREET                        175 BERKELEY STREET                        17 W DELAWARE DR
18TH FLOOR                             BOSTON MA 02117                            LITTLE EGG HARBOR TWP NJ 08087
NEW YORK NY 10041



LIBERTY ONE DELIVERY CONSULTANTS       LIBERTY PROPERTY HOLDINGS                  LIBERTY PROPERTY HOLDINGS, L.P.
PO BOX 426                             C/O THE DROGARIS COMPANIES                 RE: LANCASTER 313 W. LIBERTY
CENTEREACH NY 11720                    PO BOX 1806                                P.O. BOX 1806
                                       LANCASTER PA 17608                         LANCASTER PA 17608



LIBERTY REAL ESTATE LLC                LIBERTY SUBURBAN CHICAGO                   LIBERTY SUBURBAN CHICAGO
PO BOX 6424                            1101 W 31ST STREET                         NEWSPAPERS
FISHERS IN 46038                       SUITE 100                                  709 ENTERPRISE DRIVE
                                       DOWNERS GROVE IL 60515-5581                OAK BROOK IL 60523-8814



LIBERTY UPLINK INC                     LIBETTI, THOMAS                            LIBMAN, JEFFREY A
2547 YELLOW SPRINGS RD                 PO BOX 30115                               4422 N RACINE NO25
MALVERN PA 19355                       NEW YORK NY 10011                          CHICAGO IL 60640




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LIBOW, GARY M                         LIBRE DIGITAL INC                            LIBRESCO, ANDREA S
122 ANDERSON AVENUE                   1835 B KRAMER LN    NO.150                   64 SHORTRIDGE DRIVE
WEST HAVEN CT 06516                   AUSTIN TX 78758                              MINEOLA NY 11501




LICHTENBERGER, PHIL                   LICHTENSTEIN, ALEX                           LICHTENSTEIN, CHARLENE
233 N WISCONSIN AVE                   6247 SW 13 STREET                            PO BOX 1726
N MASSAPEQUA NY 11758                 WEST MIAMI FL 33144                          OLD CHELSEA STATION
                                                                                   NEW YORK NY 10011



LICHTENSTEIN, GRACE                   LICHTENSTEIN, NELSON                         LICHTENTHAL, J DAVID
15 W 72 ST NO.30B                     1403 GRAND AVE                               201 BEACH BREEZE LANE
NEW YORK NY 10023                     SANTA BARBARA CA 93103                       ARVERNE NY 11692




LICHTENWALNER, CAROL                  LICHTMAN, RONALD                             LICHTMAN, RONALD H.
4780 ROUTE 309                        [ADDRESS UNAVAILABLE AT TIME OF FILING]      16-28 RADBURN ROAD
SCHNECKSVILLE PA 18078                                                             FAIR LAWN NJ 07410




LIDDICK BYRNES, KIMBERLY N            LIDIA MCCALL                                 LIDUVINA LOPEZ
987 RIDGE RD                          4815 46TH AVE SOUTH                          22785 MARKHAM STREET
FINKSBURG MD 21048                    SEATTLE WA 98118                             PERRIS CA 92570




LIEB,MARK                             LIEB,MARK                                    LIEBENSON, DONALD
130 CONSTITUTION DR                   PO BOX 109                                   260 LAKESIDE PL
ORANGEBURG NY 10962                   ORANGEBURG NY 10962                          HIGHLAND PARK IL 60035




LIEBENTRITT, DONALD J                 LIEBER, JON                                  LIEBERMAN, PAUL J
435 N MICHIGAN AVE                    3060 ISLE OF PALMS DR                        31 N HEALY AVENUE
CHICAGO IL 60611                      MOBILE AL 36695                              HARTSDALE NY 10530




LIEBERT GLOBAL SERVICES INC           LIEBERT GLOBAL SERVICES INC                  LIEBERT GLOBAL SERVICES INC
9650 JERONIMO RD                      PO BOX 70474                                 610 EXECUTIVE CAMPUS DR
IRVINE CA 92618                       CHICAGO IL 60673-0001                        ATTN: CONTRACT/SERVICE
                                                                                   WESTERVILLE OH 43081



LIEBIG, DENNIS                        LIEBLER, LEONARD C                           LIENEMANN, DAVID C
246 W PATTERSON ST                    104 BARROWS MT                               1155 RIDGE DR APT F
LANSFORD PA 18232                     WILLIAMSBURG VA 23185                        MARION IA 52302




LIEVANNA GORE                         LIFE FREEDOMS INC                            LIFE INSURANCE COMPANY
17 BRAGG STREET                       8691 E DRY CREEK RD UNIT NO.823              OF N AMERICA/GROUP DEPT
EAST HARTFORD CT 06108                CENTENNIAL CO 80112                          PO BOX 8500-K110
                                                                                   PHILADELPHIA PA 19178




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LIFE SOURCE INC                       LIFEBRIDGE HEALTH INC                      LIFETIME PROMOTIONS INC
261 PEPE'S FARM ROAD                  DEPARTMENT OF DEVELOPMENT                  10451 MILL RUN CIRCLE STE 400
MILFORD CT 06460                      2401 W BELVEDERE AVE                       OWINGS MILL MD 21117
                                      BALTIMORE MD 21215



LIFSON,LOUIS A                        LIGE, SAMARIA C                            LIGGONS, KHENYA
21537 KAPOR CIRC                      12914 S PAGE APT 3E                        54 E. 155TH ST
BOCA RATON FL 33433                   BLUE ISLAND IL 60406                       HARVEY IL 60426




LIGHT AND ILLUMINATION INC            LIGHT'S TOWER CONSTRUCTION COMPANY INC     LIGHT, PAUL
5401 LIMEPORT RD                      100 STRACK DR                              5137 WESTPATH WAY
EMMAUS PA 18049                       MYERSTOWN PA 17067                         BETHESDA MD 20816




LIGHTBOURN, DEVON N                   LIGHTER, BARBARA C                         LIGHTHOUSE COMPUTER SERVICES INC
3932 LAUREL LANE                      519 W EUCLID AVE NO.210                    PO BOX 84 5592
COCONUT CREEK FL 33073                ARLINGTON HTS IL 60004                     BOSTON MA 02284-5592




LIGHTHOUSE COMPUTER SERVICES INC      LIGHTHOUSE COMPUTER SERVICES INC           LIGHTHOUSE PREPACKAGING INC
6 BLACKSTONE VALLEY PLACE STE 205     PO BOX 6208                                PO BOX 100575
LINCOLN RI 02865                      PROVIDENCE RI 02940-0208                   FT LAUDERDALE FL 33310




LIGHTING DESIGN GROUP INC             LIGHTING SERVICES                          LIGHTING SERVICES INC
49 W 27TH ST STE 920                  150 BROOKSIDE ROAD                         241 S CHEROKEE STREET
NEW YORK NY 10001                     WATERBURY CT 06708                         DENVER CO 80223




LIGHTSEY-DELEON, STEPHANIE            LIGIBEL, CRAIG                             LIGUORI, ANN
2015 WASHINGTON AVENUE NO.2           4900 CENTRAL NO.402                        3 PINE GROVE CT
OPA LOCKA FL 33054                    KANSAS CITY MO 64112                       WESTHAMPTON NY 11977




LIISA MAY                             LIKE TOTALLY RED INC                       LIKOMA
15 SARATOGA STREET                    734 E CEDAR AVE                            17 HATTIE ST
COMMACK NY 11725                      BURBANK CA 91501                           SAN FRANCISCO CA 94114




LILA CALL                             LILAH LOHR                                 LILEITH GIBSON
169 ARCADIA AVENUE                    324 N. LOMBARD AVENUE                      10 HILLCREST DRIVE
PLAINVILLE CT 06062                   OAK PARK IL 60302                          WESTBURY NY 11590




LILIA ESTRADA                         LILIA PERKINS                              LILIA THOMPSON
14210 MARSLINE STREET                 2521 CROOKED TRAIL RD                      2720 W 101ST STREET
BALDWIN PARK CA 91706                 CHULA VISTA CA 91914                       INGLEWOOD CA 90303




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LILIAN AGUILERA                        LILIANA BOTERO                             LILIANA CUADROS
218 GLOUCHESTER ST.                    2437 PALM CREEK AVE.                       20 SOUTH 11TH STREET
BOCA RATON FL 33487                    ORLANDO FL 32822                           ALLENTOWN PA 18102




LILIANA PACHECO                        LILKER ASSOCIATES                          LILL MONSTER MOTION PICTURES
11501 SW 26TH STREET                   1001 AVENUE OF THE AMERICAS                6234 33RD AVE NE
#309                                   NEW YORK NY 10018                          SEATTLE WA 98115
MIRAMAR FL 33025



LILLIAN BEAN                           LILLIAN DUPOR                              LILLIAN GREINER
9300 JOHNSON ST                        6060 EASTOVER DRIVE                        6 SAVOY PL
PEMBROKE PINES FL 33024                NEW ORLEANS LA 70128                       HICKSVILLE NY 11801




LILLIAN GRENFELL                       LILLIAN J DURBIN                           LILLIAN KOPACZ
723 N ASTELL AVENUE                    8355 SEMINOLE BLVD                         60 RALPH AVENUE
WEST COVINA CA 91790                   APT. 209B                                  BABYLON NY 11702
                                       SEMINOLE FL 33772



LILLIAN LITTLE                         LILLIAN MCGINNIS                           LILLIAN QUINN
6244 PRIMROSE AVENUE                   2512-Q N RIVER ISLE RD.                    63 MURDOCK STREET
LOS ANGELES CA 90068                   MOMENCE IL 60954                           HUNTINGTON STATION NY 11746




LILLIAN SAWYER                         LILLIAN SMITH                              LILLIAN SUTTON
142 HOLLOW BROOK ROAD                  2106 MARK STREET                           1940 SW 81ST AVE
TIMONIUM MD 21093                      BEL AIR MD 21015                           APT 105
                                                                                  FORT LAUDERDALE FL 33068



LILLIE COLE                            LILLIE EDMONDSON-BECKWITH                  LILLIE L BLACKMON
1510 SOUTH HAMLIN AVE                  7225 S MERRILL AVENUE                      5138 INADALE AVENUE
CHICAGO IL 60623                       #2                                         LOS ANGELES CA 90043
                                       CHICAGO IL 60649



LILLIE VAUGHNS                         LILLY HURTADO                              LILLY MODEL CORP
1159 W 36TH STREET                     14038 TYLER STREET                         5 RIVER RD       STE 317
#2                                     SYLMAR CA 91342                            WILTON CT 06897
LOS ANGELES CA 90007



LILLY, RYAN EDWARD                     LILLY, RYAN EDWARD                         LILLY, TED
8090 N TUCSON NATIONAL PL NO.200       2157 DIAMOND STREET                        31161 DORAL PL
TUCSON AZ 85741                        SAN DIEGO CA 92109                         LAGUNA NIGUEL CA 92677




LILY CHU                               LILY JANG                                  LILY, MATTHEW AM
39-18 46TH STREET                      1140-C N 92ND STREET                       21 FAWN LN
SUNNYSIDE NY 11104                     SEATTLE WA 98103                           NEWPORT NEWS VA 23602




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LIM, ARNALDO P                          LIM, DENNIS                                LIM, NELSON
306 LAKE PARK TRAIL                     126 GREENE AVE 4N                          2090 E DURON ST
OVIEDO FL 32765                         BROOKLYN NY 11238                          COLTON CA 92324




LIM, SAMUEL                             LIM, STEPHANIE GRACE                       LIMA DURGAH
160 CRYSTAL RIDGE DRIVE                 55 SOUTH 17TH STREET                       61-15 97TH STREET
CRYSTAL LAKE IL 60012                   SAN JOSE CA 95112                          APT. 10-P
                                                                                   REGO PARK NY 11374



LIMA NEWS                               LIMA,WALDEMAR                              LIMARYS WEST
3515 ELIDA ROAD                         6017 TRIPHAMMER ROAD                       186 JENNIJILL DRIVE
LIMA OH 45807                           LAKE WORTH FL 33463                        WARRENSBURG NY 12885




LIMAS, ANTONIO                          LIME FOTO LLC                              LIME FOTO LLC
2708 CANAL ROAD                         264 S LA CIENEGA BLVD SUITE NO.1115        855 N KILKEA DRIVE
MIRAMAR FL 33025                        BEVERLY HILLS CA 90212                     LOS ANGELES CA 90046




LIME FOTO LLC                           LIME TREE PRODUCTIONS INC                  LIMEHOUSE, SAMANTHA
9744 WILSHIRE BLVD STE 312              12400 VENTURA BLVD NO.734                  5758 HWY 85 APT L211
BEVERLY HILLS CA 90212                  STUDIO CITY CA 91604                       RIVERDALE GA 30274




LIMELIGHT PICTURES                      LIN S LAM                                  LIN, EDWARD
8391 BEVERLY BLVD SUITE 333             3621 NORWICH PLACE                         17617 VICTORY BLVD
LOS ANGELES CA 91352                    ROWLAND HEIGHTS CA 91748                   LAKE BALBOA CA 91406




LINA H KWOK                             LINAFELT, TIMOTHY                          LINARD WILLIAMS
9179 ANSON RIVER CIRCLE                 842 GRAYTHORN DR                           24009 PASALA COURT
FOUNTAIN VALLEY CA 92708                TALLAHASSEE FL 32301                       VALENCIA CA 91355




LINARES RIOS, ADA M                     LINARES, EDICTA                            LINCH, GREG DAVID
31 HENDERSON DR                         333 N HEART BLVD                           1022 PINE BRANCH CT
EAST HARTFORD CT 06108                  ORLANDO FL 32835                           WESTON FL 33326




LINCOLN BUILDING ASSOCIATES LLC         LINCOLN BUILDING ASSOCIATES LLC            LINCOLN BUILDING ASSOCIATES LLC
RE: NEW YORK 60 E 42ND STREET           C/O NEWMARK & CO REAL ESTATE INC           C/O NEWMARK KNIGHT FRANK
C/O NEWMARK & CO. REAL ESTATE, INC.     125 PARK AVE - 11TH FLR                    125 PARK AVE - 11TH FLR
60 E. 42ND STREET                       NEW YORK NY 10017                          NEW YORK NY 10017
NEW YORK NY 10165-0015


LINCOLN BUILDING ASSOCIATES LLC         LINCOLN COUNTY HISTORICAL MUSEUM           LINCOLN FINANCIAL MEDIA
GENL POST OFFICE BOX 27215              2403 N BUFFALO                             COMPANY OF COLORADO
NEW YORK NY 10087-7215                  NORTH PLATTE NE 9101                       7800 E ORCHARD ROAD SUITE 400
                                                                                   GREENWOOD VILLAGE CO 80111




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LINCOLN FINANCIAL SPORTS                LINCOLN LANDSCAPING LLC                    LINCOLN PARK COMMUNITY ART INITIATIVE
ONE JULIAN PRICE PLACE                  PO BOX 91                                  735 W WRIGHTWOOD
CHARLOTTE NC 28208                      PEQUABUCK CT 06781                         CHICAGO IL 60614




LINCOLN, BRADLEY                        LINCOLN, DAVID                             LINCOLN, KIMBERLY R
1437 W RASCHER AVE NO.3E                3127 LIVONIA AVE                           1365 WEST 34TH STREET
CHICAGO IL 60640-1205                   LOS ANGELES CA 90034                       RIVIERA BEACH FL 33404




LINCOLN, WILLIAM C                      LINCOLNWOOD TOWN CENTER                    LINDA A KETTLEWELL
308 THREE MILE RUN RD                   SIMON PROPERTY GRP,                        8901 NW 21ST MANOR
SELLERSVILLE PA 18960                   3333 W TOUHY AV                            SUNRISE FL 33322
                                        LINCOLNWOOD IL 60712



LINDA A SATO                            LINDA AABY                                 LINDA ADKINS
2626 N. LAKEVIEW, #4104                 2004 FURNACE RD                            10 SHORTHORN DRIVE
CHICAGO IL 60614-1832                   FALLSTON MD 21047                          APOPKA FL 32712




LINDA ALAMEDA                           LINDA ANDERSON                             LINDA BALDERAS
PO BOX 70744                            927 FIRST STREET                           11716 S. BLACK FOREST LANE
FT. LAUDERDALE FL 33307                 NEW ORLEANS LA 70130                       PALOS PARK IL 60464




LINDA BANIEL                            LINDA BARBREY                              LINDA BEATY
3513 COLLANADE DRIVE                    113 PARKVIEW PL                            2009 WOODCREST DR.
WELLINGTON FL 33467                     HAMPTON VA 23664                           WINTER PARK FL 32792




LINDA BENT-KOERICK                      LINDA BERGSTROM                            LINDA BOWMAN
2454 AMHERST STREET                     349 RIDGE AVENUE                           101 OLD FORGE DRIVE
EAST MEADOW NY 11554                    CLARENDON HILLS IL 60514                   BATH PA 18014




LINDA BOYLE                             LINDA BRICE                                LINDA BRUCE
4949 W RUNNING BROOK                    3735 ST. MARGARET STREET                   477 CLAYTON STREET
COLUMBIA MD 21044                       BALTIMORE MD 21225                         NORCO CA 92860




LINDA BRUNS                             LINDA BUCHER                               LINDA BURGESS
11456 BUCK LAKE RD.                     4011 SW 71ST AVENUE                        11 BONNER ROAD
TALLAHASSEE FL 32317                    DAVIE FL 33314                             MANCHESTER CT 06040




LINDA CARRA                             LINDA COLLINS                              LINDA CONTESSA
RR#2 BOX 2136                           88 16TH STREET                             34 HOBART STREET
SAYLORSBURG PA 18353                    WEST BABYLON NY 11704                      WEST BABYLON NY 11704




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LINDA COOK                              LINDA COTTRILL                             LINDA CRAIG
843 TYLER AVENUE                        6088 CHURCH RD                             98 LAMPLIGHTER ACRES
DYER IN 46311                           FELTON PA 17322                            FORT EDWARD NY 12828




LINDA CUADRA                            LINDA CUELLAR                              LINDA CUMMINGS
2284 EAGLE DR                           P.O. BOX 5467                              P.O. BOX 1003
LA VERNE CA 91750                       CHICAGO IL 60680                           ABERDEEN MD 21001




LINDA D'ADAMO                           LINDA DANKOVICH                            LINDA DOLAN
124 SPOOK ROCK ROAD                     7370 STIRLING RD.                          1991 BROADWAY #25 -A
SUFFERN NY 10901                        # 108                                      NEW YORK NY 10023
                                        DAVIE FL 33024



LINDA ESTERSON                          LINDA FEWSTER                              LINDA FINE
DBA E.MARKETING INC                     607 ELIZABETH RD                           1700 NW 80TH AVE
12401 TIMBER GROVE RD                   GLEN BURNIE MD 21061                       APT 404
OWINGS MILL MD 21117                                                               MARGATE FL 33063



LINDA FINESTONE                         LINDA FINLEY                               LINDA FLOREA
7000 TEXHOMA AVE                        1605 E. 50TH STREET                        654 E. SWANSON ST.
VAN NUYS CA 91406                       APT# 7B                                    GROVELAND FL 34736
                                        CHICAGO IL 60615



LINDA FONGEMY-TODD                      LINDA FONTANA-PRATT                        LINDA GALINGER
55 TRUMBULL STREET                      41 BENSON AVENUE                           1270 NE 4 ST
401                                     SAYVILLE NY 11782                          POMPANO BEACH FL 33060
HARTFORD CT 06103



LINDA GALLO                             LINDA GARIEPY                              LINDA GARNICA
1023 NORTH ST. ELMO STREET              31844 LAKE DR                              1216 SANTA LUCIA RD
ALLENTOWN PA 18104                      EUSTIS FL 32736                            CHULA VISTA CA 91913




LINDA GAYE WADDELL                      LINDA GIUCA ZEMMEL                         LINDA GOETZFRIED
22002 PRAIRIE STREET                    159 ESSEX STREET                           72 LYNCLIFF RD
CHATSWORTH CA 91311                     DEEP RIVER CT 06417                        HAMPTON BAYS NY 11946




LINDA GRACE                             LINDA GREANEY                              LINDA HAHON
32 FARMSTEAD CIRCLE                     8131 NORTHPARK DRIVE                       4856 ALCOVE AVE.
BLOOMFIELD CT 06002                     RIVERSIDE CA 92508                         SHERMAN VILLAGE CA 91607




LINDA HALL                              LINDA HALL                                 LINDA HANNA
4728 HOLT ROAD                          1330 PINE STREET                           150 POPLAR STREET
WEST PALM BEACH FL 33415                SANTA MONICA CA 90405                      WEST HEMPSTEAD NY 11552




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LINDA HASTINGS                        LINDA HENRY                                LINDA HERBST
6009 1/2 FALLS ROAD                   9200 F BRIDLE PATH LANE                    13652 JONESPORT CIR
BALTIMORE MD 21209                    LAUREL MD 20723                            PLAINFIELD IL 60544




LINDA HERRERA                         LINDA HOBSON-TANKERSLEY                    LINDA HUBBARD
245 N. MILL RD                        6079 1/2 W SATURN STREET                   7923 S WINCHESTER
APT. # 8C                             LOS ANGELES CA 90035                       CHICAGO IL 60620
ADDISON IL 60101



LINDA HUTZLER                         LINDA J MINGER TREASURER TAX COLLECTOR     LINDA JACKSON
6715 BUSHRANGER PATH                  2900 S PIKE AVENUE                         2045 E 32ND ST
COLUMBIA MD 21046                     ALLENTOWN PA 18103-7633                    BALTIMORE MD 21218




LINDA JONES                           LINDA KAPSA                                LINDA KAYE HARRELL
102 W. YAPHANK ROAD                   3323 N. PAULINA                            10158 S. NORMAL
CORAM NY 11727                        #4A                                        CHICAGO IL 60628
                                      CHICAGO IL 60657



LINDA KELLER                          LINDA KETCHAM                              LINDA KLEIN
17719 CHERRYWOOD                      7 CHEROKEE COURT                           336 N. FOREST AVE
HOMEWOOD IL 60430                     HUNTINGTON STATION NY 11746                ORLANDO FL 32803




LINDA KLEINDIENST BRUNS               LINDA KOLLMEYER                            LINDA KRAMER
336 E COLLEGE AVENUE                  2736 N JANSSEN                             15101 BOOM ROAD
NO.303                                CHICAGO IL 60614                           SPRING LAKE MI 49456
FLORIDA PRESS ASSOC BUILDING
TALLAHASSEE FL 32301-1522


LINDA KURTZ                           LINDA L ASBATH                             LINDA L BARNES
3465 FREDERICK STREET                 2434 MAIN STREET                           1514 S. FAIRWAY KNOLLS ROAD
OCEANSIDE NY 11572                    NORTHAMPTON PA 18067                       WEST COVINA CA 91791




LINDA L BROGAN                        LINDA L MEYRAN                             LINDA LACITIGNOLA
2040 PEPPER STREET                    11324 HIGHLANDER COURT                     16 CHELSEA AVENUE
BURBANK CA 91505                      SPRING HILL FL 34609                       NORTH BABYLON NY 11703




LINDA LAFISCA                         LINDA LEE                                  LINDA LINLEY
163 ALTA VISTA COURT                  42-27 164TH STREET                         612 OVERBROOK ROAD
DAVENPORT FL 33837                    3 FLOOR                                    BALTIMORE MD 21212
                                      FLUSHING NY 11358



LINDA LOMBARDO                        LINDA LUNDBERG                             LINDA MALESKI
8194 NW 40TH COURT                    18124 66TH AVENUE                          PO BOX 228
CORAL SPRINGS FL 33065                APT# 1N                                    OCEAN BEACH NY 11770
                                      TINLEY PARK IL 60477




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LINDA MARENTES                        LINDA MARKARIAN                            LINDA MARTIN
132 JORALEMON STREET                  55 MIDWELL ROAD                            92 FARMSTEAD RD
APT 5B                                WETHERSFIELD CT 06109                      SOUTHINGTON CT 06489
BROOKLYN NY 11201



LINDA MCCULLOUGH                      LINDA MCDONALD                             LINDA MCDOUGALD
803 ALMOND COURT                      613 CROSSVIEW COURT                        140 N. 9TH ST.
APT L                                 BREINIGSVILLE PA 18031                     APT. #1
BEL AIR MD 21014                                                                 ALLENTOWN PA 18102



LINDA MICKELBERG                      LINDA MINICHINO                            LINDA MINOTTI
154 ALICIA DRIVE                      365 AMITY ROAD                             5406 POINT VILLA DR
NORTH BABYLON NY 11703                WOODBRIDGE CT 06525                        LIGHTHOUSE POINT FL 33064




LINDA NELMS                           LINDA NICOL                                LINDA NICOSIA
4016 OAKWOOD DRIVE                    118 BEDFORD AVE                            92 SW 15 CT
WILLIAMSBURG VA 23188                 MERRICK NY 11566                           BOCA RATON FL 33486




LINDA NIEDZWICK                       LINDA O'CARROLL                            LINDA OAKLEY
3956 DRIFTWOOD WAY                    P.O. BOX 707                               7904 NW 68TH AVENUE
WILLIAMSBURG VA 23188                 NORTHPORT NY 11768                         TAMARAC FL 33321




LINDA OLMEDA                          LINDA OWENS-JACKSON                        LINDA PEARCE
837 N. LOS ROBLES                     4708 W GLADYS AVE                          5636 SOUTH COLOROW DRIVE
PASADENA CA 91104                     CHICAGO IL 60644                           MORRISON CO 80465




LINDA PECK                            LINDA PERNEY                               LINDA PICCOLO
7302 W. SHEFFIELD CT.                 52 THOMPKINS PLACE                         47 HIGHLAND BLVD
MONEE IL 60449                        BROOKLYN NY 11231                          DIX HILLS NY 11746




LINDA PICINICH                        LINDA PINKUS                               LINDA PUCCIO
34 NORTH LONG BEACH ROAD              491 SHADOW LAKE BAY                        210 CEDAR LANE
2M                                    ROSELLE IL 60172                           NEW CANAAN CT 06840
ROCKVILLE CENTRE NY 11570



LINDA RAY HAAS                        LINDA ROGERS                               LINDA ROSEWALL PHOTOGRAPHY
429 LAKE RUTH DRIVE                   4275 VIA ARBOLADA                          13-15 LEVEY ST
LONGWOOD FL 32750                     APT.# 102                                  LEVEL 2
                                      LOS ANGELES CA 90042                       CHIPPENDALE, NSW 2008



LINDA ROSEWALL PHOTOGRAPHY            LINDA RUTTO INC                            LINDA S COLE
3 HOLLAND RD                          PO BOX 685                                 8820 W 18TH STREET
BELLEVUE HILL, NSW 2023               C ISLIP NY 11722                           LOS ANGELES CA 90035




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LINDA S FRIEND                        LINDA S ORBEN                              LINDA SALAZAR
144 WELLESLEY DR                      1058 CATASAUQUA ROAD                       1547 N MULBERRY AVENUE
NEWPORT NEWS VA 23606                 WHITEHALL PA 18052                         UPLAND CA 91786




LINDA SCHAIBLE                        LINDA SCHIAVONE                            LINDA SCHUBERT
536 W. HARVARD STREET                 3204 FOWLERS LAKE ROAD                     112 S. PROSPECT AVE.
ORLANDO FL 32804                      WILLIAMSBURG VA 23185                      BALTIMORE MD 21228




LINDA SILVERSTEIN                     LINDA SMITH                                LINDA STERN
10 EVA LANE                           610 SUNNY SOUTH AVE.                       3750 N. LAKE SHORE DRIVE
FARMINGVILLE NY 11738                 BOYNTON BEACH FL 33436                     APT. #10G
                                                                                 CHICAGO IL 60613



LINDA STROWBRIDGE                     LINDA SUE YOUNG                            LINDA TAYLOR
4703 ASHFORTH WAY                     4157 MADISON                               907 N. LAKEWOOD AVENUE
OWINGS MILLS MD 21117                 BROOKFIELD IL 60513                        BALTIMORE MD 21205




LINDA TAYLOR                          LINDA TRAN                                 LINDA TREBES
6847 BRIARWOOD DR                     5023 FLORINDA AVENUE                       1429 S CHARLES ST
CARLSBAD CA 92011                     TEMPLE CITY CA 91780                       BALTIMORE MD 21230




LINDA TRISCHITTA                      LINDA TWORKOWSKI                           LINDA VELASQUEZ
8531 NW 139TH TERRACE                 88 THOMPSON STREET                         1800 WHIDDEN AVENUE
UNIT 1407                             HUNTINGTON CT 06484                        DOWNERS GROVE IL 60516
MIAMI LAKES FL 33016



LINDA WAHOWSKI DOELL                  LINDA WALLACH                              LINDA WASHINGTON
1363 NORTH VALLEY ROAD                P.O. BOX 11255                             3840 W FLOURNOY
POTTSTOWN PA 19464                    BURBANK CA 91510                           CHICAGO IL 60624




LINDA WEIMER                          LINDA WHITE                                LINDA WHITE
12 SOUTH BROADWAY REAR                4022 FOREST VALLEY RD                      4507 WEST JACKSON BLVD
BALTIMORE MD 21231                    BALTIMORE MD 21234                         FLOOR 1
                                                                                 CHICAGO IL 60624



LINDA WHITMORE                        LINDA WILLIAMS                             LINDA WINER
921 NORTH HOWARD STREET               600 N CENTRAL                              300 E 93 ST
GLENDALE CA 91207                     CHICAGO IL 60644                           APT 41D
                                                                                 NEW YORK NY 10128



LINDA WISE                            LINDA YANG                                 LINDA YURCHE
9000 OLD COURT RD.                    5 HENSHAW COURT                            7914 RIDGELY OAK ROAD
BALTIMORE MD 21244                    SACRAMENTO CA 95832                        BALTIMORE MD 21234




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LINDAHL, ANDREW JOHN                    LINDAMAN, SUSAN                            LINDAUER, JEFFREY
19521 E LINVALE DR                      2710 LAVARIE DR                            6650 W WARM SPRINGS RD NO.2004
AURORA CO 80013                         COLORADO SPRINGS CO 80917                  LAS VEGAS NV 89118




LINDEMAN, BARD E                        LINDEN, SHERI                              LINDEN, SHIRA
5428 OXBOW ROAD                         1811 N NEW HAMPSHIRE AVE                   13 FRENCHTOWN RD
STONE MOUNTAIN GA 30087                 LOS ANGELES CA 90027                       TRUMBULL CT 06611




LINDENMEYR CENTRAL                      LINDENMEYR CENTRAL                         LINDENMEYR CENTRAL
14 RESEARCH PARKWAY                     PO BOX 32200                               PO BOX 32202
WALLINGFORD CT 06492-7511               HARTFORD CT 06150-2200                     HARTFORD CT 06150




LINDENMEYR CENTRAL                      LINDENMEYR CENTRAL                         LINDENMEYR CENTRAL
PO BOX 32203                            PO BOX 5011                                PO BOX 5331
HARTFORD CT 06150-2203                  WALLINGFORD CT 06492-7511                  BOSTON MA 02206-5459




LINDENMEYR CENTRAL                      LINDENMEYR CENTRAL                         LINDENMEYR CENTRAL
PO BOX 1213                             30 HUB DRIVE                               ATTN ROBERT FINN
DEPARTMENT 959                          MELVILLE NY 11747-9082                     NO.3 MANHATTANVILLE ROAD
NEWARK NJ 07101-1213                                                               PURCHASE NY 10577



LINDENMEYR CENTRAL                      LINDENMUTH, DIANE                          LINDER & MARSACK S C
3300 HORIZON DR                         137 CREST DR                               411 EAST WISCONSIN AVENUE
KING OF PRUSSIA PA 19406-2650           WHITEHALL PA 18052                         MILWAUKEE WI 53202




LINDER, TAMIKA D                        LINDGREN & SMITH INC                       LINDGREN & SMITH INC
4367 SW 10TH PL APT 107                 250 WEST 57TH STREET                       630 NINTH AVE NO 801
DEERFIELD BEACH FL 33442                SUITE 916                                  NEW YORK NY 10036
                                        NEW YORK NY 10107



LINDGREN, KRISTINA                      LINDLEY, ERIKA                             LINDLEY, ERIKA
18902 PARKVIEW TERRACE                  3229 W BELDEN                              C/O ED-RED
SANTA ANA CA 92705                      CHICAGO IL 60647                           1131 S DEE ROAD
                                                                                   PARK RIDGE IL 60068



LINDNER, JOHN D                         LINDO, WAYNE                               LINDSAY BARNETT
3752 SYKESVILLE ROAD                    5 MITCHELL DR                              10510 WOODBINE STREET
SYKESVILLE MD 21784                     BLOOMFIELD CT 06002-3820                   LOS ANGELES CA 90034




LINDSAY CARROLL                         LINDSAY DAVIS                              LINDSAY DEVERMAN
55 MADISON SPRINGS DRIVE                717 W. ROSCOE                              4674 EASTERN AVE
MADISON CT 06443                        3                                          UNIT #15
                                        CHICAGO IL 60657                           KENTWOOD MI 49316




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LINDSAY DIOKNO                          LINDSAY DOOLITTLE                          LINDSAY DUBOIS
6622 EDGEWOOD ROAD                      10 W. ELM                                  3670 INVERRARY DRIVE
NEW MARKET MD 21774                     604                                        APT 2E
                                        CHICAGO IL 60610                           LAUDERHILL FL 33319



LINDSAY GRASSI                          LINDSAY KUS                                LINDSAY MC CLURE
28 CARTER DRIVE                         4695 ALDUN RIDGE NW                        16462 LOST CANYON ROAD
TOLLAND CT 06084                        APT. 210                                   CANYON COUNTRY CA 91351
                                        COMSTOCK PARK MI 49321



LINDSAY MOORE                           LINDSAY REHME                              LINDSAY TATO
9769 ARBOR OAKS LANE                    651 WEST WRIGHTWOOD                        2043 N. SHEFFIELD AVE.
#303                                    APT# 2F                                    APT. #1F
BOCA RATON FL 33428                     CHICAGO IL 60614                           CHICAGO IL 60614



LINDSAY THEEL                           LINDSAY YURKOVICH                          LINDSAY, CHRISTINE
215 W 6TH ST                            9551 LOWER AZUSA ROAD                      482 PENIMAN RD
APT 801                                 TEMPLE CITY CA 91780                       WILLIAMSBURG VA 23185
LOS ANGELES CA 90014



LINDSAY, DANIEL                         LINDSAY, JOHN                              LINDSAY, JOHN P.
2420 SUNSET BLVD NO.2                   1412 NO. B N MOUNT VERNON AVE              1147 EL MEDIO AVENUE
LOS ANGELES CA 90026                    WILLIAMSBURG VA 23185                      PACIFIC PALISDS CA 90272




LINDSAY, KENNETH                        LINDSAY, PATSY ANN                         LINDSAY, VALERIE C
482 PENNIMAN RD                         58 TADICH DR                               1208 WILLOW CREEK CT
WILLIAMSBURG VA 23185                   WILLIAMSBURG VA 23185                      CONYERS GA 30012




LINDSEY COLROSS                         LINDSEY FITZJERRELLS                       LINDSEY LEACH
8759 REDONDO WAY                        5108 N. LINCOLN                            158 YEARDLEY DRIVE
JESSUP MD 20794                         APT #2N                                    APT #10
                                        CHICAGO IL 60625                           NEWPORT NEWS VA 23601



LINDSEY NASCA                           LINDSEY NESSELBUSH                         LINDSEY ROBBINS
804 SW 4TH AVENUE                       1602 HOMESTEAD ROAD                        218 DREXEL DRIVE
FORT LAUDERDALE FL 33315                APT #106                                   BEL AIR MD 21014
                                        LAGRANGE PARK IL 60526



LINDSEY SHACKLETT                       LINDSEY STARK                              LINDSEY SULLIVAN
1897 HANFORD DR                         3280 DELRAY BAY                            ONE EAST SCHILLER
PASADENA CA 91104                       DELRAY BEACH FL 33483                      6
                                                                                   CHICAGO IL 60610



LINDSTROM, ASHLEY                       LINDVALL, CHATARINA                        LINEHAN, LAWRENCE M
130 MELROSE PLACE APT 506E              221 LASTNER LANE                           95 COOLIDGE AVE
SAN ANTONIO TX 78212                    GREENBELT MD 20770                         RYE NY 10580




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LINELLA MCCONNELL                       LINES,JOYCE WELLS                          LING YANG
PO BOX A3857                            8975 8 LAWRENCE WELK DR                    10993 BLUFFSIDE DR
CHICAGO IL 60690-3857                   ESCONDIDO CA 92026                         APT 2305
                                                                                   STUDIO CITY CA 91604



LING, SALLY J                           LINH MY LUONG                              LINK, URSULA M
1271 NW 52 WAY                          1224 S. 6TH STREET                         5609 FOXCRAFT COURT
DEERFIELD BEACH FL 33442                ALHAMBRA CA 91801                          ORLANDO FL 32808




LINKCHORST, JOANNA M                    LINKCHORST, JOANNA M                       LINKE, DENISE
3357 BURRITT WAY                        3357 BURRITT WAY                           570 KINGSTON DR
LA CRESCENTA CA 91214                   LA CRESENTA CA 91214                       GENEVA IL 60134




LINKS INCORPORATED FORT LAUDERDALE      LINKS JOSEPH                               LINN, JESSICA E
CHAPTER                                 4457 TREEHOUSE LANE                        1872 N CLYBOURN UNIT 205
PO BOX 15308                            APT C14                                    CHICAGO IL 60614
PLANTATION FL 33318                     TAMARAC FL 33319



LINNELL WOODS                           LINNEMAN, ANGELA                           LINNETTE PHIPPS
2948 CHERRYLAND RD.                     959 GAYLEY AVE   APT 20                    3349 NW 32ND STREET
BALTIMORE MD 21225                      LOS ANGELES CA 90024                       LAUDERDALE LAKES FL 33309




LINSENMEYER, JOHN                       LINTON COOPER                              LINTON VALDOCK
9 HENDRIE AVE                           1865 LAUDERDALE MANOR DRIVE                340 OBISPO AVENUE
RIVERSIDE CT 06878                      FT. LAUDERDALE FL 33311                    LONG BEACH CA 90814




LINTON, DANIEL B                        LINTON, PAMELA                             LINWOOD, GAYLE
1523 N MCCADDEN PL UNIT 106             1624 CEDARHALL RD                          2401 LAKES DRIVE
LOS ANGELES CA 90028                    POCOMOKE CITY MD 21851                     DEERFIELD BEACH FL 33442




LINWOOD, GAYLE                          LIOCE JR, ANTHONY R                        LION, LEA
2401 LAKES DRIVE                        2626 FULTON ST                             962 W KENSINGTON RD
DEERFIELD BEACH FL 33442-1311           BERKELEY CA 94704                          LOS ANGELES CA 90026




LIONEL PAGE                             LIONEL TORRES                              LIONETTI, JOSEPH
401 EAST 32ND STREET                    4003 W. PALMER                             82 POINTE CIRC SO
APT. #1815                              2ND FLOOR                                  CORAM NY 11727
CHICAGO IL 60616                        CHICAGO IL 60639



LIONS CLUB FOUNDATION OF DARIEN INC     LIONS GATE TELEVISION, INC.                LIOTTA, JARRET
360 CONNECTICUT AVE                     16255 VENTURA BLVD                         949 EUCLID STREET NO.14
NORWALK CT 06854                        SUITE 1100                                 SANTA MONICA CA 90403
                                        ENCINO CA 91436




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LIPA                                    LIPA                                        LIPA
PO BOX 888                              PO BOX 9039                                 PO BOX 9050
HICKSVILLE NY 11802-9656                HICKSVILLE NY 11802                         HICKSVILLE NY 11802-9687




LIPA                                    LIPANI, THOMAS                              LIPINSKI, ANN MARIE
PO BOX 9083                             89 WESTPORT DR                              4919 S. WOODLAWN AVE.
MELVILLE NY 11747-9083                  TOMS RIVER NJ 08757                         CHICAGO IL 60615




LIPP, MARTIN                            LIPPER, ROBERT                              LIPPER, ROBERT
52 MIDLAND BLVD                         84 RONNI DR                                 874 RONNI DR
MAPLEWOOD NJ 07040                      E MEADOW NY 11554                           E MEADOW NY 11554




LIPPERT, HELEN JEANNE                   LIPPIN GROUP INC                            LIPPITT, JOLENE
2221 S TERRACE BLVD                     6100 WILSHIRE BLVD NO. 400                  6 FERNWOOD ST
LONGWOOD FL 32779                       LOS ANGELES CA 90048-5111                   WETHERSFIELD CT 06109-2321




LIPPITZ, JONATHAN                       LIPPMAN JR, THEO                            LIPPMAN, MYRNA
2116 N LEAVITT ST                       PO BOX 951                                  19508 PLANTERS POINT DR
CHICAGO IL 60647                        BETHANY BEACH DE 19930                      BOCA RATON FL 33434




LIPSEY MOUNTAIN SPRING WATER INC        LIPSON, CHARLES                             LIPSON, KARIN
PO BOX 1246                             5809 S BLACKSTONE AVENUE                    43 GREYSTONE RD
NORCROSS GA 30091-1246                  CHICAGO IL 60637-1855                       ROCKVILLE CENTRE NY 11570




LIPSYTE, SAMUEL P                       LIPTON, SHANA TING                          LIQUID MEDIA
539 WEST 112TH ST NO.6C                 1904 WEEPAH WAY                             2095 PARK COURT
NEW YORK NY 10025                       LOS ANGELES CA 90046                        COCONUT CREEK FL 33486




LIQUIDUS MARKETING COMMUNICATIONS       LIQUIDUS MARKETING COMMUNICATIONS           LIRA, JOSE CONSEPCION
350 N ORLEANS STE 950                   372 W ONTARIO ST                            1639 GRIFFINS AVE
CHICAGO IL 60654                        STE 400                                     LA PUENTE CA 91744
                                        CHICAGO IL 60610



LIRETHA COLEMAN                         LIRIA, LUIS ENRIQUE                         LIRIA, YAMEL ALEXANDER
712 E 89TH PLACE                        C/PRINCIPAL EDIF 100 APT 3A URB DUARTE      C/PRINCIPAL EDF 100
CHICAGO IL 60619                        SANTO DOMINGO                               APT 3A URB DUARTE
                                                                                    SANTO DOMINGO ESTE



LIRIAM CORBETT                          LIRIANO, VICTOR                             LISA ABRAMOVICH
8213 SW 23RD COURT                      350 W 115TH ST                              1279 CAMELLIA LN
NORTH LAUDERDALE FL 33068               NEW YORK NY 10026                           WESTON FL 33326




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LISA AMIN                              LISA ANDERSON                              LISA ANDERSON
3694 OAK CREEK COURT                   1021 MONTANA AVE                           415 EAST 52ND STREET
WALNUT CREEK CA 94598                  SANTA MONICA CA 90403                      13 C-C
                                                                                  NEW YORK NY 10022



LISA ANN FERRARA                       LISA ANNE LAPLANTE                         LISA ARNETT
183 N. WELLWOOD AVE.                   7149 CRYSTAL VIEW DR. SE                   27 W 2003 SUNNYSIDE AVE.
APT. 10                                CALEDONIA MI 49316-7717                    WINFIELD IL 60190
LINDENHURST NY 11757



LISA AUGELLO                           LISA BALDE                                 LISA BASS
151 WAXWING AVE.                       1818 W. 34TH PLACE                         533 BELLWOOD ROAD
NAPERVILLE IL 60565                    CHICAGO IL 60608                           APT. 20
                                                                                  NEWPORT NEWS VA 23601



LISA BERGER                            LISA BLACK                                 LISA BOONE
1159 DOUGLAS AVENUE                    586 N. GARFIELD BLVD.                      645 NORTH SCREENLAND DRIVE
WANTAGH NY 11793                       GRAYSLAKE IL 60030-2714                    BURBANK CA 91505




LISA BRANCH                            LISA BREWER                                LISA BRICKER
4400 MARBLE HALL                       203 CLAYTON DR.                            117 STEEPLE CHASE CIRCLE
APT. 281                               YORKTOWN VA 23693                          GIBSONIA PA 15044
BALTIMORE MD 21218



LISA BRIDGE                            LISA BRUNO                                 LISA BUCARO
309 COMMONS WAY                        9 SCHERER ST                               470 NORTH ERIE AVENUE
DOYLESTOWN PA 18901                    BETHPAGE NY 11714                          LINDENHURST NY 11757




LISA BURKHART                          LISA CARDINI                               LISA CHAMOFF
1838 W MELROSE ST #2                   1340 CEDAR SWAMP ROAD                      200 EAST 27TH STREET
CHICAGO IL 60657-2002                  COVENTRY CT 06238                          APT. #6L
                                                                                  NEW YORK NY 10016



LISA CHAVEZ                            LISA CHEDEKEL                              LISA CHERRY
273 E GLENARM STREET #6                5 DERBY STREET                             13 FERGUSON LANE
PASADENA CA 91106                      WEST NEWTON MA 02465                       NEWPORT NEWS VA 23601




LISA CIANCI                            LISA COSENZA                               LISA COX
1010 SWEETBROOK WAY                    6 ASBURY COURT                             8469 BYRD AVE.
ORLANDO FL 32828                       ALISO VIEJO CA 92656                       INGLEWOOD CA 90305




LISA DANNA                             LISA DEADERICK                             LISA DELAURENTIS
221 ORVILLE RD                         561 DIPLOMAT COURT                         108 HOLBROOK ROAD
BALTIMORE MD 21221                     APT. #2                                    CENTEREACH NY 11720
                                       NEWPORT NEWS VA 23608




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LISA DIGIOVINE                         LISA DILLMAN                               LISA DIORIO-ANDERSON
3516 MADERA AVE                        126 ORIZABA AVE.                           2 HOTHER LANE
LOS ANGELES CA 90039                   LONG BEACH CA 90803                        BAY SHORE NY 11706




LISA DONAHUE                           LISA DRESSEL                               LISA EASLEY
10933 NW 13TH CT                       73 ENOLA COURT                             218 MAIN STREET
CORAL SPRINGS FL 33071                 STEWARTSTOWN PA 17363                      SUITE 251
                                                                                  KIRKLAND WA 98033



LISA ELIAS                             LISA FASCHING-STRELLA                      LISA FEDEN
15 DIBBLE STREET                       4325 BLACK DRIVE                           290 BEAVER ROAD
ROWAYTON CT 06853                      WHITEHALL PA 18052                         SOUTHAMPTON PA 18966




LISA FERONE                            LISA FIELDING                              LISA FINNERAN
4 SUGAR PINE ROAD                      2510 W. IRVING PARK RD.                    9709 RIVER ROAD
QUEENSBURY NY 12804                    UNIT 405                                   NEWPORT NEWS VA 23601
                                       CHICAGO IL 60618-3749



LISA FONG                              LISA FREEDMAN                              LISA FUNG
105 MONTEREY ROAD                      9563 PARKVIEW AVE.                         2338 PEARL STREET
SOUTH PASADENA CA 91030                BOCA RATON FL 33428                        SANTA MONICA CA 90405




LISA GALINDO                           LISA GATES                                 LISA GILBERT
1143 N 92ND STREET                     1436 W. WINONA                             219 FOUNTAIN STREET
SEATTLE WA 98103                       CHICAGO IL 60640                           APT. 10
                                                                                  NEW HAVEN CT 06511



LISA GIRION                            LISA GLIONNA                               LISA GODDARD
13050 MAGNOLIA BLVD                    4354 EL PRIETO ROAD                        2855 N.W. 42ND STREET
SHERMAN OAKS CA 91423                  ALTADENA CA 91001                          BOCA RATON FL 33434




LISA GOODLIN                           LISA GORDON                                LISA GOULD
10410 NW 49TH PLACE                    5535 WESTLAWN AVENUE                       2807 N. WOLCOTT
CORAL SPRINGS FL 33076                 APT #447                                   UNIT D
                                       LOS ANGELES CA 90066                       CHICAGO IL 60657



LISA GRAMS                             LISA GRANT                                 LISA GUTH
3157 N. HUDSON AVENUE                  3943 LAKE SHORE DR                         2130 BEECHWOOD STREET
APT #C2                                DIAMOND POINT NY 12824                     OREFIELD PA 18069
CHICAGO IL 60657



LISA HAMBERG                           LISA HARTMAN                               LISA HECKLER
12355 SHADOWBROOK LN.                  66 RIDGEWAY AVENUE                         323 LIONEL ROAD
ORLANDO FL 32828                       SETAUKET NY 11733                          RIVERSIDE IL 60546




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LISA HICKMAN                          LISA HIGGINS                               LISA HIGH
751 N PINE ISLAND ROAD                13 STORM DRIVE                             4121 W GRENSHAW ST.
APT 108                               HOLTSVILLE NY 11742                        HOUSE
PLANTATION FL 33324                                                              CHICAGO IL 60624



LISA HOLBROOK                         LISA HOLLOWAY                              LISA HOULE-MEADOWS
6565 SOUTH SYRACUSE WAY               650 N. SPAULDING                           5423 NW 54 DR
APT. 703                              CHICAGO IL 60624                           COCONUT CREEK FL 33073
CENTENNIAL CO 80111



LISA HUGHES                           LISA HURIASH                               LISA IRWIN
6644 N. OGALLAH                       8110 NW 75TH AVENUE                        18 WASHTENAW
CHICAGO IL 60631                      TAMARAC FL 33321                           ALGONQUIN IL 60102




LISA JACOBSEN                         LISA JENNINGS                              LISA JOWERS-DAVIS
922 WOODGATE TRAIL                    5939 WESTERN RUN DRIVE                     309 PINE AVENUE
LONGWOOD FL 32750                     BALTIMORE MD 21209                         NEWPORT NEWS VA 23607




LISA KAWATA                           LISA KELLEHER                              LISA KOPLITZ
9418 MADISON AVE                      42 FOWLER TERRACE                          17 MASPETH DR
LAUREL MD 20723                       MILFORD CT 06460                           MELVILLE NY 11747




LISA KREFT                            LISA KRYSIAK                               LISA KURZON
4577 MAIN ST.                         1809 WYE MILLS LANE                        3275 LAKE GEORGE COVE DR.
RIVERSIDE CA 92501                    BEL AIR MD 21015                           ORLANDO FL 32812




LISA LAFROMBOISE                      LISA LE LEU STUDIOS INC                    LISA LELEU STUDIOS
6163 KARAS WALK                       100 MECHANICS STREET                       RE: DOYLESTOWN 100 MECHANICS
ELKRIDGE MD 21075                     DOYLESTOWN PA 18901                        187 E COURT ST
                                                                                 DOYLESTOWN PA 18901



LISA LUPARI PRODUCTIONS INC           LISA M LEGER                               LISA MARIE LAMP
844 NW 131ST AVE                      DALEY DEBOFSKY & BRYANT                    356 PONTE VEDRA RD
SUNRISE FL 33325                      MARK D DEBOFSKY/VIOLET BOROWSKI            LAKE WORTH FL 33461
                                      55 W MONROE ST SUITE 2440
                                      CHICAGO IL 60603


LISA MARIE MILLIGAN                   LISA MATEO                                 LISA MATTATALL
4 ARBOR DRIVE                         352 HARVEY AVENUE                          2704 KAYAK COURT
HUDSON FALLS NY 12839                 NORTH PLAINFIELD NJ 07063                  ST. CLOUD FL 34772




LISA MCDOUGAL                         LISA MERCER                                LISA MORSE
1839 S KOMENSKY                       12216 WILD IRIS WAY                        706 MARIETTA ST
APT # 2                               #105                                       GRAND RAPIDS MI 49505
CHICAGO IL 60623                      ORLANDO FL 32837




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LISA MOVERLEY                          LISA MOWREY                                LISA MULLINS
5500 OWENSMOUTH                        1511 WARREN STREET                         16302 S. PRAIRIE AVE.
APT#307                                ALLENTOWN PA 18102                         SOUTH HOLLAND IL 60473
WOODLAND HILLS CA 91367



LISA MYERS                             LISA NALVEN PHOTOGRAPHY INC                LISA NOLES
910 DUNELLEN DRIVE                     2131 SW 27TH LN                            10637 NW 43RD STREET
TOWSON MD 21286                        FORT LAUDERDALE FL 33312                   SUNRISE FL 33351




LISA NUTKOWICZ-ZAVALA                  LISA O'HARA                                LISA O'KEEFE
4886 HARRISON STREET                   888 8TH AVENUE                             6456 N. BOSWORTH
CHINO CA 91710                         5T                                         APT. #2
                                       NEW YORK NY 10019                          CHICAGO IL 60626



LISA OLSEN                             LISA ONG                                   LISA PERKINS
6328 PEACH AVENUE                      1335 W. ECKERMAN AVE.                      145 S SPRING STREET
VAN NUYS CA 91411                      WEST COVINA CA 91790                       6TH FLOOR
                                                                                  LOS ANGELES CA 90012



LISA PETRICK                           LISA POLAND                                LISA PRAYOR
10441 TIGER RUN                        34 IRONWOOD CIRCLE                         260 BELMONT PKWY
LITTLETON CO 80124                     BALTIMORE MD 21209                         APT 2B
                                                                                  HEMPSTEAD NY 11550



LISA PREDKO PHOTOGRAPHY LLC            LISA PROTEAU                               LISA REITZEL
452 N MORGAN ST STE 2E                 1472 SW 25 WAY                             147 ANNANDALE ROAD
CHICAGO IL 60622                       DEERFIELD BEACH FL 33442                   PASADENA CA 91105




LISA RHODES                            LISA RICHARDSON                            LISA RICHMOND
13407 LEESBURG PLACE                   458 1/2 S. CLOVERDALE AVENUE               3806 2ND STREET
UPPER MARLBORO MD 20774                LOS ANGELES CA 90036                       BALTIMORE MD 21225




LISA RIVERA                            LISA ROBERTS 321 COMMUNICATIONS GROUP      LISA ROMEREIN PHOTOGRAPHY
2197 CANYON DRIVE                      PO BOX 941066                              1343 ASHLAND AVE
COSTA MESA CA 92627                    MAITLAND FL 32794                          SANTA MONICA CA 90405




LISA ROSE PHOTOGRAPHY LLC              LISA RUBIN                                 LISA SALAZAR
13547 VENTURA BLVD NO.257              151 BARRETT CIRCLE                         1523 SOUTH CUYLER AVENUE
SHERMAN OAKS CA 91423                  MELVILLE NY 11747                          BERWYN IL 60402




LISA SCANNELL                          LISA SCHMITZ                               LISA SCHRYVER
1214 JANET DRIVE                       3842 N SOUTHPORT                           1228 W. MONROE
EDGEWOOD MD 21040                      UNIT N                                     UNIT 309
                                       CHICAGO IL 60613                           CHICAGO IL 60607




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LISA SIRAGUSA                           LISA SLADE                                 LISA SMOLA
26602 STETSON PLACE                     4842 GRACETON ROAD                         29239 HEATHERCLIFF R
LAGUNA HILLS CA 92653                   WHITEFORD MD 21160                         APT #12
                                                                                   MALIBU CA 90265



LISA SOKOLOVIC                          LISA SPATARO                               LISA STANNERS
12724 WEST GRAHAM STREET                2314 PINE AVENUE                           2307 BANCROFT AVENUE
NEW BERLIN WI 53151                     RONKONKOMA NY 11779                        LOS ANGELES CA 90039




LISA SWANSON                            LISA TICHADOU                              LISA VAN LUND
3650 LOS FELIZ BOULEVARD                4452 ETHEL AVENUE                          751 RANCHO SIMI DR
APARTMENT #37                           STUDIO CITY CA 91604                       COVINA CA 91724
LOS ANGELES CA 90027



LISA VAUGHAN                            LISA WEBSTER                               LISA WEPKING
115 2ND STREET                          12 MARGARET DRIVE                          2746 N. 92ND STREET
CATASAUQUA PA 18032                     QUEENSBURY NY 12804                        MILWAUKEE WI 53222




LISA WINTERFIELD                        LISA WOODS                                 LISA WYATT PHOTOGRAPHY
5 GRAND ST                              511 E. MARKET                              627 N SPAULDING AVE NO.8
SMITHTOWN NY 11787                      RED BUD IL 62278                           LOS ANGELES CA 90036




LISA ZENI REID                          LISANDRA SANCHEZ                           LISEO, CINNAMIN
5226 COLLEGE VIEW AVENUE                2721 VILLAGE PINE TERRACE                  40 BONE MILL RD
LOS ANGELES CA 90041                    ORLANDO FL 32833                           EAST HADDAM CT 06423




LISHA BOTTLEY                           LISK, MARION                               LISLE MAIL & FINISHING INC
200 HUMMINGBIRD LANE                    23321 LAGO MAR CIRCLE                      1617 OGDEN AVE STE1
LONGWOOD FL 32779                       BOCA RATON FL 33433                        LISLE IL 60532




LISLE, JENNIFER                         LISSA COLOMBO                              LISSA RICE
326 S GLENROY AVE                       1060 SMITHTOWN AVE                         5300 BRABANT RD
LOS ANGELES CA 90049                    BOHEMIA NY 11716                           BALTIMORE MD 21229




LISSETTE REYES                          LIST BUY OWNER                             LIST, DOUGLAS R
702 NORTH 9TH STREET                    27 WASHINGTON ST SUITE 1                   1412 BEAUDRY BLVD
APT# 8                                  TOMS RIVER NJ 08753                        GLENDALE CA 91208
ALLENTOWN PA 18102



LISTACH, PAT                            LIT FINANCE LP                             LIT FINANCE LP
21010 SKYHAVEN CT                       PO BOX 301114                              3141 HOOD STREET NO.700
SPRING TX 77379                         LOS ANGELES CA 90030-1114                  DALLAS TX 75219




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LIT FINANCE, LP                          LITA GO CUA                                LITCO INTERNATIONAL INC
RE: IRWINDALE 5091 4TH STREET            14033 BIRDSONG LANE                        ATTN: LISA HAUN
P.O. BOX 301114                          CHINO HILLS CA 91709                       P. O. BOX 150
LOS ANGELES CA 90030-1114                                                           ONE LITCO DRIVE
                                                                                    VIENNA OH 44473


LITCO INTERNATIONAL INC                  LITERACY VOLUNTEERS OF                     LITERACY VOLUNTEERS OF AMERICA
PO BOX 931478                            AMERICA-DUPAGE INC                         141 FRANKLIN ST
CLEVELAND OH 44193-0499                  24 W 500 MAPLE AVE NO.217                  STAMFORD CT 06901-1014
                                         NAPERVILLE IL 60540



LITHIA MOTORS                            LITKE, LAUREN                              LITMAN, BRIAN F
9980 EAST ARAPAHOE RD                    48 LAKE ST                                 1664 DARTMOUTH COURT
CENTENNIAL CO 80112                      NORWICH CT 06360                           NAPERVILLE IL 60565




LITTLE COMPANY OF MARY HOSPITAL          LITTLE WARRIOR MEDIA                       LITTLE, CASSIE L
FOUNDATION                               564 6TH AVENUE                             55 CONCORD STREET
2800 W 95TH ST                           BROOKLYN NY 11215                          EAST HARTFORD CT 06108
EVERGREEN PARK IL 60805



LITTLE, JASON                            LITTLE, KASHONDA                           LITTLE, KEVIN JR
1832 S MAY ST                            16W 626 HONEYSUCKLE ROSE NO.8              614 72ND ST
CHICAGO IL 60608                         WILLOWBROOK IL 60527                       NEWPORT NEWS VA 23605




LITTLE, REBECCA L                        LITTLE, TINA                               LITTLEFIELD, DAVID M
1863 N LEAVITT NO.2                      2412 N. JACKSON ST                         105 SPENSER LANE
CHICAGO IL 60647                         WAUKEGAN IL 60087                          SEWICKLEY PA 15143




LITTLEPAGE, MARY SUSAN                   LITTMAN, MARGARET                          LITTMAN, SARAH
1548 N WIELAND ST NO.208                 2315 W HUTCHINSON ST                       94 VALLEYWOOD ROAD
CHICAGO IL 60610                         CHICAGO IL 60618                           COS COB CT 06807




LITTON SYNDICATION                       LITTON SYNDICATION                         LITTON SYNDICATION
2210 MIDDLE STREET                       2213 MIDDLE ST                             LITTON TOWERS, SUITE 200
SULLIVANS ISLAND SC 29482                2ND FLOOR                                  884 ALLBRITTON BLVD
                                         SULLIVANS ISLAND SC 29482                  SUITE 200
                                                                                    MT. PLEASANT SC 29464


LITTRELL, THOMAS R                       LIU ROSSI                                  LIU, GOODWIN
2995 WINDJAMMER DR                       4615 WILKENS AVENUE                        1085 SILER PL
COLORADO SPRINGS CO 80920                BALTIMORE MD 21229                         BERKELEY CA 94705




LIU, WAN-WAN J                           LIU, WINSTON                               LIVE ACTION MEDIA INC
13914 HIGHLANDER ROAD                    6436 N. TRUMBULL AVENUE                    846 N MOZART
LA MIRADA CA 90638                       LINCOLNWOOD IL 60712                       CHICAGO IL 60622




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LIVINGSTON, CHARLES                     LIVINGSTON, KAREN                          LIZ KAY
1300 W BROWARD BLVD                     100 SW 18TH AVE NO.304                     1206 N. CALVERT ST.
FORT LAUDERDALE FL 33311                FORT LAUDERDALE FL 33312                   APT. B1
                                                                                   BALTIMORE MD 21202



LIZA SWEITZER                           LIZA TREVINO                               LIZAMARIE CRUZ-MERCADO
400 WEST ONTARIO STREET                 800 WEST 38TH STREET                       708 NORTH 6TH STREET
APT. #904                               APT # 6307                                 APARTMENT 3
CHICAGO IL 60610                        AUSTIN TX 78705                            ALLENTOWN PA 18102



LIZARD INVESTORS, LLC                   LIZELLE DIN                                LJUBINKA PALIKUCA
435 N. MICHIGAN AVE                     1751 W. ERIE STREET                        636 N. CUYLER
SUITE 2300                              APT. #2R                                   OAK PARK IL 60302
CHICAGO IL 60611                        CHICAGO IL 60622



LJUBISA CETENOVIC                       LLAKMANI, JENNIFER                         LLANES, JOSE
2224 IRVINE LANE                        2471 W PENSACOLA NO.1                      255 FORT WASHINGTON AVE
PLAINFIELD IL 60544                     CHICAGO IL 60618                           NEW YORK NY 10032




LLANTADA, TRISTAN J                     LLAVER,VICTOR MAURICIO                     LLEWELLYN, RICHARD
900 CHARLOTTE DR                        VIAMONTE 3106                              2332 CURTISS DR
NEWPORT NEWS VA 23601                   M5507FKA                                   DELTONA FL 32738
                                        LUJAN DE CUYO
                                        MENDOZA


LLEWELLYN, VERONA                       LLIGUICOTA, MAGALY D                       LLORENTE, FELISA B
2332 CURTIS DR                          50-02 47 ST                                8747 W BRYN MAWR NO.604
DELTONA FL 32738                        WOODSIDE NY 11377                          CHICAGO IL 60631




LLOYD AND MCDANIEL PLC                  LLOYD BROWN                                LLOYD FOX
11405 PARK RD STE 200                   26041 DEL REY #B                           1695 CAMPBELL ROAD
PO BOX 23200                            MISSION VIEJO CA 92691                     FOREST HILL MD 21050
LOUISVILLE KY 40223



LLOYD HILL                              LLOYD J HAILE JR                           LLOYD PORTER
5322 JAMESTOWN ROAD                     30480 MONARCH CT                           1111 OAKWOOD LN
BALTIMORE MD 21229                      EVERGREEN CO 80439-9411                    BEL AIR MD 21015




LLOYD STAFFING                          LLOYD, SETH                                LLOYD, TERRY E
445 BROADHOLLOW ROAD SUITE 119          18 WESTON RD                               2273-C DUNWOODY CROSSING
MELVILLE NY 11747                       WELLESLEY MA 02482                         ATLANTA GA 30338




LLOYD, WARREN                           LLUHANI, FAIK                              LM TOWNSEND CATERING
914 N CENTRAL AVENUE                    22 SPRING ST  NO.B8                        63 PIONEER ST
BALTIMORE MD 21202                      STAMFORD CT 06901                          COOPERSTOWN NY 13326




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LMNO PRODUCTIONS INC                  LO CASCIO, MATT                            LOAIZA, PEDRO
15821 VENTURA BLVD  STE 320           470 WESTERN ST                             101 ALDERWOOD DRIVE SUITE 2005
ENCINO CA 91436                       HOFFMAN ESTATES IL 60194                   KISSIMMEE FL 34743




LOALIZITHA BRINSON                    LOAN TA                                    LOAR, JULIE
1701 DEARWOOD CT.                     8047 E. GRAVES AVENUE                      5580 HIBERNIA DR NO.C
EDGEWOOD MD 21040                     ROSEMEAD CA 91770                          COLUMBUS OH 43232




LOAVES AND FISHES MINISTRIES INC      LOBACH, CATHERINE                          LOBACH, DEAN
ALYCE HILD EXECUTIVE DIRECTOR         9128 N PRIMROSE CIR                        41 CHURCH ST
360 FARMINGTON AVENUE                 BREINIGSVILLE PA 18031                     ALBURTIS PA 18011
HARTFORD CT 06105



LOBDELL, EMILY                        LOBDELL, ROBERT                            LOBDELL, WILLIAM
1416 N BELL AVE                       2439 SHARON OAKS DRIVE                     476 BROADWAY
CHICAGO IL 60622                      MENLO PARK CA 94025                        COSTA MESA CA 92627




LOCAL 1212 IBEW                       LOCAL 1212 IBEW                            LOCAL 25 SEIU
225 W 34TH ST                         320 W 41ST ST                              SERVICE EMPLOYEES CREDIT UNION
STE 1120                              NEW YORK NY 10036                          PO BOX 94443- BENEFIT FUNDS
NEW YORK NY 10122                                                                CHICAGO IL 60690



LOCAL 406 GRAPHIC                     LOCAL 406 GRAPHIC                          LOCALLO, JOHN
1919 RT 110 NO.24                     ATTN JOHN LASPINA                          734 N WELLS ST
FARMINGDALE NY 11735                  1919 RT 110 NO.24                          CHICAGO IL 60610
                                      FARMINGDALE NY 11735



LOCH ELSENBAUMER NEWTON & COMPANY     LOCH, COLLEEN                              LOCHARY, CLARE
4905 TILGHMAN ST   STE 100            3410 COLEMAN ST                            3317 BEECH AVE
ALLENTOWN PA 18104                    BETHLEHEM PA 18020                         BALTIMORE MD 21211




LOCHER, RICHARD                       LOCHRIDGE, MICHAEL W                       LOCHTE, RICHARD S
921 HEATHERTON DRIVE                  782 SWAYING PALM DRIVE                     2235 25TH STREET
NAPERVILLE IL 60563                   APOPKA FL 32712                            SANTA MONICA CA 90405




LOCIN, MITCHELL R                     LOCKARD & WECHSLER                         LOCKARD & WECHSLER
819 W. GUNNISON STREET                245 EAST OLIVE AVE 2ND FLR                 2 BRIDGE ST   STE 200
APT 3C                                BURBANK CA 91502                           IRVINGTON NY 10533
CHICAGO IL 60640



LOCKARD, SARAH                        LOCKE LORD BISSELL & LIDDELL LLP           LOCKE LORD BISSELL & LIDDELL LLP
2423 CHELSA ST                        600 TRAVIS  STE 3400 CHASE TOWERS          PO BOX 201072
ORLANDO FL 32803                      HOUSTON TX 77002                           HOUSTON TX 77216-1072




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LOCKER, MELISSA                        LOCKETT, DION                              LOCKETT, DUANE
135 KENT AVE                           11 HAROLD ST                               2100 NW 15TH AVE APT A
BROOKLYN NY 11211                      HARTFORD CT 06112                          FORT LAUDERDALE FL 33311




LOCKHART, JARRELL                      LOCKSLEY DOUGLAS                           LOCKWOOD, JASMINE
2808 NW 7TH ST                         1657 ELSIE LANE                            4645 NW 113TH AVE
FT. LAUDERDALE FL 33311                BAY SHORE NY 11706                         SUNRISE FL 33323




LOCONTE.2 LLC                          LOCONTE.2 LLC                              LOCUST LANE CENTRE LLC
115 DUMMER ST                          ATTN MARIA LOCONTE                         535 OLD WESTMINSTER PIKE 101A
BROOKLINE MA 02446                     4 ROLFE RD                                 WESTMINSTER MD 21157
                                       LEXINGTON MA 02420



LOCUST LANE CENTRE LLC                 LODERSTEDT, AMANDA K                       LODERSTEDT, AMANDA K
PO BOX 709                             2 PEMBROKE DRIVE                           2 PEMBROKE DRIVE
CLARKSVILLE MD 21029                   MENDHAM NJ 07945                           MENDHAM NJ 07955




LODGE, SHEVAN                          LODWICK, PATSOMAN                          LOEB & LOEB LLP
5771 WASHINGTON ST                     5980 NW 14TH CT                            321 NORTH CLARK STREET SUITE 2300
HOLLYWOOD FL 33023                     SUNRISE FL 33313                           CHICAGO IL 60610




LOEFFLER, JUSTIN                       LOEHMAN, ANDREW                            LOEHRKE, MARK
201 B BROMPTON LANE                    PO BOX 300782                              1931 CROSSING CT
SUGAR GROVE IL 60554                   AUSTIN TX 78703                            NAPERVILLE IL 60540




LOERZEL, ROBERT LOUIS                  LOEWENSTEIN, LAEL KIMBERLY                 LOFGREN, GARY R
4500 N MALDEN ST NO.201                1528 HILL STREET                           1951 N.E. 39 STREET APT 243
CHICAGO IL 60640                       SANTA MONICA CA 90405                      LIGHTHOUSE POINT FL 33064




LOFRANO, BOB                           LOFTICE, JEREMY                            LOFTIN WEB GRAPHICS
21225 ESCONDIDO ST.                    174 BEAR CUB WAY                           789 GATEWAY CENTER WAY
WOODLAND HILLS CA 91364                BOGART GA 30622                            SAN DIEGO CA 92102




LOFTIN, ANN JAMISON                    LOFTON, NATIERA JEANNE                     LOFTUS, KEVIN M
136 INTERLAKEN RD                      8810 OLD COLONY WAY    APT 3A              5568 BOYNTON PLACE
LAKEVILLE CT 06039                     ALEXANDRIA VA 22309                        BOYNTON BEACH FL 33437




LOG CABIN STUDIO                       LOGAN BYRNES                               LOGAN, ANGELO
7485 SW 61ST STREET                    24 PRICE BLVD                              764 OHIO
MIAMI FL 33143                         WEST HARTFORD CT 06110                     LONG BEACH CA 90804




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LOGAN, CHARLES                           LOGAN, ERIN                                 LOGAN, REBEKAH
417 CIERRA OAKS CIRC                     5901 SHAWNEE CT    APT 1B                   322 EAST 11ST APT 7
LADY LAKE FL 32159                       MISHAWAKA IN 46545                          MANHATTAN NY 10003




LOGICALIS                                LOGICALIS                                   LOGREIRA, STEPHANY
1750 S TELEGRAPH ROAD                    DEPT 172301                                 731 SW 67TH TERR
SUITE 300                                PO BOX 67000                                PEMBROKE PINES FL 33023
BLOOMFIELD HILLS MI 48302                DETROIT MI 48267-1723



LOH, SANDRA T                            LOI VU                                      LOIDA TORRES
14208 KITTRIDGE ST                       15867 FELLOWSHIP ST.                        1097 BROOKWIN DR.
VAN NUYS CA 91405                        VALINDA CA 91744                            POMONA CA 91768




LOIKO, SERGEI L                          LOINES, BARBARA                             LOINES, JOHN J
3112 MASON AVE                           4335 WINDING CIR                            4335 WINDING CIRCLE
CORINTH TX 76210                         COLORADO SPRINGS CO 80917                   COLORADO SPRINGS CO 80917




LOIRE TSUI                               LOIS BOULDIN                                LOIS CHANDLER
2703 LONGANRITA AVE                      1926 WAREHAM RD                             3239 DWARF PINE AVE
ARCADIA CA 91006                         BALTIMORE MD 21222                          WINTER PARK FL 32792




LOIS DEBBIE PARVIN                       LOIS DONCEVIC                               LOIS DOUGLAS
6012 FERNDELL ST                         5737 SNOWY ORCHID LN.                       HERBERT RUN 330
BRADENTON FL 34203                       ALLENTOWN PA 18104                          719 MAIDEN CHOICE LANE
                                                                                     CATONSVILLE MD 21228



LOIS E DOOLITTLE                         LOIS FRANCIS                                LOIS GARDNER
7030 EL PASEO STREET                     8306 NUNLEY DRIVE, APT. C                   45459 13TH STREET WEST
LONG BEACH CA 90815                      BALTIMORE MD 21234                          LANCASTER CA 93534




LOIS GREENBAUM                           LOIS L GROH                                 LOIS M CLARK
10126 MANGROVE DR. #204                  496 DEER TRAIL ROAD                         875 VICTOR AVENUE , #343
BOYNTON BEACH FL 33437                   CHICAGO HEIGHTS IL 60411                    INGLEWOOD CA 90302




LOIS MATCHEM                             LOIS NAKATA                                 LOIS PERCOPO
1655 W. LAKE STREET                      858 SOUTH BENSON AVENUE                     1444 W 260TH STREET
CHICAGO IL 60612                         ONTARIO CA 91762                            UNIT 24
                                                                                     HARBOR CITY CA 90710



LOIS SHONEBARGER                         LOIS SOLOMON                                LOKEY, DENNIS
12132 HAVELOCK AVENUE                    17374 SPRINGTREE LN                         1400 HICKORY DR
CULVER CITY CA 90230                     BOCA RATON FL 33487                         FLOWER MOUND TX 75028




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LOLA BAXTER                             LOLA BLAKE                               LOLA GILBERT
8810 WALTHER BLVD                       22 RADIO PLACE                           136 CLEMENT ROAD
APT #2419                               UNIT #2                                  EAST HARTFORD CT 06118
PARKVILLE MD 21234                      STAMFORD CT 06906



LOLA T ZIMMERMAN                        LOLAS, DEBORAH M                         LOLITA LOPEZ
1027 TAHITI LANE                        15657 SW 86TH TER                        16 MCKINLEY PLACE
ALAMEDA CA 94502                        MIAMI FL 33193                           GLEN COVE NY 11542




LOLITA MCNUCKLE                         LOLLY BOWEAN                             LOMANNO, SUZAANNE
8121 S. COLES                           8009 S. PRINCETON AVE                    302 HAWTHORNE HILLS PL APT 104
APT. #2                                 UNIT 2                                   ORLANDO FL 32835
CHICAGO IL 60617                        CHICAGO IL 60620



LOMBARDI WELLS, JOHANA                  LOMBARDI, JOSEPH                         LOMBARDI, VICTORIA
5307 WOODBRIGDE AVE                     1701 ARGYLE ROAD                         361 SOUTH 12TH STREET
POWELL OH 43065                         MERRICK NY 11566                         LINDENHURST NY 11757




LOMBARDO, DARIO                         LOMBARDY DOOR SALES AND SERVICE          LOMBROSO, CHRISTOPHER GENE
303 SE 2ND ST NO.E                      CORPORATIONS                             34 VISTA RD
HALLANDALE FL 33009                     734 BELLEVILLE AVENUE                    NORTH HAVEN CT 06473
                                        BELLEVILLE NJ 07109



LOMONACO, JEFFREY                       LOMONICO, DAVID                          LOMUSCIO, JAMES J
4708 BRYANT AVENUE SOUTH                2621 SANDY HOOK ROAD                     42 CANNONDALE RD
MINNEAPOLIS MN 55419                    FOREST HILL MD 21050                     WESTON CT 06883




LONCARIC MEDIA GROUP LLC                LONDON, EDYTHE                           LONDONO, ZULMA
49 BONNE VILLAGE NO.240                 C/O WAGNER                               51-01-39 AVE  APT G
ZIONSVILLE IN 46077                     1901 AVENUE OF THE STARS SUITE 1555      SUNNYSIDE NY 11104
                                        LOS ANGELES CA 90067



LONE STAR DELIVERY OF LITTLE NECK INC   LONE STAR DIGITAL GRAPHICS               LONELY PLANET PUBLICATIONS
4652 BROWVALE LANE                      11607 FM 1836                            150 LINDEN ST
LITTLE NECK NY 11362                    KAUFMAN TX 75142                         OAKLAND CA 94607




LONESTAR CHAPTER OF NATAS               LONESTAR CHAPTER OF NATAS                LONESTAR CHAPTER OF NATAS
100 E ROYAL LN  STE 1114                408 WEST EIGTHT STREET SUITE 201         BOX 141007
IRVING TX 75039                         DALLAS TX 75208                          DALLAS TX 75214




LONG & FOSTER REALTORS                  LONG & FOSTER REALTORS                   LONG BEACH CHAMBER OF COMMERCE
ATTN B PILKERTON                        ATTN SUSAN IRELAND                       350 NATIONAL BLVD
2191 DEFENSE HWY STE 304                14501 GEIRGE CARTER WAY                  LONG BEACH NY 11561
CROFTON MD 21114                        CHANTILLY VA 21051




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LONG BEACH CONVENTION & ENT. CENTER       LONG BEACH MIDDLE SCHOOL                   LONG BEACH PRESS TELEGRAM
SMG                                       235 LIDO BLVD                              604 PINE AVE
300 E OCEAN BLVD                          LIDO BEACH NY 11561                        LONG BEACH CA 90844-0001
LONG BEACH CA 90802



LONG BEACH PRESS TELEGRAM                 LONG BEACH PRESS TELEGRAM                  LONG BEACH PRESS TELEGRAM
ATTN JIM SMITH                            PO BOX 4408                                PO BOX 93106
300 OCEANGATE STE 150                     WOODLAND HILLS CA 91365                    LONG BEACH CA 90809
LONG BEACH CA 90840



LONG ELECTRIC COMPANY INC                 LONG ISLAND BOARD OF REALTORS INC          LONG ISLAND BOARD OF REALTORS INC
1310 S FRANKLIN RD                        300 SUNRISE HIGHWAY                        MS CHARLOTTE VANDERWAAG WCR
INDIANAPOLIS IN 46239                     WEST BABYLON NY 11704                      24 HILLSIDE AVE
                                                                                     WILLISTON PARK NY 11596-2318



LONG ISLAND BOARD OF REALTORS INC         LONG ISLAND CONVENTION & VISITORS          LONG ISLAND FEDERATION OF LABOR
WOMENS COUNCIL OF REALTORS LI CHAPTER     330 MOTOR PKWY STE 203                     1111 RTE 110 STE 320
149 E MAIN ST                             HAUPPAUGE NY 11788                         FARMINGDALE NY 11735
EAST ISLIP NY 11730



LONG ISLAND HOTEL AND LODGING ASSOC       LONG ISLAND INDUSTRIAL GROUP LLC           LONG ISLAND INDUSTRIAL MANAGEMENT
101 JAMES DOOLITTLE BLVD                  P O BOX 5823                               RE: FARMINGDALE 360 SMITH ST.
UNIONDALE NY 11553                        HICKSVILLE NY 11802                        PO BOX 5702
                                                                                     HICKSVILLE NY 11802-5702



LONG ISLAND INDUSTRIAL MANAGEMENT LLC     LONG ISLAND INDUSTRIAL MANAGEMENT LLC      LONG ISLAND LIBRARY RESOURCES COUNCIL
575 UNDERHILL BLVD   STE 125              PO BOX 5702                                MELVILLE LIBRARY BILDG
SYOSSET NY 11791                          SYOSSET NY 11802-5702                      SUITE E5310
                                                                                     STONY BROOK NY 11794-339



LONG ISLAND MID SUFFOLK BUSINESS ACTION   LONG ISLAND RAILROAD                       LONG ISLAND RAILROAD
PO BOX 135                                MARK WEINBERG SENIOR PARALEGAL             MTA
CENTERPORT NY 11721                       93-02 SUTPHIN BLVD                         PO BOX 5840
                                          JAMAICA STATION                            NEW YORK NY 10087-5840
                                          JAMAICA NY 11435-4380


LONG ISLAND RUBBISH REMOVAL EASTERN       LONG ISLAND WATER CORP                     LONG ISLAND WINE COUNCIL INC
PO BOX 489                                P O BOX 371332                             PO BOX 600
BOHEMIA NY 11716                          PITTSBURGH PA 15250-7332                   RIVERHEAD NY 11901




LONG RIDGE OFFICE PORTFOLIO               LONG RIDGE OFFICE PORTFOLIO                LONG VO
OAKBROOK TERRACE TOWER                    C/O CB RICHARD ELLIS                       9621 LINGWOOD TRAIL
ONE TOWER LANE SUITE LL                   16479 DALLAS PARKWAY SUITE 600             ORLANDO FL 32817
OAKBROOK TERRACE IL 60181                 ADDISON TX 75001



LONG, CULVER                              LONG, DOLORES A                            LONG, JOHN
506 10TH ST NW                            14129 ARCHWOOD ST                          143 BRENT RD
WASHINGTON DC 20004                       VAN NUYS CA 91405                          MANCHESTER CT 06040




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LONG, LAMAR                           LONG, LUCAS                                 LONG, MARY
2421 W ALLEN ST                       2421 W ALLEN ST                             1435 HENRY AVE
ALLENTOWN PA 18104                    ALLENTOWN PA 18104                          DES PLAINES IL 60016




LONG, ROB                             LONG,GLEN                                   LONGMYER, KATIE
PO BOX 2877                           446 MORRVUE DR                              652 E 6TH ST NO.4B
VENICE CA 90294                       CINCINNATI OH 45238                         NEW YORK NY 10009




LONGO, PETER                          LONGO, PETER                                LONGO, SALLY J
11434 S PAWNEE CIRCLE                 PO BOX 51285                                PO BOX 4223
PHOENIX AZ 85044                      PHOENIX AZ 85076-1285                       QUEENSBURY NY 12804




LONGSDORF, AMY                        LONGUEUIEL, CHRISTOPHER                     LONGWOOD CENTRAL SCHOOL DISTRICT
503 COLUMBIA AVE                      25062 SILVERLEAF LN                         35 YAPHANK MIDDLE ISLAND RD
PALMERTON PA 18071                    LAGUNA HILLS CA 92653                       MIDDLE ISLAND NY 11963




LONGWORTH, RICHARD                    LONNIE HUBBART                              LONNIE KNABEL
3750 N LAKE SHORE DR     NO.12B       9204 S. INDIANA                             1918 WHITEHALL DR.
CHICAGO IL 60613                      CHICAGO IL 60619                            WINTER PARK FL 32792




LONNIE TAYLOR                         LONNIE THOMAS                               LONNIE WHITE
3818 W. 192ND STREET                  1300 TIMBERWOOD COURT                       3010 WILSHIRE BOULEVARD
HOMEWOOD IL 60430                     ANDERSON IN 46012                           #90
                                                                                  LOS ANGELES CA 90010



LONNIE WONG                           LONZIA SHAY                                 LONZIE CHAMPION
9009 LEVANT COURT                     3243 N. SUMMIT AVE                          1318 DIVISION STREET
ELK GROVE CA 95758                    ALTADENA CA 91001                           BALTIMORE MD 21217




LOOBKOFF, SERGIE BORIS                LOOK SEE INC                                LOOK SEE INC
215 S SANTA FE NO.15                  900 S TREMAINE AVE                          ATTN: LOU BEACH
LOS ANGELES CA 90012                  LOS ANGELES CA 90019                        900 S TREMAINE AVE
                                                                                  LOS ANGELES CA 90019



LOOKOUT MOUNTAIN WATER DISTRICT       LOOKOUT MOUNTAIN WATER DISTRICT             LOOKOUT MOUNTAIN WATER DISTRICT
ACCT NO. 1281001                      24903 CLUBHOUSE CIR                         25958 GENESEE TRAIL
25958 GENESEE TRAIL, PMB 514          GOLDEN CO 80401-9615                        PMB 514
GOLDEN CO 80401-5742                                                              GOLDEN CO 80401-5742



LOOMIS, MATTHEW                       LOOMIS, MICHAEL                             LOONEY, MICHAEL T
4879 PEACH BOTTOM RD                  406 S 13TH ST                               51 F BRIARWOOD LANE
COPLAY PA 18037                       ST CHARLES IL 60174                         BRANFORD CT 06405




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LOOSELEAF, VICTORIA                      LOOSELEAF, VICTORIA                        LOOSEMORE, JOHN
144 S DOHENY DRIVE NO 304                PO BOX 10356                               55 BRAEBURN LN
LOS ANGELES CA 90048                     BEVERLY HILLS CA 90213                     MIDDLETOWN CT 06457




LOOTS SERNA, MARCIA                      LOPATE, PHILLIP                            LOPATIN, ELI
650 SCHUEREN RD                          402 SACKETT ST                             1520 BOLTON ST APT 2A
MALIBU CA 90265-3047                     BROOKLYN NY 11231                          BALTIMORE MD 21217




LOPER, JEAN MARIE                        LOPERA, DANIEL A                           LOPERA, PABLO GONZALO
8 SKIP LANE                              4453 SW 11TH PLACE                         4453 SW 11TH PLACE
BURLINGTON CT 06013                      DEERFIELD BEACH FL 33442                   DEERFIELD BEACH FL 33442




LOPERGALO, NICK                          LOPES, WILSON FELIPE                       LOPEZ JR, MANNEL SEGUNDO
54 HARWOOD AVE                           100 SE 14TH PL                             2800 N 73RD TERR
E ISLIP NY 11730                         DEERFIELD BEACH FL 33441                   HOLLYWOOD FL 33024




LOPEZ RODRIGUEZ, ARNALDO                 LOPEZ, ALEX R                              LOPEZ, ALEXANDRA
242 UNCAS ST                             616 SW 132ND AVE                           7511 VENETIAN ST NO.12
BETHLEHEM PA 18015                       DAVIE FL 33325                             MIRAMAR FL 33023




LOPEZ, ALICIA                            LOPEZ, ARACELLYS                           LOPEZ, CARLOS
607 LASSEN LN                            111 VISCOUNT DR                            6120 BALBOA COURT
COSTA MESA CA 92626                      NEWPORT NEWS VA 23602                      ALTA LOMA CA 91701




LOPEZ, CAROLINA                          LOPEZ, CECILIA                             LOPEZ, DELIA
25651 LA CIMA                            6241 SW 10TH CT                            5830 OAKWOOD DR
LAGUNA NIGUEL CA 92677                   NORTH LAUDERDALE FL 33068                  LISLE IL 60532




LOPEZ, EDUARDO                           LOPEZ, ELMA                                LOPEZ, FERNANDO
6017 FRIENDS AVE                         4632 SW 32ND DR                            1815 BRIGHT DR
WHITTIER CA 90601                        HOLLYWOOD FL 33023                         HIALEAH FL 33010




LOPEZ, GEORGE A                          LOPEZ, HECTOR                              LOPEZ, JOEL
22150 PINE HOLLOW LANE                   1331 S 10TH ST APT 1                       418 SUNDOWN TRL STE 2603
SOUTH BEND IN 46628                      ALLENTOWN PA 18103                         CASSELBERRY FL 32707




LOPEZ, JOSE                              LOPEZ, JULIE M                             LOPEZ, KENNETH
6782 MOUNTAIN TOP CT                     38 CALLE 1-60                              816 RENAISSANCE POINT   APT 301
SAN DIEGO CA 92120                       ZONA 12 COLONIA JAVIER                     ALTAMONTE SPRINGS FL 32714
                                         GUATEMALA CITY




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LOPEZ, LEA E                             LOPEZ, LISETTE                             LOPEZ, LORRAINE F
1433 S 59TH ST                           5273 NE 6TH AVE                            4438 LYMAN AVENUE
CICERO IL 60804                          OAKLAND PARK FL 33334                      COVINA CA 91724




LOPEZ, LUZ ALEJANDRA                     LOPEZ, LYNDA                               LOPEZ, MARCELO
7960 AMBLESIDE WAY                       4321 W BELDEN BSMT                         12850 STATE RD 84   APT 8-13
WEST PALM BEACH FL 33467                 CHICAGO IL 60639                           DAVIE FL 33325




LOPEZ, MARIA ANGELICA                    LOPEZ, MARIA M                             LOPEZ, MAYRA
4210 SW 33 DRIVE                         956 MOCKINGBIRD LN NO.500                  5904 E. 129TH ST.
HOLLYWOOD FL 33023                       PLANTATION FL 33324                        GRANDVIEW MO 64030




LOPEZ, NITZA                             LOPEZ, NORMA                               LOPEZ, OSCAR EDUARDO
5425 SW 42ND ST                          127 E BERKSHIRE CIRC                       2936 S WALLACE   UNIT 2
DAVIE FL 33314                           LONGWOOD FL 32779                          CHICAGO IL 60616




LOPEZ, PATRICIA A                        LOPEZ, PATRICIA ANN                        LOPEZ, SANTIAGO ALFONSO
7415 OSAGE                               2712 NW 13TH STREET                        220 W BERKSHIRE CIR SUITE 2603
KANSAS CITY KS 66111                     OKLAHOMA CITY OK 73107                     LONGWOOD FL 32779




LOPEZ, SERGIO                            LOPEZ, SHEILA N CRUZ                       LOPEZ, SID
2429 BENTLEY AVENUE                      1675 ASYLUM AVE                            2437 CORDOZA AVENUE
DALLAS TX 75211                          MERCY BOX NO.46                            ROWLAND HEIGHTS CA 91748
                                         WEST HARTFORD CT 06117



LOPEZ, STACEY F                          LOPEZ, THEO OKEAN                          LOPEZ, VICTOR
234 FERRY RD                             9 MEACHAM LANE                             141-45 85 RD
OLD SAYBROOK CT 06475                    TAMARAC FL 33319                           JAMAICA NY 11435




LOPEZ, VIOLETA                           LOPEZ, YOLANDA                             LOPEZ,CARMEN D
374 BUTTONWOOD DR STE 2314               132 STONEYCREST DR                         191 SOUTHRIDGE DR
KISSIMMEE FL 34743                       MIDDLETOWN CT 06457                        WILLIMANTIC CT 06224




LOPEZ,CARMEN D                           LOPEZ,JUAN                                 LOPEZ-CALAVIA,DAYSI
BOBS FURNITURE                           1451 LAVILLA CT                            2820 SW 118TH AVE
RT 195 MANS                              DELTONA FL 32725                           MIAMI FL 33175
WILLIMANTIC CT 06226-2949



LOPICCOLO, LOUIS                         LORA JENNINGS                              LORA VICTORIO
15 JOHN LN                               1221 EAST ARROW HIGHWAY                    10965 FRUITLAND DRIVE
LEVITTOWN NY 11756                       APT.# 216B                                 APT #101
                                         UPLAND CA 91786                            STUDIO CITY CA 91604




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LORAC PRODUCTIONS,INC.                LORAINE FERNANDEZ                           LORAINE V LAUER
9051 DICK STREET                      1216 EDGEMONT STREET                        1005 S DES PLAINES
LOS ANGELES CA 90069                  APT #309                                    FOREST PARK IL 60130
                                      LOS ANGELES CA 90029



LORD, MARY G                          LOREDO, ALBERTO                             LOREDO, JULIE
1850 INDUSTRIAL ST  LOFT 205          610 SW 93RD TERRACE                         5609 W 88TH ST
LOS ANGELES CA 90021                  PEMBROKE PINES FL 33025                     OAK LAWN IL 60453




LOREE MATSUI                          LOREEN INNES                                LOREEN VAUGHN
3630 W. 230TH STREET                  14 RADCLIFF LN                              9892 SOUTH SYDNEY LANE
TORRANCE CA 90505                     FARMINGDALE NY 11735                        HIGHLANDS RANCH CO 80130




LOREN CRAFT                           LOREN E SCURLOCK                            LOREN LONDNER
114 AVIAN WAY                         5321 TOWNSEND AVENUE                        11849 BRIER PATCH COURT
MIDDLETOWN DE 19709                   LOS ANGELES CA 90041                        WELLINGTON FL 33414




LOREN LYNN                            LOREN RESENDEZ                              LORENA BELMONTE
3661 N 54TH AVE                       1408 GOOSE LANDING                          2250 THORNTON LANSING RD
HOLLYWOOD FL 33021                    VIRGINIA BEACH VA 23451                     LANSING IL 60438




LORENA CALDERA                        LORENA GONZALEZ                             LORENA INIGUEZ
428 NORTH OAK AVENUE                  4109 SOUTH ARCHER AVE.                      7667 HOLLYWOOD BLVD
PASADENA CA 91107                     CHICAGO IL 60632                            LOS ANGELES CA 90046




LORENA MELGAR                         LORENA MONTGOMERY                           LORENA PANIAGUA
27 BIRDSEY STREET                     8052 S. BISHOP                              17W203 MONTEREY AVE.
BRIDGEPORT CT 06610                   APT. #2                                     OAKBROOK TERRACE IL 60181
                                      CHICAGO IL 60620



LORENA WOOD                           LORENE NIEHAUS                              LORENZ,ARTHUR
250 BALLARD ROAD                      123 S.2ND STREET                            865 BROADWAY AVE NO.65B
WILTON NY 12831                       GUTTENBERG IA 52052                         HOLBROOK NY 11741




LORENZA MUNOZ                         LORENZEN, CHRISTINA                         LORENZI, MIRIAM E
1102 GRANT ST                         530 DEWITT AVE                              115 E HARVARD ST
SANTA MONICA CA 90405                 N BABYLON NY 11703                          ORLANDO FL 32804




LORENZO GULLEY                        LORENZO RUIZ                                LORENZO SERNA
32 FOREST LANE                        234 W. GLEN LYN DRIVE                       10317 BELFORT DRIVE
BLOOMFIELD CT 06002                   GLENDORA CA 91740                           FRISCO TX 75035




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LORENZO, MARILYN A                     LORENZO, PEDRO                             LORETTA ABRAMO
899 JEFFERY ST                         55-19 MYRTLE AVE NO.3                      854 VILLA DRIVE
#604                                   RIDGEWOOD NY 11385                         MELBOURNE FL 32940
BOCA RATON FL 33487



LORETTA GOODMAN                        LORETTA LADER                              LORETTA LIVINGHOUSE
3180 N LAKE SHORE DR                   325 58TH STREET                            1900 S. OCEAN DRIVE
APT 10F                                NEWPORT NEWS VA 23607                      APT. #609
CHICAGO IL 60657                                                                  FORT LAUDERDALE FL 33316



LORETTA MALISE                         LORETTA QURESHI                            LORETTA REYES
19 ANNE DRIVE                          70 CORONADO AVE.                           4725 SW 13TH COURT
HAMMONTON NJ 08037                     KENNER LA 70065                            DEERFIELD BEACH FL 33442




LORETTA SCHOLTEN                       LORETTA SPINA                              LORETTA WALDMAN
1427 CLARMAR AVE.                      1201 SADDLE ROCK ROAD                      69 BREWSTER ROAD
SAINT PAUL MN 55113                    HOLBROOK NY 11741                          WEST HARTFORD CT 06117




LORI ACKEN                             LORI ANN TAMBURO                           LORI ARMSTEAD
N55 W34665 ROAD E                      44 DOHERTY DRIVE                           13 BURNHAM PLACE
OCONOMOWOC WI 53066                    CLIFTON NJ 07013                           NEWPORT NEWS VA 23606




LORI ARNOLD                            LORI BOTTERMAN                             LORI BRAYER
2243 W. ROSCOE                         233 STONE MANOR CIRCLE                     218 EAST LAHON
APT# 3                                 BATAVIA IL 60510                           PARK RIDGE IL 60068
CHICAGO IL 60618



LORI CHUNG                             LORI CRANE                                 LORI DIANGELIS
35 INGRAHAM BOULEVARD                  950 PONCE DE LEON RD.                      37 ARLINGTON ROAD
HEMPSTEAD NY 11550                     APT406                                     LAKE RONKONKOMA NY 11779
                                       BOCA RATON FL 33432



LORI DITTO                             LORI DUKE                                  LORI DUKE
4 FOX DEN CT.                          304 GLYNDON MEWS CT                        4829 DAVID DRIVE
REISTERSTOWN MD 21136                  REISTERSTOWN MD 21136                      KENNER LA 70065




LORI GRECO                             LORI H SUGARMAN                            LORI JOHNSON
17 DEERFIELD DRIVE                     6321 PINE RIDGE COURT                      3812 STEINBECK COURT
BROAD BROOK CT 06016                   APT# 3B                                    IRVINE CA 92606
                                       TINLEY PARK IL 60477



LORI JULICH                            LORI KOZLOWSKI                             LORI LUCAS
4 VILLAGE MANOR CT                     8 ESTHER STREET                            9555 154 RD N
PORT JEFFERSON NY 11777                APT 11                                     JUPITER FL 33478
                                       PASADENA CA 91103




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LORI MCGREGOR                        LORI MEEKS                                 LORI MURPHY
26 MISTLETOE LANE                    P.O. BOX 525                               6533 GREENE ROAD
LEVITTOWN NY 11756                   COLD SPRING HARBOR NY 11724                WOODRIDGE IL 60517




LORI O'ROURKE                        LORI PATTAVINA                             LORI PIKUL
300 EAST 40TH STREET                 212 TAYLOR STREET                          87 N. MAIN STREET
APT 14M                              VERNON CT 06066                            WINDSOR LOCKS CT 06096
NEW YORK NY 10016



LORI QUARTARARO                      LORI RAMOS                                 LORI ROCHON
8 ARDEN LANE                         38 PROSPECT ROAD                           W125 S8532 COUNTRY VIEW CT.
FARMINGVILLE NY 11738                CENTERPORT NY 11721                        MUSKEGO WI 53150




LORI SANTOPETRO                      LORI SCHNIPPER-NASTASI                     LORI SEARS
199 EAST SANTA BARBARA ROAD          53 THERON PLACE                            2443 FOREST GREEN ROAD
LINDENHURST NY 11757                 NORTHPORT NY 11768                         BALTIMORE MD 21209




LORI SELLERS                         LORI SHEPLER                               LORI SIRINOGLU
1028 VENTURA DRIVE                   6941 CANTERBURY                            119 PLEASANT DRIVE
LADY LAKE FL 32159                   HUNTINGTON BEACH CA 92647                  FARMINGDALE NY 11735




LORI TAVOULARIS                      LORI TENNENHOUSE                           LORI TOTH
5047 NORTH SHERIDAN ROAD             312 BAYNTON AVE. NE                        3672 SEAN DRIVE
CHICAGO IL 60640                     GRAND RAPIDS MI 49503                      SACRAMENTO CA 95821




LORI VEGA                            LORI VOORHEES                              LORI WAKNIN
275 NO.PINE ST.                      10403 DOWN LAKEVIEW CIRCLE                 1768 SOUTH EMERSON STREEET
NORTH MASSAPEQUA NY 11758            WINDERMERE FL 34786                        DENVER CO 80210




LORI WATSON                          LORI WILKES                                LORI WOLSKI
P.O.BOX 218                          1584 W. BONNIEVIEW DR.                     2424 SANTA ANA AVE
WHITE MARSH MD 21162                 RIALTO CA 92376                            A 203
                                                                                COSTA MESA CA 92627



LORI-JEAN RILEY                      LORIE WALSH                                LORIN MANAGEMENT CONSULTING CORP
6 SILVER FALLS LANE                  1281 ST LOUIS AVE                          6 EAST 39TH STREET SUITE 700
STORRS CT 06268                      BAY SHORE NY 11706                         NEW YORK NY 10018




LORINA CAPITULO                      LORITA PATTERSON                           LORJEM TABANO
1407 WAGNER ST                       9528 S. FOREST AVE.                        7143 N. SIUOX CT.
WANTAGH NY 11793                     CHICAGO IL 60628                           CHICAGO IL 60646




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LORMEAU, ENOL                           LORNA HENRY                                 LORNA L WILBERT
630 SW 20TH COURT NO.2                  12706 MAGNOLIABAY BL                        3616 E OJIBWA STREET
DELRAY BEACH FL 33445                   CLERMONT FL 34711                           SIERRA VISTA AZ 85650




LORNA WALKER                            LORNA WONG                                  LORRAINE A ILARDO
8529 NW 9 PL                            728 W. JACKSON BLVD                         630 LAUREL CROSSING
PLANTATION FL 33324                     UNIT 1208                                   CANTON GA 30114
                                        CHICAGO IL 60661-5476



LORRAINE ANN BROERTJES                  LORRAINE CARLSTON                           LORRAINE F HIBBARD
3029 OAKTREE LANE                       30117 DIANA CT.                             23644 E KETTLE PLACE
HOLLYWOOD FL 33021                      AGOURA HILLS CA 91301                       AURORA CO 80016




LORRAINE FAULKNER                       LORRAINE L MAAKESTAD                        LORRAINE LINDSAY
926 WHITE OAK LANE                      P.O. BOX 651                                1342 NORTH DETROIT STREET
UNIVERSITY PARK IL 60466                OCEAN PARK WA 98640                         APT 201
                                                                                    HOLLYWOOD CA 90046



LORRAINE LOPEZ                          LORRAINE M SMITH                            LORRAINE MIRABELLA
4438 LYMAN AVENUE                       2 DUXBURY                                   110 STANMOR RD
COVINA CA 91724                         ROLLING MEADOWS IL 60008                    BALTIMORE MD 21212




LORRAINE MISICKA                        LORRAINE O'DONNELL                          LORRAINE RILE MCFERRAN
4613 FEGAN WAY                          80 HUNTINGTON STREET                        304 BALDY HILL ROAD
SACRAMENTO CA 95822                     SPACE 646                                   ALBURTIS PA 18011
                                        HUNTINGTON BEACH CA 92648



LORRAINE ROSS                           LORRAINE SCHMIEDEL                          LORRAINE STIMPFLE
420 ARDGLASS CT                         46 GRAND ST                                 222 CEDAR AVE
BOLINGBROOK IL 60440                    GLENS FALLS NY 12801                        PATCHOGUE NY 11772




LORRAINE TRIGUEROS                      LORRAINE VIRUEZ                             LORRAINE WANG
1024 SOUTH OLIVE STREET                 2701 JALMIA DR                              1445 TULANE ROAD
UPLAND CA 91786                         HOLLYWOOD CA 90046                          CLAREMONT CA 91711




LORRI ZABRONSKY                         LORRIE DELAIR                               LORY SCHWARTZ
37 CIDER MILL ROAD                      9017 PALISADES ROAD                         559 KEENELAND DRIVE
STAMFORD CT 06903                       BURR RIDGE IL 60527                         MADISONVILLE LA 70447




LORYANNA MICHALEK                       LOS ANGELES BROTHERHOOD CRUSADE             LOS ANGELES BROTHERHOOD CRUSADE
730 REFLECTIONS CIRCLE                  200 E SLAUSON AVENUE                        BLACK UNITED FUND INC
#203                                    LOS ANGELES CA 90011                        200 E SLAUSON AVE
CASSELBERRY FL 32707                                                                LOS ANGELES CA 90011




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LOS ANGELES BROTHERHOOD CRUSADE         LOS ANGELES BUSINESS JOURNAL              LOS ANGELES BUSINESS JOURNAL
YOUTH SPORTS LEAGUE                     5700 WILSHIRE BOULVARD NO.170             ATTN: CIRCULATION
PO BOX 94180                            LOS ANGELES CA 90036                      5700 WILSHIRE BLVD 170
PASADENA CA 91109                                                                 LOS ANGELES CA 90036



LOS ANGELES BUSINESS JOURNAL            LOS ANGELES BUSINESS JOURNAL              LOS ANGELES CELLULAR TELEPHONE
CIRCULATION DEPT                        PO BOX 48949                              ATTN: REAL ESTATE DEPARTMENT
PO BOX 48949                            LOS ANGELES CA 90048-0949                 PO BOX 6028
LOS ANGELES CA 90099-9150                                                         CERRITOS CA 90702-6028



LOS ANGELES CLIPPERS                    LOS ANGELES CLIPPERS                      LOS ANGELES COUNTY
1111 S FIGUEROA NO. 110                 1111 S FIGUEROA NO.1100                   500 W TEMPLE STREET RM 358
LOS ANGELES CA 90015                    LOS ANGELES CA 90015                      LOS ANGELES CA 90012




LOS ANGELES COUNTY                      LOS ANGELES COUNTY                        LOS ANGELES COUNTY
900 SO FREMONT AVE 8TH FLOOR            ATTN ED GERLITIS                          AUDITOR CONTROLLER/SHARED SERV
ALHAMBRA CA 91803-1331                  PO BOX 1460                               ATTN AUGUSTO BUENSUCESO
                                        ALHAMBRA CA 91802-1460                    3470 WILSHIRE BLVD
                                                                                  LOS ANGELES CA 90010


LOS ANGELES COUNTY                      LOS ANGELES COUNTY                        LOS ANGELES COUNTY
BOARD OF SUPERVISORS/EXECUTIVE OFFI     C/O DIAMOND BAR PUBLIC LIBRARY            CHEIFS REGULATION NO 4 UNIT
500 W TEMPLE STREET ROOM 383            1061 SOUTH GRAND AVE                      200 NORTH MAIN STREET RM 945
ATTN: FISCAL SERVICES                   ATTN: BRAD STAUFFEN                       LOS ANGELES CA 90012
LOS ANGELES CA 90012                    DIAMOND BAR CA 91765


LOS ANGELES COUNTY                      LOS ANGELES COUNTY                        LOS ANGELES COUNTY
CHILD SUPPORT SERVICES DEPARTMENT       COMMISSION FOR WOMEN                      DEPARTMENT OF CORONER
STATE DISBURSEMENT UNIT PO BOX 989067   500 W TEMPLE ST NO.383                    1104 N MISSON ROAD
WEST SACRAMENTO CA 95798-9067           LOS ANGELES CA 90012                      ATTN:ACCOUNTING
                                                                                  LOS ANGELES CA 90033


LOS ANGELES COUNTY                      LOS ANGELES COUNTY                        LOS ANGELES COUNTY
DEPARTMENT OF HEALTH PUBLIC HEATH       DEPT OF HEALTH SRVCS FISCAL SRVCS         DEPT OF PARKS & RECREATION
LICENSE/PERMIT UNIT                     5555 FERGUSON DR STE 100-50               433 S VERMONT AVE
5050 COMMERCE DRIVE RM 117              COMMERCE CA 90022                         LOS ANGELES CA 90020
BALDWIN PARK CA 91706-1423


LOS ANGELES COUNTY                      LOS ANGELES COUNTY                        LOS ANGELES COUNTY
DEPT OF PUBLIC WORKS                    DEPT OF PUBLIC WORKS                      FIRE DEPT
CASHIERS UNIT PO BOX 1460               900 S FREMONT AVE                         1320 NORTH EASTERN AVENUE
ALHAMBRA CA 91802                       ALHAMBRA CA 91803                         LOS ANGELES CA 90063



LOS ANGELES COUNTY                      LOS ANGELES COUNTY                        LOS ANGELES COUNTY
L A COUNTY HUMAN RELATIONS              L A COUNTY HUMAN RELATIONS                L A COUNTY HUMAN RELATIONS
320 W TEMPLE ST                         2811 WILSHIRE BLVD NO.600                 PO BOX 57199
STE 1184                                C/O WESTERN DIRECT INC                    SHERMAN OAKS CA 91413
LOS ANGELES CA 90012                    SANTA MONICA CA 90403


LOS ANGELES COUNTY                      LOS ANGELES COUNTY                        LOS ANGELES COUNTY
LA COUNTY TAX COLLECTOR                 LA COUNTY TAX COLLECTOR                   LOS ANGELES COUNTY FIRE DEPT
PO BOX 54027                            PO BOX 54088                              PO BO BOX 513148
LOS ANGELES CA 90054-0027               LOS ANGELES CA 90054-0088                 CERTIFIED UNIFIED PROGRAM AGENCY
                                                                                  LOS ANGELES CA 90051-1148




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LOS ANGELES COUNTY                       LOS ANGELES COUNTY                          LOS ANGELES COUNTY
LOS ANGELES COUNTY SHERIFFS              LOS ANGELES COUNTY SHERIFFS                 P O BOX 54949
110 N GRAND AVE-RM 525                   PO BOX 30629                                LOS ANGELES CA 90054-5402
LOS ANGELES CA 90012                     LOS ANGELES CA 90030-0629



LOS ANGELES COUNTY                       LOS ANGELES COUNTY                          LOS ANGELES COUNTY
PO BOX 512816                            PO BOX 514818                               PO BOX 54027
LOS ANGELES CA 90051-0816                LOS ANGELES CA 90051                        LOS ANGELES CA 90054-0027




LOS ANGELES COUNTY                       LOS ANGELES COUNTY                          LOS ANGELES COUNTY
REGISTAR RECORDER COUNTY CLERK           REGISTRAR-RECORDER/COUNTY CLERK             TAX COLLECTOR
PO BOX 1024                              12400 EAST IMPERIAL HIGHWAY                 PO BOX 54018
NORWALK CA 90051-1024                    NORWALK CA 90650                            LOS ANGELES CA 90054-0018



LOS ANGELES COUNTY TAX COLLECTOR         LOS ANGELES COUNTY TAX COLLECTOR            LOS ANGELES COUNTY TAX COLLECTOR
DEPT OF PUBLIC WORKS PERMIT              PO BOX 54027                                TAX COLLECTOR
900 FREMONT ST                           LOS ANGELES CA 90054-0027                   PO BOX 54978
ALHAMBRA CA 91801                                                                    LOS ANGELES CA 90054-0978



LOS ANGELES DAILY NEWS                   LOS ANGELES DAILY NEWS                      LOS ANGELES DAILY NEWS
21221 OXFORD ST ET PO BOX 4200           21221 OXNARD ST                             PO BOX 4120
WOODLAND HILLS CA 91365                  WOODLAND HILLS CA 91367                     WOODLAND HILLS CA 91365




LOS ANGELES DEPT OF WATER                LOS ANGELES DEPT OF WATER                   LOS ANGELES DEPT OF WATER
AND POWER                                BILLINGS, PROJECT AND CLAIMS ROOM 4         PO BOX 10324
111 N HOPE ST                            P O BOX 51212                               VAN NUYS CA 91410-0324
LOS ANGELES CA 90012                     ROOM 450
                                         LOS ANGELES CA 90051-5512


LOS ANGELES DEPT OF WATER                LOS ANGELES DEPT. OF WATER AND POWER        LOS ANGELES DEPT. OF WATER AND POWER
PO BOX 30808                             ACCT NO. 1-60-97599-02000-00-9007-1-01      ACCT NO. 1-63-80490-00213-00-0000-1-01
LOS ANGELES CA 90030-0808                P.O. BOX 30808                              P.O. BOX 30808
                                         LOS ANGELES CA 90030-0808                   LOS ANGELES CA 90030-0808



LOS ANGELES DEPT. OF WATER AND POWER     LOS ANGELES DEPT. OF WATER AND POWER        LOS ANGELES DEPT. OF WATER AND POWER
ACCT NO. 1-63-93719-00202-00-9012-1-01   ACCT NO. 1-63-93719-00224-00-9002-1-01      ACCT NO. 1-63-93719-00202-00-9008-1-01
P.O. BOX 30808                           P.O. BOX 30808                              P.O. BOX 30808
LOS ANGELES CA 90030-0808                LOS ANGELES CA 90030-0808                   LOS ANGELES CA 90030-0808



LOS ANGELES DEPT. OF WATER AND POWER     LOS ANGELES DEPT. OF WATER AND POWER        LOS ANGELES DEPT. OF WATER AND POWER
ACCT NO. 1-60-97599-02000-00-9004-1-01   ACCT NO. 1-60-97599-02000-00-9003-4-01      ACCT NO. 1-63-12934-00118-00-0000-1-01
P.O. BOX 30808                           P.O. BOX 30808                              P.O. BOX 30808
LOS ANGELES CA 90030-0808                LOS ANGELES CA 90030-0808                   LOS ANGELES CA 90030-0808



LOS ANGELES DEPT. OF WATER AND POWER     LOS ANGELES DEPT. OF WATER AND POWER        LOS ANGELES DEPT. OF WATER AND POWER
ACCT NO. 1-63-12934-00122-00-0000-1-01   ACCT NO. 1-63-80490-00139-00-0000-1-01      ACCT NO. 1-63-80490-00201-00-0000-1-01
P.O. BOX 30808                           P.O. BOX 30808                              P.O. BOX 30808
LOS ANGELES CA 90030-0808                LOS ANGELES CA 90030-0808                   LOS ANGELES CA 90030-0808




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LOS ANGELES DEPT. OF WATER AND POWER     LOS ANGELES DEPT. OF WATER AND POWER        LOS ANGELES DEPT. OF WATER AND POWER
ACCT NO. 1-63-80490-00213-00-0000-4-01   ACCT NO. 1-63-93719-00202-00-9011-1-01      ACCT NO. 1-63-93719-00202-00-9010-1-01
P.O. BOX 30808                           P.O. BOX 30808                              P.O. BOX 30808
LOS ANGELES CA 90030-0808                LOS ANGELES CA 90030-0808                   LOS ANGELES CA 90030-0808



LOS ANGELES DEPT. OF WATER AND POWER     LOS ANGELES DEPT. OF WATER AND POWER        LOS ANGELES DEPT. OF WATER AND POWER
ACCT NO. 1-63-93719-00202-00-9009-1-01   ACCT NO. 1-63-93719-00202-00-9001-1-01      P.O. BOX 30808
P.O. BOX 30808                           P.O. BOX 30808                              LOS ANGELES CA 90030-0808
LOS ANGELES CA 90030-0808                LOS ANGELES CA 90030-0808



LOS ANGELES DODGERS LLC                  LOS ANGELES DODGERS, INC                    LOS ANGELES HARBOR COLLEGE
1000 ELYSIAN PARK AVENUE                 1000 ELYSIAN PARK AVENUE                    1111 FIGUEROA PL
ATTN ACCOUNTING DEPT                     LOS ANGELES CA 90012                        WILMINGTON CA 90744
LOS ANGELES CA 90012-1199



LOS ANGELES JEWISH HOME FOR THE AGING    LOS ANGELES LAKERS INC                      LOS ANGELES LAKERS INC
7150 TAMPA AVE                           P O BOX 940                                 PO BOX 10
RESEDA CA 91335                          EL SEGUNDO CA 90245                         INGLEWOOD CA 90306




LOS ANGELES MEMORIAL COLISEUM            LOS ANGELES PUBLIC LIBRARY                  LOS ANGELES PUBLIC LIBRARY
3939 S FIGUEROA ST                       CENTRAL LIBRARY                             PHOTOGRAPHER COLLECTION HISTORY
LOS ANGELES CA 90037-1292                630 W FIFTH ST                              630 W FIFTH STREET DEPT LL4
                                         LOS ANGELES CA 90071                        LOS ANGELES CA 90071



LOS ANGELES TIMES FEDERAL CREDIT UNION   LOS ANGELES TIMES WASHINGTON POST           LOS ANGELES TIMES WASHINGTON POST
316 WEST 2ND ST                          SERVICE                                     SVC 1150
STE 800                                  1150 15TH ST NW                             15TH ST NW
LOS ANGELES CA 90012                     WASHINGTON DC 20071                         WASHINGTON DC 20071



LOS ANGELES TRADE TECHNICAL COLLEGE      LOS ANGELES TRADE TECHNICAL COLLEGE         LOS ANGELES TRADE TECHNICAL COLLEGE
855 N VERMONT AVE                        ATTN ROXANNE ROMO                           LOS ANGELES CITY COLLEGE
LOS ANGELES CA 90029                     400 W WASHINGTON BLVD                       855 N VERMONT AVE
                                         LOS ANGELES CA 90015                        LOS ANGELES CA 90029



LOS ANGELES TRADE TECHNICAL COLLEGE      LOS ANGELES TRADE TECHNICAL COLLEGE         LOS ANGELES UNIFIED EDUCATION
LOS ANGELES MISSION COLLEGE              LOS ANGELES VALLEY COLLEGE                  333 SOUTH BEAUDRY AVE
ATTN: GERI SHAPIRO                       5800 FULTON AVE                             LOS ANGELES CA 90017
13356 ELDRIDGE AVE                       VALLEY GLEN CA 91401
SYLMAR CA 91342


LOS ANGELES VENTURA MARKETING GROUP      LOS ANGELES WOMENS FESTIVAL                 LOSKARN, LAIMUTE O
15678 PEARMAIN ST                        2461 SANTA MONICA BLVD NO.207               14318 DAIRYDALE CT
ADELANTO CA 92301                        SANTA MONICA CA 90404                       BALDWIN MD 21013




LOST AND SOUND INC                       LOTHAR KELLER                               LOTT, ANTHONY
265 MADISON AVE   3RD FLR                1878 CONGROVE DR.                           3125 ESTES RD
NEW YORK NY 10016                        AURORA IL 60504                             MEMPHIS TN 38115




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LOTT, HELENA                           LOTT, JOSHUA                               LOTTE E WRIEDT
50 NELLIE BROOK DR                     2334 W AUGUSTA BLVD                        486 17TH STREET
MABLETON GA 30126                      CHICAGO IL 60622                           WEST BABYLON NY 11704




LOTTERY CORPORATION                    LOU HECKLER & ASSOCIATES                   LOU TAZIOLI
600 VINE ST STE 400                    5745 SW 75TH ST PMB 322                    1024 S. LINCOLN AVENUE
CINCINNATI OH 45202                    GAINESVILLE FL 32608-5504                  PARK RIDGE IL 60068




LOUANNE SEXTON                         LOUD JR, HARRY                             LOUDEN HEALTH COMMUNICATION
3288 ROSEWOOD LANE                     37 HARNESS LANE                            6426 PLAINVIEW ROAD
HAYES VA 23072                         LEVITTOWN NY 11756                         GURNEE IL 60031-4418




LOUGH, LORETTE A                       LOUICIUS, ROBERT                           LOUIE AGOPIAN
9995 OLD ANNAPOLIS ROAD                8339 BERMUDA SOUND WAY                     24782 STRATTON LANE
ELLICOTT CITY MD 21042                 BOYNTON BEACH FL 33436                     LAGUNA NIGUEL CA 92677




LOUIE AGUILAR                          LOUIE, EUGENE H                            LOUIMA, JEAN CYUS
1114 N TONOPAH                         6448 BERWICKSHIRE WAY                      4611 S CONGRESS AVENUE NO.219
LA PUENTE CA 91744                     SAN JOSE CA 95120-3908                     LAKE WORTH FL 33461




LOUINE, THANYA                         LOUIS A WILLIAMS JR. & ASSOC.              LOUIS AGOSTINO
2970 NW 55TH AVE NO.1B                 2092 ARROWOOD PLACE                        655 BELLE TERRE ROAD
LAUDERHILL FL 33313                    CINCINNATI OH 45231                        APT. 95
                                                                                  PORT JEFFERSON NY 11777



LOUIS ARES                             LOUIS AURELIO                              LOUIS AVITABILE
1019 N HAMLIN                          654 LUTON DRIVE                            2806 WINDSOR AVENUE
CHICAGO IL 60651                       GLENDALE CA 91206                          ALTADENA CA 91001




LOUIS B FLEMING                        LOUIS BIELER                               LOUIS CAIAZZA
1579 LOMBARDY ROAD                     120 AVONDALE DRIVE                         1455 WOOSTER STREET #7
PASADENA CA 91106                      CENTEREACH NY 11720                        LOS ANGELES CA 90035




LOUIS CARLOZO                          LOUIS CARPENTER                            LOUIS CHECO
2423 W BELLE PLAINE AVE                101 AMANDA DRIVE                           234 SOUTH 3RD ST
CHICAGO IL 60618                       MANCHESTER CT 06040                        2
                                                                                  BROOKLYN NY 11211



LOUIS CLAYTON                          LOUIS CORTINA                              LOUIS COSTA
110 NORTHVIEW DRIVE                    4515 VINEYARD OVERLOOK                     15 HITCHCOCK LANE
SOUTH WINDSOR CT 06074                 ELLICOTT CITY MD 21043                     FARMINGDALE NY 11735




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LOUIS CURRY                             LOUIS D'ADAMO                              LOUIS DELPHIE
18333 ABERDEEN STREET                   1722 CHESACO AVENUE                        7758 S RHODES
HOMEWOOD IL 60430                       BALTIMORE MD 21237                         CHICAGO IL 60619




LOUIS DILEONE                           LOUIS F D'ADAMO JR                         LOUIS FARKAS
256 INDIAN WELLS AVENUE                 1509 WEYBURN RD                            502 S. OTT STREET
POINCIANA FL 34759                      BALTIMORE MD 21237                         ALLENTOWN PA 18104




LOUIS FEIS                              LOUIS FROMMLING                            LOUIS GALETTI
3057 CORAL SPRINGS DRIVE                877 MILBURN COURT                          1215 ELLSWORTH DRIVE
APT 101                                 BALDWIN NY 10021                           WHITEHALL PA 18052
CORAL SPRINGS FL 33065



LOUIS GARCIA                            LOUIS GARY FIFE                            LOUIS GENE, NERILES
1144 TROTWOOD BLVD                      364 W KIRKWALL ROAD                        5913 PAPAYA ROAD
WINTER SPRINGS FL 32708                 GLENDORA CA 91740                          WEST PALM BEACH FL 33413




LOUIS GIARRATANO                        LOUIS GOLD                                 LOUIS GOMBOCZ
502 50TH STREET                         13801 YORK ROAD                            640 SPRING STREET
NORTH LINDENHURST NY 11757              APT R3                                     BETHLEHEM PA 18018
                                        COCKEYSVILLE MD 21030



LOUIS HETZER                            LOUIS JOILET SHOPPINTOWN LP                LOUIS JOILET SHOPPINTOWN LP
6700 W. 63RD STREET                     1249 LOUIS JOLIET MALL                     3340 MALL LOOP DR NO.1249
1ST FLOOR                               JOLIET IL 60431                            JOLIET IL 60431
CHICAGO IL 60638



LOUIS JR, FRANK                         LOUIS KLEINBERG                            LOUIS KLUS
2611 NW 56TH AVE NO.423                 906 ASH ST.                                4629 N. CANFIELD
LAUDERHILL FL 33313                     WINNETKA IL 60093                          NORRIDGE IL 60706




LOUIS LAKE                              LOUIS MACK                                 LOUIS MARANTO
107 CAMBRIDGE LANE                      5424 RHODES AVENUE                         3703 WHITEHALL LANE
WILLIAMSBURG VA 23185                   NO HOLLYWOOD CA 91607                      HAMPSTEAD MD 21074




LOUIS MIMS                              LOUIS MIROCHA                              LOUIS MUSCARI
3031 KLEIN STREET                       9409 S 52ND AVENUE                         C/O LOUIS C. ARSLANIAN, ESQ.
APT. 11A                                OAK LAWN IL 60453                          225 SOUTH 21ST AVENUE
ALLENTOWN PA 18103                                                                 HOLLYWOOD FL 33020



LOUIS MUSCARI                           LOUIS NICOSIA                              LOUIS NICOSIA
C/O LOUIS ARSLANIAN                     28 EATONDALE AVENUE                        29 BRIAN AVENUE
THE LAW OFFICES OF LOUIS ARSLANIAN      BLUE POINT NY 11715                        HOLTSVILLE NY 11742
2500 HOLLYWOOD BOULEVARD, #302
HOLLYWOOD FL 33020




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LOUIS PERRONE                        LOUIS PETRUCELLI                           LOUIS PRICE
253 AVE C                            26 VIRGINIA AVENUE                         10625 VASSAR AVENUE
RONKONKOMA NY 11779                  LONG BEACH NY 11561                        CHATSWORTH CA 91311




LOUIS RODRIGUEZ                      LOUIS RUGGIERO                             LOUIS SAHAGUN
1663 EASTBURN AVE                    63 DOE RUN                                 18902 PARKVIEW TERRACE
6F                                   TOLLAND CT 06084                           SANTA ANA CA 92705
BRONX NY 10457



LOUIS SCHIRO                         LOUIS SIERRA                               LOUIS SPIRITO
2 MAYWOOD DRIVE                      6422 86TH AVENUE                           2033 REUTER ROAD
MARLBORO NJ 07746                    LACEY WA 98501                             TIMONIUM MD 21093




LOUIS STANCAMPIANO                   LOUIS TAIC                                 LOUIS TAIC
2749 LAKEMOOR DRIVE                  C/O LEDY-GURREN & BLUMENSTOCK, L.L.P.      C/O LEDY GURREN & BLUMNSTOCK L.L.P.
ORLANDO FL 32828                     230 PARK AVENUE                            230 PARK AVENUE, 34TH FLOOR
                                     34TH FLOOR                                 NEW YORK NY 10169
                                     NEW YORK NY 10169


LOUIS TOMAN                          LOUIS VICARINI                             LOUIS VOLPE
820 S FIGTREE LANE                   2111 BELLVALE ROAD                         107 DAWN DRIVE
PLANTATION FL 33317                  FALLSTON MD 21047                          CENTEREACH NY 11720




LOUIS, BIENAIME                      LOUIS, GUY M                               LOUIS, JEAN
1 NW 47TH TERRACE                    805 NW 132ND STREET                        416 SW 9TH CT
MIAMI FL 33127                       NORTH MIAMI FL 33168                       DELRAY BEACH FL 33444




LOUIS, JEAN CLAUDE                   LOUIS, JEAN RICHARD PIERRE                 LOUIS, JOHNNY JEAN
409 SW 3RD STREET                    10756 CYPRESS LAKE LANE                    2950 W MISSIONWOOD LN
DELRAY BEACH FL 33444                BOCA RATON FL 33498                        MIRAMAR FL 33025




LOUIS, JONICA                        LOUIS, MARIE A                             LOUIS, RICHARDSON
606 SE 2ND AVE                       3544 HARLOWE AVE                           416 NW 1ST AVE
DELRAY BEACH FL 33483                BOYNTON BEACH FL 33436                     BOYNTON BEACH FL 33435




LOUIS, WILNER                        LOUIS, YVESE                               LOUISA HODGE
606 2ND AVE                          3192 SARDINIA TERRACE                      2041 ROYAL OAKS DRIVE
DELRAY BEACH FL 33483                DELTONIA FL 32738                          #238
                                                                                SACRAMENTO CA 95815



LOUISE ADAMS                         LOUISE COAPSTICK                           LOUISE DUNCAN GRAPHIC DESIGN
31 COLONIAL DRIVE                    22809 W ACACIA COURT                       3247 HIDDEN LAKE DRIVE
APT. 9                               SAUGUS CA 91350                            WINTER GARDEN FL 34787
KENSINGTON CT 06037




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LOUISE KALECHSTEIN                     LOUISE KIERNAN                             LOUISE ROUG BOKKENHEUSER
42 GRACE AVENUE                        412 PLEASANT STREET                        170 TILLARY STREET
GREAT NECK NY 11021                    OAK PARK IL 60302                          APT# 205
                                                                                  BROOKLYN NY 11201



LOUISE SOLOW                           LOUISE T POLZ                              LOUISE TRIOLO
13155 SW 7TH COURT                     811 SHERWOOD                               2412 AMHERST STREET
E401                                   LAGRANGE PARK IL 60526                     EAST MEADOW NY 11554
PEMBROKE PINES FL 33027



LOUISE WILEY                           LOUISIANA ASSOCIATION OF BROADCASTERS      LOUISIANA AUTO REPAIR
3 TAOS CIRCLE                          660 FLORIDA BLVD                           1321 MAGAZINE ST
BALTIMORE MD 21220                     BATON ROUGE LA 70801                       NEW ORLEANS LA 70130




LOUISIANA CABLE TELECOMMUNICATIONS     LOUISIANA DEPT OF                          LOUISIANA DEPT OF REVENUE
763 NORTH ST                           ENVIRONMENTAL QUALITY                      POST OFFICE BOX 91011
BATON ROUGE LA 70802                   OFFICE OF ENVIRONMENTAL COMPLIANCE         BATON ROUGE LA 70821-9011
                                       P. O. BOX 4312
                                       BATON ROUGE LA 70821-4312


LOUISIANA STATE OF                     LOUISIANA STATE UNIVERSITY                 LOUISSAINT, JEAN
LA EDUCATIONAL TV AUTHORITY            125 THOMAS BOYD HALL                       500 N CONGRESS
7733 PERKINS ROAD                      BATON ROUGE LA 70803                       WEST PALM BEACH FL 33401
BATON ROUGE LA 70810



LOUISSAINT, YVROSE                     LOUIZOR, WILKENSON                         LOUKAKIS, LOUKAS
1243 NW 29TH TER                       18 FARNWORTH DRIVE                         6719 YOUNGSTON AVE
FT LAUDERDALE FL 33311                 BOYNTON BEACH FL 33426                     BALTIMORE MD 21222




LOUKAKIS, LOUKAS                       LOUNSBURY,ERIN                             LOURDES COLLADO
6719 YOUNGSTOWN AVE                    64 LOCUST AVE                              430 LOCK ROAD
BALTIMORE MD 21222                     FARMINGVILLE NY 11738-1615                 APT 84
                                                                                  DEERFIELD BEACH FL 33442



LOURDES DUARTE                         LOURDES FERNANDEZ                          LOURDES GUDINO
4949 CHURCH ST.                        52 FISCHER AVE                             4423 W. FULLERTON
#307                                   ISLIP TERRACE NY 11752                     CHICAGO IL 60639
SKOKIE IL 60077



LOURDES HERNANDEZ                      LOURDES LOERA                              LOURDES MALAVE-BABER
227 EAST 41 AVE.                       1631 BUCKINGHAM                            101 FREEMAN'S TRACE
APT 215                                WESTCHESTER IL 60154                       YORKTOWN VA 23693
LOS ANGELES CA 90031



LOURDES MORRISON                       LOURDES MUNOZ                              LOURDES PEREZ
2010 N. 48TH AVENUE                    590 GROVE STREET                           4838 W 24TH ST.
HOLLYWOOD FL 33021                     CLIFFSIDE PARK NJ 07010                    CICERO IL 60804




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LOUVENS DUGAZON                     LOUWANZA HIGHTOWER                         LOVATON, YESENIA
3821 RAVENWOOD AVE.                 5128 CONROY RD.                            163 HUNTINGTON ST APT E11
ORLANDO FL 32839                    APT. 735                                   NEW LONDON CT 06320
                                    ORLANDO FL 32811



LOVE THY NEIGHBOR FUND INC          LOVE, DONNIE                               LOVE, GLEN M
1299 E OAKLAND PARK BLVD            4442 NEWCASTLE CIRCLE                      108 DEER PATH RD
OAKLAND PARK FL 33334-4426          LITHONIA GA 30038                          WILLIAMSBURG VA 23188




LOVE, MICHAEL                       LOVE, RICHARD                              LOVECCHIO, MICHAEL
PO BOX 1019                         5026 W ATLANTIC AVE APT 29                 4109 ORIOLE AVE
STE2208                             DELRAY BEACH FL 33484                      DAYTONA BEACH FL 32127
CHRISTMAS FL 32709



LOVECE, FRANK                       LOVELACE, STEFEN                           LOVELYN CORBETT
61 W 106TH ST 6D                    122 W OSTEND STREET                        8081 GREEN ORCHARD ROAD
NEW YORK NY 10025                   BALTIMORE MD 21230                         APARTMENT T2
                                                                               GLEN BURNIE MD 21061-5150



LOVENBURY, CRYSTAL                  LOVENBURY, CRYSTAL                         LOVES PARK WATER DEPT.
593 SIDNEY DR                       593 SIDNEY DR                              ACCT NO. 0153015000-00
STE 1029                            LAKE HELEN FL 32744                        P.O. BOX 2275
LAKE HELEN FL 32744                                                            LOVES PARK IL 61131-0275



LOVETERE, KATHY                     LOVETT, JEANETTE                           LOVETTE, OCTAVIUS
519 PROSPECT ST                     356 NW 2ND COURT                           5950 SW 40 AVE NO.B10
TORRINGTON CT 06790                 DEERFIELD BEACH FL 33441                   FT LAUDERDALE FL 33314




LOVVORN, SANDRA                     LOW CULTURE INC                            LOW, BLAKELY
109 BEN NEVIS                       11812 SAN VICENTE BLVD                     5589 LERNER HALL
BELTON TX 76513                     LOS ANGELES CA 90049                       NEW YORK NY 10027




LOWE, BARBARA                       LOWE, CARY                                 LOWE, CHANNING G
914 S MONITOR                       3517 GARRISON STREET                       7463 SILVERWOODS CT
CHICAGO IL 60644                    SAN DIEGO CA 92106                         BOCA RATON FL 33433




LOWE, LATASHA                       LOWE, LATASHA                              LOWE, NICHOLAS
3333 SADDLEBROOK DR                 3333 SADDLEBROOK DR                        5145 OCEAN VIEW BLVD
HEPHZIBAH GA 30815                  HEPZIBAH GA 30815                          LA CANADA CA 91011




LOWE, ZACHARY                       LOWELL DEO                                 LOWELL SUN
60 SPRING ST NO.2                   357 NW 87TH                                PO BOX 1477
GREENWICH CT 06830                  SEATTLE WA 98117                           LOWELL MA 01853




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LOWEN CORPORATION                       LOWENSTEIN, ROGER                          LOWERY, JOHN
PO BOX 1528                             498 SALFER PLACE                           8426 MITZY LN
HUTCHINSON KS 67504-1528                WESTFIELD NJ 07090                         ELLICOTT CITY MD 21043




LOWERY, MARGIE                          LOWERY, YOLANDA                            LOWEY FOODS INC
5 SOUTH JUNIPER ST                      301 E SPRUCE ST                            PO BOX 1362
HAMPTON VA 23669                        LOUISVILLE GA 30434                        NORTHBROOK IL 60065-1362




LOWEY FOODS INC                         LOWRY, BRIAN RICHARD                       LOWRY, DOUG
P.O. BOX 672230                         4620 MARY ELLEN AVENUE                     366 N HAYWORTH APT 103
DETROIT MI 48267-2230                   SHERMAN OAKS CA 91423                      LOS ANGELES CA 90048




LOYCHE, REBECCA                         LOYD SNIDER                                LOYD, TERRY LEE
105 N 9TH ST  APT 3F                    109 RIVER BIRCH COURT                      5 ARENA RD
BROOKLYN NY 11211                       NEWPORT NEWS VA 23602                      GARDEN VALLEY ID 83622




LOYOLA ACADEMY                          LOYOLA MARYMOUNT UNIVERSITY                LOYOLA MARYMOUNT UNIVERSITY
1100 LARAMIE AVENUE                     7900 LOYOLA BLVD                           7900 LOYOLA BLVD.
WILMETTE IL 60091                       LOS ANGELES CA 90045                       ATTN LAURA FEHRING
                                                                                   DEPT OF CONFERENCES & SCHEDULING
                                                                                   LOS ANGELES CA 90045


LOYOLA MARYMOUNT UNIVERSITY             LOYOLA MARYMOUNT UNIVERSITY                LOYOLA UNIVERSITY OF CHICAGO
EVENT SERVICES                          UNH STE 1768 ONE LMU DR                    2160 S FIRST AVE
1 LMU DR MS8150                         LOS ANGELES CA 90045                       BLDG 103 ROOM 1131
LOS ANGELES CA 90045                                                               MAYWOOD IL 60153



LOYOLA UNIVERSITY OF CHICAGO            LOYOLA UNIVERSITY OF CHICAGO               LOYOLA UNIVERSITY OF CHICAGO
6525 SHERIDAN RD                        820 N MICHIGAN AVENUE                      CENTENNIAL FORUM STUDENT UNION
CFSU ROOM 118                           EXECUTIVE EDUCATION ROOM 1465              6525 NORTH SHERIDAN ROAD
CHICAGO IL 60626                        CHICAGO IL 60611-2196                      OFFICE 115
                                                                                   CHICAGO IL 60626


LOYOLA UNIVERSITY OF CHICAGO            LOYOLA UNIVERSITY OF CHICAGO               LOZADA, IRIS
CUDAHY LIBRARY ILL                      OFFICE OF ADVANCEMENT                      22229 SW 62ND CT.
LOYAL UNIVERSITY CHICAGO                820 N MICHIGAN AVE                         BOCA RATON FL 33428
6525 N SHERIDAN RD                      CHICAGO IL 60611
CHICAGO IL 60626


LOZANO, ARMANDO                         LOZANO, JULIE ANN                          LOZANO, LYDIA
1698 URBANA AVE                         101 W BARBARA                              144 NW 91ST AVE
DELTONA FL 32725                        HARLINGEN TX 78550                         PEMBROKE PINES FL 33024




LQ STARLING                             LRN CORPORATION                            LS & SS SERVICES INC
8306 WILSHIRE BOULEVARD                 1100 GLENDON AVE     STE 700               PO BOX 11525
APT.# 540                               LOS ANGELES CA 90024                       NAPLES FL 34101
BEVERLY HILLS CA 90211




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LS NEWS DISTRIBUTOR 298 INC          LS SIMS & ASSOCIATES INC                   LS SIMS & ASSOCIATES INC
471 W WINNIE WY                      1530 US HWY 1                              200 OCEAN AVENUE SUITE 201
ARCADIA CA 91007                     ROCKLEDGE FL 32955                         MELBOURNE FL 32951




LSU SPORTS NETWORK                   LTM SERVICES                               LUANN CLARK
263 THIRD STREET                     PO BOX 609                                 10401 WINDEMERE CHASE BLVD.
5TH FLOOR                            MANORVILLE NY 11949                        GOTHA FL 34734
BATON ROUGE LA 70801



LUANNA GALIETTI                      LUANNE ROY                                 LUBE XPRESS
40 BROADWAY                          43 BALANCE ROCK ROAD                       3981 FRUITRIDGE ROAD
APT. D3                              UNIT 10                                    SACRAMENTO CA 95824
AMITYVILLE NY 11701                  SEYMOUR CT 06483



LUBEMOBILE                           LUBER, REGINA MICHELLE SELB                LUBET, STEVEN
20611 BOTHELL EVERETT HWY            6026 JAGUAR WAY                            2515 ORRINGTON AVE
BOTHELL WA 98012                     LITTLETON CO 80124                         EVANSTON IL 60201




LUBIE VEAL                           LUBIN, JONATHAN H                          LUBIRDA HARRIS
P O BOX 221                          335 SW 188TH AVE                           1530 APPLEGROVE LN
NEW CONCORD KY 42076                 PEMBROKE PINES FL 33029                    WESTMONT IL 60559




LUBNI CAZEAU                         LUBOW, MICHAEL                             LUBSEN, WILLIAM
540 NW 136TH STREET                  5 BANEBERRY LN                             3904 LONGHILL STATION RD
NORTH MIAMI FL 33168                 RIVERWOODS IL 60015                        WILLIAMSBURG VA 23188




LUBY, ABBY                           LUC AND SHIRLEY MATILLA                    LUC MEDIA
1550 WENONAH TRAIL                   RE: LOS ANGELES 12901 CORAL T              25 WHITLOCK PL    STE 201
MOHEGAN LAKE NY 10547                P.O. BOX 784                               MARIETTA GA 30064
                                     SANTA MONICA CA 90406



LUCAS & COMPANY                      LUCAS EDDENS                               LUCAS GROUP
405 CHATHAM COVE                     1602 STEVELY AVENUE                        PO BOX 406672
WINTHROP HARBOR IL 60096             LONG BEACH CA 90815                        ATLANTA GA 30384-6672




LUCAS MORGAN                         LUCAS RIDER                                LUCAS ROMERO
8 BEATRICE AVENUE                    5938 EAST CALLE PRINCIPIA                  2050 GREENS COURT
BLOOMFIELD CT 06002                  ANAHEIM HILLS CA 92807                     HOFFMAN ESTATES IL 60194




LUCAS, ERIC P                        LUCAS, GREG                                LUCAS, JASON
3236 NW 57TH STREET                  400 LAWSON WAY                             122 LAMPLIGHTER RD
SEATTLE WA 98107                     SACRAMENTO CA 95864                        ALTAMONTE SPRINGS FL 32714




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LUCAS, KENNETH                         LUCAS, MARISA F                            LUCAS, RICHARD M
321 WARWICK LANDING PARKWAY            PO BOX 830936                              1323 OKALOOSA AVENUE
NEWPORT NEWS VA 23608                  STONE MOUNTAIN GA 30083                    ORLANDO FL 32822




LUCAS, TEREZA SILVA                    LUCCHESI LE BEAU, EMILIE                   LUCE, MARK
8965 SW 7TH ST                         615 WASHINGTON APT 3S                      113 E 109TH TERRACE
BOCA RATON FL 33433                    OAK PARK IL 60302                          KANSAS CITY MO 64114




LUCE, PAUL                             LUCENDA LEWIS                              LUCENT TECHNOLOGIES
2580 RAYWOOD VW APT 1531               440 NORTH MENTOR AVENUE                    TUCSON CUSTOMER CARE CENTER
COLORADO SPRINGS CO 80920              APT #5                                     ATTN:JASMINE BECKER
                                       PASADENA CA 91106                          3160 E TRANSCON WAY SUITE 180
                                                                                  TUCSON AZ 85706


LUCENT TECHNOLOGIES                    LUCENT TECHNOLOGIES                        LUCENT TECHNOLOGIES
1213 INNSBRUCK DRIVE                   ATTN:GALE MARTIN                           7200 S ALTON WAY NO.3C
SUNNYVALE CA 94089                     PO BOX 10193                               ENGLEWOOD CO 80112
                                       VAN NUYS CA 91410-0193



LUCENT TECHNOLOGIES                    LUCENT TECHNOLOGIES                        LUCENT TECHNOLOGIES
PO BOX 100317                          PO BOX 281425                              P O BOX 93000
ATLANTA GA 30384                       ATLANTA GA 30384-1425                      CHICAGO IL 60673




LUCENT TECHNOLOGIES                    LUCENT TECHNOLOGIES                        LUCENT TECHNOLOGIES
PO BOX 73587                           PO BOX 27-850                              PO BOX 5332
CHICAGO IL 60673-7587                  KANSAS CITY MO 64180-0850                  NEW YORK NY 10087-5332




LUCENT TECHNOLOGIES                    LUCENT TECHNOLOGIES                        LUCENT TECHNOLOGIES
6200 E BROAD ST                        1P SERVICES PRODUCT GROUP                  400 LAPP ROAD
COLUMBUS OH 43213                      400 LAPP ROAD                              EAST WHITELAND PA 19355
                                       MALVERN PA 19355



LUCENT TECHNOLOGIES                    LUCENT TECHNOLOGIES                        LUCIA ASTOR
ATTN CARL YEATES                       PO BOX 200776                              5720 C FOX HOLLOW DR.
2268 S 12TH ST                         DALLAS TX 75320-0776                       BOCA RATON FL 33486
ALLENTOWN PA 18103-5642



LUCIA PARIS                            LUCIA PARKER                               LUCIA SACO
4215 ROLLING KNOLLS CT                 104 RED OAK COURT                          15 BURWOOD AVENUE
MT. AIRY MD 21771                      LIMBERTON NC 28358                         STAMFORD CT 06902




LUCIA STANFORD                         LUCIA VAZQUEZ                              LUCIANNE RIZZO
282 KENNEDY DR                         1632 SOUTH INDIANA AVENUE                  264 MOUNTAIN ROAD
CROWLEY TX 76036                       APT# 603                                   WINDSOR CT 06095
                                       CHICAGO IL 60616




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LUCIANO'S SPECIAL SERVICES CO         LUCIANO, TAVAREZ                           LUCILIA DUROQUE
1209 SPRING CIRCLE DR                 339 HIGH ST NO.6                           460 NW 40TH STREET
CORAL SPRINGS FL 33071                NEW BRITAIN CT 06051                       POMPANO BEACH FL 33064




LUCILLE ANTONIK                       LUCILLE CHRISTENSEN                        LUCILLE MOLL
5022 N. AUSTIN                        164 BARRYPOINT ROAD                        4535 N. 92ND STREET, P108
#3H                                   RIVERSIDE IL 60546                         MILWAUKEE WI 53225
CHICAGO IL 60630



LUCILLE PRIOR                         LUCILLE RASMUSSEN                          LUCILLE ROLDAN
1015 WINDSOR AVENUE                   7612 WEST LAWRENCE UNIT 2B                 15905 FOUNTAIN LANE
WINDSOR CT 06095                      HARWOOD HEIGHTS IL 60706                   CHINO HILLS CA 91708




LUCILLE SANAK                         LUCILLE STAFFORD                           LUCILLE TURNER
388A PICARDY COURT                    3510 LAKE AVENUE                           2211 6TH AVENUE
LAKEWOOD NJ 08701                     NEWPORT BEACH CA 92663                     LOS ANGELES CA 90018




LUCINDA OWENS                         LUCINDA SEAWELL                            LUCINSKI, MICHAEL R
214 MAIN STREET                       7206 DUNMAR COURT                          118 EDITH STONE DRIVE
EL SEGUNDO CA 90245                   BALTIMORE MD 21222                         ABINGDON MD 21009




LUCIO SEGURO                          LUCKENBILL, BRIAN                          LUCKETT, GERARD
40 PINECREST DRIVE                    5009 WASHINGTON AVE                        13 SENDERO
EAST HARTFORD CT 06118                WHITEHALL PA 18052                         RANCHO SANTA MARGARITA CA 92682




LUCY BLATTER                          LUCY BUTLER                                LUCY COBOS
309 WEST 99TH STREET                  1241 ASHWORTH DRIVE                        3844 CYPRESS AVE.
NEW YORK NY 10025                     APOPKA FL 32703                            EL MONTE CA 91731




LUCY COBOS PHOTOGRAPHY                LUCY HOY                                   LUCY JACOBSON
PO BOX 8491                           1258 HOBSON OAKS DRIVE                     1341 WEST NEWPORT AVENUE
BOSTON MA 02114                       NAPERVILLE IL 60540                        APT #1
                                                                                 CHICAGO IL 60657



LUCY MORENO                           LUDLOW FRANKLIN                            LUDLUM, MICHAEL R
303 E. DICKENS                        765 GROVE DR.                              813 LEXINGTON BLVD
NORTHLAKE IL 60164                    BUFFALO GROVE IL 60089                     NEGAUNEE MI 49866




LUDMILA ROZANEK                       LUDMILLA LELIS                             LUDY, BRIDGET N
1505 POPLAND ST                       108 S. OCEAN AIRE TERRACE                  3036 WASHINGTON RD APT 5
BALTIMORE MD 21226                    ORMOND-BY-THE-SEA FL 32176                 EAST POINT GA 30344




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LUEBCHOW, LINDSEY                       LUELF,DARLENE                              LUELF,LESTER
2428 20TH STREET NW                     1057 JOLIET ST                             1057 JOLIET ST
WASHINGTON DC 20009                     AURORA CO 80010                            AURORA CO 80010




LUEVANOS, MARCOS                        LUFF,DIANE                                 LUFT, GAL
204 N LARKIN DR                         3 MAPLE CT                                 41 GROVE RIDGE COURT
COVINA CA 91722                         SIMBURY CT 06070-1919                      ROCKVILLE MD 20852




LUGMAN H MOHAMMED                       LUGO, EDWIN                                LUGO, JACKIE
PO BOX 369239                           6193 ROCK ISLAND RD NO. 115                5905 DAUPHIN AVE
CHICAGO IL 60636                        TAMARAC FL 33319                           LOS ANGELES CA 90034




LUGO, MARCOLINA A                       LUGO, RITA                                 LUGO, YASMER
200 BLAKESLEE ST NO.90                  2621 NE 18TH TER                           149 WETHERSFIELD AVE     APT B1
BRISTOL CT 06010                        POMPANO BEACH FL 33064-7721                HARTFORD CT 06114




LUHRS, HERBERT                          LUI, CHEUNG Y                              LUIGI VALCESCHINI
258 CLAFLIN BLVD                        2238 PARKSIDE AVENUE #202                  5336 KETTLER AVENUE
FRANKLIN SQUARE NY 11010                LOS ANGELES CA 90031                       LAKEWOOD CA 90713




LUIS AGUIRRE                            LUIS ARROYAVE                              LUIS BACA
8203 LIVE OAK AVENUE                    2756 N PINE GROVE                          155 FRANKLIN AVENUE
FONTANA CA 92335                        APARTMENT 401                              APT. 1
                                        CHICAGO IL 60614                           NEW ROCHELLE NY 10805



LUIS BENCOSME                           LUIS CALDERON                              LUIS CARRASCO
242 W. 32ND STREET                      3470 W. HILLSBORO BLVD #104                970 MISSION
CHICAGO IL 60616                        COCONUT CREEK FL 33073                     APT # 3
                                                                                   COSTA MESA CA 92626



LUIS CHALMERS                           LUIS CONSTANCE                             LUIS COROY
3620 SOUTH RHODES                       1115 NE 174TH STREET                       118 N MARGUERITA AVENUE
#901                                    NORTH MIAMI BEACH FL 33162                 UNIT 1
CHICAGO IL 60653                                                                   ALHAMBRA CA 91801



LUIS CORREA                             LUIS ESPINOSA                              LUIS ESPITIA
220 OVINGTON AVE                        25061 EL CORTIJO LN                        1164 NW 114TH AVE
BROOKLYN NY 11209                       MISSION VIEJO CA 92691                     CORAL SPRINGS FL 33071




LUIS EYZAGUIRRE                         LUIS FLOR                                  LUIS GARCIA
11330 NW 39TH STREET                    10211 MARTINIQUE DRIVE                     175 EAST NEW YORK AVE
CORAL SPRINGS FL 33065                  MIAMI FL 33189                             VALLEY STREAM NY 11580




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LUIS GONZALEZ                         LUIS GUERRA                                LUIS GUERRERO
14 STONECUTTER ROAD                   1228-1 NEBRASKA ST                         235 NORTH UTICA
LEVITTOWN NY 11756                    ORLANDO FL 32803                           MASSAPEQUA NY 11758




LUIS JIMENEZ                          LUIS LEWIN                                 LUIS LOPEZ
3202 HAZEN RIDGE WAY                  312 NORTH MAY STREET                       2626 CORONADO AVE.
102                                   UNIT #3D                                   SPACE 115
ORLANDO FL 32829                      CHICAGO IL 60607                           SAN DIEGO CA 92154



LUIS LOPEZ                            LUIS LORIO                                 LUIS MAGANA
17 KENNETH STREET                     19301 SW 125TH AVE                         11624 LAUREL AVENUE
HARTFORD CT 06106                     MIAMI FL 33177                             WHITTIER CA 90605




LUIS MARROQUIN                        LUIS MIGUEL URQUIETA                       LUIS MUNOZ
4943 S. LATROBE AVENUE                19452 HAMPTON DR                           908 SOUTH MAY STREET
STICKNEY IL 60638                     BOCA RATON FL 33434                        CHICAGO IL 60607




LUIS OCHOA                            LUIS ORTIZ                                 LUIS PEREZ
612 NORTH 10TH STREET                 4655 W 82ND PLACE                          3701 SW 32ND STREET
ALLENTOWN PA 18102                    CHICAGO IL 60652                           HOLLYWOOD FL 33023




LUIS PEREZ                            LUIS PEREZ                                 LUIS RIVERA
65 NE 107 ST                          33 CHERRY STREET                           1331 PONTENOVA AVENUE
MIAMI SHORES FL 33161                 CALVERTON NY 11933                         HACIENDA HEIGHTS CA 91745




LUIS RODRIGUEZ                        LUIS ROJAS                                 LUIS SALCEDO
719 WEST LINDEN STREET                169 VAN BUREN STREET                       6800 MARGATE BLVD.
APT #37                               MASSAPEQUA PARK NY 11762                   MARGATE FL 33063
ALLENTOWN PA 18102



LUIS SARANTIS                         LUIS SINCO                                 LUIS SOTO
44 CANTATA DRIVE                      3845 MYRTLE AVENUE                         1295 WINDOVER WAY
MISSION VIEJO CA 92692                LONG BEACH CA 90807                        MONTEREY PARK CA 91754




LUIS VARGAS                           LUIS VELEZ                                 LUIS ZARAGOZA
305 SW 71ST AVE                       P. O. BOX 112627                           124 OAK GROVE ROAD
MARGATE FL 33068                      STAMFORD CT 06911-2627                     WINTER PARK FL 32789




LUISA CALARCO                         LUISA HUAYAMAVE                            LUISA VALDIVIA
927 THIRD STREET                      931 TULAROSA DRIVE                         6060 HILLANDALE DRIVE
WHITEHALL PA 18052                    UNIT #7                                    APT 4
                                      LOS ANGELES CA 90026                       LOS ANGELES CA 90042




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LUISITO MAGLAYA                        LUISITO SIBAYAN                             LUIZ GENERAL SERVICES
27231 MARISA DRIVE                     20456 CALPET DRIVE                          9253 SW 1ST PLACE
CANYON COUNTRY CA 91387                WALNUT CA 91789-3711                        BOCA RATON FL 33428




LUK, WELBY W                           LUKE GRIFFITH                               LUKE HAWKINS
1550 SPRING GATE DRIVE UNIT 8307       96 DEHNHOFF AVENUE                          2807 LAKE TERRACE DRIVE
MCLEAN VA 22102                        FREEPORT NY 11520                           WYLIE TX 75098




LUKE IANNO                             LUKE LAMBERT                                LUKE MUNDO
505 SOUTH 6TH STREET                   711 W. BELMONT                              3417 W DRUMMOND PLACE
LINDENHURST NY 11757                   UNIT #309                                   APT 1B
                                       CHICAGO IL 60657                            CHICAGO IL 60647



LUKE SEEMANN                           LUKE, JANIS                                 LUKENS, CATHERINE
1405 WEST OLIVE AVENUE                 1912 MARE AVE                               1911 MAIN ST
UNIT 1                                 INDIANAPOLIS IN 46203                       BETHLEHEM PA 18017
CHICAGO IL 60660



LUKES OF CARPENTERSVILLE               LUKITCH, DUSTIN                             LUKOVA, LUBA
2 L W BESINGER DR                      620 N 20TH ST                               25-14 31ST AVE NO.5A
CARPENTERSVILLE IL 60110               ALLENTOWN PA 18104                          ASTORIA NY 11106




LULA HAMMOND                           LUMAN, STUART                               LUMAN, STUART
3514 WEST CERMAK ROAD                  1855 N DAMEN AVE                            53 W JACKSON BLVD APT 1232
BASEMENT                               CHICAGO IL 60647                            CHICAGO IL 60647
CHICAGO IL 60623



LUMINYS SYSTEMS CORP                   LUMITEK INTERNATIONAL INC                   LUNA JEAN
6601 SANTA MONICA BLVD                 9639 DR PERRY ROAD NO.210                   P O BOX 934593
HOLLYWOOD CA 90038                     IJAMSVILLE MD 21754                         MARGATE FL 33093




LUNA, DIANA                            LUNA, EDUARDO                               LUNA, JOEALEN
89 SAMIR LN                            690 WOLCOTT HILL RD                         1525 MOCKINGBIRD LN
LEESBURG FL 34748                      WETHERSFIELD CT 06109                       LONGWOOD FL 32750




LUNA, MAX                              LUNA-DUPREY, OSWALDO                        LUNA-DUPREY, OSWALDO
1532 15TH LN                           4417 RAVINNIA DRIVE                         4417 RAVINNIA DRIVE
GREENACRES FL 33463                    ORLANDO FL 32809                            ORLANDO FL 32822




LUNDGREN, CHARLES                      LUNDGREN, CHARLES                           LUNDIEN, PETER MALLORY
49 LEDGECREST DR                       49 LEDGECREST DR *FOODMART                  1135 LATROBE DR
NEWINGTON CT 06111-4256                NEWINGTON CT 06111-4256                     ANNAPOLIS MD 21409




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LUNDSTROM,RAYMOND                     LUNDY, APRIL                                LUNDY, JEAN
6080 STARDUST LN                      5821 SAN JUAN AVE NO.207                    6125 WAUCONDA WAY E
ROSAMOND CA 93560                     JACKSONVILLE FL 32210                       LAKE WORTH FL 33463




LUNDY, KATHLEEN                       LUNDY, ROBERTHA                             LUNDY, ROBERTHA
25 PROVIDENCE PIKE                    2901 NW 28TH WAY                            545 E 7TH AVE NO. 302
EASTFORD CT 06242                     FT LAUDERDALE FL 33311                      TALLAHASSE FL 32303-5649




LUNDY, TIMOTHY M                      LUO, JOANNA                                 LUONG HUYNH
14824 ENCLAVE PRESERVE CIR NO. T4     11047 BAYBREEZE WAY                         429 N. MOORE AVE.
DELRAY BEACH FL 33484                 BOCA RATON FL 33428                         MONTEREY PARK CA 91754




LUONGO, VICTOR A                      LUPE CHAMBERS                               LUPE SANTIAGO
4216 MADISON ST                       313 1/2 N. GAGE AVENUE                      805 WOODWARD AVE 1R
HOLLYWOOD FL 33021                    LOS ANGELES CA 90063                        RIDGEWOOD NY 11385




LUPE TIRADO                           LUPION, GREGORY                             LUQUE, MIGUEL
4322 LANDIS AVENUE                    5 LINTON COURT                              70 KANE STREET APT B3
BALDWIN PARK CA 91706                 W BABYLON NY 11704                          WEST HARTFORD CT 06119




LUQUIS, MANUEL                        LURAE BOSCARINO                             LURIE, JOSHUA
7620 PRATO AVE                        120 KASSIK CIRCLE                           2473 SILVER LAKE BLVD APT B
ORLANDO FL 32819                      ORLANDO FL 32824                            LOS ANGELES CA 90039




LURLEAN GRIGSBY                       LUSK, APRIL                                 LUSK, JACK
4210 FORESTEDGE DR.                   1751 EDWARD AVE                             38703 N SHERIDAN RD NO.112
GRAND PRAIRIE TX 75052                MEMPHIS TN 38107                            BEACH PARK IL 60099




LUSSOW, JENNIFER MICHELLE             LUSTGARTEN FOUNDATION FOR PANCREATIC        LUSTIG, CAROL
883 STERLING RD                       CANCER RESEARCH                             9740 NW 51ST STREET
INVERNESS IL 60067                    1111 STEWART AVENUE                         CORAL SPRINGS FL 33076
                                      BETHPAGE NY 11714



LUTCHER HIGH SCHOOL                   LUTE MACIAS                                 LUTHER CLAYTON
1885 LAGAN CT                         743 E ROWLANDS LN                           4 N. WHEELER AVENUE
LUTCHER LA 70071                      PHOENIX AZ 85022-4337                       BALTIMORE MD 21223




LUTHER, CLAUDIA J                     LUTHER, MARYLOU                             LUTHER, MARYLOU
3251 STONER AVE                       35 PARK AVE                                 80 PARK AVE 6K
LOS ANGELES CA 90066-1123             11H                                         NEW YORK NY 10016
                                      NEW YORK NY 10016




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LUTZ, KATHERINE L                     LUTZ, THOMAS                               LUXOR, SCOTT
627 HUMMINGBIRD LANE                  3024 ANGUS ST                              136 BEECHWOOD AVE
DELRAY BEACH FL 33445                 LOS ANGELES CA 90039                       BOGOTA NJ 07603




LUZ GARCIA                            LUZ GOMEZ                                  LUZ MALDONADO
22 BIRCHGROVE DRIVE                   2905 N. LONG AVE.                          17 AUSTRIA DR.
CENTRAL ISLIP NY 11722                CHICAGO IL 60641                           ROMEOVILLE IL 60446




LUZ NAVA                              LUZ RIOS                                   LUZ VARGAS
57 E VICTORIA DRIVE                   354 W. PRESTON STREET                      2651 ATLANTIC
NORTHLAKE IL 60164                    HARTFORD CT 06114                          FRANKLIN PARK IL 60131




LUZ ZARAGOZA                          LUZMARIA CARABALLO                         LVC SWEET ADELINES
6525 S. ALBANY AVENUE                 751 NORTH 4TH STREET                       C/O JEANNE NARLIEWICZ
CHICAGO IL 60629                      APARTMENT D                                442 SCHOLL RD
                                      ALLENTOWN PA 18102                         BATH PA 18014



LVM ENTERPRISES INC                   LYDA, KEN                                  LYDALL DISTRIBUTION SERVICES
3251 RIVERSIDE DR NO.D-203            PO BOX 576988                              DEPT 100016
CORAL SPRINGS FL 33065                MODESTO CA 95357                           PO BOX 150473
                                                                                 HARTFORD CT 06115-0473



LYDALL DISTRIBUTION SERVICES          LYDALL DISTRIBUTION SERVICES               LYDALL DISTRIBUTION SERVICES
PO BOX 33082                          PO BOX 759236                              11023 WASHINGTON HWY STE 150
HARTFORD CT 06150                     BALTIMORE MD 21275-9236                    GLENN ALLEN VA 23059




LYDIA CRISTOPULOS                     LYDIA DAVIS                                LYDIA ENRIQUEZ
4626 ARDEN WAY                        362 HAWTHORNE HILLS PLACE                  1207 SACRAMENTO ST.
APT. 12                               APT. 202                                   DELTONA FL 32725
EL MONTE CA 91731                     ORLANDO FL 32835



LYDIA HERNANDEZ                       LYDIA ORONA                                LYE, TIMOTHY
1345 ELYSIAN PARK DR                  9860 E. LEMON                              8 ARK RD
LOS ANGELES CA 90026                  ARCADIA CA 91007                           CLINTON CT 06413




LYHUS, RANDY                          LYHUS, RANDY                               LYLE DEAN INC
3005 FAYETTE RD                       401 HOLLAND LANE NO.1406                   811 WESTERN
KENSINGTON MD 20895                   ALEXANDRIA VA 22314                        NORTHBROOK IL 60062




LYLE ELLINGER                         LYLE MYLES                                 LYLE W DENNISTON
1222 HYMAN AVE                        10131 SOPHIA AVENUE                        301 PINE ROAD
BAY SHORE NY 11706                    NORTH HILLS CA 91343                       FORT WASHINGTON MD 20744-6612




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LYLES, CHRISTOPHER                    LYLES, LEE A                                LYMAN, ALICIA
32 WALKER DR                          1301 NW 15TH STREET                         1038 JIB DR APT 206
SIMSBURY CT 06070                     FT LAUDERDALE FL 33311                      ORLANDO FL 32825




LYMAN, JOHN                           LYMAN, SHELBY                               LYMAN, SHELBY
6378 NW 26TH TERRACE                  102 BLATCHLEY RD                            PO BOX 140
BOCA RATON FL 33496                   WINDSOR NY 13865                            SOUTH GIBSON PA 18842




LYMAN, WILLIAM VAUGHAN                LYNAM JR, JAMES P                           LYNANN EVERETT
15476 CELTIC STREET                   470 BROOKSIDE                               PO BOX 506
MISSION HILLS CA 91345                ALGONQUIN IL 60102                          KRESGEVILLE PA 18333




LYNCH II, FLOYD D                     LYNCH, AMY                                  LYNCH, CURTIS
1206 LEBANON RD                       6430 N RURAL ST                             3258 KIOWA CT
SPRING GROVE VA 23881                 INDIANAPOLIS IN 46220                       REX GA 30273




LYNCH, DAVID A                        LYNCH, ED                                   LYNCH, ED
2116 N NORDICA                        7832 E PARKVIEW LN                          1060 W ADDISON
CHICAGO IL 60707                      SCOTTSDALE AZ 85265                         CHICAGO IL 60613




LYNCH, ERIN                           LYNCH, FLOYD                                LYNCH, FREDERICK R
384 KATONA DRIVE                      1206 LEBANON RD                             1250 DEERFIELD CIRCLE
FAIRFIELD CT 06824                    SPRING GROVE VA 23881                       UPLAND CA 91784




LYNCH, JEAN W                         LYNCH, JOHN T                               LYNCH, MARCIA J
1004 YORK WARWICK DR                  11 LUMAR ROAD                               16459 WIMBLEDON LN
YORKTOWN VA 23692                     LAWRENCEVILLE NJ 08648                      HUNTINGTON BEACH CA 92649




LYNCH, MARY ANNE                      LYNCH, MARYANN                              LYNCH, MATTHEW
109 WHITMAN AVE                       2705 SHERMAN STREET                         1224 W EDDY NO.1
WEST HARTFORD CT 06107                HOLLYWOOD FL 33020                          CHICAGO IL 60657




LYNCH, MICHAEL                        LYNCH, RAYMOND                              LYNCH, RICHARD A
218 WINTHROP ST APT 2                 1223 NE 12 AVENUE                           8761 112TH ST APT 1R
NEW BRITAIN CT 06052                  FORT LAUDERDALE FL 33304                    RICHMOND HILL NY 11418




LYNCH, ROWENA                         LYNCH, RYAN                                 LYNCH, RYAN
1564 6TH STREET                       5445 N SHERIDAN NO.3011                     7550 GLADSTONE AVE
WEST PALM BEACH FL 33401              CHICAGO IL 60640                            NAPERVILLE IL 60560




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LYNCH, STACEY                         LYNCH, THOMAS P                            LYNDA BOLDEN
1001 36TH ST APT NO. T-142            328 EAST LIBERTY                           8024 SOUTH KIMBARK
WEST PALM BEACH FL 33407              MILFORD MI 48381                           CHICAGO IL 60619




LYNDA BORRECA                         LYNDA COM INC                              LYNDA HAYDEN
7 HOLLY COURT                         4171 MARKET ST                             221 RYAN DRIVE
MIDDLE ISLAND NY 11953                VENTURA CA 93003                           RISING SUN MD 21911




LYNDA HILL                            LYNDA KEARNEY                              LYNDA TARAVELLA
500 N MADISON AVENUE                  203 RIVER ROAD                             5474 JEAN DRIVE
LOS ANGELES CA 90004                  NEWPORT NEWS VA 23601                      ORLANDO FL 32822




LYNDAL ENTERTAINMENT, INC.            LYNDI GULLY                                LYNDIE WELLS
2337 LEMOINE AVENUE                   1435 W. 37TH DRIVE                         3403 PAISLEY POINTE
FORT LEE NJ 07024                     LOS ANGELES CA 90018                       WHITESTOWN IN 46075




LYNDON JOHNSON                        LYNDSAY SUTTON                             LYNELL GEORGE
708 32ND STREET                       667 JAMESTOWN BLVD.                        1388 RUTAN WAY
APT D                                 #1067                                      PASADENA CA 91104
SAN PEDRO CA 90731                    ALTAMONTE SPRINGS FL 32714



LYNETRIC BRIGHTFUL                    LYNETTE FORNEY                             LYNETTE HUDSON
2216 CEDLEY STREET                    5105 DEL ROY                               P.O. BOX 11
BALTIMORE MD 21230                    DALLAS TX 75229                            ELLOREE SC 29047




LYNETTE JOHNSON                       LYNETTE NORRIS                             LYNETTE ROMERO
9933 CARILLON DRIVE                   1318 SOUTH MERIDIAN                        115 S. IRVING BLVD.
ELLICOTT CITY MD 21042                TALLAHASSEE FL 32301                       LOS ANGELES CA 90004




LYNETTE ROWLANDS                      LYNETTE WILLIAMS                           LYNLEY ARATO
2239 NORTH LINCOLN                    35 SHADY TREE CT.                          3102 DRURY LANE
CHICAGO IL 60614                      YORK PA 17402                              CARPENTERSVILLE IL 60110




LYNN A MC ILWAIN                      LYNN ANDERSON                              LYNN BADEN
626 N LYALL AVENUE                    604 HARDING PLACE                          1118 STARFISH LANE
WEST COVINA CA 91790                  BALTIMORE MD 21211                         TARPON SPRINGS FL 34689




LYNN BURGESS                          LYNN BURKE                                 LYNN CHI
390 PROSPECT AVENUE                   1009 ROCKBRIDGE COURT                      2738 FALLING LEAF AVENUE
4D                                    CHESAPEAKE VA 23320                        ROSEMEAD CA 91770
HACKENSACK NJ 07601




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LYNN COSTA                           LYNN DOAN                                  LYNN H EVERS
5999 SERENA ST.                      250 MAIN STREET                            4668 EAST RAKESTRAW LANE
UNIT B                               APT #830                                   GILBERT AZ 85297
SIMI VALLEY CA 93063                 HARTFORD CT 06106



LYNN HAMMOND                         LYNN HARPER                                LYNN HOFER
5637 N KENMORE AVE                   668 GOODALE HILL ROAD                      5130 SW 26TH AVENUE W
CHICAGO IL 60660                     GLASTONBURY CT 06033                       FORT LAUDERDALE FL 33312




LYNN HULICK                          LYNN J PAULSON                             LYNN MEERSMAN
12 BELLROCK COURT                    660 DELAWARE DRIVE                         P.O. BOX 41454
BALTIMORE MD 21236                   CLAREMONT CA 91711                         LOS ANGELES CA 90041




LYNN MULCAHY                         LYNN PETRY                                 LYNN POWELL
46 HALADA DRIVE                      70 ROY AVENUE                              146 BAY STREET
LAKE GEORGE NY 12845                 MASSAPEQUA NY 11758                        #3
                                                                                GLENS FALLS NY 12801



LYNN SEAMAN                          LYNN SMITH                                 LYNN STEPHENS
53 GREENWICH PLACE                   1622 1/2 W. OCEANFRONT                     1126 PATRICIA DRIVE
BALTIMORE MD 21208                   NEWPORT BEACH CA 92663                     ALLENTOWN PA 18103




LYNN TORREY                          LYNN TRAN                                  LYNN TYLKOWSKI
325 NORTH AVENUE 59                  2330 KELBURN AVENUE                        1010 NORTH BRANCH ROAD
LOS ANGELES CA 90042                 ROSEMEAD CA 91770                          GURNEE IL 60031




LYNN ULOSWCEH                        LYNN VANMATRE                              LYNN, BRAD
7404 RIDGEFIELD LANE                 15 S BLAINE                                842 W TIOGA ST
TINLEY PARK IL 60487                 HINSDALE IL 60521                          ALLENTOWN PA 18103




LYNN, SHARON A                       LYNNDA VINCENT                             LYNNE ABBOTT
20 LONG BRIDGE RD                    6925 JAMIESON AVE                          14751 BRANBURY PLACE
HAMPTON VA 23669                     RESEDA CA 91335                            TUSTIN MEADOWS CA 92780-6638




LYNNE ADAMSON                        LYNNE ANGLIN                               LYNNE BLAIS
6102 N. SHERIDAN                     6310 E. RUNNYMEDE CT.                      3017 WINDHILL LANE
403                                  CAMBY IN 46113                             DYER IN 46311
CHICAGO IL 60660



LYNNE CAREY                          LYNNE DELUCIA-MILLEA                       LYNNE DUGUAY
183 COVENTRY LA                      640 PROSPECT STREET                        18 WHIRLAWAY BLVD
NEWPORT NEWS VA 23602                NEW HAVEN CT 06511                         GANSEVOORT NY 12831




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LYNNE GOLDSTEIN                      LYNNE GORDON ENTERTAINMENT                 LYNNE HEFFLEY
7829 ASHMONT CIRCLE                  P O BOX 1648                               PO BOX 3546
TAMARAC FL 33321                     PACIFIC PALISADES CA 90272                 SOUTH PASADENA CA 91030




LYNNE HERMANSEN                      LYNNE KERGER                               LYNNE MASTON
1720 W CATALPA AVE                   9226 S. WINCHESTER                         67 HARRIS DRIVE
APT # 1                              CHICAGO IL 60620                           NEWINGTON CT 06111
CHICAGO IL 60640



LYNNE SEGALL                         LYNNE STURDIVANT                           LYNNE TUOHY-REGAN
8436 HAROLD WAY                      11450 LITTLE PATUXENT                      P.O. BOX 122
LOS ANGELES CA 90069                 #603                                       NEWBURY NH 03255
                                     COLUMBIA MD 21044



LYNNE WESTAFER                       LYNNE, REBECCA                             LYNORE MICHOS
4248 DIVISION ST                     14129 60TH AVE W                           2617 BUCKINGHAM ROAD
LOS ANGELES CA 90065                 EDMONDS WA 98026                           ELLICOTT CITY MD 21043




LYNSEY PRICE                         LYNWANDER, AMY                             LYNX CENTRAL FLORIDA REGIONAL
5555 N CUMBERLAND                    822A S BOND ST                             PO BOX 917586
UNIT # 605                           BALTIMORE MD 21231                         ORLANDO FL 32891
CHICAGO IL 60656



LYNX CENTRAL FLORIDA REGIONAL        LYON, AUSTIN                               LYON, JEN
TRANSPORTATION AUTHORITY             1110 SW IVANHOE BLVD UNIT 33               249 SMITH ST NO.184
445 W AMELIA STREET                  ORLANDO FL 32804                           BROOKLYN NY 11231
SUITE 800
ORLANDO FL 32801


LYON, LAWRENCE M                     LYONS TECH                                 LYONS TECH
1921 CHANTICLEER ROAD                6820 LYONS TECHNOLOGY CIRCLE               6820 LYONS TECHNOLOGY CIRCLE
ANAHEIM CA 92804                     COCONUT CREEK FL 33073                     SUITE 100
                                                                                COCONUT CREEK FL 33073



LYONS, CHRISTINE                     LYONS, ERIC                                LYONS, KREESHON S
6446 W FAIRFIELD                     15437 NW 12TH CT                           3444 TRENTSHIRE DR
BERWYN IL 60402                      PEMBROKE PINES FL 33028                    CANAL WINCHESTER OH 43110




LYRIC CENTER ENTERPRISES INC.        LYSANNE ROBERTS                            LYSEIGHT, YOLANDE
C/O U S PROPERTY MANAGEMENT          14 NORTHUP DRIVE                           4150 NW 34TH ST NO.311
440 LOUISIANA STE 300                QUEENSBURY NY 12804                        LAUDERDALE LAKES FL 33319
HOUSTON TX 77002



LYSIAK, MATTHEW                      LYTAL, CRISTY                              LYTLE, ELLEN B
235 79TH STREET                      22235 CRAFT CT                             2905 WINCHESTER DR    APT B
BROOKLYN NY 11209                    CALABASAS CA 91302                         VALPARAISO IN 46383




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LYTLE, EMILY                           LYTWYN, LARISSA                            LYU, HAN GYEOL
1428 W SUMMERDALE NO. 1                87 PERA PL                                 36 KOHRING CIRCLE
CHICAGO IL 60640                       FAIRFIELD CT 06825                         HARRINGTON PARK NJ 07640




M & L NEWS                             M & L NEWS                                 M & M DISTRIBUTORS
119 WINDOWS WAY                        PO BOX 64644                               2271 B PENTLAND DRIVE
TELFORD PA 18969                       SOUDERTON PA 18964                         BALTIMORE MD 21234




M & M GEARY BOILER INC                 M & R FENCES AND BUILDING SUPPLIES         M BOZENA SYSKA
P O BOX 628                            2100 NW 8 AVENUE                           43 PINE BLVD
MELVILLE NY 11747                      MIAMI FL 33127                             PATCHOGUE NY 11772




M CARMEN RIVERA                        M CHRISTINE HANLEY                         M DANIEL GIBBARD
3111 APPLEWOOD DRIVE                   1375 SUNFLOWER AVE                         415 WEST WILSHIRE DRIVE
BETHLEHEM PA 18020                     COSTA MESA CA 92626                        WILMETTE IL 60091




M DAVID NICHOLS                        M DEBBAN                                   M FRENKEL COMMUNICATIONS
5114 WEST CORNELIA AVE.                4443 ATOLL AVENUE                          503 STONEWALL CT
CHICAGO IL 60641                       SHERMAN OAKS CA 91423                      WYCKOFF NJ 07481




M JEAN MERL                            M JOSEPHINE HART                           M LYNN SIMROSS
485 25TH STREET                        1540 W. ALBION                             3406 ROBBINS ROAD
HERMOSA BEACH CA 90254                 2E                                         POMPANO BEACH FL 33062
                                       CHICAGO IL 60626



M MODEL MANAGEMENT                     M R SHAMROCK                               M ROSE FORASTIERE
8101 MELROSE AVE STE 203               SHAMROCK VILLAGE APARTMENTS                418 FAIRFIELD AVENUE
LOS ANGELES CA 90046                   3711 SHAMROCK ST WEST                      HARTFORD CT 06114
                                       TALLAHASSEE FL 32309



M SCHUSTER INC                         M WEISS & ASSOCIATES PC                    M&B INC
3107 PRISILLA AVENUE                   41 BAYARD ST                               122 WALDON RD     APT C
HIGHLAND PARK IL 60035                 NEW BURNSWICK NJ 08901                     ABINGDON MD 21009




M&C ENTERPRISE INC                     M&M PRODUCTION DESIGN INC                  M&M PRODUCTION DESIGN INC
13164 LAZY GLEN LANE                   5752 N TALMAN AV                           5915 W RACE AVE
OAK HILL VA 20171                      CHICAGO IL 60659                           CHICAGO IL 60644-1463




M&M SPORTS                             M&M SPORTS                                 M&S DISTRIBUTION
1010 W. FULLERTON AVE SUITE A          9622 WEST GRAND AVENUE                     621 E CENTER ST
ADDISON IL 60101                       FRANKLIN PARK IL 60131                     SANDWICH IL 60548




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M-VISION GRAPHICS                       M-VISION GRAPHICS                          M. M. HAYES COMPANY INC
7707 FIRESTONE BLVD                     8101 ORANGETHORPE                          16 THE SAGE ESTATE
DOWNEY CA 90241                         BUENA PARK CA 90621                        ALBANY NY 12204




M2 MEDIA CONSULTING                     M3                                         M3 GRAPHIC GROUP LTD
401 NW 21ST COURT                       11914 BEACH CLUB WAY                       250 HUDSON ST 3RD FLR
WILTON MANORS FL 33311                  MALIBU CA 90265                            NEW YORK NY 10013




M3 INC                                  M3 PROMOTIONS INC                          MA CARTNEY, MARY
1414 FAIR OAKS AVE SUITE NO.3           505 8TH AVE  STE 704                       519 WILLOW RD
SOUTH PASADENA CA 91030                 NEW YORK NY 10018                          HELLERTOWN PA 18055




MA, KELVIN                              MAAR, NANCY                                MABEL HADDOCK
10 DARLENE DR                           92 CEDAR ST APT F15                        182 GENOVA COURT
SOUTHBORO MA 01772                      SOUTH NORWALK CT 06854                     FARMINGDALE NY 11735




MABEN, TROY D                           MABRY, JOHN                                MABRY, KIESHENNA R
1522 W RIVER ST                         715 BELLERIVE MANOR DR                     245 SETTLERS LANDING RD
BOISE ID 83702                          SAINT LOUIS MO 63141                       HAMPTON VA 23669




MAC ADAM MAIL AND COURIER INC           MAC COSMETICS                              MAC COSMETICS
P O BOX 1625                            5482 COLLECTIONS CENTER DR                 7 CORP CTR DR
WALNUT CA 91788-1625                    CHICAGO IL 60693                           MELVILLE NY 11747




MAC PAPERS INC                          MAC PAPERS INC                             MAC PAPERS INC
5900 NW 176 ST                          PO BOX 172640                              PO BOX 590115
MIAMI FL 33015                          MIAMI FL 33017-2640                        ORLANDO FL 32819




MAC PAPERS INC                          MACADAMS, LEWIS                            MACARRO, WENDY
PO BOX 860166                           215 W 7TH ST NO.908                        338 PARKSIDE DR
ORLANDO FL 32886-0166                   LOS ANGELES CA 90014                       MACUNGIE PA 18062




MACARTNEY, ROSA V                       MACAULAY, LEYLA                            MACBAIN PRINTING COMPANY
7910 NW 14 ST                           8800 SHORE FRONT PKW                       1301-B GOVERNOR CT
PEMBROKE PINES FL 33024                 APT 9U                                     ABINGDON MD 21009
                                        ROCKAWAY BEACH NY 11693



MACDANIEL INC                           MACDONALD ADVERTISING SERVICES INC         MACDONALD ADVERTISING SERVICES INC
21673 SUTTERS LANE                      14 N. 2ND STREET                           302 FERRY ST
BOCA RATON FL 33428-2418                LAFAYETTE IN 47901                         LAFAYETTE IN 47901




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MACDONALD ADVERTISING SERVICES INC     MACDONALD, BRUCE W                         MACDONALD, GAIL B
302 FERRY ST 3RD FLR                   354 CLUB VIEW DRIVE                        26 STANTON ST
LAFAYETTE IN 47901                     GREAT FALLS VA 22066                       PAWCATUCK CT 06379




MACDONALD, GLEN                        MACDONALD, HEATHER                         MACDONALD, JAKE
2133 BASSWOOD CT                       245 E 93RD ST NO.15-C                      251 BEAVERBROOK ST
WESTLAKE VILLAGE CA 91361              NEW YORK NY 10128-3956                     WINNIPEG MB R3N 1M7




MACDONALD, MICHAEL                     MACDONALD, SCOTT G                         MACE, LAURA L
1822 SYCAMORE RD                       289 WALTON WAY                             809 N KIOWA STREET
HOMEWOOD IL 60430                      ROSEVILLE CA 95678                         ALLENTOWN PA 18109




MACEDO, CARLOS                         MACGILLIS, DANIEL A.                       MACGREGOR AUTOMATION CONTROLS
1722 SW 7 DRIVE                        356 GOODNOW BLVD 00761                     360 WINDY POINT DRIVE
POMPANO BEACH FL 33060                 ROUND LAKE IL 60073                        TOM X152
                                                                                  ACCT 2644
                                                                                  GLENDALE HEIGHTS IL 60139


MACGREGOR AUTOMATION CONTROLS          MACGREGOR, HILARY                          MACGREGOR, LAURIE
PO BOX 92170                           2014 N LAS PALMAS AVE                      10835 LA GRANDE AVENUE
ELK GROVE IL 60009                     LOS ANGELES CA 90068                       LOS ANGELES CA 90025




MACHADO, ELENA                         MACHADO, MERCEDES                          MACHADO, SHERYL
3436 CHATELAINE BLVD                   160 NW 95TH LN                             1250 STAGE RUN TRAIL
DELRAY BEACH FL 33445                  CORAL SPRINGS FL 33071                     ELIZABETH CO 80107




MACHEL WILLIAMS                        MACHENRY,FRANK                             MACHENRY,KIMBERLY
25 IRVING AVENUE                       2041 NW 84 WAY                             2041 NW 84 WAY
WYANDANCH NY 11798                     SUNRISE FL 33322                           SUNRISE FL 33322




MACHI, MARIO ROBERT                    MACHIAN, CHRIS                             MACHINE SOLUTIONS INC
1022 NORTH SECOND ST     APT 102       5424 LEAVENWORTH                           2921 ELBRIDGE ST
PHILADELPHIA PA 19123                  OMAHA NE 68106                             PHILADELPHIA PA 19149




MACHINE SOLUTIONS INC                  MACHUCA, MANFRE                            MACIAS, ALEXANDRA
PO BOX 7066                            4921 RIVERSIDE DR                          1927 W 22ND PL
PHILADELPHIA PA 19149                  CORAL SPRINGS FL 33067                     CHICAGO IL 60608




MACIOCH, KATARZYNA                     MACK BROWNING                              MACK MILLER
230 E FOREST KNOLL DR                  648 HOLLY LANE                             5579 BONNIE ST.
PALATINE IL 60074                      PLANTATION FL 33317                        SAN BERNARDINO CA 92404




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MACK, ALEXANDEIA                         MACK, JONATHAN                             MACK, PAUL M
8102 FAIRNGTON VILLAGE DR                64 B FIRWOOD RD                            29W381 EMERALD GREEN DRIVE NO.G
LITHONIA GA 30038                        PORT WASHINGTON NY 11050                   WARRENVILLE IL 60555




MACKEEN, DAWN A                          MACKENSON METAYER                          MACKENZIE COMMERCIAL REAL ESTATE
1675 GOLDEN GATE AVE                     3611 NW 35TH TERRACE                       SERVICES LLC, RE: TOWSON 29
LOS ANGELES CA 90026                     FORT LAUDERDALE FL 33309                   2328 WEST JOPPA ROAD, SUITE 200
                                                                                    LUTHERVILLE MD 21093



MACKENZIE MURNANE                        MACKENZIE, JOANNA TOPOR                    MACKENZIE, ROSS
4647 SUNSET AVENUE                       2018 W GRACE ST NO.2                       1077 SHALLOWELL ROAD
INDIANAPOLIS IN 46208                    CHICAGO IL 60618                           SABOT VA 23103




MACKEY, JON W                            MACKIN, TERRENCE                           MACKINAW HARVEST MUSIC GROUP INC
PO BOX 252                               510 NORTH ST                               347 NATIONAL AVE NW
WILLIAMSPORT PA 17703                    GREENWICH CT 06830                         GRAND RAPIDS MI 49504




MACKINNEL, KYLE                          MACKINNEY SYSTEMS                          MACKINNEY SYSTEMS
637 1/4 W 30TH ST                        2740 S GLENSTONE                           4411 E STATE HIGHWAY D
LOS ANGELES CA 90007                     SUITE 103                                  SUITE F
                                         SPRINGFIELD MO 65804                       SPRINGFIELD MO 65809



MACKINNEY SYSTEMS                        MACKLIN, ERIC                              MACLEITH, DANIEL
NO. 103 2740 S. GLENSTONE                1606 HILE AVE                              POSTAL CODE 780-0816
SPRINGFIELD MO 65804                     LONG BEACH CA 90804                        KOCHI PREFECTURE KOCHI CITY
                                                                                    MINAMI HOEICHO 19-1
                                                                                    NEOCLEMENT NO.41


MACLEITH, DANIEL                         MACMILLAN, THOMAS                          MACMILLAN,MICHAEL R
12102 LE ANN DRIVE                       838 WHALLEY AVE APT NO.3                   3122 N PAULINA STREET
GARDEN GROVE CA 92840                    NEW HAVEN CT 06515                         CHICAGO IL 60657




MACMUNNIS INC                            MACNEAL, MARTIN                            MACOLLVIE JEAN-FRANCOIS
1840 OAK AVENUE SUITE 300                POB 1135                                   2746 SW 15TH STREET
EVANSTON IL 60201                        HARTFORD CT 06143                          DEERFIELD BEACH FL 33442




MACON TELEGRAPH                          MACON, PEGGY B                             MACPHERSON, JAMES
PO BOX 4167                              1060 BUCKHURST DR                          116 LISA DR
MACON GA 31208-4167                      COLLEGE PARK GA 30349                      SOUTH WINDSOR CT 06074




MACSATA, DOLORIS                         MACSATA, JOE                               MACTIVE
358 W WAKEFIELD BLVD                     358 W WAKEFIELD BLVD                       410 WICKHAM ROAD STE 100
WINSTED CT 06098-2927                    WINSTED CT 06098                           MELBOURNE FL 32935




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MACTIVE USERS GROUP                      MACTIVE USERS GROUP                        MACTIVE USERS GROUP
901 SIXTH ST                             PO BOX 2831                                14112 GREENFIELD
DAYTONA BEACH FL 32117                   DAYTON BEACH FL 32120-2831                 OMAHA NE 68138




MACWITHEY, CAROLYN                       MAD SCIENCE OF WESTERN NE                  MADADI, YASMIN
1534 ALBY DR                             PO BOX 1265                                62 CORPORATE PARK NO.135
APOPKA FL 32712                          NORTHAMPTON MA 01060                       IRVINE CA 92606




MADANMOHAN PARTHASARATHY                 MADAY PHOTOGRAPHY                          MADDEN LUNSFORD, KERRY
231 DEWDROP                              2141 W NORTH AVE                           1514 ELEVADO ST
IRVINE CA 92603                          CHICAGO IL 60647                           LOS ANGELES CA 90026




MADDEN, RHONDA LYNN                      MADDOCKS, CHRISTOPHER                      MADDOX, JOYCE
4104 KENNY GREEN CT                      855 MOUNTAIN RD                            930 S BONNIE BRAE NO. 116
RANDALLSTOWN MD 21133-5301               W HARTFORD CT 06117-1146                   LOS ANGELES CA 90006




MADDOX, JOYCE                            MADDUX,GREG                                MADELEINE MATHIAS
930 S BONNIE BRAE NO. 116                36 INNISBROOK                              233 MCCARTNEY STREET
LOS ANGELES CA 90016                     LAS VEGAS NV 89113                         EASTON PA 18042




MADELIN ACOSTA                           MADELINE A JOHANSEN                        MADELINE B SNOW
1912 MONROE STREET                       80 WILLOW STREET                           4401 CENTER ST
APT 207                                  CENTRAL ISLIP NY 11722                     LISLE IL 60532
HOLLYWOOD FL 33020



MADELINE CRUZ                            MADELINE GRACE                             MADELINE STRICKLAND
542 W. GREENLEAF STREET                  825 SOUTH HIGH STREET                      525 N. LOMBARD AVE
ALLENTOWN PA 18102                       DENVER CO 80209                            LOMBARD IL 60148




MADELINE WEBER                           MADELON J BROWN                            MADELYN ALTMAN
7200 THIRD AVE.                          6933 WHITE PINE PLACE NE                   2669 MISSION VALLEY DRIVE
C-106                                    ALBUQUERQUE NM 87109                       SAN DIEGO CA 92123
SYKESVILLE MD 21784



MADELYN DELLERE                          MADELYN MATTHEWS                           MADER NEWS DISPATCH
8428 EVERETT WAY                         1235 GLENWOOD ROAD                         PO BOX 10006
#B                                       WANTAGH NY 11793                           GREEN BAY WI 54307-0006
ARVADA CO 80005



MADER NEWS INC                           MADERA, JACQUELINE                         MADGE WILSON
913 RUBERTA AVE                          27 CHAPMAN ST                              3611 HOLLYBERRY ST
GLENDALE CA 91201-2346                   NEWINGTON CT 06111                         HAMPTON VA 23661




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MADHANI, AAMER                       MADHANI, AAMER                             MADHANI, AAMER
1202 P STREET NW                     1618 R STREET NW APT 203                   1619 R STREET NW APT 203
APT. #2                              WASHINGTON DC 20009                        WASHINGTON DC 20009
WASHINGTON DC 20005



MADHOUSE                             MADIGAN, CHARLES                           MADISON CALDWELL
4727 KENSINGTON COURT                428 BARTON AVE                             32290 1ST AVE SOUTH
ARLINGTON TX 76016                   EVANSTON IL 60202                          UNIT 114
                                                                                FEDERAL WAY WA 98003



MADISON CORPORATE GROUP INC          MADISON CORPORATE GROUP, INC.              MADISON CORPORATE GROUP, INC.
PO BOX 71730                         RE: CRYSTAL LAKE 2C CRYSTAL                RE: CRYSTAL LAKE 2C CRYSTAL
CHICAGO IL 60694-1730                650 ROOSEVELT ROAD, SUITE 204              P.O. BOX 71730
                                     FOR THE ACCOUNT OF CRYSTAL LAKE L.P.       CHICAGO IL 60694-1730
                                     GLEN ELLYN IL 60137


MADISON MARTIN                       MADISON NEWSPAPERS INC                     MADISON PARK
22757 EAST PRENTICE AVENUE           1901 FISH HATCHERY ROAD                    9312 INDIAN TRAIL WAY
AURORA CO 80013                      PO BOX 14080                               PERRY HALL MD 21128
                                     MADISON WI 53714-0080



MADISON SQUARE GARDEN                MADISON SQUARE GARDEN LP                   MADISON SQUARE GARDEN LP
GENERAL POST OFFICE                  ATTN VP & CONTROLLER                       FOUR PENNSYLVANIA PLAZA
P. O. BOX 26067                      2 PENNSYLVANIA PLAZA                       SUBSCRIPTION & GROUP SALES DPT
NEW YORK NY 10087                    14TH FL                                    NEW YORK NY 10001
                                     NEW YORK NY 10121


MADISON SQUARE GARDEN LP             MADISON SQUARE GARDEN LP                   MADLOCK, BILL
GENERAL POST OFFICE                  TWO PENNSYLVANIA PLAZA                     5600 E RUSSEL
PO BOX 26067                         NEW YORK NY 10121-0091                     LAS VEGAS NV 89122
NEW YORK NY 10087-6067



MADLOCK, BILL                        MADMON, EL                                 MADONGORERE, JOSEPHINE
5600 E RUSSELL                       742 N ORANGE DR                            310 MONTEREY PARKWAY
LAS VEGAS NV 89122                   LOS ANGELES CA 90038                       ATLANTA GA 30350




MADSEN, ERIC BRETT                   MAE BACH                                   MAE CHENG-PAVON
2753 HAMPTON CIRC ST                 9177 SVL BOX                               137 E. 36TH STREET
DELRAY BEACH FL 33445                VICTORVILLE CA 92395                       APT #15E
                                                                                NEW YORK NY 10016



MAE HAWLEY                           MAEDER, JAY                                MAENZA, JOE ROCCO
187 COTTON HILL ROAD                 235 W 48TH ST NO.24C                       1117 N LAUREL AVE NO.3
NEW HARTFORD CT 06057                NEW YORK NY 10036                          WEST HOLLYWOOD CA 90046




MAES STUDIO INC                      MAES, NANCY                                MAESTAS, LINDSAY
167 N RACINE NO.1                    2426 W LUNT AVE                            5040 WAGONMASTER
CHICAGO IL 60607                     APT D1                                     COLORADO SPRINGS CO 80917
                                     CHICAGO IL 60645




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MAEVE RESTON                             MAFFI, NORA                               MAG MEDIA
720 E KENSINGTON ROAD                    8307 NW 68TH STREET, SUITE A1243          18 LOWELL AVE
LOS ANGELES CA 90026                     MIAMI FL 33166-2654                       SUMMIT NJ 07901




MAG MEDIA                                MAG-TROL DISTRIBUTORS INC                 MAGALIE MONPLAISIR
248 NIMITZ AVE                           5915 SHEILA ST                            602 LEONARD AVENUE
STATE COLLEGE PA 16801                   LOS ANGELES CA 90040-2402                 UNIONDALE NY 11553




MAGALLANES, HERASMO                      MAGALY JERNIGAN                           MAGALY PEDRAZA
C/EI SOL NO.21 EL RADIANTE VILLA MELLA   1101 LASCALA DR.                          133A FAIRWAY DRIVE
SANTO DOMINGO                            WINDERMERE FL 34786                       WETHERSFIELD CT 06109




MAGAN, MANCHAN                           MAGANA, MARIA C                           MAGAZINE PUBLISHERS OF AMERICA, INC.
CUMMERSTOWN                              226 N CLINTON ST NO.324                   810 SEVENTH AVE 24TH FLOOR
COLLINSTOWN WESTMEATH                    CHICAGO IL 60661                          NEW YORK NY 10019
COLLINSTOWN



MAGAZINE PUBLISHERS OF AMERICA, INC.     MAGAZINE RETAIL ENTERPRISES               MAGAZINE RETAIL ENTERPRISES
919 THIRD AVE                            ATTN LAURIE ERICKSON                      1271 AVENUE OF THE AMERICAS
NEW YORK NY 10022                        1 NORTH DALE MABRY HWY                    NEW YORK NY 10020
                                         TAMPA FL 33609



MAGDA LAMOUR                             MAGDALEN MCCOMISH                         MAGDALENA MARTINEZ
111 MAPLEWOOD AVENUE                     3125 PENNSYLVANIA AVENUE                  1404 N. LASALLE STREET
HEMPSTEAD NY 11550                       # 107                                     CHICAGO IL 60610
                                         DUBUQUE IA 52001



MAGDALENA SOBOTKO                        MAGDALENA TAYLOR                          MAGDALENE LAW
580 ROSEVALE AVENUE                      6448 S. EBERHART                          556 LAFAYETTE SE
LAKE RONKONKOMA NY 11779                 CHICAGO IL 60637                          APT 2
                                                                                   GRAND RAPIDS MI 49503



MAGDALENE PEREZ                          MAGDALIS BENITEZ                          MAGDITS, ROBERT
601 WEST 173RD STREET                    P.O. BOX 620831                           1400 NW 45 STRET NO.B2
APT. 42                                  ORLANDO FL 32862                          POMPANO BEACH FL 33064
NEW YORK NY 10032



MAGELLAN BEHAVIORAL HEALTH               MAGELLAN BEHAVIORAL HEALTH                MAGELLAN BEHAVIORAL HEALTH
6950 COLUMBIA GATEWAY DRIVE              PO BOX 502470                             LOCK BOX 4295
COLUMBIA MD 21046                        ST LOUIS MO 63150-2470                    W4295 MBH HEALTHPLAN
                                                                                   PO BOX 7777
                                                                                   PHILADELPHIA PA 19175-4295


MAGELLAN BEHAVIORAL HEALTH               MAGELLAN BEHAVIORAL HEALTH                MAGELLAN BEHAVIORAL HEALTH
LOCKBOX NO. 785341                       PO BOX 7777                               W4050 PO BOX 7777
MAGELLAN LOCKBOX                         LOCKBOX 4295                              PHILADELPHIA PA 19175-4050
PO BOX 785341                            PHILADELPHIA PA 19175-4295
PHILADELPHIA PA 19178




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MAGETO, JACK                           MAGGI, EDWARD                              MAGGIE FURLONG
3521 BROOK GLEN DR                     5842 ARTHUR ST.                            1134 TWENTY-THIRD STREET
GARLAND TX 75044                       HOLLYWOOD FL 33021                         2
                                                                                  SANTA MONICA CA 90403



MAGGIE HALL                            MAGGIE MCKENNA                             MAGGIE WARTIK
7412 4TH AVE SOUTH                     5200 INDEPENDENCE ROAD                     1948 N. CLEVELAND AVE
BIRMINGHAM AL 35206                    WELDON SPRINGS MO 63304                    #2
                                                                                  CHICAGO IL 60614



MAGGIE WILDEROTTER                     MAGGIO, CESAR                              MAGGIPINTO, DIANE
C/O TRIBUNE COMPANY                    660 NE 8TH COURT                           2827 S 1000 E
435 N. MICHIGAN AVENUE                 POMPANO BEACH FL 33060                     SALT LAKE CITY UT 84106
CHICAGO IL 60611



MAGGIPINTO, DIANE                      MAGHEN ELECTRIC                            MAGHINI, KATHRYN A
2827 S 1000 E                          5183 LINDLEY AVE                           565 CLARK AVE NO.24
SALT LAKE CITY UT 84109                TARZANA CA 91356                           BRISTOL CT 06010




MAGHINI,ROBERT                         MAGID GLOVE & SAFETY MFG CO LLC            MAGID, RONALD ALAN
19 BEECHWOOD LANE                      2060 N KOLMAR AVENUE                       10607 WELLWORTH AVENUE
BRISTOL CT 06010-2502                  CHICAGO IL 60639-3483                      LOS ANGELES CA 90024




MAGLIULO, VINCENT P                    MAGNER, ERIN E                             MAGNESS, KAREN
171 LAUREL ST APT 235                  637 N BRONSON AVE NO.306                   1417 HUNTFIELD WAY
BRISTOL CT 06010                       LOS ANGELES CA 90004                       JARRETTSVILLE MD 21084




MAGNET LA                              MAGNET LA                                  MAGNET LA
1531 N CAHUENGA BLVD                   1777 N VINE ST 5TH FLR STE 502             1777 N VINE STREET 5TH FLOOR
HOLLYWOOD CA 90028                     LOS ANGELES CA 90028                       SUITE 502
                                                                                  HOLLYWOOD CA 90028



MAGNET LA                              MAGNET REPS                                MAGNET REPS
6363 WILSHIRE BLVD SUITE 650           3450 VINTON AVE                            1685 H ST NO.219
LOS ANGELES CA 90048                   LOS ANGELES CA 90034                       BLAINE WA 98230




MAGNI SYSTEMS INC                      MAGNIER, MARK                              MAGNO SOUND
22965 NW EVERGREEN PRKWY               TOKYO BUREAU                               729 SEVENTH AVE
HILLSBORO OR 97124                     LA TIMES FOREIGN DESK                      NEW YORK NY 10019
                                       202 W 1ST ST
                                       LOS ANGELES CA 90053


MAGNUSON, KATHY KRISTOF                MAGNUSON, KATY                             MAGRASSI, LISA
905 GREEN LANE                         1042 MOLINO AVE NO.201                     178 WEST STAFFORD RD
LA CANADA CA 91011                     LONG BEACH CA 90804                        STAFFORD SPRINGS CT 06076




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MAGRISSO FORTE LLC                       MAGRO REALTY 11 LLC                        MAGRO REALTY 11 LLC
46 BLAKE ST                              10 HULSE ROAD                              10 HUSE ROAD
NEW HAVEN CT 06511                       EAST SETAUKET NY 11733                     EAST SETAUKET NY 11733




MAGRO, ELEANOR                           MAGS EXPRESS                               MAGUIRE, PETER HARLAN
110 EAST SHORE DRIVE                     PO BOX 2756                                35 WEST 81 STREET APT 2A
MASSAPEQUA NY 11758                      NEW YORK NY 10116                          NEW YORK NY 10024




MAGUIRE, ROBERT                          MAGUIRE, ROBERT B                          MAGUIRE, ROBERT B
2225 SPRING HARBOR DR                    207 CHESTNUT AVE                           PO BOX 623
DELRAY BEACH FL 33445                    NARBERTH PA 19072-0623                     NARBERTH PA 19072-0623




MAGUIRE, SUSAN                           MAGUY DECEMBRE                             MAHAN, PAMELA E
300 EAST 57TH ST SUITE 5H                5600 SILVER STAR RD.                       807 LAS PALMAS RD
NEW YORK NY 10022                        #229                                       PASADENA CA 91105
                                         ORLANDO FL 32808



MAHANY, DAVID P                          MAHARBAN, BALWANTKOEMAR                    MAHARBAN, NARESHKUMAR
106 CUMBERLAND AVE      NO.2             144-11 105TH AVENUE                        144-11 105TH AVENUE
PORTLAND ME 04101                        JAMAICA NY 11435                           JAMAICA NY 11435




MAHARIDGE, DALE                          MAHARIDGE, DALE                            MAHER, DANIEL J
PO BOX 222                               601 WEST 115TH ST      NO.35               239 SHOE LANE
PETROLIA CA 95558                        NEW YORK NY 10027                          NEWPORT NEWS VA 23606




MAHER, DANIEL J                          MAHER, MARCI                               MAHER, ROGER
239 SHOE LANE                            2820 NW 52ND TERRACE                       23 83RD ST
NEWPORT NEWS VA 23608                    MARGATE FL 33063                           BROOKLYN NY 11209




MAHER, STEPHEN A                         MAHESHKUMAR DAVE                           MAHLMANN, LANCE C
121 DUNDALK AVE.                         236 FAITH COURT                            2515 COLBY AVE APT 513
BALTIMORE MD 21222                       SOUTHFIELD APT.                            EVERETT WA 98201
                                         NEWINGTON CT 06111



MAHLON BOYER                             MAHON, JAMES                               MAHON, JENNIFER
6609 S RAYMOND                           70 PERKINS ST NO.1                         41 MOUNT CARAMEL AVE
LOS ANGELES CA 90044                     NEW HAVEN CT 06513                         WATERBURY CT 06708




MAHONEY, DOREEN                          MAHONEY, WALTER F                          MAHOOD, LANE MAHAN
826 FERNHILL LN                          3946 HOWARD AVENUE                         1706 GURTLER COURT NO.3
WHITEHALL PA 18052                       WESTERN SPRINGS IL 60558                   ORLANDO FL 32804




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MAHR, KRISTA                           MAI, DIRK R                                MAI, PHILIP TRAN
28028 ELLA RD                          6689 EL COLEGIO RD APT 133                 17522 LUDLOW ST
RANCHO PALOS VERDES CA 90275           GOLETA CA 93117                            GRANADA HILLS CA 91344




MAID IN TALLAHASSEE                    MAIL TRIBUNE INC                           MAIL TRIBUNE INC
225 LAFAYETTE CIRCLE                   111 N FIR ST                               PO BOX 1108
TALLAHASSEE FL 32303                   MEDFORD OR 97501                           MEDFORD OR 97501




MAILANDER, JOSEPH F                    MAILING EQUIPMENT REPAIRS INC              MAILING RESOURCES
2401 ST GEORGE ST                      8481 SPRINGTREE DR NO.404B                 1156 FERGUSON RD
LOS ANGELES CA 90027                   SUNRISE FL 33351                           SEBASTOPOL CA 95472




MAILING RESOURCES                      MAILING RIVERA                             MAILINGS MADE EASY INC
887 JONIVE RD                          721 NORTH 8TH STREET                       80-82 WARREN STREET
SEBASTOPOL CA 95472                    ALLENTOWN PA 18102                         PO BOX 511
                                                                                  GLENS FALLS NY 12801



MAIN ELECTRIC SUPPLY CO                MAIN ELECTRIC SUPPLY CO                    MAIN LINE MEDIA INC
6700 S MAIN ST                         PO BOX 30180-GMS                           2421 BAYSHORE DR
LOS ANGELES CA 90003                   LOS ANGELES CA 90051                       NEWPORT BEACH CA 92663




MAIN ST DESIGN LLC                     MAINE DEPT OF                              MAINIERI, DEMIE
50 N MAIN ST                           ENVIRONMENTAL PROTECTION                   3050 NE 47TH COURT UNIT 603
BEL AIR MD 21014                       17 STATE HOUSE STATION                     FT LAUDERDALE FL 33308
                                       AUGUSTA ME 04333-0017



MAINIERI, DEMIE                        MAINLINE INFORMATION SYSTEMS               MAINSTAR SOFTWARE CORPORATION
6013 NW 67TH AVE                       PO BOX 402989                              PO BOX 28420
TAMARAC FL 33321                       ATLANTA GA 30384                           TEMPE AZ 85285-8420




MAINSTAR SOFTWARE CORPORATION          MAINSTAR SOFTWARE CORPORATION              MAIO, PATRICK
12011 NE 1 ST STE 102                  P O BOX 4132                               671 DELAWARE DR
BELLEVUE WA 98005                      BELLEVUE WA 98009                          CLAREMONT CA 91711




MAIORANO, KRISTIN                      MAIORINO, ALYSSA                           MAISTRI, KYLE
7235 ROXBURY CT                        241 VAN FLEET AVE                          11849 BRIAR PATCH CT
LONG GROVE IL 60060                    SOUTH PLAINFIELD NJ 07080                  WELLINGTON FL 33414




MAIZEL MCKENZIE                        MAJANO RIVERA, WILFREDO                    MAJEL PRINDIVILLE
129-29 133 STREET                      18804 YUKON AVENUE                         77703 ASHBERRY COURT
SOUTH OZONE PARK NY 11420              TORRANCE CA 90504                          PALM DESERT CA 92211




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MAJERI JR, ANTON                        MAJESTIC MANAGEMENT CO - YORBA           MAJESTIC MANAGEMENT CO - YORBA
9090 PROSPERITY WAY                     RE: CHINO 13971 YORBA AVE.               13191 CROSSROADS PRKWY NORTH, 6TH
FORT MYERS FL 33913                     13191 CROSSROADS PRKWY NORTH             CITY OF INDUSTRY CA 91746
                                        6TH FLOOR
                                        CITY OF INDUSTRY CA 91746


MAJESTIC REALTY CO. AND YORBA LINDA     MAJEWSKI, ADAM                           MAJEWSKI, ADAM
SUB, LLC, RE: CHINO 13971 YORBA AVE.    3922 N ASHLAND APT 2R                    5970 N ASHLAND   APT 2R
13191 CROSSROADS PARKWAY NORTH,         CHICAGO IL 60613                         CHICAGO IL 60613
SIXTH FLOOR
INDUSTRY CA 91746


MAJOCCHINI, NICOLA                      MAJOR LEAGUE BASEBALL                    MAJOR LEAGUE BASEBALL EQUIPMENT
510 BROOME ST APT 4W                    PLAYERS ASSOCIATION                      521 PLYMOUTH RD   STE 120
NEW YORK NY 10013                       12 EAST 49TH STREET                      PLYMOUTH MEETING PA 19462
                                        NEW YORK NY 10017



MAJOR LEAGUE BASEBALL EQUIPMENT         MAJOR LEAGUE BASEBALL PLAYERS            MAJOR LEAGUE BASEBALL PLAYERS
MANAGERS ASSOCIATION SCHOLARSHIP FUND   1631 MESA AVE STE NO.B                   631 SIXTH AVE SO
2901 JOLLY RD                           COLORADO SPRINGS FL 80906                ST PETERSBURG FL 33701
PLYMOUTH MEETING PA 19462



MAJOR LEAGUE BASEBALL PLAYERS           MAJOR LEAGUE BASEBALL PROPERTIES         MAJOR LEAGUE SCOUTING BUREAU
WELFARE TRUST                           245 PARK AVE                             23712 BIRTCHER DRIVE SUITE A
P O BOX 5372                            NEW YORK NY 10167                        LAKE FOREST CA 92630
BOSTON MA 02206-5372



MAJOR LEAGUE SCOUTING BUREAU            MAJOR LEAGUE SOCCER                      MAJOR, WILIAM
3500 PORSCHE WAY NO.100                 2029 BROADWAY STREET                     47 CLYDE RD
ONTARIO CA 91764                        SUITE 400                                MANCHESTER CT 06040
                                        LOS ANGELES CA 90012



MAKAULA, WALTER J                       MAKDISI, SAREE                           MAKE UP AND HAIR BY CLAIRE INC
637 PAOPUA LP                           10645 CUSHDON AVE                        PO BOX 86789
KAILUA HI 96734                         LOS ANGELES CA 90064                     SAN DIEGO CA 92138-6789




MAKEDA CRANE                            MAKENSON CHARLES                         MAKHMUDOV, ALEX
2713 HANSON AVENUE                      914 SW 3RD COURT                         68 PONDEROSA LN
1D                                      DELRAY BEACH FL 33444                    NEWINGTON CT 06111
BALTIMORE MD 21209



MAKING CHOICES FOR INDEPENDENT LIVING   MAKO 36 DELIVERY SYSTEMS INC             MAKOFSKE, MICHAEL
3011 MONTEBELLO TERRACE                 133 WHALERS COVE                         21195 CEDAR LANE
BALTIMORE MD 21214                      BABYLON NY 11702                         MISSION VIEJO CA 92691




MAKOFSKE, MICHAEL A                     MAKOHUZ, JUDY                            MAKOYAWO, CHRISTINA
21195 CEDAR LANE                        2013 LACEY OAK DR                        133-62 243RD STREET
MISSION VIEJO CA 92691                  APOPKA FL 32703                          ROSEDALE NY 11422




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MAKSIM RUDENKO                        MAKUMI, CHRISTOPHER                        MAL LYN DELIVERY SERVICE INC
3559 S. HOME STREET                   6921 LACHLAN CIR APT G                     PO BOX 6
BERWYN IL 60402                       BALTIMORE MD 21237                         EAST ROCKAWAY NY 11518




MALACHI BAILEY                        MALANGA, STEVEN                            MALCOLM ENTERPRISES
55 CHESTNUT ROAD                      28 FAIRWAY DR                              318 HIGH STREET
AMITYVILLE NY 11701                   WEST ORANGE NJ 07052-4802                  IPSWICH MA 01938




MALCOLM L JOHNSON                     MALCOLM, NOEL                              MALCOLM, VINCENT A
449 WEST 43RD ST APT1B                3375 GREENVIEW TER                         1323 ROSCOMARE RD.
NEW YORK NY 10036                     MARGATE FL 33063                           LOS ANGELES CA 90077




MALCOM, SHAWNA                        MALDONADO, CARLOS                          MALDONADO, IARA
321 S SHERBOURNE DR APT 208           2576 NW 99TH AVE                           701 PINE DRIVE APT 205
LOS ANGELES CA 90048                  CORAL SPRINGS FL 33065                     POMPANO BEACH FL 33060




MALDONADO, JEREMY                     MALDONADO, JESSICA                         MALDONADO, MARIA
411 LOCHMOND DR                       15 CHASE ST APT F12                        188 SMITH DR
FERN PARK FL 32730                    PAWCATUCK CT 06379                         EAST HARTFORD CT 06118




MALDONADO, MIGUEL                     MALDONADO, MIGUEL                          MALDONADO, MIGUEL
ANDES ST 123 MONTEREY DEVELOPMENT     COND GRANADA PARK          BZN 246         2721 N OAK PARK AVE
SAN JUAN 926                          GUAYNABO 969                               CHICAGO IL 60707




MALDONADO, WILLIAM                    MALDRE, MATTHEW P                          MALEAR, JULIE
90 NEWINGTON RD                       4809 N BELL AVE APT 1E                     253 NE 21ST STREET
ELMWOOD CT 06110                      CHICAGO IL 60625                           DELRAY BEACH FL 33444




MALEBRANCHE, SANDRA                   MALECKI, JOSEPH                            MALECKI, STANLEY
2111 HIGH MEADOW RD                   HAZELWOOD RIVER RD                         7 NORTHWOOD DR
NAPERVILLE IL 60564                   EDGEWATER FL 32141                         WINDSOR LOCKS CT 06096-1419




MALEK, REBECCA                        MALEKOFF, ANDREW                           MALES, MICHAEL A
1493 STONEHAVEN ESTATES DR            9 KIRKWOOD ST                              1105 PALO VERDE RDQ
WELLINGTON FL 33411                   LONG BEACH NY 11561                        IRVINE CA 92612




MALES, MICHAEL A                      MALET, JULIEN CHAN                         MALEY, PATRICK
333 N FIFTH NO.2006                   25 DAISY LANE                              517 N KEMP ST
OKLAHOMA CITY OK 73102                COMMACK NY 11725                           KUTZTOWN PA 19530




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MALGIERI, NICHOLAS                     MALIBU LICENSING GROUP LLC                 MALIBU LICENSING GROUP LLC
277 WEST 10TH ST NO 3F                 29399 AGOURA HILLS RD NO.105               29599 AGOURA RD NO.105
NEW YORK NY 10014                      AGOURA HILLS CA 91301                      AGOURA HILLS CA 91301




MALIK FARMER                           MALIK, ALIA                                MALINCHAK, CHARLES S
2056 CUNNINGHAM DRIVE                  8000 BOTELER LANE APT 347B                 670 OLD BETHLEHEM ROAD
APT. #103                              COLLEGE PARK MD 20740                      QUAKERTOWN PA 18951
HAMPTON VA 23666



MALINDA DAVIS                          MALINDA FOXWORTH                           MALINDA VELEZ
119 TEAPOT COURT                       3720 RIDGECROFT ROAD                       7892 PIPER LANE
REISTERSTOWN MD 21136                  BALTIMORE MD 21206                         LAKE WORTH FL 33463




MALINOWSKI, GLORIA JOAN                MALINOWSKI, JOHN                           MALINOWSKI, JON CHARLES
27 GREENFIELD ST                       10 A TALCOTT GLEN RD                       706 HEWITT LN
WETHERSFIELD CT 06109                  FARMINGTON CT 06032-3526                   NEW WINDSOR NY 12553




MALINOWSKI, THOMAS                     MALIR BURKS                                MALIS, ELIZABETH
1056 PINE GROVE CIRCLE APT 2C          50 WEST 34TH STREET                        1701 GARDINER RD
WESCOSVILLE PA 18106                   APT 5A14                                   HUNT VALLEY MD 21030
                                       NEW YORK NY 10002



MALISSA HOOPES                         MALISZEWSKI, ADAM                          MALKIN, RYAN
8294 BOCA RIO DR.                      33 HAWKTON PLACE                           142 EAST 16TH ST  APT 3B
BOCA RATON FL 33433                    LAKE GROVE NY 11755                        NEW YORK NY 10003




MALLARD PRESS INC                      MALLIN JR, MICHAEL                         MALLIS, ANDREA
335 EISENHOWER LN                      1076 KENSINGTON PARK DRIVE NO.207          2428 ELLSWORTH ST      NO.302
LOMBARD IL 60148                       ALTAMONTE SPRINGS FL 32714                 BERKELEY CA 94704




MALLON & MCCOOL LLC                    MALLORY, COURTNEY KEON                     MALLORY, MICHAEL J
301 E LOMBARD STREET SUITE 920         7610 WESTWOOD DR NO.118                    2317 BLACKMORE DRIVE
BALTIMORE MD 21202                     TAMARAC FL 33321                           GLENDALE CA 91206




MALLORY, R MARK                        MALLORY, R MARK                            MALLOY, JAMES
3312 LAKEWOOD COURT                    3312 LAKEWOOD CT                           71 LOVELAND HILL RD APT 26
GLENVIEW IL 60026-2505                 GLENVIEW IL 60026-2505                     VERNON CT 06066




MALLOY, MICHAEL                        MALLOY, MIKE                               MALLOY, RICHARD
5716 LONGWOOD WAY                      227 CRYSTAL NO.515                         30 ST. TROPEZ
CITRUS HEIGHTS CA 95610                AMES IA 50010                              LAGUNA NIGUEL CA 92677




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MALONE, ALISON                          MALONE, KATIE A                            MALONE, KELIA G
16 ALGONQUIN TRAIL                      125 WINDERS LN                             6044 S PRAIRIE APT 3A
MOODUS CT 06469                         YORKTOWN VA 23692                          CHICAGO IL 60637




MALONE, MARGARET                        MALONE, RICHARD H                          MALONE, RYNE
23 WOODRIDGE LN                         899 OAK STREET                             1272-1 CROSS CREEK CIRC
SEA CLIFF NY 11579                      WINNETKA IL 60093                          TALLAHASSEE FL 32301




MALONEY AIRE                            MALONEY, LIAM                              MALONEY, MARY ELLEN
128 LAFAYETTE AVENUE                    6397 CLARK                                 1343 HIGH ROAD
LAUREL MD 20707                         MONTREAL QC H2S 3E5                        KENSINGTON CT 06037




MALONEY, TIMOTHY J                      MALORIE WILLIAMS                           MALOW CORPORATION
2000 MAGNOLIA AVE                       1417 WEST BELLE PLAINE ROAD                1835 S NORDIC RD
MANHATTAN BEACH CA 90266                APT. #1                                    MT PROSPECT IL 60056
                                        CHICAGO IL 60613



MALOW CORPORATION                       MALOY MOORE                                MALT ADVOCATE INC
KHL ILLINOIS                            3476 ROWENA AVENUE                         PO BOX 158
PO BOX 201295                           LOS ANGELES CA 90027                       EMMAUS PA 18049
DALLAS TX 75320-1295



MALTA HOUSE OF GOOD COUNSEL             MALTAIS, MICHELLE H                        MALTAIS, MICHELLE H
5 PROVITT ST                            233 N. BELMONT ST. NO.4                    PO BOX 9327
NORWALK CT 06855                        GLENDALE CA 91206                          GLENDALE CA 91226-0327




MALVIN MAGRI                            MALY'S INC                                 MAMA BS INC
471 W. PINE ISLAND RD.                  4555 DANVERS DR SE                         692 NORTH ORANGE AVE
#205D                                   KENTWOOD MI 49512                          ORLANDO FL 32801
PLANTATION CITY FL 33324



MAMIE HECTOR                            MAMPRE MEDIA                               MAMULA, MATT
MICHAEL G. LORUSSO, ESQ.                5123 DEL MONTE                             10358 CEDAR STREET
316 JACKSON AVENUE                      SUITE 7                                    CEDAR LAKE IN 46303
SYOSSET NY 11791                        HOUSTON TX 77056



MAN ROLAND INC                          MAN ROLAND INC                             MAN ROLAND INC
800 EAST OAK HILL                       800 E OAK HILL DRIVE                       PO BOX 6500
WESTMONT IL 60559                       WESTMONT IL 60559                          CHICAGO IL 60680-6500




MAN ROLAND INC.                         MANAGED PRESCRIPTION PROGRAM               MANAGEMENT SCIENCE ASSOCIATES
800 EAST OAK HILL DRIVE                 10860 MAVINEE DRIVE                        P O BOX 951729
WESTMONT IL 60559-5522                  ORO VALLEY AZ 85737                        CLEVELAND OH 44193




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MANAGEMENT TIME SYSTEMS CO, INC         MANAGER OF SAFETY                         MANAGING EDITOR INC
PO BOX 383                              CITY & COUNTY OF DENVER                   101 GREENWOOD AVE
MEDFORD NY 11763                        1331 CHEROKEE ST., RM 302                 SUITE 330
                                        DENVER CO 80204                           JENKINTOWN PLAZA PA 19046



MANAGING EDITOR INC                     MANAGING EDITOR INC                       MANAGING EDITOR INC
101 GREENWOOD AVE NO.330                610 OLD YORK RD   STE 250                 ATN: NO.VEN HAUGHT
JENKINTOWN PLAZA                        JENKINTOWN PA 19046                       101 GREENWOOD AVE
JENKINTOWN PA 19046                                                               # 330, JENKINTOWN PLZ
                                                                                  JENKINTOWN PA 19046


MANAR SLEIMAN                           MANASSY PRECISION CORPORATION             MANCERA, FERNANDO
3700 S. PLAZA DRIVE                     37-26 27TH ST                             17218 JIMENEZ RD
APT F212                                LIC NY 11101                              SAN BENITO TX 78586
SANTA ANA CA 92704



MANCHEGO, HERMES                        MANCHESTER COMMUNITY COLLEGE              MANCHESTER HISTORICAL SOCIETY
76 STANDISH RD APT 1                    PO BOX 1046 MSNO.6                        106 HARTFORD ROAD
STAMFORD CT 06902                       MANCHESTER, CT 06045-1046                 MANCHESTER CT 06040




MANCHESTER SOCCER CLUB                  MANCHESTER SOCCER CLUB                    MANCINI,CHRISTOPHER
C/O NANCY SAPIENZA                      PO BOX 1165                               14 HORIZON VIEW
113 WELLMAN RD                          MANCHESTER CT 06040                       PROSPECT CT 06712
MANCHESTER CT 06040



MANCINI,CHRISTOPHER                     MANCINO, KATHRYN                          MANCO, LUIS J
DBA CHRIS'S LANDSCAPING SERVICE         389 HICKORY ACRES LN                      PO BOX 8224
14 HORIZON VIEW                         JACKSONVILLE FL 32259                     STAMFORD CT 06905
PROSPECT CT 06712



MANDEL, JARON PAUL                      MANDEL, JARON PAUL                        MANDEL, PETER
40 FAIRFIELD LANE                       40 FAIRFIELD LANE                         239 TRANSIT STREET
ROSLYN HEIGHTS NY 11557                 ROSLYN HEIGHTS NY 11577                   PROVIDENCE RI 02906




MANDELL MENKES LLC                      MANDHATA BENJAMIN                         MANDLY, NANCY L
333 W WACKER DR    STE 300              132 SIDNEY AVENUE                         100 PRICE BLVD
CHICAGO IL 60606                        APT. 1                                    WEST HARTFORD CT 06119
                                        WEST HARTFORD CT 06110



MANDOJANA, JOSE R                       MANDULA, MARY JO                          MANDY RICHARDSON
1610 W 7TH ST NO.413                    6115 PLYMOUTH STREET                      2085 SOUTHLAND ROAD
LOS ANGELES CA 90017                    DOWNERS GROVE IL 60516                    MOUNT DORA FL 32757




MANENTI-FORNADEL, JEANNETTE GABRIELLE   MANGAL, TERRENCE                          MANGAN, PETER
13380 SUNSET LAKES CIR                  6000 NW 43RD AVE.                         133 ELMFIELD STREET
WINTER GARDEN FL 34787                  FORT LAUDERDALE FL 33319                  ELMWOOD CT 06110




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MANGINO, LARRY                         MANGRUM, JAMES                              MANGU-WARD, KATHERINE
SOMBRERERIA 24 6B                      3380 SW 20 ST.                              1634 S STREET NW APT 2
MADRID 28012                           FORT LAUDERDALE FL 33312                    WASHINGTON DC 20009




MANGUY, EVELYN LAU                     MANHATTAN PRODUCTION MUSIC                  MANHEIM, ALISON I
19045 VISTA GRANDE WAY                 355 W 52ND ST                               245 MAIN STREET NO.208
NORTHRIDGE CA 91326                    6TH FLOOR                                   VENICE CA 90291
                                       NEW YORK NY 10019



MANIFEST SOLUTIONS LLC                 MANIFEST SOLUTIONS LLC                      MANILOW SUITES
1023 W FULTON MARKET                   1200 W LAKE                                 175 N HARBOR DR
CHICAGO IL 60607                       CHICAGO IL 60607                            CHICAGO IL 60601




MANILOW SUITES                         MANIS, ANDREW L                             MANIS, CHRISTOPHER
175 NORTH HARBOR DRIVE                 3305 BLUFF RD                               419 FERNWOOD DRIVE
SUITE 3104                             MADISON WI 53705                            SEVERNA PARK MD 21146
CHICAGO IL 60601



MANISH SHAH                            MANISHA NARWANI                             MANISTA, KATHY
1305 S. MICHIGAN AVENUE                42-52 UNION STREET                          248 HEDGEROW DRIVE
2004                                   APT 307                                     BLOOMINGDALE IL 60108
CHICAGO IL 60605                       FLUSHING NY 11355



MANJARRES, ESPERANZA                   MANJULAMMA THIMMAPURAM                      MANLY BAKER
161 SW 84TH AVENUE NO.202              1474 EAST BRAYMORE CIRCLE                   4680 MIMOSA PLACE
PEMBROKE PINES FL 33025                NAPERVILLE IL 60564                         APT 808
                                                                                   COCONUT CREEK FL 33073



MANN BROTHERS                          MANN CHUN CHU                               MANN HOUSE INC
757 N LA BREA AVENUE                   72 MANCHESTER LANE                          14 WILLIAMS ST
HOLLYWOOD CA 90038                     STONY BROOK NY 11790                        BEL AIR MD 21014




MANN, ALLISON                          MANN, BARBARA                               MANN, CURTIS RAYMOND
24909 MADISON AVE   NO.7-14            302 MADISON                                 DBA DENVER RADIO
MURRIETA CA 92562                      CALUMET CITY IL 60409                       5511 ALTURA STREET
                                                                                   DENVER CO 80239-3807



MANN, JAMES T                          MANN, JOHN                                  MANN, LESLIE
1073 KING WAY                          1013 MCCALL CT STE 2208                     36W662 OAK RIDGE LANE
BREINIGSVILLE PA 18031                 OVIEDO FL 32765                             ST CHARLES IL 60174




MANNING, MELISSA                       MANNIX MARKETING                            MANNONE, MICHAEL
530 GLENWOOD RD UNIT C                 9 STONEHURST DR                             22877 VIA CERZA
GLENDALE CA 91202                      QUEENSBURY NY 12804                         MISSION VIEJO CA 92691




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MANNS JR, ERIC                        MANNS JR, ERIC                             MANNS JR, GEORGE J
6010 BLACK FRIARS CIR                 6010 BLACK FRIARS CIR                      [ADDRESS UNAVAILABLE AT TIME OF FILING]
BALTIMORE MD 21228                    CATONSVILLE MD 21228




MANNY ROJAS                           MANNY SANDALAKIS                           MANOJ AGARWALA
1633 WEST CYPRESS STREET              7824 ARBORETUM DRIVE                       160 MADELANA DRIVE
SAN DIMAS CA 91773                    APT. #203                                  LA HABRA HEIGHTS CA 90631
                                      CHARLOTTE NC 28270



MANOR, WHITNEY                        MANOUCHKA THELUSCA                         MANOUS, WAYNE M
2798 WHITNEY AVE                      250 NW 36TH STREET                         550 ORANGE AVE UNIT 221
HAMDEN CT 06518                       POMPANO FL 33064                           LONG BEACH CA 90802-1796




MANPOWER INC                          MANPOWER INC                               MANRESA, SARA ELIZABETH
21271 NETWORK PLACE                   5301 N IRONWOOD RD                         4739 MASSACHUSETTS AVE NW
CHICAGO IL 60673-1212                 MILWAUKEE WI 53217                         WASHINGTON DC 20016




MANRIQUEZ, RAY                        MANSBACH, ADAM                             MANSE SHARP
221 TURNBERRY CT N                    8 WEST PARNASSUS COURT                     1803 RIVERSIDE DRIVE
ATLANTIS FL 33462                     BERKELEY CA 94708                          #5F
                                                                                 NEW YORK NY 10034



MANSFIELD, HELEN                      MANSON, KENNETH ROBERT                     MANSOUR, SHERIF
326 BELLEVUE DRIVE                    2255 S 17TH AVE                            5314 PILLOW LANE
ROUND LAKE IL 60073                   NORTH RIVERSIDE IL 60546                   SPRINGFIELD VA 22151




MANSUETO VENTURES LLC                 MANSWELL, KEVIN                            MANTAS, ANGELA
7 WORLD TRADE CENTER                  3386 LANSBURY VILLAGE DR #6                5116 W PRATT
NEW YORK NY 10007-2195                ATLANTA GA 30341                           SKOKIE IL 60077




MANTERNACH, ADAM                      MANTO BLANCO USA CORPORATION               MANTZ JR, DAVID
4920 VAN NUYS BLVD NO.304             12310 SW 111 S CANAL ST ROAD               258 LAFAYETTE AVE
SHERMAN OAKS CA 91403                 MIAMI FL 33136                             PALMERTON PA 18071




MANUEL AGUILERA                       MANUEL ALMONTE                             MANUEL ANTOINE
7326 LEESCOTT AVE                     29 MORICHES AVENUE                         630 SW 10TH COURT
VAN NUYS CA 91406                     MASTIC NY 11950                            DEERFIELD BEACH FL 33441




MANUEL AVILA                          MANUEL BORJA PMP                           MANUEL CAIPO
PO BOX 340053                         200 SUNSHINE DRIVE                         1040 SANDOWN STREET
HARTFORD CT 06134-0053                BOLINGBROOK IL 60490                       LA HABRA CA 90631




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MANUEL CASTILLO                        MANUEL CORRAL                              MANUEL DE JESUS RECINOS
3486 MILITARY AVENUE #6                7019 W 63RD PLACE                          8726 S. MAIN ST.
LOS ANGELES CA 90034                   CHICAGO IL 60638                           LOS ANGELES CA 90003




MANUEL ESCALANTE                       MANUEL FRANCO                              MANUEL GAMIZ
5589 GATLIN AVENUE                     204 N. MIRAMONTE AVE.                      211 SOUTH STREET
APT. G                                 ONTARIO CA 91764                           APT. 2
ORLANDO FL 32812                                                                  NAZARETH PA 18064



MANUEL HERNANDEZ                       MANUEL HUESCA                              MANUEL JARA
530 PARK ST                            3166 GRANADA AVENUE                        3045 EAST AVENUE R-5
ALLENTOWN PA 18102                     EL MONTE CA 91731                          PALMDALE CA 93550




MANUEL LITTLE                          MANUEL MATA                                MANUEL MEDRANO
723 NORTH LOCKWOOD AVE                 4013 DE GARMO                              1540 EL MIRADERO AVE.
CHICAGO IL 60644                       EL MONTE CA 91731                          GLENDALE CA 91201




MANUEL POZAS                           MANUEL RAMIREZ                             MANUEL REYES
8700 PERSHING DR                       88-52 202 ST                               29 MAIN STREET
APT 5115                               HOLLIS NY 11423                            MANCHESTER CT 06040
PLAYA DEL REY CA 90293



MANUEL RIVAS                           MANUEL RODRIGUEZ                           MANUEL RODRIGUEZ
1444 S WILLOW AVENUE                   17B WOLCOTT STREET                         4988 NW 9TH WAY
WEST COVINA CA 91790                   HARTFORD CT 06106                          POMPANO BEACH FL 33064




MANUEL SANTOS                          MANUEL SOLIS                               MANUEL VICTALINO
143 SAINT JAMES STREET                 1972 WRIGHT STREET                         12 SAGE COURT
WEST HARTFORD CT 06119                 POMONA CA 91766                            HUNTINGTON STATION NY 11746




MANUEL VIEYRA                          MANUEL ZUNIGA                              MANUELA SOTO
1950 W. WINNEMAC AVE.                  4105 N. PRAIRIE AVE.                       2731 W BELMONT
CHICAGO IL 60640                       SCHILLER PARK IL 60176                     2ND FLOOR
                                                                                  CHICAGO IL 60618



MANUFACTURERS & TRADERS TRUST          MANUFACTURERS AND TRADERS TRUST            MANUFACTURERS AND TRADERS TRUST
(M&T BANK)                             25 S CHARLES ST                            PO BOX 62120
ATTN: LYNN S MANTHY                    BALTIMORE MD 21201                         BALTIMORE MD 21264-2120
25 S CHARLES ST
BALTIMORE MD 21201


MANUFACTURERS AND TRADERS TRUST        MANUFACTURERS AND TRADERS TRUST            MANUFACTURERS AND TRADERS TRUST
PO BOX 64670                           ATTN LEE PROCESSING UNIT                   M&T BANK-ELECTRONIC BANKING 4TH FL
BALTIMORE MD 21264                     PO BOX 22900                               ONE M & T PLAZA
                                       ROCHESTER NY 14692-2900                    BUFFALO NY 14203-2399




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MANUFACTURERS AND TRADERS TRUST         MANUFACTURERS NEWS INC                     MANYA BRACHEAR
PO BOX 4091                             1633 CENTRAL STREET                        3507 N. OAKLEY AVE. #2
BUFFALO NY 14240                        EVANSTON IL 60201                          CHICAGO IL 60618




MANZANO, ADOLFO                         MANZANO, MARIA J                           MANZANO, MARIA J
100 SW 132ND WAY NO.K213                1282 NW 195 AVE                            1282 NW 195 AVE
PEMBROKE PINES FL 33027                 PEMBROKE FL 33029                          PEMBROKE PINES FL 33029




MANZI, JOHN M                           MAP MAN INC                                MAP MAN INC
3216 NW CHAPIN DR                       128 BROADWAY                               17 W NICHOLAI ST
PORTLAND OR 97229                       HICKSVILLE NY 11801                        HICKSVILLE NY 11801




MAP MAN INC                             MAP MAN INC                                MAPES, SUZANNE
PO BOX 2333                             PO BOX 7051                                4071 E LA CARA ST
HICKSVILLE NY 11801                     HICKSVILLE NY 11801                        LONG BEACH CA 90815




MAPINFO CORPORATION                     MAPINFO CORPORATION                        MAPINFO CORPORATION
200 BROADWAY                            FOUR GLOBAL VIEW                           ONE GLOBAL VIEW
TROY NY 12180                           TROY NY 12180                              TROY NY 12180




MAPINFO CORPORATION                     MAPLE LEAF DISTRIBUTION SERVICES INC       MAPLE LEAF DISTRIBUTION SERVICES INC
PO BOX 911304                           SERVICES INC                               THIRD ST PALMER IND PARK
DALLAS TX 75391-1304                    PO BOX 1074                                BONDSVILLE MA 01009
                                        BONDSVILLE MA 01009



MAPLE TREE RESTAURANT                   MAPP,BERESFORD                             MAQ HOLDING INC
671 W NORTH AV                          32 WESTRIDGE ST                            336 N SPRUCE
ELMHURST IL 60126                       WINDSOR CT 06095-3855                      MONTEBELLO CA 90640




MARA INGRAM                             MARAKOVITS FAMILY LLC                      MARAKOVITS FAMILY,LLC
230 PRESIDENT ST                        4638 STEVEN LN                             RE: WHITEHALL 5270 W COPLAY R
APT 6                                   WALNUTPORT PA 18088                        4638 STEVEN LN
BROOKLYN NY 11231                                                                  WALNUTPORT PA 18088



MARANATHA BAPTIST BIBLE COLLEGE         MARANUK, ALLISON MARIE                     MARAS, DORIAN
FINANCIAL AID OFFICE                    9 STANTON ST NO.2B                         25 MIDDLE NECK RD
745 W MAIN ST                           NEW YORK NY 10002-1208                     GREAT NECK NY 11021
WATERTOWN WI 53094



MARATHON ASHLAND PETROLEUM LLC          MARBURY VON BRIESEN                        MARC ADAMS
PO BOX 740109                           401 PLUMBRIDGE CT                          29 ROSEWOOD ROAD
CINCINNATI OH 45274-0109                UNIT 103                                   KINGS PARK NY 11754
                                        TIMONIUM MD 21093




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MARC ANDONIE                            MARC AUGUSTIN                              MARC BARRINGTON
430 SOUTH NIAGARA STREET                2665 BEDFORD AVENUE                        1750 1/2 N. KINGSLEY DR
111                                     APT. #1C                                   APT 17
BURBANK CA 91505                        BROOKLYN NY 11210                          LOS ANGELES CA 90027



MARC BRADY                              MARC CHASE                                 MARC CLAUSSEN
3509 LAUREL LN                          447 W. ROSLYN PLACE                        257 BURNING BUSH TRAIL
HAZEL CREST IL 60429                    CHICAGO IL 60614                           CRYSTAL LAKE IL 60012




MARC D'ALESSIO                          MARC DELINOIS                              MARC DIBIANCO
2219 WEKIVA VILLAGE LANE                1506 NW 14TH CIRCLE                        12235 PACIFIC AVE
APOPKA FL 32703                         APT 142                                    APT 105
                                        POMPANO BEACH FL 33069                     LOS ANGELES CA 90066



MARC DICIANNI                           MARC DIXON                                 MARC DORVILUS
419 BRENTWOOD CT.                       17706 GRANDVIEW                            2106 ALLEGHENEY CT.
ROSELLE IL 60172                        HAZEL CREST IL 60429                       ORLANDO FL 32818




MARC DRAZIN                             MARC DUVOISIN                              MARC FERRARA
9014 TAMAROA TERRACE                    1135 FAIRVIEW DRIVE                        201 E. ANGELENO AVE
SKOKIE IL 60076                         LA CANADA FLINT CA 91011                   APT#405
                                                                                   BURBANK CA 91502



MARC FREEMAN                            MARC FRIED                                 MARC GIANNETTINO
5970 LAS COLINAS CIRCLE                 3540 SOUTHERN ORCHARD ROAD E               222 MAIN STREET
LAKE WORTH FL 33463                     DAVIE FL 33328                             204
                                                                                   EVANSTON IL 60202



MARC GOLDSTEIN                          MARC GRECO                                 MARC HARRIS
8636 E. SUGARLOAF PEAK RD               5 GLEN ROAD                                40 TALEGA
UNIT A                                  MASSAPEQUA PARK NY 11762                   RANCHO SANTA MARGARITA CA 92688
ORANGE CA 92869



MARC JIMENEZ                            MARC LIFSHER                               MARC LOPEZ
2439 LACONIA AVENUE                     2541 11TH AVENUE                           709 10TH STREET
BRONX NY 10469                          SACRAMENTO CA 95818                        WEST BABYLON NY 11704




MARC LOUIS                              MARC MANFREDI                              MARC MARTIN
104-25 219TH STREET                     6446 DUCKWEED RD                           51 CAYMAN BRAC
QUEENS VILLAGE NY 11429                 LAKE WORTH FL 33467                        ALISO VIEJO CA 92656




MARC NAVARINO                           MARC NURRE                                 MARC O'CONNELL
201 WEST 89TH STREET                    1341 CHURCH STREET #4                      175 DEER HILL ROAD
8C                                      REDLANDS CA 92374                          SOUTHBURY CT 06488
NEW YORK NY 10024




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MARC OLSON                             MARC PISCOTTY PHOTOGRAPHY LLC              MARC REGIS
6230 E. WIMBELTON COURT                4134 UMATILLA ST                           46 DOVER ROAD
ORANGE CA 92869                        DENVER CO 80211                            NEWINGTON CT 06111




MARC ROSEN                             MARC ROSENBERG                             MARC SALGANIK
3453 23RD AVENUE W                     5075 EAST VALLEY ROAD                      10386 ECLIPSE WAY
UNIT C                                 CENTER VALLEY PA 18034                     COLUMBIA MD 21044
SEATTLE WA 98199



MARC SCHACHER                          MARC SCOTT                                 MARC SERRA
1249 WEST DICKENS AVENUE               10 CAMBRIDGE AVENUE                        153 4TH AVE
CHICAGO IL 60614                       MELVILLE NY 11747                          HOLTSVILLE NY 11742




MARC SHOOTS                            MARC SOICHER                               MARC STRONG
9711 SHERWOOD FARM ROAD                450 FAIRFAX STREET                         27658 TRAILHEAD COURT
OWINGS MILLS MD 21117                  DENVER CO 80220                            CORONA CA 92883




MARC WILSON                            MARC-ARTHUR DUGAZON                        MARCA, FERNANDO
16 CHARLOTTE STREET                    7906 ARABIAN PLACE                         20311 W COUNTRY CLUB DR
GLENS FALLS NY 12801                   ORLANDO FL 32818                           AVENTURA FL 33180




MARCANCONTRACTOR INC                   MARCEL JOHNSON                             MARCEL SMITH
6660 SOMERSET DR                       415 WEST LIME AVE                          3680 NW 32 AVE.
BOCA RATON FL 33433                    MONROVIA CA 91016                          LAUDERDALE LAKES FL 33309




MARCELA CLARO                          MARCELA TREJOS                             MARCELINE ALEXANDRE
10832 PALMA VISTA #3                   2115 GRANT AVE                             2400 DEER CREEK COUNTY CLUB BLVD
GARDEN GROVE CA 92840                  APT 12                                     APT 110
                                       REDONDO BEACH CA 90278                     DEERFIELD BEACH FL 33442-1203



MARCELLA M GUNN                        MARCELLA MCKINNEY                          MARCELLA RAYMOND
130 WELL                               6555 N. ASHLAND AVENUE                     150 W. ST. CHARLES RD
PARK FOREST IL 60466                   CHICAGO IL 60626                           #414
                                                                                  LOMBARD IL 60148



MARCELLO AMBRIZ                        MARCELLO SAWYER                            MARCELLO, MICHELE A
254 W. DEXTER ST                       816 E. CARSON STREET                       7401 BLAIR ROAD NW
APT 4                                  LONG BEACH CA 90807                        WASHINGTON DC 20012
COVINA CA 91723



MARCELLUS, BERNADETTE                  MARCELLUS, ERNEST                          MARCELO DA PAZ
17600 NW 5TH AVENUE NO.904             140 BERKELEY BLVD                          6707 N. ARTESIAN
MIAMI FL 33169                         FT. LAUDERDALE FL 33312                    CHICAGO IL 60645




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MARCELO DE LA REZA                    MARCELO MARCHI                             MARCELO PUENTE
110 LAKE EMERALD DRIVE                612 N. 2ND ST                              16 COUNTRY VIEW
APT 201                               MONTEBELLO CA 90640                        MIDDLE ISLAND NY 11953
OAKLAND PARK FL 33309



MARCELO ROSA                          MARCELUS, LATASHA                          MARCELUS, MERISSON
4848 W. BYRON                         1027 BLUE HILLS AVE                        109 SW 7TH AVENUE
CHICAGO IL 60641                      BLOOMFIELD CT 06002                        DELRAY BEACH FL 33444




MARCELUS, PETHONA E                   MARCELYN BOURJOLLY                         MARCH OF DIMES
1027 BLUE HILLS AVE                   81 10TH AVE                                9645 GRANITE RIDGE DRIVE
BLOOMFIELD CT 06002                   HUNTINGTON NY 11746                        STE 160
                                                                                 AIR AWARDS
                                                                                 SAN DIEGO CA 92123-2660


MARCH OF DIMES                        MARCH OF DIMES                             MARCH OF DIMES
SOUTHERN CALIFORNIA CHAPTER           DR HEMA DE SILVA, CHAPTER CHAIR            1001 W CYPRESS CREEK ROAD NO. 111
3699 WILSHIRE BLVD SUITE 520          255 PITKIN ST                              FT LAUDERDALE FL 33309
LOS ANGELES CA 90010-2719             E HARTFORD CT 06108-3223



MARCH OF DIMES                        MARCH OF DIMES                             MARCH OF DIMES
1649 FORUM PL NO.2                    341 N MAITLAND AVENUE                      111 WEST JACKSON
W PALM BEACH FL 33401                 SUITE 115                                  CHICAGO IL 60604
                                      MAITLAND FL 32751



MARCH OF DIMES                        MARCH OF DIMES                             MARCH OF DIMES
77 SOUTH DEARBORN                     GRAND RAPIDS DIVISION                      1275 MAMARONECH AVE
LASALLE BANK FSB                      3330 BROADMOOR SE                          WHITE PLAINS NY 10605
DEARBORN BRANCH                       SUITE B
CHICAGO IL 60603-2301                 GRAND RAPIDS MI 49512


MARCH OF DIMES                        MARCH OF DIMES                             MARCH OF DIMES
400 CROSSWAYS PARK DRIVE              NORTHEASTERN NEW YORK DIVISION             1031 W LINDEN ST STE 104
WOODBURY NY 11797                     80 WOLF RD SUITE 106                       ALLENTOWN PA 18102-3967
                                      ALBANY NY 12205



MARCH OF DIMES                        MARCH OF DIMES                             MARCH OF DIMES
ATTN AMANDA BECKER                    16770 IMPERIAL VALLEY DR                   3000 WES PAYNE
1255 S CEDARCREST BLVD                C/O KROGER CO                              SUITE 100
ALLENTOWN PA 18103                    HOUSTON TX 77060                           HOUSTON TX 77027



MARCH OF DIMES                        MARCH OF DIMES                             MARCH OF DIMES
860 GREENBRIAR CIRCLE STE 502         BIRTH DEFECTS FOUNDATION                   PO BOX 50146
CHESAPEAKE VA 23320                   NATIONAL CAPITAL AREA CHAPTER              MCLEAN VA 22102
                                      2700 S QUINCY ST STE 220
                                      ARLINGTON VA 22206-2226


MARCHESE,TONY                         MARCHETTI, DIERDRE                         MARCHETTI, STEPHANIE
8366 W BERWYN                         PO BOX 255                                 202 DOHERTY AVE
CHICAGO IL 60656                      PINE MEADOW CT 06061                       ELMONT NY 11003




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MARCHING BEARS INC                   MARCHING BEARS INC                         MARCHING BEARS INC
12 KREINER LANE                      304 MAIN AVE PMB 211                       8 CRICKLEWOOD LANE
NORWALK CT 06850                     NORWALK CT 06851                           NORWALK CT 06851




MARCI SCHMITT                        MARCIA AMES                                MARCIA BORUCKI
14027 PORTRUSH DRIVE                 743 OELLA AVE.                             16936 BARBARA LANE
ORLANDO FL 32828                     ELLICOTT CITY MD 21043                     TINLEY PARK IL 60477




MARCIA BRANDWYNNE                    MARCIA CEPHUS                              MARCIA COBURN
11953 BRIARVALE LANE                 30 ADDLETON COURT                          1928 W. GREENLEAF AVENUE
STUDIO CITY CA 91604                 REISTERSTOWN MD 21136                      CHICAGO IL 60626




MARCIA GLENN                         MARCIA GOODEN                              MARCIA GROGLIO
3798 W MYRICK ST                     4780 MIRANDA CIR.                          386 GREENS FARMS ROAD
CHICAGO IL 60652                     ORLANDO FL 32818                           WESTPORT CT 06880




MARCIA HOLBR KITTELL                 MARCIA LINTON                              MARCIA LYTHCOTT
P.O. BOX 81                          40 CLYDE AVE                               9234 S MICHIGAN AVENUE
JOHANNESBURG CA 93528                HEMPSTEAD NY 11550                         CHICAGO IL 60619




MARCIA MYERS                         MARCIA PARRIS                              MARCIA POUNDS
5004 WETHEREDSVILLE ROAD             1202 LEXINGTON AVE                         21 BENTWATER CIRCLE
BALTIMORE MD 21207                   NEW YORK NY 10028                          BOYNTON BEACH FL 33426




MARCIA ROSS                          MARCIA SHATZMAN                            MARCIA SMITH
2732 MILLER AVE                      22940 IRONWEDGE DR                         3756 PEBBLEBROOK CT
OCEANSIDE NY 11572                   BOCA RATON FL 33433                        COCONUT CREEK FL 33073




MARCIA THOMPSON                      MARCIANO, JEANNE                           MARCIO FREITAS
2184 OAKWOOD PLACE                   23 RED MOUNTAIN AVE APT 1                  8 SE 2ND AVENUE
ELMONT NY 11003                      TORRINGTON CT 06790-3211                   #703
                                                                                MIAMI FL 33131



MARCKS SR, SCOTT                     MARCO BRANDAO                              MARCO BUSCAGLIA
4115 AIRPORT RD                      113 LOCK ROAD                              7735 W. SUMMERDALE
ALLENTOWN PA 18109                   APT 07                                     CHICAGO IL 60656
                                     DEERFIELD BEACH FL 33442



MARCO COLEMAN                        MARCO ESCOBEDO                             MARCO FUENTES
5065 BRIGHTON AVE                    1550 BROADWAY #N                           3 N. SOLANDRA DR.
SAN DIEGO CA 92107                   CHULA VISTA CA 91911                       ORLANDO FL 32807




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MARCO GIARDINI                          MARCO GONZALEZ                             MARCO MASTRORILLI
3650 W. GROVE ST. SE                    500 S. LOS ROBLES AVE                      25 WELLS AVE
KENTWOOD MI 49512                       APT#114                                    CONGERS NY 10920
                                        PASADENA CA 91101



MARCO OUTDOOR ADVERTISING               MARCO RAMIREZ                              MARCO RUBIO
629 SOUTH CLAIBORNE AVE                 1726 NORTH KEDVALE                         1337 SILVIUS
NEW ORLEANS LA 70113                    CHICAGO IL 60639                           SAN PEDRO CA 90731




MARCOM                                  MARCONI DAWSON                             MARCOR INTERNATIONAL, LTD.
540 HAUER APPLE WAY                     33 TWIGG LN                                C/O KTLA
APTOS CA 95003                          NEWPORT NEWS VA 23608                      5800 SUNSET BLVD
                                                                                   LOS ANGELES CA 90028



MARCOS BARBOSA                          MARCOS CEBALLOS                            MARCOS GONZALEZ
1412 S. CLINTON AVENUE                  10155 W. SUNRISE BLVD.                     688 WEST MONTGOMERY STREET
DALLAS TX 75224                         #205                                       ALLENTOWN PA 18103
                                        SUNRISE FL 33322



MARCOS LUEVANOS                         MARCOS RODRIGUEZ                           MARCOS ROSALES
204 N. LARKIN DR                        7928 E WOODSBORO                           3441 S. WESTERN
COVINA CA 91722                         ANAHEIM CA 92807                           CHICAGO IL 60608




MARCOTTE, AMANDA                        MARCOU, PETER                              MARCUS ALFONSO
2213 LAWNMONT NO.104                    762 HARRISON ST                            169 NORTH MAIN STREET
AUSTIN TX 78756                         WEST HEMPSTEAD NY 11552-3216               APT# B
                                                                                   PORT DEPOSIT MD 21904



MARCUS ARNWINE                          MARCUS BROWN                               MARCUS DENNIS
7571 KEITH CIRCLE                       7908 S. PRAIRIE                            39 LODGE PLACE
LA PALMA CA 90623                       CHICAGO IL 60619                           NORTH BABYLON NY 11703




MARCUS ESPINOSA                         MARCUS HARRIS                              MARCUS HENRY
20121 WOODSTOCK CT.                     821 CIDER MILL LANE                        20 WENDELL STREET
YORBA LINDA CA 92886                    BEL AIR MD 21014                           C13
                                                                                   HEMPSTEAD NY 11550



MARCUS JUDKINS                          MARCUS LE CUYER                            MARCUS LESHOCK
2488 COLONIAL TRAIL EAST                5618 29TH CT S.E.                          417 COUNTRY LANE CT.
SURRY VA 23883                          LACEY WA 98503                             WAUCONDA IL 60084




MARCUS LEWIS                            MARCUS LEWIS                               MARCUS MAXWELL ENTERPRISES LLC
6139 TYBALT CIRCLE                      7185 BODEGA STREET                         1500 SKOKIE BLVD
INDIANAPOLIS IN 46254                   FONTANA CA 92336                           SUITE 310
                                                                                   NORTHBROOK IL 60062




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MARCUS MAXWELL ENTERPRISES LLC         MARCUS MAXWELL ENTERPRISES LLC             MARCUS MAXWELL INC
2970 MARIA AVE  STE 115                3605 WOODHEAD DRIVE STE 104B               1500 SKOKIE BLVD    STE 310
NORTHBROOK IL 60062                    NORTHBROOK IL 60062                        NORTHBROOK IL 60062




MARCUS VEALS                           MARCUS WADE                                MARCUS WHITE
233 E. 13TH STREET                     9680 63RD TRAIL SOUTH                      41 FIELDCREST DRIVE
APT. #2009                             BOYNTON BEACH FL 33437                     RIDGEFIELD CT 06877
CHICAGO IL 60605



MARCUS WILLIAMS                        MARCUS, BENNETT                            MARCUS, EVAN
155 FEEDER DAM ROAD                    231 GARFIELD PL APT NO.4                   3351 NW 47TH AVE
SOUTH GLENS FALLS NY 12803             BROOKLYN NY 11215                          COCONUT CREEK FL 33063




MARCUS, GARY                           MARCUS, JAMES                              MARCUS, JUDY
3 WASHINGTON SQUARE VILLAGE 9M         345 E 52ND ST                              679 N HIDDEN PRAIRIE CT
NEW YORK NY 10012                      APT 10 F                                   PALATINE IL 60067
                                       NEW YORK NY 10022



MARCUS, STEVEN J                       MARCY GAYNOR                               MARCY GELATO
28 SOUTHWIND DR                        6 THISTLE LANE                             326 TARA HILLS DRIVE
WALLINGFORD CT 06492                   KINGS PARK NY 11754                        STROUDSBURG PA 18360




MARCY HURLBURT                         MARCY SPRINGER                             MARDAR ENTERPRISES
92 BARBARA ROAD                        340 GLENULLEN DR                           6910 33RD ST
MIDDLETOWN CT 06457                    PASADENA CA 91105                          VERO BEACH FL 32966




MARDEN, WILLIAM                        MAREK & ASSOCIATES INC                     MAREK DZIK
2228 MARCIA COURT                      508 W 26TH ST 12TH FL                      559 GOODWIN DRIVE
ORANGE PARK FL 32073                   NEW YORK NY 10001                          BOLINGBROOK IL 60440




MARELLA GREEN                          MAREN CARUSO PHOTOGRAPHY INC               MARES, MARY
5301 ANDRUS AVE.                       610 22ND ST STE 313                        8009 FARMINGDALE DR
ORLANDO FL 32810                       SAN FRANCISCO CA 94107                     DARIEN IL 60561




MARESTAING, ALEXANDER                  MARET ORLISS                               MARGA BACZYNSKY
2923 BIGHORN DR                        125 NORTH ALLEN AVENUE                     1513 TROPIC TERR.
CORONA CA 92881                        APT# 314                                   N. FT. MEYERS FL 33903
                                       PASADENA CA 91106



MARGARET ACHTERMAN                     MARGARET ALBRECHT                          MARGARET ANDRAS
4416 THACKERAY PLACE NE                8402 SWENEY ST.                            6314 W. EASTWOOD AVENUE
SEATTLE WA 98105                       2FL                                        CHICAGO IL 60630
                                       BRIARWOOD NY 11435




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MARGARET APODACA                      MARGARET ARMSTRONG                         MARGARET B MCCRAY
5064 1/2 ARGUS DRIVE                  2 MONSEN STREET                            25 FRANKLIN AVENUE #3-G
LOS ANGELES CA 90041                  CENTRAL ISLIP NY 11722                     WHITE PLAINS NY 10601




MARGARET BARNETT                      MARGARET BATSFORD                          MARGARET BODWELL
6215 S.E. GRANT STREET                640 KOELBEL COURT                          2316 N. OAKLEY
PORTLAND OR 97215                     BALDWIN NY 11510                           CHICAGO IL 60647




MARGARET BONANNO                      MARGARET BRESHEARS                         MARGARET C BRAUN
319 COUNTY LINE ROAD                  6772 SCIMITAR AVE.                         7 FERNSELL COURT, APT 3B
AMITYVILLE NY 11701                   ORLANDO FL 32812                           BALTIMORE MD 21237




MARGARET CASEY                        MARGARET CENTER                            MARGARET CLASSEN
439 COUNTY ROUTE 36                   27 FOURTH STREET                           6517 MONTROSE AVE
HUDSON FALLS NY 12839                 GLENS FALLS NY 12801                       BALTIMORE MD 21212




MARGARET CORVINI                      MARGARET COX                               MARGARET CROW
34 HILLSIDE AVE                       2073 UNION BOULEVARD                       23 PIERSIDE DRIVE
HUNTINGTON NY 11743                   BAY SHORE NY 11706                         BALTIMORE MD 21230




MARGARET DENBOW                       MARGARET DOUD                              MARGARET DRYDEN
5435 VICARIS ST                       921 CAVANAGH ROAD                          2618 SUSANANN DRIVE
PHILA PA 19128                        GLENDALE CA 91207                          MANCHESTER MD 21102




MARGARET DUPONT                       MARGARET DURKIN                            MARGARET F PATTERSON
105 HOMESTEAD STREET                  302 N. WISNER                              223 S WASHINGTON ST
MANCHESTER CT 06040                   PARK RIDGE IL 60068                        WHEATON IL 60187




MARGARET FARLEY                       MARGARET FIELDS                            MARGARET FLECHTER
576 4TH ST.                           125 BORDEAUX CIRCLE                        3223 N. HOYNE #1
BROOKLYN NY 11215                     NAPLES FL 34112                            CHICAGO IL 60618-6305




MARGARET GANTZ                        MARGARET GARRITY                           MARGARET GENTILCORE
33 BOYLSTON STREET                    4915 N ALBANY                              3602 S WOLCOTT STREET
GLENS FALLS NY 12801                  CHICAGO IL 60625                           CHICAGO IL 60609




MARGARET GERBER                       MARGARET GOOD                              MARGARET GRAEBER-AKAI
3 FIELDVIEW COURT                     5029 W. 138TH STREET                       7715 W. 167TH STREET
C/O HANSON                            HAWTHORNE CA 90250                         TINLEY PARK IL 60477
FORT SALONGA NY 11768




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MARGARET HOLT                           MARGARET JAMES                              MARGARET JONES
6007 N. SHERIDAN                        2212 SAN MARCO DRIVE                        1138 20TH STREET #5
#28A                                    HOLLYWOOD CA 90068                          SANTA MONICA CA 90403
CHICAGO IL 60660



MARGARET KALAHER                        MARGARET KANE FORGOSH                       MARGARET LAURYSSENS LLC
153 OAKVIEW AVE.                        3500 JONATHAN COURT                         416 GILMOR RD
MAPLEWOOD NJ 07040                      OREFIELD PA 18069                           JOPPA MD 21085




MARGARET LOMAS                          MARGARET LORD                               MARGARET LUNDQUIST
141 FLORIDA AVENUE                      4443 CLIFTON RD APT 2                       208 FARHAN LANE
GENEVA FL 32732                         BALTIMORE MD 21216                          NORTH BABYLON NY 11703




MARGARET M MCCARTHY                     MARGARET MALDONADO AGENCY                   MARGARET MEDINA
16820 134TH TERRACE                     8422 MELROSE PLACE                          91 CONNECTICUT AVENUE
JUPITER FL 33478                        LOS ANGELES CA 90069                        STAMFORD CT 06902




MARGARET MENDOZA                        MARGARET MILLER                             MARGARET MOLINARI
P. O. BOX 667                           MILLERS NEWS AGENCY                         1069 BROOKDALE AVENUE
BURBANK CA 91503-0667                   1742 KING                                   BAY SHORE NY 11706
                                        DANVILLE IL 61832



MARGARET MOORE                          MARGARET MULLINS                            MARGARET O'BRIEN
605 CAMINO REAL                         260 VALENTINE LANE                          1709 W. FOSTER
REDONDO BEACH CA 90277                  APT 3E                                      UNIT 1E
                                        YONKERS NY 10705                            CHICAGO IL 60640



MARGARET OLIVO                          MARGARET OSBORN                             MARGARET PETERSON
1146 S. HUMPHREY AVE.                   240 W. PALATINE                             18 WHITE OAK LANE
OAK PARK IL 60304                       APT. 2W                                     EMMAUS PA 18049
                                        PALATINE IL 60067



MARGARET PETRAUSKAS                     MARGARET REBMAN                             MARGARET REGAN
13143 FOREST VIEW LANE                  3944 N CLAREMONT AVE                        925 S BOULDIN STREET
CRESTWOOD IL 60445                      APT 204                                     BALTIMORE MD 21224
                                        CHICAGO IL 60618



MARGARET REIMER                         MARGARET REMY                               MARGARET SCIARAFFA
330 SE 9TH STREET                       1021 CINDY LANE                             11409 MILOANN ST.
POMPANO BEACH FL 33060                  WESTMINSTER MD 21157                        ARCADIA CA 91006




MARGARET SECOR                          MARGARET SHEFFIELD                          MARGARET SMITH
8 WOODSIDE ST                           5241 MADISON                                146 N. CENTRAL
BURLINGTON CT 06013-2533                SKOKIE IL 60077                             APT. # 1D
                                                                                    CHICAGO IL 60644




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MARGARET STAUDINGER                      MARGARET STEIN                               MARGARET SUDOL
1011 SOUTH THIRD STREET                  3033 HEWLETT AVENUE                          34 WALKLEY DRIVE
MILWUAKEE WI 53204                       MERRICK NY 11566                             SOUTHINGTON CT 06489




MARGARET TAYLOR                          MARGARET THOMPSON                            MARGARET WALKER
1220 S. CENTRAL PARK AVE.                5700 W OLYMPIC BLVD #210                     18950 AVERS AVE.
CHICAGO IL 60623                         LOS ANGELES CA 90036                         FLOSSMOOR IL 60422




MARGARET WAPPLER                         MARGARET WILLS                               MARGARET ZACHARSKI
101 NORTH KENMORE AVENUE                 1643 SUNSET VIEW CR.                         6560 W ROSCOE
APT #101                                 APOPKA FL 32703                              3C
LOS ANGELES CA 90004                                                                  CHICAGO IL 60634



MARGARETE HUBER                          MARGARETE VALENZUELA                         MARGARETHE STOCKLI
120 N. LAKEVIEW DRIVE                    1403 NE SHERMAN LANE                         1714 TENSHAW PLACE
#201                                     GRANTS PASS OR 97526                         LOS ANGELES CA 90041
BLOOMINGDALE IL 60108



MARGARETTE NELSON                        MARGARETTE ORIENTAL                          MARGARITA BERNAL
6503 WINFIELD BLVD.                      3000 NW 5TH AVE                              415 N. AVENUE 50
APT. 224                                 APT 10                                       APT. # 2
MARGATE FL 33063                         BOCA RATON FL 33431                          LOS ANGELES CA 90042



MARGARITA LINHARDT                       MARGARITA MARTIN DE CAMPO                    MARGARITA MARTINEZ
1661 W. 259TH ST                         31 MEADOW VIEW DR                            916 S. IOWA AVE
#104                                     PHILLIPS RANCH CA 91766                      ADDISON IL 60101
HARBOR CITY CA 90710



MARGARITA RIORDAN                        MARGE PERRY INC                              MARGE PERRY INC
1021 SW 31ST STREET                      169 ELM STREET                               89 FRANKLIN ST
FORT LAUDERDALE FL 33315                 TENAFLT NJ 07670                             ENGLEWOOD, NJ 07631




MARGHERITA IADEVAIA                      MARGIE FABRO                                 MARGIE KORSHAK INC
117 GORDON AVENUE                        6340 NORTH KEYSTONE                          875 N MICHIGAN AVE STE 1535
WESTBURY NY 11590                        CHICAGO IL 60646                             CHICAGO IL 60611




MARGIT RUBINS                            MARGO ROBERTS                                MARGOLIN, DON S
3858 LATROBE STREET                      41 ASHLEY COURT                              1566 THE MIDWAY ST
LOS ANGELES CA 90031                     BLOOMFIELD CT 06002                          GLENDALE CA 91207




MARGOLIN, DON S                          MARGOLIS EDELSTEIN                           MARGOLIS, DAWN
1566 THE MIDWAY ST                       WILLIAM LONGO                                221 WOODBINE
GLENDALE CA 91208                        THE CURTIS CENTER, 4TH FL; INDEPENDENCE      WILMETTE IL 60091
                                         SQUARE WEST; 601 WALNUT ST
                                         PHILADELPHIA PA 19106-3304




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MARGOT LOPEZ                           MARGOT ROOSEVELT                            MARGOTH ESTRADA
427 LINCOLN AVE # 4                    13333 GALEWOOD STREET                       35-63 89TH ST
GLENDALE CA 91205                      SHERMAN OAKS CA 91423                       APT 3G
                                                                                   JACKSON HEIGHTS NY 11372



MARGUERITE CUNNINGHAM                  MARGUERITE FIFE                             MARGUERITE HARGREAVES
2235 FRIZZELLBURG RD                   364 W KIRKWALL ROAD                         217 CADES COURT
WESTMINSTER MD 21158                   GLENDORA CA 91740                           NEWPORT NEWS VA 23606




MARGUERITE SAUNDERS                    MARGULIES, JIMMY                            MARGULIS, JENNIFER
PO BOX 3313                            THE RECORD                                  405 HARRISON ST
GLENS FALLS NY 12801                   150 RIVER STREET                            ASHLAND OR 97520
                                       HACKENSACK NJ 07601



MARI ANN VOGT                          MARI COLACCHIO                              MARI FAUCHER LTD
4757 SANTA LUCIA                       8781 HOLLY CT                               228 W BROADWAY 4TH FLR
WOODLAND HILLS CA 91364                APT 102                                     NEW YORK NY 10013
                                       TAMARAC FL 33321



MARI RAHIMI                            MARI YAMAGUCHI                              MARI-LISE HAYES
4832 LEGACY OAKS DR.                   1345 MUNSEE CT.                             113 WILLOWOOD LANE
ORLANDO FL 32839                       INDIANAPOLIS IN 46260                       FISHERS IN 46038




MARIA ABELLO                           MARIA ACEVEDO                               MARIA ACOSTA
16909 SIMONDS ST                       67 SILVERMINE AVENUE                        4430 MARTINS WAY ST.
GRANADA HILLS CA 91344                 NORWALK CT 06850                            ORLANDO FL 32808




MARIA AGUILAR                          MARIA ALLEN                                 MARIA ALSTON
1510 W. AUGUSTA BLVD                   2027 BROOK VIEW CRT                         100 LINCOLN STREET
CHICAGO IL 60622                       MATTHEWS NC 28104                           APT. #G2
                                                                                   HAMPTON VA 23661



MARIA ANDRADE                          MARIA ARCEGA-DUNN                           MARIA ARELLAN
1381 N. SAN GABRIEL CANYON ROAD        6603 154TH PLACE SE                         1826 E. BADILLO ST.
APT. #216                              BELLEVUE WA 98006                           #17
AZUSA CA 91702                                                                     WEST COVINA CA 91791



MARIA ARIAS                            MARIA ARREGUIN                              MARIA AVINA
906 N. 20TH AVE.                       318 S. 48TH AVENUE                          3090 190TH PLACE
MELROSE PARK IL 60160                  BELLWOOD IL 60104                           LANSING IL 60438




MARIA BABICZ                           MARIA BAHENA                                MARIA BARRIOS
6350 W. HUNTINGTON                     3512 W. BELDEN                              2425 GRAND AVENUE
CHICAGO IL 60646                       CHICAGO IL 60647                            HUNTINGTON PARK CA 90255




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MARIA BEDOYA                             MARIA BERTOLO                              MARIA BLICKENSDORFER
1610 N 69 WAY                            1864 SIERRA TRAIL                          127 WARWICK AVENUE
HOLLYWOOD FL 33024                       ROMEOVILLE IL 60446                        COPIAGUE NY 11726




MARIA BORIX                              MARIA CALANDRINO                           MARIA CAMPOS
3 ROBERT ROGERS AVENUE                   9440 SW 8TH STREET                         89-15 215TH STREET
FORT EDWARD NY 12828                     UNIT 101                                   QUEENS VILLAGE NY 11427
                                         BOCA RATON FL 33428



MARIA CANO                               MARIA CARBONARA                            MARIA CARREON
2654 N. MARMORA                          4321 ROSADA STREET                         315 MAJOR DR.
CHICAGO IL 60639                         LONG BEACH CA 90815                        NORTHLAKE IL 60164




MARIA CASILLAS                           MARIA CASTELLANOS                          MARIA CASTRO-TRAVIERSO
1916 W. AVENUE                           2742 SOUTH KOSTNER                         8912 NW 121 STREET
LOS ANGELES CA 90065                     CHICAGO IL 60623                           HIALEAH GARDENS FL 33018




MARIA CERVANTES                          MARIA CHERCOLES                            MARIA CONTRERAS
18302 E. GHENT ST                        100 LINCOLN ROAD                           1640 NEIL ARMSTRONG
AZUSA CA 91702                           APT 1148                                   #108
                                         MIAMI BEACH FL 33139                       MONTEBELLO CA 90640



MARIA CONTRERAS                          MARIA COREY                                MARIA COTTO
1635 S. 49TH AVE.                        261-35 LANGSTON AVENUE                     702 MARY SHEPARD PLACE
CICERO, IL 60804                         APT. 1                                     HARTFORD CT 06120
                                         GLEN OAKS NY 11004



MARIA CRUZ                               MARIA D RUSSELL                            MARIA DE JESUS GUTIERREZ
264 SUMMITT AVE APT 1                    410 NW 39TH STREET                         4908 N. VOGUE AVENUE
JERSEY CITY NJ 07306-2404                POMPANO BEACH FL 33064                     COVINA CA 91722




MARIA DEL CARMEN GARDEA                  MARIA DEL CARMEN HERNANDEZ                 MARIA DELOS ANGE OROZCO
16520 E. QUEENSIDE DR.                   2513 EAST 57TH ST.                         P.O. BOX 330577
COVINA CA 91722                          HUNTINGTON PARK CA 90255                   PACOIMA CA 91333




MARIA DERAS                              MARIA DIAZ                                 MARIA DOMINGUEZ
1316 E. HARVARD STREET                   6029 GIFFORD AVENUE                        12402 TIGRINA AVENUE
APT. #B                                  HUNTINGTON PARK CA 90255                   WHITTIER CA 90604
GLENDALE CA 91205



MARIA DONOSO                             MARIA DR ALAGNA                            MARIA EDUARDO CORPORATION
2904 N. OAK PARK AVE                     9058 GRAND AVENUE                          17 NOTTINGHAM PLACE
CHICAGO IL 60634                         FRANKLIN PARK IL 60131-3017                BOYNTON BEACH FL 33426




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MARIA ELEZOVIC                          MARIA ESCOBAR                              MARIA ESPINOZA
30 SECOND ST                            2932 S. 53RD AVENUE                        704 DUNCAN AVE.
RONKONKOMA NY 11779                     CICERO IL 60804                            LOS ANGELES CA 90022




MARIA ESPITIA                           MARIA EYZAGUIRRE                           MARIA FARRICIELLI
1164 NW 114TH AVE                       11330 NW 39TH STREET                       131 RANDY LANE
CORAL SPRINGS FL 33071                  CORAL SPRINGS FL 33065                     WETHERSFIELD CT 06109




MARIA FERNANDEZ                         MARIA FERNANDEZ                            MARIA FOLDENAUER
2612 PACIFIC AVENUE                     22245 HART STREET                          1136 NORTH DALTON AVENUE
APT B                                   CANOGA PARK CA 91303                       AZUSA CA 91702
VENICE CA 90291



MARIA GALLEGOS                          MARIA GARCIA                               MARIA GARCIA
408 S. 44TH STREET                      1920 GARDENA AVE. #4                       5232 WEST 22ND PLACE
NORTHLAKE IL 60164                      GLENDALE CA 91204                          CICERO IL 60804




MARIA GARDELLA                          MARIA GIESA ESPANOL                        MARIA GINEZ
211 S BEACH BLVD                        248 PRESCOTT M                             2347 EAST AVENUE
APT #65                                 DEERFIELD BEACH FL 33442                   BERWYN IL 60402
ANAHEIM CA 92804



MARIA GITTO                             MARIA GOMEZ                                MARIA GONZALEZ
112 29TH STREET                         3210 ANDRITA STREET                        11208 BENFIELD AVENUE
MANHATTAN BEACH CA 90266                APT #202                                   NORWALK CA 90650
                                        LOS ANGELES CA 90065



MARIA GONZALEZ                          MARIA GUERRA-SANTAMARIA                    MARIA HERNANDEZ
2818 N. GARY DR.                        4325 HIRCH                                 11592 FERNWOOD AVENUE
MELROSE PARK IL 60164                   CHICAGO IL 60651                           FONTANA CA 92337




MARIA HERRERA                           MARIA HERRERA                              MARIA HOLGUIN
3207 SPANISH WELLS DRIVE                3047 CHARLES STREET                        205 S. HAROLD AVE
APT C                                   MELROSE PARK IL 60164                      NORTHLAKE IL 60164
DELRAY BEACH FL 33445



MARIA HSIN                              MARIA HUGHES                               MARIA ILLIDGE
951 E. 67TH STREET                      283 WEST SHORE ROAD                        8002 LAGOS DE CAMPO BLVD
INGLEWOOD CA 90302                      OAKDALE NY 11769                           APT 102B
                                                                                   TAMARAC FL 33321



MARIA JACKSON                           MARIA JESUS HERRERA                        MARIA JIMENEZ DELARA
3903 VAN BUREN STREET                   42321 N. LEWIS                             164 GOLFVIEW DR.
BELLWOOD IL 60104                       WINTHROP HARBOR IL 60096                   BASEMENT
                                                                                   NORTHLAKE IL 60164




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MARIA JOE                               MARIA KOLMETZ                              MARIA LA GANGA
1121 CHURCH STREET                      2818 BOLTON BEND                           1308 CALIFORNIA STREET
#408                                    ORLANDO FL 32817                           SAN FRANCISCO CA 94109
EVANSTON IL 60201



MARIA LAHTONEN                          MARIA LANGO                                MARIA LEITE
327 MCCALL AVENUE                       5517 MONTEREY ROAD                         8437 FOREST HILLS DRIVE
WEST ISLIP NY 11795                     LOS ANGELES CA 90042                       APT 202
                                                                                   CORAL SPRINGS FL 33065



MARIA LOPEZ                             MARIA MANASERI                             MARIA MARQUEZ
1537 1/2 TILGHMAN STREET                1 WOODS COURT                              1532 BRIDGE STREET
ALLENTOWN PA 18102                      HUNTINGTON NY 11743                        LOS ANGELES CA 90033




MARIA MARTINEZ                          MARIA MARTINEZ                             MARIA MEDINA
2534 S. SACRAMENTO AVENUE               2431 S. 11TH AVENUE                        5214 RAPHAEL STREET
CHICAGO IL 60623                        NORTH RIVERSIDE IL 60546                   LOS ANGELES CA 90042




MARIA MEDINA                            MARIA MELENDEZ                             MARIA MENDEZ-CARMONA
5721 S; SAINT LOUIS AVE                 925 W. BONITA AVE.                         2343 S. CALIFORNIA
CHICAGO IL 60629                        SP. 29                                     APT. #1
                                        GLENDORA CA 91740                          CHICAGO IL 60608



MARIA MENDOZA                           MARIA MERCADO                              MARIA MESA
619 S COLLEGE STREET                    3019 NORTH SAWYER                          350 E 59 ST
CLAREMONT CA 91711                      CHICAGO IL 60618                           HIALEAH FL 33013




MARIA MONTIGLIO                         MARIA MOOSHIL                              MARIA MORENO
10588 PLAINVIEW CIRCLE                  5902 N. KNOX AVE.                          332 NORTH AVENUE 59
BOCA RATON FL 33498                     CHICAGO IL 60646                           APT #3
                                                                                   LOS ANGELES CA 90042



MARIA MURILLO                           MARIA NAVARRETE                            MARIA NEGRON
15143 E. OLIVE STREET                   2910 N. MELVINA AVENUE                     38 NORTH 7TH STREET
BALDWIN PARK CA 91706                   CHICAGO IL 60634                           2ND FLOOR
                                                                                   ALLENTOWN PA 18101



MARIA NUNEZ                             MARIA O'NEILL                              MARIA OCHOA
0N040 PRINCE CROSSING RD                60 VESPUCCI AVE                            537 N. NANTES AVE.
WEST CHICAGO IL 60185                   COPIAGUE NY 11726                          LA PUENTE CA 91744




MARIA OCHOA                             MARIA ORTIZ                                MARIA PALACIO
15744 MAPLEGROVE STREET                 5111 INGLEWOOD BLVD                        791 EAST MAIN STREET
LA PUENTE CA 91744                      APT #8                                     APT. 2E
                                        CULVER CITY CA 90230                       STAMFORD CT 06902




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MARIA PALOMERA                        MARIA PASILLAS                             MARIA PENA
16515 LOUKELTON ST.                   157 N. RODECKER DR.                        495 SIDNEY,APT C
LA PUENTE CA 91744                    AZUSA CA 91702                             GLENDALE HEIGHTS IL 60139




MARIA PENALOZA-CRUZ                   MARIA PIMIENTA                             MARIA PINEIRO
521 NORTH FIFTH STREET                731 SW 67TH TERRACE                        4345 AMELIA AVE.
ALLENTOWN PA 18102                    PEMBROKE PINES FL 33023                    LYONS IL 60534




MARIA PINON                           MARIA PULIDO-CRUZ                          MARIA RAMIREZ
3111 N. KEATING                       1818 N 14TH AVE                            5503 BRIDGEVIEW AVENUE
CHICAGO IL 60641                      MELROSE PARK IL 60160                      PICO RIVERA CA 90660




MARIA RAMIREZ GUZMAN                  MARIA RESMA                                MARIA RESTO
18270 LANACA STREET                   3705 MERCED AVENUE                         1726 N. KEDZIE AVE.
LA PUENTE CA 91744                    BALDWIN PARK CA 91706                      UNIT J
                                                                                 CHICAGO IL 60647



MARIA REYES                           MARIA RIVERA                               MARIA RODRIGUEZ
109 EAST CUMBERLAND STREET            3462 MANGUM ST.                            317 N. ALMA AVENUE
ALLENTOWN PA 18103                    BALDWIN PARK CA 91706                      LOS ANGELES CA 90063




MARIA RODRIGUEZ                       MARIA ROSENQUEST                           MARIA ROSSANO-MISKO
4058 N. KOLMAR AVENUE                 6020 BENT PINE DRIVE                       176 OLD SOUTH PATH
CHICAGO IL 60641                      #2737                                      MELVILLE NY 11747
                                      ORLANDO FL 32822



MARIA ROUSSEAU                        MARIA ROWENIA GUY                          MARIA RUSSO
14120 BORA DR                         129 CARR DRIVE                             3809 ACKERMAN DR.
LA MIRADA CA 90638                    UNIT 5                                     LOS ANGELES CA 90065
                                      GLENDALE CA 91205



MARIA SALIDAS                         MARIA SANCHEZ                              MARIA SANCHEZ
1115 N 12TH AVE                       1852 W. 38TH PLACE                         6155 PIEDMONT AVENUE
MELROSE PARK IL 60160-3527            LOS ANGELES CA 90062                       LOS ANGELES CA 90042




MARIA SANTIAGO                        MARIA SANTILLAN                            MARIA SCHULER
429 W. WALNUT STREET                  18344 E. BELLEFONT DR.                     23 WANDSWORTH BRIDGE WAY
2ND FLOOR                             AZUSA CA 91744                             TIMONIUM MD 21093
ALLENTOWN PA 18102



MARIA SCHULZ                          MARIA SERRANO                              MARIA SUEIRO
19 SECOND AVE                         3904 BRESEE AVE. #2                        23 HAWTHORNE LANE
PORT WASHINGTON NY 11050              BALDWIN PARK CA 91706                      BOYNTON BEACH FL 33426




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MARIA TERESA TORRES                  MARIA TORRES                               MARIA TOSCANO
1843 W. CULLERTON ST.                14731 MASTHEAD LANDING CIRCLE              6018 S. KILBOURN AVE
CHICAGO IL 60608                     WINTER GARDEN FL 34787                     CHICAGO IL 60629




MARIA TOSTI                          MARIA TROIA HYLTON                         MARIA URIBE
5 BARBARA LANE                       44 EAST 25TH ST                            1928 W. CYPRESS ROAD
FARMINGDALE NY 11735                 HUNTINGTON STATION NY 11746                OAKLEY CA 94561




MARIA VALLECILLO                     MARIA VARGAS                               MARIA VAZQUEZ
11015 SW 157 TER                     1523 E. MAPLE STREET                       2155 CORTE VISTA
MIAMI FL 33157                       APT. #B                                    # 144
                                     GLENDALE CA 91205                          CHULA VISTA CA 91915



MARIA VAZQUEZ                        MARIA VEGA                                 MARIA VELASCO
28 KING ARTHUR COURT                 148 PARKER                                 4714 3RD AVENUE
NORTHLAKE IL 60164                   HOUSTON TX 77076                           LOS ANGELES CA 90043




MARIA VERA                           MARIA VIDAL                                MARIA VILLALOBOS
1808 N. 38TH AVE.                    5146 W. HUTCHINSON                         2345 N. LOCKWOOD
STONE PARK IL 60165                  CHICAGO IL 60641                           CHICAGO IL 60639




MARIA VILLARREAL                     MARIA VOSEN                                MARIA WALSH
9406 BASCOM STREET                   1002 BARRIE AVENUE                         5409 CARLTON WAY
PICO RIVERA CA 90660                 WANTAGH NY 11793                           204
                                                                                LOS ANGELES CA 90027



MARIA WATTERS                        MARIA ZWIERKOWSKI                          MARIACHI MONUMENTAL DE AMERICA
914 ASHBRIDGE DRIVE                  3255 HERMANOS STREET                       PO BOX 93422
APT. C                               PASADENA CA 91107                          CITY OF INDUSTRY CA 93422
ESSEX MD 21221



MARIACHI MONUMENTAL DE AMERICA       MARIAME SPRIGGS                            MARIAN BURKE
PO BOX 93422                         1 EDDYSTONE PLACE                          1103A CREEKSIDE WAY
CITY OF INDUSTRY CA 91715-3422       APT. C                                     OJAI CA 93023
                                     BALTIMORE MD 21221



MARIAN H NUNNALLY                    MARIAN HARVIN                              MARIAN HOM
15 EMRICK AVE                        9903 CERVINE LANE                          849 PADILLA STREET
NEWPORT NEWS VA 23601                # 204                                      UNIT 305
                                     RANDALLSTOWN MD 21133                      SAN GABRIEL CA 91776



MARIAN KLUKIEWICZ                    MARIAN MORALES                             MARIAN REES ASSOCIATES INC
5860 NW 14TH PLACE                   1726 PRINCETON DRIVE WEST                  12400 VENTURA BLVD
SUNRISE FL 33313                     WANTAGH NY 11793                           SUITE 225
                                                                                STUDIO CITY CA 91604




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MARIAN REES ASSOCIATES INC           MARIAN ZAVERSNIK                           MARIANA SANTANGELO
3708 VANTAGE AVENUE                  11730 W. SUNSET BLVD., #329                4304 VIA MARINA
STUDIO CITY CA 91604                 LOS ANGELES CA 90049-2979                  APT# A
                                                                                MARINA DEL REY CA 90292



MARIANELLA MEDINA                    MARIANNA BORYK                             MARIANNA COLON OJEDA
1305 S ATLANTIC AVE                  21 CREEKSIDE CIRCLE                        2325 SOUTH 2ND ST
#350                                 #D                                         ALLENTOWN PA 18103
COCOA BEACH FL 32931                 ELGIN IL 60123



MARIANNE BROWN                       MARIANNE CARASKA                           MARIANNE DANALEWICH
76 CEDAR AVE                         1332 HARTLEY WAY                           15359 DIAMOND DR.
NEWPORT NEWS VA 23607                FOLSOM CA 95630                            OAK FOREST IL 60452




MARIANNE DAVIS                       MARIANNE FAITH                             MARIANNE GLEIM
3306 ASHWOOD COURT                   410 BARRYWOOD LANE                         701 VIRGINIA AVENUE
PORT JEFFERSON STATION NY 11776      CASSELBERRY FL 32707                       NORTH BELLMORE NY 11710




MARIANNE LUSTENRING                  MARIANNE PFEFFER                           MARIANNE WOLEK
70 ALGONQUIN AVENUE                  3225 WHEATFIELD ROAD                       230 E ONTARIO STREET
MASSAPEQUA NY 11758                  FINKSBURG MD 21048                         #2202
                                                                                CHICAGO IL 60611



MARIANO CORREA                       MARIANO, INDRA                             MARIBEL ENRIQUEZ
9033 VIA AMORITA                     4972 PARK FOREST LOOP SUITE 2005           98 TROUTMAN STREET
DOWNEY CA 90241                      KISSIMMEE FL 34746                         APT. 2R
                                                                                BROOKLYN NY 11206



MARIBEL FAJARDO                      MARIBEL SANCHEZ                            MARIBELL ABEJA-DE VITTO
276 E. PALMER AVENUE                 14832 ANADA ST.                            5119 S NATCHEZ AVENUE
NORTHLAKE IL 60164                   BALDWIN PARK CA 91706                      CHICAGO IL 60638




MARIBETH B JETTE                     MARICAY WILLIS                             MARICELA NEPOMUCENO
42 OLD TOWNE RD                      5125 N KENMORE                             1519 NORTH 22ND AVENUE
CHESHIRE CT 06410                    APT # 4N                                   MELROSE PARK IL 60160
                                     CHICAGO IL 60640



MARICOPA MEDICAL FOUNDATION          MARIE ALLENDER                             MARIE ANAXE
MARICOPA MEDICAL CENTER LABORATORY   6966 GUN CLUB ROAD                         620 NW 42ND COURT
2601 E ROOSEVELT                     COOPERSBURG PA 18036                       POMPANO BEACH FL 33064
PHOENIX AZ 85010



MARIE BECENTI                        MARIE CARTER                               MARIE COOPER
P. O. BOX 3681                       P.O. BOX 1156                              2631 SW 10 DR
GARDENA CA 90247                     WEST POINT VA 23181                        DEERFIELD BEACH FL 33442




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MARIE D HANDLEY                        MARIE DEJESUS                              MARIE DILLON
1000 GROVE DR.                         113 CARNIVAL DRIVE                         515 ELMWOOD AVENUE
MT. PROSPECT IL 60056                  DAYTONA BEACH FL 32124                     EVANSTON IL 60202




MARIE E LITTLE                         MARIE HUNTER                               MARIE J HALBERT
4430 SW 22ND CT                        1558 POQUONOCK AVENUE                      15601 VIA MARCHENA
FT. LAUDERDALE FL 33317                WINDSOR CT 06095                           SAN DIEGO CA 92128




MARIE JEAN-GUILLAUME                   MARIE JOSEPH                               MARIE JOSEPH
99-86 211TH STREET                     509 SW 9TH STREET                          2021 NE 1ST TERRACE
QUEENS VILLAGE NY 11429                DELRAY BEACH FL 33444                      POMPANO BEACH FL 33060




MARIE JOYCE GARCIA                     MARIE KEHOE                                MARIE L BANNON
564 W. BELDEN AVE                      136 MEADOW ST                              7515 NANTUCKET DR
ELMHURST IL 60126                      GARDEN CITY NY 11530                       #102
                                                                                  DARIEN IL 60561



MARIE LUCAS                            MARIE LUCK                                 MARIE MANUTUDE BENJAMIN
2933 NORTH SHERIDAN RD                 5616 SHASTA DR.                            630 SW 10TH COURT
APT # 701                              ORLANDO FL 32810                           DEERFIELD BEACH FL 33441
CHICAGO IL 60657



MARIE MOJICA                           MARIE MORFIS                               MARIE MULLAUER
22 LESLIE STREET                       P.O. BOX 825                               207 8TH AVENUE
APT. 11                                HOLBROOK NY 11741                          BALTIMORE MD 21225
STAMFORD CT 06902



MARIE OSBORNE                          MARIE OSCAR                                MARIE PADILLA
250 SO. SAN FERNANDO BLVD.             259-20 148 AVE                             14796 FOXWOOD ROAD
APT#108                                ROSEDALE NY 11422                          CHINO HILLS CA 91709
BURBANK CA 91502



MARIE PIKUL                            MARIE POLEMENI                             MARIE PRATT
1816 S. 59TH AVE.                      25 NEPTUNE BLVD                            210 W 20TH ST
CICERO IL 60804                        APT 3-P                                    DEER PARK NY 11729
                                       LONG BEACH NY 11561



MARIE ROY                              MARIE SANDERS                              MARIE SCHNEIDER
22 FOLEY STREET                        9355 S. EBERHART                           304 W SHORE ROAD
MANCHESTER CT 06040                    CHICAGO IL 60619                           OAKDALE NY 11769




MARIE SCHROEDER                        MARIE SHANAHAN                             MARIE SIMPSON
239 WHITE BIRCH ESTATES                50 NORTON ROAD                             1071 SW 42ND WAY
FORT EDWARD NY 12828                   BROAD BROOK CT 06016                       DEERFIELD BEACH FL 33442




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MARIE SMITH                             MARIE SPAHN                                MARIE STAATS
448 E. 91ST PLACE                       11950 NW 29TH MANOR                        18 OLD KNOLLWOOD ROAD
CHICAGO IL 60619                        SUNRISE FL 33323                           ELMSFORD NY 10523




MARIE STUBBS                            MARIE THEROT                               MARIE THOMAS
7932 KIMBERLY BLVD                      210 SW 10TH AVE                            1502 W. LINE STREET
NORTH LAUDERDALE FL 33068               DELRAY BEACH FL 33444                      LEESBURG FL 34748




MARIE W METCALF                         MARIE WORTHING                             MARIELLA SAVIDGE
8249 GREGORY CIR                        4178 GATOR                                 309 SURREY PLACE
BUENA PARK CA 90621                     TRACE VILLAS CIR #A                        MACUNGIE PA 18062
                                        FORT PIERCE FL 34982



MARIEM GARCIA                           MARIETTA FASO                              MARIETTA JOHNSON
19999 SW 3RD PLACE                      512 N. MCCLURG CT.                         3024 KENTUCKY AVE
PEMBROKE PINES FL 33029                 UNIT # 912                                 BALTIMORE MD 21213
                                        CHICAGO IL 60611



MARIKAY KLAUS                           MARILYN BOLGER                             MARILYN BUCKLEY
13213 ORANGE COURT                      229 J SPRNGMEADOW DR                       3184 PLYERS MILL ROAD
CHINO CA 91710                          HOLBROOK NY 11741                          KENSINGTON MD 20895




MARILYN CAMPBELL                        MARILYN DINSMORE                           MARILYN JONES
120 GRAY GABLES DRIVE                   700 BRUCE LANE UNIT 310                    6941 ALOMA AVENUE
WILLIAMSBURG VA 23185                   GLENWOOD IL 60425                          APT. 75
                                                                                   WINTER PARK FL 32792



MARILYN KESELIS                         MARILYN KUEHLER                            MARILYN LANGE
20 PARK ROAD                            1741 PERCH STREET                          546 TENNYSON DRIVE
PLEASANT VALLEY CT 06063                SAN PEDRO CA 90732                         WHEATON IL 60187




MARILYN LORENZO                         MARILYN MILLER                             MARILYN MILLER
899 JEFFERY ST                          1736A WILDBERRY DR.                        6735 LAKE NONA PLACE
#604                                    GLENVIEW IL 60025                          LAKE WORTH FL 33463
BOCA RATON FL 33487



MARILYN PHELAN                          MARILYN RODGERS                            MARILYN RUIZ
4050 AVOCA AVENUE                       5423 CLAXTON                               3605 CASAMIA AVENUE
BETHPAGE NY 11714                       ST. LOUIS MO 63120                         PALMDALE CA 93550




MARILYN SAMEDY                          MARILYN SPAARGAREN                         MARILYN SUTLIFF
4088 NW 87TH AVE                        11 GLENDA DRIVE                            78 FIRST AVENUE
SUNRISE FL 33351                        WEST BABYLON NY 11704                      HADLEY NY 12835




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MARILYN THIVEL                        MARILYN THORNLOW                           MARILYN WILKINS
3845 W. 66TH PLACE                    93 CHAUCER COURT                           5303 DORAL WOODS COURT
CHICAGO IL 60629                      LAKEWOOD NJ 08701                          SUFFOLK VA 23435




MARILYN WILLIAMS                      MARILYN WOTRING                            MARIMON, CHRISTOPHER
7725 S. WOOD                          1012 N WOOD ST                             157 CEDAR RIDGE LANE
CHICAGO IL 60620                      UNIT 1                                     SUITE 1029
                                      CHICAGO IL 60622                           SANFORD FL 32771



MARIN, NITAE C                        MARIN, PABLO                               MARINA ALVAREZ
10609 NW 48 AVE                       804 HAMPTON CT                             6720 PERRY PENNEY DR
CORAL SPRINGS FL 33065                WESTON FL 33326                            ANNANDALE VA 22003




MARINA MACKROW                        MARINA SHAPIRA                             MARINA, LAUREN
12307 A 10TH PLACE NE                 3715 WEST DEVON                            945 CENTER ST FL1
SEATTLE WA 98125                      2B                                         BETHLEHEM PA 18018
                                      CHICAGO IL 60659



MARINE, KAIRA                         MARINEAU, DAVID                            MARINELLI, MICHELLE
210 ALLWOOD DRIVE                     PO BOX 794                                 94 WEST STREET NO.21
GLEN BURNIE MD 21061                  WILLIMANTIC CT 06226                       VERNON CT 06066




MARINERS MUSEUM                       MARINHO, LARISSE                           MARINO, BETH
100 MUSEUM DR                         9350 SW 61ST WAY AP NO.D17                 4453 N LEAVITT NO.1
NEWPORT NEWS VA 23606                 BOCA RATON FL 33428                        CHICAGO IL 60625




MARINO, GORDON D                      MARIO BAINES                               MARIO DELEON
506 WINONA ST                         1521 N. LAWLER                             7830 CHESTNUT AVENUE
NORTHFIELD MN 55057                   CHICAGO IL 60651                           WOODRIDGE IL 60517




MARIO GARCIA                          MARIO GONZALEZ                             MARIO GUERRERO
15016 FAIRHAVEN DR.                   107 ANDREW AVENUE                          8516 MORAINE AVE.
FONTANA CA 92336                      ISLIP TERRACE NY 11752                     MUNSTER IN 46321




MARIO HERNANDEZ                       MARIO JARAMILLO                            MARIO JAUREGUI
5438 VERONA DRIVE                     2055 LEE ST                                P.O. BOX 804422
APT E                                 HOLLYWOOD FL 33020                         CHICAGO IL 60680-4105
BOYNTON BEACH FL 33437



MARIO JONES                           MARIO LAGUZZI                              MARIO MARTINEZ
2227 S. TROY                          3531 CENTERVIEW AVENUE                     15101 MAGNOLIA BLVD
CHICAGO IL 60623                      WANTAGH NY 11793                           APT F6
                                                                                 SHERMAN OAKS CA 91403




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MARIO MENTOR                          MARIO MORENO                               MARIO PADILLA
39 FOXWOOD DRIVE EAST                 18122 NW 19 ST.                            8601 S. LATROBE AVENUE
HUNTINGTON STATION NY 11746           PEMBROKE PINES FL 33029                    BURBANK IL 60459




MARIO PETITTI                         MARIO PUENTES                              MARIO REGALA
448 EAST MADISON COURT                808 WEST 26TH STREET                       1080 HUNTER STREET
ELMHURST IL 60126                     SAN BERNARDINO CA 92405                    LOMBARD IL 60148




MARIO SALETNIK                        MARIO SANTOS                               MARIO SOUSA
10 EVA LANE                           10 OAKEN ROAD                              25 SAM STREET
FARMINGVILLE NY 11738                 BRISTOL CT 06010                           ENFIELD CT 06082




MARIO STARKS                          MARIO TRETO                                MARIO VILLALOBOS
2033 KAYLAS CT                        750 E. FIFTH ST.                           8425 S. NEENAH
ORLANDO FL 32817                      UNIT #60                                   1ST FLOOR
                                      AZUSA CA 91702                             BURBANK IL 60459



MARIO WANZA                           MARIO ZUCCA ILLUSTRATION                   MARION BULMAN
14411 KITTRIDGE STREET                948 S BRADDOCK AVE                         453 EAST 14TH ST.
APT #201                              PITTSBURGH PA 15221                        NEW YORK NY 10009
VAN NUYS CA 91405



MARION CARATOZZOLO                    MARION COUNTY TREASURER                    MARION COUNTY TREASURER
160 CAYUGA AVE                        200 E WASHINGTON ST STE 1221               200 EAST WASHINGTON STREET
DEER PARK NY 11729                    INDIANAPOLIS IN 46204                      RM 1001 CITY-COUNTY BUILDING
                                                                                 INDIANAPOLIS IN 46204



MARION COUNTY TREASURER               MARION E HINES                             MARION GERMINO
PO BOX 6145                           2090 PARK LANE                             74 WESTMORELAND AVENUE
INDIANAPOLIS IN 46206-6145            WHITE CLOUD MI 49349                       LONGMEADOW MA 01106




MARION MILTON                         MARION O'CONNOR                            MARION PHELPS
LAW OFFICES OF GENE J. GOLDSMAN       16 MADISON ST                              413 NE 2 ST
501 CIVIC CENTER DRIVE WEST           LYNBROOK NY 11563                          POMPANO BEACH FL 33060
SANTA ANA CA 92701



MARION SAMKAVITZ                      MARION STEPHENS TAYLOR                     MARION VILLANI
5018 VALLEY PARK ROAD                 2276 N ASHFORD AVENUE                      44 WYCOFF WAY EAST
DOYLESTOWN PA 18902                   RIALTO CA 92377                            EAST BRUNSWICK NJ 08816




MARION YOUNGMAN                       MARION,DEIRDRE                             MARISA DASILVA
722 DOUGLAS DRIVE                     1231 NW 29TH AVE                           35 SUNRISE CIRCLE
ALAMOSA CO 81101                      FORT LAUDERDALE FL 33311                   WALLINGFORD CT 06492




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MARISA PEREZ                           MARISA POZO                                MARISA TATE
4754 N. VINCENT AVE                    3429 S. 53RD COURT                         22 VERA ST
APT F                                  CICERO IL 60804                            APT#4
COVINA CA 91722                                                                   WEST HARTFORD CT 06119



MARISA WRIGHT                          MARISHA LETO                               MARISOL ESPINOZA
11 SHAWNEE COURT                       2 SADLER AVENUE                            1127 MEADOWSIDE ST.
CROMWELL CT 06416                      ELKTON MD 21921                            WEST COVINA CA 91792




MARISOL RUIZ                           MARISOL VARGAS                             MARISOL VIZCARRA
2825 WEST NELSON STREET                84 WHITMORE STREET                         1439 W. 218TH ST
APARTMENT 2W                           3RD FLOOR                                  TORRANCE CA 90301
CHICAGO IL 60618                       HARTFORD CT 06114



MARISSA CONTRERAS-DOMINGUEZ            MARISSA ESON                               MARISSA FRANKEL
119 WILSON AVENUE                      1120 N LASALLE                             330 EAST 46TH STREET
PLACENTIA CA 92870                     APT. 2R                                    APT PH F
                                       CHICAGO IL 60610                           NEW YORK NY 10017



MARISSA RICHARDSON                     MARISSA RUDMAN                             MARISTED, KAI
925 REDFIELD ROAD                      849 W OHIO                                 C/O VON BISMARCK
BEL AIR MD 21014                       UNIT #11                                   48 RUE DES TOURNELLES
                                       CHICAGO IL 60642                           PARIS 750003



MARITA C MENDOZA                       MARITZA BERNAL                             MARIXSA ALI
1744 S SHADEHILL PL                    12724 DE GAMO AVENUE                       320 W. BROOKDALE STREET
DIAMOND BAR CA 91765-2847              SYLMAR CA 91342                            ALLENTOWN PA 18103




MARJA MILLS                            MARJORIE A HANSEN                          MARJORIE BOYD
405 N. WABASH AVE.                     19317 OAK PLAZA COURT                      1910 MACKIEBETH COURT
UNIT # 3104                            NEWHALL CA 91321                           ANNAPOLIS MD 21401
CHICAGO IL 60611



MARJORIE BROOKS                        MARJORIE C OSTROVSKY                       MARJORIE CHERVINKO
8 SOMERSET STREET                      14533 FLOMAR DRIVE                         7748 BRISTOL PARK DRIVE
WETHERSFIELD CT 06109                  WHITTIER CA 90603                          TINLEY PARK IL 60477




MARJORIE DAVID                         MARJORIE E JOHNSON                         MARJORIE GENNARELLI
1530 S. STATE ST.                      227 COPPER DRIVE                           48 SUNFLOWER DRIVE
16R                                    STUARTS DRAFT VA 24477                     BOHEMIA NY 11716
CHICAGO IL 60605



MARJORIE HALL                          MARJORIE HOFFMAN                           MARJORIE J VARNER
82 IRVINE PLACE                        481 W BRANCH ST                            37 GRANDVIEW CIRCLE
APT 4C                                 LANTANA FL 33462                           WAYNESVILLE NC 28786
NEW YORK CITY NY 10003




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MARJORIE MCGINNIS                      MARJORIE MILLER                            MARJORIE ROBINS
4352 N. KOSTNER                        1050 GRAMERCY DRIVE                        5 FOURTH RD
CHICAGO IL 60641                       LOS ANGELES CA 90019                       GREAT NECK NY 11021




MARJORIE RUSCHAU                       MARK 1 RESTORATION COMAPNY                 MARK ACKERMAN
87C BROOKWOOD DR.                      1021 MARYLAND AVENUE                       1148 N 25TH STREET
ROCKY HILL CT 06067                    DOLTON IL 60419-2225                       ALLENTOWN PA 18104




MARK ADAMS                             MARK AND DENISE O'CONNOR                   MARK ANDERSON
1123 NURSERY STREET                    C/O MICHAEL J. FINICAL                     1613 PASADENA GLEN ROAD
FOGELSVILLE PA 18051                   LAW OFFICES OF MICHAEL J. FINICAL          PASADENA CA 91107
                                       801 K STREET, PENTHOUSE SUITE
                                       SACRAMENTO CA 95814


MARK AUSTIN                            MARK AVICHOUSER                            MARK AYE
19450 STONEWOOD LANE                   #37 LEMON GROVE                            9598 NW 24TH COURT
LAKE ELSINORE CA 92530                 IRVINE CA 92618                            CORAL SPRINGS FL 33065




MARK BACHOTA                           MARK BANUELOS                              MARK BARABAK
2712 FRIGATE DRIVE                     723 WEST ROSES ROAD                        659 CANDLEBERRY ROAD
ORLANDO FL 32812                       SAN GABRIEL CA 91775                       WALNUT CREEK CA 94598-1703




MARK BARRONS                           MARK BAZER                                 MARK BEETZ
17218 ELLEN DRIVE                      146 N. LOMBARD AVENUE                      11140 NW 36 CT
LIVONIA MI 48152                       OAK PARK IL 60302                          CORAL SPRINGS FL 33065




MARK BERNARDI                          MARK BIEL                                  MARK BLYTHE
34 HEATHER                             9031 HELEN LANE                            1032 WENTWORTH COURT
CRESTWOOD MO 63123                     ORLAND PARK IL 60462                       LONGWOOD FL 32750




MARK BOE                               MARK BOOKER                                MARK BOSTER
6752 214TH AVE. NE                     3603 EDGEGREEN AVE.                        9 BLUEWING
REDMOND WA 98053                       BALTIMORE MD 21211                         LADERA RANCH CA 92694




MARK BRANHAM, C/O CUSTOM AIR COMPANY   MARK BRIGGINS                              MARK BRIN
RE:NORMAL 1805 INDUSTRIAL PA           435 ROGERS AVENUE                          1100 SE 5TH COURT #96
102 S. PRAIRIE STREET                  HAMPTON VA 23664                           POMPANO BEACH FL 33060
BLOOMINGTON IL 61701



MARK BRINKS                            MARK BROADWATER                            MARK BURTON
1462 DINSMORE ST                       1750 WALWORTH AVE.                         18 FENWICK STREET
SIMI VALLEY CA 93065                   PASADENA CA 91104                          HARTFORD CT 06114




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MARK BYRNE                              MARK CAMPBELL                               MARK CARMAN
2151 W. DIVISION                        111 STAGECOACH WATCH                        4868 N. CALIFORNIA AVE.
APT. #2F                                YORKTOWN VA 23692                           2S
CHICAGO IL 60622                                                                    CHICAGO IL 60625



MARK CARO                               MARK CARPINO                                MARK CHEDIAK
1212 ASBURY AVE.                        2144 N. 75TH COURT                          1419 PINECREST PLACE
EVANSTON IL 60202                       ELMWOOD PARK IL 60707                       ORLANDO FL 32803




MARK CHEREK                             MARK CIPOLLA                                MARK CLOTFELTER
3560 4TH AVENUE                         9032 DUARTE ROAD                            3358 NORTH KILDARE
SACRAMENTO CA 95816                     SAN GABRIEL CA 91775                        APT 1
                                                                                    CHICAGO IL 60641



MARK COLEMAN                            MARK CONRAD                                 MARK COSTELLO CO
7627 224TH STREET SW                    528 JUDD STREET                             1145 DOMINQUEZ ST
EDMONDS WA 98026                        FAIRFIELD CT 06824                          CARSON CA 90746




MARK CRAIG AGNEW                        MARK CURTIS MEDIA                           MARK CURTIS MEDIA
641 N CHURCHILL AVENUE                  300 OLDHAM COURT                            PO BOX 3402
SAN DIMAS CA 91773                      DANVILLE CA 94526-4332                      DANVILLE CA 94526-3402




MARK D STROH                            MARK DEANE                                  MARK DEGENNARO
1320 COMSTOCK AVENUE                    656 E. NIAGARA CIRCLE                       4 ELIZABETH PL
LOS ANGELES CA 90024                    TERRYTOWN LA 70056                          MANALAPAN NJ 07726-3660




MARK DEMSKY                             MARK DIAL                                   MARK DIAZ
2070 COBBLE HILLS COURT                 107 PRIMROSE DRIVE                          2143 NW 45TH AVENUE
ROCKLIN CA 95765                        LONGWOOD FL 32779                           COCONUT CREEK FL 33066




MARK DIBENEDETTO                        MARK DIVINCENZO                             MARK DOBRZYNSKI
4463 GETTYSBURG DRIVE                   210 HILTON TERRACE                          8600 WEST 75TH STREET
ROLLING MEADOWS IL 60008                NEWPORT NEWS VA 23601                       JUSTICE IL 60458




MARK DONAHUE                            MARK DRURY                                  MARK DUSTIN
36148 N BANBURY CT                      638 SW 8TH AVE                              1331 ALTURA
GURNEE IL 60031                         FORT LAUDERDALE FL 33315                    SAN CLEMENTE CA 92673




MARK DWYER                              MARK EDWARD INC                             MARK EDWARD JACOB
100 JAY STREET                          325 W 38TH STREET NO.1011                   8211 LOWELL
APT 27B                                 NEW YORK NY 10018                           SKOKIE IL 60076
BROOKLYN NY 11201




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MARK ERICKSON                          MARK FIELD                                 MARK FLEMING
75 LINDEN AVENUE                       3525 SOUTH STREET                          1409 EUTAW PLACE
HAMPTON VA 23669                       COVENTRY CT 06238                          APT. 2 SOUTH
                                                                                  BALTIMORE MD 21217



MARK FOCHESATO                         MARK FRIED                                 MARK FUSETTI SERVICE CO
7 BRIDLEPATH ROAD                      252 JUNIPER CT.                            124 COLUMBIA AVE
WEST SIMSBURY CT 06092                 MIDDLE ISLAND NY 11953                     ATLAS PA 17851




MARK FUSETTI SERVICE CO                MARK FUSETTI SERVICE CO                    MARK FUSETTI SERVICE CO
427 JACKSONVILLE RD                    617 KATHRYN ST                             864 GLENN STREET
HATBORO PA 19040                       READING PA 19601                           PHILADELPHIA PA 19115




MARK GALLIMORE                         MARK GARDAS                                MARK GEERS
4301 NW 23RD ST                        3749 W. 68TH STREET                        4540 LONGRIDGE AVENUE
LAUDERHILL FL 33313                    CHICAGO IL 60629                           SHERMAN OAKS CA 91423




MARK GERARDI                           MARK GINOCCHIO                             MARK GONZALES
117 RIMBRAVE DRIVE                     509 W. 212TH STREET                        737 W. WASHINGTON
GANSEVOORT NY 12831                    APT. #3C                                   #2310
                                       NEW YORK NY 10034                          CHICAGO IL 60611



MARK GOODWIN                           MARK GOULSTON MD INC                       MARK GRAYSON
9553 AUSTIN PLACE                      1150 YALE STREET NO.3                      32 MAGNOLIA LANE
BOCA RATON FL 33434                    SANTA MONICA CA 90403                      HANOVER PA 17331




MARK GREENWALD                         MARK GROSS                                 MARK GRUNTOWICZ
1539 W. ADDISON                        128 BUTTONWOOD COURT                       6207 BROOK AVENUE
CHICAGO IL 60613                       ROSEDALE MD 21237                          BALTIMORE MD 21206




MARK GUERIN                            MARK HAFER                                 MARK HALL
5748 EAST GLENSTONE DRIVE              4326 BABCOCK AVENUE                        27 DEMING PLACE
HIGHLANDS RANCH CO 80130               APT.# 304                                  WETHERSFIELD CT 06109
                                       STUDIO CITY CA 91604-1586



MARK HALL                              MARK HALL SALES ASSOCIATES LLC             MARK HAMMOND
25 LEYLAND CT                          66 FERN ST                                 45 RIVER DRIVE S.
BALTIMORE MD 21221                     WATERBURY CT 06704                         701
                                                                                  JERSEY CITY NJ 07310



MARK HARPER                            MARK HARRIMAN                              MARK HARRINGTON
6151 N SAUGANASH                       5640 ROSEMEAD BLVD                         1 LONG RD
CHICAGO IL 60646                       PICO RIVERA CA 90660                       MANORVILLE NY 11949




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MARK HARRIS                             MARK HARRIS                                MARK HEISLER
175 WASHINGTON                          4744 WOODLAND AVENUE                       19730 YOSEMITE CIRCLE
ROOSEVELT NY 11575                      WESTERN SPRINGS IL 60558                   NORTHRIDGE CA 91326




MARK HELTSLEY                           MARK HENAGER                               MARK HERRMANN
10 ONTARE ROAD                          1725 TAWAKONI LANE                         15 SEDGEMERE RD
ARCADIA CA 91006                        PLANO TX 75075                             CENTER MORICHES NY 11934




MARK HIANIK                             MARK HINOJOSA                              MARK HODOWANIC
3100 BEAUFORT STREET                    303 N. GROVE                               1375 HARRINGTON RD.
RALEIGH NC 27609                        OAK PARK IL 60302                          HAVERTOWN PA 19083




MARK HOLLIS                             MARK HOPWOOD                               MARK HOWE
1401 VILLAGE BLVD                       956 HOUSEMAN AVE NE                        8 PINEVIEW LANE
APT 527                                 GRAND RAPIDS MI 49503                      EAST GREENBUSH NY 12061
WEST PALM BEACH FL 33409



MARK HUME                               MARK IGLANOV                               MARK JACKSON
1N215 TAMARACK DR.                      108 BRYANT AVENUE                          929 UNIONTOWN ROAD
WINFIELD IL 60190                       NEW HYDE PARK NY 11040                     WESTMINSTER MD 21158




MARK JACOBS                             MARK JAMERSON                              MARK JAMES
PO BOX 1123                             4400 N. WINCHESTER                         4803 HAMPTON RD.
WRIGHTWOOD CA 92397                     #24                                        LA CANADA CA 91011
                                        CHICAGO IL 60640



MARK JOHNSON                            MARK JOHNSON                               MARK JOSEPH GRUBE
2544 CANYON VIEW DRIVE                  3311 N RACINE                              1231 W. FLETCHER ST.
SANTA CLARA UT 84765                    UNIT B                                     UNIT F
                                        CHICAGO IL 60657                           CHICAGO IL 60657



MARK JOUBERT                            MARK JURATICH                              MARK KETTLES
10532 OAKVIEW POINTE TERR               8001 TRAFALGAR COURT                       1228 CORONA STREET
GOTHA FL 34734                          ORLAND PARK IL 60462                       APT. #2
                                                                                   DENVER CO 80218



MARK KING                               MARK KNAPP                                 MARK KRAMAR
933 MICHIGAN AVE.                       11834 GILMORE STREET                       2616 N. RAMPART ST.
APT. #3W                                #12                                        NEW ORLEANS LA 70117
EVANSTON IL 60202                       NORTH HOLLYWOOD CA 91606



MARK KRAUSE                             MARK KRUEGER                               MARK KURTICH
2101 PROSPECT AVE NE                    4968 W. 15TH STREET                        19737 FALCON RIDGE LANE
GRAND RAPIDS MI 49505                   SPEEDWAY IN 46222                          NORTHRIDGE CA 91326




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MARK KUZNITZ                            MARK LAMONICA                              MARK LAZARONY
7751 NW 14TH STREET                     65 RADCLIFFE AVENUE                        42914 WEYAND COURT
PEMBROKE PINES FL 33024                 FARMINGDALE NY 11735                       LANCASTER CA 93534




MARK LEBIEN                             MARK LEONE                                 MARK LOBURAK
2608 PARK PLACE                         19 STRUM STREET                            7871 DIXIE BEACH CIRCLE
EVANSTON IL 60201                       BRENTWOOD NY 11717                         TAMARAC FL 33321




MARK LUKAS                              MARK MACHIN                                MARK MACNISH
87 MAPLE VALLEY ROAD                    3613 ALABAMA STREET                        35995 MAIN RD. ALSO KNOWN AS ROUTE 25A
BOLTON CT 06043                         WEST COVINA CA 91792                       CUTCHOGUE NY 11935




MARK MAGNIER                            MARK MANDELBAUM                            MARK MASEK
202 W. FIRST STREET                     7335 GRANVILLE DRIVE                       912 S. LOS ROBLES AVE
FOREIGN DESK                            TAMARAC FL 33321                           PASADENA CA 91106
LOS ANGELES CA 90012



MARK MATSON PHOTOGRAPHY                 MARK MATTHEWS                              MARK MAZEWSKI
2213 NEWFIELD LN                        1214 N. CHARLES STREET                     24 MEADOW LANE
AUSTIN TX 78703                         BALTIMORE MD 21201                         FLEMINGTON NJ 08822




MARK MCCALL                             MARK MCCASLIN                              MARK MCCUTCHEON
5 SE 10 CT                              10 AMHERST STREET                          41 BOUGAINVILLEA DR.
DEERFIELD BEACH FL 33441                BAY SHORE NY 11706                         DEBARY FL 32713




MARK MCGONIGLE                          MARK MCMAHON                               MARK MEDINA
2125 MICHELTORENA STREET                10613 ASHTON AVE                           665 S. COCHRAN AVE
LOS ANGELES CA 90039                    LOS ANGELES CA 90024                       APT 403
                                                                                   LOS ANGELES CA 90036



MARK MIHURA                             MARK MILIAN                                MARK MIRKO
115 S TOPANGA CYN BL                    1417 CORONA DRIVE                          122 GURLEYVILLE ROAD
#136                                    GLENDALE CA 91205                          STORRS CT 06268
TOPANGA CA 90290



MARK MISULONAS                          MARK MOREHOUSE                             MARK MOYER CONSULTING
9506 S. WINCHESTER AVE.                 6245 SOUTH BEND SQUARE                     50 HARVEST DR
#201                                    ORLANDO FL 32807                           BARTO PA 19504
CHICAGO IL 60643



MARK NORBERG                            MARK NOWAK                                 MARK O'KEEFE
4216 CHANDLER BLVD                      342 SLEEPY HOLLOW LANE                     9 S FRIENDSHIP CT
BURBANK CA 91505                        ADDISON IL 60101                           COLORA MD 21917




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MARK ORLOFF                             MARK OXTON                                 MARK PALOMINO
51 GRANGE RD                            8 ARDSLEY WAY                              83725 SWINTON DRIVE
ELK GROVE IL 60007                      SIMSBURY CT 06070                          INDIO CA 92203




MARK PASCARELLA                         MARK PASSARO                               MARK PAZNIOKAS
102 JULIANNE DRIVE                      54 DAMASCUS DRIVE                          16 WESTMORELAND DRIVE
MANHATTAN IL 60442                      GANSEVOORT NY 12831                        WEST HARTFORD CT 06117




MARK PERNER                             MARK PETERS                                MARK PETROVICH
7871 SPRING AVENUE                      152 AMHERST STREET                         4175 WOODLEIGH LN.
ELKINS PARK PA 19027                    WETHERSFIELD CT 06109                      LA CANADA CA 91011




MARK PHELAN                             MARK PHILLIPS                              MARK PINO
8515 W. BRYNMAWR                        711 S ALBERTSON                            156 WESTMORELAND CIR
CHICAGO IL 60631                        COVINA CA 91723                            KISSIMMEE FL 34744




MARK PINSKY                             MARK PLANK                                 MARK POIDOMANI
420 TROTTERS DR. W                      705 W LEADORA AVENUE                       22 LAUREL ST.
MAITLAND FL 32751                       GLENDORA CA 91741                          PATCHOGUE NY 11772




MARK PORUBCANSKY                        MARK POSEY                                 MARK PUKALO
5182 HARTWICK STREET                    333 NW 3RD STREET                          P.O BOX 1381
LOS ANGELES CA 90041                    DEERFIELD BEACH FL 33441                   SOUTH WINDSOR CT 06074




MARK RANDALL                            MARK REGNIER                               MARK RENNIE
1098 PRIMROSE LANE                      260 LAKE SEMINARY CIRCLE                   95 BARRYMORE BOULEVARD
WEST PALM BEACH FL 33414                MAITLAND FL 32751                          FRANKLIN SQUARE NY 11010




MARK REULE                              MARK ROBERTS                               MARK ROESSLER
626 RENAISSANCE POINTE                  220 SUMMIT BLVD.                           26 CHARLES STREET
APT. 211                                #301                                       NORTHAMPTON MA 01060
ALTAMONTE SPRINGS FL 32714              BROOMFIELD CO 80021



MARK ROQUE                              MARK ROSE                                  MARK ROTH
10171 TANFORAN DR                       3746 N KILDARE AVE                         332 HERRICK ROAD
CYPRESS CA 90630                        CHICAGO IL 60641                           RIVERSIDE IL 60546




MARK RUSSELL                            MARK RYAN                                  MARK S RUDY, A PROFESSIONAL COPORATION
1341 BALLENTYNE PLACE                   5929 CEDAR MOUNTAIN DRIVE                  351 CALIFORNIA ST  STE 700
APOPKA FL 32703                         ALTA LOMA CA 91737                         SAN FRANCISCO CA 94104




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MARK SAAVEDRA                           MARK SACHS                                 MARK SAHM
4549 N. CENTRAL AVENUE                  1242 SOLEJAR DR                            1512 LANGFORD ROAD
12                                      WHITTIER CA 90603                          BALTIMORE MD 21207
CHICAGO IL 60630



MARK SAMARTINO                          MARK SARANTAKOS                            MARK SATNICK
1432 W. EDGEWATER                       1854 N NEWCASTLE                           4216 MARY ELLEN #10
APT. #2                                 CHICAGO IL 60707                           STUDIO CITY CA 91604
CHICAGO IL 60660



MARK SAUNDERS                           MARK SCHLUEB                               MARK SELLS
17492 VIA CALMA                         101 N. SHADOW BAY DRIVE                    400 W MALVERN AVE
TUSTIN CA 92780                         ORLANDO FL 32825                           FULLERTON CA 92832




MARK SENNOTT                            MARK SEYBOLD                               MARK SHAPIRO
4825 NORTH CHRISTIANA                   6833 S. IVY WAY                            8447 KIMBALL AVENUE
CHICAGO IL 60625                        APT 302                                    SKOKIE IL 60076
                                        CENTENNIAL CO 80112



MARK SHEIMAN                            MARK SHENEFIELD                            MARK SHEPHERD
2060 NW 48 TER NO.215                   1037 W. SPRUCE STREET                      527 RANCH TRAIL
LAUDERHILL FL 33313                     SAN DIEGO CA 92103                         APT # 148
                                                                                   IRVING TX 75063-4158



MARK SIBONS                             MARK SILK                                  MARK SILK
2406 N RIO GRANDE AVENUE                63 HIGHLAND ST                             63 HIGHLAND ST
ORLANDO FL 32804                        HARTFORD CT 06119                          W HARTFORD CT 06119




MARK SILVA                              MARK SIMON                                 MARK SKONEKI
221 GUTHRIE AVE                         344 SIERRA VISTA LN                        829 YATES STREET
ALEXANDRIA VA 22305                     VALLEY COTTAGE NY 10989                    ORLANDO FL 32804




MARK SMITH                              MARK SMITH                                 MARK SNYDER
10586 KICKING HORSE DRIVE               33 COBBLE LANE                             PO BOX 457
LITTLETON CO 80125                      LEVITTOWN NY 11756                         CARNELIAN BAY CA 96140




MARK SPEAKMAN                           MARK STEMPER                               MARK STENCEL
59 S. HALE STREET                       1362 N MARCY DR                            1620 FERNDALE
UNIT #310                               LONGWOOD FL 32750                          NORTHBROOK IL 60062
PALATINE IL 60067



MARK STEPUSZEK                          MARK STILL                                 MARK STONEBERG
20544 GRAND PRARIE LANE                 3009 14TH STREET                           14 WILLIAMS STREET
FRANKFORT IL 60423                      APT. #A                                    BEL AIR MD 21014
                                        METAIRIE LA 70002




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MARK SUPPELSA                       MARK SWED                                  MARK TALLMAN
814 INGLESIDE PL.                   527 SAN VICENTE BLVD #301                  2843 NORTH CALUMET AVENUE
EVANSTON IL 60201                   SANTA MONICA CA 90402                      #241
                                                                               VALPARAISO IN 46383



MARK TAYLOR                         MARK TAYLOR                                MARK TEDESCO
1405 JOSHUA TREE CT.                3408 WOODBINE AVE                          39 LORETTA DRIVE
SIMI VALLEY CA 93063                BALTIMORE MD 21207                         TORRINGTON CT 06790




MARK THOMAS                         MARK THOMPSON                              MARK THOMPSON
301 DOVER CIRCLE                    842 LINCOLN AVENUE                         447 W. ROSLYN PLACE
PALATINE IL 60067                   BALDWIN NY 11510                           CHICAGO IL 60614




MARK TOOR                           MARK TRAGARZ                               MARK TURCKEL
65 LANDING ROAD                     1760 PALOMA ST.                            20760 ENADIA WAY
HUNTINGTON NY 11743                 PASADENA CA 91104                          CANOGA PARK CA 91306




MARK TURKINGTON LLC                 MARK TURKINGTON LLC                        MARK TWAIN HOUSE
26 LLYNWOOD DRIVE                   30 PIGEON ROAD                             MS KATIE WELLS DIRECTOR OF
BOLTON CT 06043                     WILLIMANTIC CT 06226                       351 FARMINGTON AVENUE
                                                                               HARTFORD CT 06105



MARK TYRRELL                        MARK VANIN                                 MARK VEGA
189 SPRING RD                       0-215 HERON DRIVE NW                       P.O. BOX 3763
HUNTINGTON NY 11743                 #304B                                      NEW YORK NY 10163
                                    GRAND RAPIDS MI 49534



MARK VEREB                          MARK WARD                                  MARK WATOR
241 CHARTER ROAD                    905 SE 3RD AVE                             320 NEVADA ST
ROCKY HILL CT 06067                 DELRAY BEACH FL 33483                      FRANKFORT IL 60423-1532




MARK WAYNE                          MARK WETHINGTON                            MARK WIEDEMANN
250 SUNRISE AVE                     507 HAMPTON MANOR DR.                      266 XIMENO AVENUE
SAYVILLE NY 11782                   VALPARAISO IN 46385                        LONG BEACH CA 90803




MARK WILLES                         MARK WILLES                                MARK WILLIAM GAUERT
4343 SHEFFIELD DRIVE                ATTN: MARK WILLES                          2845 GARDEN DR
PROVO UT 84604                      4353 SHEFFIELD DRIVE                       COOPER CITY FL 33026
                                    PROVO UT 84604



MARK WILLIAMS                       MARK WILLIAMS                              MARK WILLIS
1366 W. CRYSTAL ST.                 12037 PATTON ROAD                          411 DONEGAL COURT
APT. #1                             DOWNEY CA 90242                            LINCOLN CA 95648
CHICAGO IL 60622




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MARK WILTGEN                           MARK WINTERHALT                            MARK WOGENRICH
1933 CONCORD SE                        1635 WHITEHALL STREET                      303 HILL RD
GRAND RAPIDS MI 49506                  ALLENTOWN PA 18102                         WHITEHALL PA 18052




MARK WOLF                              MARK WRIGHT                                MARK WURTEMBERG
2627 HELEN STREET                      13522 42ND AVENUE WEST                     233 SANTA ANITA COURT
ALLENTOWN PA 18104                     MUKILTEO WA 98275                          SIERRA MADRE CA 91024




MARK YEMMA                             MARK ZABOYNIK                              MARK ZONCA
28631 BROOKHILL ROAD                   2710 CLARENCE AVENUE                       719 SPINDLETREE
TRABUCO CANYON CA 92679                BERWYN IL 60402                            NAPERVILLE IL 60565




MARK, GABRIEL                          MARKA LIGON                                MARKAKIS REALTY INC
436 GIN LING WAY                       2014 CULLIVAN STREET                       ATTN ANDREAS E MARKAKIS
LOS ANGELES CA 90012                   LOS ANGELES CA 90047                       1575 FOUNDERS PATH
                                                                                  SOUTHOLD NY 11971



MARKAKIS REALTY INC.                   MARKARIAN, MICHAEL                         MARKBREIT, JERRY
RE: RIVERHEAD 845 RAYNO AVE.           1206 MARYLAND AVE NE                       9739 KEYSTONE AVE
ATTN: ANDREAS E. MARKAKIS              WASHINGTON DC 20002                        SKOKIE IL 60076-1136
1575 FOUNDERS PATH
SOUTHOLD NY 11971


MARKERTEK VIDEO SUPPLY                 MARKERTEK VIDEO SUPPLY                     MARKERTEK VIDEO SUPPLY
4 HIGH STREET                          812 KINGS HIGHWAY BOX 397                  DIV. OF TOWER PRODUCTS, INC.
PO BOX 397                             SAUGERTIES NY 12477                        4 HIGH STREET - BOX 397
SAUGERTIES NY 12477                                                               SAUGERTIES NY 12477



MARKET DATA RETRIEVAL                  MARKET DATA RETRIEVAL                      MARKET DATA RETRIEVAL
ATTN: ORDER PROCESSING                 PO BOX 71710                               PO BOX 75174
16 PROGRESS DRIVE                      CHICAGO IL 60694-1710                      CHICAGO IL 60675-5174
SHELTON CT 06484



MARKET FORCE CORP                      MARKET FORCE CORP                          MARKET SHARES CORPORATION
5807 S ATLANTIC AVE                    3605 CHAPEL RD STE C                       1528 NORTH DOUGLAS AVENUE
NEW SMYRNA BEACH FL 32169              NEWTOWN SQUARE PA 19083                    ARLINGTON HEIGHTS IL 60004




MARKET WATCH                           MARKET-BASED SOLUTIONS INC                 MARKET-BASED SOLUTIONS INC
PO BOX 6368                            427 W COLORADO ST STE 203                  PO BOX 29486
NEW YORK NY 10261-6368                 GLENDALE CA 91204                          LOS ANGELES CA 90029-0486




MARKETING                              MARKETING & MEDIA SERVICES LLC             MARKETING ARCHITECTS INC
13901 NE 175TH ST                      931 JEFFERSON BLVD SUITE 1001              110 CHESHIRE LANE SUITE 200
SUITE M                                WARWICK RI 02886                           MINNEAPOLIS MN 55305
WOODINVILLE WA 98072




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MARKETING CONNECTION                  MARKETING FARM LLC                         MARKETRON INTERNATIONAL
9114 VIRGINIA ROAD UNIT 104           225 SANTA MONICA BLVD                      3000 RIVERCHASE GALLERIA 8TH FLR
LAKE IN THE HILLS IL 60156            8TH FL                                     BIRMINGHAM AL 35244-2335
                                      SANTA MONICA CA 90401



MARKETRON INTERNATIONAL               MARKETRON INTERNATIONAL                    MARKETRON INTERNATIONAL
DRAWER 345                            DRAWER AL01225                             PO BOX 934510
PO BOX 11407                          PO BOX 830948                              ATLANTA GA 31193-4510
BIRMINGHAM AL 35246-0345              BIRMINGHAM AL 35283-0948



MARKETRON INTERNATIONAL               MARKETSPHERE CONSULTING                    MARKETSPHERE CONSULTING
PO BOX 67                             1125 S 103RD STREET SUITE 400              PO BOX 30123
REEDSPORT OR 97467                    OMAHA NE 68124                             OMAHA NE 68103-1223




MARKETWATCH COM INC                   MARKETWATCH COM INC                        MARKETWATCH COM INC
825 BATTERY ST                        DOW JONES MARKETWATCH                      CBS MARKETWATCH.COM
SAN FRANCISCO CA 94111                PO BOX 6368                                PO BOX 200370
                                      NEW YORK NY 10261-6368                     DALLAS TX 75320-0370



MARKEY PRODUCTIONS                    MARKFIELD, EVAN                            MARKHAM MEDIA INC
1293 ST JOHNS AVE                     134 KINGSBURY DR                           850 SEVENTH AVE
HIGHLAND PARK IL 60035                CHAPEL HILL NC 27514                       NEW YORK NY 10019




MARKINA BROWN                         MARKLAND, LINDEN                           MARKLAND, LINDEN
1200 W. RIVERSIDE                     260 LONG GATE CIRCLE                       260 LONG GATE CIRCLE
APT#151                               PODCOR GA 31322                            POOLER GA 31322
BURBANK CA 91506



MARKLEY DISTRIBUTING                  MARKLEY, STEPHEN                           MARKOUTSAS, ELAINE
PO BOX 3487                           3033 CLIFTON AVE                           1721 W HENDERSON ST
JANESVILLE WI 53547                   CHICAGO IL 60657                           CHICAGO IL 60657




MARKOWITZ, DAVID C                    MARKOWITZ, TERRY                           MARKS HAMILTON, HANNAH
345 E 86TH ST                         755 PEARL ST                               11 OLD MILL COURT
NEW YORK NY 10028                     LAGUNA BEACH CA 92651                      STORRS CT 06268




MARKS, BETTINA                        MARKS, DEMI                                MARKS, GLENEVA L C
1107 OCEANFRONT                       3201 SW 131ST TERRACE                      725 BURBANK CIRCLE SE
E ATLANTIC BEACH NY 11561             DAVIE FL 33330                             SMYRNA GA 30080




MARLA ALBION                          MARLA CONE                                 MARLA DICKERSON
941 KOKOMO KEY LANE                   5271 E BROADWAY                            1646 ELEVADO ST
DELRAY BEACH FL 33483                 LONG BEACH CA 90803                        LOS ANGELES CA 90026




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MARLA MUDD                             MARLA PETERSON                             MARLA ROLLANS
500 EAST 77TH STREET                   5209 RUSSELL AVE NW                        526 PARK AVE
#3223                                  APT# 311                                   #C
NEW YORK NY 10162                      SEATTLE WA 98107                           BALBOA ISLAND CA 92662



MARLA SHEEHAN                          MARLATT, SUZANNE                           MARLENA AGENCY INC
400 W MALVERN AVENUE                   2202 W ERIE ST APT NO.1                    145 WITHERSPOON STREET
FULLERTON CA 92832                     CHICAGO IL 60612                           PRINCETON NJ 08542




MARLENA AGENCY INC                     MARLENE BARRETT                            MARLENE CIMONS
322 EWING ST                           4200 EL MAR DRIVE #2                       4813 WESTWAY DR
PRINCETON NJ 08540                     LAUDERDALE BY THE SEA FL 33308             BETHESDA MD 20816




MARLENE COLIN                          MARLENE E MAXON                            MARLENE FLORENZO
1894 PALMLAND DRIVE                    483 LONGWOOD CT                            3 JOSEPHINE LANE
APT D                                  CHICAGO HEIGHTS IL 60411                   EAST ISLIP NY 11730
BOYNTON BEACH FL 33436



MARLENE KEARNEY                        MARLENE NAANES                             MARLENE RAY
6436 MARYLAND AVENUE                   258 W. 117TH STREET                        1622 WEST ORCHARD PLACE
LOS ANGELES CA 90048                   APT 42W                                    ARLINGTON HEIGHTS IL 60005
                                       NEW YORK NY 10026



MARLENE RITTER                         MARLENE ROGERS                             MARLENE T BUXTON
216 CHEW STREET                        6103 TURNABOUT LANE #2                     26734 PEACH ST.
ALLENTOWN PA 18102                     COLUMBIA MD 21044                          SP157
                                                                                  PERRIS CA 92570



MARLENE WELLS                          MARLER, REGINA                             MARLETTE, DOUG
1823 E. AZALEA LANE                    928 CASTRO ST                              427 S BOSTON APT 14A
MOUNT PROSPECT IL 60056                SAN FRANCISCO CA 94114                     TULSA OK 74103




MARLIES T. CHAFFIN                     MARLIES T. CHAFFIN                         MARLIN, BARBARA A
50 BAZLER LANE                         50 BAZLER LANE                             4 RESERVOIR RD
SOUTH BLOOMFIELD OH 43103              SOUTH BLOOMINGFIELD OH 43103               MELVILLE NY 11747




MARLISE KOTROSITS                      MARLON DISLA                               MARLON MCELWAINE
105 EAST SECOND STREET                 667 WEST 161ST STREET                      9246 S. LAFLIN STREET
NORTHAMPTON PA 18067                   APT. 3E                                    CHICAGO IL 60620
                                       NEW YORK NY 10032



MARLON MEDIOUS                         MARLOW, SHIRLEY A                          MARLYCE NORD
2955 E. 201ST PLACE                    1310 W OAK STREET                          20745 RANCHO LOS CERRITOS
LYNWOOD IL 60411                       BURBANK CA 91506                           COVINA CA 91724




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MARMOL, CARLOS                          MARNA MACLEAN                              MARNELL, JAMES
CARRETERA VIEJA NO.46                   12075 SW EDGEWOOD STREET                   1928 CAMINITO DE LA LUNA
EL SONADOR                              PORTLAND OR 97225                          GLENDALE CA 91208
BONAO



MARNI MCCLENNAN                         MARNI PINEDA                               MARNIE CAMPOS
14170 LISBON CENTER ROAD                1 BIRCH HAVEN COURT                        563 SOUIX RD
NEWARK IL 60541                         EAST NORTHPORT NY 11731                    LANTANA FL 33462




MARNIE OTIS-STREETER                    MARONI, MICHELINE                          MAROONE FORD OF MIAMI
34 WILLOW STREET                        19 THE RISE                                16800 NW 57 AVENUE
HUDSON FALLS NY 12839                   WOODBURY NY 11797                          MIAMI FL 33015




MAROZSAN, ANDREW                        MARQUART, FRANK A                          MARQUERITE PLUNKETT
8412 GRAND MESSINA CIRCLE               44245 STEERHORN NECK RD                    620 SE 6TH TERR.
BOYNTON BEACH FL 33437                  HOLLYWOOD MD 20636                         POMPANO BEACH FL 33060




MARQUES ANDERSON                        MARQUES, AURICELIA                         MARQUES, NEVILLE
3505 S. MORGAN ST.                      400 NW 34TH ST APT 119                     1722 NE 6TH STREET APT 1305
APT. #208                               POMPANO BEACH FL 33069                     BOYNTON BEACH FL 33435
CHICAGO IL 60609



MARQUES, PAULO ROGERIO                  MARQUEZ, CRISTIAN E                        MARQUEZ, IRIS
4365 SW 10TH PL, APTNO.102              4178 SEVER DR                              6224 S TROY ST
DEERFIELD BEACH FL 33442                BOCA RATON FL 33433                        CHICAGO IL 60629




MARQUEZ, JOSE                           MARQUEZ, MARCOS A                          MARQUEZ, MELANIE
PO BOX 8096                             3040 SW 61 TER                             1600 1ST AVE W NO.402
INGLEWOOD CA 90308                      DAVIE FL 33314                             BRADENTON FL 34205




MARQUIS, JASON S                        MARQUISHA HENDERSON                        MARQUITA NEAL
312 SHORE RD                            11437 CEDAR AVE                            1126 VERNON ROAD
STATEN ISLAND NY 10307                  APT 3                                      PHILADELPHIA PA 19150
                                        HAWTHORNE CA 90250



MARR, JILL                              MARR, MARY L                               MARRAZZO, AMANDA
3521 BELFORD STREET                     7016 ELM STREET LOT NO. 64                 6 CHARMINSTER CT
SAN DIEGO CA 92111                      HAYES VA 23072                             ALGONQUIN IL 60102




MARRAZZO, AMANDA                        MARRERO, EUGENIO                           MARRERO, HORNES
6 CHARMISTER CT                         200 SE 10TH ST                             1350 CORBIN AVE
ALGONQUIN IL 60102                      HALLANDALE FL 33009                        NEW BRITAIN CT 06053




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MARRERO, JAZMIN                        MARRERO, JEANNETTE                         MARRERO, MARCOS
2316 GRAND CENTRAL PKWY    NO.1        PO BOX 720928                              1076 SABLE
ORLANDO FL 32839                       ORLANDO FL 32872                           LAS FLORES CA 92688




MARRERO, MARCOS                        MARRERO, NYDIA                             MARRERO, NYDIA
1076 SABLE                             39 TRAVERSE SQUARE                         PO BOX 124
RANCHO SANTA MARGARITA CA 92688        MIDDLETOWN CT 06457-3910                   MIDDLETOWN CT 06457




MARRERO, RICHARD                       MARRINAN, ANNE MICHELE                     MARRINAN, ANNE MICHELE
1038 SW 144TH AVE                      12 ROLLING HILLS DR                        20 WALNUT AVE
PEMBROKE PINES FL 33027                RIDGE NY 11961                             FARMINGDALE NY 11735




MARRIOTT INTERNATIONA ADMINISTRATIVE   MARRIOTT INTERNATIONA ADMINISTRATIVE       MARRIOTT INTERNATIONA ADMINISTRATIVE
1 MARRIOTT DRIVE                       PO BOX 402642                              PO BOX 402824
WASHINGTON DC 20058                    ATLANTA GA 30384-2642                      ATLANTA GA 30384-2824




MARRIOTT INTERNATIONA ADMINISTRATIVE   MARRIOTT INTERNATIONA ADMINISTRATIVE       MARRIOTT VACATION CLUB INTERNATIONAL
PO BOX 403003                          SERVICES                                   658 MARKET ST
ATLANTA GA 30384-3003                  PO BOX 406899                              SAN FRANCISCO CA 94104
                                       ATLANTA GA 30384-6899



MARRIOTT VACATION CLUB INTERNATIONAL   MARRIOTT VACATION CLUB INTERNATIONAL       MARRIOTT VACATION CLUB INTERNATIONAL
6649 WESTWOOD BLVDSTE 500              RITZ CARLTON CLUB / ASPEN HIGHLANDS        RITZ CARLTON JUPITER
ORLANDO FL 32821                       1200 US HWY 98 SOUTH                       106 RITZ CARLTON CLUB DR
                                       LAKELAND FL 33802                          JUPITER FL 33477



MARRIOTT, CYNTHIA A                    MARRO, ANTHONY                             MARRO, ANTHONY J.
21250 HAWTHORNE BLVD STE 600           PO BOX 944                                 PO BOX 944
TORRANCE CA 90503                      OLD BENNINGTON VT 05201                    BENNINGTON VT 05201




MARRS PRINTING INC                     MARS RESEARCH                              MARSA, LINDA
860 TUCKER LN                          6365 NW 6 WAY STE 150                      7823 TRUXTON AVE
WALNUT CA 91789                        FT LAUDERDALE FL 33309                     LOS ANGELES CA 90045-2918




MARSALEK, DIANN                        MARSAND INC                                MARSELAS, KIMBERLY
C/O 23RD DISTRICT STEERING COMMITTEE   PO BOX 485                                 86 BLOOMFIELD DR
3600 N HALSTED ST                      ALVARADO TX 76009                          EPHRATA PA 17522
CHICAGO IL 60613



MARSELLO, JAKE A                       MARSELLO, JAKE A                           MARSH ELETRONICS INC
147 FAIRMOUNT AVE                      147 FAIRMOUNT AVE                          N1042 TOWER VIEW DR
LYNN MA 01960                          SAUGUS MA 01906                            PO BOX 930
                                                                                  MILWAUKEE WI 53259




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MARSH GLOBAL PLACEMENT (BERMUDA) LTD    MARSH USA                                  MARSH USA INC
8 WESLEY STREET                         500 W MONROE STREET                        96772 COLLECTION CENTER DR
CRAIG APPIN HOUSE                       SUITE 2100                                 CHICAGO IL 60693-6722
PO BOX HM 2444                          CHICAGO IL 60661-3655
HAMILTON HM


MARSH USA INC                           MARSH USA INC                              MARSH USA, INC
PO BOX 96772                            PO BOX 19601                               500 W MONROE ST
CHICAGO IL 60693-6772                   NEWARK NJ 07195-0601                       STE 2100
                                                                                   CHICAGO IL 60661-3655



MARSH, ANN                              MARSH, JENNIFER                            MARSH, KELSEY
3345 E 1ST STREET  APT B                11120 CAMERON COURT APT 202                705 GLEN ABBEY DR
LONG BEACH CA 90803                     DAVIE FL 33324                             MANSFIELD TX 76063




MARSH, SARA E                           MARSH, TIMOTHY                             MARSHA HEATH
4308 CHARITY NECK RD                    11 BLUEBERRY LANE                          5336-7 WHITE CLIFF L
VIRGINIA BEACH VA 23457                 FARMINGTON CT 06032                        ORLANDO FL 32812




MARSHA MCKINNON                         MARSHA MEIGHAN                             MARSHA MILLER
110 MISTY COVE                          1547 BROOKHOLLOW DR.                       11216 OLD CARRIAGE ROAD
APT. #D                                 ORLANDO FL 32824                           GLEN ARM MD 21057
HAMPTON VA 23666



MARSHA PETERS                           MARSHALL D KEEGAN                          MARSHALL DEANS, LUCRETIA
850 N DE WITT PLACE                     309 RAWHIDE WAY                            100 MAJESTIC CT NO.202
APT 9K                                  CARSON CITY NV 89701                       NEWPORT NEWS VA 23606
CHICAGO IL 60611



MARSHALL FROKER                         MARSHALL HYMAN                             MARSHALL KATZ
210 E PEARSON                           114 SHOE LANE                              177 LAKE DRIVE NORTH
APT 5B                                  NEWPORT NEWS VA 23606                      WEST ISLIP NY 11795
CHICAGO IL 60611



MARSHALL LUBIN                          MARSHALL MCDERMOTT                         MARSHALL PIERCE & CO
314 NEPTUNE AVENUE                      14 SHANNON DRIVE                           29 EAST MADISON STREET NO.600
NORTH BABYLON NY 11704                  ENFIELD CT 06082                           CHICAGO IL 60602




MARSHALL SHOWELL                        MARSHALL SIGN CORP                         MARSHALL SMYTH
4719 SHAMROCK AVENUE                    3276 RIVER RD                              P. O. BOX 6031
BALTIMORE MD 21206                      RENSSELAER NY 12144                        SAN CLEMENTE CA 92674




MARSHALL, ARTHUR                        MARSHALL, DAVID CARL                       MARSHALL, DAVID E
2636 BERKSHIRE RD                       110 FERNDALE AVENUE                        P O BOX 1087
AUGUSTA GA 30909                        GLEN BURNIE MD 21061                       LOMPOC CA 93438




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MARSHALL, ELLEN                         MARSHALL, JACK                             MARSHALL, JESSICA
1917 ANDREWS BLVD                       2707 WESTMINSTER PL                        110 FERNDALE RD
HAMPTON VA 23663                        ALEXANDRIA VA 22305                        GLEN BURNIE MD 21061




MARSHALL, LORRAINE GAY                  MARSHALL, MARY                             MARSHALL, MARY
3145 TURK BLVD NO.301                   3846 OYSTER COURT                          230 CITATION DR
SAN FRANCISCO CA 94118                  ORLANDO FL 32812                           NEWPORT NEWS VA 23602




MARSHALL, MAUREEN                       MARSHALL, NORMAN                           MARSHALL, SARAH
201 NW 80 AVE                           2732 ARMOUR LN                             609 PRIMROSE LN
MARGATE FL 33063                        REDONDO BEACH CA 90278                     MATTESON IL 60443




MARSHALL, SARAH                         MARSHALL, SARAH G                          MARSHALL, SEAN C
PETTY CASH CUSTODIAN                    150 E 61ST STREET NO.5C                    3912 E ROCKWOOD DR
2501 W BRADLEY PL                       NEW YORK NY 10021                          PHOENIX AZ 85050
CHICAGO IL 60618



MARSHALL, SEAN C                        MARSHALL, SHERMIN                          MARSHUTZ, SCOTT
7303 KITCHAWAM COURT                    5900 SW 26TH TER                           29396 VISTA PLAZA DRIVE
CHESTERFIELD VA 23832                   HOLLYWOOD FL 33023                         LAGUNA NIGUEL CA 92677




MARSKI, TERRY L                         MARSO DUGAZON                              MARSONEK, SAMUEL R
535 SOUTH MAIN                          3821 RAVENWOOD AVENUE                      21226 PRESERVATION DR
LOMBARD IL 60148                        ORLANDO FL 32839                           LAND O LAKES FL 34638




MARTA GARCIA                            MARTA MIKULAN                              MARTA OZIMEK-KULA
6307 PLASKA AVENUE                      404 SW NATURA AVE.                         8422 W CATALPA COURT
APT. B                                  DEERFIELD BEACH FL 33441                   #202
HUNTINGTON PARK CA 90255                                                           CHICAGO IL 60656



MARTEL, ROBERTO S                       MARTELL NEWS AGENCY                        MARTELLE, SCOTT
490 ELLIS ST                            2820 WEST 48TH PLACE                       5022 TAMARACK WAY
NEW BRITAIN CT 06051                    CHICAGO IL 60632                           IRVINE CA 92612




MARTELLY, MICHELE M                     MARTGOLS MAGIC INC                         MARTHA A PEREIDA
716 SNEAD CIR                           345 N MAPLE DR                             6404 TESUQUE DR. NW
WEST PALM BEACH FL 33413                PARKING LEVEL 2                            ALBUQUERQUE NM 87120
                                        BEVERLY HILLS CA 90210



MARTHA ALLIEGRO                         MARTHA CERDA                               MARTHA CRUZ
3594 CARR LANE                          1131 FARMSTEAD AVENUE                      1904 HARVEY AVENUE
HAYES VA 23072                          LA PUENTE CA 91745                         BERWYN IL 60402




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MARTHA FOX                            MARTHA GALVEZ                              MARTHA GROVES
2109 HEATHER HILL LOOP                4452 STEWART AVENUE                        2400 HALM AVENUE
THE VILLAGES FL 32162                 BALDWIN PARK CA 91706                      LOS ANGELES CA 90034




MARTHA GUEVARA                        MARTHA GUZMAN                              MARTHA HERNANDEZ
127 WEST GRANADA AVE                  5515 S. TALMAN                             1842 S. ELMWOOD
LINDENHURST NY 11757                  CHICAGO IL 60629                           BERWYN IL 60402




MARTHA JOHNSON                        MARTHA LUNA                                MARTHA MARATRE
1301 GRANDVIEW AVENUE                 10705 W. OLYMPIA CIRCLE                    308 S. OAKLEY BLVD.
APT#D                                 PALOS HILLS IL 60465                       CHICAGO IL 60612
GLENDALE CA 91201



MARTHA MARTINEZ                       MARTHA MILLER                              MARTHA MONROY
6235 ANNAN WAY                        1805 W HIGHLAND ST                         2941 RIVERSIDE DRIVE
LOS ANGELES CA 90042                  ALLENTOWN PA 18104                         APT 301
                                                                                 CORAL SPRINGS FL 33065



MARTHA PENATE                         MARTHA PHIFER                              MARTHA QUINTANILLA
1703 S. GROVE ST.                     5550 E. MICHIGAN STREET                    2712 RECINTO AVE
EUSTIS FL 32726                       APT. 1305                                  ROWLAND HEIGHTS CA 91748
                                      ORLANDO FL 32822



MARTHA SANCHEZ                        MARTHA WADE                                MARTHA WILKE
417 N LAUREL DRIVE                    3426 RIDGELAND AVENUE, #2                  900 N. KINGSBURY
MARGATE FL 33063                      BERWYN IL 60402                            UNIT 1106
                                                                                 CHICAGO IL 60610



MARTHA WRIGHT                         MARTHE JEAN-BAPTISTE                       MARTHERS, JOSHUA A
1530 S. STATE ST.                     62 WALTON AVENUE                           351 JACKS MT ROAD
APARTMENT 16B                         UNIONDALE NY 11553                         FAIRFIELD PA 17320
CHICAGO IL 60605



MARTIN & ASSOCIATES                   MARTIN , HEATHER MARIE                     MARTIN A RUTZ
3470 WILSHIRE BLVD STE 885            4730 RUSHFORD PL                           105 EDGEWOOD COURT
LOS ANGELES CA 90010                  COLORADO SPRINGS CO 80923                  ROLLING MEADOWS IL 60008




MARTIN ABBOTT                         MARTIN ALVAREZ                             MARTIN BACH
265 34TH STREET                       14298 CORBIN DRIVE                         1544 W. MELROSE
LINDENHURST NY 11757                  CORONA CA 92880                            APT #1
                                                                                 CHICAGO IL 60657



MARTIN BARRAZA                        MARTIN BECK                                MARTIN C GLASSMAN
3804 W. 69TH PLACE                    3273 WASHINGTON AVENUE                     21942 WINNEBAGO LANE
CHICAGO IL 60629-4211                 COSTA MESA CA 92626                        LAKE FOREST CA 92630




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MARTIN CALVI                           MARTIN CAMPBELL                            MARTIN CASSIDY
2751 WALLINGFORD DR                    190 BRANFORD STREET                        60 EVERGREEN ROAD
APT 2208                               HARTFORD CT 06112                          NEW CANAAN CT 06840
HOUSTON TX 77042



MARTIN CLANCEY                         MARTIN COMAS                               MARTIN CONBOY
6028 BIXBY VLG DR.                     100 EAST YORK COURT                        11309 HOMEWOOD DR
APT #94                                LONGWOOD FL 32779                          FONTANA CA 92337
LONG BEACH CA 90803



MARTIN COX PHOTOGRAPHY                 MARTIN CRAUGHWELL                          MARTIN DIPPEL
CASTLE ECHO STUDIO                     5140 LA RODA AVENUE                        4051 NORTH KOSTNER AVENUE
1030 LAGUNA AVE                        LOS ANGELES CA 90041                       CHICAGO IL 60641
LOS ANGELES CA 90026



MARTIN EVANS                           MARTIN FISCHER                             MARTIN GOLDENBERG
219 BURNS STREET                       1032 N. LOMBARD AVE.                       143 PACIFIC BLVD
FOREST HILLS NY 11375                  OAK PARK IL 60302                          LONG BEACH NY 11561




MARTIN GOLDSTEIN                       MARTIN GUSTAFSON                           MARTIN HARTMAN
23085 MULHOLLAND DR.                   15813 82ND AVENUE E                        4055 DANBERRY DRIVE
WOODLAND HILLS CA 91364                PUYALLUP WA 98375                          EASTON PA 18045




MARTIN HENDERSON                       MARTIN HOGAN                               MARTIN J KOETH
25761 LE PARC                          321 UNIVERSITY BLVD. WEST                  22 W WOODRUFF AVE.
#16                                    APT # 220                                  ARCADIA CA 91007
LAKE FOREST CA 92630                   SILVER SPRING MD 20901



MARTIN KESTENBAUM                      MARTIN KRASNIQI                            MARTIN LAMAIRE
10983 HIGHLAND CIRCLE                  76 HIGHLAND ROAD                           1040 ERIE ST
BOCA RATON FL 33428                    STAMFORD CT 06902                          301
                                                                                  OAK PARK IL 60302



MARTIN LANG                            MARTIN LAVERGNE                            MARTIN LUTHER KING BREAKFAST COMMITTEE
9135 SPERL AVE                         74 CHESTNUT ST                             C/O FIRST BAPTIST CHURCH
BALTIMORE MD 21234                     BRENTWOOD NY 11717                         OF RIVERHEAD
                                                                                  1018 NORTHVILLE TPKE
                                                                                  RIVERHEAD NY 11901


MARTIN LUTHER KING JR BIRTHDAY         MARTIN MAGGIORA                            MARTIN MATICH
CELEBRATION COMMITTEE INC              722 N. SPARKS STREET                       1847 DELASONDE DR
240 OLD COUNTRY RD                     BURBANK CA 91506                           RANCHO PALOS VERDES CA 90275
MINEOLA NY 11501



MARTIN MEDINA                          MARTIN MILLER                              MARTIN MUZIK
2806 W. ROOSEVELT RD.                  612 S MANSFIELD AVENUE                     1945 RICHFIELD AVE.
CHICAGO IL 60612                       LOS ANGELES CA 90036                       HIGHLAND PARK IL 60035




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MARTIN NIETO, DIANA                    MARTIN NUTLEY                              MARTIN O'BRIEN
CALLE EL ROBLE 5 4B                    4720 N. ROCKWELL                           102 BLACKBERRY BEND
SEGOVIA 40002                          #2                                         YORKTOWN VA 23693
                                       CHICAGO IL 60625



MARTIN O'MALLEY                        MARTIN ORTIZ                               MARTIN P LEVIN
12 PINE HILL LANE                      901 FULLERTON AVE                          221 KIRBY LANE
DIX HILLS NY 11746                     MUNSTER IN 46321                           RYE NY 10580




MARTIN PADDEN                          MARTIN PROPERTY MAINTENANCE                MARTIN PROPERTY MAINTENANCE
12 WOOD RAVEN CT                       77 INDUSTRIAL PARK ROAD                    P O BOX 821
BALTIMORE MD 21234                     UNIT 40                                    VERNON CT 06066
                                       VERNON CT 06066



MARTIN RAIS                            MARTIN RODRIGUEZ                           MARTIN ROSENBLATT
K1B PINETREE BOULEVARD                 14851 E. MULBERRY DR                       201 BIRCHWOOD ROAD
OLD BRIDGE NJ 08857                    APT 109                                    CORAM NY 11727
                                       WHITTIER CA 90604



MARTIN SMILEY                          MARTIN SMITH                               MARTIN SOCKOWITZ
1850 WHITLEY AVENUE                    1121 PALOS VERDES DR W                     5860 N.W. 44 STREET
APT#1110                               PALOS VERDES CA 90274                      APARTMENT 810
LOS ANGELES CA 90028                                                              LAUDERHILL FL 33319



MARTIN TIBKE                           MARTIN WESTCOTT                            MARTIN ZEIGER
1801 COBBLESTONE COURT                 123-27 95TH AVE                            153 AMITY PLACE
MIDDLE ISLAND NY 11953                 RICHMOND HILL NY 11419                     STATEN ISLAND NY 10303




MARTIN ZIMMERMAN                       MARTIN, AIMEE F                            MARTIN, ASHLEY N
1301 E LEXINGTON DR                    3 GINNY AVE                                318 NEPTUNE EAST
GLENDALE CA 91206                      HAMPTON BAYS NY 11946                      DEKALB IL 60115




MARTIN, CHRISTINE                      MARTIN, CLAIRE                             MARTIN, CLAUDETTE
9016 N WASHINGTON NO.2D                427 MONTANA AVE NO.11                      26 EATON ROAD
DES PLAINES IL 60016                   SANTA MONCA CA 90403                       TOLLAND CT 06084-2317




MARTIN, CYNTHIA P                      MARTIN, DAVID                              MARTIN, DAVID F
1370 WOODCUTTER LN UNIT D              2305 SAMUEL DR OTTAWA                      2115 CARTER HILL ROAD
WHEATON IL 60187                       ONTARIO ON K1G 3C3                         MONTGOMERY AL 36106




MARTIN, DEANNA                         MARTIN, DEBRA                              MARTIN, FERNANDO RAUL
48 E 32ND ST                           4427 WOODLAND FOREST DRIVE                 95 COOLIDGE AVE APT NO.2
BROOKLYN NY 11226                      STONE MOUNTAIN GA 30083                    STAMFORD CT 06906




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MARTIN, FRANCITA                       MARTIN, IDA SEDANIA                        MARTIN, JAMES
116 GARDENS DR APT 204                 3240 CHARMIL DR                            129 1/2 POPLAR ST
POMPANO BEACH FL 33069                 MANCHESTER MD 21102                        ALLENTOWN PA 18102




MARTIN, JASON                          MARTIN, JEROME P                           MARTIN, JUSTIN DAVID
8400 N. SHERMAN CIRCLE NO.307          1110 LAURELWOOD                            1365 SNELL ISLE BLVD NE NO.3A
MIRAMAR FL 33025                       CARMEL IN 46032                            ST PETERSBURG FL 33704




MARTIN, KELLY ANN                      MARTIN, KERRY G                            MARTIN, KYLEE ROAT
112 AUBURN ST                          1701 HARVEST TIME PLACE                    4550 N OAKLEY NO.1
ALLENTOWN PA 18103                     GALLOWAY OH 43119                          CHICAGO IL 60625




MARTIN, LILLIAN                        MARTIN, MODESTO                            MARTIN, NORMALYN
2125 S LEHIGH ST                       4813 N GOLDENROD RD        APT D           50-52 MILFORD ST
WHITEHALL PA 18052                     WINTER PARK FL 32792                       HARTFORD CT 06112-2153




MARTIN, RANDI                          MARTIN, RAYMOND                            MARTIN, ROBERT A
14 WADDINGTON LN                       226 NORTH GRANBY RD                        3605 PEMBROOK DR.
ROCKVILLE MD 20850                     GRANBY CT 06035                            ORLANDO FL 32810




MARTIN, STEPHANIE                      MARTIN, TAMMY                              MARTIN, TARA
89 NEWINGTON RD                        5592 MILLWOOD DR                           3737 ALIBI CT NO.7
WEST HARTFORD CT 06110                 GLOUCESTER VA 23061                        MEMPHIS TN 38115




MARTIN, THOMAS                         MARTIN, THOMAS F                           MARTIN, ZACHARY
9500 NW 3RD ST                         1001 HENRY TERRACE                         1340 BIAFORE AVE
PEMBROOKE PINES FL 33024               LAWRENCEVILLE GA 30045                     BETHLEHEM PA 18017




MARTIN-HIDALGO, MARGARITA              MARTINDALE BRIGHTWOOD WEED AND SEED        MARTINEAU, KIMBERLY
13321 PURPLE SAGE ROAD                 846 N SENATE AVE      STE 216              11A W 94TH ST APT 1B
DALLAS TX 75240                        INDIANAPOLIS IN 46208                      NEW YORK NY 10025




MARTINEAU, LOUIS                       MARTINELLI, IVALDETTE                      MARTINELLI, VIVIAN
2800 NW 56 AVE NO.H-101                101 ENGLEWOOD AVE                          268 NEWINGTON RD
LAUDERHILL FL 33313                    ELMWOOD CT 06110                           ELMWOOD CT 06110




MARTINEZ ACOSTA, ANGEL L               MARTINEZ JR, ROBERT W                      MARTINEZ MIRANDA, DORALBA
400 NW 74 AVE                          1298 FOREST GLEN S                         15192 SUGARGROVE WAY
MIAMI FL 33126                         WINNETKA IL 60093                          ORLANDO FL 32828




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MARTINEZ RIOS, ANGELICA                 MARTINEZ SANCHEZ, FERNANDO                 MARTINEZ SANTA, NOEL A
3509 W CORTLAND ST APT 1                202 WILSHIRE DRIVE                         83 PARK AVE
CHICAGO IL 60647                        CASSELBERRY FL 32707                       WETHERSFIELD CT 06109




MARTINEZ, ADRIANA                       MARTINEZ, ANDRES                           MARTINEZ, ARISTIDES D
206 PINE CIRCLE                         2301 CHAMPLAIN STREET NW NO.208            6091 BOCA COLONY DR.
GREEN ACRES FL 33463                    WASHINGTON DC 20009                        AP NO.1522
                                                                                   BOCA RATON FL 33433



MARTINEZ, BEATRIZ                       MARTINEZ, CARLOS                           MARTINEZ, CARMELO
100 DE LOS SANTOS RD                    8460 SUNRISE LAKES BLV NO.101              BRISAS DE PLATA NO.32
SAN BENITO TX 78586                     SUNRISE FL 33322                           DORADO 646




MARTINEZ, CHARLENE                      MARTINEZ, DANIEL                           MARTINEZ, DANIEL
50 WHITON STREET                        42 ROXBURY ST                              42 ROXBURY ST
WINDSOR LOCKS CT 06096                  *690 ELLINGTON RD 7-11                     PO BOX 340421
                                        HARTFORD CT 06114-3512                     *690 ELLINGTON RD 7-11
                                                                                   HARTFORD CT 06114-3512


MARTINEZ, DANIEL                        MARTINEZ, DANIEL LARA                      MARTINEZ, DAVID
42 ROXBURY STREET                       3720 SW 43 AVENUE                          71-14 68 PL
HARTFORD CT 06114-1765                  HOLLYWOOD FL 33023                         GLENDALE NY 11385




MARTINEZ, DIANELLY                      MARTINEZ, EDUARDO C                        MARTINEZ, EDWARD
846 STANLEY ST    APT 5                 6210 GAUNTLET HALL LN                      1527 ANTIGUA BAY DR
NEW BRITAIN CT 06051                    DAVIE FL 33331                             ORLANDO FL 32824




MARTINEZ, ELVIRA                        MARTINEZ, ENID MILAGROS                    MARTINEZ, ERICK
PO BOX 92 - CHAPARRAL ST                8979 NW 53RD CT                            42 ROXBURY ST
LA FERIA TX 78559                       SUNRISE FL 33351                           HARTFORD CT 06114-1765




MARTINEZ, ESLIN                         MARTINEZ, JACQUELINE                       MARTINEZ, JAMIE
7280 FARRAGUT STREET                    6734 FORSYTH OAKS CT                       8310 NW 7TH ST APARTMENT 52
HOLLYWOOD FL 33024                      ORLANDO FL 32807                           MIAMI FL 33126




MARTINEZ, JAVIER                        MARTINEZ, JOSE                             MARTINEZ, JULIO M
5827 S CAMPBELL                         420 W 45TH ST                              94-07 82 PLACE
CHICAGO IL 60629                        NEW YORK NY 10036                          OZONE PARK NY 11416




MARTINEZ, KELVIN                        MARTINEZ, MARIO                            MARTINEZ, MARTHA
1919 DEMETRO DR                         13803 SW 90TH AVE NO.G 103                 1340 WINDJAMMER LANE
HAMPTON VA 23663                        MIAMI FL 33176                             HANOVER PARK IL 60133




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MARTINEZ, MARTHA L                    MARTINEZ, MICHAEL                          MARTINEZ, MICHAEL
9881 NOB HILL LN                      9019 HARGIS ST.                            585 GILCREST RD
SUNRISE FL 33351                      LOS ANGELES CA 90034-1926                  COLORADO SPRINGS CO 80906




MARTINEZ, NATALIA                     MARTINEZ, NEIL R                           MARTINEZ, NELLY
18830 SW 7TH ST                       1800 KEYSTONE B                            399 SURYDAM ST APT 1R
PEMBROKE PINES FL 33029-6009          NORTH MIAMI FL 33181                       BROOKLYN NY 11237




MARTINEZ, OSCAR                       MARTINEZ, OSWALDO                          MARTINEZ, R IDALIA
10029 WINDING LAKE RD   NO.103        CALANDRIA NO.189                           518 S RANCHO LINDO DR
SUNRISE FL 33351                      SAN LUIS POTOSI                            COVINA CA 91724




MARTINEZ, TANIA B                     MARTINEZ-CRUZ, KIOMY L                     MARTINEZ-MURPHY, LILIANA
24 CALDWELL AVE                       2507 NW 16TH ST RD                         10632 S KOSTNER AVE
STAMFORD CT 06902                     MIAMI FL 33125                             OAK LAWN IL 60453




MARTINO, CARMIE                       MARTINS, ARIANA I                          MARTINS, CHRIS
3560 MICHIGAN CT                      7 COMSTOCK ST APT 3                        3372 1/2 DESCANSO DRIVE
BETHLEHEM PA 18020                    DANBURY CT 06810                           LOS ANGELES CA 90026




MARTINS, MARIO                        MARTO, CARLOS                              MARTY KAPLAN INC
344 SW 1ST NO.A10                     198 ARNOLDALE RD                           124 S LAS PALMAS
POMPANO BEACH FL 33064                WEST HARTFORD CT 06119                     LOS ANGELES CA 90004




MARTY LEADMAN                         MARTY LEE CONWAY                           MARTY SWAIN
732 E. MARIPOSA ST                    409 BETH DRIVE                             6295 TC WALKER RD
ALTADENA CA 91001                     SANFORD FL 32771                           GLOUCESTER VA 23061




MARUDAS, GEORGIA C                    MARULLI, VALERIE                           MARVA WINGFIELD-HONDO
9 WENDOVER RD                         3127 BROADMOOR VALLEY RD                   1010 EMMERICK DRIVE
BALTIMORE MD 21218                    UNIT D                                     JOPPA MD 21085
                                      COLORADO SPRINGS CO 80906



MARVECIA ROBINSON                     MARVEL CHARACTERS                          MARVEL ENGINEERING COMPANY
6058 VILLAGE CIRCLE                   61 LAMAS VALLEY RD         STE B           2087 N. HAWTHORNE AVENUE
ORLANDO FL 32822                      MAHWAH NJ 07430                            MELROSE PARK IL 60160




MARVIE SAN JUAN                       MARVIN BROWN                               MARVIN C REYNOLDS
2345 MERTON AVE.                      1844 STRAWBERRY RIDGE DR                   1536 EAST SIDE
APT. #214                             ST. LOUIS MO 63021                         MESQUITE TX 75149
LOS ANGELES CA 90041




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MARVIN CARTER                         MARVIN CRAYON                              MARVIN DAVIS
2730 PLAZA DRIVE                      134 E. 82ND PLACE                          818 LORINE CT
APT. C                                LOS ANGELES CA 90003                       ABERDEEN MD 210011227
INDIANAPOLIS IN 46268



MARVIN G WILLE                        MARVIN GENTILE                             MARVIN HEMMINGS
10310 RENOA AVENUE                    3881 NW 21ST STREET                        14024 OSPREY LINKS RD.
SOUTH GATE CA 90280                   COCONUT CREEK FL 33066                     BUILDING 19 APARTMENT 317
                                                                                 ORLANDO FL 32839



MARVIN LEE                            MARVIN LEWIS                               MARVIN POER & COMPANY
2232 CARNILE DRIVE                    4785 WINTERSET WAY                         PO BOX 660076
ALHAMBRA CA 91803                     OWINGS MILLS MD 21117                      DALLAS TX 75266-0076




MARVIN POER & COMPANY                 MARVIN RACHEL                              MARVIN SCHENKER
PO BOX 678008                         7708 S. HERMITAGE                          402 NW 152ND LANE
DALLAS TX 75267-8008                  CHICAGO IL 60620                           PEMBROKE PINES FL 33028




MARVIN SCOTT                          MARVIN SHEARER                             MARVIN SMITH
8000 RIVER ROAD - #11B                20334 HIAWATHA STREET                      2621 EUCLID
NORTH BERGEN NJ 07047                 CHATSWORTH CA 91311                        BERWYN IL 60402




MARVIN SUSSMAN                        MARVIN TESSLER                             MARVIN THOMAS
RR1 BOX 100                           323 CHRISTOPHER STREET                     4002 MIDDLETON DRIVE
KINGSLEY PA 18826                     OCEANSIDE NY 11572                         MONROVIA MD 21770




MARVINA DAIL                          MARVIS PHARR                               MARVONEK,MICHAEL
523 COVENTRY RD.                      8759 S. BLACKSTONE AVE                     50 SPUSTA RD
BALTIMORE MD 21229                    CHICAGO IL 60619                           STAFFORD SPRINGS CT 06076




MARX, ANTHONY W                       MARX, ANTHONY W                            MARX, GARY
175 SOUTH PLEASANT ST                 AMHERST COLLEGE                            515 W OAKDALE AVENUE
AMHERST MA 01002                      PO BOX 5000                                CHICAGO IL 60657
                                      AMHERST MA 01002



MARX, GARY                            MARX, LISA                                 MARY P FAUST
NATIONAL BUREAU CORRESPONDENT         PO BOX 762                                 3407 RUSHING RD
435 N MICHIGAN                        COLEMAN FL 33521                           AUGUSTA GA 30906
CHICAGO IL 60610



MARY A SCHARING                       MARY A TAYLOR                              MARY AGNES BRUZAS
5622 W GUNNISON                       11622 GULF STATION                         4201 DAWN LANE
CHICAGO IL 60630                      HELOTES TX 78023                           OCEANSIDE CA 92056




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MARY ALICE HERGOTT                     MARY ALICE VARELA                          MARY ALLEN
7 KEMPER AVENUE                        108 BROOKSIDE DRIVE                        2274 LILLYVALE AVENUE
NEWPORT NEWS VA 23601                  MANDEVILLE LA 70471                        LOS ANGELES CA 90032




MARY ANDREWS                           MARY ANN HERNANDEZ                         MARY ANN KARKENNY
4011 SW 2ND STREET                     1301 W. HICKORY                            7912 POWDERHORN LANE
PLANTATION FL 33317                    DEMING NM 88030                            ORLANDO FL 32825




MARY ANN MASCIONE                      MARY ANN MEEK                              MARY ANN MERICLE
19870 BRECKENRIDGE DR.                 621 N CULLEN AVENUE                        40113 CORTE LORCA
APT. 207                               GLENDORA CA 91741                          MURRIETA CA 92562
ESTERO FL 33928



MARY ANN RUNG                          MARY ANN SANYET                            MARY ANN STULLER
241 ELIZABETH AVE                      109 TRESSER BLVD.                          111A NEWPORTBAY DR
OCEANSIDE NY 11572                     APT. 10B                                   PO BOX 3565
                                       STAMFORD CT 06902                          OCEAN CITY MD 21843



MARY ANN TORO                          MARY ANN TURANO                            MARY ANNA GENTLEMAN
1131 SEAFARER LANE                     8 LAFAYETTE ST.                            3225 OBERLIN AVE
WINTER SPRINGS FL 32708                HUNTINGTON NY 11743                        ORLANDO FL 32804




MARY ANNE KLINK                        MARY ATKINSON                              MARY BABCOCK
19 S WASHINGTON AVE                    17 HUNTRESS CT                             14 HEBRON ROAD
BALA CYNWYD PA 19004                   LUTHERVILLE MD 21093                       ANDOVER CT 06232




MARY BARR                              MARY BAUER                                 MARY BELL
P O BOX 5152                           3451 N WOLCOTT                             322 PRAIRIE ST
LIGHTHOUSE POINT FL 33064              CHICAGO IL 60657                           CALUMET CITY IL 60409




MARY BETH GERDES                       MARY BETH MCCABE                           MARY BLAKE
666 N HAWK                             405 N OCEAN BLVD                           9512 DRAGON CLAW
PALATINE IL 60067                      #409                                       COLUMBIA MD 21046
                                       POMPANO BEACH FL 33062



MARY BODDEKER                          MARY BOHENTIN                              MARY BONIFER
5203 CYPRESS SPRING DR                 3807 N CHRISTIANA                          1428 MAURY ROAD
MISSOURI CITY TX 77459                 #2R                                        ORLANDO FL 32804
                                       CHICAGO IL 60618



MARY BORZELL                           MARY BRASWELL                              MARY BRATTON
1931 WESTHAMPTON COURT                 2315 JAYMA LANE                            5978 BRAEMAR PLACE
VERO BEACH FL 32966                    LA CRESCENTA CA 91214                      #104
                                                                                  ORLANDO FL 32822




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MARY BURAK                              MARY BURKE                                 MARY BURKHEAD
4141 NW 48TH AVENUE                     97 NORTH OCEAN AVE                         2550 LIBERTY PARKWAY
LAUDERDALE LAKES FL 33319               ISLIP NY 11751                             BALTIMORE MD 21222




MARY BURNETT                            MARY C DIETRICK                            MARY CABRERA
18 WATERSIDE LANE                       10207 DEL MASTRO CT. SW                    12415 PARAMOUNT BLVD.
CLINTON CT 06413                        ALBUQUERQUE NM 87121                       APT. A
                                                                                   DOWNEY CA 90242



MARY CAMPBELL                           MARY CAROL ZIEGLER                         MARY COKER
3935 HARVEY AVENUE                      2419 N. 75TH AVE.                          603 GLEN GROVE LANE
WESTERN SPRINGS IL 60558                UNIT C                                     EDGEWOOD FL 32839
                                        ELMWOOD PARK IL 60707



MARY COONEY                             MARY COREY                                 MARY CREED
16 GARDENGATE LANE                      3820 BEECH AVE                             963 LYNHAM CT
IRVINE CA 92620                         BALTIMORE MD 21211                         BEL AIR MD 21014




MARY CUTLER                             MARY DAVIS                                 MARY DEDINSKY HERBERT
1259 FOREST GLEN NORTH                  76 E 15TH STREET                           660 W. IRVING PARK ROAD
WINNETKA IL 60093                       HOLLAND MI 49423                           #J-6
                                                                                   CHICAGO IL 60613



MARY DEMARCO                            MARY DENLEY                                MARY DIEHL
1860 VERMONT ST.                        12152 PASEO BONITA                         1335 N WAHNETA STREET
ROLLING MEADOWS IL 60008                LOS ALAMITOS CA 90720                      ALLENTOWN PA 18109




MARY DIRLAM                             MARY DONNAWELL                             MARY DONOVAN
217 QUAKER BOTTON ROAD                  923 ASBURY DRIVE                           9832 S. KOLIN AVENUE
HAVRE DE GRACE MD 21078                 AURORA IL 60502                            OAK LAWN IL 60453-3546




MARY DOWER                              MARY DRENNON                               MARY DUNN
3049 SCHROON RIVER ROAD                 8150 NW 25 PL                              5134 STONE SHOP CIRCLE
CHESTERTOWN NY 12817                    SUNRISE FL 33322                           OWINGS MILLS MD 21117




MARY E BRIDGES                          MARY EASTMAN                               MARY EKLUND
919 W. YALE STREET                      193 BUFFALO ST                             3718 FALCON RIDGE CIRCLE
ORLANDO FL 32804                        BEAVER PA 15009                            WESTON FL 33331




MARY ELLEN ALU                          MARY ELLEN HENDRICKS                       MARY ELLEN LYONS
2336 WASHINGTON STREET                  4934 N. MONTICELLO AVENUE                  750 E. LAUREL
ALLENTOWN PA 18104                      APT# 3                                     GLENDORA CA 91741
                                        CHICAGO IL 60625-5654




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MARY ELLEN MOORE                     MARY ELLEN PODMOLIK OBRECHT                MARY ELLEN SMITH
306 W. CONCORD PLACE                 734 S. GROVE AVENUE                        33 PLEASANT STREET
CHICAGO IL 60614                     OAK PARK IL 60304                          WEST HARTFORD CT 06107




MARY ELLEN ULRICH                    MARY ELSON                                 MARY ENGEL
222 SOUTH STREET                     2017 GRANT STREET                          3717 GLENFELIZ BLVD
HARTFORD CT 06114                    EVANSTON IL 60201                          LOS ANGELES CA 90039




MARY ERBIS                           MARY F FAN                                 MARY FERGUS
3009 BEECHNUT AVE                    2111 CEDAR AVENUE #A                       5108 N. MASON
MEDFORD NY 11763                     ALHAMBRA CA 91801                          CHICAGO IL 60630




MARY FIEDLER                         MARY FLEGAS LATSIS                         MARY FLYNTZ
115 SATSUMA DRIVE                    2101 SOUTH DAYTON STREET                   60 BAYVIEW AVE
ALTAMONTE SPRINGS FL 32714           DENVER CO 80231                            AMITYVILLE NY 11701




MARY FORD                            MARY FORGIONE                              MARY FRANCES CAPSHAW
76 ADAMS AVENUE                      1246 W 14TH STREET                         1203 NORTH FOREST AVE
STAMFORD CT 06902                    SAN PEDRO CA 90731                         ORLANDO FL 32803-2715




MARY FRANCES EMMONS                  MARY GARVEY                                MARY GASKINS
1815 WOODWARD ST                     53 WEST 21ST STREET                        743 MICHELLE DRIVE
ORLANDO FL 32803                     DEER PARK NY 11729                         NEWPORT NEWS VA 23601




MARY GOULD                           MARY GRAVELLE                              MARY GROTHAUS
2226 PARKTON WAY                     17384 HIGHWOOD DRIVE                       1 EAST NORMANDY DRIVE
BARNHART MO 63012                    ORLAND PARK IL 60467                       WEST HARTFORD CT 06107




MARY GUNN                            MARY H GETCHELL                            MARY HADDAD
7056 DUCKETTS LANE                   423 PIN OAK ROAD                           10939 BARBS WAY
ELKRIDGE MD 21075                    NEWPORT NEWS VA 23601                      ORLAND PARK IL 60467




MARY HALL                            MARY HARE                                  MARY HARRISON
1435 W. ALBION AVENUE                1713 MYSTIC CIRCLE                         2542 PARR DRIVE
APT 2-S                              BALTIMORE MD 21221                         INDIANAPOLIS IN 46220
CHICAGO IL 60626-5023



MARY HARTNEY                         MARY HAYES                                 MARY HELEN OLEJNIK
221 W. LANVALE STREET                923 NOEL CT                                3150 EMERALD POINTE DR
APT. 3F                              WESTMONT IL 60559                          APT 207B
BALTIMORE MD 21217                                                              HOLLYWOOD FL 33021




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MARY HENRY                             MARY HICKEY                                MARY HODGES
203 BEVERLY ROAD                       6880 N. LORON                              321 E. TAMARACK AVE.
BARRINGTON IL 60010                    CHICAGO IL 60646                           APT. #1
                                                                                  INGLEWOOD CA 90301



MARY HOFFMAN                           MARY HORNE                                 MARY INNES
139 S. FOREST AVE.                     3110 LAKE ARNOLD PLACE                     #5 FAIRWAY LANE
HILLSIDE IL 60162                      ORLANDO FL 32806-1654                      LITTLETON CO 80123




MARY J MONTGOMERY                      MARY JAKUBIK                               MARY JAMES
06183 NINE MILE POINT DRIVE            13733 PASTURE GREEN                        522 ANDOVER COURT
CHARLEVOIX MI 49720                    CLARKSVILLE MD 21029                       LAKE FOREST IL 60045




MARY JANE AQUINO                       MARY JANE GRANDINETTI                      MARY JANE SIA-BAKER
905 SAZA RUN                           9416 S WINCHESTER                          109 S. SIERRA MADRE BLVD.
CASSELBERRY FL 32707                   CHICAGO IL 60643                           #5
                                                                                  PASADENA CA 91107



MARY JANE THRASHER                     MARY JEAN MCDERMOTT                        MARY JO LAZZARO
508 E TAYLOR DR                        8714 28TH AVENUE NW                        7401 W AINSLIE
MONTEREY PARK CA 91755-6742            SEATTLE WA 98117                           HARWOOD HEIGHTS IL 60656




MARY JO MANDULA                        MARY JUDD                                  MARY K KUNKEL
6115 PLYMOUTH STREET                   1516 BIRDWOOD COURT                        13 LINWOOD PLACE
DOWNERS GROVE IL 60516                 CROFTON MD 21114                           MASSAPEQUA PARK NY 11762




MARY KATE CHAMBERS                     MARY KAUFMAN                               MARY KAYE SCHILLING
3044 N. LEAVITT ST.                    468 SANDPIPER LANE                         849 S. BROADWAY
APT. #1                                #114                                       #204
CHICAGO IL 60618                       CASSELBERRY FL 32707                       LOS ANGELES CA 90014



MARY KEEFE-SHELTON                     MARY KENNEDY                               MARY KENT
2535 MARY STREET                       309 S. PARK STREET                         33 WEST DELAWARE PLACE
MONTROSE CA 91020                      APT. 10 A                                  APT #9K
                                       ABERDEEN MD 21001                          CHICAGO IL 60610



MARY KUCK                              MARY KUHLEMAN                              MARY L BURNETT
17 TALL OAK DRIVE                      1410 GLENWILDE RD.                         730 NORTH WHITNALL HWY
HUNTINGTON NY 11743                    BALTIMORE MD 21228                         APT 107
                                                                                  BURBANK CA 91505-5400



MARY L SUMMERSETT                      MARY LANE                                  MARY LAWLER
3378 ROBERTSON CIRCLE                  73 OAKLAWN DRIVE                           530 8TH STREET
BLAIRSVILLE GA 30512                   METAIRIE LA 70005                          WILMETTE IL 60091




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MARY LEWIS                             MARY LIM                                    MARY LITTLE
1813 WESTLAKE AVENUE NORTH             1503 OAK AVENUE                             3425 WEST HARRISON
SEATTLE WA 98109                       #413                                        1ST FLOOR
                                       EVANSTON IL 60201                           CHICAGO IL 60609



MARY LOPEZ                             MARY LOU LAFFIN                             MARY LOU STONEBURNER
7300 BETTY ST.                         11001 JEFFERSON AVENUE                      194 WHITEWOOD ROAD
WINTER PARK FL 32792                   APT. #423                                   P.O. BOX 852
                                       NEWPORT NEWS VA 23601                       ROCKY HILL CT 06067



MARY LOUISE CRUZ                       MARY MACHADO                                MARY MACVEAN
20800 NE 8TH CT                        3435 WEDGEWOOD LANE                         1546 CARMONA AVENUE
# 104                                  BURBANK CA 91504                            LOS ANGELES CA 90019
MIAMI FL 33179



MARY MAGDALENA JIMENEZ                 MARY MARATRE                                MARY MCCAULEY
3856 RANDOLPH AVENUE                   308 S. OAKLEY BLVD.                         230 STONY RUN LANE
LOS ANGELES CA 90032                   CHICAGO IL 60612                            5C
                                                                                   BALTIMORE MD 21210



MARY MCCULLAH                          MARY MCGINNIS                               MARY MCNAMARA
4930 CRYSTAL LANE                      5561 BANBRIDGE DRIVE                        5451 PINERIDGE DRIVE
SANTA ANA CA 92704                     HARRISBURG PA 17112                         LA CRESCENTA CA 91214




MARY MCNICHOLAS                        MARY MICHAEL                                MARY MORGAN
1212 SOUTH CURLEY ST.                  6511 NW 28 CT                               1 LAFAYETTE ST
BALTIMORE MD 21224                     MARGATE FL 33063                            HUDSON FALLS NY 12839




MARY MORSOVILLO                        MARY MUNSTER                                MARY MURPHY
9828 S UTICA AVE                       520 BROOKSIDE CIRCLE                        51-19 244TH STREET
EVERGREEN PARK IL 60805                MAITLAND FL 32751                           DOUGLASTON NY 11362




MARY MURPHY                            MARY MURPHY                                 MARY MYLES
29 LANPHIER ROAD                       25 QUEENS LANE                              3100 ST PAUL ST
BRANFORD CT 06405                      QUEENSBURY NY 12804                         APT #111
                                                                                   BALTIMORE MD 21218



MARY NARDUCCI                          MARY NARUCKI                                MARY NEEDHAM
1301 FRANKLIN ST.                      2733 HAVERHILL COURT                        62 WAYNE DRIVE
APT. #6                                CLEARWATER FL 33761                         PLAINVILLE CT 06062
SANTA MONICA CA 90404



MARY NETTLETON                         MARY NICHOLAS                               MARY NIESTROM
1035 GRACES LANDING                    2929 S.E. OCEAN BLVD.                       339 CLIFF COURT
APT 101                                BLDG 125-10                                 LISLE IL 60532
SEBASTIAN FL 32958                     STUART FL 34996




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MARY NOON                             MARY NOVAK                                 MARY O'LEARY
529 TENNIS AVENUE                     32603 FOWLER CIRCLE                        11056 NW 23RD COURT
AMBLER PA 19002                       WARRENVILLE IL 60555                       SUNRISE FL 33322




MARY OLSON                            MARY OWEN                                  MARY PALMER
28 BLOSSOM TERR.                      1716 N. CAMPBELL                           5613 KING ARTHUR COURT
LARCHMONT NY 10538                    2F                                         7
                                      CHICAGO IL 60647                           WESTMONT IL 60559



MARY PARAMORE                         MARY PERSON                                MARY PERSON
3812 B PRIDE COURT                    640 SOUTH MAIN ST                          1815-218TH
APG MD 21005                          FREEPORT NY 11520                          SAUK VILLAGE IL 60411




MARY PHELAN                           MARY PRATT                                 MARY RAKOCZY
514 STAMFORD ROAD                     2300 W. WABANSIA AVE.                      3700 WINSTON PLACE
BALTIMORE MD 21229                    APT. #304                                  HOFFMAN ESTATES IL 60192
                                      CHICAGO IL 60647



MARY REBMAN                           MARY REISS                                 MARY RICKER
1 SAMANTHA CT                         238 NORTH 7TH STREET                       9625 MISSION GORGE RD. B2-242
HAMPTON VA 23663                      LEHIGHTON PA 18235                         SANTEE CA 92071




MARY RIGGEN                           MARY ROOT ROSENBLUTH                       MARY ROURKE
1355 N. SANDBURG TERRACE              1620 MEADOWBROOK ROAD                      1135 26TH ST
APT 2706                              NO MERRICK NY 11566-2555                   APT A
CHICAGO IL 60610-2074                                                            SANTA MONICA CA 90403



MARY RYAN                             MARY RYTHER                                MARY SALAZAR
1750 N. MOHAWK AVE                    320 E. STOCKER ST.                         P. O. BOX 183
APT. 205                              APT#101                                    WEST COVINA CA 91792
CHICAGO IL 60614                      GLENDALE CA 91207



MARY SANCHEZ                          MARY SCHICK                                MARY SCHIRMER
630 W. DUARTE RD.                     17390 EAST LAKE DRIVE                      2209 SHETLAND WAY
APT#116                               AURORA CO 80016                            BEL AIR MD 21015
MONROVIA CA 91016



MARY SCHISLER                         MARY SCHMICH                               MARY SCHULTZ
9521 HICKORY FALLS WAY                1835 N. HOWE STREET                        17621 PRINCESS ELIZABETH CT
BALTIMORE MD 21236                    #3F                                        TINLEY PARK IL 60487-6161
                                      CHICAGO IL 60614



MARY SCHULTZ                          MARY SCHULTZ                               MARY SCOZZARI
12 RUSSELL STREET                     613 POWHATAN BEACH ROAD                    2210 3RD STREET #219
SAUGERTIES NY 12477                   PASADENA MD 21122                          SANTA MONICA CA 90405




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                           Case 08-13141-BLS     Doc 17-2      Filed 12/08/08   Page 609 of 800
MARY SHANKLIN                           MARY SHAW                                  MARY SINGER
1770 MOHAWK TRL                         13750 BLUESTONE LAKE COURT                 9761 RESEDA BOULEVARD
MAITLAND FL 32751                       DAVIE FL 33325                             #75
                                                                                   NORTHRIDGE CA 91324



MARY SPATKOWSKI                         MARY STEVENS                               MARY T LEFEBVRE
404 FARMINGTON AVENUE                   10790 NW 14TH STREET                       1714 N KEATING
NEW BRITAIN CT 06053                    APT 188                                    CHICAGO IL 60639
                                        PLANTATION FL 33322



MARY T LUTZKE                           MARY TAYLOR                                MARY TILGHMAN
1500 S. ARDMORE                         893 EASTNOR CT                             3 TROTTING HORSE CT
UNIT # 603                              NEWPORT NEWS VA 23608                      BALTIMORE MD 21228
VILLA PARK IL 60181



MARY TILL                               MARY TINDALL                               MARY TROCCOLI
2801 MARTIN AVE                         200 ST. ANDREWS BLVD                       105 6TH AVENUE
BELLMORE NY 11710                       NO. 408                                    HUNTINGTON STATION NY 11746
                                        WINTER PARK FL 32792



MARY UMBERGER                           MARY VENETOS                               MARY VIGNOLES
572 WILLIAMSBURGH RD.                   823 FLINTLOCK DRIVE                        1053 NORDICA DR
GLEN ELLYN IL 60137                     BEL AIR MD 21015                           LOS ANGELES CA 90065




MARY WALKER                             MARY WARHOLY                               MARY WARREN
97 SOUTH 36TH STREET                    2058 FOREST EDGE DRIVE                     33 PINE DRIVE
WYANDANCH NY 11798                      CUYAHOGA FALLS OH 44223                    E. NORTHPORT NY 11731




MARY WHERTLEY                           MARY WILGIS                                MARY WILLIAMS
9230 JACKSON ST.                        224 NORTH MAIN STREET                      41 LAKE JUNIPER CIRCLE
PHILADELPHIA PA 19114                   BEL AIR MD 21014                           DEFUNIAK SPRINGS FL 32433




MARY WILSON                             MARY WILSON                                MARY WOOD
711 S RIVER ROAD                        26 HOPE VALLEY ROAD                        13610 W. SWEETWATER DRIVE
APT 704                                 AMSTON CT 06231                            HOMER GLEN IL 60491
DES PLAINES IL 60016



MARY YOUTZ                              MARY YUN                                   MARY ZAMBITO
5211 HOMESTEAD CIRCLE                   121 HIGHWOOD DRIVE                         104 ORINOCO DRIVE
EMMAUS PA 18049                         GLASTONBURY CT 06073                       BRIGHTWATERS NY 11718




MARY ZEPPIERI                           MARY-LOU RICOTTA                           MARY-LYNN PILACHOWSKI
4517 KINGS WALK                         1869 HARING STREET                         3412 E NORTHERN PKWY
2C                                      BROOKLYN NY 11229                          BALTIMORE MD 21206
ROLLING MEADOWS IL 60008




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MARYA WOYCIESJES                     MARYALICE MIGLIORE                         MARYAN DELORENZO
518 KENSINGTON DRIVE                 1 MCCABE STREET                            81 BRENTWOOD DRIVE
MIDLOTHIAN TX 76065                  MANCHESTER CT 06040                        WALLINGFORD CT 06492




MARYANA HOLNESS                      MARYANN BELLANTONIO                        MARYANN CARTER
2425 NOSTRAND AVENUE                 6011 SW 41ST ST.                           2315 WUTHERING ROAD
APT 204                              #9                                         TIMONIUM MD 21093
BROOKLYN NY 11210                    DAVIE FL 33314



MARYANN DESANTIS                     MARYANN DIZON                              MARYANN ECHEVERRIA
10 APPOMATTOX CT                     11546 BOS STREET                           1228 N. LARKIN DRIVE
CORAM NY 11727                       CERRITOS CA 90703                          COVINA CA 91722




MARYANN JAMES                        MARYANN KILEY                              MARYANN KUTZ
1020 PARK AVENUE                     171 SECATOGUE LANE                         6934 DELVALE PLACE
APT 704                              WEST ISLIP NY 11795                        BALTIMORE MD 21222
BALTIMORE MD 21201



MARYANN MONTES                       MARYANN SKINNER                            MARYANN STENSON
149-37 128TH STREET                  10 MEUDON DRIVE                            10100 MEADOW LANE
WAKEFIELD NY 11420                   LOCUST VALLEY NY 11560                     DES PLAINES IL 60016




MARYANN TIGERT                       MARYANN TONER                              MARYANN WALTZ
2211 E CORTEZ STREET                 77 RADCLIFFE AVE                           500 S. LOS ROBLES AVE.
WEST COVINA CA 91791                 FARMINGDALE NY 11735                       APT.# 315
                                                                                PASADENA CA 91101



MARYANN ZELLNER                      MARYANN ZIMMERMAN                          MARYANNE ADENT
273 JOHNSTON DRIVE                   3592 PARK AVE                              2238 RAMBLEWOOD DRIVE
BETHLEHEM PA 18017                   APT 2A                                     HIGHLAND IN 46322
                                     WANTAGH NY 11793



MARYANNE WIEGEL                      MARYBETH FOLEY                             MARYELLEN ANGELUCCI
749 WHITE OAKS AVE                   221-A OLD TOWN ROAD                        10228F S. MULBERRY LANE
BALTIMORE MD 21228                   EAST SETAUKET NY 11733                     BRIDGEVIEW IL 60455




MARYELLEN PANN                       MARYELLEN RANSOM                           MARYELLEN RAPPA
22 WARREN COMMON                     150 BAYVIEW AVE                            22 OAK TREE LANE
COCKEYSVILLE MD 21030                EAST ISLIP NY 11730                        LEVITTOWN NY 11756




MARYELLEN RUSZKAI                    MARYELLEN WAZORKO                          MARYGAIL BUSIC
16 BAY AVE                           8 USHER AVENUE                             1763 CASS COURT
HALESITE NY 11743                    PLAINVILLE CT 06062                        LIBERTYVILLE IL 60048




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MARYJANE REINOLD                     MARYJO STEWART                             MARYKAYE MARTELL
151 BROOKSIDE COURT                  79 PLATT STREET                            1926 FENWICK WAY
COPIAGUE NY 11726                    GLENS FALLS NY 12801                       CASSELBERRY FL 32707




MARYL CELIZ                          MARYL LAVELLE                              MARYL OLSEN
660 S. CLOVERDALE AVENUE             14035 GILMORE STREET                       2381 N 37TH AVE
201                                  VALLEY GLEN CA 91401                       HOLLYWOOD FL 33021
LOS ANGELES CA 90036



MARYLAND AMERICAN WATER              MARYLAND AMERICAN WATER                    MARYLAND AMERICAN WATER
ACCT NO. XX-XXXXXXX-2                ACCT NO. XX-XXXXXXX-0                      ACCT NO. XX-XXXXXXX-8
P.O. BOX 371880                      P.O. BOX 371880                            P.O. BOX 371880
PITTSBURGH PA 15260-7880             PITTSBURGH PA 15260-7880                   PITTSBURGH PA 15260-7880



MARYLAND AMERICAN WATER              MARYLAND ASSOC FOR HEALTHCARE              MARYLAND ASSOC FOR HEALTHCARE
P.O. BOX 371880                      167 RIVER RD                               MT WASHINGTON PEDIATRIC HOSPITAL
PITTSBURGH PA 15260-7880             PASADENA CA 21122                          HUMAN RESOURCES GEORGAN KLINE
                                                                                1708 W ROGERS AVE
                                                                                BALTIMORE MD 21209


MARYLAND ASSOCIATION OF NONPROFIT    MARYLAND AUTO DEALERS SVC INC              MARYLAND BUSINESS ROUNDTABLE FOR
190 W OSTEND ST    STE 201           100 CATHEDRAL ST STE 9                     111 S CALVERT ST
BALTIMORE MD 21230                   ANNAPOLIS MD 21401                         SUITE 1720
                                                                                BALTIMORE MD 21202



MARYLAND CHILD SUPPORT ACCOUNT       MARYLAND CHILD SUPPORT ACCOUNT             MARYLAND CHILD SUPPORT ACCOUNT
361 ROWE BLVD                        C/O PEG ALTOFF                             CASE 390042743
ANNAPOLIS MD 21401-1697              CARROLL COUNTY PUBLIC SCHOOLS              PO BOX 17396
                                     125 N COURT ST                             BALTIMORE MD 21297-1396
                                     WESTMINSTER MD 21157


MARYLAND CHILD SUPPORT ACCOUNT       MARYLAND CHILD SUPPORT ACCOUNT             MARYLAND CHILD SUPPORT ACCOUNT
CASE NO. 020018266                   CASE NO.400063140                          PO BOX 17396
PO BOX 17396                         PO BOX 17396                               BALTIMORE MD 21297-1396
BALTIMORE MD 21297-1396              BALTIMORE MD 21297-1396



MARYLAND DEPARTMENT OF THE           MARYLAND DEPARTMENT OF THE                 MARYLAND DEPARTMENT OF THE
7201 CORPORATE CENTER DR             C/O OF HEALTH / BPQA                       COMPENSATION COMMISSION
HANOVER MD 21076                     4201 PATTERSON AVE 3RD FLR                 SUBSEQUENT INJURY FUND
                                     BALTIMORE MD 21215-0095                    320 TOWSONTOWN BLVD
                                                                                BALTIMORE MD 21286


MARYLAND DEPARTMENT OF THE           MARYLAND DEPARTMENT OF THE                 MARYLAND DEPARTMENT OF THE
P O BOX 1417                         P O BOX 2057                               PO BOX 2037
BALTIMORE MD 21203-1417              BALTIMORE MD 21203                         BALTIMORE MD 21203




MARYLAND DEPARTMENT OF               MARYLAND DEPT OF THE ENVIRONMENT           MARYLAND DISTRICT OF COLUMBIA -
C/O JACK CAHALAN, DIRECTOR           1800 WASHINGTON BLVD                       1 E CHASE ST NO. 1130
OFFICE OF PUBLIC AFFAIRS             BALTIMORE MD 21230                         BALTIMORE MD 21202
7201 CORPORATE CENTER DR
HANOVER MD 21076




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MARYLAND DISTRICT OF COLUMBIA -          MARYLAND MARKETING SOURCE INC             MARYLAND MULTI HOUSING ASSOCIATION INC
DELAWARE BROADCASTERS ASSOCIATION INC    9936 LIBERTY RD                           1421 CLARKVIEW RD
106 OLD COURT RD STE 300                 RANDALLSTOWN MD 21133                     SUITE 100
BALTIMORE MD 21208                                                                 BALTIMORE MD 21209



MARYLAND MULTI HOUSING ASSOCIATION INC   MARYLAND NEW CAR & TRUCK DEALERS          MARYLAND STADIUM AUTHORITY
7900 WISCONSIN AVE   STE 305             100 CATHEDRAL ST                          333 W CAMDEN ST    STE 500
BETHESDA MD 20814                        STE 9                                     BALTIMORE MD 21201
                                         ANNAPOLIS MD 21401



MARYLAND STADIUM AUTHORITY               MARYLAND STATE                            MARYLAND UNEMPLOYMENT INSURANCE
M & T BANK STADIUM                       DEPT OF ASSESSMENT & TAXATION             FUND
1101 RUSSELL ST                          301 W PRESTON ST ROOM 801                 PO BOX 1683
BALTIMORE MD 21230                       BALTIMORE MD 21201-2395                   BALTIMORE MD 21203-1683



MARYLAND UNEMPLOYMENT INSURANCE          MARYLAND UNEMPLOYMENT INSURANCE           MARYLAND, BRANDEE NICHOLE
FUND                                     OFFICE OF UNEMPLOYMENT INS                2330 E DEVINE ST
PO BOX 1844                              P O BOX 17291                             TYLER TX 75701
BALTIMORE MD 21203-1844                  BALTIMORE MD 21297-0365



MARYLIN JACKSON                          MARYLOU DAVIS                             MARYLOU MASCOLO
1355 CHICAGO AVENUE                      9860 DEL RIO WAY                          6 CLEARWATER DRIVE
BAYSHORE NY 11706                        CYPRESS CA 90630                          PLAINVIEW NY 11803




MARYLOUISE DEWITT                        MARYROSE E HAREN                          MARYSE JOASSAINT
1606 HUNTERS TRAIL                       341 MELROSE AVENUE                        1230 NW 16TH COURT
BROWNSBURG IN 46112                      MONROVIA CA 91016                         FORT LAUDERDALE FL 33311




MARZEN, RICHARD                          MARZENKA SZCZEPANSKI                      MASAMOTO, NAOTO
1312 MAIN ST                             8921 W. 100TH STREET                      6262 E BROWN RD UNIT 77
NORTHAMPTON PA 18067                     PALOS HILLS IL 60465                      MESA AZ 85205




MASARACCHIO, KATE                        MASC INC                                  MASCARO, CHRISTOPHER
630 S SAPODILLA AVE PH06                 DBA CAPPUCCINO JOS                        3 DANIELS WAY
WEST PALM BEACH FL 33401                 5015 S DIVISION AVE                       BAY SHORE NY 11706
                                         WYOMING MI 49548



MASCARO, MICHAEL                         MASCARO, ROSEANN                          MASCATELLO, STEPHEN
12 VIRGINIA LANE                         48 WEST ST  APT 19                        305 E 95TH ST APT 3-C
SIMSBURY CT 06070                        STAFFORD SPRINGS CT 06076                 NEW YORK NY 10128




MASELEK, LORI                            MASK, LEROY A                             MASKORNICK, MATTHEW
37 ARBOR WAY                             3303 HARDEE CT                            2018 W LINDEN ST APT B
ELLINGTON CT 06029                       HAMPTON VA 23666                          ALLENTOWN PA 18104




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MASON & GELLER DIRECT MARKETING         MASON III, PORTER H                       MASON TURNER
1400 MARINA DR                          230 PACIFIC ST NO.8                       11643 BREEZY KNOLL DR
HOLLYWOOD FL 33019                      BROOKLYN NY 11201                         HOUSTON TX 77064




MASON WILSON                            MASON, EMILY DICKINSON                    MASON, FELICIA
238 LIBBEY STREET                       BOX 3                                     204 W 93RD
HAMPTON VA 23663                        FREEVILLE NY 13068                        CHICAGO IL 60620




MASON, MICHAEL P                        MASON, NANCY C                            MASON, THERESA
2711 PIPER RIDGE LANE                   639 CARRINGTON DR                         1523 W BROAD ST
EXCELSIOR MN 56331-7803                 WESTON FL 33326                           ALLENTOWN PA 18104




MASON-DIXON POLLING & RESEARCH INC      MASON-DIXON POLLING & RESEARCH INC        MASONE, WILLIAM
7901 BAYMEADOWS WAY NO.14               ACCOUNTING DEPARTMENT                     51 CEDAR ROAD
ACCOUNTING DEPARTMENT                   10805 HICKORY RIDGE RD NO.200B            INWOOD NY 11096
JACKSONVILLE FL 32256                   COLUMBIA MD 21044



MASS2ONE, LLC                           MASS2ONE, LLC                             MASSACESI, LAWRENCE J
1450 BOYSON ROAD SUITE B6               2875 MOUNT VERNON RD SE                   8868 BAY 16TH STREET
HIAWATHA IA 52233                       CEDAR RAPIDS IA 52403                     BROOKLYN NY 11214




MASSACHUSETTS DEPT OF                   MASSACHUSETTS DEPT OF REVENUE             MASSACHUSETTS INSTITUTE OF TECHNOLOGY
ENVIRONMENTAL PROTECTION                PO BOX 7005                               77 MASSACHUSETTS AVE E60-100
ONE WINTER STREET                       BOSTON MA 02204-7000                      CAMBRIDGE MA 02139
BOSTON MA 02108



MASSACHUSETTS INSTITUTE OF TECHNOLOGY   MASSACHUSETTS INSTITUTE OF TECHNOLOGY     MASSACHUSETTS INSTITUTE OF TECHNOLOGY
PO BOX 397029                           SLOAN MANAGEMENT REVIEW                   STUDENT FINANCIAL SERVICES
CAMBRIDGE MA 02139-7029                 77 MASSACHUSETTS AVE E60-100              77 MASSACHUSETTS AVE BLDG 11-320
                                        CAMBRIDGE MA 02139                        CAMBRIDGE MA 02139-4307



MASSACHUSETTS INSTITUTE OF TECHNOLOGY   MASSACHUSETTS MICROWAVE CORPORATION       MASSACHUSETTS MUTUAL LIFE INSURANCE
THE TECH                                485 GREAT RD STE 6                        1295 STATE ST  F105
PO BOX 397029                           ACTON MA 01720-4162                       SPRINGFIELD MA 01111
CAMBRIDGE MA 02139-7029



MASSACHUSETTS MUTUAL LIFE INSURANCE     MASSACHUSETTS MUTUAL LIFE INSURANCE       MASSAGE KNEADS
1414 MAIN STREET                        PO BOX 371368                             11604 WAVE LAP WAY
SPRINGFIELD MA 01144-1013               PITTSBURGH PA 15250-7368                  COLUMBIA MD 21044




MASSAPEQUA PUBLIC SCHOOLS               MASSARDO, CLAUDIA                         MASSET, YVES
4925 MERRICK RD                         3899 TREE TOP DR                          3705 GISH LANE
MASSAPEQUA NY 11758                     WESTON FL 33332                           TYLER TX 75701




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MASSEY MARR, MICHELE MARLENE           MASSEY, DANIEL                             MASSEY, TURNER
15931 PURITAN CIRCLE                   550 FT WASHINGTON AVE      NO.3B           13137 WINSTANLEY WAY
HUNTINGTON BEACH CA 92647              NEW YORK NY 10033                          SAN DIEGO CA 92130




MASSINI, MATTHEW                       MASSIVE PRODUCTIONS                        MASSIVE PRODUCTIONS
6 GREEN ACRE RD                        39 PRESTON ST                              PO BOX 223
KUTZTOWN PA 19530                      WINDSOR CT 06095                           WINDSOR CT 06095




MASSON, JOAO                           MASSON, JULIETTE                           MASSOP, CLAUDE
10236 BOCA ENTRADA BLVD APT 105        10190 BOCA ENTRADA BLVD. NO.228            33 HILL FARM RD
BOCA RATON FL 33428                    BOCA RATON FL 33428                        BLOOMFIELD CT 06002




MASSTECH AMERICAS INC                  MASTER COMMUNICATIONS INC                  MASTER COMMUNICATIONS INC
2915 COMMERS DR STE 900                1375 BROADWAY 3RD FLOOR                    1811 OCEAN PARKWAY NO.4M
EAGAN MN 55121-2363                    NEW YORK NY 10018                          BROOKLYN NY 11223




MASTER MEDIA                           MASTER UNIFORM MFG CORP                    MASTER WINDOW CLEANING
1021-B MAXWELL MILL RD.                2101 ALBRIGHT RD                           1301 E MARKET ST
FORT MILL SC 29708                     OSWEGO IL 60543                            YORK PA 17403




MASTER, MINAXI DHRUV                   MASTERS, GEORGE EYRE                       MASTERS, KEITH
1420 AGUACATE CT                       PO BOX 1081                                111 RICH RD
ORLANDO FL 32837                       KENNEBUNKPORT ME 04046                     YORKTOWN VA 23693




MASTERSON, KATHRYN ELIZABETH           MASTERSON, SEAN                            MASTERSON, SEAN BRENDAN
1619 R ST NW NO.203                    5807 N WINTHROP NO.3                       1832 MILIBANK RD
WASHINGTON DC 20009                    CHICAGO IL 60660                           ENCINITAS CA 92024




MASTERSON, WALTER                      MASTHEAD INTERNATIONAL INC                 MASTHEAD INTERNATIONAL INC
23-16 31ST AVENUE                      2020 PINNACLE PEAK ROAD                    135 S LASALLE DEPT 2926
ASTORIA NY 11106                       PHOENIX AZ 85027                           CHICAGO IL 60674-2926




MASTHEAD INTERNATIONAL INC             MASTHEAD INTERNATIONAL INC                 MASTROMARINO, JAMES
2926 PAYSPHERE CIRCLE                  PO BOX 1952                                31 WOODLAND STREET APT NO.5B
CHICAGO IL 60674                       ALBUQUERQUE NM 87103                       HARTFORD CT 06105




MASUCCI, WILLIAM O                     MASUMOTO, DAVID MAS                        MASUR, LOUIS
49 OAKLEDGE DRIVE                      9336 E LINCOLN                             232 S ADELAIDE AVE
EAST NORTHPORT NY 11731                DEL REY CA 93616                           HIGHLAND PARK NJ 08904




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MATA, MICHAEL ANTHONY                   MATA, SANDRA                               MATALAVAGE, RYAN
970 N DAMATO DR                         2306 W 22ND PL FIRST                       223 MARKET ST
COVINA CA 91724                         CHICAGO IL 60608                           TAMAQUA PA 18252




MATAVA, MICHAEL                         MATAY, REINHOLD                            MATCHO, MARK
88 BEECHWOOD AVE                        3442 AMACA CIR                             70 HARKNESS AVENUE NO.9
TORRINGTON CT 06790-5121                ORLANDO FL 32837                           PASADENA CA 91106




MATEA GOLD                              MATEJA, JIM                                MATEO CORONADO
20 SCHERMERHORN STREET                  6225 83RD AVENUE                           2014 N. WESTERN AVE.
APT#2                                   KENOSHA WI 53142                           CHICAGO IL 60647
BROOKLYN NY 11211



MATEO GARCIA PHOTOGRAPHY                MATEO, CYNTHIA                             MATEO, JUAN M
7601 E TREASURE DR NO.1019              777 RIVERSIDE DR #1527                     C/L NO.15 NIZAO
NORTH BAY VILLAGE FL 33141              CORAL SPRINGS FL 33071                     BANI




MATEO, VICTOR A                         MATHAN LEE                                 MATHERNE, BRENT MATTHEW
777 RIVERSIDE DRIVE                     1203 79TH STREET                           4312 ARKANSAS AVE
CORAL SPRINGS FL 33071                  NEWPORT NEWS VA 23607                      KENNER LA 70065




MATHERSON, MARK                         MATHERSON, MARK                            MATHEUS, GEORGE FRANK
91 GROVE ST                             91 GROVE ST                                FUNDA VILLA NO.12 CALLE NO.3 CASA NO.4
NORTHAMPTON MA 01060                    NORTHAMPTON MA 01061                       VILLA DE CURA
                                                                                   EDO ARAGUA



MATHEW DUNN                             MATHEW GARCIA                              MATHEW LEVINE
2421 SOUTH BROWN AVENUE                 949 GREENWAY LANE                          3203 NEW FANE COURT
ORLANDO FL 32806                        CASTLE ROCK CO 80108                       BALWIN MD 21013




MATHEW PAUST                            MATHEW SOPER                               MATHEW TORRES
P.O. BOX 1274                           10 SUGARBUSH LANE                          123 NORTH PENN STREET
GLOUCESTER VA 23061                     GUILFORD CT 06437                          ALLENTOWN PA 18102




MATHEW TROMMATTER                       MATHEWS, JASON G                           MATHEWS, JOSEPH
7936 COVINGTEN AVENUE                   1656 DEER CREEK RD                         812 1/2 S ORANGE GROVE AVE
GLEN BURNIE MD 21061                    MONUMENT CO 80132                          LOS ANGELES CA 90036




MATHEWS, MICHAEL                        MATHIAS KARLEN                             MATHIAS, LINDSEY
PO BOX 705                              1600 CAMPUS ROAD                           2351 VIA TUSCANY
ELLERSLIE MD 21529                      BOX 0042                                   WINTER PARK FL 32789
                                        LOS ANGELES CA 90041




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MATHIAS, MADELEINE B                  MATHIAS, MITCH                             MATHIS PRODUCTIONS INC
233 MCCARTNEY STREET                  62 CIRCLE PLACE                            PO BOX 408
EASTON PA 18042                       CAMP HILL PA 17011                         COCKEYSVILLE MD 21030




MATHIS, SHANIKA R                     MATHISEN, NANCY G                          MATHURA, MANOJ
15750 NW 19TH AVE                     2453 W THERESA AVE                         2131 JACKSON STREET NO.8
OPA LOCKA FL 33054                    ANAHEIM CA 92804-2235                      HOLLYWOOD FL 33020




MATIAS RAYA RAZO                      MATIKA, GREGORY J                          MATLOCK, VINCENT
13135 S. WILLOWBROOK AVE.             2927 SECHLER COURT                         142 ORCHARD STREET
COMPTON CA 90222                      KUTZTOWN PA 19530                          SPRINGFIELD MA 01107




MATLOFF, JASON                        MATMAR INDUSTRIES INC                      MATOS, BRIAN
2 FIFTH AVENUE APT 4Q                 PO BOX 627                                 8118 W FOREST PRESERVE DR
NEW YORK NY 10011                     TEMPLE CITY CA 91780-0627                  CHICAGO IL 60634




MATOS, LAURA                          MATOS, LORRAINNE                           MATOS, MIRIAM
1406 E PENNSYLVANIA ST                4282 VINEYARD CIR                          538 W GREENLEAF ST
ALLENTOWN PA 18109                    WESTON FL 33332                            ALLENTOWN PA 18102




MATOSEVIC, TIHOMIR                    MATSON, JOHN                               MATSON, JOHN
3 VALLEY RD                           2568 37TH ST                               540 53RD ST
STAMFORD CT 06902                     APT 10                                     BROOKLYN NY 11220
                                      ASTORIA NY 11103



MATSUDA, CRAIG S                      MATSUKAWA, NELSON F                        MATSUMOTO, NANCY
1758 HILLSIDE DR                      7812 JENNIFER CIRCLE                       299 W 12TH ST APT 2J
GLENDALE CA 91208                     LA PALMA CA 90623                          NEW YORK NY 10014




MATSUSAKA, JOHN                       MATT BUTE                                  MATT CLIFFORD
2186 ROANOKE RD                       541 GUNDERSON AVE                          22030 WYANDOTTE ST.
SAN MARINO CA 91108                   OAK PARK IL 60304                          CANOGA PARK CA 91303




MATT DURLEY                           MATT LAVINE                                MATT LYNCH
1820 NORTH SPAULDING AVE              4321 OLEANDER ST                           1027 LINDEN COURT
APT # 205                             BELLAIRE TX 77401                          WESTERN SPRINGS IL 60558
CHICAGO IL 60647



MATT MOBLEY                           MATT ROBBINS                               MATT TURNBOW
17 SILVERPINE DRIVE                   2120 CAPITAL                               1005 FOLKSTONE AVENUE
AMITYVILLE NY 11701                   HOUSTON TX 77003                           HACIENDA HEIGHTS CA 91745




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MATT WENC                               MATT WUSCHER                               MATTA, AIMAN S
10 SOUTH 550 GLENN DRIVE                1112 THOMAS AVENUE                         37 FEATHER RIDGE
BURR RIDGE IL 60527                     SHELTON WA 98584                           MISSION VIEJO CA 92692




MATTA, KILMA                            MATTHAEI, SARAH                            MATTHEW ADAMS
335 SW 79TH AVE                         2576 NW 99TH AVENUE                        5768 QUAIL CROSSING DRIVE
NORTH LAUDERDALE FL 33068               CORAL SPRINGS FL 33065                     INDIANAPOLIS IN 46237




MATTHEW ALAN BORNEMAN                   MATTHEW ANTELL                             MATTHEW ANTONAWICH
1220 W. CLARIDGE COURT                  1020 S. SHERBOURNE DRIVE                   115 SELDEN BLVD
PALATINE IL 60067                       APT #304                                   CENTEREACH NY 11720
                                        LOS ANGELES CA 90035



MATTHEW ASSAD                           MATTHEW AVREN                              MATTHEW BAISE
1807 RENWICK STREET                     2621 GRAND CANAL                           6804 HARROWDALE RD.
BETHLEHEM PA 18017                      VENICE CA 90291                            #202
                                                                                   BALTIMORE MD 21209



MATTHEW BALLINGER                       MATTHEW BEATON                             MATTHEW BELL
1237 SOUTH GERTRUDA AVE.                3942 N. PAULINA ST.                        3419 COWLEY WAY #4
REDONDO BEACH CA 90277                  CHICAGO IL 60613                           SAN DIEGO CA 92117




MATTHEW BIRKBECK                        MATTHEW BLAKE                              MATTHEW BOLTZ
42 BULL PINE ROAD                       8675 FALMOUTH AVENUE                       4744 W. BERNICE AVE.
EAST STROUDSBURG PA 18301               APT #321                                   CHICAGO IL 60641-3614
                                        PLAYA DEL REY CA 90293



MATTHEW BONOFIGLIO                      MATTHEW BRACKEN                            MATTHEW BRIEHOF
817 PINE AVENUE NW                      31 N BELNORD AVENUE                        39A GRANDVIEW DRIVE
GRAND RAPIDS MI 49504                   BALTIMORE MD 21224                         FARMINGTON CT 06032




MATTHEW BROAD                           MATTHEW BROWN                              MATTHEW BURGARD
128 W HAMBURG STREET                    6802 PINEWAY                               53 MYRON STREET
BALTIMORE MD 21230                      UNIVERSITY PARK MD 20782                   NEW HAVEN CT 06512




MATTHEW BURNS                           MATTHEW BUSHEY                             MATTHEW BUTTON
451 E GRAND RIVER RD                    2685 CARNEGIE ROAD                         2820 SHARON RD
OWOSSO MI 48867                         APT #202                                   JARRETTSVILLE MD 21084
                                        YORK PA 17402



MATTHEW CALAMIA                         MATTHEW CAMPOS                             MATTHEW CANDLER
215 W. LEMON AVE                        12951 HAYES ST                             6311 S. SPAULDING
APT#C                                   NORTH HOLLYWOOD CA 91606                   CHICAGO IL 60629
MONROVIA CA 91016




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MATTHEW CASSELLA                      MATTHEW CATANIA                            MATTHEW CATES
1608 DEVONSHIRE ROAD                  4 SHEILA DRIVE                             21305 EVERGREEN CT
HAUPPAUGE NY 11788                    SMITHTOWN NY 11787                         MOUNT DORA FL 32757




MATTHEW CATONE                        MATTHEW CHADWICK                           MATTHEW CHAYES
361 MEADOW CT                         14714 AVENUE OF THE GROVES                 2950 137TH STREET
BREA CA 92821                         #10312                                     FLUSHING NY 11354
                                      WINTER GARDEN FL 34787



MATTHEW CIMINO                        MATTHEW CLARK                              MATTHEW CONYERS
9635 MAGLEDT ROAD                     6704 DUCKETTS LN                           26 COLEMAN ROAD
BALTIMORE MD 21234                    ELKRIDGE MD 21075                          MANCHESTER CT 06040




MATTHEW CUNNINGHAM                    MATTHEW CUSH                               MATTHEW D'ADAMO
82 W. PLEASANT HILL                   405 READE AVENUE                           1509 WEYBURN ROAD
PALATINE IL 60067                     LINDENHURST NY 11757                       BALTIMORE MD 21237




MATTHEW DINERSTEIN                    MATTHEW DOBBERTIEN                         MATTHEW DOLAN
159 STARLIGHT WALK                    2118 MAPLE ROAD                            1210 ST. PAUL STREET
HOLBROOK NY 11741                     HOMEWOOD IL 60430                          APT 1
                                                                                 BALTIMORE MD 21202



MATTHEW DOOLEY                        MATTHEW DORNEY                             MATTHEW DOUGHTY
9 GAINES AVENUE                       5392 GARDNER COURT                         1347 W GRACE ST #3W
GREENLAWN NY 11740                    WILLIAMSBURG VA 23188                      CHICAGO IL 60613-2826




MATTHEW DOYLE                         MATTHEW DRURY                              MATTHEW DUWE
2639 W. GUNNISON ST                   2709 E. CHRUCH ST.                         10880 DOUGLAS DRIVE
APT. 3                                ORLANDO FL 32803                           ALLENDALE MI 49401
CHICAGO IL 60625



MATTHEW EAGAN                         MATTHEW EAMER                              MATTHEW ERDOSY
33 BOSWELL ROAD                       1616 156TH AVENUE NE                       626 N. 19TH STREET
WEST HARTFORD CT 06107                APT # 337                                  ALLENTOWN PA 18104
                                      BELLEVUE WA 98007



MATTHEW ESLER                         MATTHEW ESTREICH                           MATTHEW EVANS
2942 N CLARK ST #3I                   4 KNOLLS DRIVE                             3335 KIRCHOFF ROAD
CHICAGO IL 60657-6659                 NEW HYDE PARK NY 11040                     4K
                                                                                 ROLLING MEADOWS IL 60008



MATTHEW FARRELL                       MATTHEW FERNICOLA                          MATTHEW FORAN
3 DIANE DRIVE                         41 SAGAMORE STREET                         2606 W POTOMAC AVE
MONROE CT 06468                       GLENS FALLS NY 12801                       CHICAGO IL 60622-2831




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MATTHEW FORD                           MATTHEW FRAZEE                             MATTHEW FRAZER
257 VIEW STREET                        1620 SOUTH PLATTE                          549 GREENHOUSE DRIVE
3RD FLOOR                              #217                                       LITITZ PA 17543
NEW HAVEN CT 06511                     DENVER CO 80202



MATTHEW GALASSINI                      MATTHEW GAMEWELL                           MATTHEW GARVEY
21576 QUENTIN RD                       14960 WATER RIDGE CT.                      1221 W. GRENSHAW STREET
KILDEER IL 60047                       CHESTERFIELD MO 63017                      CHICAGO IL 60607




MATTHEW GASIOROWSKI                    MATTHEW GILBERT                            MATTHEW GLASSOFF
3608 WILSHIRE TERRACE                  87 COOPER STREET                           1304 MIDLAND AVENUE
SAN DIEGO CA 92104                     GLENS FALLS NY 12801                       APT. A37
                                                                                  YONKERS NY 10704



MATTHEW GOLINO                         MATTHEW GURDON                             MATTHEW HARE
77 WEBB AVENUE                         105 EAST ZORANNE DRIVE                     214 SOUTH JEFFERSON STREET #6
APT. #7                                FARMINGDALE NY 11735                       ALLENTOWN PA 18102
STAMFORD CT 06902



MATTHEW HERB                           MATTHEW HIGGINS                            MATTHEW HODSON
10275 COLLINS AVE. #917                246 WEST 9TH ST                            5617 CALLE SENCILLO
BAL HARBOUR FL 33154                   DEER PARK NY 11729                         CAMARILLO CA 93012




MATTHEW HOGEBOOM                       MATTHEW HOLLY                              MATTHEW HUMPHREY
55 WEST SHORE ROAD                     520 W. HARRISON STREET                     1485 CREEKSIDE CIRCLE
OAKDALE NY 11769                       APT. #2                                    WINTER SPRINGS FL 32708
                                       OAK PARK IL 60304



MATTHEW INTINDOLI                      MATTHEW JACOBS                             MATTHEW JAKUSZ
65 KATHLEEN DR NORTH                   954 HILLSWOOD ROAD                         17119 S. HERITAGE DR.
SYOSSET NY 11791                       APT. L                                     HOMER GLEN IL 60441
                                       BEL AIR MD 21014



MATTHEW JOE                            MATTHEW JORDAN                             MATTHEW KAUFFMAN
1201 FAIRHAVEN AVENUE                  P O BOX 295                                101 FOUR MILE ROAD
APT 22J                                ABINGDON MD 21009                          WEST HARTFORD CT 06107
SANTA ANA CA 92705



MATTHEW KEYS                           MATTHEW KIRTON                             MATTHEW KNUTSON
148 ARCADIA DRIVE                      727 WINDSOR ROAD                           19303 RAYMOND DRIVE
VACAVILLE CA 95687                     UNIONDALE NY 11550                         ELWOOD IL 60421




MATTHEW KUCINSKI                       MATTHEW KURSHALS                           MATTHEW KUSSOFF
2676 ROYAL VISTA DRIVE                 8 17TH AVENUE                              17 PROSPECT AVENUE
APT 202                                RONKONKOMA NY 11779                        GLEN COVE NY 11542
GRAND RAPIDS MI 49534




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MATTHEW LAIT                            MATTHEW LEACH                              MATTHEW LEVI
3708 CALIFORNIA AVENUE                  604 WEST 162ND STREET                      3530 BAYBERRY DRIVE
LONG BEACH CA 90807                     APT. 2G                                    NORTHBROOK IL 60062
                                        NEW YORK NY 10032



MATTHEW LOCASCIO                        MATTHEW LOPEZ                              MATTHEW LOPEZ
470 WESTERN ST.                         3310 KELBURN AVE.                          1002 LONGMEADOW LANE
HOFFMAN ESTATES IL 60169                ROSEMEAD CA 91770                          WESTERN SPRINGS IL 60558




MATTHEW MAIFIELD                        MATTHEW MALDRE                             MATTHEW MANSI
109 N. SAVANNAH PKWY.                   4809 N. BELL AVE                           539 DOWNING STREET
ROUND LAKE IL 60073                     #1E                                        DENVER CO 80218
                                        CHICAGO IL 60625



MATTHEW MASSAGLI                        MATTHEW MAULONE                            MATTHEW MAYO
415 WOODBRIDGE STREET                   4820 FORGE ACRE DRIVE                      94 WEST WINDSOR PARKWAY
MANCHESTER CT 06042-3231                PERRY HALL MD 21128                        OCEANSIDE NY 11572




MATTHEW MCALLESTER                      MATTHEW MCCABE                             MATTHEW MCGUIRE
235 PINELAWN ROAD                       906 W. ADDISON                             4663 N. SPAULDING AVE.
MELVILLE NY 11747                       APT. #2                                    UNIT 1
                                        CHICAGO IL 60613                           CHICAGO IL 60625



MATTHEW MCNALLY                         MATTHEW MCNEW                              MATTHEW MEACHEM
139 CONNECTICUT AVE                     3329 TREE HOUSE LANE                       7 1/2 OWEN AVENUE
MASSAPEQUA NY 11758                     PLANO TX 75023                             QUEENSBURY NY 12804




MATTHEW MEADOWS                         MATTHEW MILLER                             MATTHEW MILLER
1016 FRENCH STREET                      1104 WELLINGTON CIRCLE                     413 EAST 9TH STREET
APT #2                                  LAURYS STATION PA 18059                    APT 3A
SANTA ANA CA 92701                                                                 NEW YORK NY 10009



MATTHEW MITTAL                          MATTHEW MOSER                              MATTHEW MUNRO
2715 N. HAMPDEN COURT                   23 WHITETAIL WAY                           1259 CHERRY STREET
APT. 102                                TOLLAND CT 06084                           WINNETKA IL 60093
CHICAGO IL 60614



MATTHEW MURSCHEL                        MATTHEW NINKE                              MATTHEW NODLAND
9213 SUMMIT CENTRE WAY                  2958 N. FAIRFIELD                          699 FOSTER STREET
#207                                    CHICAGO IL 60618                           SOUTH WINDSOR CT 06074
ORLANDO FL 32810



MATTHEW NUTTING                         MATTHEW O'CONNOR                           MATTHEW O'MALLEY
2008 W. GREENLEAF                       231 SCOTT AVE                              15411 NATALIE DRIVE
UNIT 3                                  GLEN ELLYN IL 60137                        OAK FOREST IL 60452
CHICAGO IL 60645




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MATTHEW OFFICER                         MATTHEW PAIS                               MATTHEW PALM
6504-10 POTOMAC SQUARE LANE             27 PINE STREET                             129 ARNHYM DR
INDIANAPOLIS IN 46268                   DEERFIELD IL 60015                         ORLANDO FL 32835




MATTHEW PARISI                          MATTHEW PETERSEN                           MATTHEW PETERSON
45 GROVE STREET                         1256 BLENARM DR                            5002 44TH AVE. S.
APT. 3A                                 DIAMOND BAR CA 91789                       SEATTLE WA 98118
NEW YORK NY 10014



MATTHEW PISCHE                          MATTHEW PULLEY                             MATTHEW RANDALL
90 HIGHLANDER DRIVE                     446 W. SURF                                27244 ROSEMONT LANE
ROCKFORD MI 49341                       2A                                         VALENCIA CA 91354
                                        CHICAGO IL 60657



MATTHEW RODBARD                         MATTHEW ROTH                               MATTHEW SCHOLZ
116 1ST PLACE                           3524 ELM AVENUE                            1215 DEXTER AVENUE
APT 1                                   BALTIMORE MD 21211                         #928
BROOKLYN NY 11231                                                                  SEATTLE WA 98109



MATTHEW SCHWARTZ                        MATTHEW SHUMATE                            MATTHEW SIMANTOV
9 WHITE OAK DRIVE                       10358 PINYON AVE                           1101 MEADOW LAKE WAY
SMITHTOWN NY 11787                      TUJUNGA CA 91042                           APT. 109
                                                                                   WINTER SPRINGS FL 32708



MATTHEW SOKOLOFF                        MATTHEW SPINELLI                           MATTHEW STARR
8 S. OSCEOLA AVE                        6206 ZELZAH AVE.                           3244 N SHEFFIELD AVE.
APT 2205                                ENCINO CA 91316                            APT. 1
ORLANDO FL 32801                                                                   CHICAGO IL 60657



MATTHEW STEELE                          MATTHEW STEVENS                            MATTHEW STIRLING
44 GREENHOUSE BLVD                      1703 OLIVE STREET                          4913 DEL MONTE AVE.
ELMWOOD CT 06110-2118                   BALTIMORE MD 21230                         SAN DIEGO CA 92107




MATTHEW STROZIER                        MATTHEW STURDEVANT                         MATTHEW SUMNER
615 NE 12TH AVENUE                      12724 SANDPEBBLE CIRCLE                    9460 BROADWAY STREET
APT 201                                 APT. #5                                    INDIANAPOLIS IN 46240
FORT LAUDERDALE FL 33304                NEWPORT NEWS VA 23606



MATTHEW SWEENEY                         MATTHEW SZABO                              MATTHEW SZANTYR
31 OCEAN PARKWAY                        422 BRIGHTON SPRINGS                       11 DARLING STREET
APT 5E                                  COSTA MESA CA 92627                        K
BROOKLYN NY 11218                                                                  SOUTHINGTON CT 06489



MATTHEW TAINO                           MATTHEW TANTON                             MATTHEW TAYLOR
132 PARKDALE DRIVE                      23953 MAJESTIC DR.                         776 OUTLOOK AVENUE
NORTH BABYLON NY 11703                  MINOOKA IL 60447                           WEST BABYLON NY 11704




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MATTHEW THOMPSON                     MATTHEW THOMSON                            MATTHEW TREES
9448 SW 51ST ST.                     22 KIMBERLY LANE                           2414 TRAILS OF SUNBROOK
COOPER CITY FL 33328                 FORT EDWARD NY 12828                       ST. CHARLES MO 63301




MATTHEW TUSTISON                     MATTHEW UHL                                MATTHEW VAN SLYKE
24 BRETON HILL ROAD                  75 AUTUMNWOOD DRIVE                        2324 BONAIR PLACE SW
1A                                   MIDDLETOWN PA 17057                        APT #36
PIKESVILLE MD 21208                                                             SEATTLE WA 98116



MATTHEW VENSEL                       MATTHEW WALBERG                            MATTHEW WATSON
7911-B KNOLLWOOD ROAD                4027 N. KENNETH AV                         21 HICKORY NUT CT.
TOWSON MD 21286                      CHICAGO IL 60641                           BALTIMORE MD 21236




MATTHEW WEINBERGER                   MATTHEW WELCH                              MATTHEW WHITTINGTON
215-08 35TH AVENUE                   4017 SUNSET DRIVE                          149 GLOWING PEACE LAN
FLOOR 1                              LOS ANGELES CA 90027                       ORLANDO FL 32824
BAYSIDE NY 11361



MATTHEW WILKES                       MATTHEW WINDSOR                            MATTHEW WOLF
11 SOUTH TERMINO                     835 CREEKVIEW ROAD                         954 W GRACE ST #B102
APT#108                              SEVERNA PARK MD 21146                      CHICAGO IL 60613
LONG BEACH CA 90803



MATTHEW WONG                         MATTHEW, LEVINE N                          MATTHEWS, ALTAVIA
8 DARNLEY PLACE                      1555 LEIMERT BLVD                          179 N RIDGELAND
HUNTINGTON STATION NY 11746          OAKLAND CA 94602                           OAK PARK IL 60302




MATTHEWS, CHRISTOPHER N              MATTHEWS, JAMES MICHAEL                    MATTHEWS, JOCELYN
308 LITTLEWORTH LANE                 129 SPUR DR                                910 CLUBHOUSE CIRCLE WEST APT
SEA CLIFF NY 11579                   NEWPORT NEWS VA 23606                      DECATUR GA 30032




MATTHEWS, KENNETH                    MATTHEWS, MARK                             MATTHEWS, MARK
P.O BOX 493733                       128 WINGATE ST                             3746 CUMBERLAND STREET NW
600 PERKINS ST.                      WASHINGTON DC 20006                        WASHINGTON DC 20015
LEESBURG FL 34749



MATTHEWS, MEGAN                      MATTHEWS, SHERRY                           MATTIACE, MONIQUE
5524 SW 89 AVE                       129 SPUR DR                                5501 SW 64 AVE
COOPER CITY FL 33328                 NEWPORT NEWS VA 23606                      MIAMI FL 33155




MATTICE, GRACE                       MATTINGLEY, CHRISTINE                      MATTISON, EDDIE B.
14 KEARNY ST                         1501 TAHITI AVE                            19213 BUNA ST
TERRYVILLE CT 06786                  LAGUNA BEACH CA 92651                      TRIANGLE VA 22172




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MATTLIN, BEN                          MATTOS, IVANILDA                           MATTOS,LUIS
622 SOUTH BARRINGTON AVE APT 101      13870 ONEIDA DR APT NO.B2                  34 VERNON ST   APT 502
LOS ANGELES CA 90049                  DELRAY BEACH FL 33446                      HARTFORD CT 06106




MATTUCCI, MATTHEW                     MATUKE, JOHN PAUL                          MATURINO, RUDY MICHAEL
714 N WAIOLA                          2113 OPAL DRIVE                            5318 W 4TH ST
LAGRANGE PARK IL 60526                ORLANDO FL 32822                           SANTA ANA CA 92703




MAUCKER, EARL R                       MAUD NEWTON COM                            MAUI NEWS
3511 NE 26TH AVENUE                   156 DUPONT ST NO.1-L                       100 MAHALANI STREET
LIGHTHOUSE POINT FL 33064             BROOKLYN NY 11222                          WAILUKU HI 96793




MAULDIN, PAM                          MAULIK DHOLARIA                            MAUNEY, RACHFORD R
2605 PINE STREET                      2707 PORTLAND ST                           12756 DAYBREAK CIRCLE
1621                                  APT 212                                    NEWPORT NEWS VA 23602
WAUKEGAN IL 60087                     LOS ANGELES CA 90007



MAUNG ZIN                             MAUNG, DAVID O                             MAUPIN ENTERTAINMENT INC
412 S. ELECTRIC AVE.                  PO BOX 433989                              3579 E FOOTHILL BLVD STE 722
ALHAMBRA CA 91803                     SAN YSIDRO CA 92143                        PASADENA CA 91107




MAUPIN, ZACHARIAH F                   MAURA ANDERSON                             MAURA DOLAN
247 E KNIGHT AVE                      18 OENOKE PLACE                            10 MARTHA ROAD
COLLINGSWOOD NJ 08108                 UNIT #1                                    ORINDA CA 94563
                                      STAMFORD CT 06907



MAURA GARRABRANT MARTIN               MAURA KELLEY                               MAURA MALIFF-FRENZILLI
550 SW 2 AVE. APT. #226               4832 ALTON PLACE NW                        30 HIDDEN PLACE
BOCA RATON FL 33432                   WASHINGTON DC 20016                        CHESHIRE CT 06410




MAUREEN A BROWN                       MAUREEN BROWN                              MAUREEN CONNORS
1166 CHARLESTON                       8086 TOMPKINS SQUARE                       10452 WILLOWDALE DRIVE
COSTA MESA CA 92626                   ORLANDO FL 32807                           ST. LOUIS MO 63146




MAUREEN FLANAGAN                      MAUREEN GALLAUGHER                         MAUREEN HACKMAN
9 SCHILLER ST                         1211 HERITAGE WAY                          9910 ARDEN STREET
HICKSVILLE NY 11801                   COVINA CA 91724                            LIVONIA MI 48150




MAUREEN HALL                          MAUREEN HART                               MAUREEN JENNINGS
815 SW 51 AVE                         10609 S BELL AVE                           3940 N. SOUTHPORT AVE.
MARGATE FL 33068                      CHICAGO IL 60643                           3F
                                                                                 CHICAGO IL 60613




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MAUREEN LABREE                         MAUREEN LAURI                              MAUREEN M WALSH
10038 STUART PLACE                     11 SOUTH POINT BLVD.                       27W160 COOLEY AVENUE
LEESBURG FL 34788                      BARNEGAT NJ 08005                          APT. A
                                                                                  WINFIELD IL 60190



MAUREEN MANNING                        MAUREEN MCDONALD                           MAUREEN MCINERNEY
5421 MARICOPA DR.                      5525 N. WINTHROP AVENUE                    19 WAYSIDE LANE
SIMI VALLEY CA 93063                   APT. 501                                   SELDEN NY 11784
                                       CHICAGO IL 60640-1496



MAUREEN MILTON                         MAUREEN O'CONNOR                           MAUREEN O'SHEA
C/O J. GOLDSMAN, ESQ.                  12 CYPRESS ST                              3712 N MARSHFIELD
LAW OFFICES OF GENE J. GOLDSMAN        FARMINGDALE NY 11735                       CHICAGO IL 60613
501 CIVIC CENTER DRIVE WEST
SANTA ANA CA 92701


MAUREEN PEDALA                         MAUREEN POWERS                             MAUREEN ROWLAND
300 EAST 33                            550 WEST SURF                              1343 LERERENZ RD.
15C                                    APT# 307                                   NAPERVILLE IL 60564
NEW YORK NY 10016                      CHICAGO IL 60657



MAUREEN RYAN                           MAUREEN SAMAHA                             MAUREEN SCIOTTO
523 N KENSINGTON                       6 TERRACE PLACE                            50 OVERLOOK DRIVE
LA GRANGE PARK IL 60526                STAMFORD CT 06902                          FARMINGVILLE NY 11738




MAUREEN TURNER                         MAUREEN VAN DE HOEF                        MAUREEN VITACCO
1078 BURTS PIT ROAD                    38 REPUBLIC DRIVE                          708 BENT RIDGE LANE
FLORENCE MA 01062                      #332                                       ELGIN IL 60120
                                       BLOOMFIELD CT 06002



MAUREEN WALSH                          MAUREEN WHITE                              MAUREEN WOLF
23 MAJESTIC AVENUE                     2215 OAK STREET                            5455 N SHERIDAN RD
NASHUA NH 03063                        UNIT# 101                                  #1501
                                       SANTA MONICA CA 90405                      CHICAGO IL 60640



MAURENCE GIBSON                        MAURER, AMANDA                             MAURICE HAMILTON
5140 S. WOODLAWN                       7929 KOLMAR AVE                            C/O RENE MAZZONE
#307                                   SKOKIE IL 60076                            42 SEQUOIA RD
CHICAGO IL 60615                                                                  HAWTHORNE WOODS IL 60047



MAURICE LIVINGSTON                     MAURICE PEARSON                            MAURICE POSSLEY
220 SHERWOOD OAKS DR                   P.O BOX 64577                              300 S. WISCONSIN AVE.
WACO TX 76705                          CHICAGO IL 60664                           APT #1
                                                                                  OAK PARK IL 60302



MAURICE TAYLOR                         MAURICE WILKERSON                          MAURICE WILLOUGHBY
1457 N ELDERBERRY AVENUE               639 HOLLOMON DRIVE                         1427 BROOKLYN BOULEVARD
ONTARIO CA 91762                       HAMPTON VA 23666                           BAY SHORE NY 11706




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MAURICE YOUNG                        MAURICE, REMY                              MAURICIN, KEVIN
6854 S. NORMAL                       1615 NE 2ND STREET                         180 KNOWLTON STREET
CHICAGO IL 60621                     BOYNTON BEACH FL 33435                     STRATFORD CT 06615




MAURICIO FLORES                      MAURICIO MALDONADO                         MAURICIO PEREZ
416 E. 61ST STREET                   14566 SW 97 STREET                         2914 RIDGEWAY DRIVE
LOS ANGELES CA 90003                 MIAMI FL 33186                             NATIONAL CITY CA 91950




MAURINE WHITE                        MAURO RIVAS                                MAURY,LAUREL
188 BRANFORD STREET                  5914 PIEDMONT AVENUE                       26 FORT CHARLES PL
HARTFORD CT 06112                    LOS ANGELES CA 90042                       BRONX NY 10463




MAUTNER, RAELEEN D                   MAVERICK TECHNOLOGIES LLC                  MAVERICK TECHNOLOGIES LLC
1406 RIDGE RD                        916 BUTLER DR                              600 UNIVERSITY OFFICE BLVD STE 2
NORTH HAVEN CT 06473                 MOBILE AL 36693                            PENSACOLA FL 32504




MAVERICK TECHNOLOGIES LLC            MAVERICK TECHNOLOGIES LLC                  MAVERICK TECHNOLOGIES LLC
PO BOX 281997                        504 DD RD                                  DEPT BELLE
ATLANTA GA 30384-1997                COLUMBIA IL 62236                          PO BOX 790120
                                                                                ST LOUIS MO 63179



MAVIS BAAH                           MAVIS SHORT                                MAWDSLEY, WAYNE
228 WHITE HALL                       11211 S MILITARY TR NO.1822                98 FURNACE AVE APT 10
HAMPTON VA 23668                     BOYNTON BEACH FL 33436                     STAFFORD SPRINGS CT 06076




MAX ADVERTISING                      MAX DICKSTEIN                              MAX INTERNATIONAL CONVERTERS INC
1410 VANCE ST NO.204                 91 GREENPOINT AVENUE                       2360 DAIRY ROAD
LAKEWOOD CO 80214                    APT. 4                                     LANCASTER PA 17601
                                     BROOKLYN NY 11222



MAX MULL                             MAX RUST                                   MAX, DANIEL
305 DOLPHIN LN                       512 N. MAY STREET                          6 W MOUNT IDA AVE
WEST BABYLON NY 11704                CHICAGO IL 60622                           ALEXANDRIA VA 22305




MAXIM CRANE WORKS                    MAXIM CRANE WORKS                          MAXIM SECURITY SYSTEMS INC
P O BOX 41017                        NO. 447389                                 41521 DATE ST  STE 106
SANTA ANA CA 92799                   4389 SOLUTIONS CENTER                      MURRIETTA CA 92562
                                     CHICAGO IL 60677-4003



MAXIM SECURITY SYSTEMS INC           MAXIME METELLUS                            MAXIMILIANO BENBASSAT
PO BOX 956                           1510 NW 10TH CIRCLE                        104 EASTGATE DRIVE
CORONA CA 92878                      APT 34                                     ELON NC 27244
                                     POMPANO BEACH FL 33069




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MAXIMILLIANO ENCISO                  MAXIMO RONQUILLO                           MAXIMO, CASTRO
1601 WEST MACARTHUR BLVD             6719 FRANRIVERS AVENUE                     181 CHINABERRY CIRCLE
31H                                  WEST HILLS CA 91307                        DAVENPORT FL 33837
SANTA ANA CA 92704



MAXIMUM THROUGHOUT INC               MAXINE BINGHAM                             MAXINE C MCNEAR
1751 RICHARDSON SUITE 5 204          2522 RECHTER ROAD                          101 PARK BLVDS
MONTREAL QC H3K 1G6                  BLOOMINGTON IN 47401                       # 310
                                                                                VENICE FL 34285



MAXINE CANADAY                       MAXINE H GRIGGS                            MAXINE I SCHULTZ
3003 JOLLY POND ROAD                 1612 SPRINGWOOD ROAD                       21389 RIDGEVIEW DRIVE
WILLIAMSBURG VA 23188                FLOWER MOUND TX 75028                      GARFIELD AR 72732




MAXINE MOBLEY                        MAXINE NEW                                 MAXO DIVERS
7424 RICKSWAY RD                     26912 TRIUMPH AVE.                         366 JERUSALEM AVE
BALTIMORE MD 21208                   SANTA CLARITA CA 91351                     HEMPSTEAD NY 11550




MAXWELL AND CARTER MUSIC LLC         MAXWELL HUDSON                             MAXWELL, BRAD E
1424 W CHICAGO AVE FLOOR 2           30-80 32ND ST. #16                         4814 BLACKTHORNE
CHICAGO IL 60622                     ASTORIA NY 11102                           LONG BEACH CA 90808




MAXWELL, DAVID                       MAXWELL, DONALD S.                         MAXWELL, GAY B
78 GREEN FOREST DRIVE                2160 LE FLORE DRIVE                        38 WILLISTON ST
ORMOND BEACH FL 32174                LA HABRA HEIGHT CA 90631                   BRATTLEBORO VT 05301




MAXWELL, JEFF                        MAXWELL, JEFF                              MAY TEAR
51 HOPMEADOW ST NO.3B1               9 VINCENT DR                               10012 EAST VALLEY BLVD
WEATOGUE CT 06089                    SIMSBURY CT 06070                          APT. 28
                                                                                EL MONTE CA 91731



MAY WADE-SAWYER                      MAY, EDDIE LEE                             MAY, ENRIQUE GOMEZ
23 WESTBRIAR DRIVE                   25 BEEBE RD                                8 JAY CIRCLE
HAMPTON VA 23666                     EAST HADDAM CT 06423                       WINDSOR CT 06095




MAY, JONATHAN                        MAY, JUDY                                  MAY, LINDA MARIE
12871 SW 64 LN                       12722 FOX WOODS DR                         25 BEEBE ROAD
MIAMI FL 33183                       HERNDON VA 20171                           EAST HADDAM CT 06423




MAY, MICHAEL                         MAY, PAUL                                  MAY-TURNER, LISA L
814 ASPEN DR                         1569 TEELS ROAD                            1155 BRICKWELL BAY DR UNIT #1110
ROCHESTER MI 48307                   PEN ARGYL PA 18072                         MIAMI FL 33131




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MAYA BELL                               MAYA, MARTHA C                             MAYBERGER, ROBERT D
340 MENORES AVE                         201 RACQUET CLUB RD # S 406                PO BOX 2235
CORAL GABLES FL 33134                   WESTON FL 33326                            ALBANY NY 12220




MAYBERRY, ROBERT C                      MAYCO BUILDING SERVICES INC                MAYEBELLE BRYANT-JAMES
826 CHARLES ST                          385 W MAIN ST                              316 MAGNOLIA STREET
CAIRO IL 62914                          BABYLON NY 11702                           ALTAMONTE SPRINGS FL 32701




MAYER BROWN LLP                         MAYER BROWN LLP                            MAYER RUS
2027 COLLECTION CENTER DRIVE            230 SOUTH LA SALLE ST                      7560 LOLINA LANE
CHICAGO IL 60693-0020                   CHICAGO IL 60604-1404                      LOS ANGELES CA 90046




MAYER, KURT                             MAYER, LARRY                               MAYER, LARRY
PO BOX 52022                            127 S WAVERLY PLACE                        4825 ARAPAHO TRAIL
PACIFIC GROVE CA 93950                  MT PROSPECT IL 60056                       BILLINGS MT 59106




MAYER, ROBERT                           MAYER, ROBERT S                            MAYER, SEAN
701 S OCEAN WAY NO.405                  701 S OCEAN WAY                            1211 E VINTAH
DEERFIELD BEACH FL 33441                APT 405                                    COLORADO SPRINGS CO 80909
                                        DEERFIELD BEACH FL 33441



MAYERSKY, DAVID R                       MAYERSOHN, HARRIS                          MAYFIELD MARKETING & EDITORIAL SERVICES
215 DUPONT STREET                       1314 CAMELLIA LN                           1012 JAMES ST
PHILADELPHIA PA 19127                   WESTON FL 33526                            BEL AIR MD 21014




MAYFIELD, JOHN JR                       MAYFIELD, ROSALIND                         MAYFLOWER TRANSIT INC
516 BRIER ST                            1943 S GROVE ST APT 2W                     C/O THE MOVING COMPANY
KENILWORTH IL 60043                     BLUE ISLAND IL 60406                       2004 HANCOCK ST
                                                                                   SAN DIEGO CA 92110



MAYFLOWER TRANSIT INC                   MAYFLOWER TRANSIT INC                      MAYFLOWER TRANSIT INC
PO BOX 198160                           22262 NETWORK PL                           ONE MAYFLOWER DRIVE
ATLANTA GA 30384                        CHICAGO IL 60673                           FENTON MO 63026-1350




MAYFLOWER TRANSIT INC                   MAYMIN, PHILLIP Z                          MAYNE, NICHOLAS
PO BOX 26150                            29 FADO LANE                               11681 SW 17TH CT
FENTON MO 63026                         COS COB CT 06807                           MIRAMAR FL 33025




MAYO FOUNDATION FOR MEDICAL EDUCATION   MAYO JR, JULIUS                            MAYO, JONATHAN
EDUCATION AND RESEARCH                  3044 SAMOSA HILL CIR                       292 MANCHESTER RD
200 FIRST ST SW                         CLERMONT FL 34714                          POUGHKEEPSIE NY 12603
ROCHESTER MN 55905




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MAYORA, HECTOR                       MAYORGA, CARLOS                            MAYORGA, NORMA
AVE PRINCIPAL CHICHIRVICHE           8 CHARLES ST                               8 CHARLES STREET
CASA NO.21                           STAMFORD CT 06902                          STAMFORD CT 06902
LA GUAIRA EDO VARGAS



MAYRA ERIKA GUERRERO                 MAYRA MORALES                              MAYRA NUNEZ
3723 E 53RD STREET                   16903 CRESTVIEW LANE                       1628 N. 17TH AVENUE
MAYWOOD CA 90270                     WESTON FL 33326                            MELROSE PARK IL 60160




MAYRA ORTEGA                         MAYRA ORTIZ                                MAYRA VELAZQUEZ
1718 W. 44TH STREET                  502 RAMA DRIVE                             2625 NEVADA ST. APT. 5
CHICAGO IL 60609                     LA PUENTE CA 91746                         EL MONTE CA 91733




MAYRING, SKYE                        MAYS, BERTHA                               MAYS, JEFFREY DESMOND
7730 LEXINGTON AVE NO.102            3333 RIDGELINE CIRCLE                      1012 BENDLETON TRACE
WEST HOLLYWOOD CA 90046              MEMPHIS TN 38115                           ALPHARETTA GA 30004




MAYSON, ROBERT                       MAYWALD, VIRGINIA N                        MAYYA BARSUKOV
6731 YEARLING ST                     1047 CHICAGO AVE NO.35                     3825 LIZETTE LANE
LAKEWOOD CA 90713                    EVANSTON IL 60202                          GLENVIEW IL 60025




MAZADOORIAN, HARRY                   MAZOR, DAVID                               MAZOR, MORT
175 HILLSIDE RD                      1855 NE 212TH TERRACE                      15462 FLORENZA CIRCLE
KENSINGTON CT 06037                  MIAMI FL 33179                             DELRAY BEACH FL 33446




MAZUR,MORRIS                         MAZURI COLLEY                              MAZZA, PAUL
4907 WORSTER AVE                     20722 SOUTH WESTERN AVE                    184 N 5TH ST
SHERMAN OAKS CA 91423                APT #2                                     LINDENHURST NY 11757
                                     TORRANCE CA 90501



MAZZAFERRI, GINA M                   MAZZAFERRO, ROBERT                         MAZZONE, HOLLY
125 S. LAGRANGE ROAD                 126 HIGH RD                                131 WOODBURY RD
LAGRANGE IL 60525                    KENSINGTON CT 06037                        WOODBURY NY 11797




MAZZOTTI, FRANK                      MAZZUCA, KATHRYN BLAIR                     MB HEALTH PRODUCTS LLC
33012 COMMODORE CT                   4440 AMBROSE AVE   NO.204                  3 GARDNER RD
SAN JUAN CAPISTRANO CA 92675         LOS ANGELES CA 90027                       CHERRY HILL NJ 08034




MB REAL ESTATE                       MBA CHALLENGE FOR CHARITY                  MBAH, LAKAYE
50 W WASHINGTON SUITE 1203           USC MARSHALL                               11 YORK COURT
CHICAGO IL 60602                     630 CHILDS WAY    STE 200                  BALTIMORE MD 21218
                                     LOS ANGELES CA 90089




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MBC DISTRIBUTORS INC                    MBC FITNESS                                MBI SYSTEMS INC
C/O MARSHALL COMMODORI                  28 N CASS AVE                              1201 MERCER ST
3501 GOLDENROD LN                       WESTMONT IL 60559                          SEATTLLE WA 98109
BALTIMORE MD 21234



MBI SYSTEMS INC                         MBM ASSOCIATES                             MBT SPORTS MARKETING GROUP LP
PO BOX 84986                            1206 SOUTH THIRD AVE                       5331 SW MACADAM AVE NO.370
SEATTLE WA 98124-6286                   BOZEMAN MT 59715                           PORTLAND OR 97239




MC CARTHY, TOM J                        MC CLARY, HELENA                           MC CLURE, ROSEMARY
1810 MIDLOTHIAN COURT                   917-41ST ST                                157 CORDOVA WALK
VIENNA VA 22182                         NEWPORT NEWS VA 23607                      LONG BEACH CA 90803




MC CLUSKEY, PHILIP K                    MC CRORY, JOHN J.                          MC GRANAHAN, JOHN P
5124 E. ALMOND AVENUE                   187 DOLPHIN COVE QUAY                      404 WALNUT ST.
ORANGE CA 92869                         STAMFORD CT 06902                          VANDERGRIFT PA 15690




MC NEAL,DENAE,M                         MC RECRUITING SOLUTIONS INC                MC WHITEHEAD LLC
136 HARVARD RD                          510 WEST ERIE STREET NO.1107               383 ROCHESTER ST
HOLLYWOOD FL 33023                      CHICAGO IL 60654                           COSTA MESA CA 92627-3113




MCA TELEVISION LIMITED                  MCADAMS GRAPHICS, INC.                     MCADAMS, MELINDA
100 UNIVERSAL CITY PLAZA                7200 S 1ST ST                              206 NE 3RD STREET
UNIVERSAL CITY CA 91608                 OAK CREEK WI 53154                         GAINESVILLE FL 32601




MCADOREY, MICHAEL                       MCAFEE, STEVEN                             MCALISTER, MICHAEL
PO BOX 986                              18001 RICHMOND PLACE DR APT 310            PO BOX 235
EAST WINDSOR CT 06088                   TAMPA FL 33647                             MYSTIC CT 06388




MCALLESTER, MATTHEW                     MCALLESTER, MATTHEW                        MCALLESTER, MATTHEW
227 B PORTNALL RD                       76 A DYNE ROAD                             700 PACIFIC ST NO.407
LONDON W9 3BL                           LONDON NW6 7DS                             BROOKLYN NY 11217




MCALLISTER, HERB                        MCALPIN, NANCI HELLER                      MCALPINE, HERBERT
240 12TH STREET EAST                    607 W END AVENUE                           22 S 18TH ST
KALISPELL MT 59901                      APT NO.14-A                                ALLENTOWN PA 18104
                                        NEW YORK NY 10024



MCANDREWS, CECILY                       MCARDLE, JOSEPH P III                      MCARTHUR PHOTOGRAPHY INC
164 KEENEY ST                           802 S CLEVELAND AVE                        3312 W BELLE PLAINE AVE 2ND FLR
GLASTONBURY CT 06033-1711               ARLINGTON HEIGHTS IL 60005                 CHICAGO IL 60618




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MCARTHUR, SHARON                         MCBRIDE ELECTRIC                            MCBRIDE ELECTRIC
2902 JOHN PROCTOR EAST                   PO BOX 51837                                1860 W HAMILTON PLACE
WILLIAMSBURG VA 23185                    LOS ANGELES CA 90051-6137                   ENGLEWOOD CO 80110




MCBRIDE, JAMES                           MCBRIDE, JAMES                              MCBRIDE, KELLY
12 SARAH DRIVE                           525-97 RIVERLEIGH AVE                       801 THIRD STREET SOUTH
LAKE GROVE NY 11755                      RIVERHEAD NY 11901                          ST PETERSBURG FL 33701




MCBRIDE, SUZANNE G                       MCCABE, ANN                                 MCCABE, DEIDRE NERREAU
1005 N HAYES AVE                         C/O WEST LAKEVIEW NEIGHBORS                 2969 HEARTHSTONE RD
OAK PARK IL 60302                        1432 W MELROSE                              ELLICOTT CITY MD 21042
                                         CHICAGO IL 60657



MCCAFFERTY, JESSICA                      MCCAHON, MARY M                             MCCAIN, ANTHONY
5015 W NEWPORT AVENUE                    2169 OAKDALE RD UP                          7730 S SHORE DR
CHICAGO IL 60641                         CLEVELAND HEIGHTS OH 44118                  CHICAGO IL 60649




MCCAIN, JOAN                             MCCALL, ALBERT                              MCCALL, ODIS
1121 BANBURY TRAIL                       235 NE 23RD ST                              2730 NW 21ST AVE
MAITLAND FL 32751                        WILSON MANORS FL 33305                      FT LAUDERDALE FL 33311




MCCALLA, BRANDON                         MCCALLA, HEATHER                            MCCALLISTER, PATRICK LEE
512 BROAD ST 2ND FLR                     1640 NE 5TH CT NO.2                         136 W VOLUSIA AVE
HARTFORD CT 06106                        FT LAUDERDALE FL 33304                      DELAND FL 32720




MCCALLUM, MONIQUE                        MCCANDLESS, ERIC                            MCCANN ERICKSON INC
1000 ARNOLD ST                           309 RIDING RIDGE ROAD                       5700 WILSHIRE BLVD STE 225
NEWPORT NEWS VA 23605                    ANNAPOLIS MD 21403                          LOS ANGELES CA 90036




MCCANN ERICKSON INC                      MCCANN ERICKSON INC                         MCCANN ERICKSON INC
1640 LYNDON FARM CT                      622 THIRD AVE                               750 THIRD AVENUE
SUITE 1000                               NEW YORK NY 10017                           NEW YORK NY 10017
LOUISVILLE KY 40223



MCCANN ERICKSON INC                      MCCANN ERICKSON INC                         MCCANN INDUSTRIES INC
PO BOX 7247-7831                         PO BOX 72478577                             543 S ROHLWING RD RT 53
PHILADEPHIA PA 19170-7831                PHILADELPHIA PA 19170-8577                  ADDISON IL 60101




MCCANN, BARBARA                          MCCANN, DENNIS                              MCCANN, ZACH
1512 WHEELER RD E                        1512 WHEELER RD NO.E                        3218 LORDMALL CT
MADISON WI 53704                         MADISON WI 53704                            OVIEDO FL 32765




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MCCARRON, JOHN                          MCCARTER & ENGLISH LLP                      MCCARTER & ENGLISH LLP
1425 NOYES ST                           FOUR GATEWAY CENTER                         245 PARK AVENUE
EVANSTON IL 60201                       100 MULBERRY ST                             NEW YORK NY 10167
                                        NEWARK NJ 07101-0652



MCCARTER & ENGLISH LLP                  MCCARTHY, DIANA DAWSON                      MCCARTHY, GILLIAN M
300 PARK AVE                            3606 APACHE FOREST DRIVE                    1912 HERMOSA AVENUE APT D
NEW YORK NY 10022-7402                  AUSTIN TX 78739                             HERMOSA BEACH CA 90254




MCCARTHY, JOHN                          MCCARTHY, JOHN K                            MCCARTHY, MELBA M
1234 S GRAMERCY PL                      190 DOLORES ST                              3102 RAMBLEWOOD RD
LOS ANGELES CA 90019                    OSWEGO IL 60543                             ELLICOTT CITY MD 21042




MCCARTHY, MICHAEL R                     MCCARTHY, MICHELLE                          MCCARTHY, MYLES
155 SPRINGFIELD CREEK RD                14324 HATTERAS ST                           165 GARNET LANE
ALPHARETTA GA 30004                     VAN NUYS CA 91401                           SOUTH WINDSOR CT 06074




MCCARTHY, PATRICIA L                    MCCARTHY, PATRICK E                         MCCARTHY, SHERYL Y
3 CARRIAGE HILL RD                      64-16 75TH ST                               315 W 70TH ST APT 4L
CAPE ELIZABETH ME 04107                 MIDDLEVILLAGE NY 11379                      NEW YORK NY 10023




MCCARTHY, TERESA                        MCCASKEY, LUZ MARINA                        MCCASKILL, GEORGIANNE
4501 RICHARD DR                         16663 REDWOOD WAY                           539 N WILLOW AVE
LOS ANGELES CA 90032                    WESTON FL 33326                             RIALTO CA 92376




MCCAUGHREAN, GERALDINE                  MCCAULEY, ADAM                              MCCAULEY, CLAY
THE BRIDGE HOUSE                        1081 TREAT AVE                              53 BERMUDA LANDING PLACE
WANTAGE ROAD                            SAN FRANCISCO CA 94110                      NORTH TOPSAIL BEACH NC 28460
GREAT SHEFFORD
BERKS RG17 7DA


MCCAULEY, SARAH                         MCCAULEY, SCOTT                             MCCLANAHAN, MELVIN W
1349 HIGH STREET                        5734 ROSSLYN AVE                            11181 ROYAL PALM BLVD.
BETHLEHEM PA 18018                      INDIANAPOLIS IN 46220                       CORAL SPRINGS FL 33065




MCCLARY, ROOSEVELT                      MCCLATCHY NEWSPAPERS INC                    MCCLATCHY NEWSPAPERS INC
3144 NW 40TH CT                         1325 H ST                                   PO BOX 15779
LAUDERDALE LAKES FL 33309               MODESTO CA 95354                            SACRAMENTO CA 95852




MCCLATCHY NEWSPAPERS INC                MCCLATCHY NEWSPAPERS INC                    MCCLAY, KEVIN
THE MODESTO BEE                         ONE HEARLD PLAZA 6TH FLOOR                  23 PROSPECT ST
ATTN TRAVIS WILLIAMS                    MIAMI FL 33132                              BURLINGTON CT 06013-2304
1325 H ST
MODESTO CA 95354




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MCCLEARY LA FRANCE, KIM                MCCLELLAN MCANDREW, TARA JEAN              MCCLELLAN, BRADFORD TODD
1540 11TH ST.                          3061 CASCADE DR                            6707 FRIEDEN CHURCH RD
MANHATTAN BEACH CA 90266               SPRINGFIELD IL 62704-6523                  GIBSONVILLE NC 27249




MCCLELLAND, EDWARD ROBERT              MCCLELLAND, EDWARD ROBERT                  MCCLELLAND, NEIL E
PO BOX 608211                          46108 ELY AVE                              13985 BARNETT PLACE
CHICAGO IL 60626                       GRAND BEACH MI 49117                       FISHERS IN 46038




MCCLELLEN, JAMIE ANNE                  MCCLENDON, AMANDA                          MCCLENDON, BATRAN
1725 N NEWLAND AVE                     951 WARWICK APT L1                         315 BETSY AVE
CHICAGO IL 60707                       THOUSAND OAKS CA 91360                     ATLANTA GA 30310




MCCLENDON, GARRARD                     MCCLENNEY, TAJAUNA                         MCCLEOD, SHARON
2301 W 63RD ST                         6303 TREEHILLS PKWY                        4805 MIDWOOD AVE
MERRILLVILLE IN 46410                  STONE MOUNTAIN GA 30088                    BALTIMORE MD 21212




MCCLINE, JACQUELINE                    MCCLINTOCK, JOHN M                         MCCLINTOCK, MIKE
5440 W. FERDINAND NO.2A                5721 RIDGEDALE RD                          411 STONEWALL RD
CHICAGO IL 60644                       BALTIMORE MD 21209                         CHATHAM NY 12037




MCCLINTON, SHALAWNDA                   MCCLORY, ROBERT                            MCCLOUD, DESI
302 ASHLEY LAKES DR                    1508 SOUTH BLVD                            117 SW 9 STREET
NORCROSS GA 30092                      EVANSTON IL 60202                          DELRAY BEACH FL 33444




MCCLOUD, JADA                          MCCLOUD, THOMAS                            MCCLUNEY, BRENDA J
117 SW 9 STREET                        3079 SEAGRAPE RD                           2315 FARROW AVE
DELRAY BEACH FL 33444                  LANTANA FL 33462                           KANSAS CITY KS 66104




MCCLUNEY, BRENDA J                     MCCOLLESTER, DARREN R                      MCCOLLOW, MARY KATHERINE
2315 FARROW AVE                        11 ELIOT STREET                            4754 WASHBURN AVE SOUTH
KANSAS CITY MO 66104                   JAMAICA PLAIN MA 02130                     MINNEAPOLIS MN 55410




MCCOMAS, LINDA                         MCCOMMONS, JAMES H                         MCCORMICK TRIBUNE FREEDOM MUSEUM
407 CRESTVIEW LN                       429 W OHIO ST                              C/O MCCORMICK TRIBUNE FOUNDATION
STEWARTSTOWN PA 17363                  MARQUETTE MI 49855                         435 N. MICHIGAN AVENUE
                                                                                  SUITE 770
                                                                                  CHICAGO IL 60611


MCCORMICK, GEORGE                      MCCORMICK, JAMES D                         MCCORT, KALENE
4729 DARK STAR WAY                     2 ASHLEY PLACE                             2827 WILLOW BAY TERRACE
OWINGS MILLS MD 21117                  QUEENSBURY NY 12804                        CASSELBERRY FL 32707




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MCCOURT, EDWARD                           MCCOY, IRENE                              MCCOY, IRENE
4 SUNTAUG ST                              156 SOUTH FOREST AVE                      156 SOUTH FOREST AVE
LYNNFIELD MA 01940                        ROCKVILLE NY 11570                        ROCKVILLE CENTRE NY 11570




MCCOY, JACK                               MCCOY, JENNIFER                           MCCOY, JOHN
502 PORTLAND AVE                          248 CONNECTICUT AVE NE                    67 PORTMAN ST
BALDWIN NY 11510                          ATLANTA GA 30307                          WINDSOR CT 06095




MCCOY, NATHAN MIKE                        MCCOY, TENISHA                            MCCOY, ZACHARY C
6627 CAMBRIDGE PARK DR                    1446 S 21ST AVE                           102 QUEST CT
APOLLO BEACH FL 33572                     MAYWOOD IL 60153                          YORKTOWN PA 23692




MCCOY, ZACHARY C                          MCCOY, ZICO                               MCCOY, ZITA
102 QUEST CT                              771 LINDBERG DR NE 3312                   PO BOX 1005
YORKTOWN VA 23692                         ATLANTA GA 30324                          CLARCONA FL 32710




MCCRACKEN, BRENDA LORI CLEARY             MCCRADIE, NANCY J                         MCCRADIE, ROSS
8060 CLEARY BLVD NO.609                   PO BOX 4294                               530 SAN PASCUAL ST NO.10
PLANATATION FL 33324                      SANTA BARBARA CA 93140                    SANTA BARBARA CA 93101




MCCRADIE, ROSS                            MCCRAY-BEY, MYE                           MCCREARY, MARK ANDREW
PO BOX 4294                               13212 MAPLE GROVE ROAD                    3214 ANTON DR
SANTA BARBARA CA 93140                    REISTERSTOWN MD 21136                     AURORA IL 60504




MCCRORY, JOHN                             MCCUAIG, JOETTA D                         MCCULLOUGH, LEE
[ADDRESS UNAVAILABLE AT TIME OF FILING]   5542 COSTELLO AVENUE                      36 MAPLE AVE
                                          SHERMAN OAKS CA 91401                     FARMINGTON CT 06032




MCCUSKER ANSELMI ROSEN CARVELLI PC        MCCUTCHEON, BRIAN                         MCCUTCHEON, JAMES
127 MAIN STREET                           PO BOX 1523                               42 SINTON RD
CHATHAM NJ 07928                          FARMINGTON CT 06034                       NEWPORT NEWS VA 23601




MCCUTCHEON, RAYMOND J                     MCDANIEL, ASHLEY                          MCDANIEL, DAVID
13 WHITE PINE LANE                        6925 W WEDGEWOOD AVE                      PO BOX 2913
POQUOTT NY 11733                          DAVIE FL 33331                            ROCKLIN CA 95677




MCDAVID HONDA IRVING LP                   MCDERMOTT EQUIPMENT & SUPPLY              MCDERMOTT WILL & EMERY
3700 W AIRPORT FREEWAY                    PO BOX 3912                               227 W MONROE STREET
IRVING TX 75062                           SOUTH EL MONTE CA 91733                   CHICAGO IL 60606




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MCDERMOTT WILL & EMERY                MCDERMOTT WILL & EMERY                     MCDERMOTT, MATTHEW M
LOCKBOX CHICAGO                       LOCKBOX WASHINGTON DC                      2817 ALISA AVE
PO BOX 2995                           PO BOX 7247 6751                           BALTIMORE MD 21214
CAROL STREAM IL 60132                 PHILADELPHIA PA 19170-6751



MCDERMOTT, ROBERT                     MCDERMOTT, WILLIAM                         MCDEW SR, DERRICK
4064 CONNECTICUT AVE                  111A1 DEPOT RD                             1314 HARDY CASH DR
ISLAND PARK NY 11558                  MANSFIELD DEPOT CT 06251                   HAMPTON VA 23666




MCDONAGH, STEVE                       MCDONALD AND ASSOCIATES                    MCDONALD, ALICIA B
6523 N GREENVIEW                      ROCKY MOUNTAIN READERS                     4200 NW 34TH ST, APT 407
CHICAGO IL 60626                      9716 DEERFIELD RD                          LAUDERDALE LAKES FL 33319
                                      FRANKTOWN CO 80116



MCDONALD, BARRY P                     MCDONALD, CATHERINE                        MCDONALD, KATHY
PEPPERDINE UNIVERSITY SCHOOL OF LAW   8215 4TH AVENUE                            2240 NW 60 TER
24255 PACIFIC COAST HIGHWAY           APT A2                                     SUNRISE FL 33313
MALIBU CA 90263-4611                  BROOKLYN NY 11209



MCDONALD, KATHY A                     MCDONALD, KEVIN                            MCDONALD, KEVIN
2516 IVAN HILL TERRACE                2312 STONEHEDGE RD         APT E8          2312 STONEHEDGE RD   APT E8
LOS ANGELES CA 90039                  BETHLEHEM PA 18018                         BETHLEHEM PA 18108




MCDONALD, MARLON                      MCDONALD, MARLON                           MCDONALD, MARSHA J
1637 NE 31ST                          1637 NE 31ST                               2107 NW 45TH AVE
POMPANO FL 33064                      POMPANO BEACH FL 33064                     COCONUT CREEK FL 33066




MCDONALD, NIKEYA                      MCDONALD, TED                              MCDONELL-PARRY, AMELIA
4161 SW 22ND ST                       54 RATLUM RD                               90 WASHINGTON ST NO.2B
FT LAUDERDALE FL 33317                BARKHAMSTED CT 06063                       NEW YORK NY 10006




MCDONNELL, PATRICK                    MCDONOUGH ASSOCIATES INC                   MCDONOUGH, KEVIN
BAGHDAD BUREAU                        130 E RANDOLPH    STE 1000                 16 GROVE ST
LA TIMES FOREIGN DESK                 CHICAGO IL 60601                           NARROWSBURG NY 12764-6411
202 W FIRST ST
LOS ANGELES CA 90012


MCDONOUGH, PATRICIA                   MCDONOUGH, YONA ZELDIS                     MCDOUGLE,WILLIAM
827 JEROME COURT                      606 CARROLL ST                             620 E. MELROSE CIRCLE
WESTBURY NY 11590                     BROOKLYN NY 11215                          FORT LAUDERDALE FL 33312




MCDOWELL, JEANNE                      MCDOWELL, ROBERT                           MCDYESS, NICKETTA
4056 BENEDICT CYN DR                  9028 WOODED PATH DR                        1819 BROADWAY ST
SHERMAN OAKS CA 91423                 PALOS HILLS IL 60465                       DECATUR GA 30035




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MCELENEY, RYAN                          MCELHENEY, RICHARD                         MCELRATH-BEY, MICHAEL
11 ELAN ST                              4000 CASTELL DR                            4911 N WINTHROP NO.410
ENFIELD CT 06082                        ORLANDO FL 32810                           CHICAGO IL 60640




MCENANY PHILLIPS, KAREN                 MCENROE, COLIN                             MCENTEE, BRUCE C
PO BOX 0526                             31 WOODLAND ST NO.7D                       677 BUDLEIGH CIRCLE
GENEVA FL 32732                         HARTFORD CT 06105                          TIMONIUM MD 21093




MCEWAN, JESSICA                         MCFADDENS RESTAURANT & SALOON              MCFARLAND, STEVEN
3638 OHIO LANE NORTH                    58 IONIA AVE SW                            10823 N 66TH STREET
NORTH HIGHLANDS CA 95660                GRAND RAPIDS MI 49503                      SCOTTSDALE AZ 85254




MCFARLANE, LAURA L                      MCFARLANE, TAMEEKA NATALEE                 MCFAUL, MICHAEL
2230 OLD EMMORTON RD                    2321 FOSTER ST                             939 COTTRELL WAY
BEL AIR MD 21015                        EVANSTON IL 60201                          STANFORD CA 94305




MCFERRAN, ABBY                          MCG CONSORTIUM CORPORATION                 MCGAFFIE, MEHMET
304 BALDY HILL RD                       13402 DROXFORD ST                          140 MT ZION RD SE UNIT 6
ALBURTIS PA 18011                       CERRITOS CA 90703                          ATLANTA GA 30354




MCGAHARAN, ANAITH                       MCGANN DONLAN, SARAH                       MCGARRY, JOCELYN A
6277 ADRIATIC WAY                       3239 N HOYNE AVE                           3720 SW 43RD AVE
WEST PALM BEACH FL 33413                CHICAGO IL 60618                           HOLLYWOOD FL 33023




MCGARVEY, ROBERT                        MCGARY, MATTHEW DANIEL                     MCGEE, BEVERLY
89 SHERMAN PLACE                        808 W JUNIOR TERRACE  NO.104               130 N LOCKWOOD AVENUE
JERSEY CITY NJ 07307                    CHICAGO IL 60613                           CHICAGO IL 60644-3301




MCGEE, KIMBERLEY                        MCGEE, RYAN T                              MCGEE, WILLIAM J
7720 FALL CLIFF ROAD                    71 CLEWLEY RD NO.2                         40 AVALON DR NO.6111
LAS VEGAS NV 89149                      MEDFORD MA 02155                           MILFORD CT 06460




MCGEHEE, CASEY M                        MCGEHEE, CASEY M                           MCGERALD, RICHARD
374 E PARK ST                           374 E PARK ST                              [ADDRESS UNAVAILABLE AT TIME OF FILING]
ALAMO CA 38001                          ALAMO TN 38001




MCGERALD, RICHARD                       MCGHEE, ASHANTA                            MCGHEE, JOHN E
87-25 CLOVER PLACE                      286 SOMERLANE PLACE                        6525 SLEDGE ROAD
HOLLISWOOD NY 11423                     AVONDALE ESTATES GA 30002                  MILLINGTON TN 38053




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MCGHEE, RUBYE D                        MCGHEE, SUSAN L                            MCGHEE, SUSAN L
7231 WILLIAMSBURG DRIVE                23 SENECA DR                               ACCT NO.0725
RIVERDALE GA 30274                     MONTGOMERY IL 60538                        23 SENECA DR
                                                                                  MONTGOMERY IL 60538



MCGILL, BOBBY                          MCGILL, LAKENYA S                          MCGILL, SHERRI E
10850 NINETTE DR                       4417 CYPRESS RIDGE LANE                    1490 NW 22 CT
CUPERINO CA 95014                      STONE MOUNTAIN GA 30083                    #2
                                                                                  FORT LAUDERDALE FL 33311



MCGILVRAY, TIM                         MCGINLEY, MEGAN T                          MCGINNIS, HEATHER
5852 OAKWOOD BLVD                      10605 SW 135TH CT                          4157 S 125 W
COLORADO SPRINGS CO 80918              MIAMI FL 33186                             TIPTON IN 46072




MCGINNIS, LILLIAN K                    MCGIVERN BINDERY INC                       MCGLAUGHLIN, JENNIFER
2512-Q N RIVER ISLE RD.                361 W GORDON ST                            303 A OLD PLANTATION RD
MOMENCE IL 60954                       ALLENTOWN PA 18102                         MARTINEZ GA 30907




MCGLINCHEY, DOUG                       MCGONIGLE, THOMAS                          MCGOVERN & GREEN LLP
17 ETHAN ALLEN CT                      46 EAST FIRST ST 3D                        105 W MADISON ST STE 406
S SETAUKET NY 11720                    NEW YORK NY 10003                          CHICAGO IL 60602-4680




MCGOVERN, GINA                         MCGOWAN BUILDERS LA LLC                    MCGOWAN, JESSICA
1662 AMSTERDAM AVE                     GATEHOUSE APARTMENTS                       642 CLEBURNE TER NE    APT A
MERRICK NY 11566                       APT NO. A AT 105N                          ATLANTA GA 30306
                                       METAIRIE LA 70001



MCGOWAN, KAREN                         MCGOWAN, MEREDITH                          MCGOWEN, REGINA
407 W JACKSON ST                       625 SAN MARCO DR                           14261 SETON S
2920                                   FT LAUDERDALE FL 33301                     FLINT TX 75762
MORRIS IL 60450



MCGRADY, OLIVIA R                      MCGRANN PAPER                              MCGRANN PAPER
3508 FOX HOUND RUN                     PO BOX 7068                                P.O. BOX 32
LITHONIA GA 30038                      CHARLOTTE NC 25241                         WATERTOWN NY 13601




MCGRANN PAPER                          MCGRATH, CHELSEA ELIZABETH                 MCGRATH, DAVID
PO BOX 11626                           509 SHAW CT                                810 IRVING PLACE
TACOMA WA 98411-6626                   FREDERICKSBURG VA 22405                    DAUPHIN ISLAND AL 36528




MCGRATH, MICHAEL                       MCGRAW JR, MARCUS M                        MCGRAW, ADAM
PO BOX 116                             7619 S NORMAL AVE                          20704 N 90TH PL STE 1002
WINDHAM CT 06280                       CHICAGO IL 60620                           SCOTTSDALE AZ 85255




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MCGRAW, ADAM                             MCGRAW-HILL COMPANIES                       MCGRAW-HILL, INC.
20704 N 90TH PL STE 1007                 RE: SAN DIEGO SAN MIGUEL MOUN               RE: SAN DIEGO SAN MIGUEL MOUN
SCOTTSDALE AZ 85255                      4600 AIR WAY                                ATTN: MANAGER, REAL ESTATE
                                         SAN DIEGO CA 92102                          1221 AVENUE OF THE AMERICAS
                                                                                     NEW YORK NY 10020


MCGRAY, DOUGLAS                          MCGREEVY, BRUCE                             MCGREEVY, JOHN
1376 CHURCH ST NO.5                      PO BOX 2146                                 1010 W NOTRE DAME AVE
SAN FRANCISCO CA 94114                   TORRINGTON CT 06790                         SOUTH BEND IN 46617




MCGREGOR, KIRK G                         MCGRIFF, WILLIE M                           MCGRUDER, DAVID
2851 RIVERSIDE DR APT 206                330 NW 4 AV                                 20411 NW 2ND COURT
CORAL SPRINGS FL 33065                   DELRAY BEACH FL 33444                       MIAMI GARDENS FL 33169




MCGRUDER, STEVEN                         MCGUINNESS, KATHLEEN                        MCGUIRE, BREEANN
6120 SW 35TH STREET NO.2                 3550 LIVE OAK RD                            1221 N ORANGE NO.104
MIRAMAR FL 33023                         SANTA YNEZ CA 93460                         LOS ANGELES CA 90038




MCGUIRE, MARK J                          MCGUIRE, PATRICIA                           MCHELLEN, JAMES
67 ADAMS PL                              1813 N NEW HAMPSHIRE AVE NO.2               273 SW 1 COURT
DELMAR NY 12054                          LOS ANGELES CA 90027                        DEERFIELD BEACH FL 33441




MCHENRY STATE BANK                       MCHUGH, NICOLE                              MCHUGH, SEAN
RE: MCHENRY 4025 MAIN STREET             17 BOTELLE MANOR                            587 BROADWAY APT G20
3510 WEST ELM STREET                     CROMWELL CT 06416                           ALBANY NY 12204
MCHENRY IL 60050



MCI WORLDCOM                             MCI WORLDCOM                                MCI WORLDCOM
PO BOX 600670                            27133 NETWORK PLACE                         27732 NETWORK PLACE
JACKSONVILLE FL 32260-0670               CHICAGO IL 60673-1271                       CHICAGO IL 60673-1277




MCI WORLDCOM                             MCI, LLC AND SUBSIDIARIES                   MCINERNEY, EMILY
P O BOX 73468                            DBA VERIZON BUSINESS                        4018 W 56TH PLACE
CHICAGO IL 60673-7468                    ATTN: LEGAL DEPARTMENT                      CHICAGO IL 60629
                                         140 WEST STREET
                                         NEW YORK NY 10007-2109


MCINNES, JAMES M                         MCINTOSH, ANDREW                            MCINTOSH, IRENE
4344 N TALMADGE DR                       254 WALL ST                                 1002 ROYALTON ROAD
SAN DIEGO CA 92116                       BETHLEHEM PA 18018                          ORLANDO FL 32825




MCINTOSH, JASON                          MCINTOSH, JASON                             MCINTYRE, MINDY
795 BIRGHAM PL                           795 BIRGHAM PL                              2417 D STREET
STE 2603                                 LAKE MARY FL 32746                          SACRAMENTO CA 95816
LAKE MARY FL 32746




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MCINTYRE, PATRICK J                   MCIVER, KARYNNE D                          MCIVER, KARYNNE D
2414 FORT ST                          959 OSAGE AVE NO.5                         959 OSAGE AVE NO.5
NAMPA ID 83687                        MANITOU SPRINGS CO 80829                   MARIETTA SPRINGS CO 80829




MCIVER, KENYA                         MCKAIG, JOHN                               MCKAY, GARRY
870 LUCAS CREEK RD NO.101E            226 TREMONT ST                             950 FENNELL E    APT 1811
NEWPORT NEWS VA 23608                 NEWINGTON CT 06111                         HAMILTON ON L8V 1X2




MCKAY, JANEE D                        MCKEE, CLYDE                               MCKEE, CLYDE
316 SW 80TH AVE                       68 CRESCENT ST                             POLITICAL SCIENCE DEPARTMENT
NORTH LAUDERDALE FL 33068             HARTFORD CT 06106                          TRINITY COLLEGE
                                                                                 HARTFORD CT 06106



MCKEE, GEOFFREY                       MCKEE, KEVIN JAMES                         MCKEGG, ALFRED H
1728 MAIN STREET SUITE 110            1742 CHURCHVIEW RD                         14026 TALL SHIPS DR
COLUMBIA SC 29201                     COOPERSBURG PA 18036                       WEST FRIENDSHIP MD 21794




MCKELLERY, APRIL                      MCKENNA LONG & ALDRIDGE LLP                MCKENNA LONG & ALDRIDGE LLP
2502 BELLEMEADE CT                    1900 K STREET, N.W.                        PO BOX 116573
MORROW GA 30260                       WASHINGTON DC 20006                        ATLANTA GA 30368




MCKENNA, PATRICK                      MCKENNA, STEVEN J                          MCKENNA, WILLIAM
3909 N OTTAWA                         40 OCEANVIEW BLVD                          3909 N OTTAWA
CHICAGO IL 60634                      MANORVILLE NY 11949                        CHICAGO IL 60634




MCKENZIE, CHRISTOPHER                 MCKENZIE, GWENDOLYN                        MCKENZIE, HOWARD ANTHONY
3992 TOPSAIL DR                       6521 SW 7 PLACE                            2301 S CONGRESS AVE APT
COLORADO SPRINGS CO 80918             NORTH LAUDERDALE FL 33068                  DELRAY BEACH FL 33426




MCKENZIE, JAQUELYN                    MCKENZIE, KAY-MARIE ROSENE                 MCKENZIE, KERRIAN
22923 RICHTON SQUARE                  615 MOOBEAM DRIVE                          6521 SW 7TH PLACE
RICHTON PARK IL 60471                 LAKE WORTH FL 33463                        NORTH LAUDERDALE FL 33068




MCKENZIE, PATTI                       MCKENZIE, SHARON                           MCKENZIE, TURNQUEST
4052 S RIVERSIDE DR                   4230 THUNDERSTONE CIRCLE W                 7420 TAYLOR STREET
LANEXA VA 23089                       MEMPHIS TN 38125                           HOLLYWOOD FL 33024




MCKEON, THOMAS D                      MCKEOUGH, KEVIN                            MCKIBBEN, PATRICK SCOTT
P O BOX 162                           2158 W BERTEAU AVE         APT NO.2        53 BROOKHAVEN DR
COLEBROOK CT 06021                    CHICAGO IL 60618                           LITTLETON CO 80123




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MCKIBBIN, ADAM                        MCKIERNAN, KEVIN                           MCKIERNAN, KEVIN
618 MILDRED AVE                       3815 LA CUMBRE HILLS LANE                  PO BOX 91641
VENICE CA 90291                       SANTA BARBARA CA 93110                     SANTA BARBARA CA 93110




MCKIERNAN, KEVIN                      MCKIM, JUSTIN F                            MCKINLEY, ANDREW
PO BOX 91641                          214 VILLAGE LANE                           401 MICHIGAN DR
SANTA BARBARA CA 93190                WINTER PARK FL 32792                       HAMPTON VA 23669




MCKINLEY, MATTHEW                     MCKINNEY, GAIL                             MCKINNEY, JOE
3212 ARDEN VILLAS BLVD   NO.9         4801 NW 16TH CT                            9869 LAKE GEORGIA DR
ORLANDO FL 32817                      LAUDERHILL FL 33313                        ORLANDO FL 32817




MCKINNEY, MARSHA M                    MCKINNEY, MARSHA M                         MCKINNISS, RICHARD S
104 TYVOLA DR                         2400 WAVERLY PL LANE                       111 MOORELAND ROAD
SUMMERVILLE SC 29485                  SUMMERVILLE SC 29485                       KENSINGTON CT 06037




MCKINNON, COURTNEY                    MCKINNOR, EMANUEL                          MCKNIGHT, LUKAS N
14324 HATTERAS ST                     5946 S PRINCETON                           47 ELM ST
VAN NUYS CA 91401                     CHICAGO IL 60621                           WESTFIELD NY 14787




MCKOY, NAGASH                         MCKUEN, PAMELA DITTMER                     MCKULA, KATHLEEN S
12656 NETTLES DR APT NO.H             87 TANGLEWOOD DRIVE                        175 WALLENS HILL RD
NEWPORT NEWS VA 23606                 GLEN ELLYN IL 60137                        WINSTED CT 06098




MCL INC                               MCLANE, MAUREEN                            MCLANE, MILLIE
100 DAVIDS DR                         76 GROZIER RD  NO.2                        1377 CUMBERLAND CIRCLE EAST ROAD
HAUPAUGE NY 11788-2034                CAMBRIDGE MA 02138                         ELK GROVE VILLAGE IL 60007




MCLARD, ASHLYN                        MCLARNEY, THOMAS S                         MCLAUGHLIN SR, JOSHUA MICHAEL
16853 ENDERBUSH LANE                  PO BOX 740715                              1055 CHEROKEE AVE
EUREKA MO 63025                       ORANGE CITY FL 32774                       WINTER PARK FL 32789




MCLAUGHLIN, FRANK                     MCLAUGHLIN, JOELLE                         MCLAUGHLIN, KATHLEEN S
1100 NORTH AVENUE                     197 OWL CREEK CIRCLE                       4549 ST. RITA LN
APT NO.42                             WILLIAMSBURG VA 23188                      WHITEHALL OH 43213
STRATFORD CT 06614



MCLAUGHLIN, MARK A                    MCLAUGHLIN, MEGHAN                         MCLAUGHLIN, MICHAEL K
967 W TILGHMAN ST FL 1                17 FAIRLAWN ST NO.2B                       1013 8TH ST
ALLENTOWN PA 18102                    WEST HARTFORD CT 06119                     LAUREL MD 20707




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MCLAUGHLIN, RYAN                     MCLAUGHLIN, SARAH                          MCLAUGHLIN, SARAH
22 CENTURY STREET                    133 CHURCH ST                              133 CHURCH ST
BREWER ME 04412                      BETHLEHEM PA 18015                         FOUNTAIN HILL PA 18015




MCLEAN, KENNETH                      MCLEAN, THOMAS J                           MCLEARY, PAUL
14229 COTTAGE GROVE                  PO BOX 41 1104                             397 DEGRAW ST APT 1
DOLTON IL 60419                      LOS ANGELES CA 90041                       BROOKLYN NY 11231




MCLEMEE, SCOTT                       MCLENNAN, DOUGLAS                          MCLEOD, KAGAN
1711 MASSACHUSETTS AVE NW 321        300 QUEEN ANNE AVENUE N     NO.618         39 MCGEE ST
WASHINGTON DC 20036                  SEATTLE WA 98109                           TORONTO ON M4M 2L1




MCLEOD, KEMBREN                      MCLETCHIE, RICHARD D                       MCM ELECTRONICS INC
1037 E WASHINGTON ST                 973 PIPIERS CAY DRIVE                      405 SOUTH PIONEER BOULEVARD
IOWA CITY IA 52240                   WEST PALM BEACH FL 33416                   SPRINGBORO OH 45066-3001




MCM ELECTRONICS INC                  MCMACKEN, ROBIN SUE                        MCMAHEL, KAREN S
650 CONGRESS PARK DRIVE              2955 BIRDIE LOOP                           1106 DERBY TRACE
CENTERVILLE OH 45459-4072            ALAMOGORDO NM 88310                        NASHVILLE TN 37211




MCMAHON, COLIN                       MCMAHON, DAVID                             MCMAHON, KEVIN J
FOREIGN BUREAU CORRESPONDENT         65 DWIGHT ST  APT 8                        95 WOODROW ST
435 N MICHIGAN AVE                   NEW HAVEN CT 06511                         WEST HARTFORD CT 06107
CHICAGO IL 60611



MCMANN, SEAN T                       MCMANUS, DREW                              MCMASTER CARR SUPPLY COMPANY
210 MAIN ST  APT 3-L                 416 W WASHINGTON BLVD NO.2                 9630 NORWALK BLVD
POUGHKEEPSIE NY 12601                OAK PARK IL 60302-4004                     SANTA FE SPRINGS CA 90670




MCMASTER CARR SUPPLY COMPANY         MCMASTER CARR SUPPLY COMPANY               MCMASTER CARR SUPPLY COMPANY
ATTN: ORDER PROCESSING               PO BOX 740100                              PO BOX 7690
P O BOX 740100                       ATLANTA GA 30374-0100                      CHICAGO IL 60680-7690
ATLANTA GA 30374



MCMASTER CARR SUPPLY COMPANY         MCMASTER CARR SUPPLY COMPANY               MCMASTERS, KELLY
473 RIDGE ROAD                       PO BOX 440                                 341 LAFAYETTE STREET NO.22
DAYTON NJ 08810                      NEW BRUNSWICK NJ 08903-0440                NEW YORK NY 10012




MCMICHAEL, JASPER                    MCMICHAEL, KILEY T                         MCMICKLE, ROBERT
5489 SW 32ND ST                      1015 ALLENDALE CT                          1537 LANTANA CT
HOLLYWOOD FL 33023                   BLACKSBURG VA 24060                        WESTON FL 33326




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MCMILLAN, LAVERN                         MCMILLAN, MELANIE A                        MCMILLIAN, ELIZABETH
801 NW 8TH AVE                           839 MAIN ST UNIT 93                        6759 ATHOL AVENUE
FT. LAUDERDALE FL 33311                  TORRINGTON CT 06790                        ELKRIDGE MD 21075




MCMILLON, DELORIS J                      MCMULLEN, JENNIFER                         MCMURTRIE, ANDREW J
2781 MICHIGAN AVE                        303 E WILKES BARRE ST                      391 MCGEE LOOP
KISSIMMEE FL 34744                       EASTON PA 18042                            JACKSON TN 38305




MCNAIR, VERONICA                         MCNAMARA, CHRISTOPHER PAUL                 MCNAMARA, CHRISTOPHER PAUL
219 S WALNUT ST                          1752 NORTH PARK AVE                        452 W ARMITAGE UNIT 1
SLATINGTON PA 18080                      CHICAGO IL 60614                           CHICAGO IL 60614




MCNAMARA, JOHN T                         MCNAMEE, PATRICK W                         MCNARY, BRIAN
277 ELM ST                               1 JODY LN                                  2102 EAST RIDGE CIRCLE E
WINDSOR LOCKS CT 06096                   YONKERS NY 10701-1908                      BOYNTON BEACH FL 33435




MCNAUGHTON, KEN                          MCNEAL, DAVID                              MCNEAL, DIANE M
3778 COLLEGE AVE                         9116 S CLYDE                               136 HARVARD RD
ELLICOTT CITY MD 21043                   CHICAGO IL 60617                           HOLLYWOOD FL 33023




MCNEAL, KRISTIAN DIONNE                  MCNEAL, LINDA FAY                          MCNEIL, JOHN DAVID
201 MOURY AVE     APT 503                5042 BELFAST DR.                           811 IOWA AVE
ATLANTA GA 30315                         MEMPHIS TN 38127                           COLORADO SPRINGS CO 80909




MCNEIL, MARY                             MCNEILL SIGNS INC                          MCNEILL, MARY-ELIZABETH
870 LUCAS CREEK RD NO.71                 555 SOUTH DIXIE HWY EAST                   28 27TH AVENUE
NEWPORT NEWS VA 23601                    POMPANO BEACH FL 33060-6985                VENICE CA 90291




MCNEILL, RYAN                            MCNEILLY, MATTHEW D                        MCNELLY TORRES
2504 NW 12    APT 3                      705 BRENTWOOD COURT                        15780 SW 48TH DRIVE
OKLAHOMA CITY OK 73107                   GLEN ELLYN IL 60137                        MIRAMAR FL 33027




MCNELLY, KATHY                           MCNERNEY, KATHRINE                         MCNICKLE, MICHELLE C
12014 PHILADELPHIA RD                    24321 MULBERRY CT                          86 GEHRING RD EXT
KINGSVILLE MD 21087                      SOUTHFIELD MI 48033                        TOLLAND CT 06084




MCNULTY, MELISSA A                       MCNULTY, TIMOTHY J                         MCPHEE ELECTRIC LTD
8601 W 98TH PL                           317 W. BELDEN                              505 MAIN STREET
PALOS HILLS IL 60465                     #2                                         FARMINGTON CT 06032
                                         CHICAGO IL 60614




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MCPHEE, BONNIE                         MCPHEE, JEFFREY L                          MCPHEE, JOANNE
2112 RJ CIRCLE                         95 HIGHCREST RD                            174 CHURCH ST
KISSIMMEE FL 34744                     WETHERSFIELD CT 06109                      WETHERSFIELD CT 06109




MCPHERSON, RICHARD H                   MCPHERSON, SILROY                          MCQUAID, PETER
34 SOUTH WINDHAM RD                    4361 NW 27TH ST                            691 S IROLO STREET   APT 1705
WILLIMANTIC CT 06226                   LAUDERHILL FL 33313                        LOS ANGELES CA 90005-4125




MCQUERN, TILEY EILIS                   MCQUITTER-ALLY, DEBORAH                    MCQUITTY,DAN ROBERT
1040 W GRANVILLE AVE APT 829           19120 W LAKE DR                            20332 LISA GAIL DRIVE
CHICAGO IL 60660                       MIAMI FL 33015                             SANTA CLARITA CA 91350




MCS COURIER                            MCSHANE LLOYD, LISA                        MCSHERRY, DENNIS
PO BOX 889                             424 BEN TITUS RD                           6417 GINOS WAY
WEST BRANCH IA 52358                   TAMAQUA PA 18252                           FOX LAKE IL 60020




MCTHAY,BRIAN                           MCTOY, LAUREN                              MCV PHOTO LLC
3513 NW 12TH CT.                       8914 S HERMITAGE                           48 W 21ST ST 11TH FL
FT. LAUDERDALE FL 33312                CHICAGO IL 60620                           NEW YORK NY 10010




MCVEY, JOHN P                          MCWHITE, KIMBERLY                          MCWILLIAM, KAREM
119 CARMAN AVE                         3510 SW 36TH COURT                         28 WILLOW ROAD
EAST ROCKAWAY NY 11518                 HOLLYWOOD FL 33023                         NEW HYDE PARK NY 11040




MDA                                    MDDC PRESS ASSOC.                          MDK PHOTOGRAPHY
NATIONAL HEADQUARTERS                  2191 DEFENSE HIGHWAY                       2925 OLIVE ROAD
3300 E. SUNRISE DR                     SUITE 300                                  HOMEWOOD IL 60430
TUCSON AZ 85718                        CROFTON MD 21114



MDM CONSULTING ENGINEERS               ME'LANG HARRIS                             MEA PASINELLA
65 BLEEKER ST                          634 MANCHESTER DRIVE                       264 WARREN STREET
NEW YORK NY 10012                      APT 5                                      A
                                       INGLEWOOD CA 90301                         GLENS FALLS NY 12801



MEACHAM, JENNIFER                      MEACHAM, JON                               MEAD, CHRISTOPHER
1012 FLORIDA AVE NE APT 2              251 WEST 57TH STREET 16TH FLOOR            38 CINDY RD
WASHINGTON DC 20002                    NEW YORK NY 10019                          ELLINGTON CT 06029




MEADE, ANDREW                          MEADE, CANDICE L                           MEADE, JUDITH
1325 N ANDREWS AVE                     250 NE 22 ST                               136 FOSTER ROAD
FT LAUDERDALE FL 33311                 POMPANO BEACH FL 33060                     HALLANDALE FL 33009




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MEADH, CHRISTOPHER                     MEADOW BROOK CLUB                          MEADOWS II, RALPH ALEXANDER
38 CINDY RD                            RT 107 CEDAR SWAMP RD                      2300 S PARK RD NO.103
ELLINGTON CT 06029                     PO BOX 58                                  HALLANDALE BEACH FL 33009
                                       JERICHO NY 11753



MEADOWS, HASSAN                        MEADOWS, HASSAN                            MEADOWS, JACK E.
1422 HIGHLAND AVE                      2002 W SUNSET                              2225 TWELVE OAKS DR
LOS ANGELES CA 90028                   LOS ANGELES CA 90026                       FAYETTEVILLE AR 72703




MEAGAN NORRIS                          MEAGHER, MARION S                          MEANEY, THOMAS
1985 PENNSYLVANIA STREET               1830 W CHEW ST                             127 LAFAYETTE AVE NO.4A
APT. 3110                              ALLENTOWN PA 18104                         BROOKLYN NY 11217
DENVER CO 80203



MEANEY, THOMAS                         MEANLEY, ERIN                              MEANS, TAMELA
C/O RACHEL REILICH                     1619 THIRD AVENUE NO.14G                   222 TRIMMER PL
127 LAFAYETTE AVE NO.4A                NEW YORK NY 10128                          NORTH AUGUSTA SC 29801
BROOKLYN NY 11217



MEANS, TAMELA                          MEANS, TIMOTHY MICHAEL                     MEANS, TIMOTHY MICHAEL
222 TRIMMER PL                         1613 STATE ST NO.8                         1613 STATE STREET STE 8 PO BOX HK
NORTH AUGUSTA SC 29841-3061            BARSTOW CA 92311                           BARSTOW CA 92312




MEANS, TIMOTHY MICHAEL                 MEARSHEIMER, JOHN                          MEAUX, BRANDON
PO BOX HK                              1345 EAST PARK PLACE                       PO BOX 922924
BARSTOW CA 92312                       CHICAGO IL 60637                           SYLMAR CA 91392




MEBANE, MARCUS                         MECENAS, RAYMOND M                         MECHANICAL DESIGN SERVICES
35 COTTAGE GROVE CIR                   3832 MUSCATEL AVENUE                       1760 MONROVIA AVE NO.B9
BLOOMFIELD CT 06002                    ROSEMEAD CA 91770                          COSTA MESA CA 92627




MECHANICAL DRIVES & BELTING            MECHANICAL DRIVES & BELTING                MECHANICAL DRIVES & BELTING
2915 EAST WASHINGTON BLVD              P O BOX 514738                             PO BOX 511358
LOS ANGELES CA 90023                   LOS ANGELES CA 90051-4738                  LOS ANGELES CA 90051-7913




MECKES, SHARON                         MECKNA, ROBERT                             MECKWOOD YAZDPOUR, JANE E
3332 HIGHLAND RD                       1028 NADINE STREET                         1047 SHERMAN DR
OREFIELD PA 18069                      HOUSTON TX 77009                           FRANKLIN SQUARE NY 11010-1015




MED GRAPHIX INC                        MEDALIS, KARA A                            MEDALLIC ART COMPANY LTD
26-J COMMERCE RD                       37 PINE TREE HILL RD                       80 AIRPARK VISTA BLVD
FAIRFIELD NJ 07004                     SHELTON CT 06484                           DAYTON NV 89403




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MEDARDO FUENTES                         MEDEIROS, MICHAEL JOSEPH                   MEDENDORP, RONALD
8816 MARSHALL ST.                       1580 NW 96TH AVE                           19537 S HALSTED
ROSEMEAD CA 91770                       PEMBROKE PINES FL 33024                    CHICAGO HEIGHTS IL 60411




MEDENDORP, RONALD                       MEDEUS, ALPHONSE                           MEDFORD CHAMBER OF COMMERCE
ACCT 5952                               300 TRESSER BLVD APT 11-C                  C/O JOSEPH BALCARCEL
19537 S HALSTED                         STAMFORD CT 06901                          89 SOUTHAVEN AVE
CHICAGO HEIGHTS IL 60411                                                           MEDFORD NY 11763



MEDFORD CHAMBER OF COMMERCE             MEDFORD CHAMBER OF COMMERCE                MEDIA BUYING COMPANY
PO BOX 926                              PO BOX 926 2204 RT 112                     4445 EASTGATE MALL STE 200
MEDFORD NY 11763                        MEDFORD NY 11763                           SAN DIEGO CA 92122




MEDIA COM                               MEDIA DATA SERVICES INC                    MEDIA DATA TECHNOLOGY INC
777 THIRD AVENUE                        4105 W SPRING CREEK PKWY NO.611            439 GRANBY RD NO.1
NEW YORK NY 10017                       PLANO TX 75024                             SOUTH HADLEY MA 01075




MEDIA DATA TECHNOLOGY INC               MEDIA DISTRIBUTION INC                     MEDIA EDGE
470 NEWTON STREET                       MEDIA DISTRIBUT INC-FRANK ARGUN            ATTN DAWN ROMANO GROUP M
SOUTH HADLEY MA 01075                   3758 CROWNRIDGE DR                         498 7TH AVENUE
                                        SHERMAN OAKS CA 91403                      NEW YORK NY 10018



MEDIA GENERAL INC                       MEDIA GENERAL INC                          MEDIA GENERAL INC
333 E FRANKLIN ST                       ATTN PUBLISHING DIVISION                   PO BOX 85333
RICHMOND VA 23219                       333 E FRANKLIN ST                          RICHMOND VA 23293
                                        RICHMOND VA 23219



MEDIA INSTITUTE                         MEDIA INSTITUTE                            MEDIA LAW RESOURCE CTR INC
1800 N KENT ST STE 1130                 2300 CLARENDON BLVD        STE 503         520 8TH AVE NORTH TOWER FL 20
ARLINGTON VA 22209                      ARLINGTON VA 22209                         NEW YORK NY 10018




MEDIA LAW RESOURCE CTR INC              MEDIA MANAGEMENT TECHNOLOGIES INC          MEDIA MANAGEMENT TECHNOLOGIES INC
80 EIGHT AVE NO.200                     50 COCONUT WAY     STE 119                 PO BOX 693
NEW YORK NY 10011-5126                  PALM BEACH FL 33480                        PALM BEACH FL 33480




MEDIA MARKET RESOURCES INC              MEDIA MARKET RESOURCES INC                 MEDIA MESSENGER, INC.
P O BOX 442                             54 MUSIC SQ E                              435 N. MICHIGAN AVE
81 MAIN STREET                          NO.201                                     SUITE LL 152
SUITE 2                                 NASHVILLE TN 37206                         CHICAGO IL 60611
LITTLETON NH 03561


MEDIA NEXUS                             MEDIA ONE SERVICES                         MEDIA PAGE
1420 LAKESHORE DR     NO.18A            901 BATTERY STREET STE 220                 PO BOX 1307
CHICAGO IL 60610                        SAN FRANCISCO CA 94111                     CULVER CITY CA 90232




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MEDIA RATING COUNCIL INC                MEDIA RESEARCH COUNCIL                     MEDIA SALES MSC GMBH
370 LEXINGTON AVE                       11301 OLYMPIC BLVD NO.562                  EDERSTRASSE 10
SUITE 902                               LOS ANGELES CA 90064                       FRANKFURT, HE 60486
NEW YORK NY 10017



MEDIA SOLDIERS INC                      MEDIA STORM LLC                            MEDIA STRATEGIES & RESEARCH
2426 JACKSON ST                         99 WASHINGTON ST                           1580 LINCOLN ST STE 510
HOLLYWOOD FL 33020                      SOUTH NORWALK CT 06854                     DENVER CO 80203




MEDIA STRATEGIES & RESEARCH             MEDIA STRATEGIES & RESEARCH                MEDIA TRAINING INTL INC
318 MASS AVE NE                         9990 LEE HIGHWAY STE 210                   2448 PINEY BARK DRIVE
WASHINGTON DC 20002                     FAIRFAX VA 22206                           VIRGINIA BEACH VA 23456




MEDIA VAST INC                          MEDIA VAST INC                             MEDIABISTRO.COM
PO BOX 13587                            49 W 27TH ST 5TH FLOOR                     494 BROADWAY 4TH FLR
NEWARK NJ 07188-0587                    NEW YORK NY 10001                          NEW YORK NY 10012




MEDIABISTRO.COM                         MEDIABISTRO.COM                            MEDIABISTRO.COM
GENERAL POST OFFICE                     P O BOX 1918                               P O BOX 20697
PO BOX 5348                             NEW YORK NY 10113                          NEW YORK NY 10009
NEW YORK NY 10087-5348



MEDIACENTER ONLINE INC                  MEDIACENTER ONLINE INC                     MEDIACENTER ONLINE INC
121 CENTER GROVE RD                     1500 HARBOR BLVD 2ND FL                    PO BOX 528
C/O SMARTBOOKS                          WEEHAWKEN NJ 07087                         MOUNT FREEDOM NJ 07970-0528
RANDOLPH NJ 07869-4453



MEDIACOM COMMUNICATIONS CORP LLC        MEDIAMARK RESEARCH INC                     MEDIAMARK RESEARCH INC
100 CRYSTAL RUN ROAD                    650 AVENUE OF THE AMERICAS                 708 THIRD AVENUE
MIDDLETOWN NY 10941                     NEW YORK NY 10011-2098                     8TH FLOOR
                                                                                   NEW YORK NY 10017-4182



MEDIAMARK RESEARCH INC                  MEDIAMARK RESEARCH INC                     MEDIAMARK RESEARCH INC
75 NINTH AVE 5TH FL                     ACCOUNTS RECEIVABLE                        PO BOX 6255
NEW YORK NY 10011                       75 NINTH AVE 5R                            CHURCH ST STATION
                                        NEW YORK NY 10011                          NEW YORK NY 10249-6255



MEDIASHOP PR INC                        MEDIASPAN GROUP                            MEDIASPAN GROUP
60 EAST 42ND ST STE 659                 LOCKBOX 952088                             333 JACKSON PLZA
NEW YORK NY 10165                       ATLANTA GA 31192-2088                      ANN ARBOR MI 48103




MEDIASPECTRUM INC                       MEDIASTATS INC                             MEDIASTATS INC
35 TURKEY HILL RD                       30 CENTURIAN DR NO. 115                    68 WELLINGTON STREET EAST
BELCHERTOWN MA 01007                    MARKHAM ON L3R 8B8                         AURORA ON L4G 1H8




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MEDIASTORM                               MEDIATECH, INC.                            MEDICAL EYE SERVICES
42 EAST 20TH STREET SUITE 2A             110 WEST HUBBARD STREET                    PO BOX 25209
NEW YORK NY 10003                        CHICAGO IL 60610                           SANTA ANA CA 92799-5209




MEDICALLY SPEAKING LLC                   MEDICALLY SPEAKING,LLC & STUART            MEDICOFF, ZACK
PREMIER LAW GROUP                        C/O STEVEN G, OWEN, ESQ.,                  8 COVINGTON RD     STE 706
STEVEN G. OWEN, ESQ.                     PREMIER LAW GROUP                          TORONTO ON M6A 3E5
477 VIKING DRIVE, STE 150                477 VIKING DRIVE,SUITE 150
VIRGINIA BEACH VA 23452                  VIRGINIA BEACH VA 23452


MEDILL SCHOOL OF JOURNALISM              MEDILL SCHOOL OF JOURNALISM                MEDILL SCHOOL OF JOURNALISM
1845 SHERIDAN ROAD                       633 CLARK ST                               TEACHING NEWSPAPER PROGRAM
NORTHWESTERN UNIVERSITY                  EVANSTON IL 60208                          NORTHWESTERN UNIVERISY
EVANSTON IL 60208-2101                                                              1845 SHERIDAN RD
                                                                                    EVANSTON IL 60208


MEDINA DRIVEN RESPONSE                   MEDINA ROSHAN                              MEDINA, DEMITIRICE E
837 LINCOLN WAY                          2908 GEORGE HOWARD WAY                     187 BRANFORD ST
MCKEESPORT PA 15132                      DAVIDSONVILLE MD 21035                     HARTFORD CT 06112




MEDINA, ELIZABETH                        MEDINA, ELIZABETH                          MEDINA, ERIC
2708 S WINDING RIDGE AVE                 2708 S WINDING RIDGE AVE                   29 GOLF TERRACE DR    NO.208
STE 2314                                 KISSIMMEE FL 34741                         WINTER SPRINGS FL 32708
KISSIMMEE FL 34741



MEDINA, GABRIEL                          MEDINA, JUAN                               MEDINA, JUAN CARLOS
2708 WINDING RIDGE AVE S STE 2314        4545 48TH ST                               URB 1 SECTOR 2 GRUPO 1 NO.39
KISSIMMEE FL 34741                       WOODSIDE NY 11377                          VALENCIA
                                                                                    CARABOBO



MEDINA, LUIS C                           MEDINA, PEDRO                              MEDINA, RICARDO
3350 EAST BLVD APT 1                     C/PRINCIPAL NO.2 CAMPO ALEGRE              PO BOX 285
BETHLEHEM PA 18017                       ROMANA                                     ZONE 8
                                                                                    PANAMA CITY
                                                                                    PANAMA


MEDINET HEREDIA                          MEDLAND,MARY                               MEDLIN, PHYLLIS K
3050 POTOMAC AVENUE                      743 MC HENRY ST                            504 BEATTIE STREET
LOS ANGELES CA 90016                     BALTIMORE MD 21230                         ELWOOD IL 60421




MEDRANO, JOHANNA L                       MEDSTAR TELEVISION                         MEDTRAC INC
2233 S HIGHLAND AVE NO.615               5920 HAMILTON BLVD                         1631 STATE ST
LOMBARD IL 60148                         ALLENTOWN PA 18106                         NEW HAVEN CT 06511




MEEHAN, GERTRUDE                         MEEHAN, JAMES                              MEEHAN, JOELLYN
3121 W COAST HWY 7C                      322 N MIDLAND AVE                          939 RAMBLEWOOD LN
NEWPORT BEACH CA 92663                   UPPER NYACK NY 10960                       BETHLEHEM PA 18015




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MEEHAN, JOELLYN                        MEEHAN, MARY K                             MEEK, DON W
939 RAMBLEWOOD LN                      7052 CRESTHAVEN DR                         1796 GLENNEYRE ST
BETHLEHEM PA 18017                     GLEN BURNIE MD 21061                       LAGUNA BEACH CA 92651




MEEKS, JENNIFER                        MEENG,GUSTAAF W                            MEEROPOL, MICHAEL A
1580 NW 15TH AVE APT 1                 2209 S CALMETTE AVE                        223 N MOUNTAIN ROAD
BOCA RATON FL 33486                    ROWLAND HEIGHTS CA 91748                   WILBRAHAM MA 01095




MEEROPOL, ROBERT                       MEG BRESLIN                                MEG THENO
79 PLAIN STREET                        130 SCOTT COURT                            14 FARLEY AVENUE
EASTHAMPTON MA 01027                   WESTMONT IL 60559                          MADISON WI 53705




MEGAN ABNEY                            MEGAN BACON                                MEGAN BALLIET
1860 MISSOURI STREET                   73 JOHN STREET                             3217 SOUTH 5TH AVENUE
UNIT #2                                QUEENSBURY NY 12804                        WHITEHALL PA 18052
SAN DIEGO CA 92109



MEGAN BETTILYON                        MEGAN BLONDEL                              MEGAN CHANDLER
4052 LA JOLIA VILLAGE DRIVE            685 STERLING PLACE                         3848 WEST 141ST STREET
LA JOLIA CA 92037                      12                                         WESTFIELD IN 46074
                                       BROOKLYN NY 11216



MEGAN CHAUVIN                          MEGAN DUFFY-ROSTAN                         MEGAN GALLOWAY
400 GISELE STREET                      415 W. SUPERIOR AVE.                       1430 W. MELROSE
NEW ROADS LA 70760                     #4                                         #CH
                                       CHICAGO IL 60654                           CHICAGO IL 60657



MEGAN GARVEY                           MEGAN GEDRIS                               MEGAN GLOVER
3730 GARDENIA AVENUE                   349 SCOTT AVENUE NW                        2005 SHORELINE DRIVE
LONG BEACH CA 90807                    GRAND RAPIDS MI 49504                      FLOWER MOUND TX 75022




MEGAN KASPER                           MEGAN LOVEJOY                              MEGAN LOVEJOY PHOTOGRAPHY
3750 NORTH WILTON AVENUE               2 E. OAK STREET                            2 E OAK STREET
UNIT 5                                 APT. #2101                                 CHICAGO IL 60611
CHICAGO IL 60613                       CHICAGO IL 60610



MEGAN MUDD                             MEGAN O'MATZ                               MEGAN POPP
3413 N. MARSHFIELD AVE                 200 S BIRCH RD                             1042 W GRACE ST #1
APT. 3-W                               #315                                       CHICAGO IL 60613-2932
CHICAGO IL 60657                       FORT LAUDERDALE FL 33316



MEGAN PURPORA                          MEGAN RICHARDSON                           MEGAN STACK
106 PITTSTON CIRCLE                    1320 MOON RIDGE                            202 WEST FIRST STREET
OWINGS MILLS MD 21117                  ST. CHARLES MO 63303                       FOREIGN DEPARTMENT
                                                                                  LOS ANGELES CA 90012




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MEGAN STERN                           MEGAN TWOHEY                                MEGAN ZIMMERMAN
106 CHURCH STREET                     1252 W. BRYN MAWR                           218 SOUTH 15TH STREET
APT # 2                               APT. #E-2                                   APT #11
SARATOGA SPRINGS NY 12866             CHICAGO IL 60660                            ALLENTOWN PA 18102



MEGAN, GRAYDON P                      MEGATRAX                                    MEGATRAX
433 HILLSIDE AVENUE                   11684 VENTURA BLVD                          7629 FULTON AVE
ELMHURST IL 60126                     SUITE 978                                   N HOLLYWOOD CA 91605
                                      STUDIO CITY CA 91604



MEGGIE, JEREMIAH                      MEGHAN FULL                                 MEGHAN GATTO
6609 DAHLIA DRIVE                     3746 N. SHEFFIELD                           1916 FERN STREET
MIRAMAR FL 33023                      APT 3B                                      NEW ORLEANS LA 70118
                                      CHICAGO IL 60613



MEGHAN HARDWICK                       MEGHAN O'SHAUGHNESSY                        MEGHAN PARKER
74 BOULEVARD                          833 W. BUENA AVE.                           4103 N. DENLEY AVE.
QUEENSBURY NY 12804                   APT 507                                     SCHILLER PARK IL 60176
                                      CHICAGO IL 60617



MEGHAN REINKE                         MEGHANN BOOTH                               MEGTEC SYSTEMS
740 BRAEWOOD DR.                      172 CONESTOGA STREET                        (SENT VIA ACH TO MELLON BANK)
ALGONQUIN IL 60102                    WINDSOR CT 06095                            DEPT CH 10168
                                                                                  PALATINE IL 60055-0168



MEGTEC SYSTEMS                        MEGTEC SYSTEMS                              MEHALKO, AMY SUE
PO BOX 90520                          830 PROSPER RD                              2785 BRIERDALE DR
CHICAGO IL 60696-0520                 P O BOX 5030                                DELTONA FL 32738
                                      DEPERE WI 54115-5030



MEHLMAN, PETER                        MEHREN, ELIZABETH                           MEHRHOFF SR, MATTHEW P
539 WEST RUSTIC ROAD                  8 FULLING MILL LN                           4624 PINE STREET
SANTA MONICA CA 90402                 HINGHAM MA 02043                            FRUITLAND PARK FL 34731




MEHTA, NEIL S                         MEHTA, NINA                                 MEHTA, PANKAJKUMAR
42 VERY MERRY RD                      816 LAKELAND DR                             8185 RIPPLE RIDGE
STAMFORD CT 06903                     SCHAUMBURG IL 60173                         DARIEN IL 60561




MEHU, FABIENNE                        MEI-LING LIM                                MEI-LING MUI
1439 CAPRI LANE APT.NO. 5711          1479 ABAJO DRIVE                            4 AMBY AVENUE
WESTON FL 33326                       MONTEREY PARK CA 91754                      PLAINVIEW NY 11803




MEIER, ANDREW                         MEIJER GREAT LAKES LIMITED PARTNERSHIP      MEIJER GREAT LAKES LIMITED PARTNERSHIP
430 HENRY ST   NO.2                   2727 WALKER AVE NW                          PO BOX 2281
BROOKLYN NY 11231                     GRAND RAPIDS MI 49544-1369                  GRAND RAPIDS MI 49501-2281




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MEIKLE, WILLIAM                        MEIRA, VITOR                               MEISHA BURGLAR
178 DEAR SWAMP RD                      12697 TREATY LINE ST                       6125 WESTGATE DR
ANDOVER CT 06232                       CARMEL IN 46260                            APT. 1222
                                                                                  ORLANDO FL 32835



MEISLER, ANDY                          MEISLER, STANLEY                           MEISSENBURG, CHRISTINE
10373 ALMAYO AVE NO.302                3828 KLINGLE PLACE NW                      30 E SANTA CLARA
LOS ANGELES CA 90064                   WASHINGTON DC 20016                        SUITE A
                                                                                  ARCADIA CA 91006



MEISTER, RICHARD A                     MEIXELL, JAMES                             MEJIA, CLAUDIA
666 28TH ST                            1745 HAMPTON RD                            8049 SW 17 PLACE
SAN FRANCISCO CA 94131                 BETHLEHEM PA 18020                         DAVIE FL 33324




MEJIA, DEICY, M.                       MEJIA, MANUEL                              MEJIA, MICHELLE ALEXANDRA
525 SW 71 AVE.                         142 SUE DR                                 1443 R SW 5TH COURT
NORTH LAUDERDALE FL 33068              ALTAMONTE SPRINGS FL 32714                 FORT LAUDERDALE FL 33312




MEJIA, MIGUEL                          MEJIA, REBECCA                             MEJIA, RODRIGO
1 HARMONY ST                           PO BOX 897                                 320 RACQUET CLUB RD APTNO.103
EAST HARTFORD CT 06108-2835            SANTA ROSA TX 78593                        WESTON FL 33326




MEKELLE HILL                           MEL BERNSTEIN ADVERTISING SPECIALTIES IN   MEL DAWE
4080 W. 4800 STREET                    PO BOX 780                                 1306 ALTALOMA AVENUE
ROY UT 84067                           WESTWOOD MA 02090-0780                     ORLANDO FL 32803




MEL MELCON                             MEL TAYLOR AND ASSOCIATES                  MEL-PET REALTY COMPANY
4617 PARK MIRASOL                      16 BERYL ROAD                              331 TREMONT ST
CALABASAS CA 91302                     CHELTENHAM PA 19012                        NEWINGTON CT 06111




MEL-PET REALTY COMPANY                 MELANIE BARNETT-STUBBERFIELD               MELANIE BRISTER
4 DENYELLE DR                          2347 E. 70TH PLACE                         14459 SUNSET DR
ROCKY HILL CT 06067                    CHICAGO IL 60649                           CONROE TX 77306




MELANIE BRITTON                        MELANIE DZWONCHYK                          MELANIE HUGHES
1253 WEST HENDERSON                    511 MONTGOMERY STREET                      231 E. BROAD ST.
2                                      LAUREL MD 20707                            QUAKERTOWN PA 18951
CHICAGO IL 60657



MELANIE KALLIGONIS                     MELANIE KAMINSKI                           MELANIE LAKIE
2999 LEGACY LANE                       4043 N. PARKSIDE                           13844 1/2 BURBANK BLVD
YORK PA 17402                          CHICAGO IL 60634                           VAN NUYS CA 91401




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MELANIE LEFKOWITZ                     MELANIE MOON                               MELANIE NAKAHARA
185 PROSPECT PARK SW                  1107 MISSISSIPPI                           4091 W. 137TH STREET
607                                   #207                                       APT. A
BROOKLYN NY 11218                     ST. LOUIS MO 63104                         HAWTHORNE CA 90250



MELANIE NERO                          MELANIE SHAFFER                            MELANIE SUE MCCANN
310 N. HAMLIN AVE.                    31 DUANE LANE                              3637 N. WOLCOTT AVENUE
1ST FLOOR                             BURLINGTON CT 06013                        #2
CHICAGO IL 60624                                                                 CHICAGO IL 60613



MELANIE WALKER                        MELANIO REYES                              MELBA MOORE
3334 W. POTOMAC                       42 W 60TH STREET                           919 S. MARENGO AVENUE
3RD FLR                               109                                        #7
CHICAGO IL 60651                      WESTMONT IL 60559                          PASADENA CA 91106



MELCHOR LUNA                          MELENDEZ, ANDREA                           MELENDEZ, HAROLD
1340 W 101ST STREET                   1524 44TH ST                               414 N 2ND ST
LOS ANGELES CA 90044                  DES MOINES IA 50311                        ALLENTOWN PA 18102




MELENDEZ, MARCO T                     MELENDEZ, MAYRA                            MELGAR, ALEXANDER S
2305 LOWSON BLVD APT A                1197 EPSON OAKS WAY STE 0200               6101 GARFIELD ST NO. 01
DELRAY BEACH FL 33445                 ORLANDO FL 32837                           HOLLYWOOD FL 33024




MELIA, MARILYN KENNEDY                MELIDOR, KENDY                             MELIK STEPANYAN, EDGAR
1129 BLACKTHORN                       3244 NW 84 AVE #432                        1731 BEL AIRE DR
NORTHBROOK IL 60062                   SUNRISE FL 33351                           GLENDALE CA 91203




MELINA DE ROSE                        MELINA TURCOTTE                            MELINDA EVERHART
15015 SW 108TH TERRACE                202 C BURKE DRIVE                          1733 WEST CHERYL DRIVE
MIAMI FL 33196                        QUEENSBURY NY 12814                        WINTER PARK FL 32792




MELINDA FARABEE                       MELINDA KELLY                              MELINDA MARQUEZ
2525 PANORAMA TER.                    411 BABYLON COURT                          3275 PRIMAVERA STREET
LOS ANGELES CA 90039                  WESTMINSTER MD 21158                       PASADENA CA 91107




MELINDA WALDROP                       MELISA GOH                                 MELISSA BELLI
102 WESTOVER ROAD                     7035 BLAIR ROAD NW                         17A GARFIELD STREET
NEWPORT NEWS VA 23601                 UNIT 129                                   GLENS FALLS NY 12801
                                      WASHINGTON DC 20012



MELISSA BOUSE                         MELISSA BRAUN                              MELISSA BROOKS
925 NW HOYT STREET                    4646 N. GREENVIEW                          1105 SINGER DRIVE
APT 627                               UNIT 29                                    WESTMINSTER MD 21157
PORTLAND OR 97209                     CHICAGO IL 60640




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MELISSA BRUEN                         MELISSA CLAY                               MELISSA CLECKLER
105C GRASSO                           3918 W. WILCOX STREET                      101 KINGSBRIDGE LANE
STORRS CT 06269                       2ND FLOOR                                  YORKTOWN VA 23693
                                      CHICAGO IL 60624



MELISSA COLLINS                       MELISSA DATA CORP                          MELISSA DATA CORP
13091 SW 26TH STREET                  22382 AVENIDA EMPRESA                      22382 EMPRESA RANCHO
MIRAMAR FL 33027                      RANCHO SANTA MARGARITA CA 92688            SANTA MARGARITA CA 92688




MELISSA DECOSTER                      MELISSA DIAZ                               MELISSA DIPROSPER
15211 SW 50TH STREET                  610 EDGEBROOK LANE                         6805 CHERRY RIDGE CIRCLE
MIRAMAR FL 33027                      WEST PALM BEACH FL 33411                   ROSEVILLE CA 95678




MELISSA EVERTS                        MELISSA FERRELL                            MELISSA GARD
4 SHEFFIELD PLACE                     2607 SPELLMAN ROAD                         11623 OTSEGO ST.
GANSEVOORT NY 12831                   BALTIMORE MD 21225                         NORTH HOLLYWOOD CA 91601




MELISSA GIANNINI                      MELISSA GRIGWAY                            MELISSA HAAS
343 5TH AVENUE                        6715 20TH STREET EAST                      5461 KESTER AVE.
APT 3R                                APT #2                                     APT # 210
BROOKLYN NY 11215                     FIFE WA 98424                              SHERMAN OAKS CA 91411



MELISSA HALSTEAD                      MELISSA HARRIS                             MELISSA HEALY
16633 FOOTHILL BLVD.                  218 E CHURCHILL ST                         5604 BEAM COURT
APT #103                              BALTIMORE MD 21230                         BETHESDA MD 20817
SYLMAR CA 91342



MELISSA HESPENHIDE                    MELISSA HUNSICKER                          MELISSA ISAACSON
316 60TH ST.                          94 CHURCH STREET                           3930 MEDFORD CIRCLE
NEWPORT NEWS VA 23607                 LEHIGHTON PA 18235                         NORTHBROOK IL 60062




MELISSA JEAN FREDERICK                MELISSA KING                               MELISSA LAYTON
16009 E. 28TH TERRACE NO.3118         2436 NORTH LINDEN                          1225 GUERNSEY STREET
INDEPENDENCE MO 64055                 APT #2                                     ORLANDO FL 32804
                                      CHICAGO IL 60647



MELISSA MAGSAYSAY                     MELISSA MANSFIELD                          MELISSA MCCORMICK
8902 GUTHRIE AVE                      104 GROVE AVENUE                           30 COVENTRY AT WATERFORD
LOS ANGELES CA 90034                  ALBANY NY 12208                            YORK PA 17402




MELISSA MCCOY                         MELISSA MCGLONE-ORTIZ                      MELISSA MENA
1225 N. CHESTER AVE.                  15 REGAL COURT                             407 WOODSTOCK AVENUE
PASADENA CA 91104                     ST JAMES NY 11780                          2C
                                                                                 STATEN ISLAND NY 10301




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MELISSA MERGLER                         MELISSA MUYS                               MELISSA O'SICK
704 GRIFFITH ROAD                       1400 CELEBRATION AVE.                      2 LINCOLN AVENUE
GLEN BURNIE MD 21061                    #103                                       GLENS FALLS NY 12801
                                        CELEBRATION FL 34747



MELISSA OBERG                           MELISSA ORENDORFF                          MELISSA OSPINA
167 BRIGHT RIDGE DRIVE                  3904 LONGHILL STATION RD                   615 SOUTH STATE RD. 7
SCHAUMBURG IL 60194                     WILLIAMSBURG VA 23188                      3C
                                                                                   MARGATE FL 33068



MELISSA PATTERSON                       MELISSA PIONZIO                            MELISSA RAMOS
5248 W. IRVING PARK ROAD                61 SMITH STREET                            9708 PARK STREET
APT# 2                                  EAST HAMPTON CT 06424                      APT D
CHICAGO IL 60614                                                                   BELLFLOWER CA 90706



MELISSA RINGLE                          MELISSA RISKE                              MELISSA ROCKS
910 W VAN BUREN ST                      1428 CARRIAGE LANE                         2815 BAURNWOOD AVENUE
APT. #162                               BOLINGBROOK IL 60490                       BALTIMORE MD 21234
CHICAGO IL 60607



MELISSA ROHLIN                          MELISSA ROSATI                             MELISSA SANTIAGO
223 BENTLEY CIRCLE                      7 GRANT ROAD                               9563 SW 145TH COURT
LOS ANGELES CA 90049                    SOUTH GLENS FALLS NY 12803                 MIAMI FL 33186




MELISSA SCHONEBOOM                      MELISSA SENTZ                              MELISSA SLATKY
92 SHORE DRIVE                          823 OLDHAM STREET                          640 LOCUST GROVE ROAD
MASTIC BEACH NY 11951                   BALTIMORE MD 21224                         YORK PA 17402




MELISSA SMITH                           MELISSA STARK                              MELISSA STREAT
207 NORTH MAIN STREET                   15 HARRISON AVE                            20 FOREST DRIVE
REAR APARTMENT                          GLENS FALLS NY 12801                       BEL AIR MD 21014
NAZARETH PA 18064



MELISSA TUCKER                          MELISSA WHITE                              MELISSA WILLIAMS
7216 TORTOISE CT.                       21 STODDARD AVENUE                         129 WEST 74TH STREET
ORLANDO FL 32810                        1ST FLOOR                                  APT. # 2C
                                        GLENS FALLS NY 12801                       NEW YORK NY 10023



MELISSA WOODS                           MELITTA AXELROD                            MELLA, GREICY
2236 N. KEPLER ROAD                     645A NUTLEY DRIVE                          9 JUDGE ST APT 1R
DELAND FL 32724                         MONROE TOWNSHIP NJ 08831                   BROOKLYN NY 11211




MELLAD, GARCIA                          MELLISSA COSTA                             MELLMAN, MARK
3601 NW 35TH WAY                        412 VESSONA CIRCLE                         3012 CAMBRIDGE PLACE
LAUDERDALE LAKES FL 33309               FOLSOM CA 95630                            WASHINGTON DC 20007




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MELLMAN, MARK                           MELLOR CONSTRUCTION CORP                   MELNICK, MATTHEW D
THE MELLMAN GROUP                       695 WILMA ST STE 117                       6 PETTICOAT LANE
1023 31ST STREET NW 5TH FLOOR           LONGWOOD FL 32750                          EAST HADDAM CT 06423
WASHINGTON DC 20007



MELOCH,JOHN                             MELODY CHAMPAGNE                           MELODY CLARK
11018 E NAVAJO DR                       59 MARGUERITE AVE                          27540 WALTERS HIGHWAY
SUN LAKES AZ 85248                      BLOOMFIELD CT 06002                        CARRSVILLE VA 23315




MELODY FLOYD                            MELODY VASQUEZ                             MELONE, CHERIE
8890 NW 78TH COURT                      3441 W BRYN MAWR                           520 MANOR CIRLCE
APT 348                                 APT 2-E                                    SCHAUMBURG IL 60194
TAMARAC FL 33321                        CHICAGO IL 60659



MELONE, KATHARINE                       MELTON, JAMES                              MELTON, RUSSELL G
9 BRETTON ROAD                          3332 BAKTER ST NE                          306 POLSINELLI DRIVE
WEST HARTFORD CT 06119                  WASHINGTON DC 20019                        SCHENECTADY NY 12303




MELTON,DON                              MELTRAY VALETINE                           MELVILLE FIRE DEPT
3S536 WILBUR AVE                        1319 NORTH BROADWAY STREET                 531 SWEET HOLLOW RD
WARRENVILLE IL 60555                    BALTIMORE MD 21213                         MELVILLE NY 11747




MELVIN A FELD                           MELVIN BIGGS                               MELVIN CHESTER
4303 EAST CACTUS ROAD                   3300 SKYVIEW RDG                           9614 S. WENTWORTH AVENUE
APT# 336                                CHINO HILLS CA 91709                       CHICAGO IL 60628
PHOENIX AZ 85032-7688



MELVIN CORONADO                         MELVIN E MILLER                            MELVIN FROST
2844 WISCONSIN AVE, NW                  480 CHESHIRE COURT                         3820 SCHOONER TRAIL
APT. 601                                NEWPORT NEWS VA 23602                      CHESAPEAKE VA 23321
WASHINGTON DC 20007



MELVIN HASKETT                          MELVIN HOBSON                              MELVIN HOLMES
4848 BOWLAND AVE                        6252 S NASH WAY                            2222 LINKS DRIVE
BALTIMORE MD 21206                      CHANDLER AZ 85249                          ORANGE PARK FL 32003




MELVIN LEDGISTER                        MELVIN LEO PORCHIA                         MELVIN LOPEZ
290 DELAWARE AVE.                       4738 E AVEN R-11                           10390 MOSS ROSE WAY
FORT LAUDERDALE FL 33312                PALMDALE CA 93552                          ORLANDO FL 32832




MELVIN LUCAS                            MELVIN MCKNIGHT                            MELVIN ROJAS
2014 W. MADISON AVENUE                  3034 DORRINGTON DR                         26 MARKET STREET
#3                                      DALLAS TX 75228                            2ND FLOOR
BALTIMORE MD 21217                                                                 NEW BRITAIN CT 06051




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MELVIN VAN TINE                       MELVIN VEGA                                MELVIN WILLINGHAM
5884 HAVEN LANE                       1705 W. NORTH AVENUE                       1806 NORTH CAREY STREET
HOSCHTON GA 30548                     MELROSE PARK IL 60160                      BALTIMORE MD 21217




MELVYN FOGEL                          MELYSSA RAMOS                              MEMOH, SAMUEL C
27 HELEN AVE                          569 W ARLINGTON PL #2                      4401 S PRESCOTT AVE     APT 2D
PLAINVIEW NY 11803                    CHICAGO IL 60614-5916                      LYONS IL 60534




MEMORIES ENTERTAINMENT                MENA, CHRISTOPHER ROY                      MENA, DAWN
PO BOX 974                            415 E PATTERSON ST                         3328 OLIVEGROVE PL
LAKE VILLA IL 60046                   LANSFORD PA 18232                          THOUSAND OAKS CA 91362




MENA, LUIS                            MENARD, JOSEPH                             MENARD, TIMOTHY
URBANIZACION SAN ESTBAN               2041 NW 2 COURT                            342 E.MAIN ST
SECTOR 1 VEREDA 30 CASA NO 28         BOYNTON BEACH FL 33435                     CLINTON CT 06413-2227
CABELLO



MENARD, TIMOTHY                       MENDAKA ABEYSEKERA                         MENDEL, JANET
PO BOX 770                            226-22 76TH ROAD                           APARTADO DE CORREOS 150
MOODUS CT 06469-0770                  OAKLAND GARDENS NY 11364                   29650 MIJAS
                                                                                 MALAGA 29650



MENDELL, DAVID                        MENDELL, TREAOPIA SHAWN                    MENDELSON, ZOE
1183 S. ELMWOOD AVE.                  1183 S ELMWOOD AVE                         4646 NORTH GREENVIEW NO.19
OAK PARK IL 60304                     OAK PARK IL 60304                          CHICAGO IL 60640




MENDEZ, ANGELO VEGA                   MENDEZ, BENJAMIN                           MENDEZ, CYNTHIA C
1327 PORTOFINO CIR                    10 STILLWATER PL                           6110 BUCHANAN STREET NO.B
WESTON FL 33326                       STAMFORD CT 06902                          HOLLYWOOD FL 33024




MENDEZ, ELVIN E                       MENDEZ, JUAN M                             MENDEZ, MARTHA
926 S LOGAN ST                        736 HILLSIDE AVENUE                        301 BONAVENTURE BLVD NO. 14
INDEPENDENCE MO 64050                 HARTFORD CT 06106                          WESTON FL 33326




MENDEZ, RICARDO                       MENDIETA, ANDREW                           MENDONCA, JONATHAS
7745 HARBOR ROAD                      7200 NW 2ND AVE APT. 17                    21823 PHILMONT COURT
ORLANDO FL 32822                      BOCA RATON FL 33487                        BOCA RATON FL 33428




MENDOZA, ALEJANDRO S                  MENDOZA, ALEJANDRO S                       MENDOZA, ALICIA
9513 LONGDEN AVE                      DBA AMARTE                                 23 S ELLSWORTH ST
TEMPLE CITY CA 91780                  9513 LONGDEN AVE                           ALLENTOWN PA 18109
                                      TEMPLE CITY CA 91780




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MENDOZA, GLADYS                          MENDOZA, JULIO F                           MENDOZA, MARGARET R
1451 GATES AVE                           120 FRANCIS AVE   2FL                      P. O. BOX 667
BROOKLYN NY 11237                        HARTFORD CT 06106                          BURBANK CA 91503-0667




MENDOZA, NOEL                            MENDOZA, NOEL                              MENDOZA, YOLANDA
4404 RAVINNIA DR STE 2709                4404 RAVINNIA DR STE 2709                  1236 PACIFIC ST
ORLANDO FL 32809                         ORLANDO FL 32811                           BASEMENT
                                                                                    BROOKLYN NY 11216



MENDOZA, YOLANDA                         MENDOZA,FRANCISCO                          MENDOZA-CAAUWE, DIXIE
1236 PACIFIC ST BASEMENT                 9 SELLDAN ST                               19019 LOOMIS
BROOKLYN NY 11210                        ELMWOOD CT 06110-1160                      HOMEWOOD IL 60430




MENDRELL, MYRA                           MENECH, STEPHANIE                          MENEGUS, ROSE
656 CARLDON ST                           7995 FLORAL DR                             148 N RIVERSIDE AVE
ALLENTOWN PA 18103                       SPRING HILL FL 34607                       TERRYVILLE CT 06786




MENELAS, RENAUD                          MENENDEZ, EDWIN L                          MENESES, ANGELICA MARIA LECHUGA
2840 NE 10TH TER                         12489 RUBENS AVE                           791 SCOTT DR
POMPANO BEACH FL 33064                   LOS ANGELES CA 90066                       WEST PALM BEACH FL 33415




MENH DIEP                                MENINDEZ, JOSE                             MENO, JOSEPH N
2426 NEW AVE.                            1414 WICHITA AVE                           1030 N HERMITAGE APT 1
ROSEMEAD CA 91770                        HARLINGEN TX 78550                         CHICAGO IL 60622




MENON, RAJAN                             MENTOR LISTING REALTY INC                  MENTORE, SHAILA A
530 W 113TH ST NO.6B                     601 FRANKLIN SQUARE    STE 401             99-20 217TH ST
NEW YORK NY 10025-8019                   MICHIGAN CITY IN 46360                     QUEENS VILLAGE NY 11429




MENTZER MEDIA SERVICES INC               MEOZZI, PAUL                               MEPT WEST HILLS LLC
600 FAIRMOUNT AVE                        521 VAN BINSBERGER BLVD                    8433 FALLBROOK AVE
SUITE 306                                PARAMUS NJ 07652                           WEST HILLS CA 91304
TOWSON MD 21266



MERA, DIANA V                            MERA, GLEN                                 MERA, GLENN H
12410 SW 186 ST                          693 10TH AVE APT 4FN                       693 10TH AVE APT 4FN
MIAMI FL 33177                           NEW YORK NY 10036                          NEW YORK NY 10036




MERA, JEAN                               MERANA, DEXTER PAUL E                      MERCADO JR, CARMELO
24 PRESIDENT ST APT H2                   101 NE 30TH STREET                         43 OLD FARM DRIVE
EAST NEWARK NJ 07029                     BOCA RATON FL 33431                        NEWINGTON CT 06111




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MERCEDES ABARA                        MERCEDES FERNANDEZ                         MERCEDES HEREDIA
2422 BIRCH STREET                     9059 SKOKIE BLVD.                          861 SW 55TH AVE
UNIT B                                APT. #1                                    MARGATE FL 33068
ALHAMBRA CA 91801                     CHICAGO IL 60077



MERCEDES MALDONADO                    MERCEDES WILLIAMS                          MERCEDES, FERMIN R
212 E. BARBER STREET                  120 FRANKLIN CT.                           1301 SW 67TH AVE NO. 4
WINDSOR CT 06095                      APT. # 2                                   MIAMI FL 33144
                                      GLENDALE CA 91205



MERCEDES, MARIO                       MERCER HUMAN RESOURCE CONSULTING           MERCER HUMAN RESOURCE CONSULTING
C/TERCERA NO.236                      PO BOX 100260                              P O BOX 930484
BARRIO MADERA HIGUERAL                PASADENA CA 91189-0260                     ATLANTA GA 31193
ROMANA



MERCER HUMAN RESOURCE CONSULTING      MERCER HUMAN RESOURCE CONSULTING           MERCER HUMAN RESOURCE CONSULTING
10 S WACKER DR                        21633 NETWORK PLACE                        DEPT 3042
SUITE 1700                            CHICAGO IL 60673-1216                      135 S LASALLE
CHICAGO IL 60606-7485                                                            CHICAGO IL 60674-3042



MERCER HUMAN RESOURCE CONSULTING      MERCER HUMAN RESOURCE CONSULTING           MERCER HUMAN RESOURCE CONSULTING
462 SOUTH FOURTH AVENUE               120 E BALTIMORE ST                         P O BOX 905234
SUITE 1500                            20TH FL                                    CHARLOTTE NC 28290-5234
LOUISVILLE KY 40202-3431              BALTIMORE MD 21202



MERCER HUMAN RESOURCE CONSULTING      MERCER HUMAN RESOURCE CONSULTING           MERCER HUMAN RESOURCE CONSULTING
P O BOX 730351                        PO BOX 730182                              PO BOX 730212
DALLAS TX 75373-0351                  DALLAS TX 75373-0182                       DALLAS TX 75373-0212




MERCERSBURG ACADEMY                   MERCHAN TORRES, MIGUEL A                   MERCHANDISING HOUSE INC
300 EAST SEMINARY STREET              85 COOLRIDGE AVE NO.2                      P O BOX 3720
MERCERSBURG PA 17236                  STAMFORD CT 06906                          MERCHANDISE MART
                                                                                 CHICAGO IL 60654



MERCHANT, BRIAN                       MERCHANTS CREDIT GUIDE                     MERCIDIEU, CADET
37 WITHERS ST APT 1R                  223 W JACKSON BLVD                         2641 AVENUE H EAST
BROOKLYN NY 11211                     CHICAGO IL 60606                           RIVIERA BEACH FL 33404




MERCILY, JOSEPH                       MERCIUS,NADINE                             MERCURY ENTERTAINMENT
7904 SW 9TH ST                        584 DOLPHIN DR                             25 WEST 52ND STREET
NORTHLAUDERDALE FL 33068              DELRAY BEACH FL 33445                      14TH FLOOR
                                                                                 NEW YORK NY 10022



MERCURY ENTERTAINMENT                 MERCURY MEDIA                              MERCURY PLASTIC BAG CO INC
DOMESTIC DISTRIBUTION                 520 BROADWAY                               7TH AND SOUTH ST
P.O.BOX 900                           STE 400                                    PASSAIC NJ 07055
SUITE 430                             SANTA MONICA CA 90401
BEVERLY HILLS CA 90213




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MERCY MOSHER                            MERDJANIAN, ARMEN                           MEREDITH ALBRECHT
3 NOD LANE                              14056 STARFLOWER CT                         31-57 43RD STREET
CLINTON CT 06475                        CORONA CA 92880                             ASTORIA NY 11103




MEREDITH ARTLEY                         MEREDITH BAILEY                             MEREDITH BERGER
957 MICHELTORENA ST                     6211 MARSHALL FOCH                          4747 HILTON ROAD
LOS ANGELES CA 90026                    NEW ORLEANS LA 70124                        SCHNECKSVILLE PA 18078




MEREDITH BLAKE                          MEREDITH CHANCE                             MEREDITH CHAPIN
7 RICHARDS AVENUE                       106 PAULA BOULEVARD                         33-0907 HUDSON STREET
STAMFORD CT 06905                       SELDEN NY 11784                             JERSEY CITY NJ 07302




MEREDITH CLEMENTS                       MEREDITH COHN                               MEREDITH CORPORATION
511 SE 5 AVE. APT. 2023                 12 E. GITTINGS STREET                       375 LEXINGTON AVENUE
FORT LAUDERDALE FL 33301                BALTIMORE MD 21230                          10TH FLOOR
                                                                                    NEW YORK NY 10017



MEREDITH CORPORATION                    MEREDITH CORPORATION                        MEREDITH CORPORATION
DBA KPHO - TV5                          1716 LOCUST STREET                          DBA KCTV/KSMO
PO BOX 100067                           DES MOINES IA 50309                         PO BOX 5555
PASADENA CA 91189-0067                                                              KANSAS CITY MO 64109



MEREDITH CORPORATION                    MEREDITH CORPORATION                        MEREDITH CORPORATION
DBA WFSB TV3                            MEREDITH VIDEO SOLUTIONS                    KPDX TV/KPTV
BOX 13034                               375 LEXINGTON AVENUE 7TH FLOOR              14975 NW GREENBRIER PRKWAY
NEWARK NJ 07188-0034                    NEW YORK NY 10017                           BEAVERTON OR 97006-5731



MEREDITH CORPORATION                    MEREDITH DANIELS                            MEREDITH ENNIS
PO BOX 730148                           84-03 263RD ST.                             2121 NORTH 53RD STREET
DALLAS TX 75373-0148                    FLORAL PARK NY 11001                        MILWAUKEE WI 53208




MEREDITH GOODMAN                        MEREDITH KLINGER                            MEREDITH MCCARTHY
12555 WILLARD STREET                    2479 CR 546 N                               111 HAMILTON ST
NORTH HOLLYWOOD CA 91605                BUSHNELL FL 32513                           AMITYVILLE NY 11701




MEREDITH MENDEZ                         MEREDITH QUINN                              MEREDITH RALL
72145 GUM ST.                           91 MONOMOYIC WAY                            8722 WINNINGHAM LANE
ABITA SPRINGS LA 70420                  CHATHAM MA 02633                            HOUSTON TX 77055




MEREDITH ROGERS                         MEREDITH SEMPLICE                           MEREDITH TRAINA
3512 N. HALSTED STREET                  340 SOUTH HAUSER BLVD                       213 CRABAPPLE ROAD
APT. #2R                                231                                         MANHASSET NY 11030
CHICAGO IL 60657                        LOS ANGELES CA 90036




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MEREDITH, ERIKA                        MEREDITH, KAREEM                           MEREDITH, THOMAS
1240 29TH ST                           3210 W. 83RD ST                            2400 WARE ROAD
NEWPORT NEWS VA 23607                  WOODRIDGE IL 60517                         AUSTIN TX 78741




MERGE LIFE AND MUSIC                   MERGEN, MIKE                               MERGENER, TARA
2212 JULIAN AVE                        3360 FREDERICK ST                          8531 GALLAHAN CT
SAN DIEGO CA 92103                     PHILADELPHIA PA 19129                      ALEXANDRIA VA 22309




MERI RUZHANSKAYA                       MERIAH DAVIS                               MERISTAL, PRESCILLA
60 OCEANA DR. WEST                     5532 SOUTH MORGAN                          5701 SUMMER LAKE APT 301
APT 6C                                 CHICAGO IL 60621                           DAVIE FL 33314
BROOKLYN NY 11235



MERIZIER, ERICA                        MERKEL, ALAN                               MERKEL, KARYN
173 NW 78TH AVENUE                     29 NE 1ST COURT #A                         1053 EASTMAN LN
MARGATE FL 33063                       DANIA FL 33004                             FOND DU LAC WI 54935




MERKEL, SARAH                          MERKLE INC                                 MERKLE INC
1050 COLD STREAM CIRCLE    APT G       8400 CORPORATE DR                          PO BOX 64897
EMMAUS PA 18049                        LANHAM MD 20785                            BALTIMORE MD 21264




MERKLEY, LORRAINE                      MERKLEY, LORRAINE                          MERLE JENKINS
14 TEEVANS DRIVE                       333 GLEN ST                                8649-C BOCA GLADES BLVD WEST
OTTAWA ON K2J 2E2                      GLENS FALLS NY 12801                       BOCA RATON FL 33434




MERLINONE INC                          MERMAID MUSIC LLC                          MERMELSTEIN, DAVID
17 WHITNEY RD                          135 W 70TH ST   1A                         1116 N OLIVE DR APT 204
QUINCY MA 02169                        NEW YORK NY 10023                          HOLLYWOOD CA 90069




MERMELSTEIN, DAVID                     MEROLLO, DANIELLE C                        MERONE, JEAN FRENEL
1116 N OLIVE DR APT 204                381 N GROVE STREET                         21107 NW 14TH PLACE NO.439
W HOLLYWOOD CA 90069                   VALLEY STREAM NY 11580                     MIAMI GARDENS FL 33169




MERREL SMITH                           MERRI DEE                                  MERRIDITH SCHILLER
11407 LAKEWOOD COVE                    1550 N. LAKE SHORE DR.                     1150 N. LAKE SHORE DRIVE
HOUSTON TX 77070-2576                  SUITE 15G                                  12G
                                       CHICAGO IL 60610                           CHICAGO IL 60611



MERRIE A CAMPION                       MERRIHEW, CHALIN                           MERRIL LYNCH INC
1755 ASPEN VILLAGE                     1710 MACARTHUR RD NO.139                   225 LIBERTY STREET GROUND LEVEL
WEST COVINA CA 91791                   WHITEHALL PA 18052                         NEW YORK NY 10281




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MERRIL LYNCH INC                        MERRIL LYNCH INC                           MERRILL LYNCH & CO, INC.
C/O JONES LANG & LASALLE                C/O JONES LANG LASALLE                     4 WORLD FINANCIAL CENTER
510 WASHINGTON ST                       153 E 53RD ST                              250 VESEY STREET
3RD FLR FACILITIES OFC                  33RD FLOOR                                 NEW YORK NY 10080
NEW YORK NY 10014                       NEW YORK NY 10022


MERRILL LYNCH CAPITAL CORPORATION       MERRILL LYNCH CAPITAL CORPORATION          MERRILL WEISS GROUP LLC
ATTN: SHARON HAWKINS                    ATTN: MICAHEL O'BRIEN                      227 CENTRAL AVE
LOAN OPERATIONS                         4 WORLD FINANCIAL CENTER                   METUCHEN NJ 08840-1242
600 E. LAS COLINAS BLVD., SUITE 1300    250 VESEY STREET
IRVING TX 75039                         NEW YORK NY 10080


MERRIMAN, NANCY                         MERRINER, JAMES L                          MERRITT - GB1, LLC
PO BOX 171                              6737 W IRVING PARK 3D                      RE: ANNAPOLIS 1981 MORELAND P
FALLS VILLAGE CT 06031-0171             CHICAGO IL 60634                           2066 LORD BALTIMORE DR.
                                                                                   BALTIMORE MD 21244



MERRITT GB1 LLC                         MERRITT SALMON                             MERRITT, BENJAMIN
2066 LORD BALTIMORE DR                  58 VERNWOOD DRIVE                          21 KENSINGTON STREET
BALTIMORE MD 21244                      VERNON CT 06066                            MANCHESTER CT 06040




MERRITT, HARRY W                        MERRITT, JAMES                             MERRY GO ROUND INC
106 LAPAIX LANE                         30 DUNCAN RD                               1/2 BOLING PLACE
BALTIMORE MD 21204                      HEMPSTEAD NY 11550                         GREENWICH CT 06830




MERTENS, DAVID                          MERTILUS COLIMOND                          MERTINS, LISABETH A
920 W WYOMING ST                        131 NE 38TH STREET                         9327 AVENIDA SAN TIMOTEO
ALLENTOWN PA 18103                      #42                                        CHERRY VALLEY CA 92223
                                        FORT LAUDERDALE FL 33309



MERTZ, MICHAEL                          MERTZ, VIRGINIA                            MERV GRIFFIN ENTERTAINMENT INC
1350 MINE LANE RD                       3076 W WHITEHALL ST                        130 S EL CAMINO DR
EASTON PA 18045                         ALLENTOWN PA 18104                         BEVERLY HILLS CA 90212




MERVEUS, ALEX                           MERVEUS, EMMANUEL                          MERVIN THOMAS
547 NW 50TH AVE.                        547 NW 50TH AVENUE                         7118 NW 49 CT
DELRAY BEACH FL 33445                   DELRAY BEACH FL 33445                      LAUDERHILL FL 33319




MERVYN WRIGHT                           MERWIN, DOUGLAS                            MERY HIGA
6474 ROUTE 11                           28 OAK RIDGE PL                            1445 N FORESTVIEW DR
MANSVILLE NY 13661-2202                 HADDAM CT 06438                            BREA CA 92821




MERYL WEITZ                             MESA ALARM SYSTEMS INC                     MESA CONSOLIDATED WATER DISTRICT
540 E VERDUGO AVENUE #F                 12819 TRINITY                              ACCT NO. 10606900-021787
BURBANK CA 91501                        STAFFORD TX 77477                          1965 PLACENTIA AVE.
                                                                                   COSTA MESA CA 92628-5008




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MESA CONSOLIDATED WATER DISTRICT     MESA CONSOLIDATED WATER DISTRICT           MESA CONSOLIDATED WATER DISTRICT
ACCT NO. 04403000-021789             PAYMENT PROCESSING CENTER                  1965 PLACENTIA AVE.
1965 PLACENTIA AVE.                  P O BOX 30929                              COSTA MESA CA 92628-5008
COSTA MESA CA 92628-5008             LOS ANGELES CA 90030-0929



MESA, HENRY                          MESAMOUR, GABRIEL                          MESHON, AARON
3628 LINCOLN WAY                     3299 NW 41ST ST                            232 PRESIDENT ST NO.2L
COOPER CITY FL 33026                 FT. LAUDERDALE FL 33309                    BROOKLYN NY 11231




MESIAS, NADINE                       MESIDOR, JACKSON                           MESIDORT, FREDERICKSEN
51 E GROVE ST                        6101 NE 4TH TERR                           1027 GROVE PARK CIRCLE
MASSAPEQUA NY 11758                  OAKLAND PARK FL 33334                      BOYNTON BEACH FL 33436




MESKE, DENNIS M                      MESSAGE & MEDIA INC                        MESSAGE FIRST INC
61758 HEGSTROM ROAD                  100 ALBANY ST                              51 N 3RD ST SUITE 315
ASHLAND WI 54806                     NEW BRUNSWICK NJ 08901                     PHILADELPHIA PA 19106




MESSEL, BRIDGET                      MESSER, DAVID W                            MESSIAH COLLEGE
1521 BATES CT                        263 MINGO ROAD                             ONE COLLEGE AVE
SCHAUMBURG IL 60193                  ROYERSFORD PA 19468                        GRANTHAM PA 17027




MESSIAH LUTHERAN CHURCH              MESSINA, FRANK J                           MESSINGER, CLAIR G
21485 LORAIN RD                      214 MILLBURN AVE                           2627 WEST BLVD
FAIRVIEW PARK OH 44116               HEMPSTEAD NY 11550                         BETHLEHEM PA 18017




MESSMER, HILDE P                     MESZLER, DOUG                              MET-ED
7380 SW 9TH CT                       856 9TH AVE  NO.3R                         ACCT NO. 100019605441
PLANTATION FL 33317                  NEW YORK NY 10019                          P.O. BOX 16001
                                                                                READING PA 19612-6001



MET-ED                               MET-ED                                     MET-ED
ACCT NO. 100020153209                ACCT NO. 100020153399                      ACCT NO. 100073724195
P.O. BOX 16001                       P.O. BOX 16001                             P.O. BOX 16001
READING PA 19612-6001                READING PA 19612-6001                      READING PA 19612-6001



META SMITH                           METAMORPHIC DESIGNS INC                    METAVANTE CORPORATION
250 KENSINGTON RD                    3810 STANLEY AVE                           PO BOX 7236
APT 28                               RIVERSIDE IL 60546                         SIOUX FALLS SD 57117
KENSINGTON CT 06037



METAVANTE CORPORATION                METAYER, GARRY                             METAYER, JOANES
4900 W. BROWN DEER RD                428 W DAYTON CIR.                          428 W DAYTON CIR
ATTN: ACCTS. PAY BD2E                FT LAUDERDALE FL 33312                     FT. LAUDERDALE FL 33312
BROWN DEER WI 53223




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METAYER, TESSA                         METAYER, WILLIAM                           METCALF, KELLI
11356 NW 34TH PL                       1153 ARIZONA AVE                           520 BROADWAY ST
SUNRISE FL 33323                       FT LAUDERDALE FL 33312                     VENICE CA 90291




METCALF, PAUL                          METCALF, STEPHEN                           METELLUS, ANGELOT
22301 TIMBERLY DR                      80 WOODROW ST                              222 SW 8TH AVE
BOCA RATON FL 33428                    WEST HARTFORD CT 06107                     BOYNTON BEACH FL 33435




METELLUS, JEAN R                       METELLUS, LUCIUS                           METELLUS, MARTIAL
825 NW 13TH STREET APT 103             211 NE 25 TH CT                            7704 SW 7TH PLACE
BOCA RATON FL 33486                    POMPANO BEACH FL 33064                     N LAUDERDALE FL 33068




METELLUS, MAVOIS                       METELLUS,SYLTON                            METELLUS,SYLTON
4896 NW 6TH COURT                      211 N.E. 25TH CT                           211 N.E. 25TH CT
DELRAY BEACH FL 33445                  POMPANO FL 33064                           POMPANO BEACH FL 33064




METELUS, MARIE                         METELUS,AMOS                               METIVIER, TREVERN
6133 SW 19TH ST                        706 WASHINGTON AVE                         844 NEW LOTS AVE 22
MIRAMAR FL 33023                       LAKEWORTH FL 33460                         BROOKLYN NY 11208




METLIFE                                METLIFE                                    METLIFE
HARBORSIDE FINANCIAL CTR               BOX 371499                                 PO BOX 7250
600 PLAZA II                           PITTSBURGH PA 15250-7499                   JOHNSTOWN PA 15907-7250
JERSEY CITY NJ 07311



METLIFE                                METLIFE                                    METLIFE INSURANCE COMPANY OF CT
PO BOX 8500-3895                       PO BOX 8500-8580                           185 ASYLUM AVE
PHILADELPHIA PA 19178-3895             PHILADELPHIA PA 19178-8580                 HARTFORD CT 06103




METRA                                  METRO CREATIVE GRAPHICS INC                METRO CREATIVE GRAPHICS INC
547 W JACKSON BLVD                     33 W 34TH ST                               519 8TH AVE
CHICAGO IL 60661                       NEW YORK NY 10001                          NEW YORK NY 10018-6506




METRO DIGITAL GROUP INC                METRO DIGITAL GROUP INC                    METRO DIGITAL GROUP INC
419 S FLOWER STREET                    ATTN:JOHN PANKRATZ                         METRO VIDEO SYSTEMS
BURBANK CA 91502                       419 SOUTH FLOWER STREET                    419 SOUTH FLOWER STREET
                                       BURBANK CA 91502                           BURBANK CA 91502



METRO EXPRESS OF BALTIMORE INC         METRO GOLDWYN MAYER STUDIOS INC            METRO GOLDWYN MAYER STUDIOS INC
8 E SEMINARY AVE                       10250 CONSTELLATION BLVD                   ATTN TAX DEPARTMENT
LUTHERVILLE MD 21093                   LOS ANGELES CA 90067-6241                  10250 CONSTELLATION BLVD
                                                                                  LOS ANGELES CA 90067




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METRO GOLDWYN MAYER STUDIOS INC         METRO GOLDWYN MAYER STUDIOS INC            METRO GOLDWYN MAYER STUDIOS INC
C/O TREASURY DEPT                       MGM DOMESTIC TELEVISION DISTRIBUTION       ORION
2500 BROADWAY ST                        10250 CONSTELLATION BLVD                   C/O MGM UA WORLDWIDE TV SRVC
SANTA MONICA CA 90404                   LOS ANGELES CA 90067-6241                  2500 BROADWAY ST
                                                                                   SANTA MONICA CA 90404


METRO GOLDWYN MAYER STUDIOS INC         METRO HARTFORD ECONOMIC ALLIANCE           METRO MECHANICAL
1350 AVENUE OF THE AMERICAS             31 PRATT ST 5TH FLOOR                      3010 EAST WOODCREEK DRIVE
NEW YORK NY 10019                       HARTFORD CT 06103                          DOWNERS GROVE IL 60515




METRO NETWORKS                          METRO NETWORKS                             METRO NETWORKS
400 N ORLANDO AVE                       BANK OF AMERICA LOCKBOX SVCS               PO BOX 4346
WINTER PARK FL 32789                    4098 COLLECTIONS CENTER DR                 DEPT NO 157
                                        CHICAGO IL 60693                           HOUSTON TX 77210-4346



METRO NEWS SERVICE INC                  METRO NEWS SERVICE INC                     METRO ORLANDO ECONOMIC DEVELOPMENT
PO BOX 599                              PO BOX 767                                 301 E PINE ST  STE 900
LANCASTER TX 75146                      DESOTO TX 75123                            ORLANDO FL 32801




METRO PORTLAND NEW CAR DEALERS ASSOC    METRO TELEPRODUCTION INC                   METRO-NEWS
777 NE 7TH AVE                          1400 EAST WEST HIGHWAY NO.628              PO BOX 599
PORTLAND OR 97232                       SILVER SPRING MD 20910                     LANCASTER TX 75146




METRO-SUBURBIA INC                      METRO-SUBURBIA INC                         METROCALL
711 THIRD AVE 15TH FLOOR                GPO BOX 5554                               333 SOUTH ANITA DRIVE STENO.850
NEW YORK NY 10017                       NEW YORK NY 10087-5554                     ORANGE CA 92868




METROCALL                               METROCALL                                  METROCALL
444 E. HUNTINGTON DR.                   P.O. BOX 740519                            PO BOX 740520
SUITE 150                               ATLANTA GA 30374                           ATLANTA GA 30374-0520
ARCADIA CA 91006



METROCALL                               METROCALL                                  METROCALL
PO BOX 740521                           523 FELLOWSHIP RD                          PO BOX 200457
ATLANTA GA 30374-0521                   STE 205                                    DALLAS TX 75320-0457
                                        MT LAUREL NJ 08054



METROCALL                               METROMEDIA TECHNOLOGIES INC                METROMEDIA TECHNOLOGIES INC
PO BOX 660770                           PO BOX 34866                               10 EAST 34TH ST 9TH FLR
DALLAS TX 75268-0770                    NEWARK NJ 07189-4666                       NEW YORK NY 10016




METROPOLIS INVESTMENT HOLDINGS INC      METROPOLITAN COOPERATIVE LIBRARY SYST      METROPOLITAN DISTRICT WATER BUREAU
C/O BANK OF AMERICA NATIONAL ASSOC      3675 EAST HUNTINGTON DRIVE                 555 MAIN ST
PO BOX 847823                           SUITE 100                                  HARTFORD CT 06103
DALLAS TX 75284-7823                    PASADENA CA 91107




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METROPOLITAN DISTRICT WATER BUREAU       METROPOLITAN EDISON COMPANY                METROPOLITAN EDISON COMPANY
THE METROPOLITAN DISTRICT                PO BOX 389                                 PO BOX 601
PO BOX 990092                            ALLENHURST NJ 07709-0003                   ALLENHURST NJ 07709-0601
HARTFORD CT 06199-0092



METROPOLITAN EDISON COMPANY              METROPOLITAN LIFE INSURANCE CO             METROPOLITAN LIFE INSURANCE CO
PO BOX 3687                              DEPARTMANET OF PUBLIC WORKS PERMIT         ONE MADISON AVE
AKRON OH 44309-3687                      900 FREEMONT ST                            NEW YORK NY 10010-3690
                                         ALHAMBRA CA 91801



METROPOLITAN LIFE INSURANCE CO           METROPOLITAN LIFE INSURANCE CO             METROPOLITAN SPORTS FACILITIES
PO BOX 13863                             PO BOX 371499                              900 S 5TH ST
PHILADELPHIA PA 19101-3863               PITTSBURG PA 15250                         MINNEAPOLIS MN 55415




METROPOLITAN TELEVISION ALLIANCE LLC     METROPOLITAN TELEVISION ALLIANCE LLC       METROPOLITAN WATER RECLAMATION
60 E 42ND ST 36TH FLR                    C/O CENTURY ADVISORY GROUP LLC             LOCKBOX 98429
NEW YORK NY 10165-3698                   60 E 42ND ST 36TH FLR                      CHICAGO IL 60693
                                         NEW YORK NY 10165-3698



METROSCAN TRAFFIC NETWORK                METSNER, STANISLAV                         METZ, ANDREW
629 SOUTH CLAIBORNE AVENUE               436 LAKEVIEW DR APTNO.201                  PO BOX 747
NEW ORLEANS LA 70113                     WESTON FL 33326                            KINDERHOOK NY 12106




METZ, HANNAH KRISTINA                    METZ, JOHN R                               METZ, NANCIANNE
279 N EUCLID AVE APT NO.14               3129 N CLIFTON AVE                         204 BRIDGE ST
PASADENA CA 91101                        CHICAGO IL 60657                           WEISSPORT PA 18235




METZ, NINA                               METZGER, DEENA                             METZGER, PETER
3170 N SHERIDAN RD NO.620                20666 CALLON DR                            604 S CHEVY CHASE DR
CHICAGO IL 60657                         TOPANGA CA 90290                           GLENDALE CA 91205




METZGER, PHILIP A                        METZKER, GARY H                            METZLER, CHRISTOPHER
5439 COMFORT CIR                         116 SANTA ANA AVENUE                       1739 W BARRY 1W
BETHLEHEM PA 18017                       LONG BEACH CA 90803-3459                   CHICAGO IL 60657




METZLER,GAIL                             MEWSHAW, MICHAEL                           MEXICAN AMERICAN GROCERS ASSOCIATION
8 REUVEN DR                              32 TURKEY HILL ROAD SOUTH                  405 N SAN FERNANDO ROAD
LEDYARD CT 06339-1315                    WESTPORT CT 06880                          LOS ANGELES CA 90031




MEXICO PLASTIC COMPANY                   MEXICO PLASTIC COMPANY                     MEXICO PLASTIC COMPANY
1900 W. BOULEVARD                        1900-2000 WEST BOULEVARD                   ATTN: ORDER PROCESSING
ATTN: VINCE   X3054                      MEXICO MO 65265                            2000 WEST BLVD.
MEXICO MO 65265                                                                     MEXICO MO 65265




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MEXICO PLASTIC COMPANY                  MEXICO PLASTIC COMPANY                     MEYER II, RICHARD P
MEXICO PLASTIC CO INC                   P.O. BOX 760                               861 E BROWN DRIVE
2000 WEST BOULEVARD                     MEXICO MO 65265                            BURBANK CA 91504
MEIXICO MO 65265



MEYER, ANN                              MEYER, BILL                                MEYER, CHERYL
205 DUPEE PLACE                         3720 WENONAH AVE                           521 MONMOUTH ST
WILMETTE IL 60091                       BERWYN IL 60402                            FOND DU LAC WI 54937




MEYER, CONSTANCE                        MEYER, HARRIS                              MEYER, HELEN
9824 CHARLESVILLE BLVD                  1909 W YAKIMA AVE                          33 URSULAR COURT
BEVERLY HILLS CA 90212                  YAKIMA WA 98902                            SMITHTOWN NY 11787




MEYER, KEN                              MEYER, NANCY A                             MEYER, RICHARD
2625 MIDDLE RIVER DR. #3                293 OXFORD STREET                          3544 WILLIAMSBURG LN NW
FT. LAUDERDALE FL 33306                 HARTFORD CT 06105                          WASHINGTON DC 20008




MEYER, STEVEN R                         MEYER, VANESSA G                           MEYERHOFF,ALBERT
3254 RYERSON CIRC                       5141 1/4 CLINTON ST                        11953 BRIARVALE
BALTIMORE MD 21227                      LOS ANGELES CA 90004                       STUDIO CITY CA 91604




MEYERS, BRUCE F                         MEYERS, MICHAEL                            MEYERS, PHILIP BRENT
22509 SE 42ND TERR                      424 W 33RD ST  STE 350                     11434 MOORPARK ST NO.205
ISSAQUAH WA 98029-7229                  NEW YORK NY 10001                          NORTH HOLLYWOOD CA 91602




MEYERS, TALYA RACHEL                    MEYERS, TIFFANY                            MEYERS, WILLIAM C
1261 STARLIT DRIVE                      644-46 W BARRY APT 2M                      885 BROOKSIDE DR
LAGUNA BEACH CA 92651                   CHICAGO IL 60657                           ST LOUIS MO 63122




MEYERSON, BENJAMIN                      MEYERSON, HAROLD                           MEYROWITZ, ERIC J
151 N HARVEY AVE                        1772 WILLARD ST NW                         6016 WOODACRES DR.
OAK PARK IL 60302                       WASHINGTON DC 20009                        BETHESDA MD 20816




MEYSON QUINTANILLA                      MEZA, DANA E                               MEZA, EDDIE
PO BOX 251411                           6236 N MAGNOLIA                            3715 WOODSIDE AVE
GLENDALE CA 91225                       CHICAGO IL 60660                           BROOKFIELD IL 60513




MG DELIVERY SERVICES INC                MG DISTRIBUTION INC                        MG PRODUCTIONS LLC
1197 EPSON OAKS WAY                     33 DUNLAP                                  301 E 52ND ST
ORLANDO FL 32837                        PARK FOREST IL 60466                       5-B
                                                                                   NEW YORK NY 10022




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MG PRODUCTIONS LLC                        MG/PERIN                                   MG/PERIN
301 E 52ND ST                             110 GREENE STREET                          21 EAST 40TH STREET
NEW YORK NY 10022                         SUITE 304                                  SUITE 1601
                                          NEW YORK NY 10012                          NEW YORK NY 10016



MGH ADVERTISING INC                       MGM                                        MGM
100 PAINTERS MILL RD STE 600              10250 CONSTELLATION BLVD.                  2500 BROADWAY STREET
OWING MILLS MD 21117                      LOS ANGELES CA 90067                       SANTA MONICA CA 90404




MGM MANAGEMENT                            MGM MANAGEMENT INC                         MGM MANAGEMENT, INC.
RE: JOLIET 58 N CHICAGO ST                PO BOX 424                                 RE: JOLIET 58 N CHICAGO ST
58 N. CHICAGO ST.                         JOILET IL 60434                            58 N. CHICAGO STREET
LOBBY                                                                                JOLIET IL 60432
JOLIET IL 60432


MIA GRADNEY                               MIA HORBERG                                MIA ROMANO
25403 TUCKAHOE LANE                       5525 N. WINTHROP                           5697 AMARO DRIVE
SPRING TX 77373                           APT. #214                                  SAN DIEGO CA 92124
                                          CHICAGO IL 60640



MIA TUCKER                                MIAMI DADE COUNTY TAX COLLECTOR            MIAMI DADE COUNTY TAX COLLECTOR
166 COACH ROAD                            140 WEST FLAGLER ST RM 101                 PO BOX 025218
ARGYLE NY 12809                           MIAMI FL 33130-1575                        MIAMI FL 33102-5218




MIAMI HERALD                              MIAMI HERALD                               MIAMI HERALD
ATTN FERNANDA ROCAH                       ATTN FERNANDA ROCAH                        ONE HERALD PLAZA
KUBRART REPRINTS & PERMISSIONS            ONE HERALD PLAZA                           ATTN MORENE SOOKALOOO
1 HERALD PLAZA 5TH FLR                    MIAMI FL 33132                             MIAMI FL 33132
MIAMI FL 33132


MIAMI HERALD                              MIAMI HERALD                               MIAMI HERALD
ONE HERALD PLAZA                          PO BOX 019135                              PO BOX 019140
MIAMI FL 33132                            MIAMI FL 33101-9135                        MIAMI FL 33101-9140




MIAMI OFFSET                              MIAMI-DADE WATER & SEWER DEPT.             MIAMI-DADE WATER & SEWER DEPT.
13301 NW 38TH CT                          PO BOX 020280                              PO BOX 026055
MIAMI FL 33054                            MIAMI FL 33102-0280                        MIAMI FL 33102-6055




MICA TOP                                  MICAH MATERRE                              MICAN ENTERPRISES INC
13 PARK TERRACE                           2106 W. LUNT                               3109 NW 107TH DRIVE
ANDOVER NJ 07821                          CHICAGO IL 60645                           SUNRISE FL 33351




MICELI, DAREN                             MICELI, GRACIELA D                         MICHAEL S. YALOWITZ
9 SECOND ST                               5125 EL PINE WAY                           RE: QUAKERTOWN 326 W. BROAD S
BRISTOL CT 06010                          PALM BEACH GARDENS FL 33418                6100 HIDDEN VALLEY DR
                                                                                     DOYLESTOWN PA 18901




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MICHAEL A CHILDS                      MICHAEL A CUDEMO                           MICHAEL A LANDWIRTH TRUSTEE
511 SKIPPER COURT                     5102 CHANTICLEER DRIVE                     121 NE JEFFERSON
CHESTER MD 21619                      LEEBURG FL 34748                           SUITE 200
                                                                                 PEORIA IL 61602-1210



MICHAEL A RUSU                        MICHAEL A WARD                             MICHAEL ABREU
1454 ASHLAND AVE                      13217 45TH AVENUE W                        42 ALLENDALE ROAD
APT 602                               MUKILTEO WA 98275                          HARTFORD CT 06106
DES PLAINES IL 60016



MICHAEL ACH                           MICHAEL ADAMS                              MICHAEL ADAMS
39 NORTHFIELD ROAD                    217 OAK AVE.                               118 ASPEN ROAD
GLEN COVE NY 11542                    PIKESVILLE MD 21208                        KINGS PARK NY 11754




MICHAEL ADESSI                        MICHAEL AGOSTINO                           MICHAEL AGUGGIA
11549 SW 109TH ROAD                   26 BOGART STREET                           4 VIOLET DRIVE
UNIT A                                SOUTH HUNTINGTON NY 11746                  NORTH MASSAPEQUA NY 11758
MIAMI FL 33176



MICHAEL AIELLO                        MICHAEL ALAN GROUP INC                     MICHAEL ALBERTSON
390 SPRINGSIDE LN                     35 WEST 35TH ST SUITE 1003                 20702 EL TORO ROAD
BUFFALO GROVE IL 60089                NEW YORK NY 10001                          APT.#576
                                                                                 LAKE FOREST CA 92630



MICHAEL ALEXANDER                     MICHAEL ALLRED                             MICHAEL ALTMAN
57 LINDEN AVENUE                      45 ROYCROFT AVE.                           240 E 25TH ST.
APT #24                               LONG BEACH CA 90803                        28
LONG BEACH CA 90802                                                              NEW YORK NY 10010



MICHAEL ALVARADO                      MICHAEL AMON                               MICHAEL ANDERSON
112 PINETREE COURT                    61-20 WOODSIDE AVENUE                      6116 BROOKVIEW HEIGHTS DRIVE
WALNUT CA 91789                       APT 1E                                     IMPERIAL MO 63052
                                      WOODSIDE NY 11377



MICHAEL ANTHONY                       MICHAEL ANTON                              MICHAEL ARTHUR
313 WILLOW AVENUE                     12427 LE GRANGE DR                         1827 MIDSUMMER LANE
WALNUTPORT PA 18088                   TUSTIN CA 92782                            JARRETTSVILLE MD 21084




MICHAEL ARTMAN                        MICHAEL ASHER                              MICHAEL ASKEW
10136 S. MENARD AVE.                  102 COVERIDGE LANE                         417 34-1/2 STREET
OAK LAWN IL 60453                     LONGWOOD FL 32779                          VIRGINIA BEACH VA 23451




MICHAEL ASUNCION                      MICHAEL AVERY                              MICHAEL BAILEY
6513 W. 83RD STREET                   4022 RIVERTOWN LANE SW                     2741 PLAINFIELD AVE NE
LOS ANGELES CA 90045                  GRANDVILLE MI 49418                        GRAND RAPIDS MI 49505




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MICHAEL BAILEY                        MICHAEL BAILEY                             MICHAEL BAKER
4072 BUSH HILL CT                     10374 BOCA ENTRADA BLVD                    739 WEST HAMILTON STREET
CROWN POINT IN 46307                  APT 226                                    APT. FARR-305
                                      BOCA RATON FL 33428                        ALLENTOWN PA 18101



MICHAEL BALDWIN                       MICHAEL BALL                               MICHAEL BARBAGALLO
1648 SWEETWATER W CIRCLE              2423 HARLEM AVENUE                         31614 TRAILS PARK LANE
APOPKA FL 32712                       BALTIMORE MD 21216                         CONROE TX 77385




MICHAEL BARNHART                      MICHAEL BARRETT                            MICHAEL BARRETT
8 FABER ROAD                          13031 E. PLAYFIELD DRIVE                   1001 ST. PAUL STREET, SUITE 9D
PARSIPPANY NJ 07054                   CRESTWOOD IL 60445                         BALTIMORE MD 21202




MICHAEL BARTA                         MICHAEL BARTOLOTTA                         MICHAEL BASHLINE
609 SHEFFIELD LANE                    59 WATERHOLE ROAD                          196 CENTER CHURCH ROAD
BOLINGBROOK IL 60440                  EAST HAMPTON CT 06424                      GROVE CITY PA 16127




MICHAEL BASSETT                       MICHAEL BATINSEY                           MICHAEL BATTON
P.O. BOX 801051                       58 SCHOOL STREET                           1121 E ACACIA AVENUE
SANTA CLARITA CA 91380                LAKE RONKONKOMA NY 11779                   EL SEGUNDO CA 90245




MICHAEL BECERRA                       MICHAEL BECK                               MICHAEL BELL
622 N. CHANDLER AVE                   22196 WOODCREEK LANE                       848 TANGLEWOOD RD
MONTEREY PARK CA 91754                WILDOMAR CA 92595                          WEST ISLIP NY 11795




MICHAEL BENNETT                       MICHAEL BERARDINO                          MICHAEL BERNSTEIN
3110 ANQUILLA AVENUE                  4830 NW 104TH TERRACE                      708 COUNTY LINE ROAD
CLERMONT FL 34711                     CORAL SPRINGS FL 33076                     AMITYVILLE NY 11701




MICHAEL BIANCHI                       MICHAEL BIGDA                              MICHAEL BLAIS
1923 BLACK LAKE BLVD.                 101 HIGHWOOD DRIVE                         74 NORTON LANE
WINTER GARDEN FL 34787                MANCHESTER CT 06040                        BERLIN CT 06037




MICHAEL BOEHM                         MICHAEL BOLDUC                             MICHAEL BOND
16761 VIEWPOINT LANE                  3 HUBER MANOR                              800 MICRO COURT
APT # 237                             MIDDLETOWN CT 06457                        #802
HUNTINGTON BEACH CA 92647                                                        ROSEVILLE CA 95678



MICHAEL BONDI                         MICHAEL BORBOA                             MICHAEL BOSSARD
14031 MAILER BLVD.                    13511 FILMORE STREET                       33821 SILVER PINE DR.
ORLANDO FL 32828                      PACOIMA CA 91331                           LEESBURG FL 34788




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MICHAEL BOURGON                          MICHAEL BOYD                               MICHAEL BOYLE
1150 WEST ILLINOIS AVENUE                9471 BURLINGTON LANE                       1 HAMPTON WAY
PALATINE IL 60067                        HIGHLANDS RANCH CO 80130                   RIDGE NY 11961




MICHAEL BOYLE                            MICHAEL BRAGA                              MICHAEL BRESNAHAN
134 CRUM-ELBOW ROAD                      20517 LOYALTON DR                          3320 MANHATTAN AVENUE
HYDE PARK NY 12538                       WALNUT CA 91789                            HERMOSA BEACH CA 90254




MICHAEL BRIERLEY                         MICHAEL BROERS                             MICHAEL BROLEMAN
4759 PROMENADE ST.                       1827 W. BALMORAL                           3502 TYLER STREET
SIMI VALLEY CA 93063                     CHICAGO IL 60640                           FALLS CHURCH VA 22041




MICHAEL BROWN                            MICHAEL BROWN                              MICHAEL BROWN
21918 CLYDE AVE                          238 WOODLAWN CIRCLE                        320 MACON STREET
SAUK VILLAGE IL 60411                    EAST HARTFORD CT 06108                     1
                                                                                    BROOKLYN NY 11216



MICHAEL BROWN                            MICHAEL BROWN                              MICHAEL BRUHA
35 STERLING PLACE                        1608 HAYNES LANE                           1509 CREEK COURT
AMITYVILLE NY 11701                      REDONDO BEACH CA 90278                     WILLIAMSBURG VA 23185




MICHAEL BRYANT                           MICHAEL BUCCELLATO                         MICHAEL BUCHHOLZ
633 W RITTENHOUSE ST                     22 THOMPSON PLACE                          302 W NORTH ST
#B611                                    APT. 1                                     #21
PHILADELPHIA PA 19144                    LYNBROOK NY 11563                          WAUKESHA WI 53188



MICHAEL BUCKMASTER                       MICHAEL BURKE                              MICHAEL BURKE
107 WATER FOUNTAIN WAY                   4510 CALVERT AVE.                          35 IRVING AVENUE
#201                                     ORLANDO FL 32833                           NORTH BABYLON NY 11703
GLEN BURNIE MD 21060



MICHAEL BURNS                            MICHAEL BUSHNER                            MICHAEL BYRNE
45 DAVIS BLVD APT# 4                     P.O. BOX 3359                              83 NORTHSIDE RD
TAMPA FL 33606                           LOS ANGELES CA 90078                       WADING RIVER NY 11792




MICHAEL CABELLA                          MICHAEL CALCATERRA                         MICHAEL CALLAHAN
18 HALSTON LANE                          135 NEW YORK AVENUE                        726 E ORANGE GROVE AVENUE
CORAM NY 11727                           WEST BABYLON NY 11704                      APT D
                                                                                    BURBANK CA 91501



MICHAEL CARDAMONE                        MICHAEL CARDOSI                            MICHAEL CARLSON
98 HIGHLAND DRIVE                        2865 FOXHILL ROAD                          11443 OSTROM AVENUE
KINGS PARK NY 11754                      AURORA IL 60504                            GRANADA HILLS CA 91344




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MICHAEL CARRASCO                      MICHAEL CARRILLO                           MICHAEL CARROLL
970 MISSION                           2041 EAST 76TH PLACE                       4250 N. MARINE DRIVE
APT 3                                 LOS ANGELES CA 90001                       #1307
COSTA MESA CA 92626                                                              CHICAGO IL 60613



MICHAEL CASEY                         MICHAEL CASEY                              MICHAEL CASEY
5441 W HUTCHINSON                     1919 PETUNIA AVENUE                        175 MAIN AVENUE
CHICAGO IL 60641                      GLENDORA CA 91740                          APT. 173
                                                                                 WHEATLEY HEIGHTS NY 11798



MICHAEL CATALINI                      MICHAEL CATON                              MICHAEL CELLINI
75 E WAYNE AVENUE                     1131 SOUTH CLINTON STREET                  2575 JOHNSON ROAD
W813                                  BALTIMORE MD 21224                         SCOTIA NY 12302
SILVER SPRING MD 20901



MICHAEL CHAPIN                        MICHAEL CHAPMAN                            MICHAEL CHAPMAN
11027 STATE ROUTE 22                  157 SISSON STREET                          1204 SPRING LAKE RD.
GRANVILLE NY 12832                    EAST HARTFORD CT 06118                     FUITLAND PARK FL 34731




MICHAEL CHAUVIN                       MICHAEL CHAVEZ                             MICHAEL CHERRY
110 8TH AVENUE                        205 N EL MOLINO STREET                     573 PONTIAC LANE
2S                                    ALHAMBRA CA 91801                          BOLINGBROOK IL 60440
NEW YORK NY 10011



MICHAEL CHILOYAN                      MICHAEL CHIVETTA                           MICHAEL CHOUINARD
19 LOGAN STREET                       300 VAQUERO ROAD                           3343 14TH STREET
NEW BRITAIN CT 06051                  ARCADIA CA 91007                           APT 15A
                                                                                 ASTORIA NY 11106



MICHAEL CIBELLI                       MICHAEL CIOKAJLO                           MICHAEL CLARK
122 VERSAILLES CT                     806 WILSON STREET                          219 ROBINSON DRIVE
BLOOMINGDALE IL 60108                 SOUTH HAVEN MI 49090                       NEWPORT NEWS VA 23601




MICHAEL CLAVIN                        MICHAEL CLAY                               MICHAEL CLEMONS
391 GREENBELT PKWY                    1114B S DES PLAINES                        3554 S. HALSTED
HOLTSVILLE NY 11742                   FOREST PARK IL 60130                       APT 1
                                                                                 CHICAGO IL 60609



MICHAEL COAKLEY                       MICHAEL CODY                               MICHAEL COFELICE
30 COLONIAL DRIVE                     580 W UNIVERSITY PARKWAY                   36601 OSHAWA LANE
FARMINGDALE NY 11735                  BALTIMORE MD 21210                         EUSTIS FL 32736




MICHAEL COLLARINI                     MICHAEL COLLINS                            MICHAEL COLLINS
42 EAST ROGUES PATH                   8115 S. ASHLAND                            6007 N. OLYMPIA
HUNTINGTON STATION NY 11746           APT. 2R                                    CHICAGO IL 60631
                                      CHICAGO IL 60620




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MICHAEL CONNELL                         MICHAEL CONNELLY                            MICHAEL COOPER
7 W. YOST                               8485 VALLEY CIRCLE BLVD.                    15719 TWIN LAKES DR
PARK RIDGE IL 60068                     #203                                        HOMER GLEN IL 60491
                                        WEST HILLS CA 91304



MICHAEL CORDTS                          MICHAEL CORDTS                              MICHAEL CORDTS
C/O JOHN F. WINTERS                     WINTERS ENRIGHT SALZETTA & O'BRIEN LLC      WINTERS ENRIGHT SALZETTA
WINTERS ENRIGHT SALZETTA&O'BRIEN,LLC.   JOHN F WINTERS JR                           111 W WASHINGTON 1200
111 WEST WASHINGTON ST., SUITE 1200     111 WEST WASHINGTON ST SUITE 1200           CHICAGO IL 60602
CHICAGO IL 60602                        CHICAGO IL 60602


MICHAEL CORRIGAN                        MICHAEL CORWIN                              MICHAEL CORWIN
227 PECONIC ST                          2034 W. LELAND AVE.                         2034 WEST LELAND
RONKONKOMA NY 11779                     CHICAGO IL 60625                            CHICAGO IL 60625




MICHAEL COY                             MICHAEL CRESCIONE                           MICHAEL CROSS-BARNET
2420 FREYSVILLE ROAD                    345 E. OHIO STREET                          213 TUSCANY ROAD
RED LION PA 17356                       APT. #2108                                  BALTIMORE MD 21210
                                        CHICAGO IL 60611



MICHAEL CRUZ                            MICHAEL CUCCI                               MICHAEL CUMELLA
767 PARK STREET                         152 HOLDEN BOULEVARD                        1657 TYLER STREET
3RD FLOOR                               STATEN ISLAND NY 10314                      APT 206
HARTFORD CT 06106                                                                   HOLLYWOOD FL 33020



MICHAEL CUMMINGS                        MICHAEL CUNNINGHAM                          MICHAEL CUSHING
3701 SKIPTON CIRCLE                     221 MERIDIAN AVE                            57 BRYAN STREET
YORK PA 17402                           APT 408                                     SARATOGA SPRINGS NY 12866
                                        MIAMI BEACH FL 33139



MICHAEL D'ALTO                          MICHAEL D'AMBROSIO                          MICHAEL D'ANGELO
18 READING LANE                         2304 BLACKBIRD CT                           445 N. LOMBARD
BETHPAGE NY 11714                       MURRELLS INLET SC 29576                     UNIT 3
                                                                                    OAK PARK IL 60302



MICHAEL DACUS                           MICHAEL DAILEY                              MICHAEL DARCY
5931 CLOVERLY AVENUE APT C              308 CAMINO DE TEODORO                       312 FRANKLIN DRIVE
TEMPLE CITY CA 91780                    WALNUT CA 91789                             PLACENTIA CA 92870




MICHAEL DATTOMA                         MICHAEL DAVENPORT                           MICHAEL DAVIS
996 TYRUS COURT                         1115 MT. VERNON                             15618 VISTA DRIVE
NO MERRICK NY 11566                     GREENWOOD IN 46142                          OAK FOREST IL 60452




MICHAEL DAVIS                           MICHAEL DAVIS                               MICHAEL DAVIS
3410 BENJAMIN NE                        29052 WILLOW CREEK LANE                     3561 JUNEWAY
GRAND RAPIDS MI 49525                   HIGHLAND CA 92346                           1
                                                                                    BALTIMORE MD 21213




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MICHAEL DAVIS                         MICHAEL DAVIS                              MICHAEL DEGRAW
4712 DUNKIRK AVENUE                   2030 HANOVER AVENUE                        64 ANDOVER AVENUE
BALTIMORE MD 21229                    1ST FLOOR                                  GANSEVOORT NY 12831
                                      ALLENTOWN PA 18109



MICHAEL DELALES                       MICHAEL DELUCA                             MICHAEL DELVECCHIO
24 CARNOUSTIE CIRCLE                  33 LEXINGTON CR                            3813 TIMOTHY LANE
BLOOMFIELD CT 06002                   NEWINGTON CT 06111                         BETHLEHEM PA 18020




MICHAEL DEMITA                        MICHAEL DES RAULT                          MICHAEL DESILVA
108 EUCLID STREET                     90 NORTH WALNUT ST                         206 E. YALE ST.
VALLEY STREAM NY 11580                NORTH MASSAPEQUA NY 11758                  ORLANDO FL 32804




MICHAEL DESIMONE                      MICHAEL DESOLA                             MICHAEL DESOLA
344 EUSTON RD SO                      165 BEACHVIEW STREET                       40 LONGMEADOW PLACE
GARDEN CITY NY 11530                  1ST FLOOR                                  CENTEREACH NY 11720
                                      COPIAQUE NY 11726



MICHAEL DIBETTA                       MICHAEL DIDOMENICO                         MICHAEL DIGIOVANNA
253-15 61ST AVENUE                    348 NW 45TH TERRACE                        126 ORIZABA AVE
LITTLE NECK NY 11362                  DEERFIELD BEACH FL 33442-9362              LONG BEACH CA 90803




MICHAEL DIMARIA                       MICHAEL DIMEZZA                            MICHAEL DINAN
0N310 ARMSTRONG LANE                  28 MONUMENT AVENUE                         444 BEDFORD STREET
GENEVA IL 60134                       GLENS FALLS NY 12801                       APT. #2F
                                                                                 STAMFORD CT 06901



MICHAEL DIZON                         MICHAEL DOBIE                              MICHAEL DOMINGO WAN
5415 REBA ST.                         74 AVENUE B                                1706 S CABANA AVENUE
MORTON GROVE IL 60053                 WEST BABYLON NY 11704                      WEST COVINA CA 91790




MICHAEL DONO                          MICHAEL DONOHUE                            MICHAEL DORMAN
347 N. SUNRISE SERVICE RD.            74-58 220TH STREET                         47 TORREY PINE LANE
MANORVILLE NY 11949                   1ST FLOOR                                  BAY SHORE NY 11706
                                      BAYSIDE NY 11364



MICHAEL DORNING                       MICHAEL DOVE                               MICHAEL DOWD
1750 EUCLID STREET, NW                3000 NORTH LAKE PARK AVENUE                1928 MADISON STREET
UNIT 1                                HOBART IN 46342                            RIDGEWOOD NY 11385
WASHINGTON DC 20009



MICHAEL DOWNEY                        MICHAEL DOYLE                              MICHAEL DRAKE
345 E. OHIO                           38507 DESERT VIEW DRIVE                    9618 S VAN VLISSINGE
#4712                                 PALMDALE CA 93551                          CHICAGO IL 60617
CHICAGO IL 60611




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MICHAEL DRESSER                        MICHAEL DRUMMOND                           MICHAEL DUCK
7874 MAYFAIR CIRCLE                    1334 N. LARAMIE                            1125 ELM STREET
ELLICOTT CITY MD 21043                 CHICAGO IL 60651                           BETHLEHEM PA 18018




MICHAEL DUDEK                          MICHAEL DUDLEY                             MICHAEL DUFFIELD
8518 BUCKI LANE                        1811 N. 47TH AVE                           2008 WINDYS RUN ROAD
WILLOW SPRINGS IL 60480                HOLLYWOOD FL 33021                         BALTIMORE MD 21228




MICHAEL DUNBAR                         MICHAEL DUNN                               MICHAEL DUNN
260 LINCOLN AVENUE                     1505 W. HURON ST.                          4400 MORGAN ROAD
ROOSEVELT NY 11575                     APT. G                                     SUITLAND MD 20746
                                       CHICAGO IL 60642



MICHAEL DUNNE                          MICHAEL DWAN                               MICHAEL E GUTMAN/MIKE GUTMAN MD
120 N. FIRST STREET                    750 N. DEARBORN ST.                        GUTMAN PAIN/ACCIDENT CENTER INC
SAYVILLE NY 11782                      APT 2409                                   GARY WILLIAMS ETAL/WE GARY/M SOCIAS
                                       CHICAGO IL 60610                           111 N ORANGE AVE SUITE 775
                                                                                  ORLANDO FL 32801


MICHAEL E WALLER                       MICHAEL EBERT                              MICHAEL EDDY
5 FULL SWEEP                           511 TOWNE HOUSE VILLAGE                    629 DUNKIRK RD.
HILTON HEAD ISLAND SC 29928            ISLANDIA NY 11747                          BALTIMORE MD 21212




MICHAEL EDDY                           MICHAEL EDOM                               MICHAEL EDWARDS
777 RIVERSIDE DRIVE                    1115 ELM RIDGE AVENUE                      1040 N. WILSON AVENUE
APT 1527                               ARBUTUS MD 21229                           PASADENA CA 91104
CORAL SPRINGS FL 33071



MICHAEL EDWARDS                        MICHAEL EIGNER                             MICHAEL ELLITHORPE
4432 FIELDSTONE DRIVE                  5 HUNTING TRAIL                            12 PEARL STREET
NAZARETH PA 18064                      ARMONK NY 10504                            #3
                                                                                  HUDSON FALLS NY 12839



MICHAEL ELRICK                         MICHAEL EMBRO                              MICHAEL ERICKSON
666 CHERRYWOOD DRIVE                   4021 PADDRICK ROAD                         3 KINGSLEY AVE
WHEELING IL 60090                      DARLINGTON MD 21034                        GANSEVOORT NY 12831




MICHAEL ERNST                          MICHAEL ESCHER                             MICHAEL ESPOSITO
436 E MOSSER STREET                    620 N. SWEETZER AVE                        2800 N PINE GROVE AV
ALLENTOWN PA 18109                     APT#15                                     APT 3A
                                       LOS ANGELES CA 90048                       CHICAGO IL 60657



MICHAEL ESPOSITO                       MICHAEL ETZKIN                             MICHAEL FAILLACE
1902 ISLAND CIRCEL                     209 RAMSBURY CT                            36 OLD COUNTRY ROAD
#206                                   LONGWOOD FL 32779                          OXFORD CT 06478
KISSIMMEE FL 34741




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MICHAEL FAILLACE                       MICHAEL FANEUFF                             MICHAEL FARRINGTON
16 SANDY LANE                          3605 E ANAHEIM #419                         84 WHITMORE STREET
STAMFORD CT 06905                      LONG BEACH CA 90804                         2ND FLOOR
                                                                                   HARTFORD CT 06114



MICHAEL FASANO                         MICHAEL FELDMANN                            MICHAEL FERGUSON
24 CONLU DRIVE WEST                    605 HORNCREST ROAD                          510 LOGAN PLACE
EAST ISLIP NY 11730                    TOWSON MD 21204                             APT. 31
                                                                                   NEWPORT NEWS VA 23601



MICHAEL FERRARO                        MICHAEL FERRETER                            MICHAEL FILIPIAK
1255 LAKESHORE DRIVE                   1040 W. WAVELAND AVE                        508 STURBRIDGE COURT
MASSAPEQUA PARK NY 11762               #1                                          FLEMINGTON NJ 08822
                                       CHICAGO IL 60613



MICHAEL FINK                           MICHAEL FINNEGAN                            MICHAEL FIORITTO
9301 CIMA DO LAGO DRIVE                1352 LUCILE AVE                             1148 W. MONROE
CHATSWORTH CA 91311                    APT 4                                       2NE
                                       LOS ANGELES CA 90026                        CHICAGO IL 60607



MICHAEL FISCHETTI                      MICHAEL FITZGERALD                          MICHAEL FLANDERS
3 KARA COURT                           2510 TORREY PINES RD #311                   2656 NORTH 72ND STREET
YAPHANK NY 11980                       LA JOLLA CA 92037                           WAUWATOSA WI 53213




MICHAEL FORTE                          MICHAEL FOUX                                MICHAEL FOX
14252 SELVA LANE                       4898 WATERFORD DRIVE                        100 ABBEY STREET
ORLAND PARK IL 60462                   MACUNGIE PA 18062                           MASSAPEQUA PARK NY 11762




MICHAEL FRASIER                        MICHAEL FREDERICKS                          MICHAEL FREY
6155 DUNROMING ROAD                    240 SW 159 LANE                             8449 S. 49TH STREET
BALTIMORE MD 21239                     SUNRISE FL 33326-2269                       FRANKLIN WI 53132




MICHAEL FRIAS                          MICHAEL FRIEDMANN                           MICHAEL G MOLS
231 E. ROSE AVE                        1248 FARMINGTON AVE.                        1226A WESTLAKE BLVD
LA HABRA CA 90631                      APT. #A-9                                   WESTLAKE VILL CA 91361
                                       WEST HARTFORD CT 06107



MICHAEL GANO                           MICHAEL GARCIA                              MICHAEL GARNEAU
850 VAIL ROAD                          1308 N CITRUS UNIT #J                       3309 COPLAY STREET
PARSIPPANY NJ 07054                    COVINA CA 91722                             WHITEHALL PA 18052




MICHAEL GART                           MICHAEL GATES                               MICHAEL GATTA
2126 ELMWOOD AVENUE                    54 ONEIDA AVE                               11 CHEVY COURT
WILMETTE IL 60091                      S SETAUKET NY 11720                         OAKDALE NY 11769




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MICHAEL GAVIN                         MICHAEL GENTILE                            MICHAEL GEOGHEGAN
40 FERNDALE AVENUE                    584 S. WYNBROOKE RD                        33 NORTH MILLPAGE DRIVE
SELDEN NY 11784                       ROMEOVILLE IL 60446                        BETHPAGE NY 11714




MICHAEL GEORGE ARMSTRONG              MICHAEL GERMANETTI                         MICHAEL GIBSON
4767 MARLBOROUGH WAY                  1544 ELM STREET                            14705 GRAMERCY PLACE
CARMICHAEL CA 95608                   BETHLEHEM PA 18017                         GARDENA CA 90249-3315




MICHAEL GIGANTE                       MICHAEL GLASS                              MICHAEL GOLDBERG
11052 OTSEGO ST                       432 OAK NECK ROAD                          4140 NW 90TH AVE
NORTH HOLLYWOOD CA 91601              WEST ISLIP NY 11795                        APT 206
                                                                                 CORAL SPRINGS FL 33065



MICHAEL GONTA                         MICHAEL GONZALES                           MICHAEL GOODEN
1072 BOWLING GREEN DR                 1449 BAIRD STREET                          27 HICKORY CT.
WESTBURY NY 11590                     CORONA CA 92882                            CALUMET IL 60409




MICHAEL GOODMAN                       MICHAEL GOODMAN                            MICHAEL GORDON
22626 NE INGLEWOOD HILL RD.           9071 SILVER GLEN WAY                       435 ARTHUR AVE
APT#625                               LAKE WORTH FL 33467                        SOMERSET NJ 08873
SAMMAMISH WA 98074



MICHAEL GORSEGNER                     MICHAEL GOTT                               MICHAEL GRAHAM
1761 TOPAZ ROAD                       138 SQUAW HOLLOW ROAD                      19 CHESTNUT DRIVE
YORK PA 17408                         ASHFORD CT 06278                           PLAINVIEW NY 11803




MICHAEL GRANGER                       MICHAEL GRAZIANI                           MICHAEL GREEN
1401 ARTHUR STREET                    4831 ABACO DR.                             84 BARK AVE
ORLANDO FL 32804                      TAVARES FL 32778                           CENTRAL ISLIP NY 11722




MICHAEL GREENE                        MICHAEL GREENSPUN                          MICHAEL GRIFFIN
211 FRANKLIN STREET                   8637 SAXON CIRCLE                          210 PEMBROOK PLACE
BEL AIR MD 21014                      BALTIMORE MD 21236                         LONGWOOD FL 32779




MICHAEL GRIFFITH                      MICHAEL GRILLO                             MICHAEL GUTIERREZ
41 W. BOWEN ST.                       132D THOMAS STREET                         3422 W. BELDEN
FRANKFORT IL 60423                    MIDDLETOWN CT 06457                        CHICAGO IL 60647




MICHAEL GWOREK                        MICHAEL HALL                               MICHAEL HAMERNIK
89 DEER RUN                           3402 WILLOW WOOD ROAD                      1434 FLETCHER
PLANTSVILLE CT 06479                  LAUDERHILL FL 33319                        2F
                                                                                 CHICAGO IL 60657




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MICHAEL HARPER                          MICHAEL HARRISON                           MICHAEL HARVEY
8352 S. ST. LAWRENCE                    7200 FERRARA AVE.                          5484 SOUTH ELLIS
CHICAGO IL 60619                        ORLANDO FL 32819                           CHICAGO IL 60615




MICHAEL HAWTHORNE                       MICHAEL HAYES                              MICHAEL HENDERSON
810 PLEASANT ST.                        26 WILLIAMS STREET                         8746 S. DAUPHIN
3C                                      MERIDEN CT 06450                           APT. #2B
OAK PARK IL 60302                                                                  CHICAGO IL 60619



MICHAEL HENN                            MICHAEL HENTON                             MICHAEL HEPPE
558 35TH STREET                         237 WHITEBROOK LANE                        1205 NORTH DREXEL
MANHATTAN BEACH CA 90266                NEWPORT NEWS VA 23602                      INDIANAPOLIS IN 46201




MICHAEL HERRERA                         MICHAEL HESS                               MICHAEL HEVEY
9025 ORLAND COURT                       4503 CARLYN ROAD                           7912 CONSTITUTION DRIVE
APT #203                                BALTIMORE MD 21128                         PLANO TX 75025
ORLAND PARK IL 60462



MICHAEL HIGGINS                         MICHAEL HILL                               MICHAEL HILL
853 W. WASHINGTON BLVD.                 52 TUCKER DRIVE                            222 DELTA DRIVE
APT A-3                                 BAYPORT NY 11705                           MANDEVILLE LA 70448
OAK PARK IL 60302



MICHAEL HILSCHER                        MICHAEL HILTZIK                            MICHAEL HIMOWITZ
139 MARBLE CANYON DRIVE                 4417 HAZELNUT AVENUE                       8403 MEADOWSWEET ROAD
FOLSOM CA 95630                         SEAL BEACH CA 90740                        BALTIMORE MD 21208




MICHAEL HIRSCH                          MICHAEL HISERMAN                           MICHAEL HOFER
4910 BRIDLEPATH DRIVE                   27381 VALDERAS                             PO BOX 93
MACUNGIE PA 18062                       MISSION VIEJO CA 92691                     LAPEL IN 46051




MICHAEL HOLIGAN.COM                     MICHAEL HOLTZCLAW                          MICHAEL HORECZKO
13760 NOEL RD.                          2612 CORNET ST                             5952 YORKSHIRE ROAD
SUITE 500                               CHESAPEAKE VA 23321                        CHINO CA 91710
DALLAS TX 75240



MICHAEL HORELICK INC                    MICHAEL HOROWITZ                           MICHAEL HORT
1517 PRINCETON ST NO. 5                 1022 W. BYRON STREET                       210 SUSSEX DRIVE
SANTA MONICA CA 90404                   2E                                         CINNAMINSON NJ 08077
                                        CHICAGO IL 60613



MICHAEL HOSEIN                          MICHAEL HOUSER                             MICHAEL HUBERT
15430 TANGELO BLVD                      P.O. BOX 268                               31263 SHADOW RIDGE DRIVE
WEST PALM BEACH FL 33412                NEW MARKET MD 21774                        MENIFEE CA 92584




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MICHAEL HUGHLETT                      MICHAEL HURD                               MICHAEL IARIA
1131 S. SCOVILLE AVE.                 65 CUBA HILL ROAD                          1151 WEST GRACE STREET
OAK PARK IL 60304                     GREENLAWN NY 11740                         1G
                                                                                 CHICAGO IL 60613



MICHAEL ISRAEL                        MICHAEL IZZO                               MICHAEL J FORGIONE
146-27 28TH AVE.                      14 2ND STREET                              185 CAMBRIDGE DRIVE
FLUSHING NY 11354                     CORAM NY 11727                             COPIAQUE NY 11726




MICHAEL J KUPPER                      MICHAEL J PAGANO                           MICHAEL J ROSE
5828 E SUNNY VISTA AVENUE             7873 EL CERRITO AVENUE                     21 OAK RIDGE DR
OAK PARK CA 91377                     HESPERIA CA 92345                          CROMWELL CT 06416




MICHAEL J SMITH                       MICHAEL J WRAY                             MICHAEL JACOBS
4000 KRISTEN ST.                      246 BALLARD DRIVE                          160 EAST 88TH STREET
SPRING HILL TN 37174                  WEST HARTFORD CT 06119                     NEW YORK NY 10128




MICHAEL JAMES                         MICHAEL JAMES                              MICHAEL JAMES
P.O. BOX 162                          1243 WALNUT STREET                         2105 TREERIDGE CIRCLE
BURBANK CA 91503                      UNIONDALE NY 11553                         BREA CA 92821




MICHAEL JANKOWSKI                     MICHAEL JANSSEN                            MICHAEL JANSSENS
1002 WEST STREET                      3105 CLEARY AVENUE                         2317 W. IOWA
SANTA ANA CA 92703                    APT. #4                                    APT. F1
                                      METAIRIE LA 70002                          CHICAGO IL 60622



MICHAEL JARVIS                        MICHAEL JENSEN                             MICHAEL JESSE
213 PINE ACRE BLVD                    4241 MCCONNELL BLVD                        905 BURLINGTON BEACH
DEER PARK NY 11729                    LOS ANGELES CA 90066                       VALPARAISO IN 46383




MICHAEL JETT                          MICHAEL JOHNSON                            MICHAEL JONES
1 NORTH DREXEL AVENUE                 4379 SW 10TH PLACE                         636 EAST 102ND STREET
LA GRANGE IL 60525                    APT 207                                    CHICAGO IL 60628
                                      DEERFIELD BEACH FL 33442



MICHAEL JONES                         MICHAEL JORDAN                             MICHAEL K HOWARD
851 21ST STREET                       10736 S. SANGAMON                          9919 CHADSEY DRIVE
NEWPORT NEWS VA 23607                 CHICAGO IL 60643                           WHITTIER CA 90603




MICHAEL KANE                          MICHAEL KATES                              MICHAEL KAUFMAN
2105 GATEWOOD PLACE                   4700 WOODLAND AVENUE                       5017 COLFAX AVE.
SILVER SPRING MD 20903                WESTERN SPRINGS IL 60558                   #2
                                                                                 VALLEY VILLAGE CA 91601




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MICHAEL KECHICHIAN                    MICHAEL KELLAMS                            MICHAEL KELLIHER
8984 HANNA AVENUE                     1616 MAIN STREET                           1260 W. WASHINGTON BLVD.
WEST HILLS CA 91304                   EVANSTON IL 60202                          #507
                                                                                 CHICAGO IL 60607



MICHAEL KELLY                         MICHAEL KENNY                              MICHAEL KERTEZ
102 RIDGEWOOD DR                      1918 MORGAN CIRCLE                         5146 N. LEAVITT
LONGWOOD FL 32779                     NAPERVILLE IL 60565                        CHICAGO IL 60625




MICHAEL KIELBA                        MICHAEL KOBUS                              MICHAEL KODAS
1181 ARBOR LANE                       8201 SELWIN COURT                          220 OXFORD STREET
PALATINE IL 60067                     BALTIMORE MD 21237                         HARTFORD CT 06105




MICHAEL KOEPP                         MICHAEL KOLAR                              MICHAEL KUC
3546 EDIWHAR AVE.                     6461 W. WARNER                             2521 SOUTH 15TH AVENUE
SAN DIEGO CA 92123                    APT # 203                                  BROADVIEW IL 60155
                                      CHICAGO IL 60634



MICHAEL KURMASKIE                     MICHAEL KUSEK                              MICHAEL KYLE
32 COOLIDGE STREET                    26 CENTER STREET                           842 SUMMIT LAKE DRIVE
WINDSOR LOCKS CT 06096                APT. #6                                    WEST PALM BEACH FL 33406
                                      NORTHAMPTON MA 01060



MICHAEL L ABRAMSON PHOTOGRAPHY INC    MICHAEL L BARR                             MICHAEL LAFFERTY
3312 W BELLE PLAINE AVE NO.1          13416 CASTANA AVENUE                       32 RIVER BLUFF TR
CHICAGO IL 60618                      DOWNEY CA 90242                            DEBARY FL 32713




MICHAEL LAFLEUR                       MICHAEL LAROSA                             MICHAEL LASKA
6503 N. MILITARY TRAIL                7 ACORN LANE                               1334 E. ACACIA AVENUE
APT 3100                              FARMINGTON CT 06032                        GLENDALE CA 91205
BOCA RATON FL 33496



MICHAEL LASKY                         MICHAEL LASPINA                            MICHAEL LATUSZEK
65 E. SCOTT ST.                       44 HIGBIE LANE                             501 WELLINGTON CIRCLE
APT. 3C                               WEST ISLIP NY 11795                        O
CHICAGO IL 60610                                                                 BROWNSBURG IN 46112



MICHAEL LATZ                          MICHAEL LAUGHLIN                           MICHAEL LAVKER
2392 GEORGETOWN CIRCLE                2004 N 44 AVE                              142 KINGFISHER ROAD
AURORA IL 60503                       HOLLYWOOD FL 33021                         LEVITTOWN NY 11756




MICHAEL LAWRENCE                      MICHAEL LAXINETA                           MICHAEL LEAHY
30 EDGEMONT AVENUE                    117 SEVEN BRIDGES ROAD                     20 N. WACKER DR.
WEST HARTFORD CT 06110                CHAPPAQUA NY 10514                         ROOM 1032
                                                                                 CHICAGO IL 60606




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MICHAEL LEARY                           MICHAEL LEMBO                                 MICHAEL LEONA
1926 GOLDEN GATE LANE                   731 OUTLOOK AVENUE                            20 DALEY PLACE
NAPERVILLE IL 60563                     NORTH BABYLON NY 11704                        APT. 135
                                                                                      LYNBROOK NY 11563



MICHAEL LETTERIO                        MICHAEL LEV                                   MICHAEL LEVENE
7 SUNSET LANE                           854 APPLE TREE LANE                           3129 WEAVER AVE
MILLER PLACE NY 11764                   HIGHLAND PARK IL 60035                        BALTIMORE MD 21214




MICHAEL LEVIN                           MICHAEL LIDDELL                               MICHAEL LIND
10569 E CLAIRMONT CIRCLE                2901 S. KING DR                               75 MELANIE LANE
TAMARAC FL 33321                        #1615                                         SYOSSET NY 11791
                                        CHICAGO IL 60616



MICHAEL LINDO                           MICHAEL LISTER                                MICHAEL LITTLE
77 OXFORD ST                            3542 N. LEAVITT ST., #1                       6145 NORTH LAKEWOOD
LINDENHURST NY 11757                    CHICAGO IL 60618                              CHICAGO IL 60660




MICHAEL LIU                             MICHAEL LOCHRIDGE                             MICHAEL LOEWE
345 W FULLERTON PARKWAY                 782 SWAYING PALM DRIVE                        642 PRESTWICK TRIAL
1305                                    APOPKA FL 32712                               BEL AIR MD 21014
CHICAGO IL 60614



MICHAEL LOGAN                           MICHAEL LONG                                  MICHAEL LONGEWAY
4 S. 110 CURTIS AVENUE                  11297 OLDFIELD DRIVE                          5720 W. DAKIN ST.
WARRENVILLE IL 60555                    CARMEL IN 46033                               CHICAGO IL 60634




MICHAEL LOW                             MICHAEL LUCCHESI                              MICHAEL LUCZAK
1238 AGATE ST.                          158 MARGARET DRIVE                            12836 COMMERCIAL AVE
APT. B                                  EAST MEADOW NY 11554                          CHICAGO IL 60633
REDONDO BEACH CA 90277



MICHAEL LUJAN                           MICHAEL LULKOWSKI                             MICHAEL LUPINACCI
110 EAST HILLCREST BLVD                 1071 LINCOLN DR.                              27 HIGH STREET
APT.# 205                               MANTENO IL 60950                              GREENWICH CT 06830
INGLEWOOD CA 90301



MICHAEL MACARIO                         MICHAEL MACHADO                               MICHAEL MADSEN
P.O. BOX 1815                           3307 MISTFLOWER LANE                          6026 NORTH WINTHROP AVENUE
WEST BABYLON NY 11704                   NAPERVILLE IL 60564                           APT #5E
                                                                                      CHICAGO IL 60660



MICHAEL MAHR                            MICHAEL MAIER                                 MICHAEL MAKOFSKE
17 THERESA COURT                        11936 S. 74TH AVE.                            21195 CEDAR LANE
NORTH PATCHOGUE NY 11772                PALOS HEIGHTS IL 60463                        MISSION VIEJO CA 92691




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MICHAEL MALEE                        MICHAEL MALHEIRO                           MICHAEL MALONE
3721 N. MILWAUKEE AVE                2013 MACLAND SQUARE DR.                    1340 N. KNOLLWOOD DRIVE
UNIT 2                               MARIETTA GA 30064                          PALATINE IL 60067
CHICAGO IL 60641



MICHAEL MANAS                        MICHAEL MANNICCI                           MICHAEL MANOCCHIO
294 OLD COLONY ROAD                  849 CLEARVIEW LANE                         2525 HITCHCOCK DR
HARTSDALE NY 10530                   BETHLEHEM PA 18017                         ALHAMBRA CA 91803




MICHAEL MARAVILLA                    MICHAEL MARCINCZYK                         MICHAEL MARCINIAK
138-30 68TH DRIVE                    46 BUENA VISTA DRIVE                       1178 SHAWFORD WAY
UNIT 3D                              EAST HARTFORD CT 06118                     ELGIN IL 60120
KEW GARDENS NY 11367



MICHAEL MARDERNESS                   MICHAEL MARIN                              MICHAEL MARISCAL
P.O. BOX 274                         30 CASINO DRIVE                            9032 BURMA ROAD
BEL AIR MD 21014                     SARATOGA SPRINGS NY 12866                  APT #1
                                                                                PICO RIVERA CA 90660



MICHAEL MARKS                        MICHAEL MARONEY                            MICHAEL MARTIN
625 NORTH ROHLWING ROAD              60 OAKDALE ROAD                            1725 HARMONY LANE
PALATINE IL 60074-7176               CENTERPORT NY 11721                        ARNOLD MO 63010




MICHAEL MARTIN                       MICHAEL MARTIN SR                          MICHAEL MARTINEZ
10920 ELDERWOOD LANE                 389 CLIFF DRIVE                            9019 HARGIS ST.
SAN DIEGO CA 92131                   #3                                         LOS ANGELES CA 90034-1926
                                     PASADENA CA 91107



MICHAEL MASON                        MICHAEL MATEJA                             MICHAEL MATHIS
16232 11TH AVENUE NE                 7331 S. 86TH AVENUE                        13257 PAULINE CT
SHORELINE WA 98155                   JUSTICE IL 60458                           ORLAND PARK IL 60462




MICHAEL MATRANGA                     MICHAEL MATUSKA                            MICHAEL MAUCERI
140 VILLAGE GREEN DRIVE              604 CHURCHVILLE ROAD                       88-39 FRANCIS LEWIS BLVD.
PORT JEFFERSON STATION NY 11776      APT B                                      QUEENS VILLAGE NY 11427
                                     BEL AIR MD 21014



MICHAEL MAYO                         MICHAEL MCANDREWS                          MICHAEL MCCANNON
317 SE THIRD TERRACE                 164 KEENEY STREET                          1225 LIBERTY SQUARE
DANIA FL 33004                       GLASTONBURY CT 06033                       BELCAMP MD 21017




MICHAEL MCCONNELL                    MICHAEL MCCOY                              MICHAEL MCCUNE
9251 WELFORD COURT                   821 SW 20 ST                               175 SAW MILL ROAD
SACRAMENTO CA 95829                  FORT LAUDERDALE FL 33315                   MIDDLETOWN CT 06457




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MICHAEL MCGEHEE                      MICHAEL MCGOUGH                             MICHAEL MCGOWAN
417 W. 4TH STREET                    2000 CONNECTICUT AVENUE NW                  2358 CHERRY TREE LANE
#G                                   APT#410                                     DIAMOND IL 60416
LONG BEACH CA 90802                  WASHINGTON DC 20008



MICHAEL MCGRADY                      MICHAEL MCKAY                               MICHAEL MCKELVEY
PO BOX 27                            4325 W. 182ND ST                            4334 NW 9TH AVE
LILLIWAUP WA 98555                   #19                                         BOX 126
                                     TORRANCE CA 90504                           POMPANO BEACH FL 33064



MICHAEL MCKIERNAN                    MICHAEL MCLAUGHLIN                          MICHAEL MCLEOD
8069 WILDWOOD LANE                   4 NORTH OAK STREET                          1615 BEATRICE DRIVE
DARIEN IL 60561                      HUDSON FALLS NY 12839                       ORLANDO FL 32810




MICHAEL MCNEICE                      MICHAEL MCSTEEN                             MICHAEL MCTOY
416 BIRCHWOOD ROAD`                  39-50 51ST STREET                           3625 W 84TH PLACE
MEDFORD NY 11763                     THIRD FLOOR                                 CHICAGO IL 60652
                                     WOODSIDE NY 11377



MICHAEL MECHANICK                    MICHAEL MEDINA                              MICHAEL MEJIA
2025 S STREET #201                   900 N. HACIENDA BLVD.                       1019 BOXWOOD DR #303
SACRAMENTO CA 95816                  APT. # 372                                  MT. PROSPECT IL 60056
                                     LA PUENTE CA 91744



MICHAEL MELTZER                      MICHAEL MENDELSON                           MICHAEL MEROLA
621 LAKEVIEW ST.                     19 PRESIDENT ST                             520 EAST 81ST STREET
A5                                   OAKDALE NY 11769                            APT. 11G
ORLANDO FL 32804                                                                 NEW YORK NY 10028



MICHAEL MEYER                        MICHAEL MEYER                               MICHAEL MIAZGA
1423 ESCOTT                          63 ARON DR.                                 1249 KEOUGH ST.
GRAND RAPIDS MI 49504                BOHEMIA NY 11716                            LEMONT IL 60439




MICHAEL MILANO                       MICHAEL MILLER                              MICHAEL MILLER
1216 N. DEARBORN PKWY                28932 HEATON LANE                           68 FRENCH MOUNTAIN DRIVE
3A                                   MENIFEE CA 92584                            LAKE GEORGE NY 12845
CHICAGO IL 60610



MICHAEL MILLER                       MICHAEL MINER                               MICHAEL MIORELLI
610 ARBOLADO DRIVE                   1110 NEEDHAM RD                             250 KRISTIN LANE
FULLERTON CA 92835                   NAPERVILLE IL 60563                         ALLENTOWN PA 18104




MICHAEL MITNICK                      MICHAEL MITSTIFER                           MICHAEL MOFFA
1107 CLARK LN                        281 W. WALNUT TREE DR.                      1003 CORKWOOD DR.
DES PLAINES IL 60016                 BLANDON PA 19510                            OVIEDO FL 32765




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MICHAEL MOHR                           MICHAEL MOODY                              MICHAEL MORGAN
23 OVERHILL ROAD                       P O BOX 1411                               2710 W. GREGORY STREET
ELMSFORD NY 10523                      GLEN BURNIE MD 21060                       CHICAGO IL 60625




MICHAEL MORRIS                         MICHAEL MORROW                             MICHAEL MOTOYASU
4101 W. ARNOLD PLACE                   24423 SCHIVENER HOUSE LANE                 23825 BELLA VISTA DRIVE
OAKLAWN IL 60453                       KATY TX 77493                              NEWHALL CA 91321




MICHAEL MOUKHEIBER                     MICHAEL MUNOZ                              MICHAEL MURPHY
7 CITATION CIRCLE                      12851 ORPINGTON ST.                        8133 S YALE
WHEATON IL 60187                       APT 312                                    CHICAGO IL 60620
                                       ORLANDO FL 32826



MICHAEL MURPHY                         MICHAEL MURRAY                             MICHAEL MURRAY
3490 EMERYWOOD LANE                    2924 W 98TH STREET                         3952 WHISTLE TRAIN ROAD
ORLANDO FL 32812-7569                  EVERGREEN PARK IL 60805                    BREA CA 92823




MICHAEL MUSKAL                         MICHAEL MYERS                              MICHAEL NAPIER
1091 LINDA GLEN DR                     4006 TIDEWOOD RD.                          1091 WOODFIELD ROAD
PASADENA CA 91105                      BALTIMORE MD 21220                         GREENACRES FL 33415




MICHAEL NAPOLITANO                     MICHAEL NELSON                             MICHAEL NESSER
1080 SHAFFER TRAIL                     8 HONEYCOME ROAD                           12324 MONTANA AVENUE
OVIEDO FL 32765                        BALTIMORE MD 21220                         UNIT 1
                                                                                  LOS ANGELES CA 90049



MICHAEL NEWMAN                         MICHAEL NG                                 MICHAEL NIEDERMEIER
683 ASHFORD OAKS DR.                   15 WINTER LANE                             1230 QUAIL RIDGE
APT. 105                               HICKSVILLE NY 11801                        IRVINE CA 92603
ALTAMONTE SPRINGS FL 32714



MICHAEL NIKLAUSKI                      MICHAEL NORMAN                             MICHAEL NORRIS
232 HARVARD AVENUE                     928 ALLEGRE DR                             14350 HOLLY BERRY CIRCLE
LANCASTER PA 17603                     CORONA CA 92879                            FISHERS IN 46038




MICHAEL NORTH                          MICHAEL NOWAK                              MICHAEL O'CONNOR
136-35 219TH STREET                    3512 W. MCLEAN AVE.                        668 N. HAMILTON AVE
LAURELTON NY 11413                     CHICAGO IL 60647                           LINDENHURST NY 11757




MICHAEL O'CONNOR                       MICHAEL O'DONNELL                          MICHAEL O'HAGAN
1401 SOUTH STATE STREET                14500 DALLAS PARKWAY                       54 OAKDALE AVENUE
2205                                   APT # 146                                  SELDEN NY 11784
CHICAGO IL 60605                       DALLAS TX 75254




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MICHAEL O'NEILL                        MICHAEL O'NEILL                              MICHAEL OLLOVE
1117 OAK TREE DRIVE                    23 CAYUGA ROAD                               6000 OVERLOOK PL
HAVRE DE GRACE MD 21078                SCARSDALE NY 10583                           BALTIMORE MD 21210




MICHAEL OLMOS                          MICHAEL ONEAL                                MICHAEL ONEILL
1579 KENDALL DR                        5043 N. OAKLEY AVE.                          26459 137TH AVENUE SE
SAN BERNARDINO CA 92407                CHICAGO IL 60625                             KENT WA 98042




MICHAEL ORTMEIER                       MICHAEL OSHANN                               MICHAEL OSSO
6733 SOUTH ASH WAY                     4602 W AVENUE #M-8                           3033 DONNYBROOK LANE
CENTENNIAL CO 80122                    QUARTZ HILL CA 93536                         COSTA MESA CA 92626




MICHAEL OTERO                          MICHAEL OWENS                                MICHAEL OWENS
795 1/2 W. 12TH STREET                 1441 LANARK STREET                           160 EAST CORSON STREET
POMONA CA 91766                        FLOSSMOOR IL 60422                           APT 434
                                                                                    PASADENA CA 91101



MICHAEL PAFUMI                         MICHAEL PAKENHAM                             MICHAEL PALOMA
7 SHORT WAY                            221 PINE WOODS ROAD                          5619 REMMELL AVENUE
SHOREHAM NY 11786                      WELLSVILLE PA 17365-9544                     BALTIMORE MD 21206




MICHAEL PALOMAR                        MICHAEL PANKOW                               MICHAEL PARADIS
3302 TRAYMORE DRIVE                    5451 N. EAST RIVER RD.                       6 ROBERT ROGERS AVENUE
JOLIET IL 60431                        APT. 805                                     FORT EDWARD NY 12828
                                       CHICAGO IL 60656



MICHAEL PARADISO                       MICHAEL PARKS                                MICHAEL PAUL
1111 W 15TH STREET                     1211 S EUCLID AVENUE                         5507 LIME AVENUE
APT. #211                              PASADENA CA 91106                            UNIT # 2
CHICAGO IL 60608                                                                    LONG BEACH CA 90805



MICHAEL PERROTTI                       MICHAEL PERSICHINA                           MICHAEL PETRASEK
39 WEST POINT TERRACE                  47 DAPPLEGRAY LANE                           621 HUDSON AVENUE
WEST HARTFORD CT 06107                 ROLLING HILLS EST CA 90274                   ROMEOVILLE IL 60446




MICHAEL PFLUEGL                        MICHAEL PHILLIPS                             MICHAEL PHILLIPS
833 W. CORNELIA AVE.                   4451 N RICHMOND STREET                       212 WESTLAKE COURT
APT. 1S                                CHICAGO IL 60625                             NICEVILLE FL 32578
CHICAGO IL 60657



MICHAEL PIERCE                         MICHAEL PIERCE                               MICHAEL PINTO
764 ELMWOOD ROAD                       6805 DUNMORE AVENUE                          97 EAST 12 STREET
WEST BABYLON NY 11704                  CITRUS HEIGHTS CA 95621                      HUNTINGTON STATION NY 11746




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MICHAEL PISKORSKI                      MICHAEL PITTAM                             MICHAEL PLOMER
144 MISTY MOUNTAIN ROAD                3629 N. BERNARD ST.                        140 OLD KINGS HIGHWAY
KENSINGTON CT 06037                    CHICAGO IL 60618                           WILTON CT 06897




MICHAEL PLUNKETT                       MICHAEL PRATER                             MICHAEL PRICE
6820 MILLCREEK ROAD                    509 BIRMINGHAM STREET                      419 HUNTINGTON WAY
SLATINGTON PA 18080                    BRIDGEPORT CT 06606                        SMITHFIELD VA 23430




MICHAEL PRINZI                         MICHAEL PROPER                             MICHAEL PULLIAM
P. O. BOX 336                          17414 88TH AVE                             411 WESTSIDE BLVD
OYSTER BAY NY 11771                    TINLEY PARK IL 60487-7306                  BALTIMORE MD 21228




MICHAEL R KENNEDY                      MICHAEL R YOUNG                            MICHAEL R. AVERY/SCOTT ENT
2015 MONTECITO DR                      333 CLAY ST                                BOX 554
GLENDALE CA 91208                      NEVADA CITY CA 95959                       WESTBURY NY 11590




MICHAEL RANDALL                        MICHAEL RASOR                              MICHAEL RAYMOND
44264 TAHOE WAY                        2617 JOE ADLER DR.                         2 JUNIPER AVENUE
LANCASTER CA 93536                     PLAINFIELD IL 60544                        EASTON PA 18045




MICHAEL RE                             MICHAEL REGAN                              MICHAEL REST
56 IVY LANE                            P.O. BOX 122                               6202 AMBERLY CIRCLE
NEWINGTON CT 06111                     NEWBURY NH 03255                           SUFFOLK VA 23435




MICHAEL REYES                          MICHAEL REYNOLDS                           MICHAEL RICH
1343 N. EDGEMONT ST                    5 ROBERTSON STREET                         17824 BOCK RD
LOS ANGELES CA 90027                   GLENS FALLS NY 12801                       LANSING IL 60438




MICHAEL RILEY                          MICHAEL RINELLA                            MICHAEL RIORDAN
7 WINTERBERRY COURT                    1247 PRIMROSE LN                           500 WEST SUPERIOR STREET
STREAMWOOD IL 60107                    SCHERERVILLE, IN 46375                     UNIT# 903
                                                                                  CHICAGO IL 60610



MICHAEL RIOS                           MICHAEL RISPER                             MICHAEL RIVERA
958 MISTY CANYON AVENUE                2217 B. EAST 100TH STREET                  2598 FALCON ST
WESTLAKE VILLAGE CA 91362              CHICAGO IL 60617                           EAST MEADOW NY 11554




MICHAEL RIZZO                          MICHAEL ROBERTS                            MICHAEL ROBERTS
8551 WEST CLARA DRIVE                  3092 SOUTH FAIRPLAY STREET                 24 ROSE LANE
NILES IL 60714                         AURORA CO 80014                            QUEENSBURY NY 12804




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MICHAEL ROBERTS                        MICHAEL ROBINSON                           MICHAEL ROBINSON CHAVEZ
902 PARK AVENUE                        332 BROOKSIDE AVE                          9372 STOCKTON ROAD
APT# 4                                 ROOSEVELT NY 11575                         MOORPARK CA 93021
HOBOKEN NJ 07030



MICHAEL ROBISON                        MICHAEL ROCHE                              MICHAEL RODENSKY
16812 SAUSALITO DR                     44 BULGER STREET                           705 LAKE STREET
WHITTIER CA 90603                      BABYLON NY 11702                           APT. 35
                                                                                  BRISTOL CT 06010



MICHAEL RODRIGUEZ                      MICHAEL RODRIGUEZ                          MICHAEL ROMAN
800 S. WELLS                           2630 CHESHIRE DRIVE                        110-11 QUEENS BLVD
APT. #927                              AURORA IL 60504                            APT. # 28 N
CHICAGO IL 60607                                                                  FOREST HILLS NY 11375



MICHAEL ROSATO                         MICHAEL ROSE                               MICHAEL ROSE
12 COUNTRY OAKS DR                     563 SAWMILL RIVER ROAD                     5170 W. 2ND ST
KINGS PARK NY 11754                    MILLWOOD NY 10546                          LOS ANGELES CA 90004




MICHAEL ROSINSKI                       MICHAEL ROSS                               MICHAEL ROSS
2000 CRYSTAL SPRINGS RD                5340 N. LOWELL                             5909 ABBEY ROAD
15-26                                  #505                                       TAMARAC FL 33321
SAN BRUNO CA 94066                     CHICAGO IL 60630



MICHAEL ROTHFELD                       MICHAEL ROTHMAN                            MICHAEL ROXBERRY
2681 MONTGOMERY WAY                    11706 NW 47TH STREET                       1629 RADER AVENUE
SACRAMENTO CA 95818                    CORAL SPRINGS FL 33076                     BETHLEHEM PA 18015




MICHAEL ROYKO TRUST                    MICHAEL ROYKO TRUST                        MICHAEL RUSSELL
265 E DEERPATH                         C/O JUDY ROYKO                             65 SARGEANT STREET
LAKE FOREST IL 60045                   265 E DEERPATH                             2ND FLOOR
                                       LAKE FOREST IL 60045                       HARTFORD CT 06105



MICHAEL RYAN                           MICHAEL S GIBBONS                          MICHAEL SAAVEDRA
7 CENTER STREET                        7833 JOLIET DRIVE SOUTH                    1912 SOMMERVILLE DRIVE
UNIT 2212                              TINLEY PARK IL 60477                       HAMPTON VA 23663
OCEAN NJ 07712



MICHAEL SACKS                          MICHAEL SADONIS                            MICHAEL SALLEE
1640 GRANDVIEW BLVD                    56 SHARON DRIVE                            712 SW 81ST AVE
KISSIMMEE FL 34744                     WALLINGFORD CT 06492                       APT 7B
                                                                                  NORTH LAUDERDALE FL 33068



MICHAEL SALVIA                         MICHAEL SALVITTI                           MICHAEL SANDERS
709 OLD BETHPAGE ROAD                  2 BROOK RUN DRIVE                          2440 NW 64TH AVE
OLD BETHPAGE NY 11804                  MEDFORD NY 11763                           SUNRISE FL 33313




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MICHAEL SANSONE                       MICHAEL SANTA RITA                         MICHAEL SANTELL
9041 LIABLE RD                        8715 FIRST AVENUE                          2867 NE 15TH STREET
HIGHLAND IN 46322                     SILVER SPRING MD 20910                     POMPANO BEACH FL 33062




MICHAEL SANTISTEVAN                   MICHAEL SAXON                              MICHAEL SCHAFER MD
941 WORTHINGTON COURT                 2200 PATRIOT BLVD                          1815 W RIDGEWOOD LANE
OVIEDO FL 32765                       APT 344                                    GLENVIEW IL 60025
                                      GLENVIEW IL 60026



MICHAEL SCHARF                        MICHAEL SCHEAR                             MICHAEL SCHINELLA
82 ATRIUM WAY                         98 EMWOOD DR                               543 CHRISTIE STREET
MANALAPAN NJ 07726                    EMERSON NJ 07630                           SOUTH HEMPSTEAD NY 11550




MICHAEL SCHMIEMAN                     MICHAEL SCHROBO                            MICHAEL SCHULTZ
665 ENFIELD ST.                       5557 W. 6TH STREET                         1258 N. GROVE AVENUE
APT. B-19                             APT# 1113                                  PALATINE IL 60067
BOCA RATON FL 33487                   LOS ANGELES CA 90036



MICHAEL SCHWARTZMAN                   MICHAEL SCIACCA                            MICHAEL SCOTT
11273 LAKEVIEW DR                     4591 WINTHROP DR.                          1666 GAMMON LANE
CORAL SPRINGS FL 33071                HUNTINGTON BEACH CA 92649                  ORLANDO FL 32811




MICHAEL SCOTT                         MICHAEL SCOTT MENDEZ                       MICHAEL SHENSTONE
83 COLMAN ST                          4457 HEATHER CIRCLE                        83 FERRY LANE
NEW LONDON CT 06320                   CHINO CA 91710                             SOUTH GLASTONBURY CT 06073




MICHAEL SHERMAN                       MICHAEL SHERRILL                           MICHAEL SIMMS
269 S. BEVERLY DR.                    7645 S. EUCLID AVE.                        1794 ORWIG ROAD
APT # 1191                            CHICAGO IL 60649                           NEW FREEDOM PA 17349
BEVERLY HILLS CA 90212



MICHAEL SISSON                        MICHAEL SLASON                             MICHAEL SLAUGHTER
21 BELOAK COURT                       241 WHITTIER CIRCLE                        15932 EASTWIND CIR.
BALTIMORE MD 21236                    ORLANDO FL 32806                           SUNRISE FL 33326




MICHAEL SLETTEN                       MICHAEL SMITH                              MICHAEL SMITH
PO BOX 206                            69 SEDGLY ROAD                             P. O. BOX 555463
DAVISVILLE MO 65456                   LIMINGTON ME 04049                         ORLANDO FL 32805




MICHAEL SMITH                         MICHAEL SMITH                              MICHAEL SMITH
1005 W. CROSS STREET                  1864 JANE ST                               416 FORELAND GARTH
BALTIMORE MD 21230                    WANTAGH NY 11793                           ABINGDON MD 21009




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MICHAEL SMITH                         MICHAEL SNYDER                             MICHAEL SORDO
14006 PALAWAN WAY                     3133 CORAL APT B                           10326 SILVERTON AVENUE
#304                                  COSTA MESA CA 92626                        TUJUNGA CA 91042
MARINA DEL REY CA 90292-6218



MICHAEL SOTO                          MICHAEL SPERA, PRO SE                      MICHAEL SRAGOW
301 KNOB HILL AVENUE                  DEPUTY POLICE CHIEF                        348 HOMELAND SOUTHWAY
APT#29                                OLD SAYBROOK POLICE DEPARTMENT             BALTIMORE MD 21212
REDONDO BEACH CA 90277                225 MAIN ST
                                      OLD SAYBROOK CT 06475


MICHAEL STANLEY                       MICHAEL STANULIS                           MICHAEL STASINOS
120 EAGLES NEST LANE                  310 TIMBER RIDGE ROAD                      6449 WEST RAVEN
PORT ANGELES WA 98363                 MIDDLETOWN CT 06457                        CHICAGO IL 60631




MICHAEL STECKLER                      MICHAEL STEWART                            MICHAEL STOCKER
60 GARDNER AVE                        44509 WATFORD STREET                       1545 WASHINGTON STREET
HICKSVILLE NY 11801                   LANCASTER CA 93535                         HOLLYWOOD FL 33020




MICHAEL STRACKE                       MICHAEL STREETER                           MICHAEL STRICKLAND
8377 WILLIAMSTOWN DR                  350 S VALLEY ROAD                          8106 MAHOGANY DR
MILLERSVILLE MD 21108                 BARRINGTON IL 60010                        BOYNTON BEACH FL 33436




MICHAEL SUAREZ                        MICHAEL SULAIMAN                           MICHAEL SULLIVAN
4831 NW 12 ST                         2964 COURTLAND BLVD                        3 RYAN AVENUE
LAUDERHILL FL 33313                   DELTONA FL 32738                           QUEENSBURY NY 12804




MICHAEL SULLIVAN                      MICHAEL SULLIVAN                           MICHAEL SUTHERLIN
404 S. ELMWOOD AVENUE                 1014 WILLA LAKE CIRCLE                     12391 LEE LANE
OAK PARK IL 60302                     OVIEDO FL 32765                            GARDEN GROVE CA 92840




MICHAEL SUTTON                        MICHAEL SWANSON                            MICHAEL SWEENEY
600 MOJAVE TRAIL                      P.O. BOX 597                               2015 E BROADWAY
MAITLAND FL 32751                     LAKE ARROWHEAD CA 92352                    APT#203
                                                                                 LONG BEACH CA 90803



MICHAEL SWEENEY                       MICHAEL SYKES                              MICHAEL TANGREDI
1341 NEWCASTLE LANE                   465 WILLOW STREET                          812 HELENE STREET
BARTLETT IL 60103                     WATERBURY CT 06710                         WANTAGH NY 11793




MICHAEL TAYLOR                        MICHAEL TELLADIRA                          MICHAEL TERCHA
7300 SOUTH EVANS                      4250 WATERSIDE POINTE CIRCLE               2734 W. EVERGREEN AVE.
CHICAGO IL 60619                      ORLANDO FL 32829                           CHICAGO IL 60622




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MICHAEL TERWILLEGER                     MICHAEL THOENES                            MICHAEL THOMAS
1420 NORTH EAST 55TH STREET             3696 SOUTH 1ST STREET                      905 ROBLEY PLACE
FORT LAUDERDALE FL 33334                MILWAUKEE WI 53207                         CARDIFF CA 92007




MICHAEL THOMAS                          MICHAEL THOMPSON                           MICHAEL TILLMAN
816 TUSCARORA TRAIL                     1208 MARTIN DRIVE                          3201 WESTMONT AVE
MAITLAND FL 32751                       WANTAGH NY 11793                           BALTIMORE MD 21216




MICHAEL TOOMEY                          MICHAEL TORELLO                            MICHAEL TORREGROSSA
1513 ANDREA DRIVE                       2 COTTAGE PLACE                            4579 NW 90TH AVENUE
NEW LENNOX IL 60451                     GREENWICH CT 06830                         SUNRISE FL 33351




MICHAEL TOVAR                           MICHAEL TOWNSEND                           MICHAEL TREZZA
1754 1/2 LUCRETIA AVENUE                35 GINGER LANE                             282 S 2ND ST
LOS ANGELES CA 90026                    #126                                       LINDENHURST NY 11757
                                        EAST HARTFORD CT 06118



MICHAEL TURKO                           MICHAEL TURNBELL                           MICHAEL VALENTI
1269 PENNSYLVANIA AVENUE                2607 NE 8TH AVENUE                         400 TAMARAC DR
EMMAUS PA 18049                         APT 12                                     PASADENA CA 91105
                                        WILTON MANORS FL 33334



MICHAEL VAN NORREN                      MICHAEL VANACORE                           MICHAEL VANDENBERG
7912 LAKESIDE WOODS DRIVE               43 QUAIL RUN                               3462 BALSAM NE
ORLANDO FL 32810                        MADISON CT 06443                           GRAND RAPIDS MI 49525




MICHAEL VERNOIA                         MICHAEL VITAS                              MICHAEL VOLINO
3024 ACORN LANE                         307 PERSHING AVENUE SW                     64 SOUTH WINDHORST AVENUE
RED LION PA 17356                       GLENBURNIE MD 21061                        BETHPAGE NY 11714




MICHAEL VRANA                           MICHAEL W. OWENS                           MICHAEL WADA
1204 BROOKHAVEN PARK PLACE              MICHAEL OWENS, PRO SE                      18063 MAMOTH COURT
ATLANTA GA 30319                        POWHATAN CORRECTIONAL CENTER               FOUNTAIN VALLEY CA 92708
                                        STATE FARM VA 23160



MICHAEL WALDRON                         MICHAEL WALLER                             MICHAEL WALSH
721 NORTH ADAMS STREET                  8172 RALSTON CT                            11472 SANDSTONE
GLENDALE CA 91206                       APT C                                      FOUNTAIN VALLEY CA 92708
                                        CROWNE POINT IN 46307-1248



MICHAEL WALTERS                         MICHAEL WARD                               MICHAEL WEBBER
750 N. DEARBORN STREET                  220 EAST 22ND STREET                       330 54TH STREET SW
APT. #1704                              #3N                                        GRAND RAPIDS MI 49548
CHICAGO IL 60654                        NEW YORK NY 10010




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MICHAEL WEINER                        MICHAEL WEIPPERT                            MICHAEL WEISS
19081 NORWOOD TERRACE                 23 OAK STREET                               8366 BLACKBURN AVE NO.1
IRVINE CA 92603                       CENTEREACH NY 11720                         LOS ANGELES CA 90048




MICHAEL WELLCOME                      MICHAEL WELTE                               MICHAEL WERNER
1031 OLD MEDFORD AVE                  5 PEPPERWOOD CIRCLE                         1746 JOHNSON STREET
FARMINGVILLE NY 11738                 POMONA CA 91766                             BALTIMORE MD 21230




MICHAEL WHELAN                        MICHAEL WHITE                               MICHAEL WHITE
3 HOLLYWOOD DR                        801 WELDONA LANE                            70 TORCHWOOD AVENUE
SMITHTOWN NY 11787                    #202                                        PLANTATION FL 33324
                                      ORLANDO FL 32801



MICHAEL WHITLEY                       MICHAEL WIELAND                             MICHAEL WIGGINS
6126 MELVIL STREET                    432 W. SURF ST.                             65 MOUNT JOY AVENUE
LOS ANGELES CA 90034                  APT. 308                                    FREEPORT NY 11520
                                      CHICAGO IL 60657



MICHAEL WILDER                        MICHAEL WILLIAMS                            MICHAEL WILLIAMS
8908 SOUTHVIEW AVE.                   1340 W. LOCUST ST                           1750 NORTH WILCOX AVENUE
BROOKFIELD IL 60513                   ONTARIO CA 91762                            APT#132
                                                                                  LOS ANGELES CA 90028



MICHAEL WILLIAMS                      MICHAEL WILLIAMS                            MICHAEL WILMINGTON
24 SOUTH ALBANY                       62 SOUTH WOLF RD                            850 DEWITT PLACE
CHICAGO IL 60612                      APT 114                                     #17D
                                      WHEELING IL 60090                           CHICAGO IL 60611



MICHAEL WILSON                        MICHAEL WILSON                              MICHAEL WILSON
440 SOUTH GIBSON COURT                507 N. GUADALUPE AVE.                       5410 N LOTUS STREET
BURBANK CA 91501                      REDONDO BEACH CA 90277                      CHICAGO IL 60630




MICHAEL WINTERS                       MICHAEL WISEMAN                             MICHAEL WITHERSPOON
15125 W. LONGMEADOW DRIVE             266 GALEWOOD DRIVE                          2606 ALLENDALE ROAD
LOCKPORT IL 60441                     BOLINGBROOK IL 60440                        BALTIMORE MD 21216




MICHAEL WOLF                          MICHAEL WOODS                               MICHAEL WORKMAN
25 MALLORY AVENUE                     5363 ROSSLYN AVE                            301 WARREN AVE.
STATEN ISLAND NY 10305                INDIANAPOLIS IN 46220                       APT. 415
                                                                                  BALTIMORE MD 21230



MICHAEL WRIGHT                        MICHAEL YOUNG                               MICHAEL ZAJAKOWSKI
2700 KECOUGHTAN ROAD                  1331 S. MOUNT VERNON AVENUE                 1115 ORIOLE DRIVE
APT. #A                               APT. #D                                     MUNSTER IN 46321
HAMPTON VA 23661                      WILLIAMSBURG VA 23185




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MICHAEL ZALE                          MICHAEL ZALESKI                            MICHAEL ZIMMERMAN
1408 N. STERLING AVE.                 114 SERPENTINE LANE                        1120 SATINLEAF ST.
UNIT #203                             ISLANDIA NY 11749                          HOLLYWOOD FL 33019
PALATINE IL 60067



MICHAEL ZOELLER                       MICHAEL, CATHERINE M                       MICHAELA APRUZZESE
171 FAIRHARBOR DRIVE                  7820 TIMBER RUN CT                         2425 3RD ST
PATCHOGUE NY 11772                    INDIANAPOLIS IN 46256                      APT A
                                                                                 SANTA MONICA CA 90405



MICHAELA PEREIRA                      MICHAELS MARKETING GROUP INC               MICHAELS, DAVID
P.O. BOX 291803                       80 VARICK ST NO.6B                         6843 TULIP HILL TERRACE
LOS ANGELES CA 90029                  NEW YORK NY 10013                          BETHESDA MD 20816




MICHALAK, CARLA                       MICHALAKIS, PERY D                         MICHALAKIS, PERY D
14965 WADKINS AVE                     1644 THORNE COURT                          1644 THORNE COURT
GARDENA CA 90249                      MERRICK NY 11566                           NO MERRICK NY 11566




MICHALENE BUSICO                      MICHALENE VOLK                             MICHALOV, KIMBERLY M
101 CALIFORNIA AVENUE                 121 S CHURCH STREET                        4145 BUENA VISTA AVE
APT.#506                              1ST FLOOR                                  BALTIMORE MD 21211
SANTA MONICA CA 90403                 MACUNGIE PA 18062



MICHAUD, FRANK                        MICHAUD, JENNIFER L                        MICHAUD, KATHRYN
862 FARMINGTON AVE                    204 E 27TH ST                              PO BOX 364
BRISTOL CT 06010-3929                 HOLLAND MI 49423                           HARWINTON CT 06791




MICHAUD, MARTHA                       MICHAUD, RACHEL                            MICHCO PROPERTIES INC
101 NOOKS HILL RD                     3518 39TH ST NW                            C/O MICHEL
CROMWELL CT 06416                     WASHINGTON DC 20016                        1930 S CLUB DR
                                                                                 WELLINGTON FL 33414



MICHCO PROPERTIES INC                 MICHEAL ORION INDUSTRIES                   MICHEAL VORTHERMS
ATN: MELANIE HEIM                     8980 BRIARWOOD MEADOW LN                   135 STAGECOACH ROAD
C/O DIME SAVINGS BANK                 BOYNTON BEACH FL 33435                     AVON CT 06001
951 MONTAUK HWY
OAKDALE NY 11769


MICHEL FRYDMAN                        MICHEL, EDSON                              MICHEL, EMMANUEL
3143 N. HONORE                        714 KESWICK VILLAGE COURT                  5925 ITHACA CIR W
CHICAGO IL 60657                      CONYERS GA 30013                           LAKE WORTH FL 33463




MICHEL, JEAN C                        MICHEL, LEGRAND                            MICHEL, YAO KOUAKOU
7205 CHESAPEAKE CIRCLE                3800 NE 4TH TERRACE                        30 PLEASANT ST NO.2
BOYNTON BEACH FL 33436                POMPANO BEACH FL 33064                     ENFIELD CT 06082




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MICHEL,DESMER                         MICHELE ALVES                              MICHELE BONK
3307 AVE VILLANDRY                    6B MAKE YOUR OWN WAY                       445 W. BARRY AVENUE
DELRAY BEACH FL 33445                 SARATOGA SPRINGS NY 12866                  APT 307
                                                                                 CHICAGO IL 60657



MICHELE BOYET                         MICHELE CLARK                              MICHELE CONN
7790 HANAHAN PLACE                    181 HAMILTON AVE                           1422 N. LASALLE DR
LAKE WORTH FL 33460                   MASSAPEQUA NY 11758                        405
                                                                                 CHICAGO IL 60610



MICHELE CYNOWICZ                      MICHELE DAGENAIS                           MICHELE DE VENUTO
436 LISK AVE                          455 W. WELLINGTON AVE                      16153 CARLOW CIRCLE
STATEN ISLAND NY 10303                APT. #253                                  MANHATTAN IL 60442
                                      CHICAGO IL 60657



MICHELE EMERSON                       MICHELE EVERETT                            MICHELE GIANNINI
3741 WINDWOOD DRIVE                   1129 W.COTTAGE ST                          2104 TOWNHILL ROAD
ROCKFORD MI 49341                     HOUSTON TX 77009                           PARKVILLE MD 21234




MICHELE GRIESBAUER                    MICHELE HAMPTON                            MICHELE HILL
1819 MAXWELL AVE                      703 PIER AVE.                              7206 OJAI DRIVE
BALTIMORE MD 21222                    APT#B104                                   PALMDALE CA 93551
                                      HERMOSA BEACH CA 90254



MICHELE HOPKINS                       MICHELE J JACKLIN                          MICHELE JACKSON
2557 BRIDLEWOOD COURT                 460 TALL TIMBERS ROAD                      22035 BURBANK BLVD
FINKSBURG MD 21048                    GLASTONBURY CT 06033                       APT 243
                                                                                 WOODLAND HILLS CA 91367



MICHELE JANSY                         MICHELE JOHNSON                            MICHELE KOHLER
4033 W 83RD ST                        856 EAST 48TH ST                           836 ROUND TOP CIRCLE
CHICAGO IL 60652                      BROOKLYN NY 11203                          ALLENTOWN PA 18104




MICHELE MANZO-LEMBO                   MICHELE MAYNARD                            MICHELE MEYER
1771 VISTA DEL VALLE DRIVE            2713 SANDPIPER DR                          106-20 SHORE FRONT PKWY
ARCADIA CA 91006                      COSTA MESA CA 92626                        APT. 5R
                                                                                 ROCKAWAY PARK NY 11694



MICHELE MEYER                         MICHELE MOY                                MICHELE NEWKIRK
29 ORIENTA AVENUE                     26 AMBERLADY CT.                           7426 S. MICHIGAN AVE.
LAKE GROVE NY 11755                   OWINGS MILLS MD 21117                      CHICAGO IL 60619




MICHELE NOBLES                        MICHELE POMMIER TALENT GROUP LLC           MICHELE RINDOCK
2546 NO. LAMER ST.                    927 LINCOLN RD   STE 200                   2689 KENDALL LANE
BURBANK CA 91504                      MIAMI BEACH FL 33139-2620                  BATH PA 18014




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MICHELE SALCEDO                        MICHELE SCOTT-HACKNEY                       MICHELE SOUTHALL
P.O. BOX 34383                         485-42ND STREET                             662-A AQUA VISTA DRIVE
WASHINGTON DC 20043                    COPIAGUE NY 11726                           NEWPORT NEWS VA 23607




MICHELE SWERSEY                        MICHELE TEDESCO                             MICHELE TELGEN
194 SMITH STREET                       592 BAYPORT AVE                             2513 GULFSTREAM LANE
1D                                     BAYPORT NY 11705                            FORT LAUDERDALE FL 33312
FREEPORT NY 11520



MICHELE TINGLEY                        MICHELE VAN GORP                            MICHELINA ROMANO
567 MAIN STREET                        195 SUNNYSIDE EAST                          4071 REMSEN ST
SOMERS CT 06071                        QUEENSBURY NY 12804                         SEAFORD NY 11783




MICHELL CASTRO                         MICHELL HILL                                MICHELLE AGUILERA
970 NE 52 CT                           7245 CROOKED LAKE TRAIL                     814 E. HERRING AVENUE
POMPANO BEACH FL 33064                 ORLANDO FL 32818                            WEST COVINA CA 91790




MICHELLE ANSELMO                       MICHELLE BACA                               MICHELLE BAILEY
150 WINTER PARK COURT                  6301 HEATHERWOOD DRIVE                      519 DARNABY AVE
FENTON MO 63026                        RIVERSIDE CA 92509                          HAMPTON VA 23661




MICHELLE BANDOL                        MICHELLE BERENZ                             MICHELLE CARLSON
1020 W ARDMORE AVE #302                7028 N. SENECA AVE                          65 GLIDDEN AVENUE
CHICAGO IL 60660-3714                  GLENDALE WI 53217                           JAMESTOWN NY 14701




MICHELLE CASTRO                        MICHELLE CORREA                             MICHELLE CRUZ
10540 FERNGLEN AVE                     715D BROWN STREET                           1050 BARBARA COURT
TUJUNGA CA 91042                       PHILADELPHIA PA 19123                       NORTH BELLMORE NY 11710




MICHELLE DE LOS SANTOS                 MICHELLE DEARING                            MICHELLE DELSIGNORE
2600 ZURICH CT.                        2728 N HAMPDEN CT                           19 WRIGHT STREET
WOODRIDGE IL 60517                     APT # 209                                   HUDSON FALLS NY 12839
                                       CHICAGO IL 60614



MICHELLE DRAKE                         MICHELLE EGIDIO                             MICHELLE ESTRADA
9618 S. VAN VLISSINGEN                 544 THATCHER AVENUE                         140 S AVENUE 53
CHICAGO IL 60617                       RIVER FOREST IL 60305                       APT C
                                                                                   LOS ANGELES CA 90042



MICHELLE FLORES                        MICHELLE GARCIA                             MICHELLE GONZALEZ
3230 GRENELL ROAD                      9251 KENNETH AVE                            268 WEST DRYDEN STREET
MIDDLE GROVE NY 12850                  SKOKIE IL 60076                             APT #205
                                                                                   GLENDALE CA 91202




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MICHELLE GRANOBLES                     MICHELLE GUIDO                              MICHELLE HARVEY
83-45 VIETOR AVENUE                    1223 W. PRINCETON ST.                       5907 MONTPELIER DRIVE
2T                                     ORLANDO FL 32804                            WILLIAMSBURG VA 23188
ELMHURST NY 11373



MICHELLE HIEMSTRA                      MICHELLE HOPWOOD                            MICHELLE HOWARD
1511 BAYPOINTE                         1250 W HILLSBORO BLVD                       116 LAUREL LANE
NEWPORT BEACH CA 92660                 APT 342                                     QUEENSBURY NY 12804
                                       DEERFIELD BEACH FL 33442



MICHELLE HURTT                         MICHELLE JAMES                              MICHELLE JOHNSON
127 GOLDFINCH LANE                     265 ELFWOOD LANE                            2010 NE 17TH STREET
BALLSTON SPA NY 12020                  SURRY VA 23883                              #14
                                                                                   FT. LAUDERDALE FL 33305



MICHELLE KASZYCKI                      MICHELLE KECK                               MICHELLE KRACH
19 GRAND CENTRAL AVENUE                76 SUNSET DRIVE                             54 ELLENSUE DR
AMITYVILLE NY 11701                    JIM THORPE PA 18229                         DEER PARK NY 11729




MICHELLE LANDRUM                       MICHELLE LEE                                MICHELLE LIU
123 BRANDON ROAD                       3312 GRIFFITH PARK BLVD.                    4225 NOVEL CT
BALTIMORE MD 21212                     LOS ANGELES CA 90027                        HACIENDA HEIGHTS CA 91745




MICHELLE LONG                          MICHELLE LOPEZ                              MICHELLE LUNIEWSKI
901 GLEN ABBEY CIR                     3625 ST. CHARLES AVE.                       19 EDWIN STREET
WINTER SPRINGS FL 32708                APT. #2H                                    BAY SHORE NY 11706
                                       NEW ORLEANS LA 70115



MICHELLE LYONS                         MICHELLE MALLOY                             MICHELLE MALTAIS
623 WEST 145TH STREET                  470 MOLLIE BOULEVARD                        P.O. BOX 9327
NEW YORK NY 10031                      HOLBROOK NY 11741                           GLENDALE CA 91226-0327




MICHELLE MEYER                         MICHELLE MOORE                              MICHELLE MULLIGAN
731 ARLINGTON ROAD                     110 OLEANDER COURT                          15 WESTWOOD RD.
WEST BABYLON NY 11704                  YORKTOWN VA 23693                           IVORYTON CT 06442




MICHELLE NICKERSON                     MICHELLE NIELSEN                            MICHELLE O'MALLEY
8115 WHITNEY DR                        8 MORTON STREET                             1126 RANDOLPH STREET
RIVERSIDE CA 92509                     FARMINGDALE NY 11735                        3W
                                                                                   OAK PARK IL 60302



MICHELLE OLSZEWSKI                     MICHELLE ORREGO                             MICHELLE PATZ
58 N MAIN STREET                       7608 DE LONGPRE AVE.                        6953 WESTCOTT PLACE
WINDSOR LOCKS CT 06096                 LOS ANGELES CA 90046                        CLARKSVILLE MD 21029




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MICHELLE PEREZ                         MICHELLE PRINDLE                           MICHELLE QUINN
P.O. BOX 26070                         212 SOUTH STREET                           595 62ND STREET
LOS ANGELES CA 90026                   NORTHAMPTON MA 01060                       OAKLAND CA 94609




MICHELLE RAMOS                         MICHELLE RIVERA                            MICHELLE ROBINSON
1769 SW 24TH TERR                      512 MADISON STREET, #3N                    410 GRAND AVENUE
MIAMI FL 33145                         OAK PARK IL 60302                          APT #4
                                                                                  BROOKLYN NY 11238-2490



MICHELLE ROESEMANN                     MICHELLE ROSEN                             MICHELLE ROWAN
249-31 64TH AVENUE                     P.O. BOX 11361                             3130 N. LAKE SHORE DR.
LITTLE NECK NY 11362                   MARINA DEL REY CA 90295                    #1401
                                                                                  CHICAGO IL 60657



MICHELLE RUDDLE                        MICHELLE RYAN                              MICHELLE SIMON
8119 BULLNECK RD                       12 HILLTOP DRIVE                           19 PELICAN ISLE
BALTIMORE MD 21222                     ELLINGTON CT 06029                         FORT LAUDERDALE FL 33301




MICHELLE SMITH                         MICHELLE SOLOMON                           MICHELLE SPENCER
59 SUNSET DRIVE                        1389 SW 106 AVE                            6132 1/2 CRESTWOOD WAY
SOMERS CT 06071                        PEMBROKE PINES FL 33025                    LOS ANGELES CA 90042




MICHELLE STEPANIAK                     MICHELLE WAITE                             MICHELLE WARNER
611 W BRIAR PL #301                    13801 ROANOKE STREET                       47 MUNGER ROAD
CHICAGO IL 60657-4560                  DAVIE FL 33325                             CHICOPEE MA 01020-4527




MICHELLE WASHINGTON                    MICHELLE WATKINS                           MICHELLE WHARTON
319 WILLIAMS STREET                    345 E. EAST GATE PLACE                     1719 HAYLE DRIVE
BEL AIR MD 21014                       APT # 303                                  HANOVER MD 21076
                                       CHICAGO IL 60616



MICHELLE WILLIAMS                      MICHELLE WILSON                            MICHELLE WLEZIEN
4225 ROSEWOOD COURT                    41 GRAND STREET                            29 WILMETTE AVENUE
WILLIAMSBURG VA 23188                  GLENS FALLS NY 12801                       GLENVIEW IL 60025




MICHELLE ZEBRO-RIZZOTTI                MICHELLE ZEPPETELLO                        MICHELMAN, STEVEN T
110 NEW HAMPSHIRE AVE                  103 WOODLAND AVE                           2646 CYPRESS AVENUE
MASSAPEQUA NY 11758                    VERONA CA 7044                             EAST MEADOW NY 11554




MICHELSON, JEFFREY                     MICHI FLOOR CO                             MICHIGAN AVE STREETSCAPE
1148 PECAN LN                          PO BOX 2258                                625 N MICHIGAN AVE SUITE 401
WALNUTPORT PA 18088                    GARDENA CA 90247                           CHICAGO IL 60611




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MICHIGAN AVE STREETSCAPE               MICHIGAN CABLE TELECOMMUNICATIONS          MICHIGAN DEPT OF
C/O THE LAMBERT GROUP INC              412 W IONIA ST                             ENVIRONMENTAL QUALITY
111 W WASHINGTON ST STE 1340           LANSING MI 48933                           525 WEST ALLEGAN STREET
CHICAGO IL 60602                                                                  P.O. BOX 30473
                                                                                  LANSING MI 48909-7973


MICHIGAN STATE                         MICK KALIN                                 MICKAELA WORRELL
DEPARTMENT OF THE TREASURY             2537 N THATCHER AVE                        7408 S. UNION
LANSING MI 48922                       APT 2E                                     CHICAGO IL 60621
                                       RIVER GROVE IL 60171



MICKELSON, ROBERT JASON                MICKEY CARUSO                              MICKEY MC LELLAN
802 DRIGGS AVE NO.1                    11322 CARILLO STREET                       8532 BEL AIR STREET
BROOKLYN NY 11211                      APT 204                                    BUENA PARK CA 90620
                                       NORTH HOLLYWOOD CA 91602



MICKI MORRIS                           MICKIE CARUSOS                             MICOLTA, JUAN C
5715 NORTH CHARLES STREET              5314 VERNIO LANE                           2109 DERRINGER COURT
BALTIMORE MD 21210                     BOYNTON BEACH FL 33437                     KISSIMMEE FL 34743




MICRO ALARM DEVICES INC                MICROSOFT ONLINE INC                       MICROSOFT SERVICES
P O BOX 283                            6100 NEIL RD  STE 100                      PO BOX 5540
MILLER PLACE NY 11764                  RENO NV 89511                              PLEASANTON CA 94566-1540




MICROSOFT SERVICES                     MICROSOFT SERVICES                         MICROSOFT SERVICES
ATTN MICHELLE LEDESEMA                 PO BOX 1096                                PO BOX 844510
825 8TH AVE 21ST FL                    BUFFALO NY 14240-1096                      DALLAS TX 75284-4510
NEW YORK NY 10019



MICROWAVE RADIO COMMUNICATIONS         MICROWAVE RADIO COMMUNICATIONS             MICROWAVE RADIO COMMUNICATIONS
101 BILLERICA AVE BLDG NO.6            PO BOX 350006                              PO BOX 845401
N BILLERICA MA 01862                   BOSTON MA 02241-0506                       BOSTON MA 02284-5401




MICROWAVE RADIO COMMUNICATIONS         MICUCCI, MICHAEL A                         MICUCCI, MICHAEL A
VISLINK INC                            3 SANFORD AVE                              85 SHORE AVE
PO BOX 845401                          EMERSON NJ 07630                           MANAHAWKIN NJ 08050
BOSTON MA 02284-5401



MID AMERICA PRESS INSTITUTE            MID AMERICA PRESS INSTITUTE                MID AMERICA SATELLITE
C/O JOURNALISM DEPARTMENT              JOURNALISM DEPT EERN ILLINOIS UNIV         3047 BARTOLD AVE
EASTERN ILLINOIS UNIVERSITY            CHARLESTON IL 61920                        ST LOUIS MO 63143
CHARLESTON IL 61920



MID ATLANTIC NEWSPAPER SERVICES INC    MID ATLANTIC NEWSPAPER SERVICES INC        MID ISLAND DIECUTTING CORP
2717 N FRONT STREET                    3899 N FRONT ST                            77 SCHMITT BLVD
HARRISBURG PA 17110                    HARRISBURG PA 17110-1536                   FARMINGDALE NY 11735




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MID SOUTH SUPPLY CORPORATION          MID-ISLAND Y JEWISH COMMUNITY CENTER       MIDCO COMPONENT SALES INC
2417 S WABASH AVE                     45 MANETTO HILL RD                         7237 W 90TH PL
CHICAGO IL 60616-2300                 PLAINVIEW NY 11803-1396                    BRIDGEVIEW IL 60455




MIDCO COMPONENT SALES INC             MIDCO INC                                  MIDCON PARTNERS LIMITED PARTNERSHIP
7237 W 90TH PLACE                     16 W 221 SHORE COURT                       99 PARK AVE     STE 1820
MATT                                  BURR RIDGE IL 60527-5831                   NEW YORK NY 10016
BRIDGEVIEW IL 60455



MIDDLE KINGDOM PRODUCTIONS INC        MIDDLE KINGDOM PRODUCTIONS INC             MIDDLEBROOK, WALTER
121 WEST 20TH STREET 5A               C/O KAITY TONG                             76 W ADAMS AVE   APT 1807
NEW YORK NY 10011                     121 WEST 20TH STREET                       DETROIT MI 48226
                                      5A
                                      NEW YORK NY 10011


MIDDLESEX COMMUNITY COLLEGE           MIDDLESEX COUNTY                           MIDDLESEX HOSPITAL
C/O MR MICHAEL WALLER                 TREASURER, BETTY S BRAY                    15 CRESENT ST.
100 TRAINING HALL RD                  PO BOX 182                                 MIDDLETOWN CT 06457
MIDDLETOWN CT 06457                   SALUDA VA 23149-0182



MIDDLESEX HOSPITAL                    MIDDLESEX HOSPITAL                         MIDDLESEX HOSPITAL
28 CRESENT ST                         HOSPICE GOLF TOURNAMENT                    MIDDLESEX HOSPITAL VOCAL CHORDS
BOBBIE FERGIONE                       55 CRESENT ST DEPT OF PHILANTHROPY         132 PEPPERIDGE ROAD
MIDDLETOWN CT 06457                   MIDDLETOWN CT 06457                        PORTLAND CT 06480



MIDDLESEX LAND TRUST                  MIDDLESHIFT LLC                            MIDDLESHIFT LLC
ATTN STUART WINQUIST VICE CHAIR       212 26TH STREET STE 115                    2940 MANDEVILLE CANYON AVE
27 WASHINGTON STREET                  SANTA MONICA CA 90402                      LOS ANGELES CA 90049
MIDDLETOWN CT 06457



MIDDLETON, GARY                       MIDDLETOWN JOURNAL                         MIDDLETOWN JOURNAL
3333 MARSHFIELD NO.433                52 BROAD ST                                52 S BROAD ST
CHICAGO IL 60457                      MIDDLETON OH 45044                         MIDDLETOWN OH 45044




MIDDLETOWN JOURNAL                    MIDHUDSON NEW.COM                          MIDKIFF, MARY D
COX OHIO PUBLISHING                   42 MARCY LN                                46 HILL ROAD
PO BOX 490                            MIDDLETOWN NY 10941                        LOUISVILLE KY 40204
MIDDLETON OH 45042



MIDNIGHT RUN DELIVERY SERVICE INC     MIDWEST CONVERTING INC                     MIDWEST ENERGY MANAGEMENT INC
ACCT 9695                             6634 W 68TH STREET                         1 TIMBER CT STE 400
7 HIGHMEADOW CT                       BEDFORD PARK IL 60638                      BOILINGBROOK IL 60440
ALGONQUIN IL 60102



MIDWEST ENERGY MANAGEMENT INC         MIDWEST ENERGY MANAGEMENT INC              MIDWEST FIRE PUMP TESTING SERVICES INC
10 E 22ND STREET SUITE 111            37063 KIMBERWICK LN                        SERVICE INC
LOMBARD IL 60148                      WADSWORTH IL 60083                         PO BOX 1444
                                                                                 DES PLAINES IL 60017




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MIDWEST INDUSTRIAL RUBBER INC            MIDWEST INDUSTRIAL RUBBER INC              MIDWEST MECHANICAL GRO
6536 S LAVERGNE AVE                      PO BOX 771280                              540 EXECUTVE DR
BEDFORD PARK IL 60638                    ST LOUIS MO 63177-2280                     WILLOWBROOK IL 60527




MIDWEST MEDIA                            MIDWEST MEDIA GROUP INC                    MIDWEST MEDIA GROUP INC
7115 W NORTH AVE SUITE 303               115 W CENTRAL RD                           135 E ALGONQUIN RD     STE B
OAK PARK IL 60302                        SCHAUMBURG IL 60195                        ARLINGON HEIGHTS IL 60005




MIDWEST MEDIA GROUP INC                  MIDWEST PUBLISHERS SUPPLY                  MIDWEST PUBLISHERS SUPPLY
316 N MILWAUKEE STREET NO.567            4635 N OLCOTT AVE                          4640 N OLCOTT AVE
MILWAUKEE WI 53202                       HARWOOD HTS IL 60706                       HELLAX11
                                                                                    CHICAGO IL 60656



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PO BOX 370                               251 NW 177TH ST NO.118                     836 WALNUT AVE
CHICAGO HEIGHTS IL 60412-0370            MIAMI FL 33169                             BOHEMIA NY 11716




MIECZYSLAW JANICKI                       MIELKE, JEFFREY                            MIELKE, RANDALL G
536 OAKLAWN                              23 N WINTER PARK DR STE 2603               3S046 TIMBER DR
ELMHURST IL 60126                        CASSELBERRY FL 32707                       WARRENVILLE IL 60555




MIESZERSKI, BOB                          MIGDALIA FONTANEZ                          MIGHTY OAK ENTERTAINMENT
1552 E OLD BADILLO STREET                327 NORTH PENN STREET                      2549 E. BLUFF DRIVE B-365
COVINA CA 91724                          ALLENTOWN PA 18102                         NEWPORT BEACH CA 92660




MIGLIORE JR, ROBERT                      MIGNANELLI, MATTHEW L                      MIGNONE, DOMINIC M
1925 W CEDAR ST                          364 W 18TH ST  NO.6D                       34 S BELL RD
ALLENTOWN PA 18104                       NEW YORK NY 10011                          BELL MANOR NJ 08031




MIGUEL AGUILAR                           MIGUEL APODACA                             MIGUEL BECERRA
8181 S. KILDARE                          17857 28TH AVENUE NE                       622 N CHANDLER
CHICAGO IL 60652                         LAKE FOREST PARK WA 98155                  MONTEREY PARK CA 91754




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MIGUEL BUSTILLO                        MIGUEL CARRILLO                            MIGUEL COSME
5850 SAN FELIPE ST.                    103 HAMLIN STREET                          621 WEST TURNER STREET
STE. 500 #63                           MANCHESTER CT 06040                        APT #8
HOUSTON TX 77057                                                                  ALLENTOWN PA 18102



MIGUEL CRUZ                            MIGUEL DIAZ                                MIGUEL FONTANA
542 W. GREENLEAF STREET                1915 S. 49TH AVENUE                        1309 JERICHO TPKE
ALLENTOWN PA 18102                     1ST FLOOR                                  APT B
                                       CICERO IL 60804                            NEW HYDE PARK NY 11040



MIGUEL GARCIA                          MIGUEL GARCIA                              MIGUEL GONZALEZ
3319 SW 327TH PL                       2842 E FRONTERA STREET                     135 1/2 W. 55TH STREET
FEDERAL WAY WA 98023                   #D                                         LOS ANGELES CA 90037
                                       ANAHEIM CA 92806



MIGUEL GUEVARA                         MIGUEL HUESCA                              MIGUEL LOPEZ
11015 SW 157 TER                       916 S KING STREET                          737 S. CALREMONT AVE.
MIAMI FL 33157                         SAN GABRIEL CA 91776                       CHICAGO IL 60612




MIGUEL MALDONADO                       MIGUEL MICHEL                              MIGUEL ORTIZ
3407 W. BEACH                          2750 WABASH AVE.                           2145 N KEDVALE
CHICAGO IL 60651                       LOS ANGELES CA 90033                       CHICAGO IL 60639




MIGUEL PEREZ                           MIGUEL REAL                                MIGUEL RIVERA
205 ORTEGA AVENUE                      731 N. 67 AVE.                             3325 W. POTOMAC STREET
BRIDGEPORT CT 06606                    HOLLYWOOD FL 33024                         BASEMENT
                                                                                  CHICAGO IL 60651



MIGUEL RIVERA                          MIGUEL ROBLES                              MIGUEL RODRIGUEZ
279 28TH STREET                        9 SELLDAN STREET                           117-3 SOUTHWOOD DRIVE
COPIAGUE NY 11726                      WEST HARTFORD CT 06110                     STAMFORD CT 06902




MIGUEL RODRIGUEZ                       MIGUEL RODRIGUEZ                           MIGUEL RUIZ
170 CHEW STREET                        741 NW 89TH AVENUE                         5132 W MONTANA
ALLENTOWN PA 18102                     PLANTATION FL 33324                        CHICAGO IL 60639




MIGUEL TARRIO                          MIGUEL TRINIDAD                            MIGUEL VALEA
529 N LINCOLN AVENUE #F                7717 SOUTH MEAD AVE                        17029 E. GROVERDALE ST.
MONTEREY PARK CA 91755                 BURBANK IL 60459                           COVINA CA 91722




MIGUEL, ELICENE                        MIGUELEZ, KEVIN A                          MIHAELA JIFCU
727 NW 1ST AVE NO. 1                   10410 SW 128TH PLACE                       4410 1/2 PROSPECT AVE
FT LAUDERDALE FL 33311                 MIAMI FL 33186                             LOS ANGELES CA 90027




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MIHALICK, GARY                        MIIA MARTINSON                              MIJARES, MIGUEL ANGEL
5 LINDA LN                            811 SE 11TH AVE                             URB YUMA I AVE 69
SIMSBURY CT 06070                     DEERFIELD BEACH FL 33441                    CASA 147-102 SAN DIEGO
                                                                                  EDO CARABOBO



MIKAIL OZCELIK                        MIKAL BLAIR                                 MIKE ANTHONY PHOTO LLC
283 15TH ST.                          4700 S. LAKE PARK AVE                       1003 CORKWOOD DR
WEST BABYLON NY 11704                 APT 2501                                    OVIEDO FL 32765
                                      CHICAGO IL 60621



MIKE BERRY                            MIKE BIELECKI                               MIKE BRADY
757 CREEKWATER TERRACE                1505 HABERSHAM PLACE                        706 N BROAD STREET
APT. 203                              CROWNSVILLE MD 21032                        GRIFFITH IN 46319
LAKE MARY FL 32746



MIKE BROWN GRANDSTANDS INC            MIKE BROWN GRANDSTANDS INC                  MIKE CARPER
2300 POMONA BLVD                      PO BOX 218                                  2410 MANGULAR AVENUE
POMONA CA 91768                       SAN DIMAS CA 91773                          CORONA CA 92882




MIKE CARRERA                          MIKE CASTELVECCHI                           MIKE CLARY
11902 OLIVE STREET                    905 LA LOMA ROAD                            1443 MANTUA AVENUE
NORWALK CA 90650                      LOS ANGELES CA 90041                        CORAL GABLES FL 33146




MIKE CREWS PHOTOGRAPHY                MIKE CREWS PHOTOGRAPHY                      MIKE DOLAN
1801 CASSIN RD                        801 CASSIN RD                               6531 W 82ND STREET
NAPERVILLE IL 60565                   NAPERVILLE IL 60565                         LOS ANGELES CA 90045




MIKE HALLERON                         MIKE HARLEY                                 MIKE JENKINS
1240 WEST MONROE STREET               3118 HOLDEN CIRCLE                          553 SOUTH PELICAN DR.
UNIT #7                               MATTESON IL 60443                           SARASOTA FL 34237
CHICAGO IL 60607



MIKE KIRK                             MIKE LANDIS PHOTOGRAPHER                    MIKE NIELSEN
7516 SOUTH VERNON                     131 FRANKLIN AVE                            533 PEACEFUL MEADOWS DRIVE
CHICAGO IL 60619                      SOUDERTON PA 18964                          RIO RANCHO NM 87144




MIKE PIAZZA                           MIKE RANDALL                                MIKE SPACUCELLO
677 JAMESTOWN BL.                     44264 TAHOE WAY                             2832 N KEATING
#1037                                 LANCASTER CA 93536                          CHICAGO IL 60641
ALTAMONTE SPRINGS FL 32714



MIKE SWEENEY                          MIKE TEITELBAUM                             MIKE TERRY
8 MULBERRY STREET                     12660 SHORELINE DR APT 1D                   4446 DON MIGUEL DR
RIDGEFIELD CT 06877                   WELLINGTON FL 33414                         LOS ANGELES CA 90008




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MIKE VOGT                               MIKE WALSH                                 MIKE WILDRIDGE
35 BUCKSKIN LANE                        6552 W 60TH STREET                         1433 N. PENNSYLVANIA
SELDEN NY 11784                         CHICAGO IL 60638                           APT 307
                                                                                   INDIANAPOLIS IN 46202



MIKELE DELMORE                          MIKHAIL FRIDLYAND                          MIKHAIL KUSHNIR
913 LENTON AVENUE                       1275 E. BALDWIN LANE                       2218 AVALON DR.
BALTIMORE MD 21212                      APT. 510                                   BUFFALO GROVE IL 60089
                                        PALATINE IL 60074



MIKIA ROBERT                            MIKLISH, BRENDA                            MIKO, BLAIR T
PO BOX #9698                            415 ARCH AVENUE                            6448 HONEY GRAVE UNIT 101
ROSEDALE MD 21237                       GREENSBURG PA 15601                        COLORADO SPRINGS CO 80923




MIKO, INC                               MIKULA, NANCY                              MILA PROMOTIONS INC
9350 CALIFORNIA DRIVE SW                237 RAINBOW DR    NO.13756                 20412 NE 16TH PL
SEATTLE WA 98136                        LIVINGSTON TX 77399                        MIAMI FL 33179




MILAGROS SANTANA                        MILAN CHILLA                               MILAN CULTURAL ASSOCIATION
808 MELROSE AVENUE                      21 ENSIGN ROAD                             79 RUFF CIRCLE
APT. C                                  ROWAYTON CT 06853                          GLASTONBURY CT 06033
BRONX NY 10451



MILAN GUERRERO, ELIO                    MILANO, JOE                                MILBERT BROWN
711 E 11 PL                             138-07 WHITELAW ST                         5801 W. RACE AVE
HIALEAH FL 33010                        OZONE PARK NY 11417                        CHICAGO IL 60644




MILCAREK, JAMES R                       MILDRED CHANEY                             MILDRED DORRIS
PO BOX 417                              559 SARAH AVE                              9060 NW 45TH COURT
MICHIGAN CITY IN 46360                  LINTHICUM MD 21090                         SUNRISE FL 33351




MILDRED FLEMING                         MILDRED HELLWEGE                           MILDRED O HOWARD
6359 S. HOYNE                           310 TRAFTON ROAD                           858 E 102ND STREET
1ST FLOOR                               WATERVILLE ME 04901                        LOS ANGELES CA 90002
CHICAGO IL 60636



MILDRED PLOUFFE                         MILDRED SANCHEZ                            MILE HI IMMUNIZATIONS LLC
1937 MAYO ST                            220 SOUTH CARLISLE STREET                  283 COLUMBINE ST
HOLLYWOOD FL 33020-6321                 ALLENTOWN PA 18109                         DENVER CO 80206




MILE HIGH OUTDOOR                       MILEPOST 73 ROAD MAINTENANCE GROUP         MILES TAYLOR
300 E HAMPDEN AVE  NO.324               4373 MINARD ROAD W                         422 GLEN AVE.
ENGLEWOOD CO 80113                      BREMERTON WA 98312                         UPPER NYACK NY 10960




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MILES TEK                             MILES TEK                                   MILES, DANIEL L
36109 TREASURY CTR                    1506 I-35W                                  45 EASY STREET
CHICAGO IL 60694-6100                 DENTON TX 76207-2402                        RINGGOLD GA 30736




MILES, JAMES                          MILES, RICHARD                              MILES, SHIMIKA
3786 WISTERIA LANE                    190 W MAIN ST                               1021 CROSBY ST
ATLANTA GA 30331                      PLANTSVILLE CT 06479                        TYLER TX 75701




MILES, THOMAS                         MILIAL, MICAEL                              MILIAN, JORGE MARIO
175 N HARBOR DRIVE APT 2409           1213 14TH AVENUE SOUTH                      50 WARDWELL ST 2N
CHICAGO IL 60601                      LAKE WORTH FL 33460                         STAMFORD CT 06901




MILIEN, KERLY                         MILISA DEONARINE                            MILITARY ADVANTAGE
2071 W ATLANTIC BLVD APT 208          25 NORTH HENRY STREET                       799 MARKET STREET SUITE 700
POMPANO BEACH FL 33069                VALLEY STREAM NY 11580                      SAN FRANCISCO CA 94103




MILIVOJEVIC, JOANN                    MILIVOJEVIC, JOANN                          MILJA KIEVIT
7450 N WASHINGTON AVE                 7450 N WASHTENAW AVE                        415 EAST 85TH STREET
CHICAGO IL 60645                      CHICAGO IL 60645                            12C
                                                                                  NEW YORK NY 10028



MILL, ELEANOR                         MILLA, JUANA G                              MILLAN, JACQUELINE
74 UNION PLACE                        35 WARREN ST APT NO.2                       729 E 7TH ST APT E5
APT 316                               STAMFORD CT 06902                           BETHLEHEM PA 18015
HARTFORD CT 06103



MILLAR, CHARLES J                     MILLARD CHICAGO WINDOW CLEANING             MILLARD CHICAGO WINDOW CLEANING
29845 MILLPOND COURT                  23848 NETWORK PLACE                         7301 NORTH CICERO
SAN JUAN CAPISTRANO CA 92675          CHICAGO IL 60673                            LINCOLNWOOD IL 60712




MILLARD GROUP INC                     MILLARD MILSAP                              MILLBROOK SERVICE CO
PO BOX 3480                           2201 223RD PLACE                            3060 MADISON ST SE STE H
OMAHA NE 68103-0480                   SAUK VILLAGE IL 60411                       GRAND RAPIDS MI 49548




MILLEN JR, HUGH B                     MILLENIA GROUP INC                          MILLENNIUM MARKETING SOLUTIONS INC
6836 CASCADE AVE SE                   24461 RIDGE DR     STE A-220                10900 PUMP HOUSE RD
SNOQUALMIE WA 98065                   LAGUNA HILLS CA 92653                       ANNAPOLIS JUNCTION MD 20701




MILLENNUM GROUP INC                   MILLER BEVCO                                MILLER BOUCHET, CEIL
PO BOX 10300                          2855 SOUTHWEST BLVD                         1720 ASBURY AVE
NEW BRUNSWICK NJ 08906                KANSAS CITY MO 64108-3692                   EVANSTON IL 60201




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MILLER FLUID POWER                      MILLER FLUID POWER                          MILLER II, CHARLES W
800 N YORK ROAD                         P.O. BOX 72436                              1323 NW 3RD AVE
ACCT 159721                             CHICAGO IL 60678-2436                       FORT LAUDERDALE FL 33311
BENSENVILLE IL 60106



MILLER II, MAURICE M                    MILLER JR, JOSEPH                           MILLER KAPLAN ARASE AND CO
5675 ROSWELL RD NE APT 43-J             2510 N.W. 42ND AVENUE                       4123 LANKERSHIM BLVD
ATLANTA GA 30342                        LAUDERHILL FL 33313                         NORTH HOLLYWOOD CA 91602-2828




MILLER MEMORIAL BLOOD CENTER            MILLER PLACE UF SCHOOL DISTRICT             MILLER SPORTS GROUP
1465 VALLEY CENTER PKWY                 275 ROUTE 25A UNIT 43                       11100 SANTA MONICA BLVD NO. 600
BETHLEHEM PA 18017                      MILLER PLACE NY 11764                       LOS ANGELES CA 90025




MILLER SPORTS GROUP                     MILLER STEPHENSON CHEMICAL CO               MILLER STEPHENSON CHEMICAL CO
810 7TH AVENUE 4TH FLOOR                PO BOX 950                                  6348 OAKTON ST.
NEW YORK NY 10019                       DANBURY CT 06810                            THELMA/CHARLENE
                                                                                    MORTON GROVE IL 60053



MILLER, AARON                           MILLER, ABRAHAM                             MILLER, ALAN C
6032 WESTERN AVENUE                     751 S DELAWARE ST                           5525 DEVON ROAD
CHEVY CHASE MD 20815                    ALLENTOWN PA 18103                          BETHESDA MD 20814




MILLER, ALIANA                          MILLER, ALICE ALLAN                         MILLER, ALYCE
3853 LONGRIDGE AVE                      68 PLUMAGE LN                               2000 E SECOND STREET
SHERMAN OAKS CA 91423                   WEST PALM BEACH FL 33415                    BLOOMINGTON IN 47401




MILLER, ANDREA NS                       MILLER, ANDREW                              MILLER, ANN EG
22 JOHNSTON AVE                         1541 OLYMPIC CIR E         APT 1            4304 ROSEMARY ST
NORTHPORT NY 11768                      WHITEHALL PA 18052                          CHEVY CHASE MD 20815-5216




MILLER, ANTHONY                         MILLER, ASHLEY                              MILLER, BARBARA
3901 S CENTINELA AVE                    4425 WOODFIELD BLVD                         848 DOGWOOD ROAD
LOS ANGELES CA 90066                    BOCA RATON FL 33434                         NORTH PALM BEACH FL 33408




MILLER, BRIAN K                         MILLER, BROOKE                              MILLER, CATINA
PO BOX 49                               908 N ELSTON     NO.104                     4458 S WOODS
SCHNECKSVILLE PA 18078                  CHICAGO IL 60622                            CHICAGO IL 60609




MILLER, CHARLES                         MILLER, COREY                               MILLER, DANIEL
19742 CAMBRIDGE ROAD                    PO BOX 216                                  741 AMHERST AVE
1687                                    OAKHURST CA 93644                           DAVIE FL 33325
MUNDELEIN IL 60060




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MILLER, DAPHNE                         MILLER, DARRYL                             MILLER, DAVID M
1286 SANCHEZ ST                        247 E WYOMING ST                           1309 ALMADEN LN
SAN FRANCISCO CA 94114                 ALLENTOWN PA 18103                         GURNEE IL 60031




MILLER, DONALD JACK                    MILLER, DONNA MARIE                        MILLER, EDWARD D
1818 CLINTON RD                        PO BOX 456                                 4150 JEFFERSON TOWNSHIP PKWY
NORRISTOWN PA 19403                    CANAAN CT 06018                            MARIETTA GA 30066




MILLER, EMILY                          MILLER, FELICE                             MILLER, FELICE
2667 EDGEWATER DR                      1350 KOKOMO RD                             1350 KOKOMO RD
WESTON FL 33332                        PO BOX 978                                 HAIKU HI 96708
                                       HAIKU HI 96708



MILLER, FRIEDA                         MILLER, GABRIEL SAMUEL                     MILLER, GRACE
6206 SHETLAND CT                       6854 PACIFIC VIEW DRIVE                    2409 BENDING OAK DRIVE
ALLENTOWN PA 18106                     LOS ANGELES CA 90068                       CHATTANOOGA TN 37421




MILLER, HENRY I                        MILLER, HENRY I                            MILLER, JANILLE
HOOVER INSTITUTION                     STANFORD UNIV/HOOVER INSTITUTION           2851 S KING DR NO.1503
INSTITUTE FOR INTERNATIONAL STUDIES    STANFORD CA 94305-6010                     CHICAGO IL 60616
STANFORD UNIVERSITY
STANFORD CA 94305-6010


MILLER, JEFF                           MILLER, JEFFREY                            MILLER, JESSICA
6206 W 6TH ST                          395 HOLDEN AVE                             10% 0 DAYS, NET 30 POSEO MONTRIL
LOS ANGELES CA 90048                   CUTCHOGUE NY 11935                         APT 903
                                                                                  SAN DIEGO CA 92129



MILLER, JESSIE                         MILLER, JODI K                             MILLER, JOHN
2638 NW 19TH TER                       978 SW 10TH DR NO.18                       3461 NW 9TH CT
OAKLAND PARK FL 33311                  POMPANO BEACH FL 33060                     LAUDERHILL FL 33311




MILLER, KATHLEEN                       MILLER, KATHLEEN                           MILLER, KEVIN
20945 SPOTTED FAWN ROAD                420 S 8TH ST                               73 ROSE HILL RD
PO BOX 460358                          LEHIGHTON PA 18235                         BRANFORD CT 06405
HUSON MT 59846-0358



MILLER, LAURA                          MILLER, LAURA                              MILLER, LEE
8126 W 88TH ST                         100 W 12TH ST   APT 3A                     4365 ELMER AVE
INDIANAPOLIS IN 46278                  NEW YORK NY 10011                          STUDIO CITY CA 91602




MILLER, MAGDALENA BETTY                MILLER, MARILYN R                          MILLER, MARK
619 HAVEN PL                           1736A WILDBERRY DR.                        366 N SPAULDING AVE      NO.11
EDGEWOOD MD 21040                      GLENVIEW IL 60025                          LOS ANGELES CA 90036




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MILLER, MARK                           MILLER, MARY                               MILLER, MATTHEW
6415 KELSEY DRIVE                      440 W TILGHMAN ST                          615 N 11TH ST
INDIANAPOLIS IN 46268                  ALLENTOWN PA 18102                         ALLENTOWN PA 18102




MILLER, MICHAEL                        MILLER, MICHAEL                            MILLER, MICHAEL
4435 E FRIESS DR                       8631 BITTNERS CT                           8631 BITTNERS CT
PHOENIX AZ 85032                       GERMANSVILLE PA 18050                      GERMANSVILLE PA 18053




MILLER, NATASSIA                       MILLER, PATRICIA A                         MILLER, RACHAEL L
4163 ARTESA DR                         144 COLEBROOK ST                           PO BOX 1553
BOYNTON BEACH FL 33436                 HARTFORD CT 06112-1412                     CLEVELAND GA 30528




MILLER, RANDY S                        MILLER, REBECCA E                          MILLER, ROBERT J
6335 WILEY ST                          5108 CHELSEA DRIVE                         20244 PEPPERWOOD COURT
HOLLYWOOD, FL FL 33023                 COLLEYVILLE TX 76034                       FRANKFORT IL 60423




MILLER, RYAN                           MILLER, SARAH                              MILLER, SCOTT
7520 PUERTO RICO DR                    995 TERRACE 49                             1104 WELLINGTON DR
BUENA PARK CA 90620                    LOS ANGELES CA 90042                       LAURYS STATION PA 18059




MILLER, STEVEN E                       MILLER, STEWART L                          MILLER, TERESA
3433 HELENA DRIVE NO.5                 3414 JERBENA CIR                           4041 CONOWINGO RD TRL 53
LAKE WORTH FL 33461                    COLORADO SPRINGS CO 80920                  DARLINGTON MD 21034




MILLER, THOMAS                         MILLER, THOMAS C                           MILLER, TODD
1761 GRIFFITH PARK BLVD                5501 NEVADA AVE NW                         975 WHITE PINE DR
LOS ANGELES CA 90026                   WASHINGTON DC 20015                        CARY IL 60013




MILLER, TODD                           MILLER, TOM                                MILLER, TOM
ACCT 8750                              1330 E WATER ST                            P O BOX 50842
975 WHITE PINE DRIVE                   TUCSON AZ 85719                            TUCSON AZ 85703
CARY IL 60013



MILLER, VALENTINA M                    MILLER, VINCENT                            MILLER, VINCENT J
1110 NE INDEPENDENCE AVE NO.901        9121 SW 55TH CT                            3608 8TH STREET SOUTH
LEES SUMMIT MO 64086                   COOPER CITY FL 33328                       ARLINGTON VA 22204




MILLER, WADE T                         MILLER, ZANDRA JANAE                       MILLER,DAVID
12 WOODSWAY                            245 ZUELKE DR                              RR2 BOX 187
WYOMISSING PA 19610                    BELLWOOD IL 60104                          PRAGUE OK 74864-9562




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MILLER,JAY                              MILLER-MOORE, NATALIE                      MILLET, KATHERINE T
P145 QUEENS RD                          304 WATSON DR                              175 POPLAR AVE
TORRINGTON CT 06790                     WILLIAMSBURG VA 23188                      ELMHURST IL 60126




MILLETT, PETER                          MILLIANCE, JEAN A                          MILLIANCE, JEAN A
4621 45TH AVE SOUTH                     245 SW 12TH AVE                            245 SW TH AVE
SEATTLE WA 98118                        DELRAY BEACH FL 33444                      PORT ST LUCIE FL 33444




MILLICENT PORTER                        MILLIE QUAN MC DERMOTT                     MILLIEN, CHARLINE
816 SW 16TH STREET                      321 16TH STREET                            915 SE 3RD AVE
FORT LAUDERDALE FL 33315                MANHATTAN CA 90266                         DELRAY BEACH FL 33483




MILLION DOLLAR MEDIA LLC                MILLION DOLLAR REALTORS ASSOC OF           MILLION DOLLAR REALTORS ASSOC OF
1460 ROUTE 9 NORTH    STE 201           2225 OLD EMMORTON RD STE 110               414 SOUTH MAIN ST
WOODBRIDGE NJ 07095                     BEL AIR MD 21015                           BEL AIR MD 21014




MILLION DOLLAR REALTORS ASSOC OF        MILLIRON, LIESA E                          MILLIX, GINA
PO BOX 1006                             815 W BERWICK ST                           280 VILLAGE HILL RD
BEL AIR MD 21014                        EASTON PA 18042                            WILLINGTON CT 06279-2234




MILLIX, LAUREL                          MILLIX, MATTHEW                            MILLIX, MATTHEW
276 VILLAGE HILL RD                     280 WILLINGTON AVE                         40 HIGH ST APT A
WILLINGTON CT 06279                     WILLINGTON CT 06279                        STAFFORD SPGS CT 06076-1428




MILLMAN SURVEYING INC                   MILLMAN, JOHN BRANDON                      MILLNER, CAMETHIA L
1742 GEORGETOWN ROAD SUITE H            620 W WILSON AVE NO D                      140 MAXTEN AVE
HUDSON OH 44236                         GLENDALE CA 91203-2477                     DALLAS GA 30132




MILLS, BRIAN                            MILLS, CHAUNCY                             MILLS, DINAH
2255 W 91ST STREET                      1437 W. 123RD ST., APT NO.3                2136 PRINCETON AVE
CHICAGO IL 60620                        CALUMET PARK IL 60827                      LOS ANGELES CA 90026




MILLS, FRANCES TUNNO                    MILLS, MARY K                              MILLS, NICOLAUS
1328 NORTON AVE                         1129 ASHLAND AVE                           308 WEST 104TH STREET
GLENDALE CA 91202                       SANTA MONICA CA 90405                      APT 5
                                                                                   NEW YORK NY 10025



MILLS,IGENE,DIXON                       MILNE, CARLY                               MILNE, DAVID
3000 NW 48TH TERRACE NO. 326            3207 SUMMERTIME LN                         9 OSBORNE GROVE 2HE
LAUDERDALE LAKES FL 33313               CULVER CITY CA 90230                       ENGLAND, NOTTS




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MILNER, BRIAN                           MILNER, ERIC                               MILNER, HAROLD L
1202 THISTLE HILL TRAIL                 97 TOBEY AVE                               68 BOB O LINK DRIVE
WEATHERFORD TX 76087                    WINDSOR CT 06095                           SPRINGFIELD IL 62702




MILOUSE ARISTIDE                        MILPAK GRAPHICS INC                        MILROSE CONSULTANTS INC
1547 SW 4TH TER                         PO BOX 490                                 498 SEVENTH AVE 8TH FLR
DEERFIELD BEACH FL 33441                KING NC 27021                              NEW YORK NY 10018




MILT PAPPAS                             MILTA GARAY                                MILTENBERGER, RICHARD L
502 HIGHLINGTON COURT                   27 DEEP CREEK ROAD                         1881 S 2ND ST
BEECHER IL 60401                        NEWPORT NEWS VA 23606                      ALLENTOWN PA 18103




MILTON BAILEY                           MILTON COHEN                               MILTON COLON
31 LILLEY STREET                        4007 N UNIVERSITY DR                       36 CINDY LU LANE
MANCHESTER CT 06040                     APT F103                                   APT PH
                                        SUNRISE FL 33351                           EFFORT PA 18330



MILTON KENT                             MILTON LABECKI                             MILTON OWENS
2404 BATTERSEA PLACE                    156 BARSTOW LANE                           1307 W. GARFIELD BLVD.
204                                     TOLLAND CT 06084                           CHICAGO IL 60636
WINDSOR MILL MD 21244



MILTON PICKERING                        MILTON ROSENBERG                           MILTON SMITH JR
4121 W. GRENSHAW                        1448 N.LAKESHORE DR                        243 WEST JONES STREET
CHICAGO IL 60624                        APT. 4C                                    UNION CITY TN 38261
                                        CHICAGO IL 60610



MILTON V JOHNSON                        MILTON W PRICE                             MILTON, LIANNE
78 SHIPWATCH ROAD                       323 S ARTHUR                               131 COOMBS ST      NO.3
SAVANNAH GA 31410                       AZUSA CA 91702                             NAPA CA 94559




MILVY, ERIKA                            MILWAUKEE BREWERS BASEBALL CLUB            MILWAUKEE GOLF SHOPPING CENTER LLC
254 SAN JOSE AVENUE                     MILLER PARK                                1016 RELIABLE PARKWAY
SAN FRANCISCO CA 94110                  ONE BREWERS WAY                            CHICAGO IL 60686
                                        MILWAUKEE WI 53214-3651



MILWAUKEE JOURNAL SENTINEL              MILWAUKEE JOURNAL SENTINEL                 MILWAUKEE JOURNAL SENTINEL
C/O JOHN NAPLWOSKI                      JSONLINE.COM                               PO BOX 2913
333 N STATE ST                          PO BOX 661                                 MILWAUKEE WI 53201-2913
MILWAUKEE WI 53201                      MILWAUKEE WI 53201-0661



MILWAUKEE JOURNAL SENTINEL              MILWAUKEE JOURNAL SENTINEL                 MIM, EUGENE
PO BOX 371                              PO BOX 78932                               3718 CYPRESS AVE
MILWAUKEE WI 53201-0371                 MILWAUKEE WI 53278-0932                    BROOKLYN NY 11224




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MIMI AVINS                            MIMMS, DEBORAH L                           MIN PAK
837 FIFTEENTH STREET                  1552 NW 17TH AVE, APT 1                    2364 N. WESTWOOD LANE
SANTA MONICA CA 90403                 POMPANO BEACH FL 33069                     PALATINE IL 60074




MINA RAHIMI                           MINCHANG, PHATARADANAI                     MINCY LLC
40 E. 9TH STREET                      7230 C EDEN BROOK DRIVE APT 203            6771 ALTA DR
#1007                                 COLUMBIA MD 21046                          BRIGHTON MI 48116
CHICAGO IL 60605



MINCY LLC                             MINDENHALL II, GEORGE CHARLES              MINDSET SOFTWARE INC
784 PRINCE EDWARD DR                  8217 E BLACKWILLOW CIRCLE NO.204           1330 21ST STREET    STE 200
HOWELL MI 48843                       ANAHEIM HILLS CA 92808                     SACRAMENTO CA 95814




MINDSHARE                             MINDSHARE                                  MINDSHARE
ATTN AARON PERLSTEIN                  ATTN DAWN ROMANO                           ATTN JULLIAN SCHROEDER
498 7TH AVE                           498 7TH AVE                                498 7TH AVE
NEW YORK NY 10018                     NEW YORK NY 10018                          NEW YORK NY 10018



MINDSHARE                             MINDSHARE                                  MINDSHARE CANADA
ATTN RANDI CHEMICK                    ATTN MICHAEL FALABELLA                     160 BLOOR ST E
498 7TH AVENUE                        1414 AVENUE OF THE AMERICAS                TORONTO ON M4W 0A2
NEW YORK NY 10018                     NEW YORK NY 10023



MINDSHARE FOUNDATION                  MINDSHARE USA                              MINDSHARE USA INC
498 SEVENTH AVE 4TH FL                PO BOX 4301 GCS                            1401 17TH ST STE 1500
NEW YORK NY 10018                     498 7TH AVE FL 4                           DENVER CO 80202
                                      NEW YORK NY 10018-6798



MINDSHARE USA INC                     MINDSHARE USA INC                          MINDSHARE USA INC
555 17TH ST STE 300                   498 7TH AVENUE 4TH FLOOR                   825 8TH AV
DENVER CO 80202                       ATTN: ACCOUNTS PAYABLE                     NEW YORK NY 10019
                                      NEW YORK NY 10018



MINDSHARE USA INC                     MINDY BROWN                                MINDY MAGANA
PO BOX 4314                           5422 214TH CT SOUTH                        830 HILL STREET
GRAND CENTRAL STATION                 BOCA RATON FL 33486                        UNIT E
NEW YORK NY 10163                                                                SANTA MONICA CA 90405



MINDZOO LLC                           MINEEIA, ZAINAB                            MINELA FUEL
3 1/2 SOUTH KING ST                   121 S 10TH ST   APT 203                    80 B WINDSOR AVE
LEESBURG VA 20175                     COLUMBIA MO 65201                          MINEOLA NY 11501




MINER FLORIDA                         MINER FLORIDA                              MINERBA RAMOS
341 SPECIALTY POINT                   111 W SAN ANTONIO ST SUITE 200             719 W SALEM ST
SANFORD FL 32771                      NEW BRAUNFELS TX 78130                     APT. A
                                                                                 GLENDALE CA 91203




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MINERVA GUZMAN                         MINERVINI, MICHAEL                         MINES, CYNTHIA
15837 NW 14TH MANOR                    4711 MARYANN LN                            111 N MOSLEY STE 201
PEMBROKE PINES FL 33028                BETHLEHEM PA 18017                         WICHITA KS 67202




MING SU WRIGHT                         MINGEY, KATHERINE MORAN                    MINGUEZ, DANIEL AARON
12 LAUREL LANE                         N16W26549 WILD OATS DR UNIT C              574 STARLIGHT CREST DR
DARIEN CT 06820                        PEWAUKEE WI 53072                          LA CANADA CA 91011




MINH DIEP                              MINH LUU                                   MINH PHAM
917 W ROSCOE ST.                       720 S. 9TH ST.                             7611 140TH AVENUE NORTH
UNIT D                                 ALHAMBRA CA 91801                          WEST PALM BEACH FL 33412
CHICAGO IL 60657



MINH TONG                              MINH TSAI                                  MINH-TRANG DANG
9315 BOLSA AVENUE                      302 SOUTH YNEZ AVE.                        111 GENEVA WALK
APT. #363                              MONTEREY PARK CA 91754                     LONG BEACH CA 90803
WESTMINSTER CA 92683



MINICKENE, SYLVIA                      MINKIN DESIGN INC                          MINKOFF, RANDY
1150 SOUTH MAIN STREET                 PO BOX 599                                 233 BARBERRY RD
APT 212                                PORTSMOUTH RI 02871                        HIGHLAND PARK IL 60035
MIDDLETOWN CT 06457



MINKOFF, RONALD                        MINNA AMATEAU                              MINNEAPOLIS SAINT PAUL 2008 HOST
6201 SW 56TH CT                        10201 SAVOY CT.                            COMMITTEE INC
DAVIE FL 33314                         ELLICOTT CITY MD 21042                     180 EAST FIFTH ST   STE 1200
                                                                                  ST PAUL MN 55101



MINNEAPOLIS SAINT PAUL 2008 HOST       MINNEAPOLIS STAR TRIBUNE                   MINNEAPOLIS STAR TRIBUNE
PO BOX 75428                           425 PORTLAND AV                            ATTN BOB SCHAFER / NEWSROOM
SAINT PAUL MN 55175                    MINNEAPOLIS MN 55488-0002                  425 PORTLAND AVE
                                                                                  MINNEAPOLIS MN 55488-0002



MINNEAPOLIS STAR TRIBUNE               MINNEAPOLIS STAR TRIBUNE                   MINNESOTA
PO BOX 1255                            PO BOX 1285                                DEPARTMENT OF REVENUE
MINNEAPOLIS MN 55440                   MINNEAPOLIS MN 55440                       PO BOX 64622
                                                                                  SAINT PAUL MN 55164-0622



MINNESOTA DEPT OF                      MINNESOTA POLLUTION CONTROL AGENCY         MINNESOTA TWINS
NATURAL RESOURCES                      520 LAFAYETTE ROAD                         METRODOME
500 LAFAYETTE ROAD                     ST. PAUL MN 55155-4194                     34 KIRBY PUCKETT PLACE
ST. PAUL MN 55155-4040                                                            MINNEAPOLIS MN 55415



MINNIE CHAMPION                        MINNIFIELD, DARRYL                         MINNIS, ADLAI T
3411 PARKLAWN AVE                      19 SUNAPEE STREET                          740 AZALEA CT
BALTIMORE MD 21213                     SPRINGFIELD MA 01108                       PLANTATION FL 33317




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MINNIS, VALERIE                        MINO WIRELESS USA INC                         MINOLTA BUSINESS SOLUTIONS
740 AZALEZ CT.                         2901 TASMAN DRIVE SUITE NO.210                PO BOX 728
PLANTATION FL 33317                    SANTA CLARA CA 95054                          PARK RIDGE NJ 07656




MINOR LEAGUE BASEBALL                  MINOR LEAGUE BASEBALL                         MINORS, ALISON
PO BOX A                               401 N DELAWARE                                27-18 CRESCENT STREET 2ND FLOOR
ST PETERSBURG FL 33731                 CAMDEN NJ 08102                               ASTORIA NY 11102




MINOW, NEWTON N                        MINSI TRAIL COUNCIL                           MINTEER, CYNTHIA
179 E LAKE SHORE DR NO.15W             P O BOX 20624                                 168 SHERATON LN
CHICAGO IL 60611                       LEHIGH VALLEY PA 18002                        NORWICH CT 06360




MINTEER, MARTHA                        MINTER, ADAM                                  MINTON, JAMES
20 LAUREL CIRCLE DRIVE                 7919 W 23RD ST                                3987 OLD FEDERAL HILL RD.
NORWICH CT 06360-7303                  ST LOUIS PARK MN 55426                        JARRETTSVILLE MD 21084




MINTZ LEVIN COHN FERRIS GLOVSKY AND    MINTZ, LEVIN, FERRIS, COHN, GLOVSKY AND       MINUS, KEITH
POPEO, PC, RE: MORTON GROVE TRIBUNE    POPEO, PC, RE: DES PLAINES 2305 MOUNT PR      1050 W. 3RD ST
ATTN: DANIEL O. GAQUIN, ESQ.           ATTN: DANIEL O. GAQUIN, ESQ.                  RIVIERA BEACH FL 33404
ONE FINANCIAL CENTER                   ONE FINANCIAL CENTER
BOSTON MA 02111                        BOSTON MA 02111


MINUTEMAN INTERNATIONAL INC            MINUTEMAN INTERNATIONAL INC                   MINUTEMAN INTERNATIONAL INC
111 S ROHLWING RD                      1190 N VILLA AVE                              135 S LASALLE ST   DEPT 2569
ADDISON IL 60101                       VILLA PARK IL 60181                           CHICAGO IL 60674-2569




MINUTOLI, LOU                          MINZEY, GERALD                                MIRA MOBILE TELEVISION
187 GROTON PL                          1610 W HIGHLAND     NO.67                     25749 SW CANYON CREEK RD STE 100
WEST HEMPSTEAD NY 11552                CHICAGO IL 60660                              WILSONVILLE OR 97070




MIRACLE LEAGUE OF THE LEHIGH VALLEY    MIRACLE LEAGUE OF THE LEHIGH VALLEY           MIRAH KANG
C/O MR JOSEPH MCDONALD                 PO BOX 180                                    1138 W. TAYLOR STREET
5565 MOUNTAUK LN                       WHITEHALL PA 18052                            CHICAGO IL 60607
BETHLEHEM PA 18017



MIRAMONTES, NICHOLAS                   MIRANDA MTI                                   MIRANDA MTI INC
1280 EAST 4TH STREET NO 4              195 MOUNTAIN AVE.                             1101 N PACIFIC AVE
LONG BEACH CA 90802                    SPRINGFIELD NJ 07081                          GLENDALE CA 91202




MIRANDA TECHNOLOGIES INC               MIRANDA TECHNOLOGIES INC                      MIRANDA, MARITZA
2323 HALPERN                           3499 DOUGLAS B FLOREANI                       17901 SW 12 CT
ST-LAURENT QC H4S 1S3                  ST LAURENT QC H4S 2C6                         PEMBROKE PINES FL 33029




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MIRANDA, PATRICIA                      MIRANDA, WENDY                             MIRECKI, PETER
195 N HARBOR DR STE 809                2444 MOUNTAIN LN APT S18                   3093 PENN ALLEN RD
CHICAGO IL 60601                       ALLENTOWN PA 18103                         NAZARETH PA 18064




MIREILLE SAMEDI                        MIRELLA RODRIGUEZ                          MIRIAM BRACAMONTE
138-477 232 ST                         3430 ROSEVIEW AVENUE                       110-C SILVER LANE
LAURELTON NY 11413                     LOS ANGELES CA 90065                       EAST HARTFORD CT 06118




MIRIAM CLAIRE                          MIRIAM HUIZAR                              MIRIAM KARDONICK
4164 ARLINGTON AVENUE                  11363 LAMBERT ST.                          9735 MALVERN DRIVE
LOS ANGELES CA 90008                   APT. #20                                   TAMARAC FL 33321
                                       EL MONTE CA 91732



MIRIAM LABOY                           MIRIAM LEVINE                              MIRIAM LYNNE KOHUT
256 FAIRFIELD AVENUE                   7414 LAKE MEADOW LANE #102                 7603 S. MADISON CIRCLE
3RD FLOOR                              BOYNTON BEACH FL 33437                     CENTENNIAL CO 80122
HARTFORD CT 06114



MIRIAM MORENO                          MIRIAM MOSKOWITZ                           MIRIAM ORTIZ
11126 SILVER SUN LANE                  21 ARGYLE ROAD                             20 SOMERS LANE
ALTA LOMA CA 91737                     ALBERTSON NY 11507                         FARMINGVILLE NY 11738




MIRIAM SOLIS                           MIRIAM SPIES                               MIRJAMI NUUTINEN
6890 BELMAR DRIVE                      26 SULLIVAN ROAD                           7072 STONEWOOD DR
ORLANDO FL 32807                       APT B                                      HUNTINGTON BCH CA 92647
                                       LAKE GEORGE NY 12845



MIRLANDE JEAN                          MIRNA APARICIO                             MIRNA CABALLERO
8861 SW 8TH STREET                     323 GRAND BOULEVARD                        9 JENSEN ROAD
BOCA RATON FL 33433                    DEER PARK NY 11729                         BAY SHORE NY 11706




MIRSKY, LORI                           MIRTA VANACORE                             MIRWAIS SHAMS
432 W TILGHMAN ST                      6431 HAZEL CIRCLE                          227 SOUTH QUAKER LANE
ALLENTOWN PA 18102                     SIMI VALLEY CA 93063                       APT. 1
                                                                                  WEST HARTFORD CT 06119



MISERICORDIA HOME                      MISI COMPANY LTD                           MISI COMPANY LTD
6300 N RIDGE AVENUE                    830 THIRD AVENUE 3RD FLR                   GENERAL POST OFFICE
CHICAGO IL 60660                       NEW YORK NY 10022                          PO BOX 27988
                                                                                  NEW YORK NY 10087-7988



MISI COMPANY LTD                       MISIASZEK, LORENIA R                       MISILIM, MARION
PO BOX 7777                            7894 PEBBLE DR                             141-25 NORTHERN BLVD D1
PHILADELPHIA PA 19175-2959             KINGMAN AZ 86401                           FLUSHING NY 11354




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MISKOFF, ASHLEY                        MISQUAMIUCT BUSINESS ASSOC                 MISS OFFICE OF REVENUE
5301 NW 123 TERRACE                    PO BOX 1302                                PO BOX 23050
CORAL SPRINGS FL 33076                 WESTERLY RI 02891                          JACKSON MS 39225-3050




MISSISSIPPI DEPT OF                    MISSONAK, CHRISTIAN                        MISSOURI DEPT OF NATURAL RESOURCES
ENVIRONMENTAL QUALITY                  4 DANADA DR                                DIVISION OF ENVIRONMENTAL QUALITY
LEGAL DIVISION                         WHEATON IL 60187                           P.O. BOX 176
P. O. BOX 20305                                                                   JEFFERSON CITY MO 65102
JACKSON MS 39289-1305


MISSOURI SCHOOL OF JOURNALISM          MISSOURI SCHOOL OF JOURNALISM              MISSOURI SCHOOL OF JOURNALISM
134A NEFF ANNEX                        76C GANNETT HALL                           BILLIE DUKES
COLUMBIA MO 65211-1200                 COLUMBIA MO 65211-1200                     120 NEFF HALL
                                                                                  COLUMBIA MO 65211



MISSOURI SCHOOL OF JOURNALISM          MISSOURI STATE                             MISSOURI STATE
MISSOURI LIFESTYLE JOURNALISM AWARD    DEPARTMENT OF REVENUE                      BOARD OF ACCOUNTANCY
76 GANNETT HALL                        PO BOX 840                                 PO BOX 7004
COLUMBIA OH 65211                      JEFFERSON CITY MO 65105-0840               JEFFERSON CITY MO 65102



MISSOURI STATE                         MISSOURI STATE                             MISSOURI STATE
DEPARTMENT OF REVENUE                  DEPARTMENT OF REVENUE                      DEPARTMENT OF REVENUE
DIVISION OF TAXATION                   PO BOX 3360                                PO BOX 3390
PO BOX 840                             JEFFERSON CITY MO 65105                    JEFFERSON CITY MO 65105
JEFFERSON CITY MO 65105


MISSOURI STATE                         MISSOURI STATE                             MISTACHE, GARELINE
DIVISION OF EMPLOYMENT SECURITY        PO BOX 7004                                2278 NE 173RD STREET NO.4
PO BOX 59                              JEFFERSON CITY MO 65102                    NORTH MIAMI FL 33162
JEFFERSON CITY MO 65104-0059



MISTY BAARS                            MISTY DEVOLL                               MISTY GRIFFIN
180A SOUTH STREET                      PO BOX 188170                              5646 MARLATT STREET
GLENS FALLS NY 12801                   SACRAMENTO CA 95818                        MIRA LOMA CA 91752




MISURACA, KAREN                        MITCH ALBOM INC                            MITCH RINEHART
448 CHASE ST                           25600 FRANKLIN PARK DRIVE                  20345 VIA LAS VILLAS
SONOMA CA 95476                        FRANKLIN MI 48025                          YORBA LINDA CA 92887




MITCHAM, KARIMA                        MITCHARD, JACQUELYN                        MITCHEL BERAHA
2331 RUTLAND STREET                    PO BOX 259536                              2346 GLENDALE BLVD
MIAMI FL 33054                         MADISON WI 53725-9536                      APT# 5
                                                                                  LOS ANGELES CA 90039



MITCHEL V GARDNER                      MITCHELL ABRAMSON                          MITCHELL ANDERSON
705 WEST GLENOAKS BLVD                 321 WEST 105TH STREET                      1029 S HARVEY
APT A                                  NEW YORK NY 10025                          #3S
GLENDALE CA 91202                                                                 OAK PARK IL 60304




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MITCHELL BRITTON                       MITCHELL DEVELOPMENT & INVESTMENTS, LLC    MITCHELL FEINMEL
8123 S. STATE STREET                   RE: SALT LAKE CITY 230 W 200               86 FOREST RD
1ST FLR                                ATTN: TED J. MITCHELL                      PUT
CHICAGO IL 60619                       P.O. BOX 738                               STATEN ISLAND NY 10304
                                       GREAT FALLS MT 59403


MITCHELL FREEDMAN                      MITCHELL JOHNSTON                          MITCHELL LANDSBERG
209 GIBBS POND RD                      913 MANCHESTER                             1546 CARMONA AVENUE
NESCONSET NY 11767                     NAPERVILLE IL 60563                        LOS ANGELES CA 90019




MITCHELL LOCIN                         MITCHELL MAY                               MITCHELL RENOVATIONS INC
819 W. GUNNISON STREET                 2173 W WILSON                              1304 S HOWARD ST
APT 3C                                 #2                                         PHILADELPHIA PA 19147
CHICAGO IL 60640                       CHICAGO IL 60625



MITCHELL W HECHT MD PC                 MITCHELL'S                                 MITCHELL'S
1305 HEMBREE RD   STE 201              DATAMOVERS                                 P O BOX 2431 JAF STN
ROSWELL GA 30076                       PO BOX 2756                                NEW YORK NY 10116-2431
                                       NEW YORK NY 10116-2756



MITCHELL'S                             MITCHELL, AARON                            MITCHELL, AARON
PO BOX 2431                            CTR FOR EUROPEAN POLICY ANALYSIS           1465 28 ST S NO.7
NEW YORK NY 10116-2431                 1155 15TH ST NW STE 550                    ARLINGTON VA 22206
                                       WASHINGTON DC 20005



MITCHELL, AINSLEY                      MITCHELL, ANGIE E                          MITCHELL, BEVERLY L
1621 NW 32ND AVE                       323 NEW AVE                                397 GRAVELS ROAD
FT. LAUDERDALE FL 33311                WYANDANCH NY 11798                         HARRISONBURG VA 22802




MITCHELL, BOB                          MITCHELL, BRUNO                            MITCHELL, DAMIAN
189 SPRING RD                          50 EAST HILL RD     NO.1A                  4470 WOOD HOLLOW COURT
HUNTINGTON NY 11743                    CANTON CT 06019                            DOUGLASVILLE GA 30134




MITCHELL, DANA MONIQUE                 MITCHELL, EARNEST L                        MITCHELL, ELLEN
623 ABBE CT                            1825 N.W. 31 AVENUE NO.103                 4-74 48TH AVE APT 7B
FREEMANSBURG PA 18017                  FORT LAUDERDALE FL 33311                   LONG ISLAND CITY NY 11109




MITCHELL, FREDDIE C                    MITCHELL, JAMES                            MITCHELL, JAMES
3210 ROSEDALE CREEK CT                 P O BOX 250                                PO BOX 18
SNELLVILLE GA 30078                    UNIONVILLE CT 06085-0250                   CANTON CT 06019




MITCHELL, JAMES C                      MITCHELL, JASMINE                          MITCHELL, JOHN T
2126 E 97TH PLACE                      122 SPRING GARDEN ST APT 5                 3905 ADAMS DRIVE
169                                    EASTON PA 18042                            SILVER SPRING MD 20902
CHICAGO IL 60617




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MITCHELL, KENNETH                        MITCHELL, KIMBERLY                         MITCHELL, LATWANDA
3350 ROGERS DR                           2715 CHERRY RD APT 1141                    77 BISSELL ST
ORLANDO FL 32805                         MEMPHIS TN 38118                           EAST HARTFORD CT 06108




MITCHELL, LULA JEAN                      MITCHELL, NICKESHA                         MITCHELL, PAULINE
1847 QUAIL RUN                           2730 TAYLOR ST NO.9                        2690 SOMERSET DR 302
LAWRENCEVILLE GA 30044                   HOLLYWOOD FL 33020                         LAUDERDALE LAKES FL 33311




MITCHELL, ROBERT J                       MITCHELL, SAMANTHA                         MITCHELL, SEAN R
1038 3RD ST                              808 COLONIAL AVE                           921 MONTEREY RD
CATASAUQUA PA 18032                      WILLIAMSBURG VA 23185                      S PASADENA CA 91030




MITCHELL, SHANTEL M                      MITCHELL, SHARON                           MITCHELL, STEPHANIE
4 THURMONT CT APT TB                     2239 A OLD POST RD                         450 REFLECTIONS CIR NO.13
BALTIMORE MD 21236                       COPLAY PA 18037                            SAN BAMON CA 94583




MITCHELL, STEPHANIE                      MITCHELL, STEPHEN M                        MITCHELL, SUSAN M
450 REFLECTIONS CIR NO.13                700 N OCEAN VIEW DR                        824 NORTH HOWARD STREET
SAN RAMON CA 94583                       FULLERTON CA 92832                         WHEATON IL 60187




MITCHELL, THERESA                        MITCHELL, TONIA                            MITCHELL, TREMAINE
405 CHESTNUT HILL ROAD                   1408 ROBERT ST                             1213 NW 13TH CT
FOREST HILL MD 21050                     WHITEHALL PA 18052                         FT. LAUDERDALE FL 33311




MITCHELL,NATHAN J                        MITEL LEASING INC                          MITEL LEASING INC
11743 KIRKMEADOW                         1140 WEST LOOP NORTH                       PO BOX 972448
HOUSTON TX 77089                         HOUSTON TX 77055                           DALLAS TX 75397-2448




MITHERS,CAROL LYNN                       MITNICK, PAUL                              MITRAN MITRAN MUSIC
3210 KELTON AVE                          201 N. WEST SHORE                          2558 W HUTCHINSON ST
LOS ANGELES CA 90034                     #1507                                      CHICAGO IL 60618
                                         CHICAGO IL 60601



MITRAN MITRAN MUSIC                      MITRI LICIEUR                              MITROVICH, DAN
PO BOX 148454                            7345 S. SOUTH SHORE                        11623 SHADOW GLEN RD.
CHICAGO IL 60618                         #1901                                      EL CAJON CA 92020
                                         CHICAGO IL 60649



MITSUKO M YAMAGUCHI                      MITTIE HIGHSMITH                           MITTLER, DOUGLAS
163 NORTHWOODS DRIVE                     1256 ROSSITIER AVENUE                      128 CELLAR AVE
MERLIN OR 97532                          APT. 3-B                                   NEW HYDE PARK NY 11040
                                         BALTIMORE MD 21239




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MITTLER, DOUGLAS                      MITTON, JOSEPH F                           MITTON, JOSEPH F
128 CELLER AVE                        1015 VOLTZ RD                              PO BOX 2453
NEW HYDE PARK NY 11040                NORTHBROOK IL 60062                        NORTHBROOK IL 60065-2453




MITTONGTARE, PORNCHAI                 MITTONGTARE, PORNCHAI                      MITZI BEVAN
121 E SIX ST  STE 405                 500 MOLION ST STE 211                      4421 NW 9TH STREET
LOS ANGELES CA 90014                  LOS ANGELES CA 90013                       COCONUT CREEK FL 33066




MITZI YONG                            MIXER, DANA                                MIYOKO BELLONZI
1512 N COBRE COURT                    1021 ELSBERRY DRIVE                        1441 MORROW ROAD
VALINDA CA 91744                      WOODSTOCK GA 30189                         ROOM 409
                                                                                 MEDFORD OR 97504



MIZERA, MATTHEW K                     MIZLA, ERIN K                              MIZOTA, SHARON
142 S BLANK ST                        150 PINE STREET NO.111                     10508 AYRES AVE
ALLENTOWN PA 18102                    MANCHESTER CT 06040                        LOS ANGELES CA 90064




MIZZELL, JACKIE                       MIZZOU SPORTS PROPERTIES                   MJ TENG AND ASSOCIATES
210 PADDINGTON PLACE APT 202          3100 FALLING LEAF COURT                    3159 PICCOLO ST
HAMPTON VA 23669                      SUITE 201                                  PASADENA CA 91107
                                      COLUMBIA MO 65201



MJA ADVERTISING ASSOCIATES INC        MJA ADVERTISING ASSOCIATES INC             MJM CONSULTANTS INC
9440 SANTA MONICA AVE NO.507          250 5TH AVE 3RD FLOOR                      PO BOX 2895
BEVERLY HILLS CA 90210                NEW YORK NY 10001                          NAPERVILLE IL 60567-2825




MK BRODY COMPANY INC                  MKSD LLC                                   ML GEDDES
1101-09 W RANDOLPH ST                 2970 CORPORATE CT          STE 2           8600 NW 52ND CT
CHICAGO IL 60607                      OREFIELD PA 18069                          LAUDERHILL FL 33351




MLB ADVANCED MEDIA LP                 MLB INSURANCE SERVICES INC                 MLB INSURANCE SERVICES INC
75 NINTH AVE                          100 BANK STREET STE 610                    PO BOX 530
NEW YORK NY 10019                     BURLINGTON VT 05401                        BURLINGTON VT 05401




MLK BUSINESS FORMS INC                MLRP PENNY LANE LLC                        MLRP PENNY LANE LLC
36 RIVER STREET                       RE: SCHAUMBURG 1717 PENNY LN.              RE: SCHAUMBURG 1717 PENNY LN.
NEW HAVEN CT 06513                    C/O ML REALTY PARTNERS, LLC                C/O ML REALTY PARTNERS, LLC
                                      ONE PIERCE PLACE                           ATTN: ASSET MGT.; ONE PIERCE PLACE
                                      ITASCA IL 60143                            ITASCA IL 60143


MLRP PENNY LLC                        MLRP PENNY LLC                             MLRP PENNY LLC
RE: SCHAUMBURG 1717 PENNY LN.         135 S LASALLE DEPT 5290                    1717 PENNY LANE
C/O COLLIERS TURLEY MARTIN TUCKER     CHICAGO IL 60674-5290                      SCHAUMBURG IL 60193
1101 W. 31ST ST., SUITE 110
DOWNERS GROVE IL 60515




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MLRP PENNY LLC                         MLRP PENNY LLC                             MLRP PENNY LLC
C/O GLOBE PROPERTY MANAGEMENT CO       ONE PIERCE PLACE                           C/O COLLIERS TURLEY MARTIN TUCKER
770 LAKE COOK ROAD NO.300              SUITE 450                                  4678 WORLD PARKWY CIRCLE
DEERFIELD IL 60015                     ITASCA IL 60143                            ST LOUIS MO 63134



MLS CONNECT INC                        MMR PORTFOLIOS                             MNJ DISTRIBUTING INC
21690 ABINGTON COURT                   690 MEADOW LANE                            PO BOX 483
BOCA RATON FL 33428                    ELM GROVE WI 53122                         OCEAN CITY MD 21843




MNR CPR                                MNR CPR                                    MOAR, EMILY
5 MARIROD COURT                        PO BOX 1745                                1633 PINE AVE
NORTHPORT NY 11768                     WEST BABYLON NY 11704                      WINTER PARK FL 32789




MOBFEST                                MOBILE COMPUTING                           MOBILE COMPUTING
1658 N MILWAUKEE AVE NO.292            MOBILE COMPUTING CORPORATION               1230 CEDARS CT
CHICAGO IL 60647                       6877 GOREWAY DR, NO.3                      CHARLOTTESVILLE VA 22903
                                       MISSISSAUGA ON L4V 1L9



MOBILE COMPUTING                       MOBILE HEALTH SOLUTIONS INC                MOBILE MEDIA TECHNOLOGIES LLC
PO BOX 5223                            121 PINE CREEK TRAIL                       PO BOX 12003
CHARLOTTSVILLE VA 22903                ORMOND BEACH FL 32174                      KANSAS CITY MO 64152




MOBILE MERCHANDISERS INC               MOBILE MERCHANDISERS INC                   MOBILE MERCHANDISERS INC
ATTN                                   PO BOX 1223                                PO BOX 1223 106 E GATES
P O BOX 1223                           2611 HENSON ROAD                           MT VERNON WA 98273
MOUNT VERNON WA 98273-1223             MT VERNON WA 98273



MOBILE MODULAR MANAGEMENT CORP         MOBILE MODULAR MANAGEMENT CORP             MOBILE SATELLITE VENTURES LP
11450 MISSION BLVD                     PO BOX 45043                               PO BOX 791199
MIRA LOMA CA 91752                     SAN FRANCISCO CA 94145-0043                BALTIMORE MD 21279-1199




MOBILE SATELLITE VENTURES LP           MOBILE TV GROUP, LP                        MOBLEY, MAXINE
10802 PARKRIDGE BLVD                   2400 N ULSTER ST                           7424 RICKSWAY RD
RESTON VA 20191-5416                   DENVER CO 80238                            BALTIMORE MD 21208




MOCARSKY, WILLIAM                      MOCHA, ELIZABETH                           MOCK MD, CARLOS T
86 BRANFORD ST                         360 WELLINGTON NO.15A                      4728 N MALDEN ST 1S
MANCHESTER CT 06040                    CHICAGO IL 60657                           CHICAGO IL 60640-4055




MOCK MD, CARLOS T                      MOCKAITIS, THOMAS R                        MOCZULSKI, JOHN S
PO BOX 608246                          686 FOXDALE AVE                            17798 CAMINO DE YATASTO
CHICAGO IL 60640-8246                  WINNETKA IL 60093                          PACIFIC PALISADES CA 90272




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MODARRES, ALI                          MODEL METRICS LLC                          MODEL METRICS LLC
12564 SPRING CREEK RD                  360 W ILLINOIS SUITE NO. 11F               750 N ORLEANS ST STE 601
MOORPARK CA 93021                      CHICAGO IL 60610                           CHICAGO IL 60610




MODELET JOISSAINT                      MODERN AMALGAMATED DUO INC                 MODERN ENTERTAINMENT
5360 NE 9TH TERRACE                    111 S TAYLOR AVE                           6910 NETWORK PLACE
POMPANO BEACH FL 33064                 OAK PARK IL 60302                          INDIANAPOLIS IN 46278




MODERN ENTERTAINMENT LTD               MODERN ENTERTAINMENT LTD                   MODERN ENTERTAINMENT LTD
PO BOX 51913                           PO BOX 8075                                JAF BOX 2191
UNIT H                                 VAN NUYS CA 91409                          NEW YORK NY 10116-2191
LOS ANGELES CA 90051-6210



MODERN HANDLING EQUIPMENT              MODERN MEDIA INC                           MODERN PARKING INC
P O BOX 8500 S 1880                    2432 IRON MOUNTAIN DRIVE                   111 W WILSON AVE
PHILADELPHIA PA 19178                  PARK CITY UT 84060                         GLENDALE CA 91203




MODERN PARKING INC                     MODERN REAL ESTATE                         MODESTA SANTANA
1200 WILSHIRE BLVD., STE 300           1471 WILLARD AVE                           756 SENECA STREET
LOS ANGELES CA 90017                   NEWINGTON CT 06111                         BETHLEHEM PA 18015




MODESTA ZAPATA                         MODESTE, DONNA                             MODLER, HARRIET R
1119 GARNETT PLACE                     297 HINSDALE ST                            540 CATALONIA AVE
APT #3                                 BROOKLYN NY 11207                          PACIFIC PALISADES CA 90272
EVANSTON IL 60201



MODULATION SCIENCES INC                MOELLER, JEFFREY                           MOFFAT & CO
12A WORLDS FAIR DRIVE                  603 EUCALYPTUS DR                          427 LAURIER AVENUE WEST SUITE 1200
SOMERSET NJ 08873                      EL SEGUNDO CA 90245                        OTTAWA ON K1R 7Y2




MOFFAT & CO                            MOFFETT, STEPHEN                           MOFFIT, JEFFREY
PO BOX 2088 STATION D                  7529 LOS PADRES TRAIL                      6316 ELDERWOOD CT
OTTAWA ON K1P 5W3                      FORT WORTH TX 76137                        OAK FOREST IL 60452




MOFFITT,HAZEL M                        MOGELNICKI, JEAN                           MOGISTIC LLC
51 WELLESLEY DR NO.312                 55 EAST LAKE AVE                           9999 HAMILTON BLVD
NEWPORT NEWS VA 23606                  MASSAPEQUA PARK NY 11762                   ONE TEK PARK STE 130
                                                                                  BREINIGSVILLE PA 18031



MOGUEL BADILLO, ROSSANA                MOGUEL, ILEANA BADILLO                     MOHAMED GURMOHAMED
CALLE DE LA JARA NO.17                 834 S FERN                                 1755 BUSSING AVENUE
SAN LORENZO DE EL ESCORIAL             WITCHITA KS 67213                          BRONX NY 10466
MADRID 28200




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MOHAMED KHAN                          MOHAMED, ABDUL A                           MOHAMMED RAFIQUE
33 BOLTON STREET                      34 HEARTWOOD COURT                         6624 N. SEELEY
HARTFORD CT 06114                     BALTIMORE MD 21234                         APT 1N
                                                                                 CHICAGO IL 60645



MOHAN, JOSEPH                         MOHAPATRA, PRAMIT                          MOHI, NEGEAN
1041 N HOYNE BLVD                     26 N STREEPER ST                           133 SW 159 WAY
CHICAGO IL 60622                      BALTIMORE MD 21224                         SUNRISE FL 33326




MOISE, ANDRE                          MOISE, DIYAN F                             MOISE, ILRICK
226 SW 11TH STREET                    9373 SW 3RD ST                             11109 MODEL CIRCLE EAST
DANIA BEACH FL 33004                  BOCA RATON FL 33428                        BOCA RATON FL 33428




MOISE, JEAN                           MOISE,JEAN,R                               MOISE-PIERRE, MARIE CHRISLANDE
510 NE 37TH ST                        221 STERLING AVENUE                        3697 NE 5 AVE NO.5
POMPANO BEACH FL 33064                DELRAY BEACH FL 33444                      POMPANO BEACH FL 33064




MOISES DELGADO                        MOISES LEMUS                               MOISES ROSS
6023 S. NARRAGANSETT AVENUE           4911 BANEWELL AVENUE                       3313 N PROSPECT AVENUE
CHICAGO IL 60638                      COVINA CA 91722                            ROSEMEAD CA 91770




MOJICA, ARTHUR H                      MOKSA INC                                  MOLANO, CLAUDIA
12342 E ESSEX STREET                  47 CORNNALL LANE                           10738 LAKE JASMINE DR
CERRITOS CA 90703                     GUILFORD CT 06437                          BOCA RATON FL 33498




MOLCHANY, RICHARD D                   MOLESKY, MARY LOU                          MOLINA, GILMAR L
4041 HUNSICKER DRIVE                  8555 LAWNDALE AVE                          4798 NW 7TH MANOR
WALNUTPORT PA 18088                   SKOKIE IL 60076                            COCONUT CREEK FL 33063




MOLINA, HECTOR                        MOLINA, ILIANA C                           MOLINA, PEDRO
3500 SPRINGDALE BLVD                  2215 N MOBILE AVE                          ESQUINA SUR OESTE CASA PELLAS
PALM SPRINGS FL 33461                 CHICAGO IL 60639                           ESTELI 2 1/2 AL OESTE
                                                                                 ESTELI



MOLINA, ROBERTO A                     MOLINA, ROBERTO A                          MOLINA, WILLIAM
97-32 110TH ST                        97-32 110TH ST                             26 PROSPECT ST   APT C-1
RICHMOND HILL NY 11419                SOUTH RICHMOND HILL NY 11419-1019          E HARTFORD CT 06108




MOLINA, WILLIAM                       MOLINARIS, KYLE                            MOLINARY, TAMMIE LEIGH
52 MURRAY STREET                      7884 NW 1ST ST                             1889 E CHATHAM RD
EAST HARTFORD CT 06108-1637           MARGATE FL 33063                           WEST PALM BEACH FL 33415




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MOLINO, AMY L                           MOLL, JENNIFER                             MOLL, KAREN L
1616 GENOA PL                           38 S 13TH ST                               535 CLEVELAND ST
COLUMBUS OH 43227                       EMMAUS PA 18049                            ALLENTOWN PA 18103




MOLLER, WILLIAM                         MOLLIE SULLIVAN                            MOLLIE TOBIAS
11 OXFORD AVE                           1028 N. SCREENLAND DRIVE                   3917 WEST 82ND STREET
CLARENDON HILLS IL 60514                BURBANK CA 91505                           CHICAGO IL 60652




MOLLOY, JOSEPH O                        MOLLY BRAUER                               MOLLY DAVIS
207 S 16TH ST                           2938 ERNST ST                              805 RANDOLPH STREET
ALLENTOWN PA 18102                      FRANKLIN PARK IL 60131-2402                3E
                                                                                   OAK PARK IL 60302



MOLLY HENNESSY-FISKE                    MOLLY MEZA                                 MOLLY O'KEEFE
1949 N. VERMONT AVENUE                  13429 TRACY ST.                            2948 W EASTWOOD AVE
APT 3                                   APT.# 224                                  CHICAGO IL 60625
LOS ANGELES CA 90027                    BALDWIN PARK CA 91706



MOLLY SELVIN                            MOLLYE HUBBARD                             MOLONEY, KEVIN
3272 PURDUE AVENUE                      634 S. EATON ST.                           488 OWL DRIVE
LOS ANGELES CA 90066                    BALTIMORE MD 21224                         LOUISVILLE CO 80027-2258




MOLYNEAUX, ELIZABETH                    MOLYNEUX, BENJAMIN                         MOLZAHN, LAURA J
8122 WILLOW GLEN RD                     48 PRINCETON ST                            3454 N BELL
LOS ANGELES CA 90046                    MANCHESTER CT 06042                        CHICAGO IL 60618




MON TRICE PRESLEY                       MONA COHEN                                 MONA LISA COOPER
6303 LIVERPOOL LN                       519 E SHERIDAN STREET                      8631 INDIAN RIVER RUN
SUFFOLK VA 23435                        UNIT 308                                   BOYNTON BEACH FL 33437
                                        DANIA BEACH FL 33004



MONAGHAN, CAROL A                       MONAGHAN, SEAN MICHAEL                     MONAHAN, DAVID
6101 WOODVIEW PASS                      330 NE 7TH STREET                          5 S 630 BLUFF LANE
MIDLAND MI 48642                        POMPANO BEACH FL 33060                     NAPERVILLE IL 60540




MONAHAN, SHEILA                         MONAHAN, SHEILA                            MONAKHOV, YOLA
PO BOX 403334                           PO BOX 403334                              3440 BROADWAY NO.2A
MIAMI BEACH FL 33104                    MIAMI BEACH FL 33140                       NEW YORK NY 10031




MONARCH LITHO INC                       MONASTERO, VINCENT E                       MONCADA, CARMEN
1501 DATE STREET                        16134 VIA DESCANSO                         4395 SPRING BLOSSOM DR
MONTEBELLO CA 90640                     SAN LORENZO CA 94580                       KISSIMMEE FL 34746




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MONCHER,WEHMIT                        MONCRIEF,WILLIAM                           MONCRIEFFE, MARCEL ST ELMO
10730 EMBER STREET                    627 NE 6TH AVENUE                          6460 SW 16TH CT
BOCA RATON FL 33428                   BOYNTON BEACH FL 33435                     POMPANO BEACH FL 33068




MONDESIR, PIERRE                      MONDESTIN, RENALD                          MONDRAGON BENITEZ, JORGE
5448 EDGERTON AVE                     1333 S DIXIE HWY APT 209                   661 CYPRESS LAKE BLVD. APT. B
LAKE WORTH FL 33463                   DEERFIELD BEACH FL 33441                   POMPANO BEACH FL 33064




MONDSCHEIN, JEFFREY                   MONESTINE, ESTHER                          MONET LANE PRODUCTIONS
168 W 29TH ST                         3241 NW 46TH AVE                           5800 SUNSET BLVD BUILDING 11 SUITE 101
NORTHAMPTON PA 18067                  LAUDERDALE LAKES FL 33319                  HOLLYWOOD CA 90028




MONET RAVENELL                        MONGE, ADRIANA                             MONGE, JOSE
3741 MANCHESTER AVENUE                615 E BROADWAY 201                         312 ERIE DR
BALTIMORE MD 21215                    LONG BEACH CA 90802                        KISSIMMEE FL 34759




MONGIELLO, LEONARD                    MONGILLO JR, JOHN                          MONGILLO JR, JOHN
21 FULTON AV                          144 DANIEL RD                              17 ORCHARD PATH
HICKSVILLE NY 11801                   HAMDEN CT 06517                            WESTBROOK CT 06498




MONGO COMMUNICATIONS INC              MONICA ALI                                 MONICA BARNETT
MONGO COMMUNICATIONS                  333 RIVER STREET                           623 LEAMINGTON AVE.
4455 N ALBANY AVE NO.2N               APT. 952                                   WILMETTE IL 60091
CHICAGO IL 60625-4521                 HOBOKEN NJ 07030



MONICA BILLOTTI                       MONICA BROWNLEE                            MONICA BRYANT
3 COMMONWEALTH AVE                    1029 N. WALLER                             4600 INVERRARY BLVD
MASSAPEQUA NY 11758                   CHICAGO IL 60651                           APT. 1804
                                                                                 LAUDERHILL FL 33313



MONICA CABRERA                        MONICA CAMPBELL                            MONICA CHAPLIN
1013 LINDEN ST                        6785 NW 69 CT                              6500 WELLS ST.
APT #15                               TAMARAC FL 33321                           DOWNERS GROVE IL 60516
ALLENTOWN PA 18102



MONICA CHAPMAN                        MONICA CORCORAN                            MONICA ENG
1410 FOXTAIL CT.                      1345 N FULLER AVENUE                       5743 N. SPAULDING
LAKE MARY FL 32746                    APT 205                                    APT #3
                                      LOS ANGELES CA 90046                       CHICAGO IL 60659



MONICA FRANCISCO                      MONICA GLADDEN                             MONICA GRIFFIN
7769 SANDSTONE COURT                  1924 WEST FRANKLIN STREET                  15500 DORCHESTER
ELLICOTT CITY MD 21043                BALTIMORE MD 21223                         DOLTON IL 60419




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MONICA HAYES                         MONICA LOPOSSAY                            MONICA MACIEL
355 VENETO                           824 W. 37TH STREET                         327 E. GROVE STREET
IRVINE CA 92614                      BALTIMORE MD 21211-2744                    POMONA CA 91767




MONICA MELGAREJO                     MONICA MONIUSZKO                           MONICA NAVAS
550 NORTH KINGSBURY STREET           7656 S. CORK AVE.                          215 ST. NICHOLAS AVENUE
APT. #411                            JUSTICE IL 60458                           APT 2L
CHICAGO IL 60610                                                                BROOKLYN NY 11237



MONICA OLIVAS                        MONICA PEREZ                               MONICA POLANCO
8500 SERAPIS AVE.                    24339 LA GLORITA CIRCLE                    1062 BOULEVARD
PICO RIVERA CA 90660                 NEWHALL CA 91321                           #C4
                                                                                WEST HARTFORD CT 06119



MONICA POTTS                         MONICA RANDALL                             MONICA RODRIGUEZ
27 BELLTOWN ROAD                     981 RADCLIFFE ROAD                         246 E 69TH STREET
APT. #8                              TOWSON MD 21204                            LONG BEACH CA 90805
STAMFORD CT 06905



MONICA RUBALCAVA                     MONICA RUVALCABA                           MONICA SALCEDO
847 MALTMAN AVE.                     1020 W. TERESA ST.                         6436 GERALD AVENUE
LOS ANGELES CA 90026                 WEST COVINA CA 91790                       VAN NUYS CA 91406




MONICA SANCHEZ                       MONICA SCHNEIDER                           MONICA SMITH
3773 HUDSON AVE                      5722 S. PARK STREET                        43 BETT ST NE
SEAFORD NY 11783                     HINSDALE IL 60521                          COMSTOCK PARK MI 49321




MONICA SMOTHERS                      MONICA TONKINS                             MONICA WALSH
12204 BRAXFIELD CT.                  1752 NICKERSON BLVD                        471 CITRUS LANE
#5                                   HAMPTON VA 23663                           MAITLAND FL 32751
ROCKVILLE MD 20852



MONICA WESOLOWSKI                    MONICA ZACK                                MONICK, DAN
4450 NE 25 AVENUE                    4157 N. BELL                               2829 W SILVER LAKE DR
LIGHTHOUSE POINT FL 33064            CHICAGO IL 60618                           LOS ANGELES CA 90039




MONIKA H BROWN                       MONIQUE BELL                               MONIQUE BENNETT
329 MELODY LANE                      5301 HERRING RUN DRIVE                     2741 W. BREWYN
CASSELBERRY FL 32707                 BALTIMORE MD 21214                         CHICAGO IL 60625




MONIQUE BERGERON                     MONIQUE CARR                               MONIQUE CARTIER
28 PARK PLACE                        2415 ANNOR COURT                           28 HUNTINGTON PLACE
APT. #708                            BALTIMORE MD 21225                         BEL AIR MD 21014
COVINGTON LA 70433




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MONIQUE GARCIA                        MONIQUE GREEN                              MONIQUE MARC
1802 W. FARWELL                       7 HILLWOOD DRIVE                           6029 NW 3RD STREET
APT. #2B                              HUNTINGTON STATION NY 11746                MARGATE FL 33063
CHICAGO IL 60626



MONIQUE MARCIL                        MONIQUE ROBINSON                           MONIQUE SINGH-ROY
13 QUEENS WAY                         P.O. BOX 7464                              1955 FIRST AVENUE
QUEENSBURY NY 12804                   FT. LAUDERDALE FL 33338                    #730
                                                                                 NEW YORK NY 10029



MONIQUE THARPE                        MONIQUE WALKER                             MONIS, CARYN
2636 E EDGERTON AVE APT. 8            115 COLLINS AVENUE                         11613 BARBERRY LANE
CUDAHY WI 53110                       BALTIMORE MD 21229                         HUNTLEY IL 60142




MONISHA DHAR                          MONITOR                                    MONITOR
1955 FOUNTAINVIEW                     1101 ASH                                   1400 E NOLANA LOOP
APT #4                                MCALLEN TX 78501                           MCALLEN TX 78504
HOUSTON TX 77057



MONITOR                               MONKEY BUNCH                               MONNAY, THOMAS
PO BOX 760                            FSO MICKEY GLAZER                          11410 NW 30 PLACE
MCALLEN TX 78505                      7336 SANTA MONICA BLVD     STE 796         SUNRISE FL 33323
                                      LOS ANGELES CA 90046



MONROE BUSH                           MONROE COUNTY GOVERNMENT                   MONROE COUNTY GOVERNMENT
2622 AMHERST STREET                   COUNTY TREASURER                           COURTHOUSE RM 209
INDIANAPOLIS IN 46268                 COURTHOUSE    RM 204                       BLOOMINGTON IN 47404
                                      BLOOMINGTON IN 47404



MONROE COUNTY GOVERNMENT              MONROE MENDELSON RESEARCH INC              MONROE, CRAIG K
MONROE COUNTY CLERK OF CIRCUT CT      841 BROADWAY 8TH FLR                       9499 ALBERTA COURT
301 N COLLEGE RM 201 PO BOX 547       NEW YORK NY 10003                          FRISCO TX 75034
BLOOMINGTON IN 47402



MONROE, MARYLIN                       MONROE, RAYMOND                            MONROE, RAYMOND
3549 PATTI PARKWAY                    28 MILLER RD                               80 BICKNELL RD NO.31, ASHFORD
DECATUR GA 30034                      PO BOX 106                                 P O BOX 57
                                      CHAPLIN CT 06235                           SOUTH WINDHAM CT 06266-0057



MONROE, RAYMOND                       MONROE, RHEA                               MONROE, SAMMIE L
P O BOX 57                            286 MENCHVILLE RD                          2832 SW 3RD ST
*BOB'S FURNITURE/RT 195/MANS          NEWPORT NEWS VA 23602                      FORT LAUDERDALE FL 33312
SOUTH WINDHAM CT 06266-0057



MONROY, JUAN                          MONSANTE, ENRIQUE                          MONSERRATE LUGARDO
201 RAQUECT CLUB RD APT N429          4931 BRIGHTMOUR CIR                        2531 N AVERS
WESTON FL 33326                       ORLANDO FL 32837                           CHICAGO IL 60647




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MONSON ASPHALT PAVING                 MONSON ORTEGA, MARY                        MONSTAVICIUS, ERICK
9325 WEXFORD DR                       116 ROSETO AVE                             RUA NILO PECANHA 110
TUJUNGA CA 91042                      BANGOR PA 18013                            APT 124
                                                                                 SAO CAETANO DO SUL, SP 095-4083



MONSTER BILLBOARDS INC                MONSTER MEDIA LLC                          MONSTER MEDIA LLC
517 S LAKE DESTINY RD SUITE 100       517 S LAKE DESTINY RD      NO.100          735 PRIMERA BLVD NO.155
ORLANDO FL 32810                      ORLANDO FL 32810                           LAKE MARY FL 32746




MONSTER MEDIA LLC                     MONTAGE PHOTOGRAPHY                        MONTAGUE, DONALD
ACCOUNTING DEPARTMENT                 119 1/2 LARCHMONT BLVD STE ONE             13736 OCEAN PINE CIRCLE
2520 SAND MINE ROAD                   LOS ANGELES CA 90004                       ORLANDO FL 32828-3084
DAVENPORT FL 33897



MONTAGUE, JOYCE                       MONTALVO, ELLEN                            MONTAN, JOSE
110 MAPLEWOOD ST                      1211 POQUOSON AVENUE                       KM 17 NO.5 EL VIGIADOR
HAMPTON VA 23669                      POQUOSON VA 23662                          BARRIO NUEVO ENTRADA
                                                                                 PALO VERDE



MONTANA CABLE TELECOMMUNICATIONS      MONTANA DEPT OF                            MONTANA STANDARD
PO BOX 7015                           ENVIRONMENTAL QUALITY                      PO BOX 627
HELENA MT 59604                       LEE METCALF BLDG1520 E. SIXTH AVE,         BUTTE MT 59701
                                      P.O. BOX 200901
                                      HELENA MT 59620-0901


MONTANA, STEPHANIE M                  MONTANEZ, GERMAN                           MONTANEZ, TAMARA
4391 MILLBURN                         15203 SW 52ST                              409 FOUNTAINHEAD CIR      NO.133
COLORADO SPRINGS CO 80906             MIRAMAR FL 33027                           KISSIMMEE FL 34741




MONTANEZ,LUIS                         MONTANEZ,LUIS                              MONTAS, ALCIBIADES
2125 SW 82ND CT                       1060 W ADDISON ST, CHICAGO CUBS            854 GALSTON DRIVE SUITE 2603
MIAMI FL 33155                        CHICAGO IL 60613                           WINTER SPRINGS FL 32708




MONTAS, ROOSEVELT                     MONTAVANO, CATHERINE                       MONTE COSTES
610 W 142ND ST 1F                     26 SPRING MEADOW DR                        11811 HOLLYHOCK DRIVE
NEW YORK NY 10031                     HOLBROOK NY 11741                          FISHERS IN 46037




MONTE LEE                             MONTE MORIN                                MONTE ST. AMANT
9670 HILLHAVEN AVENUE                 420 SOUTH SAN PEDRO ST                     3550 GRANDLAKE BLVD.
TUJUNGA CA 91042                      APT 319                                    APT. #F-107
                                      LOS ANGELES CA 90013                       KENNER LA 70065



MONTE YOUNG                           MONTEBELLO, GEORGE A                       MONTECINO, JOSE ALFREDO
10 SAINT JAMES PLACE                  134A RUSTIC ROAD                           C/GASTON FDO DELIGNE NO 148 LA AVIACION
BROOKLYN NY 11205                     CENTEREACH NY 11720                        ROMANA




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MONTECINO, JOSE ALFREDO                   MONTENEGRO, HEVRY                        MONTENEGRO, RAMIRO
C/GASTON FLD DELIGNE NO 148 LA AVIACION   30 E 44 STREET                           903 NE 199TH STREET
ROMANA                                    HIALEAH FL 33013                         MIAMI FL 33179




MONTEREY COUNTY HERALD                    MONTES DE OCA, LUIS A                    MONTES, PIERRE
PO BOX 271                                3313 NW 14TH AVE                         661 NE 195TH ST. APT 215
MONTEREY CA 93492-0271                    POMPANO BEACH FL 33064                   MIAMI FL 33179




MONTEVERDE, LUIS SIERRA                   MONTEZ, MIGUEL                           MONTGOMERY ADVERTISER
1961 W FOSTER NO.1                        10 MIDDLEBURY ST                         PO BOX 1000
CHICAGO IL 60640                          STAMFORD CT 06902                        MONTGOMERY AL 36101-1000




MONTGOMERY COLLEGE FOUNDATION             MONTGOMERY FATE, TOM                     MONTGOMERY PUBLIC SCHOOLS
51 MANNAKEE ST                            363 HILL AVE                             12601 DALEWOOD DR
ROCKVILLE MD 20850                        GLEN ELLYN IL 60137                      SILVER SPRINGS MD 20906




MONTGOMERY, JEANNETTA M                   MONTGOMERY, JOHN                         MONTGOMERY, MACK
8103 RT 53 APT 7                          6972 W BELMONT                           2060 NW 5TH TERRACE
WOODRIDGE IL 60517                        CHICAGO IL 60634                         POMPANO FL 33060




MONTGOMERY, MACK                          MONTGOMERY, MARK                         MONTIA MCGREGOR
2060 NW 5TH TERRACE                       128 N JEFFERSON ST                       16150 SW 28TH COURT
POMPANO BEACH FL 33060                    ALLENTOWN PA 18102                       MIRAMAR FL 33027




MONTIEL, OLAYO                            MONTIGLIO, MARIA                         MONTMINY, MARIE
17901 SW 12 CT                            10588 PLAINVIEW CIRCLE                   PO BOX NO.3
PEMBROKE PINES FL 33029                   BOCA RATON FL 33498                      CROMWELL CT 06416




MONTOYA, NEFER AIDA                       MONTRE' SIMPSON                          MONTROSE-VERDUGO CHAMBER OF
104 LAUREL OAK DRIVE                      1 IVYBROOK COURT                         3516 N VERDUGO ROAD
LONGWOOD FL 32779                         RANDALLSTOWN MD 21133                    GLENDALE CA 91208




MONTSTREAM & MAY                          MONTSTREAM & MAY                         MONTY DODGE
FRANK MAY                                 KAREN ACQUARULO                          P.O. BOX 1432
655 WINDING BROOK DR.                     655 WINDING BROOK DR.                    SORRENTO FL 32776
GLASTONBURY CT 06033-6087                 GLASTONBURY CT 06033-6087



MONTZ, GARY JR                            MONUMA, GUILDOR                          MONUMENT CENTER LLC
4052 SHARILYNN DR                         566 FERN LANE                            11711 N COLLEGE AVE STE 200
ABINGDON MD 21009                         DELRAY BEACH FL 33445                    CARMEL IN 46032




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MONUMENTAL LIFE INSURANCE COMPANY        MONYA KIRKLAND                           MONZON, ELIZABETH
RE: CHATSWORTH 9301 OAKDALE              1344 SOUTH SPRINGFIELD                   4961 NW 17TH ST
% AEGON USA REALTY ADVISORS, INC.;       CHICAGO IL 60623                         LAUDERHILL FL 33313
ATTN: LEASE ADMIN; 4333 EDGEWOOD RD NE
CEDAR RAPIDS IA 52499-5441


MONZURES, JANE ELIZABETH                 MOO MANAGEMENT LLC                       MOO STUDIOS
630 N FRANKLIN NO.1117                   746 N CAHUENGA BLVD                      746 N CAHUENGA BLVD
CHICAGO IL 60610                         LOS ANGELES CA 90038                     LOS ANGELES CA 90038




MOODIE, LEWIN                            MOODY BIBLE INSTITUTE                    MOODY, MIYA
48 WEST WASHINGTON ST                    820 N LASALLE                            546 GREGORY AVE NO.3C
STAMFORD CT 06902                        CHICAGO IL 60610                         GLENDALE HEIGHTS IL 60139




MOODY, MIYA                              MOON, KATHARINE HS                       MOON, MARSHALL S
546 GREGORY AVE NO.3C                    666 WASHINGTON ST NO.13                  PO BOX 1007
GLENDALE HEIGHTS IL 60534                WELLESLEY MA 02481                       KENAI AK 99611




MOON, MICHAEL A                          MOON, SORA                               MOONEY, KAREN E
975 ROMER PLACE                          41 SCOTT LOOP                            4520 N AVERS
STONE MOUNTAIN GA 30083                  HIGHLAND PARK IL 60035                   CHICAGO IL 60625




MOONEY, KOREY                            MOONEY, PETER                            MOONEY, PETER
15 BIRCH DR                              443 PINEHURST CT                         672 BROOKLINE PL
EMMAUS PA 18049                          FULLERTON CA 92835                       FULLERTON CA 92835




MOONEY, RICHARD                          MOONEY, THERESA                          MOONFEST 2004 INC
188 YOUNG STREET                         1076 N PAULINA BSMT FRONT                6052 PINE DR
EAST HAMPTON CT 06424                    CHICAGO IL 60622                         LANTANA FL 33462




MOONLIGHT DISTRIBUTING LLC               MOONLIGHT DISTRIBUTION INC               MOONLIGHT INC
23486 PARK COLOMBO                       516 E JOILET ST                          921 NE 3RD AVE
CALABASAS CA 91302-2813                  CROWN POINT IN 46307-4061                FT LAUDERDALE FL 33304




MOONLIGHT NEWS                           MOORE II, JAMES E                        MOORE II, JAMES E
781 MICHAEL DR                           GER 240 MG 0193                          GER 240 MG 0193
CHESTERTON IN 46304                      UNIVERSITY OF SOUTHERN CALIFORNIA        UNIV OF SOUTHERN CALIFORNIA
                                         LOS ANGELES CA 90089-2531                LOS ANGELES CA 90089-2631



MOORE JR, BYRON CHRISTOPHER              MOORE LANDSCAPING INC                    MOORE PRODUCTION TOOL
129 NE 6TH CT.                           1869 TECHAY ROAD                         37531 GRAND RIVER CUTOFF
DEERFIELD BEACH FL 33441                 NORTHBROOK IL 60062                      BOX 487
                                                                                  BRIAN
                                                                                  FARMINGTON HILLS MI 48335




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MOORE PRODUCTION TOOL                 MOORE PRODUCTION TOOL                      MOORE, ANTONINO
SPECIALTIES INC                       SPECIALTIES INC                            5401 SW 34TH STREET NO.120
37531 GRAND RIVER CUTOFF              ATTN: ORDER PROCESSING                     HOLLYWOOD FL 33023
FARMINGTON HILLS MI 48335             37531 GRANDRIVER CUTOFF
                                      FARMINGTON HILLS MI 48335


MOORE, BOBBIE N                       MOORE, BRETLAND B                          MOORE, CALLIE R
750 MCARTHUR COURT                    4876 MARSHA DRIVE SE                       493 ASHLEY WY
DOLTON IL 60419                       MABLETON GA 30126                          LEXINGTON KY 40503




MOORE, CHRISTOPHER                    MOORE, DARNELL                             MOORE, DUVONNE T
2320 NANSEN AVE                       7329 WOODWARD APT 314                      4150 NW 114TH AVE
SUITE 2208                            WOODRIDGE IL 60517                         CORAL SPRINGS FL 33065
ORLANDO FL 32817



MOORE, EDWIN                          MOORE, ELDRID                              MOORE, GREGGORY
3645 TULLAMORE LN                     20128 NW 61 AVE                            360 W OCEAN BLVD NO.706
SNELLVILLE GA 30078                   HIALEAH FL 33015                           LONG BEACH CA 90802




MOORE, GWENDOLYN                      MOORE, HEIDI L                             MOORE, JEFFREY
3718E CANDLEWYCK CLB DRIVE            4533 N WHIPPLE ST                          941 PARK VALLEY CIR
ST. LOUIS MO 63034                    CHICAGO IL 60625                           SUITE 0200
                                                                                 MINNEOLA FL 34715



MOORE, JEFFREY                        MOORE, JIZELLE R                           MOORE, JONATHAN
9410 PARK VALLEY CIR                  6307 POWHATAN ST                           PO BOX 4160
SUITE 0200                            RIVERDALE MD 20737                         BETHLEHEM PA 18018
MINNEOLA FL 34715



MOORE, KAREN                          MOORE, KATHLEEN                            MOORE, KEVIN
9445 EMERALD COVE LANE                20 TUCKAWAY CT                             1705 MAUMEE AVE
ELK GROVE CA 95758                    NEWPORT NEWS VA 23601                      ALLENTOWN PA 18103




MOORE, KEVIN M                        MOORE, LATISHA                             MOORE, LINDSAY
108 GIRARD                            2320 NANSEN AVENUE                         9769 ARBOR OAKS LN NO.303
WILMETTE IL 60091                     ORLANDO FL 32817                           BOCA RATON FL 33428




MOORE, LLOYD                          MOORE, MARGARET                            MOORE, MARK
8410 N SHERMAN CIRCLE APT 104         79 MILLBROOK DRIVE                         30 THEODORE ST
MIRAMAR FL 33023                      EAST HARTFORD CT 06118                     ENFIELD CT 06082




MOORE, MARY G                         MOORE, NADIA A                             MOORE, NATALIE
20 ROGERS ST APT 2                    10200 NW 33TH ST                           7 ARLINGTON ST    APT 1
SOUTH BOSTON MA 02127                 CORAL SPRINGS FL 33065                     CAMBRIDGE MA 02140




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MOORE, NATASHA N                       MOORE, PHILLIP                             MOORE, ROBERT LLOYD
508 SW 5TH AVE                         3631 LAKESPUR DR                           2313 HAWICK LANE
DELRAY BEACH FL 33444                  AUGUSTA GA 30906                           WINTER PARK FL 32792




MOORE, ROBERT LLOYD                    MOORE, ROZANDA                             MOORE, RYAN D
DEPT OF ANTHROPOLOGY                   28 HARMONY ST                              5845 GRAPEVINE DR
ROLLINS COLLEGE                        EAST HARTFORD CT 06108                     COLORADO SPRINGS CO 80923
1000 HOLT AVE
WINTER PARK FL 32789


MOORE, SCOTT                           MOORE, SOLOMON                             MOORE, STELLA
3508 VOLK AVE                          BAGHDAD FOREIGN CORRESPONDENT              1999 TEMPLE AVENUE NO.A
LONG BEACH CA 90808                    LA TIMES FOREIGN BUREAU                    SIGNAL HILL CA 90755
                                       202 W 1ST ST
                                       LOS ANGELES CA 90012


MOORE, STEVEN                          MOORE, THOMAS                              MOORE, TRACI Y
2984 BIRCH HOLLOW DR    NO.2-B         215 MARTHA LEE DR                          727 NORTH AVE
ANN ARBOR MI 48108                     HAMPTON VA 23666                           NEWPORT NEWS VA 23605




MOORE, TYRENNA                         MOORE, VERNITA                             MOORE-LE FAUVE, KIMBERLY
1118 S OAK PARK AVE    NO.2            701 NW 1 TER                               6521 EARTHGOLD DR
OAK PARK IL 60304                      DEERFIELD BEACH FL 33441                   WINDERMERE FL 34786




MOOS, MAUREEN V                        MOOSHIL, MARIA                             MOPHONICS, INC
8508 NORTHWOOD PARKWAY                 5902 N. KNOX AVE.                          PO BOX 5175
MINNEAPOLIS MN 55427                   CHICAGO IL 60646                           SANTA ANA CA 90409




MOQUETTE-MAGEE, ELAINE                 MORA RIVAS, STALIN                         MORA, CARMEN
124 HARDY CIRCLE                       66 SEMINOLE CT W                           1601 N 46 AVE
PLEASANT HILL CA 94523                 ROYAL PALM BEACH FL 33411                  HOLLYWOOD FL 33021




MORA, GRACIELA V                       MORA, JUAN                                 MORA, MANUEL
1601 N 46 AVE                          6024 BUCHANAN STREET NO.1                  1428 N KILDARE
HOLLYWOOD FL 33021                     HOLLYWOOD FL 33024                         CHICAGO IL 60651




MORA, MARIA C                          MORA, RENZON ALONSO                        MORAES, CRISTIANE
1846 BRIDGEVIEW CIR                    836 FAIRMONT AVE                           34 WILSON ST NO.B7
ORLANDO FL 32824                       WHITEHALL PA 18052                         HARTFORD CT 06106




MORAGO, GREGORY P                      MORAL, MARK                                MORALES JUSTILIEN
92 BEACON STREET                       1443 SW 5TH COURT R                        1124 NW 15TH AVENUE
HARTFORD CT 06105                      FT LAUDERDALE FL 33312                     FORT LAUDERDALE FL 33311




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MORALES, ALVARO I                      MORALES, ED                                MORALES, GUILLERMO J
210 N. 72ND AVENUE                     288 6TH AVE  NO.3                          4141 NW 90TH AVE. APT. 101
HOLLYWOOD FL 33024                     BROOKLYN NY 11215                          CORAL SPRINGS FL 33065




MORALES, JAIME                         MORALES, JOAQUIN                           MORALES, JOSE E
1903 W HENDERSON NO.1                  329 WEST PRESTON ST NO.2                   1620 NW 3RD ST APT 8
CHICAGO IL 60657                       HARTFORD CT 06114                          MIAMI FL 33125




MORALES, JUAN ANTONIO                  MORALES, MAGALY                            MORALES, NORA
8124 NW 73 AVE.                        3670 INVERRARY DRIVE APT 2E                9674 NW 10 AVE       APT F-648
TAMARAC FL 33321                       FORT LAUDERDALE FL 33319-5992              MIAMI FL 33150




MORALES, PEDRO D                       MORALES, RUSTY                             MORALES, SANDRA
10319 WOODSTREAM COURT                 14001 OSPREY LINKS RD      NO.348          870 VINDICATOR NO.308
ORLANDO FL 32822                       ORLANDO FL 32837                           COLORADO SPRINGS CO 80919




MORALES, TRACIE                        MORALES,ELMIRA                             MORAN EQUIPMENT COMPANY
1020 W ABRAM ST APT 276                642 MURPHY RD STE 2603                     2109 S WABASH AVENUE
ARLINGTON TX 76013                     WINTER SPRINGS FL 32708                    CHICAGO IL 60616-1779




MORAN SR, GEORGE                       MORAN, DANIEL T                            MORAN, DAVID
242 WASHINGTON ST APT 3                PO BOX 2008                                232 FARMINGTON AVE      APT D9
NORWICH CT 06360-3518                  SHELTER ISLAND NY 11964                    HARTFORD CT 06105




MORAN, JORGE ISMAEL                    MORAN, RAQUEL                              MORAN, ROALDO W
84-26 GRAND AV                         541 SW 9TH ST        APT 10                1163 EDINBURGH RD
ELMHURST NY 11373                      MIAMI FL 33130                             SAN DIMAS CA 91773




MORAN, YOLANDA Y                       MORANDINI, MICHAEL                         MORANVILLE, WINIFRED
75 PARK GATE DR                        290 E TRATEBAS                             4323 GRAND        NO.215
ATLANTA GA 30328                       CHESTERTON IN 46304                        DES MOINES IA 50312




MORAVEC, DIANE                         MORAVEK, JOAN                              MORCOR SOLUTIONS INC
109 N CHERRY ST                        1444 SOUTH FEDERAL                         232 DUNDAS STREET WEST
TOPTON PA 19562                        UNIT G                                     SUITE 201
                                       CHICAGO IL 60605                           NAPANEE, CANADA ON K7R 2A8



MORE NEWS INC                          MORE NEWS INC                              MORE, JOSE
244 E 141ST                            244 E 141ST                                2405 HAPPY HOLLOW
ACCT NO.770                            DOLTON IL 60419                            GLENVIEW IL 60026
DOLTON IL 60419




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MORE, JOSE M                            MOREHOUSE III, L CLARK                     MOREHOUSE, MARK W
2405 HAPPY HOLLOW RD                    1 OXFORD ROAD                              6245 SOUTH BEND SQUARE
GLENVIEW IL 60026                       LARCHMONT NY 10538                         ORLANDO FL 32807




MOREIRA, PAULA A                        MOREIRA, SEBASTIAO                         MOREJON, ABRAHAM
3103 NW 5TH TERR. APT. 2                3103 NW 5TH TERR, APTNO. 2                 8821 FONTAINEBLEAU BLVD NO. 204
POMPANO BEACH FL 33064                  POMPANO BEACH FL 33064                     MIAMI FL 33172




MOREL, DANIEL                           MORELAND, KEITH                            MORELL, JOHN
3 HOLLAND LN                            4209 HIDDEN CANYON                         5701 TOPANGA CANYON BLVD NO.1
NEW PALTZ NY 12561                      AUSTIN TX 78746                            WOODLAND HILLS CA 91367




MORELLI, JESUS NAPOLEON                 MORELLI, THERESA                           MORENA GEORGES
URB LIBETAD CALLE 30 CASA NO.32         468 MYRTLE AVE NO.3                        4189 NW 3RD AVENUE
PUERTO CABALLO                          BROOKLYN NY 11205                          POMPANO BEACH FL 33064
CARABOBO



MORENCY JR, YVES                        MORENO SERVICES INC                        MORENO, ANA
8241 NW 84TH STREET                     7070 NW 177 ST APT 106                     56 OLIVER ROAD
LAUDERHILL FL 33351                     HIALEAH FL 33015                           MANCHESTER CT 06042




MORENO, ANDREA E                        MORENO, ARNALDO                            MORENO, AURELIO
1208A N MAXWELL ST                      46 OLD MEADOW RD                           10780 WASHINGTON ST APT 109
ALLENTOWN PA 18109                      WEST HARTFORD CT 06117                     PEMBROKE PINES FL 33025




MORENO, FRANK                           MORENO, LAURA                              MORENO, MIRIAM A
3115 HOUNDSWORTH CT APT 402             4507 W LILAC AVENUE                        11126 SILVER SUN LANE
ORLANDO IL 32837                        CHICAGO IL 60025                           ALTA LOMA CA 91737




MORENO, MIRIAM ELENA                    MORENO, MONICA                             MORENO, YOLVI DEYVIS
12762 SW 49TH CT                        7510 CHICORA CT                            121 HOUSTON TERRACE
MIRAMAR FL 33027                        LAKE WORTH FL 33467                        STAMFORD CT 06902




MORETON, KAREN K                        MORETRONIX                                 MORFOOT, KATHERINE ADDIE
8261 BRIGANTINE DR                      5311 S GREENE ST                           49 BLEECHER ST APT 504
COLORADO SPRINGS CO 80920               FREEMONT MI 49412                          NEW YORK NY 10012




MORGAINE MADDOCK                        MORGAN & MORGAN                            MORGAN CRAFT
45 S. OAK AVE., #3                      MICHAEL J. CARTER                          300 MERCER STREET
PASADENA CA 91107                       16TH FL; 20 N ORANGE AVE                   16K
                                        PO BOX 4979                                NEW YORK NY 10003
                                        ORLANDO FL 32802-4979




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MORGAN EVERETT                         MORGAN FIEDLER                             MORGAN FRANKLIN CORPORATION
13985 BARNETT PLACE                    540 PRAIRIE AVENUE                         1753 PINNACLE DRIVE SUITE 1200
FISHERS IN 46038                       BARRINGTON IL 60010                        MCLEAN VA 22102




MORGAN GAYNIN INC                      MORGAN LEWIS & BOCKIUS                     MORGAN LEWIS & BOCKIUS
194 THIRD AVENUE NO.3                  77 WEST WACKER DRIVE                       101 PARK AVE
NEW YORK NY 10003                      SIXTH FLOOR                                NEW YORK NY 10175-0060
                                       CHICAGO IL 60601



MORGAN LEWIS & BOCKIUS                 MORGAN LEWIS & BOCKIUS                     MORGAN MANOR RESIDENCIES, INC.
1701 MARKET STREET                     PO BOX 8500 S-6050                         RE: HARRISBURG 2001 N. FRONT
PHILADELPHIA PA 19103-2921             PHILADELPHIA PA 19178-6050                 1300 MARKET STREET
                                                                                  LEMOYNE PA 17043



MORGAN MANOR RESIDENCIES, INC.         MORGAN STANLEY                             MORGAN STATE UNIVERSITY
RE: HARRISBURG 2001 N. FRONT           1585 BRAODWAY                              1700 E COLD SPRING LN RM 240B
C/O PROPERTY MANAGEMENT INC.           NEW YORK NY 10036                          BALTIMORE MD 21251
1300 MARKET STREET, SUITE 201
LEMOYNE PA 17043


MORGAN STATE UNIVERSITY                MORGAN STATE UNIVERSITY                    MORGAN WILSON
CARL MURPHY FINE ARTS CENTER           FOUNDATION , INC                           177 LAMPLIGHTER ACRES
1700 E COLD SPRING LN RM 240B          1700 E COLD SPRING LN                      FORT EDWARD NY 12828
BALTIMORE MD 21251                     BALTIMORE MD 21251



MORGAN, DARIUS                         MORGAN, DEBORAH L                          MORGAN, DIANE L
510 SW 72ND AVE                        354 WILLIAMSBURG CT                        7737 SE 32ND AVENUE
NORTH LAUDERDALE FL 33068              NEWPORT NEWS VA 23606                      PORTLAND OR 97202




MORGAN, DIANE S                        MORGAN, DOUGLAS                            MORGAN, EVERARD W
18418 NW 9TH CT                        5507 ROCKLEISH DR                          3308 MIDLAKE TERRACE
PEMBROKE PINES FL 33029                BALTIMORE MD 21227                         OCOEE FL 34761




MORGAN, JASON A                        MORGAN, JONATHAN C                         MORGAN, KAREN
614 NW 46 TERRACE                      637 MURDOCK ROAD                           DBA K MORGAN PHOTOGRAPHY
PLANTATION FL 33317                    BALTIMORE MD 21212                         167 N RACINE AVE NO.1
                                                                                  CHICAGO IL 60607



MORGAN, LENNY R                        MORGAN, NATHAN                             MORGAN, RYAN
5619 SYCAMORE CANYON DR                1594 NORMAL ST  APT B2                     10 ESSEX HEIGHTS DR
KISSIMMEE FL 34758                     BOWLING GREEN KY 42101                     WEYMOUTH MA 02188




MORGAN, SARAH ELIZABETH                MORGAN, TUWANA                             MORGAN, WILLIAM
8229 FOUNTAIN AVE                      1625 ROSWELL RD NO.803                     24 ORCHARD PLACE
WEST HOLLYWOOD CA 90046                MARIETTA GA 30062                          PROVIDENCE RI 02906




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MORGENSTERN, MICHAEL                   MORI RESEARCH                              MORI RESEARCH
9 COACH LN                             3 PARAMOUNT PLAZA                          3 PARAMOUNT PLAZA
CHERRY HILL NJ 08002                   7831 GLENROY ROAD SUITE 450                7831 GLENROY RD SUITE 100
                                       MINNEAPOLIS MN 55439                       MINNEAPOLIS MN 55439



MORI RESEARCH                          MORIARTY, LIANNE                           MORIN, ERNESTO
7831 GLENROY RD STE 450                351 MAIN ST                                1206 E MADISON AVE
MINNEAPOLIS MN 55439                   OLD SAYBROOK CT 06475                      HARLINGEN TX 78550




MORIN, GABRIEL                         MORIN, GABRIEL                             MORITT, HOCK & HAMROFF, LLP
17 CAPORALE PASSWAY                    17 CAPORALE PASSWAY                        RE: QUEENS VILLAGE 222-40 96T
BRISTOL CT 06791-0291                  HARWINTON CT 06791-0291                    ATTN: DAVID H. COHEN, ESQ.
                                                                                  400 GARDEN CITY PLAZA, SUITE 202
                                                                                  GARDEN CITY NY 11530


MORLA,CARLOS                           MORLEY, KELVINA                            MORNING DAILY NEWSPAPER DELIVERY INC
CALLE TERCERA NO.8                     2319 GREENE STREET NO.4                    15 RUTLAND RD
URBANIZACION MALLEN                    HOLLYWOOD FL 33020                         MASTIC NY 11950
SAN PEDRO DE MACORIS



MORNINGSTAR INC                        MORNINGSTAR INC                            MORNINGSTAR INC
135 S LASALLE ST DEPT 2668             225 W WACKER DR ATN: KELLY MESSMAN         225 WEST WACKER DR
CHICAGO IL 60674-2668                  CHICAGO IL 60606                           SUITE 400
                                                                                  CHICAGO IL 60606



MORNINGSTAR INC                        MORNINGSTAR INC                            MORNINGSTAR INC
225 WEST WACKER DRIVE                  2668 PAYSPHERE CIRCLE                      ATTN:CREDIT DEPARTMENT
CHICAGO IL 60606                       CHICAGO IL 60674                           225 WEST WACKER DRIVE
                                                                                  CHICAGO IL 60606



MORNINGSTAR, MARJORY E                 MORNINGWOOD ENTERTAINMENT                  MOROCCO, MARK
1460 NE 57CT                           29500 HEATHERCLIFF RC NO.294               2268 OVERLAND AVENUE
FT LAUDERDALE FL 33334                 MALIBU CA 90265                            LOS ANGELES CA 90064




MORONEY, TAMARA                        MORONGO CASINO RESORT                      MORONGO CASINO RESORT
171 DOGWOOD                            C/O KIMBERLY WHITE                         PO BOX 366
PARK FOREST IL 60466                   POW WOW EXEC ASSISTANT                     CABAZON CA 92230
                                       49500 SEMINOL DR
                                       CABAZON CA 92230


MORONTA, ILDEFONSO                     MOROWCZYNSKI, BRIAN J                      MOROZ, NATALIA
19175 NW 23 PLACE                      2734 N 74TH COURT                          3705 SANDBERRY DR
PEMBROKE PINES FL 33029                ELMWOOD PARK IL 60707                      WAXHAW NC 28173




MORQUIZE MELVIN                        MORRILL, CHRISTOPHER C                     MORRIN, TIFFANY COLEMAN
4705 CHATFORD AVE                      66 BRUNSWICK AVE                           542 W BROADWAY
BALTIMORE MD 21206                     WEST HARTFORD CT 06107                     RED LION PA 17356




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MORRIS CURT, DENISE                     MORRIS JAMES LLP                           MORRIS JAMES LLP
41 GREEN ST                             222 DELWARE AVE                            222 DELWARE AVE
MILFORD CT 06460-4709                   PO BOX 2306                                WILMINGTON DE 19899-2306
                                        WILMINGTON DE 19899-2306



MORRIS JAMES LLP                        MORRIS JAMES LLP                           MORRIS JR, LLOYD A
500 DELAWARE AVE STE 1500               PO BOX 2306                                5 ANDREA LANE
WILMINGTON DE 19801-1494                WILMINGTON DE 19899-2306                   BLOOMFIELD CT 06002




MORRIS KREITZ & SONS                    MORRIS NICHOLS ARSHT & TUNNELL             MORRIS NICHOLS ARSHT & TUNNELL
220 PARK ROAD NORTH                     1201 N MARKET ST                           PO BOX 1347 1201 N MARKET ST
WYOMISSING PA 19610-0325                WILMINGTON DE 19801                        WILMINGTON DE 19899-1347




MORRIS VIDAURRE                         MORRIS, BENNY                              MORRIS, CHADLEY M
422 3RD AVENUE                          HABATZIR ST 14                             2861 SOMERSET DR, APT F310
BETHLEHEM PA 18018                      PO BOX 172                                 LAUDERDALE LAKES FL 33311
                                        LI-ON 99835



MORRIS, CLIFFORD                        MORRIS, DALE D                             MORRIS, DAVID PAUL
5450 WINCHESTER                         3417 JAMESWAY                              20 SAN ANTONIO PL 3A
MEMPHIS TN 38115                        MCHENRY IL 60050                           SAN FRANCISCO CA 94133




MORRIS, DAVID PAUL                      MORRIS, DELROY                             MORRIS, ERICA
745 43RD AVENUE                         20450 NW 17 HY                             9230 NW 9TH PL
APT 8                                   MIAMI FL 33056                             PLANTATION FL 33324
SAN FRANCISCO CA 94121



MORRIS, JOHN                            MORRIS, LATOYA                             MORRIS, LINDSAY
1637 HARBOR AVE. APT 1                  4743 SW 195TH WAY                          1611 N FORMOSA AVE NO.210
CALUMET CITY IL 60409                   MIRAMAR FL 33029                           LOS ANGELES CA 90046




MORRIS, MARSHALL GLENN                  MORRIS, SDHARI                             MORRIS, SHON
104 ANDREW LANE                         1831 MAIN ST APT 2                         306 ALEXIS CT
LANSDALE PA 19446                       NORTHAMPTON PA 18067                       GLENVIEW IL 60025




MORRIS, STEPHEN                         MORRIS, STEVEN W                           MORRIS, THOMAS
7783 GRANDE ST                          6850 S EUCLID AVE                          15 CAROL COURT
SUNRISE FL 33351                        CHICAGO IL 60649                           DIX HILLS NY 11746




MORRIS, TODD S                          MORRIS, WINSTON                            MORRIS-LUGO, GENNIE R
137 CHESTNUT HILL RD                    4200 NW 31ST STREET APT NO.407             9088 W ATLANTIC BLVD, NO.538
STAFFORD SPRINGS CT 06076               FORT LAUDERDALE FL 33319                   CORAL SPRINGS FL 33071




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MORRISON & HEAD INDUSTRIAL COMPLEX     MORRISON SEFCIK, STACEY                    MORRISON, ALICIA
DIVISION                               252 LEAD MINE BROOK RD                     2148 NORTH ROGER PEED DR
4210 SPICEWOOD SPRINGS STE 211         HARWINTON CT 06791                         HAMPTON VA 23663
AUSTIN TX 78759



MORRISON, BRIAN                        MORRISON, CARINA                           MORRISON, GEOFFREY
203 UPHAM ST                           5434B LONSDALE PL N                        6530 INDEPENDENCE AVE- APT 240
MELROSE MA 02176                       COLUMBUS OH 43232                          CANOGA PARK CA 91303




MORRISON, JULIA C                      MORRISON, JULIE E                          MORRISON, KEEGAN
59 CUMMINGS ST                         6135 RIDGE WAY                             500 BOTETOURT ST     APT NO.405
EAST HARTFORD CT 06108                 DOUGLASVILLE GA 30135                      NORFOLK VA 23510




MORRISON, PRINCE                       MORRISON, SHERYL                           MORRISON, TIFFANY
2859 NW 7TH CT                         370 NORTHSIDE DR NO.1204                   2126 WOODLAND BLVD
FT. LAUDERDALE FL 33311                ATLANTA GA 30318                           LEESBURG FL 34748




MORRISON,ROBERT                        MORRISSETTE, KATADRIUS K                   MORRISSETTE, RON
2338 CATASAUQUA RD    APT R1           746 GARDENWALK BLVD H-12 APT               4301 WEST 166TH ST
BETHLEHEM PA 18018                     COLLEGE PARK GA 30349                      LAWNDALE CA 90260




MORSE, DANIEL L                        MORSE, DIANA                               MORSE, GORDON C
705 CENTRAL PARKE CIRCLE APT 103       122 N WEST ST                              112 GLASGOW CT
LAKELAND FL 33805                      ALLENTOWN PA 18102                         WILLIAMSBURG VA 23188




MORSE, MICHAEL                         MORT, AMBER                                MORTEL, JERRY
3161 N 35TH ST                         15 THIMBLE ROCK RD                         7867 POPPY SEES PL
HOLLYWOOD FL 33021                     MIDDLETOWN CT 06457                        WINSTON GA 30187




MORTENSEN, NEAL K                      MORTIMER, NICOLE                           MORTIMER, NICOLE
8641 NW 25 CT                          62A ELM ST                                 62A ELM ST
SUNRISE FL 33322                       ANOSONIA CT 06401                          ANSONIA CT 06401




MORTON M FRIEDMAN                      MORTON RESEARCH INC                        MORTON RESEARCH INC
7616 BAUBLE                            14725 GOOD HOPE RD                         P O BOX 40
LAS VEGAS NV 89128                     SILVER SPRINGS MD 20905                    SPENCERVILLE MD 20868




MORTON VITRIOL                         MORTON WEST HS                             MORTON, LAURA
1307 CLOVER ROAD                       2400 HOME AVE                              1925 CHESTNUT ST NO 5
WOODBURY NY 11797                      BERWYN IL 60402                            SAN FRANCISCO CA 94123




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MORTON, RYAN                          MORTON, STEPHEN                            MORUFUDEEN KASSIM
920 DUXBURY LN                        558 EAST JONES STREET                      424 KINGSMILL DRIVE
SCHAUMBURG IL 60193                   SAVANNAH GA 31401                          NEWPORT NEWS VA 23601




MORY, DAVID WAYNE                     MOSAIC MUSIC PRODUCTION INC                MOSAIC MUSIC PRODUCTION INC
434 E NORTH ST                        1644 N HONORE STE 302                      30 E HURON
BETHLEHEM PA 18018                    CHICAGO IL 60622                           CHICAGO IL 60611




MOSCARDINI,LEANDRO                    MOSCHETTO JR, THOMAS J                     MOSELEY ASSOCIATES INC
3920 TRACEWOOD LN                     15 FORDHAM ST                              111 CASTILIAN DRIVE
BOYNTON BEACH FL 33436                WILLISTON PARK NY 11596                    GOLETA CA 93117




MOSELEY ASSOCIATES INC                MOSELEY, BOB                               MOSELEY, RAY
PO BOX 51966                          235 HUNTINGTON STREET                      48 WINSHAM GROVE
LOS ANGELES CA 90051-6266             SHELTON CT 06484                           LONDON SW116NE




MOSER, MARC                           MOSES, AMBROSE                             MOSES, CHANIKA TERI
17652 E CLOUDBERRY DR                 889 STERLING PL                            200 HOLLOW TREE STREET NO.1706
PARKER CO 80134                       BROOKLYN NY 11216                          HOUSTON TX 77090




MOSES, PAUL                           MOSES, VALERIE                             MOSHER, ANNE L
2233 E 38TH STREET                    6020 NW 101ST TERRACE                      4850 NE 8 AVENUE
BROOKLYN NY 11237                     PARKLAND FL 33076                          FORT LAUDERDALE FL 33334




MOSHER, ELENA                         MOSHER, ELENA                              MOSLEY, DELFINA M
26 SUNSET TER                         PO BOX 129                                 502 SW MURRAY
ESSEX CT 06426                        WESTBROOK CT 06498                         LEES SUMMIT MO 64081




MOSLEY, MARY                          MOSLEY, MARY                               MOSLEY, NICOLE
6458 S. ARTESIAN                      6458 S. ARTESIAN                           AKA NICOLE POWERS
CHICAGO IL 60477                      CHICAGO IL 60629                           PO BOX 692001
                                                                                 WEST HOLLYWOOD CA 90069



MOSLEY, STACATTO                      MOSS & COMPANY                             MOSS, AGNES T
604 N CENTRAL PARK                    15300 VENTURA BLVD  NO.416                 4010 19TH STREET NE
CHICAGO IL 60624                      SHERMAN OAKS CA 91403                      WASHINGTON DC 20018




MOSS, ALLEN R                         MOSS, EDWARD W                             MOSS, IAN C
2514 GREENHOUSE PKWY                  9021 LAKE COVENTRY CT.                     7914 EBONY RD
ALPHARETTA GA 30022                   GOTHA FL 34734                             CHARLOTTE NC 28216




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MOSS, SYNOVIA M                       MOSSER, THOMAS                             MOSUR, JAKUB
7307 AMBASSADOR DR                    245 E CHURCH ST APT 3A                     405 24TH AVE NO.8
RIVERDALE GA 30296                    BETHLEHEM PA 18018                         SAN FRANCISCO CA 94121




MOTA, HELIO                           MOTA, PACHECO                              MOTAVALLI, JAMES B
4360 NE 18TH AVE                      BATEY INOSENCIA NO.3 SANTA FE              261 BROOKLAWN TER
POMPANO BEACH FL 33064                SAN PEDRO DE MACORIS                       FAIRFIELD CT 06825




MOTION INDUSTRIES INC                 MOTION INDUSTRIES INC                      MOTION INDUSTRIES INC
12995 ARROYO STREET                   GARDEN GROVE                               LOS ANGELES
SAN FERNANDO CA 91340                 7471 DOIG DR                               P O BOX 910935
                                      GARDEN GROVE CA 92841                      LOS ANGELES CA 90091



MOTION INDUSTRIES INC                 MOTION INDUSTRIES INC                      MOTION INDUSTRIES INC
PO BOX 4037                           2465 SILVER STAR ROAD                      PO BOX 1056
PANARAMA CITY CA 91412                ORLANDO FL 32804                           POMPANO BEACH FL 33061




MOTION INDUSTRIES INC                 MOTION INDUSTRIES INC                      MOTION INDUSTRIES INC
3839 S. NORMAL AVE.                   P.O. BOX 98412                             8415-250 KELSO DR.
CHICAGO IL 60609                      CHICAGO IL 60693                           BALTIMORE MD 21221




MOTION INDUSTRIES INC                 MOTION PICTURE AND TV PHOTO ARCHIVE        MOTION PICTURE INDUSTRY PENSION
PO BOX 6676                           16735 SATICOY ST STE 109                   & HEALTH PLANS
CHESAPEAKE VA 23323                   VAN NUYS CA 91406                          PO BOX 1999
                                                                                 STUDIO CITY CA 91614-1999



MOTION PICTURE INDUSTRY PENSION       MOTION PV INC                              MOTIVE ENERGY, INC
11365 VENTURA BLVD                    8921 SKIFF CIRCLE                          125 E COMMERCIAL NO.B
STUDIO CITY CA 91614                  HUNTINGTON BEACH CA 92646                  ANAHEIM CA 92801




MOTIVE ENERGY, INC                    MOTLEY, BENJAMIN                           MOTLEY, DAPHNE SHANELL
13700 MILROY PL                       3020 NW 23RD ST                            6177 THORNCREST DRIVE
SANTA FE SPRINGS CA 90670             FT LAUDERDALE FL 33311                     TUCKER GA 30084




MOTLEY, ROBYN L                       MOTOLA, KEITH A                            MOTOR VEHICLE REGISTRATION
2211 NE 9TH AVE                       161 E MAIN ST APT 20                       SERVICE OF LOUISANA
WILTON MANORS FL 33305                VERNON CT 06066                            PO BOX 751000
                                                                                 NEW ORLEANS LA 70175



MOTOR VEHICLE REGISTRATION            MOTOROLA INC                               MOTOROLA INC
PO BOX 199106                         P O BOX 100184                             PO BOX 404059
ROXBURY MA 02119-9106                 PASADENA CA 91189-0184                     ATLANTA GA 30384




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MOTOROLA INC                            MOTOROLA INC                               MOTOROLA INC
13108 COLLECTIONS CENTER DR             1313 EAST ALGONQUIN ROAD                   1500 W DUNDEE RD SUITE 200
CHICAGO IL 60693                        .                                          ARLINGTON HEIGHTS IL 60004
                                        .
                                        SCHAUMBURG IL 60196


MOTOROLA INC                            MOTOROLA INC                               MOTOROLA INC
P.O. BOX 71399                          PO BOX 75127                               PO BOX 93042
602-438-3000 MAIN NUMBER                CHICAGO IL 60675                           CHICAGO IL 60673-3042
CHICAGO IL 60694



MOTOROLA INC                            MOTOROLA INC                               MOTRICITY INC
PO BOX 13609                            PO BOX 730023                              2800 MERIDAN PARKWAY
NEWARK NJ 07188-0609                    DALLAS TX 75373-0023                       DURHAM NC 27713




MOTRO, HELEN                            MOTRO, HELEN                               MOTSKIN, YONATAN
60 HAHORESH ST                          60 HAHORESH ST                             455 N CURSON AVE
KFAR SHMARIAHU                          KFAR SHMARIAHU 46910                       LOS ANGELES CA 90036
ISRAEL 46910



MOUER, LARRY                            MOUKHEIBER, DIANE R                        MOULTRIE-KING, KIJANA SORIA
88 OAK LANE                             7 CITATION CIR                             276 SPRINGS COLONY CIRCLE NO.325
NORTHAMPTON PA 18067                    WHEATON IL 60187                           ALTAMONTE SPRINGS FL 32714




MOUNT DORA FIREFIGHTERS                 MOUNTAINEER                                MOUNTAINSOFT LLC
ASSOCIATION                             PO DRAWER 129                              5981 AVALON DR
1300 N DONNELLY STREET                  WAYNESVILLE NC 28786                       ELKRIDGE MD 21075
MOUNT DORA FL 32757



MOUNTAINVIEW MANOR                      MOUNTZ, JOHN                               MOURA, ONESIMO F
2232 29TH STREET S.W.                   2466 CHURCH ST                             93 FAIRVIEW DR
ALLENTOWN PA 18103                      YORK PA 17404                              BERLIN CT 06037




MOURADIAN, EDWARD                       MOURE, CELESTE                             MOUREIRA, EBENEZER
57 ADMIRAL LN                           314-428 8TH AVE W                          23288 SW 57TH AVE APT 102
HICKSVILLE NY 11801                     VANCOUVER BC V5Y 1N9                       BOCA RATON FL 33428




MOUSER ELECTRONICS                      MOUSER ELECTRONICS                         MOUSER ELECTRONICS
2401 HWY 287 NORTH                      PAYMENT PROCESSING CENTER                  PAYMENT PROCESSING CTR
MANSFIELD TX 76063                      1000 N MAIN ST                             PO BOX 714
                                        MANSFIELD TX 76063-1511                    MANSFIELD TX 76063



MOUSER ELECTRONICS                      MOUSER, CHRISTINA                          MOUSER, CHRISTINA
PO BOX 99319                            8270 LEISHEAR RD                           PO BOX 547
FORT WORTH TX 76199-0319                LAUREL MD 20723                            LAUREL MD 20725




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MOUYAL, ISAAC J                         MOVIE MOVERS INC                           MOVIELINE INC
600 N. UNIVERSITY DR.                   11473 PENROSE ST                           ATTN: DEBORAH BAUER
PLANTATION FL 33324                     SUN VALLEY CA 91352                        10537 SANTA MONICA BLVD SUITE 250
                                                                                   LOS ANGELES CA 90025-4952



MOVIEWEB INC                            MOVIN LUBE 2000                            MOVING PICTURES VIDEO INC
1627 W MAIN ST   NO.314                 2320 COTNER AVENUE                         ATTN BETTE
BOZEMAN MT 59715-4011                   LOS ANGELES CA 90064-1804                  306 INDUSTRIAL PARK ROAD NO.208
                                                                                   MIDDLETOWN CT 06457



MOVING STATION                          MOVING UNITS TOURING LLC                   MOWATT, SONYA
100 N LASALLE ST        STE 1900        5328 ALHAMA AVE                            114 NEW STATE RD UNIT F
CHICAGO IL 60602                        WOODLAND HILLS CA 91364                    MANCHESTER CT 06040




MOWATT, SONYA                           MOXEY, KENQUREO                            MOXHAM, PATRICIA
114 NEW STATE RD UNIT F                 6462 EAST MEYER DRIVE                      1307 SCOTTSDALE DR APT D
MANCHESTER CT 06002-1942                MORROW GA 30260                            BEL AIR MD 21015




MOXIE, TANGELA                          MOXON, MARY ANN C                          MOY, DINA
3841 SW 27TH STREET                     2920 NATHANIELS RUN                        477 MINE BROOK RD
WEST PARK FL 33023                      WILLIAMSBURG VA 23185                      BERNARDSVILLE NJ 07924




MOYA, JOSE                              MOYER, CYNTHIA                             MOYER, CYNTHIA
PO BOX 423                              4755 ROUTE 309                             4755 ROUTE 309
WILLIMANTIC CT 06226                    SCHNEDSVILLE PA 18079                      SLATEDALE PA 18079




MOYER, JOHN                             MOYER, SEAN                                MOYER, TODD D
2004 W COLUMBIA ST                      3137 TERRACE CIRCLE                        233 HEATHERFIELD DR
ALLENTOWN PA 18104                      WHITEHALL PA 18052                         SOUDERTON PA 18964




MOYHIHAN, MICHAEL                       MOYLAN, JOHN                               MOYLAN, KELLY
1904 R STREET NW APT 6                  29 HEATHER CT                              7223 TOWN BROOKE
WASHINGTON DC 20009                     CROMWELL CT 06416                          MIDDLETOWN CT 06457




MOYSE, RUTH                             MOZART, LEONEL                             MOZDIEKZ, CRYSTAL ANN
391 EAST 52ND ST                        1041 NW 26 AVE                             462 EAST ST APT 1
BROOKLYN NY 11203                       FT LAUDERDALE FL 33311                     NEW BRITAIN CT 06051




MOZELLA DRAYTON                         MOZLEY, BRANDON P                          MOZLEY, BRANDON P
74 HILLTOP DRIVE                        2067 VISTA MAR DRIVE                       864 HICKORY LANE
BRENTWOOD NY 11717                      EL DORADO HILLS CA 95762                   NIXA MO 65714




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MPB CATERING INC                        MPEG LA LLC                                MPOWERING KIDS
2162 N ROOSEVELT AVE                    6312 S FIDDLERS GREEN CIRCLE               161 DREXEL AVENUE
ALTADENA CA 91001                       SUITE 400E                                 WESTBURY NY 11590
                                        GREENWOOD VILLAGE CO 80111



MQ OLSEN MARKETING RESEARCH             MQ OLSEN MARKETING RESEARCH                MR INDUSTRIES
180 GRANDVIEW AVE                       MARKETING RESEARCH                         7915 S NARRAGANSETT AVE    UNIT 1 NORTH
GLEN ELLYN IL 60137                     180 GRANDVIEW AVENUE                       BURBANK IL 60459
                                        GLEN ELLYN IL 60137



MR INDUSTRIES                           MR L CLEANING SERVICES LLC                 MR TENT LLC
8019 OGDEN AVE STE 501                  86-02 SECOND AVE                           264 SANDBANK RD
LYONS IL 60534                          NORTH BERGEN NJ 07047                      CHESHIRE CT 06410




MR TENT LLC                             MR. JOHN SULLIVAN                          MR2 SOLUTIONS
PO BOX 323                              RE: QUEENSBURY MEDIA DR.                   18662 MACARTHUR BLVD STE 350
CHESHIRE CT 06410                       302 WASHINGTON AVENUE EXTENSION            IRVINE CA 92612
                                        ALBANY NY 12203



MREF III PROPERTY II LLC                MROZ, KENNETH                              MRS WILLYS KALLAS
2100 WESTLANE ROAD                      58 HEIGHTS DR                              1315 MAPLE AVE
INDIANAPOLIS IN 46260                   TORRINGTON CT 06790-4432                   BALTIMORE MD 21227




MS III CO                               MS WHEELCHAIR TEXAS FOUNDATION             MSC INDUSTRIAL SUPPLY CO
793 GATES ST                            6315 S WINTERSAGE LANE                     1800 NORTH POWERLINE ROAD
SAN FRANCISCO CA 94110                  HOUSTON TX 77066                           ATTN: AMY ACT 613004
                                                                                   POMPANO BEACH FL 33069



MSC INDUSTRIAL SUPPLY CO                MSC INDUSTRIAL SUPPLY CO                   MSC INDUSTRIAL SUPPLY CO
2300 E NEWLANDS DR                      410 COMMACK ROAD                           PO BOX 94939
FERNLEY NV 89408                        DEER PARK NY 11729                         CLEVELAND OH 44101-4939




MSTV INC                                MSTV INC                                   MSTV INC
1776 MASSACHUSETTS AV NO. 310           1776 MASSACHUSETTS AVENUE NW               PO BOX 9897
WASHINGTON DC 20036                     WASHINGTON DC 20036                        4100 WISCONSIN AVE NW
                                                                                   WASHINGTON DC 20016



MTA METRO NORTH                         MTA METRO NORTH                            MTC GROUP
347 MADISON AVE                         PO BOX 5840                                3 K SCHINA ST
19H FLOOR                               NEW YORK NY 10087                          ATHENS 11473
NEW YORK NY 10017



MTD SYSTEMS, LLC                        MTG MEDIA PROP., LTD                       MTM TELEVISION
425 ALLEGAN CIRCLE                      C/O MODERN ENTERTAINMENT                   12700 VENTURA BLVD.
SAN JOSE CA 95123                       16255 VENTURA BLVD.                        STUDIO CITY CA 91604
                                        STE. 1100
                                        ENCINO CA 91436




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MTS LAWNCARE & LANDSCAPING             MTTF INC                                   MTV NETWORKS
2608 GROVE ST                          601 W 57TH ST 17N                          PO BOX 13801
SLATINGTON PA 18080                    NEW YORK NY 10019                          NEWARK NJ 07188-0801




MTV NETWORKS                           MU KPAW                                    MU YANG
1633 BROADWAY    32ND FLR              554 CHESTNUT STREET                        1033 W VERNON PARK PLACE
NEW YORK NY 10019                      EMMAUS PA 18049                            UNIT J
                                                                                  CHICAGO IL 60607



MU, LILY Y                             MUBAARAK SALAAM                            MUDRA, TABATHA M
1832 TAMARIND LANE                     1145 NORTH FULTON AVENUE                   1852 WASHINGTON ST APT 1
COCONUT CREEK FL 33063                 BALTIMORE MD 21216                         HOLLYWOOD FL 33020




MUDRY, JO ANNE                         MUELLER, JIM                               MUELLER, JOHN
1102 W RIVERSIDE DR                    742 PLEASANT AVE                           420 W FIFTH AVE
OAK CREEK WI 53154                     GLEN ELLYN IL 60137                        COLUMBUS OH 43201




MUELLER, JON                           MUELLERMIST IRRIGATION COMPANY             MUESSIG, BENJAMIN
318 CHURCH DR                          2612-22 SOUTH NINTH AVE                    347 21ST ST   APT 2
LA CROSSE WI 54603                     BROADVIEW IL 60155                         BROOKLYN NY 11215




MUGABE, VEDASTE                        MUHAMMAD HAIDER                            MUHAMMAD, DEAN L
917 HOLGATE DR    APT A                197 OVERTON STREET                         2435 FOREST TRAIL
BALTIMORE MD 21221                     DEER PARK NY 11729                         EAST POINT GA 30344




MUHAMMAD, LATIFAH                      MUHAMMAD, WILLIS B                         MUHLENBERG COLLEGE
40 E 126TH ST                          1851 S. RIDGEWAY                           2400 CHEW ST
NEW YORK NY 10035                      CHICAGO IL 60623                           ALLENTOWN PA 18104




MUHLENBERG COLLEGE                     MUHLENBERG COLLEGE                         MUHLENBERG COLLEGE
ATTN DR CHRISTOPHER BORICK             ATTN KENT DYER VP OF FINANCE               ATTN KRISTIN BELL CAREER CENTER
2400 W CHEW STREET                     2400 W CHEW ST                             2400 WEST CHEW ST
ALLENTOWN PA 18104                     ALLENTOWN PA 18104                         ALLENTOWN PA 18104-5586



MUHLENBERG COLLEGE                     MUIR, RYAN                                 MUIRHEAD, DEREK
ATTN LAURA GARLAND CAREER CENTER       330 WYTHE  APT 3I                          2671 WIL-CO COURT
2400 WEST CHEW STREET                  BROOKLYN NY 11211                          SNELLVILLE GA 30078
ALLENTOWN PA 18104-5586



MUKDAPRAKORN, KOMSUN E                 MUKUL VARMA                                MUKWAZHI, TSVANGIZAYI
21 MCLEAN ST                           8217 MILDRED ROAD                          6 FALCON RD
HARTFORD CT 06114                      MACHESNEY PARK IL 61115                    HATFIELD HARERE
                                                                                  HARERE




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MULDOWNEY, MEGHAN                      MULDOWNEY, WILLIAM                         MULHALL INC
7 APPLETREE LANE                       64 L'ENFANT COURT                          7811 NW 68TH AVE
NORWALK CT 06850                       GLEN MILLS PA 19342                        TAMARAC FL 33321




MULLANE, ROSALIE                       MULLANEY,TOM                               MULLER MARTINI CORP
20 MCKINLEY ST                         5637 S DORCHESTER                          40 RABRO DRIVE
ISLIP NY 11751                         CHICAGO IL 60637                           HUPPAUGE NY 11788




MULLER MARTINI CORP                    MULLER MARTINI CORP                        MULLER MARTINI CORP
ATTN: ORDER DESK                       P O BOX 18020                              PO BOX 27540
P. O. BOX 3360                         HAUPPAUGE NY 11788                         NEW YORK NY 10087-7540
40 RABRO DRIVE
HAUPPAUGE NY 11787


MULLER MARTINI CORP                    MULLER MARTINI MAILROOM SYSTEMS INC        MULLER MARTINI MAILROOM SYSTEMS INC
PO BOX 3360                            4444 INNOVATION WAY                        PO BOX 18285
SMITHTOWN NY 11787-0811                ALLENTOWN NJ 18109                         NEWARK NJ 07191




MULLER MARTINI MAILROOM SYSTEMS INC    MULLER MEDIA                               MULLER MEDIA
2980 AVENUE B                          11 EAST 47TH STREET                        23 EAST 39TH STREET
ATTN: CHARLES SPIERTO                  3RD FLOOR                                  NEW YORK NY 10016
BETHLEHEM PA 18017                     NEW YORK NY 10017



MULLER, DUSTIN                         MULLER,SHIRLEY                             MULLIGAN, JESSICA MIRANDA
15 SCHOFIELD DR                        61 SATELLITE DR                            1600 GRANBY ST     APT 310
EAST BERLIN PA 17316                   ISLIP TERRACE NY 11752                     NORFOLK VA 23510-2647




MULLIGAN, TOM                          MULLIGANS KENNELS                          MULLIN, B W
22 BOB HILL ROAD                       38 BURR AVE                                4 ROBERTS PATH
POUND RIDGE NY 10576                   NORTHPORT NY 11768                         SPARKS MD 21152




MULLINGTON, COLLIN JAY                 MULLINS, CYNTHIA                           MULLINS, CYNTHIA
108 MADISON STREET NO.1                5500 OAKLEY IND BLVE       NO.301          2935 W. WARREN BLVD., APT. NO.2
HOBOKEN NJ 07030                       FAIRBURN GA 30213                          CHICAGO IL 60612




MULLINS, JIMMY W                       MULLINS, JIMMY W                           MULTI AD SERVICES INC
909 6TH AVE N NO.5                     MOVIN PIXELS STUDIO                        1720 W DETWEILLER DR
SEATTLE WA 98109                       909 6TH AVE N NO.5                         PEORIA IL 61615-1695
                                       SEATTLE WA 98109



MULTI AD SERVICES INC                  MULTI AD SERVICES INC                      MULTI AD SERVICES INC
1720 W. DETWEILER DRIVE                35176 EAGLE WAY                            ATTN: ORDER PROCESSING
ATTN: DAVID NORTON                     CHICAGO IL 60678-1351                      P. O. BOX 786
PEORIA IL 61615                                                                   PEORIA IL 61652




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MULTI AD SERVICES INC                    MULTI CRAFT LITHO INC                      MULTI MEDIA NETWORK NEWS, LLC
PO BOX 388070                            131 E 6TH ST                               108-48 70TH ROAD, SUITE 5L
CHICAGO IL 60638-8070                    PO BOX 72960                               FOREST HILLS NY 11375
                                         NEWPORT KY 41072



MULTI MEDIA NETWORK NEWS, LLC            MULTICORP                                  MULTIMEDIA INSURANCE COMPANY
PO BOX 671151                            P O BOX 361                                76 ST PAUL STREET
FLUSHING NY 11367-1151                   69 W MAIN STREET                           SUITE 500
                                         WESTMINSTER MD 21158                       BURLINGTON VT 05401



MULTIMEDIA INSURANCE COMPANY             MULTIMEDIA INSURANCE COMPANY               MULTIPLE FUNDING SOLUTIONS INC
76 ST PAUL STREET                        435 N. MICHIGAN AVE                        18729 SE LAKESIDE WAY
SUITE 500                                CHICAGO IL 60611                           TEQUESTA FL 33469
BURLINGTON VT 05401-4477



MULTISPORT PSYCHOLOGICAL CONSULTANTS     MULTNOMAH COUNTY TAX COLLECTOR             MULTNOMAH COUNTY TAX COLLECTOR
17235 N 75TH AVE  STE E-170              501 SE HAWTHORNE BLVD SUITE 531            PO BOX 2716
GLENDALE AZ 85308                        PORTLAND OR 97214                          PORTLAND OR 97206-2716




MULVAINE, AMANDA                         MULVANEY, ROBIN A                          MUMAW, KAREN HINSON
3355 N ACADEMY BLVD   224                970 OAK STREET                             1090 CARLTONS CORNER RD
COLORADO SPRINGS CO 80917                WINNETKA IL 60093                          KING & QUEEN CH VA 23085




MUMIN, ILYAS                             MUNAWER KERMALLI                           MUNAYYER, YOUSEF
402 CAREYBROOK LN                        539 WILD MINT LANE                         3409 PURDUE ST
OXON HILL MD 20745                       ALLENTOWN PA 18104                         HYATTSVILLE MD 20783




MUNCIE, JOHN F                           MUNDO, THERESE E                           MUNDO, THERESE E
575 POAGUE LANE                          14560 66TH CT                              14560 66TH CT
GLASGOW VA 24555                         ACCT 760                                   OAK FOREST IL 60452
                                         OAK FOREST IL 60452



MUNEVAR,TATIANA                          MUNEVAR,TATIANA                            MUNGERKAHN, VIRGINIA
7811 OAK GROVE CIRCLE                    7811 OAK GROVE CIRCLE                      PO BOX 756
LAKE WORTH FL 33028                      LAKE WORTH FL 33467-7127                   HUNTINGTON NY 11743




MUNGROO, NEISHA                          MUNGUIA, IVAN                              MUNHOZ-DIAZ, SUZANA
1681 NW 70TH AVE. NO. 215                202 WEST 1ST STREET                        189 VENTNOR L
PLANTATION FL 33313                      5TH FLOOR TIMES WEST                       DEERFIELD BEACH FL 33442
                                         LOS ANGELES CA 90012



MUNICIPAL MEDIA SOLUTIONS                MUNIM, DANIELLE                            MUNKVOLD, JENNIFER LYNN
676 N LASALLE ST    STE 213              4621 NE 25 AVE                             1610 W 7TH ST SUITE 303
CHICAGO IL 60610                         FORT LAUDERDALE FL 33308                   LOS ANGELES CA 90017




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MUNOZ, ANDRES                         MUNOZ, HERALDO                             MUNOZ, JORGE I
12762 SW 49TH CT                      117 E 57TH ST  APT 26B                     4310 W WHITEWATER AVE
MIRAMAR FL 33027                      NEW YORK NY 10022                          WESTON FL 33332




MUNOZ, JOSE ALBERTO                   MUNOZ, LORENZA                             MUNOZ, MARIA
16 HOUSTON TERRACE APT NO.7           1102 GRANT STREET                          33425 FM 1577
STAMFORD CT 06902                     SANTA MONICA CA 90405                      SAN BENITO TX 78586




MUNOZ, REUBEN                         MUNOZ, SERGIO                              MUNRO GOODMAN INC
4168 QUAIL RD                         2113 B MARSHALL FIELD LN                   630 N STATE ST   NO.2109
RIVERSIDE CA 92507                    REDONDO BEACH CA 90278                     CHICAGO IL 60610




MUNSON, MARY                          MUNSTER, MARY C                            MUNYANEZA, EMMANUEL
113 KIMBERLY RD                       520 BROOKSIDE CIRCLE                       1401 HADWICK DRIVE APT B
EAST GRANBY CT 06026                  MAITLAND FL 32751                          ESSEX MD 21221




MUNYIRI, SAMUEL                       MUNYORI, CATHERINE                         MURAKAMI, GWEN P
7111 LIBERTY ROAD                     1457 DARTMOUTH RD                          8 LANCIANO
BALTIMORE MD 21207                    BALTIMORE MD 21234                         IRVINE CA 92620




MURAT, MATHIEU                        MURAVCHIK, JOSHUA                          MURCIA,HELBERT
5883 TRIPHAMMER RD                    1932 WALLACE AVENUE                        1923 ABBEY RD. NO. 707
LAKE WORTH FL 33462                   WHEATON MD 20902                           WEST PALM BEACH FL 33415




MURDOCK, CHARLES W                    MURDOCK, LUCILLE                           MURI, TIMOTHY
2126 THORNWOOD AVE                    812 COMMUNITY AV                           2775 PENNYROYAL CIRC
WILMETTE IL 60091                     ALBANY GA 31705                            NAPERVILLE IL 60564




MURIEL CLAIR                          MURIEL M MARKS                             MURIELLO, MELODIE S
357 CENTRAL                           4018 N LAWLER AV                           8260 NW 95TH AVE
HIGHLAND PARK IL 60035                CHICAGO IL 60641                           TAMARAC FL 33321




MURIELLO, ROSANNE J                   MURIETTA, DINA                             MURO, JUAN
8260 NW 95TH AVE                      624 W SPAULDING AVE                        8 CALLE SALTAMONTES
TAMARAC FL 33321                      LOS ANGELES CA 90036                       SAN CLEMENTE CA 92673-7004




MURPHEY, ALISA                        MURPHY DEFRANZA, LORI                      MURPHY GRAPHICS INC
6 HILLTOP CIRCLE                      6533 GREENE RD                             2815 LEPAGE ST
WEST NEWSBURY MA 01985                WOODRIDGE IL 60517                         NEW ORLEANS LA 70119




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MURPHY II, VICTOR                      MURPHY SECURITY SERVICE LLC                MURPHY SECURITY SERVICE LLC
4400 NW 9TH COURT                      230 OAK ST                                 230 OAK ST
COCONUT CREEK FL 33066                 NEW BRITAIN CT 06050                       NEW BRITAIN CT 06051




MURPHY SECURITY SERVICE LLC            MURPHY SECURITY SERVICE LLC                MURPHY STARK, PAT
230 OAK ST POL BOX 356                 PO BOX 356                                 1 PAUL PLACE
NEW BRITAIN CT 06050                   NEW BRITAIN CT 06050                       BLAUVELT NY 10913




MURPHY, ALYSSA                         MURPHY, BERNADETTE                         MURPHY, CAMERON
8570 NW 47TH DRIVE                     2822 ALTURA AVE                            1400 NW 108 AVE APT 265
CORAL SPRINGS FL 33067                 LA CRESCENTA CA 91214                      PLANTATION FL 33325




MURPHY, CAMERON                        MURPHY, CHRIS                              MURPHY, DAVID P
1400 NW 108 AVE APT 265                27 CLARK ST                                2611 N GREENVIEW AVENUE
PLANTATION FL 33326                    EASTHAMPTON MA 01027                       UNIT B
                                                                                  CHICAGO IL 60614



MURPHY, DAVID P                        MURPHY, EDWARD J                           MURPHY, FRANCES
2611 N GREENVIEW UNIT B                1257 WORCESTER ST                          3001 DENNIS AVE
CHICAGO IL 60614                       INDIAN ORCHARD MA 01151                    KENSINGTON MD 20895




MURPHY, HEATHER                        MURPHY, JAMES                              MURPHY, JANIS L
1958 DRACENA DR                        32 PROSPECT ST    EXTENSION                4654 SLOEWOOD CT
LOS ANGELES CA 90027                   TERRYVILLE CT 06786                        MOUNT DORA FL 32757




MURPHY, JOANNA                         MURPHY, JOHN                               MURPHY, JOHN
16 CARSON ST                           501 N CALVERT ST                           C/O NANCY OPPEL
BETHPAGE NY 11714                      BALTIMORE MD 21278                         501 N CALVERT ST
                                                                                  BALTIMORE MD 21278



MURPHY, JONELL                         MURPHY, KATHLEEN                           MURPHY, KEVIN
99 TIDE MILL LN NO.70                  17 FRANCIS AVE                             210 CEDAR LANE
HAMPTON VA 23666                       NEWINGTON CT 06111                         NEW CANAAN CT 06840




MURPHY, KIMBERLY                       MURPHY, MICHAEL                            MURPHY, MICHAEL J
MOSCOW BUREAU                          8133 S YALE                                3490 EMERYWOOD LANE
202 W 1ST ST                           CHICAGO IL 60620                           ORLANDO FL 32812-7569
LOS ANGELES CA 90012



MURPHY, MOLLY M                        MURPHY, PHILIPPA                           MURPHY, REG
1541 OCEAN AVE 2ND FLOOR               73 WOODHULL ST             APT 1           [ADDRESS UNAVAILABLE AT TIME OF FILING]
SANTA MONICA CA 90401                  BROOKLYN NY 11231




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MURPHY, SHYAMI                          MURPHY, THOMAS                             MURPHY, TIMOTHY F
3272 ROSEMARY LANE                      902 E CONGRESS ST                          2149 W COLLUM AVE
WEST FRIENDSHIP MD 21794                ALLENTOWN PA 18109                         CHICAGO IL 60618




MURRAY & TRETTEL INC                    MURRAY CLAWSON                             MURRAY COMIC NYB INC
600 FIRST BANK DRIVE, SUITE A           3555 STERLING DR.                          2302 S 11TH STREET
PALATINE IL 60067                       PALMDALE CA 93550                          PHILADELPHIA PA 19148




MURRAY FRANKE GREENHOUSE LIST LIPPITT   MURRAY HILL CENTER                         MURRAY JR, RAYMOND I
1228 15TH ST 2ND FL NO.200              373 PARK AVENUE SOUTH 10TH FLOOR           608 WALTON WAY SE
DENVER CO 80202                         NEW YORK FL 10016                          SMYRNA GA 30082




MURRAY MIZOCK                           MURRAY, AZIZI                              MURRAY, CHRIS
1491 CHASE COURT                        1724 N EDGEMONT ST APT 405                 2610 S FRANKLIN STREET
BUFFALO GROVE IL 60089                  LOS ANGELES CA 90027                       PHILADELPHIA PA 19148




MURRAY, DAVID R                         MURRAY, DUNECE A                           MURRAY, GWEN
1508 W OHIO NO.3                        1412 SWIFTWATER CIRCLE                     418 ASPEN DR
CHICAGO IL 60622                        MCDONOUGH GA 30252                         NEW LENOX IL 60451




MURRAY, KENNETH                         MURRAY, LAUREN                             MURRAY, MICHAEL
46 GALWAY DRIVE                         22 DUCK POND RD                            651 S WELLS ST NO.703
HAZLET NJ 07730                         NORWALK CT 06855                           CHICAGO IL 60607




MURRAY, MICHELLE                        MURRAY, NOEL                               MURRAY, ROBERT T
2822 THICKETT WAY                       12 REDBUD DR                               1700 LAKE POINT CT
OLNEY MD 20832                          CONWAY AR 72034                            PLAINFIELD IL 60586




MURRAY, WILLIAM                         MURRAY, YXTA MAYA                          MURRILL, ADRIENNE
9211 NW 82ND CT                         3640 BUENA PARK DRIVE                      1408 HINMAN AVE NO.1W
TAMARAC FL 33321                        STUDIO CITY CA 91604                       EVANSTON IL 60201




MURRIN, HOWARD                          MURTON, MATT                               MURTON, MATT
2238 S HOMAN AVENUE                     1085 LULLWATER CIRCLE                      6350 DALEWOOD DR
CHICAGO IL 60623                        MCDONOUGH GA 30253                         MCDONOUGH GA 30253




MUSACHIO, TIMOTHY S                     MUSAWER MANSOOR IJAZ                       MUSAWER MANSOOR IJAZ
1426 N GREENVIEW AVENUE                 100 STEED NATIONS PLZ - PH44C              CRESCENT INVESTMENT MANAGEMENT
APT COACH HOUSE                         NEW YORK NY 10017                          100 UNITED NATIONS PLAZA
CHICAGO IL 60622                                                                   PH44C
                                                                                   NEW YORK NY 10017




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MUSCADIN, EMANUEL                      MUSCULAR DYSTROPHY ASSOCIATION             MUSCULAR DYSTROPHY ASSOCIATION
6101 NW 18 CT                          3300 E SURISE DRIVE                        1375 SUTTER ST  NO.412
SUNRISE FL 33313                       TUCSON AZ 85718                            SAN FRANCISCO CA 94109




MUSCULAR DYSTROPHY ASSOCIATION         MUSCULAR DYSTROPHY ASSOCIATION             MUSCULAR DYSTROPHY ASSOCIATION
2800 28TH STREET NO.302                C/O BRYAN DAVIS                            CONN PROF FIREFIGHTERS OF MDA
SANTA MONICA CA 90005                  6565 KNOTT AVE-ALBERTSON'S                 34 LYNESS ST
                                       MAIL DROP N417                             MANCHESTER CT 06040
                                       BUENA PARK CA 90620


MUSCULAR DYSTROPHY ASSOCIATION         MUSCULAR DYSTROPHY ASSOCIATION             MUSCULAR DYSTROPHY ASSOCIATION
DANIELS MARQUIS                        1280 SW 36TH AVE NO.303                    1903 S CONGRESS AVE STE 400
78 EASTERN BLVD                        POMAPANO BCH FL 33069                      BOYNTON BEACH FL 33426
GLASTONBURY CT 06033



MUSCULAR DYSTROPHY ASSOCIATION         MUSCULAR DYSTROPHY ASSOCIATION             MUSCULAR DYSTROPHY ASSOCIATION
3222-D COMMERCE PL                     9455 KOGER BLVD NORTH                      1000-46 ROHLWING ROAD
W PALM BEACH FL 33407                  HENDRY BLDG                                HARLEM FURNITURE
                                       SUITE 117                                  ATTN BRIAN GRABOWSKI
                                       ST PETERSBURG FL 33702                     LOMBARD IL 60148


MUSCULAR DYSTROPHY ASSOCIATION         MUSCULAR DYSTROPHY ASSOCIATION             MUSCULAR DYSTROPHY ASSOCIATION
450 E 22ND STREET                      CHICAGO DISTRICT OFFICE                    OF CENTRAL INDIANA
STE 213                                430 N MICHIGAN AVENUE                      3901 W 86TH STREET
LOMBARD IL 60148                       #603                                       INDIANAPOLIS IN 46268
                                       CHICAGO IL 60611


MUSCULAR DYSTROPHY ASSOCIATION         MUSCULAR DYSTROPHY ASSOCIATION             MUSCULAR DYSTROPHY ASSOCIATION
8501 LASALLE ROAD                      4530 PARK RD STE 310                       2017 LINGLESTOWN RD
SUITE 211                              CHARLOTTE NC 28219                         HARRISBURG PA 17110
TOWSON MD 21286



MUSCULAR DYSTROPHY ASSOCIATION         MUSCULAR DYSTROPHY ASSOCIATION             MUSCULAR DYSTROPHY ASSOCIATION
5940 HAMILTON BLVD                     701 DEXTER AVE N                           2949 N MAYFAIR RD NO.104
NO.F                                   STE 105                                    WAUWATOSA WI 53222
ALLENTOWN PA 18106                     SEATTLE WA 98109



MUSE, BONNIE                           MUSE, JORDANNA                             MUSE, MARK P
37 KENLOCK STREET                      12342 HUNTERS CHASE DR     NO.2216         37 KENLOCK ST
NEWINGTON CT 06111-3928                AUSTIN TX 78729                            NEWINGTON CT 06111




MUSEUM OF BROADCAST COMMUNICATIONS     MUSEUM OF BROADCAST COMMUNICATIONS         MUSGRAVE,STEVE
400 N STATE STE 240                    COMMUNICATIONS                             3615 NORTH HAMILTON
CHICAGO IL 60610                       78 EAST WASHINGTON                         CHICAGO IL 60618
                                       CHICAGO IL 60602



MUSIC CRITICS ASSOC OF NORTH AMERICA   MUSIC MASTER                               MUSIC MASTER
722 DULANEY VALLEY RD NO.259           2954 LEGISLATIVE LANE                      6340 SUGARLOAF PARKWAY SUITE 200
TOWSON MD 21204                        BUFORD GA 30519                            DULUTH GA 30097




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MUSIL, RUTHELLYN                          MUSKAT, CARRIE                              MUSTELIER-RAMIER, JOSE
950 N. MICHIGAN                           2131 N CLARK STREET                         7000 SW 23 STREET APT. NO. 12
#4604                                     NO.7                                        MIAMI FL 33155
CHICAGO IL 60611                          CHICAGO IL 60614



MUSZYNSKI, CHRISTINE                      MUSZYNSKI, GREGORY                          MUTH, ANN E
212 MILEHAM DR                            212 MILEHAM DRIVE                           19 N 40TH ST
ORLANDO FL 32835                          ORLANDO FL 32835                            ALLENTOWN PA 18104




MUTH, KIMBERLY                            MUTH, PAUL                                  MUTHARD, MICHELLE
4101 SAND SPRING RD APT JA                820 NORTH OAK PARK AVENUE                   702 RACE ST
SCHNECKSVILLE PA 18078                    OAK PARK IL 60302                           CATASAUQUA PA 18032




MUTZ, JACQUELINE C                        MUZAK LLC                                   MUZAK LLC
601 WALNUT ST APT 2                       1285 COLUMBIA AVE                           PO BOX 538463
EASTON PA 18042                           RIVERSIDE CA 92507-2122                     ATLANTA GA 30353-8463




MUZAK LLC                                 MUZAK LLC                                   MU¥OZ, FREDY L
PO BOX 71070                              3318 LAKEMONT BLVD                          1651 NW 59 TERR.
CHARLOTTE NC 28272-1070                   FORT MILL SC 29708                          SUNRISE FL 33313




MU¥OZ, SILVIA, E                          MVKOC LLC                                   MVP EVENT OPERATIONS MANAGEMENT LLC
1651 NW 59 TERR.                          DBA UNION                                   PO BOX 7295
SUNRISE FL 33313                          1040 FIRST AVE NO.349                       TEMPE AZ 85281
                                          NEW YORK NY 10022



MVP FIRE PROTECTION SYSTEMS               MVS SOLUTIONS                               MW PERSONS AND ASSOCIATES INC
14006 S KILDARE AVE                       8300 WOODBINE AVE                           10032 ISLAND DR
CRESTWOOD IL 60445                        4TH FL                                      BRAINERD MN 56401
                                          MARKHAM ON



MWANGI, EVELYN                            MWILIMA, ARLENE A                           MWM SYSTEM INC
1700 TRAILS END LN                        5282 CASCADE CREEK                          8035 MCKNIGHT RD    STE 100
BOLINGBROOK IL 60490                      HILLIARD OH 43026                           PITTSBURGH PA 15237




MX SERVICES SIGN & LIGHTING MAINTENANCE   MY AREA GUIDES.COM                          MY AREA GUIDES.COM
PO BOX 678203                             1221 AURARIA PKWY                           1240 E 100 SOUTH NO.5
DALLAS TX 75267-8203                      DENVER CO 80204                             ST GEORGE UT 84790




MY CASTLE FSBO INC                        MY CRM DIRECTOR LLC                         MY POINTS.COM
10560 NW FREEWAY                          216 RADCLIFFE ROAD                          1375 E WOODFIELD RD STE 300
HOUSTON TX 77092                          WAYNE PA 19087                              SCHAUMBURG IL 60173




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MY POINTS.COM                           MY SQL INC                                  MY WEATHER LLC
BOX 200333                              PO BOX 951549                               401 CHARMANY DR STE 200
PITTSBURGH PA 15251-0333                DALLAS TX 75395-1549                        MADISON WI 53719




MY WEATHER LLC                          MY-THUAN TRAN                               MYBIZ INC
PO BOX 88689                            498 CLAUSER DRIVE                           1915 W WELLINGTON AVE
MILWAUKEE WI 53288-0689                 MILPITAS CA 95035                           CHICAGO IL 60657




MYCARD PHOTO ID PRODUCTS                MYCOSKIE, CRAIG                             MYER JR, WILLIAM D
PO BOX 374                              836 MARION ST                               14 WATERVIEW RD
ELMHURST IL 60126                       DENVER CO 80218                             HANOVER PA 17331




MYER SUMMERFIELD                        MYER, ANDREW                                MYERS JR, LARRY D
3316 LEE COURT                          94 BROOKVIEW DR                             261 NORWICH AVE APT NO.6
BALTIMORE MD 21208                      VERNON ROCKVILLE CT 06066                   TAFTVILLE CT 06380




MYERS, BARRINGTON J                     MYERS, BETTY J                              MYERS, BETTY J
71 BARBER ST                            271 KING ST *CRAZY BRUCE                    271 KING STREET
WINDSOR CT 06095                        BRISTOL CT 06010-5238                       BRISTOL CT 06010-5238




MYERS, CATHY                            MYERS, DAVID                                MYERS, DESMOND
707 MARTHA ST                           109 WEST 12TH                               5751 RIVERDALE RD 42E
BULLARD TX 75757                        HOLLAND MI 49423                            COLLEGE PARK GA 30349




MYERS, DONALD P                         MYERS, HOLLY                                MYERS, JESSICA RYAN
816 COLORADO STREET                     8811 LOOKOUT MOUNTAIN AVENUE                509 WOOD DR
FORT COLLINS CO 80524                   LOS ANGELES CA 90046                        NORTH AUGUSTA SC 29860




MYERS, LADRA L                          MYERS, SHANESE                              MYERS, SHAULASSIE S
10407 NE 113TH PLACE                    1411 SADDLEBROOK LN                         1125 FOSTERS MILL DR
KIRKLAND WA 98033                       CORDOVA TN 38016                            BOYNTON BEACH FL 33416




MYERS, SHAULASSIE S                     MYERS, WILLIAM                              MYERS, WILLIAM DAVID
1125 FOSTERS MILL DR                    1701 OREGON DRIVE                           64 WOODBRIDGE ST
BOYNTON BEACH FL 33436                  SACRAMENTO CA 95822                         S HADELY MA 01075




MYERS, WILLIAM DAVID                    MYERS, WILLIAM T                            MYESHA JONES
319 W 103ST 3R                          271 KING STREET                             44140 WATFORD AVE
NEW YORK NY 10025                       BRISTOL CT 06010-5238                       LANCASTER CA 93535




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MYESHA PRETLOW                          MYINT-U, THANT                             MYKAEL ALEXANDER
P.O. BOX 3451                           5 SUE TERRACE                              405 SHEPERD AVENUE
SANTA MONICA CA 90408                   WESTPORT CT 06880                          APT. 2F
                                                                                   BROOKLYN NY 11208



MYKISEN, BRYAN                          MYLES MELLOR THEME CROSSWORDS              MYLES, SOPHIA
407 S PARK AVE                          10428 JIMENEZ ST                           1350 BLUE HILLS AVE
FOND DU LAC WI 54935                    LAKEVIEW TERRACE CA 91342                  BLOO OFF
                                                                                   BLOOMFIELD CT 06002-2870



MYLES, SOPHIA                           MYLONAS-ORWIG, LAUREL K                    MYNOR ACEVEDO
531 PARK AVE                            5468 S HYDE PARK BLVD NO.2N                7873 MANOR FOREST LANE
BLOOMFIELD CT 06002-1325                CHICAGO IL 60615                           BOYNTON BEACH FL 33436




MYNOR CRUZ RODRIGUEZ                    MYNOYMANY, PHONAPASEUTH                    MYRA CLARK
16226 ELGENIA ST.                       500 MICHAEL IRVIN DRIVE                    7506 NW 58TH CT.
COVINA CA 91722                         NEWPORT NEWS VA 23608                      TAMARAC FL 33321




MYRA SORRELL                            MYRANDA ANNAKIN                            MYRIAM SPRING
3225 ELMORA AVENUE                      7300 HOLLIDAY DR. WEST                     210 26TH ST
BALTIMORE MD 21213                      INDIANAPOLIS IN 46260                      COPIAGUE NY 11726




MYRICKS CLEANING SERVICE                MYRIE, MICHAEL A                           MYRLKA BASTIEN
8001 JONES RD                           1900 SOUTHWEST 87TH AVENUE                 5710 NW 74TH PLACE
JESSUP MD 20794                         NORTH LAUDERDALE FL 33068                  APT 105
                                                                                   COCONUT CREEK FL 33073



MYRNA QUINONES                          MYRNA RAMIREZ                              MYRNA VELAZQUEZ
48 HILLCREST ROAD                       4015 70TH AVENUE E.                        5337 E CRONUS STREET
BRIDGEPORT CT 06606                     ELLENTON FL 34222                          LOS ANGELES CA 90032




MYRON LEVIN                             MYRON MITCHELL                             MYRON SKOLTE
17344 LOS ALIMOS STREET                 37936 TAMARA STREET                        1322 NORTH K STREET
GRANADA HILLS CA 91344                  PALMDALE CA 93550                          LAKE WORTH FL 33460




MYRTHIL, JEAN MARC                      MYRTHIL, MARJORIE                          MYRTLE GILPIN
6824 LONBG KEY STREET                   6824 LONG KEY STREET                       132 HEATHCOTE ROAD
LAKE WORTH FL 33467                     LAKE WORTH FL 33467                        ELMONT NY 11003




MYSANANTONIO COM                        MYSANANTONIO COM                           MYSKO, MADELEINE R
420 BROADWAY ST                         PO BOX 2925                                417 GEORGIA CT
SAN ANTONIO TX 78205                    SAN ANTONIO TX 78299                       BALTIMORE MD 21204




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MYSLENSKI, EUGENE D                   MYSTRO GREETINGS INC                       MYUNG CHUN
2014 LINCOLN STREET                   PO BOX 42096                               18223 SOLEDAD CANYON ROAD
EVANSTON IL 60201                     TOWSON MD 21284                            APT.#32
                                                                                 CANYON COUNTRY CA 91387



N GREGORY NEES                        N JANE HUNT                                N&S BUTTERS
1223 WEST 79TH STREET                 1424 W. PRATT BLVD.                        RE: SUNRISE WEST OFFICE
INDIANAPOLIS IN 46260                 CHICAGO IL 60626                           2005 WEST CYPRESS CREEK ROAD
                                                                                 #202
                                                                                 FT. LAUDERDALE FL 33309


N'ZINGA RAHIM                         N.Y.S. DEPT OF LABOR-UI DIV                NAA FOUNDATION
4606 NORFOLK AVENUE                   NYS DEPARTMENT OF LABOR                    PO BOX 79196
BALTIMORE MD 21216                    W. AVERELL HARRIMAN STATE OFFICE           BALTIMORE MD 21279-0196
                                      BUILDING 12
                                      ALBANY NY 12240


NAA FOUNDATION                        NAA FOUNDATION                             NAA FOUNDATION
1921 GALLOWS RD SUITE 600             1921 GALLOWS ROAD                          4401 WILSON BLVD STE 900
ATTN CONNIE LEE                       SUITE 600                                  ARLINGTON VA 22203-1867
VIENNA VA 22182-3900                  NANCY OSBORN
                                      VIENNA VA 22182


NAAD                                  NAB                                        NAB
10309 E 95TH STREET N                 1771 N STREET NW                           DEPARTMENT 994
OWASSO OK 74055                       WASHINGTON DC 20036                        1771 N STREET NW
                                                                                 WASHINGTON DC 20036



NAB                                   NAB                                        NAB
DEPT 65                               PO BOX 1474                                PO BOX 3379
1771 N STREET, NW                     WASHINGTON DC 20013-1474                   FREDERICK MD 21705
WASHINGTON DC 20036



NABEF                                 NABI, RANIT                                NABOB TELECOMMUNICATIONS
1771 N STREET NW                      10794 WILKINS AVE NO.404                   EDUCATION AND MANAGEMENT FOUNDATION
WASHINGTON DC 20036-2800              LOS ANGELES CA 90024                       1155 CONNECTICUT AVE NW 6TH FLR
                                                                                 WASHINGTON DC 20036



NACHIMSON, BERNARD                    NACHTRAB, MICHELLE                         NACIS, HOODLY
14191 CAMPANELLI DRIVE                340 E. 9ST                                 142 SW 3RD AVE
DELRAY BEACH FL 33484                 FOND DU LAC WI 54935                       DELRAY BEACH FL 33444




NACM SOUTH WEST                       NACM SOUTH WEST                            NADA SANDERLIN
DALLAS ASSO OF CREDIT MGMT            PO BOX 167688                              709 N. LEAVITT STREET
PO BOX 167688                         IRVING TX 75016-7688                       CHICAGO IL 60612
IRVING TX 75016



NADA SHAMAH                           NADAL AMMARY                               NADAL, BRETT
7750 S. NARRAGANSETT                  1910 STONINGTON ROAD                       461 N EVERETT
BURBANK IL 60459                      BETHLEHEM PA 18018                         PALATINE IL 60074




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NADELMANN, ETHAN                      NADIA LERNER                               NADINE GALE
117 WEST 74TH STREET APT 1C           275 HERITAGE HILLS C                       236 SAINT MATHEWS STREET
NEW YORK NY 10023                     SOMERS NY 10589                            BALTIMORE MD 21202




NADINE M EDWARDS                      NADINE SINCLAIR                            NADINE TOREN
201 EAST ARROW HWY                    2292 LOWELL RIDGE                          6655 CANYON RIM ROW
SPACE #83                             APT. F                                     UNIT #203
GLENDORA CA 91740                     BALTIMORE MD 21234                         SAN DIEGO CA 92111



NADINE WALKER                         NADINE WARD                                NADINE WASHINGTON
825 E. 90TH PLACE                     29 IRVING AVENUE                           6921 NW 9TH STREET
CHICAGO IL 60619                      DEER PARK NY 11729                         MARGATE FL 33063




NADLER GOLF CAR SALES INC             NADLER, DRU                                NADLER, JANICE
2700 N FARNSWORTH AVE                 148 SOUTH BROOKSVILLE RD                   1127 NOYES ST
AURORA IL 60504                       CHESHIRE CT 06410                          EVANSTON IL 60201




NADLER, JANICE                        NADYA MUJICA                               NADYNE DYER
NORTHWESTERN UNIV SCHOOL OF LAW       P O BOX 26810                              7980 NW 50TH ST.
357 E CHICAGO AVE                     TAMARAC FL 33320-6810                      APT. 202
CHICAGO IL 60611                                                                 LAUDERHILL FL 33351



NADZAN, JOHN                          NAEDINE HAZELL                             NAFTALI BENDAVID
1875 MELVOR LN                        44 APPLE TREE LANE                         112 PARK AVENUE
WINCHESTER VA 22601                   NORTH HAVEN CT 06473                       TACOMA PARK MD 20912




NAGAN, GREG                           NAGEL, HOWARD                              NAGLE, MICHAEL
HOLGER DANSKES VEJ 82 2TV             214 LAUREL                                 65 OCEAN AVE NO.5G
2000 FREDERIKSBERG                    BREA CA 92821                              BROOKLYN NY 11225
DENMARK



NAGLE, MICHAEL R                      NAGRANT, MICHAEL                           NAGRO, ANNE M
108 W RANCHO RD                       400 S GREEN ST NO.202                      257 SOUTHRIDGE DR
CORONA CA 92882                       CHICAGO IL 60607                           GURNEE IL 60031




NAHAS, DONNA                          NAI HIFFMAN ASSET MANAGEMENT LLC           NAIBE REYNOSO
5 BIXBY DR                            RE:NORTHFIELD 197 NORTHFIELD               2211 SOUTH CURSON AVENUE
BALDWIN NY 11510                      1 SOUTH WACKER DR.                         LOS ANGELES CA 90016
                                      SUITE 1990
                                      CHICAGO IL 60606


NAIEMA CAROLINA                       NAILOR, LORA                               NAIM, MOISES
55 NORTH ELLILOT PLACE                3925 MECHANICSVILLE RD                     5000 RIVER HILL RD
APT 9D                                WHITEHALL PA 18052                         BETHESDA MD 20816
BROOKYN NY 11205




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NAIMAH MUHAMMAD                        NAIRN, LORESA                               NAJJAR, NABIL A
9622 S CHARLES                         8401 SUNSET TRAIL PL                        522 GOURAUD ST NO.3A
CHICAGO IL 60643                       RANCHO CUCAMONGA CA 91730                   GERMAYZEH
                                                                                   BEIRUT



NAKAZAWA, YOSHIHIRO                    NAKIA PLUMMER                               NAKITA FOSTER
340 E 2ND ST APT NO.305                2430 W. VAN BUREN ST.                       2200 BOOTH STREET
LOS ANGELES CA 90012                   APT. #A                                     BALTIMORE MD 21223
                                       CHICAGO IL 60612



NAKIYAH PARRIS                         NALBACH, GEORGE                             NALEWAY, APRIL L
150 WEST 174TH STREET                  SANTA ANITA FAMILY SERVICE                  121 VERNON
APT. 2D                                605 S MYRTLE AVENUE                         BOLINGBROOK IL 60440
BRONX NY 10453                         MONROVIA CA 91016



NALING, JAY                            NALLAPAREDDY, ANITA                         NALLY, CAITLIN
650 WOODBRIDGE DR                      3040 LAWRENCE CRESCENT                      102 W RIDGE DR
ELGIN IL 60123                         FLOSSMOOR IL 60422                          WEST HARTFORD CT 06117




NAMES IN THE NEWS CALIFORNIA INC       NAMKUNG, VICTORIA                           NAMME
1300 CLAY STREET 11TH FLOOR            11690 MONTANA AVE                           1921 GALLOWS ROAD
OAKLAND CA 94612-1429                  APT 205                                     SUITE 600
                                       LOS ANGELES CA 90049                        VIENNA VA 22182-3900



NAMME                                  NAN REHFIELD                                NAN YADANAR
7950 JONES BRANCH DR                   12306 GREENSPRING AVE                       412 S. ELECTRIC AVENUE
MCLEAN VA 22107                        OWINGS MILLS MD 21117                       ALHAMBRA CA 91803




NANCI BANKS                            NANCI KELLY                                 NANCIA WARREN
4613 BRIGHTWOOD ROAD                   11 BROOK TREE                               4734 35TH STREET #4
OLNEY MD 20832                         ALISO VIEJO CA 92656                        SAN DIEGO CA 92116




NANCIE CLARE                           NANCOOMARIE PHRSAI                          NANCY A BROWN
14661 TUSTIN ST                        5 QUAIL LANE                                756 N. INGLEWOOD AVE
SHERMAN OAKS CA 91403                  LEVITTOWN NY 11756                          #21
                                                                                   INGLEWOOD CA 90302



NANCY A SCHOLL                         NANCY ANDERSON                              NANCY ANN MROCZKOWSKI
14736 N. SOUTH SHORE DRIVE             60 TWIN HILLS DR                            1800 LOTUS SE
EFFINGHAM IL 62401                     COVENTRY CT 06238                           GRAND RAPIDS MI 49506




NANCY BACA                             NANCY BALTAD                                NANCY BARNES
7676 HOLLYWOOD BLVD                    40264 N 107TH ST, W                         7920 RICHARDSON LANE
APT #10                                LEONA VALLEY CA 93551                       TINLEY PARK IL 60487
WEST HOLLYWOOD CA 90046




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NANCY BARON                             NANCY BENBEN                                NANCY BOSLEY
11 ARROWWOOD CIRCLE                     117 BAYBERRY ROAD                           9666 HORSHAM DRIVE
SOUTH WINDSOR CT 06074                  GLASTONBURY CT 06033                        LAUREL MD 20723




NANCY BREININGER                        NANCY BURNS                                 NANCY CALDWELL
11 MOUNTAIN LAUREL DRIVE                7215 W. BALMORAL                            4421 RADFORD AVE.
MIDDLETOWN CT 06457                     CHICAGO IL 60656                            STUDIO CITY CA 91607




NANCY CAREY                             NANCY CASSELLS                              NANCY CASTRANOVA
1004 MARTINSTEIN AVENUE                 5773 HILLVIEW PARK AVENUE                   7708 OLD WOODSTOCK LN
BAY SHORE NY 11706                      VAN NUYS CA 91401                           ELLICOTT CITY MD 21043




NANCY COLEMAN                           NANCY COSTELLO                              NANCY CRUZ
825 BUCK STREET                         1 SHERIDAN PLACE                            1845 17TH STREET
HALLANDALE FL 33009                     ISLAND PARK NY 11558                        APT#1
                                                                                    SANTA MONICA CA 90404



NANCY DARLING                           NANCY DEAN                                  NANCY DOUGHERTY
12348 BONMOT PLACE                      1719 DON CARLOS AVENUE                      406 NATALIE DR
REISTERSTOWN MD 21136                   GLENDALE CA 91208                           ALLENTOWN PA 18104




NANCY EASTERDAY                         NANCY ECOB                                  NANCY G SUELAU
622 WASHINGTON AVENUE                   211 EAST OHIO STREET                        1326 LINDEN AVENUE
NORTHAMPTON PA 18067                    APARTMENT 2820                              GLENDALE CA 91201
                                        CHICAGO IL 60611-3218



NANCY GALLINGER                         NANCY GANT                                  NANCY GARCIA
26 COPLEY ROAD                          751 BARTLETT AVENUE                         5433 2ND AVE.
SOUTH GLASTONBURY CT 06073              BALTIMORE MD 21218                          LOS ANGELES CA 90043




NANCY GILTNER MAHER                     NANCY GOMER                                 NANCY GOMEZ
4744 VISTA DE ORO                       2025 ZUMBEHL ROAD                           27 MITCHELL COURT
WOODLAND HILLS CA 91364                 #139                                        WETHERSFIELD CT 06109
                                        ST. CHARLES MO 63303



NANCY GOODNESS                          NANCY GREGORY                               NANCY GRIMES
1749 WILLIAM'S GLEN BOULEVARD           21758 KING CROSSING TERRACE                 1873 ARCHIES CT.
ZIONSVILLE IN 46077                     ASHBURN VA 20147                            FRANKLIN IN 46131




NANCY HARMON                            NANCY HAWORTH                               NANCY HENNIS
5109 CHAPEL SPRINGS DRIVE               4275 BANDINI AVENUE                         P O BOX 32187
ARLINGTON TX 76017                      RIVERSIDE CA 92506                          PALM BEACH GARDENS FL 33420




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NANCY HEYWARD                         NANCY HILL-HOLTZMAN                        NANCY HINCHEY
6113 MISSON DR.                       6621 WEST 86TH PLACE                       51 LONDON ROAD
ORLANDO FL 32810                      APT.# 108                                  HEBRON CT 06248
                                      LOS ANGELES CA 90045



NANCY HOPPER                          NANCY HOSFELD                              NANCY HUMPHREY
20432 SANTA ANA AVENUE #6             6112 WILBETH AVENUE                        7749 S NATOMA
SANTA ANA HEIGHTS CA 92707            ORLANDO FL 32809                           BURBANK IL 60459




NANCY IS RINGEL                       NANCY JO JOHNSTON                          NANCY KAY MELEAR
1895 GORE DRIVE                       6103 TURNABOUT LANE                        3149 CALYPSO COURT
LARKSPUR CO 80118                     APT. #12                                   CASTLE ROCK CO 80109
                                      COLUMBIA MD 21044



NANCY KUNZMAN                         NANCY LAROCHE                              NANCY LASTRINA
691-113 OAKHARBOUR D                  11 SPRING STREET                           1480 ENFIELD STREET
ALTAMONTE SPRINGS FL 32701            WETHERSFIELD CT 06109                      ENFIELD CT 06082




NANCY LEW                             NANCY LEWITTES                             NANCY MACDONALD
10435 ASHTON AVENUE                   35 WEST BROAD STREET                       9011 48TH DRIVE NE
LOS ANGELES CA 90024                  APT. #309                                  MARYSVILLE WA 98270
                                      STAMFORD CT 06902



NANCY MAKOWSKI                        NANCY MALDONADO                            NANCY MALHEIRO
12209 GRAYSTONE AVE                   13 JAYNE AVE                               2013 MACLAND SQUARE DRIVE
NORWALK CA 90650                      MELVILLE NY 11747                          MARIETTA GA 30064




NANCY MANDLY                          NANCY MASTROIANNI                          NANCY MCCROHON
100 PRICE BLVD                        3 CANDY LANE                               2101 CONNECTICUT AV
WEST HARTFORD CT 06119                COMMACK NY 11725                           WASHINGTON DC 20008




NANCY MCNAMARA                        NANCY MENDEZ                               NANCY MEYER
375 SOUTH END AVENUE                  736 HILLSIDE AVENUE                        337 TERRACE ROAD
APT. 23R                              HARTFORD CT 06106                          BAYPORT NY 11705
NEW YORK NY 10280



NANCY MEYER                           NANCY MORGAN                               NANCY MUNSON
293 OXFORD STREET                     18D CARILLON DRIVE                         305 SECOND STREET
HARTFORD CT 06105                     ROCKY HILL CT 06067                        DOWNERS GROVE IL 60515




NANCY O'NEILL                         NANCY P LANUM                              NANCY PATE
185 RANCHO DRIVE                      9308 JANUARY DRIVE                         2927 MONACO COURT
TIBURON CA 94920                      LAS VEGAS NV 89134                         ORLANDO FL 32806




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NANCY PEREZ                           NANCY PILATO                               NANCY PUGLIA
13375 AZORES AVENUE                   8638 CASHEL LANE                           489 B STREET
SYLMAR CA 91342                       TINLEY PARK IL 60487                       CASSELBERRY FL 32707




NANCY R RAY                           NANCY REESE                                NANCY REIBER
401 9TH STREET                        1312 E KENSINGTON RD                       664 SOUTH 7TH ST
DEL MAR CA 92014                      MOUNT PROSPECT IL 60056                    LINDENHURST NY 11757




NANCY RIO-HESLIN                      NANCY RITCH                                NANCY RIVERA BROOKS
91 WHITING STREET                     35 ORCHARD STREET                          4001 KARELIA STREET
PLAINVILLE CT 06062                   COS COB CT 06807                           LOS ANGELES CA 90065




NANCY ROBERTS                         NANCY ROBINSON                             NANCY ROBINSON
478 CHESTNUT CIRCLE W                 67 KIRK ROAD                               74 COUNTRY CLUB ROAD
ALBURTIS PA 18011                     PERRYVILLE MD 21903                        STAMFORD CT 06903




NANCY RYAN                            NANCY S KANESHIRO                          NANCY S STIMAC
4902 NORTH LAWNDALE AVENUE            1721 WEST 150TH STREET                     35 DEREK LANE
UNIT 3                                APT# D                                     WINDSOR CT 06095
CHICAGO IL 60625                      GARDENA CA 90247



NANCY SAMULOWITZ                      NANCY SCALISE                              NANCY SCHOEFFLER
C/O DAVID SAMULOWITZ                  205 ARTIST LAKE DR                         141 FOUNDERS ROAD
11762 PEBBLE BEACH DR                 MIDDLE ISLAND NY 11953                     GLASTONBURY CT 06033
GENOA IL 60135



NANCY SPROAT                          NANCY STASKO                               NANCY STONE
P.O. BOX 1154                         2951 EDGEWOOD AVE                          4055 N. GREENVIEW
EAST GRANBY CT 06026                  BALTIMORE MD 21234                         #3
                                                                                 CHICAGO IL 60613



NANCY STUERMER                        NANCY SULLIVAN                             NANCY TAYLOR ROBSON
228 N. OAK PARK AVENUE                16534 SUNSET BLVD                          BUTTONWOOD BOX 74
#1L                                   PACIFIC PALISADES CA 90272                 GALENA MD 21635
OAK PARK IL 60302



NANCY TEIXEIRA                        NANCY THARP                                NANCY URSO
96 HOLY CROSS CIRCLE                  614 E. WASHINGTON ST.                      P.O. BOX 42
LUDLOW MA 01056                       REAR                                       HUDSON FALLS NY 12839
                                      ORLANDO FL 32801



NANCY V FALCONE                       NANCY VOGEL                                NANCY WATKINS
169 NORTH LANE                        864 49TH STREET                            6715 N. DOWAGIAC AVE.
SMITHTOWN NY 11788                    SACRAMENTO CA 95819                        CHICAGO IL 60646




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NANCY WELDON                          NANCY WILLIAMSON                           NANCY WORKS
2700 E. CAHUENGA BLVD.                P. O. BOX 215                              16864 WALPI ROAD
#3103                                 VENICE CA 90294                            APPLE VALLEY CA 92307
LOS ANGELES CA 90068



NANCY YOSHIHARA                       NANCY YOUNG                                NANCY ZIMMERMAN
400 FAIRVIEW TERRACE                  28 COLONIAL COURT                          429 OAK HAVEN DRIVE
SIERRA MADRE CA 91024                 QUEENSBURY NY 12804                        ALTAMONTE SPRINGS FL 32701




NANETTE HOWARD                        NANETTE KONIVAL                            NANETTE VEYSEY
424 RIDGE ROAD                        84 LAKEVIEW AVENUE                         9830 NW 24TH STREET
QUEENSBURY NY 12804                   LYNBROOK NY 11563                          CORAL SPRINGS FL 33065




NANNETTE SMITH                        NANYONG DENN                               NAOMI BARROW
7647 W. ROSEDALE                      4532 S. INDIANA                            1935 FAIRVIEW AVENUE
CHICAGO IL 60631                      3N                                         EASTON PA 18042
                                      CHICAGO IL 60653



NAOMI EPSTEIN                         NAOMI HALPERIN-SCHOFF                      NAOMI MCCAIN
2800 LAKESHORE DR.,                   1813 BOX ELDER ROAD                        1620 HARTSDALE ROAD
#2515                                 ALLENTOWN PA 18103                         BALTIMORE MD 21239
CHICAGO IL 60657



NAOMI PILOSOF                         NAOMI RINGER                               NAOMI SACHS
88 HOWARD ST.                         911 N. ORANGE AVENUE                       64 WEST SCHILLER STREET
UNIT 1808                             APT 449                                    CHICAGO IL 60610
SAN FRANCISCO CA 94105                ORLANDO FL 32801



NAPCO STEEL INC                       NAPCO STEEL INC                            NAPER SMALL BUSINESS, LLC
1800 ARTHUR DR                        PO BOX 92170                               RE: NAPERVILLE 1707 QUINCY LN
WEST CHICAGO IL 60185                 ELKGROVE VILLAGE IL 60009                  1805 HIGH GROVE LANE
                                                                                 NAPERVILLE IL 60540



NAPER SMALL BUSINESS, LLC             NAPFEL, REBECCA                            NAPLES SERVICES INC
RE: NAPERVILLE 1707 QUINCY LN         1509 GREEN RD                              PO BOX 3147
1805 HIGH GROVE LANE, SUITE 153       BALDWIN MD 21040                           SEAL BEACH FL 90740
NAPERVILLE IL 60540



NAPLES,MAURICE                        NAPOLEON CORPUZ                            NAPOLEON HINTON
25907 STARBOARD DR                    127 E. CRYSTAL LAKE STREET                 8847 SOUTH PAXTON
MILLSBORO DE 19966                    ORLANDO FL 32806                           CHICAGO IL 60617




NAPOLEONI, LORETTA                    NAPOLITANO, MICHAEL                        NAPPE, ROBERT
51 ALBERT BRIDGE RD                   1018 BARTLETT CT                           20 EATON ST
LONDON SW11 4QA                       OVIEDO FL 32765                            NORTH HAVEN CT 06473




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NAPSHIN, JEFF                          NARA SCHOENBERG                            NARANG, BOBBY
2400 16TH ST NW NO.233                 1951 N. DAYTON                             741 WELLINGTON AVE
WASHINGTON DC 20009                    #3                                         ELK GROVE VILLAGE IL 60007
                                       CHICAGO IL 60614



NARAYANASWAMY, SINDYA                  NARAYSINAH, SAMUEL                         NARCISSE, CARDET
700 CALVERT ST                         1003 SW 49TH AVE                           5876 EDDY CT
BALTIMORE MD 21202                     MARGATE FL 33068                           LAKE WORTH FL 33463




NARDINE SAAD                           NARENDRA NAIDOO                            NARESH KUMAR
19422 AMHURST COURT                    109-97 142ST                               830 REGENT DRIVE
CERRITOS CA 90703                      JAMAICA NY 11435                           WESTBURY NY 11590




NARLI, SELCUK M                        NARMEEN CHOUDHURY                          NARONDA SMITH
200 NE 20 ST APT 217C                  6 WOODROW STREET                           3202 GULF PORT DRIVE
BOCA RATON FL 33431                    WEST HARTFORD CT 06107                     BALTIMORE MD 21225




NARUCKI, MARY                          NARUCKI, MARY                              NARVAEZ ROMAN, WALDO
40 MEDIA DR                            C/O TMS/TVDATA                             11112 FAIRHAVEN WAY
QUEENSBURY NY 12804                    333 GLEN STREET                            ORLANDO FL 32825
                                       GLENS FALLS NY 12801



NARVAEZ, BEATRIZ L                     NASALGA, EDWARD                            NASCAR
17235 NW 74TH PL                       47 WOOSLEY AVENUE                          PO BOX 2875
MIAMI FL 33015                         GLEN COVE NY 11542                         DAYTONA BEACH FL 32120-2875




NASCIMIENTO, JOSE JORGE                NASELLA, JAMES P                           NASELLI, JOSEPH
5710 NW 74TH PLACE                     12551 DUNRAVEN TRAIL                       510 LEWIS ISLE LANE
COCONUT CREEK FL 33073                 JACKSONVILLE FL 32223                      PROSPECT HEIGHTS IL 60070




NASH, ALANNA                           NASH, DENISE J                             NASH, JOHN
649 BRECKENRIDGE LN                    1 PLUM PL                                  PO BOX 2118
LOUISVILLE KY 40207                    ISLIP NY 11751                             BIDDEFORD ME 04005




NASH, LEAH                             NASHANTA ROBINSON                          NASREEN BHAI
1905 NE 37TH AVE                       3919 W. 168TH PLACE                        830 N. STATE STREET
PORTLAND OR 97212                      COUNTRY CLUB HILLS IL 60478                4N
                                                                                  CHICAGO IL 60610



NASSAU COUNCIL CHAMBERS OF COMMERCE    NASSAU COUNTY AUXILIARY POLICE             NASSAU COUNTY HIGH SCHOOL FOOTBALL
308 E MEADOW AVE                       2708 PETIT AVE                             514 SAND HILL RD
EAST MEADOW NY 11554                   BELLMORE NY 11710                          WANTAGH NY 11793




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NASSAU COUNTY LIBRARY ASSOCIATION       NASSAU COUNTY TRAFFIC AND                  NASSAU COUNTY TRAFFIC AND
C/O PROF A FRIEDMAN                     PARKING VIOLATIONS AGENCY                  PARKING VIOLATIONS AGENCY
NASSAU COMMUNITY COLLEGE                16 COOPER STREET                           PO BOX 1242
ONE EDUCATION DR                        HEMPSTEAD NY 11550-4063                    HICKSVILLE NY 11802-1244
GARDEN CITY NY 11530-6793


NASSAU COUNTY TRAFFIC AND               NASSAU NEWS SERVICE                        NASSAU VETERANS MEM COLISEUM
PO BOX 1244                             PO BOX 63                                  1255 HEMPNO.AD TPKE
HICKSVILLE NY 11801                     MINEOLA NY 11501-0063                      UNIONDALE NY 11553-1200




NASSAU VETERANS MEM COLISEUM            NAT GONZALES                               NATALE, JEANINE
1255 HEMPSTEAD TPKE                     961 PREMROSE DRIVE                         2130 S SANTA FE AVE    NO.134
UNIONDALE NY 11553-1200                 ROMEOVILLE IL 60441                        VISTA CA 92084




NATALIA MIKLER                          NATALIE BISHOP                             NATALIE BLUNIER
11 SQUIRE COURT                         2772 WEEPING WILLOW DR.                    3420 N LAKE SHORE DR
REISTERSTOWN MD 21136                   UNIT D                                     APT # 50
                                        LISLE IL 60532                             CHICAGO IL 60657



NATALIE BOEHM PHOTOGRAPHY               NATALIE BOMKE                              NATALIE COHEN
333 VIRGINIA ST                         4500 TRUXEL ROAD                           1568 NW 208 WAY
EL SEGUNDO CA 90245                     615                                        PEMBROOK PINES FL 33029
                                        SACRAMENTO CA 95834



NATALIE DECANINI                        NATALIE DELISLE                            NATALIE DIEPOLD
64-18 COOPER AVENUE                     3907 NW 1ST PLACE                          2906 AIRDRIE AVE
RIDGWOOD NY 11385                       DEERFIELD BEACH FL 33442                   ABINGDON MD 21009




NATALIE DIXON                           NATALIE FITENI PHOTO                       NATALIE FITENI PHOTO
19007 LEADWELL STREE                    351 S NORTON AVE                           547 BROOKS AVE APT B
RESEDA CA 91335                         LOS ANGELES CA 90020                       VENICE CA 90291




NATALIE GORDON                          NATALIE GRANT                              NATALIE HERNDON
3750 N. LAKE SHORE DRIVE                1800 TAYLOR AVENUE                         7903 MANSION HOUSE XING
APT. #11C                               UNIT #3                                    PASADENA MD 21122
CHICAGO IL 60613                        SEATTLE WA 98109



NATALIE JACKSON                         NATALIE JOHNSON                            NATALIE MAHALEY
840 W. MONTROSE AVE                     1318 TURRET ROAD                           12938 MOORPARK ST.
APT # 307                               BEL AIR MD 21015                           STUDIO CITY CA 91604
CHICAGO IL 60613



NATALIE MCKNIGHT                        NATALIE MONTEITH                           NATALIE OSTERLING
64 AMOS DRIVE                           199 COMPTON PLACE                          1560 HOMEWOOD DR
SPRINGFIELD MA 01118                    NEWPORT NEWS VA 23606                      ALTADENA CA 91001




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NATALIE RUTMAN                           NATALIE STOLARSKI                          NATALIE STURGIS
522 4TH STREET                           21 E. CHESTNUT                             630 N. FRANKLIN
APT 2R                                   APT #11E                                   APT. #711
CATASAUQUA PA 18032                      CHICAGO IL 60611                           CHICAGO IL 60654



NATALIE TEMPLETON                        NATALIE TYSDAL                             NATALIE WEINSTEIN
109 KENMORE AVE                          9619 ASPEN HILL CIRCLE                     176 SECOND ST
D                                        LONETREE CO 80124                          ST JAMES NY 11780
ELMHURST IL 60125



NATALIE WILLIAMS                         NATALIE WORRELL                            NATALYA MADOLORA PHOTOGRAPHY
1418 NE 21ST AVENUE                      3227 MONTEBELLO TERRACE                    4018 ELDERBANK DR
PORTLAND OR 97232                        BALTIMORE MD 21214                         LOS ANGELES CA 90031




NATANZON, VICTORIA                       NATAS DC CHAPTER                           NATAS DC CHAPTER
181 MAIN ST                              4100 WISCONSIN AVE NW                      9405 RUSSELL RD
UNIONVILLE CT 06085                      WASHINGTON DC 20016                        SILVER MD 20910




NATAS DC CHAPTER                         NATAS HEARTLAND CHAPTER                    NATASHA BRASWELL
NATIONAL ACADEMY OF TV ARTS SCIENCE      2140 S IVANHOE   STE G3                    2917 LETA COURT
9405 RUSSELL ROAD                        DENVER CO 80222                            HAMPTON VA 23666
SILVER SPRING MD 20910



NATASHA HOWARD                           NATASHA LEE                                NATASHA MCELROY
543 S. SCOTT LANE                        12663 BROOKSIDE LN                         7217 SOUTH SPAULDING
ROMEOVILLE IL 60446                      SAN DIEGO CA 92131                         CHICAGO IL 60629




NATASHA NAKUM                            NATASHA PEREZ                              NATASHA WEINSTEIN
6733 N KOLMAR AVE                        1644 CALIFORNIA AVENUE                     10063 53RD WAY
LINCOLNWOOD IL 60712-3333                WEST COVINA CA 91790                       APT 702
                                                                                    BOYNTON BEACH FL 33437



NATERA, LAUDETTE                         NATESHA BURTON                             NATHALIE KAWAGUCHI
5219 N OAKVIEW STE 1W                    42 BALTIMORE STREET                        228 N HENTON AVENUE
CHICAGO IL 60656                         HARTFORD CT 06112                          COVINA CA 91724




NATHALIE MULLINIX REALTY UNIVERSAL INC   NATHALIE PHICIL                            NATHAN ADKISSON
PO BOX 1184                              3821 RAVENWOOD AVE.                        455 40TH AVE
KAILUA HI 96734                          ORLANDO FL 32839                           ROSEVILLE IL 61473-9274




NATHAN BARROWS                           NATHAN BERGQUIST                           NATHAN EFNER
2252 N. CLARK STREET                     15823 RAYEN ST.                            2534 N. LINCOLN AVE.
APT. #2                                  NORTH HILLS CA 91343                       UNIT 309
CHICAGO IL 60614                                                                    CHICAGO IL 60614




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NATHAN LAVENDER                        NATHAN OLIVAREZ-GILES                       NATHAN OSADCHEY
419 MUSEUM DR                          1416 WESTERLY TERRACE                       19841 CRYSTAL RIDGE LANE
LOS ANGELES CA 90065                   APT 3                                       NORTHRIDGE CA 91326
                                       LOS ANGELES CA 90026



NATHAN PITTS                           NATHAN ROBERTSON                            NATHAN, BREMER, DUMM & MYERS
604 PARKWYRTH AVE                      1200 LAKE DRIVE SE                          ANNE MYERS
BALTIMORE MD 21218                     APT #2                                      3900 E. MEXICO
                                       GRAND RAPIDS MI 49506                       SUITE 1000
                                                                                   DENVER CO 80210


NATHANIAL COLE                         NATHANIEL BUXHOEVEDEN                       NATHANIEL COOPER
3161 NORTH RIVERWOOD DRIVE             18 BARBARA CIRCLE                           9526 S. LOOMIS
TWIN LAKE MI 49457                     MASSAPEQUA NY 11758                         CHICAGO IL 60643




NATHANIEL FELICIANO                    NATHANIEL HALL                              NATHANIEL HUBBARD
7 BRIDLEWOOD CIRCLE                    3751 NW 43 PL                               85 EAST ROAD
ROLLING HILLS CA 90274                 LAUDERDALE LAKES FL 33309                   WADING RIVER NY 11792




NATHANIEL PARKER                       NATHANIEL SANDSTROM                         NATHANIEL SHEPPARD JR
202 W. FIRST STREET                    1017 S. CHARLES ST.                         1635 W JARVIS AVE
LOS ANGELES CA 90012                   BALTIMORE MD 21230                          CHICAGO IL 60626




NATHANIEL WALKER                       NATION, ELIZABETH                           NATIONAL AD FORCE INC
1459 EAST 66TH PLACE                   491 SEMINOLE AVE NE NO.23                   225 W CHICAGO    STE 325
CHICAGO IL 60637                       ATLANTA GA 30307                            CHICAGO IL 60610




NATIONAL AD FORCE INC                  NATIONAL ADOPTION CENTER                    NATIONAL ADVERTISING NETWORK INC
318 W GRAND AVE    STE 301             1500 WALNUT STREET SUITE 701                200 UNION BLVD SUITE 205
CHICAGO IL 60610                       PHILADELPHIA PA 19102                       LAKEWOOD CO 80228




NATIONAL ADVERTISING NETWORK INC       NATIONAL AERONAUTICS AND SPACE              NATIONAL ASSOC OF CREDIT MGMT
PO BOX 1989                            ADMIN, RE: TITUSVILLE KENNEDY SP CEN        777 S WADSWORTH BLVD STE 2-100
1630 MINER ST STE 204                  JOHN F. KENNEDY SPACE CTR "COLLECTIONS      LAKEWOOD CO 80226
IDAHO SPRINGS CO 80452                 AGENT"; MAIL CODE: GG-A
                                       KENNEDY SPACE CENTER FL 32899


NATIONAL ASSOC OF CREDIT MGMT          NATIONAL ASSOC OF CREDIT MGMT               NATIONAL ASSOCIATION OF BROADCASTERS
789 SHERMAN ST NO.380                  PO BOX 167688                               1771 NORTH STREET NORTH WEST
DENVER CO 80203                        IRVING TX 75016                             WASHINGTON DC 20036




NATIONAL ASSOCIATION OF BROADCASTERS   NATIONAL ASSOCIATION OF BROADCASTERS        NATIONAL ASSOCIATION OF CREDIT
PO BOX 1474                            PO BOX 3379                                 209 CANAL ST
WASHINGTON DC 20013                    FREDRICK MD 21705                           METAIRE LA 70005-3631




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NATIONAL ASSOCIATION OF CREDIT       NATIONAL ASSOCIATION OF CREDIT MNGMT       NATIONAL ASSOCIATION OF HISPANIC
3205 CLEARY AVE STE 4                PO BOX 21966                               1000 PRESS BUILDING
METAIRE LA 70002-5741                SEATTLE WA 98111-3966                      529 14TH STREET NW
                                                                                WASHINGTON DC 20045-2001



NATIONAL ASSOCIATION OF HISPANIC     NATIONAL ASSOCIATION OF HISPANIC           NATIONAL ASSOCIATION OF HISPANIC
1193 NATIONAL PRESS BLDG             941 NATIONAL PRESS BUILDING                CFN 13 20 N ORANGE AVE SUITE 13
529 14TH STREET NW                   WASHINGTON DC 20045                        ORLANDO FL 32801
WASHINGTON DC 20045



NATIONAL ASSOCIATION OF HISPANIC     NATIONAL ASSOCIATION OF HISPANIC           NATIONAL ASSOCIATION OF HISPANIC
JOURNALISTS                          JOURNALISTS                                JOURNALISTS
757 EAST 16TH ST                     504 SHAW RD SUITE 202                      1809 7TH AVE SUITE 1414
THE MEETING GROUP                    ATTN ROBY YATES & ASSOC                    SEATTLE WA 98101
HOUSTON TX 77008-4403                STERLING VA 20166


NATIONAL BENEFIT LIFE INSURANCE      NATIONAL CAPTIONING INSTITUTE              NATIONAL CARTOONISTS SOCIETY
PO BOX 7247-8844                     INC                                        19911 ROBERT LANE
PHILADELPHIA PA 19170-8844           1900 GALLOWS ROAD                          HUNTINGTON BEACH CA 92646
                                     SUITE 3000
                                     VIENNA VA 22182


NATIONAL CARTOONISTS SOCIETY         NATIONAL CARTOONISTS SOCIETY               NATIONAL CARTOONISTS SOCIETY
4848 QUEEN FLORENCE LANE             1133 W MORSE BLVD                          341 N MAITLAND AVE NO.130
WOODLAND HILLS CA 91364              NO.201                                     MAITLAND FL 32751
                                     WINTER PARK FL 32789



NATIONAL CINEMA NETWORK INC          NATIONAL CINEMA NETWORK INC                NATIONAL CITY MORTGAGE
1300 E 104TH STREET                  PO BOX 930456                              274 WESTFIELD STREET
SUITE 100                            KANSAS CITY MO 64193-0456                  WEST SPRINGFIELD CT 01689
KANSAS CITY MO 64131



NATIONAL CONFERENCE FOR COMMUNITY    NATIONAL CONFERENCE FOR COMMUNITY          NATIONAL CONFERENCE FOR COMMUNITY
AND JUSTICE-LOS ANGELES              COMMUNITY AND JUSTICE                      490 RIVERSIDE AVE
1055 WHILSHIRE BLVD                  4443 30TH ST                               WESTPORT CT 06880
SUITE 1615                           SAN DIEGO CA 92116
LOS ANGELES CA 90017-2499


NATIONAL CONFERENCE FOR COMMUNITY    NATIONAL CONFERENCE FOR COMMUNITY          NATIONAL CONFERENCE FOR COMMUNITY
ANDREA C KANDEL PHD                  COMMUNITY & JUSTICE                        AND JUSTICE
1095 DAY HILL ROAD SUITE 100         780 PROSPECT HILL RD                       1815 H STREET NW    NO.1050
WINDSOR CT 06095                     WINDSOR CT 06095                           WASHINGTON DC 20006



NATIONAL CONFERENCE FOR COMMUNITY    NATIONAL CONFERENCE FOR COMMUNITY          NATIONAL CONFERENCE FOR COMMUNITY
NATIONAL CAPITOL AREA REGION         7880 WEST OAKLAND PARK BLVD                AND JUSTICE
10 G ST NE STE 430                   SUITE 203                                  1640 W OAKLAND PARK BLVD STE 400
WASHINGTON DC 20002                  FT LAUDERDALE FL 33351                     FORT LAUDERDALE FL 33311



NATIONAL CONFERENCE FOR COMMUNITY    NATIONAL CONFERENCE FOR COMMUNITY          NATIONAL CONFERENCE FOR COMMUNITY
AND JUSTICE                          AND JUSTICE                                AND JUSTICE
7880 W OAKLAND PARK BLVD NO.303      1600 W COLONIAL DRIVE SUITE 200            27 E MONROE     STE 400
FT LAUDERDALE FL 33351               ORLANDO FL 32804                           CHICAGO IL 60603




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NATIONAL CONFERENCE FOR COMMUNITY          NATIONAL CONFERENCE FOR COMMUNITY         NATIONAL COUNCIL ON PUBLIC POLLS
AND JUSTICE                                COMMUNITY AND JUSTICE                     3399 NORTH RD
PO BOX 6505                                P O BOX 70939                             FOUNTAINE HALL   RM 127
RICHMOND VA 23230-0505                     RICHMOND VA 23229                         POUGHKEEPSIE NY 12580



NATIONAL DECORATING SERVICE INC            NATIONAL DECORATING SERVICE INC           NATIONAL ENVELOPE CORPORATION
2210 CAMDEN COURT                          2210 CAMDEN COURT                         16000 W 108TH ST
OAK BROOK IL 60521                         OAK BROOK IL 60523-1272                   LENEXA KS 66219-1335




NATIONAL ENVELOPE CORPORATION              NATIONAL ENVELOPE CORPORATION             NATIONAL GRAPHIC SUPPLY
PO BOX 9171                                PO BOX 820946                             ATTN: LAURI BLANCHARD
UNIONDALE NY 11555-9171                    PHILADELPHIA PA 19182-0946                226 N ALLEN STREET
                                                                                     ALBANY NY 12206



NATIONAL GRAPHX AND IMAGING                NATIONAL GRID                             NATIONAL GRID
9240 W BELMONT AVE 2W                      RE: GLENS FALLS ONE APOLLO DR             ACCT NO. 22285-71017
FRANKLIN PARK IL 60131                     ATTN: MISCELLANEOUS A/R DEPARTMENT        300 ERIE BLVD. WEST
                                           300 ERIE BLVD. WEST                       SYRACUSE NY 13252
                                           SYRACUSE NY 13202


NATIONAL GRID                              NATIONAL GRID                             NATIONAL GRID
ACCT NO. 26684-89014                       MISC. BILLING DEPT                        PO BOX 020690
300 ERIE BLVD. WEST                        300 ERIE BLVD. WEST                       BROOKLYN NY 11202-9965
SYRACUSE NY 13252                          SYRACUSE NY 13202



NATIONAL GRID                              NATIONAL GRID                             NATIONAL GRID
PO BOX 29212                               PO BOX 9037                               PO BOX 9040
BROOKLYN NY 11202-9212                     HICKSVILLE NY 11802-9037                  HICKSVILLE NY 11801




NATIONAL GRID                              NATIONAL GRID                             NATIONAL HEADLINER AWARDS
PO BOX 9083                                300 ERIE BLVD. WEST                       226 MT VERNON AVE
MELVILLE NY 11747                          SYRACUSE NY 13252                         NORTHFIELD NJ 08225




NATIONAL HEADLINER AWARDS                  NATIONAL HISPANIC MEDIA                   NATIONAL HISPANIC MEDIA
C/O ERIKA MELHORN                          1201 W 5TH ST  STE T-205                  55 GRAND AVE
14 COLGATE RD                              LOS ANGELES CA 90017                      PASADENA CA 91105
SOMER PT NJ 08244



NATIONAL LABOR RELATIONS BOARD             NATIONAL LIFE INSURANCE COMPANY           NATIONAL LIFE INSURANCE COMPANY
DEPT. OF INSURANCE SUPERVISION AND         PO BOX 371894                             1 NATIONAL LIFE DR
COMPLIANCE; PBGC; % CHARLES E.F. MILLARD   PITTSBURGH PA 15250-7894                  MONTPELIER VT 05604
1200 K STREET, NW, STE 270
WASHINGTON DC 20005-4026


NATIONAL LIFT TRUCK INC                    NATIONAL LIFT TRUCK INC                   NATIONAL LIFT TRUCK SERVICE
3333 MT PROSPECT RD                        DEPT 203016                               1901 NW 2ND STREET
FRANKLIN PARK IL 60131                     PO BOX 5977                               ATTN: JOHN MALACOS
                                           CAROL STREAM IL 60197-5977                FORT LAUDERDALE FL 33311




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NATIONAL MERIT SCHOLARSHIP CORP        NATIONAL MERIT SCHOLARSHIP CORP            NATIONAL MOBILE BILLBOARDS LLC
1560 SHERMAN AVE     STE 200           PO BOX 99389                               5101 NW 21 AVE SUITE 340
ATTN FINANCE DEPT                      CHICAGO IL 60693-9389                      FORT LAUDERDALE FL 33309
EVANSTON IL 60201-4897



NATIONAL MOBILE BILLBOARDS LLC         NATIONAL MOBILE BILLBOARDS LLC             NATIONAL MOBILE TELEVISION
PO BOX 190153                          PO BOX 39812                               2740 CALIFORNIA ST
FT LAUDERDALE FL 33319                 FT LAUDERDALE FL 33339-9812                TORRANCE CA 90503




NATIONAL MOBILE TELEVISION             NATIONAL MULTIPLE SCLEROSIS SOCIETY        NATIONAL MULTIPLE SCLEROSIS SOCIETY
PO BOX 79510                           TRAINING AND RESOURCE CENTER               CHERYL L DONATI EXEC VP
CITY OF INDUSTRY CA 91716-9510         700 BROADWAY SUITE 810                     695 TOWER AVENUE 1ST FLOOR
                                       DENVER CO 80203                            HARTFORD CT 06112



NATIONAL MULTIPLE SCLEROSIS SOCIETY    NATIONAL MULTIPLE SCLEROSIS SOCIETY        NATIONAL MULTIPLE SCLEROSIS SOCIETY
910 W VAN BUREN                        700 THIRD AVE                              760 LYNNHAVEN PRKWAY STE 201
4TH FLOOR                              NEW YORK NY 10017-3288                     VIRGINIA BEACH VA 23452
CHICAGO IL 60607



NATIONAL OUTDOOR MEDIA NETWORKS INC    NATIONAL PARCEL LOGISTICS                  NATIONAL PRESS FOUNDATION
100 WEST BROADWAY STE 220              5415 W SLIGH AVE   NO.110                  1211 CONNECTICUT AVE NW STE 310
LONG BEACH CA 90802                    TAMPA FL 33634                             WASHINGTON DC 20036




NATIONAL PUBLIC RADIO                  NATIONAL RAILROAD PASSENGER CORP           NATIONAL RAILROAD PASSENGER
PO BOX 79540                           RE: HARTFORD 11 FLOWER STREET              RE: NATIONAL RAILROAD PASSENG
BALTIMORE MD 21279-0540                PO BOX 18266F, GROUP S                     23615 NETWORK PLACE - GROUP 5
                                       ST. LOUIS MO 63150                         CHICAGO IL 60673-1236



NATIONAL RAILROAD PASSENGER            NATIONAL RAILROAD PASSENGER                NATIONAL RAILROAD PASSENGER
RE: NATIONAL RAILROAD PASSENG          RE: NATIONAL RAILROAD PASSENG              60 MASSACHUSETTS AVE NE
30TH STREET STATION                    ATT:SENIOR V.P., REAL ESTATE DEVELOPMENT   WASHINGTON DC 20003
4 SOUTH                                30TH STREET STATION, 4 SOUTH
PHILADELPHIA PA 19104                  PHILADELPHIA PA 19104


NATIONAL RAILROAD PASSENGER            NATIONAL RAILROAD PASSENGER                NATIONAL SIGNS, INC
23615 NETWORK PLACE GROUP 5            GP 5 REAL ESTATE DEPT                      2611 EL CAMINO ST
CHICAGO IL 60673-1236                  PO BOX 18266F                              HOUSTON TX 77054
                                       ST LOUIS MO 63150



NATIONAL SKY ADS INC                   NATIONAL TRAINING ALLIANCE                 NATIONAL TRAINING ALLIANCE
1805 GRAND AVE                         12236 WATERSONG LANE NO.6                  9245 LAGUNA SPRINGS DR STE 315
MATTITUCK NY 11952                     WILTON CA 95693                            ELK GROVE CA 95758




NATIONAL WESTMINSTER BANK              NATIONWIDE LIFE INSURANCE                  NATIONWIDE LIFE INSURANCE
ATTN: ROBIN MULVANEY                   ATTN: PPA SUPPORT                          ONE NATIONWIDE PLAZA
PO BOX 158 GB - 214 HIGH HOLBORN       DEPT. 0890                                 COLUMBUS OH 43215-2220
LONDON WC1V 7BW                        COLUMBUS OH 43271-0890




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NATIONWIDE LIFE INSURANCE              NATIONWIDE NEWS PTY LTD                    NATIONWIDE NEWS PTY LTD
PO BOX 644022                          2 HOLT ST                                  NATIONWIDE NEWS ACCOUNTS RECEIVABLE
CINCINNATI OH 45264-4022               SURRY HILLS, NSW 2010                      LOCKED BAG 310
                                                                                  SILVERWATER, NSW 1811



NATIONWIDE RESTORATION LLC             NATIONWIDE SURVEYS                         NATSURA PITAKSKUL
4525 AIRLINE DR                        1397 GOLDENEAGLE DR                        729 S HARVEY AVENUE
METAIRIE LA 70001                      CORONA CA 92879                            OAK PARK IL 60304




NATURAL HERITAGE TRUST                 NATURAL HERITAGE TRUST                     NATURE CONSERVANCY
C/O LIVC                               PO BOX 247                                 TERRY GRADY, CORP DONOR RELATIONS MGR
58 HILTON AVENUE                       BABYLON NY 11702                           55 HIGH ST
HEMPSTEAD NY 11550                                                                MIDDLETOWN CT 06426-0950



NATURES DELIGHT ICE CREAM              NATURES DELIGHT ICE CREAM                  NATYSYN, MICHAEL L
2021 SW 70TH AVE B13                   4457 N STATE RD 7                          1466 PENNSYLVANIA AV
DAVIE FL 33317                         LAUDERDALE LAKES FL 33319                  EMMAUS PA 18049




NAU, HENRY R                           NAU, HENRY R                               NAU, PHILIPPE G
7409 RIVER FALLS DR                    7409 RIVER FALLS DR                        2101 NW 111 AVE
POTOMAC MD 20554                       POTOMAC MD 20854                           SUNRISE FL 33322




NAULTA, JESSICA                        NAVA, FRANCISCO                            NAVARRA, MICHAEL
67 CARTER RD                           6031 W LAWRENCE NO.2                       117 HOLIDAY LN
GRIFFIN GA 30224                       CHICAGO IL 60630                           WINTER SPRINGS FL 32708




NAVARRETE MENA, JAIME                  NAVARRETE, MARIA ISABEL                    NAVARRO, PETER
201 RACQUET CLUB RD   APT S103         520 RODFORD TERRACE                        20348 SUN VALLEY DR
WESTON FL 33326                        DAVIE FL 33325                             LAGUNA BEACH CA 92051




NAVARRO, PETER                         NAVARRO, REINALDO ENRIQUE                  NAVARRO, TERRY
20348 SUN VALLEY DR                    BARRIO 12 DE MARZO                         8831 NW 13TH ST
LAGUNA BEACH CA 92651                  CALLE INDEPENDENCIA CASA NO.11             PEMBROKE PINES FL 33024
                                       PTO CABELLO
                                       CARABOBO


NAVARRO,MILAGROS                       NAVAS, ANTHONY                             NAVEEN SHARMA
8330 NW 15TH CT                        301 BONAVENTURE BLVD APT 10                16 N. RIVER ROAD
PEMBROKE PINES FL 33024                WESTON FL 33326-3412                       NAPERVILLE IL 60540




NAVIA WATSON                           NAVIGANT CONSULTING INC                    NAVIGANT CONSULTING INC
721 UNION DRIVE                        135 S LASALLE DEPT 4507                    30 S WACKER DRIVE SUITE 3400
UNIONDALE NY 11553                     CHICAGO IL 60674-4507                      CHICAGO IL 60606




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NAVIGANT CONSULTING INC                 NAVISTAR LEASING COMPANY                  NAVTEQ NORTH AMERICA LLC
4511 PAYSPHERE CIRCLE                   PO BOX 98454                              425 W RANDOLPH ST
CHICAGO IL 60674                        CHICAGO IL 60693                          CHICAGO IL 60606




NAVTEQ NORTH AMERICA LLC                NAXCOM EXCHANGE INC                       NAZAIRE, FRANCOIS
TRAFFIC COM                             9841 AIRPORT BLVD SUITE 832               7 ELTON PLACE
6461 PAYSPHERE CIRCLE                   LOS ANGELES CA 90045                      BOYNTON BEACH FL 33426
CHICAGO IL 60674



NAZARETH AREA BLUE EAGLE BAND PARENTS   NAZARETH AREA CHAMBER OF COMMERCE         NAZARETH AREA CHAMBER OF COMMERCE
484 BUSHKILL CENTER RD                  201 NORTH MAIN ST                         PO BOX 173
NAZARETH PA 18064                       NAZARETH PA 18064                         NAZARETH PA 18064




NAZARETH FOOTBALL BOOSTER CLUB          NAZARETYAN, ASLIN                         NAZIM DONAWA
NAZARETH AREA SCHOOL DISTRICT           2550 SW 18TH PLACE NO.1901                15 AUTUMN BLAZE COURT
27 HENRY AVENUE                         FT LAUDERDALE FL 33315                    WOODSTOCK MD 21163
NAZARETH PA 18064



NB FINISHING INCORPORATION              NB TAMARAC COMMERCE CENTER LLC            NBA TAMARAC
1075 MORSE AVE                          2005 W CYPRESS CREEK RD NO.202            RE: SUNRISE WEST OFFICE
SCHAUMBURG IL 60193                     FT LAUDERDALE FL 33309                    C/O BUTTERS & BUTTERS
                                                                                  2005 W. CYPRESS CREEK RD., SUITE 202
                                                                                  FT. LAUDERDALE FL 33309


NBC SUBSIDIARY (WCAU-TV), LP            NBC SUBSIDIARY (WCAU-TV), LP              NBC SUBSIDIARY WTVJ-TV LP
C/O NBC UNIVERSAL CPS                   10 MONUMENT RD                            15000 SW 27TH ST
BANK OF AMERICA                         BALA CYNWYD PA 19004                      MIRAMAR FL 33027
NBC UNIVERSAL LOCK BOX 402971
ATLANTA GA 30384-2871


NBC SUBSIDIARY WTVJ-TV LP               NBC SUBSIDIARY WTVJ-TV LP                 NBC SUBSIDIARY WTVJ-TV LP
BANK OF AMERICA                         NBC UNIVERSAL CFS - BANK OF AMERICA       NATIONAL BROADCASTING COMPANY
LOCK BOX 402217                         NBC UNIVERSAL LOCKBOX 402971              30 ROCKEFELLAR PLZA RM 5130E
6000 FELOWOOD RD                        ATLANTA GA 30384-2971                     NEW YORK NY 10112
COLLEGE PARK GA 30349


NBC UNIVERSAL DOMESTIC TELEVISION       NBC UNIVERSAL TELEVISION DIST.            NC DEPT OF ENVIRONMENT
DISTRIBUTION                            312 BLVD. OF THE ALLIES                   & NATURAL RESOURCES
ATTN: BARRY WALLACH, PRESIDENT          2ND FLOOR                                 1601 MAIL SERVICE CENTER
30 ROCKEFELLER PLAZA                    PITTSBURGH PA 15222                       RALEIGH NC 27699-1601
NEW YORK NY 10112


NC DEPT OF REVENUE                      NC DIVISION OF POLLUTION PREVENTION       NC RESOURCE GROUP
PO BOX 25000                            & ENVIRONMENTAL ASSISTANCE                273 WILDBRIAR RD
RALEIGH NC 27640-002                    1639 MAIL SERVICE CENTER                  FLETCHER NC 28732
                                        RALEIGH NC 27699-1639



NCAMA                                   NCH MARKETING SERVICES                    NCH MARKETING SERVICES
70 WASHINGTON ST NO.214                 PO BOX 189                                75 TRI-STATE INTERNATIONAL
SALEM MA 01970                          MONTEBELLO CA 90640                       SUITE 400
                                                                                  LINCOLNSHIRE IL 60069-4443




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NCH MARKETING SERVICES                  NCH MARKETING SERVICES                     NCI MOBILITY LLC
PO BOX 71945                            PO BOX 95461                               211 EAST GRAND AVE
CHICAGO IL 60694-1945                   CHICAGO IL 60694-5461                      CHICAGO IL 60611




NCO FINANCIAL SYSTEMS INCORPORATED      NCO FINANCIAL SYSTEMS INCORPORATED         NCO FINANCIAL SYSTEMS INCORPORATED
3434 E 22ND ST                          PO BOX 20367                               3850 N CAUSEWAY BLVD
TUCSCON AZ 85713                        TAMPA FL 33622-0367                        STE 200
                                                                                   METAIRIE LA 70002



NCO FINANCIAL SYSTEMS INCORPORATED      NCO FINANCIAL SYSTEMS INCORPORATED         NCO FINANCIAL SYSTEMS INCORPORATED
CREDIT REPORTING SERVICES               PO BOX 7768                                PO BOX 8708
PO BOX 7825                             METAIRIE LA 70010                          METAIRIE LA 70010
METAIRIE LA 70010



NCO FINANCIAL SYSTEMS INCORPORATED      NCO FINANCIAL SYSTEMS INCORPORATED         NCO FINANCIAL SYSTEMS INCORPORATED
1350 BLAIR DR SUITE H                   PO BOX 6489                                COLLECTIONS
ODENTON MD 21113-1337                   BALTIMORE MD 21230                         1128 BLOWING ROCK ROAD
                                                                                   BOONE NC 28607



NCO FINANCIAL SYSTEMS INCORPORATED      NCO FINANCIAL SYSTEMS INCORPORATED         NCO FINANCIAL SYSTEMS INCORPORATED
500 N FRANKLIN TURN PIKE                METAIRIE COMMERCIAL                        COMMERCIAL DIVISION W510202
RAMSEY NJ 07446-0585                    PO BOX 931073                              PO BOX 7777
                                        CLEVELAND OH 44193                         PHILADELPHIA PA 19175-0202



NCO FINANCIAL SYSTEMS INCORPORATED      NCO FINANCIAL SYSTEMS INCORPORATED         NCO FINANCIAL SYSTEMS INCORPORATED
PO BOX 41457                            PO BOX 41466                               PO BOX 7777-W2250
PHILADELPHIA PA 19101-1457              PHILADELPHIA PA 19101-1466                 PHILADELPHIA PA 19175-2250




ND DELIVERY SERVICE INC                 NDIOGOU BA                                 NDR ENTERTAINMENT LLC
89-26 DORAN AVE                         2924 SOUTHLAND AVENUE                      3 ROBIN COURT
GLENDALE NY 11385                       BALTIMORE MD 21225                         BETHPAGE NY 11714




NEAL PRESTON                            NEAL ROE                                   NEAL V VANFOSSEN
341 LEITCH                              5290 COMPASS POINTE CIRCLE                 8538 WELLS STREET
LAGRANGE IL 60525                       VERO BEACH FL 32966                        ROSEMEAD CA 91770




NEAL VANSELOW                           NEAL ZIMMERMAN                             NEAL, CHRISTOPHER
17 E. HUDSON RIVER DRIVE                51 CASTLE HILL COURT                       476 CLINTON AVE NO.4B
P.O. BOX 31                             VALLEJO CA 94591                           BROOKLYN NY 11238
RIPARIUS NY 12862



NEAL, MICHAEL                           NEAL, NICHOLAS                             NEAL, TIWANA
66 4TH AVE   APT 2F                     832 PIPERS CAY                             1721 N MANSARD BLVD APT 2L
BROOKLYN NY 11217                       WEST PALM BEACH FL 33406                   GRIFFITH IN 46319-1444




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NEALY, ANDRE                           NEAR SOUTH PLANNING BOARD                  NEASI WEBER INTERNATIONAL
817 NW 108 TERRACE                     1727 S INDIANA AVE STE G02A                25115 AVE STANFORD STE 300
PEMBROKE PINES FL 33026                CHICAGO IL 60616                           VALENCIA CA 91355




NEASI WEBER INTERNATIONAL              NEASI WEBER INTERNATIONAL                  NEASI WEBER INTERNATIONAL
25115 AVE STANFORD STE A 300           8550 BALBOA BOULVARD                       SANDRA ROPER CONF DIRECTOR
VALENCIA CA 91355                      SUITE 100                                  C/O THE ATLANTA JOURNAL CONSTITUTIO
                                       NORTHRIDGE CA 91325                        PO BOX 4689
                                                                                  ATLANTA GA 30303


NEATLY CHISELED FEATURES               NEBENZAHL, ANNE                            NEBHRAJANI, ROSHAN
N1870 LORAMOOR DR                      21597 KAPOK CIRCLE                         9310 SW 6TH COURT
LAKE GENEVA WI 53147                   BOCA RATON FL 33433                        PEMBROKE PINES FL 33025




NEBIYU BERHE                           NEBRASKA DEPT OF                           NEC UNIFIED SOLUTIONS INC
1147 W. PRATT BLVD.                    ENVIRONMENTAL QUALITY                      720 BAY ROAD
APT #3E                                1200 "N" STREET, SUITE 400                 STE 100
CHICAGO IL 60626                       PO BOX 98922                               REDWOOD CITY CA 94063
                                       LINCOLN NE 68509


NEC UNIFIED SOLUTIONS INC              NEC UNIFIED SOLUTIONS INC                  NED E KERFOOT
LOCKBOX EAST                           6535 N STATE HIGHWAY 161                   2317 SALT LAKE RD
P O BOX 905362                         IRVING TX 75039-2402                       WHITEHALL MD 21161
CHARLOTTE NC 28290-5362



NED LEVINE                             NED WELSH                                  NEDEDOG, JETHRO
301 FRANKEL BLVD                       22484 PAUL REVERE DRIVE                    28 EASTERN AVENUE
MERRICK NY 11566                       CALABASAS CA 91302                         PASADENA CA 91107




NEDEROSTEK, CYNTHIA                    NEDFAR CORP                                NEDIC, MILAN
3112 TERRACE CIRC                      3585 AMHERST DR                            581 BRIGHTVIEW DR
WHITEHALL PA 18052                     WANTAGH NY 11793                           STE 2603
                                                                                  LAKE MARY FL 32746



NEDRIC WIEDER                          NEEDHAM SERVICES                           NEEDIEST KIDS FUND
214 S 5TH STREET                       363 FORBELL ST                             435 N MICHIGAN
EMMAUS PA 18049                        BROOKLYN NY 11208                          C/O BOYS & GIRLS CLUBS OF CHGO
                                                                                  CHICAGO IL 60610



NEEDIEST KIDS FUND                     NEELY III, SAMUEL                          NEELY, JACK W
435 N MICHIGAN                         2601 N 64TH AVE.                           7200 THIRD AVE C-048
CHICAGO IL 60611                       HOLLYWOOD FL 33024                         SYKESVILLE MD 21784




NEELY, MARY JANE                       NEELY, RAMONA                              NEERMAN, MARK
3545 DOWNING AVE                       5653 SO PAULINA                            235 BERRY STREET NO.304
GLENDALE CA 91208                      CHICAGO IL 60636                           SAN FRANCISCO CA 94158




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NEFATORI RILEY                        NEFF, DAVID A                              NEFF, JAMES D
6127 S. COTTAGE GROVE                 140 SE 3 ST                                723 CHESTNUT STREET
APT #2W                               POMPANO BEACH FL 33060                     CADILLAC MI 49601
CHICAGO IL 60637



NEFF, LAWRENCE                        NEFF, SUE M                                NEFF, SUSAN
1169 PENN DR                          217 N ST CLOUD STREET                      86 GREENWOOD ST
ANDREAS PA 18211                      ALLENTOWN PA 18104                         WILLIMANTIC CT 06226-1418




NEFTALY SANCHEZ                       NEGRI, DIANNE M                            NEGRI, JOSEPH
3833 S HARVEY                         1533 S SURREY RIDGE DR                     903 LENAPE CIR
BERWYN IL 60402                       ARLINGTON HTS IL 60005                     CATASAUQUA PA 18032




NEGRIN, MATTHEW                       NEGRON, ANDREA SUZANNE                     NEGRON, JASON
9260 EL JAMES DR                      8409 WINDSOR DR                            65 DEERFIELD AVENUE
FAIRFAX VA 22032                      MIRAMAR FL 33025                           HARTFORD CT 06112




NEGRON-RENTAS, LUIS E                 NEIDIG,BERNICE                             NEIGHBOR TO NEIGHBOR OF AMERICA INC
3313 NW 14TH AVE                      1215 PERICLES PLACE APT. 1                 PO BOX 546
POMPANO BEACH FL 33064                WHITEHALL PA 18052                         AGAWAM MA 01001




NEIKIRK, WILLIAM                      NEIL ALMQUIST                              NEIL BEST
5121 N 38TH STREET                    75 PROSPECT STREET                         207 DELLWOOD RD
ARLINGTON VA 22207                    STAFFORD SPRINGS CT 06076                  METUCHEN NJ 08840




NEIL CAPPETTA                         NEIL GIURINTANO                            NEIL HANSEN
ONE CORPORATE CENTER                  1215 N. DUPRE                              2305 PINE AVENUE
C/O WTIC - TV                         NEW ORLEANS LA 70119                       RONKONKOMA NY 11779
HARTFORD CT 06103



NEIL HONIGFELD                        NEIL KAMINSKY                              NEIL LAFERTY
2396 LONG HILL ROAD                   37 COLES AVENUE                            680 S FEDERAL STREET
GUILFORD CT 06437                     NEWINGTON CT 06111                         APT # 704
                                                                                 CHICAGO IL 60605



NEIL LASSANDRO                        NEIL LEVINE                                NEIL LIPPERT
1260 N. DEARBORN PKWY                 1034 HAVENHURST DRIVE                      132 OLD STAGE ROAD
APT. #512                             LOS ANGELES CA 90046                       TOANO VA 23168
CHICAGO IL 60610



NEIL LUCCHETTI                        NEIL MACDONALD                             NEIL MANAUSA
20018 EAST BRIGHTWAY                  24 WRANGLER CT                             43725 RALEIGH PLACE
MOKENA IL 60448                       CHICO CA 95928-6241                        ASHBURN VA 20147




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NEIL MC ANALLY                       NEIL MICHAEL ROSS                          NEIL MILBERT
5222 LEXINGTON AVENUE                4943 W. AINSLIE                            2201 CRESTVIEW LANE
APT. #17                             CHICAGO IL 60630                           WILMETTE IL 60091
LOS ANGELES CA 90029



NEIL VIGDOR                          NEIL ZLOZOWER PHOTO INC                    NEIL, DANIEL NOLAN
271 GREENWICH AVENUE                 660 B SWEETZER PENTHOUSE 303               3912 BRILLIANT WAY
APT. 3C                              LOS ANGELES CA 90048                       LOS ANGELES CA 90065
GREENWICH CT 06830



NEILE, CARMEN S                      NEILL, ROBERT G                            NEILSON, LAURA
48 SW 9 TERRACE                      336 NORTH BIRCH ROAD                       58 E 1ST ST NO.6C
BOCA RATON FL 33486                  APT 10-H                                   NEW YORK NY 10003
                                     FORT LAUDERDALE FL 33304



NEIMAN WONG                          NELA TERNES REGISTER GROUP                 NELA TERNES REGISTER GROUP
923 S. BISHOP                        4851 WHITE BEAR PARKWAY                    7435 4TH STREET NORTH
2                                    ATT: RICK HUGHES                           OAKDALE MN 55128
CHICAGO IL 60607                     WHITE BEAR TOWNSHIP MN 55110



NELA TERNES REGISTER GROUP           NELE CORNELIS                              NELEN, MARY
PO BOX 1450                          3906 BRYANT PARK CIRCLE                    1712 NORTHAMPTON ST
NW 7740                              BURTONSVILLE MD 20866                      HOLYOKE MA 01040
MINNEAPOLIS MN 55485-7740



NELLIE MITCHELL                      NELLIS, BARBARA                            NELLY RICHARDSON
149 N. MASON                         2346 N GENEVA TERRACE                      6908 LAEHLAN CIRCLE
CHICAGO IL 60644                     CHICAGO IL 60614                           APT # 1
                                                                                BALTIMORE MD 21239



NELSON COFFIN                        NELSON DUREG                               NELSON GONZALEZ
734 OVERBROOK RD.                    1911 ALTA OAKS DRIVE                       2436 N KILDARE
BALTIMORE MD 21212                   ARCADIA CA 91006                           CHICAGO IL 60639




NELSON HOWARD                        NELSON INSULATION COMPANY                  NELSON MARTINEZ
5143 S. HARPER                       366 HOLLOW HILL DRIVE                      79 HOPE STREET
CHICAGO IL 60615                     WAUCONDA IL 60084                          APT. 31C
                                                                                STAMFORD CT 06906



NELSON MATOS                         NELSON MATSUKAWA                           NELSON TARUC
2860 N. POWERS DR.                   7812 JENNIFER CIRCLE                       1035 N. TAYLOR AVE.
ORLANDO FL 32818                     LA PALMA CA 90623                          OAK PARK IL 60302




NELSON, ADA                          NELSON, ARDEN                              NELSON, BRYN
1525 AMHERST LN                      1252 N MILWAUKEE AVE                       794 MANHATTAN AVE      APT 4R
STE 2314                             CHICAGO IL 60622                           BROOKLYN NY 11222
KISSIMMEE FL 34744




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NELSON, CAROL                          NELSON, CAROLYN                             NELSON, CHRIS
7 VARNEY ST                            1307 N. LOREL                               1239 GLENHEATHER DR
HADLEY NY 12835                        CHICAGO IL 60651                            WINDERMERE FL 34786




NELSON, CHRISTOPHER E                  NELSON, DANA D                              NELSON, DOUGLAS
5017 TRUESDALE AVE                     6508 RADCLIFF DRIVE                         41 BERKELY PL
BALTIMORE MD 21206                     NASHVILLE TN 37221                          NEWINGTON CT 06111




NELSON, DOUGLAS                        NELSON, EDOUARD                             NELSON, ERIC L
41 BERKLEY PL                          18203 SW 3RD ST                             2860 CHAYES PARK DR APT C
*DROP                                  PEMBROKE PINES FL 33029                     HOMEWOOD IL 60430
NEWINGTON CT 06111-3603



NELSON, FRANCIS FRANK                  NELSON, GREGORY P                           NELSON, HERBERT
134 POR LA MAR CIRCLE                  26401 VIA GALICIA                           721 W BASELINE RD
SANTA BARBARA CA 93103                 MISSION VIEJO CA 92691                      GLENDORA CA 91740




NELSON, JOHN C                         NELSON, KATHERINE                           NELSON, KRISTY
1144 CORDELL STREET                    14 W ELM ST NO.603                          4261 NW 36TH TERRACE
DENTON TX 76201                        CHICAGO IL 60610-7138                       LAUDERDALE LAKES FL 33309




NELSON, KYLE G                         NELSON, MATTHEW                             NELSON, MIKE
11800 UNF DRIVE NO.3269                21 EDGARTON RD                              9582 S QUEESN CLIFFE COURT
JACKSONVILLE FL 32224-2645             COLUMBIA CT 06237                           HIGHLANDS RANCH CO 80130




NELSON, NIKKI S                        NELSON, ROBERT                              NELSON, ROBERT
2260 NW 10TH CT                        6807 BONNIE RIDGE DRIVE APT 102             1131 JUGADOR COURT
POMPANO BCH FL 33069                   BALTIMORE MD 21209                          LAKE SAN MARCOS CA 92078




NELSON, ROBERT C                       NELSON, ROBERT C                            NELSON, SAMANTHA
1600 HOP MEADOW ST NO.52               PO BOX 920                                  1420 CHICAGO AVE  APT 2C
SINGBURY CT 06070                      AVON CT 06001                               EVANSTON IL 60201




NELSON, SHELTON                        NELSON, STEFFIE                             NELSON, STEPHANIE
1800 ORCUTT AVE                        2310 ECHO PARK AVE                          395 NW 177TH STREET APT 103
NEWPORT NEWS VA 23607                  LOS ANGELES CA 90026                        MIAMI FL 33169




NELSON, TERRANCE                       NELSON, TIA                                 NELSON-LOTT, CHRISTINE
2890 NW 38 AVE                         2574 NW 62ND TERRACE                        3610 NW 4TH ST
LAUDERDALE LAKES FL 33311              MARGATE FL 33063                            FORT LAUDERDALE FL 33311




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NELSON-ZALESKI, ANDREW                 NELTHA SINSMY                               NEMEC, RICHARD O
105 TULIP STREET                       641 NE 37TH ST.                             12075 PALMS
ISHPEMING MI 49849                     POMPANO BEACH FL 33064                      LOS ANGELES CA 90066-1923




NEMEH, JAMAL                           NEMES, JUDITH                               NEMETH, CAROLYN
3328 S FRONT ST                        1340 W WEBSTER AVE                          5130 STONE TERRACE DR
WHITEHALL PA 18052                     CHICAGO IL 60614                            WHITEHALL PA 18052




NEMETH, ISTVAN                         NEMETHY, LORI                               NENA ROMERO
1720 CLEVELAND STREET #E110            ACCT NO.0773                                4127 MANOR COURT
HOLLYWOOD FL 33020                     2733 LONGVIEW DR                            LOS ANGELES CA 90065
                                       LISLE IL 60532



NENA SNOW                              NENSCO                                      NENSCO
7609 S. EUCLID                         8389 BAKER NO.23                            C/O DR PRESS
CHICAGO IL 60649                       RANCHO CUCAMONGA CA 91730                   1215 LARAMIE AVE
                                                                                   CICERO IL 60804



NENSCO                                 NENSCO                                      NENSCO
9 RAILROAD AVE                         ATTN: CARMEN                                NEW ENGLAND ROLLER
P.O. BOX 348                           ACCTNO. 100370                              PO BOX 414782
MILLBURY MA 01527-0348                 49 RAILROAD AVENUE                          BOSTON MA 02241-4782
                                       MILLBURY MA 01527-4199


NENSCO                                 NENSCO                                      NENSCO
P.O. BOX 348                           PO BOX 348                                  PO BOX 348
MILLSBURY MA 01527-0348                9 RAILROAD AVE                              347-7377 REGINA X375
                                       MILLBURY MA 01527-0348                      446-9664 DAVID/ MARYX24
                                                                                   MILLBURY MA 01527-0348


NENSCO                                 NENSCO                                      NEOPOST INC
PO BOX 37                              PO BOX 474782                               PO BOX 1183
WESTWOOD MA 02090                      BOSTON MA 02241-4782                        UNION CITY CA 94587




NEOPOST INC                            NEOPOST INC                                 NEOPOST INC
PO BOX 45800                           PO BOX 45845                                P.O. BOX 73727
SAN FRANCISCO CA 94145                 SAN FRANCISCO CA 94145-0845                 CHICAGO IL 60673




NEOPOST INC                            NEOPOST INC                                 NEOPOST INC
PO BOX 70981                           PO BOX 73727                                PO BOX 73740
CHICAGO IL 60673-0981                  CHICAGO IL 60673-7727                       CHICAGO IL 60673-7740




NEOPOST INC                            NEOPOST INC                                 NEOPOST LEASING
LOCK BOX 4715                          20 PETRA LANE                               30955 HUNTWOOD AVENUE
8725 WEST SAHARA                       20 PETRA LANE                               HAYWARD CA 94544
THE LAKES NV 86163                     ATTN PAUL T OUINET
                                       ALBANY NY 12205




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NEOPOST LEASING                       NEOPOST LEASING                             NEOPOST LEASING
PO BOX 45800                          PO BOX 45822                                PO BOX 70981
SAN FRANCISCO CA 94145-0800           SAN FRANCISCO CA 94145-0822                 CHICAGO IL 60673-0981




NEOPOST LEASING                       NEOPOST LEASING                             NERABU DAY
PO BOX 73727                          PO BOX 73740                                3600 SW 32ND AVE
CHICAGO IL 60673-1727                 CHICAGO IL 60673-7740                       HOLLYWOOD FL 33023




NEREIM, VIVIAN                        NERILIA INALIEN                             NERL, DARYL C
4546 N LEAVITT                        497 NW 40TH COURT                           21 FRONT STREET
CHICAGO IL 60625                      APT 2                                       CATASAUQUA PA 18032
                                      OAKLAND PARK FL 33309



NERO, PAUL                            NERO, TORI A                                NERSES BOYADJIAN
609 1/2 WASHINGTON RD                 3785 IMPERIAL HILL CT                       1388 N. BRIAN AVE
VENICE CA 90292                       SNELLVILLE GA 30039                         AZUSA CA 91702




NESER, MICHELLE I                     NESLY ABEL                                  NESSEL, LEE
2064 F CANBERRA CT                    261 NW 42ND STREET                          1948 CRANE CREEK BLVD
LANGLEY VA 23665                      APT 2                                       MELBOURNE FL 32940
                                      OAKLAND PARK FL 33309



NESSET, JONATHAN JAY                  NESTANT, JEAN                               NESTARES, FEDERICO
1509 W SUPERIOR                       1712 SW 70TH WAY                            18 BROWN ST
CHICAGO IL 60622                      N LAUDERDALE FL 33068                       BLOOMFIELD CT 06002




NESTEL, MATTHEW LAWRENCE              NESTOR COSTAS                               NET LINX PUBLISHING SOLUTIONS
201 E 31 ST APT 33                    1423 N. CLINTON AVENUE                      ATTN: COLLEEN RICE
NEW YORK NY 10016                     BAY SHORE NY 11706                          1300 NATIONAL DR
                                                                                  SACRAMENTO CA 95834



NET LINX PUBLISHING SOLUTIONS         NET LINX PUBLISHING SOLUTIONS               NET-LINX PUBLISHING SOLUTIONS INC
MILES 33 INC                          1428 E ELLSWORTH RD                         1300 NATIONAL DR
3900 LENNANE DR STE 100               ANN ARBOR MI 48108                          SACRAMENTO CA 95834
SACRAMENTO CA 95834-2918



NET-LINX PUBLISHING SOLUTIONS INC     NETBURN, DEBORAH                            NETHERBY, JENNIFER
1428 E ELLSWORTH RD                   1445 ALLESANDRO ST                          132 N CLARK APT 204
ANN ARBOR MI 48108                    LOS ANGELES CA 90026                        BEVERLY HILLS CA 90211




NETHERLAND WALKER                     NETO, REGIANE                               NETRATINGS INC
69 GORDON LANE                        6909 ALOMA AVE NO.20                        890 HILLVIEW COURT SUITE NO.300
EAST HARTFORD CT 06118                STE 2208                                    MILPITAS CA 95035
                                      WINTER PARK FL 32792




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NETRATINGS INC                        NETRATINGS INC                             NETREFA, JOANNE L
PO BOX 361658                         LOCK BOX NO.24150                          305 BRIDGEWATER LANE
MILPITAS CA 95036                     24150 NETWORK PLACE                        BLOOMINGDALE IL 60108
                                      CHICAGO IL 60673



NETTER, PAUL                          NETTIE A GUNDERSON                         NETVERSANT SOLUTIONS - CHESAPEAKE
615 N WHITNELL #309                   5707 N ORIOLE AVE                          900 N LEHIGH ST
BURBANK CA 91505                      CHICAGO IL 60631                           BALTIMORE MD 21205




NETVERSANT SOLUTIONS - CHESAPEAKE     NETVERSANT SOLUTIONS - CHESAPEAKE          NETVERSANT SOLUTIONS - CHESAPEAKE
P O BOX 62033                         PO BOX 33176                               PO BOX 823207
BALTIMORE MD 21264                    NEWARK NJ 07188-0176                       PHILADELPHIA PA 19182




NETVIBES INC                          NETWORK 36 HOLDINGS LLC                    NETWORK AFFILIATES INC
840 BATTERY ST                        200 N HUNTINGTON DR NO.139                 940 WADSWORTH BLVD
SAN FRANCISCO CA 94111                ALHAMBRA CA 91803                          LAKEWOOD CO 80215




NETWORK CABLING SYSTEMS               NETWORK COMMUNICATIONS INC                 NETWORK ENGINES INC
4308 WALNUT AVE                       PO BOX 402168                              25 DAN RD
LYNWOOD CA 90262                      ATLANTA GA 30384-2168                      CANTON MA 02021




NETWORK INDIANA                       NETWORK NEWS LONG ISLAND INC               NETWORK ONE
40 MONUMENT CIRCLE SUITE 400          59 FOX BLVD                                21111 ERWIN STREET
INDIANAPOLIS IN 46204                 MASSAPEQUA NY 11758                        WOODLAND HILLS CA 91367




NETWORK PRESSROOM CLEANERS            NETWORK PRESSROOM CLEANERS                 NETWORK PRESSROOM CLEANERS
23711 FALCON CREST PL                 3330 FOWLER ST                             9826 GLENOAKS BL
VALENCIA CA 91354                     LOS ANGELES CA 90063                       SUN VALLEY CA 91352




NETWORK PRESSROOM CLEANERS            NETWORK PRESSROOM CLEANERS CORP            NETWORK PRESSROOM CLEANERS CORP
420 RED BOUY COVE                     633 N ORANGE AVE                           420 RED BUOY COVE
PRINCETON TX 75407                    ORLANDO FL 32801                           PRINCETON TX 75407




NETWORK RESOURCES                     NETWORK RESOURCES                          NETWORK TELEPHONE SERVICES
15030 VENTURA BLVD                    12401 EQUINE LANE                          21135 ERWIN ST
STE 600                               WELLINGTON FL 33414                        WOODLAND HILLS CA 91367
SHERMAN OAKS CA 91403



NETWORK VIDEO PRODUCTIONS             NETWORKING MAGAZINE                        NEUBAUER, CHARLES
5127 N KENNETH AVE                    PO BOX 906                                 5206 CARLTON STREET
CHICAGO IL 60630-2622                 REMSENBURG NY 11960-0906                   BETHESDA MD 20816




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NEUBECKER, ROBERT                       NEUBECKER, ROBERT                          NEUBER, LAUREL A
2432 IRON MOUNTAIN DR                   505 E 3RD AVE                              6765 SW 179TH AVE
PARK CITY UT 84060                      SALT LAKE CITY UT 84103                    ALOHA OR 97007




NEUBURG, COMI ZERVALIS                  NEUMAN, JOHANNA                            NEUMAN, LEONARD
10779 NW 19TH DR                        4801 HAMPDEN LANE                          906 OLIVE ST SUITE 1006
CORAL SPRINGS FL 33071                  APT. #502                                  ST LOUIS MO 63101
                                        BETHESDA MD 20814



NEUMANN HOMES INC                       NEUMANN, JANICE                            NEUMER LARA, ALISON
779 ROOSEVELT RD                        1339 E 50TH STREET                         1915 W HURON ST APT NO.4
BLDG 6   STE 206                        CHICAGO IL 60615                           CHICAGO IL 60622
GLEN ELLYN IL 60137



NEUTRA, MAX                             NEVADA DIVISION OF                         NEVAREZ, ALMA
6332 FULTON AVE   NO.110                ENVIRONMENTAL PROTECTION                   1735 ORCHID ST
VAN NUYS CA 91401                       901 SO. STEWART STREET                     AURORA IL 60505
                                        SUITE 4001
                                        CARSON CITY NV 89701-5249


NEVELYN BLACK                           NEVEN, NATHAN                              NEVERE HATSIAN
18356 EAST GUNNISON PLACE               2420 PROSPECT AVENUE                       4 HIGH HILL CIRCLE
AURORA CO 80017                         MONTROSE CA 91020                          WEATOGUE CT 06089




NEVERLAND DISTRIBUTIONS INC             NEVILLE CEPHAS                             NEVILLE GOULD
34 ROCKLEDGE DR                         5880 WOODLAND PT DR                        821 E PALM RUN DR
SHIRLEY NY 11967                        TAMARAC FL 33319                           NORTH LAUDERDALE FL 33068




NEVILLE MCINTOSH                        NEVILLE RAMSEY                             NEVINS, JOSEPH
979 S. KIRKMAN RD.                      14 ROSEWOOD LANE                           VASSAR COLLEGE BOX 66
APT. 36                                 BLOOMFIELD CT 06002                        124 RAYMOND AVE
ORLANDO FL 32811                                                                   POUGHKEEPSIE NY 12604



NEW AVENUE MARKETING LLC                NEW BERN SUN JOURNAL                       NEW BERN SUN JOURNAL
8581 SANTA MONICA BLVD NO.407           1300 GUM BRANCH RD                         PO BOX 1149
WEST HOLLYWOOD CA 90069                 JACKSONVILLE NC 28540                      NEW BERN NC 28563




NEW BRITAIN BERLIN ROTARY               NEW BRITAIN CITIGO LLC                     NEW CANAAN VOLUNTEER AMBULANCE CORP
PO BOX 1794                             383 NEW BRITAIN AVE                        182 SOUTH AVE
NEW BRITAIN CT 06050-1794               PLAINVILLE CT 06062-2015                   NEW CANAAN CT 06840




NEW CAR DEALERS ASSOCIATION             NEW CAR TEST DRIVE INC                     NEW CAR TEST DRIVE INC
OF SAN DIEGO COUNTY                     909 N SEPULVEDA BLVD 10TH FL               PO BOX 60349
10065 MESA RIDGE COURT                  EL SEGUNDO CA 90245                        LOS ANGELES CA 90060-0349
SAN DIEGO CA 92121-2916




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NEW CAR TEST DRIVE INC                    NEW CENTURY PRODUCTIONS                  NEW CINGULAR WIRELESS PCS, LLC
3210 S DEARBORN ST                        C/O WFMZ-TV                              ATTN: REAL ESTATE ADMINISTRATION
SEATTLE WA 98144                          300 EAST ROCK RD                         6100 ATLANTIC BLVD
                                          ALLENTOWN PA 18103                       NORCROSS GA 30071



NEW COFFEE IN TOWN                        NEW CONVENANT HOUSE OF HOSPITALITY       NEW DAY MARKETING
1755 N ALEXANDRIA                         90 FAIRFIELD AVE                         923 OLIVE STREET
HOLLYWOOD CA 90027                        STAMFORD CT 06902                        SANTA BARBARA CA 93101




NEW ENGLAND APPLIANCE INC                 NEW ENGLAND ASSOCIATED PRESS NEWS        NEW ENGLAND ASSOCIATION OF CIRCULATION
364 ALBANY TPKE, PO BOX 224               EXECUTIVES ASSOCIATION                   4 TROTTING ROAD
CANTON CT 06019                           184 HIGH STREET                          CHELMSFORD MA 01824
                                          BOSTON MA 02110



NEW ENGLAND ASSOCIATION OF CIRCULATION    NEW ENGLAND ASSOCIATION OF CIRCULATION   NEW ENGLAND ASSOCIATION OF CIRCULATION
6 BIRCHWOOD DR                            ATTN BILL HOAR                           C/O DENNIS SKOGLUND
EAST HAMPTON MA 01027                     4 TROTTING RD                            22 POMEROY MEADOW RD UNIT 6
                                          CHELMSFORD MA 01824                      SOUTHAMPTON MA 01073



NEW ENGLAND ASSOCIATION OF CIRCULATION    NEW ENGLAND ASSOCIATION OF CIRCULATION   NEW ENGLAND BELTING COMPANY
STEVE MILONE % EAGLE TRIBUNE PUBLISHING   111 MAPLEWOOD AVE - KEVIN PARKER         27 MILL ST
CO.; 100 TURNPIKE ST                      C/O PORTSMOUTH HERALD                    BERLIN CT 06037
NORTH ANDOVER MA 01845                    PORTSMOUTH NH 03801



NEW ENGLAND CABLE &                       NEW ENGLAND COMMUNICATIONS CORP          NEW ENGLAND CREATIVE
TEN FORBES RD STE 440W                    1275 A1 CROWELL AVE                      21 BYRON DRIVE
BRAINTREE MA 02184                        ROCKY HILL CT 06511                      GRANBY CT 06035




NEW ENGLAND CREATIVE                      NEW ENGLAND FINANCIAL / METLIFE          NEW ENGLAND FINANCIAL / METLIFE
PO BOX 405                                ATN BONNIE STRIEF                        PO BOX 37652
GRANBY CT 06035                           CO METLIFE PDSC                          PHILADELPHIA PA 19101-7652
                                          PO BOX 2016
                                          AURORA IL 60507


NEW ENGLAND FINANCIAL / METLIFE           NEW ENGLAND FINANCIAL / METLIFE          NEW ENGLAND FINISHES INC
PO BOX 8500-8580                          700 QUAKER LANE                          31 WEST MIDDLE TURNPIKE
PHILADELPHIA PA 19178-8580                WARWICK RI 02886                         MANCHESTER CT 06040




NEW ENGLAND MECHANICAL SERVICE            NEW ENGLAND NEWSPAPER                    NEW ENGLAND NEWSPAPER
PO BOX 31711                              70 WASHINGTON STREET STE 214             ADVERTISING EXECUTIVES
HARTFORD CT 06150-1711                    SALEM MA 01970                           PO BOX 1367
                                                                                   GREENFIELD MA 01302



NEW ENGLAND NEWSPAPER                     NEW ENGLAND NEWSPAPER                    NEW ENGLAND NEWSPAPER
PO BOX 414782                             ATTN: KATHY NEEDHAM                      ADVERTISING EXECUTIVES ASSOC
BOSTON MA 02241-4782                      23 EXCHANGE ST                           THE RUTLAND HERALD
                                          PAWTUCKET RI 02862                       PO BOX 668 27 WALES ST
                                                                                   RUTLAND VT 05702-0668




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NEW ENGLAND NEWSPAPER ASSOCIATION      NEW ENGLAND NEWSPAPER ASSOCIATION          NEW ENGLAND NEWSPAPER ASSOCIATION
70 WASHINGTON ST                       70 WASHINGTON STREET                       NACON
SALEM MA 01970                         SUITE 214                                  70 WASHINGTON ST
                                       SALEM MA 01970                             #214
                                                                                  SALEM MA 01970


NEW ENGLAND OVERHEAD DOOR SERVICE      NEW ENGLAND OVERHEAD DOOR SERVICE          NEW ENLIGHTMENT RADIO NETWORK
304 MAIN AVE                           304 MAIN AVE PMB 164                       C/O DAKOTA SKY EDUCATION
SUITE 164                              NORWALK CT 06851                           PO BOX 7132
NORWALK CT 06851                                                                  BISMARCK ND 58507



NEW ENLIGHTMENT RADIO NETWORK          NEW HAMPSHIRE DEPT OF                      NEW HAVEN REGISTER
PO BOX 7132                            ENVIRONMENTAL SERVICES                     40 SARGENT DR
BISMARCK ND 58507                      29 HAZEN DRIVE                             NEWPAPERS IN EDUCATION
                                       P.O. BOX 95                                NEW HAVEN CT 06511
                                       CONCORD NH 03302-0095


NEW HAVEN REGISTER                     NEW HAVEN REGISTER                         NEW HAVEN REGISTER
40 SARGENT DRIVE                       PO BOX 8626                                PO BOX 8715
NEW HAVEN CT 06511                     NEW HAVEN CT 06531                         NEW HAVEN CT 06531-0715




NEW HAVEN REGISTER                     NEW HERMES INC                             NEW HERMES INC
PO BOX 9702                            2443 PARK CENTRAL BLVD                     DRAWER NUMBER GA00086
NEW HAVEN CT 06536-0901                DECATUR GA 30035                           PO BOX 530103
                                                                                  ATLANTA GA 30353-0103



NEW HERMES INC                         NEW HERMES INC                             NEW JERSEY CORPORATION TAX
P O BOX 740092                         PO BOX 934020                              PO BOX 281
ATLANTA GA 30374-0092                  ATLANTA GA 31193-4020                      PO BOX 281
                                                                                  TRENTON NJ 08695-0281



NEW JERSEY CORPORATION TAX             NEW JERSEY DEPT OF                         NEW JERSEY FSPC
CN 257                                 ENVIRONMENTAL PROTECTION                   PO BOX 4880
TRENTON NJ 08646-0257                  401 E. STATE ST, 7TH FL, E,. WING          TRENTON NJ 08650-4880
                                       P.O. BOX 402
                                       TRENTON NJ 08625-0402


NEW JERSEY STATE                       NEW KENT FIRE DEPARTMENT                   NEW KENT FIRE DEPARTMENT
NEW JERSEY DIVISION OF TAXATION        C/O STEPHANIE HENRY                        PO BOX 272
PO BOX 281                             1528 GLENSIDE DRIVE                        BARHAMSVILLE VA 23011
TRENTON NJ 08695-0281                  RICHMOND VA 23226



NEW LINE CINEMA                        NEW LINE CINEMA                            NEW LINE CINEMA
888 SEVENTH AVENUE                     888 SEVENTH AVENUE                         ATTN MICHAEL DONOHUE
NEW YORK NY 10106                      ATTN SHIVAN SECHARAN                       888 SEVENTH AVENUE
                                       NEW YORK NY 10106                          NEW YORK NY 10106



NEW LINE CINEMA                        NEW LINE TELEVISION                        NEW LINE TELEVISION
PO BOX 27376                           116 NORTH ROBERTSON BLVD.                  156 W. 56TH ST
NEW YORK NY 07188-7376                 LOS ANGELES CA 90048                       SUITE 1401
                                                                                  NEW YORK NY 10019




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NEW LINE TELEVISION                 NEW LINE TELEVISION                        NEW MEXICO ENVIRONMENT DEPT
825 AN VICENTE BLVD.                888 SEVENTH AVENUE                         1190 ST. FRANCIS DRIVE N4050
LOS ANGELES CA 90048                20TH FLOOR                                 PO BOX 26110
                                    NEW YORK NY 10106                          SANTA FE NM 87505



NEW MEXICO TAXATION & REV DEPT      NEW MEXICO TAXATION & REV DEPT             NEW MEXICO TAXATION & REVENUE
1100 SOUTH ST FRANCIS DRIVE         PO BOX 25127                               JOSEPH MONTOYA BLDG
PO BOX 630                          SANTE FE NM 87504-5127                     1100 SOUTH ST. FRANCES DR
SANTA FE NM 87504-0630                                                         SANTA FE NM 87504



NEW MEXICO TAXATION & REVENUE       NEW NEWSEASONS                             NEW OFFICE TEMPS INC
PO BOX 2527                         1263 S CEDAR CREST BLVD                    ONE EAST WACKER DRIVE
SANTA FE NM 87504-2527              ALLENTOWN PA 18103                         STE 2400
                                                                               CHICAGO IL 60601



NEW ORLEANS HORNETS NBA LP          NEW PENN MOTOR EXPRESS INC                 NEW PIG CORPORATION
1250 POYDRAS 19TH FLR               625 S FIFTH AVENUE                         ATTN ORDER DESK
NEW ORLEANS LA 70113                PO BOX 630                                 1 PORK AVENUE
                                    LEBANON PA 17042-0630                      TIPTON PA 16684



NEW PIG CORPORATION                 NEW PIG CORPORATION                        NEW PRESS
ONE PORK AVENUE                     PIG PLACE                                  38 GREENE ST
TIPTON PA 16684-0304                ONE PORK AVENUE                            NEW YORK NY 10013
                                    TIPTON PA 16684-0304



NEW REVENUE SOLUTIONS LLC           NEW RIVER CENTER MAINTENANCE               NEW STAR LIMOUSINE INC
730 PEACHTREE ST   STE 600          333 LAS OLAS WAY                           148 SOBRO AVE
ATLANTA GA 30308                    FT LAUDERDALE FL 33301                     VALLEY STREAM NY 11580




NEW VISIONS SYNDICATIONS            NEW VISIONS SYNDICATIONS                   NEW VISIONS SYNDICATIONS
1011 BRIOSO DRIVE                   9911 WEST PICO BLVD                        P.O. BOX 599
SUITE 101                           SUITE 980                                  ASPEN CO 81612
COSTA MESA CA 92627                 LOS ANGELES CA 90035



NEW WORLD ENTERTAINMENT             NEW YORK ASSOCIATION OF BLACK              NEW YORK ASSOCIATION OF BLACK
3340 OCEAN PARK BLVD.               C/O GREAT PITCH MEDIA                      C/O NOELLE ELAINE MEDIA INC
SANTA MONICA CA 90405               311 WEST 34TH ST 12TH FLR                  118 E 28TH ST STE 207
                                    NEW YORK NY 10001                          NEW YORK NY 10016



NEW YORK ASSOCIATION OF BLACK       NEW YORK ASSOCIATION OF BLACK              NEW YORK BLOOD PRESSURE
MAILBOXES OF PARK SLOPE             PO BOX 2446                                111 WEST 57TH STREET
328 FLATBUSH AV                     ROCKFELLER CENTER                          STE 420
PO BOX 107                          NEW YORK NY 10185                          NEW YORK NY 10019
BROOKLYN NY 11238


NEW YORK BLOOD PRESSURE             NEW YORK BLOOD PRESSURE                    NEW YORK BLOOD PRESSURE
1200 PROSPECT AVE                   1355 PITTSFORD MENDON RD                   310 EAST 67TH ST
WESTBURY NY 11590                   PO BOX 471                                 NEW YORK NY 10021
                                    MENDON NY 14506




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NEW YORK BLOOD PRESSURE               NEW YORK CITY                              NEW YORK CITY
NYBC DEVELOPMENT DEPT                 80 30 PARK LANE                            CITY OF NEW YORK - DCAS
PO BOX 9674                           NEW YORK NY 11415                          1 CENTRE ST
UNIONDALE NY 11553-9814                                                          MUNICIPAL BUILDING 17TH FLR
                                                                                 NEW YORK NY 10007


NEW YORK CITY                         NEW YORK CITY                              NEW YORK CITY
DEPARTMENT OF FINANCE                 DEPARTMENT OF FINANCE                      DEPARTMENT OF FINANCE
PO BOX 15361                          25 ELM PLACE 3RD FL                        PO BOX 5150
ALBANY NY 12212-5361                  DESK AUDIT UNIT                            KINGSTON NY 12402-5150
                                      BROOKLYN NY 11201


NEW YORK CITY                         NEW YORK CITY                              NEW YORK CITY
DEPARTMENT OF FINANCE                 DEPARTMENT OF FINANCE                      DEPARTMENT OF RECORDS INFORMATION SVC
137 CENTRE ST 4TH FLR                 PO BOX 2127                                31 CHAMBERS ST STE 305
NEW YORK NY 10013                     PECK SLIP STATION                          NEW YORK NY 10007
                                      NEW YORK NY 10272-2127


NEW YORK CITY                         NEW YORK CITY                              NEW YORK CITY
DEPT OF ENVIRONMENTAL PROTECTION      DEPT OF FINANCE                            ENVIRONMENTAL CONTROL BOARD
59-17 JUNCTION BLVD. 17TH FLOOR       RED LIGHT CAMERA MONITORING PROGRAM        66 JOHN ST   10TH FLR
FLUSHING NY 11373                     PO BOX 3674 CHURCH STREET STATION          NEW YORK NY 10038
                                      NEW YORK NY 10008-3674


NEW YORK CITY                         NEW YORK CITY                              NEW YORK CITY
FIRE DEPARTMENT                       PARKING VIOLATIONS                         PARKING VIOLATIONS OPERATION
9 METROTECH CENTER                    PO BOX 3600                                PO BOX 2337 PECK ST STATION
CASHIERS OFFICE                       CHURCH ST STATION                          NEW YORK NY 10272
BROOKLYN NY 11201-3857                NEW YORK NY 10008-3600


NEW YORK CITY                         NEW YORK CITY                              NEW YORK CITY
PO BOX 2950-ESP                       RECORDS & INFORMATION SRVCS                RED LIGHT VIOLATIONS MONITORING
TRAFFIC VIOLATIONS PLEA UNIT          CITY HALL LIBRARY                          66 JOHN STREET 2ND FLOOR
ALBANY NY 12220-0950                  31 CHAMBERS ST                             NEW YORK NY 10038
                                      NEW YORK NY 10007


NEW YORK CITY                         NEW YORK CITY DEPARTMENT OF FINANCE        NEW YORK CITY DEPT OF BUILDINGS
TRANSIT LAW DEPT                      PO BOX 5060                                280 BROADWAY
130 LIVINGSTON ST   12TH FLR          KINGSTON NY 12402-5060                     NEW YORK NY 10007
BROOKLYN NY 12224



NEW YORK CITY DEPT OF BUILDINGS       NEW YORK CITY FIRE DEPT                    NEW YORK CITY FIRE DEPT
60 HUDSON ST                          CHURCH STREET STATION                      CHURCH STREET STATION
NEW YORK NY 10013                     PO BOX 9033                                PO BOX 840
                                      NEW YORK NY 10256-9033                     NEW YORK NY 10008-0840



NEW YORK CITY INDUSTRIAL              NEW YORK CITY INDUSTRIAL                   NEW YORK DEPT. OF FINANCE
110 WILLIAM ST                        P O BOX 27799                              BOX 3900
NEW YORK NY 10038                     NEW YORK NY 10087                          NEW YORK NY 10008




NEW YORK DESIGN STUDIO                NEW YORK FILM CRITICS CIRCLE               NEW YORK FLOORING CONSORTIUM
553 CENTRAL AVE                       C/O MARSHALL FINE                          130 W 42ND ST     STE 611
CEDARHURST NY 11516                   2 MANCUSO DR                               NEW YORK NY 10036
                                      OSSINING NY 10562




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NEW YORK FOOTBALL GIANTS INC            NEW YORK FOOTBALL GIANTS INC               NEW YORK HELMSLEY HOTEL
GIANTS STADIUM                          PO BOX 10733                               212 EAST 42ND STREET
EAST RUTHERFORD NJ 07073                NEWARK NJ 07193                            NEW YORK NY 10017




NEW YORK INTERCONNECT LLC               NEW YORK INTERCONNECT LLC                  NEW YORK JETS FOOTBALL CLUB
PO BOX 19252                            111 SETWART AVE                            1000 FULTON AVENUE
NEWARK NJ 07195                         BETHPAGE NY 11714                          HEMPSTEAD NY 11550




NEW YORK MAGAZINE                       NEW YORK MAGAZINE                          NEW YORK MAGAZINE
PO BOX 420213                           444 MADISON AV                             75 VARICK STREET
PALM COAST FL 32142-0213                NEW YORK NY 10022                          NEW YORK NY 10013




NEW YORK MAGAZINE                       NEW YORK METS                              NEW YORK MOVES LLC
ATTN SARAH JEWLER                       123-01 ROOSEVELT AVE                       4097 LEXINGTON AVE
444 MADISON AVENUE                      SHEA STADIUM                               NEW YORK NY 10163
NEW YORK NY 10022                       FLUSHING NY 11368



NEW YORK MUSICAL THEATRE FESTIVAL       NEW YORK MUSICAL THEATRE FESTIVAL          NEW YORK NEWSPAPER PUBLISHERS ASSOC
1697 BROADWAY     STE 02                242 WEST 38TH STREET NO.1102               291 HUDSON AV   STE A
NEW YORK NY 10019                       NEW YORK NY 10018                          ALBANY NY 12210




NEW YORK POST                           NEW YORK POST                              NEW YORK POST
1211 AVENUE OF THE AMERICAS             1211 AVENUE OF THE AMERICAS 15TH FLR       18 W 18TH ST 5TH FLR
NEW YORK NY 10036                       ATTN: DONOVAN GORDON                       NEW YORK NY 10011
                                        NEW YORK NY 10036-8790



NEW YORK POST                           NEW YORK POST                              NEW YORK POST
PO 371-461                              PO BOX 7247 7702                           PO BOX 7247-6529
PITTSBURG PA 15250                      PHILADELPHA PA 19170-7702                  PHILADELPHIA PA 19170




NEW YORK POWER AUTHORITY                NEW YORK POWER AUTHORITY                   NEW YORK POWER AUTHORITY
ATTN: CONTROLLER                        LOCK BOX PROCESSING-7TH FL EAST            PO BOX 2245
(SENT VIA ACH TO CHASE MANHATTAN)       4 CHASE METROTECH CENTER                   SYRACUSE NY 13220-2245
BOX 5253 GPO                            LOCK BOX-5253
NEW YORK NY 10087-5253                  BROOKLYN NY 11245


NEW YORK PRESS CLUB                     NEW YORK PRESS CLUB                        NEW YORK PRESS CLUB
1636 THIRD AVE BOX 188                  330 W 42ND STREET                          361 W 46TH ST
NEW YORK NY 10128                       NEW YORK NY 10036                          NEW YORK NY 10036-3805




NEW YORK REVIEW OF BOOKS                NEW YORK STATE                             NEW YORK STATE
435 HUDSON STREET 3RD FLOOR             DEPT OF TAXATION                           SALES TAX PROCESSING
NEW YORK NY 10014                       PO BOX 5300                                JAF BUILDING PO BOX 1205
                                        ALBANY NY 12205                            NEW YORK NY 10116-1205




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NEW YORK STATE                        NEW YORK STATE                             NEW YORK STATE
MIDWESTERN REGIONAL OFFICE            LLC/LLP FEE                                101 BORAD ST
SALES TAX SECTION                     PO BOX 15106                               CAREER AND PLACEMENT CENTER
1011 E TOUHY AVE SUITE 475            ALBANY NJ 12212-5106                       PLATTSURGH NY 12901
DES PLAINES IL 60018


NEW YORK STATE                        NEW YORK STATE                             NEW YORK STATE
2002 GOVERNORS TOURISM CONFERENCE     2004 GOVERNORS TOURISM CONFER              2006 GOVERNORS TOURISM CONF
ATTN RITA D MALLEY REGISTAR           30 S PEARL ST                              NYS DIV OF MARKETING ADV & TOURISM
30 S PEARL ST 2ND FLR                 DEPT OF ECONOMIC DEVELOPMENT               633 THIRD AVE 33RD FLR
ALBANY NY 12245                       ALBANY NY 12245                            NEW YORK NY 10017


NEW YORK STATE                        NEW YORK STATE                             NEW YORK STATE
30 SOUTH PEARL STREET                 633 THIRD AVENUE 33RD FLOOR                AWG LOCKBOX
ALBANY NY 12245                       NEW YORK NY 10017                          GPO
                                                                                 P O BOX 26444
                                                                                 NEW YORK NY 10087-6444


NEW YORK STATE                        NEW YORK STATE                             NEW YORK STATE
BOX 5973 GPO                          CHILD SUPPORT PROCESSING CENTER            COMMISSIONER TAXATION AND FINANCE
NEW YORK NY 10087-5973                PO BOX 15363                               NYS CORP TAX PROCESING UNIT
                                      ALBANY NY 12212-5363                       PO BOX 22038
                                                                                 ALBANY NY 12204-4936


NEW YORK STATE                        NEW YORK STATE                             NEW YORK STATE
DEPARTMENT OF LABOR UI APPEAL BOARD   DEPARTMENT OF MOTOR VEHICLES               DEPARTMENT OF TRANSPORTATION
PO BOX 697 MAIL STOP 6F               REVENUE ACCOUNTING                         7150 REPUBLIC AIRPORT RM 216
ATTN PAT OR ADELE                     PO BOX 2409/EMPIRE STATE PLAZA             FARMINGDALE NY 11735-3930
NEW YORK NY 10014-0697                ALBANY NY 12220-0409


NEW YORK STATE                        NEW YORK STATE                             NEW YORK STATE
DEPT OF ENVIRONMENTAL CONSERVATION    DEPT OF HEALTH                             DEPT OF STATE
REGULATORY FEE DETERMINATION UNIT     CORNING TOWER RM 2348                      41 STATE STREET
BOX 5973 GPO                          ALBANY NY 12237-0044                       ALBANY NY 12231-0001
NEW YORK NY 10087-5973


NEW YORK STATE                        NEW YORK STATE                             NEW YORK STATE
DEPT OF TAXATION                      DEPT OF TAXATION & FINANCE                 DEPT OF TAXATION FINANCE SUFFOLK
PO BOX 3963                           WIRELESS COMMUNICATIONS SVC                DISTRICT OFFICE SALES TAX SECTION
NEW YORK NY 10008                     PO BOX 22020                               ST OFF BLDG 250 VETS HWY RM 15
                                      ALBANY NY 12201-2020                       HAUPPAUGE NY 11787


NEW YORK STATE                        NEW YORK STATE                             NEW YORK STATE
DEPT OF TRANSPORTATION                DIV OF TECHNOLOGY RENSSELAER               DIVISION OF CORPORATIONS RECORDS AND
RECORDS ACCESS OFFICE                 TECHNOLOGY PARK; 125 JORDAN RD             41 STATE STREET
BLDG 5, RM 524                        ATTN: GAIL TESTO                           ALBANY NY 12231-0002
ALBANY NY 12232                       TROY NY 12180


NEW YORK STATE                        NEW YORK STATE                             NEW YORK STATE
DIVISION OF LICENSING SERVICES        DIVISION OF TOURISM                        DIVISON OF LICENSING SERVICES
84 HOLLAND AVE                        ATTN RITA D MALLERY                        PO BOX 22001
ALBANY NY 12208-3490                  30 SOUTH PEARL ST                          ALBANY NY 22001
                                      ALBANY NY 12245


NEW YORK STATE                        NEW YORK STATE                             NEW YORK STATE
EDUCATION DEPT                        ETHNICS COMMISSION                         FARMINGDALE STATE UNIVERSITY
ROOM 309EB                            25 BEAVER ST RM 875                        2350 BROADHOLLOW RD
ALBANY NY 12234                       NEW YORK NY 10004                          FARMINGDALE NY 11735




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NEW YORK STATE                          NEW YORK STATE                             NEW YORK STATE
GENERAL POST OFFICE                     GENERAL POST OFFICE                        INSURANCE DEPT
P O BOX 1208                            PO BOX 26823                               25 BEAVER ST 2ND FLR
NEW YORK NY 10116                       NEW YORK NY 10087-6823                     NEW YORK NY 10004



NEW YORK STATE                          NEW YORK STATE                             NEW YORK STATE
LLC/LLP FEE                             MISC TAX RETURNS PROCESSING BLDG           MISCELLANEOUS RECORDS UNIT
PO BOX 61000                            W A HARRIMAN CAMPUS                        41 STATE ST
STATE PROCESSING CENTER                 ALBANY NY 12227-0098                       ALBANY NY 12231
ALBANY NY 12261-0001


NEW YORK STATE                          NEW YORK STATE                             NEW YORK STATE
NATURAL HERITAGE TRUST                  NEW YORK STATE SALES TAX                   NYS OFC OF CHILDREN & FAMILIY SRVC
NYS PARKS/ LI REGION                    CENTRAL PROCESSING                         52 WASHINGTON ST
PO BOX 247                              P.O BOX 1208                               RENSELAER NY 12144-2796
BABYLON NY 11702                        NEW YORK NY 10116-1208


NEW YORK STATE                          NEW YORK STATE                             NEW YORK STATE
NYS SALES TAX PROCESSING                OFC OF COURT ADMINISTRATION                OFFICE OF GENERAL SRVCS (PRK)
GENERAL POST OFFICE                     25 BEAVER ST 8TH FLR                       FINANCIAL ADMIN TOWER BLDG 40 FLR
P O BOX 1205                            NEW YORK NY 10004                          GOV NA ROCKEFELLER EMPIRE ST PLZ
NEW YORK NY 10116-1205                                                             ALBANY NY 12242


NEW YORK STATE                          NEW YORK STATE                             NEW YORK STATE
OFFICE OF THE FIRE PREVENTION           PARK & RECREATION                          PARKS DEPARTMENT
41 STATE ST                             MOUREAU LAKE STATE PARK                    235 PINELAWN RD
ALBANY NY 12231                         655 OLD SARATOGA RD                        MELVILLE NY 11747
                                        GANSEVOORT NY 12831


NEW YORK STATE                          NEW YORK STATE                             NEW YORK STATE
PO BOX 1205                             PO BOX 1912                                PO BOX 22079
GENERAL POST OFFICE                     ALBANY NY 12201-1912                       ALBANY NY 12201-2079
NEW YORK NY 10116-1205



NEW YORK STATE                          NEW YORK STATE                             NEW YORK STATE
PO BOX 22109                            PO BOX 27435                               PO BOX 3131
NYS ESTIMATED CORPORATION TAX           NEW YORK NY 10087-7435                     NEW YORK NY 10116-3131
ALBANY NY 12201-2109



NEW YORK STATE                          NEW YORK STATE                             NEW YORK STATE
PO BOX 4136                             PO BOX 4301                                PROCESSING UNIT
BINGHAMTON NY 13902-4136                BINGHAMTON NY 13902-4301                   PO BOX 1909
                                                                                   ALBANY NY 12201-1909



NEW YORK STATE                          NEW YORK STATE                             NEW YORK STATE
PROCESSING UNIT                         PROF LICENSING SERVICES                    RECIPROCAL TAX AGREEMENT
PO BOX 22109                            89 WASHINGTON AVE                          JAF BUILDING
ALBANY NY 12201-2109                    ALBANY NY 12234-1000                       P O BOX 1209
                                                                                   NEW YORK NY 10116-1209


NEW YORK STATE                          NEW YORK STATE                             NEW YORK STATE
ST BOARD ENGINEERING LAND SURVEYING     STATE COMMISSION OF CORRECTION             TCD CHILD SUPPORT ENFORCEMENT SECTION
89 WASHINGTON AVE                       4 TOWER PLACE                              PO BOX 5350
SECOND FL MEZZANINE EAST WING           ALBANY NY 12203-3764                       ALBANY NY 12205-0350
ALBANY NY 12234




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NEW YORK STATE                           NEW YORK STATE                             NEW YORK STATE
THE STATE CAPITOL                        TRAFFIC PLEA UNIT                          UNEMPLOYMENT INSURANCE APPEAL BOARD
ALBANY NY 12224                          PO BOX 2950 ESP                            PO BOX 15126
                                         ALBANY NY 12220-0950                       ALBANY NY 12212-5126



NEW YORK STATE                           NEW YORK STATE                             NEW YORK STATE BROADCASTERS ASS
WORKERS COMPENSATION BOARD               DEPARTMENT OF ENVIRONMENTAL                1805 WESTERN AVENUE
PO BOX 401                               625 BRAODWAY                               ALBANY NY 12203
ALBANY NY 12201-0401                     ALBANY NY 12233-1011



NEW YORK STATE CORP TAX                  NEW YORK STATE DEPARTMENT OF               NEW YORK STATE SALES TAX
PROCESSING UNIT                          ENVIRONMENTAL CONSERVATION                 NYS DEPARTMENT OF TAXATION AND FINANCE
PO BOX 22101                             625 BROADWAY                               PO BOX 5300
ALBANY NY 12201-2101                     ALBANY NY 12233-0001                       ALBANY NY 12205



NEW YORK STATE SALES TAX                 NEW YORK STATE SALES TAX                   NEW YORK STATE SALES TAX
ASSESSMENT RECEIVABLE                    CENTRAL PROCESSING                         PO BOX 1205
PO BOX 4127                              PO BOX 1208                                GENERAL POST OFFICE
BINGHAMTON NY 13902-4127                 NEW YORK NY 10116-1208                     NEW YORK NY 10116-1205



NEW YORK STATE TRAVEL AND VACATION       NEW YORK STATE TRAVEL AND VACATION         NEW YORK STOCK EXCHANGE (PHONES)
PO BOX 285                               PO BOX 285                                 20 BROAD STREET
AKRON NY 14001                           ALBANY NY 14001                            NEW YORK NY 10005




NEW YORK STOCK EXCHANGE INC              NEW YORK STOCK EXCHANGE INC                NEW YORK STOCK EXCHANGE INC
GRAND CENTRAL STATION                    GRAND CENTRAL STATION                      BOX 1006
PO BOX 4695                              P.O. BOX 4530                              PO BOX 8500
NEW YORK NY 10163                        NEW YORK NY 10163                          PHILADELPHIA PA 19178



NEW YORK STOCK EXCHANGE INC              NEW YORK TIMES                             NEW YORK TIMES
NYSE MARKET INC - BOX NO.4006            21707 HAWTHORNE BLVD                       PO BOX 15647
PO BOX 8500                              TORRANCE CA 90503                          WORCESTER MA 01615-0647
PHILADELPHIA PA 19178-4006



NEW YORK TIMES                           NEW YORK TIMES                             NEW YORK TIMES
PO BOX 4039                              PO BOX 19278                               PO BOX 19498
WOBURN MA 01888-4039                     NEWARK NJ 07195-0278                       NEWARK NJ 07195-0001




NEW YORK TIMES                           NEW YORK TIMES                             NEW YORK TIMES
122 EAST 42ND ST                         229 WEST 43RD ST                           3000 HEMPSTEAD TURNPIKE NO.400
14TH FLOOR                               NEW YORK NY 10036                          LEVITOWN NY 11756
NEW YORK NY 10168-1401



NEW YORK TIMES                           NEW YORK TIMES                             NEW YORK TIMES
47 25 34TH ST                            CS BOX 9506                                PO BOX 371456
LONG ISLAND CITY NY 11103                UNIONDALE NY 11555-9506                    PITTSBURGH PA 15250-7456




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NEW YORK TIMES                         NEW YORK TIMES                             NEW YORK TIMES SYNDICATION
W4825                                  GEORGIA SMITH VP/ FEDERATION SERVICES      PERMISSIONS
PO BOX 7777                            NEWSPAPER ASSOC OF AMERICA                 PO BOX 19342
PHILADELPHIA PA 19175                  4401 WILSON BLVD SUITE 900                 NEWARK NJ 07195-0342
                                       ARLINGTON VA 22203


NEW YORK TIMES SYNDICATION             NEW YORK TIMES SYNDICATION                 NEW YORK TIMES SYNDICATION
SALES CORPORATION                      SYNDICATION SALES CORPORATION              229 W 43RD ST 9TH FL
PO BOX 19278                           PO BOX 19278                               NEW YORK NY 10036
NEWARK NJ 07195-0278                   NEWARK NJ 07195-0278



NEW YORK TIMES SYNDICATION             NEW YORK TIMES SYNDICATION                 NEW YORK TIMES SYNDICATION
609 GREENWICH STREET 6TH FLOOR         PERMISSIONS                                SALES CORPORATION
NEW YORK NY 10014                      CS BOX 9506                                PO BOX 5263 CHURCH ST STATION
                                       SALES COMPANY INC                          NEW YORK NY 10249
                                       UNIONDALE NY 11555-9506


NEW YORK TYPOGRAPHICAL UNION NO 6      NEW YORK YANKEES                           NEW YORK YANKEES
352 7TH AVE ROOM 601                   800 RUPPER PLACE                           YANKEE STADIUM
NEW YORK NY 10001                      BRONX NY 10451                             TICKET MANAGER
                                                                                  BRONX NY 10451



NEW YORK YANKEES                       NEW, KATHY                                 NEWARK INONE
YANKEE STADIUM TICKET OFFICE           2211 OLD BRICK FARM RD                     12631 EAST IMPERIAL HIGHWAY
P O BOX 26490                          PROVIDENCE FORGE VA 23140                  SANTA FE SPRINGS CA 90670
NEW YORK NY 10087-6490



NEWARK INONE                           NEWARK INONE                               NEWARK INONE
ATTN:JENNIFER                          1919 S. HIGHLAND AVE                       4801 NORTH RAVENSWOOD AVE
1080 WOODCOCK ROAD                     AMIE                                       CHICAGO IL 60640
ORLANDO FL 32803                       SUITE A320 FAX 630-424-8048
                                       LOMBARD IL 60148


NEWARK INONE                           NEWARK INONE                               NEWARK INONE
P O BOX 94151                          PO BOX 70582                               PO BOX 94151
PALATINE IL 60094-4151                 CHICAGO IL 60673                           PALATINE IL 60091-4151




NEWARK INONE                           NEWARK INONE                               NEWARK INONE
PO BOX 94152                           67 WALNUT AVENUE                           75 ORVILLE DR
PALATINE IL 60094-4152                 CLARK NJ 07066                             BOHEMIA NY 11716




NEWARK INONE                           NEWBY, SAMANTHA                            NEWBY, SAMANTHA
1503 N CEDAR CREST BLVD                1060 W ADDISON                             2122 N KENMORE NO.1F
ALLENTOWN PA 18104                     CHICAGO IL 60613                           CHICAGO IL 60614




NEWBY, WILL                            NEWELL, BARBARA                            NEWELL, DOUGLAS
6271 EDWARDS CIRCLE                    968 HYACINTH LANE                          1836 WIND WILLOW RD
SMITHFIELD VA 23430                    BARTLETT IL 60103                          200
                                                                                  ORLANDO FL 32809




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NEWELL, RITA A                         NEWGEN, HEATHER                             NEWHAN, ROSS
8592 BARR LANE                         350 S FULLER AVE NO.1C                      2678 HARVEST CREST LN
GARDEN GROVE CA 92841                  LOS ANGELES CA 90036                        CORONA CA 92881




NEWHARD, CHERYL                        NEWHARD, RICHARD A                          NEWHAVEN DISTRIBUTION SERVICES
1240 WASHINGTON ST     APT 1           1240 WASHINGTON ST         APT 1            999 EAST 149TH STREET
WHITEHALL PA 18052                     WHITEHALL PA 18052                          BRONX NY 10455




NEWINGTON CHILDREN'S THEATRE COMPANY   NEWKIRK, MEGAN K                            NEWKIRK, MEGAN K
743 NORTH MOUNTAIN RD                  PO BOX 551                                  PO BOX 551
NEWINGTON CT 06111                     BRISTOL CT 06098-0551                       WINSTED CT 06098-0551




NEWLON, DAVID L                        NEWMAN, BRIDGET                             NEWMAN, CATHERINE DENISE
7256 WOODMONT AVE.                     3772 NW 107TH TERRACE                       740 WHITEBIRD WAY
TAMARAC FL 33321                       SUNRISE FL 33351                            FAIRBURN GA 30213




NEWMAN, DAWNITA JO                     NEWMAN, EDWARD S                            NEWMAN, JACQUELINE M
9675 OLD BAYMEADOWS RD NO.67           305 CHIPILI DR.                             23 TRENT LANE
JACKSONVILLE FL 32256                  NORTHBROOK IL 60062                         SMITHTOWN NY 11787




NEWMAN, JANIS                          NEWMAN, JASON                               NEWMAN, MARIO
377 LAIDLEY ST                         30-70 29TH ST                               6824 SIENNA CLUB DR
SAN FRANCISCO CA 94131                 ASTORIA NY 11102                            LAUDERHILL FL 33319




NEWMAN, MARLENE                        NEWMAN, MELINDA                             NEWMAN, MONIQUE
19867 DINNER KEY DR                    1019 1/2 S ORANGE GROVE AVENUE NO.206       601 SW 2ND AVE AP NO.4
BOCA RATON FL 33498                    LOS ANGELES CA 90019                        BOCA RATON FL 33432




NEWMAN, MORRIS                         NEWMAN, PATRICIA M                          NEWMAN, STANLEY
12414 SAHAH ST                         4248 CLOVER KNOLL CT                        19867 DINNER KEY DR
STUDIO CITY CA 91604                   CARMICHAEL CA 95608-6734                    BOCA RATON FL 33498




NEWMARK ADVERTISING                    NEWMARK KNIGHT FRANK                        NEWPAGE CORPORATION
NEWMARK COMMUNICATIONS                 RE: NEW YORK 60 E 42ND STREET               23504 NETWORK PLACE
15821 VENTURA BLVD SUITE 570           1400 BROADWAY                               CHICAGO IL 60673-0001
ENCINO CA 91436                        SUITE 916
                                       NEW YORK NY 10018


NEWPAGE CORPORATION                    NEWPORT MESA UNIFIED SCHOOL DISTRICT        NEWPORT MESA UNIFIED SCHOOL DISTRICT
2386 COLLECTIONS CENTER DRIVE          2701 FAIRVIEW RD                            C/O NEWPORT HARBOR HIGH SCHOOL
CHICAGO IL 60693-0023                  COSTA MESA CA 92626                         2985 BEAR STREET
                                                                                   COSTA MESA CA 92626




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NEWPORT NEWS WATERWORKS                NEWS AND OBSERVER                           NEWS AND OBSERVER PUBLISHING COMPANY
ACCT NO. 20000-008-5363                ATTN WENDY HAKEM                            ATTN TIM WINSLOW
700 TOWN CENTER DR.                    PO BOX191                                   215 S MCDOWELL STREET
NEWPORT NEWS VA 23606                  RALEIGH NC 27601                            RALEIGH NC 27602



NEWS AND OBSERVER PUBLISHING COMPANY   NEWS AND OBSERVER PUBLISHING COMPANY        NEWS AND OBSERVER PUBLISHING COMPANY
PO BOX 191                             PO BOX 2222                                 PO BOX 2885
RALEIGH NC 27602                       RALEIGH NC 27602-2222                       RALEIGH NC 27602-2885




NEWS BUSTERS                           NEWS DEPOT INC                              NEWS DEPOT INC
2633 NE 30TH STREET                    1608 AVALON CT                              1608 AVALON CT
FT LAUDERDALE FL 33306                 ACCT 3371                                   ST CHARLES IL 60174
                                       ST CHARLES IL 60174



NEWS GAZETTE                           NEWS GAZETTE                                NEWS HERALD
GROUP INC                              PO BOX 677                                  PO BOX 1940
THE NEWS GAZETTE                       PROFESSIONAL IMPRESSIONS MEDIA              PANAMA CITY FL 32402
PO BOX 677                             CHAMPAIGN IL 61820
CHAMPAIGN IL 61820


NEWS HERALD                            NEWS HUNTERS LLC                            NEWS MARKETING
7085 MENTOR AVE                        103-10 QUEENS BLVD                          9351 KEILMAN ST
WILLOUGHBY OH 44094                    FOREST HILLS NY 11375                       SAINT JOHN IN 46373




NEWS MARKETING ENTERPRISES INC.        NEWS MEDIA DISTRIBUTION INC                 NEWS NET
11 GRANT                               10806 PASO ROBLES AVE                       1184 SPEERS RD
IRVINE CA 92620                        GRANADA HILLS CA 91344                      OAKVILLE ON L6L 2X4




NEWS ONE NEWSPAPER DISTRIBUTION        NEWS ONE NEWSPAPER DISTRIBUTION             NEWS SOURCE NY INC
PO BOX 2026                            7833 WALKER DRIVE SUITE 550                 45-10 VERNON BLVD
WASHINGTON DC 20013                    GREENBELT MD 20770                          LONG ISLAND CITY NY 11101-5203




NEWS TRAVEL NETWORK                    NEWS TRIBUNE                                NEWS TRIBUNE
747 FRONT STREET                       126 SECOND STREET                           1950 S STATE ST
SAN FRANCISCO CA 94111                 LASALLE IL 61301-0008                       TACOMA WA 98405




NEWS TRIBUNE                           NEWS TRIBUNE                                NEWS WORLD USA CORP
PO BOX 11000                           PO BOX 11635                                8010 HAMPTON BLVD STE 503
1950 SOUTH STATE STREET                TACOMA WA 98411-6635                        NORTH LAUDERDALE FL 33068
TACOMA WA 98411-0008



NEWS-TOPIC                             NEWS-TOPIC                                  NEWSART.COM
PO BOX 1110                            PO BOX 1110 123 PENNTON AV NW               PO BOX 623
123 PENNTON AVENUE NW                  LENOIR NC 28645                             NARBERTH PA 19072
ATTN TERRY EDWARDS
LENOIR NC 28645




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NEWSBAG INC                            NEWSBAG INC                                NEWSBANK MEDIA SERVICES INC
9131 LINCOLN AVE                       PO BOX 195                                 397 MAIN ST
BROOKFIELD IL 60513                    BROOKFIELD IL 60513                        PO BOX 1130
                                                                                  CHESTER VT 05143



NEWSCOM SERVICES INC                   NEWSCOM SERVICES INC                       NEWSCOM SERVICES INC
145 SOUTH SPRING ST 10TH FLOOR         202 W 1ST STREET                           P O BOX 53035
LOS ANGELES CA 90012                   10TH FL                                    LOS ANGELES CA 90053-0035
                                       LOS ANGELES CA 90012



NEWSCOM SERVICES INC                   NEWSDAY INC                                NEWSDAY INC
375 CHIPETA WAY SUITE B                PO BOX 80000 DEPT 004                      PO BOX 3002
SALT LAKE CITY UT 84108                HARTFORD CT 06180-0004                     BOSTON MA 02241-3002




NEWSDAY INC                            NEWSDAY INC                                NEWSDAY INC
235 PINELAWN RD                        235 PINELAWN ROAD                          ATTN MIRA LOWE/ASSOC EDITOR
ATTN LILLIAN QUINN                     ATTN WALTER MIDDLEBROOK                    RECRUITMENT NEWSDAY
MELVILLE NY 11747                      MELVILLE NY 11747-4250                     235 PINELAWN RD
                                                                                  MELVILLE NY 11747


NEWSDAY INC                            NEWSDAY INC                                NEWSDAY INC
ATTN: ROBERT ROSENTHAL                 ATTN: BARBARA MARLIN PART 2                ATTN: CINDI WARSAW
235 PINELAWN RD                        235 PINE LAWN ROAD                         LIZ SMITH-ACCOUNT
MELVILLE NY 11747                      MELVILLE NY 11747                          235 PINELAWN ROAD
                                                                                  MELVILLE NY 11747-4250


NEWSDAY INC                            NEWSDAY INC                                NEWSDAY INC
ATTN: MARY SCARDAPANE                  ATTN: MR. ROBERT KEANE                     ATTN: PHIL RAMACCA
235 PINELAWN RD                        ASSISTANT MGR EDITOR                       235 PINELAWN RD
MELVILLE NY 11747                      235 PINELAWN ROAD                          FLEET BANK PAYROLL FUNDING
                                       MELVILLE NY 11747                          MELVILLE NY 11747


NEWSDAY INC                            NEWSDAY INC                                NEWSDAY INC
ATTN: ROBIN DAVIS                      ATTN: SUE SULLIVOR                         ATTN: SUSAN SULLIVAN
NEWSDAY ACCTG DEPT                     EDITORIAL ADMINISTRATION X77908            235 PINELAWN ROAD
235 PINELAWN ROAD                      235 PINELAWN ROAD                          MELVILLE NY 11747
MELVILLE NY 11747                      MELVILLE NY 11747


NEWSDAY INC                            NEWSDAY INC                                NEWSDAY INC
MAIL SUBSCRIPTION DEPARTMENT           NEWSDAY LIBRARY                            PETTY CASH FUND/ CASHIERS
235 PINELAWN ROAD                      ATTN: MARY SKINNER-DIRECTOR                235 PINELAWN RD
MELVILLE NY 11747                      235 PINELAWN RD.                           MELVILLE NY 11747
                                       MELVILLE NY 11747


NEWSDAY INC                            NEWSDAY LLC                                NEWSENGIN INC
PO BOX 9575                            ATTN: REAL ESTATE DEPARTMENT               15560 GOLDEN RIDGE COURT
UNIONDALE NY 11555-9575                P.O. BOX 249                               CHESTERFIELD MO 63017
                                       BETHPAGE NY 11714-0249



NEWSENGIN INC                          NEWSMARKET ENTERPRISES INC                 NEWSMINDED INC
219 FORREST AVE                        14621 DANBOROUGH RD                        PO BOX 78801
NARBERTH PA 19072                      TUSTIN CA 92780                            CORONA CA 92877




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NEWSOK COM LLC                        NEWSOME, JANELLA                           NEWSPAPER DRIVERS UNION
PO BOX 25125                          4031 IDAHO AVE                             300 S ASHLAND AVE
OKLAHOMA CITY OK 73125                KENNER LA 70065                            CHICAGO IL 60607




NEWSPAPER DRIVERS UNION               NEWSPAPER GUILD OF NEW YORK                NEWSPAPER GUILD OF NEW YORK
6650 N NORTHWEST HIGHWAY ROOM 208     1501 BROADWAY                              (NEWSWRITERS)
CHICAGO IL 60631-1363                 SUITE NO.708                               1501 BROADWAY SUITE 708
                                      NEW YORK NY 10036                          NEW YORK NY 10036



NEWSPAPER IN EDUCATION FOUNDATION     NEWSPAPER IN EDUCATION FOUNDATION          NEWSPAPER IN EDUCATION INSTITUTE
LOS ANGELES NIE FOUNDATION            CHICAGO TRIBUNE NIE FOUNDATION             7009 VARNUM ST
202 W 1ST STREET 4TH FLOOR            435 N MICHIGAN AVE TT300                   LANDOVER HILLS MD 20784
LOS ANGELES CA 90012                  CHICAGO IL 60611



NEWSPAPER MARKETING GROUP             NEWSPAPER MARKETING INC                    NEWSPAPER PROMOTIONS INC
(MICHAEL STEPHENSON)                  1422 TOWNLINE RD                           5340 W LAWRENCE AVE
1580 SAWGRASS PARKWAY                 NESCONSET NY 11767                         CHICAGO IL 60630
SUNRISE FL 33323



NEWSPAPER PURCHASING MANAGEMENT       NEWSPAPER PURCHASING MANAGEMENT            NEWSPAPER PURCHASING MANAGEMENT
ATTN WADE WALKER TREASURER            C/O MOYA VALDEZ                            C/O GINGER YOUNG
THE BIRMINGHAM NEWS                   SAN FRANCISCO CHRONICLE                    DENVER NEWSPAPER AGENCY
2200 4TH AVENUE N                     PO BOX 7228                                PO BOX 13109
BIRMINGHAM AL 35203                   SAN FRANCISCO CA 94120-7228                DENVER CO 80201


NEWSPAPER PURCHASING MANAGEMENT       NEWSPAPER PURCHASING MANAGEMENT            NEWSPAPER PURCHASING MANAGEMENT
PO BOX 13109                          C/O SANDRA ZACHARY                         C/O PAT LETT, EW SCRIPPS
DENVER CO 80201                       KNOXVILLE NEWS SENTINEL                    PO BOX 5380
                                      PO BOX 59038                               CINCINNATI OH 45201
                                      KNOXVILLE KY 59038


NEWSPAPER PURCHASING MANAGEMENT       NEWSPAPER PURCHASING MANAGEMENT            NEWSPAPER PURCHASING MANAGEMENT
MANAGEMENT ASSOCIATION INC            ASSOCIATION INC                            ASSOCIATION INC
EW SCRIPPS PO BOX 5380                PO BOX 1328 (8 W KING ST)                  PO BOX 1328 C/O ROY MACKISON
C/O PAT LETT                          C/O RORY MACKISON                          LANCASTER NEWSPAPER INC
CINCINNATI OH 45201                   LANCASTER PA 17603                         LANCASTER PA 17608-1328


NEWSPAPER PURCHASING MANAGEMENT       NEWSPAPER SALES ASSOCIATES                 NEWSPAPER SALES ASSOCIATES LLC
C/O RORY MACKISON                     P.O. BOX 485                               PO BOX 485
LANCASTER NEWSPAPER INC               GOODLETTSVILLE TN 37070                    GOODLETTSVILLE TN 37070
P O BOX 1328
LANCASTER PA 17608-1328


NEWSPAPER SUBSCRIPTION SERVICES       NEWSPAPER SUBSCRIPTION SERVICES            NEWSPAPER SUBSCRIPTION SERVICES
212 WEST WASHINGTON                   189 CLOVERLY RD STE 201                    2450 LOUISIANA SUITE 400-602
STE 1706                              GROSSE POINTE MI 48236                     HOUSTON TX 77006
CHICAGO IL 60606



NEWSPAPER SUBSCRIPTION SERVICES LP    NEWSPAPER TARGET MARKETING COALITION       NEWSPAPER TARGET MARKETING COALITION
2450 LOUISIANA, STE 400-602           C/O THE SAN DIEGO UNION TRIBUNE O          1101 17TH STREET NW STE 602
HOUSTON TX 77006                      350 CAMINO DE LA REINA                     WASHINGTON DC 20036
                                      SAN DIEGO CA 92108




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NEWSPAPER TARGET MARKETING COALITION     NEWSPRO                                    NEWSREEL
ATTN JANE COMFORT                        2055 CENTRAL AVENUE NO.40                  11271 VENTURA BLVD NO.601
THE POST AND COURIER                     HIGHLAND CA 92346                          STUDIO CITY CA 91604
134 COLUMBUS STREET
CHARLESTON SC 29403


NEWSREEL                                 NEWSROOM SOLUTIONS LLC                     NEWSTAND,GATEWAY
PO BOX 923                               P O BOX 78617                              45 W NORTHWEST HWY
HARBOR CITY CA 90710                     CHARLOTTE NC 28271-7037                    ARLINGTON HEIGHTS IL 60004




NEWSWEB RADIO COMPANY                    NEWSWOMENS CLUB OF NEW YORK INC            NEWTON RUSSELL, SCARLETT
6012 S PULASKI RD                        15 GRAMERCY PARK SOUTH                     3225 W WASHINGTON ST
CHICAGO IL 60629                         NEW YORK NY 10003                          ALLENTOWN PA 18104




NEWTON, BRANDON                          NEWTON, DAVID N                            NEWTON, EARL
2531 NW 56TH AVE APT 104.                222 N COLUMBUS DR      APT 1610            1000 DEEP LAKE RD
LAUDERHILL FL 33313                      CHICAGO IL 60601                           ANTIOCH IL 60002




NEWTON, MICHAEL                          NEWTON, RODNEY L                           NEWTON, RUSSELL J
118 S 4TH ST                             609 NW 1ST STREET                          3563 PHEASANT STREET
LEHIGHTON PA 18235                       BOYNTON BEACH FL 33435                     GLENDALE CA 91206-4810




NEWVISION COMMUNICATIONS INC             NEWVISION COMMUNICATIONS INC               NEXOAR GROUP CORP
4610 HAMILTON BOULEVARD                  5100 TILGHMAN ST NO.10                     9701 WESTVIEW DR APT NO.1411
ALLENTOWN PA 18103                       ALLENTOWN PA 18104                         CORAL SPRINGS FL 33076




NEXT COURIER                             NEXT DAY STAFFING, INC                     NEXT DAY STAFFING, INC
PO BOX 549                               1937 FLEET STREET                          5024 CAMPBELL BLVD STE 0
68 C KINGSPRING ROAD                     BALTIMORE MD 21231                         WHITE MARSH MD 21236
WINDSOR LOCKS CT 06096



NEXT DAY STAFFING, INC                   NEXT MANAGEMENT                            NEXT MANAGEMENT
PO BOX 38748                             8447 WILSHIRE BLVD                         1688 MERIDIAN AVE
BALTIMORE MD 21231                       SUITE 301                                  SUITE 800
                                         BEVERLY HILLS CA 90211                     MIAMI BEACH FL 33139



NEXT MANAGEMENT                          NEXT MANAGEMENT                            NEXTEL COMMUNICATIONS
15 WATTS ST                              23 WATTS STREET                            P.O. BOX 7418
6TH FLOOR                                6TH FLOOR                                  XXXXXXXXXXXXXXXXX
NEW YORK NY 10013                        NEW YORK NY 10013                          XXX USE VENDOR 51416 XXXXXX
                                                                                    PASADENA CA 91109-7418


NEXTEL COMMUNICATIONS                    NEXTEL COMMUNICATIONS                      NEXTEL COMMUNICATIONS
PO BOX 17990                             PO BOX 17990                               100 CORPORATE PLACE
DENVER CO 80217-0990                     XXXXXXXXXXXXXXXXXXXXXX                     XXXXXXXXXXXXXXXXXXXX
                                         USE VENDOR 34940                           USE VENDDOR 34940
                                         DENVER CO 80217-0990                       ROCKY HILL CT 06067




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NEXTEL COMMUNICATIONS                  NEXTEL COMMUNICATIONS                      NEXTEL COMMUNICATIONS
75 REMITTANCE DR     STE 93117         PO BOX 4181                                75 REMITTANCE DR
CHICAGO IL 60675-3117                  CAROL STREAM IL 60197-4181                 XXXXXXXXXXXXXXXXXXXX
                                                                                  USE VENDOR 34940
                                                                                  CHICAGO IL 60675-3117


NEXTEL COMMUNICATIONS                  NEXTEL COMMUNICATIONS                      NEXTEL COMMUNICATIONS
PO BOX 4181                            525 BROAD HOLLOW RD                        P O BOX 641954
XXXXXXXXXXXXXXXXXXXX                   XXXXXXXXXXXXXXXXXX                         PITTSBURGH PA 15264-1954
USE VENDOR 34940                       USE VENDOR 34940
CAROL STREAM IL 60197-4181             MELVILLE NY 11747


NEXTEL COMMUNICATIONS                  NEXTEL COMMUNICATIONS                      NEXTEL COMMUNICATIONS
P O BOX 821001                         PO BOX 820832                              PO BOX 820906
PHILADELPHIA PA 19182-1001             PHILADELPHIA PA 19182-0832                 PHILADELPHIA PA 19182-0906




NEXTEL COMMUNICATIONS                  NEXTMEDIA OUTDOOR, INC                     NEXTSTEP MARKETING INT INC
THREE GREENWOOD SQUARE                 SDS 12-2072                                8597 BONITA ISLE DR
3329 STREET RD                         PO BOX 86                                  LAKE WORTH FL 33467
BENSALEM PA 19020                      MINNEAPOLIS MN 55486-2072



NEXVU TECHNOLOGIES                     NEY, CLARK E                               NEZIPHORT, MARCUS
50 E COMMERCE DRIVE                    210 BELRAY DR                              3063 ANGLER DR
SUITE A                                NEWPORT NEWS VA 23601                      DELRAY BEACH FL 33445
SCHAUMBURG IL 60173



NEZNAYKO JR, ROGER                     NFL ENTERPRISES LLC                        NG, GORDON J
3 LAUREL RIDGE RD                      280 PARK AVENUE                            16 WILDFLOWER LANE
TOLLAND CT 06084-3722                  NEW YORK NY 10017                          WANTAGH NY 11793




NG, SHELLEY                            NGATI, MARY                                NGHIEP DIEU
85-69 75TH ST                          PO BOX 9482                                19710 STRATHERN STREET
WOODLAWN NY 11421                      RIVIERA BEACH FL 33419                     CANOGA PARK CA 91306




NGOC DINH                              NGON PHAM                                  NGUGI, MUKOMA WA
2116 FAIR PARK AVE                     7687 NW 25 ST                              2865 EAST DERBYSHIRE
LOS ANGELES CA 90041                   MARGATE FL 33063                           CLEVELAND HTS OH 44118




NGUYEN, BICH MINH                      NGUYEN, CHRISTOPHER RA THI                 NGUYEN, HOA
1515 NORTHWESTERN AVE                  1922 TAMARIND AVE   NO.8                   52 HAVEMEYER LN
WEST LAFAYETTE IN 47906                LOS ANGELES CA 90068                       OLD GREENWICH CT 06870




NGUYEN, HOA                            NHAISSI, CORINNE                           NHK ENTERPRISES AMERICA INC
52 HAVEMEYER LN NO.2                   235 EAST 95TH ST APT NO.31K                437 5TH AVE 6TH FL
OLD GREENWICH CT 06870                 NEW YORK NY 10128                          NEW YORK NY 10016




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NHUT CHAU                              NI, CHING- CHING                           NIA ARMSTRONG
2700 PARKWAY DRIVE                     SHANGHAI BUREAU                            53 DUNCAN AVE
SOUTH EL MONTE CA 91732                LA TIMES FOREIGN DESK                      UNIT 6
                                       202 W 1ST ST                               JERSEY CITY NJ 07304
                                       LOS ANGELES CA 90053


NIA-MALIKA HENDERSON                   NIAGARA MOHAWK POWER CORPORATION           NIAZ ALI
85 BAINBRIDGE STREET                   RE: GLENS FALLS ONE APOLLO DR              7847 KENSINGHAM CT
APT. #3                                300 ERIE BOULEVARD WEST                    ORLANDO FL 32835
BROOKLYN NY 11233                      SYRACUSE NY 13202



NIBERT, RODNEY                         NIBLOCK, SCOTT                             NICANOR DELA CRUZ
3001 BAYLAKE RD                        91 ELM ST  APT 204E                        13319 DOUBLE GROVE ST.
ORLANDO FL 32808                       MANCHESTER CT 06040                        BALDWIN PARK CA 91706




NICHELE HERNANDEZ                      NICHELLE EPPS                              NICHOL, SCOTT
3867 TURTLE RUN BLVD                   5756 CEDONIA AVE.                          DBA MAC: METHOD INC
APT 2331                               APT. A                                     1040 N LEH ST
CORAL SPRINGS FL 33067                 BALTIMORE MD 21206                         ALLENTOWN PA 18104



NICHOLAS BRIENZA                       NICHOLAS BURTON                            NICHOLAS CAITO
9342 BIG RIVER RUN                     1257 NORTH FULLER AVENUE                   257 TUNXIS AVENUE
COLUMBIA MD 21045                      WEST HOLLYWOOD CA 90046                    APT. 1
                                                                                  BLOOMFIELD CT 06002



NICHOLAS CARBONI                       NICHOLAS CARR                              NICHOLAS CHAKIRIS
167 W. GRANBY ROAD                     1411 NW 91 AVE                             2915 N CLYBOURN AVENUE
GRANBY CT 06035                        APT 1513                                   UNIT # 205
                                       CORAL SPRINGS FL 33071                     CHICAGO IL 60618



NICHOLAS CORY                          NICHOLAS DEGEORGE                          NICHOLAS DELAROSA
806 DOVE CREEK TRAIL                   12351 S NATCHEZ                            3569 SOARING EAGLE CT.
SOUTHLAKE TX 76092                     PALOS HEIGHTS IL 60463                     INDIANAPOLIS IN 46214




NICHOLAS DETHLEFSEN                    NICHOLAS DEVITA                            NICHOLAS EAGLE
16 MOORE DRIVE                         89 OLD HAWLEYVILLE ROAD                    20 CIRCLE DRIVE
WINDSOR CT 06095                       BETHEL CT 06801                            GLEN ROCK PA 17327




NICHOLAS ERISER                        NICHOLAS FELEGY                            NICHOLAS FISCHER
711 W. MELROSE STREET                  1717 S. HALL STREET                        2800 N LAKE SHORE DRIVE
UNIT F1                                APT. C4                                    APT # 1615
CHICAGO IL 60657                       ALLENTOWN PA 18103                         CHICAGO IL 60657



NICHOLAS FLOWER                        NICHOLAS G CHANTILES                       NICHOLAS GEORGOUSES
957 HILLSWOOD AVENUE                   13 CIRCLE ROAD                             619 JUNIPER ROAD
APT. J                                 SCARSDALE NY 10583                         GLENVIEW IL 60025
BEL AIR MD 21014




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NICHOLAS GESTIDO                       NICHOLAS GIULIONI                           NICHOLAS GOLDBERG
1930 OAKMONT RD.                       1944 LA FRANCE AVENUE                       202 WEST FIRST STREET
FALLSTON MD 21047                      SOUTH PASADENA CA 91030                     LOS ANGELES CA 90012




NICHOLAS GUIDICE                       NICHOLAS LACY                               NICHOLAS LANGLEE
21 CROSBY STREET                       353-A MAIN STREET                           2228 RED MAPLE ROAD
SAYVILLE NY 11782                      APT. B6                                     FLOWER MOUND TX 75022
                                       EAST HARTFORD CT 06118



NICHOLAS LANTERI                       NICHOLAS LEMKE                              NICHOLAS LORD
156 W 3RD ST                           2611 FONTANA DRIVE                          8126 CRESTVIEW DR.
DEER PARK NY 11729                     GLENVIEW IL 60025                           WILLOW SPRINGS IL 60480




NICHOLAS MADIGAN                       NICHOLAS MATHEWS                            NICHOLAS MAYNE
316 SOUTHWAY                           603 COBBLESTONE CIRCLE                      11681 SW 17TH CT
BALTIMORE MD 21218                     APT. #305                                   MIRAMAR FL 33025
                                       NEWPORT NEWS VA 23608



NICHOLAS MELVILLE                      NICHOLAS MILES                              NICHOLAS MITROVICH
16 SOUTH FREMONT STREET                8503 S.E. 139TH COURT                       1609 PARK RIDGE PT
NAPERVILLE IL 60540                    PORTLAND OR 97236                           PARK RIDGE IL 60068




NICHOLAS MOHNACKY                      NICHOLAS MORREALE                           NICHOLAS OLIVAS
7227 BROCHBANK DRIVE                   38 HILLCREST STREET                         1251 PRESTON CT
ORLANDO FL 32809                       LAKE RONKONKOMA NY 11779                    UPLAND CA 91786




NICHOLAS PARENTE                       NICHOLAS PENTZ                              NICHOLAS PERETTI
45 PAWTUCKET AVENUE                    5013 BRISTLE CONE CIRCLE                    1452 14TH STREET
WETHERSFIELD CT 06109                  ABERDEEN MD 21001                           WEST BABYLON NY 11704




NICHOLAS PHELPS                        NICHOLAS POWELL                             NICHOLAS RICCARDI
448 ALANDELE AVENUE                    2195 WILLIAM T CIRCLE                       2959 PERRY STREET
LOS ANGELES CA 90036                   LANCASTER OH 43130                          APT. #1
                                                                                   DENVER CO 80212



NICHOLAS SCOVILLE                      NICHOLAS SERGI                              NICHOLAS SMEDLEY
310 W WING VW                          72 WESTFIELD TERRACE                        3355 WILSHIRE BLVD
GREENWOOD IN 46142-7591                MIDDLETOWN CT 06457                         APT 1105
                                                                                   LOS ANGELES CA 90010



NICHOLAS SOLLITTO                      NICHOLAS SZEWCZYK                           NICHOLAS TATE
2528 CENTERGATE DRIVE #103             1821 CAPITOL AVE                            7673 NW 60TH LANE
MIRAMAR FL 33025                       #2                                          PARKLAND FL 33067
                                       SACRAMENTO CA 95811




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NICHOLAS THOMPSON                       NICHOLAS VON STADEN                        NICHOLAS WAGNER
1710 CLOVERDALE DRIVE                   3201 BEACON STREET                         3305 UPTON ROAD
EDWARDSVILLE IL 62025                   POMPANO BEACH FL 33062                     BALTIMORE MD 21234




NICHOLAS WALDNER                        NICHOLAS WILLIAMS                          NICHOLAS ZALABAK
1213 WEST PRINCESS STREET               3245 W RAVENSWOOD DR                       5820 OAKWOOD DRIVE
YORK PA 17404                           ANAHEIM CA 92804                           4A
                                                                                   LISLE IL 60532



NICHOLAS, BUCK                          NICHOLE GANNETT                            NICHOLE LUKETIC
944 BELFORD CT                          1036 EAST LINDEN STREET                    1341 WEST ADDISON
ALLENTOWN PA 18103                      ALLENTOWN PA 18109                         2A
                                                                                   CHICAGO IL 60613



NICHOLS SALES, INC.                     NICHOLS, DAVID                             NICHOLS, DAVID C
14140 LIVE OAK AVE.                     3504 QUAIL HOLLOW DR                       775 N HOOVER
SUITE A                                 WINFIELD KS 67156                          LOS ANGELES CA 90029
BALDWIN PARK CA 91706



NICHOLS, DAVID S                        NICHOLS, JENNIFER                          NICHOLS, LARA
1721 WEIDNER CT                         371 VININGS VINTAGE CIRCLE                 4 SOUTH DOWN DR
QUAKERTOWN PA 18951                     MABLETON GA 30126                          BRISTOL CT 06010-6472




NICHOLS, MELANIE L                      NICHOLS, NATALIE                           NICHOLS, RICHARD G.
1813 S PALM AVE                         2249 LAUREL CANYON BLVD                    64 FAWN DR
ALHAMBRA CA 91803                       LOS ANGELES CA 90046                       PLAINVILLE CT 06062




NICHOLS, RICHARD G.                     NICHOLS, RUSSELL                           NICHOLS, TASHAWN
64 FAWN DR.                             2350 AMERICAN RIVER DR     NO.310          222 LENOX RD APT 5A
*WHOLE DONUT                            SACRAMENTO CA 95025                        BROOKLYN NY 11226
PLAINVILLE CT 06062-1446



NICHOLSON JR, MARK A                    NICHOLSON, AMY E                           NICHOLSON, BETH A
1901 HANSON ROAD                        554 1/2 N HARVARD                          2 28TH ST APT 11H
EDGEWOOD MD 21040                       LOS ANGELES CA 90004                       NEWPORT NEWS VA 23607




NICHOLSON, CHAUNTEVIA                   NICHOLSON, JOHN                            NICHOLSON, JOY
4732 S MICHIGAN AVE APT 1A              654 EAST 400 NORTH APT NO.1                PO BOX 825
CHICAGO IL 60615                        LOGAN UT 84321                             CHIMAYO NM 87522




NICK CUCCIA                             NICK DIGILIO                               NICK DINICOLA
2459 HIDALGO AVENUE                     3508 W. WILSON                             804 NW 99TH AVE
LOS ANGELES CA 90039                    3W                                         PLANTATION FL 33324
                                        CHICAGO IL 60625




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NICK GIORDANO                         NICK IONITA                                NICK IVANKOVIC
1588 BURR OAK COURT                   88 HOWARD STREET                           2423 VICTORIA ROAD
UNIT D                                UNIT 1808                                  SCHEREVILLE IN 46375
WHEATON IL 60187                      SAN FRANCISCO CA 94105



NICK LACY PHOTOGRAPHY                 NICK MASUDA                                NICK MICHELS
353A MAIN ST NO.B6                    401 W. SEMINOLE BLVD.                      18355 CROWNHILL DRIVE
EAST HARTFORD CT 06118                #163                                       SOUTH BEND IN 46637
                                      SANFORD FL 32771



NICK MINUCCIANI                       NICK OWCHAR                                NICK RICCI
780 S. FEDERAL                        807 E DALTON AVENUE                        6230 W. 63RD PLACE
APT. 1004                             GLENDORA CA 91741                          CHICAGO IL 60638
CHICAGO IL 60605



NICK SORTAL                           NICK UMGELDER                              NICKEL, ANDREW CHARLES
1100 NW 95 AVE                        7443 163RD STREET                          3216 ROLLING KNOLL PLACE
PLANTATION FL 33322                   TINLEY PARK IL 60477                       FARMERS BRANCH TX 75234




NICKEL, JANET                         NICKELBERRY, HAROLD                        NICKERSON, WILLIAM DEAN
39 EVANS AVE                          2800 BORKSHIRE LANE                        8115 WHITNEY DR
TIMONIUM MD 21093                     AURORA IL 60502                            RIVERSIDE CA 92509




NICKERSON,RONALD E                    NICKESON PHD, CARL                         NICKEY PETROLEUM CO
1637 SHOSHONE DRIVE                   1635 E ROBINSON ST                         1335 SANTIAGO P.O. BOX 388
BISHOP CA 93514                       ORLANDO FL 32803                           SANTA ANA CA 92702




NICKEY PETROLEUM CO                   NICKI PRESLEY                              NICKI THI PHAN
P O BOX 669                           7008 W 96TH PLACE                          1616 ALEGRO SQUARE
ATWOOD CA 92811                       OAK LAWN IL 60453                          APT. #B
                                                                                 SAN GABRIEL CA 91776



NICKOLAS FIORE                        NICKY, DANIEL JOHN                         NICLES, JEAN
7309 ASHBROOK LANE                    1507 W BIRCHWOOD AVE NO.3B                 824 NE 16TH PL
PLAINFIELD IL 60586                   CHICAGO IL 60626                           FT. LAUDERDALE FL 33305




NICOA LLOYD                           NICOLA CUOMO                               NICOLA GUERRA
421 FARMBROOK COURT                   58 SUMMER LANE                             6514 SHAGBARK DRIVE
ROMEOVILLE IL 60446                   NORTH HAVEN CT 06473                       TROY MI 48098




NICOLAS A OCHOA                       NICOLAS FELIX                              NICOLAS ZIMMERMAN
3652 FLORADALE COURT                  1538 N. 31ST ST                            1617 SOUTH MICHIGAN AVENUE
THOUSAND OAKS CA 91360                MELROSE PARK IL 60160                      SUITE 205
                                                                                 CHICAGO IL 60616




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NICOLAS, GALINE                       NICOLAS, RAYNOLD                           NICOLASA SANTIAGO
2510 DORSON WAY                       831 NE 207 LANE NO.104                     4550 S TALMAN
DELRAY BEACH FL 33445                 MIAMI FL 33179                             CHICAGO IL 60632




NICOLE BARBEE-LOGAN                   NICOLE BLAKE                               NICOLE BOGDAS
7801 S. HOYNE AVE                     2503 LANCIEN COURT                         115 E. SMITH STREET
CHICAGO IL 60620                      ORLANDO FL 32826                           #10
                                                                                 ORLANDO FL 32804



NICOLE BREWER                         NICOLE BROCHU                              NICOLE CHIN
404 FRANKLIN STREET                   7067 PENINSULA CT                          614 E. WASHINGTON ST.
BEL AIR MD 21014                      LAKE WORTH FL 33467                        ORLANDO FL 32801




NICOLE CLARITY                        NICOLE CORMIER                             NICOLE DAVIS
1753 POWERS AVENUE                    1305 SHARON ACRES ROAD                     200 E. LAS OLAS BLVD
EAST MEADOW NY 11554                  FOREST HILL MD 21050                       C/O EDITORIAL DEPARTMENT, 9TH FLOOR
                                                                                 FT. LAUDERDALE FL 33301



NICOLE DUDKA                          NICOLE ECHTERLING                          NICOLE EULER
552 W. BRIAR                          10580 N MAINE DR                           329 KRUEGER ST.
APT. #3W                              CROWN POINT IN 46307                       ORLANDO FL 32839
CHICAGO IL 60657



NICOLE FRANCIS                        NICOLE FULLER                              NICOLE GIAQUINTO
322 LINDEN BOULEVARD                  1029 PERRY STREET N.E.                     1021 NORTH NEW STREET
APT. C4                               APT 103                                    BETHLEHEM PA 18018
BROOKLYN NY 11226                     WASHINGTON DC 20017



NICOLE GODVIN                         NICOLE GONZALES                            NICOLE GULLETT
15 PALOMA AVENUE                      343 S. 500 E.                              5780 JAGUARY WAY
APT 406                               APT#326                                    LITTLETON CO 80124
VENICE CA 90291                       SALT LAKE CITY UT 84102



NICOLE HESS                           NICOLE HILL                                NICOLE LABBE
57 ROYDON DRIVE EAST                  2625 CARVER RD.                            2003 COLUMBIA PIKE
NORTH MERRICK NY 11566                BALTIMORE MD 21225                         617
                                                                                 ARLINGTON VA 22204



NICOLE LOOMIS                         NICOLE LOPARO                              NICOLE MARINO
639 S. GRAND AVE                      14724 FLORITA ROAD                         11176 S TERRADAS LANE
PASADENA CA 91105                     LA MIRADA CA 90638                         BOCA RATON FL 33428




NICOLE MARTINEZ                       NICOLE MARTYN                              NICOLE MARX
3813 ARLINGTON DR                     6S HILLSIDE ROAD                           2530 CROWN RIDGE CIRCLE
PICO RIVERA CA 90660                  GREENBELT MD 21770                         KISSIMMEE FL 34744




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NICOLE MENINI                            NICOLE MERTZ                               NICOLE METZGER
1311 EAST ILLINOIS STREET                225 W. BUTTERNUT ROAD                      3450 LURMAN DRIVE
WHEATON IL 60187                         HELLERTOWN PA 18055                        MACUNGIE PA 18062




NICOLE MORRIS                            NICOLE MUNCHEL                             NICOLE NEUMANN
3453 E. NORWAY TRAIL                     1214 SEDGE COURT                           4126 NE 2ND STREET
CRETE IL 60417                           PASADENA MD 21122                          RENTON WA 98059




NICOLE NISHIDA                           NICOLE PAGANO                              NICOLE PAITSEL
14657 FIELDFLOWER CIRCLE                 33 SHERYL DRIVE                            8 CANDLELIGHT LANE
CHINO HILLS CA 91709                     EDISON NJ 08820                            PORTSMOUTH VA 23703




NICOLE ROBINSON                          NICOLE ROSS                                NICOLE SCHWARTZ
763 WINDSOR ROAD                         2433 MAIN STREET                           456 LINKS DRIVE EAST
UNIONDALE NY 11553                       WHITEHALL PA 18052                         OCEANSIDE NY 11572




NICOLE SCIMECA                           NICOLE SESSION                             NICOLE SIBLEY
800 W. GRANVILLE                         1906 W BALTIMORE STREET                    7667 LOCKE ROAD
PARK RIDGE IL 60068                      BALTIMORE MD 21223                         VACAVILLE CA 95688




NICOLE STIGLICH                          NICOLE STROH                               NICOLE STUDINGER
5728 N.W. 101ST WAY                      846 W. NEWPORT                             1821 W. NORTH STREET
CORAL SPRINGS FL 33076                   CHICAGO IL 60657                           BETHLEHEM PA 18018




NICOLE TSENG-DOWNS                       NICOLE WILLIAMS                            NICOLE ZIRALDO
801 CLARADAY STREET #3                   5637 GULF STREAM ROW                       10519 GREENWAY DRIVE
GLENDORA CA 91740                        COLUMBIA MD 21044                          FISHERS IN 46037




NICOLE ZULLI                             NICOLETTA REVETHIS                         NICOLETTE ENGLER
1134 WEST NORTH STREET                   9728 MILL COURT EAST                       6182 WESTBURY DRIVE
BETHLEHEM PA 18018                       PALOS PARK IL 60464                        SALISBURY MD 21801




NICOLETTE STARK                          NICOLETTE ZIMMERMAN                        NICOLIA PROMADES
124 E. UNION BLVD.                       15 STONY MEADOW COURT                      9756 DOGWOOD AVE
BETHLEHEM PA 18018                       LUTHERVILLE MD 21093                       PALM BEACH GARDENS FL 33410




NICOLINA MARINI                          NICOLLE RUNNALLS-BURTON                    NICOR GAS
91 PARKVIEW DRIVE                        63 OAK TREE CIRCLE                         ACCT NO. 02-44-44-10001
SEARINGTOWN NY 11507                     QUEENSBURY NY 12804                        P.O. BOX 2020
                                                                                    AURORA IL 60507-2020




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NICOR GAS                              NICOR GAS                                  NICOR GAS
ACCT NO. 06-12-68-00009                ACCT NO. 06-18-69-10003                    ACCT NO. 12-08-21-19772
P.O. BOX 2020                          P.O. BOX 2020                              P.O. BOX 2020
AURORA IL 60507-2020                   AURORA IL 60507-2020                       AURORA IL 60507-2020



NICOR GAS                              NICOR GAS                                  NICOR GAS
ACCT NO. 13-18-70-20006                ACCT NO. 19-72-34-10007                    ACCT NO. 21-52-34-10005
P.O. BOX 2020                          P.O. BOX 2020                              P.O. BOX 2020
AURORA IL 60507-2020                   AURORA IL 60507-2020                       AURORA IL 60507-2020



NICOR GAS                              NICOR GAS                                  NICOR GAS
ACCT NO. 23-78-43-34783                ACCT NO. 24-33-24-00001                    ACCT NO. 27-65-97-00002
P.O. BOX 2020                          P.O. BOX 2020                              P.O. BOX 2020
AURORA IL 60507-2020                   AURORA IL 60507-2020                       AURORA IL 60507-2020



NICOR GAS                              NICOR GAS                                  NICOR GAS
ACCT NO. 29-45-23-10005                ACCT NO. 19-45-23-10006                    ACCT NO. 30-60-89-10003
P.O. BOX 2020                          P.O. BOX 2020                              P.O. BOX 2020
AURORA IL 60507-2020                   AURORA IL 60507-2020                       AURORA IL 60507-2020



NICOR GAS                              NICOR GAS                                  NICOR GAS
ACCT NO. 37-51-44-00003                ACCT NO. 41-68-71-20000                    ACCT NO. 44-23-44-00008
P.O. BOX 2020                          P.O. BOX 2020                              P.O. BOX 416
AURORA IL 60507-2020                   AURORA IL 60507-2020                       AURORA IL 60568-0001



NICOR GAS                              NICOR GAS                                  NICOR GAS
ACCT NO. 45-34-79-0008                 ACCT NO. 45-59-50-20004                    ACCT NO. 50-12-54-00007
P.O. BOX 2020                          P.O. BOX 2020                              P.O. BOX 2020
AURORA IL 60507-2020                   AURORA IL 60507-2020                       AURORA IL 60507-2020



NICOR GAS                              NICOR GAS                                  NICOR GAS
ACCT NO. 52-57-79-10004                ACCT NO. 53-02-38-88919                    ACCT NO. 60-40-22-88165
P.O. BOX 2020                          P.O. BOX 416                               P.O. BOX 2020
AURORA IL 60507-2020                   AURORA IL 60568-0001                       AURORA IL 60507-2020



NICOR GAS                              NICOR GAS                                  NICOR GAS
ACCT NO. 60-91-69-10007                ACCT NO. 62-29-20-20005                    ACCT NO. 62-60-34-10002
P.O. BOX 2020                          P.O. BOX 2020                              P.O. BOX 2020
AURORA IL 60507-2020                   AURORA IL 60507-2020                       AURORA IL 60507-2020



NICOR GAS                              NICOR GAS                                  NICOR GAS
ACCT NO. 67-01-83-10002                ACCT NO. 68-04-52-99937                    ACCT NO. 71-60-04-67386
P.O. BOX 2020                          P.O. BOX 2020                              P.O. BOX 2020
AURORA IL 60507-2020                   AURORA IL 60507-2020                       AURORA IL 60507-2020



NICOR GAS                              NICOR GAS                                  NICOR GAS
ACCT NO. 71-69-24-10005                ACCT NO. 72-53-98-10001                    ACCT NO. 72-93-14-10004
P.O. BOX 2020                          P.O. BOX 2020                              P.O. BOX 2020
AURORA IL 60507-2020                   AURORA IL 60507-2020                       AURORA IL 60507-2020




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NICOR GAS                              NICOR GAS                                  NICOR GAS
ACCT NO. 82-07-24-00003                ACCT NO. 92-07-24-00002                    ACCT NO. 85-02-54-00004
P.O. BOX 2020                          P.O. BOX 2020                              P.O. BOX 2020
AURORA IL 60507-2020                   AURORA IL 60507-2020                       AURORA IL 60507-2020



NICOR GAS                              NICOR GAS                                  NICOR GAS
ACCT NO. 95-48-79-00003                ACCT NO. 87-04-55-00003                    ACCT NO. 85-74-78-10001
P.O. BOX 2020                          P.O. BOX 2020                              P.O. BOX 2020
AURORA IL 60507-2020                   AURORA IL 60507-2020                       AURORA IL 60507-2020



NICOR GAS                              NICOR GAS                                  NICOR GAS
ACCT NO. 91-63-12-20000                ACCT NO. 95-83-82-87993                    ACCT NO. 30-04-11-54474
P.O. BOX 2020                          P.O. BOX 2020                              P.O. BOX 2020
AURORA IL 60507-2020                   AURORA IL 60507-2020                       AURORA IL 60507-2020



NICOR GAS                              NICOR GAS                                  NICOR GAS
ACCT NO. 93-61-07-73744                ACCT NO. 57-08-00-10002                    ACCT NO. 61-80-19-93272
P.O. BOX 2020                          P.O. BOX 2020                              P.O. BOX 2020
AURORA IL 60507-2020                   AURORA IL 60507-2020                       AURORA IL 60507-2020



NICOR GAS                              NICOR GAS                                  NICOR GAS
ACCT NO. 98-44-99-00004                ACCT NO. 98-87-37-66939                    PO BOX 190
P.O. BOX 2020                          P.O. BOX 2020                              AURORA IL 60507-0190
AURORA IL 60507-2020                   AURORA IL 60507-2020



NICOR GAS                              NICOR GAS                                  NICOR GAS
BILL PAYMENT CENTER                    BILL PAYMENT CENTER                        PO BOX 310
P.O. BOX 0632                          PO BOX 1630                                AURORA IL 60507-0310
AURORA IL 60507-0632                   AURORA IL 60507-1630



NICOR GAS                              NICOR GAS                                  NICOR GAS
PO BOX 310                             PO BOX 416                                 PO BOX 416
NORTHERN ILLINOIS GAS                  NORTHERN ILLINOIS GAS                      AURORA IL 60568-0001
AURORA IL 60507-0310                   AURORA IL 60568-0001



NICOR GAS                              NIDA, CHRISTOPHER                          NIDALIE GUILBAUD
P.O. BOX 2020                          8933-103 LANGWOOD DR                       102-05 221ST STREET
AURORA IL 60507-2020                   RALEIGH NC 27613                           QUEENS VILLAGE NY 11429




NIEASHA TROTMAN                        NIELSEN AUTOMOTIVE SERVICES INC            NIELSEN BUSINESS MEDIA INC
5219 EUCLID STREET                     5730 VALERIAN BLVD                         5055 WILSHIRE BLVD 6TH FLR
PHILADELPHIA PA 19131                  ORLANDO FL 32819                           ATTN PETER GONZAGA
                                                                                  LOS ANGELES CA 90036



NIELSEN BUSINESS MEDIA INC             NIELSEN BUSINESS MEDIA INC                 NIELSEN BUSINESS MEDIA INC
PO BOX 16567                           PO BOX 88907                               PO BOX 88915
NORTH HOLLYWOOD CA 91615               CHICAGO IL 60695-1907                      CHICAGO IL 60695-1915




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NIELSEN BUSINESS MEDIA INC             NIELSEN BUSINESS MEDIA INC                  NIELSEN BUSINESS MEDIA INC
SHO WEST                               770 BROADWAY                                EDITOR & PUBLISHER
PO BOX 88945                           NEW YORK NY 10003                           PO BOX 7247-7194
550 W VAN BUREN 14TH FLR                                                           PHILADELPHIA PA 19170-7194
CHICAGO IL 60695-1945


NIELSEN BUSINESS MEDIA INC             NIELSEN BUSINESS MEDIA INC                  NIELSEN EDI
PO BOX 7247-8020                       PO BOX 7247-8042                            6255 SUNSET BLVD 19TH FL
PHILADELPHIA PA 19170-8020             PHILADELPHIA PA 19170-8042                  LOS ANGELES CA 90028-7403




NIELSEN EDI                            NIELSEN MEDIA RESEARCH INC                  NIELSEN MEDIA RESEARCH INC
PO BOX 601101                          PO BOX 532453                               PO BOX 71564
LOS ANGELES CA 90060-1101              ATLANTA GA 30353-2453                       CHICAGO IL 60694-1564




NIELSEN MEDIA RESEARCH INC             NIELSEN MEDIA RESEARCH INC                  NIELSEN MEDIA RESEARCH INC
PO BOX 88961                           299 PARK AVE                                770 BROADWAY
CHICAGO IL 60695-8961                  NEW YORK NY 10171                           NEW YORK NY 10003




NIELSEN MEDIA RESEARCH INC             NIELSEN, CHRISTIAN JOHN                     NIELSEN, FRANK
ATTN: SUSAN WHITING, PRESIDENT & CEO   7 RIDGE HAVEN DRIVE                         22455 PACIFIC COAST HWY
770 BROADWAY                           RIDGE NY 11961                              NO.19
NEW YORK NY 10003                                                                  MALIBU CA 90265



NIELSON, MARY F                        NIEMANN, CHRISTOPHER                        NIEMANN, JUDY M
1313 E HOWARD AVE                      416 W 13TH ST  NO.309                       2341 PIERWOOD DR
MILWAUKEE WI 53207                     NEW YORK NY 10044                           ST LOUIS MO 63129




NIEMI, MICHELE                         NIEMI, WAYNE                                NIENDORF, KEVIN
34 GURWEN DR                           11255 CAMARILLO ST NO.106                   2069 LAURITSON LANE
SMITHFIELD VA 23430                    TOLUCA LAKE CA 91602                        MANTECA CA 95336




NIENHUIS, GEORGE CONELLOS              NIESE, WILLIAM A.                           NIESE,WILLIAM
3623 N 62ND STREET                     6061 LAKE VISTA DRIVE                       6061 LAKE VISTA DR
MILWAUKEE WI 53216                     BONSALL CA 92003                            BONSALL CA 92003




NIESET, LANE                           NIESING, ROBERT                             NIETO DEL RIO, LILIANA
11501 SW 2ND ST                        C/O R J NEWS                                ROQUE SAENZ PENA 917 3RD FLR
PLANTATION FL 33325                    1455 WILLOW DR                              BUENOS AIRES 1035
                                       PORT WASHINGTON WI 53074



NIETO DEL RIO, LILIANA                 NIETO, DIANA M                              NIEVES, ANGEL L
16000 SUNSET BLVD NO.104               4141 NW 90TH AVE APT 101                    11230 ROUSE RUN CIRCLE
PACIFIC PALISADES CA 90292             CORAL SPRINGS FL 33065                      SUITE 2005
                                                                                   ORLANDO FL 32817




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NIEVES, ANIBAL                         NIEVES, MARITZA                            NIEVES, RAYMOND
1155 PENNSYLVANIA AVE    APT 19D       11230 ROUSE RUN CIRCLE                     2260 WASHINGTON AVE      NO.2D
BROOKLYN NY 11239                      SUITE 2005                                 BRONX NY 10457
                                       ORLANDO FL 32817



NIEVES, ROBERT P                       NIEVES, ROBERT P                           NIEZLE ANN CUSTODIO
1422 TOWNLINE RD                       PO BOX 908                                 7824 RIDGE ROAD
NESCONSET NY 11767                     NESCONSET NY 11767                         HANOVER MD 21076




NIGEL BAKSH                            NIGEL BARKER LLC                           NIGEL COX INC
6608 POPPY COURT                       410 W 14TH ST                              214 SULLIVAN ST 3A
RANCHO CUCAMONGA CA 91739              NEW YORK NY 10014                          NEW YORK NY 10012




NIGEL SMITH                            NIGHTMARE INC                              NIKHIL HUNSHIKATTI
10830 NW 35TH PLACE                    3727 W MAGNOLIA BL NO.792                  2542 N. RACINE AVE.
SUNRISE FL 33351                       BURBANK CA 91505                           APT #1
                                                                                  CHICAGO IL 60614



NIKHILESH KRUTHIVENTI                  NIKI REED                                  NIKITA ROLLINS
2353 PORTLAND STREET                   10208 REGENCY PARK NORTH                   2426 SEABURY ROAD
APT #36                                QUEENSBURY NY 12804                        A
LOS ANGELES CA 90007                                                              BALTIMORE MD 21225



NIKKI A CORMAN                         NIKKI HILTON                               NIKO TERRELL
8832 CONNER DRIVE                      335 STABLEY LANE                           349 CALHOUN
HUNTINGTON BCH CA 92647                WINDSOR PA 17366                           CALUMET CITY IL 60409




NIKOLETOS, KIRIAKOS                    NIKOLETOS, KIRIAKOS                        NIKOLSKIY, ANDREY
5405 OVERLOOK CIRCLE                   PO BOX 25602                               BOLSHOY PREDTECHENSKIY 23 49
WHITE MARSH MD 21162                   BALTIMORE MD 21224                         MOSCOW




NIKON INC                              NIKON INC                                  NIKON INC
19601 HAMILTON AVENUE                  1300 WALT WHITMAN ROAD                     GENERAL POST OFFICE
TORRANCE CA 90502                      MELVILLE NY 11747                          PO BOX 26931
                                                                                  NEW YORK NY 10087-6931



NIKON INC                              NIKON INC                                  NILA BIERONSKI
P O BOX 4383                           PO BOX 4803                                7932 SO. PAXTON AVE
CHURCH STREET STATION                  CHURCH ST STATION                          CHICAGO IL 60617
NEW YORK NY 10261-4383                 NEW YORK NY 10261-4803



NILDA MARTINEZ                         NILES NORTH HS                             NILES, NICHOLAS H.
2146 N CENTRAL PARK                    9800 LAWLER AVE                            THE BLOOMING GROVE CLUB
CHICAGO IL 60647                       SKOKIE IL 60077                            123 OLD FIELD ROAD
                                                                                  HAWLEY PA 18428




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NILES, ROBERT C                           NILLES, LAURA                              NILSA CORDERO
315 S SIERRA MADRE BLVD UNIT C            308 E CHICAGO AVE                          5930 NW 186 ST
PASADENA CA 91107                         WESTMONT IL 60559                          APT.101
                                                                                     MIAMI FL 33015



NILSA DAVID                               NILSA GONZALEZ-MAYSONET                    NILSEN, KIRSTEN SCHNEIDER
1510 13TH STREET                          5124 CODDINGTON ST.                        113 S PROSPECT AVE
WEST BABYLON NY 11704                     ORLANDO FL 32812                           CATONSVILLE MD 21228




NILSSON, MARIA E                          NIMISH SHAH                                NIMURA, JANICE
320 N DODGE ST                            1467 CARRSVILLE HIGHWAY                    515 E 89TH ST NO.2B
IOWA CITY IA 52245                        APT. #106                                  NEW YORK NY 10128-7848
                                          FRANKLIN VA 23851



NIMURA, JANICE                            NINA BYRD-POWELL                           NINA CHIKISH
666 GREENWICH ST                          P.O. BOX 5612                              11910 WEDDINGTON STREET
NO.821                                    NEWPORT NEWS VA 23605                      #107
NEW YORK NY 10014                                                                    VALLEY VILLAGE CA 91607



NINA GREEN ROSENFIELD                     NINA GROSS                                 NINA GUSTAFSON
1545 UMEO ROAD                            4543 TREEHOUSE LANE                        18 MORNINGSIDE CIRCLE
PACIFIC PALISADES CA 90272                APT 2F                                     QUEENSBURY NY 12804
                                          TAMARAC FL 33319



NINA HOWARD                               NINA JAMISON                               NINA LEE
6744 S. LANGLEY                           185 W. HOLLYFERN PLACE                     1015 CALLE ALEGRE STREET
CHICAGO IL 60637                          BEVERLY HILLS FL 34465                     GLENDALE CA 91208




NINA STAR                                 NIPSCO                                     NIPSCO
2717 EAST 65TH STREET                     ACCT NO. 264-621-000-4                     ACCT NO. 298-546-006-7
BROOKLYN NY 11234                         P.O. BOX 13007                             P.O. BOX 13007
                                          MERRILLVILLE IN 46411-3007                 MERRILLVILLE IN 46411-3007



NIPSCO                                    NIPSCO                                     NIPSCO
ACCT NO. 580-071-002-7                    ACCT NO. 811-746-000-7                     ACCT NO. 348-230-007-7
P.O. BOX 13007                            P.O. BOX 13007                             P.O. BOX 13007
MERRILLVILLE IN 46411-3007                MERRILLVILLE IN 46411-3007                 MERRILLVILLE IN 46411-3007



NIPSCO                                    NIPSCO                                     NIPSCO
ACCT NO. 400-746-005-9                    ACCT NO. 617-746-003-0,                    ACCT NO. 913-101-001-1
P.O. BOX 13007                            P.O. BOX 13007                             P.O. BOX 13007
MERRILLVILLE IN 46411-3007                MERRILLVILLE IN 46411-3007                 MERRILLVILLE IN 46411-3007



NIPSCO                                    NIPSCO                                     NIQUAY WISE
ACCT NO. 464-746-009-8                    P.O. BOX 13007                             1072 NORTHGATE COURT
P.O. BOX 13007                            MERRILLVILLE IN 46411-3007                 UNIONDALE NY 11553
MERRILLVILLE IN 46411-3007




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NIRANTHETHU MATHEW                      NIRMAL BOSE                                 NISHA KAPOOR
272 PINE ACRE BOULEVARD                 7 MYERS AVENUE                              18 ANGLER LANE
DIX HILLS NY 11746                      HICKSVILLE NY 11801                         PORT WASHINGTON NY 11050




NISHA SHAH                              NISHIDA SERVICES INC                        NISHIDA SERVICES INC
1614 GREENFIELD AVENUE                  9800 WESTPOINT AVE                          PO BOX 318
LOS ANGELES CA 90025                    SUITE 220                                   FISHERS IN 46038
                                        INDIANAPOLIS IN 46256



NISHIGANDHA EMDE                        NISHITH DOSHI                               NISS, NICOLE
1940 VALLETA DRIVE                      15222 BOWMANS FOLLY DR.                     12075 NW 78TH PL
RANCHO PALOS VERDES CA 90275            MANASSAS VA 20112                           PARKLAND FL 33076




NISSMAN, CARA                           NITA LELYVELD                               NITA TUSKAN
2530 MYRICA RD                          1961 CARMEN AVENUE                          5 S. WEST STREET
WEST PALM BEACH FL 33406-5129           LOS ANGELES CA 90068                        NAPERVILLE IL 60540




NITKIN, KAREN                           NITZA CARTAGENA                             NIX, HENRY
9198 FURROW AVE                         2109 N. LEAMINGTON                          1600 SKIFFES CREEK CIRCLE
ELLICOTT CITY MD 21042                  CHICAGO IL 60639                            WILLIAMSBURG VA 23185




NIX, VICTORIA                           NIXON JR, EUGENE                            NIXON PAUL
6100 HOLLYTREE DR      APT 228          3611 COPLEY RD                              2111 NW 55 AVE
TYLER TX 75703                          BALTIMORE MD 21215                          #405
                                                                                    LAUDERHILL FL 33313



NIXON PAUL                              NIXON, ADAM CHRISTOPHER                     NIZEN, DONALD A
796 CRESTA CIRCLE                       595 THORNHILL DR APT 303                    4201 N OCEAN BLVD C 1506
WEST PALM BEACH FL 33413                CAROL STREAM IL 60188                       BOCA RATON FL 33431




NJ TRANSIT                              NJ TRANSIT                                  NJIE, LORI
P.O BOX 1549                            PO BOX 35451                                1883 S TAMARACK CIRCLE APT A
NEWARK NJ 07101-1549                    NEWARK NJ 07193-5451                        COLUMBUS OH 43229




NKRUMAH, KOFI                           NMHG FINANCIAL SERVICES INC                 NMHG FINANCIAL SERVICES INC
8640 S CORAL CIR                        PO BOX 1923R                                1010 THOMAS EDISON BLVD SW
N LAUDERDALE FL 33068                   DANBURY CT 06810                            CEDAR RAPIDS IA 52404




NMHG FINANCIAL SERVICES INC             NMHG FINANCIAL SERVICES INC                 NMHG FINANCIAL SERVICES INC
P O BOX 747016                          PO BOX 642385                               PO BOX 643749
PITTSBURGH PA 15274-7016                PITTSBURGH PA 15264-2385                    PITTSBURGH PA 15264-3749




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NMHG FINANCIAL SERVICES, INC.         NMHG FINANCIAL SERVICES, INC.              NMM ENTERPRISES INC
10 RIVERVIEW DRIVE                    44 OLD RIDGEBURY ROAD                      2844 STRAND CIR   STE 2208
DANBURY CT 06810                      DANBURY CT 06810                           OVIDEO FL 32765




NMM ENTERPRISES INC                   NNA INC                                    NNA INC
2844 STRAND CIR   STE 2208            ATTN: JOSEPH NEUOF                         4331 BLADENSBURG ROAD
OVIEDO FL 32765                       PO BOX 2026                                COLMAR MANOR MD 20722
                                      WASHINGTON DC 20013



NNN VF 901 CIVIC LLC                  NNN VF 901 CIVIC LLC                       NNN VF 901 CIVIC, LLC
RE: SANTA ANA 901 CIVIC CENTE         C/O LASALLE BANK                           RE: SANTA ANA 901 CIVIC CENTE
C/O LASALLE BANK                      4916 PAYSPHERE CIRC                        4916 PAYSPHERE CIRCLE
4916 PAYSPHERE CIRC                   CHICAGO IL 60674                           CHICAGO IL 60674
CHICAGO IL 60674


NNN VF 901 CIVIC, LLC                 NNN VF 901 CIVIC, LLC                      NO FEEDBACK PRODUCTIONS
RE: SANTA ANA 901 CIVIC CENTE         RE: SANTA ANA 901 CIVIC CENTE              11321 MASSACHUSETTS AVENUE APT NO.2
C/O TRIPLE NET PROPERTIES INC.        C/O TRIPLE NET PROPERTIES REALTY INC.      LOS ANGELES CA 90025
4 HUTTON CENTRE, SUITE 700            1551 NORTH TUSTIN AVE., SUITE 200
SOUTH COAST METRO CA 92707            SANTA ANA CA 92705


NO MORE RED INC                       NO MORE RED INC                            NO, IN HA
12071 LAUREL TERR                     3940 LAUREL CANYON BLVD NO.238             1516 MAGNOLIA RD
STUDIO CITY CA 91604                  STUDIO CITY CA 91604                       APOPKA FL 32703




NOA CONSTRUCTION GROUP LLC            NOAH AUTHEMENT                             NOAH LUNDY
8005 103 MANDAN ROAD                  2525 PASADENA AVENUE                       2114 BUELL DRIVE
GREENBELT MD 20770                    APT. #111                                  FALLSTON MD 21047
                                      METAIRIE LA 70001



NOAH PEACHES                          NOAH XU                                    NOAH, TIMOTHY R
631 23RD AVE                          3357 S. LITUANICA AVENUE                   6805 6TH STREET NW
BELLWOOD IL 60104                     CHICAGO IL 60608                           WASHINGTON DC 20012




NOAM LEVEY                            NOBEL, RACHEL                              NOBLE GWYN
1025 F STREET NW                      109-10 QUEESN BLVD APT 8A                  651 SW 28TH DR.
STE. 700                              FOREST HILLS NY 11375                      FT. LAUDERDALE FL 33312
WASHINGTON DC 20004



NOBLE SYSTEMS                         NOBLE, ANEISHA K                           NOBLE,TODD
4151 ASHFORD DUNWOODY RD STE 550      50 NAHUM DR                                64 AEGINA CT
ATLANTA GA 30319                      HARTFORD CT 06112                          TINLEY PARK IL 60477




NOBLES, RICHARD                       NODING, JODI                               NOE JIMENEZ
820 CONCORD ST                        1781 STRATFORD ST                          1380 N. CITRUS ST.
PLEASANTON CA 94566                   SYLVAN LAKE MI 48320                       # G15
                                                                                 COVINA CA 91722




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NOE PANDURO                            NOE, JEFFREY                                NOEL CAMPBELL
5231 N. ENID AVE.                      1620 PRIMORE LN                             776 SNEDIKER AVENUE
AZUSA CA 91708                         BETHLEHEM PA 18018                          BROOKLYN NY 11207




NOEL E GREENWOOD                       NOEL HENNESSY                               NOEL JR, DON O
595 SYCAMORE VISTA ROAD                26693 N. HARRISON AVE.                      141 RIDGEFIELD ST
SANTA BARBARA CA 93108                 WACONDA IL 60084                            HARTFORD CT 06112-1837




NOEL PITEO                             NOEL QUINONES                               NOEL RINALDI
167 CHESTNUT AVENUE                    3446 WEST MELROSE STREET                    555 MERRICK ROAD
APT. #2                                CHICAGO IL 60618                            APT 2H
EAST MEADOW NY 11554                                                               ROCKVILLE CENTRE NY 11570



NOEL RUBINTON                          NOEL SERRANO                                NOEL SILVERA
4 PARKRIDGE CT                         624 WEST GORDON STREET                      36 WARREN LANE
HUNTINGTON NY 11743                    APT #1                                      WINDSOR CT 06095
                                       ALLENTOWN PA 18102



NOEL TREVINO                           NOEL, JEAN CLAUDE                           NOEL, KENRICK
21309 MARJORIE AVENUE                  1677 NE 170TH STREET                        4200 NW 3RD CT. # 305
TORRANCE CA 90503                      N.MIAMI FL 33162                            PLANTATION FL 33317




NOELBI FERNANDEZ                       NOELIA MALDONADO                            NOELIA MAZARIEGOS
7413 MOLOKAI ST.                       411 KEHOE BLVD.                             485 FAIRFIELD AVENUE
ORLANDO FL 32822                       ORLANDO FL 32825                            APT. 7
                                                                                   STAMFORD CT 06902



NOELLE CARTER                          NOELLE DAMING                               NOELLE LAFFERTY
1017 HANCOCK AVENUE                    6693 E. THOMPSON RD.                        16 HENEARLY DRIVE
WEST HOLLYWOOD CA 90069                INDIANAPOLIS IN 46237                       MILLER PLACE NY 11764




NOEMI LAZO                             NOETHENS, DENNIS                            NOHEIMER, JENNIFER
18321 BLACKHAWK STREET                 1096 POPLAR CT                              17 UPSON ST NO.2
NORTHRIDGE CA 91328                    SIMI VALLEY CA 93065                        BRISTOL CT 06010




NOLA MARTIN                            NOLAN CHAN                                  NOLAN, DAWNA D
1000 SEAGATE DR                        1620 S. MICHIGAN AVENUE                     725 S SPRING ST  LOFT NO.2
DELRAY BEACH FL 33483                  UNIT #626                                   LOS ANGELES CA 90014
                                       CHICAGO IL 60616



NOLAN, JETHELLA                        NOLAN, JOE C                                NOLASCO,CARLOS E
11418 S VINCENNES                      5611 SANFORD                                906 WEST GROVE
CHICAGO IL 60643                       HOUSTON TX 77096                            RIALTO CA 92376




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